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            EXHIBIT
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                         UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                             CHARLESTON DIVISION


 IN RE: AQUEOUS FILM-FORMING                        MDL No. 2:18-mn-2873-RMG
 FOAMS PRODUCTS LIABILITY                           This Document relates to:
 LITIGATION                                         City of Camden, et al., v. 3M Company,
                                                    No. 2:23-cv-XXXX-RMG

                      SETTLEMENT AGREEMENT BETWEEN
                    PUBLIC WATER SYSTEMS AND 3M COMPANY


      This Settlement Agreement (including its Exhibits) is entered into, subject to Final
Approval of the Court, as of June __, 2023, by and among the Class Representatives and 3M.

1.     RECITALS

1.1.   WHEREAS, Congress enacted the Safe Drinking Water Act (“SDWA”), 42 U.S.C. §§ 300f
       to 300j-27, to help ensure that the public is provided with safe Drinking Water, and the
       SDWA or other federal or state regulations may require Public Water Systems to monitor
       and treat their water supplies;

1.2.   WHEREAS, this Settlement Agreement is intended to address Public Water Systems’
       Claims regarding alleged PFAS-related harm to Drinking Water and associated financial
       burdens, including Public Water Systems’ potential costs of monitoring, treating, or
       remediating PFAS in Drinking Water;

1.3.   WHEREAS, Class Members are Public Water Systems that have asserted or could assert
       potential Claims against 3M related to PFAS in water supplies;

1.4.   WHEREAS, Interim Class Counsel and 3M’s Counsel have engaged in extensive, arm’s-
       length negotiations, and have—subject to the Final Approval of the Court as provided for
       herein—reached an agreement to settle and release Class Members’ PFAS-related Claims
       against 3M in exchange for payment and subject to the terms and conditions set forth
       below;

1.5.   WHEREAS, Class Representatives and Interim Class Counsel have concluded—after a
       thorough investigation and after carefully considering the relevant circumstances,
       including the Claims asserted, the legal and factual defenses to those Claims, and the
       applicable law, and the burdens, risks, uncertainties, and expense of litigation, as well as
       the fair, cost-effective, and assured method of resolving the Claims—that it would be in
       the best interests of Class Members to enter into this Settlement Agreement in order to
       avoid the uncertainties of litigation and to assure that the benefits reflected herein are
       obtained for Class Members, and further, that Class Representatives and Interim Class
       Counsel consider the Settlement set forth herein to be fair, reasonable, and adequate and in

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       the best interests of Class Members; and

1.6.   WHEREAS, 3M, while continuing to deny any violation, wrongdoing, or liability with
       respect to any and all Claims asserted or that could be asserted in the Litigation, either on
       its part or on the part of any of the Released Parties, and while continuing to specifically
       deny and dispute the scientific, medical, factual, and other bases asserted in support of
       those Claims, has nevertheless concluded that it will enter into this Settlement Agreement
       in order to, among other things, avoid the expense, inconvenience, risks, uncertainties, and
       distraction of further litigation.

2.     DEFINITIONS

       As used in this Settlement Agreement and its Exhibits, the following terms have the defined
       meanings set forth below. Unless the context requires otherwise, (a) words expressed in
       the plural form include the singular, and vice versa; (b) words expressed in the masculine
       form include the feminine and gender neutral, and vice versa; (c) the word “will” has the
       same meaning as the word “shall,” and vice versa; (d) the word “or” is not exclusive; (e)
       the word “extent” in the phrase “to the extent” means the degree to which a subject or other
       thing extends, and such phrase does not simply mean “if”; (f) references to any law include
       all rules, regulations, and sub-regulatory guidance promulgated thereunder; (g) the terms
       “include,” “includes,” and “including” are deemed to be followed by “without limitation”;
       and (h) references to dollars or “$” are to United States dollars.

2.1.   “3M” means 3M Company.

2.2.   “3M’s Counsel” means Thomas J. Perrelli and the law firm of Jenner & Block LLP, 1099
       New York Avenue, N.W., Suite 900, Washington, DC 20001-4412; and Richard F. Bulger
       and the law firm of Mayer Brown LLP, 71 South Wacker Drive, Chicago, Illinois 60606.

2.3.   “Action Fund” means the Phase One Action Fund or the Phase Two Action Fund. “Phase
       One Action Fund” has the meaning set forth in Paragraph 6.7.2 of this Settlement
       Agreement. “Phase Two Action Fund” has the meaning set forth in Paragraph 6.8.6 of this
       Settlement Agreement.

2.4.   “Active Public Water System” means a Public Water System whose activity-status field in
       SDWIS states that the system is “Active.”

2.5.   “AFFF” means aqueous film-forming foam containing PFAS.

2.6.   “Agreement” means this Settlement Agreement.

2.7.   “Allocated Amount” means the portion of the Phase One Action Fund or of the Phase Two
       Action Fund payable to each Qualifying Class Member.

2.8.   “Allocation Procedures” means the process, specified in Exhibit Q, for fairly dividing the
       Settlement Amount to determine the amount payable to each Qualifying Class Member
       from the Qualified Settlement Fund.



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2.9.    “Business Day” means a day other than a Saturday, Sunday, or legal holiday in the United
        States of America as defined by Federal Rule of Civil Procedure 6(a)(6).

2.10.   “Claim” means any past, present, or future claim—including counterclaims, cross-claims,
        actions, rights, remedies, causes of action, liabilities, suits, proceedings, demands,
        damages, injuries, losses, payments, judgments, verdicts, debts, dues, sums of money,
        liens, costs and expenses (including attorneys’ fees and costs), accounts, reckonings, bills,
        covenants, contracts, controversies, agreements, obligations, promises, requests,
        assessments, charges, disputes, performances, warranties, omissions, grievances, or
        monetary impositions of any sort, in each case in any forum and on any theory, whether
        legal, equitable, regulatory, administrative, or statutory; arising under federal, state, or local
        constitutional or common law, statute, regulation, guidance, ordinance, contract, or
        principles of equity; filed or unfiled; asserted or unasserted; fixed, contingent, or non-
        contingent; known or unknown; patent or latent; open or concealed; discovered or
        undiscovered; suspected or unsuspected; foreseen, foreseeable, unforeseen, or
        unforeseeable; matured or unmatured; manifested or not; accrued or unaccrued; ripened or
        unripened; perfected or unperfected; choate or inchoate; developed or undeveloped;
        liquidated or unliquidated; now recognized by law or that may be created or recognized in
        the future by statute, regulation, judicial decision, or in any other manner, including any of
        the foregoing for direct damages, indirect damages, compensatory damages, consequential
        damages, incidental damages, nominal damages, economic loss, punitive or exemplary
        damages, statutory and other multiple damages or penalties of any kind, or any other form
        of damages whatsoever; any request for declaratory, injunctive, or equitable relief, strict
        liability, joint and several liability, restitution, abatement, subrogation, contribution,
        indemnity, apportionment, disgorgement, reimbursement, attorneys’ fees, expert fees,
        consultant fees, fines, penalties, expenses, costs, or any other legal, equitable, civil,
        administrative, or regulatory remedy whatsoever, whether direct, representative,
        derivative, class or individual in nature. It is the intention of this Agreement that the
        definition of “Claim” be as broad, expansive, and inclusive as possible.

2.11.   “Claims Administrator” means the independent neutral third-party Person selected and
        Court-appointed pursuant to Paragraph 7.3 of this Settlement Agreement who is
        responsible for reviewing, analyzing, and approving Claims Forms, and allocating and
        distributing the Settlement Funds fairly and equitably among all Qualifying Class Members
        pursuant to the Allocation Procedures described in Exhibit Q.

2.12.   “Claims Form” means the paper or online document, in the form attached as Exhibit A,
        that Class Members are required to use to make a claim and receive a payment under this
        Settlement Agreement as described in Paragraph 10.3 of this Settlement Agreement. The
        term “Claims Form” may refer to any of seven (7) separate forms: the Phase One Public
        Water System Settlement Claims Form; the Phase One Supplemental Fund Claims Form;
        the Phase One Special Needs Fund Claims Form; the Phase Two Testing Compensation
        Claims Form; the Phase Two Action Fund Claims Form; the Phase Two Supplemental
        Fund Claims Form; and the Phase Two Special Needs Fund Claims Form.

2.13.   “Claims Period” means the time during which a Class Member may submit a Claims Form.
        The term “Claims Period” may refer to any of seven (7) separate periods: the Phase One


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        Action Claims Period, the Phase One Supplemental Claims Period, the Phase One Special
        Needs Claims Period, the Phase Two Testing Claims Period, the Phase Two Action Claims
        Period, the Phase Two Supplemental Claims Period, and the Phase Two Special Needs
        Claims Period.

2.14.   “Class Counsel” means, subject to appointment by the Court, Michael A. London and the
        law firm of Douglas & London, P.C., 59 Maiden Lane, 6th Floor, New York, New York
        10038; Scott Summy and the law firm of Baron & Budd, P.C., 3102 Oak Lawn Avenue,
        Suite 1100, Dallas, Texas 75219; Paul J. Napoli and the law firm of Napoli Shkolnik, 1302
        Avenida Ponce de Leon, Santurce, Puerto Rico 00907; and Elizabeth A. Fegan and the law
        firm of Fegan Scott LLC, 150 South Wacker Drive, 24th Floor, Chicago, Illinois 60606.

2.15.   “Class Member” means an Eligible Claimant that does not opt out of the Settlement Class.
        Each Class Member is either a Phase One Class Member or a Phase Two Class Member,
        but not both. “Phase One Class Member” means a Class Member that is or was a Phase
        One Eligible Claimant. “Phase Two Class Member” means a Class Member that is or was
        a Phase Two Eligible Claimant. It is the intention of this Agreement that the definition of
        “Class Member” be as broad, expansive, and inclusive as possible.

2.16.   “Class Representative” means the following Public Water Systems (or Public Water
        Systems for the following counties, municipalities, or localities), or other Persons whom
        the Court may appoint as representatives of the Settlement Class: the City of Camden
        Water Services (New Jersey); City of Brockton (Massachusetts); City of Sioux Falls (South
        Dakota); California Water Service Company (California); City of Delray Beach (Florida);
        Coraopolis Water & Sewer Authority (Pennsylvania); Verona (New Jersey); Dutchess
        County Water and Wastewater Authority and Dalton Farms Water System (New York);
        South Shore (Kentucky); City of Freeport (Illinois); Martinsburg Municipal Authority
        (Pennsylvania); Seaman Cottages (Vermont); Village of Bridgeport (Ohio); City of
        Benwood (West Virginia); Niagara County (New York); City of Pineville (Louisiana); City
        of Iuka (Mississippi); and City of Amory (Mississippi).

2.17.   “Common-Benefit Holdback Assessment” has the meaning set forth in Paragraph 6.6 of
        this Settlement Agreement.

2.18.   “Community Water System” means a Public Water System that serves at least fifteen (15)
        service connections used by year-round residents or regularly serves at least twenty-five
        (25) year-round residents, consistent with the use of that term in the Safe Drinking Water
        Act, 42 U.S.C. § 300f(15), and 40 C.F.R. Part 141.

2.19.   “Court” means the United States District Court for the District of South Carolina.

2.20.   “Covenant Not to Sue” has the meaning set forth in Paragraph 11.3 of this Settlement
        Agreement.

2.21.   “Dismissal” has the meaning set forth in Paragraph 11.5 of this Settlement Agreement.

2.22.   “Drinking Water” means water provided for human consumption (including uses such as
        drinking, cooking, and bathing), consistent with the use of that term in the Safe Drinking


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        Water Act, 42 U.S.C. §§ 300f to 300j-27. Solely for purposes of this Agreement, the term
        “Drinking Water” includes raw or untreated water that a Public Water System has drawn
        or collected from a Water Source so that the water may then (after any treatment) be
        provided for human consumption. It is the intention of this Agreement that the definition
        of “Drinking Water” be as broad, expansive, and inclusive as possible.

2.23.   “Effective Date” means the date five (5) Business Days after the date of Final Judgment.

2.24.   “Eligible Claimant” means an Active Public Water System that qualifies as a member of
        the Settlement Class. Each Eligible Claimant is either a Phase One Eligible Claimant or a
        Phase Two Eligible Claimant, but not both. “Phase One Eligible Claimant” means an
        Eligible Claimant with one or more Impacted Water Sources as of the Settlement Date.
        “Phase Two Eligible Claimant” means an Eligible Claimant that does not have one or more
        Impacted Water Sources as of the Settlement Date. It is the intention of this Agreement
        that the definition of “Eligible Claimant” be as broad, expansive, and inclusive as possible.

2.25.   “Escrow Agent” has the meaning set forth in Paragraph 6.5.2 of this Settlement Agreement.

2.26.   “Exhibits” means Exhibits A through R, attached to and incorporated by reference in this
        Settlement Agreement.

2.27.   “Final Approval” means the Court’s entry of the Order Granting Final Approval.

2.28.   “Final Fairness Hearing” means the Court hearing in which any Class Member that wishes
        to object to the fairness, reasonableness, or adequacy of the Settlement will have an
        opportunity to be heard, provided that the Class Member complies with the requirements
        for objecting to the Settlement as set out in Paragraphs 8.4 through 8.4.4 of this Settlement
        Agreement. The date of the Final Fairness Hearing shall be set by the Court and
        communicated to all Eligible Claimants in a Court-approved Notice under Federal Rule of
        Civil Procedure 23(c)(2).

2.29.   “Final Judgment” means that the judgment with respect to Released Parties in this action
        has become final, which shall be the earliest date on which all the following events shall
        have occurred: (i) the Settlement is approved in all respects by the Court as required by
        Federal Rule of Civil Procedure 23(e); (ii) the Court enters a judgment that terminates this
        action with respect to Released Parties and satisfies the requirements of Federal Rule of
        Civil Procedure 58; and (iii) the time for appeal of the Court’s approval of this Settlement
        and entry of the final order and judgment with respect to Released Parties under Federal
        Rule of Appellate Procedure 4 has expired or, if appealed, approval of this Settlement has
        been affirmed by the court of last resort to which such appeal (or petition for a writ of
        certiorari) has been taken and such affirmance has become no longer subject to further
        review by the court of appeals (Federal Rule of Appellate Procedure 40) or by the Supreme
        Court (U.S. Supreme Court Rule 13), or the appeal or petition is voluntarily dismissed
        (Federal Rule of Appellate Procedure 42 or U.S. Supreme Court Rule 46).

2.30.   “Impacted Water Source” means a Water Source that has a Qualifying Test Result showing
        a Measurable Concentration of PFAS.



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2.31.   “Interim Class Counsel” means Michael A. London and the law firm of Douglas & London,
        P.C., 59 Maiden Lane, 6th Floor, New York, NY 10038; Scott Summy and the law firm of
        Baron & Budd, P.C., 3102 Oak Lawn Avenue, Suite 1100, Dallas, Texas, 75219; and Paul
        J. Napoli and the law firm of Napoli Shkolnik, 1302 Avenida Ponce de Leon, San Juan,
        Puerto Rico 00907.

2.32.   “Litigation” means collectively all MDL Cases in which any Public Water System asserts
        against any Released Party any Claim related to alleged actual or potential PFAS
        contamination, as well as any currently pending litigation in the United States of America
        in which any Public Water System asserts against any Released Party any Claim related to
        alleged actual or potential PFAS contamination.

2.33.   “MDL Cases” means collectively all cases filed in, transferred to, or associated with In Re:
        Aqueous Film-Forming Foams Products Liability Litigation, MDL No. 2:18-mn-2873 (D.
        S.C.).

2.34.   “Measurable Concentration” means the lower of a concentration equal to or greater than
        the limit of detection of the analytical method used (regardless of whether that limit is
        higher than, lower than, or equal to any limit established for any purpose by federal or state
        law) or one part per trillion (one nanogram per liter).

2.35.   “Non-Class Potable Water” means water in any active privately owned well providing
        potable water for human consumption that is not owned or operated by a Releasing Party
        or water in any active facility or equipment providing potable water for human
        consumption that is not owned or operated by a Releasing Party, so long as the fate and
        transport of PFAS released into groundwater poses a threat to such water.

2.36.   “Non-Transient Non-Community Water System” means a Public Water System that is not
        a Community Water System and that regularly serves at least twenty-five (25) of the same
        persons over six (6) months per year, consistent with the use of that term in 40 C.F.R.
        Part 141.

2.37.   “Notice” means the Court-approved notice to Eligible Claimants that is substantially
        similar to the form attached as Exhibit B.

2.38.   “Notice Administrator” means the independent neutral third-party Person selected and
        Court-appointed pursuant to Paragraph 7.1 of this Settlement Agreement who is
        responsible for administering the Notice Plan.

2.39.   “Notice Plan” means the plan for distribution of the Notice, including direct mail and
        publication, as appropriate, which is set forth in Exhibit C and is subject to Court approval
        as set forth in Paragraphs 7.2 and 8.1 of this Settlement Agreement.

2.40.   “Objection” has the meaning set forth in Paragraph 8.4 of this Settlement Agreement.

2.41.   “Opt Out” or “Request for Exclusion” has the meaning set forth in Paragraph 8.5 of this
        Settlement Agreement.



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2.42.   “Order Granting Final Approval” means the order entered by the Court approving the terms
        and conditions of this Settlement Agreement, including the manner and timing of providing
        Notice and certifying a Settlement Class.

2.43.   “Order Granting Preliminary Approval” means the order entered by the Court conditionally
        approving the terms and conditions of this Settlement Agreement, including the conditional
        certification of the proposed Settlement Class, the manner and timing of providing Notice,
        the period for filing Objections or Requests for Exclusion, and the date of the Final Fairness
        Hearing. Class Representatives will submit to the Court a proposed Order Granting
        Preliminary Approval in the form attached as Exhibit D.

2.44.   “Parties” means 3M, Class Representatives, and Class Members. To the extent that 3M,
        Class Representatives, and Class Members discharge any of their obligations under this
        Settlement Agreement through agents, the actions of those agents shall be considered the
        actions of the Parties.

2.45.   “Party” means any of the Parties.

2.46.   “Person” means a natural person, corporation, company, association, limited liability
        company, partnership, limited partnership, joint venture, affiliate, any other type of private
        entity, a county, municipality, any other public or quasi-public entity, or their respective
        spouse, heir, predecessor, successor, executor, administrator, manager, operator,
        representative, or assign.

2.47.   “PFAS” means, solely for purposes of this Agreement, any per- or poly-fluoroalkyl
        substance that contains at least one fully fluorinated methyl or methylene carbon atom
        (without any hydrogen, chlorine, bromine, or iodine atom attached to it). It is the intention
        of this Agreement that the definition of “PFAS” be as broad, expansive, and inclusive as
        possible.

2.48.   “Phase One Funds” means the Phase One Action Fund, the Phase One Supplemental Fund,
        and the Phase One Special Needs Fund.

2.49.   “Phase Two Cap” has the meaning set forth in Paragraphs 6.8.6 and 6.8.10 of this
        Settlement Agreement.

2.50.   “Phase Two Floor” has the meaning set forth in Paragraphs 6.8.6 and 6.8.9 of this
        Settlement Agreement.

2.51.   “Phase Two Funds” means the Phase Two Testing Compensation Fund, the Phase Two
        Action Fund, the Phase Two Supplemental Fund, and the Phase Two Special Needs Fund.

2.52.   “Phase Two Testing Compensation Fund” has the meaning set forth in Paragraph 6.8.2 of
        this Settlement Agreement.

2.53.   “Preliminary Approval” means the Court’s entry of the Order Granting Preliminary
        Approval.



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2.54.   “Public Water System” means a system for the provision to the public of water for human
        consumption through pipes or other constructed conveyances, if such system has at least
        fifteen (15) service connections or regularly serves an average of at least twenty-five (25)
        individuals daily at least sixty (60) days out of the year, consistent with the use of that term
        in the Safe Drinking Water Act, 42 U.S.C. § 300f(4)(A), and 40 C.F.R. Part 141. The term
        “Public Water System” includes (i) any collection, treatment, storage, and distribution
        facilities under control of the operator of such system and used primarily in connection
        with such system, and (ii) any collection or pretreatment storage facilities not under such
        control which are used primarily in connection with such system. Solely for purposes of
        this Settlement Agreement, the term “Public Water System” refers to a Community Water
        System of any size or a Non-Transient Non-Community Water System that serves more
        than 3,300 people, according to SDWIS; or any Person (but not any financing or lending
        institution) that has legal authority or responsibility (by statute, regulation, other law, or
        contract) to fund or incur financial obligations for the design, engineering, installation,
        operation, or maintenance of any facility or equipment that treats, filters, remediates, or
        manages water that has entered or may enter Drinking Water or any Public Water System;
        but does not refer to a Non-Transient Non-Community Water System that serves 3,300 or
        fewer people, according to SDWIS, or to a Transient Non-Community Water System of
        any size. It is the intention of this Agreement that the definition of “Public Water System”
        be as broad, expansive, and inclusive as possible.

2.55.   “Qualified Settlement Fund” has the meaning set forth in Paragraph 6.2 of this Settlement
        Agreement and shall be established within the meaning of Treas. Reg. § 1.468B-1 for
        purposes of receiving the Settlement Funds as set forth in this Settlement Agreement. The
        “Qualified Settlement Fund” shall consist of seven (7) separate funds: the Phase One
        Action Fund, the Phase One Supplemental Fund, the Phase One Special Needs Fund, the
        Phase Two Testing Compensation Fund, the Phase Two Action Fund, the Phase Two
        Supplemental Fund, and the Phase Two Special Needs Fund.

2.56.   “Qualifying Class Member” means a Class Member that has submitted a Claims Form
        satisfying the requirements of Paragraph 10.3 of this Settlement Agreement. Each
        Qualifying Class Member is either a Phase One Qualifying Class Member or a Phase Two
        Qualifying Class Member, but not both. “Phase One Qualifying Class Member” means a
        Qualifying Class Member that is or was a Phase One Eligible Claimant. “Phase Two
        Qualifying Class Member” means a Qualifying Class Member that is or was a Phase Two
        Eligible Claimant.

2.57.   “Qualifying Test Result” means any result of a test conducted by or at the direction of a
        Class Member or of a federal, state, or local regulatory authority, or any test result reported
        or provided to the Class Member by a certified laboratory or other Person, that used any
        state- or federal agency-approved or -validated analytical method to analyze Drinking
        Water or water that is to be drawn or collected into a Class Member’s Public Water System.

2.58.   “Release” or “Released Claims” has the meaning set forth in Paragraph 11.1 and Section
        11 of this Settlement Agreement.

2.59.   “Released Parties” means 3M and its respective past, present, or future administrators,


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        advisors, affiliated business entities, affiliates, agents, assigns, attorneys, constituent
        corporation or entity (including constituent of a constituent) absorbed by 3M in a
        consolidation or merger, counsel, directors, divisions, employee benefit plans, employee
        benefit plan participants or beneficiaries, employees, executors, heirs, insurers, managers,
        members, officers, owners, parents, partners, partnerships, predecessors, principals,
        resulting corporation or entity, servants, shareholders, subrogees, subsidiaries, successors,
        trustees, trusts, and any other representatives, individually or in their corporate or personal
        capacity, and anyone acting on their behalf, including in a representative or derivative
        capacity. It is the intention of this Agreement that the definition of “Released Parties” be
        as broad, expansive, and inclusive as possible.

2.60.   “Releasing Parties” means Class Representatives, Class Members, and their respective
        past, present, or future administrators, affiliated business entities, affiliates, agencies,
        agents, assigns, attorneys, boards, commissions, counsel, departments, directors, districts,
        divisions, employees, entities, executors, heirs, institutions, instrumentalities, insurers,
        managers, members, officers (elected or appointed), owners, parents, partners,
        predecessors, principals, servants, shareholders, subdivisions, subrogees, subsidiaries,
        successors, trustees, water-system operators, any other representatives, individually or in
        their corporate or personal capacity, anyone acting on behalf of or in concert with a Class
        Member or its Public Water System (excluding states) to prevent PFAS from entering a
        Class Member’s Public Water System or to seek recovery for alleged harm to the Class
        Member’s Public Water System (including recovery of any funds that have already been
        expended to remove PFAS from the Class Member’s Public Water System, none of which
        shall implicate the rights of any state or the federal government), and any Person or entity
        within their power to release. It is the intention of this Agreement that the definition of
        “Releasing Parties” be as broad, expansive, and inclusive as possible.

2.61.   “Required Participation Threshold” has the meaning set forth in Paragraph 9.1 of this
        Settlement Agreement.

2.62.   “SDWIS” means the U.S. EPA Safe Drinking Water Information System Federal
        Reporting Services system, as of the Settlement Date.

2.63.   “Settlement” means the settlement of the Released Claims against the Released Parties that
        is provided for by this Settlement Agreement.

2.64.   “Settlement Agreement” means this document which describes the Settlement between and
        among the Class Representatives and 3M, and any related Exhibits, including the Notice
        and the Claims Forms.

2.65.   “Settlement Amount” means the total amount, other than interest and Notice administration
        costs, paid by 3M under this Settlement, which will be an amount not less than
        $10,500,000,000 and not more than $12,500,000,000, inclusive, as set forth in Paragraphs,
        3.1, 6.1, and 6.7 through 6.13 of this Settlement Agreement.

2.66.   “Settlement Class” has the meaning set forth in Paragraph 5.1 of this Settlement
        Agreement.



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2.67.   “Settlement Date” means the date on which the Class Representatives and 3M execute this
        Settlement Agreement.

2.68.   “Settlement Funds” means the amount of funds in the Qualified Settlement Fund paid by
        3M pursuant to this Settlement Agreement and any interest that accrues thereon.

2.69.   “Special Master” means the independent neutral third-party Person selected and Court-
        appointed pursuant to Paragraph 7.3 of this Settlement Agreement who is responsible for
        overseeing the work of the Notice Administrator and the Claims Administrator, providing
        guidance throughout the allocation and distribution process, and determining appeals
        and/or other disputes that may arise in the course of the Notice Administrator and the
        Claims Administrator executing their duties.

2.70.   “Special Needs Fund” means the Phase One Special Needs Fund or the Phase Two Special
        Needs Fund. “Phase One Special Needs Fund” has the meaning set forth in Paragraph 6.10
        of this Settlement Agreement. “Phase Two Special Needs Fund” has the meaning set forth
        in Paragraph 6.10 of this Settlement Agreement.

2.71.   “Summary Notice” means the Court-approved summary of the Notice to Eligible
        Claimants that is substantially similar to the form attached as Exhibit M.

2.72.   “Supplemental Fund” means the Phase One Supplemental Fund or the Phase Two
        Supplemental Fund. “Phase One Supplemental Fund” has the meaning set forth in
        Paragraph 6.10 of this Settlement Agreement. “Phase Two Supplemental Fund” has the
        meaning set forth in Paragraph 6.10 of this Settlement Agreement.

2.73.   “Taxes” has the meaning set forth in Paragraph 6.5.3 of this Settlement Agreement.

2.74.   “Tax Expenses” has the meaning set forth in Paragraph 6.5.3 of this Settlement Agreement.

2.75.   “Transient Non-Community Water System” means a Public Water System that is not a
        Community Water System and that does not regularly serve at least twenty-five (25) of the
        same persons over six (6) months per year, consistent with the use of that term in 40 C.F.R.
        Part 141.

2.76.   “UCMR-5” means the U.S. EPA’s Fifth Unregulated Contaminant Monitoring Rule and
        all monitoring and testing conducted pursuant to that Rule.

2.77.   “United States of America” means the United States of America, including the states and
        the District of Columbia, its territories and possessions, the Commonwealth of Puerto Rico,
        and other areas subject to its jurisdiction.

2.78.   “U.S. EPA” means the United States Environmental Protection Agency.

2.79.   “Walk-Away Right” has the meaning set forth in Paragraph 9.1 of this Settlement
        Agreement.

2.80.   “Water Source” means a groundwater well, a surface-water intake, or any other intake point


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       from which a Public Water System draws or collects water for distribution as Drinking
       Water, and the raw or untreated water that is thus drawn or collected. Solely for purposes
       of the Allocation Procedures described in Exhibit Q, (i) a purchased water connection from
       a seller that is a Water Source is not a Water Source; (ii) a Public Water System’s multiple
       intakes from one distinct surface-water source are deemed to be a single Water Source so
       long as the intakes supply the same water treatment plant; (iii) a Public Water System’s
       intakes from multiple distinct surface-water sources, or a Public Water System’s intakes
       from one distinct surface-water source that supply multiple water treatment plants, are
       deemed to each be a separate Water Source; and (iv) a Public Water System’s multiple
       groundwater wells (whether from one distinct aquifer or from multiple distinct aquifers)
       that supply multiple water treatment plants are deemed to each be a separate Water Source.

3.     SETTLEMENT AGREEMENT OVERVIEW

3.1.   Settlement Consideration. Subject to the Walk-Away Right, 3M shall make or cause to
       be made payments that total up to the Settlement Amount of $10,500,000,000 to
       $12,500,000,000, inclusive, in accordance with this Settlement Agreement, and these
       payments, along with Notice and administrative costs as set forth in Paragraph 6.2, will
       serve as the Qualified Settlement Fund. In exchange, the Released Parties shall receive
       from the Releasing Parties the Release, Covenant Not to Sue, and Dismissal provided for
       in this Settlement Agreement. No amounts paid pursuant to this Paragraph 3.1 are in
       relation to the violation of any civil or criminal law or the investigation or inquiry by any
       government or governmental entity into the potential violation of any civil or criminal law,
       within the meaning of Section 162(f)(1) of the Internal Revenue Code of 1986, as amended,
       and section 1.162-21(a) of the Treasury Regulations thereunder. All amounts paid pursuant
       to this Paragraph 3.1 are intended for restitution or remediation (including treatment) of
       contamination of Water Sources and Drinking Water. If a determination were made that a
       portion of such amounts is in relation to a violation or potential violation of law, that
       portion constitutes restitution or remediation within the meaning of Section 162(f)(2)(A)
       of the Internal Revenue Code of 1986, as amended and section 1.162-21(a) of the Treasury
       Regulations thereunder. Class Members and 3M shall bear their own costs, including all
       legal expenses and attorneys’ fees. All legal expenses and attorneys’ fees of Class
       Members, including the Common-Benefit Holdback Assessment paid under Paragraph 6.6,
       will be paid by Class Members from amounts paid from the Settlement consideration. No
       portion of any amount paid under this Agreement constitutes the payment of a fine, penalty,
       or punitive damages, the disgorgement of profits, reimbursement for litigation or
       investigation costs or attorneys’ fees or costs, or an amount paid in settlement of any Claim
       for any of the foregoing; and if a determination were made to the contrary, the amounts
       paid would qualify under the exceptions in paragraphs (2) and (3) of Section 162(f).

3.2.   Release of Claims. The obligations incurred pursuant to this Agreement shall be in full
       and final disposition of the Released Claims as against all Released Parties. Upon the
       Effective Date, all Class Members, on behalf of the Releasing Parties, shall, with respect
       to each and every one of the Released Claims, release and forever discharge, and shall
       forever be enjoined from prosecuting, any and all Released Claims against any of the
       Released Parties as set forth in Section 11.



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3.3.     Operation of the Settlement. Class Representatives will seek approval from the Court to
         certify the Settlement Class under Federal Rule of Civil Procedure 23(b)(3). Once a
         Settlement Class is certified, Class Members that wish to receive a portion of the Settlement
         Amount may complete and submit a Claims Form, which is attached as Exhibit A. The
         Claims Form must be submitted to the Claims Administrator on or before the final date of
         the relevant Claims Period and must adhere to and follow all other requirements set forth
         herein or by the Claims Administrator, including providing all required information
         specified on the Claims Form. The Claims Administrator will distribute the Settlement
         Amount to Qualifying Class Members pursuant to Paragraphs 6.7 through 6.13 and the
         Allocation Procedures in Exhibit Q.

4.       REPRESENTATIONS AND WARRANTIES

4.1.     Class Representatives’ Representations and Warranties.               Class Representatives
         represent and warrant to 3M as follows:

       4.1.1.     Each of the Class Representatives is eligible to be and will become a Class
                  Member.

       4.1.2.     Each of the Class Representatives has received legal advice from Interim Class
                  Counsel regarding the advisability of entering into this Settlement Agreement and
                  the legal consequences of this Settlement Agreement.

       4.1.3.     No portion of any of the Released Claims possessed by any of the Class
                  Representatives and no portion of any relief under this Settlement Agreement to
                  which any of the Class Representatives may be entitled has been assigned,
                  transferred, or conveyed by or for any of the Class Representatives to any other
                  Person, except pursuant to (i) a contingency fee agreement with Class Counsel or
                  (ii) a mandatory repayment to any government agency of a grant or loan that
                  financed, in whole or in part, the design, engineering, installation, maintenance,
                  or operation of, or cost associated with any kind of treatment, filtration, or
                  remediation of PFAS by the Class Representative.

       4.1.4.     None of the Class Representatives is relying on any statement, representation,
                  omission, inducement, or promise by 3M, its agents, or its representatives, except
                  those expressly stated in this Settlement Agreement.

       4.1.5.     Each of the Class Representatives, through Interim Class Counsel, has
                  investigated the law and facts pertaining to the Released Claims and the
                  Settlement.

       4.1.6.     Each of the Class Representatives has carefully read, and knows and understands,
                  the full contents of this Settlement Agreement and is voluntarily entering into this
                  Agreement after having consulted with Interim Class Counsel or other attorneys.

       4.1.7.     Each of the Class Representatives has all necessary competence and authority to
                  enter into this Settlement Agreement on its own behalf and on behalf of the Class.



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       4.1.8.   None of the Class Representatives will Opt Out or file an Objection.

4.2.     Interim Class Counsel’s Representations and Warranties. Interim Class Counsel
         represents and warrants to 3M as follows:

       4.2.1.   Interim Class Counsel believes that the Settlement is fair, reasonable, adequate,
                and beneficial to each Class Member and that participation in the Settlement
                would be in the best interests of each Class Member.

       4.2.2.   Because Interim Class Counsel believes that the Settlement is in the best interests
                of each Class Member, they will not solicit, or assist others in soliciting, Eligible
                Claimants to Opt Out, file an Objection, or otherwise challenge the Settlement.

       4.2.3.   Interim Class Counsel has all necessary authority to enter into and execute this
                Settlement Agreement on behalf of Class Representatives and Class Members,
                including under Case Management Order No. 3.

       4.2.4.   Each of the Class Representatives has approved and agreed to be bound by this
                Settlement Agreement.

       4.2.5.   The Released Parties are receiving terms in Section 11, including terms as to the
                Release, the Covenant Not to Sue, and Dismissal, that are at least as favorable to
                the Released Parties as the equivalent terms given to any other defendant in any
                MDL Case that has executed or will execute prior to the Final Fairness Hearing a
                settlement agreement providing for payments totaling two hundred fifty million
                dollars ($250,000,000.00) or more.

       4.2.6.   The representations in Paragraphs 4.1 through 4.1.8 are true and correct to the
                best of Interim Class Counsel’s knowledge.

4.3.     3M’s Representations and Warranties.         3M represents and warrants to the Class
         Representatives as follows:

       4.3.1.   3M has received legal advice from its attorneys regarding the advisability of
                entering into this Settlement Agreement and the legal consequences of this
                Settlement Agreement.

       4.3.2.   3M is not relying on any statement, representation, omission, inducement, or
                promise by any Class Representative, any Eligible Claimant, or Interim Class
                Counsel, except those expressly stated in this Settlement Agreement.

       4.3.3.   3M, with the assistance of its attorneys, has investigated the law and facts
                pertaining to the Released Claims and the Settlement.

       4.3.4.   3M has carefully read, and knows and understands, the full contents of this
                Settlement Agreement and is voluntarily entering into this Agreement after
                having consulted with its attorneys.



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       4.3.5.     3M has all necessary authority to enter into this Settlement Agreement, has
                  authorized the execution and performance of this Settlement Agreement, and has
                  authorized the Person signing this Settlement Agreement on its behalf to do so.

5.       CLASS CERTIFICATION FOR SETTLEMENT PURPOSES

5.1.     Settlement Class Definition. For the sole purpose of effectuating this Settlement, Class
         Representatives and 3M agree that Class Representatives shall request that the Court certify
         the following “Settlement Class”:

                Every Active Public Water System in the United States of America that—

                (a) has one or more Impacted Water Sources as of the Settlement Date; or

                (b) does not have one or more Impacted Water Sources as of the Settlement
                Date, and

                        (i) is required to test for certain PFAS under UCMR-5, or

                        (ii) serves more than 3,300 people, according to SDWIS.

         Excluded from the Settlement Class are the following:

                A. The Public Water Systems listed in Exhibit G, which are associated with
                   a specific PFAS-manufacturing facility owned by 3M.

                B. Any Public Water System that is owned by a state government, is listed
                   in SDWIS as having as its sole “Owner Type” a “State government” (as
                   set forth in Exhibit H), and lacks independent authority to sue and be
                   sued. Solely for purposes of this Settlement Agreement, the Court may
                   correct any misidentification of “Owner Type” in SDWIS prior to Final
                   Approval, in accordance with Paragraph 5.2.

                C. Any Public Water System that is owned by the federal government, is
                   listed in SDWIS as having as its sole “Owner Type” the “Federal
                   government” (as set forth in Exhibit I), and lacks independent authority
                   to sue and be sued. Solely for purposes of this Settlement Agreement,
                   the Court may correct any misidentification of “Owner Type” in SDWIS
                   prior to Final Approval, in accordance with Paragraph 5.2.

                D. The Public Water Systems that are listed in Exhibit J and have
                   previously settled their PFAS-related Claims against 3M.

                E. Any privately owned well that provides water only to its owner’s (or its
                   owner’s tenant’s) individual household and any other system for the
                   provision of water for human consumption that is not a Public Water
                   System.



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5.2.   Identification of Eligible Claimants. The parties have attempted to list each Eligible
       Claimant in one of two Exhibits: Exhibit E lists Phase One Eligible Claimants, and Exhibit
       F lists Phase Two Eligible Claimants. Each Eligible Claimant is either a Phase One
       Eligible Claimant or a Phase Two Eligible Claimant, but not both. Exhibits E and F are
       illustrative only. Whether an Eligible Claimant is a Phase One Eligible Claimant or a Phase
       Two Eligible Claimant shall be determined in accordance with Paragraph 2.24 and with
       this Settlement Agreement. The parties also have attempted to list certain Persons or
       entities that are not Eligible Claimants in four Exhibits: Exhibit G, described in Paragraph
       5.1(A); Exhibit H, described in Paragraph 5.1(B); Exhibit I, described in Paragraph 5.1(C);
       and Exhibit J, described in Paragraph 5.1(D). Any Person or entity that has been
       erroneously listed in or omitted from any of these six Exhibits should promptly submit a
       notice of the error to the parties and (once appointed by the Court) to the Special Master,
       the Claims Administrator, and the Notice Administrator. Prior to the Court’s appointment
       of the Special Master, any such error may be corrected by mutual written agreement
       between the Interim Class Counsel and 3M’s Counsel. After the Court’s appointment of
       the Special Master, any such error may be corrected only by a written order from the
       Special Master. No such error may be corrected after Final Approval.

6.     CONSIDERATION

6.1.   Settlement Amount. Under the terms of this Settlement Agreement, and subject to the
       Walk-Away Right, 3M shall pay a total not less than $10,500,000,000 and not more than
       $12,500,000,000, inclusive, into an interest-bearing “Qualified Settlement Fund” account
       at a federally insured financial institution established in accordance with Treasury
       Regulations § 1.468B-1 et seq., which shall be administered and distributed pursuant to
       this Section 6 and the Allocation Procedures described in Exhibit Q.

6.2.   Notice and Administrative Costs. Subject to the Common-Benefit Holdback Assessment
       set forth in Paragraph 6.6 (which may be applied at a later date), within twenty-one (21)
       calendar days after Preliminary Approval, 3M shall wire transfer up to $5,000,000 to the
       Qualified Settlement Fund account, as described below, for ultimate distribution in
       accordance with this Agreement. If the Qualified Settlement Fund has not been established
       and approved by the Court by the deadline for such payment, 3M shall not be obligated to
       make such payment until ten (10) Business Days after the Qualified Settlement Fund is
       established and approved by the Court. In no event shall 3M have any liability whatsoever
       with respect to any installment of the Settlement Funds once it is paid to the Qualified
       Settlement Fund in accordance with this Agreement and as specified in this Section 6. The
       amounts that will be due in each installment, as well as the dates for the installments, are
       set forth in the Payment Schedule in Exhibit K.

6.3.   Use of the Qualified Settlement Fund for Notice and Administration Costs. The
       Qualified Settlement Fund may be used to fund the provision of Notice pursuant to the
       Notice Plan and any reasonable fees, costs, or expenses incurred by the Notice
       Administrator, the Claims Administrator, the Special Master, or the Escrow Agent under
       this Settlement Agreement. The Escrow Agent shall disburse funds for such costs upon
       the parties’ joint written request.



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6.4.     Conditions for Settlement Distribution. Other than as expressly provided for in
         Paragraph 6.3, the Claims Administrator may not distribute any money to any Person,
         including any Qualifying Class Member, unless and until (i) the Court has issued an Order
         Granting Final Approval, (ii) all deadlines, including those set forth in Paragraphs 9.2
         through 9.3 for 3M to terminate the Settlement, have passed, and (iii) the Effective Date
         has passed.

6.5.     Tax Treatment of the Qualified Settlement Fund.

       6.5.1.     The Qualified Settlement Fund shall be treated as being at all times a “qualified
                  settlement fund” within the meaning of Treas. Reg. § 1.468B-1. The Escrow
                  Agent shall timely make such elections as necessary or advisable to carry out the
                  provisions of Paragraphs 6.5.1 through 6.5.5, including the “relation-back
                  election” (as defined in Treas. Reg. § 1.468B-1), back to the earliest permitted
                  date. Such elections shall be made in compliance with the procedures and
                  requirements contained in such regulations. It shall be the sole responsibility of
                  the Escrow Agent to timely and properly prepare and deliver the necessary
                  documentation for signature by all necessary parties, and thereafter to cause the
                  appropriate filings to occur.

       6.5.2.     For the purpose of Section 468B of the Internal Revenue Code of 1986, as
                  amended, and the regulations promulgated thereunder, the “administrator” as
                  defined in that Section shall be the independent neutral third-party “Escrow
                  Agent.” The Escrow Agent shall file all informational and other tax returns
                  necessary or advisable with respect to the Qualified Settlement Fund (including
                  the returns described in Treas. Reg. § 1.468B-2(k)). Such returns (as well as the
                  election described in Paragraph 6.5.1) shall be consistent with Paragraphs 6.5.1
                  through 6.5.5 and in all events shall reflect that all Taxes (including any estimated
                  Taxes, interest, or penalties) on the income earned by the Qualified Settlement
                  Fund shall be paid out of the Qualified Settlement Fund as provided in Paragraph
                  6.5.3.

       6.5.3.     All: (i) Taxes (including any estimated Taxes, interest, or penalties) arising with
                  respect to the income earned by the Qualified Settlement Fund, including any
                  Taxes or tax detriments that may be imposed upon 3M, its insurers, or its counsel
                  with respect to any income earned by the Qualified Settlement Fund for any
                  period during which the Qualified Settlement Fund does not qualify as a
                  “qualified settlement fund” for federal or state income tax purposes (the “Taxes”);
                  and (ii) expenses and costs incurred in connection with the operation and
                  implementation of Paragraph 6.5.2 (including expenses of tax attorneys or
                  accountants and mailing and distribution costs and expenses relating to filing or
                  failing to file the returns described in Paragraph 6.5.2) (the “Tax Expenses”) shall
                  be paid from the Qualified Settlement Fund, including any interest that accrues
                  thereon. In all events, neither Released Parties, Class Representatives, 3M’s
                  insurers, nor 3M’s Counsel shall have any liability or responsibility for the Taxes
                  or the Tax Expenses. The Taxes and Tax Expenses shall be treated as, and
                  considered to be, a cost of administration of the Qualified Settlement Fund and


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                  shall be timely paid by the Escrow Agent out of the Qualified Settlement Fund
                  without prior order from the Court, and the Escrow Agent shall (notwithstanding
                  anything herein to the contrary) withhold from distribution out of the Qualified
                  Settlement Fund any funds necessary to pay such amounts, including the
                  establishment of adequate reserves for any Taxes and Tax Expenses (as well as
                  any amounts that may be required to be withheld under Treas. Reg. § 1.468B-
                  2(l)(2)), and neither Released Parties, Class Representatives, their insurers, nor
                  their counsel are responsible nor shall they have any liability therefor.

       6.5.4.     Class Counsel shall enter into an escrow agreement with the Escrow Agent which
                  shall be consistent with and shall give effect to the obligations of the Escrow
                  Agent provided for by this Settlement Agreement. The parties agree to cooperate
                  with the Escrow Agent, each other, and their respective tax attorneys and
                  accountants to the extent reasonably necessary to carry out the provisions of this
                  Settlement Agreement. Interim Class Counsel shall propose the following
                  Person, subject to the review of 3M, to serve as Escrow Agent:

                       Christopher Ritchie
                       Senior Vice President
                       The Huntington National Bank
                       1150 First Avenue, Suite 103
                       King of Prussia, PA 19406

       6.5.5.     3M makes no representations to Class Members concerning any tax consequences
                  or treatment of any allocation or distribution of funds to Qualifying Class
                  Members pursuant to this Settlement Agreement, the Settlement, or the Allocation
                  Procedures.

6.6.     Common-Benefit Holdback Assessment. Any fees and expenses awarded pursuant to
         Paragraphs 8.8 and 10.2 shall be subject to a “Common-Benefit Holdback Assessment”
         under Case Management Order No. 3 entered by the MDL Court on April 26, 2019. Such
         Order requires a holdback assessment to be assessed before any portion of the Settlement
         Funds is distributed to Qualifying Class Members or Class Counsel and further requires a
         holdback assessment of six percent (6%) of the amount of any settlement to be allotted for
         common-benefit attorneys’ fees and three percent (3%) of the amount of any settlement to
         be allotted for reimbursement of permissible common-benefit costs and expenses. In
         accordance with Case Management Order No. 3, the Escrow Agent shall pay the applicable
         amounts into an interest-bearing account established by future order of the Court within
         ten (10) Business Days after the Court establishes such account or when such distribution
         is paid, whichever date is later.

6.7.     Consideration for Phase One Water Systems.

       6.7.1.     Eligibility for Payments. A Phase One Qualifying Class Member shall be
                  eligible for payment from the Phase One Action Fund and potentially from the
                  Phase One Supplemental Fund and the Phase One Special Needs Fund, but not
                  from any of the Phase Two Funds.


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       6.7.2.   Payments for the Phase One Action Fund. 3M shall make payments for the
                “Phase One Action Fund” in multiple installments over time, as set forth in the
                Payment Schedule in Exhibit K. The first installment will be paid within sixty
                (60) calendar days after the Effective Date, but in any event no earlier than July
                1, 2024. As set forth in the Payment Schedule in Exhibit K, nine (9) subsequent
                payments will be made annually thereafter for nine (9) years, on April 15 of each
                calendar year. The total amount of all payments described in this Paragraph 6.7.2,
                excluding any interest paid pursuant to Paragraph 6.11, but including the amounts
                that the Public Water Systems for the City of Stuart, Florida, and for the City of
                Rome, Georgia, would have received as Phase One Qualifying Class Members
                under the Allocation Procedures described in Exhibit Q, will be $6,875,000,000.
                Within five (5) Business Days after each payment described in this Paragraph
                6.7.2, the Escrow Agent shall transfer seven percent (7%) of the payment amount
                into the Phase One Supplemental Fund and five percent (5%) of the payment
                amount into the Phase One Special Needs Fund.

       6.7.3.   Payments from the Phase One Action Fund. It is contemplated that within
                fourteen (14) calendar days, but no later than sixty (60) calendar days (or in the
                first year of Phase One Action Fund payments, one hundred twenty (120) days),
                after each payment described in Paragraph 6.7.2, each Phase One Qualifying
                Class Member shall receive a payment from the Phase One Action Fund, unless
                that Qualifying Class Member has already received its entire Allocated Amount.

       6.7.4.   Calculation of Payments from the Phase One Action Fund. The amount of
                each payment described in Paragraph 6.7.3 shall be determined by the Claims
                Administrator by applying the Allocation Procedures described in Exhibit Q.

6.8.     Consideration for Phase Two Water Systems.

       6.8.1.   Eligibility for Payments. A Phase Two Qualifying Class Member shall be
                eligible for payment from the Phase Two Testing Compensation Fund and
                potentially from the Phase Two Action Fund, the Phase Two Supplemental Fund,
                and the Phase Two Special Needs Fund, but not from any of the Phase One Funds.
                A Phase Two Qualifying Class Member is not eligible for payment from the Phase
                Two Testing Compensation Fund for any PFAS testing that is required by federal
                or state law.

       6.8.2.   Payment for the Phase Two Testing Compensation Fund. 3M shall make
                payments for the “Phase Two Testing Compensation Fund” in two equal
                installments of $52,500,000 each, as set forth in the Payment Schedule in Exhibit
                K. The first installment will be paid within sixty (60) calendar days after the
                Effective Date, but in any event no earlier than July 1, 2024.

       6.8.3.   Payments from the Phase Two Testing Compensation Fund. It is contemplated
                that within fourteen (14) calendar days, but no later than sixty (60) calendar days,
                after the first payment described in Paragraph 6.8.2, initial payments from the
                Phase Two Testing Compensation Fund shall commence. The Escrow Agent


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            shall transfer any money remaining in the Phase Two Testing Compensation Fund
            on July 1, 2026, to the Phase Two Action Fund.

   6.8.4.   Amount of Payments from the Phase Two Testing Compensation Fund.
            Payments from the Phase Two Testing Compensation Fund must be limited to the
            actual costs of testing and, absent what the Claims Administrator deems in writing
            to be an extraordinary circumstance, shall not exceed $800 per sample.

   6.8.5.   Monthly Updates and Final Report on Testing. The Claims Administrator
            shall provide the parties monthly updates (on the first Tuesday of each month) on
            the detailed PFAS test results and a final report on those results by July 1, 2026.

   6.8.6.   Payments for the Phase Two Action Fund. 3M shall make payments for the
            “Phase Two Action Fund” in multiple installments over time, as set forth in the
            Payment Schedule in Exhibit K. The first installment will be paid no earlier than
            April 15, 2027. As set forth in the Payment Schedule in Exhibit K, nine (9)
            subsequent payments will be made annually thereafter for nine (9) years, on April
            15 of each calendar year. The total amount of all payments described in this
            Paragraph 6.8.6, excluding any interest paid pursuant to Paragraph 6.11, but
            including the difference between the full amount of 3M’s settlement with the City
            of Stuart, Florida and the amount that the Public Water System for the City of
            Stuart, Florida, would have received as a Phase One Qualifying Class Member
            under the Allocation Procedures described in Exhibit Q, will be based on the
            Phase Two Class Members’ PFAS test results, as summarized in the Claims
            Administrator’s final report under Paragraph 6.8.5, and on the Allocation
            Procedures described in Exhibit Q; but in any event that total amount shall be no
            less than a “Phase Two Floor” of $3,625,000,000 and no more than a “Phase Two
            Cap” of $5,625,000,000 (including money that is or was in the Phase Two Testing
            Compensation Fund). Within five (5) Business Days after each payment
            described in this Paragraph, the Escrow Agent shall transfer seven percent (7%)
            of the payment amount into the Phase Two Supplemental Fund and five percent
            (5%) of the payment amount into the Phase Two Special Needs Fund.

   6.8.7.   Payments from the Phase Two Action Fund. It is contemplated that within
            fourteen (14) calendar days, but no later than sixty (60) calendar days (or in the
            first year of Phase Two Action Fund payments, one hundred twenty (120) days),
            after each payment described in Paragraph 6.8.6, each Phase Two Qualifying
            Class Member that has one or more Impacted Water Sources shall receive a
            payment from the Phase Two Action Fund, unless that Qualifying Class Member
            has already received its entire Allocated Amount.

   6.8.8.   Calculation of Payments from the Phase Two Action Fund. The amount of
            each payment described in Paragraph 6.8.7 shall be determined by the Claims
            Administrator by applying the Allocation Procedures described in Exhibit Q,
            subject to adjustments to accommodate the Phase Two Floor or the Phase Two
            Cap described in Paragraph 6.8.9 or 6.8.10, respectively.



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        6.8.9.     Effect of the Phase Two Floor. Subject to Paragraph 6.8.11, if, after the Claims
                   Administrator applies the Allocation Procedures described in Exhibit Q, total
                   payments from the Phase Two Funds would be less than the “Phase Two Floor”
                   of $3,625,000,000, the Claims Administrator shall increase each Phase Two
                   Qualifying Class Member’s Allocated Amount by the same percentage, so that
                   the total payments from the Phase Two Action Fund will meet the Phase Two
                   Floor.

        6.8.10.    Effect of the Phase Two Cap. Subject to Paragraph 6.8.11, if, after the Claims
                   Administrator applies the Allocation Procedures described in Exhibit Q, total
                   payments from the Phase Two Funds would be more than the “Phase Two Cap”
                   of $5,625,000,000, the Claims Administrator shall reduce each Phase Two
                   Qualifying Class Member’s Allocated Amount by the same percentage, so that
                   the total payments from the Phase Two Action Fund will not exceed the Phase
                   Two Cap.

        6.8.11.    Promoting Equity for Phase One and Phase Two Water Systems. If either the
                   Phase Two Floor or the Phase Two Cap is applied, the Claims Administrator, with
                   the Special Master’s approval, may shift from Phase One to Phase Two, or from
                   Phase Two to Phase One, portions of the amounts designated in the Payment
                   Schedule (attached as Exhibit K) as payments in 2029 or later, if necessary to
                   promote equity between Phase One Qualifying Class Members and Phase Two
                   Qualifying Class Members. Any such shift shall not alter the size or timing of
                   any payment that 3M owes under this Settlement Agreement.

6.9.      Allocation Procedures. The Allocation Procedures that will determine the amounts
          payable to each Qualifying Class Member are described in Exhibit Q. Applying the
          Allocation Procedures, the Claims Administrator shall calculate for each Phase One
          Qualifying Class Member an amount equaling the sum of the allocations for each Impacted
          Water Source that supplies water directly to a Public Water System owned or operated by
          the Phase One Qualifying Class Member. Later, the Claims Administrator shall
          individually calculate for each Phase Two Qualifying Class Member an amount that
          approximates, as closely as is reasonably possible, the amount that the Phase Two
          Qualifying Class Member would have been allocated if it had been a Phase One Qualifying
          Class Member.

6.10.     The Supplemental and Special Needs Funds. The Allocation Procedures in Exhibit Q
          describe which Qualifying Class Members are eligible for payment from the “Phase One
          Supplemental Fund,” the “Phase One Special Needs Fund,” the “Phase Two Supplemental
          Fund,” and the “Phase Two Special Needs Fund,” and also describe how the Claims
          Administrator will determine the amount of each payment from any of these funds.

6.11.     Late Payment. As set forth in the Payment Schedule in Exhibit K, 3M is scheduled to
          make twelve (12) annual payments of varying sizes that are due on April 15 of each
          calendar year from 2025 through 2036, inclusive. 3M may pay any payment that is due in
          2025 or thereafter up to ninety (90) calendar days after its due date, so long as 3M adds
          interest to the payment, calculated at the Wall Street Journal Prime Rate plus eight percent


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        (8%) for the period from the due date to the date the payment is made. However, it is
        agreed that only two (2) of these twelve (12) annual payments may be delayed. In the event
        that 3M intends to make a delayed payment, 3M shall give Class Counsel written notice of
        this intent by certified mail and email at least thirty (30) days before the payment is due.
        If 3M elects to delay a payment under this provision, it shall provide a solvency certificate
        to Class Counsel (which may be satisfied by a solvency opinion by a nationally recognized
        valuation firm) at the time of such notice. The solvency certificate shall include (or if need
        be, have appended to it) representations by 3M that the failure to timely make the payment
        will not negatively impact the solvency of 3M, that 3M does not intend to declare
        bankruptcy prior to making the payment, and that 3M will remain solvent after making the
        payment. If 3M does not provide the thirty (30) days’ notice and the solvency certificate
        in conjunction with such notice, it shall pay a liquidated penalty of $10 million to the
        Qualified Settlement Fund at the time 3M makes the delayed payment.

6.12.   Maximum Total Payment. Other than interest for any payment made up to 90 days after
        its due date (and any potential liquidated penalty under Paragraph 6.11), and up to
        $5,000,000 to cover costs incurred by the Notice Administrator and costs of executing the
        Notice Plan, 3M shall not pay pursuant to this Settlement Agreement more than
        $12,500,000,000; or, if the Phase Two Floor is applied, more than $10,500,000,000; or if
        neither the Phase Two Floor nor the Phase Two Cap is applied, an amount between
        $10,500,000,000 and $12,500,000,000 calculated as described in this Section 6 and in the
        Payment Schedule in Exhibit K. Included within 3M’s total payment amount of
        $10,500,000,000 to $12,500,000,000 are all costs incurred by the Special Master, the
        Claims Administrator, the Escrow Agent, and their agents; the Common-Benefit Holdback
        Assessments, whether for attorneys’ fees, costs, or otherwise; all attorneys’ fees, costs, and
        expenses; the full amount of 3M’s settlement with the City of Stuart, Florida; and the full
        amount of 3M’s credit for the amount that the Public Water System for the City of Rome,
        Georgia, would have received as a Phase One Qualifying Class Member under the
        Allocation Procedures described in Exhibit Q.

6.13.   Payment of Amounts Remaining in Any Fund. The Claims Administrator shall pay any
        money remaining in the Phase One Action Fund, the Phase One Supplemental Fund, or the
        Phase One Special Needs Fund as of December 31, 2033, to the Phase One Qualifying
        Class Members, in proportion to the sum of the prior payments that each Phase One
        Qualifying Class Member received from all funds established by this Settlement
        Agreement. The Claims Administrator shall pay any money remaining in the Phase Two
        Action Fund, the Phase Two Supplemental Fund, or the Phase Two Special Needs Fund as
        of December 31, 2036, to the Phase Two Qualifying Class Members in proportion to the
        sum of the prior payments that each Phase Two Qualifying Class Member received from
        all funds established by this Settlement Agreement.

7.      ADMINISTRATION

7.1.    Selection of Notice Administrator. Within thirty (30) calendar days after the Settlement
        Date, Interim Class Counsel will retain, subject to consultation with 3M, a Notice
        Administrator who shall be formally appointed by the Court. Interim Class Counsel shall
        propose the following Person, subject to the review of 3M, to serve as Notice


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         Administrator, who shall be subject to appointment by the Court in the Order Granting
         Preliminary Approval:

                Steven Weisbrot
                President and Chief Executive Officer
                Angeion Group
                1650 Arch Street, Suite 2210
                Philadelphia, PA 19103

7.2.     Requirements for Notice Administrator. The Notice Administrator’s role shall
         generally include administering the Notice Plan, which is subject to Court approval as
         provided in Paragraph 8.1.

       7.2.1.     The Notice Administrator may not be a Person who has acted as counsel, or
                  otherwise represented a party, in Claims relating to AFFF or PFAS.

       7.2.2.     The Notice Administrator shall have the authority to perform all actions
                  consistent with the terms of this Settlement Agreement that the Notice
                  Administrator deems to be reasonably necessary to effectuate the Notice Plan,
                  which is subject to Court approval as provided in Paragraph 8.1. Subject to the
                  Court’s approval, the Notice Administrator may retain any Person that the Notice
                  Administrator deems to be reasonably necessary to provide assistance in
                  administering the Notice Plan.

       7.2.3.     Any successor to the initial Notice Administrator shall fulfill the same functions
                  from and after the date of succession and shall be bound by the determinations
                  made by the predecessor to date.

       7.2.4.     The Notice Administrator shall have no authority to alter in any way the Parties’
                  rights and obligations under the Settlement Agreement.

       7.2.5.     3M, 3M’s Counsel, and Released Parties shall have no involvement with or
                  responsibility for supervising the Notice Administrator and are not subject to the
                  authority of the Notice Administrator.

       7.2.6.     All fees, costs, and expenses incurred in the administration or work by the Notice
                  Administrator, including fees, costs, and expenses of the Notice Administrator,
                  shall be paid in accordance with Paragraph 6.3.

7.3.     Selection of Claims Administrator. Interim Class Counsel shall propose the following
         Person, subject to the review of 3M, to serve as Claims Administrator, who shall be subject
         to appointment by the Court in the Order Granting Preliminary Approval:

                Dustin Mire
                Eisner Advisory Group
                8550 United Plaza Boulevard, Suite #1001
                Baton Rouge, LA 70809



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7.4.     Requirements for Claims Administrator. The Claims Administrator’s role generally
         shall include administration of the proposed Settlement, including reviewing, analyzing,
         and approving Claims Forms, including all supporting documentation, as well as
         determining any Qualifying Class Member’s Allocated Amount and overseeing
         distribution of the Settlement Funds pursuant to this Settlement Agreement and the
         Allocation Procedures described in Exhibit Q.

       7.4.1.     The Claims Administrator may not be a Person who has acted as counsel, or
                  otherwise represented a party, in Claims relating to AFFF or PFAS.

       7.4.2.     The Claims Administrator shall have the authority to perform all actions
                  consistent with the terms of this Settlement Agreement that the Claims
                  Administrator deems to be reasonably necessary to effectuate the administration
                  of claims. Subject to the Court’s approval, the Claims Administrator may retain
                  any Person that the Claims Administrator deems to be reasonably necessary to
                  provide assistance in administering the Allocation Procedures described in
                  Exhibit Q.

       7.4.3.     Any successor to the initial Claims Administrator shall fulfill the same functions
                  from and after the date of succession and shall be bound by the determinations
                  made by the predecessor to date.

       7.4.4.     The Claims Administrator shall have no authority to alter in any way the Parties’
                  rights and obligations under the Settlement Agreement.

       7.4.5.     3M, 3M’s Counsel, and Released Parties are not subject to the authority of the
                  Claims Administrator.

       7.4.6.     Any decision by the Claims Administrator resolving any dispute that could,
                  directly or indirectly, alter the size or timing of any payment that 3M owes under
                  this Settlement Agreement may be reviewed de novo by the Special Master upon
                  written request from the aggrieved Party or Person.

       7.4.7.     All fees, costs, and expenses incurred in the administration or work by the Claims
                  Administrator, including fees, costs, and expenses of the Claims Administrator,
                  shall be paid in accordance with Paragraph 6.3.

7.5.     Selection of Special Master. Interim Class Counsel shall propose the following Person to
         serve as Special Master, who shall be formally appointed by the Court pursuant to Federal
         Rule of Civil Procedure 53:

                Matthew Garretson
                Wolf/Garretson LLC
                P.O. Box 2806
                Park City, UT 84060

         Class Counsel and 3M shall also select a retired judge to serve as a Special Master for the
         purpose of resolving disputes that Class Counsel and 3M may identify, including disputes


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         about the timing or amount of 3M’s payments under Phase Two. Class Counsel and 3M
         shall propose such retired judge to be formally appointed by the Court and, in the event
         that they cannot reach agreement, they shall work with the MDL mediator to reach
         agreement or, failing that, shall request that the Court appoint a retired judge to serve in
         this capacity. The retired judge shall be selected and appointed before any dispute
         impacting the timing or amount of 3M’s payments under Phase Two could arise. Such
         person shall be treated as the “Special Master” under this Agreement for those disputes that
         he or she is called upon to resolve.

7.6.     Requirements for Special Master. The Special Master’s role shall generally include
         administration of the proposed Settlement by overseeing the work of the Notice
         Administrator and the Claims Administrator, and in providing quasi-judicial intervention
         if and/or when necessary, such as for determinations (if any) related to appeals of Allocated
         Amounts.

       7.6.1.     The Special Master may not be a Person who has acted as counsel, or otherwise
                  represented a party, in Claims relating to AFFF or PFAS.

       7.6.2.     The Special Master shall have the authority to perform all actions consistent with
                  the terms of this Settlement Agreement that the Special Master deems to be
                  reasonably necessary for the efficient and timely administration of the Settlement.
                  Subject to the Court’s approval, the Special Master may retain any Person that the
                  Special Master deems to be reasonably necessary to provide assistance in
                  effectuating the Settlement.

       7.6.3.     Any successor to the initial Special Master shall fulfill the same functions from
                  and after the date of succession and shall be bound by the determinations made
                  by the predecessor to date.

       7.6.4.     The Special Master shall have no authority to alter in any way the Parties’ rights
                  and obligations under the Settlement Agreement absent express, written
                  agreement by the Parties.

       7.6.5.     3M, 3M’s Counsel, and Released Parties are not subject to the authority of the
                  Special Master.

       7.6.6.     Any decision by the Special Master resolving any dispute that could, directly or
                  indirectly, alter the size or timing of any payment that 3M owes under this
                  Settlement Agreement may be reviewed de novo by the Court upon written
                  request from the aggrieved Party or Person. The Court’s judgments shall be final,
                  binding, and nonreviewable, except to the extent that they impact the size or
                  timing of any payment that 3M owes under this Settlement Agreement.

       7.6.7.     Pursuant to Federal Rule of Civil Procedure 53(f), Class Representatives and 3M
                  stipulate that the Special Master’s factual findings will be reviewed by the Court
                  only for clear error (unless the Court disapproves that part of the stipulation and
                  thus requires de novo review); the Special Master’s legal conclusions, including
                  the Special Master’s interpretation of this Settlement Agreement, will be


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                   reviewed by the Court de novo; and the Special Master’s ruling on any procedural
                   matter may be set aside by the Court only for an abuse of discretion.

       7.6.8.      All fees, costs, and expenses incurred in the administration or work by the Special
                   Master, including fees, costs, and expenses of the Special Master, shall be paid
                   solely from the Qualified Settlement Fund.

7.7.     Qualified Settlement Fund Administration. All fees, costs, and expenses incurred in the
         administration of the Qualified Settlement Fund, including fees, costs, and expenses of the
         Escrow Agent, shall be paid in accordance with Paragraph 6.3.

7.8.     Allocation. The Settlement Funds shall be allocated pursuant to the Allocation Procedures
         described in Exhibit Q.

8.       APPROVAL AND NOTICE

8.1.     Preliminary Approval. Within ten (10) calendar days after the Settlement Date, Class
         Representatives shall submit to the Court a motion seeking (i) certification, for settlement
         purposes only, of the Settlement Class as defined in Paragraph 5.1; (ii) Preliminary
         Approval of the Settlement; (iii) approval of the Notice (attached as Exhibit B); (iv)
         approval of the Notice Plan (attached as Exhibit C); (v) approval of the Summary Notice
         (attached as Exhibit M); (vi) appointment of Class Counsel; (vii) appointment of the Notice
         Administrator; (viii) appointment of the Claims Administrator; and (ix) appointment of the
         Special Master.

8.2.     Notice.

       8.2.1.      The Notice process shall commence no later than fourteen (14) calendar days after
                   the entry of the Order Granting Preliminary Approval. Notice shall be provided
                   by the Notice Administrator to Eligible Claimants by first-class U.S. mail where
                   available and by publication elsewhere to meet the requirements of Federal Rule
                   of Civil Procedure 23, incorporate the elements suggested by the Federal Judicial
                   Center, and describe the aggregate Settlement Funds, the consideration described
                   in Section 6, and the Allocation Procedures described in Exhibit Q. Class
                   Representatives and 3M will agree in writing on the form and content of the
                   Notice and Claims Form, consistent with Exhibit B and Exhibit A, respectively.

       8.2.2.      The Notice of the Settlement shall explain that each Eligible Claimant must
                   specify if it (i) objects to the Settlement, as described in Paragraphs 8.4 through
                   8.4.4, or (ii) wishes to opt out of the Settlement, as described in Paragraphs 8.5
                   through 8.5.4. The Notice also shall explain that, under Paragraph 5.2, an Eligible
                   Claimant must submit a timely notice if it has been erroneously listed in Exhibit
                   E or F as a Phase One Eligible Claimant or a Phase Two Eligible Claimant,
                   respectively. The Notice must explain that any Phase One Eligible Claimant that
                   does not opt out will be required to test (or to recently have tested) all its Water
                   Sources for PFAS, as described in Exhibit Q, and to submit all PFAS test results
                   to the Claims Administrator as part of the Phase One process, as described in
                   Exhibit Q and Paragraph 10.3. The Notice also must explain that any Phase Two


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                   Eligible Claimant that does not opt out will be eligible for the Phase Two process
                   (as described in Paragraphs 6.8 through 6.8.11), including funds available for
                   future PFAS testing (as described in Exhibit Q and Paragraphs 6.8.2 through
                   6.8.5), and will be required to test all its Water Sources for PFAS, as described in
                   Exhibit Q, and to submit all PFAS test results to the Claims Administrator as part
                   of the Phase Two process, as described in Exhibit Q and Paragraph 10.3. The
                   Notice must explain that any Eligible Claimant that fails to respond to the Notice
                   will become a Class Member and have its Claims released as described in Section
                   11.

8.3.      CAFA Notice. Pursuant to the Class Action Fairness Act of 2005, 28 U.S.C. § 1715(b),
          3M, or the Notice Administrator on 3M’s behalf, shall serve notice of the Settlement via
          first-class U.S. mail on the appropriate federal and state officials no later than ten (10)
          calendar days after this Settlement Agreement is filed with the Court.

 8.4.     Objections to Settlement. Any Eligible Claimant that wishes to object to the Settlement
          or an award of fees or expenses to Class Counsel must file a written, signed statement
          designated “Objection” with the Clerk of the Court and provide service on 3M and Class
          Representatives in accordance with Federal Rule of Civil Procedure 5. Any Objection must
          be properly filed and served by the deadline imposed by the Court. In seeking Preliminary
          Approval of this Settlement Agreement, the Class Representatives will ask the Court to set
          that deadline sixty (60) calendar days after the date the Notice is mailed.

        8.4.1.     All Objections must certify, under penalty of perjury in accordance with 28
                   U.S.C. § 1746, that the filer has been legally authorized to object on behalf of the
                   Eligible Claimant and must provide:

                 8.4.1.1. an affidavit or other proof of the Eligible Claimant’s standing;

                 8.4.1.2. the name, address, telephone and facsimile numbers, and email address
                          (if available) of the filer and the Eligible Claimant;

                 8.4.1.3. the name, address, telephone and facsimile numbers, and email address
                          (if available) of any counsel representing the Eligible Claimant;

                 8.4.1.4. all objections asserted by the Eligible Claimant and the specific reasons
                          for each objection, including all legal support and evidence the Eligible
                          Claimant wishes to bring to the Court’s attention;

                 8.4.1.5. an indication as to whether the Eligible Claimant wishes to appear at the
                          Final Fairness Hearing; and

                 8.4.1.6. the identity of all witnesses the Eligible Claimant may call to testify.

        8.4.2.     Any Eligible Claimant may object either on its own or through any attorney hired
                   at its own expense. If an Eligible Claimant is represented by counsel, the attorney
                   must file a notice of appearance with the Clerk of Court no later than the date
                   ordered by the Court for the filing of Objections and serve 3M’s Counsel and


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                  Class Counsel in accordance with Federal Rule of Civil Procedure 5 within the
                  same period.

       8.4.3.     Any Eligible Claimant that complies with the provisions of Paragraphs 8.4
                  through 8.4.2 may, in the Court’s discretion, appear at the Final Fairness Hearing
                  to object to the Settlement or to the award of fees and costs to Class Counsel. Any
                  Eligible Claimant that fails to comply with the provisions of Paragraphs 8.4
                  through 8.4.2 shall waive and forfeit any and all rights and objections the Eligible
                  Claimant may have asserted, and shall be bound by all the terms of the Settlement
                  Agreement and by all proceedings, orders, and judgments with respect to the
                  Settlement.

       8.4.4.     No “mass” or “class” Objection shall be valid, no Eligible Claimant may submit
                  an Objection on behalf of any other Eligible Claimant or Class Member, and any
                  Eligible Claimant that objects may be required to submit to discovery regarding
                  its Objection.

8.5.     Opt Outs. Any Eligible Claimant that wishes to opt out of the Settlement must serve a
         written, signed “Opt Out” statement designated “Request for Exclusion” on the Notice
         Administrator, the Special Master, the Claims Administrator, 3M’s Counsel, and Class
         Counsel in accordance with Paragraph 13.15. Any Request for Exclusion must be properly
         served by the deadline imposed by the Court. In seeking Preliminary Approval of this
         Settlement Agreement, the Class Representatives will ask the Court to set that deadline
         sixty (60) calendar days after the date the Notice is mailed. Any Eligible Claimant that has
         elected to opt out may withdraw its Request for Exclusion at any time prior to the Final
         Fairness Hearing and thereby accept all terms of this Settlement Agreement, including its
         Dismissal provisions.

       8.5.1.     The Request for Exclusion must certify, under penalty of perjury in accordance
                  with 28 U.S.C. § 1746, that the filer has been legally authorized to exclude the
                  Eligible Claimant from the Settlement and must:

                8.5.1.1. provide an affidavit or other proof of the Eligible Claimant’s standing;

                8.5.1.2. provide the filer’s name, address, telephone and facsimile numbers, and
                         email address (if available);

                8.5.1.3. provide the Eligible Claimant’s name, address, telephone and facsimile
                         numbers, and e-mail address (if available); and

                8.5.1.4. be received by the Court no later than the Court-approved date designated
                         for such purpose in the Notice.

       8.5.2.     Any Eligible Claimant that submits a timely and valid Opt Out shall not (i) be
                  bound by any orders or judgments entered in the MDL Cases with respect to this
                  Settlement Agreement (but shall continue to be bound by other orders entered in
                  the Litigation, including any protective order); (ii) be entitled to any of the relief
                  or other benefits provided under this Settlement Agreement; (iii) gain any rights


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                  by virtue of this Settlement Agreement; or (iv) be entitled to submit an Objection.

       8.5.3.     Any Eligible Claimant that does not submit a timely and valid Opt Out (or submits
                  and then withdraws its Opt Out) submits to the jurisdiction of the Court and shall
                  waive and forfeit any and all rights and objections the Eligible Claimant may have
                  asserted, and shall be bound by all the terms of the Settlement Agreement and by
                  all proceedings, orders, and judgments with respect to the Settlement.

       8.5.4.     No “mass” or “class” Opt Out shall be valid, and no Eligible Claimant may submit
                  an Opt Out on behalf of any other Eligible Claimant or Class Member.

8.6.     The Final Fairness Hearing. On the date and time set by the Court, the Class
         Representatives and 3M shall participate in the Final Fairness Hearing and will reasonably
         cooperate with one another to obtain an Order Granting Final Approval, with Class
         Counsel, on behalf of the Class Representatives, expressly moving for Final Approval.

8.7.     Entry of Order Granting Final Approval. At the Final Fairness Hearing, the Class
         Representatives will request that the Court: (i) enter an Order Granting Final Approval in
         accordance with this Settlement Agreement; (ii) conclusively certify the Settlement Class;
         (iii) overrule or otherwise resolve any Objections; (iv) make a final determination that
         notice was adequate; (v) approve the Settlement Agreement as final, fair, good faith,
         reasonable, adequate, and binding on all Class Members; (vi) dismiss this action with
         prejudice; and (vii) permanently enjoin any Class Member from bringing any proceeding
         against any Released Party in any court. Pursuant to Federal Rule of Civil Procedure 23(h),
         Class Counsel may apply for a fee consisting of a portion of the Settlement Funds and for
         reimbursement of costs and expenses. That application shall be filed not less than twenty
         (20) calendar days before Objections are due pursuant to Paragraph 8.4. Subject to Class
         Counsel’s application for attorneys’ fees and costs, and in accordance with the Order
         Granting Final Approval, the Special Master, after consulting with the Claims
         Administrator, shall distribute attorneys’ fees and costs approved by the Court (including
         expert witness fees, consultants’ fees, and litigation expenses; any Court-approved class-
         representative service awards; and the cost of class notice and class administration) from
         the Qualified Settlement Fund. Any attorneys’ fees and costs paid to Class Counsel from
         the Settlement Funds shall be paid only to the extent awarded by the Court, subject to the
         holdback provisions in Paragraph 6.6, and not before the Court has entered the Order
         Granting Final Approval and dismissed this action with prejudice, with no appeals pending
         or possible.

8.8.     Attorneys’ Fees, Costs, and Expenses. Class Counsel intend to file a motion for an award
         of attorneys’ fees and costs that will request that amounts due under the Common-Benefit
         Holdback Assessment provisions in Case Management Order No. 3, private attorney/client
         contracts, and fees of Class Counsel all be paid from the Qualified Settlement Fund, but
         any such fees and costs of Class Counsel must be approved by the Court. Any such award
         shall be paid from the Qualified Settlement Fund by the Escrow Agent before any portion
         of the Settlement Fund is distributed to Class Members, upon production to the Escrow
         Agent of a copy of the order, on or after such date as the award may become payable under
         the Court’s order. 3M has no obligation for any such award other than its payment


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          obligations under this Settlement Agreement and the Payment Schedule in Exhibit K.
          Class Counsel and 3M’s Counsel will cooperate to ensure that attorneys’ fees and costs
          related to Phase One shall be fully paid from the payments designated in the Table in
          Exhibit K as “Phase One infrastructure” and that attorneys’ fees and costs related to Phase
          Two shall be fully paid from the payments designated in the Table in Exhibit K as “Phase
          Two infrastructure.” For avoidance of doubt, any award of attorneys’ fees, costs, or
          expenses shall be paid from the Settlement Funds; no Released Party shall pay for any
          attorneys’ fees, costs, or expenses for Class Counsel separate from or in addition to the
          Settlement Funds.

8.9.      Effect of Failure of Final Approval. If the Court declines to enter an Order Granting
          Final Approval in accordance with the terms of this Settlement Agreement, the parties shall
          proceed as follows:

        8.9.1.     If the Court declines to enter the Order Granting Final Approval as provided for
                   in this Settlement Agreement, the Litigation against any Released Party will
                   resume unless within thirty (30) calendar days the parties mutually agree in
                   writing to (i) seek reconsideration or appellate review of the decision denying
                   entry of the Order Granting Final Approval; (ii) attempt to renegotiate the
                   Settlement and seek Court approval of the renegotiated settlement; or (iii) comply
                   with other guidance or directives the Court has provided.

        8.9.2.     If the Litigation against any Released Party resumes or the parties seek
                   reconsideration or appellate review of the decision denying entry of the Order
                   Granting Final Approval and such reconsideration or appellate review is denied,
                   this Settlement Agreement shall thereupon terminate.

        8.9.3.     If, for any reason, the Settlement is not approved by the Court or does not become
                   subject to Final Approval, then no class will be deemed certified as a result of this
                   Settlement Agreement, and the Litigation against any Released Party for all
                   purposes will revert to its status as of the Settlement Date. In such event, no
                   Released Party will be deemed to have consented to certification of any class, and
                   the Released Parties will retain all rights to oppose, appeal, or otherwise challenge
                   class certification and any other issue in the Litigation. Likewise, if the
                   Settlement is not approved by the Court or does not become subject to Final
                   Approval, then the participation in the Settlement by any Class Representative or
                   Class Member cannot be raised as a defense to their Claims.

8.10.     Effect of Failure of Order Granting Final Approval to Become a Final Judgment. If
          the Order Granting Final Approval does not become a Final Judgment because an appeal
          is taken of the Order Granting Final Approval, the parties shall proceed as follows:

        8.10.1.    If the Order Granting Final Approval is reversed or vacated by the appellate court,
                   the Litigation against any Released Party will resume within thirty (30) calendar
                   days unless the parties mutually agree in writing to (i) seek further reconsideration
                   or appellate review of the decision reversing or vacating the Order Granting Final
                   Approval; or (ii) attempt to renegotiate the Settlement and seek Court approval of


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                   the renegotiated settlement.

        8.10.2.    If the Litigation against any Released Party resumes or the parties seek further
                   reconsideration or appellate review of the appellate decision reversing or vacating
                   the Order Granting Final Approval and such further reconsideration or appellate
                   review is denied, this Settlement Agreement shall thereupon terminate.

        8.10.3.    If, for any reason, the Settlement does not become subject to Final Judgment, then
                   no class will be deemed certified as a result of this Settlement Agreement, and the
                   Litigation against any Released Party for all purposes will revert to its status as
                   of the Settlement Date. In such event, no Released Party will be deemed to have
                   consented to certification of any class, and Released Parties will retain all rights
                   to oppose, appeal, or otherwise challenge class certification and any other issue
                   in the Litigation. Likewise, if the Settlement does not become subject to Final
                   Judgment, then the participation in the Settlement by any Class Representative or
                   Class Member cannot be raised as a defense to their Claims.

8.11.     Termination Refund. If the Agreement terminates for any reason, the Escrow Agent
          shall, within seven (7) calendar days after receiving written notice of termination from 3M,
          repay to 3M the amount 3M paid into the Qualified Settlement Fund (including any interest
          accrued thereon) less 3M’s share of the sum of the notice, administrative, and any similar
          Court-approved costs actually paid or due and payable from the Qualified Settlement Fund
          as of the date on which the Escrow Agent receives the notice.

9.        REQUIRED PARTICIPATION THRESHOLD AND TERMINATION

9.1.      Walk-Away Right. 3M shall have the option, in its sole discretion, to terminate this
          Settlement Agreement and not proceed with the Settlement, without penalty, if any of the
          seventeen (17) parts of the “Required Participation Threshold” described in Paragraphs
          9.1.1 through 9.1.18 is not met (the “Walk-Away Right”). After meeting and conferring,
          the parties have agreed that Exhibits E, F, and N represent a good-faith effort to list all
          Phase One and Phase Two Eligible Claimants; to state whether each Eligible Claimant has
          asserted any Claims against 3M in the Litigation; and to state the number of people served
          by each Eligible Claimant according to SDWIS (or to estimate that number where
          necessary). The parties may, however, by mutual agreement, correct such Exhibits,
          consistent with notification received pursuant to Paragraphs 5.2 and 8.2.2, before applying
          Paragraphs 9.1.1 through 9.1.18.

        9.1.1.     The first part of the Required Participation Threshold is satisfied if, according to
                   Exhibit E, the number of Phase One Class Members serving 3,300 or fewer people
                   exceeds Threshold Percentage A of the number of Phase One Eligible Claimants
                   serving 3,300 or fewer people.

        9.1.2.     The second part of the Required Participation Threshold is satisfied if, according
                   to Exhibit F, the number of Phase Two Class Members serving 3,300 or fewer
                   people exceeds Threshold Percentage B of the number of Phase Two Eligible
                   Claimants serving 3,300 or fewer people.



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   9.1.3.    The third part of the Required Participation Threshold is satisfied if, according to
             Exhibit E, the number of Phase One Class Members serving 3,301 to 10,000
             people exceeds Threshold Percentage C of the number of Phase One Eligible
             Claimants serving 3,301 to 10,000 people.

   9.1.4.    The fourth part of the Required Participation Threshold is satisfied if, according
             to Exhibit F, the number of Phase Two Class Members serving 3,301 to 10,000
             people exceeds Threshold Percentage D of the number of Phase Two Eligible
             Claimants serving 3,301 to 10,000 people.

   9.1.5.    The fifth part of the Required Participation Threshold is satisfied if, according to
             Exhibit E, the number of Phase One Class Members serving 10,001 to 25,000
             people exceeds Threshold Percentage E of the number of Phase One Eligible
             Claimants serving 10,001 to 25,000 people.

   9.1.6.    The sixth part of the Required Participation Threshold is satisfied if, according to
             Exhibit F, the number of Phase Two Class Members serving 10,001 to 25,000
             people exceeds Threshold Percentage F of the number of Phase Two Eligible
             Claimants serving 10,001 to 25,000 people.

   9.1.7.    The seventh part of the Required Participation Threshold is satisfied if, according
             to Exhibit E, the number of Phase One Class Members serving 25,001 to 50,000
             people exceeds Threshold Percentage G of the number of Phase One Eligible
             Claimants serving 25,001 to 50,000 people.

   9.1.8.    The eighth part of the Required Participation Threshold is satisfied if, according
             to Exhibit F, the number of Phase Two Class Members serving 25,001 to 50,000
             people exceeds Threshold Percentage H of the number of Phase Two Eligible
             Claimants serving 25,001 to 50,000 people.

   9.1.9.    The ninth part of the Required Participation Threshold is satisfied if, according to
             Exhibit E, the number of Phase One Class Members serving 50,001 to 100,000
             people exceeds Threshold Percentage I of the number of Phase One Eligible
             Claimants serving 50,001 to 100,000 people.

   9.1.10.   The tenth part of the Required Participation Threshold is satisfied if, according to
             Exhibit F, the number of Phase Two Class Members serving 50,001 to 100,000
             people exceeds Threshold Percentage J of the number of Phase Two Eligible
             Claimants serving 50,001 to 100,000 people.

   9.1.11.   The eleventh part of the Required Participation Threshold is satisfied if, according
             to Exhibit E, the number of Phase One Class Members serving 100,001 to 250,000
             people exceeds Threshold Percentage K of the number of Phase One Eligible
             Claimants serving 100,001 to 250,000 people.

   9.1.12.   The twelfth part of the Required Participation Threshold is satisfied if, according
             to Exhibit F, the number of Phase Two Class Members serving 100,001 to



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                  250,000 people exceeds Threshold Percentage L of the number of Phase Two
                  Eligible Claimants serving 100,001 to 250,000 people.

       9.1.13.    The thirteenth part of the Required Participation Threshold is satisfied if,
                  according to Exhibit E, the number of Phase One Class Members serving 250,001
                  to 1,000,000 people exceeds Threshold Percentage M of the number of Phase One
                  Eligible Claimants serving 250,001 to 1,000,000 people.

       9.1.14.    The fourteenth part of the Required Participation Threshold is satisfied if,
                  according to Exhibit F, the number of Phase Two Class Members serving 250,001
                  to 1,000,000 people exceeds Threshold Percentage N of the number of Phase Two
                  Eligible Claimants serving 250,001 to 1,000,000 people.

       9.1.15.    The fifteenth part of the Required Participation Threshold is satisfied if, according
                  to Exhibits E and F, the number of Class Members serving 1,000,000 or more
                  people and identified in SDWIS as having a surface-water or purchased surface-
                  water source (or serving 1,000,000 or more people and that have not detected
                  PFAS in five or fewer Water Sources) exceeds Threshold Percentage O of the
                  number of Eligible Claimants serving 1,000,000 or more people and identified in
                  SDWIS as having a surface-water or purchased surface-water source (or serving
                  1,000,000 or more people and that have not detected PFAS in five or fewer Water
                  Sources).

       9.1.16.    The sixteenth part of the Required Participation Threshold is satisfied if,
                  according to Exhibits E and F, the number of Class Members that serve 1,000,000
                  or more people, are identified in SDWIS as having only a groundwater source,
                  and have detected PFAS in five or fewer Water Sources exceeds Threshold
                  Percentage P of the number of Eligible Claimants serving 1,000,000 or more
                  people, are identified in SDWIS as having only a groundwater source, and have
                  detected PFAS in five or fewer Water Sources.

       9.1.17.    The seventeenth part of the Required Participation Threshold is satisfied if,
                  according to Exhibit N, the number of Class Members that have asserted any
                  Claims against 3M in the Litigation exceeds Threshold Percentage Q of the
                  number of Eligible Claimants that have asserted any Claims against 3M in the
                  Litigation.

       9.1.18.    Thresholds A through Q are specified in the Supplemental Agreement, which will
                  be filed with the Court under seal.

9.2.     Process for Exercising or Waiving the Walk-Away Right. The parties, the Notice
         Administrator, the Claims Administrator, and the Special Master will be informed of each
         Request for Exclusion that an Eligible Claimant timely and properly serves. Within
         fourteen (14) calendar days after receiving the last such Request for Exclusion, the Special
         Master, after consultation with the Claims Administrator, shall determine whether all
         seventeen (17) parts of the Required Participation Threshold have been satisfied and shall
         inform the parties of this determination. If the Special Master determines and informs the



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       parties that all parts of the Required Participation Threshold have been satisfied, and 3M
       in good faith agrees with that determination, 3M shall, as soon as reasonably possible and
       in any event no later than twenty-one (21) calendar days after receiving the Special
       Master’s determination, file with the Special Master and the Claims Administrator and
       serve on all parties in accordance with Paragraph 13.15 written notice that 3M’s Walk-
       Away Right was not triggered. If the Special Master determines and informs the parties
       that some or all parts of the Required Participation Threshold have not been satisfied, or if
       3M in good faith disagrees with a determination by the Special Master that all parts of the
       Required Participation Threshold have been satisfied, 3M may, in its sole discretion, no
       later than twenty-one (21) calendar days after receiving the Special Master’s determination,
       file with the Special Master and the Claims Administrator and serve on all parties in
       accordance with Paragraph 13.15 written notice that 3M is either (i) exercising its Walk-
       Away Right or (ii) waiving its Walk-Away Right.

9.3.   Effect of Exercising the Walk-Away Right. If 3M files and serves a written notice
       exercising its Walk-Away Right in accordance with Paragraph 9.2, this Settlement
       Agreement shall thereupon terminate, and this Settlement Agreement, 3M’s obligations
       under it, and all Releases shall become null and void, without prejudice to the ability of
       each Party, at its own sole option and discretion, to attempt to negotiate a settlement on
       different terms. In the event of such a termination, no class will be deemed certified as a
       result of this Settlement Agreement, and the Litigation against any Released Party for all
       purposes will revert to its status as of the Settlement Date. In such event, no Released Party
       will be deemed to have consented to certification of any class, and Released Parties will
       retain all rights to oppose, appeal, or otherwise challenge class certification and any other
       issue in the Litigation. Likewise, the participation in the Settlement by any Class
       Representative or Class Member cannot be raised as a defense to its Claims.

9.4.   Effect of Waiving the Walk-Away Right. If, in accordance with Paragraph 9.2, 3M files
       and serves a written notice stating that its Walk-Away Right was either waived or not
       triggered, within five (5) Business Days thereafter the parties shall submit a joint
       stipulation to the Court requesting a stay of all proceedings against Released Parties in any
       action designated as a Tier One or Tier Two bellwether case under Case Management Order
       Nos. 13, 19, and 19-A in the MDL Cases, including the actions identified in Exhibit O. In
       the event the Court enters an Order designating additional actions brought by Public Water
       Systems as bellwether cases before the Effective Date or termination of the Settlement, the
       parties shall submit a joint stipulation requesting a stay of all proceedings against Released
       Parties in those additional actions within five (5) Business Days after entry of that Order.
       The parties shall request that any stay of proceedings remain in place until either (i)
       Dismissal pursuant to Paragraph 11.5 or (ii) the Settlement is terminated pursuant to
       Paragraph 8.9.2 or 8.10.2. Where a stay of proceedings is terminated because the
       Settlement is terminated pursuant to Paragraph 8.9.2 or Paragraph 8.10.2, the parties shall
       work cooperatively to submit to the Court within thirty (30) calendar days after the stay
       being terminated proposed modifications to the bellwether schedule to allow Released
       Parties to participate in those proceedings without being prejudiced.

9.5.   Fee Award Not Grounds for Termination. The Court’s entry of an order awarding Class
       Counsel an amount for attorneys’ fees or expenses less than the amounts requested by Class


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         Counsel shall not be grounds to void this Settlement Agreement. The only remedy in the
         event of a fee or expense award less than Class Counsel’s request shall be a separate appeal
         by Class Counsel of the fee or expenses award ordered by the Court.

9.6.     Terms Surviving Termination. The terms provided in Paragraphs 8.9.3, 8.10.3, 9.3, 9.6,
         13.1, 13.3, 13.13, 13.15, 13.16, and 13.20 shall survive any termination of this Settlement
         Agreement.

10.      DISTRIBUTIONS

10.1.    Notice and Administration. All costs of notice and administration of the Settlement shall
         be paid in accordance with the provisions of Paragraphs 6.3 and 7.7.

10.2.    Attorneys’ Fees and Costs. Any award of attorneys’ fees, costs, or expenses under the
         Order Granting Final Approval or such other order of the Court shall be paid from the
         Qualified Settlement Fund by the Escrow Agent, after production to the Escrow Agent of
         a copy of the order, and consistent with the Payment Schedule in Exhibit K. 3M shall have
         no obligation for any such award other than its payment obligations under this Settlement
         Agreement’s express terms.

10.3.    Claims Procedure, Claims Periods, and Claims Forms. To make a claim against the
         Qualified Settlement Fund, a Class Member will be required to submit to the Claims
         Administrator a completed, certified Claims Form, signed under penalty of perjury in
         accordance with 28 U.S.C. § 1746, that provides that the Person submitting the Claims
         Form is authorized to submit a claim on behalf of the Class Member; provides the Class
         Member’s name, address, telephone and facsimile numbers, and email address (if
         available); authorizes 3M to obtain all relevant Water Sources’ detailed PFAS test results
         from the laboratory that performed the analyses; and provides, fully and completely, all
         other information required by the Claims Form, including a statement that it tested each of
         its Water Sources for PFAS. Phase One Class Members will be allowed to submit Phase
         One Action Claims Forms up to the date specified for such purpose in the Notice. As
         described in Exhibit Q, the Claims Administrator shall specify the Claims Periods during
         which Class Members must submit Phase Two Testing Compensation Claims Forms,
         Phase Two Action Claims Forms, Supplemental Claims Forms, and Special Needs Claims
         Forms. Class Counsel will, in its sole discretion, confirm the validity of each Claims Form
         and confirm that it provides the required information.

10.4.    Submission and Payment of Claims. The Escrow Agent shall release Settlement Funds
         from the Qualified Settlement Fund to Class Counsel for the benefit of Qualifying Class
         Members, and Class Counsel will cause the Claims Administrator to distribute the
         Settlement Funds from the Qualified Settlement Fund to Qualifying Class Members,
         consistent with the payment provisions set forth in Section 6 and Exhibits K and Q.

11.       RELEASE, COVENANT NOT TO SUE, AND DISMISSAL

11.1.    Release.

        11.1.1      Upon entry of the Final Judgment, and regardless of any post-Settlement Date


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             change to any federal or state law or regulation relating to or involving PFAS, the
             Releasing Parties shall expressly, intentionally, voluntarily, fully, finally,
             irrevocably, and forever release, waive, compromise, settle, and discharge the
             Released Parties from each and every one of the following Claims (collectively,
             the “Released Claims” or the “Release”): (i) any Claim that may have arisen or
             may arise at any time in the future out of, relates to, or involves PFAS that has
             entered or may reasonably be expected to enter Drinking Water or any Releasing
             Party’s Public Water System, including any Claim that (a) was or could have been
             asserted in the Litigation and that arises or may arise at any time in the future out
             of, relates to, or involves Drinking Water or any Releasing Party’s Public Water
             System; (b) is for any type of relief with respect to the design, engineering,
             installation, maintenance, or operation of, or cost associated with, any kind of
             treatment, filtration, remediation, management, investigation, testing, or
             monitoring of PFAS in Drinking Water or in any Releasing Party’s Public Water
             System; or (c) has arisen or may arise at any time in the future out of, relates to,
             or involves any increase in the rates for Drinking Water that any Releasing Party
             or Public Water System charges its customers; (ii) any Claim that has arisen or
             may arise at any time in the future out of, relates to, or involves the development,
             manufacture, formulation, distribution, sale, transportation, storage, loading,
             mixing, application, or use of PFAS or any product (including AFFF)
             manufactured with or containing PFAS (to the extent such Claim relates to, arises
             out of, or involves PFAS); (iii) any Claim that has arisen or may arise at any time
             in the future out of, relates to, or involves any Releasing Party’s transport,
             disposal, or arrangement for disposal of PFAS-containing waste or PFAS-
             containing wastewater, or any Releasing Party’s use of PFAS-containing water
             for irrigation or manufacturing; (iv) any Claim that has arisen or may arise at any
             time in the future out of, relates to, or involves representations about PFAS or any
             product (including AFFF) manufactured with or containing PFAS (to the extent
             such Claim relates to, arises out of, or involves PFAS); and (v) any Claim for
             punitive or exemplary damages that has arisen or may arise at any time in the
             future out of, relates to, or involves PFAS or any product (including AFFF)
             manufactured with or containing PFAS (to the extent such Claim relates to, arises
             out of, or involves PFAS). The terms “Release” and “Released Claims” do not
             include any Claim that a Class Member can demonstrate arises solely out of
             conduct by Released Parties that occurs entirely after the Effective Date. It is the
             intention of this Agreement that the definitions of “Release” and “Released
             Claims” be as broad, expansive, and inclusive as possible.

   11.1.2    Paragraph 11.1.1(i)–(iii) does not apply to the following:

            11.1.2.1 Paragraph 11.1.1(i)–(iii) does not apply to a Class Member’s Claim
                     related to the remediation, testing, monitoring, or treatment of real
                     property to remove or remediate PFAS where (i) the Class Member owns
                     or possesses real property and has legal responsibility to remove
                     contamination from or remediate contamination of such real property; (ii)
                     such real property is separate from and not related in any way to the Class
                     Member’s Public Water System (such as an airport or fire training


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                    facility); (iii) the Class Member seeks damages or other relief unrelated
                    to Drinking Water or a Class Member’s Public Water System or Water
                    Sources; and (iv) if the Class Member seeks remediation, testing,
                    monitoring, or treatment of groundwater under such real property, the
                    Class Member either (a) identifies Non-Class Potable Water that may be
                    adversely affected by the fate and transport of PFAS released into the
                    groundwater under such real property or (b) is subject to a state or federal
                    directive, order, or permit condition requiring groundwater remediation
                    or treatment to the extent that the directive, order, or permit condition is
                    not premised on a need to protect a Class Member’s Public Water System
                    or Water Sources. If a Class Member pursues such a Claim against any
                    Released Party, the Class Member’s Claim and damages shall be limited
                    to the costs of remediating or removing PFAS from the property or
                    groundwater under the property, in accordance with applicable or relevant
                    state or federal regulatory cleanup standards and in a cost-effective
                    manner.

          11.1.2.2 Paragraph 11.1.1(i)–(iii) does not apply to a Class Member’s Claim
                   related to the discharge, remediation, testing, monitoring, treatment, or
                   processing of stormwater or wastewater to remove or remediate PFAS at
                   its permitted stormwater system or permitted wastewater facility where
                   (i) the Class Member owns or operates a permitted stormwater system or
                   permitted wastewater facility; (ii) such facility is separate from and not
                   related in any way to the Class Member’s Public Water System (such as
                   a separate stormwater or wastewater system that is not related in any way
                   to a Public Water System); (iii) the Class Member seeks damages or other
                   relief unrelated to Drinking Water or a Class Member’s Public Water
                   System or Water Sources; and (iv) if the Class Member seeks remediation,
                   testing, monitoring, or treatment of groundwater impacted by a permitted
                   stormwater system or permitted wastewater facility, the Class Member
                   either (a) identifies Non-Class Potable Water that may be adversely
                   affected by the fate and transport of PFAS released into the groundwater
                   from the separate stormwater system or wastewater facility, or (b) is
                   subject to a state or federal directive, order, or permit condition requiring
                   groundwater remediation or treatment to the extent that the directive,
                   order, or permit condition is not premised on a need to protect a Class
                   Member’s Public Water System or Water Sources. If a Class Member
                   pursues such a Claim against any Released Party related to stormwater or
                   wastewater that will not be used for Drinking Water, the Class Member’s
                   Claim and damages shall be limited to the costs of remediating or
                   removing PFAS from the stormwater or wastewater in a cost-effective
                   manner. If a Class Member pursues such a Claim against any Released
                   Party related to groundwater that will not be used for Drinking Water and
                   that has been impacted by stormwater or wastewater, the Class Member’s
                   Claim and damages related to groundwater shall be limited to the costs of
                   remediating or removing PFAS from the groundwater, in accordance with
                   any applicable state or federal regulatory groundwater cleanup standards


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                      in a cost-effective manner.

   11.1.3      Notwithstanding Paragraphs 11.1.2 through 11.1.2.2, if a Releasing Party pursues
               a Claim, including any Claim described in Paragraphs 11.1.2 through 11.1.2.2,
               against any Released Party arising out of, relating to, or involving PFAS or any
               product (including AFFF) manufactured with or containing PFAS (to the extent
               such Claim relates to, arises out of, or involves PFAS), the Releasing Party shall
               affirm in a complaint or similar filing that (i) this Settlement Agreement has fully
               and finally resolved all its Claims against Released Parties arising out of, related
               to, or involving PFAS that has entered or is associated with Drinking Water or
               any Releasing Party’s Public Water System and (ii) its Claims against Released
               Parties do not arise out of, relate to, or involve (a) PFAS that has entered or is
               associated with Drinking Water or any Releasing Party’s Public Water System
               (including Claims seeking damages, abatement, or other relief to prevent or pay
               the cost to prevent PFAS from entering any Public Water System from a Water
               Source or any other source) or (b) treatment, filtration, or remediation to address
               PFAS in or to prevent PFAS from entering Drinking Water or a Releasing Party’s
               Public Water System.

   11.1.4      Notwithstanding Paragraphs 11.1.2 through 11.1.2.2, and consistent with the
               affirmation described in Paragraph 11.1.3, each Releasing Party that pursues a
               Claim against any Released Party arising out of, related to, or involving PFAS or
               any product (including AFFF) manufactured with or containing PFAS (including
               any Claim described in Paragraphs 11.1.2 through 11.1.2.2):

            11.1.4.1 shall specifically and expressly affirm in its complaint or similar filing and
                     in any relevant expert report that it is not seeking damages, treatment,
                     filtration, or remediation that in any way arises out of, relates to, or
                     involves PFAS that has entered or is associated with Drinking Water or
                     any Releasing Party’s Public Water System (including Claims seeking
                     abatement or other relief to prevent or pay the cost to prevent PFAS from
                     entering any Public Water System from a Water Source or any other source
                     or seeking treatment, filtration, or remediation to address PFAS in or
                     prevent PFAS from entering Drinking Water or a Releasing Party’s Public
                     Water System);

            11.1.4.2 shall make no argument to any finder of fact that the Releasing Party is
                     entitled to any damages, remedy, or other relief described in Paragraph
                     11.1.4.1; and

            11.1.4.3 shall not seek punitive or exemplary damages against any Released Party
                     arising out of, related to, or involving PFAS or any product (including
                     AFFF) manufactured with or containing PFAS, as Claims for such
                     damages are released by this Settlement.

   11.1.5      If a Person or entity that is not a Releasing Party brings a Claim against a Released
               Party arising out of, related to, or involving PFAS or any product (including


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                  AFFF) manufactured with or containing PFAS, upon the request of a Released
                  Party for use in litigation or arbitration commenced by such Person or entity, a
                  Releasing Party shall provide the Released Party a letter substantially in the form
                  of Exhibit P, which makes clear that (i) the Releasing Party has expressly,
                  intentionally, voluntarily, fully, finally, irrevocably, and forever released, waived,
                  compromised, settled, and discharged the Released Parties from each and every
                  one of the Released Claims pursuant to Paragraph 11.1.1; (ii) through payments
                  made under this Settlement, 3M has fully resolved any and all duties or
                  obligations any Released Party might have to contribute funds toward or
                  otherwise address any alleged damages, treatment, filtration, or remediation that
                  in any way arises out of, relates to, or involves PFAS that has entered or may
                  enter Drinking Water or any Releasing Party’s Public Water System, including
                  any aspect of the provision, treatment, filtration, remediation, testing, or
                  monitoring of Drinking Water from the Releasing Party’s Public Water System;
                  and (iii) the Releasing Party’s Public Water System has ensured that PFAS
                  concentrations in its Public Water System’s Drinking Water are kept below final
                  federal and final state regulatory limits for PFAS.

11.2.   Exclusive Consideration for Released Claims. The distributions described in Section 6,
        Paragraph 10.4, and Exhibits K and Q are the exclusive consideration provided to the
        Releasing Parties for the Released Claims against the Released Parties. Each Class
        Member shall look solely to the Settlement Funds (less reasonable attorneys’ fees and
        costs) for satisfaction of all such Released Claims herein, though each Class Member also
        may seek payment from other defendants in the Litigation. Accordingly, the Released
        Parties shall not be subject to liability or expense of any kind to the Releasing Parties with
        respect to any Released Claims, other than as set forth in this Settlement Agreement.

11.3.   Covenant Not to Sue. The Releasing Parties shall not at any time hereafter, whether
        directly or indirectly or individually or as a member or representative of a class commence,
        assign, or prosecute any Claim, demand, or cause of action at law or otherwise for damages,
        loss, or injury arising out of, related to, or involving any act, error, omission, event, or thing
        within the scope of the Release set forth in Paragraphs 11.1 through 11.1.5 against any or
        all Released Parties as to any Released Claims (the “Covenant Not to Sue”). The Releasing
        Parties consent to the jurisdiction of this Court or any other court having jurisdiction to
        enter an injunction barring the Releasing Parties from commencing or prosecuting any
        action or other proceeding, or seeking other benefits, based upon the Released Claims.

11.4.   Protection of Ratepayers. Upon entry of the Final Judgment, each Releasing Party
        represents and warrants that (i) this Settlement has compensated it for PFAS allegedly
        attributable to the Released Party; and (ii) future additions, modifications, or improvements
        to its Public Water System due to PFAS will be the sole responsibility of the Releasing
        Party and not the Released Parties. Upon 3M’s written request, a Releasing Party shall
        provide any Released Party a letter substantially in the form of Exhibit P (as set forth in
        Paragraph 11.1.5). No Releasing Party shall assert that any future rate increase request was
        caused by a Released Party’s development, manufacture, formulation, distribution, sale,
        transportation, storage, loading, mixing, application, or use of PFAS or any product
        (including AFFF) manufactured with or containing PFAS. The Releasing Parties reserve


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          the right to change their rates for any reason, so long as they do not attribute the change to
          any Released Party.

11.5.     Dismissal. Subject to Paragraph 11.5.1, in accordance with the Release and Covenant Not
          to Sue, all pending Litigation brought by or on behalf of a Releasing Party against any
          Released Party involving any Released Claim shall be dismissed with prejudice, with each
          party bearing its own costs (the “Dismissal”). The Parties agree that the Releasing Party
          shall execute a stipulation of Dismissal with prejudice, in the form provided for in Exhibit
          R, within fourteen (14) calendar days after the Effective Date.

        11.5.1.    To the extent allowed by this Paragraph 11.5.1, Dismissal of pending Litigation
                   that includes a Claim or part of a Claim that would not be released by this Section
                   11 shall be limited to any Claim or part of a Claim that is released by this Section
                   11. Any Releasing Party that asserts that it has at least one Claim (or part of a
                   Claim) against a Released Party in the Litigation that would not be released by
                   this Section 11 must notify the Special Master, Class Counsel, and 3M’s Counsel
                   before the date of the Final Fairness Hearing if it intends to seek such a limited
                   Dismissal. In accord with any written agreement among such Releasing Party,
                   Class Counsel, and 3M’s Counsel regarding the scope of limited Dismissal, such
                   Releasing Party shall execute a stipulation of limited Dismissal with prejudice, in
                   the form provided for in Exhibit R, dismissing with prejudice all Claims and parts
                   of Claims released by this Section 11, with each party bearing its own costs,
                   within fourteen (14) calendar days after the Effective Date. Absent written
                   agreement among such Releasing Party, Class Counsel, and 3M’s Counsel about
                   the scope of any limited Dismissal, such Releasing Party must seek leave of court
                   to file a limited Dismissal no later than fourteen (14) calendar days after the date
                   of Final Approval. Such Releasing Party shall execute a stipulation of Dismissal
                   with prejudice or limited Dismissal with prejudice, as consistent with the Court’s
                   ruling on such Releasing Party’s request for leave, in the form provided for in
                   Exhibit R, dismissing with prejudice all Claims and parts of Claims released by
                   this Section 11, with each party bearing its own costs, within the later of fourteen
                   (14) calendar days after the Effective Date or seven (7) calendar days after the
                   court’s ruling on the Releasing Party’s motion for leave to file a limited dismissal.
                   If a Releasing Party does not timely seek and obtain a written agreement or leave
                   of court permitting a limited Dismissal, Litigation brought by or on behalf of that
                   Releasing Party against any Released Party shall be dismissed in its entirety with
                   prejudice pursuant to Paragraph 11.5.

        11.5.2.    If a Releasing Party fails to timely execute a stipulation of Dismissal required by
                   Paragraph 11.5 or Paragraph 11.5.1, 3M may move for Dismissal or limited
                   Dismissal as appropriate.

11.6.     Contribution and Indemnity.

          11.6.1. It is the intent of the parties that:

                    11.6.1.1.     the payments 3M makes under this Agreement shall be the sole


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                               payments the Released Parties make to the Class Members in
                               accordance with the provisions of the Release herein;

                 11.6.1.2.     a Claim by a Releasing Party against any non-Party should not result
                               in any additional payment by any Released Party; and

                 11.6.1.3.     the Agreement meets the requirements of the Uniform Contribution
                               Among Tortfeasors Act and any similar state law or doctrine that
                               reduces or discharges a released party’s liability to any other parties.

        11.6.2. To the extent that on or after the Effective Date any Releasing Party settles any
                Claim it may have against any non-Released Party arising out of, relating to, or
                involving the Released Claims and provides a release to such non-Released Party,
                the Releasing Party shall include in that settlement a release from such non-
                Released Party in favor of the Released Parties in a form equivalent to the Release
                contained in this Settlement Agreement.

        11.6.3. By this Agreement, each Releasing Party hereby covenants and agrees to
                indemnify and hold each and every Released Party harmless of and from (i) any
                future or further exposure or payment arising out of, related to, or involving the
                Released Claims, including any litigation, Claim, or settlement which may
                hereafter be instituted, presented, or continued by or on behalf of the Releasing
                Parties, or by any person seeking contribution, indemnity, or subrogation in
                connection with such Released Claims, and (ii) any Claim arising out of, related
                to, or involving PFAS that has entered or may enter Drinking Water or any
                Releasing Party’s Public Water System. The Releasing Parties agree to credit and
                satisfy that portion of the total damages, if any, which may have been caused by
                the Releasing Parties, as such may be determined in any litigation, Claim, or
                settlement which may hereafter be instituted, presented, or continued in
                connection with the Released Claims, including any Claim of negligence or strict
                liability of the Released Parties.

11.7.   Exclusive Remedy. The relief provided for in this Settlement Agreement shall be the sole
        and exclusive remedy for all Releasing Parties with respect to any Released Claims, and
        the Released Parties shall not be subject to liability or expense of any kind with respect to
        any Released Claims other than as set forth in this Settlement Agreement.

11.8.   Waiver of Statutory Rights. To the extent the provisions apply, the Releasing Parties
        expressly, knowingly, and voluntarily waive the provisions of Section 1542 of the
        California Civil Code, which provides:

               A general release does not extend to claims that the creditor or
               releasing party does not know or suspect to exist in his or her favor at
               the time of executing the release and that, if known by him or her,
               would have materially affected his or her settlement with the debtor or
               released party.

        To the extent the provisions apply, the Releasing Parties likewise expressly, knowingly,


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       and voluntarily waive the provisions of Section 28-1-1602 of the Montana Code Annotated,
       which provides:

              A general release does not extend to claims that the creditor does not
              know or suspect to exist in the creditor’s favor at the time of executing
              the release, which, if known by the creditor, must have materially
              affected the creditor’s settlement with the debtor.

       To the extent the provisions apply, the Releasing Parties likewise expressly, knowingly,
       and voluntarily waive the provisions of Section 9-13-02 of the North Dakota Century Code,
       which provides:

              A general release does not extend to claims which the creditor does not
              know or suspect to exist in the creditor’s favor at the time of executing
              the release, which if known by the creditor, must have materially
              affected the creditor’s settlement with the debtor.

       To the extent the provisions apply, the Releasing Parties likewise expressly, knowingly,
       and voluntarily waive the provisions of Section 20-7-11 of the South Dakota Codified
       Laws, which provides:

              A general release does not extend to claims which the creditor does not
              know or suspect to exist in his favor at the time of executing the release,
              which if known by him must have materially affected his settlement
              with the debtor.

       To the extent the laws apply, the Releasing Parties expressly waive and relinquish all rights
       and benefits that they may have under, or that may be conferred upon them by, Section
       1542 of the California Civil Code, Section 28-1-1602 of the Montana Code Annotated,
       Section 9-13-02 of the North Dakota Century Code, Section 20-7-11 of the South Dakota
       Codified Laws, and all similar laws of other States, to the fullest extent that they may
       lawfully waive such rights or benefits pertaining to the Released Claims. In connection
       with such waiver and relinquishment, the Releasing Parties acknowledge that they are
       aware that they or their attorneys may hereafter discover Claims or facts in addition to or
       different from those that they now know or believe to exist with respect to the Released
       Claims, but that it is their intention to accept and assume that risk and fully, finally, and
       forever release, waive, compromise, settle, and discharge all the Released Claims against
       Released Parties. The Release thus shall remain in effect notwithstanding the discovery or
       existence of any additional or different Claims or facts.

12     GUARANTEES AND PROTECTIONS

12.1   Prohibited Transactions and Successors; Bankruptcy. Until all 3M’s obligations under
       this Agreement are fully performed and satisfied, the provisions of this Paragraph 12.1
       shall apply:

          12.1.1 Prohibited Transactions and Successors.



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          12.1.1.1 3M shall not, in one (1) transaction or a series of integrated transactions,
                  sell or transfer either a majority of its voting stock or U.S. assets having a
                  value equal to thirty percent (30%) or more (as determined below) of the
                  consolidated total assets of 3M according to 3M’s most recent Form 10-Q
                  or 10-K (other than sales or transfers of inventories or otherwise in the
                  ordinary course of business, or sales or transfers to an entity owned
                  directly or indirectly by 3M) where the planned sale or transfer is
                  announced after the Settlement Date, and as to which 3M does not obtain,
                  from a nationally recognized valuation firm, either (a) a fairness opinion
                  or (b) a solvency opinion stating that the transaction would not foreseeably
                  and unreasonably jeopardize 3M’s ability to make the payments under the
                  Settlement Agreement and to creditors in the ordinary course of 3M’s
                  business that are due on or before the third payment date following the
                  close of such sale or transfer transaction, unless 3M obtains the acquiror’s
                  agreement that the acquiror will be either a guarantor of or successor to
                  the percentage of the amount of each remaining payment under the
                  Settlement Agreement equal to the percentage of 3M’s consolidated total
                  assets being sold or transferred in such transaction. The consolidated total
                  assets, pursuant to which percentages under this Paragraph 12.1.1.1 shall
                  be calculated, shall be determined in accordance with United States
                  generally accepted accounting principles and as of the date of 3M’s most
                  recent publicly filed consolidated balance sheet prior to the date of entry
                  into the sale or transfer agreement at issue; provided, however, that if 3M
                  is no longer a public company, percentages under this Paragraph 12.1.1.1
                  shall be determined in accordance with United States generally accepted
                  accounting principles and as of the date of 3M’s most recent consolidated
                  balance sheet (but in no event one dated as of more than ninety (90)
                  calendar days prior to the close of such sale or transaction).

          12.1.1.2 Paragraph 12.1.1.1 shall apply only to transactions of the size set forth
                  therein and shall be enforceable solely by Class Counsel. In the event of
                  such a transaction, 3M shall provide notice to Class Counsel, no later than
                  the day of public announcement of such transaction; provided, however,
                  it is agreed and understood that no transaction subject to Paragraph
                  12.1.1.1 shall be consummated until after expiration of the applicable
                  notice period described below. For any transaction triggering Paragraph
                  12.1.1.1, in conjunction with such notice, 3M shall deliver to Class
                  Counsel the applicable fairness opinion, solvency opinion, or documents
                  reflecting the value of the U.S. assets being sold or transferred, as a
                  percentage (as determined under Paragraph 12.1.1.1) of 3M’s
                  consolidated total assets (according to 3M’s most recent Form 10-Q or 10-
                  K), with all such documents being subject to reasonable confidentiality
                  restrictions. Any objection under these Paragraphs not raised within thirty
                  (30) calendar days after such notice or within twenty-eight (28) calendar
                  days after Class Counsel’s receipt of such documents, whichever is later,
                  is waived. The sole remedy for such an objection, if timely and deemed
                  valid by the Court, shall be an order enjoining the asset sale or transfer


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                   pending compliance with Paragraphs 12.1.1.1 and 12.1.1.2; in the event
                   of such order, 3M agrees that it will not seek a bond in conjunction with
                   such order.

           12.1.1.3 For avoidance of doubt, 3M’s spin-off or other transactions involving its
                   health-care business are not subject to Paragraphs 12.1 through 12.1.1.2.

       12.1.2 Bankruptcy. The following provisions shall apply if 3M commences
              proceedings under the Bankruptcy Code:

           12.1.2.1 3M shall schedule all Qualifying Class Members’ claims under this
                   Agreement as liquidated, non-contingent, and undisputed per this
                   Agreement without prejudice to Qualifying Class Members filing their
                   Released Claims.

           12.1.2.2 To the extent 3M obtains any recoveries as against any Qualifying Class
                   Member pursuant to 11 U.S.C. § 550 in respect of payments made on
                   account of the Qualifying Class Member’s Released Claims, such
                   recoveries would be limited to a credit against unpaid amounts due under
                   this Agreement.

           12.1.2.3 If this Agreement is not assumed in bankruptcy or adopted as part of a
                   confirmed Chapter 11 plan of reorganization, 3M hereby waives any
                   statute of limitations defense that might limit or hinder recovery of
                   Qualifying Class Members’ Released Claims addressed in this
                   Agreement, except to the extent such defenses exist as of the Settlement
                   Date.

           12.1.2.4 Subject to the other subparts of Paragraph 12.1.2, if 3M obtains relief as
                   against Qualifying Class Members pursuant to 11 U.S.C. § 550 or if this
                   Agreement is not assumed or adopted as part of a confirmed Chapter 11
                   plan of reorganization, then all agreements, all concessions, all reductions
                   of Qualifying Class Members’ Released Claims, and the Release and the
                   Covenant Not to Sue, contained in this Agreement shall immediately and
                   automatically be deemed null and void as to 3M; the Qualifying Class
                   Members shall be deemed immediately and automatically restored to the
                   same position they were in immediately prior to their entry into the
                   Settlement Agreement, and the Qualifying Class Members shall have the
                   right to assert any and all claims against 3M in the bankruptcy proceeding
                   or otherwise, subject to any automatic stay, without regard to any limits
                   or agreements as to the amount of the Settlement otherwise provided in
                   the Settlement Agreement; provided, however, that notwithstanding the
                   foregoing sentence, (i) all reductions of Qualifying Class Members’
                   Released Claims, and the Release and Covenant Not to Sue provided in
                   connection with such settled Claims contained in this Agreement shall
                   remain in full force and effect as to all Persons other than 3M itself; (ii) in
                   the event a Releasing Party asserts any Released Claim against 3M after


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                        the rejection and/or termination of the Settlement Agreement and receives
                        a judgment, settlement, or distribution arising from such Released Claim,
                        then the amount of any payments such Releasing Party has previously
                        received from 3M under the Settlement Agreement shall be applied to
                        reduce the amount of any such judgment, settlement, or distribution; (iii)
                        the Qualifying Class Members may exercise all rights provided under the
                        Bankruptcy Code (or other applicable bankruptcy or non-bankruptcy law)
                        with respect to their Released Claims against 3M, subject to all defenses
                        and rights of 3M; and (iv) Qualifying Class Members shall retain all
                        payments previously received under this Agreement, subject to 11 U.S.C.
                        § 550.

12.2   Financial Reporting. If at any time 3M ceases to be a public reporting company, then,
       until all of 3M’s obligations under this Agreement are fully performed and satisfied, 3M
       will provide to Class Counsel, subject to reasonable confidentiality restrictions to be
       agreed, 3M’s annual audited financial statements and 3M’s quarterly unaudited financial
       statements, including a balance sheet and an income statement, within ninety (90) calendar
       days after the end of each fiscal quarter.

13     MISCELLANEOUS PROVISIONS

13.1   Continuing Jurisdiction. The U.S. District Court for the District of South Carolina shall
       have and retain jurisdiction over the interpretation and implementation of this Settlement
       Agreement, as well as any and all matters arising out of, related to, or involving the
       interpretation or implementation of the Settlement Agreement.

13.2   Cooperation. The parties shall cooperate fully with each other and shall use all reasonable
       efforts to obtain Court approval of the Settlement and all its terms. 3M shall provide all
       information reasonably necessary to assist the Class Representatives in the filing of any
       brief supporting approval of the Settlement. Class Representatives, Class Counsel, 3M,
       and 3M’s Counsel agree to recommend approval of and to support this Settlement
       Agreement to the Court and to use all reasonable efforts to give force and effect to its terms
       and conditions. Class Representatives, Class Counsel, 3M, 3M’s agents, and 3M’s Counsel
       shall not in any way encourage any objections to the Settlement (or any of its terms or
       provisions) or encourage any Eligible Claimant to elect to opt out. Class Representatives
       and Class Counsel shall cooperate fully with 3M, 3M’s agents, and 3M’s Counsel by
       providing 3M with (and consenting to the Special Master and Claims Administrator
       providing 3M with) any non-privileged, non-work-product-protected documents, data,
       communications, or information that 3M deems necessary to any insurance recovery effort.

13.3   No Admission of Wrongdoing or Liability. 3M does not admit or concede any liability
       or wrongdoing, acknowledge any validity to the Claims asserted in the Litigation,
       acknowledge any scientific, medical, factual, or other basis asserted in support of any of
       those Claims, acknowledge that certification of a litigation class is appropriate as to any
       Claim, or acknowledge any weakness in the defenses asserted in the Litigation, and nothing
       in this Settlement Agreement, the Preliminary Approval, or the Final Approval shall be
       interpreted to suggest anything to contrary. Nothing in this Settlement Agreement, any


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       negotiations, statements, communications, proceedings, filings, or orders relating thereto,
       or the fact that the Parties entered the Settlement Agreement and settled the Released
       Claims against Released Parties shall be construed, deemed, or offered as an admission or
       concession by any of the Parties or as evidentiary, impeachment, or other material available
       for use or subject to discovery in any suit, action, or proceeding (including the Litigation),
       except (i) as required or permitted to comply with or enforce the terms of this Settlement
       Agreement, the Preliminary Approval, or the Final Approval, or (ii) in connection with a
       defense based on res judicata, claim preclusion, collateral estoppel, issue preclusion,
       release, or other similar theory asserted by any of the Released Parties.

13.4   Amendment of Settlement Agreement. Subject to Paragraph 13.4.1, no waiver,
       modification, or amendment of the terms of this Settlement Agreement, made before or
       after Final Approval, shall be valid or binding unless in writing, signed by Class Counsel
       and by duly authorized signatories of 3M, and then only to the extent set forth in such
       written waiver, modification, or amendment, and subject to any required Court approval.

          13.4.1      More Favorable Terms in Other Settlements. If any other defendant in
                      any MDL Case has executed or will execute prior to the Final Fairness
                      Hearing a settlement agreement that provides for payments totaling two
                      hundred fifty million dollars ($250,000,000.00) or more, and if 3M identifies
                      a term in that other defendant’s settlement agreement that 3M believes is
                      more favorable to the defendant than an equivalent term in Section 11 of this
                      Settlement Agreement (including any term as to the Release, the Covenant
                      Not to Sue, or Dismissal), 3M may elect to replace the relevant term of this
                      Settlement Agreement with the more favorable term, upon written notice to
                      Class Counsel. Any dispute as to the application of this Paragraph 13.4.1
                      shall be referred to the Special Master.

13.5   Construction of Settlement Agreement. The Parties acknowledge as part of the
       execution hereof that this Settlement Agreement was reviewed and negotiated by their
       respective counsel and agree that the language of this Settlement Agreement shall not be
       presumptively construed against any of the Parties. This Settlement Agreement shall be
       construed as having been drafted by all the Parties to it, so that any rule of construction by
       which ambiguities are interpreted against the drafter shall have no force and effect.

13.6   Arm’s-Length Transaction. The Parties each acknowledge that the negotiations leading
       to this Settlement Agreement were conducted regularly and at arm’s length; this Settlement
       Agreement is made and executed by and of each executing Party’s own free will; each such
       Party knows all the relevant facts and its rights in connection therewith; and such Party has
       not been improperly influenced or induced to make this settlement as a result of any act or
       action on the part of any other Party or employee, agent, attorney, or representative of any
       other Party.

13.7   Third-Party Beneficiaries. This Settlement Agreement does not create any third-party
       beneficiaries, except Class Members and the Released Parties other than 3M, which are
       intended third-party beneficiaries.



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13.8   Entire Agreement. No representations, warranties, or inducements have been made to
       any of the Parties, other than those representations, warranties, and covenants contained in
       this Settlement Agreement and in the parties’ Supplemental Agreement, which collectively
       constitute the entire agreement between the Parties with regard to the subject matter
       contained herein, and supersede and cancel all prior and contemporaneous agreements,
       negotiations, commitments, and understandings between the Parties with respect to the
       specific subject matter hereof.

13.9   Binding Effect. This Settlement Agreement shall be binding upon and inure to the benefit
       of the Parties, the Released Parties, and their respective heirs, successors, and assigns.
       Consistent with Paragraph 4.3, the individual signing this Settlement Agreement on behalf
       of 3M represents and warrants that he or she has the power and authority to enter into this
       Settlement Agreement on behalf of 3M, on whose behalf he or she has executed this
       Settlement Agreement, as well as the power and authority to bind 3M to this Settlement
       Agreement. Likewise, consistent with Paragraph 4.2, Interim Class Counsel executing this
       Settlement Agreement represent and warrant that they have the power and authority to
       enter into this Settlement Agreement on behalf of Class Representatives and Class
       Members, as well as the power and authority to bind Class Representatives and Class
       Members to this Settlement Agreement.

13.10 Waiver. Any failure by any Party to insist upon the strict performance by any of the other
      Parties of any of the provisions of this Settlement Agreement shall not be deemed a waiver
      of any of the provisions of this Settlement Agreement and such Party, notwithstanding such
      failure, shall have the right thereafter to insist upon the specific performance of any and all
      of the provisions of this Settlement Agreement.

13.11 Specific Performance. The Parties agree that money damages would not be a sufficient
      remedy for any breach of this Settlement Agreement by any Party and each non-breaching
      Party shall be entitled to specific performance and injunctive or other equitable relief as a
      remedy of any such breach in addition to any other remedy available at law or in equity,
      without the necessity of demonstrating the inadequacy of money damages.

13.12 Force Majeure. The failure of any Party to perform any of its obligations hereunder shall
      not subject any Party to any liability or remedy for damages, or otherwise, where such
      failure is occasioned in whole or in part by Acts of God, fires, accidents, pandemics, other
      natural disasters, interruptions or delays in communications or transportation, labor
      disputes or shortages, shortages of material or supplies, governmental laws, rules or
      regulations of governmental bodies or tribunals, acts or failures to act of any third parties,
      or any other similar or different circumstances or causes beyond the reasonable control of
      such Party.

13.13 Confidentiality. The parties shall keep confidential the content of the negotiations, points
      of discussion, documents, communications, and supporting data utilized or prepared in
      connection with the negotiations and settlement discussions taking place in the MDL
      Cases, except as otherwise required by law. Nothing in this Settlement Agreement shall
      prevent 3M from disclosing such information to its insurers if demanded by those insurers
      in the context of their coverage investigations. The parties may, at their discretion, issue


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       publicity, press releases, or other public statements regarding this Settlement, whether
       unilaterally or as jointly agreed to in writing by all parties. Any jointly agreed or other
       statement shall not limit 3M’s ability to provide information about the Settlement to its
       employees, accountants, attorneys, insurers, shareholders, or other stakeholders or in
       accordance with legal requirements or to limit Class Counsel’s ability to provide Notice or
       information about the Settlement to Eligible Claimants or in accordance with legal
       requirements.

13.14 Exhibits. Any Exhibits hereto are incorporated herein by reference as if set forth herein
      verbatim, and the terms of any Exhibits are expressly made a part of this Settlement
      Agreement.

13.15 Notices to Parties. Any notice, request, instruction, or other document to be delivered
      pursuant to this Settlement Agreement shall be sent to the appropriate Party by (i)
      electronic mail; and (ii) overnight courier, delivery confirmation requested:

       If to 3M:

              Kevin H. Rhodes
              Executive Vice President and Chief Legal Affairs Officer
              Legal Affairs Department
              3M Company
              3M Center, 220-9E-01
              St. Paul, MN 55144-1000
              krhodes@mmm.com

              Thomas J. Perrelli
              Jenner & Block LLP
              1099 New York Avenue, N.W., Suite 900
              Washington, DC 20001-4412
              TPerrelli@jenner.com

              Richard F. Bulger
              Mayer Brown LLP
              71 South Wacker Drive
              Chicago, Illinois 60606
              Rbulger@mayerbrown.com

       If to the Class Representatives, Interim Class Counsel, Class Counsel, or Class
       Members:

              Michael A. London
              Douglas & London, P.C.
              59 Maiden Lane, 6th Floor
              New York, New York 10038
              mlondon@douglasandlondon.com



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               Napoli Shkolnik
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               Scott Summy
               Baron & Budd, P.C.
               3102 Oak Lawn Avenue, Suite 1100
               Dallas, Texas 75219
               ssummy@baronbudd.com

               Elizabeth A. Fegan
               Fegan Scott LLC
               150 South Wacker Drive, 24th Floor
               Chicago, Illinois 60606
               beth@feganscott.com

13.16 Governing Law. The provisions of this Settlement Agreement and the Exhibits and all
      actions arising out of, related to, or involving them shall be interpreted in accordance with,
      and governed by, the laws of the State of South Carolina, without regard to any otherwise
      applicable principles of conflicts of law or choice-of-law rules (whether of the State of
      Delaware or any other jurisdiction) that would result in the application of the substantive
      or procedural rules or law of any other jurisdiction.

13.17 Counterparts. This Settlement Agreement may be executed in any number of
      counterparts, each of which shall be an original and all of which shall together constitute
      one and the same instrument. It shall not be necessary for any counterpart to bear the
      signature of all parties hereto. This Settlement Agreement and any amendments hereto, to
      the extent signed and delivered by means of a facsimile machine or electronic scan
      (including in the form of an Adobe Acrobat PDF file format), shall be treated in all manner
      and respects as an original agreement and shall be considered to have the same binding
      legal force and effect as if it were the original signed version thereof delivered in person.

13.18 Captions. The captions, titles, headings, or subheadings of the sections and paragraphs of
      this Settlement Agreement have been inserted for convenience of reference only and shall
      have no effect upon the construction or interpretation of any part of this Settlement
      Agreement.

13.19 Electronic Signatures. Any executing Party may execute this Settlement Agreement by
      having its respective duly authorized signatory sign their name on the designated signature
      block below and transmitting that signature page electronically to counsel for all parties.
      Any signature made and transmitted electronically for the purpose of executing this
      Settlement Agreement shall be deemed an original signature for purposes of this Settlement
      Agreement and shall be binding upon the Party transmitting their signature electronically.




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13.20 No Liability. No Person shall have any Claim against the Class Representatives, Class
      Members, Interim Class Counsel, Class Counsel, 3M, 3M’s Counsel, Released Parties,
      Notice Administrator, Claims Administrator, Escrow Agent, or Special Master based on
      actions that Interim Class Counsel, Class Counsel, 3M’s Counsel, Notice Administrator,
      Claims Administrator, Escrow Agent, or Special Master were required or permitted to take
      under this Agreement.



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Agreed to this 77   day of June, 2023.

 INTERIM CLASS COUNSEL:                               3M:




 Michael A. London                                    Steven F. Reich
 Douglas & London, P.C.                               Executive Vice President
 59 Maiden Lane, 6" Floor                             3M Company
 New York, New York 10038                             3M Center, 0220-09W-15
 mlondon@douglasandlondon.com                         St. Paul, Minnesota 55144-1000




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 Scott Surhmy
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Agreed to this 22nd
               ___ day of June, 2023.

 INTERIM CLASS COUNSEL:                          3M:



 ________________________________                ________________________________
 Michael A. London                               Steven F. Reich
 Douglas & London, P.C.                          Executive Vice President
 59 Maiden Lane, 6th Floor                       3M Company
 New York, New York 10038                        3M Center, 0220-09W-15
 mlondon@douglasandlondon.com                    St. Paul, Minnesota 55144-1000


 ________________________________
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                Aqueous Film‐Forming Foam (AFFF) Products Liability Litigation (MDL 2873)
                              Public Water System Settlement Claims Form
                                                    CLAIM SUBMISSION DEADLINE: MM/DD/YYYY
                                                                                  INSTRUCTIONS
                                 All capitalized terms not otherwise defined herein shall have the meanings set forth in the Settlement Agreement,
                                                              available for review at www.PFASWaterSettlement.com.
Please follow the instructions below to submit a claim for the AFFF Products Liability Litigation Settlement Program. A completed copy of this Claims
Form must be submitted no later than the Claims Form Deadline. Late Claims Forms will not be considered.

TO RECEIVE BENEFITS FROM THIS SETTLEMENT, YOU MUST PROVIDE ALL OF THE REQUIRED (*) INFORMATION BELOW AND YOU MUST SIGN
THIS CLAIMS FORM. THIS CLAIMS FORM SHOULD ONLY BE USED IF A CLAIM IS BEING MAILED IN AND IS NOT BEING FILED ONLINE. YOU MAY ALSO
FILE YOUR CLAIM ONLINE AT www.PFASWaterSettlement.com.

For the Claims Form to be valid, Claimants must provide ALL information requested concerning the Public Water System (PWS) and its groundwater
wells and/or surface water systems ("Water Source").

Baseline Testing: If a Water Source was tested only prior to January 1, 2019, and its test results do not show a Measurable Concentration (any level) of
PFAS, that Water Source must be retested to meet Baseline Testing requirements. If a Water Source was tested on January 1, 2019, or later, and its test
results do not show a Measurable Concentration of PFAS, no further testing of that Water Source is required. Test results may be submitted from
untreated (raw) or treated (finished) water samples. However, all samples must be drawn from a Water Source that has been used to provide Drinking
Water.

A PWS that does not timely return a completed Claims Form forfeits any right to participate in this settlement. For any questions about this Claims
Form, you may contact ___________ at ____________. Claims Forms submitted by mail should be sent to the Claims Administrator at the following address:


                                                                          AFFF Public Water System Claims
                                                                                   PO Box 4466
                                                                              Baton Rouge, LA 70821

                                                SECTION 1. PUBLIC WATER SYSTEM (PWS) INFORMATION
                                                                 SECTION 1.1 PWS GENERAL INFORMATION
Public Water System
(PWS) Name

PWS Identification                                                                          Employer
Number (PWSID)                                                                              Identification Number
                                                                                                                                 ___ ___ - ___ ___ ___ ___ ___ ___ ___
                                   Street


PWS Facility Address
                                   City                                                                               State                          Zip



                                                                 SECTION 1.2 PWS CONTACT INFORMATION
*Please note that communication for this Settlement may extend into the year 2030. Please provide contact information with this in mind and contact the
                                                  Claims Administrator if any updates are required.
Name of PWS Primary                                                                         Job Title of PWS
Contact                                                                                     Primary Contact
Telephone Number for
                                                                                            Fax Number
Primary Contact                             ( ___ ___ ___ ) ___ ___ ___ - ___ ___ ___ ___                                     ( ___ ___ ___ ) ___ ___ ___ - ___ ___ ___ ___

Email Address for                                                                           PWS "General" Email
Primary Contact                                                                             (if available)
Name of PWS Secondary                                                                       Job Title of PWS
Contact                                                                                     Secondary Contact
Telephone Number for                                                                        Email Address for
Secondary Contact                           ( ___ ___ ___ ) ___ ___ ___ - ___ ___ ___ ___   Secondary Contact
                                   Street/PO Box

PWS Mailing Address
*Payments will be sent to this
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                Aqueous Film‐Forming Foam (AFFF) Products Liability Litigation (MDL 2873)
                              Public Water System Settlement Claims Form
*Payments will be sent to this
                                 City                                      State          Zip
address
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              Aqueous Film‐Forming Foam (AFFF) Products Liability Litigation (MDL 2873)
                            Public Water System Settlement Claims Form
                  SECTION 1.3 LAWSUIT INFORMATION (CHECK YES OR NO)                                             YES            NO
Has PWS filed a lawsuit to recover damages associated with PFAS contamination of its groundwater
wells or surface water systems?

If yes, is the lawsuit currently pending/filed in the AFFF MDL?

If the lawsuit is NOT currently in the AFFF MDL, in which court is it pending?

Case Number

Date Filed

                  SECTION 1.4 ATTORNEY INFORMATION (IF APPLICABLE)                                              YES            NO
Is the PWS represented by an attorney? (Check Yes or No)


Attorney Name                                                                        Law Firm Name


Telephone Number                                                                     Email Address
                                   ( ___ ___ ___ ) ___ ___ ___ - ___ ___ ___ ___
Law Firm Employer
Identification Number
                                                  SECTION 2. QUALIFYING PWS INFORMATION
                          QUALIFYING QUESTIONS (CHECK YES OR NO)                                                YES            NO
Is the PWS required to test under UCMR-5?

Is the PWS required to test for PFAS by state law?

Does the PWS serve at least 15 service connections used by year-round residents?

Does the PWS serve at least 25 year-round residents?

Does the PWS serve 3,300 people or fewer according to SDWIS as of {Settlement Date}?

Is the PWS in the United States of America or one of its territories?

Is the PWS owned by a state (or territory of the United States) or the federal government?

                              PWS CODES WITHIN THE SAFE DRINKING WATER INFORMATION SYSTEM (SDWIS)


What is the PWS Owner Type Code as listed in SDWIS?
*Please enter one of the following: “L‐Local Government" or "M‐Public/Private" or "P‐Private" or
"N‐Native American" or "S‐State Government" or "F‐Federal Government"



If the PWS has an Owner Type Code of “P‐Private”, what is the operation type of the PWS?
*Please enter one of the following: “Private For‐Profit Utility”, “Nonprofit Utility”, or “Ancillary Utility”


If the PWS has an Owner Type Code of either "S‐State Government" or "F‐Federal
Government," does the PWS have the authority to sue or be sued in its own name?
*Please enter one of the following: "Yes" or "No"

What is the PWS Facility Activity Code as listed in SDWIS?
*Please enter one of the following: “Active”, “Inactive”, “Change from public to non‐public”, “Merged
with another system” or “Potential future system to be regulated”
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              Aqueous Film‐Forming Foam (AFFF) Products Liability Litigation (MDL 2873)
                            Public Water System Settlement Claims Form
What is the PWS classification as listed in SDWIS?
*Please enter one of the following: "Community Water System" or "Non‐Transient Non‐Community
Water System" or "Transient Non‐Community Water System"

Note : If (1) your type code is "Transient Non‐Community Water System" OR (2) your type code is "Non‐Transient
Non‐Community Water System" AND the PWS serves 3,300 people or fewer, skip to Section 6.
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              Aqueous Film‐Forming Foam (AFFF) Products Liability Litigation (MDL 2873)
                            Public Water System Settlement Claims Form
                                            SECTION 3. WATER SOURCE SUMMARY INFORMATION
                                                 GROUNDWATER WELL SUMMARY                                                              QUANTITY
How many groundwater wells are owned or operated by the PWS?

How many of these groundwater wells have been analyzed using a state or federal agency-approved analytical method and
showed a Measurable Concentration of PFAS prior to {Settlement Date}?
How many of these groundwater wells have been analyzed using a state or federal agency-approved analytical method and
DID NOT show a Measurable Concentration of PFAS since January 1, 2019?
                                               SURFACE WATER SYSTEM SUMMARY                                                            QUANTITY
How many surface water systems are owned or operated by the PWS?

How many of these surface water systems have been analyzed using a state or federal agency approved analytical method
and showed a Measurable Concentration of PFAS prior to {Settlement Date}?
How many of these surface water systems have been analyzed using a state or federal agency approved analytical method
and DID NOT show a Measurable Concentration of PFAS since January 1, 2019?
                                                     SECTION 4. WATER SOURCE INFORMATION
Please complete and submit information from Section 4 for EACH Water Source. See "Addendum X" to provide information for each
additional Water Source.

Note : Groundwater wells should report flow rates from the groundwater well. Surface water systems should report the flow rate of the water that enters
the treatment plant.
Name or description of the Water Source.
Note : This is the name or unique identifier listed on the testing laboratory chain of custody document.

Is this a groundwater well or surface water system?
*Please enter "Groundwater well" or "Surface water system."

Note : Please enter "Surface water system" if a treatment plant is blending groundwater and surface water before
treatment. Both systems are considered a surface water system.


Estimated date of first PFAS detection to your water system (be as specific as possible)


What is the basis for the estimate above?

                         WATER SOURCE QUESTIONS (CHECK YES OR NO)                                                  YES                     NO

Does the PWS own this Water Source?


Does the PWS operate this Water Source?


Is this Water Source a purchased water connection?


Has the water from this Water Source ever been used as Drinking Water?

Was this Water Source tested or otherwise analyzed for PFAS and found to contain any Measurable
Concentration of PFAS on or before the {Settlement Date}?
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             Aqueous Film‐Forming Foam (AFFF) Products Liability Litigation (MDL 2873)
                           Public Water System Settlement Claims Form
                                                                     FLOW RATE
Please answer the below questions indicating the maximum flow rate for the Water Source. Please indicate (check the correct box) if the measurement
is in gallons per minute (GPM) or million gallons per day (MGD).

                         FLOW RATE QUESTIONS                                     MAX FLOW RATE                   GPM                      MGD

If this Water Source is a groundwater well, please enter the maximum flow
rate.
If this Water Source is a surface water system, please enter the maximum
flow rate of the water that enters the treatment plant.

How was the maximum flow rate determined?

For the following years, please enter the average annual flow rate for the Impacted Water Source. If the flow rate was reduced or the Water Source
was taken offline due to PFAS contamination, please indicate by checking the box corresponding to that year.

Note : Please indicate if the measurement is in gallons per minute (GPM) or million gallons per day (MGD) by checking the corresponding box.
If the source was not online in a particular year, please enter "0" (zero) for the Average Annual Flow Rate.
                                                                                                                                 Was the Avg. Annual Flow
         YEAR                      AVERAGE ANNUAL FLOW RATE                             GPM                      MGD             Rate reduced due to PFAS
                                                                                                                                      Contamination?

  Groundwater Well
                                                 1500                                    
   Example: 2013

Surface Water System
                                                  4.3                                                             
   Example: 2014

          2013

          2014

          2015

          2016

          2017

          2018

          2019

          2020

          2021

          2022

                                          ADDITIONAL FLOW RATE INFORMATION (IF NECESSARY)

Each PWS is required to provide data for at least 3 years for which the average annual flow rate (AAFR) was not reduced due to PFAS
contamination, if available. If the PWS did not provide data for at least 3 years in which the AAFR was not reduced due to PFAS contamination (in
the table above), please use the space below to provide additional information as needed. For example, if the AAFR for 9 of the previous 10 years has
been reduced due to PFAS contamination, the PWS should provide 2 years of data below for the most recent unimpacted years.

         YEAR                                  AVERAGE ANNUAL FLOW RATE                                          GPM                      MGD

    EXAMPLE: 2009                                            3000                                                 

    EXAMPLE: 2010                                            3500                                                 
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Aqueous Film‐Forming Foam (AFFF) Products Liability Litigation (MDL 2873)
              Public Water System Settlement Claims Form
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             Aqueous Film‐Forming Foam (AFFF) Products Liability Litigation (MDL 2873)
                           Public Water System Settlement Claims Form
                                                    SECTION 5. PFAS TESTING RESULTS
                                                        PFOA CONTAMINATION TESTING
Please enter the below information to indicate PFOA Qualifying Test Results. If this Water Source was not found to contain any PFAS at any level on or
before the {Settlement Date}, leave this section blank and skip to Section 6: Certification and Signature.

See Addendum X to provide information for each additional Water Source.

Highest historical PFOA concentration in lab-issued documentation:

Date of sampling:

Company of the person who took the sample:


Date of analysis:


Highest historical PFOA concentration converted to parts per trillion (PPT):
                                                                                                                     _____________________ PPT

Name of laboratory that performed the analysis:

Facility address of       Street/PO Box
laboratory that
performed the analysis:   City                                                                         State                     Zip



What state or federal agency approved analytical method was used to measure the
PFAS concentrations of the Impacted Water Source (e.g., EPA Method 537.1, EPA Method 537M)?
                                                         PFOS CONTAMINATION TESTING
Please enter the below information to indicate PFOS Qualifying Test Results. If this Water Source was not found to contain any PFAS at any level on or
before the {Settlement Date}, leave this section blank and skip to Section 6: Certification and Signature.

See Addendum X to provide information for each additional Water Source.

Highest historical PFOS concentration in lab-issued documentation:

Date of sampling:

Company of the person who took the sample:


Date of analysis:


Highest historical PFOS concentration converted to parts per trillion (PPT):
                                                                                                                     _____________________ PPT

Name of laboratory that performed the analysis:

Facility address of       Street/PO Box
laboratory that
performed the analysis:   City                                                                         State                     Zip




What state- or federal agency-approved analytical method was used to measure the
PFAS concentrations of the Impacted Water Source (e.g., EPA Method 537.1, EPA Method 537M)?
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              Aqueous Film‐Forming Foam (AFFF) Products Liability Litigation (MDL 2873)
                            Public Water System Settlement Claims Form
                                                          OTHER PFAS CONTAMINATION TESTING
Please enter the below information to indicate other PFAS analyte Qualifing Testing Results. If this Water Source was not found to contain any PFAS at
any level on or before the {Settlement Date}, leave this section blank and skip to Section 6: Certification and Signature.

See Addendum X to provide information for each additional Water Source.

Highest historical concentration of one other PFAS analyte in lab-issued documentation:


Date of sampling:


Company of the person who took the sample:


Date of analysis:

Highest historical concentration of one other PFAS analyte concentration converted to parts per
trillion (PPT):                                                                                                                  _____________________ PPT

Name of laboratory that performed the analysis:

Facility address of          Street/PO Box
laboratory that
performed the analysis:      City                                                                                State                       Zip




What state- or federal agency-approved analytical method was used to measure the
PFAS concentrations of the Impacted Water Source (e.g., EPA Method 537.1, EPA Method 537M)?

                                                  SECTION 6. CERTIFICATION AND SIGNATURE
By signing this Claims Form, Authorized Representative represents and warrants the following on behalf of the Settlement Class Member:

· The Authorized Representative has authority to submit a claim and to release all Released Claims on behalf of the Settlement Class Member and all
other Persons who are Releasing Persons by virtue of their relationship or association with the Settlement Class Member.

· The Settlement Class Member has tested each of its Water Sources for PFAS.

· The Settlement Class Member authorizes the Claims Administrator and/or Special Master to provide all Claims Form information, including PFAS test
result details, to the relevant Parties as required by the terms of the Settlement Agreement.

· The Settlement Class Member has consulted with any other entity that has incurred costs in connection with efforts to removed PFAS from, or
prevent PFAS from entering, Settlement Class Member's Public Water System, and that Settlement Class Member's claim is on behalf of any such other
entity.

I declare under penalty of perjury subject to 28 U.S.C. § 1746 that all of the information provided within this Claims Form and its attachments are true
and correct to the best of my knowledge, information, and belief.

Authorized Representative's Signature:


Authorized Representative's Printed Name:



Executed this _____________day of _________________________ at _______________________________________(County), ______________________________ (State).

                                                             DOCUMENTATION REQUIREMENTS
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            Aqueous Film‐Forming Foam (AFFF) Products Liability Litigation (MDL 2873)
                          Public Water System Settlement Claims Form
Please submit ALL documentation reflecting the information provided above including the following:
1. Lab-issued documentation demonstrating historical maximum detections of PFOA, PFOS, and other PFAS analyte (including chain of custody
document)
2. Documentation to support both annual average and maximum flow rate of the water entering the surface water system.
3. Filed and dated copy of the lawsuit filed by the PWS to recover damages associated with PFAS contamination of its groundwater wells or surface
water systems
4. A completed IRS Form W-9 for the PWS
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      Aqueous Film‐Forming Foam (AFFF) Products Liability Litigation (MDL 2873)
                       Phase One Special Needs Claims Form
                                         CLAIM SUBMISSION DEADLINE: MM/DD/YYYY
                                                                     INSTRUCTIONS
                        All capitalized terms not otherwise defined herein shall have the meanings set forth in the Settlement Agreement,
                                                     available for review at www.PFASWaterSettlement.com.
Please follow the instructions below to submit a Special Needs claim for the AFFF Products Liability Litigation Settlement Program. A completed copy
of this Special Needs Claims Form must be submitted no later than the {Phase One Special Needs Claims Form Deadline}. Late Special Needs Claims
Forms will not be considered.

A Public Water System (PWS) may receive compensation for actions taken to reduce or eliminate the risk of supplying contaminated water. Special
Needs may include, but are not limited to, drilling new wells, purchasing supplemental water, taking wells offline or rerouting pipes. Detailed
supporting documentation must be submitted.

TO RECEIVE BENEFITS FROM THIS SETTLEMENT, YOU MUST PROVIDE ALL OF THE REQUIRED (*) INFORMATION BELOW AND YOU MUST SIGN
THIS CLAIMS FORM. THIS CLAIMS FORM SHOULD ONLY BE USED IF A CLAIM IS BEING MAILED IN AND IS NOT BEING FILED ONLINE. YOU MAY ALSO
FILE YOUR CLAIM ONLINE AT www.PFASWaterSettlement.com.

For any questions about this Special Needs Claims Form, you may contact ___________ at ____________. Claims Forms submitted by mail should be sent to
the Claims Administrator at the following address:

                                                              AFFF Public Water System Claims
                                                                       PO Box 4466
                                                                  Baton Rouge, LA 70821
                                     SECTION 1. PUBLIC WATER SYSTEM (PWS) INFORMATION
Public Water System
(PWS) Name

PWS Identification                                                                 Employer
Number (PWSID)                                                                     Identification Number              ___ ___ - ___ ___ ___ ___ ___ ___ ___

                                           SECTION 2. SPECIAL NEEDS CLAIM INFORMATION
                                                              NARRATIVE OF NEED/ISSUE
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    Aqueous Film‐Forming Foam (AFFF) Products Liability Litigation (MDL 2873)
                     Phase One Special Needs Claims Form

Total Amount Claimed                                              $ __________________________________ . ____ ____
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      Aqueous Film‐Forming Foam (AFFF) Products Liability Litigation (MDL 2873)
                       Phase One Special Needs Claims Form
                                                  SECTION 3. CERTIFICATION AND SIGNATURE
By signing this Claims Form, Authorized Representative represents and warrants the following on behalf of the Settlement Class Member:

· The Authorized Representative has authority to submit a claim and to release all Released Claims on behalf of the Settlement Class Member and all
other Persons who are Releasing Persons by virtue of their relationship or association with the Settlement Class Member.

· The Settlement Class Member has tested each of its Water Sources for PFAS.

· The Settlement Class Member authorizes the Claims Administrator and/or Special Master to provide all Claims Form information, including PFAS test
result details, to the relevant Parties as required by the terms of the Settlement Agreement.

· The Settlement Class Member has consulted with any other entity that has incurred costs in connection with efforts to removed PFAS from, or
prevent PFAS from entering, Settlement Class Member's Public Water System, and that Settlement Class Member's claim is on behalf of any such other
entity.

I declare under penalty of perjury subject to 28 U.S.C. § 1746 that all of the information provided within this Claims Form and its attachments are true
and correct to the best of my knowledge, information, and belief.


Authorized Representative's Signature:




Authorized Representative's Printed Name:




Executed this _____________day of _________________________ at __________________________________(County), _____________________________________ (State).

                                                             DOCUMENTATION REQUIREMENTS
Please submit ALL documentation reflecting the information provided above.
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              Aqueous Film‐Forming Foam (AFFF) Products Liability Litigation (MDL 2873)
                               Phase One Supplemental Claims Form
                                             CLAIM SUBMISSION DEADLINE: MM/DD/YYYY
                                                                          INSTRUCTIONS
                           All capitalized terms not otherwise defined herein shall have the meanings set forth in the Settlement Agreement,
                                                        available for review at www.PFASWaterSettlement.com.

Please follow the instructions below to submit a Supplemental claim for the AFFF Products Liability Litigation Settlement Program. A completed copy
of this Supplemental Claims Form must be submitted no later than the {Phase One Supplemental Claims Form Deadline}. Late Supplemental Claims
Forms will not be considered.

A PWS should ONLY complete this Supplemental Claims Form for Water Sources that meet one or more of the following criteria: (i) Water Sources
that were reported in Phase One Claims Forms to have no Measurable Concentration (any level) of PFAS and because of later PFAS testing obtained a
Qualifying Test Result showing a Measurable Concentration of PFAS; (ii) Water Sources with a positive PFAS detection as of {Settlement Date} that did
not exceed an applicable State MCL or the Proposed Federal PFAS MCLs at the time the PWS submitted its Claims Form but later exceeded the
Proposed Federal PFAS MCLs or an applicable State MCL, whether due to new test results or a change in the applicable MCLs.

TO RECEIVE BENEFITS FROM THIS SETTLEMENT, YOU MUST PROVIDE ALL OF THE REQUIRED (*) INFORMATION BELOW AND YOU MUST SIGN
THIS CLAIMS FORM. THIS CLAIMS FORM SHOULD ONLY BE USED IF A CLAIM IS BEING MAILED IN AND IS NOT BEING FILED ONLINE. YOU MAY ALSO
FILE YOUR CLAIM ONLINE AT www.PFASWaterSettlement.com.

For the Supplemental Claims Form to be valid, Claimants must provide ALL information requested concerning the Public Water System (PWS) and its
groundwater wells and/or surface water systems ("Water Source").

Baseline Testing: If a Water Source was tested only prior to January 1, 2019, and its test results do not show a Measurable Concentration of PFAS, that
Water Source must be retested to meet Baseline Testing requirements. If a Water Source was tested on January 1, 2019, or later, and its test results do
not show a Measurable Concentration of PFAS, no further testing of that Water Source is required. Test results may be submitted from untreated (raw)
or treated (finished) water samples. However, all samples must be drawn from a Water Source that has been used to provide Drinking Water.

 For any questions about this Supplemental Claims Form, you may contact ___________ at ____________. Claims Forms submitted by mail should be sent to
the Claims Administrator at the following address:



                                                                   AFFF Public Water System Claims
                                                                            PO Box 4466
                                                                       Baton Rouge, LA 70821

                                         SECTION 1. PUBLIC WATER SYSTEM (PWS) INFORMATION
                                                          SECTION 1.1 PWS GENERAL INFORMATION
Public Water System
(PWS) Name

PWS Identification                                                                       Employer
Number (PWSID)                                                                           Identification Number           ___ ___ - ___ ___ ___ ___ ___ ___ ___

                                                     SECTION 2. WATER SOURCE INFORMATION
Please complete and submit information from Section 2 for EACH Water Source. See "Addendum X" to provide information for each
additional Water Source.

Note : Groundwater wells should report flow rates from the groundwater well. Surface water systems should report the flow rate of the water that enters
the treatment plant.
Name or description of the Water Source.
Note : This is the name or unique identifier listed on the testing laboratory chain of custody document.

Is this a groundwater well or surface water system?
*Please enter "Groundwater well" or "Surface water system."

Note : Please enter "Surface water system" if a treatment plant is blending groundwater and surface water before
treatment. Both systems are considered a surface water system.


Estimated date of first PFAS detection to your water system (be as specific as possible)
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            Aqueous Film‐Forming Foam (AFFF) Products Liability Litigation (MDL 2873)
                             Phase One Supplemental Claims Form
What is the basis for the estimate above?
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             Aqueous Film‐Forming Foam (AFFF) Products Liability Litigation (MDL 2873)
                              Phase One Supplemental Claims Form
                                                   SECTION 3. PFAS TESTING RESULTS
                                                        PFOA CONTAMINATION TESTING
Please enter the below information to indicate PFOA Qualifying Test Result.

See Addendum X to provide information for each additional Water Source.

Highest historical PFOA concentration in lab-issued documentation:

Date of Sampling:

Company of the person who took the sample:


Date of analysis:


Highest historical PFOA concentration converted to parts per trillion (PPT):
                                                                                                      _____________________ PPT

Name of laboratory that performed the analysis:
                          Street/PO Box
Facility address of
laboratory that
performed the analysis:   City                                                                State               Zip




What state or federal agency approved analytical method was used to measure the
PFAS concentrations of the Impacted Water Source (e.g., EPA Method 537.1, EPA Method 537M)?
                                                        PFOS CONTAMINATION TESTING
Please enter the below information to indicate PFOS Qualifying Test Result.

See Addendum X to provide information for each additional Water Source.

Highest historical PFOS concentration in lab-issued documentation:

Date of Sampling:

Company of the person who took the sample:


Date of analysis:


Highest historical PFOS concentration converted to parts per trillion (PPT):
                                                                                                      _____________________ PPT

Name of laboratory that performed the analysis:

                          Street/PO Box
Facility address of
laboratory that
performed the analysis:   City                                                                State               Zip




What state or federal agency approved analytical method was used to measure the
PFAS concentrations of the Impacted Water Source (e.g., EPA Method 537.1, EPA Method 537M)?
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              Aqueous Film‐Forming Foam (AFFF) Products Liability Litigation (MDL 2873)
                               Phase One Supplemental Claims Form
                                                          OTHER PFAS CONTAMINATION TESTING
Please enter the below information to indicate other PFAS analyte Qualifying Test Result.

See Addendum X to provide information for each additional Water Source.

Highest historical concentration of one other PFAS analyte in lab-issued documentation:


Date of Sampling:


Company of the person who took the sample:


Date of analysis:

Highest historical concentration of one other PFAS analyte concentration converted to parts per
trillion (PPT):                                                                                                                  _____________________ PPT

Name of laboratory that performed the analysis:
                             Street/PO Box
Facility address of
laboratory that
performed the analysis:      City                                                                                State                       Zip




What state or federal agency approved analytical method was used to measure the
PFAS concentrations of the Impacted Water Source (e.g., EPA Method 537.1, EPA Method 537M)?

                                                  SECTION 4. CERTIFICATION AND SIGNATURE
By signing this Claims Form, Authorized Representative represents and warrants the following on behalf of the Settlement Class Member:

· The Authorized Representative has authority to submit a claim and to release all Released Claims on behalf of the Settlement Class Member and all
other Persons who are Releasing Persons by virtue of their relationship or association with the Settlement Class Member.

· The Settlement Class Member has tested each of its Water Sources for PFAS.

· The Settlement Class Member authorizes the Claims Administrator and/or Special Master to provide all Claims Form information, including PFAS test
result details, to the relevant Parties as required by the terms of the Settlement Agreement.

· The Settlement Class Member has consulted with any other entity that has incurred costs in connection with efforts to removed PFAS from, or
prevent PFAS from entering, Settlement Class Member's Public Water System, and that Settlement Class Member's claim is on behalf of any such other
entity.
I declare under penalty of perjury subject to 28 U.S.C. § 1746 that all of the information provided within this Supplemental Claims Form and its
attachments are true and correct to the best of my knowledge, information, and belief.


Authorized Representative's Signature:




Authorized Representative's Printed Name:




Executed this _____________day of _________________________ at _______________________________________(County), _____________________________________ (State).

                                                             DOCUMENTATION REQUIREMENTS
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            Aqueous Film‐Forming Foam (AFFF) Products Liability Litigation (MDL 2873)
                             Phase One Supplemental Claims Form
Please submit ALL documentation reflecting the information provided above including the following:
1. Lab-issued documentation demonstrating historical maximum detections of PFOA, PFOS, and other PFAS (including chain of custody document)
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                Aqueous Film‐Forming Foam (AFFF) Products Liability Litigation (MDL 2873)
                                  Phase Two Action Fund Claims Form
                                                    CLAIM SUBMISSION DEADLINE: MM/DD/YYYY
                                                                                  INSTRUCTIONS
                                 All capitalized terms not otherwise defined herein shall have the meanings set forth in the Settlement Agreement,
                                                              available for review at www.PFASWaterSettlement.com.
Please follow the instructions below to submit a claim for the AFFF Products Liability Litigation Settlement Program. A completed copy of this Claims
Form must be submitted no later than the {Phase Two Action Fund Claims Form Deadline}. Late Claims Forms will not be considered.

TO RECEIVE BENEFITS FROM THIS SETTLEMENT, YOU MUST PROVIDE ALL OF THE REQUIRED (*) INFORMATION BELOW AND YOU MUST SIGN
THIS CLAIMS FORM. THIS CLAIMS FORM SHOULD ONLY BE USED IF A CLAIM IS BEING MAILED IN AND IS NOT BEING FILED ONLINE. YOU MAY ALSO
FILE YOUR CLAIM ONLINE AT www.PFASWaterSettlement.com.

For the Claims Form to be valid, Claimants must provide ALL information requested concerning the Public Water System (PWS) and its groundwater
wells and/or surface water systems ("Water Source").

Phase Two Baseline Testing: Each Phase Two Qualifying Class Member must test each of its Water Sources for PFAS, request from the laboratory that
performs the analyses all analytical results, including the actual numeric values, and submit detailed PFAS test results to the Claims Administrator on a
Claims Form within forty-five (45) calendar days after receiving the test results, absent what the Claims Administrator deems in writing to be an
extraordinary circumstance, and no later than July 1, 2026. Test results may be submitted from untreated (raw) or treated (finished) water samples.
However, all samples must be drawn from a Water Source that has been used to provide Drinking Water.

A PWS that does not timely return a completed Claims Form forfeits any right to participate in this settlement. For any questions about this Claims
Form, you may contact ___________ at ____________. Claims Forms submitted by mail should be sent to the Claims Administrator at the following address:



                                                                          AFFF Public Water System Claims
                                                                                   PO Box 4466
                                                                              Baton Rouge, LA 70821

                                                SECTION 1. PUBLIC WATER SYSTEM (PWS) INFORMATION
                                                                 SECTION 1.1 PWS GENERAL INFORMATION
Public Water System
(PWS) Name

PWS Identification                                                                          Employer
Number (PWSID)                                                                              Identification Number
                                                                                                                                 ___ ___ - ___ ___ ___ ___ ___ ___ ___
                                   Street


PWS Facility Address
                                   City                                                                               State                          Zip



                                                                 SECTION 1.2 PWS CONTACT INFORMATION
*Please note that communication for this Settlement may extend into the year 2030. Please provide contact information with this in mind and contact the
                                                  Claims Administrator if any updates are required.
Name of PWS Primary                                                                         Job Title of PWS
Contact                                                                                     Primary Contact
Telephone Number for
                                                                                            Fax Number
Primary Contact                             ( ___ ___ ___ ) ___ ___ ___ - ___ ___ ___ ___                                     ( ___ ___ ___ ) ___ ___ ___ - ___ ___ ___ ___

Email Address for                                                                           PWS "General" Email
Primary Contact                                                                             (if available)
Name of PWS Secondary                                                                       Job Title of PWS
Contact                                                                                     Secondary Contact
Telephone Number for                                                                        Email Address for
Secondary Contact                           ( ___ ___ ___ ) ___ ___ ___ - ___ ___ ___ ___   Secondary Contact
                                   Street/PO Box

PWS Mailing Address
*Payments will be sent to this
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                Aqueous Film‐Forming Foam (AFFF) Products Liability Litigation (MDL 2873)
                                  Phase Two Action Fund Claims Form
*Payments will be sent to this
                                 City                                      State          Zip
address
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              Aqueous Film‐Forming Foam (AFFF) Products Liability Litigation (MDL 2873)
                                Phase Two Action Fund Claims Form
                  SECTION 1.3 LAWSUIT INFORMATION (CHECK YES OR NO)                                             YES            NO
Has PWS filed a lawsuit to recover damages associated with PFAS contamination of its public
drinking water wells or surface water systems?

If yes, is the lawsuit currently pending/filed in the AFFF MDL?

If the lawsuit is NOT currently in the AFFF MDL, in which court is it pending?

Case Number

Date Filed

                  SECTION 1.4 ATTORNEY INFORMATION (IF APPLICABLE)                                              YES            NO
Is the PWS Represented by an Attorney? (Check Yes or No)


Attorney Name                                                                        Law Firm Name


Telephone Number                                                                     Email Address
                                   ( ___ ___ ___ ) ___ ___ ___ - ___ ___ ___ ___
Law Firm Employer
Identification Number
                                                  SECTION 2. QUALIFYING PWS INFORMATION
                          QUALIFYING QUESTIONS (CHECK YES OR NO)                                                YES            NO
Is the PWS required to test under UCMR-5?

Is the PWS required to test for PFAS by state law?

Does the PWS serve at least 15 service connections used by year-round residents?

Does the PWS serve at least 25 year-round residents?

Does the PWS serve 3,300 people or fewer according to SDWIS as of {Settlement Date}?

Is the PWS in the United States of America or one of its territories?

Is the PWS owned or operated by a state (or territory of the United States) or the federal
government?
                              PWS CODES WITHIN THE SAFE DRINKING WATER INFORMATION SYSTEM (SDWIS)

What is the PWS Owner Type Code as listed in SDWIS?
*Please enter one of the following: “L‐Local Government" or "M‐Public/Private" or "P‐Private" or
"N‐Native American" or "S‐State Government" or "F‐Federal Government"


If the PWS has an Owner Type Code of “P‐Private”, what is the operation type of the PWS?
*Please enter one of the following: “Private For‐Profit Utility”, “Nonprofit Utility”, or “Ancillary Utility”


If the PWS Owner Type Code is listed in SDWIS as either "S‐State Government" or "F‐Federal
Government," does the PWS have the authority to sue or be sued in its own name?
*Please enter one of the following: "Yes" or "No"

What is the PWS Facility Activity Code as listed in SDWIS?
*Please enter one of the following: “Active”, “Inactive”, “Change from public to non‐public”, “Merged
with another system” or “Potential future system to be regulated”
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              Aqueous Film‐Forming Foam (AFFF) Products Liability Litigation (MDL 2873)
                                Phase Two Action Fund Claims Form
What is the PWS classification as listed in SDWIS?
*Please enter one of the following: "Community Water System" or "Non‐Transient Non‐Community
Water System" or "Transient Non‐Community Water System"

Note : If (1) your type code is "Transient Non‐Community Water System" OR (2) your type code is "Non‐Transient
Non‐Community Water System" AND the PWS serves 3,300 people or fewer, skip to Section 6.
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              Aqueous Film‐Forming Foam (AFFF) Products Liability Litigation (MDL 2873)
                                Phase Two Action Fund Claims Form
                                            SECTION 3. WATER SOURCE SUMMARY INFORMATION
                                                 GROUNDWATER WELL SUMMARY                                                              QUANTITY
How many groundwater wells are owned or operated by the PWS?

How many of these groundwater wells have been analyzed using a state or federal agency-approved analytical method and
showed a Measurable Concentration (any level) of PFAS prior to {Settlement Date}?
How many of these groundwater wells have been analyzed using a state or federal agency-approved analytical method and
DID NOT show a Measurable Concentration of PFAS since January 1, 2019?
                                               SURFACE WATER SYSTEM SUMMARY                                                            QUANTITY
How many surface water systems are owned or operated by the PWS?

How many of these surface water systems have been analyzed using a state or federal agency approved analytical method
and showed a Measurable Concentration of PFAS prior to {Settlement Date}?
How many of these surface water systems have been analyzed using a state or federal agency approved analytical method
and DID NOT show a Measurable Concentration of PFAS since January 1, 2019?
                                                     SECTION 4. WATER SOURCE INFORMATION
Please complete and submit information from Section 4 for EACH Water Source. See "Addendum X" to provide information for each
additional Water Source.

Note : Groundwater wells should report flow rates from the groundwater well. Surface water systems should report the flow rate of the water that enters
the treatment plant.
Name or description of the Water Source.
Note : This is the name or unique identifier listed on the testing laboratory chain of custody document.

Is this a groundwater well or surface water system?
*Please enter "Groundwater well" or "Surface water system."

Note : Please enter "Surface water system" if a treatment plant is blending groundwater and surface water before
treatment. Both systems are considered a surface water system.


Estimated date of first PFAS detection to your water system (be as specific as possible)


What is the basis for the estimate above?

                         WATER SOURCE QUESTIONS (CHECK YES OR NO)                                                  YES                     NO

Does the PWS own this Water Source?


Does the PWS operate this Water Source?


Is this Water Source a purchased water connection?


Has the water from this Water Source ever been used as Drinking Water?

Was this Water Source tested or otherwise analyzed for PFAS and found to contain any Measurable
Concentration of PFAS on or before the {Settlement Date}?
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             Aqueous Film‐Forming Foam (AFFF) Products Liability Litigation (MDL 2873)
                               Phase Two Action Fund Claims Form
                                                                     FLOW RATE
Please answer the below questions indicating the maximum flow rate for the Water Source. Please indicate (check the correct box) if the measurement
is in gallons per minute (GPM) or million gallons per day (MGD).

                         FLOW RATE QUESTIONS                                     MAX FLOW RATE                   GPM                      MGD

If this Water Source is a groundwater well, please enter the maximum flow
rate.
If this Water Source is a surface water system, please enter the maximum
flow rate of the water that enters the treatment plant.

How was the maximum flow rate determined?

For the following years, please enter the average annual flow rate for the Impacted Water Source. If the flow rate was reduced or the Water Source
was taken offline due to PFAS contamination, please indicate by checking the box corresponding to that year.

Note : Please indicate if the measurement is in gallons per minute (GPM) or million gallons per day (MGD) by checking the corresponding box.
If the source was not online in a particular year, please enter "0" (zero) for the Average Annual Flow Rate.
                                                                                                                                 Was the Avg. Annual Flow
         YEAR                      AVERAGE ANNUAL FLOW RATE                             GPM                      MGD             Rate reduced due to PFAS
                                                                                                                                      Contamination?
  Groundwater Well
                                                 1500                                    
   Example: 2013

Surface Water System
                                                  4.3                                                             
   Example: 2014

          2013

          2014

          2015

          2016

          2017

          2018

          2019

          2020

          2021

          2022

                                          ADDITIONAL FLOW RATE INFORMATION (IF NECESSARY)

Each PWS is required to provide data for at least 3 years for which the average annual flow rate (AAFR) was not reduced due to PFAS
contamination, if available. If the PWS did not provide data for at least 3 years in which the AAFR was not reduced due to PFAS contamination (in
the table above), please use the space below to provide additional information as needed. For example, if the AAFR for 9 of the previous 10 years has
been reduced due to PFAS contamination, the PWS should provide 2 years of data below for the most recent unimpacted years.

         YEAR                                  AVERAGE ANNUAL FLOW RATE                                          GPM                      MGD

    EXAMPLE: 2009                                            3000                                                 

    EXAMPLE: 2010                                            3500                                                 
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Aqueous Film‐Forming Foam (AFFF) Products Liability Litigation (MDL 2873)
                  Phase Two Action Fund Claims Form
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             Aqueous Film‐Forming Foam (AFFF) Products Liability Litigation (MDL 2873)
                               Phase Two Action Fund Claims Form
                                                   SECTION 5. PFAS TESTING RESULTS
                                                        PFOA CONTAMINATION TESTING

Please enter the below information to indicate PFOA Qualifying Testing Results.

See Addendum X to provide information for each additional Water Source.

Highest historical PFOA concentration in lab-issued documentation:

Date of Sampling:

Company of the person who took the sample:


Date of analysis:


Highest historical PFOA concentration converted to parts per trillion (PPT):
                                                                                                        _____________________ PPT

Name of laboratory that performed the analysis:

Facility address of       Street/PO Box
laboratory that
performed the analysis:   City                                                                 State                Zip




What state or federal agency approved analytical method was used to measure the
PFAS concentrations of the Impacted Water Source (e.g., EPA Method 537.1, EPA Method 537M)?
                                                        PFOS CONTAMINATION TESTING

Please enter the below information to indicate PFOS Qualifying Testing Results.

See Addendum X to provide information for each additional Water Source.


Highest historical PFOS concentration in lab-issued documentation:

Date of Sampling:

Company of the person who took the sample:


Date of analysis:


Highest historical PFOS concentration converted to parts per trillion (PPT):
                                                                                                        _____________________ PPT

Name of laboratory that performed the analysis:

Facility address of       Street/PO Box
laboratory that
performed the analysis:   City                                                                 State                Zip




What state or federal agency approved analytical method was used to measure the
PFAS concentrations of the Impacted Water Source (e.g., EPA Method 537.1, EPA Method 537M)?
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              Aqueous Film‐Forming Foam (AFFF) Products Liability Litigation (MDL 2873)
                                Phase Two Action Fund Claims Form
                                                          OTHER PFAS CONTAMINATION TESTING

Please enter the below information to indicate other PFAS analyte Qualifying Test Results.

See Addendum X to provide information for each additional Water Source.

Highest historical concentration of one other PFAS analyte in lab-issued documentation:


Date of Sampling:


Company of the person who took the sample:


Date of analysis:

Highest historical concentration of one other PFAS analyte concentration converted to parts per
trillion (PPT):                                                                                                                  _____________________ PPT

Name of laboratory that performed the analysis:

Facility address of          Street/PO Box
laboratory that
performed the analysis:      City                                                                                State                       Zip



What state or federal agency approved analytical method was used to measure the
PFAS concentrations of the Impacted Water Source (e.g., EPA Method 537.1, EPA Method 537M)?

                                                  SECTION 6. CERTIFICATION AND SIGNATURE
By signing this Claims Form, Authorized Representative represents and warrants the following on behalf of the Settlement Class Member:

· The Authorized Representative has authority to submit a claim and to release all Released Claims on behalf of the Settlement Class Member and all
other Persons who are Releasing Persons by virtue of their relationship or association with the Settlement Class Member.

· The Settlement Class Member has tested each of its Water Sources for PFAS.

· The Settlement Class Member authorizes the Claims Administrator and/or Special Master to provide all Claims Form information, including PFAS test
result details, to the relevant Parties as required by the terms of the Settlement Agreement.

· The Settlement Class Member has consulted with any other entity that has incurred costs in connection with efforts to removed PFAS from, or
prevent PFAS from entering, Settlement Class Member's Public Water System, and that Settlement Class Member's claim is on behalf of any such other
entity.

I declare under penalty of perjury subject to 28 U.S.C. § 1746 that all of the information provided within this Claims Form and its attachments are true
and correct to the best of my knowledge, information, and belief.

Authorized Representative's Signature:


Authorized Representative's Printed Name:



Executed this _____________day of _________________________ at _______________________________________(County), ______________________________ (State).

                                                             DOCUMENTATION REQUIREMENTS
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            Aqueous Film‐Forming Foam (AFFF) Products Liability Litigation (MDL 2873)
                              Phase Two Action Fund Claims Form
Please submit ALL documentation reflecting the information provided above including the following:
1. Lab-issued documentation demonstrating historical maximum detections of PFOA, PFOS, and other PFAS analyte (including chain of custody
document)
2. Documentation to support both annual average and maximum flow rate of the water entering the surface water system.
3. Filed and dated copy of the lawsuit filed by the PWS to recover damages associated with PFAS contamination of its groundwater wells or surface
water systems
4. A completed IRS Form W-9 for the PWS
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      Aqueous Film‐Forming Foam (AFFF) Products Liability Litigation (MDL 2873)
                       Phase Two Special Needs Claims Form
                                         CLAIM SUBMISSION DEADLINE: MM/DD/YYYY
                                                                     INSTRUCTIONS
                        All capitalized terms not otherwise defined herein shall have the meanings set forth in the Settlement Agreement,
                                                     available for review at www.PFASWaterSettlement.com.
Please follow the instructions below to submit a Special Needs claim for the AFFF Products Liability Litigation Settlement Program. A completed copy
of this Special Needs Claims Form must be submitted no later than the {Phase Two Special Needs Claims Form Deadline}. Late Special Needs Claims
Forms will not be considered.

A Public Water System (PWS) may receive compensation for actions taken to reduce or eliminate the risk of supplying contaminated water. Special
Needs may include, but are not limited to, drilling new wells, purchasing supplemental water, taking wells offline or rerouting pipes. Detailed
supporting documentation must be submitted.

TO RECEIVE BENEFITS FROM THIS SETTLEMENT, YOU MUST PROVIDE ALL OF THE REQUIRED (*) INFORMATION BELOW AND YOU MUST SIGN
THIS CLAIMS FORM. THIS CLAIMS FORM SHOULD ONLY BE USED IF A CLAIM IS BEING MAILED IN AND IS NOT BEING FILED ONLINE. YOU MAY ALSO
FILE YOUR CLAIM ONLINE AT www.PFASWaterSettlement.com.

For any questions about this Special Needs Claims Form, you may contact ___________ at ____________. Claims Forms submitted by mail should be sent to
the Claims Administrator at the following address:



                                                              AFFF Public Water System Claims
                                                                       PO Box 4466
                                                                  Baton Rouge, LA 70821
                                     SECTION 1. PUBLIC WATER SYSTEM (PWS) INFORMATION
Public Water System
(PWS) Name

PWS Identification                                                                 Employer
Number (PWSID)                                                                     Identification Number              ___ ___ - ___ ___ ___ ___ ___ ___ ___

                                           SECTION 2. SPECIAL NEEDS CLAIM INFORMATION
                                                              NARRATIVE OF NEED/ISSUE
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    Aqueous Film‐Forming Foam (AFFF) Products Liability Litigation (MDL 2873)
                     Phase Two Special Needs Claims Form

Total Amount Claimed                                              $ __________________________________ . ____ ____
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      Aqueous Film‐Forming Foam (AFFF) Products Liability Litigation (MDL 2873)
                       Phase Two Special Needs Claims Form
                                                  SECTION 3. CERTIFICATION AND SIGNATURE
By signing this Claims Form, Authorized Representative represents and warrants the following on behalf of the Settlement Class Member:

· The Authorized Representative has authority to submit a claim and to release all Released Claims on behalf of the Settlement Class Member and all
other Persons who are Releasing Persons by virtue of their relationship or association with the Settlement Class Member.

· The Settlement Class Member has tested each of its Water Sources for PFAS.

· The Settlement Class Member authorizes the Claims Administrator and/or Special Master to provide all Claims Form information, including PFAS test
result details, to the relevant Parties as required by the terms of the Settlement Agreement.

· The Settlement Class Member has consulted with any other entity that has incurred costs in connection with efforts to removed PFAS from, or
prevent PFAS from entering, Settlement Class Member's Public Water System, and that Settlement Class Member's claim is on behalf of any such other
entity.

I declare under penalty of perjury subject to 28 U.S.C. § 1746 that all of the information provided within this Claims Form and its attachments are true
and correct to the best of my knowledge, information, and belief.


Authorized Representative's Signature:




Authorized Representative's Printed Name:




Executed this _____________day of _________________________ at __________________________________(County), _____________________________________ (State).

                                                             DOCUMENTATION REQUIREMENTS
Please submit ALL documentation reflecting the information provided above.
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              Aqueous Film‐Forming Foam (AFFF) Products Liability Litigation (MDL 2873)
                               Phase Two Supplemental Claims Form
                                             CLAIM SUBMISSION DEADLINE: MM/DD/YYYY
                                                                          INSTRUCTIONS
                           All capitalized terms not otherwise defined herein shall have the meanings set forth in the Settlement Agreement,
                                                        available for review at www.PFASWaterSettlement.com.
Please follow the instructions below to submit a Supplemental claim for the AFFF Products Liability Litigation Settlement Program. A completed copy
of this Supplemental Claims Form must be submitted no later than the {Phase Two Supplemental Claims Form Deadline}. Late Supplemental Claims
Forms will not be considered.

A PWS should ONLY complete this Supplemental Claims Form for Water Sources that meet one or more of the following criteria: (i) Water Sources
that were reported in Phase Two Claims Forms to have no Measurable Concentration (any level) of PFAS and because of later PFAS testing obtained a
Qualifying Test Result showing a Measurable Concentration of PFAS; (ii) Impacted Water Sources that did not exceed an applicable State MCL or the
Proposed Federal PFAS MCLs at the time the PWS submitted its Phase Two Claims Form but later exceeded the Proposed Federal PFAS MCLs or an
applicable State MCL, whether due to new test results or a change in the applicable MCLs.

TO RECEIVE BENEFITS FROM THIS SETTLEMENT, YOU MUST PROVIDE ALL OF THE REQUIRED (*) INFORMATION BELOW AND YOU MUST SIGN
THIS CLAIMS FORM. THIS CLAIMS FORM SHOULD ONLY BE USED IF A CLAIM IS BEING MAILED IN AND IS NOT BEING FILED ONLINE. YOU MAY ALSO
FILE YOUR CLAIM ONLINE AT www.PFASWaterSettlement.com.

For the Supplemental Claims Form to be valid, Claimants must provide ALL information requested concerning the Public Water System (PWS) and its
groundwater wells and/or surface water systems ("Water Source").

Phase Two Baseline Testing: Each Phase Two Qualifying Class Member must test each of its Water Sources for PFAS, request from the laboratory that
performs the analyses all analytical results, including the actual numeric values, and submit detailed PFAS test results to the Claims Administrator on a
Claims Form within forty-five (45) calendar days after receiving the test results, absent what the Claims Administrator deems in writing to be an
extraordinary circumstance, and no later than July 1, 2026. Test results may be submitted from untreated (raw) or treated (finished) water samples.
However, all samples must be drawn from a Water Source that has been used to provide Drinking Water.

 For any questions about this Supplemental Claims Form, you may contact ___________ at ____________. Claims Forms submitted by mail should be sent to
the Claims Administrator at the following address:


                                                                   AFFF Public Water System Claims
                                                                            PO Box 4466
                                                                       Baton Rouge, LA 70821

                                         SECTION 1. PUBLIC WATER SYSTEM (PWS) INFORMATION
                                                          SECTION 1.1 PWS GENERAL INFORMATION
Public Water System
(PWS) Name

PWS Identification                                                                       Employer
Number (PWSID)                                                                           Identification Number           ___ ___ - ___ ___ ___ ___ ___ ___ ___

                                                     SECTION 2. WATER SOURCE INFORMATION
Please complete and submit information from Section 2 for EACH Water Source. See "Addendum X" to provide information for each
additional Water Source.

Note : Groundwater wells should report flow rates from the groundwater well. Surface water systems should report the flow rate of the water that enters
the treatment plant.
Name or description of the Water Source.
Note : This is the name or unique identifier listed on the testing laboratory chain of custody document.

Is this a groundwater well or surface water system?
*Please enter "Groundwater well" or "Surface water system."

Note : Please enter "Surface water system" if a treatment plant is blending groundwater and surface water before
treatment. Both systems are considered a surface water system.


Estimated date of first PFAS detection to your water system (be as specific as possible)
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            Aqueous Film‐Forming Foam (AFFF) Products Liability Litigation (MDL 2873)
                             Phase Two Supplemental Claims Form
What is the basis for the estimate above?
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             Aqueous Film‐Forming Foam (AFFF) Products Liability Litigation (MDL 2873)
                              Phase Two Supplemental Claims Form
                                                   SECTION 3. PFAS TESTING RESULTS
                                                        PFOA CONTAMINATION TESTING
Please enter the below information to indicate PFOA Qualifying Test Result.

See Addendum X to provide information for each additional Water Source.

Highest historical PFOA concentration in lab-issued documentation:

Date of Sampling:

Company of the person who took the sample:


Date of analysis:


Highest historical PFOA concentration converted to parts per trillion (PPT):
                                                                                                      _____________________ PPT

Name of laboratory that performed the analysis:
                          Street/PO Box
Facility address of
laboratory that
performed the analysis:   City                                                                State               Zip




What state or federal agency approved analytical method was used to measure the
PFAS concentrations of the Impacted Water Source (e.g., EPA Method 537.1, EPA Method 537M)?
                                                        PFOS CONTAMINATION TESTING
Please enter the below information to indicate PFOS Qualifying Test Result.

See Addendum X to provide information for each additional Water Source.

Highest historical PFOS concentration in lab-issued documentation:

Date of Sampling:

Company of the person who took the sample:


Date of analysis:


Highest historical PFOS concentration converted to parts per trillion (PPT):
                                                                                                      _____________________ PPT

Name of laboratory that performed the analysis:

                          Street/PO Box
Facility address of
laboratory that
performed the analysis:   City                                                                State               Zip




What state or federal agency approved analytical method was used to measure the
PFAS concentrations of the Impacted Water Source (e.g., EPA Method 537.1, EPA Method 537M)?
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              Aqueous Film‐Forming Foam (AFFF) Products Liability Litigation (MDL 2873)
                               Phase Two Supplemental Claims Form
                                                          OTHER PFAS CONTAMINATION TESTING
Please enter the below information to indicate other PFAS analyte Qualifying Test Result.

See Addendum X to provide information for each additional Water Source.

Highest historical concentration of one other PFAS analyte in lab-issued documentation:


Date of Sampling:


Company of the person who took the sample:


Date of analysis:

Highest historical concentration of one other PFAS analyte concentration converted to parts per
trillion (PPT):                                                                                                                  _____________________ PPT

Name of laboratory that performed the analysis:
                             Street/PO Box
Facility address of
laboratory that
performed the analysis:      City                                                                                State                       Zip




What state or federal agency approved analytical method was used to measure the
PFAS concentrations of the Impacted Water Source (e.g., EPA Method 537.1, EPA Method 537M)?

                                                  SECTION 4. CERTIFICATION AND SIGNATURE
By signing this Claims Form, Authorized Representative represents and warrants the following on behalf of the Settlement Class Member:

· The Authorized Representative has authority to submit a claim and to release all Released Claims on behalf of the Settlement Class Member and all
other Persons who are Releasing Persons by virtue of their relationship or association with the Settlement Class Member.

· The Settlement Class Member has tested each of its Water Sources for PFAS.

· The Settlement Class Member authorizes the Claims Administrator and/or Special Master to provide all Claims Form information, including PFAS test
result details, to the relevant Parties as required by the terms of the Settlement Agreement.

· The Settlement Class Member has consulted with any other entity that has incurred costs in connection with efforts to removed PFAS from, or
prevent PFAS from entering, Settlement Class Member's Public Water System, and that Settlement Class Member's claim is on behalf of any such other
entity.
I declare under penalty of perjury subject to 28 U.S.C. § 1746 that all of the information provided within this Supplemental Claims Form and its
attachments are true and correct to the best of my knowledge, information, and belief.


Authorized Representative's Signature:




Authorized Representative's Printed Name:




Executed this _____________day of _________________________ at _______________________________________(County), _____________________________________ (State).

                                                             DOCUMENTATION REQUIREMENTS
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            Aqueous Film‐Forming Foam (AFFF) Products Liability Litigation (MDL 2873)
                             Phase Two Supplemental Claims Form
Please submit ALL documentation reflecting the information provided above including the following:
1. Lab-issued documentation demonstrating historical maximum detections of PFOA, PFOS, and other PFAS (including chain of custody document)
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                Aqueous Film‐Forming Foam (AFFF) Products Liability Litigation (MDL 2873)
                              Phase Two Testing Compensation Claims Form
                                                    CLAIM SUBMISSION DEADLINE: MM/DD/YYYY
                                                                                  INSTRUCTIONS
                                 All capitalized terms not otherwise defined herein shall have the meanings set forth in the Settlement Agreement,
                                                              available for review at www.PFASWaterSettlement.com.

Please follow the instructions below to submit a Testing Compensation claim for the AFFF Products Liability Litigation Settlement Program. A
completed copy of this Claims Form must be submitted no later than the {Phase Two Testing Compensation Claims Form Deadline}. Late Testing
Compensation Claims Forms will not be considered.

A Public Water System (PWS) should ONLY fill out this claim form if ALL testing of all Water Sources as of the {Settlement Date} indicated no detection
of PFAS at any level OR the PWS has not yet completed Baseline Testing. Compensation from the Testing Fund is limited to one payment per Water
Source owned and operated by the PWS.

TO RECEIVE BENEFITS FROM THIS SETTLEMENT, YOU MUST PROVIDE ALL OF THE REQUIRED (*) INFORMATION BELOW AND YOU MUST SIGN
THIS CLAIMS FORM. THIS CLAIMS FORM SHOULD ONLY BE USED IF A CLAIM IS BEING MAILED IN AND IS NOT BEING FILED ONLINE. YOU MAY ALSO
FILE YOUR CLAIM ONLINE AT www.PFASWaterSettlement.com.

For any questions about this Claims Form, you may contact ___________ at ____________. Claims Forms submitted by mail should be sent to the Claims
Administrator at the following address:
                                                        AFFF Public Water System Claims
                                                                     PO Box 4466
                                                               Baton Rouge, LA 70821
                                                SECTION 1. PUBLIC WATER SYSTEM (PWS) INFORMATION
                                                                 SECTION 1.1 PWS GENERAL INFORMATION
Public Water System
(PWS) Name
                                                                                            Employer
PWS Identification
                                                                                            Identification
Number (PWSID)
                                                                                            Number                               ___ ___ - ___ ___ ___ ___ ___ ___ ___
                                   Street


PWS Facility Address
                                   City                                                                               State                          Zip



                                                                 SECTION 1.2 PWS CONTACT INFORMATION
*Please note that communication for this Settlement may extend into the year 2030. Please provide contact information with this in mind and contact the
                                                  Claims Administrator if any updates are required.
Name of PWS Primary                                                                         Job Title of PWS
Contact                                                                                     Primary Contact
Telephone Number for
                                                                                            Fax Number
Primary Contact                             ( ___ ___ ___ ) ___ ___ ___ - ___ ___ ___ ___                                     ( ___ ___ ___ ) ___ ___ ___ - ___ ___ ___ ___

Email Address for                                                                           PWS "General" Email
Primary Contact                                                                             (if available)
Name of PWS Secondary                                                                       Job Title of PWS
Contact                                                                                     Secondary Contact
Telephone Number for                                                                        Email Address for
Secondary Contact                           ( ___ ___ ___ ) ___ ___ ___ - ___ ___ ___ ___   Secondary Contact
                                   Street/PO Box

PWS Mailing Address
*Payments will be sent to this
                                   City                                                                               State                          Zip
address
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              Aqueous Film‐Forming Foam (AFFF) Products Liability Litigation (MDL 2873)
                            Phase Two Testing Compensation Claims Form
                  SECTION 1.3 LAWSUIT INFORMATION (CHECK YES OR NO)                                             YES            NO
Has PWS filed a lawsuit to recover damages associated with PFAS contamination of its public
drinking water wells or surface water systems?

If yes, is the lawsuit currently pending/filed in the AFFF MDL?

If the lawsuit is NOT currently in the AFFF MDL, in which court is it pending?

Case Number

Date Filed

                  SECTION 1.4 ATTORNEY INFORMATION (IF APPLICABLE)                                              YES            NO
Is the PWS Represented by an Attorney? (Check Yes or No)


Attorney Name                                                                        Law Firm Name


Telephone Number                                                                     Email Address
                                   ( ___ ___ ___ ) ___ ___ ___ - ___ ___ ___ ___
Law Firm Employer
Identification Number
                                                  SECTION 2. QUALIFYING PWS INFORMATION
                          QUALIFYING QUESTIONS (CHECK YES OR NO)                                                YES            NO
Is the PWS required to test under UCMR-5?

Is the PWS required to test for PFAS by state law?

Does the PWS serve at least 15 service connections used by year-round residents?

Does the PWS serve at least 25 year-round residents?

Does the PWS serve 3,300 people or fewer according to SDWIS as of {Settlement Date}?

Is the PWS in the United States of America or one of its territories?

Is the PWS owned or operated by a state (or territory of the United States) or the federal
government?
                              PWS CODES WITHIN THE SAFE DRINKING WATER INFORMATION SYSTEM (SDWIS)

What is the PWS Owner Type Code as listed in SDWIS?
*Please enter one of the following: “L‐Local Government" or "M‐Public/Private" or "P‐Private" or
"N‐Native American" or "S‐State Government" or "F‐Federal Government"

If the PWS has an Owner Type Code of “P-Private”, what is the operation type of the PWS?

*Please enter one of the following: “Private For‐Profit Utility”, “Nonprofit Utility”, or “Ancillary Utility”


If the PWS Owner Type Code is listed in SDWIS as either "S‐State Government" or "F‐Federal
Government," does the PWS have the authority to sue or be sued in its own name?
*Please enter one of the following: "Yes" or "No"


What is the PWS Facility Activity Code as listed in SDWIS?
*Please enter one of the following: “Active”, “Inactive”, “Change from public to non‐public”, “Merged
with another system” or “Potential future system to be regulated”
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              Aqueous Film‐Forming Foam (AFFF) Products Liability Litigation (MDL 2873)
                            Phase Two Testing Compensation Claims Form
What is the PWS classification as listed in SDWIS?
*Please enter one of the following: "Community Water System" or "Non‐Transient Non‐Community
Water System" or "Transient Non‐Community Water System"

Note : If (1) your type code is "Transient Non‐Community Water System" OR (2) your type code is "Non‐Transient
Non‐Community Water System" AND the PWS serves 3,300 people or fewer, skip to Section 6.
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              Aqueous Film‐Forming Foam (AFFF) Products Liability Litigation (MDL 2873)
                            Phase Two Testing Compensation Claims Form
                                           SECTION 3. WATER SOURCE SUMMARY INFORMATION
Please answer the following questions for all Water Sources that are (a) owned or operated by the PWS, (b) are NOT purchased water
connections, AND (c) have ever been used as Drinking Water.
How many groundwater wells are owned or operated by the PWS and have never had a Qualifying Test Result showing a
Measureable Concentration (any level) of PFAS?
How many surface water systems are owned or operated by the PWS and have never had a Qualifying Test Result showing a
Measureable Concentration of PFAS?

                                                  SECTION 4. CERTIFICATION AND SIGNATURE
By signing this Claims Form, Authorized Representative represents and warrants the following on behalf of the Settlement Class Member:

· The Authorized Representative has authority to submit a claim and to release all Released Claims on behalf of the Settlement Class Member and all
other Persons who are Releasing Persons by virtue of their relationship or association with the Settlement Class Member.

· The Settlement Class Member has tested each of its Water Sources for PFAS.

· The Settlement Class Member authorizes the Claims Administrator and/or Special Master to provide all Claims Form information, including PFAS test
result details, to the relevant Parties as required by the terms of the Settlement Agreement.

· The Settlement Class Member has consulted with any other entity that has incurred costs in connection with efforts to removed PFAS from, or
prevent PFAS from entering, Settlement Class Member's Public Water System, and that Settlement Class Member's claim is on behalf of any such other
entity.
I declare under penalty of perjury subject to 28 U.S.C. § 1746 that all of the information provided within this Testing Compensation Claims Form and
its attachments are true and correct to the best of my knowledge, information, and belief.


Authorized Representative's Signature:




Authorized Representative's Printed Name:




Executed this _____________day of _________________________ at _______________________________________(County), _____________________________________ (State).
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                                    EXHIBIT B
      Notice of Proposed Class Action Settlement and Court Approval Hearing




                    [Proposed Order begins on following page.]




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                         UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                             CHARLESTON DIVISION


 IN RE: AQUEOUS FILM-FORMING                             MDL No. 2:18-mn-2873-RMG
 FOAMS PRODUCTS LIABILITY
 LITIGATION                                                This Document relates to:

                                                     City of Camden, et al., v. 3M Company,
                                                            No. 2:23-cv-XXXX-RMG



       NOTICE OF PROPOSED CLASS ACTION SETTLEMENT AND
                   COURT APPROVAL HEARING

        TO: All Active Public Water Systems in the United States of America that have
        one or more Impacted Water Sources as of Settlement DATE; and all Active Public
        Water Systems in the United States that do not have one or more Impacted Water
        Sources as of Settlement DATE and (i) are required to test for certain PFAS under
        UCMR-5, or (ii) serve more than 3,300 people.

     A FEDERAL COURT APPROVED THIS NOTICE. PLEASE READ THIS
NOTICE CAREFULLY, AS THE PROPOSED SETTLEMENT DESCRIBED
BELOW MAY AFFECT YOUR LEGAL RIGHTS AND PROVIDE YOU WITH
POTENTIAL BENEFITS. THIS IS NOT A NOTICE OF A LAWSUIT AGAINST YOU
OR A SOLICITATION FROM A LAWYER.

        All capitalized terms not otherwise defined herein shall have the meanings set forth
in the Settlement Agreement, available for review at www.PFASWaterSettlement.com.

  I.     WHAT IS THE PURPOSE OF THIS NOTICE?

         The purpose of this Notice is (i) to advise you of a proposed settlement (referred to
as the “Settlement”) that has been reached with the defendant, 3M Company (“3M” or
“Defendant”), in the above-captioned lawsuit (the “Action”) pending in the multi-district
litigation in the United States District Court for the District of South Carolina (the “Court”);
(ii) to summarize your rights in connection with the Settlement; and (iii) to inform you of a
Court hearing to consider whether to grant final approval of the Settlement, to be held on
DATE at TIME, before the Honorable Richard M. Gergel, United States District Judge of
the United States District Court for the District of South Carolina, located at 85 Broad Street,
Charleston, South Carolina 29401.


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       If you received this Notice about the proposed Settlement in the mail, then you
have been identified as a potential Settlement Class Member according to the Parties’
                      records. Please read this Notice carefully.

 II.    WHAT IS THE ACTION ABOUT?

        Class Representatives are Public Water Systems that have filed actions against 3M
and other defendants, which actions are currently pending in the above-referenced multi-
district litigation (“MDL”).

       Class Representatives have alleged that they have suffered harm resulting from the
presence of PFAS in Drinking Water and/or the need to monitor for the presence of PFAS
in Drinking Water, and that 3M is liable for damages and other forms of relief to compensate
for such harm and costs.

       In addition to the MDL, certain other cases asserting Released Claims are pending
against 3M (collectively with the MDL, the “Litigation”).

       There are numerous defendants in addition to 3M in the MDL and the cases that
comprise the Litigation. Those other defendants are not part of this Settlement Agreement.
The Class Representatives and Settlement Class Members will remain able to seek separate
and additional PFAS-related recoveries from those other defendants in addition to the
Settlement Amount here.

       3M denies the allegations in the Litigation and all other allegations relating to the
Released Claims; denies that it has any liability to Class Representatives, the Settlement
Class, or any Settlement Class Member for any Claim of any kind; and would assert a
number of legal and factual defenses against such Claims if they were litigated to conclusion
(including against certification of any purported class for litigation purposes).

        This Notice should not be understood as an expression of any opinion by the Court
as to the merits of the Class Representatives’ Claims or the Defendant’s defenses.

III.    WHO IS PART OF THE PROPOSED SETTLEMENT?

       The Class Representatives and 3M have entered into the Settlement Agreement to
resolve Claims relating to PFAS contamination of Drinking Water in Public Water Systems.
The Court has preliminarily approved the Settlement Agreement as fair, reasonable, and
adequate. The Court will hold a Final Fairness Hearing, as described below, to consider
whether to grant final approval of the Settlement.

       The Settlement Class is defined as follows:

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        All Active Public Water Systems in the United States of America that have one
        or more Impacted Water Sources as of the Settlement DATE.

                                                 AND

        All Active Public Water Systems in the United States that do not have one or
        more Impacted Water Sources as of the Settlement DATE and (i) are required
        to test for certain PFAS under UMCR-5, or (ii) serve more than 3,300 people,
        according to SDWIS.

       Exhibits E and F to the Settlement Agreement, available for review at
www.PFASWaterSettlement.com, list all Eligible Claimants known to Interim Class
Counsel and 3M’s Counsel as of the Settlement Date. Not all Public Water Systems are
potential Settlement Class Members; specifically excluded from the Settlement Class are:

  i.   Non-Transient Non-Community Water Systems serving 3,300 or fewer people;

 ii.   Transient Non-Community Water Systems of any size;

iii.   The Public Water Systems listed in Exhibit G to the Settlement Agreement, which
       are associated with a specific PFAS-manufacturing facility owned by 3M;

iv.    Any Public Water System that is owned by a state government, is listed in SDWIS
       as having as its sole “Owner Type” a “State government” (as set forth in Exhibit H
       to the Settlement Agreement), and lacks independent authority to sue and be sued;

 v.    Any Public Water System that is owned by the federal government, is listed in
       SDWIS as having as its sole “Owner Type” the “Federal government” (as set forth
       in Exhibit I to the Settlement Agreement), and lacks independent authority to sue and
       be sued;

vi.    The Public Water Systems that are listed in Exhibit J to the Settlement Agreement
       and have previously settled their PFAS-related Claims against 3M; and

vii.   Any privately owned well that provides water only to its owner’s (or its owner’s
       tenant’s) individual household and any other system for the provision of water for
       human consumption that is not a Public Water System.

       An Eligible Claimant must submit a timely notice if it believes it has been
erroneously listed in any of the above-referenced Exhibits.

       Per the Settlement Agreement, “Public Water System” means a system for the
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provision to the public of water for human consumption through pipes or other constructed
conveyances, if such system has at least fifteen (15) service connections or regularly serves
an average of at least twenty-five (25) individuals daily at least sixty (60) days out of the
year, consistent with the use of that term in the Safe Drinking Water Act, 42 U.S.C.
§ 300f(4)(A), and 40 C.F.R. Part 141. The term “Public Water System” includes (i) any
collection, treatment, storage, and distribution facilities under control of the operator of such
system and used primarily in connection with such system, and (ii) any collection or
pretreatment storage facilities not under such control which are used primarily in connection
with such system. Solely for purposes of the Settlement Agreement, the term “Public Water
System” refers to a Community Water System of any size or a Non-Transient Non-
Community Water System that serves more than 3,300 people, according to SDWIS; or any
Person (but not any financing or lending institution) that has legal authority or responsibility
(by statute, regulation, other law, or contract) to fund or incur financial obligations for the
design, engineering, installation, operation, or maintenance of any facility or equipment that
treats, filters, remediates, or manages water that has entered or may enter Drinking Water or
any Public Water System; but does not refer to a Non-Transient Non-Community Water
System that serves 3,300 or fewer people, according to SDWIS, or to a Transient Non-
Community Water System of any size. It is the intention of the Settlement Agreement that
the definition of “Public Water System” be as broad, expansive, and inclusive as possible.

       Non-Transient Non-Community Water System means a Public Water System that is
not a Community Water System and that regularly serves at least twenty-five (25) of the
same persons over six (6) months per year, consistent with the use of that term in 40 C.F.R.
Part 141.

       Transient Non-Community Water System means a Public Water System that is not a
Community Water System and that does not regularly serve at least twenty-five (25) of the
same persons over six (6) months per year, consistent with the use of that term in 40 C.F.R.
Part 141.

      SDWIS means the U.S. EPA Safe Drinking Water Information System Federal
Reporting Services system, as of [the Settlement Date], 2023.

IV.      WHAT ARE THE KEY TERMS OF THE PROPOSED SETTLEMENT?

       The key terms of the proposed Settlement are as follows.

       1. Settlement Amount. 3M has agreed to pay an amount not less than $10,500,000,000
and not more than $12,500,000,000 (the “Settlement Amount”), subject to final approval of
the Settlement by the Court and certain other conditions specified in the Settlement
Agreement. 3M shall additionally pay up to $5,000,000 to cover costs incurred by the Notice
Administrator in the course of executing the Notice Plan. Together, these payments from 3M

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constitute the “Settlement Funds.” Payments to Qualifying Class Members will be referred to as
“Settlement Awards.” In no event shall 3M be required under the Settlement Agreement to pay
any amounts above the Settlement Funds. Any fees, costs, expenses, or incentive awards payable
under the Settlement Agreement shall be paid out of, and shall not be in addition to, the
Settlement Funds.
       2. Settlement Benefit. Each Settlement Class Member that has not excluded itself
from the Settlement Class will be eligible to receive a settlement check(s) from the Claims
Administrator based on the Allocation Procedures developed by Class Counsel, which are
subject to final approval by the Court as fair and reasonable.
        3. Settlement Administration. The Court has appointed a Special Master and
Claims Administrator pursuant to Rule 53 of the Federal Rules of Civil Procedure (FRCP)
to oversee the allocation of the Settlement Funds. They will adhere to their duties set forth
herein and in the Settlement Agreement. The Special Master will generally oversee the
Claims Administrator and make any final decision(s) related to any appeals by Qualifying
Class Members or 3M and any ultimate decision(s) presented by the Claims Administrator.
The Claims Administrator will perform the actual modeling, allocation, and payment
distribution functions. The Claims Administrator will seek assistance from the Special
Master when needed. The Claims Administrator may also seek the assistance of the Interim
Class Counsel’s consultants who assisted in providing guidance in designing the Allocation
Procedures.
       4. Allocation Procedures Overview. The Allocation Procedures (attached as
Exhibit Q to the Settlement Agreement) were designed to fairly and equitably allocate the
Settlement Amount among Qualifying Class Members to resolve PFAS contamination of
Drinking Water in Public Water Systems in such a way that reflects factors used in designing
a water treatment system in connection with such contamination. The volume of impacted
water and the degree of impact are the main factors in calculating the cost of treating PFAS;
the Allocation Procedures use formulas to arrive at the amounts due to equitably compensate
Qualifying Class Members for PFAS-related treatment.
       5. Claims Form Process. The Claims Administrator will verify that each entity that
submits a Claim Form is a Qualifying Class Member and will confirm the category into
which the Class Member falls.
              Qualifying Class Members fall into one of two categories: Phase One
               Qualifying Class Members or Phase Two Qualifying Class Members. Phase
               One Qualifying Class Members will be allocated $6,875,000,000. Phase Two
               Qualifying Class Members’ allocation will be between $3,625,000,000 and
               $5,625,000,000, depending on the factors and process set forth in the Allocation
               Procedures.
               o A Phase One Qualifying Class Member is an Active Public Water System in
                 the United States that has one or more Impacted Water System as of the
                 Settlement DATE. Each Phase One Qualifying Class Member must test each
                 of its Water Sources for PFAS; request from the laboratory that performs the
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              analyses all analytical results, including the actual numeric values of all
              analytical results; and submit or cause the testing laboratory to submit
              detailed PFAS test results to the Claims Administrator on a Claims Form(s)
              by dates specified below and on the Settlement website, available at
              www.PFASWaterSettlement.com. The Claims Administrator will establish
              three separate funds for the benefit of Phase One Qualifying Class Members.
              Such Settlement Class Members will be eligible for compensation from at
              least one and potentially more of these funds. These funds and the criteria
              the Claims Administrator will use to determine the amount each Phase One
              Qualifying Class Member will receive from them are fully described in the
              Allocation Procedures in Exhibit Q to the Settlement Agreement.
             o A Phase Two Qualifying Class Member is an Active Public Water System
               in the United States that does not have one or more Impacted Water Sources
               as of the Settlement DATE and (i) is required to test for certain PFAS under
               UCMR-5 or (ii) serves more than 3,300 people. Each Phase Two Qualifying
               Class Member must test each of its Water Sources for PFAS; request from
               the laboratory that performs the analyses all analytical results, including the
               actual numeric values; and submit or cause the testing laboratory to submit
               detailed PFAS test results to the Claims Administrator on a Claims Form
               within forty-five (45) calendar days after receiving the test results, absent
               what the Claims Administrator deems in writing to be an extraordinary
               circumstance, and no later than July 1, 2026. The Claims Administrator will
               establish four separate funds for the benefit of Phase Two Qualifying Class
               Members. These funds and the criteria the Claims Administrator will use to
               determine the amount each Phase Two Settlement Class Member will
               receive from them are fully described in the Allocation Procedures.

       The initial step for establishing Settlement Class membership and eligibility for
compensation from the Settlement Amount is the completion of the relevant Claims Form.
The term “Claims Form” may refer to any of seven separate forms:

                 1.   Phase One Public Water System Settlement Claims Form;
                 2.   Phase One Supplemental Fund Claims Form;
                 3.   Phase One Special Needs Fund Claims Form;
                 4.   Phase Two Testing Compensation Claims Form;
                 5.   Phase Two Action Fund Claims Form;
                 6.   Phase Two Supplemental Fund Claims Form; and
                 7.   Phase Two Special Needs Fund Claims Form.

        These Claims Forms will be available online at the Settlement website and can be
submitted to the Claims Administrator electronically or on paper. The Claims Forms will
vary depending on the applicable Settlement Class membership category (Phase One or
Phase Two) and on the specific fund or funds from which compensation is sought.

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         The Claims Administrator will review each Claims Form, verify the completeness
of the data it contains, and follow up as appropriate, including to notify Settlement Class
Members of the need to cure deficiencies in their submission(s), if any. Based on the data
in the Claims Forms, the Claims Administrator will then confirm Settlement Class
membership and category and determine the amount each Settlement Class Member is owed
from each fund from which the Settlement Class Member seeks compensation. Should any
portion of the Settlement Amount remain following the completion of the Claims Forms
process, it will be distributed to Qualifying Class Members on a pro rata basis as explained
in the Settlement Agreement and Allocation Procedures. None of any such remaining
Settlement Amount shall be returned to 3M.

         5. Payment of Settlement Amount. 3M shall pay or cause to be paid the Settlement
Funds in accordance with the payment terms set forth in the Settlement Agreement and the
Payment Schedule in Exhibit K to that Agreement. If the Settlement does not become final, 3M
is entitled to a refund of the unused Settlement Amount, and no distribution to Settlement Class
Members will occur.

         6. Release. All Settlement Class Members that have not excluded themselves from the
Settlement Class will release certain Claims against 3M, its affiliates, predecessors, and
successors, and certain other Persons and entities as set forth in the Settlement Agreement. This
is referred to as the “Release.” Generally speaking, the Release will prevent any Settlement Class
Member from bringing any lawsuit against 3M or making any Claims resolved by the Settlement
Agreement.

        The Release, as set forth in Section 11 of the Settlement Agreement, will be effective
as to every Settlement Class Member that has not excluded itself from the Settlement Class,
regardless of whether or not that Settlement Class Member files a Claims Form or receives
any distribution from the Settlement.

           7. Attorney Fee/Litigation Cost and Class Representative Awards. The Court will
              determine the amounts of attorneys’ fees and expenses to award to Class Counsel
              from the Settlement Amount for investigating the facts and law in the Action, the
              massive amount of litigation surrounding the Action, the trial preparations, and
              negotiating the proposed Settlement. Class Counsel will request an award of
              attorneys’ fees and costs. Class Counsel will make their request in a motion for
              attorneys’ fees and costs in accordance with Section 8.8 of the Settlement
              Agreement. Class Counsel intend to file a motion for an award of attorneys’ fees
              and costs that will request that amounts due under the Common-Benefit Holdback
              Assessment provisions in Case Management Order No. 3, private attorney/client
              contracts, and fees of Class Counsel all be paid from the Qualified Settlement Fund.

              Class Counsel will make their request in a motion to be filed with the Court not less
              than twenty (20) calendar days before Objections are due pursuant to Paragraphs

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              8.4, 8.7, and 8.8 of the Settlement Agreement. After the motion is filed, copies will
              be     available      from      Class   Counsel,     the    Settlement       website
              (www.PFASWaterSettlement.com), or the Court docket for City of Camden, et al.,
              v. 3M Company, No. 2:23-cv-XXXX-RMG.

              Any attorneys’ fees, costs, and expenses approved by the Court will be paid from
              the Settlement Amount.

        8. Settlement Administration.       All fees, costs, and expenses incurred in the
administration and/or work by the Notice Administrator, including fees, costs, and expenses of
the Notice Administrator, as well as the costs of distributing notice, shall be paid from the
Settlement Funds. All fees, costs, and expenses incurred in the administration and/or work by the
Claims Administrator, including fees, costs, and expenses of the Claims Administrator, shall be
paid from the Settlement Amount. All fees, costs, and expenses incurred in the administration
and/or work by the Special Master, including fees, costs, and expenses of the Special Master, shall
be paid from the Settlement Amount. 3M shall have no obligation to pay any such fees, costs, and
expenses other than the Settlement Funds.

        9. Dismissal of the Litigation. If the Settlement is approved by the Court and becomes
final, all pending Litigation will be dismissed with prejudice to the extent it contains Released
Claims. If the Settlement is not approved by the Court or does not become final for any reason,
the Litigation will continue, and Class Members will not be entitled to receive any Settlement
Award.

               THE PARAGRAPHS ABOVE PROVIDE ONLY A
               GENERAL SUMMARY OF THE TERMS OF THE
               PROPOSED SETTLEMENT. YOU CAN REVIEW
               THE SETTLEMENT AGREEMENT ITSELF FOR
               MORE INFORMATION ABOUT THE EXACT
               TERMS OF THE SETTLEMENT.         THE
               SETTLEMENT AGREEMENT IS AVAILABLE AT
               WWW.PFASWATERSETTLEMENT.COM.


 V.      HOW WILL THE SETTLEMENT AMOUNT BE DIVIDED AMONG CLASS
         MEMBERS?

           1. Baseline Testing.

Phase One Qualifying Class Members
Each Phase One Qualifying Class Member must perform Baseline Testing. Baseline Testing
requires each Phase One Qualifying Class Member to test each of its Water Sources for PFAS;
request from the laboratory that performs the analyses all analytical results, including the actual
numeric values of all analytical results; and submit or cause the testing laboratory to submit

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detailed PFAS test results to the Claims Administrator on a Claims Form(s) by dates specified
below.

Any Water System tested on or before the Settlement DATE, using a state- or federal-approved
methodology and found to contain a Measurable Concentration of PFAS, does not need to be
tested again for purposes of Baseline Testing.

Any Water Source tested prior to January 1, 2019, that did not result in a Measurable
Concentration of PFAS, must retest to meet Baseline Testing requirements. If a Water Source
tested January 1, 2019, or later, and it did not result in a Measurable Concentration of PFAS, no
further testing of that Water Source is required.

Baseline Testing requires the following:
  i. PFAS tests must be conducted at a minimum for PFAS analytes for which UCMR-5
       requires testing, and
 ii. the PFAS test results must report any Measurable Concentration of PFAS, regardless of
       whether the level of PFAS detected in the water is above or below UCMR-5’s relevant
       minimum reporting level.

Each Phase One Qualifying Class Member will verify in its Claims Form that it has tested all its
Water Sources for PFAS. Failure to test and submit Qualifying Test Results for Water Sources
will disqualify Water Sources from consideration for present and future payments.

Phase Two Qualifying Class Members
Each Phase Two Qualifying Class Member must perform Baseline Testing. Baseline Testing
requires each Phase Two Qualifying Class Member to test each of its Water Sources for PFAS;
request from the laboratory that performs the analyses all analytical results, including the actual
numeric values of all analytical results; and submit or cause the testing laboratory to submit
detailed PFAS test results to the Claims Administrator on a Claims Form within forty-five (45)
calendar days after receiving the test results, absent what the Claims Administrator deems in
writing to be an extraordinary circumstance, and no later than July 1, 2026.

Baseline Testing requires the following:
  i. PFAS tests must be conducted at a minimum for PFAS analytes for which UCMR-5
       requires testing, and
 ii. the PFAS test results must report any Measurable Concentration of PFAS, regardless of
       whether the level of PFAS detected in the water is above or below UCMR-5’s relevant
       minimum reporting level.

Each Phase Two Qualifying Class Member will verify in its Claims Form that it has tested all its
Water Sources for PFAS. Failure to test and submit Qualifying Test Results for Water Sources
will disqualify Water Sources from consideration for present and future payments.

A Phase Two Qualifying Class Member that does not fully and timely satisfy these Phase Two
Baseline Testing requirements shall be presumed to lack any Impacted Water Source and thus
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may be declared by the Claims Administrator to be ineligible to receive further payment from
Phase Two.

       Baseline Testing may be performed by any laboratory accredited or certified by a state
government or federal regulatory agency for PFAS analysis that uses any state or federal agency-
approved or -validated PFAS analytical method that is consistent with (or stricter) than the
requirements of UCMR-5.

       Class Counsel has arranged for discounted testing with the following laboratory to assist
Class Members with Baseline Testing. The listed laboratory will forward the test results to the
Claims Administrator. There is no requirement to use the listed laboratory.

       Eurofins
       Telephone Number: 916-374-4499
       Website: https://www.eurofinsus.com/environment-testing/pfas-testing/pfas-water-
       provider-settlement/


        2.      Base Scores for Water Sources. The Allocation Procedures are designed to
allocate money based on factors that dictate the costs of water treatment. It is well documented
in the scientific literature and well known throughout the public water industry that the costs
associated with water treatment consist of 1) capital costs and 2) operations and maintenance costs.
Capital costs are mainly driven by the Impacted Water Source’s flow rate. Operations and
maintenance costs are mainly driven by flow rate and the levels of PFAS in the water. The
Allocation Procedures utilize proxies for capital costs and operations and maintenance costs to
generate a Base Score for each Impacted Water Source. The Claims Administrator will input the
flow rates and PFAS concentrations from the Claims Forms into an EPA-derived formula that
calculates a Base Score for each Impacted Water Source.

        3.    Adjusted Base Scores. Certain Class Members will be eligible for increases, or
bumps, to their Base Scores. Based on the Claims Forms submitted, the Claims Administrator
will determine if a Class Member is eligible for three available enhancements to the score: the
Litigation Bump, the Public Water Provider Bellwether Bump (or Bellwether Bump), and the
Regulatory Bump. A Class Member may qualify for none, one, or multiple bumps.

         The Litigation Bump applies to all Qualifying Class Members that have a pending lawsuit
filed in a state or federal court asserting Claims against 3M related to alleged PFAS contamination
of Drinking Water in Public Water Systems. The Bellwether Bump applies to the Impacted Water
Sources that are owned or operated by Qualifying Class Members that served as one of the ten
Public Water Provider Bellwether Plaintiffs. The Regulatory Bump will apply when an Impacted
Water Source exceeds (i) an applicable state Maximum Contaminant Level (MCL) for a PFAS
analyte or (ii) the proposed federal MCL for a PFAS analyte. The Claims Administrator will
consider all Proposed Federal PFAS MCL and existing state MCLs for PFAS chemicals existing
on the date the Court issues a Final Approval to determine if an Impacted Water Source has ever
exceeded any applicable standard during the Class Period.
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        After the Claims Administrator applies the appropriate bumps to each Impacted Water
Source, the Claims Administrator will use the new Adjusted Base Scores to determine how much
of the Settlement Amount each Impacted Water Source will receive.

        4.     Settlement Awards. The information required to calculate Settlement Awards is
not publicly available and is only obtainable through the Claims Forms submitted by Class
Members. Thus, the Settlement Awards that each Class Member will receive is not determinable
until the Claims Administrator analyzes all the Claims Forms submitted by the Claims Form
deadline.

       5.     Special Needs Funds. Special Needs Funds will be established by the Claims
Administrator for Phase One and Phase Two Qualifying Class Members that have expended
monetary resources on extraordinary efforts to address PFAS detections in their Impacted Water
Sources. Class Members can file a Special Needs Fund Claims Form to be considered for
reimbursement of these expenditures.

         6.    Supplemental Funds. The Claims Administrator will also establish Phase One
and Phase Two Supplemental Funds so that a Qualifying Class Member that did not initially
exceed a state or federal MCL when it submitted its Claims Form can request additional funds if
it later exceeds a state or federal MCL, and so that a Qualifying Class Member with a Water
Source that initially did not have a Qualifying Test Result showing a Measurable Concentration
of PFAS and later had such a Qualifying Test Result can request additional funds.

VI.      WHO REPRESENTS THE SETTLEMENT CLASS?

       The Court has appointed the attorneys from the following law firms to act as counsel for
the Class (referred to as “Class Counsel” or “Plaintiffs’ Counsel”) for purposes of the proposed
Settlement:

          Scott Summy                    Michael A. London                  Paul J. Napoli
      Baron & Budd, P.C.                 Douglas & London                 Napoli Shkolnik
  3102 Oak Lawn Ave., Ste. 1100       59 Maiden Lane, 6th Floor        1302 Av. Ponce de Leon
       Dallas, Texas 75219              New York, NY 10038           San Juan, Puerto Rico 00907
                                         Elizabeth A. Fegan
                                          Fegan Scott LLC
                                      150 S. Wacker Drive, 24th
                                               Floor
                                         Chicago, IL 60606


VII.     WHAT ARE THE REASONS FOR THE PROPOSED SETTLEMENT?

       Class Counsel, Class Representatives, and 3M have engaged in extensive, arm’s-

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 length negotiations, including negotiations facilitated by a Court-appointed mediator, and
 have, subject to the Preliminary and Final Approval of the Court, reached an agreement to
 settle and release all Released Claims, on the terms and conditions set forth in the Settlement
 Agreement.

         Class Representatives and Class Counsel have concluded, after a thorough
 investigation and after carefully considering the relevant circumstances, including the
 Claims asserted, the legal and factual defenses thereto, the applicable law, the burdens, risks,
 uncertainties, and expense of litigation, as well as the fair, cost-effective, and assured
 method of resolving the Claims, that it would be in the best interests of Settlement Class
 Members to participate in the Settlement in order to avoid the uncertainties of litigation and
 to ensure that the benefits reflected herein are obtained for Settlement Class Members.
 Further, Class Representatives and Class Counsel consider the Settlement set forth herein to
 be fair, reasonable, and adequate and in the best interests of Settlement Class Members.

        3M, while continuing to deny any violation, wrongdoing, or liability with respect to
 any and all Claims asserted in the Litigation and all Released Claims, either on its part or on
 the part of any of the Released Parties, entered into the Settlement Agreement to avoid the
 expense, inconvenience, and distraction of further litigation.

VIII.     WHAT DO YOU NEED TO DO NOW?

        YOU CAN PARTICIPATE IN THE SETTLEMENT. You must file a Claims Form to
 be eligible to receive a payment under the Settlement Agreement. You can submit your
 Claims Form online at www.PFASWaterSettlement.com, or you can download, complete,
 and mail your Claims Form to the Claims Administrator at AFFF Public Water System
 Claims, PO Box 4466, Baton Rouge, Louisiana 70821. The deadline to submit a Claims
 Form is DEADLINE DATE.

        Regardless of whether you file a Claims Form or receive any distribution under the
 Settlement, unless you timely opt out as described below, you will be bound by the
 Settlement and any judgment or other final disposition related to the Settlement, including
 the Release set forth in the Settlement Agreement, and will be precluded from pursuing
 Claims against 3M separately if those Claims are within the scope of the Release.

        YOU CAN OPT OUT OF THE SETTLEMENT. If you do not wish to be a Settlement
 Class Member, and do not want to participate in the Settlement and receive funds from the
 Settlement, you may exclude yourself from the Settlement Class by completing and mailing
 a notice of intention to opt-out (referred to as a “Request for Exclusion” or an “Opt-Out”).
 Anyone within the Settlement Class that wishes to opt out of the Settlement Class and
 Settlement must file a written and signed statement entitled “Request for Exclusion” with
 the Notice Administrator, provide service in accordance with Federal Rule of Civil

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Procedure 5, and comply with all Opt-Out provisions of the Settlement Agreement.

      To be treated as valid, the Request for Exclusion must be served on the Notice
Administrator, the Special Master, the Claims Administrator, Counsel for 3M, and Class
Counsel at the addresses below.

Notice Administrator:

 In re: Aqueous Film-Forming Foams Products
               Liability Litigation
          c/o 3M Notice Administrator
          1650 Arch Street, Suite 2210
             Philadelphia, PA 19103

Special Master:


              Matthew Garretson
             Wolf/Garretson LLC
                P.O. Box 2806
             Park City, UT 84060


Claims Administrator:


     AFFF Public Water System Claims
              PO Box 4466
         Baton Rouge, LA 70821


Counsel for 3M:

 Kevin H. Rhodes
 Executive Vice President and
 Chief Legal Affairs Officer
 Legal Affairs Department
 3M Company
 3M Center, 220-9E-01
 St. Paul, MN 55144-1000

 Thomas J. Perrelli
 Jenner & Block LLP
 1099 New York Avenue, N.W.,
 Suite 900
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 Washington, DC 20001-4412

 Richard F. Bulger
 Mayer Brown LLP
 71 South Wacker Drive
 Chicago, Illinois 60606

Class Counsel:

          Scott Summy                    Michael A. London                    Paul J. Napoli
      Baron & Budd, P.C.                 Douglas & London                   Napoli Shkolnik
  3102 Oak Lawn Ave., Ste. 1100       59 Maiden Lane, 6th Floor          1302 Av. Ponce de Leon
       Dallas, Texas 75219              New York, NY 10038             San Juan, Puerto Rico 00907
                                         Elizabeth A. Fegan
                                         Fegan Scott LLC
                                      150 S. Wacker Drive, 24th
                                               Floor
                                         Chicago, IL 60606


      The Request for Exclusion must be received by the Notice Administrator no later
than DEADLINE.

       The Request for Exclusion must certify, under penalty of perjury in accordance with
28 U.S.C. § 1746, that the filer has been legally authorized to exclude the Person from the
Settlement and must provide:

              an affidavit or other proof of the Settlement Class Member’s standing;

              the filer’s name, address, telephone, facsimile number and email address (if
               available); and

              the name, address, telephone number, and e-mail address (if available) of the
               Person whose exclusion is requested.

       Any Person that submits a timely and valid Request for Exclusion shall not (i) be
bound by any orders or judgments effecting the Settlement; (ii) be entitled to any of the relief
or other benefits provided under the Settlement Agreement; (iii) gain any rights by virtue of
the Settlement Agreement; or (iv) be entitled to submit an Objection.

      If you own or operate more than one Public Water System and are authorized to determine
whether to submit Requests for Exclusion on those Public Water Systems’ behalf, you may submit
a Request for Exclusion on behalf of some of those Public Water Systems but not the other(s).
You must submit a Request for an Exclusion on behalf of each such Public Water System that you
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wish to opt out of the Settlement Class. Any Public Water System that is not specifically identified
in a Request for Exclusion will remain in the Settlement Class.

      Any Settlement Class Member that does not submit a timely and valid Request for
Exclusion submits to the jurisdiction of the Court and, unless the Settlement Class Member
submits an Objection that complies with the provisions of the Settlement Agreement, shall
waive and forfeit any and all objections the Settlement Class Member may have asserted.

       YOU CAN OBJECT OR TAKE OTHER ACTIONS. Any Settlement Class Member who
has not successfully excluded itself (“opted out”) may object to the Settlement. Any
Settlement Class Member that wishes to object to the Settlement or to an award of fees or
expenses to Class Counsel must file a written and signed statement designated “Objection”
with the Clerk of the Court, provide service on 3M’s Counsel and Class Counsel at the
addresses below in accordance with Federal Rule of Civil Procedure 5, and comply with all
Objections provisions of the Settlement Agreement. Objections submitted by any Settlement
Class Member to incorrect locations shall not be valid.

Clerk of the Court:

   Clerk, United States District Court for the
           District of South Carolina
                85 Broad Street
            Charleston, SC 29401

Counsel for 3M:

 Kevin H. Rhodes
 Executive Vice President and
 Chief Legal Affairs Officer
 Legal Affairs Department
 3M Company
 3M Center, 220-9E-01
 St. Paul, MN 55144-1000

 Thomas J. Perrelli
 Jenner & Block LLP
 1099 New York Avenue, N.W.,
 Suite 900
 Washington, DC 20001-4412

 Richard F. Bulger
 Mayer Brown LLP
 71 South Wacker Drive
 Chicago, Illinois 60606


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Class Counsel:

          Scott Summy                     Michael A. London                   Paul J. Napoli
      Baron & Budd, P.C.                  Douglas & London                  Napoli Shkolnik
  3102 Oak Lawn Ave., Ste. 1100        59 Maiden Lane, 6th Floor         1302 Av. Ponce de Leon
       Dallas, Texas 75219               New York, NY 10038            San Juan, Puerto Rico 00907
                                          Elizabeth A. Fegan
                                          Fegan Scott LLC
                                       150 S. Wacker Drive, 24th
                                                Floor
                                          Chicago, IL 60606

        All Objections must certify, under penalty of perjury in accordance with 28 U.S.C. § 1746,
that the filer has been legally authorized to object on behalf of the Settlement Class Member and
must provide:

              an affidavit or other proof of the Settlement Class Member’s standing;

              the filer’s name, address, telephone, facsimile number and email address (if
               available);

              the name, address, telephone, facsimile number and email address (if available) of
               the Person whose Objection is submitted;

              all objections asserted by the Settlement Class Member and the specific reason(s)
               for each objection, including all legal support and evidence the Settlement Class
               Member wishes to bring to the Court’s attention;

              an indication as to whether the Settlement Class Member wishes to appear at the
               Final Fairness Hearing; and

              the identity of all witnesses the Settlement Class Member may call to testify.

           The deadline to submit an Objection is DEADLINE DATE.

            Settlement Class Members may object either on their own or through any attorney
hired at their own expense. If a Settlement Class Member is represented by counsel, the
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attorney must file a notice of appearance with the Clerk of Court no later than the date ordered
by the Court for the filing of Objections and serve such notice in accordance with Federal
Rule of Civil Procedure 5 within the same time period.

             Any Settlement Class Member that fully complies with the provisions for
objecting may, at the Court’s discretion, appear at the Final Fairness Hearing to object to the
Settlement or to the award of fees and costs to Class Counsel. Any Settlement Class Member
that fails to comply with the provisions of the Settlement Agreement for objecting shall waive
and forfeit any and all objections the Settlement Class Member may have asserted.

IX.      WHAT WILL HAPPEN AT THE FINAL FAIRNESS HEARING?

        Before deciding whether to grant final approval to the Settlement, the Court will hold
the Final Fairness Hearing in Courtroom XX of the U.S. Courthouse, 85 Broad Street,
Charleston, South Carolina 29401, on DATE. At that time, the Court will determine, among
other things, (i) whether the Settlement should be granted final approval as fair, reasonable,
and adequate, (ii) whether the Action should be dismissed with prejudice pursuant to the
terms of the Settlement Agreement, (iii) whether the Settlement Class should be
conclusively certified for settlement purposes only, (iv) whether Settlement Class Members
should be bound by the Release set forth in the Settlement Agreement, (v) the amount of
attorneys’ fees and costs to be awarded to Class Counsel, if any, and (vi) the amount of the
award to be made to the Class Representatives for their services, if any. The Final Fairness
Hearing may be postponed, adjourned, or continued by Order of the Court without further
notice to the Class.

 X.      HOW CAN YOU GET ADDITIONAL INFORMATION ABOUT THE
         ACTION, THE PROPOSED SETTLEMENT, THE SETTLEMENT
         AGREEMENT, OR THE NOTICE?

        The descriptions of the Action, the Settlement, and the Settlement Agreement in this
Notice are only a general summary. In the event of a conflict between this Notice and the
Settlement Agreement, the terms of the Settlement Agreement control. All papers filed in this
case, including the full Settlement Agreement, are available for you to inspect and copy (at
your cost) at the office of the Clerk of Court, the Settlement website, or online through the
Court’s electronic docket. A copy of the Settlement Agreement may also be obtained from
Class Counsel by contacting them at the addresses or telephone numbers set forth above.
Any questions concerning this Notice, the Settlement Agreement, or the Settlement may be
directed to Class Counsel. You may also seek the advice and counsel of your own attorney,
at your own expense, if you desire.

  DO NOT WRITE OR TELEPHONE THE COURT, THE CLERK’S OFFICE, OR
      DEFENDANT WITH ANY QUESTIONS ABOUT THIS NOTICE, THE
          SETTLEMENT, OR THE SETTLEMENT AGREEMENT.

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XI.     WHAT ARE THE ADDRESSES YOU MAY NEED?

If to the Notice Administrator:

 In re: Aqueous Film-Forming Foams Products
               Liability Litigation
            c/o Notice Administrator
          1650 Arch Street, Suite 2210
             Philadelphia, PA 19103

If to the Claims Administrator:


      AFFF Public Water System Claims
               PO Box 4466
          Baton Rouge, LA 70821



If to the Clerk of the Court:

  Clerk, United States District Court for the
          District of South Carolina
               85 Broad Street
           Charleston, SC 29401

If to the Special Master:


              Matthew Garretson
             Wolf/Garretson LLC
                P.O. Box 2806
             Park City, UT 84060


If to the Class Representatives, Class Counsel, or Settlement Class Members:

          Scott Summy                    Michael A. London                 Paul J. Napoli
      Baron & Budd, P.C.                 Douglas & London                Napoli Shkolnik
  3102 Oak Lawn Ave., Ste. 1100       59 Maiden Lane, 6th Floor       1302 Av. Ponce de Leon
       Dallas, Texas 75219              New York, NY 10038          San Juan, Puerto Rico 00907

                                          Elizabeth A. Fegan
                                          Fegan Scott LLC

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                                      150 S. Wacker Drive, 24th
                                               Floor
                                         Chicago, IL 60606


 If to Counsel for 3M:

  Kevin H. Rhodes
  Executive Vice President and
  Chief Legal Affairs Officer
  Legal Affairs Department
  3M Company
  3M Center, 220-9E-01
  St. Paul, MN 55144-1000

  Thomas J. Perrelli
  Jenner & Block LLP
  1099 New York Avenue, N.W.,
  Suite 900
  Washington, DC 20001-4412

  Richard F. Bulger
  Mayer Brown LLP
  71 South Wacker Drive
  Chicago, Illinois 60606




XII.     WHAT YOU MUST INCLUDE IN ANY DOCUMENT YOU SEND
         REGARDING THE ACTION.

        In sending any document to the Notice Administrator, Claims Administrator, the
 Court, Class Counsel, or 3M’s Counsel, you must include the following case name and
 identifying number on any documents and on the outside of the envelope:

      In re: Aqueous Film-Forming Foams Products Liability Litigation, MDL No. 2:18-
 mn-2873 (D.S.C.), this document relates to: [Class Complaint caption]

      You must also include your full name, address, email address, and a telephone
 number where you can be reached.

XIII.    WHAT IMPORTANT DEADLINES YOU NEED TO KNOW.


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            Deadline Description                        Deadline Trigger           Deadline Date
Phase One Public Water System Settlement
                                                    Effective Date + 60 Days      MM/DD/YYYY
Claims Form
Phase One Special Needs Claims Form             Claims Form Deadline + 45 Days    MM/DD/YYYY
Phase One Supplemental Fund Claims Form                     TBD                    12/31/2030
Phase Two Testing Compensation Claims Form                  TBD                   MM/DD/YYYY
Phase Two Action Fund Claims Form                           TBD                    6/30/2026
                                                 Phase Two Action Fund Claims
Phase Two Special Needs Claims Form                                                  8/14/2026
                                                    Form Deadline + 45 Days
Phase Two Supplemental Fund Claims Form                      TBD                    12/31/2030



    ________________________________
    The Honorable Richard M. Gergel                              DATED: ______________________
    UNITED STATES DISTRICT JUDGE




          NOTICE OF 3M CLASS ACTION SETTLEMENT
               IN RE: [CLASS ACTION COMPLAINT CAPTION]
              United States District Court, District of South Carolina – Charleston Division
                                      MDL No. 2:18-mm-2873
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 PLEASE NOTE, the enclosed correspondence relates to the Settlement with
                                3M.
 YOU MAY RECEIVE ADDITIONAL CORRESPONDENCE RELATING
     TO ADDITIONAL SETTLEMENTS WITH OR JUDGMENTS
             INVOLVING OTHER DEFENDANT(S).


   Please be aware that documents associated with one Settling Defendant may
appear similar to documents associated with another Settling Defendant. However,
  each Settlement has its own specific terms and conditions, and each set of
    documents should be carefully reviewed with this in mind. Please visit
 www.PFASWaterSettlement.com for more information and to review settlement-
                               related documents.




  SETTLEMENT WEBSITE FOR FILING YOUR CLAIM FOR
             SETTLEMENT PAYMENT
        WWW.PFASWATERSETTLEMENT.COM
             Login ID: [insert from PNN]
             Password: [insert from PNN]




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                                           EXHIBIT C
                                           Notice Plan


       As detailed below, the Notice Plan provides for individual direct notice via USPS mail to

all reasonably identifiable Eligible Claimants, outreach to national and local water organizations,

a comprehensive media plan, and the implementation of a dedicated Settlement website and toll-

free telephone line where Eligible Claimants can learn more about their rights and options

pursuant to the terms of the Settlement. Additional details are provided in the accompanying

Declaration of Steven Weisbrot of Angeion Group, LLC, which will implement the Notice Plan.

All capitalized terms not otherwise defined herein shall have the meaning set forth in the

Settlement Agreement, available for review at www.PFASWaterSettlement.com.

MAILED NOTICE

      Class Counsel will provide Angeion with a list of Public Water Systems that Class Counsel

       believes may be Eligible Claimants, based on information available to Class Counsel as of

       the Settlement Date (the “Class List”). The Class List will include, at a minimum, (1) all

       Active Public Water Systems that, as of the Settlement Date, are or will be required to test

       for certain PFAS under UCMR-5, including all Active Public Water Systems that serve

       more than 3,300 people, according to SDWIS; and (2) all Active Public Water Systems that,

       according to Class Counsel’s information as of the Settlement Date, draw or otherwise

       collect water from any Water Source that has a Qualifying Test Result showing a

       Measurable Concentration (i.e., any detection at any level) of PFAS, including all Public

       Water Systems listed on Exhibit E to the Settlement Agreement. UCMR-5 also includes a

       nationally representative sample of up to 800 small Active Public Water Systems that serve

       3,300 or fewer people. U.S. EPA has not yet released the identification of these 800 small

       Active Public Water Systems. Class Counsel and 3M will make reasonable efforts to

       specifically identify each of these 800 systems. If they can be identified, individual notice

       will be given to each of them. However, Class Counsel and 3M submit that the robust


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     publication efforts set forth in this Notice Plan constitute reasonable notice and are well

     designed to reach these types of small Active Public Water Systems. The Class List will

     be updated if Class Counsel becomes aware of additional Public Water Systems that may

     be Eligible Claimants.

    The Class List will also include mailing addresses and email addresses for each Eligible

     Claimant on the Class List, based on address information maintained in the U.S. EPA’s

     Safe Drinking Water Information System (“SDWIS”) or relevant state data sources. Where

     SDWIS, relevant state data sources, or information available to Class Counsel specifies an

     owner or operator of a Public Water System on the Class List whose mailing or email

     address is different from that of the Public Water System itself, the Class List will include

     the additional mailing and/or email address(es) as well.

    Notice will be sent via USPS certified mail with tracking and signature required to all

     Eligible Claimants for whom mailing addresses are included on the Class List. Notice will

     be mailed via USPS first-class mail, postage prepaid, to any P.O. Box addresses.

    Angeion will employ the following best practices to increase the deliverability rate of the

     mailed Notices:

        o Angeion will cause the mailing address information for Eligible Claimants to be

            updated utilizing the USPS National Change of Address database, which provides

            updated address information for individuals or entities that have moved during the

            previous four (4) years and filed a change of address with the USPS;

        o Angeion will also identify the address information included in SDWIS specified

            above, as well as relevant state data sources, and will monitor SDWIS and such

            sources for any updates;

        o Notices returned to Angeion by the USPS with a forwarding address will be re-

            mailed to the new address provided by the USPS, and the Class List will be updated

            accordingly;

        o Notices returned to Angeion by the USPS without forwarding addresses will be

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               subjected to an address verification search (commonly referred to as “skip tracing”)

               utilizing a wide variety of data sources, including public records, real estate

               records, electronic directory assistance listings, etc., to locate updated addresses;

               and

           o Notices will be re-mailed to Eligible Claimants for whom updated addresses were

               identified via the skip tracing process.

      Any mailed Notices that remain undeliverable after the above-described efforts will be

       subjected to manual internet searches, phone calls to obtain updated addresses, and/or the

       identification of email addresses for providing backup notice if efforts to obtain a mailing

       address are not successful or where the Eligible Claimant requests notice be sent via email.

      A reminder postcard will be sent prior to certain applicable deadlines.

EMAIL NOTICE

      The Summary Notice will be sent via email to all Eligible Claimants for whom email

addresses are available.

      The email sending the Summary Notice will be designed to avoid many common “red flags”

that might otherwise cause a spam filter to block or identify the email notice as spam. For example,

the email will not include attachments like the long-form Notice, because attachments are often

interpreted by various Internet Service Providers (“ISP”) as spam.

      Additional methods will be employed to help ensure that as many recipients as possible

receive the Summary Notice via email. Specifically, prior to distributing the Summary Notice by

email, an email updating process will be undertaken to help ensure the accuracy of recipient email

addresses. Angeion will review email addresses for mis-transcribed characters and perform other

data hygiene as appropriate. This process will include review of email address information

available in SDWIS or relevant state data sources.

      The email notice process will also account for the reality that some emails will inevitably

fail to be delivered during the initial delivery attempt. Therefore, after the initial noticing campaign

is complete and after an approximate 24- to 72-hour rest period (which allows any temporary block

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at the ISP level to expire) a second round of email noticing will continue to any email addresses

that were previously identified as soft bounces and not delivered.

      Angeion will also send a reminder email prior to certain applicable deadlines.

OUTREACH EFFORTS

      Angeion will perform personalized outreach to national and local water organizations,

including to entities such as the Association of Metropolitan Water Agencies (“AMWA”) and the

American Water Works Association (“AWWA”) and similar third-party organizations that have

a connection to the case, along with a request that they assist in providing notice, where

appropriate.

MEDIA CAMPAIGN

Publication Notice

      The Summary Notice of the Settlement will be published one (1) time in key industry-

       specific titles, such as Journal AWWA, Rural Water, The Municipal, and Water Environment

       & Technology.

      The Summary Notice of the Settlement will also be published one (1) time each in national

       publications such as the Wall Street Journal, USA Today, and the New York Times.

      To satisfy the requirements of California’s Consumer Legal Remedies Act, Angeion will

       cause the Summary Notice to be printed in the California regional edition of USA Today

       for four (4) consecutive weeks.

Digital Notice

      Angeion will undertake a digital publication campaign utilizing key industry-specific

       titles, such as American Water Works Association, National Rural Water Association, The

       Municipal, Water Environment & Technology, Water Quality Association, AWWA

       Opflow, and/or AWWA Source Book.

Paid Search Campaign

      Angeion will implement a paid search campaign on Google to help drive Eligible

       Claimants that are actively searching for information about the Settlement to the dedicated

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      Settlement website.

Press Release

     Angeion will distribute a press release over PR Newswire’s national and public interest

      circuits to further disseminate news of the Settlement. A second press release will also be

      issued before the Objection and Opt Out deadlines.

SETTLEMENT WEBSITE AND TOLL-FREE TELEPHONE SUPPORT

     The Notice Plan will also involve a Settlement website, where Eligible Claimants can

      easily view general information about this Settlement, review relevant Court documents,

      and view important dates and deadlines pertinent to the Settlement. The website will be

      designed to be user-friendly and make it easy for Eligible Claimants to find information

      about the case. The website will also have a “Contact Us” page whereby Eligible

      Claimants can send an email with any additional questions to a dedicated email address.

     A toll-free hotline devoted to this case will be established to further apprise Eligible

      Claimants of their rights and options under the Settlement Agreement. The toll-free

      hotline will utilize an interactive voice response (“IVR”) system to provide Eligible

      Claimants with responses to frequently asked questions and will also provide other

      essential information regarding the Settlement. This hotline will be accessible 24 hours a

      day, 7 days a week, with live operator support during normal business hours.




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                                 EXHIBIT D
                     Proposed Preliminary Approval Order



                    [Proposed Order begins on following page.]




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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION


 IN RE: AQUEOUS FILM-                  MDL No. 2:18-mn-2873-RMG
 FORMING FOAMS
 PRODUCTS LIABILITY                    [PROPOSED] PRELIMINARY APPROVAL ORDER
 LITIGATION                            FOR SETTLEMENT BETWEEN PUBLIC WATER
                                       SYSTEMS AND 3M COMPANY

                                       This Order Relates To
                                       Case Nos. [CASE NOs.]


       Plaintiffs, through Interim Class Counsel, have moved this Court, pursuant to Rule 23(a),

(b), and (e) of the Federal Rules of Civil Procedure, for: (1) preliminary approval of the proposed

Settlement of this class action lawsuit; (2) preliminary certification, for settlement purposes only,

of the Settlement Class; (3) approval of the form of Notice to the Settlement Class; (4) approval

of the Notice Plan; (5) appointment of Class Counsel; (6) appointment of Class Representatives;

(7) appointment of the Notice Administrator; (8) appointment of the Claims Administrator; (9)

appointment of the Special Master; (10) the scheduling of objection, opt-out, and other deadlines;

and (11) the scheduling of a Final Fairness Hearing. The Court has reviewed and considered the

papers filed in connection with the unopposed motion, all supporting evidence in the record, and

the Settlement Agreement entered into between Plaintiffs and Defendant 3M Company (“3M” or

“Defendant”) (Dkt. No. [preliminary approval motion].)

       This Preliminary Approval Order incorporates by reference the definitions in the proposed

Settlement Agreement. All capitalized terms used in this Order that are defined in the Settlement

Agreement shall have the same meanings as set forth in that Agreement.




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       NOW, THEREFORE, the Court having reviewed and considered the proposed

Settlement, the documents filed in connection with the motion, and supporting evidence, and good

cause appearing,

IT IS HEREBY ORDERED:

       Plaintiffs’ unopposed motion to (1) preliminarily approve the proposed Settlement of this

class action lawsuit; (2) preliminarily certify, for settlement purposes only, the Settlement Class;

(3) approve the form of Notice to the Settlement Class; (4) approve the Notice Plan; (5) appoint

Class Counsel; (6) appoint and designate Plaintiffs the City of Camden Water Services; City of

Brockton; City of Sioux Falls; California Water Service Company; City of Delray Beach;

Coraopolis Water & Sewer Authority; Verona; Dutchess County Water and Wastewater Authority

and Dalton Farms Water System; South Shore; City of Freeport; Martinsburg Municipal Authority;

Seaman Cottages; Village of Bridgeport; City of Benwood; Niagara County; City of Pineville;

City of Iuka; and City of Amory as Class Representatives; (7) appoint the Notice Administrator;

(8) appoint the Claims Administrator; (9) appoint the Special Master; (10) set objection, opt-out,

and other deadlines; and (11) set a schedule for a Final Fairness Hearing is hereby GRANTED.

The proposed Settlement shall be submitted to Class Members for their consideration and for a

Final Fairness Hearing pursuant to Rule 23(e), as provided below.

I.     Preliminary Settlement Approval

       The proposed Settlement satisfies the Rule 23 criteria for preliminary approval for the

following reasons:

       (a) The proposed Settlement is the product of intensive, arm’s-length, non-collusive

negotiations overseen by the Court-appointed mediator, the Honorable Layn Phillips; has no

obvious deficiencies; does not improperly grant preferential treatment to the Class

Representatives; and is sufficiently fair, reasonable, and adequate to justify notice to those


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affected, along with an opportunity to be heard, pursuant to Federal Rule of Civil Procedure 23(a),

(b) and (e);

        (b) The proposed Settlement substantially fulfills its purposes and objectives, and provides

benefits to Class Members, without the costs, risks, and delays of further litigation at the trial and

appellate levels, and does not require a finding or admission of liability for 3M;

        (c) The proposed Notice Plan submitted to the Court constitutes the best notice practicable

under the circumstances and is reasonably calculated under the circumstances to provide individual

notice to all known Class Members and all Class Members that can be identified through

reasonable efforts;

        (d) The negotiations culminating in the proposed Settlement occurred at arm’s length, were

the product of sufficient investigation and discovery, and involved counsel for Plaintiffs who are

experienced in similar litigation. Interim Class Counsel believe this is a fair, reasonable, and

adequate resolution of Class Members’ Released Claims;

        (e) The proposed Settlement does not disclose grounds to doubt its fairness or other obvious

deficiencies, such as unduly preferential treatment of the Class Representatives or any other Class

Members, or excessive compensation for Class Counsel, and appears to fall within the range of

possible approval.

II.     Preliminary Certification of Settlement Class

        The proposed Settlement Class, for settlement purposes only, is defined as, “[e]very Active

Public Water System in the United States of America that—(a) has one or more Impacted Water

Sources as of the Settlement Date; or (b) does not have one or more Impacted Water Sources as of

the Settlement Date, and (i) is required to test for certain PFAS under UCMR-5, or (ii) serves more

than 3,300 people, according to SDWIS.” (Dkt. No. [Settlement] at ¶ 5.1.)




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        Each Active Public Water System that qualifies as a member of the proposed Settlement

Class is either a “Phase One Eligible Claimant” or a “Phase Two Eligible Claimant,” but cannot

be both. (Dkt. No. [Settlement] at ¶ 5.2.) A “Phase One Eligible Claimant” is defined as “an

Eligible Claimant with one or more Impacted Water Sources as of the Settlement Date.” (Dkt. No.

[Settlement] at ¶ 2.24.) A “Phase Two Eligible Claimant” is defined as “an Eligible Claimant that

does not have one or more Impacted Water Sources as of the Settlement Date.” (Dkt. No.

[Settlement] at ¶ 2.24.) Any Eligible Claimant misidentified as a Phase One Eligible Claimant or

Phase Two Eligible Claimant must promptly notify 3M, Class Representatives, and the Special

Master of this misidentification.

        The following entities are excluded from the putative class: the Public Water Systems

“associated with a specific PFAS-manufacturing facility owned by 3M,” as set forth in Exhibit G

to the Settlement Agreement (Dkt. No. [Exhibit G to the Settlement]); “[a]ny Public Water System

that is owned by a state government, is listed in SDWIS as having as its sole ‘Owner Type’ a ‘State
                                                                             1
government,’” as set forth in Exhibit H to the Settlement Agreement (Dkt. No. [Exhibit H to the

Settlement]), “and lacks independent authority to sue and be sued”; “[a]ny Public Water System

that is owned by the federal government, is listed in SDWIS as having as its sole ‘Owner Type’

the ‘Federal government,’” as set forth in Exhibit I to the Settlement Agreement (Dkt. No. [Exhibit

I to the Settlement]), “and lacks independent authority to sue and be sued”; the “Public Water

Systems that are listed in Exhibit J to the Settlement Agreement and have previously settled their

PFAS-related Claims against 3M” as set forth in Exhibit J to the Settlement Agreement (Dkt. No.

[Exhibit J to the Settlement]); and “[a]ny privately owned well that provides water only to its




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          SDWIS is defined as the “U.S. EPA Safe Drinking Water Information System Federal Reporting Services
system, as of the Settlement Date.” (Dkt. No. [Settlement] at __ ¶ 2.62.)


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owner’s (or its owner’s tenant’s) individual household and any other system for the provision of

water that is not a Public Water System.” (Dkt. No. [Settlement] at ¶ 5.1.)

       For purposes of the proposed Settlement, “Public Water System” is defined as:

           a system for the provision to the public of water for human consumption
           through pipes or other constructed conveyances, if such system has at least
           fifteen (15) service connections or regularly serves an average of at least
           twenty-five (25) individuals daily at least sixty (60) days out of the year,
           consistent with the use of that term in the Safe Drinking Water Act, 42 U.S.C.
           § 300f(4)(A), and 40 C.F.R. Part 141. The term “Public Water System”
           includes (i) any collection, treatment, storage, and distribution facilities under
           control of the operator of such system and used primarily in connection with
           such system, and (ii) any collection or pretreatment storage facilities not under
           such control which are used primarily in connection with such system. Solely
           for purposes of this Settlement Agreement, the term “Public Water System”
           refers to a Community Water System of any size or a Non-Transient Non-
           Community Water System that serves more than 3,300 people, according to
           SDWIS; or any Person (but not any financing or lending institution) that has
           legal authority or responsibility (by statute, regulation, other law, or contract)
           to fund or incur financial obligations for the design, engineering, installation,
           operation, or maintenance of any facility or equipment that treats, filters,
           remediates, or manages water that has entered or may enter Drinking Water or
           any Public Water System; but does not refer to a Non-Transient Non-
           Community Water System that serves 3,300 or fewer people, according to
           SDWIS, or to a Transient Non-Community Water System of any size. It is the
           intention of this Agreement that the definition of “Public Water System” be as
           broad, expansive, and inclusive as possible.

(Dkt. No. [Settlement] at ¶ 2.54.) “Impacted Water Source” is defined as “a Water Source

that has a Qualifying Test Result showing a Measurable Concentration of PFAS.” (Dkt.

No. [Settlement] at ¶ 2.30.)

       For purposes of the proposed Settlement only (and without addressing the merits

of Plaintiffs’ claims or Defendant’s defenses), the Court preliminarily finds that the

requirements of Federal Rule of Civil Procedure 23(a) and (b)(3) have been met and that it

will likely be able to certify the proposed Settlement Class insofar as:




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       (a) The Class Members are ascertainable from the reasonably accessible records

available to Class Counsel and Defendant.

       (b) The Class Members are so numerous that joinder before the Court would be

impracticable. The Court therefore preliminarily finds that the numerosity requirement of

Fed. R. Civ. P. 23(a)(1) is satisfied for settlement purposes only.

       (c) Plaintiffs have alleged one or more questions of fact and law common to the

proposed Settlement Class.       Accordingly, based upon these allegations, the Court

preliminarily finds that the commonality requirement of Fed. R. Civ. P. 23(a)(2) is satisfied

for settlement purposes only.

       (d) Plaintiffs have alleged that Defendant engaged in misconduct uniformly

affecting Class Members. Based upon these allegations, the Court preliminarily finds that

the claims of the proposed Class Representatives are typical of the claims of the Class

Members, and that the proposed Class Representatives, along with Class Counsel, will

fairly and adequately protect the interests of the Class Members. Accordingly, the Court

preliminarily finds that the typicality and adequacy requirements of Fed. R. Civ. P. 23(a)(3)

and (4) are satisfied for settlement purposes only.

       (e) The Court preliminarily finds, for settlement purposes only, that questions of

law or fact common to the Class Members predominate over questions which individually

affect Class Members and that a class action resolution in the manner proposed in the

Settlement would be superior to other available methods for a fair and efficient adjudication

of the action. Accordingly, the Court preliminarily finds that the requirements of Fed. R.

Civ. P. 23(b)(3) are satisfied for settlement purposes only.




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       (f) The Court does not address or make findings as to whether the Settlement Class

may be certified for any purpose other than for effectuating the proposed Settlement.

       Based on the preliminary findings set forth directly above, the Court preliminarily

certifies the Settlement Class under Fed. R. Civ. P. 23(b)(3).

III.   Notice

       The Court approves, as to form and content, the proposed Notice set forth in Exhibit

B to the Settlement Agreement, and the proposed Summary Notice set forth in Exhibit M

to the Settlement Agreement (Dkt. No. __ at Section 8 [Settlement]; Dkt. No. __ [Notice];

Dkt. No. __ [Summary Notice].) The Court finds that these forms of notice provide Class

Members with access to all information necessary to make an informed decision regarding

the fairness of the proposed Settlement.

       The Court also approves the proposed Notice Plan set forth in Exhibit C to the

Settlement Agreement. The Court finds that the proposal for (i) direct mailing of the

Notice, as well as emailing of the Summary Notice, to each known Class Member, (ii)

personalized outreach to national and local water organizations, (iii) national publication

of the Summary Notice and a media campaign targeting all Active Public Water Systems

that may potentially meet the qualifications to become Class Members, and (iv) a website

that potential Class Members will be directed to displaying a long-form Notice that sets

forth the details of the proposed Settlement and provides a toll-free hotline, meets the

requirements of Rule 23 and due process and shall constitute due and sufficient notice to

all Persons potentially entitled to participate in the proposed Settlement. The proposed

Notice Plan is the best practicable notice under the circumstances of this case; is reasonably

calculated under the circumstances to apprise potential Class Members of the Settlement

Agreement and of their right to object to or exclude themselves from the proposed


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Settlement Class; is reasonable and constitutes due, adequate, and sufficient notice to all

Persons entitled to receive it; and meets all applicable requirements of Federal Rule of Civil

Procedure 23, the United States Constitution, and other applicable laws and rules.

       No later than fourteen days after entry of this Preliminary Approval Order (the

“Notice Date”), the Notice Administrator shall begin implementing the proposed Notice

Plan. Notice, substantially in the forms attached as Exhibits B and M to the Settlement

Agreement, shall be sent to potential Class Members pursuant to the approved Notice Plan.

IV.    Objections and Opt-Outs

       A.      Objections

       Any Eligible Claimant that wishes to object to the proposed Settlement or an award of fees

or costs to Class Counsel must file a written, signed statement designated “Objection” with the

Clerk of the Court and provide service on 3M and Class Counsel in accordance with Federal Rule

of Civil Procedure 5. Any Eligible Claimant that wishes to object to the proposed Settlement must

file and serve its Objections no later than ________, 2023. Any objector may file an Objection on

its own or through an attorney hired at its own expense. If an objector hires an attorney to represent

it in connection with filing an Objection to the proposed Settlement, the attorney must serve on

Class Counsel and 3M’s Counsel and file with the Court a Notice of Appearance with the Clerk of

Court no later than ________, 2023.

       All Objections must certify, under penalty of perjury and in accordance with 28 U.S.C.

§ 1746, that the filer has been legally authorized to object on behalf of the Eligible Claimant and

must provide: (1) an affidavit or other proof of the Eligible Claimant’s standing; (2) the name,

address, telephone and facsimile number, and email address (if available) of the filer and the

Eligible Claimant; (3) the name, address, telephone and facsimile number, and email address (if

available) of any counsel representing the Eligible Claimant; (4) all Objections asserted by the


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Eligible Claimant and the specific reason(s) for each Objection, including all legal support and

evidence the Eligible Claimant wishes to bring to the Court’s attention; (5) an indication of whether

the Eligible Claimant wishes to appear at the Final Fairness Hearing; and (6) if an Eligible

Claimant does wish to appear at the Final Fairness Hearing, all witnesses the Eligible Claimant

may call to testify. Any objector whose Objection fails to comply with any of these provisions

shall waive and forfeit any and all rights that it may otherwise have to appear at the Final Fairness

Hearing and/or to object to the proposed Settlement and shall be bound by all terms of the proposed

Settlement and all its proceedings, Orders, and Judgments.

       Only an objector who files and serves written Objections may, at the Court’s discretion,

appear at the Final Fairness Hearing, either in person or through an attorney hired at the objector’s

own expense, to object to the fairness, reasonableness, or adequacy of the Settlement.

       An Eligible Claimant that files an Objection may not opt out of the proposed Settlement.

       B.      Opt Outs

       Any Eligible Claimant that wishes to opt out of the proposed Settlement must serve a

written, signed “Opt Out” statement—designated a “Request for Exclusion” under the Settlement

Agreement—on the Notice Administrator, the Special Master, the Claims Administrator, 3M’s

Counsel, and Class Counsel pursuant to the procedure for Requests for Exclusion set forth in the

Settlement Agreement. Dkt. No. [Settlement] at ¶ 8.5.

       The Request for Exclusion must certify, under penalty of perjury and in accordance with

28 U.S.C. § 1746, that the submitting individual has been legally authorized to exclude the Eligible

Claimant from the Settlement and must: (1) provide an affidavit or other proof of the Eligible

Claimant’s standing; (2) provide submitting individual’s name, address, telephone and facsimile

number, and email address (if available); (3) include the Eligible Claimant’s name, address,




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telephone number, and e-mail address (if available); and (4) be received by the Court no later than

the Opt Out deadline of ________, 2023.

       Any Eligible Claimant that elects to opt out of proposed Settlement may withdraw its

Request for Exclusion at any time prior to the Final Fairness Hearing and thereby accept all terms

of the Settlement Agreement. An Eligible Claimant that elects to opt out may not thereafter file

an Objection, whether or not it withdraws its Request for Exclusion.

       Upon the date of Final Judgment, Class Members that have not filed a timely Request for

Exclusion shall be bound by all terms of the proposed Settlement, including the Release defined

in Section 11 of the Settlement Agreement and all proceedings, Orders, and Judgments related to

the proposed Settlement, even if the Class Member has pending, or subsequently initiates,

litigation, arbitration, or any other action against any or all of the Released Parties relating to the

Released Claims under the Settlement.

V.     Class Representation, Class Counsel

       For the purposes of the Settlement, the Court appoints and approves:

       (a) As Class Representatives, the City of Camden Water Services (New Jersey); City of

           Brockton (Massachusetts); City of Sioux Falls (South Dakota); California Water

           Service Company (California); City of Delray Beach (Florida); Coraopolis Water &

           Sewer Authority (Pennsylvania); Verona (New Jersey); Dutchess County Water and

           Wastewater Authority and Dalton Farms Water System (New York); South Shore

           (Kentucky);     City   of   Freeport   (Illinois);   Martinsburg    Municipal    Authority

           (Pennsylvania); Seaman Cottages (Vermont); Village of Bridgeport (Ohio); City of

           Benwood (West Virginia); Niagara County (New York); City of Pineville (Louisiana);

           City of Iuka (Mississippi); and City of Amory (Mississippi); and




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        (b)      As Class Counsel, Michael A. London and the law firm of Douglas & London, P.C.,

Scott Summy and the law firm of Baron & Budd, P.C., Paul J. Napoli and the law firm of Napoli

Shkolnik, and Elizabeth A. Fegan and the law firm of Fegan Scott LLC.

        As to Class Counsel, the Court has reviewed their qualifications and finds that their

collective experience, knowledge of the law, and available resources support the conclusion that

they will fairly and adequately represent the Class Members’ interests. (Dkt. Nos. __, __, __) [Exs.

to Mot. ISO Prelim. Approval re: credentials of class counsel, notice admin., claims admin.]

        For purposes of the proposed Settlement, the Court also appoints and approves:

              a) As Notice Administrator, Steven Weisbrot;

              b) As Claims Administrator, Dustin Mire; and

              c) As Special Master, Matthew Garretson.

        Although the Court declines at this point to appoint a Special Master in addition to Matthew

Garretson, the Court notes that the proposed Settlement requires the Parties to select a retired judge

to serve as a Special Master for the purpose of resolving disputes that Class Counsel and 3M may

identify, including but not limited to disputes about the timing or amount of 3M’s payments under

Phase Two of the Settlement, and instructs that such Person shall be treated as the “Special Master”

under the proposed Settlement for those disputes that he or she is called upon to resolve. The

proposed Settlement requires Class Counsel and 3M to request that the Court formally appoint a

retired judge selected jointly by Class Counsel and 3M to serve in that capacity and provides that,

in the event that Class Counsel and 3M cannot reach agreement on the identity of the retired judge,

Class Counsel and 3M must work with the MDL mediator to reach agreement or, failing that, must

request that the Court appoint a retired judge to serve in that capacity. The Parties shall fulfill their

obligations for selecting the retired judge so that the Court may appoint that Person to serve in the




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referenced capacity before any dispute could arise impacting the timing or amount of 3M’s

payments under Phase Two.

VI.    Final Approval

       The Court will hold the Final Fairness Hearing pursuant to Rule 23(e) of the Federal Rules

of Civil Procedure on ___________, 2023, at the United States District Court for the District of

South Carolina, Charleston Federal Courthouse, 85 Broad Street, Charleston, South Carolina

29401. The Final Fairness Hearing will be held to determine whether the Settlement Class should

be finally certified as a class for settlement purposes only, to determine finally whether the

proposed Settlement is fair, reasonable, and adequate and should be granted final approval by the

Court pursuant to Rule 23(e) of the Federal Rules of Civil Procedure, to consider Class Counsel’s

petition for an award of attorneys’ fees and/or litigation expenses, and to rule upon other such

matters as the Court may deem appropriate.

       Class Counsel shall serve on all counsel of record at or before the Final Fairness Hearing

any further documents in support of the Settlement, including responses to any papers filed by

Class Members and/or their counsel.

       Class Counsel shall file all briefs, memoranda, petitions, and affidavits in support of a

petition for an award of attorneys’ fees and/or litigation expenses not less than twenty (20) calendar

days before the Final Fairness Hearing. Any briefs or memoranda in response to Class Counsel’s

motion or petition shall be filed within X days thereafter. No later than seven (7) calendar days

before the Final Fairness Hearing, Class Counsel shall file any briefs or memoranda in response

to Objections to the Settlement or to the petition for attorneys’ fees.

       Plaintiffs shall file any motion for final approval and supporting briefs, memoranda,

exhibits, and affidavits not less than twenty (20) calendar days before the Final Fairness Hearing.

Any briefs or memoranda in response to the motion for final approval shall be filed within X days


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thereafter. No later than seven (7) calendar days before the Final Fairness Hearing, the Parties

shall file any reply briefs or memoranda in support of the motion for final approval.

       The Court may, for good cause, adjourn the Final Fairness Hearing or extend any of the

deadlines set forth in this Order without further notice to Class Members.

VII.   Termination of Settlement

       The Court recognizes that the Settlement contains express provisions concerning

termination of the Settlement. Nothing in this Order is intended to modify or negate the express

terms of the Settlement.

       If at any time the Settlement fails, the Parties shall promptly notify the Court. The Court

will then decide whether to modify the schedule to allow the Parties additional time in which to

negotiate a new settlement, or set a schedule for further proceedings.

       If the Settlement is disapproved or terminated in accordance with the terms of the

Settlement, the Settlement (except those provisions that, by their terms, expressly survive

disapproval or termination of the Settlement) shall have no force or effect, and all negotiations,

proceedings, and statements made in connection therewith shall be without prejudice to the right

of any Persons, and the Parties to the Settlement Agreement shall be restored to their respective

positions existing prior to execution of the Settlement Agreement, preserving all their respective

claims and defenses.



       IT IS SO ORDERED this [DATE].



                                             s/
                                             Richard Mark Gergel
                                             United States District Judge
                                             Charleston, South Carolina



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                                                                     Amended by Agreement (07/02/2023)
                                        AMENDED EXHIBIT E
                                      Phase One Eligible Claimants
Primacy                    PWS Name                PWSID     PWS Type       Primary Source        Population
Agency                                                                                              Served
 [State]
    9    Salt River Public Works                90400109    CWS          Groundwater                  20,951
  AK     AMBLER COMMUNITY WATER SYSTEM          AK2300214   CWS          Groundwater                     261
  AK     BARROW UTILITIES & ELEC. COOP., INC.   AK2320078   CWS          Surfacewater                  4,900
  AK     DEERING UTILITY SYSTEM                 AK2340222   CWS          Surfacewater                    160
  AK     DILLINGHAM WATER SYSTEM                AK2260197   CWS          Groundwater                   2,419
  AK     FT WAINWRIGHT - MAIN POST              AK2310918   CWS          Groundwater                  15,868
  AK     GOLDEN HEART UTILITIES                 AK2310730   CWS          Groundwater                  78,324
  AK     KOBUK WATER SYSTEM                     AK2340565   CWS          Groundwater                      93
  AK     KOTZEBUE MUN. WATER SYSTEM             AK2340060   CWS          Surfacewater                  3,234
  AK     NOORVIK WATER SYSTEM                   AK2340109   CWS          Surfacewater                    735
  AK     NORTH POLE UTILITIES                   AK2310675   CWS          Groundwater                   3,680
  AK     RANGEVIEW TC                           AK2210435   CWS          Groundwater                     795
  AK     RIVIERA TERRACE TC                     AK2210451   CWS          Groundwater                     435
  AK     SELAWIK SAFEWATER FACILITY             AK2340379   CWS          Surfacewater                    846
  AK     SOLDOTNA                               AK2241054   CWS          Groundwater                   5,057
  AK     YAKUTAT PWS                            AK2130172   CWS          Groundwater                     740
  AL     ALABASTER WATER BOARD                  AL0001148   CWS          Surfacewater purchased       41,061

  AL     ALBERTVILLE UTILITIES BOARD            AL0000933   CWS          Surfacewater                 29,367
  AL     ARAB WATER WORKS BOARD                 AL0000934   CWS          Surfacewater                 34,800
  AL     ARDMORE WATER SYSTEM                   AL0001420   CWS          Groundwater                   3,600
  AL     ARITON WATER WORKS                     AL0000416   CWS          Groundwater                   1,242
  AL     ARLEY WATER WORKS                      AL0001403   CWS          Surfacewater                  8,673
  AL     ATHENS UTILITIES                       AL0000824   CWS          Surfacewater                 27,534
  AL     AUBURN WATER WORKS                     AL0000804   CWS          Surfacewater                 65,313
  AL     BELFOREST WATER SYSTEM                 AL0000025   CWS          Groundwater                  17,268
  AL     BIRMINGHAM WATER WORKS BOARD           AL0000738   CWS          Surfacewater                585,000
  AL     BLOUNT COUNTY WATER                    AL0001783   CWS          Surfacewater                 17,400
  AL     BOAZ WATER & SEWER BOARD               AL0000936   CWS          Surfacewater purchased       14,661

  AL     BRIDGEPORT UTILITIES BOARD             AL0000713   CWS          Surfacewater                  5,505
  AL     CALERA WATER WORKS                     AL0001150   CWS          Surfacewater                 24,585
  AL     CENTRAL ELMORE WATER AUTHORITY         AL0000547   CWS          Surfacewater                 36,900
  AL     CENTRE WATER & SEWER BOARD             AL0000188   CWS          Surfacewater                  7,050
  AL     CHATTAHOOCHEE VALLEY WATER             AL0000184   CWS          Surfacewater                     32
         SUPPLY DIST
  AL     CHEROKEE WATER & GAS DEPARTMENT        AL0000311   CWS          Surfacewater                  1,992

  AL     CHILDERSBURG WATER & SEWER             AL0001228   CWS          Groundwater                   9,744
         BOARD
  AL     CLANTON WATER DEPARTMENT               AL0000213   CWS          Surfacewater                 13,500



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Primacy                PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                          Served
 [State]
   AL    COLBERT COUNTY RURAL WATER          AL0000314   CWS         Surfacewater                 13,395
         SYSTEM
   AL    COOSA VALLEY WATER SUPPLY           AL0001805   CWS         Surfacewater                     25
         DISTRICT
   AL    DAPHNE (UTILITIES BOARD OF THE CITY AL0000029   CWS         Groundwater                  33,372
         OF)
   AL    DECATUR (MUNICIPAL UTILITIES BOARD AL0001084    CWS         Surfacewater                 77,100
         OF)
   AL    DEER PARK-VINEGAR BEND WATER &      AL0001368   CWS         Groundwater                   1,467
         FPA
   AL    DOTHAN UTILITIES (CITY OF)          AL0000681   CWS         Groundwater                  97,146
   AL    FAIRHOPE WATER SYSTEM (CITY OF)     AL0000035   CWS         Groundwater                  59,484
   AL    FAIRVIEW WATER SYSTEM (CONECUH)     AL0000339   CWS         Groundwater                     975
   AL    FIVE STAR WATER SUPPLY DISTRICT     AL0001780   CWS         Surfacewater                    100
   AL    FLORENCE (WATER DEPARTMENT), CITY AL0000783     CWS         Surfacewater                 77,766
         OF
   AL    FOLEY (UTILITIES BOARD OF THE CITY  AL0000036   CWS         Groundwater                  41,388
         OF)
   AL    FRISCO CITY WATER SYSTEM            AL0001047   CWS         Groundwater                   2,100
   AL    GLENCOE WATER WORKS BOARD           AL0000578   CWS         Groundwater                   6,450
   AL    GRAND BAY WATER WORKS BOARD         AL0000983   CWS         Groundwater                  11,100
   AL    GROVE HILL WATER WORKS              AL0000255   CWS         Groundwater                   5,280
   AL    GUNTERSVILLE WATER WORKS & SEWER AL0000943      CWS         Surfacewater                 12,612
         BOARD
   AL    HARVEST-MONROVIA WATER SYSTEM       AL0000878   CWS         Groundwater under            51,912
                                                                     influence of
                                                                     surfacewater
  AL    HAWK PRIDE MT WATER SYSTEM           AL0000316   CWS         Groundwater under             4,035
                                                                     influence of
                                                                     surfacewater
  AL    HUNTSVILLE UTILITIES                 AL0000882   CWS         Surfacewater                262,155
  AL    IRONDALE WATER SYSTEM                AL0000751   CWS         Groundwater                  10,098
  AL    JACKSON WATER WORKS & SEWER          AL0000256   CWS         Surfacewater                 11,715
        BOARD
  AL    JACKSONVILLE WATER WORKS, GAS        AL0000154   CWS         Surfacewater purchased       13,809
        AND SEWER
  AL    LEEDS WATER BOARD                    AL0000753   CWS         Groundwater                  21,300
  AL    LEIGHTON (WSB OF THE TOWN OF)        AL0000319   CWS         Groundwater                   1,203
  AL    LIMESTONE COUNTY WATER SYSTEM        AL0000833   CWS         Surfacewater                 65,000
  AL    LINCOLN (CITY OF)                    AL0001245   CWS         Groundwater                  10,218
  AL    LOACHAPOKA WATER AUTHORITY           AL0000814   CWS         Surfacewater purchased       12,657

  AL    LOXLEY (TOWN OF)                     AL0000048   CWS         Groundwater                  10,104
  AL    MADISON WATER WORKS & SEWER          AL0000885   CWS         Surfacewater                 54,117
        BOARD
  AL    MOBILE BOARD OF WATER AND SEWER      AL0001005   CWS         Surfacewater                279,000
        COMM.




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Primacy             PWS Name              PWSID         PWS Type      Primary Source        Population
Agency                                                                                        Served
 [State]
   AL    MONTEVALLO WATER WORKS & SEWER AL0001160      CWS         Groundwater under             9,741
                                                                   influence of
                                                                   surfacewater
 AL    MONTGOMERY WATER WORKS              AL0001070   CWS         Surfacewater                236,238
 AL    MOULTON WATER WORKS BOARD           AL0000798   CWS         Surfacewater                  9,216
 AL    MOUNDVILLE WATER WORKS              AL0000651   CWS         Groundwater                   4,404
 AL    MT. VERNON (TOWN OF)                AL0001006   CWS         Groundwater                   1,878
 AL    MUNFORD WATER AUTHORITY, INC.       AL0001247   CWS         Groundwater                   4,467
 AL    MUSCLE SHOALS UTILITY BOARD         AL0000321   CWS         Surfacewater                 22,467
 AL    NORTH BALDWIN UTILITIES             AL0000023   CWS         Groundwater                  28,713
 AL    NORTHEAST ALABAMA WATER SYSTEM      AL0001422   CWS         Surfacewater                 47,058

 AL    ODENVILLE (UTIL BOARD OF THE TOWN   AL0001203   CWS         Surfacewater purchased       23,637
       OF)
 AL    ONEONTA UTILITIES BOARD             AL0000103   CWS         Surfacewater                 19,737
 AL    OPELIKA UTILITIES                   AL0000816   CWS         Surfacewater                 45,621
 AL    OPP UTILITIES BOARD                 AL0000375   CWS         Groundwater                   9,975
 AL    OWENS CROSSROADS WATER              AL0000897   CWS         Groundwater                   9,500
       AUTHORITY
 AL    OXFORD WATER WORKS & SEWER          AL0000162   CWS         Surfacewater                 28,401
       BOARD
 AL    PELHAM WATER WORKS                  AL0001163   CWS         Surfacewater purchased       38,703

 AL    PELL CITY WATER WORKS               AL0001204   CWS         Surfacewater purchased       15,402

 AL    PHENIX CITY UTILITIES             AL0001142     CWS         Surfacewater                 42,267
 AL    PINE HILL WATER DEPARTMENT        AL0001393     CWS         Surfacewater                  2,361
 AL    PRATTVILLE (WATER WORKS BOARD OF) AL0000017     CWS         Surfacewater purchased       45,444

 AL    RAINBOW CITY UTILITIES BOARD        AL0000588   CWS         Groundwater purchased        12,363

 AL    ROGERSVILLE WATER WORKS & SEWER AL0000789       CWS         Groundwater                   5,271
       BOARD
 AL    SARALAND WATER SERVICE           AL0001021      CWS         Groundwater                  13,827
 AL    SATSUMA WATER WORKS              AL0001022      CWS         Groundwater                   7,248
 AL    SCOTTSBORO WATER WORKS           AL0000729      CWS         Surfacewater                 22,119
 AL    SECTION-DUTTON WATER SYSTEM      AL0000728      CWS         Surfacewater                 35,259
 AL    SHEFFIELD UTILITIES DEPARTMENT   AL0000327      CWS         Surfacewater                 13,758
 AL    SHELBY COUNTY COMMISSION-WATER AL0001671        CWS         Surfacewater                 35,982
       SERVICES
 AL    SMITHS WATER AND SEWER AUTHORITY AL0000820      CWS         Surfacewater                 31,695

 AL    SOUTH ALABAMA UTILITIES WATER       AL0000967   CWS         Groundwater                  39,249
       SYSTEM
 AL    SOUTHSIDE WATER WORKS               AL0000591   CWS         Groundwater                  11,535
 AL    SPRINGVILLE WATER WORKS             AL0001211   CWS         Surfacewater purchased        6,015

 AL    STAR-MINDINGALL WATER AUTHORITY     AL0000865   CWS         Surfacewater purchased        1,962



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Primacy                PWS Name               PWSID      PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
   AL    STEVENSON (UTIL. BOARD OF THE TOWN AL0000732   CWS         Groundwater                   3,969
         OF)
   AL    SULLIGENT (CITY OF)                AL0000772   CWS         Groundwater                   2,643
   AL    SWAN CREEK COMMUNITY (ROYCE        AL0000831   CWS         Groundwater                     321
         SWAN, LLC)
   AL    SYCAMORE WATER AND SEWER           AL0001378   CWS         Groundwater                   1,728
         AUTHORITY
   AL    SYLACAUGA UTILITIES BOARD          AL0001258   CWS         Surfacewater                 24,087
   AL    TALLADEGA COUNTY WATER SYSTEM      AL0001685   CWS         Surfacewater purchased        5,460

  AL    TALLADEGA WATER AND SEWER           AL0001260   CWS         Surfacewater                 20,250
        BOARD, CITY OF
  AL    TALLADEGA-SHELBY WATER              AL0001261   CWS         Surfacewater                     32
        TREATMENT PLANT
  AL    THOMASVILLE WATER WORKS & SEWER     AL0000262   CWS         Surfacewater                  6,897
        BOARD
  AL    TRI COMMUNITY WATER SYSTEM          AL0000549   CWS         Surfacewater purchased       11,832

  AL    TRUSSVILLE UTILITIES                AL0000761   CWS         Groundwater                  36,300
  AL    TUSCUMBIA WATER WORKS               AL0000331   CWS         Surfacewater                 14,400
  AL    TUSKEGEE UTILITIES BOARD            AL0000870   CWS         Surfacewater                 12,900
  AL    TWIN WATER AUTHORITY                AL0000929   CWS         Surfacewater purchased          804

  AL    UPPER BEAR CREEK WATER AUTHORITY AL0000927      CWS         Surfacewater                      0

  AL    V.A.W. WATER SYSTEM, INC            AL0000413   CWS         Surfacewater purchased       16,545

  AL    WARRIOR RIVER WATER AUTHORITY       AL0000763   CWS         Surfacewater                 37,263
  AL    WEAVER WATER SYSTEM                 AL0000168   CWS         Groundwater                   6,591
  AL    WEDOWEE WATER, SEWER, & GAS         AL0001131   CWS         Surfacewater                  7,782
        BOARD
  AL    WEST ESCAMBIA UTILITIES INC.        AL0000553   CWS         Groundwater                  12,060
  AL    WEST LAWRENCE WATER COOP            AL0000801   CWS         Surfacewater purchased       15,348

 AL     WILSONVILLE WATER WORKS             AL0001171   CWS         Groundwater                   2,391
 AR     TRI-COUNTY WATER DISTBR DIST        AR0000782   CWS         Surfacewater                 16,671
 AZ     ALMA RANCHETTES                     AZ0407286   CWS         Groundwater                     100
 AZ     BEVERLY GARDENS TRAILER PARK        AZ0413408   CWS         Groundwater                     120
 AZ     COTTONWOOD MUNICIPAL WATER CW1      AZ0413025   CWS         Groundwater                  12,029

  AZ    EPCOR - SAN TAN                     AZ0411128   CWS         Groundwater                  87,435
  AZ    EPCOR - SAN TAN ANTHEM              AZ0411136   CWS         Groundwater                  10,362
  AZ    G & L MOBILE PARK                   AZ0414463   CWS         Groundwater                      90
  AZ    GLENDALE CITY OF                    AZ0407093   CWS         Surfacewater                234,766
  AZ    GOODYEAR WATER DEPARTMENT           AZ0407094   CWS         Surfacewater                 50,001
  AZ    HACIENDA DEL SOL MHP                AZ0407366   CWS         Groundwater                     300
  AZ    JACKSON ACRES DWID                  AZ0413036   CWS         Groundwater                      30
  AZ    LIBERTY WATER LPSCO                 AZ0407046   CWS         Groundwater                  50,770



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Primacy               PWS Name             PWSID       PWS Type      Primary Source        Population
Agency                                                                                       Served
 [State]
   AZ    LOMA LINDA WATER COMPANY        AZ0406005    CWS         Groundwater                     328
   AZ    MARANA CORRECTIONAL FACILITY    AZ0410350    CWS         Groundwater                     325
   AZ    MARANA MUNICIPAL - AIRLINE      AZ0410138    CWS         Groundwater                   3,695
         LAMBERT
   AZ    MARANA MUNICIPAL - MARANA       AZ0410150    CWS         Groundwater                  10,773
   AZ    MESA CITY OF                    AZ0407095    CWS         Surfacewater                466,000
   AZ    METROPOLITAN DWID               AZ0410076    CWS         Groundwater                  46,977
   AZ    OATMAN WATER COMPANY            AZ0408001    CWS         Groundwater                     230
   AZ    PAYSON TOWN OF                  AZ0404032    CWS         Surfacewater                 17,682
   AZ    PINE STRAWBERRY WID             AZ0404034    CWS         Groundwater                   8,013
   AZ    PIONEER RV RESORT               AZ0407624    CWS         Groundwater                     583
   AZ    PRESCOTT CITY OF                AZ0413045    CWS         Groundwater                  42,217
   AZ    RANCHEROS BONITOS WATER COMPANY AZ0414073    CWS         Groundwater                     144

 AZ    RIO VERDE UTILITIES                AZ0407121   CWS         Groundwater                   4,979
 AZ    SAFFORD CITY OF                    AZ0405005   CWS         Groundwater                  20,600
 AZ    SCOTTSDALE CITY OF                 AZ0407098   CWS         Surfacewater                241,361
 AZ    SHANGRI LA RANCH                   AZ0407660   CWS         Groundwater                     345
 AZ    SNOWFLAKE TOWN OF                  AZ0409029   CWS         Groundwater                   5,590
 AZ    STONEHEDGE ESTATES                 AZ0407371   CWS         Groundwater                     161
 AZ    TEMPE CITY OF                      AZ0407100   CWS         Surfacewater                165,000
 AZ    TIERRA BUENA WATER COMPANY         AZ0407073   CWS         Groundwater                     318
 AZ    TOMBSTONE CITY OF                  AZ0402033   CWS         Surfacewater                  1,545
 AZ    TOWN OF PRESCOTT VALLEY            AZ0413048   CWS         Groundwater                  54,991
 AZ    TOWN OF STAR VALLEY WATER          AZ0404037   CWS         Groundwater                   1,157
       DEPARTMENT
 AZ    TOWN OF TAYLOR                     AZ0409031   CWS         Groundwater                   3,250
 AZ    TUCSON CITY OF                     AZ0410112   CWS         Groundwater                 675,686
 AZ    VALLEY UTILITIES WATER COMPANY     AZ0407079   CWS         Groundwater                   4,765
       GLENDALE
 AZ    VICKSBURG FARM                     AZ0415801   CWS         Groundwater                     197
 AZ    WHISPERING WIND MOBILE HOME PARK   AZ0411365   CWS         Groundwater                     163

 CA    ABRAMS LAKE MOBILE ESTATES         CA4700542   CWS         Groundwater                     135
 CA    ADELANTO, CITY OF                  CA3610001   CWS         Groundwater                  31,765
 CA    AFUERA DE CHORRO WATER COMPANY     CA4000744   CWS         Groundwater                      79

 CA    ALAMEDA COUNTY WATER DISTRICT      CA0110001   CWS         Surfacewater                355,877
 CA    AMARILLO MUTUAL WATER COMPANY      CA1910002   CWS         Groundwater                   3,134

 CA    AMERICAN WATER O&M, LLC - VSFB     CA4210700   CWS         Surfacewater purchased       14,971

 CA    ANDERSON MOBILE HOME PARK          CA4500098   CWS         Groundwater                      70
 CA    ATASCADERO MUTUAL WATER CO         CA4010002   CWS         Groundwater                  30,587
 CA    AZUSA LIGHT AND WATER              CA1910007   CWS         Surfacewater                110,044
 CA    BAKERSFIELD, CITY OF               CA1510031   CWS         Surfacewater purchased      154,324



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Primacy               PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
   CA    BAKMAN WATER COMPANY               CA1010001   CWS         Groundwater                  16,756
   CA    BELLFLOWER - SOMERSET MWC          CA1910013   CWS         Surfacewater purchased       46,300

 CA    BELLFLOWER MUNICIPAL WATER           CA1910018   CWS         Surfacewater purchased        5,967
       SYSTEM
 CA    BEVERLY HILLS-CITY, WATER DEPT.      CA1910156   CWS         Surfacewater purchased       44,607

 CA    BLOCK 77 WATER COMPANY               CA3301877   CWS         Groundwater                      59
 CA    BOX SPRINGS MUTUAL WC                CA3310004   CWS         Surfacewater purchased        3,542

 CA    BUENA VISTA MIGRANT CENTER           CA4400763   CWS         Groundwater                     455
 CA    BURBANK-CITY, WATER DEPT.            CA1910179   CWS         Surfacewater purchased      105,861

 CA    CAL AM - ANTELOPE                    CA3410031   CWS         Surfacewater purchased       35,037

 CA    CAL AM - ARDEN                       CA3410045   CWS         Surfacewater purchased        3,941

 CA    CAL AM - DUNNIGAN                    CA5700712   CWS         Groundwater                     602
 CA    CAL AM - FRUITRIDGE VISTA            CA3410023   CWS         Surfacewater purchased       15,256

 CA    CAL AM - GOLDSIDE                    CA2010014   CWS         Groundwater                   1,020
 CA    CAL AM - ISLETON                     CA3410012   CWS         Groundwater                   1,588
 CA    CAL AM - LINCOLN OAKS                CA3410013   CWS         Surfacewater purchased       47,643

 CA    CAL AM - MEADOWBROOK                 CA2410008   CWS         Groundwater                   5,667
 CA    CAL AM - OAKHURST                    CA2010007   CWS         Groundwater                   3,416
 CA    CAL AM - PARKWAY                     CA3410017   CWS         Surfacewater purchased       48,979

 CA    CAL AM - RAYMOND                     CA2010012   CWS         Groundwater                     317
 CA    CAL AM - SUBURBAN ROSEMONT           CA3410010   CWS         Surfacewater purchased       53,724

 CA    CAL AM - WALNUT GROVE           CA3410047        CWS         Groundwater                     654
 CA    CAL AM WATER COMPANY - MONTEREY CA2710004        CWS         Groundwater under            91,884
                                                                    influence of
                                                                    surfacewater
 CA    CAL AMERICAN WC - RIO PLAZA          CA5610010   CWS         Groundwater                   1,716
 CA    CAL-AM WATER COMPANY - DUARTE        CA1910186   CWS         Groundwater                  24,783
 CA    CALIFORNIA DOMESTIC WATER            CA1910199   CWS         Groundwater                       0
       COMPANY
 CA    CALIFORNIA WATER SERVICE -           CA0110003   CWS         Surfacewater purchased       60,042
       LIVERMORE
 CA    CALIFORNIA WATER SERVICE -           CA3910001   CWS         Surfacewater purchased      174,507
       STOCKTON
 CA    CALIFORNIA WATER SERVICE CO. - ELA   CA1910036   CWS         Surfacewater purchased      151,737

 CA    CALIFORNIA-AMERICAN LARKFIELD        CA4910023   CWS         Groundwater                   7,653
       (PUC)
 CA    CAL-WATER SERVICE CO.-CHICO          CA0410002   CWS         Groundwater                 111,142
 CA    CAL-WATER SERVICE CO.-MARYSVILLE     CA5810001   CWS         Groundwater                  12,272



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Primacy              PWS Name                  PWSID      PWS Type      Primary Source        Population
Agency                                                                                          Served
 [State]
   CA    CAL-WATER SERVICE CO.-OROVILLE      CA0410005   CWS         Surfacewater                 11,063
   CA    CAL-WATER SERVICE CO.-WILLOWS       CA1110003   CWS         Groundwater                   7,217
   CA    CAMROSA WATER DISTRICT              CA5610063   CWS         Surfacewater purchased       32,700

 CA    CERES, CITY OF                        CA5010028   CWS         Groundwater                  48,706
 CA    CERRITOS - CITY, WATER DEPT.          CA1910019   CWS         Surfacewater purchased       49,578

 CA    CHINO BASIN DESALTER AUTH. -          CA3610075   CWS         Groundwater                       0
       DESALTER 1
 CA    CHINO BASIN DESALTER AUTH. -          CA3310083   CWS         Groundwater                       0
       DESALTER 2
 CA    CHINO, CITY OF                        CA3610012   CWS         Surfacewater purchased       82,560

 CA    CITY OF ANAHEIM                       CA3010001   CWS         Surfacewater                369,033
 CA    CITY OF ANDERSON                      CA4510001   CWS         Groundwater                  11,147
 CA    CITY OF ANTIOCH                       CA0710001   CWS         Surfacewater                115,074
 CA    CITY OF ARCADIA                       CA1910003   CWS         Groundwater                  44,738
 CA    CITY OF BELL GARDENS                  CA1910108   CWS         Surfacewater purchased       11,292

 CA    CITY OF BUENA PARK                    CA3010003   CWS         Surfacewater purchased       81,998

 CA    CITY OF CLOVIS                        CA1010003   CWS         Surfacewater                125,722
 CA    CITY OF CUPERTINO                     CA4310018   CWS         Surfacewater purchased       16,530

 CA    CITY OF DALY CITY                     CA4110013   CWS         Surfacewater purchased      108,599

 CA    CITY OF FAIRFIELD                     CA4810003   CWS         Surfacewater                107,750
 CA    CITY OF FOUNTAIN VALLEY               CA3010069   CWS         Surfacewater purchased       56,747

 CA    CITY OF FRESNO                        CA1010007   CWS         Surfacewater                549,747
 CA    CITY OF FULLERTON                     CA3010010   CWS         Surfacewater purchased      143,617

 CA    CITY OF GARDEN GROVE                  CA3010062   CWS         Surfacewater purchased      174,226

 CA    CITY OF GILROY                        CA4310004   CWS         Groundwater                  58,108
 CA    CITY OF HUNTINGTON BEACH              CA3010053   CWS         Surfacewater purchased      201,000

 CA    CITY OF INDUSTRY WATERWORKS           CA1910029   CWS         Groundwater                   6,029
       SYSTEMS
 CA    CITY OF LATHROP                       CA3910015   CWS         Surfacewater purchased       28,503

 CA    CITY OF MERCED                        CA2410009   CWS         Groundwater                  87,110
 CA    CITY OF NEWPORT BEACH                 CA3010023   CWS         Surfacewater purchased       68,230

 CA    CITY OF ORANGE                        CA3010027   CWS         Surfacewater purchased      138,995

 CA    CITY OF PLEASANTON                    CA0110008   CWS         Surfacewater purchased       79,871

 CA    CITY OF REDDING                       CA4510005   CWS         Surfacewater                 87,741



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Primacy                PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                          Served
 [State]
   CA    CITY OF ROSEVILLE                   CA3110008   CWS         Surfacewater                143,113
   CA    CITY OF SAN JOSE - EVG/EDV/COY      CA4310020   CWS         Surfacewater purchased       98,198

  CA    CITY OF SAN JUAN CAPISTRANO          CA3010030   CWS         Surfacewater purchased       38,894

  CA    CITY OF SANTA ANA                    CA3010038   CWS         Surfacewater purchased      337,716

  CA    CITY OF SANTA BARBARA WATER          CA4210010   CWS         Surfacewater                 95,628
        DEPARTMENT
  CA    CITY OF STOCKTON                     CA3910012   CWS         Surfacewater                183,046
  CA    CITY OF TUSTIN                       CA3010046   CWS         Surfacewater purchased       66,000

  CA    CITY OF WESTMINSTER                  CA3010064   CWS         Surfacewater purchased       95,256

  CA    COACHELLA VWD: COVE COMMUNITY        CA3310001   CWS         Groundwater                 270,000
  CA    COLTON, CITY OF                      CA3610014   CWS         Groundwater                  46,525
  CA    COMMERCE-CITY, WATER DEPT.           CA1910050   CWS         Surfacewater purchased        4,204

  CA    COMPTON-CITY, WATER DEPT.            CA1910026   CWS         Surfacewater purchased       76,484

  CA    CORONA, CITY OF                      CA3310037   CWS         Surfacewater purchased      157,136

  CA    COVINA IRRIGATING CO.           CA1910128        CWS         Surfacewater                      0
  CA    CSA 42 ORO GRANDE               CA3600220        CWS         Groundwater                     533
  CA    CUCAMONGA VALLEY WATER DISTRICT CA3610018        CWS         Surfacewater                200,613

  CA    CWS - BAKERSFIELD                    CA1510003   CWS         Surfacewater                259,157
  CA    CWS - KERNVILLE                      CA1510033   CWS         Surfacewater                  2,598
  CA    CWS - LAKELAND                       CA1510049   CWS         Groundwater                     297
  CA    CWS - NORTH GARDEN                   CA1510055   CWS         Surfacewater                 22,536
  CA    CWS - VISALIA                        CA5410016   CWS         Groundwater                 143,863
  CA    CWS-SPLIT MOUNTAIN WATER SYSTEM      CA1500407   CWS         Groundwater under               227
                                                                     influence of
                                                                     surfacewater
  CA    DEL RIO MUTUAL                       CA1900130   CWS         Groundwater                      700
  CA    DESERT WATER AGENCY                  CA3310005   CWS         Surfacewater                  88,035
  CA    DOWNEY - CITY, WATER DEPT.           CA1910034   CWS         Groundwater                  111,269
  CA    EAST BAY MUD                         CA0110005   CWS         Surfacewater               1,430,200
  CA    EAST ORANGE COUNTY WD - RZ           CA3010068   CWS         Surfacewater purchased         3,222

  CA    EAST VALLEY WATER DISTRICT           CA3610064   CWS         Surfacewater                103,818
  CA    EASTERN MUNICIPAL WD                 CA3310009   CWS         Surfacewater purchased      624,372

  CA    EL MONTE-CITY, WATER DEPT.           CA1910038   CWS         Groundwater                  22,968
  CA    ELEVEN OAKS MOBILE HOME              CA3400191   CWS         Groundwater                     262
        COMMUNITY
  CA    ELK GROVE WATER SERVICE              CA3410008   CWS         Groundwater                  40,784
  CA    ELSINORE VALLEY MWD                  CA3310012   CWS         Surfacewater                160,093



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Primacy              PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                        Served
 [State]
   CA    FALLBROOK PUD                     CA3710008   CWS         Surfacewater purchased       35,237

 CA    FRIENDLY ACRES MHP                  CA5200539   CWS         Groundwater                      75
 CA    GILBERT STREET COMPLEX              CA3600215   CWS         Groundwater                   1,062
 CA    GLENDALE-CITY, WATER DEPT.          CA1910043   CWS         Surfacewater purchased      201,334

 CA    GLENDORA-CITY, WATER DEPT.          CA1910044   CWS         Surfacewater purchased       45,355

 CA    GOLDEN STATE WATER CO - ARDEN       CA3410003   CWS         Groundwater                   5,588
       WATER SERV
 CA    GOLDEN STATE WATER CO. - CORDOVA    CA3410015   CWS         Surfacewater                 46,834
 CA    GOLDEN STATE WATER COMPANY - BAY    CA0710002   CWS         Surfacewater purchased       23,693
       POINT
 CA    GOLDEN STATE WC - COWAN HEIGHTS     CA3010047   CWS         Surfacewater purchased        6,983

 CA    GOLDEN STATE WC - PLACENTIA/YORBA CA3010035     CWS         Surfacewater purchased       49,686
       LINDA
 CA    GOLDEN STATE WC - WEST ORANGE     CA3010022     CWS         Surfacewater purchased      113,125
       COUNTY
 CA    GOLETA WATER DISTRICT             CA4210004     CWS         Surfacewater                 84,462
 CA    GSWC - ARTESIA                    CA1910004     CWS         Groundwater                  50,260
 CA    GSWC - BELL, BELL GARDENS         CA1910011     CWS         Surfacewater purchased       54,548

 CA    GSWC - CLAREMONT                    CA1910024   CWS         Surfacewater purchased       39,325

 CA    GSWC - HOLLYDALE                    CA1910195   CWS         Groundwater                   8,047
 CA    GSWC - NORWALK                      CA1910098   CWS         Surfacewater purchased       43,143

 CA    GSWC - WILLOWBROOK                  CA1910072   CWS         Surfacewater purchased       10,661

 CA    GSWC-SOUTH ARCADIA                  CA1910212   CWS         Groundwater                  26,526
 CA    GSWC-SOUTH SAN GABRIEL              CA1910223   CWS         Surfacewater purchased       25,808

 CA    HAWTHORNE-CITY WATER DEPT.          CA1910047   CWS         Surfacewater purchased       44,728

 CA    HEMLOCK MUTUAL WATER CO.            CA1910053   CWS         Groundwater                     686
 CA    HIDDEN HARBOR MARINA & RVP          CA5200526   CWS         Groundwater                      70
 CA    HIGUERA APARTMENTS                  CA4000563   CWS         Groundwater                      30
 CA    HOMETOWN COLONIAL ESTATES LLC       CA3400217   CWS         Groundwater                     400
 CA    HYNES ESTATES MUTUAL WATER CO.      CA3000519   CWS         Groundwater                     139
 CA    IMPERIAL MANOR MOBILEHOME           CA3400190   CWS         Groundwater                     280
       COMMUNITY
 CA    INGLEWOOD- CITY, WATER DEPT.        CA1910051   CWS         Surfacewater purchased       86,584




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Primacy               PWS Name                PWSID      PWS Type         Primary Source         Population
Agency                                                                                             Served
 [State]
   CA    INLAND EMPIRE UTILITIES AGENCY     CA3690001   System not
                                                        found in
                                                        SDWIS,
                                                        additional
                                                        search could
                                                        not find system
                                                        name.
  CA    IRVINE RANCH WATER DISTRICT         CA3010092   CWS             Surfacewater                452,772
  CA    JURUPA COMMUNITY SD                 CA3310021   CWS             Groundwater                 133,513
  CA    KEEFER CREEK ESTATES                CA0400151   CWS             Groundwater                     160
  CA    LA HABRA HEIGHTS CWD                CA1910218   CWS             Surfacewater purchased        5,682

  CA    LA PUENTE VALLEY CWD                CA1910060   CWS            Groundwater                    8,082
  CA    LA VERNE, CITY WD                   CA1910062   CWS            Surfacewater purchased        32,206

  CA    LAKE HEMET MWD                      CA3310022   CWS            Groundwater                   52,913
  CA    LANCASTER PARK MOBILE HOME PARK     CA1900038   CWS            Groundwater                       68

  CA    LASSEN COUNTY WATER DISTRICT #1     CA1810003   CWS            Groundwater                      450
  CA    LAZY B MOBILEHOME PARK              CA5000048   CWS            Groundwater                      125
  CA    LIBERTY UTILITIES - BELLFLOWER-     CA1910211   CWS            Surfacewater purchased        72,964
        NORWALK
  CA    LOMA LINDA UNIVERSITY               CA3600152   CWS            Groundwater                   18,644
  CA    LOMA LINDA, CITY OF                 CA3610013   CWS            Groundwater                   24,791
  CA    LOMITA-CITY, WATER DEPT.            CA1910073   CWS            Surfacewater purchased        20,256

  CA    LONG BEACH-CITY, WATER DEPT.        CA1910065   CWS            Surfacewater purchased       459,757

  CA    LOS ANGELES CWWD 40 REG 4 & 34     CA1910070    CWS            Surfacewater purchased       203,686
        LANCASTER
  CA    LOS ANGELES-CITY, DEPT. OF WATER & CA1910067    CWS            Surfacewater                3,953,941
        POWER
  CA    LOWER LAKE COUNTY WATER DISTRICT CA1710010      CWS            Groundwater                    1,355

  CA    LYNWOOD PARK MUTUAL WATER CO.       CA1910081   CWS            Groundwater                    2,300
  CA    LYNWOOD-CITY, WATER DEPT.           CA1910079   CWS            Surfacewater purchased        66,967

  CA    MANTECA, CITY OF                    CA3910005   CWS            Surfacewater purchased        84,625

  CA    MAPACHE TRAILER PARK                CA3900661   CWS            Groundwater                      275
  CA    MARINA COAST WATER DISTRICT         CA2710017   CWS            Groundwater                   38,201
  CA    MAYWOOD MUTUAL WATER CO. #2         CA1910085   CWS            Surfacewater purchased         6,349

  CA    MODESTO, CITY OF                    CA5010010   CWS            Surfacewater purchased       218,464

  CA    MONROVIA-CITY, WATER DEPT.          CA1910090   CWS            Groundwater                   37,787
  CA    MONTEBELLO LAND & WATER CO.         CA1910091   CWS            Groundwater                   26,554
  CA    MONTEREY PARK-CITY, WATER DEPT.     CA1910092   CWS            Groundwater                   62,183
  CA    MUSTANG SPRINGS MUTUAL WATER        CA4000775   CWS            Groundwater                       30


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Primacy               PWS Name               PWSID      PWS Type         Primary Source        Population
Agency                                                                                           Served
 [State]
   CA    NAVALAIR MOBILE HOME PARK         CA5602110   CWS           Groundwater                      160
   CA    NORCO, CITY OF                    CA3310025   CWS           Surfacewater purchased        27,564

 CA    NORTH STAR MOBILE HOME PARK         CA4900797   CWS           Groundwater                      221
 CA    NORTHCREST TRAILER CITY             CA0800552   CWS           Groundwater                      250
 CA    NORTHROP GRUMMAN CORP.              CA1910097   NTNCWS        Groundwater                    5,706
 CA    NORWALK - CITY, WATER DEPT.         CA1910191   CWS           Surfacewater purchased        17,790

 CA    OCEANSIDE, CITY OF                  CA3710014   CWS           Surfacewater purchased       178,021

 CA    OILDALE MWC                         CA1510015   CWS           Surfacewater purchased        38,232

 CA    OLIVE DELL RANCH                    CA3600187   CWS           Groundwater                      350
 CA    OLIVEHURST PUBLIC U.D.              CA5810003   CWS           Groundwater                   16,595
 CA    ONTARIO MUNICIPAL UTILITIES         CA3610034   CWS           Surfacewater purchased       185,010
       COMPANY
 CA    ORANGE COUNTY WATER DISTRICT,       CA3090001   System not
                                                       found in
                                                       SDWIS,
                                                       additional
                                                       search could
                                                       not find system
                                                       name.
 CA    ORCHARD DALE WATER DISTRICT         CA1910101   CWS             Groundwater purchased       25,000

 CA    PALMDALE WATER DIST.                CA1910102   CWS           Surfacewater                 126,994
 CA    PARAMOUNT - CITY, WATER DEPT.       CA1910105   CWS           Surfacewater purchased        55,200

 CA    PETER PITCHESS HONOR RANCHO DETN.   CA1900046   CWS           Groundwater                    7,000
       CTR
 CA    PICO RIVERA - CITY, WATER DEPT.     CA1910042   CWS           Groundwater                   41,600
 CA    PICO WD                             CA1910125   CWS           Groundwater                   22,051
 CA    PINE GROVE MOBILEHOME PARK          CA4500290   CWS           Groundwater                       53
 CA    PINE GROVE TRAILER PARK             CA0800800   CWS           Groundwater                      100
 CA    PINEBROOK COMMUNITY WATER WELL      CA1500404   CWS           Groundwater                      136

 CA    R.S. MUTUAL WATER COMPANY           CA1500458   CWS           Groundwater                       67
 CA    RECHE CANYON MUTUAL WATER CO.       CA3301541   CWS           Groundwater                      150
 CA    REDLANDS CITY MUD-WATER DIV         CA3610037   CWS           Surfacewater                  78,025
 CA    RIALTO, CITY OF                     CA3610038   CWS           Surfacewater purchased        54,453

 CA    RIO MANOR MUTUAL WATER CO           CA5610035   CWS           Groundwater                      983
 CA    RIVER RANCH MHP                     CA3600155   CWS           Groundwater                      176
 CA    RIVERBANK, CITY OF                  CA5010018   CWS           Groundwater                   25,424
 CA    RIVERDALE PARK TRACT CSD            CA5000019   CWS           Groundwater                      610
 CA    RIVERKERN MUTUAL WATER COMPANY      CA1500251   CWS           Groundwater                      336




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Primacy                PWS Name               PWSID      PWS Type         Primary Source        Population
Agency                                                                                            Served
 [State]
   CA    RIVERSIDE, CITY OF                 CA3310031   CWS            Groundwater under           312,045
                                                                       influence of
                                                                       surfacewater
  CA    ROSECREST MUTUAL                  CA3100538     CWS            Groundwater                      31
  CA    ROUND MOUNTAIN WATER COMPANY      CA1500561     CWS            Groundwater                      50
  CA    RUBIDOUX COMMUNITY SD             CA3310044     CWS            Groundwater                  36,827
  CA    SAC CITY MOBILE HOME COMMUNITY LP CA3400296     CWS            Groundwater                     350

  CA    SACRAMENTO SUBURBAN WATER           CA3410001   CWS            Surfacewater purchased      194,444
        DISTRICT
  CA    SAN ANDREAS MUTUAL WATER CO         CA4400558   CWS            Groundwater                     350
  CA    SAN ANTONIO WATER COMPANY           CA3610085   CWS            Groundwater                   3,191
  CA    SAN BERNARDINO CITY                 CA3610039   CWS            Groundwater under           204,870
                                                                       influence of
                                                                       surfacewater
  CA    SAN DIEGO COUNTY WATER AUTHORITY CA3710042      CWS            Surfacewater                      0

  CA    SAN DIEGO, CITY OF                  CA3710020   CWS             Surfacewater              1,374,790
  CA    SAN GABRIEL BASIN WATER QUALITY     CA0000000   System not
        AUTHORITY                                       found in
                                                        SDWIS,
                                                        additional
                                                        search could
                                                        not find system
                                                        name.
  CA    SAN GABRIEL VALLEY WATER CO.-EL   CA1910039     CWS             Groundwater                254,000
        MONTE
  CA    SAN GABRIEL VALLEY WATER CO.-     CA1910189     CWS            Groundwater purchased         9,349
        MONTEBELLO
  CA    SAN GABRIEL VALLEY WATER CO-      CA1910117     CWS            Surfacewater purchased        8,100
        MONTEBELLO 2
  CA    SAN GABRIEL VALLEY WC - FONTANA   CA3610041     CWS            Surfacewater                 237,800
  CA    SAN JOSE WATER                    CA4310011     CWS            Surfacewater               1,007,514
  CA    SAN JUAN BASIN AUTHORITY          CA3010120     CWS            Groundwater                        0
  CA    SAN JUAN VISTA                    CA3901215     CWS            Groundwater                      201
  CA    SAN LORENZO VALLEY WATER DIST     CA4410014     CWS            Surfacewater                  21,145
  CA    SAN MIGUEL COMMUNITY SERVICES     CA4010010     CWS            Groundwater                    2,600
        DISTRICT
  CA    SANTA ANA RIVER WATER COMPANY     CA3310033     CWS            Groundwater                   6,848
  CA    SANTA CLARA VALLEY WATER DISTRICT CA4310027     CWS            Surfacewater                      0

  CA    SANTA CLARITA VALLEY W.A.-CASTAIC CA1910247     CWS            Surfacewater purchased       10,235
        DIV.
  CA    SANTA CLARITA VALLEY W.A.-         CA1910048    CWS            Surfacewater                      0
        IMPORTED DIVIS
  CA    SANTA CLARITA VALLEY W.A.-NEWHALL CA1910096     CWS            Surfacewater purchased       17,454
        DIV.
  CA    SANTA CLARITA VALLEY W.A.-PINETREE CA1910250    CWS            Surfacewater purchased       15,917
        DIV.



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Primacy               PWS Name               PWSID      PWS Type      Primary Source        Population
Agency                                                                                        Served
 [State]
   CA    SANTA CLARITA VALLEY W.A.-SANTA   CA1910017   CWS         Surfacewater purchased      134,541
         CLARITA
   CA    SANTA CLARITA VALLEY W.A.-        CA1910240   CWS         Surfacewater purchased      102,125
         VALENCIA DIVIS
   CA    SANTA CRUZ WATER DEPARTMENT       CA4410010   CWS         Surfacewater                 87,957
   CA    SANTA MARGARITA WATER DISTRICT    CA3010101   CWS         Surfacewater purchased      164,038

 CA    SANTA MARIA WATER DEPARTMENT        CA4210011   CWS         Surfacewater purchased      109,910

 CA    SANTA MONICA-CITY, WATER DIVISION   CA1910146   CWS         Surfacewater purchased       93,076

 CA    SCWA - ARDEN PARK VISTA             CA3410002   CWS         Groundwater                  10,035
 CA    SCWA - LAGUNA/VINEYARD              CA3410029   CWS         Surfacewater                174,999
 CA    SERRANO WATER DISTRICT              CA3010082   CWS         Surfacewater                  5,691
 CA    SFPUC-PLEASANTON WELLS              CA0110018   CWS         Groundwater                       1
 CA    SHERIFF'S REHAB                     CA4400762   CWS         Groundwater                     235
 CA    SOLVANG WATER DIVISION              CA4210013   CWS         Surfacewater purchased        6,126

 CA    SONOMA COUNTY WATER AGENCY          CA4910020   CWS         Groundwater                       0
 CA    SOUTH GATE-CITY, WATER DEPT.        CA1910152   CWS         Surfacewater purchased       76,443

 CA    SOUTH MONTEBELLO IRRIGATION DIST.   CA1910153   CWS         Groundwater                  15,021
 CA    STERLING MUTUAL WATER COMPANY       CA1910158   CWS         Groundwater                     548
 CA    STONEGATE MOBILE HOME PARK          CA4900795   CWS         Groundwater                     196
 CA    STRICKLAND ACRES                    CA5602117   CWS         Groundwater                     429
 CA    SUBURBAN WATER SYSTEMS - SATIVA     CA1910147   CWS         Surfacewater purchased        6,837

 CA    SUBURBAN WATER SYSTEMS-WHITTIER CA1910174       CWS         Groundwater                  66,045

 CA    SWEETWATER AUTHORITY                CA3710025   CWS         Surfacewater                192,480
 CA    THREE VALLEYS MWD                   CA1910041   CWS         Surfacewater                      0
 CA    TIERRA BONITA MUTUAL WATER          CA1900154   CWS         Groundwater                      75
 CA    TORRANCE-CITY, WATER DEPT.          CA1910213   CWS         Surfacewater purchased      106,183

 CA    TRACY, CITY OF                      CA3910011   CWS         Surfacewater                 98,601
 CA    TRUCKEE-DONNER PUD, MAIN            CA2910003   CWS         Groundwater                  36,730
 CA    TUCKER OAKS EAST WATER DISTRICT     CA4500303   CWS         Groundwater                      95
 CA    UNITED WTR CONS DIST                CA5610046   CWS         Surfacewater                      0
 CA    V & P TRAILER COURT WATER SYSTEM    CA3900732   CWS         Groundwater                      35
 CA    VALENCIA HEIGHTS WATER CO.          CA1910163   CWS         Surfacewater purchased        7,775

 CA    VALLEY COUNTY WATER DIST.           CA1910009   CWS         Groundwater                  56,754
 CA    VALLEY WATER CO.                    CA1910166   CWS         Surfacewater purchased       10,070

 CA    VERNON-CITY, WATER DEPT.            CA1910167   CWS         Surfacewater purchased       28,000

 CA    VIERRA ESTATES WS                   CA2702007   CWS         Groundwater                     164




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Agency                                                                                           Served
 [State]
   CA    VINEYARD AVE ESTATES MWC         CA5610056   CWS            Surfacewater purchased         1,200

 CA    VINEYARD AVENUE ACRES MWC          CA5610029   CWS             Groundwater                   1,820
 CA    WARNER SPRINGS ESTATES             CA3702354   CWS             Groundwater                     443
 CA    Water Replenishment District       CA1990003   System not
                                                      found in
                                                      SDWIS,
                                                      additional
                                                      search could
                                                      not find system
                                                      name.
 CA    WAYSIDE GARDENS MOBILE HOME PARK CA4900792     CWS             Groundwater                      75

 CA    WEST BASIN MUNICIPAL WATER         CA1990001   System not
       DISTRICT                                       found in
                                                      SDWIS,
                                                      additional
                                                      search could
                                                      not find system
                                                      name.
 CA    WEST VALLEY WATER DISTRICT         CA3610004   CWS             Surfacewater                 96,738
 CA    WHITTIER-CITY, WATER DEPT.         CA1910173   CWS             Groundwater                  49,954
 CA    WILDWOOD EAST MUTUAL               CA5101009   CWS             Groundwater                     350
 CA    WILSON ACRES MUTUAL WATER          CA5200014   CWS             Groundwater                      75
 CA    WINTON WATER & SANITARY DIST       CA2410010   CWS             Groundwater                   9,500
 CA    YORBA LINDA WATER DISTRICT         CA3010037   CWS             Surfacewater purchased       83,952

 CA    ZONE 7 WATER AGENCY                CA0110010   CWS            Surfacewater                      40
 CO    ALDASORO RANCH HOC                 CO0157011   CWS            Groundwater                       73
 CO    ANIMAS WC                          CO0134020   CWS            Groundwater                    2,720
 CO    ARAPAHOE CNTY WWWA                 CO0203002   CWS            Groundwater                   31,000
 CO    ARVADA CITY OF                     CO0130001   CWS            Surfacewater                 146,743
 CO    ASGARD SUBDIVISION WA              CO0123123   CWS            Surfacewater purchased            80

 CO    AURORA CITY OF                     CO0103005   CWS            Surfacewater                 487,365
 CO    AVONDALE WSD                       CO0151050   CWS            Groundwater                    1,615
 CO    BASALT TOWN OF                     CO0119134   CWS            Groundwater under              4,482
                                                                     influence of
                                                                     surfacewater
 CO    BATTLEMENT MESA MD                 CO0123133   CWS            Surfacewater                   4,100
 CO    BAXTER WATER & SERVICES            CO0151400   CWS            Groundwater                      350
 CO    BIG PINES CAMPGROUND               CO0221060   CWS            Groundwater                       72
 CO    BLUE RIVER VALLEY RANCH LAKES      CO0159005   CWS            Groundwater                      150
 CO    BLUE SKY RANCH INC ASSOC OF        CO0134065   CWS            Groundwater                      175
       OWNERS
 CO    BOULDER CITY OF                    CO0107152   CWS            Surfacewater                 166,080
 CO    BRIGHTON CITY OF                   CO0101025   CWS            Surfacewater purchased        55,201




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Primacy                 PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                           Served
 [State]
   CO      BRUSH CITY OF                   CO0144001      CWS         Groundwater                   5,117
   CO      BUENA VISTA TOWN OF             CO0108300      CWS         Groundwater                   3,776
   CO      BUFFALO MOUNTAIN MD             CO0159025      CWS         Groundwater                   2,650
   CO      CARBONDALE TOWN OF              CO0123167      CWS         Surfacewater                  6,700
   CO      CHEROKEE MD                     CO0121125      CWS         Groundwater                  23,000
   CO      CHEYENNE WELLS TOWN OF          CO0109006      CWS         Groundwater                     840
   CO      CLIFTON WD                      CO0139180      CWS         Surfacewater                 34,500
   CO      COLORADO CENTRE MD              CO0121140      CWS         Groundwater                   3,675
   CO      CONSOLIDATED MUTUAL MAPLE GROVE CO0130020      CWS         Surfacewater                 24,135

  CO       COPPER MOUNTAIN CONSOLIDATED MD CO0159030      CWS         Groundwater                   5,785

  CO       CRAGMONT WC                        CO0130187   CWS         Surfacewater                      45
  CO       CROWLEY COUNTY WA                  CO0113100   CWS         Groundwater                      530
  CO       CROWLEY COUNTY WS                  CO0113200   CWS         Groundwater                        0
  CO       DEL NORTE TOWN OF                  CO0153200   CWS         Groundwater                    1,800
  CO       DENVER WATER BOARD                 CO0116001   CWS         Surfacewater               1,287,000
  CO       DILLON TOWN OF                     CO0159035   CWS         Surfacewater                   3,254
  CO       DILLON VALLEY DISTRICT             CO0159040   CWS         Surfacewater                   3,063
  CO       EADS TOWN OF                       CO0131400   CWS         Groundwater                      622
  CO       EAGLE RIVER VILLAGE MHP            CO0119234   CWS         Groundwater                    1,500
  CO       EAGLE RIVER WSD                    CO0119802   CWS         Surfacewater                  19,351
  CO       EAGLES WATCH HOA                   CO0129233   CWS         Groundwater                       83
  CO       EAST CHERRY CREEK VALLEY WSD       CO0103035   CWS         Surfacewater purchased        66,130

  CO       EAST DILLON WD                     CO0159045   CWS         Groundwater under             2,501
                                                                      influence of
                                                                      surfacewater
  CO       EL RANCHO FLORIDA MD               CO0134210   CWS         Groundwater under               400
                                                                      influence of
                                                                      surfacewater
  CO       ELBERT CREEK WATER CO              CO0134840   CWS         Surfacewater                    750
  CO       ELEPHANT ROCK MHP                  CO0121200   CWS         Groundwater                      60
  CO       ELK MEADOWS ESTATES                CO0146592   CWS         Groundwater under               215
                                                                      influence of
                                                                      surfacewater
  CO       ENGLEWOOD CITY OF                  CO0103045   CWS         Surfacewater                 57,332
  CO       ERIE TOWN OF                       CO0162255   CWS         Surfacewater                 32,829
  CO       FALCON HEIGHTS POA                 CO0121240   CWS         Groundwater                     300
  CO       FARMERS KORNER MHP                 CO0159050   CWS         Groundwater                     159
  CO       FEDERAL HEIGHTS CITY OF            CO0101055   CWS         Surfacewater purchased       11,678

  CO       FLORENCE CITY OF                   CO0122500   CWS         Surfacewater                  7,495
  CO       FOREST HILLS MD RIVA CHASE         CO0130033   CWS         Groundwater                     400
  CO       FOREST LAKES MD                    CO0121360   CWS         Surfacewater                    294
  CO       FORREST GROVE ESTATES              CO0134330   CWS         Groundwater                      92



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Agency                                                                                        Served
 [State]
   CO    FOUNTAIN CITY OF                  CO0121275   CWS         Surfacewater purchased       25,130

 CO    FOWLER TOWN OF                      CO0145210   CWS         Groundwater under             1,169
                                                                   influence of
                                                                   surfacewater
 CO    FRASER TOWN OF                      CO0125288   CWS         Groundwater                   2,150
 CO    FRISCO TOWN OF                      CO0159055   CWS         Surfacewater                  4,495
 CO    FT COLLINS CITY OF                  CO0135291   CWS         Surfacewater                179,901
 CO    GENESEE WSD                         CO0130035   CWS         Surfacewater                  3,920
 CO    GOODMAN POA                         CO0134480   CWS         Groundwater                      96
 CO    GRANADA WA                          CO0150400   CWS         Groundwater                     378
 CO    GRAND JUNCTION CITY OF              CO0139321   CWS         Surfacewater                 26,000
 CO    GRAND LAKE TOWN OF                  CO0125322   CWS         Groundwater                   2,035
 CO    GREATROCK NORTH WSD                 CO0101063   CWS         Groundwater                     961
 CO    GREELEY CITY OF                     CO0162321   CWS         Surfacewater                108,000
 CO    GREEN ACRES MHP                     CO0119321   CWS         Groundwater under               125
                                                                   influence of
                                                                   surfacewater
 CO    GUNNISON CITY OF                    CO0126325   CWS         Groundwater                   9,610
 CO    HEARTWOOD CO OP HOUSING             CO0134338   CWS         Groundwater                      60
 CO    HIGHLAND LAKES WD                   CO0160200   CWS         Surfacewater purchased          875

 CO    HILLCREST VILLAGE MHP               CO0101085   CWS         Surfacewater purchased        1,505

 CO    HOMESTEAD WC                        CO0130050   CWS         Surfacewater                    958
 CO    HOT SULPHUR SPRINGS TOWN OF         CO0125352   CWS         Surfacewater                    687
 CO    HUGO TOWN OF                        CO0137010   CWS         Groundwater                     885
 CO    IDLEDALE WSD                        CO0130055   CWS         Groundwater under               350
                                                                   influence of
                                                                   surfacewater
 CO    ILIUM VALLEY WS                     CO0157250   CWS         Groundwater                     165
 CO    INDIAN HILLS WD                     CO0130065   CWS         Groundwater under             1,300
                                                                   influence of
                                                                   surfacewater
 CO    INVERNESS WSD                       CO0203012   CWS         Surfacewater purchased        8,140

 CO    JULESBURG TOWN OF                   CO0158001   CWS         Groundwater                   1,225
 CO    KEENESBURG TOWN OF                  CO0162438   CWS         Groundwater                   3,600
 CO    KEYSTONE RANCH                      CO0159065   CWS         Groundwater                     670
 CO    KINGDOM PARK COURT                  CO0159070   CWS         Groundwater                      70
 CO    LA JUNTA CITY OF                    CO0145420   CWS         Groundwater                   9,200
 CO    LAFAYETTE CITY OF                   CO0107473   CWS         Surfacewater                 28,700
 CO    LAKE DURANGO WA                     CO0134530   CWS         Surfacewater                  1,577
 CO    LOCHBUIE TOWN OF                    CO0162486   CWS         Groundwater                   6,830
 CO    MARBLE WC                           CO0226500   CWS         Groundwater                     113
 CO    MERIDIAN MD                         CO0218015   CWS         Surfacewater purchased       20,750




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Agency                                                                                       Served
 [State]
   CO    MILLIKEN TOWN OF                 CO0162511   CWS         Surfacewater purchased        9,160

 CO    MONUMENT TOWN OF                   CO0121475   CWS         Groundwater                   4,907
 CO    MOUNTAIN VIEW VILLAGE              CO0130095   CWS         Groundwater                      38
 CO    MOUNTAIN VIEW VILLAGE EAST         CO0133600   CWS         Groundwater                     226
 CO    MOUNTAIN VIEW VILLAGE WEST         CO0133150   CWS         Groundwater                     440
 CO    MOUNTAIN VILLAGE TOWN OF           CO0157400   CWS         Groundwater                   8,700
 CO    NORTHGLENN CITY OF                 CO0101115   CWS         Surfacewater                 48,927
 CO    OLDE STAGE WD                      CO0107582   CWS         Groundwater                     250
 CO    OLNEY SPRINGS TOWN OF              CO0113500   CWS         Groundwater                     399
 CO    PAGELS TP                          CO0144025   CWS         Groundwater                     300
 CO    PANORAMIC MESA SUBD                CO0123601   CWS         Surfacewater purchased           45

 CO    PARKER WSD                         CO0118040   CWS         Surfacewater                 59,781
 CO    PEAKS SHADOW LLC                   CO0121220   CWS         Groundwater                      67
 CO    PEETZ TOWN OF                      CO0138030   CWS         Groundwater                     295
 CO    PERRY PARK WSD                     CO0118045   CWS         Groundwater under             3,315
                                                                  influence of
                                                                  surfacewater
 CO    PINE BROOK HILLS WD                CO0107610   CWS         Surfacewater                  1,100
 CO    PONCHA SPRINGS TOWN OF             CO0108650   CWS         Groundwater                   1,467
 CO    PUEBLO BOARD OF WW                 CO0151500   CWS         Surfacewater                113,480
 CO    PUEBLO WEST MD                     CO0151650   CWS         Surfacewater                 30,000
 CO    RED SKY RANCH                      CO0119673   CWS         Surfacewater                    291
 CO    RICO TOWN OF                       CO0117700   CWS         Groundwater                     384
 CO    RIFLE CITY OF                      CO0123676   CWS         Surfacewater                  9,489
 CO    RIO GRANDE WATER COMPANY           CO0253860   CWS         Groundwater under               265
                                                                  influence of
                                                                  surfacewater
 CO    RIVERBEND CABINS                   CO0254676   CWS         Groundwater                      55
 CO    ROCKY FORD CITY OF                 CO0145600   CWS         Groundwater                   4,443
 CO    ROSEWOOD HILLS PROPERTY HOA        CO0160450   CWS         Surfacewater purchased          135

 CO    SAN LAZARO MFCTD HOUSING           CO0107701   CWS         Surfacewater                    844
       COMMUNITY
 CO    SECURITY WATER DISTRICT            CO0121775   CWS         Surfacewater purchased       20,000

 CO    SHAWNEE WCA                        CO0147090   CWS         Groundwater under                50
                                                                  influence of
                                                                  surfacewater
 CO    SILT TOWN OF                       CO0123710   CWS         Surfacewater                  3,536
 CO    SILVERTHORNE TOWN OF               CO0159095   CWS         Groundwater                   7,458
 CO    SLEEPY BEAR MHP                    CO0154715   CWS         Groundwater under               150
                                                                  influence of
                                                                  surfacewater
 CO    SOPRIS VILLAGE HOA                 CO0119718   CWS         Groundwater                     425
 CO    SOUTH ADAMS COUNTY WSD             CO0101140   CWS         Surfacewater purchased       68,603



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Agency                                                                                             Served
 [State]
   CO      SPRING VALLEY MUTUAL WA              CO0107719   CWS         Groundwater                     100
   CO      SPRINGFIELD TOWN OF                  CO0105500   CWS         Groundwater                   1,378
   CO      ST CHARLES MESA WD                   CO0151750   CWS         Surfacewater                  9,690
   CO      STERLING CITY OF                     CO0138045   CWS         Groundwater under            15,100
                                                                        influence of
                                                                        surfacewater
  CO       STONEGATE MD                         CO0118076   CWS         Surfacewater purchased       15,071

  CO       STRATMOOR HILLS WSD                  CO0121800   CWS         Surfacewater purchased        6,500

  CO       SUGAR CITY TOWN OF                   CO0113900   CWS         Groundwater                     240
  CO       TANGLEWOOD WS                        CO0159120   CWS         Groundwater                      60
  CO       TELLURIDE TOWN OF                    CO0157800   CWS         Surfacewater                  7,900
  CO       THORNTON CITY OF                     CO0101150   CWS         Surfacewater                155,700
  CO       TODD CREEK VILLAGE MD                CO0101157   CWS         Groundwater under             5,828
                                                                        influence of
                                                                        surfacewater
  CO       TREE HAUS MD                         CO0154755   CWS         Groundwater under               248
                                                                        influence of
                                                                        surfacewater
  CO       UPPER EAGLE REGIONAL WA              CO0119786   CWS         Surfacewater                 32,831
  CO       UTE WCD                              CO0139791   CWS         Surfacewater                 88,626
  CO       VALLEY MAINT CORP NO 1               CO0160550   CWS         Groundwater                     470
  CO       WALDEN TOWN OF                       CO0129834   CWS         Surfacewater                    584
  CO       WATTENBURG IMPROVEMENT ASSOC         CO0162833   CWS         Groundwater                     350
  CO       WESTBANK RANCH HOA                   CO0123838   CWS         Groundwater                     400
  CO       WHITE HAVEN MHP                      CO0154842   CWS         Groundwater                      56
  CO       WHITE HORSE SPRINGS WD               CO0149842   CWS         Groundwater                      70
  CO       WIDEFIELD WSD                        CO0121900   CWS         Surfacewater purchased       22,414

  CO       WIGWAM MUTUAL WC                     CO0121470   CWS         Groundwater under             1,300
                                                                        influence of
                                                                        surfacewater
  CO       WOODEN DEER HOA                      CO0123860   CWS         Groundwater                      38
  CO       YMCA ROCKIES WIND RIVER              CO0135883   CWS         Surfacewater purchased        3,730

  CT       AVON WATER CO                        CT0040011   CWS         Groundwater                  11,590
  CT       BRISTOL WATER DEPARTMENT             CT0170011   CWS         Surfacewater                 52,079
  CT       CTWC - BIRCHWOOD HEIGHTS             CT0780121   CWS         Groundwater                      76
  CT       CTWC - CORNFIELD POINT DIV.          CT1698051   CWS         Groundwater                      57
  CT       CTWC - COUNTRY MOBILE DIV.           CT0580021   CWS         Groundwater                     186
  CT       CTWC - COVENTRY HILLS DIV            CT0320091   CWS         Groundwater                     700
  CT       CTWC - CRYSTAL SYSTEM                CT0690011   CWS         Groundwater                   6,378
  CT       CTWC - FOREST HOMES DIVISION         CT0790011   CWS         Groundwater                     100
  CT       CTWC - GALLUP SYSTEM                 CT1090031   CWS         Groundwater                   2,538
  CT       CTWC - GENERAL WATER DIVISION        CT0320071   CWS         Groundwater                     306
  CT       CTWC - GREEN SPRINGS SYSTEM          CT0760021   CWS         Groundwater                     104


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Primacy                 PWS Name                 PWSID      PWS Type      Primary Source        Population
Agency                                                                                            Served
 [State]
   CT      CTWC - JENSENS BEECHWOOD SYSTEM     CT0700011   CWS         Groundwater                     750
   CT      CTWC - LEGEND HILL SYSTEM           CT0765101   CWS         Groundwater                   1,368
   CT      CTWC - LONDON PARK DIVISION         CT0670011   CWS         Groundwater                     221
   CT      CTWC - MARLBOROUGH GARDENS          CT0790031   CWS         Groundwater                     110
   CT      CTWC - NORTHERN REGION-LAKEVIEW     CT0320021   CWS         Groundwater                     472
           TERRACE
  CT       CTWC - NORTHERN REG-LLYNWOOD        CT0120021   CWS         Groundwater                     192
           SYSTEM
  CT       CTWC - NORTHERN REG-NATHAN HALE     CT0320031   CWS         Groundwater                     160
           SYSTEM
  CT       CTWC - NORTHERN REG-WESTERN         CT0473011   CWS         Surfacewater                 98,690
           SYSTEM
  CT       CTWC - REDWOOD FARMS DIVISION       CT0770041   CWS         Groundwater                     424
  CT       CTWC - SHORELINE REGION-GUILFORD    CT0608011   CWS         Surfacewater                 33,875
           SYSTEM
  CT       CTWC - THOMPSON SYSTEM              CT1410011   CWS         Groundwater                   1,070
  CT       CTWC - UNIONVILLE SYSTEM            CT0520011   CWS         Surfacewater purchased       14,693

  CT       CTWC - WELLSWOOD VILLAGE DIV        CT0672021   CWS         Groundwater                      60
  CT       CTWC - WESTCHESTER EAST             CT0427021   CWS         Groundwater                     153
  CT       NORWALK FIRST TAXING DISTRICT       CT1030011   CWS         Surfacewater                 40,256
  CT       SOUTH NORWALK ELECTRIC & WATER      CT1030021   CWS         Surfacewater                 42,000
  DE       ARTESIAN WATER COMPANY              DE0000552   CWS         Surfacewater purchased      231,114

  DE       NEWARK WATER DEPARTMENT          DE0000630      CWS         Surfacewater                 40,000
  DE       VEOLIA WATER DELAWARE, INC       DE0000564      CWS         Surfacewater                100,495
  FL       CITY OF TAMPA WATER DEPARTMENT   FL6290327      CWS         Surfacewater                717,000
  FL       DEFUNIAK SPRINGS W/S, CITY OF    FL1660196      CWS         Groundwater                  12,243
  FL       DELRAY BEACH PUBLIC WATER SYSTEM FL4500351      CWS         Groundwater                  69,754

  FL       EMERALD COAST UTILITIES AUTHORITY   FL1170525   CWS         Groundwater                 244,535
           (ECUA)
  FL       HIALEAH, CITY OF                    FL4130604   CWS         Groundwater                  238,000
  FL       IMMOKALEE WATER                     FL5110142   CWS         Groundwater                   25,838
  FL       LAUDERHILL, CITY OF                 FL4060787   CWS         Groundwater                   55,000
  FL       MDWASA - MAIN SYSTEM                FL4130871   CWS         Groundwater                2,300,000
  FL       MIAMI BEACH, CITY OF                FL4130901   CWS         Groundwater purchased        100,000

  FL       MIAMI INTL AIRPORT                  FL4134513   NTNCWS      Groundwater purchased        30,000

  FL       MIRAMAR (EAST ; WEST) PLANTS        FL4060925   CWS         Groundwater                 127,700
  FL       NICEVILLE, CITY OF                  FL1460147   CWS         Groundwater                  21,451
  FL       NORTH MIAMI, CITY OF                FL4130977   CWS         Groundwater                  88,349
  FL       OCALA, CITY OF (2 WTPS)             FL3420922   CWS         Groundwater                  64,878
  FL       PEOPLES WATER SERVICE COMPANY       FL1170527   CWS         Groundwater                  24,464
  FL       POMPANO BEACH, CITY OF              FL4061129   CWS         Groundwater                  84,000
  FL       STUART, CITY OF - WATER PLANT       FL4430259   CWS         Groundwater                  16,841



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Primacy              PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                        Served
 [State]
   FL    TAMPA BAY WATER -CYPRESS CREEK    FL6512230   CWS         Surfacewater purchased           25

  FL    TAMPA BAY WATER MORRIS BRIDGE      FL6296177   CWS         Surfacewater purchased           25
        PUMP STATI
  FL    TAMPA BAY WATER REG. SURFACE       FL6296139   CWS         Surfacewater                     25
        WATER PLANT
  FL    TAMPA BAY WATER/LAKE BRIDGE        FL6515234   CWS         Surfacewater purchased           25

 FL     ZEPHYRHILLS CITY OF                FL6512020   CWS         Groundwater                  29,117
 GA     AUGUSTA-RICHMOND CO WS             GA2450000   CWS         Surfacewater                204,000
 GA     BLAIRSVILLE                        GA2910000   CWS         Surfacewater                  4,035
 GA     CALHOUN                            GA1290000   CWS         Surfacewater                 49,088
 GA     CATOOSA UTIL. DIST. AUTHORITY      GA0470000   CWS         Surfacewater purchased       52,650

 GA     CENTERVILLE                        GA1530000   CWS         Groundwater                  11,459
 GA     CHATSWORTH                         GA2130000   CWS         Surfacewater                 28,262
 GA     CHATTOOGA COUNTY                   GA0550000   CWS         Groundwater                   7,800
 GA     CHICKAMAUGA                        GA2950000   CWS         Groundwater                   4,150
 GA     CLAYTON COUNTY WATER AUTHORITY     GA0630000   CWS         Surfacewater                298,374

 GA     COLUMBUS                           GA2150000   CWS         Surfacewater                229,000
 GA     DALTON UTILITIES                   GA3130000   CWS         Surfacewater                 99,315
 GA     DAWSONVILLE                        GA0850000   CWS         Surfacewater purchased        3,866

 GA     FLOYD COUNTY                       GA1150001   CWS         Surfacewater                 41,738
 GA     GRIFFIN                            GA2550000   CWS         Surfacewater                 23,643
 GA     LAFAYETTE                          GA2950002   CWS         Surfacewater purchased       18,177

 GA     LYERLY                             GA0550001   CWS         Surfacewater purchased        1,534

 GA     NOTLA WATER AUTHORITY              GA2910003   CWS         Surfacewater                 16,518
 GA     OAK STREET SUBDIVISION             GA1850022   CWS         Groundwater                     745
 GA     RINGGOLD                           GA0470002   CWS         Surfacewater                  2,743
 GA     SUMMERVILLE                        GA0550003   CWS         Surfacewater                  9,993
 GA     WALKER COUNTY WATER AUTHORITY      GA2950003   CWS         Surfacewater                 36,000
 GA     WHITE                              GA0150004   CWS         Groundwater                     900
 GA     WOODSTOCK                          GA0570003   CWS         Surfacewater purchased       10,070

 GA     YOUNG HARRIS                    GA2810001      CWS         Groundwater                   2,119
 IA     AMES WATER TREATMENT PLANT      IA8503039      CWS         Groundwater                  55,177
 IA     BURLINGTON MUNICIPAL WATERWORKS IA2909053      CWS         Surfacewater                 26,015

  IA    CARLISLE WATER SUPPLY              IA9113071   CWS         Groundwater                   4,160
  IA    CEDAR RAPIDS WATER DEPARTMENT      IA5715093   CWS         Groundwater under           141,420
                                                                   influence of
                                                                   surfacewater
  IA    CENTRAL CITY WATER SUPPLY          IA5720010   CWS         Groundwater                   1,264
  IA    CENTRAL WATER SYSTEM               IA3000099   CWS         Surfacewater                     25


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Primacy                PWS Name                 PWSID      PWS Type      Primary Source        Population
Agency                                                                                           Served
 [State]
   IA      COLFAX WATER SUPPLY              IA5009056     CWS         Groundwater                   2,305
   IA      CORNING MUNI WATER DEPARTMENT    IA0220075     CWS         Surfacewater                  1,564
   IA      COUNCIL BLUFFS WATER WORKS       IA7820080     CWS         Surfacewater                 64,447
   IA      COUNTRY ESTATES MOBILE HOME PARK IA6500600     CWS         Groundwater                      35

  IA       CRESTON WATER SUPPLY               IA8816089   CWS         Surfacewater                  7,536
  IA       DES MOINES WATER WORKS             IA7727031   CWS         Surfacewater                245,123
  IA       DUBUQUE WATER WORKS                IA3126052   CWS         Groundwater                  59,667
  IA       GREENFIELD MUNICIPAL UTILITIES     IA0140007   CWS         Surfacewater                  2,062
  IA       HARLAN MUNICIPAL UTILITIES         IA8335029   CWS         Groundwater                   5,003
  IA       HIAWATHA WATER DEPT                IA5735045   CWS         Groundwater                   7,183
  IA       IOWA CITY WATER DEPARTMENT         IA5225079   CWS         Surfacewater                 68,753
  IA       IOWA-AMERICAN WTR CO-DAVENPORT     IA8222001   CWS         Surfacewater                147,720

  IA       KAMMERER MOBILE HOME PARK          IA7000686   CWS         Groundwater                     100
  IA       KEOKUK MUNICIPAL WATER WORKS       IA5640019   CWS         Surfacewater                  9,900
  IA       LAKE RIDGE, INCORPORATED           IA5225315   CWS         Groundwater                   1,300
  IA       LAMONI MUNICIPAL UTILITIES         IA2740050   CWS         Surfacewater                  1,969
  IA       LEON WATER SUPPLY                  IA2742076   CWS         Surfacewater                  1,822
  IA       MANCHESTER WATER SUPPLY            IA2839021   CWS         Groundwater                   5,065
  IA       MCGREGOR WATER DEPT                IA2258012   CWS         Groundwater                     747
  IA       MILFORD MUNICIPAL UTILITIES        IA3050079   CWS         Surfacewater                  3,321
  IA       MISSOURI VALLEY WATER SUPPLY       IA4344088   CWS         Groundwater                   2,678
  IA       MONTEZUMA MUNI WATER SUPPLY        IA7950097   CWS         Surfacewater                  1,545
  IA       MUSCATINE POWER & WATER            IA7048001   CWS         Groundwater                  23,797
  IA       OSCEOLA WATER WORKS                IA2038038   CWS         Surfacewater                  5,415
  IA       OTTUMWA WATER WORKS                IA9083012   CWS         Surfacewater                 25,529
  IA       PANORA WATER WORKS                 IA3971026   CWS         Surfacewater                  1,091
  IA       RATHBUN REGIONAL WATER ASSN        IA0400900   CWS         Surfacewater                 32,000
           (RATHBUN)
  IA       ROCK VALLEY WATER SUPPLY           IA8482096   CWS         Groundwater                   4,059
  IA       SIOUX CITY WATER SUPPLY            IA9778054   CWS         Groundwater under            85,797
                                                                      influence of
                                                                      surfacewater
  IA       SIOUX RAPIDS WATER DEPARTMENT      IA1175056   CWS         Groundwater                     920
  IA       SPENCER MUNICIPAL WATER UTILITY    IA2171071   CWS         Groundwater                  11,325
  IA       SPIRIT LAKE WATERWORKS             IA3070078   CWS         Surfacewater                  5,960
  IA       TAMA WATER SUPPLY                  IA8670013   CWS         Groundwater                   3,130
  IA       WALL LAKE WATER SUPPLY             IA8166061   CWS         Groundwater                     755
  IA       WARREN WATER DISTRICT              IA9133701   CWS         SURFACE WATER                18,963
                                                                      PURCHASE
  IA       WATERLOO WATER WORKS               IA0790074   CWS         Groundwater                  69,193
  IA       WEST CENTRAL RWA-NISH SYSTEM       IA1400902   CWS         GROUNDWATER                   3,573
  IA       WEST DES MOINES WATER WORKS        IA7785007   CWS         Surfacewater purchased       68,723




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Primacy              PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                        Served
 [State]
   IA    WINTERSET MUNICIPAL WATERWORKS    IA6171029   CWS         Surfacewater                  5,353

  IA    XENIA RWD (BOONE)                  IA0844006   CWS         Purchased ground water        4,565
                                                                   under influence of
                                                                   surface water source

  IA    XENIA RWD (DES MOINES)             IA2573701   CWS         Surfacewater purchased        9,447

  IA    XENIA RWD (NORTH)                  IA9425701   CWS         GROUNDWATER                   5,980
  IA    XENIA RWD (WOODWARD)               IA2576705   CWS         SURFACE WATER                 3,362
                                                                   PURCHASED
  ID    APEX LIVING COMMUNITY              ID2290024   CWS         Groundwater                     150
  ID    BELLEVUE CITY OF                   ID5070004   CWS         Groundwater                   2,747
  ID    CAPITOL WATER CORP                 ID4010022   CWS         Groundwater                   9,000
  ID    COTTONWOOD WATER DEPT              ID2250013   CWS         Groundwater                     977
  ID    GARDEN CITY WATER AND SEWER        ID4010066   CWS         Groundwater                  12,500
        SYSTEM
  ID    GREENHILLS ESTATES 3               ID4010069   CWS         Groundwater                     200
  ID    HAMPTON HOMES HOME OWNERS ASSN     ID4010071   CWS         Groundwater                      95

  ID    IDAHO FALLS CITY OF                ID7100039   CWS         Groundwater                  63,000
  ID    KRIZVIEW PARK                      ID4010178   CWS         Groundwater                     120
  ID    MALAD AND HILTON WATER COMPANY     ID4010092   CWS         Groundwater                      70
        INC.
  ID    MOSCOW WATER DEPT                  ID2290023   CWS         Groundwater                  26,000
  ID    TWIN FALLS CITY OF                 ID5420058   CWS         Groundwater                  50,197
  ID    VEOLIA WATER IDAHO                 ID4010016   CWS         Surfacewater                250,000
  IL    ALBANY                             IL1950050   CWS         Groundwater                     950
  IL    ALGONQUIN                          IL1110050   CWS         Groundwater                  29,700
  IL    ANTIOCH                            IL0970050   CWS         Groundwater                  14,365
  IL    AQUA ILLINOIS-EASTWOOD MANOR       IL1115250   CWS         Groundwater                     728
  IL    AQUA ILLINOIS-KANKAKEE             IL0915030   CWS         Surfacewater                 80,275
  IL    ASHMORE                            IL0290050   CWS         Groundwater                     785
  IL    ATHENS                             IL1290050   CWS         Groundwater                   4,316
  IL    AURORA                             IL0894070   CWS         Surfacewater                200,000
  IL    BELVIDERE                          IL0070050   CWS         Groundwater                  25,070
  IL    BETHALTO                           IL1190150   CWS         Groundwater                  19,121
  IL    BILL-MAR HEIGHTS MHP               IL2015345   CWS         Groundwater                     240
  IL    BLOOMINGTON                        IL1130200   CWS         Surfacewater                 77,610
  IL    BLUFF LAKE LODGES, INC.            IL0970240   CWS         Groundwater                      24
  IL    BRADLEY HEIGHTS SUBDIVISION        IL2015050   CWS         Groundwater                      82
  IL    CANTON                             IL0570250   CWS         Groundwater under            14,700
                                                                   influence of
                                                                   surfacewater
  IL    CARTHAGE                           IL0670250   CWS         Surfacewater purchased        2,605

  IL    CARY                               IL1110100   CWS         Groundwater                  18,271



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Primacy              PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                        Served
 [State]
   IL    CHANNAHON                         IL1970200   CWS         Groundwater                  12,833
   IL    CHAPIN                            IL1370050   CWS         Purchased groundwater           592
                                                                   under influence of
                                                                   surfacewater source

  IL    CHERRY                             IL0110200   CWS         Groundwater                     490
  IL    CHESTER                            IL1570100   CWS         Surfacewater                  8,702
  IL    COLLEGE VIEW SUBDIVISION           IL1975400   CWS         Groundwater                     570
  IL    COLLINSVILLE                       IL1194280   CWS         Groundwater                  29,500
  IL    CREST HILL                         IL1970250   CWS         Groundwater                  21,169
  IL    CREVE COEUR                        IL1790100   CWS         Groundwater                   4,934
  IL    CRISWELL COURT MHP                 IL1975105   CWS         Groundwater                      94
  IL    CRYSTAL LAKE                       IL1110150   CWS         Groundwater                  40,635
  IL    DAVIS                              IL1770150   CWS         Groundwater                     700
  IL    DECATUR                            IL1150150   CWS         Surfacewater                 76,122
  IL    DEER CREEK                         IL1794320   CWS         Groundwater                     704
  IL    DUPO                               IL1630350   CWS         Groundwater                   5,472
  IL    EAST ALTON                         IL1190200   CWS         Groundwater                   5,786
  IL    EAST DUBUQUE                       IL0850100   CWS         Groundwater                   1,700
  IL    EAST MOLINE                        IL1610250   CWS         Surfacewater                 20,645
  IL    EAST MORELAND WTR SERVICE ASSN     IL1975600   CWS         Groundwater                     952
  IL    EAST MORELAND WTR SERVICE ASSN     IL1975600   CWS         Ground water                    952
  IL    EAST PEORIA                        IL1790200   CWS         Groundwater                  23,140
  IL    EAST PEORIA-VALLEY VIEW KNOLLS 4   IL1797010   CWS         Groundwater                     230
        AND 6
  IL    EDWARDSVILLE                       IL1190250   CWS         Groundwater                  26,808
  IL    ELDRED                             IL0610100   CWS         Groundwater                     211
  IL    ELGIN                              IL0894380   CWS         Surfacewater                113,911
  IL    EVANSTON                           IL0310810   CWS         Surfacewater                 75,570
  IL    FAIRMOUNT                          IL1830250   CWS         Groundwater                     690
  IL    FOX LAKE                           IL0970200   CWS         Groundwater                  10,050
  IL    FOX RIVER GROVE                    IL1110200   CWS         Groundwater                   4,702
  IL    FREEPORT                           IL1770200   CWS         Groundwater                  25,648
  IL    GALENA                             IL0850200   CWS         Groundwater                   3,308
  IL    GALESBURG                          IL0950200   CWS         Groundwater                  31,745
  IL    GARDEN STREET IMPROVEMENT          IL1975376   CWS         Groundwater                      54
        ASSOCIATION
  IL    GERMANTOWN                         IL0270350   CWS         Surfacewater purchased        1,481

  IL    GLENCOE                            IL0310990   CWS         Surfacewater                  8,723
  IL    HAMILTON                           IL0670400   CWS         Surfacewater                  2,951
  IL    HARBOR LITES-PISTAKEE FSHG CL      IL1110011   CWS         Groundwater                     132
  IL    HAWTHORN ESTATES SUBDIVISION       IL0630030   CWS         Groundwater                      49
  IL    HEBRON                             IL1110300   CWS         Groundwater                   1,200
  IL    HEYWORTH                           IL1130650   CWS         Groundwater                   2,800



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Primacy                 PWS Name                 PWSID      PWS Type      Primary Source        Population
Agency                                                                                            Served
 [State]
   IL      HILLSDALE ESTATES, LLC              IL1615530   CWS         Groundwater                      50
   IL      HUME                                IL0450150   CWS         Groundwater                     382
   IL      IL AMERICAN-ALTON                   IL1195150   CWS         Surfacewater                 46,127
   IL      IL AMERICAN-CAIRO                   IL0035030   CWS         Groundwater                   1,810
   IL      IL AMERICAN-EAST ST LOUIS           IL1635040   CWS         Surfacewater                139,879
   IL      IL AMERICAN-GRANITE CITY            IL1195030   CWS         Surfacewater                 37,639
   IL      IL AMERICAN-HARDIN                  IL0130200   CWS         Groundwater                     801
   IL      IL AMERICAN-LINCOLN                 IL1075030   CWS         Groundwater                  15,200
   IL      IL AMERICAN-PEKIN                   IL1795040   CWS         Groundwater                  35,000
   IL      IL AMERICAN-PEORIA                  IL1435030   CWS         Surfacewater                121,478
   IL      IL AMERICAN-ROSICLARE               IL0690160   CWS         Groundwater under             1,387
                                                                       influence of
                                                                       surfacewater
  IL       INGALLS PARK SUBDIVISION            IL1975880   CWS         Groundwater                     744
  IL       JACKSONVILLE                        IL1370200   CWS         Surfacewater                 19,446
  IL       JERSEY RWC                          IL0835300   CWS         Surfacewater purchased       12,750

  IL       JONS MHP                          IL0990020     CWS         Groundwater                      92
  IL       LA SALLE                          IL0990300     CWS         Groundwater                   9,700
  IL       LAKE COUNTY PUBLIC WATER DISTRICT IL0975790     CWS         Surfacewater                      1

  IL       LAKE FOREST                         IL0970800   CWS         Surfacewater                 19,367
  IL       LAKE IN THE HILLS                   IL1110400   CWS         Groundwater                  29,228
  IL       LAKE SHANNON                        IL0910020   CWS         Surfacewater                    500
  IL       LOCKPORT                            IL1970500   CWS         Groundwater                  19,887
  IL       LONDON MILLS                        IL0574620   CWS         Groundwater                     500
  IL       MANCUSO VILLAGE PARK MHP            IL2015545   CWS         Groundwater                     537
  IL       MARENGO                             IL1110650   CWS         Groundwater                   7,572
  IL       MARQUETTE HEIGHTS                   IL1790400   CWS         Groundwater                   2,974
  IL       MCHENRY                             IL1110600   CWS         Groundwater                  22,020
  IL       MILL CREEK WATER RECLAMATION        IL0890120   CWS         Groundwater                   8,000
           DISTRICT
  IL       MINOOKA                             IL0630550   CWS         Groundwater                  11,307
  IL       MOLINE                              IL1610450   CWS         Surfacewater                 44,500
  IL       MOMENCE                             IL0910650   CWS         Groundwater                   3,180
  IL       MOUNT CARMEL                        IL1850200   CWS         Groundwater under             7,284
                                                                       influence of
                                                                       surfacewater
  IL       MOUNT MORRIS                        IL1410350   CWS         Groundwater                   3,000
  IL       MOUNT MORRIS ESTATES MHP            IL1415185   CWS         Groundwater                     395
  IL       MOUNT VERNON ASSOCIATION INC        IL0855100   CWS         Groundwater                     491
  IL       NAUVOO                              IL0670500   CWS         Surfacewater                  1,058
  IL       NEW HOLLAND                         IL1070450   CWS         Groundwater                     350
  IL       NORMAL                              IL1130900   CWS         Groundwater                  45,841
  IL       NORTH CHICAGO                       IL0971250   CWS         Surfacewater                 16,813
  IL       NORTH PARK PWD                      IL2015500   CWS         Groundwater                  35,518


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Primacy                 PWS Name                 PWSID      PWS Type      Primary Source        Population
Agency                                                                                            Served
 [State]
   IL      NORTH PEKIN                        IL1790550    CWS         Groundwater                   1,573
   IL      NORTHBROOK                         IL0312070    CWS         Surfacewater                 33,170
   IL      OQUAWKA                            IL0710300    CWS         Groundwater                   1,500
   IL      PLEASANT VALLEY PWD                IL1435470    CWS         Groundwater                   4,584
   IL      PRAIRIE PATH WATER COMPANY-        IL1830600    CWS         Surfacewater                  1,595
           OAKWOOD
  IL       PRAIRIE PATH WATER CO-WHISPERING   IL1115700    CWS         Groundwater                   8,240
           HILLS
  IL       QUINCY                             IL0010650    CWS         Surfacewater                 45,000
  IL       RAINBOW LANE MHP                   IL2015645    CWS         Groundwater                      83
  IL       RICHMOND                           IL1110750    CWS         Groundwater                   1,874
  IL       RIVER EAST VILLAGE MHP             IL1795495    CWS         Groundwater                      65
  IL       ROCK ISLAND                        IL1610650    CWS         Surfacewater                 39,018
  IL       ROCKDALE                           IL1970850    CWS         Groundwater                   1,888
  IL       ROCKFORD                           IL2010300    CWS         Groundwater                 147,051
  IL       ROCKTON                            IL2010350    CWS         Groundwater                   7,685
  IL       ROMEOVILLE                         IL1970900    CWS         Groundwater                  50,244
  IL       SANDWICH                           IL0374850    CWS         Groundwater                   7,421
  IL       SAYBROOK                           IL1130950    CWS         Groundwater                     693
  IL       SIGEL                              IL1730350    CWS         Groundwater                     386
  IL       SOUTH ELGIN                        IL0890800    CWS         Groundwater                  22,549
  IL       ST CHARLES                         IL0894830    CWS         Groundwater                  33,264
  IL       SUGAR GROVE                        IL0890850    CWS         Groundwater                  11,243
  IL       SUNNYLAND SUBDIVISION              IL1977730    CWS         Groundwater                     300
  IL       TAMPICO                            IL1950550    CWS         Groundwater                     750
  IL       UNION-YORK WATER DISTRICT          IL0235400    CWS         Groundwater                     501
  IL       VIENNA                             IL0870350    CWS         Surfacewater                  1,697
  IL       WARSAW                             IL0670650    CWS         Surfacewater                  1,607
  IL       WAUKEGAN                           IL0971900    CWS         Surfacewater                 87,157
  IL       WILMETTE                           IL0313300    CWS         Surfacewater                 27,650
  IL       WILMINGTON                         IL1971100    CWS         Surfacewater                  5,757
  IL       WINDMILL ESTATES                   IL0910070    CWS         Groundwater                      73
  IL       WINNETKA                           IL0313330    CWS         Surfacewater                 12,385
  IL       WOLF RIDGE WELL CORPORATION        IL0735120    CWS         Groundwater                      88
  IL       WOOD DALE ESTATES                  IL0437245    CWS         Surfacewater purchased          145

  IL       WOOD RIVER                         IL1191150    CWS         Groundwater                  10,464
  IN       ADVANCE WATER WORKS                IN5206001    CWS         Groundwater                     500
  IN       AND-TRO WATER AUTHORITY - DISTRICT IN5262001    CWS         Groundwater purchased         2,763
           1
  IN       ANGOLA WATER DEPARTMENT            IN5276001    CWS         Groundwater                   8,612
  IN       ATTICA WATER UTILITY               IN5223001    CWS         Groundwater                   3,147
  IN       AURORA UTILITIES                   IN5215001    CWS         Groundwater                   6,415
  IN       B&B WATER PROJECT, INC.            IN5253001    CWS         Surfacewater purchased        5,075




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Primacy                 PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                           Served
 [State]
   IN      BATESVILLE WATER UTILITY           IN5269001   CWS         Surfacewater                  7,200
   IN      BICKNELL MUNICIPAL UTILITIES       IN5242001   CWS         Groundwater                   4,064
   IN      BROOKVILLE WATER WORKS             IN5224001   CWS         Groundwater                   2,800
   IN      CANAAN UTILITIES                   IN5239001   CWS         Groundwater purchased         4,428

  IN       CHESTERFIELD WATER DEPARTMENT      IN5248004   CWS         Groundwater                   2,800
  IN       CLARKS HILL WATER WORKS            IN5279006   CWS         Groundwater                     660
  IN       CLINTON WATER UTILITY              IN5283004   CWS         Groundwater                   4,641
  IN       CRESCENT HILLS MOBILE HOME PARK    IN5209011   CWS         Groundwater purchased           122

  IN       CUII - WATER SERVICE CO.           IN5237002   CWS         Groundwater                     654
  IN       CULVERS HILL - NORTH WEBSTER       IN5243005   CWS         Groundwater                      75
  IN       DANVILLE WATER WORKS               IN5232004   CWS         Groundwater                  10,000
  IN       DECATUR CO. WATER CORP.            IN5216008   CWS         Surfacewater purchased        3,440

  IN       DELAWARE ACRES MHC                 IN5218005   CWS         Groundwater                     126
  IN       DELPHI WATER WORKS                 IN5208002   CWS         Groundwater                   3,200
  IN       DUBOIS WATER UTILITIES             IN5219002   CWS         Surfacewater purchased        9,078

  IN       DYER WATER DEPARTMENT              IN5245011   CWS         Surfacewater purchased       16,800

  IN       EDINBURGH WATER UTILITY            IN5241002   CWS         Groundwater                   4,480
  IN       EDWARDSPORT WATER UTILITY          IN5242005   CWS         Groundwater                     488
  IN       ELKHART MOBILE HOME PARK           IN5220007   CWS         Groundwater                      96
  IN       EVERTON WATER CORPORATION          IN5221002   CWS         Groundwater                   1,800
  IN       FAYETTE TOWNSHIP WATER ASSN.       IN5284002   CWS         Groundwater                   2,000
  IN       FRANCESVILLE WATER DEPARTMENT      IN5266001   CWS         Groundwater                     969
  IN       HARTFORD CITY WATER WORKS          IN5205002   CWS         Groundwater                   5,600
  IN       HAUBSTADT WATER DEPARTMENT         IN5226003   CWS         Surfacewater purchased        2,175

  IN       INDIANA AMERICAN WATER -           IN5210003   CWS         Groundwater                   7,430
           CHARLESTOWN
  IN       INDIANA AMERICAN WATER -           IN5277003   CWS         Groundwater purchased         1,750
           FARMERSBURG
  IN       INDIANA AMERICAN WATER - MECCA     IN5261004   CWS         Groundwater                     763
  IN       KENT WATER - HANOVER COLLEGE       IN5239002   CWS         Groundwater                      25
  IN       KINGMAN WATER WORKS                IN5223004   CWS         Groundwater                     510
  IN       LAKESIDE MANOR MOBILE HOME PARK    IN5244002   CWS         Groundwater                     215

  IN       LAKEVILLE WATER DEPARTMENT         IN5271008   CWS         Ground water                    750
  IN       LEAVENWORTH WATER COMPANY          IN5213004   CWS         Groundwater                     233
  IN       MORGAN COUNTY RURAL WATER          IN5255010   CWS         Groundwater                   8,800
           COMPANY
  IN       NORTH MANCHESTER WATER             IN5285009   CWS         Groundwater                   6,100
           DEPARTMENT
  IN       NORTH SALEM WATER CORPORATION      IN5232017   CWS         Groundwater                     504
  IN       OXFORD WATER UTILITY               IN5204005   CWS         Groundwater                   1,200



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Primacy                 PWS Name                   PWSID      PWS Type      Primary Source        Population
Agency                                                                                              Served
 [State]
   IN      PETERSBURG WATER COMPANY              IN5263002   CWS         Groundwater                   4,018
   IN      RENSSELAER WATER DEPARTMENT           IN5237005   CWS         Groundwater                   5,707
   IN      RIVERSIDE COMMUNITY                   IN5268012   CWS         Groundwater                      35
   IN      ROACHDALE WATER WORKS                 IN5267007   CWS         Groundwater                     980
   IN      RURAL MEMBERSHIP WATER CORP. OF       IN5210009   CWS         Groundwater purchased         8,057
           CLARK CO
  IN       RYKERS RIDGE WATER COMPANY            IN5239007   CWS         Groundwater purchased         2,000

  IN       SHARPSVILLE WATER UTILITY             IN5280003   CWS         Groundwater                     607
  IN       SISTERS OF PROVIDENCE/ST. MARY OF     IN5284020   CWS         Groundwater                     900
           WOODS
  IN       SOUTH BEND WATER WORKS                IN5271014   CWS         Groundwater                 115,000
  IN       SULLIVAN-VIGO RURAL WATER CORP.       IN5284021   CWS         Groundwater purchased         2,595

  IN       SUNMAN WATER WORKS                    IN5269005   CWS         Groundwater                   1,058
  IN       TENNYSON WATER UTILITY                IN5287007   CWS         Surfacewater purchased        4,158

  IN       TERRACE HILLS MHC                     IN5212010   CWS         Groundwater                      26
  IN       TRI-COUNTY CONSERVANCY DISTRICT       IN5255022   CWS         Groundwater purchased         2,340

  IN       TROY TOWNSHIP WATER ASSOCIATION       IN5262006   CWS         Groundwater purchased           700

  IN       VEEDERSBURG MUNICIPAL WATER           IN5223005   CWS         Groundwater                   2,299
           SUPPLY
  IN       VEVAY WATER DEPARTMENT                IN5278002   CWS         Groundwater                   1,750
  IN       WARREN MUNICIPAL WATER WORKS          IN5235012   CWS         Groundwater                   1,237
  IN       WEST TERRE HAUTE WATER                IN5284015   CWS         Groundwater                   4,075
  IN       WESTPORT WATER COMPANY                IN5216005   CWS         Surfacewater                  1,610
  KS       ARKANSAS CITY, CITY OF                KS2003509   CWS         Groundwater                  11,929
  KS       ATCHISON, CITY OF                     KS2000506   CWS         Surfacewater                 10,694
  KS       AUGUSTA, CITY OF                      KS2001503   CWS         Surfacewater                  9,267
  KS       BARBER CO RWD 2                       KS2000704   CWS         Groundwater                     245
  KS       BURLINGTON, CITY OF                   KS2003101   CWS         Surfacewater                  2,641
  KS       BURRTON, CITY OF                      KS2007903   CWS         Groundwater                     854
  KS       BUTLER CO RWD 5                       KS2001526   CWS         Surfacewater purchased        5,450

  KS       CLAY CENTER, CITY OF                  KS2002701   CWS         Groundwater                   4,138
  KS       COFFEYVILLE, CITY OF                  KS2012513   CWS         Surfacewater                  8,847
  KS       COLBY, CITY OF                        KS2019302   CWS         Groundwater                   5,516
  KS       COLDWATER, CITY OF                    KS2003304   CWS         Groundwater                     672
  KS       DOUGLAS CO RWD 3                      KS2004507   CWS         Surfacewater                  4,663
  KS       ELLSWORTH CO RWD 1                    KS2005309   CWS         Surfacewater                  2,626
  KS       FRANKLIN CO RWD 5                     KS2005908   CWS         Groundwater                     855
  KS       FRANKLIN CO RWD 6                     KS2005909   CWS         Surfacewater                  2,960
  KS       FREDONIA, CITY OF                     KS2020513   CWS         Surfacewater purchased        2,111

  KS       GARDEN CITY, CITY OF                  KS2005511   CWS         Groundwater                  26,408


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Primacy                PWS Name                 PWSID      PWS Type      Primary Source        Population
Agency                                                                                           Served
 [State]
   KS      GREAT BEND, CITY OF                KS2000911   CWS         Groundwater                  14,580
   KS      HAYS, CITY OF                      KS2005111   CWS         Groundwater                  20,795
   KS      JOHNSON CITY, CITY OF              KS2018702   CWS         Groundwater                   1,343
   KS      LEAVENWORTH WATER DEPARTMENT       KS2010317   CWS         Surfacewater                 38,757
   KS      NEWTON, CITY OF                    KS2007905   CWS         Groundwater                  18,433
   KS      PARSONS, CITY OF                   KS2009914   CWS         Surfacewater                  9,479
   KS      PUBLIC WHOLESALE WSD 4             KS2009918   CWS         Surfacewater                     45
   KS      RANTOUL, CITY OF                   KS2005902   CWS         Groundwater                     168
   KS      SABETHA, CITY OF                   KS2013101   CWS         Surfacewater                  2,519
   KS      SALINA, CITY OF                    KS2016914   CWS         Surfacewater                 46,481
   KS      SALINE CO RWD 3                    KS2016912   CWS         Surfacewater purchased          843

  KS       ST JOHN, CITY OF                   KS2018502   CWS         Groundwater                   1,176
  KS       TURON, CITY OF                     KS2015503   CWS         Groundwater                     304
  KS       UTICA, CITY OF                     KS2013502   CWS         Groundwater                     101
  KY       ASHLAND WATER WORKS                KY0100011   CWS         Surfacewater                 44,402
  KY       AUGUSTA REGIONAL WTP               KY0120013   CWS         Groundwater                   1,690
  KY       BARBOURVILLE UTILITIES             KY0610016   CWS         Surfacewater                 16,420
  KY       BARLOW WATER SYSTEM                KY0040020   CWS         Groundwater                   1,040
  KY       BRANDENBURG WATER WORKS            KY0820041   CWS         Groundwater                   2,880
  KY       CARROLL CO WATER DISTRICT #1       KY0210066   CWS         Groundwater                   5,934
  KY       CAVE RUN REGIONAL WT COMM          KY0831010   CWS         Surfacewater                     25
  KY       CAVELAND ENVIRONMENTAL             KY0050344   CWS         Surfacewater purchased        3,264
           AUTHORITY, INC.
  KY       CENTRAL CITY WATER & SEWER         KY0890071   CWS         Surfacewater                  5,601
  KY       CITY OF SOUTH SHORE WATER WORKS    KY0450410   CWS         Groundwater                   6,798
  KY       CYNTHIANA MUNICIPAL WATER WORKS    KY0490096   CWS         Surfacewater                  7,263

  KY       EDDYVILLE WATER DEPARTMENT         KY0720113   CWS         SURFACE WATER                 3,843
  KY       FALMOUTH WATER DEPARTMENT          KY0960126   CWS         Surfacewater                  3,861
  KY       FRANKFORT PLANT BOARD              KY0370143   CWS         Surfacewater                 52,153
  KY       GEORGETOWN MUNICIPAL WATER         KY1050157   CWS         Surfacewater                 35,714
           SERVICE
  KY       GRAYSON COUNTY WATER DISTRICT      KY0430616   CWS         SURFACE WATER                20,033
  KY       GREENUP WATER SYSTEM               KY0450169   CWS         Surfacewater                 12,193
  KY       HARDIN COUNTY WATER DISTRICT #2    KY0470175   CWS         Surfacewater                 76,326
  KY       HENDERSON WATER UTILITY/NORTH      KY0510188   CWS         Surfacewater                 31,705
  KY       JACKSON MUNICIPAL WATER WORKS      KY0130208   CWS         Surfacewater                  4,704
  KY       KENTUCKY-AMERICAN WATER CO         KY0340250   CWS         Surfacewater                299,501
  KY       LANCASTER WATER WORKS              KY0400233   CWS         Surfacewater                  4,573
  KY       LAUREL CO WATER DISTRICT #2        KY0630238   CWS         Surfacewater                 17,520
  KY       LOUISVILLE WATER COMPANY           KY0560258   CWS         Surfacewater                764,769
  KY       LYON COUNTY WATER DISTRICT         KY0720933   CWS         SURFACE WATER                 6,744
                                                                      PURCHASED
  KY       MADISONVILLE LIGHT & WATER         KY0540936   CWS         Surfacewater                 28,102



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Primacy              PWS Name               PWSID      PWS Type         Primary Source        Population
Agency                                                                                          Served
 [State]
   KY    MAYSVILLE UTILITY COMMISSION     KY0810275   CWS            Surfacewater                 11,263
   KY    MORGANFIELD WATER WORKS          KY1130293   CWS            Surfacewater                  5,170
   KY    NORTHERN KENTUCKY WATER DISTRICT KY0590220   CWS            Surfacewater                199,460

 KY    OLDHAM COUNTY WATER DISTRICT       KY0930333   CWS            GROUNDWATER                  19,840
 KY    OWENSBORO MUNICIPAL UTILITIES      KY0300336   CWS            Groundwater                  60,651
 KY    PADUCAH WATER WORKS                KY0730533   CWS            Surfacewater                 62,937
 KY    PENDLETON CO WATER DISTRICT        KY0960499   CWS            Surfacewater purchased        3,713
       #1/SOUTH
 KY    PIKEVILLE WATER DEPARTMENT         KY0980350   CWS            Surfacewater                  9,638
 KY    RUSSELL WATER COMPANY              KY0450376   CWS            Surfacewater                  6,810
 KY    SOUTHERN WATER & SEWER DISTRICT    KY0360026   CWS            Surfacewater                 14,351
 KY    STURGIS WATER WORKS                KY1130422   CWS            Surfacewater                  3,490
 KY    VANCEBURG ELECTRIC PLANT BOARD     KY0680438   CWS            Surfacewater purchased        6,921

 KY    WINCHESTER MUNICIPAL UTILITIES     KY0250473   CWS            Surfacewater                 29,823
 KY    WORTHINGTON MUNICIPAL WATER        KY0450478   CWS            Groundwater                   1,673
       WORKS
 LA    ASSUMPTION PARISH WW DISTRICT 1    LA1007001   CWS            Surfacewater                 22,862
 LA    BERWICK BAYOU VISTA WW             LA1101002   CWS            Surfacewater                      0
       COMMISSION
 LA    CITY OF MANY WATER SYSTEM          LA1085016   CWS            Surfacewater                  4,575
 LA    DALCOUR WATERWORKS DISTRICT        LA1075004   CWS            Surfacewater                  1,209
 LA    DESOTO PARISH WATER WORKS          LA1031030   CWS            Surfacewater                  7,455
       DISTRICT 1
 LA    E JEFFERSON WW DISTRICT 1          LA1051001   CWS             Surfacewater               275,163
 LA    East Baton Rouge Parish            LA0000000   System not
                                                      found in
                                                      SDWIS,
                                                      additional
                                                      search could
                                                      not find system
                                                      name.
 LA    LOGANSPORT WATER SYSTEM            LA1031008   CWS             Surfacewater                 2,550
 LA    MANSFIELD WATER SYSTEM             LA1031009   CWS             Surfacewater                 6,450
 LA    MORGAN CITY WATER SYSTEM           LA1101005   CWS             Surfacewater                12,703
 LA    NATCHITOCHES WATER SYSTEM          LA1069007   CWS             Surfacewater                27,111
 LA    PATTERSON WATER SYSTEM             LA1101006   CWS             Surfacewater                 7,254
 LA    PENDLETON WATER ASSOCIATION        LA1085046   CWS             Surfacewater                 2,430
 LA    PORT SULPHUR WATER DISTRICT        LA1075006   CWS             Surfacewater                 9,222
 LA    SOUTH TOLEDO BEND WATER DISTRICT   LA1085055   CWS             Surfacewater                 5,943

 LA    ST CHARLES PARISH DEPT OF          LA1089001   CWS            Surfacewater                 52,879
       WATERWORKS
 LA    ST JAMES WATER DISTRICT 1          LA1093004   CWS            Surfacewater                  6,120
 LA    ST JOHN WATER DISTRICT 1           LA1095003   CWS            Surfacewater                 12,577
 LA    W JEFFERSON WW DISTRICT 2          LA1051004   CWS            Surfacewater                188,770



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Primacy                PWS Name               PWSID      PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
   LA    WATER & SEWER COMMISSION 4 OF ST   LA1101011   CWS         Surfacewater                  9,709
         MARY
   MA    122 MAIN STREET                    MA1053033   CWS         Groundwater                      30
   MA    400 DUNSTABLE ROAD (PINE KNOLL)    MA3301027   CWS         Groundwater                      30
   MA    ABINGTON/ROCKLAND JOINT WTR.       MA4001000   CWS         Surfacewater                 33,538
         WORKS
   MA    ACTON WATER SUPPLY DISTRICT        MA2002000   CWS         Groundwater under            19,915
                                                                    influence of
                                                                    surfacewater
 MA    ACUSHNET MANUFACTURED HOMES          MA4003004   CWS         Groundwater                      85
 MA    AGAWAM SPRINGS WATER COMPANY         MA4239060   CWS         Groundwater                   1,535
 MA    AMESBURY DPW WATER DIV.              MA3007000   CWS         Surfacewater                 17,366
 MA    AMHERST DPW WATER DIVISION           MA1008000   CWS         Surfacewater                 39,263
 MA    ANDOVER WATER DEPT                   MA3009000   CWS         Surfacewater                 36,569
 MA    ANDREWS FARM WATER CO.,INC.          MA3038020   CWS         Groundwater                     145
 MA    APPLEWOOD COMMUNITY                  MA2037013   CWS         Groundwater                     500
       CORPORATION
 MA    AQUARION WATER CO. (SPRINGDALE       MA3078008   CWS         Groundwater                     126
       FARMS)
 MA    AQUARION WATER COMPANY               MA4239045   CWS         Groundwater                   2,244
 MA    AQUARION WATER COMPANY (DOVER)       MA3078006   CWS         Groundwater                   1,809
 MA    AQUARION WATER COMPANY OXFORD        MA2226000   CWS         Groundwater                   6,845
 MA    AQUARION WATER COMPANY,              MA2186000   CWS         Surfacewater purchased        9,449
       MILLBURY
 MA    ARBOR GLEN CONDOMINIUMS              MA2286026   CWS         Groundwater                     132
 MA    ASH/WIN JOINT WATER AUTHORITY        MA2011004   CWS         Surfacewater                 11,394
 MA    ASHLAND WATER AND SEWER DEPT.        MA3014000   CWS         Surfacewater purchased       18,832

 MA    ASHMERE WATER SERVICE                MA1132008   CWS         Groundwater                      66
 MA    ATHOL DPW WATER DIVISION             MA1015000   CWS         Groundwater                  10,332
 MA    ATTLEBORO WATER DEPT                 MA4016000   CWS         Surfacewater                 46,461
 MA    AUBURN WATER DISTRICT                MA2017000   CWS         Surfacewater purchased       11,763

 MA    AYER DPW WATER DIVISION              MA2019000   CWS         Groundwater                   8,479
 MA    AYER ROAD PROPERTIES LLC             MA2125021   CWS         Groundwater                     150
 MA    BACHELOR KNOLLS                      MA1111000   CWS         Groundwater                     101
 MA    BARNSTABLE FIRE DISTRICT             MA4020000   CWS         Groundwater                   5,400
 MA    BARRE MHP/WATERWHEEL VILLAGE         MA2021001   CWS         Groundwater                     114
 MA    BARRE WATER DEPARTMENT               MA2021000   CWS         Groundwater                   4,000
 MA    BEDFORD WATER DEPT.                  MA3023000   CWS         Surfacewater purchased       14,383

 MA    BEECHWOOD POINT CONDOS          MA4172035        CWS         Groundwater                     104
 MA    BELCHERTOWN WATER DISTRICT      MA1024000        CWS         Groundwater                   3,450
 MA    BELLINGHAM DPW WATER SEWER DIV. MA2025000        CWS         Groundwater                  15,575

 MA    BENCHMARK CONDOMINIUMS               MA3301008   CWS         Groundwater                      60
 MA    BERKSHIRE REHAB SKILLED CARE CTR     MA1260001   CWS         Groundwater                     100



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Primacy                PWS Name                 PWSID      PWS Type      Primary Source        Population
Agency                                                                                           Served
 [State]
   MA      BERKSHIRE SCHOOL                   MA1267001   CWS         Groundwater                     475
   MA      BERNARDSTON FIRE WATER DIST        MA1029000   CWS         Groundwater                   1,461
   MA      BILLERICA WATER WORKS              MA3031000   CWS         Surfacewater                 42,119
   MA      BISHOPS LANDING CONDOMINIUMS       MA4285007   CWS         Groundwater                      64
   MA      BISSELVILLE ESTATE                 MA1132009   CWS         Groundwater                      74
   MA      BLACKSTONE WATER DEPARTMENT        MA2032000   CWS         Groundwater                   9,213
   MA      BLANDFORD WATER DEPT               MA1033000   CWS         Surfacewater                    238
   MA      BOLTON COUNTRY MANOR               MA2034027   CWS         Groundwater                      60
   MA      BONDSVILLE FIRE AND WATER DISTRICT MA1227002   CWS         Groundwater                   1,429

  MA       BOURNE WATER DISTRICT              MA4036000   CWS         Groundwater                  22,500
  MA       BOYLSTON WATER DISTRICT            MA2039000   CWS         Groundwater                   3,182
  MA       BRAINTREE WATER AND SEWER DEPT.    MA4040000   CWS         Surfacewater                 39,143
  MA       BRETON ESTATES                     MA1227015   CWS         Groundwater                      48
  MA       BREWSTER WATER DEPARTMENT          MA4041000   CWS         Groundwater                  35,000
  MA       BRIDGEWATER WATER DEPARTMENT       MA4042000   CWS         Groundwater                  26,563
  MA       BROCKTON WATER DEPARTMENT          MA4044000   CWS         Surfacewater                105,643
  MA       BROOK VILLAGE CONDOMINIUM          MA2037007   CWS         Groundwater                     400
  MA       BROOKFIELD MEADOWS MHP             MA2045005   CWS         Groundwater                     120
  MA       BROOKFIELD WATER DEPARTMENT        MA2045000   CWS         Groundwater                   1,138
  MA       BROOKSIDE MOBILE HOME PARK         MA4003002   CWS         Groundwater                      67
  MA       BUFFUMVILLE HEIGHTS ESTATES        MA2226008   CWS         Groundwater                      40
           CONDOMINIUM
  MA       BURLINGTON WATER DEPT              MA3048000   CWS         Surfacewater                 26,735
  MA       BUZZARDS BAY WATER DISTRICT        MA4036001   CWS         Groundwater                   7,700
  MA       BYFIELD WATER DISTRICT             MA3205001   CWS         Groundwater                   2,330
  MA       CADY BROOK CROSSING                MA2054050   CWS         Groundwater                      75
           CONDOMINIUMS
  MA       CAMBRIDGE WATER DEPARTMENT         MA3049000   CWS         Surfacewater                118,403
  MA       CAMPION RESIDENCE AND RENEWAL      MA3333001   CWS         Surfacewater purchased          425
           CTR
  MA       CANTON WATER DEPT                  MA4050000   CWS         Surfacewater purchased       22,038

  MA       CARRIAGE HOUSE CONDOMINIUM         MA2037009   CWS         Groundwater                      68
  MA       CARVER MUNICIPAL BUILDINGS         MA4052061   CWS         Groundwater                     100
  MA       CENTERVILLE OSTERVILLE MARSTONS    MA4020002   CWS         Groundwater                  50,000
           MILLS WD
  MA       CENTRE VILLAGE APARTMENTS          MA2037006   CWS         Groundwater                      36
  MA       CENTURY MILL ESTATES               MA2034031   CWS         Groundwater                     135
  MA       CHARLTON MANOR REST HOME           MA2054005   CWS         Groundwater                      26
  MA       CHATHAM WATER DEPARTMENT           MA4055000   CWS         Groundwater                  30,000
  MA       CHELMSFORD WATER DISTRICT          MA3056000   CWS         Groundwater                  28,750
  MA       CHESHIRE WATER DEPT                MA1058000   CWS         Surfacewater                  1,407
  MA       CITY OF NEW BEDFORD DPI            MA4201000   CWS         Surfacewater                101,079
  MA       CLARK SHORES WATER CORPORATION     MA4146006   CWS         Groundwater                     350
  MA       CLIFFSIDE APARTMENTS               MA1289001   CWS         Groundwater                     500


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Primacy                 PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                           Served
 [State]
   MA      CLINTON WATER DEPT                 MA2064000   CWS         Surfacewater                 15,428
   MA      CODMAN HILL CONDOMINIUM            MA2037001   CWS         Groundwater                     360
   MA      COHASSET WATER DEPT                MA4065000   CWS         Surfacewater                  7,630
   MA      COLONY HEIGHTS CONDOMINIUM         MA3301020   CWS         Groundwater                     120
   MA      CONCORD WATER DEPT                 MA3067000   CWS         Surfacewater                 16,610
   MA      COTUIT FIRE DISTRICT WATER         MA4020003   CWS         Groundwater                   4,969
           DEPARTMENT
  MA       COUNTRYSIDE CONDOMINIUM            MA2110004   CWS         Groundwater                      30
  MA       CRAFTSMAN VILLAGE CONDOMINIUMS     MA2125026   CWS         Groundwater                      40
  MA       CRANBERRY KNOLL                    MA4240008   CWS         Groundwater                      40
  MA       CUMMINGTON WATER DEPT              MA1069001   CWS         Groundwater                     302
  MA       CURTIS HILL CONDOMINIUM            MA3301035   CWS         Groundwater                      96
  MA       DALTON FIRE DISTRICT               MA1070000   CWS         Surfacewater purchased        6,413

  MA       DANVERS WATER DEPT.                MA3071000   CWS         Surfacewater                 27,586
  MA       DARTMOUTH WATER DIVISION           MA4072000   CWS         Surfacewater purchased       24,412

  MA       DEDHAM WESTWOOD WATER DIST.        MA3073000   CWS         Surfacewater purchased       41,630

  MA       DEERFIELD FIRE DISTRICT            MA1074000   CWS         Groundwater                   1,300
  MA       DENNIS WATER DISTRICT              MA4075000   CWS         Groundwater                  65,000
  MA       DIGHTON WATER DISTRICT             MA4076000   CWS         Surfacewater purchased        4,925

  MA       DOUGLAS WATER DEPARTMENT           MA2077000   CWS         Groundwater                   4,095
  MA       DRACUT WATER SUPPLY DISTRICT       MA3079000   CWS         Surfacewater purchased       26,129

  MA       DRAGON HILL CONDOMINIUMS           MA1268011   CWS         Groundwater                      30
  MA       DUDLEY WATER DEPARTMENT            MA2080000   CWS         Groundwater                   5,515
  MA       DUNSTABLE WATER DEPARTMENT         MA2081000   CWS         Groundwater                     598
  MA       DUXBURY WATER DEPARTMENT           MA4082000   CWS         Groundwater                  16,445
  MA       EAGLE HILL SCHOOL                  MA1124003   CWS         Groundwater                     300
  MA       EAST BRIDGEWATER WATER DEPT        MA4083000   CWS         Surfacewater purchased       14,526

  MA       EAST CHELMSFORD WATER DISTRICT     MA3056001   CWS         Surfacewater purchased        2,500

  MA       EASTHAMPTON WATER DEPT             MA1087000   CWS         Groundwater                  16,597
  MA       EASTON WATER DIV                   MA4088000   CWS         Groundwater                  23,112
  MA       EDGARTOWN WATER DEPARTMENT         MA4089000   CWS         Groundwater                   6,993
  MA       ELIOT WOODS CONDOS                 MA4338002   CWS         Groundwater                     140
  MA       ENCLAVE AT BOXBOROUGH              MA2037038   CWS         Groundwater                      25
  MA       ESSEX WATER DEPT.                  MA3092000   CWS         Groundwater                   3,200
  MA       ESTATES AT HIGHLAND RIDGE          MA2139010   CWS         Groundwater                     100
  MA       FALL RIVER WATER DEPARTMENT        MA4095000   CWS         Surfacewater                 94,000
  MA       FALMOUTH WATER DEPT                MA4096000   CWS         Surfacewater                 77,500
  MA       FIELDS AT SHERBORN CONDO TRUST     MA3269032   CWS         Groundwater                     110
  MA       FITCHBURG DPW DIVISION OF WATER    MA2097000   CWS         Surfacewater                 41,946
           SUPPLY


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Primacy                 PWS Name                  PWSID      PWS Type      Primary Source        Population
Agency                                                                                             Served
 [State]
   MA      FOUR MILE VILLAGE                    MA3038001   CWS         Groundwater                     133
   MA      FOXBORO WATER DEPARTMENT             MA4099000   CWS         Groundwater                  18,618
   MA      FOXGLOVE APARTMENTS                  MA2125013   CWS         Groundwater                      40
   MA      FRANKLIN WATER DEPARTMENT            MA2101000   CWS         Groundwater                  33,261
   MA      GARDNER WATER DEPARTMENT             MA2103000   CWS         Surfacewater                 21,287
   MA      GEORGETOWN WATER DEPARTMENT          MA3105000   CWS         Groundwater                   8,766
   MA      GLOUCESTER PUBLIC UTILITY DIVISION   MA3107000   CWS         Surfacewater                 37,161
   MA      GRAFTON WATER DISTRICT               MA2110000   CWS         Groundwater                  10,925
   MA      GRANBY HEIGHTS CONDOMINIUMS          MA1111003   CWS         Groundwater                     152
   MA      GREAT BARRINGTON FIRE DIST           MA1113000   CWS         Groundwater                   4,254
   MA      GREENFIELD WATER DEPARTMENT          MA1114000   CWS         Surfacewater                 17,645
   MA      GROTON WATER DEPARTMENT              MA2115000   CWS         Groundwater                   5,229
   MA      GROVELAND WATER DEPARTMENT           MA3116000   CWS         Groundwater                   6,326
   MA      HALIFAX WATER DEPARTMENT             MA4118000   CWS         Surfacewater purchased        7,545

  MA       HAMILTON WATER DEPT                  MA3119000   CWS         Groundwater                   7,710
  MA       HANOVER WATER DEPT                   MA4122000   CWS         Groundwater                  14,599
  MA       HANSON WATER DEPARTMENT              MA4123000   CWS         Surfacewater purchased        9,420

  MA       HARBORSIDE VILLAGE                   MA4318040   CWS         Groundwater                     200
  MA       HARDWICK CENTER WATER DISTRICT       MA1124000   CWS         Groundwater                      80
  MA       HARVARD GREEN CONDOMINIUMS           MA2125014   CWS         Groundwater                     150
  MA       HARVARD RIDGE CONDOMINIUM            MA2037002   CWS         Groundwater                     350
  MA       HARVARD WATER DEPARTMENT             MA2125000   CWS         Groundwater                   1,650
  MA       HARWICH WATER DEPARTMENT             MA4126000   CWS         Groundwater                  40,062
  MA       HATFIELD WATER DEPT                  MA1127000   CWS         Surfacewater                  3,291
  MA       HAVERHILL WATER DEPT                 MA3128000   CWS         Surfacewater                 61,208
  MA       HAYSTACK ESTATES                     MA3330019   CWS         Groundwater                      60
  MA       HERON POND AT STOCKBRIDGE            MA1283017   CWS         Groundwater                      50
  MA       HERRING COVE CONDOMINIUMS TRUST      MA4239049   CWS         Groundwater                      25
  MA       HIGHLAND RIDGE CONDOMINIUMS          MA2028022   CWS         Groundwater                     132
  MA       HILLCREST WATER DISTRICT             MA2151002   CWS         Purchased groundwater         1,500
                                                                        under influence of
                                                                        surfacewater source

  MA       HINSDALE WATER DEPT                  MA1132000   CWS         Surfacewater                  1,800
  MA       HOLDEN WATER DIVISION, DPW           MA2134000   CWS         Surfacewater purchased       17,275

  MA       HOLLISTON WATER DEPARTMENT           MA2136000   CWS         Groundwater                  14,996
  MA       HOLYOKE WATER WORKS                  MA1137000   CWS         Surfacewater                 40,124
  MA       HOPEDALE WATER DEPARTMENT            MA2138000   CWS         Surfacewater purchased        5,966

  MA       HOPKINTON WATER DEPARTMENT           MA2139000   CWS         Groundwater                  10,152
  MA       HOUSATONIC WATER WORKS               MA1113003   CWS         Surfacewater                  1,391
  MA       HUBBARDSTON HOUSE APARTMENTS         MA2140010   CWS         Groundwater                      40
  MA       HUDSON WATER SUPPLY                  MA2141000   CWS         Surfacewater                 19,063


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Primacy                PWS Name               PWSID      PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
   MA    HYANNIS WATER SYSTEM, TOWN OF      MA4020004   CWS         Groundwater                  35,000
         BARNSTABLE
   MA    INIMA USA / AQUARIA LLC            MA4076004   CWS         Surfacewater                 95,000
   MA    IPSWICH DPU WATER DEPT             MA3144000   CWS         Surfacewater                 13,830
   MA    JIMINY PEAK RESORT                 MA1121004   CWS         Groundwater                   1,000
   MA    JUNIPER HILL WATER COMPANY         MA2286000   CWS         Groundwater                     220
   MA    KINGS GRANT WATER CO INC           MA4211001   CWS         Groundwater                     434
   MA    KINGSTON WATER DEPARTMENT          MA4145000   CWS         Groundwater                  15,421
   MA    LANCASTER WATER DEPARTMENT         MA2147000   CWS         Groundwater                   6,000
   MA    LANESBOROUGH FIRE AND WATER        MA1148000   CWS         Surfacewater purchased        2,324
         DISTRICT
   MA    LAUREL HILL CONDOMINIUMS           MA2110006   CWS         Groundwater                      64
   MA    LAWRENCE WATER WORKS               MA3149000   CWS         Surfacewater                 80,162
   MA    LEE WATER DEPT                     MA1150000   CWS         Surfacewater                  5,313
   MA    LEICESTER WATER SUPPLY DISTRICT    MA2151000   CWS         Groundwater under             3,200
                                                                    influence of
                                                                    surfacewater
 MA    LELAND FARMS                         MA3269028   CWS         Groundwater                      25
 MA    LEOMINSTER WATER DIVISION            MA2153000   CWS         Surfacewater                 43,782
 MA    LIBERTY HOUSE CONDOMINIUM            MA2037014   CWS         Groundwater                      80
 MA    LIBERTY MANOR INC                    MA1329009   CWS         Surfacewater purchased          500

 MA    LINCOLN WATER DEPT                   MA3157000   CWS         Surfacewater                  6,865
 MA    LITTLETON WATER DEPARTMENT           MA2158000   CWS         Groundwater                   9,561
 MA    LOWELL REGIONAL WATER UTILITY        MA3160000   CWS         Surfacewater                115,554
 MA    LUNENBURG WATER DISTRICT             MA2162000   CWS         Groundwater                   7,145
 MA    LYNN WATER AND SEWER COMM            MA3163000   CWS         Surfacewater                101,253
 MA    LYNNFIELD CENTER WATER DISTRICT      MA3164000   CWS         Groundwater                   8,263
 MA    MADDEN ESTATES                       MA2323002   CWS         Groundwater                      50
 MA    MAILLET WOODS CONDOMINIUMS           MA2139011   CWS         Groundwater                      75
 MA    MANCHAUG WATER DISTRICT OF           MA2290001   CWS         Groundwater                     476
       SUTTON
 MA    MANCHESTER BY THE SEA DPW            MA3166000   CWS         Surfacewater                  5,337
 MA    MANSFIELD WATER DIVISION             MA4167000   CWS         Groundwater                  23,517
 MA    MAPLEBROOK APARTMENTS                MA2226009   CWS         Groundwater                      33
 MA    MARION WATER DIVISION                MA4169000   CWS         Groundwater                   6,328
 MA    MARSHFIELD WATER DEPARTMENT          MA4171000   CWS         Groundwater                  34,000
 MA    MASHPEE WATER DISTRICT               MA4172039   CWS         Groundwater                  36,825
 MA    MASSASOIT HILLS TRAILER PARK         MA4318056   CWS         Groundwater                     120
 MA    MATTAPOISETT RIVER VALLEY W.D.       MA4173001   CWS         Groundwater purchased        29,600

 MA    MAYNARD DPW, WATER DIVISION          MA2174000   CWS         Groundwater                  10,750
 MA    MAYNARD STATE LLC                    MA4334078   CWS         Groundwater                      35
 MA    MEADOW WOODS MOBILE HOME PARK        MA4052054   CWS         Groundwater                     120
 MA    MEADOWBROOK ACRES MOBILE HOME        MA1043001   CWS         Groundwater                     137
       PARK


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Primacy               PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
   MA    MEADOWBROOK VILLAGE                MA2028012   CWS         Groundwater                     150
         CONDOMINIUMS
   MA    MEDFIELD WATER DEPT.               MA2175000   CWS         Groundwater                  12,799
   MA    MEDWAY WATER DEPARTMENT            MA2177000   CWS         Groundwater                   9,654
   MA    MENEMSHA WATER COMPANY             MA4062000   CWS         Groundwater                     841
   MA    MERRIMAC WATER DEPARTMENT          MA3180000   CWS         Groundwater                   7,072
   MA    METHUEN WATER DEPT                 MA3181000   CWS         Surfacewater                 53,059
   MA    MIDDLEBOROUGH WATER SUPPLY         MA4182000   CWS         Groundwater                  16,900
   MA    MILFORD WATER DEPARTMENT           MA2185000   CWS         Surfacewater                 30,379
   MA    MILL RIVER WATER TAKERS            MA1203000   CWS         Groundwater                      75
         ASSOCIATION
   MA    MILLIS WATER DEPT                  MA2187000   CWS         Groundwater                   8,729
   MA    MONSON WATER AND SEWER DEPT        MA1191000   CWS         Groundwater                   4,169
   MA    MONTAGUE CENTER WATER DISTRICT     MA1192003   CWS         Groundwater                     450
   MA    NANATOMQUA MOBILE HOME PARK        MA2045001   CWS         Groundwater                     123
   MA    NATICK WATER DEPARTMENT            MA3198000   CWS         Groundwater                  37,006
   MA    NEEDHAM WATER DEPT                 MA3199000   CWS         Surfacewater purchased       32,899

 MA    NEWBURYPORT WATER DEPARTMENT         MA3206000   CWS         Surfacewater                 20,335
 MA    NOQUOCHOKE VILLAGE LLC               MA4334092   CWS         Groundwater                     180
 MA    NORFOLK WATER DIVISION               MA2208000   CWS         Groundwater                   7,602
 MA    NORTH ADAMS WATER DEPT               MA1209000   CWS         Surfacewater                 13,000
 MA    NORTH ANDOVER WATER DEPT             MA3210000   CWS         Surfacewater                 31,991
 MA    NORTH ATTLEBORO WATER DEPT           MA4211000   CWS         Groundwater                  28,712
 MA    NORTH BROOKFIELD WATER               MA2212000   CWS         Surfacewater                  3,858
       DEPARTMENT
 MA    NORTH CARVER WATER DISTRICT          MA4052072   CWS         Groundwater purchased           100

 MA    NORTH CHELMSFORD WATER DIST          MA3056002   CWS         Groundwater                   7,541
 MA    NORTH RAYNHAM WATER DISTRICT         MA4245002   CWS         Groundwater                   3,892
 MA    NORTH SAGAMORE WATER DISTRICT        MA4036002   CWS         Groundwater                   4,634
 MA    NORTHAMPTON WATER DIVISION           MA1214000   CWS         Surfacewater                 28,549
 MA    NORTHBROOK VILLAGE I / BERLIN RET.   MA2028007   CWS         Groundwater                      48
 MA    NORTHBROOK VILLAGE II                MA2028018   CWS         Groundwater                      80
 MA    NORTHFIELD MT HERMON SCHOOL          MA1106002   CWS         Groundwater                     750
 MA    NORTHFIELD WATER DISTRICT            MA1217000   CWS         Groundwater                     800
 MA    NORTON WATER DEPARTMENT              MA4218000   CWS         Groundwater                  19,031
 MA    NORWELL WATER DEPARTMENT             MA4219000   CWS         Groundwater                  11,493
 MA    OAK BLUFFS WATER DISTRICT            MA4221000   CWS         Groundwater                  24,000
 MA    OLD FARM ROAD WATER TRUST            MA3078001   CWS         Groundwater                      40
 MA    ONSET FIRE DISTRICT                  MA4310003   CWS         Groundwater                   5,392
 MA    ORANGE WATER DEPT                    MA1223000   CWS         Surfacewater purchased        6,492

 MA    ORLEANS WATER DEPARTMENT             MA4224000   CWS         Groundwater                  17,670
 MA    ORONOQUE CONDOMINIUM TRUST           MA1283019   CWS         Groundwater                      25
 MA    PADDOCK ESTATES                      MA2037036   CWS         Groundwater                     463


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Primacy                PWS Name                PWSID      PWS Type      Primary Source   Population
Agency                                                                                     Served
 [State]
   MA      PEABODY WATER DEPT.               MA3229000   CWS         Surfacewater              52,377
   MA      PEMBROKE WATER DIVISION DPW       MA4231000   CWS         Groundwater               18,576
   MA      PEPPERELL DPW WATER DIVISION      MA2232000   CWS         Groundwater                8,618
   MA      PILOT GROVE APARTMENTS            MA2286018   CWS         Groundwater                  175
   MA      PILOT GROVE APARTMENTS II         MA2286031   CWS         Groundwater                  134
   MA      PINE HILL CONDOMINIUM             MA2002010   CWS         Groundwater                   95
   MA      PINE VALLEY PLANTATION            MA1024002   CWS         Groundwater                  600
   MA      PINEHILLS WATER COMPANY, INC.     MA4239055   CWS         Groundwater                7,227
   MA      PINETREE VILLAGE                  MA4052025   CWS         Groundwater                  348
   MA      PINEWOOD ON THE GREEN CONDOS      MA2226011   CWS         Groundwater                   50
   MA      PITTSFIELD DPU WATER DEPT         MA1236000   CWS         Surfacewater              43,927
   MA      PLAINVILLE WATER DEPARTMENT       MA4238000   CWS         Groundwater under          8,867
                                                                     influence of
                                                                     surfacewater
  MA       PLANTATION APARTMENTS             MA2286017   CWS         Groundwater                   54
  MA       PLEASANT WATER                    MA4318091   CWS         Groundwater                  200
  MA       PLYMOUTH WATER DEPARTMENT         MA4239000   CWS         Groundwater               44,170
  MA       POND RIDGE CONDO ASSN             MA1289002   CWS         Groundwater                   88
  MA       PROVIDENCE HOUSE                  MA4145006   CWS         Groundwater                   35
  MA       PROVINCETOWN WATER DEPARTMENT     MA4242000   CWS         Groundwater               22,250
  MA       QUABBIN SUNRISE COOPERATIVE INC   MA1309001   CWS         Groundwater                   65
  MA       RANDOLPH/HOLBROOK WATER BOARD     MA4244001   CWS         Surfacewater              41,935
  MA       RAYNHAM CENTER WATER DISTRICT     MA4245000   CWS         Groundwater               10,378
  MA       REGENCY AT BOLTON CONDOMINIUMS    MA2034030   CWS         Groundwater                  148
  MA       REGENCY AT STOW CONDOMINIUMS      MA2286033   CWS         Groundwater                  132
  MA       RIVER CROSSING CONDOMINIUM        MA3301002   CWS         Groundwater                  150
  MA       RIVERBRIDGE                       MA2028020   CWS         Groundwater                1,330
  MA       ROCKPORT WATER DEPT               MA3252000   CWS         Surfacewater              10,000
  MA       ROCKWOOD MEADOWS                  MA2303004   CWS         Groundwater                   80
  MA       ROWLEY WATER DEPARTMENT           MA3254000   CWS         Groundwater                6,637
  MA       RUSSELL WATER DEPT                MA1256000   CWS         Groundwater                1,228
  MA       RUTLAND WATER DEPARTMENT          MA2257000   CWS         Surfacewater               5,560
  MA       SAINT JOSEPHS ABBEY               MA2280002   CWS         Groundwater                   54
  MA       SALEM AND BEVERLY WATER SUPPLY    MA3030001   CWS         Surfacewater              90,330
           BOARD
  MA       SALISBURY WATER DEPARTMENT        MA3259000   CWS         Groundwater               20,000
  MA       SANDWICH WATER DISTRICT           MA4261000   CWS         Groundwater               23,000
  MA       SAWYER HILL ECOVILLAGE            MA2028017   CWS         Groundwater                  272
  MA       SCITUATE WATER DIVISION           MA4264000   CWS         Surfacewater              19,760
  MA       SEA OAKS CONDOMINIUMS             MA4172033   CWS         Groundwater                  222
  MA       SEEKONK WATER DISTRICT            MA4265000   CWS         Groundwater               14,478
  MA       SHARON WATER DEPT                 MA4266000   CWS         Groundwater               17,200
  MA       SHIRLEY WATER DISTRICT            MA2270000   CWS         Groundwater                4,088
  MA       SHREWSBURY WATER DEPARTMENT       MA2271000   CWS         Groundwater               38,325
  MA       SIASCONSET WATER DEPARTMENT       MA4197001   CWS         Groundwater                3,000


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Primacy              PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                        Served
 [State]
   MA    SILVER MEADOW                     MA1306006   CWS         Groundwater                      25
   MA    SOMERSET WATER DEPARTMENT         MA4273000   CWS         Surfacewater                 18,300
   MA    SOUTH ASHMERE WATER ASSOCIATION   MA1132002   CWS         Groundwater                     150
         INC
   MA    SOUTH GRAFTON WATER DISTRICT      MA2110001   CWS         Groundwater under             3,242
                                                                   influence of
                                                                   surfacewater
 MA    SOUTH MEADOW VILLAGE                MA4052001   CWS         Groundwater                     750
 MA    SOUTH ROYALSTON IMPROVEMENT         MA1255000   CWS         Groundwater                     275
       CORP
 MA    SOUTHAMPTON WATER DEPT              MA1276000   CWS         Groundwater                   4,902
 MA    SOUTHBRIDGE WATER DEPARTMENT        MA2278000   CWS         Surfacewater                 16,748
 MA    SOUTHFIELD WATER COMPANY            MA1203002   CWS         Groundwater                      80
 MA    SOUTHWICK WATER DEPT                MA1279000   CWS         Surfacewater purchased        7,567

 MA    SPENCER WATER DEPARTMENT            MA2280000   CWS         Groundwater                   7,037
 MA    SPORTS HAVEN MOBILE HOME PARK       MA1024001   CWS         Groundwater                     107
 MA    SPRINGFIELD WATER AND SEWER         MA1281000   CWS         Surfacewater                169,071
       COMMISSION
 MA    STAFFORDSHIRE COUNTRY ESTATES       MA2151009   CWS         Groundwater                     140
 MA    STERLING WATER DEPARTMENT           MA2282000   CWS         Groundwater                   6,814
 MA    STILL MEADOW                        MA2115009   CWS         Groundwater                      50
 MA    STOCKBRIDGE WATER DEPT              MA1283003   CWS         Surfacewater                  2,800
 MA    STONES THROW CONDOS                 MA4300040   CWS         Groundwater                      80
 MA    STOUGHTON WATER DEPARTMENT          MA4285000   CWS         Surfacewater purchased       29,287

 MA    STURBRIDGE RETIREMENT COOP. CORP. MA2287020     CWS         Groundwater                     350
 MA    STURBRIDGE WATER DEPARTMENT       MA2287000     CWS         Groundwater under             4,597
                                                                   influence of
                                                                   surfacewater
 MA    SUDBURY WATER DISTRICT              MA3288000   CWS         Groundwater                  18,815
 MA    SUNDERLAND WATER DISTRICT           MA1289000   CWS         Groundwater                   2,990
 MA    SUNSET RIDGE CONDOMINIUMS           MA2034028   CWS         Groundwater                      42
 MA    SWANSEA WATER DISTRICT              MA4292000   CWS         Surfacewater                 17,358
 MA    SWEET WOOD RETIREMENT               MA1341003   CWS         Groundwater                     200
       COMMUNITY
 MA    TAUNTON WATER DIVISION              MA4293000   CWS         Surfacewater                 59,290
 MA    TEMPLETON MUNIC. LIGHT AND WATER    MA2294000   CWS         Groundwater                   6,123
       PLANT
 MA    TEWKSBURY WATER DEPARTMENT          MA3295000   CWS         Surfacewater                 31,342
 MA    THE GREENS                          MA3301044   CWS         Groundwater                      25
 MA    THE MACDUFFIE SCHOOL                MA1111001   CWS         Groundwater                     305
 MA    THE MEETING HOUSE @ STOW CONDO      MA2286012   CWS         Groundwater                      92
 MA    THE PRESERVE AT HOPKINTON CONDO     MA2139008   CWS         Groundwater                      80
 MA    THREE RIVERS FIRE DISTRICT          MA1227003   CWS         Groundwater                   3,258
 MA    TOPSFIELD WATER DEPARTMENT          MA3298000   CWS         Groundwater                   5,435
 MA    TORIA HEIGHTS CONDOMINIUM           MA2226007   CWS         Groundwater                      60


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Primacy                PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                          Served
 [State]
   MA      TOWN OF AVON                      MA4018000   CWS         Groundwater                   4,777
   MA      TOWN OF CARVER                    MA4052067   CWS         Groundwater                     414
   MA      TOWN OF EASTHAM                   MA4086095   CWS         Groundwater                   4,904
   MA      TOWNHOUSES @ COPPER LANTERN       MA4052070   CWS         Groundwater                     176
   MA      TOWNHOUSES AT CHANCE COURT        MA4052069   CWS         Groundwater                      40
   MA      TOWNSEND WATER DEPARTMENT         MA2299000   CWS         Groundwater                   6,500
   MA      TRAIL RIDGE CONDOMINIUMS          MA2125016   CWS         Groundwater                     104
   MA      TURNERS FALLS WATER DEPT          MA1192000   CWS         Groundwater                   7,057
   MA      TYNGSBOROUGH WATER DISTRICT       MA3301000   CWS         Surfacewater purchased        3,976

  MA       UPPER CAPE REGIONAL WATER         MA4261024   CWS         Groundwater                  56,250
           COOPERATIVE
  MA       UPTON DPW WATER/WASTEWATER        MA2303000   CWS         Groundwater                   4,338
           DIVISION
  MA       UXBRIDGE DPW, WATER DIVISION      MA2304000   CWS         Groundwater                  11,026
  MA       VANTAGE HEALTH AN REHAB OF        MA1120001   CWS         Groundwater                     100
           HAMPDEN
  MA       VILLAGE AT HIGHLAND PARK          MA2139007   CWS         Groundwater                      50
  MA       VILLAGES AT STOW                  MA2286024   CWS         Groundwater                     300
  MA       WAGON WHEEL COMMUNITY, INC.       MA2045004   CWS         Groundwater                     228
  MA       WAKEFIELD WATER DEPT              MA3305000   CWS         Surfacewater                 27,090
  MA       WALPOLE WATER DEPT                MA4307000   CWS         Groundwater                  26,383
  MA       WANNACOMET WATER COMPANY          MA4197000   CWS         Groundwater                  27,703
  MA       WARE WATER DEPT                   MA1309000   CWS         Groundwater                   7,376
  MA       WAREHAM FIRE DISTRICT             MA4310000   CWS         Groundwater                  21,250
  MA       WARREN WATER DISTRICT             MA1311000   CWS         Groundwater                   2,273
  MA       WASHINGTON ACRES                  MA1024015   CWS         Groundwater                      30
  MA       WATERTOWN WATER DEPT. (MWRA)      MA3314000   CWS         Surfacewater purchased       35,329

  MA       WATERVIEW PARK LLC                MA4052044   CWS         Groundwater                     102
  MA       WAUBEEKA SPRINGS                  MA1341004   CWS         Groundwater                      50
  MA       WAYLAND WATER DEPARTMENT          MA3315000   CWS         Groundwater                  14,531
  MA       WEBSTER WATER DEPARTMENT          MA2316000   CWS         Groundwater                  17,776
  MA       WEIR RIVER WATER SYSTEM           MA4131000   CWS         Surfacewater                 40,921
  MA       WELLESLEY COLLEGE                 MA3317001   CWS         Groundwater                   3,000
  MA       WELLESLEY WATER DIVISION          MA3317000   CWS         Surfacewater purchased       29,550

  MA       WELLFLEET APARTMENTS             MA4318107    CWS         Groundwater                      48
  MA       WELLFLEET MUNICIPAL WATER SYSTEM MA4318094    CWS         Groundwater                     750

  MA       WENHAM WATER DEPT.                MA3320000   CWS         Groundwater                   3,942
  MA       WEST BOYLSTON WATER DISTRICT      MA2321000   CWS         Surfacewater purchased        6,656

  MA       WEST BRIDGEWATER WATER DEPT       MA4322000   CWS         Groundwater under             7,669
                                                                     influence of
                                                                     surfacewater



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Primacy              PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                        Served
 [State]
   MA    WEST BROOKFIELD WATER             MA2323000   CWS         Groundwater                   2,477
         DEPARTMENT
   MA    WEST GROTON WATER SUPPLY DISTRICT MA2115001   CWS         Groundwater                   1,853

 MA    WEST NEWBURY WATER DEPARTMENT       MA3324000   CWS         Surfacewater purchased        3,027

 MA    WEST SPRINGFIELD DPW WATER          MA1325000   CWS         Surfacewater purchased       28,835
       DIVISION
 MA    WEST STOCKBRIDGE WATER DEPT         MA1326000   CWS         Groundwater                     535
 MA    WEST WARREN WATER DISTRICT          MA1311001   CWS         Groundwater                     927
 MA    WESTBOROUGH WATER DEPARTMENT        MA2328000   CWS         Surfacewater                 21,567
 MA    WESTFIELD DPWWATER DIVISION         MA1329000   CWS         Surfacewater                 42,000
 MA    WESTFORD WATER DEPARTMENT           MA3330000   CWS         Groundwater under            18,482
                                                                   influence of
                                                                   surfacewater
 MA    WESTPORT SENIOR VILLAGE             MA4334088   CWS         Groundwater                     150
 MA    WEYMOUTH WATER DEPARTMENT           MA4336000   CWS         Surfacewater                 55,526
 MA    WHATELY WATER DEPARTMENT            MA1337010   CWS         Groundwater                   1,100
 MA    WHEELWRIGHT WATER DISTRICT          MA1124002   CWS         Groundwater                     300
 MA    WHITE BIRCH GARDEN APARTMENTS       MA1120015   CWS         Groundwater                      25
 MA    WHITE PINES CONDOMINIUMS            MA1283015   CWS         Groundwater                     225
 MA    WHITINSVILLE WATER COMPANY          MA2216000   CWS         Groundwater under             8,037
                                                                   influence of
                                                                   surfacewater
 MA    WHITNEY ESTATES CONDOMINIUMS        MA2028015   CWS         Groundwater                      40
 MA    WILDWOOD CONDOMINIUM                MA1108009   CWS         Groundwater                      25
 MA    WILKINSONVILLE WATER DISTRICT       MA2290014   CWS         Groundwater                   2,662
 MA    WILLIAMSBURG WATER DEPT             MA1340000   CWS         Groundwater                   1,953
 MA    WILMINGTON WATER DEPT               MA3342000   CWS         Surfacewater purchased       22,624

 MA    WINCHESTER WATER DEPT               MA3344000   CWS         Surfacewater                 22,970
 MA    WOBURN WATER DEPT.                  MA3347000   CWS         Surfacewater purchased       40,876

 MA    WOODHAVEN ELDER HOUSING            MA3269002    CWS         Groundwater                      30
       COMMITTEE
 MA    WOODLAND MHP LLC                   MA1053030    CWS         Groundwater                      36
 MA    WOODLAND RIDGE                     MA2270009    CWS         Groundwater                     125
 MA    WOODLAND WALK APARTMENTS           MA2054040    CWS         Groundwater                      76
 MA    WORCESTER DPWP, WATER SUPPLY       MA2348000    CWS         Surfacewater                206,518
       DIVISION
 MA    WRENTHAM WATER DIVISION            MA4350000    CWS         Groundwater                  12,117
 MA    YARMOUTH WATER DEPARTMENT          MA4351000    CWS         Groundwater                  40,857
 MD    BARK HILL                          MD0060019    CWS         Groundwater                     163
 MD    BENJAMINS VILLAGE/HOMESTEAD M.H.P. MD0070209    CWS         Groundwater                     400

 MD    BOONSBORO - KEEDYSVILLE             MD0210002   CWS         Surfacewater                  4,250
 MD    CALVERT MANOR CENTER FOR            MD0070206   CWS         Groundwater                     290
       REHABILITATION


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Agency                                                                                        Served
 [State]
  MD     CAMBRIDGE FARMS                   MD0100033   CWS         Groundwater                     953
  MD     CEDAR RIDGE CHILDREN'S HOME &     MD0210020   CWS         Groundwater under                45
         SCHOOL                                                    influence of
                                                                   surfacewater
 MD    CITY OF ABERDEEN                    MD0120001   CWS         Surfacewater purchased       16,200

 MD    CITY OF BALTIMORE                   MD0300002   CWS         Surfacewater               1,600,000
 MD    CITY OF BRUNSWICK                   MD0100005   CWS         Surfacewater                   7,312
 MD    CITY OF FREDERICK                   MD0100015   CWS         Surfacewater                  54,000
 MD    CITY OF FRUITLAND                   MD0220008   CWS         Groundwater                    5,907
 MD    CITY OF HAVRE DE GRACE              MD0120012   CWS         Surfacewater                  14,000
 MD    CITY OF ROCKVILLE                   MD0150003   CWS         Surfacewater                  52,000
 MD    CITY OF SALISBURY                   MD0220004   CWS         Groundwater                   30,343
 MD    CITY OF TANEYTOWN                   MD0060012   CWS         Groundwater                    6,750
 MD    CITY OF WESTMINSTER                 MD0060015   CWS         Surfacewater                  35,256
 MD    CONOWINGO MOBILE HOME PARK          MD0070214   CWS         Groundwater                      315
 MD    DELMARVA MOBILE HOME PARK           MD0230203   CWS         Groundwater                       62
 MD    EL RANCHO MOBILE HOME PARK          MD0210204   CWS         Groundwater                       86
 MD    ELKTON WEST                         MD0070015   CWS         Surfacewater purchased         3,500

 MD    GATEWAY VILLAGE MOBILE HOME PARK MD0220204      CWS         Groundwater                      60

 MD    GLEN BURNIE-BROADNECK               MD0020017   CWS         Groundwater                 290,606
 MD    GLEN MEADOWS RETIREMENT             MD0030208   CWS         Groundwater under               468
       COMMUNITY                                                   influence of
                                                                   surfacewater
 MD    GOLDEN KAY APARTMENTS           MD0070202       CWS         Groundwater                      89
 MD    GRAYMOUNT APARTMENTS            MD0070203       CWS         Groundwater                      27
 MD    HARFORD COUNTY D.P.W.           MD0120016       CWS         Surfacewater                104,567
 MD    HIGHFIELD                       MD0210001       CWS         Groundwater                   1,141
 MD    HILLANDALE MOBILE HOME PARK     MD0060206       CWS         Groundwater                     220
 MD    LAKESIDE VISTA                  MD0120014       CWS         Groundwater                     219
 MD    LIBERTYTOWN APARTMENTS          MD0100036       CWS         Groundwater                      97
 MD    LIBERTYTOWN EAST                MD0100038       CWS         Groundwater                     140
 MD    MAPLE HILL MOBILE ESTATES       MD0070223       CWS         Groundwater                     180
 MD    MARYLAND AMERICAN WATER         MD0120003       CWS         Surfacewater                 13,200
       COMPANY
 MD    MAYBELLE MANOR MOBILE HOME PARK MD0070248       CWS         Groundwater                      50

 MD    MCHENRY WATER SYSTEM             MD1111096      CWS         Groundwater                     983
 MD    MEADOW PARK MOBILE SUBDIVISION   MD0110231      CWS         Groundwater                      32
 MD    MISTY MEADOWS 1 / HIGHLAND HILLS MD0070247      CWS         Groundwater                     460
       M.H.P.
 MD    MISTY MEADOWS 2 MOBILE HOME PARK MD0070249      CWS         Groundwater                      70

 MD    MOUNT AETNA                         MD0210015   CWS         Groundwater                     688




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Agency                                                                                   Served
 [State]
  MD     NAYLOR MILL VILLAGE MOBILE HOME   MD0220221   CWS         Groundwater                 180
         PARK
  MD     NEW DESIGN - FREDERICK COUNTY     MD0100030   CWS         Surfacewater              49,200
  MD     OAK LANE MOBILE HOME PARK         MD0070226   CWS         Groundwater                   55
  MD     OCEAN PINES                       MD0230005   CWS         Groundwater               11,890
  MD     PLEASANT HILL MOBILE HOME PARK    MD0070230   CWS         Groundwater                   64
  MD     POLINGS MOBILE HOME PARK          MD0100210   CWS         Groundwater                   80
  MD     R & R ESTATES                     MD0120210   CWS         Groundwater                   85
  MD     SAM HILL ESTATES                  MD0100040   CWS         Groundwater                1,036
  MD     SULLIVANS MOBILE HOME PARK        MD0060215   CWS         Groundwater                   70
         COMMUNITY
  MD     SUNNYBROOK                        MD0030011   CWS         Groundwater                 416
  MD     SWAN HARBOUR DELL MOBILE HOME     MD0120215   CWS         Groundwater                 500
         PARK
  MD     TAYLORSVILLE MHC, LLC             MD0060216   CWS         Groundwater                  38
  MD     TODD VILLAGE MOBILE HOME PARK     MD0060217   CWS         Groundwater                 180
  MD     TOWN & COUNTRY MOBILE HOME PARK   MD0070235   CWS         Groundwater                 450

 MD    TOWN OF ACCIDENT                    MD0110001   CWS         Groundwater                  300
 MD    TOWN OF BERLIN                      MD0230001   CWS         Groundwater                4,500
 MD    TOWN OF CHARLESTOWN                 MD0070029   CWS         Groundwater                1,019
 MD    TOWN OF CHESTERTOWN                 MD0140002   CWS         Groundwater                5,400
 MD    TOWN OF DARLINGTON                  MD0120009   CWS         Groundwater                  250
 MD    TOWN OF ELKTON                      MD0070011   CWS         Surfacewater              15,625
 MD    TOWN OF FRIENDSVILLE                MD0110004   CWS         Surfacewater                 622
 MD    TOWN OF GRANTSVILLE                 MD0110005   CWS         Groundwater                  885
 MD    TOWN OF HAMPSTEAD                   MD0060003   CWS         Groundwater                6,600
 MD    TOWN OF HURLOCK                     MD0090005   CWS         Groundwater                2,150
 MD    TOWN OF MANCHESTER                  MD0060006   CWS         Groundwater                4,954
 MD    TOWN OF MIDDLETOWN                  MD0100018   CWS         Groundwater                4,288
 MD    TOWN OF MOUNT AIRY                  MD0060007   CWS         Groundwater                8,631
 MD    TOWN OF MOUNTAIN LAKE PARK          MD0110007   CWS         Groundwater                3,000
 MD    TOWN OF MYERSVILLE                  MD0100020   CWS         Surfacewater               1,516
 MD    TOWN OF NEW WINDSOR                 MD0060008   CWS         Groundwater                1,100
 MD    TOWN OF NORTH EAST                  MD0070016   CWS         Surfacewater               8,600
 MD    TOWN OF POOLESVILLE                 MD0150002   CWS         Groundwater under          5,400
                                                                   influence of
                                                                   surfacewater
 MD    TOWN OF SHARPSBURG                  MD0210017   CWS         Surfacewater               1,360
 MD    TOWN OF THURMONT                    MD0100023   CWS         Groundwater under          6,200
                                                                   influence of
                                                                   surfacewater
 MD    TOWN OF UNION BRIDGE                MD0060013   CWS         Groundwater under           997
                                                                   influence of
                                                                   surfacewater
 MD    TOWN OF VIENNA                      MD0090008   CWS         Groundwater                 460



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Primacy              PWS Name               PWSID      PWS Type      Primary Source   Population
Agency                                                                                  Served
 [State]
  MD     TOWN OF WOODSBORO                MD0100027   CWS         Groundwater                  846
  MD     TWIN ARCH MOBILE HOME PARK       MD0060218   CWS         Groundwater                   50
  MD     WAKEFIELD VALLEY                 MD0060017   CWS         Groundwater under          2,436
                                                                  influence of
                                                                  surfacewater
 MD    WASHINGTON SUBURBAN SANITARY      MD0150005    CWS         Surfacewater          1,900,000
       COMMISSION
 MD    WHISPERING PINES MOBILE HOME PARK MD0070213    CWS         Groundwater                 325

 MD    WOODLAWN MOBILE HOME PARK - NEW MD0070239      CWS         Groundwater                 200

 ME    A PLACE FOR ALL SEASONS          ME0092373     CWS         Groundwater                   90
 ME    ADDISON POINT WATER DISTRICT     ME0090010     CWS         Groundwater                  168
 ME    BENJAMIN RIVER APTS              ME0090145     CWS         Groundwater                   27
 ME    BIRCH HAVEN TRAILER PARK         ME0007233     CWS         Groundwater                   43
 ME    BLUE HILL TERRACE                ME0092110     CWS         Groundwater                   60
 ME    BOOTHBAY REGION WATER DISTRICT   ME0090200     CWS         Surfacewater               9,250
 ME    BOULIER PLACE APTS               ME0090205     CWS         Groundwater                   60
 ME    BROOK HOLLOW                     ME0092365     CWS         Groundwater                   30
 ME    BRUNSWICK/TOPSHAM WATER DISTRICT ME0090260     CWS         Groundwater               17,943

 ME    CALAIS WATER DEPT                ME0090290     CWS         Groundwater                2,733
 ME    CHARTER OAKS VILLAGE COOPERATIVE ME0001006     CWS         Groundwater                  105

 ME    COLD SPRING WATER COMPANY          ME0090360   CWS         Groundwater                  265
 ME    CRAWFORD COMMONS                   ME0095190   CWS         Groundwater                   50
 ME    CREST VIEW MANOR                   ME0095020   CWS         Groundwater                   38
 ME    CROSSROADS COMMUNITY MHP           ME0092654   CWS         Groundwater                   57
 ME    DEER RIDGE MOBILE HOME PARK        ME0001194   CWS         Groundwater                   33
 ME    DEXTER UTILITY DISTRICT            ME0090440   CWS         Surfacewater               2,378
 ME    DINGLEY SPRING ESTATES             ME0090450   CWS         Groundwater                   90
 ME    DOVER-FOXCROFT WATER DISTRICT      ME0090470   CWS         Surfacewater               2,328
 ME    DUCKTRAP HARBOR CONDOMINIUMS       ME0094847   CWS         Groundwater                   82
 ME    ELLIOTT APARTMENTS                 ME0092552   CWS         Groundwater                   55
 ME    ELWELL FARMS                       ME0092366   CWS         Groundwater                   36
 ME    ESTES LAKE MOBILE HOME PARK        ME0002809   CWS         Groundwater                  172
 ME    FOUR WINDS HOMEOWNERS ASSN         ME0092371   CWS         Groundwater                   43
 ME    FRANKLIN WATER DEPARTMENT          ME0090570   CWS         Groundwater                  443
 ME    FRIENDLY VILLAGE OF GORHAM MHP     ME0007086   CWS         Groundwater                  763
 ME    FRYEBURG WATER COMPANY             ME0090600   CWS         Groundwater                2,060
 ME    GAELIC SQUARE HOUSING              ME0090745   CWS         Groundwater                   50
 ME    GARDINER WATER DISTRICT            ME0090610   CWS         Groundwater                8,000
 ME    GEORGE POND ESTATES LLC            ME0007372   CWS         Groundwater                   50
 ME    GRAY WATER DISTRICT                ME0090620   CWS         Groundwater                2,468
 ME    GREATER AUGUSTA UTILITY DISTRICT   ME0090080   CWS         Groundwater               15,040




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Agency                                                                                       Served
 [State]
   ME    GUILFORD-SANGERVILLE WATER       ME0090640   CWS         Groundwater                   1,450
         DISTRICT
   ME    HALLOWELL WATER DISTRICT         ME0090650   CWS         Groundwater                   2,138
   ME    HARRISON WATER DISTRICT          ME0090670   CWS         Groundwater                     813
   ME    HAVASU PINES MHP                 ME0105637   CWS         Groundwater                      75
   ME    HAVASU PINES MHP #1              ME0005637   CWS         Groundwater                      65
   ME    HERMON MHP LLC                   ME0007336   CWS         Groundwater                      43
   ME    HIGHPINE MOBILE HOME COURT       ME0003907   CWS         Groundwater                     130
   ME    HODGDON HOMESTEAD                ME0094503   CWS         Groundwater                      32
   ME    HOULTON MOBILE HOME PARK         ME0092313   CWS         Groundwater                     140
   ME    HOULTON WATER COMPANY            ME0090700   CWS         Groundwater                   4,735
   ME    HOWARDS TRAILER PARK             ME0003342   CWS         Groundwater                      75
   ME    KENNEBEC WATER DISTRICT          ME0090750   CWS         Surfacewater                 21,808
   ME    KENNEBUNK, KENNEBUNKPORT &       ME0090760   CWS         Surfacewater                 35,663
         WELLS WD
   ME    KNIGHTS HILL ASSOCIATION         ME0090800   CWS         Groundwater                     718
   ME    LISBON WATER DEPARTMENT          ME0090870   CWS         Groundwater                   6,150
   ME    LORING WOODS PARK                ME0007968   CWS         Groundwater                      55
   ME    LYNNS WAY                        ME0092499   CWS         Groundwater                      40
   ME    MADAWASKA WATER DISTRICT         ME0090920   CWS         Groundwater                   2,727
   ME    MAINE WATER COMPANY BUCKSPORT    ME0090280   CWS         Surfacewater                  1,700
         DIVISION
   ME    MAINE WATER COMPANY HARTLAND     ME0090680   CWS         Groundwater                     903
         DIVISION
   ME    MAINE WATER COMPANY OAKLAND      ME0091190   CWS         Surfacewater purchased        2,568
         DIVISION
   ME    MAINE WATER COMPANY SKOWHEGAN    ME0091450   CWS         Surfacewater                  6,125
         DIVISION
   ME    MECHANIC FALLS WATER DEPT        ME0090960   CWS         Groundwater                   1,880
   ME    MEXICO WATER DISTRICT            ME0090970   CWS         Groundwater                   2,425
   ME    MIDCOAST REGIONAL REDEVELOP      ME0092747   CWS         Groundwater purchased           200
         AUTHORITY
   ME    MILLSTONE APARTMENTS             ME0092260   CWS         Groundwater                      97
   ME    MOOSEHEAD TRAIL VILLAGE          ME0091850   CWS         Groundwater                      60
   ME    MORRILL VILLAGE WATER DISTRICT   ME0091040   CWS         Groundwater                     150
   ME    MOUNTAINSIDE MOBILE HOME PARK    ME0002346   CWS         Groundwater                     130
   ME    NARRAGUAGUS ESTATES              ME0091055   CWS         Groundwater                      97
   ME    NEWPORT WATER DISTRICT           ME0091100   CWS         Surfacewater                  1,900
   ME    NICHOLS TRAILER PARK             ME0007378   CWS         Groundwater                      75
   ME    NORTH HAVEN WATER DEPARTMENT     ME0091130   CWS         Surfacewater                    740
   ME    OLD MARSH CONDOMINIUM            ME0092323   CWS         Groundwater                     325
   ME    OSGOOD FARM HOMES                ME0092382   CWS         Groundwater                      42
   ME    PARKER RIDGE RETIREMENT          ME0092265   CWS         Groundwater                     128
         COMMUNITY
   ME    PATTEN WATER DEPT                ME0091240   CWS         Groundwater                     390
   ME    PERSISTENCE SENIORS HOUSING      ME0091750   CWS         Groundwater                      60



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Primacy                PWS Name             PWSID      PWS Type      Primary Source   Population
Agency                                                                                  Served
 [State]
   ME    PHEASANT HILL MHP                ME0003990   CWS         Groundwater                  35
   ME    PINE CONE MOBILE HOMES CT #1     ME0007367   CWS         Groundwater                 218
   ME    PINE RIDGE HUNTON BROOK          ME0095585   CWS         Groundwater                 298
         ASSOCIATION
   ME    PINE TREE MOBILE ESTATES         ME0003240   CWS         Groundwater                  560
   ME    PLEASANT ACRES ESTATES           ME0005693   CWS         Groundwater                  193
   ME    PLYMOUTH WATER DISTRICT          ME0092270   CWS         Groundwater                  150
   ME    POLAND COUNTRY VILLAGE MHP INC   ME0005844   CWS         Groundwater                  140
   ME    POND & POND TRAILER PARK         ME0095510   CWS         Groundwater                   63
   ME    PRAYS MOBILE HOME PARK           ME0001363   CWS         Groundwater                  183
   ME    PRINCETON WATER DISTRICT         ME0092388   CWS         Groundwater                   70
   ME    ROUND STONE MOBILE HOME PARK     ME0095600   CWS         Groundwater                   70
   ME    SANFORD WATER DISTRICT           ME0091410   CWS         Groundwater               14,025
   ME    SCARBOROUGH GARDENS              ME0091416   CWS         Groundwater                   45
   ME    SCROGGINS MOBILE HOME PARK       ME0090373   CWS         Groundwater                   73
   ME    SHADY OAKS MOBILE HOME PARK      ME0001009   CWS         Groundwater                  185
   ME    SILVER LAKE ESTATES              ME0092722   CWS         Groundwater                   25
   ME    SOUTH FREEPORT WATER DISTRICT    ME0091480   CWS         Groundwater                  793
   ME    SPRING ROCK PARK                 ME0092301   CWS         Groundwater                   50
   ME    SUGARLOAF WATER ASSOCIATION      ME0091690   CWS         Surfacewater               3,115
   ME    SUMMER HAVEN APARTMENTS-BLDG 1   ME0092291   CWS         Groundwater                   55
   ME    SUMMER HAVEN APARTMENTS-BLDG 3   ME0292291   CWS         Groundwater                   25
   ME    SUN CEDAR HAVEN LLC              ME0007363   CWS         Groundwater                  395
   ME    SUNNY GABLES- GLENBURN HOUSING   ME0090615   CWS         Groundwater                   60
   ME    SUNNY SLOPE TRAILER PARK         ME0002421   CWS         Groundwater                   68
   ME    THE MEADOWS                      ME0095010   CWS         Groundwater                   65
   ME    THE MEADOWS AT FIELDSTONE        ME0092482   CWS         Groundwater                  100
         LANDING
   ME    THE PINES AT ARUNDEL             ME0095659   CWS         Groundwater                 105
   ME    TIMBERLINE VILLAGE               ME0095610   CWS         Groundwater                  95
   ME    TOWN & COUNTRY MOTEL             ME0007374   CWS         Groundwater                  44
   ME    TOWN & COUNTRY TRAILER PARK      ME0008921   CWS         Groundwater                  48
   ME    TOWN AND COUNTRY APARTMENTS      ME0092359   CWS         Groundwater                 136
   ME    TOWNE CENTER-RIDGEWOOD           ME0091373   CWS         Groundwater                  60
         APARTMENTS
   ME    TURNER SQUARE APARTMENTS         ME0092150   CWS         Groundwater                   63
   ME    VIGNEAULTS MOBILE HOME PARK      ME0009003   CWS         Groundwater                   53
   ME    WATERBORO WATER DISTRICT         ME0092250   CWS         Groundwater                  470
   ME    WINDSWEPT ESTATES MH PARK        ME0002577   CWS         Groundwater                   75
   ME    WINTERPORT WATER DISTRICT        ME0091640   CWS         Groundwater                  805
   ME    WOODED GROVE MOBILE HOME PARK    ME0008690   CWS         Groundwater                   90
   ME    YARMOUTH WATER DISTRICT          ME0091670   CWS         Groundwater                7,960
   MI    ADRIAN                           MI0000040   CWS         Surfacewater              23,663




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Primacy             PWS Name                 PWSID      PWS Type         Primary Source        Population
Agency                                                                                           Served
 [State]
   MI    ADVANCED BOTTLED WATER PLANT      MI2069147   System not
                                                       found in
                                                       SDWIS,
                                                       additional
                                                       search could
                                                       not find system
                                                       name.
 MI    ALBION                              MI0000100   CWS             Groundwater                  9,144
 MI    ALGOMA ESTATES                      MI0040259   CWS             Groundwater                    580
 MI    ALLEGAN                             MI0000120   CWS             Groundwater                  5,930
 MI    ALLEGAN COUNTY SERVICES CENTER      MI0000125   CWS             Groundwater                    101
 MI    ALLEGAN MOBILE ESTATES              MI0040002   CWS             Groundwater                    100
 MI    AMBER ESTATES MOBILE HOME PARK      MI0040023   CWS             Groundwater                    125
 MI    AMERICAN INTERNATIONAL FOODS        MI2102441   System not
                                                       found in
                                                       SDWIS,
                                                       additional
                                                       search could
                                                       not find system
                                                       name.
 MI    ANDREWS UNIVERSITY                  MI0000210   CWS             Groundwater purchased        3,000

 MI    ANN ARBOR                           MI0000220   CWS           Surfacewater                 118,017
 MI    ARLINGTON WOODS                     MI0040356   CWS           Groundwater                    1,650
 MI    ATHENS                              MI0000260   CWS           Groundwater                      956
 MI    BALDWIN, VILLAGE OF                 MI0000350   CWS           Groundwater                    1,060
 MI    BANGOR                              MI0000380   CWS           Groundwater                    1,938
 MI    BEAR LAKE, VILLAGE OF               MI0000510   CWS           Groundwater                      318
 MI    BENTON CHARTER TOWNSHIP             MI0000605   CWS           Surfacewater                   6,733
 MI    BENTON HARBOR                       MI0000600   CWS           Surfacewater                   9,103
 MI    BENZONIA VILLAGE OF                 MI0000610   CWS           Groundwater                      491
 MI    BERRIEN SPRINGS                     MI0000650   CWS           Groundwater                    1,910
 MI    BLISSFIELD                          MI0000750   CWS           Surfacewater                   3,276
 MI    BRIDGMAN                            MI0000850   CWS           Surfacewater                   2,291
 MI    BRIGHTON, CITY OF                   MI0000860   CWS           Groundwater                    9,200
 MI    BRONSON                             MI0000910   CWS           Groundwater                    2,421
 MI    BROOMFIELD VALLEY                   MI0040218   CWS           Groundwater                      212
 MI    BURT ESTATES                        MI0040441   CWS           Groundwater                       58
 MI    C & M MOBILE HOME COURT             MI0040093   CWS           Groundwater                       70
 MI    CASEVILLE, CITY OF                  MI0001190   CWS           Surfacewater                     777
 MI    CENTREVILLE                         MI0001310   CWS           Groundwater                    1,579
 MI    CHARLEVOIX                          MI0001330   CWS           Surfacewater                   3,124
 MI    CHARLOTTE, CITY OF                  MI0001340   CWS           Groundwater                    9,074
 MI    CHOCOLAY BUNGALOWS                  MI0001416   CWS           Groundwater                       50
 MI    CLARE, CITY OF                      MI0001420   CWS           Groundwater                    3,118
 MI    CLARKSTON LAKE ESTATES              MI0040377   CWS           Groundwater                    1,245



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Agency                                                                                             Served
 [State]
   MI      CLIMAX                           MI0001465       CWS         Groundwater                     767
   MI      COLEMAN, CITY OF                 MI0001520       CWS         Groundwater                   1,243
   MI      CONCORD                          MI0001580       CWS         Groundwater                   1,050
   MI      COUNTRY LIVING ADULT FOSTER CARE MI0001648       CWS         Groundwater                      56
   MI      COUNTRYSIDE MOBILE COURT         MI0040070       CWS         Groundwater                      60
   MI      CROCKERY MOBILE HOME PARK        MI0040417       CWS         Groundwater                     413
   MI      DECATUR                          MI0001750       CWS         Groundwater                   1,838
   MI      DEERFIELD                        MI0001770       CWS         Surfacewater                    943
   MI      DUMONT CREEK ESTATES             MI0040563       CWS         Groundwater                     188
   MI      DUNLOPS ORCHARD PARK             MI0040045       CWS         Groundwater                      65
   MI      EAST BAY CHARTER TOWNSHIP        MI0001935       CWS         Groundwater                   3,720
   MI      EATON GREEN ESTATES SUBDIVISION  MI0002025       CWS         Groundwater                     363
   MI      EDMORE                           MI0002070       CWS         Groundwater                   1,256
   MI      EGELCRAFT MOBILE HOME PARK       MI0040600       CWS         Groundwater                   1,125
   MI      ESCANABA                         MI0002170       CWS         Surfacewater                 13,659
   MI      EVART, CITY OF                   MI0002190       CWS         Groundwater                   1,903
   MI      EVERGREEN MOBILE HOME COMMUNITY MI0040206        CWS         Groundwater                     272

  MI       FENTON, CITY OF                      MI0002270   CWS         Groundwater                  11,746
  MI       FREMONT                              MI0002490   CWS         Groundwater                   4,081
  MI       FRENCHTOWN TOWNSHIP                  MI0002500   CWS         Surfacewater                 16,481
  MI       GAYLORD, CITY OF                     MI0002600   CWS         Groundwater                   3,629
  MI       GENESEE COUNTY WATER SYSTEM          MI0002615   CWS         Surfacewater purchased       71,500

  MI       GLADSTONE                            MI0002640   CWS         Surfacewater                  4,632
  MI       GM PROVING GROUNDS WELL 5, 7, 8, 9   MI2141963   NTNCWS      Groundwater                   5,500
  MI       GRAND RAPIDS                         MI0002790   CWS         Surfacewater                273,005
  MI       GRAND VALLEY ESTATES                 MI0002809   CWS         Groundwater                     288
  MI       GRAND VILLAGE MOBILE HOME PARK       MI0040069   CWS         Groundwater                      50
  MI       GRAYLING, CITY OF                    MI0002840   CWS         Groundwater                   1,884
  MI       GREAT LAKES ADVENTIST ACADEMY        MI0002839   CWS         Groundwater                     360
  MI       GREAT LAKES WATER AUTHORITY          MI0002838   CWS         Surfacewater                      0
  MI       GREENLAWN MOBILE HOME COURT          MI0040405   CWS         Groundwater                     100
  MI       GREENS LAKE APARTMENTS               MI0002847   CWS         Groundwater                     330
  MI       GREENVILLE                           MI0002850   CWS         Groundwater                   8,449
  MI       GROSSE POINTE FARMS                  MI0002890   CWS         Surfacewater                  9,479
  MI       GUERNSEY LAKE MOBILE HOME            MI0040046   CWS         Groundwater                     100
           COMMUNITY
  MI       GUN RIVER ESTATES WEST               MI0040029   CWS         Groundwater                     152
  MI       GUNTHER MOBILE HOME COURT INC        MI0040138   CWS         Groundwater                     105




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Primacy              PWS Name                PWSID      PWS Type         Primary Source   Population
Agency                                                                                      Served
 [State]
   MI    HALLSTROM CASTLE                  MI2056061   System not
                                                       found in
                                                       SDWIS,
                                                       additional
                                                       search could
                                                       not find system
                                                       name.
  MI    HARBOR SPRINGS, CITY OF            MI0003010   CWS             Groundwater              1,194
  MI    HARING CHARTER TOWNSHIP            MI0003018   CWS             Groundwater                839
  MI    HARTFORD                           MI0003070   CWS             Groundwater              2,688
  MI    HARTLAND TOWNSHIP                  MI0003075   CWS             Groundwater              2,200
  MI    HERITAGE APARTMENTS                MI0003117   CWS             Groundwater                 30
  MI    HERITAGE HILLS MOBILE HOME         MI0040333   CWS             Groundwater                 75
        VILLAGE
  MI    HESPERIA                           MI0003130   CWS           Groundwater                 954
  MI    HIDDEN SHORES WEST                 MI0005819   CWS           Groundwater                  75
  MI    HILLSDALE                          MI0003170   CWS           Groundwater               8,163
  MI    HI-WAY MOBILE HAVEN                MI0040122   CWS           Groundwater                 168
  MI    HOLIDAY VILLAGE MOBILE HOME PARK   MI0040335   CWS           Groundwater                 185
  MI    HOLLAND BOARD OF PUBLIC WORKS      MI0003190   CWS           Surfacewater             36,542
  MI    HOUGHTON                           MI0003230   CWS           Groundwater               8,386
  MI    INDEPENDENCE TOWNSHIP              MI0003342   CWS           Groundwater              11,790
  MI    IRON MOUNTAIN                      MI0003400   CWS           Groundwater               9,200
  MI    K I SAWYER                         MI0003510   CWS           Groundwater               3,000
  MI    KALAMAZOO                          MI0003520   CWS           Groundwater             192,992
  MI    KALAMAZOO LAKE SEWER & WATER       MI0003525   CWS           Groundwater               3,892
        AUTHORITY
  MI    KALEVA, VILLAGE OF                 MI0003550   CWS           Groundwater                 464
  MI    KELLOGG BIOLOGICAL STATION         MI0003598   CWS           Groundwater                 100
  MI    KENT RIDGE APARTMENTS              MI0003615   CWS           Groundwater                 120
  MI    KEY HEIGHTS MOBILE VILLAGE         MI0040276   CWS           Groundwater                 715
  MI    KING NURSING & REHABILITATION      MI0063635   CWS           Groundwater                  61
        COMMUNITY
  MI    KINGSFORD                          MI0003640   CWS           Groundwater                5,480
  MI    KINROSS TOWNSHIP                   MI0003630   CWS           Groundwater                7,341
  MI    LAKE BELLA VISTA                   MI0003695   CWS           Groundwater                3,584
  MI    LAKE CHARTER TOWNSHIP              MI0003741   CWS           Surfacewater               4,177
  MI    LAKE CITY, CITY OF                 MI0003700   CWS           Groundwater                  836
  MI    LAKE DOSTER                        MI0002925   CWS           Groundwater                1,287
  MI    LITTLE TRAVERSE TOWNSHIP           MI0003927   CWS           Groundwater                1,102
  MI    LOCKPORT TOWNSHIP                  MI0003943   CWS           Groundwater                1,778
  MI    LONG LAKE MOBILE HOME ESTATES      MI0040209   CWS           Groundwater                   68
  MI    LUDINGTON                          MI0003960   CWS           Surfacewater               8,184
  MI    MACKINAC ISLAND                    MI0003970   CWS           Surfacewater                 429
  MI    MAIN STREET APARTMENTS             MI0001545   CWS           Groundwater                   48
  MI    MANISTIQUE                         MI0004040   CWS           Surfacewater               3,197


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Primacy                PWS Name                 PWSID      PWS Type      Primary Source        Population
Agency                                                                                           Served
 [State]
   MI      MAPLE ISLAND ESTATES               MI0040361   CWS         Groundwater                     320
   MI      MAPLEWOOD AND STONE MANORS         MI0004419   CWS         Groundwater                      60
   MI      MARTIN                             MI0004155   CWS         Groundwater                     785
   MI      MENOMINEE                          MI0004250   CWS         Surfacewater                  8,583
   MI      MIDDLEVILLE                        MI0004360   CWS         Groundwater                   3,309
   MI      MIDLAND, CITY OF                   MI0004370   CWS         Surfacewater purchased       42,547

  MI       MONROE                             MI0004450   CWS         Surfacewater                 48,664
  MI       MONROE SOUTH COUNTY                MI0004455   CWS         Surfacewater purchased       33,816

  MI       MOUNT CLEMENS, CITY OF             MI0004510   CWS         Surfacewater                 18,405
  MI       MOUNT PLEASANT                     MI0004530   CWS         Surfacewater                 26,084
  MI       MUSKEGON                           MI0004570   CWS         Surfacewater                 37,213
  MI       MUSKEGON HEIGHTS                   MI0004580   CWS         Surfacewater                  9,917
  MI       MYSTIC VIEW APARTMENTS             MI0004596   CWS         Groundwater                     100
  MI       NEW BUFFALO                        MI0004680   CWS         Surfacewater                  1,900
  MI       NEWAYGO                            MI0004710   CWS         Groundwater                   2,571
  MI       NORTHPORT COTTAGE OWNERS           MI0004820   CWS         Surfacewater                    240
  MI       NORTHPORT, VILLAGE OF              MI0004810   CWS         Groundwater                     526
  MI       NORTHWEST OTTAWA CO WATER SYST     MI0004847   CWS         Surfacewater                      1

  MI       NOTTINGHAM FOREST MHP              MI0040414   CWS         Groundwater                     185
  MI       OAK HAVEN                          MI0004873   CWS         Groundwater                      30
  MI       OAK LEAF MANOR                     MI0004874   CWS         Groundwater                      36
  MI       OCEANA ACRES                       MI0004920   CWS         Groundwater                     208
  MI       OLIVET, CITY OF                    MI0004990   CWS         Groundwater                   1,758
  MI       OSCEOLA TOWNSHIP                   MI0001840   CWS         Groundwater                   1,391
  MI       OTSEGO                             MI0005060   CWS         Groundwater                   3,956
  MI       OTSEGO TOWNSHIP                    MI0005065   CWS         Groundwater                   1,133
  MI       OXFORD VILLAGE CONDOMINIUMS        MI0005136   CWS         Groundwater                      80
  MI       PARKWOOD GREEN                     MI0040284   CWS         Groundwater                     270
  MI       PAW PAW APTS - WEST MAPLE LAKE     MI0005209   CWS         Groundwater                      40
  MI       PFIZER                             MI2032539   NTNCWS      Groundwater                   3,400
  MI       PINE ISLAND LAKE REC PARK          MI0040577   CWS         Groundwater                      75
  MI       PINECREST APARTMENTS               MI0005345   CWS         Groundwater                      57
  MI       PLAINWELL                          MI0005380   CWS         Groundwater                   3,998
  MI       PORT OF CALL - WEST                MI0040491   CWS         Groundwater                     152
  MI       PORTAGE                            MI0005520   CWS         Groundwater                  46,292
  MI       PORTAGE TERRACE                    MI0040253   CWS         Groundwater                     202
  MI       PORTLAND                           MI0005530   CWS         Groundwater                   3,883
  MI       PRAIRIE VILLAGE APARTMENTS         MI0005566   CWS         Groundwater                      38
  MI       QUINCY                             MI0005580   CWS         Groundwater                   2,040
  MI       RICHMOND TOWNSHIP                  MI0005160   CWS         Groundwater                     489
  MI       RIVERSBEND MOBILE HOME PARK        MI0040515   CWS         Groundwater                     180




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Primacy               PWS Name                PWSID      PWS Type         Primary Source         Population
Agency                                                                                             Served
 [State]
   MI    ROBINSON FIRE STATION              MI0000000   System not
                                                        found in
                                                        SDWIS,
                                                        additional
                                                        search could
                                                        not find system
                                                        name.
  MI    ROSCOMMON, VILLAGE OF               MI0005810   CWS             Groundwater                   1,075
  MI    ROYAL ESTATES                       MI0040255   CWS             Groundwater                     380
  MI    SAGINAW, CITY OF                    MI0005850   CWS             Surfacewater purchased       51,508

  MI    SASHABAW MEADOWS MHP                MI0040575   CWS            Groundwater                    1,278
  MI    SHERIDAN                            MI0006040   CWS            Groundwater                      649
  MI    SHERIDAN ESTATES                    MI0040351   CWS            Groundwater                       65
  MI    SHERMAN TOWNSHIP                    MI0002590   CWS            Groundwater                       40
  MI    SILVER CREEK ESTATES MOBILE HOME    MI0040519   CWS            Groundwater                      260
        COURT
  MI    SILVER SHORES MOBILE HOME PARK      MI0040176   CWS            Groundwater                      360
  MI    SIMS-WHITNEY UTILITIES AUTH.        MI0006073   CWS            Surfacewater purchased         5,815

  MI    SOUTHTOWN MHP                       MI0040060   CWS            Groundwater                      160
  MI    SPARTA                              MI0006200   CWS            Groundwater                    4,140
  MI    SPRINGPORT                          MI0006250   CWS            Groundwater                      800
  MI    ST IGNACE                           MI0006290   CWS            Surfacewater                   2,900
  MI    ST JOSEPH                           MI0006310   CWS            Surfacewater                   8,789
  MI    ST. CLAIR, CITY OF                  MI0006270   CWS            Surfacewater                   5,485
  MI    ST. LOUIS, CITY OF                  MI0006320   CWS            Surfacewater purchased         6,976

  MI    SUN MEADOWS APARTMENTS              MI0006465   CWS            Groundwater                       98
  MI    SUNSET SHORES                       MI0040653   CWS            Groundwater                      200
  MI    TALLMADGE MEADOWS                   MI0040426   CWS            Groundwater                      268
  MI    THE PINES OF GOODRICH               MI0066695   CWS            Groundwater                       40
  MI    THORNAPPLE MANOR                    MI0060425   CWS            Groundwater                      328
  MI    TIMBERLINE ESTATES                  MI0040363   CWS            Groundwater                      755
  MI    TIMBERLY VILLAGE MHP                MI0040121   CWS            Groundwater                       58
  MI    TRAVERSE CITY                       MI0006640   CWS            Surfacewater                  14,532
  MI    TROUT CREEK CONDOMINIUMS            MI0006682   CWS            Groundwater                      492
  MI    UNION CITY                          MI0006720   CWS            Groundwater                    1,630
  MI    UNION TOWNSHIP                      MI0006725   CWS            Groundwater                   12,927
  MI    VILLAGE EAST ESTATES                MI0040028   CWS            Groundwater                      235
  MI    WALLOON LAKE WATER SYSTEM           MI0006880   CWS            Groundwater                      399
  MI    WATERFORD TOWNSHIP                  MI0006910   CWS            Groundwater                   73,441
  MI    WELLERS TRAILER PARK                MI0040293   CWS            Groundwater                       52
  MI    WEST OLIVE ESTATES                  MI0040614   CWS            Groundwater                    1,850
  MI    WHISPERING PINES                    MI0040576   CWS            Groundwater                      125
  MI    WHISPERING PINES ESTATES            MI0040500   CWS            Groundwater                      125



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Primacy                    PWS Name                   PWSID      PWS Type      Primary Source        Population
Agency                                                                                                 Served
 [State]
   MI      WHITE BIRCH MOBILE HOME VILLAGE          MI0040516   CWS         Groundwater                     250
   MI      WOODLAND ESTATES                         MI0040296   CWS         Groundwater                     268
   MI      WOODLAND PARK AND SALES                  MI0040326   CWS         Groundwater                     125
   MI      WOODLANDS MHC                            MI0040404   CWS         Groundwater                     650
   MI      WYANDOTTE                                MI0007210   CWS         Surfacewater                 25,883
   MI      WYOMING                                  MI0007220   CWS         Surfacewater                 72,125
  MN       Alexandria                               MN1210001   CWS         Groundwater                  13,554
  MN       Altura                                   MN1850018   CWS         Groundwater                     493
  MN       Andover                                  MN1020034   CWS         Groundwater                  21,455
  MN       Annandale                                MN1860002   CWS         Groundwater                   3,374
  MN       Anoka                                    MN1020001   CWS         Groundwater                  18,000
  MN       Apple Valley                             MN1190001   CWS         Groundwater                  50,300
  MN       Appleton                                 MN1760001   CWS         Groundwater                   1,412
  MN       Austin Mobile Home Park                  MN1500003   CWS         Groundwater                      59
  MN       Austin Utilities                         MN1500002   CWS         Groundwater                  26,174
  MN       Avon                                     MN1730002   CWS         Groundwater                   1,454
  MN       Babbitt                                  MN1690003   CWS         Groundwater                   1,200
  MN       Baldwin Lake Estates                     MN1020014   CWS         Groundwater                     260
  MN       Baxter                                   MN1180027   CWS         Groundwater                   8,538
  MN       Bay Lake Reserve Development             MN1820036   CWS         Groundwater                      80
  MN       Bayport                                  MN1820001   CWS         Groundwater                   2,700
  MN       Becker                                   MN1710008   CWS         Groundwater                   4,720
  MN       Bel Clare Estates                        MN1730030   CWS         Groundwater                     750
  MN       Belle Plaine                             MN1700001   CWS         Groundwater                   6,901
  MN       Benton Utilities LLC                     MN1050009   CWS         Groundwater                     120
  MN       Big Lake                                 MN1710002   CWS         Groundwater                  11,686
  MN       Blaine                                   MN1020006   CWS         Groundwater                  69,975
  MN       Bloomington                              MN1270001   CWS         Surfacewater purchased       89,987

  MN       Blue Waters Leisure Park                 MN1130010   CWS         Groundwater                     150
  MN       Bonnevista Terrace Mobile Home Park      MN1700012   CWS         Groundwater                     579
  MN       Bowlus                                   MN1490009   CWS         Groundwater                     300
  MN       Braham                                   MN1300001   CWS         Groundwater                   1,800
  MN       Brainerd                                 MN1180002   CWS         Groundwater                  13,590
  MN       Brookhaven Development                   MN1700016   CWS         Groundwater                      45
  MN       Brooklyn Center                          MN1270004   CWS         Groundwater                  30,104
  MN       Brooklyn Park                            MN1270005   CWS         Groundwater                  85,000
  MN       Brookside Mobile Home Park               MN1620021   CWS         Groundwater                     550
  MN       Brownsdale                               MN1500017   CWS         Groundwater                     682
  MN       Buckman                                  MN1490001   CWS         Groundwater                     270
  MN       Buhl                                     MN1690006   CWS         Groundwater                   1,000
  MN       Burnsville                               MN1190002   CWS         Surfacewater                 61,747
  MN       Cannon Falls                             MN1250001   CWS         Groundwater                   4,109
  MN       Cedar Terrace Mobile Home Park           MN1820021   CWS         Groundwater                      25



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Primacy                     PWS Name                    PWSID      PWS Type      Primary Source   Population
Agency                                                                                              Served
 [State]
  MN       Centerville                                MN1020036   CWS         Groundwater                4,275
  MN       Chanhassen                                 MN1100001   CWS         Groundwater               24,951
  MN       Chisago City                               MN1130003   CWS         Groundwater                3,563
  MN       Cimarron Park                              MN1820010   CWS         Groundwater                2,000
  MN       Circle Pines                               MN1020013   CWS         Groundwater                5,023
  MN       Clearwater                                 MN1860025   CWS         Groundwater                1,922
  MN       Clearwater Forest Mobile Home Park         MN1730012   CWS         Groundwater                  367
  MN       Clearwater Harbor Property, Incorporated   MN1730052   CWS         Groundwater                   70
  MN       Cloquet                                    MN1090005   CWS         Groundwater               11,295
  MN       Cold Spring                                MN1730006   CWS         Groundwater                4,201
  MN       College of St. Benedict                    MN1730034   CWS         Groundwater                1,600
  MN       Coon Rapids                                MN1020017   CWS         Groundwater               64,000
  MN       Countryside Estates                        MN1270066   CWS         Groundwater                  116
  MN       Crookston                                  MN1600002   CWS         Groundwater                7,482
  MN       Cross Lake Housing Development             MN1580023   CWS         Groundwater                  150
  MN       Curtis Flats                               MN1270076   CWS         Groundwater                   33
  MN       Divine Son Mobile Home Park                MN1860003   CWS         Groundwater                   70
  MN       Eagan                                      MN1190007   CWS         Groundwater               68,223
  MN       Eagle Bend                                 MN1770004   CWS         Groundwater                  535
  MN       Eagle's Watch Development                  MN1820034   CWS         Groundwater                  140
  MN       East Grand Forks                           MN1600004   CWS         Surfacewater               9,176
  MN       East Pointe Townhomes                      MN1111112   CWS         Groundwater                   75
  MN       Edina                                      MN1270011   CWS         Groundwater               52,490
  MN       Elgin                                      MN1790001   CWS         Groundwater                1,089
  MN       Elk River                                  MN1710004   CWS         Groundwater               16,914
  MN       Evergreen Hills Mobile Home Park           MN1730059   CWS         Groundwater                  144
  MN       Excelsior                                  MN1270012   CWS         Groundwater                2,483
  MN       Faribault                                  MN1660002   CWS         Groundwater               23,718
  MN       Farmington                                 MN1190008   CWS         Groundwater               23,534
  MN       Fischers Garden Mobile Home Park           MN1050005   CWS         Groundwater                  220
  MN       Five Star Mobile Home Park                 MN1620017   CWS         Groundwater                  458
  MN       Foley                                      MN1050001   CWS         Groundwater                2,652
  MN       Foreston                                   MN1480014   CWS         Groundwater                  340
  MN       Fridley                                    MN1020031   CWS         Groundwater               27,476
  MN       Fridley Terrace Mobile Home Park           MN1020007   CWS         Groundwater                1,300
  MN       Goodhue                                    MN1250005   CWS         Groundwater                1,200
  MN       Grand Rapids                               MN1310011   CWS         Groundwater                8,886
  MN       Grey Eagle                                 MN1770005   CWS         Groundwater                  330
  MN       Grove Place Apartments                     MN1730061   CWS         Groundwater                   25
  MN       Hampton                                    MN1190010   CWS         Groundwater                  691
  MN       Hastings                                   MN1190012   CWS         Groundwater               23,222
  MN       Hiawatha Estates, Subds. I, II & III       MN1790016   CWS         Groundwater                   95
  MN       Hibbing                                    MN1690022   CWS         Groundwater               16,093
  MN       Hidden Valley Mobile Home Park             MN1850017   CWS         Groundwater                  464


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Primacy                      PWS Name                    PWSID      PWS Type      Primary Source   Population
Agency                                                                                               Served
 [State]
  MN       Hilltop Water Company                       MN1820026   CWS         Groundwater                 25
  MN       Hinckley                                    MN1580005   CWS         Groundwater              1,873
  MN       Holdingford                                 MN1730014   CWS         Groundwater                770
  MN       Hopkins                                     MN1270016   CWS         Groundwater             18,998
  MN       Hoyt Lakes                                  MN1690028   CWS         Surfacewater             2,017
  MN       Hugo                                        MN1820007   CWS         Groundwater             12,047
  MN       Inver Grove Heights                         MN1190014   CWS         Groundwater             34,189
  MN       Ironton                                     MN1180017   CWS         Groundwater                572
  MN       Isanti                                      MN1300005   CWS         Groundwater              5,600
  MN       Isanti Estates                              MN1300006   CWS         Groundwater                267
  MN       Kasota                                      MN1400005   CWS         Groundwater                670
  MN       Kellogg                                     MN1790003   CWS         Groundwater                469
  MN       Kimball                                     MN1730015   CWS         Groundwater                808
  MN       Kinney                                      MN1690031   CWS         Groundwater                152
  MN       Lake Andrew Development                     MN1050011   CWS         Groundwater                 80
  MN       Lake City                                   MN1790004   CWS         Groundwater              5,042
  MN       Lakeville                                   MN1190015   CWS         Groundwater             67,300
  MN       Lexington Riverside Condominium             MN1190022   CWS         Groundwater                200
  MN       Lino Lakes                                  MN1020023   CWS         Groundwater             17,360
  MN       Litchfield                                  MN1470008   CWS         Groundwater              6,786
  MN       Little Falls                                MN1490002   CWS         Groundwater              8,649
  MN       Littlefork                                  MN1360004   CWS         Groundwater                553
  MN       Long Prairie                                MN1770007   CWS         Groundwater              3,396
  MN       Luverne                                     MN1670004   CWS         Groundwater              4,688
  MN       Madison Lake                                MN1070007   CWS         Groundwater              1,017
  MN       Mahtomedi                                   MN1820013   CWS         Groundwater              8,134
  MN       Maple Grove                                 MN1270020   CWS         Groundwater             75,000
  MN       Marshall                                    MN1420006   CWS         Groundwater             13,680
  MN       McGregor                                    MN1010016   CWS         Groundwater                394
  MN       Melrose                                     MN1730016   CWS         Groundwater              3,677
  MN       Milaca                                      MN1480002   CWS         Groundwater              2,800
  MN       Milan                                       MN1120003   CWS         Groundwater                369
  MN       Mille Lacs Island Resort                    MN1480011   CWS         Groundwater                600
  MN       Millville                                   MN1790010   CWS         Groundwater                171
  MN       Minneapolis                                 MN1270024   CWS         Surfacewater           423,990
  MN       Minnesota Veterans Home                     MN1190013   CWS         Groundwater                180
  MN       Minnetonka                                  MN1270031   CWS         Groundwater             54,245
  MN       Minnetonka Beach                            MN1270034   CWS         Groundwater                547
  MN       MN Correctional Facility - Faribault        MN1660005   CWS         Groundwater              2,103
  MN       MN Correctional Facility - Togo             MN1310029   CWS         Groundwater                 75
  MN       Mobile Manor Mobile Home Park               MN1700010   CWS         Groundwater                197
  MN       Monticello                                  MN1860012   CWS         Groundwater             13,409
  MN       Moorhead                                    MN1140008   CWS         Surfacewater            42,005
  MN       Mora                                        MN1330001   CWS         Groundwater              3,518


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Primacy                     PWS Name                   PWSID      PWS Type      Primary Source   Population
Agency                                                                                             Served
 [State]
  MN       Morton                                    MN1650010   CWS         Groundwater                374
  MN       Mounds View                               MN1620008   CWS         Groundwater             12,959
  MN       Nashwauk                                  MN1310024   CWS         Groundwater                986
  MN       Nerstrand                                 MN1660009   CWS         Groundwater                299
  MN       New Brighton                              MN1620009   CWS         Groundwater             22,902
  MN       New Munich                                MN1730017   CWS         Groundwater                320
  MN       New Trier                                 MN1190011   CWS         Groundwater                120
  MN       New York Mills                            MN1560017   CWS         Groundwater              1,294
  MN       North Saint Paul                          MN1620011   CWS         Groundwater             12,683
  MN       Northfield                                MN1660010   CWS         Groundwater             20,515
  MN       Oak Grove                                 MN1020044   CWS         Groundwater                623
  MN       Oak Park Heights                          MN1820020   CWS         Groundwater              4,849
  MN       Ogilvie                                   MN1330004   CWS         Groundwater                353
  MN       Onamia                                    MN1480003   CWS         Groundwater                875
  MN       Orr                                       MN1690038   CWS         Groundwater                249
  MN       Otsego                                    MN1860026   CWS         Groundwater             13,500
  MN       Paynesville                               MN1730018   CWS         Groundwater              2,530
  MN       Pease                                     MN1480017   CWS         Groundwater                242
  MN       Perham                                    MN1560023   CWS         Groundwater              3,421
  MN       Pine City                                 MN1580008   CWS         Groundwater              3,127
  MN       Pine Land Mobile Home Park (Carda's)      MN1330005   CWS         Groundwater                 70
  MN       Pine River                                MN1110019   CWS         Groundwater                941
  MN       Pine Village, Inc.                        MN1300003   CWS         Groundwater                460
  MN       Pines Mobile Estates                      MN1040009   CWS         Groundwater                 60
  MN       Pipestone                                 MN1590005   CWS         Groundwater              4,273
  MN       Plainview                                 MN1790012   CWS         Groundwater              3,340
  MN       Plymouth                                  MN1270044   CWS         Groundwater             81,026
  MN       Princeton                                 MN1480008   CWS         Groundwater              4,727
  MN       Queen Anne Court                          MN1190016   CWS         Groundwater                400
  MN       Ramsey                                    MN1020035   CWS         Groundwater             16,671
  MN       Randall                                   MN1490005   CWS         Groundwater                650
  MN       Renville                                  MN1650012   CWS         Groundwater              1,287
  MN       Rice                                      MN1050002   CWS         Groundwater              1,279
  MN       Rich Prairie Sewer and Water District     MN1490004   CWS         Groundwater              1,500
  MN       Richfield                                 MN1270045   CWS         Groundwater             37,154
  MN       Richmond                                  MN1730022   CWS         Groundwater              1,457
  MN       Robbinsdale                               MN1270046   CWS         Groundwater             14,300
  MN       Rochester                                 MN1550010   CWS         Groundwater            121,395
  MN       Rockford                                  MN1860018   CWS         Groundwater              4,419
  MN       Rockville                                 MN1730026   CWS         Groundwater                751
  MN       Rockwood Estates                          MN1050003   CWS         Groundwater                400
  MN       Rogers                                    MN1270047   CWS         Groundwater             11,500
  MN       Rollingstone                              MN1850008   CWS         Groundwater                664
  MN       Roosevelt Court                           MN1040035   CWS         Groundwater                 60


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Primacy                    PWS Name                  PWSID      PWS Type      Primary Source   Population
Agency                                                                                           Served
 [State]
  MN       Rosemount                               MN1190019   CWS         Groundwater             22,445
  MN       Rush City                               MN1130013   CWS         Groundwater              3,037
  MN       Saint Anthony Village                   MN1270048   CWS         Groundwater              9,257
  MN       Saint John's University                 MN1730009   CWS         Groundwater              2,500
  MN       Saint Louis Park                        MN1270050   CWS         Groundwater             50,010
  MN       Saint Martin                            MN1730035   CWS         Groundwater                343
  MN       Saint Paul Regional Water Services      MN1620026   CWS         Surfacewater           397,797
  MN       Sartell                                 MN1730036   CWS         Groundwater             19,107
  MN       Sauk Centre                             MN1730037   CWS         Groundwater              4,573
  MN       Sauk Rapids                             MN1050004   CWS         Groundwater             13,083
  MN       Savage                                  MN1700008   CWS         Groundwater             30,285
  MN       Shady Oaks Mobile Home Park             MN1730028   CWS         Groundwater                 40
  MN       Shakopee                                MN1700009   CWS         Groundwater             40,610
  MN       Shores of Eagle Lake                    MN1710014   CWS         Groundwater                 68
  MN       Shoreview                               MN1620020   CWS         Groundwater             27,200
  MN       Shorewood                               MN1270051   CWS         Groundwater              4,295
  MN       South Cedar Shores Mobile Home Park     MN1660008   CWS         Groundwater                 60
  MN       South Saint Paul                        MN1190020   CWS         Groundwater             20,400
  MN       Southridge Mobile Home Park             MN1190021   CWS         Groundwater                130
  MN       Spring Park                             MN1270053   CWS         Groundwater              1,743
  MN       Springfield                             MN1080008   CWS         Groundwater              2,070
  MN       Stillwater                              MN1820024   CWS         Groundwater             19,471
  MN       Stonebrooke Addition I                  MN1700024   CWS         Groundwater                100
  MN       Stonegate Co-op, Inc.                   MN1130008   CWS         Groundwater                 81
  MN       Supreme Mobile Home Park                MN1180003   CWS         Groundwater                 35
  MN       Swanville                               MN1490007   CWS         Groundwater                351
  MN       Taylors Falls                           MN1130017   CWS         Groundwater                967
  MN       Terrace Heights MHP LLC                 MN1620018   CWS         Groundwater                266
  MN       The Meadows                             MN1860013   CWS         Groundwater              1,000
  MN       Town and Country Mobile Home Park       MN1620016   CWS         Groundwater                315
  MN       Upsala                                  MN1490008   CWS         Groundwater                425
  MN       Vadnais Heights                         MN1620030   CWS         Groundwater             13,330
  MN       Valley Mobile Home Park                 MN1400006   CWS         Groundwater                 34
  MN       Vermillion                              MN1190028   CWS         Groundwater                451
  MN       Verndale                                MN1800003   CWS         Groundwater                559
  MN       Wabasha                                 MN1790013   CWS         Groundwater              2,521
  MN       Wadena                                  MN1800004   CWS         Groundwater              4,103
  MN       Waite Park                              MN1730039   CWS         Groundwater              7,639
  MN       Watertown                               MN1100012   CWS         Groundwater              4,550
  MN       Wayzata                                 MN1270054   CWS         Groundwater              4,592
  MN       Westbrook Estates                       MN1210028   CWS         Groundwater                 30
  MN       White Bear Lake                         MN1620024   CWS         Groundwater             25,634
  MN       White Bear Township                     MN1620025   CWS         Groundwater             12,160
  MN       Willmar                                 MN1340016   CWS         Groundwater             20,008


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Primacy                  PWS Name               PWSID      PWS Type      Primary Source        Population
Agency                                                                                           Served
 [State]
  MN     Willows of Ham Lake                  MN1020037   CWS         Groundwater                      69
  MN     Winsted                              MN1430010   CWS         Groundwater                   2,355
  MN     Worthington                          MN1530011   CWS         Surfacewater purchased       13,288

 MN     Zimmerman                             MN1710006   CWS         Groundwater                   5,334
 MN     Zumbro Falls                          MN1790015   CWS         Groundwater                     181
 MN     Zumbrota                              MN1250020   CWS         Groundwater                   3,172
 MO     ADVANCE PWS                           MO4010002   CWS         Groundwater                   1,400
 MO     CANTON PWS                            MO2010134   CWS         Groundwater                   2,377
 MO     HARRISON COUNTY PWSD 1                MO1024241   CWS         Groundwater purchased           823

 MO     HARRISON COUNTY PWSD 2                MO1024242   CWS         Groundwater                   3,740
 MO     KNOB NOSTER PWS                       MO1010432   CWS         Groundwater                   2,600
 MO     LAGRANGE PWS                          MO2010440   CWS         Groundwater                   1,102
 MO     NEOSHO PWS                            MO5010560   CWS         Surfacewater                 12,157
 MO     NEVADA PWS                            MO5010562   CWS         Groundwater                   8,198
 MO     NEW HAVEN PWS                         MO6010568   CWS         Groundwater                   2,000
 MO     OAK GROVE VILLAGE PWS                 MO6010590   CWS         Groundwater                     508
 MO     PERRYVILLE PWS                        MO4010636   CWS         Surfacewater                  8,456
 MO     PORTAGEVILLE PWS                      MO4010658   CWS         Groundwater                   3,074
 MO     PULASKI COUNTY PWSD 2                 MO3024491   CWS         Groundwater                   8,038
 MO     ROGERSVILLE PWS                       MO5010699   CWS         Groundwater                   3,213
 MO     SEDALIA PWS                           MO3010728   CWS         Groundwater                  22,000
 MO     ST ROBERT PWS                         MO3010720   CWS         Groundwater                   5,192
 MO     UNITY VILLAGE                         MO1010921   CWS         Surfacewater                  1,000
 MO     WAYNESVILLE PWS                       MO3010841   CWS         Groundwater                   5,460
 MT     BEARCREEK MUNICIPAL WATER SYS         MT0000063   CWS         Ground water                    200
 MT     KALISPELL PUBLIC WORKS                MT0000259   CWS         Groundwater                  20,008
 NC     AHOSKIE, TOWN OF                      NC0446010   CWS         Groundwater                   5,479
 NC     ALAN ACRES                            NC0136102   CWS         Groundwater                     366
 NC     ALBEMARLE, CITY OF                    NC0184010   CWS         Surfacewater                 17,368
 NC     AMY ACRES S/D                         NC0136339   CWS         Groundwater                     358
 NC     ANSON COUNTY WATER SYSTEM             NC0304010   CWS         Surfacewater                 13,771
 NC     APPLEGATE WATER SYSTEM                NC0234179   CWS         Groundwater                     429
 NC     ASHEBORO, CITY OF                     NC0276010   CWS         Surfacewater                 27,191
 NC     ASHEBROOK PARK                        NC0136104   CWS         Groundwater                     231
 NC     ASHEBROOK WOODS                       NC0276101   CWS         Surfacewater purchased           96

  NC    ASHEVILLE CITY OF                     NC0111010   CWS         Surfacewater                156,720
  NC    ASHLEY HILLS S/D                      NC0392318   CWS         Groundwater                     453
  NC    AURORA WATER SYSTEM                   NC0407020   CWS         Groundwater                     805
  NC    AYDEN TOWN OF                         NC0474025   CWS         Surfacewater purchased        6,366

  NC    BAKERSVILLE, TOWN OF                  NC0161015   CWS         Groundwater                     725
  NC    BANNERTOWN HILLS S/D                  NC0286101   CWS         Groundwater                      71



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Primacy                PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                          Served
 [State]
   NC      BARCLAY DOWNS S/D                 NC0392211   CWS         Groundwater                     314
   NC      BAYLEAF MASTER                    NC0392373   CWS         Groundwater                  15,585
   NC      BEAUFORT CO SOUTHSIDE             NC0407040   CWS         Groundwater                   9,263
   NC      BEAUFORT, TOWN OF                 NC0416010   CWS         Groundwater                   4,452
   NC      BEECHWOOD COVE/POLKS LANDING      NC0319110   CWS         Surfacewater purchased          406

  NC       BELHAVEN WATER SYSTEM             NC0407015   CWS         Groundwater                   1,960
  NC       BELL ARTHUR WATER CORP            NC0474045   CWS         Surfacewater purchased       10,635

  NC       BELLE MEADE S/D                   NC0118101   CWS         Groundwater                      66
  NC       BELMONT, CITY OF                  NC0136015   CWS         Surfacewater                 15,010
  NC       BERKSHIRE DOWNS                   NC0392320   CWS         Groundwater                     277
  NC       BESSEMER CITY, CITY OF            NC0136025   CWS         Surfacewater                  5,500
  NC       BETHAVEN WATER SYSTEM             NC0180186   CWS         Groundwater                      66
  NC       BEVERLY ACRES.                    NC0136108   CWS         Groundwater                     137
  NC       BLACK MOUNTAIN, TOWN OF           NC0111020   CWS         Surfacewater purchased       10,125

  NC       BLADEN CO WTR DIST-EAST BLADEN    NC0309060   CWS         Groundwater                   3,889
  NC       BLADEN CO WTR DIST-WEST BLADEN    NC0309055   CWS         Groundwater                  12,014
  NC       BOLTON, TOWN OF                   NC0424050   CWS         Groundwater                     681
  NC       BRENTWOOD S/D                     NC0332117   CWS         Groundwater                      69
  NC       BRETTONWOOD HILLS S/D             NC0326286   CWS         Surfacewater purchased          187

  NC       BREVARD, CITY OF                  NC0188010   CWS         Surfacewater                 10,686
  NC       BRIAR CREEK S/D                   NC0136262   CWS         Groundwater                     140
  NC       BROOKWOOD COMM WTR SYSTEM         NC0326127   CWS         Groundwater                  15,665
  NC       BROOKWOOD SOUTH/FAYETTEVILLE      NC5026018   CWS         Surfacewater purchased        2,357
           PWC
  NC       BRUNSWICK COUNTY WATER SYSTEM     NC0410045   CWS         Surfacewater                113,410
  NC       BRUNSWICK REGIONAL WATER AND      NC0410070   CWS         Surfacewater purchased       45,748
           SEWER H2GO
  NC       BUFFALO SHOALS PARK               NC0149141   CWS         Groundwater                      86
  NC       BUNKER HILL ESTATES S/D           NC0118280   CWS         Groundwater                     178
  NC       BURLINGTON, CITY OF               NC0201010   CWS         Surfacewater                 56,691
  NC       CABARRUS ACRES WATER SYSTEM       NC0113146   CWS         Groundwater                      46
  NC       CAMELOT S/D                       NC0392111   CWS         Groundwater                     615
  NC       CANDY CREEK ESTATES               NC0279147   CWS         Groundwater                      99
  NC       CANTERBURY ESTATES                NC0332122   CWS         Groundwater                     295
  NC       CARDENS CREEK S/D                 NC0332126   CWS         Groundwater                     183
  NC       CARDINAL ACRES                    NC0149104   CWS         Groundwater                     127
  NC       CARMEL PARK                       NC0136112   CWS         Groundwater                     107
  NC       CARTHAGE, TOWN OF                 NC0363025   CWS         Surfacewater                  3,609
  NC       CARY, TOWN OF                     NC0392020   CWS         Surfacewater                212,000
  NC       CEDAR GROVE S/D                   NC0136249   CWS         Groundwater                     462
  NC       CEDARWOOD ACRES                   NC0136114   CWS         Groundwater                     162
  NC       CFPUA-WILMINGTON                  NC0465010   CWS         Surfacewater                180,516


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Primacy               PWS Name               PWSID      PWS Type      Primary Source        Population
Agency                                                                                        Served
 [State]
   NC    CHAPEL RIDGE S/D                  NC4019009   CWS         Surfacewater purchased          798

 NC    CHAPEL VIEW CIRCLE WATER SYS        NC0118238   CWS         Groundwater                       48
 NC    CHARLOTTE WATER                     NC0160010   CWS         Surfacewater               1,122,276
 NC    CHATHAM CO-NORTH                    NC0319126   CWS         Surfacewater                  22,948
 NC    CHERRYVILLE, CITY OF                NC0136030   CWS         Surfacewater                   6,353
 NC    CHESTERFIELD VILLAGE                NC4392107   CWS         Groundwater                       89
 NC    CHIPLEY PARK SD                     NC0149106   CWS         Groundwater                      251
 NC    CHOCOWINITY WATER SYSTEM            NC0407025   CWS         Groundwater                    2,565
 NC    CHOWAN CO WATER SYSTEM              NC0421015   CWS         Groundwater                   10,762
 NC    CLEARVIEW ACRES S/D                 NC0118105   CWS         Groundwater                      170
 NC    CLEVELAND COUNTY WATER              NC0123055   CWS         Surfacewater                  54,978
 NC    CLIFFDALE WEST                      NC0326332   CWS         Groundwater                   15,463
 NC    COLONIAL HEIGHTS-MALIBU S/D         NC0392116   CWS         Groundwater                      238
 NC    COLONIAL HEIGHTS-MEADOWBROOK        NC0392213   CWS         Groundwater                       77
 NC    COLUMBUS COUNTY WATER DIST III      NC7024012   CWS         Groundwater                    2,615
 NC    CONCORD, CITY OF                    NC0113010   CWS         Surfacewater                 112,212
 NC    COPELAND ACRES S/D                  NC0326143   CWS         Groundwater                      205
 NC    COTTONWOOD S/D                      NC0392081   CWS         Groundwater                      203
 NC    COUNTRY ACRES MH S/D                NC0113141   CWS         Surfacewater purchased           208

 NC    COUNTRY CROSSING S/D                NC0155134   CWS         Groundwater                     183
 NC    COUNTRY MEADOWS                     NC0136167   CWS         Groundwater                     432
 NC    COUNTRY SQUIRE ESTATES              NC0392120   CWS         Groundwater                      85
 NC    CRABTREE II S/D                     NC0118287   CWS         Groundwater                      79
 NC    CREEKSIDE PLACE S/D                 NC0351192   CWS         Surfacewater purchased          361

 NC    CREEKSTONE S/D                      NC0351186   CWS         Groundwater                     505
 NC    CRESTVIEW S/D                       NC0180108   CWS         Groundwater                     135
 NC    CRESTVIEW S/D                       NC0113142   CWS         Groundwater                     163
 NC    CROSS CREEK MHP                     NC0392351   CWS         Groundwater                     442
 NC    DALLAS ACRES                        NC0392108   CWS         Groundwater                     150
 NC    DALLAS, TOWN OF                     NC0136065   CWS         Surfacewater                  7,422
 NC    DANBURY, TOWN OF                    NC0285020   CWS         Groundwater                     250
 NC    DARE CO-CAPE HATTERAS WATER         NC0428025   CWS         Groundwater                   5,486
 NC    DAVIDSON WATER INC                  NC0229025   CWS         Surfacewater                163,586
 NC    DAVIE COUNTY WATER SYSTEM           NC0230015   CWS         Surfacewater                 29,947
 NC    DEERPATH S/D                        NC0234192   CWS         Groundwater                     142
 NC    DEERWOOD S/D                        NC0155135   CWS         Groundwater                     100
 NC    DENTON, TOWN OF                     NC0229030   CWS         Surfacewater                  3,080
 NC    DIAMOND HEAD S/D                    NC0149182   CWS         Groundwater                   1,433
 NC    DUAN ACRES WATER SYSTEM             NC0118268   CWS         Groundwater                     305
 NC    DUNN, CITY OF                       NC0343010   CWS         Surfacewater                 12,088
 NC    DUPLIN COUNTY WATER SYSTEM          NC0431085   CWS         Groundwater                  18,542




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Primacy                PWS Name            PWSID      PWS Type      Primary Source        Population
Agency                                                                                      Served
 [State]
   NC    DURHAM COUNTY ROUGEMONT WATER   NC4032018   CWS         Groundwater                      65
         SYSTEM
   NC    DURHAM, CITY OF                 NC0332010   CWS         Surfacewater                309,355
   NC    EAST CHESTNUT ST EXT            NC0136320   CWS         Groundwater                     213
   NC    EAST GASTON MHP                 NC0136243   CWS         Groundwater                     124
   NC    EDEN, CITY OF                   NC0279010   CWS         Surfacewater                 15,023
   NC    EDENTON, TOWN OF                NC0421010   CWS         Groundwater                   5,500
   NC    EDGEWOOD S/D                    NC0136128   CWS         Groundwater                     193
   NC    ELIZABETH CITY, CITY OF         NC0470010   CWS         Groundwater                  19,187
   NC    ELM CITY, TOWN OF               NC0498020   CWS         Surfacewater purchased        1,450

 NC    EMERALD VILLAGE S/D               NC0392128   CWS         Groundwater                     125
 NC    ENOCH AVE & TURNER DR MHP         NC0180195   CWS         Groundwater                      71
 NC    FAIRFAX S/D                       NC0136242   CWS         Groundwater                     150
 NC    FAITH, TOWN OF                    NC0180055   CWS         Groundwater                   1,291
 NC    FARMWOOD S/D(COUNTRYWOODS S/D)    NC0136290   CWS         Groundwater                     246
 NC    FAYETTEVILLE PUBLIC WORKS COMM    NC0326010   CWS         Surfacewater                213,253
 NC    FIRST CRAVEN SANITARY DISTRICT    NC0425040   CWS         Groundwater                   6,325
 NC    FIVE OAKS S/D                     NC0102127   CWS         Groundwater                      99
 NC    FLEETWOOD ACRES S/D               NC0136133   CWS         Groundwater                     271
 NC    FONTAIN VILLAGE                   NC0136135   CWS         Groundwater                     287
 NC    FOREST ACRES                      NC0136291   CWS         Groundwater                      97
 NC    FOX RIDGE S/D                     NC0145144   CWS         Groundwater                     457
 NC    FOX RUN S/D                       NC0332116   CWS         Groundwater                     261
 NC    FOX RUN S/D                       NC0136261   CWS         Groundwater                     516
 NC    FRANKLINTON, TOWN OF              NC0235010   CWS         Surfacewater                  2,380
 NC    FREEMONT PARK S/D                 NC0149113   CWS         Groundwater                     122
 NC    FUQUAY-VARINA, TOWN OF            NC0392055   CWS         Surfacewater purchased       39,065

 NC    GAYLEE VILLAGE                    NC0392133   CWS         Groundwater                     465
 NC    GLENCROFT S/D                     NC0118315   CWS         Groundwater                     178
 NC    GLENCROFT S/D                     NC0160329   CWS         Groundwater                     112
 NC    GLYNNWOOD MHP                     NC0465121   CWS         Groundwater                     208
 NC    GOLDSBORO, CITY OF                NC0496010   CWS         Surfacewater                 34,959
 NC    GRAHAM, CITY OF                   NC0201015   CWS         Surfacewater                 18,057
 NC    GREEN MEADOWS/HEATHER ACRES SD    NC0136138   CWS         Groundwater                     213
 NC    GREEN PINES S/D                   NC0392135   CWS         Groundwater                     160
 NC    GREENEVERS, TOWN OF               NC0431060   CWS         Groundwater                   1,390
 NC    GREENFIELD S/D                    NC0118273   CWS         Groundwater                     193
 NC    GREENSBORO, CITY OF               NC0241010   CWS         Surfacewater                318,057
 NC    GREENVILLE UTILITIES COMM         NC0474010   CWS         Surfacewater                103,140
 NC    GREENWOOD S/D                     NC0118264   CWS         Groundwater                      61
 NC    GREYMOSS S/D                      NC0332111   CWS         Groundwater                     361
 NC    GRIMESLAND, TOWN OF               NC0474055   CWS         Groundwater                     610
 NC    HAMLET WATER SYSTEM               NC0377010   CWS         Surfacewater                 10,289


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Primacy                PWS Name                 PWSID      PWS Type      Primary Source        Population
Agency                                                                                           Served
 [State]
   NC      HANOVER DOWNS S/D                  NC0392364   CWS         Groundwater                      53
   NC      HARBOR VIEW S/D                    NC0149190   CWS         Groundwater                     516
   NC      HARDSCRABBLE S/D                   NC0332139   CWS         Groundwater                     643
   NC      HARNETT REGIONAL WATER             NC0343045   CWS         Surfacewater                107,373
   NC      HARRELLSVILLE, TOWN OF             NC0446040   CWS         Groundwater                     843
   NC      HARRISBURG, TOWN OF                NC0113025   CWS         Surfacewater purchased       19,439

  NC       HEATHER DOWNS MH S/D               NC0351173   CWS         Groundwater                     112
  NC       HEATHERSTONE WEST S/D              NC4392119   CWS         Groundwater                     229
  NC       HELMS WATER SYSTEM                 NC0136239   CWS         Groundwater                      86
  NC       HENDERSON-KERR LAKE REG WTR        NC0291010   CWS         Surfacewater                 14,998
  NC       HERITAGE WEST                      NC0276165   CWS         Groundwater                      40
  NC       HERTFORD WATER SYSTEM              NC0472010   CWS         Groundwater                   2,145
  NC       HIDDEN CREEK ESTATES               NC0118290   CWS         Groundwater                     340
  NC       HIGH POINT, CITY OF                NC0241020   CWS         Surfacewater                116,065
  NC       HILL-N-DALE-LINCOLN VIEW S/D       NC0155127   CWS         Surfacewater purchased          320

  NC       HILLSBOROUGH, TOWN OF              NC0368015   CWS         Surfacewater                 15,238
  NC       HOLLY HILLS S/D                    NC0181134   CWS         Surfacewater purchased          119

  NC       HOLLY HILLS S/D                    NC0118126   CWS         Groundwater                      38
  NC       HOLLY SPRINGS, TOWN OF             NC0392050   CWS         Surfacewater purchased       45,058

  NC       HOMESTEAD PARK S/D                 NC0118171   CWS         Groundwater                     137
  NC       HOMESTEAD S/D                      NC0149118   CWS         Groundwater                      51
  NC       HOMESTEAD S/D WATER SYSTEM         NC0118241   CWS         Groundwater                     389
  NC       HUDSON MEADOWS S/D                 NC4092042   CWS         Groundwater                     122
  NC       HUNTER`S RIDGE S/D                 NC0291120   CWS         Groundwater                      78
  NC       HUNTWOOD MHP                       NC0160147   CWS         Groundwater                     213
  NC       HYDE COUNTY WATER SYSTEM           NC0448010   CWS         Groundwater                   5,256
  NC       IDLEWILD PARK                      NC0136151   CWS         Groundwater                      84
  NC       IDLEWOOD ACRES WATER SYSTEM        NC0118130   CWS         Groundwater                      66
  NC       JAMESTOWNE S/D WATER SYSTEM        NC0118242   CWS         Groundwater                     163
  NC       JOHNSTON CO-WEST                   NC0351070   CWS         Surfacewater                 70,549
  NC       KANNAPOLIS, CITY OF                NC0180065   CWS         Surfacewater                 48,893
  NC       KELLY HILL S/D                     NC0326300   CWS         Surfacewater purchased          109

  NC       KIMBERLY COURT                     NC0180124   CWS         Groundwater                      69
  NC       KING, CITY OF                      NC0285010   CWS         Surfacewater                 23,198
  NC       KINGS MOUNTAIN, TOWN OF            NC0123020   CWS         Surfacewater                 13,484
  NC       KNOLLS III S/D                     NC0118271   CWS         Groundwater                     130
  NC       KNOLLWOOD S/D                      NC0136231   CWS         Groundwater                      46
  NC       LA GRANGE WATER SYSTEM             NC0454015   CWS         Groundwater                   3,167
  NC       LAKE WACCAMAW, TOWN OF             NC0424045   CWS         Groundwater                   2,469
  NC       LAKEWOOD ESTATES                   NC0392294   CWS         Groundwater                     102



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Primacy                 PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                           Served
 [State]
   NC      LANDSDOWN/EASTOVER S/D             NC0118173   CWS         Groundwater                     251
   NC      LAUREL WOODS S/D                   NC0136304   CWS         Groundwater                     157
   NC      LEGEND HILLS S/D                   NC0392263   CWS         Groundwater                      84
   NC      LEXINGTON, CITY OF                 NC0229010   CWS         Surfacewater                 19,632
   NC      LIBERTY, TOWN OF                   NC0276025   CWS         Groundwater                   2,655
   NC      LINCOLN COUNTY WTP                 NC0155035   CWS         Surfacewater                 45,192
   NC      LINCOLNTON, CITY OF                NC0155010   CWS         Surfacewater                 13,135
   NC      LITTLE RIVER RUN S/D               NC4392117   CWS         Groundwater                     116
   NC      LONG SHOALS WATER SYSTEM           NC0155103   CWS         Surfacewater purchased          188

  NC       LUCAMA, TOWN OF                    NC0498030   CWS         Groundwater                     881
  NC       LUMBERTON, CITY OF                 NC0378010   CWS         Surfacewater                 24,116
  NC       LYNNBANK ESTATES                   NC0291121   CWS         Groundwater                     115
  NC       MAGNOLIA, TOWN OF                  NC0431035   CWS         Groundwater                     980
  NC       MALIBU POINTE S/D                  NC0149177   CWS         Groundwater                     246
  NC       MALLARD CROSSING S/D               NC0136178   CWS         Groundwater                     170
  NC       MALLARD HEAD S/D                   NC0149162   CWS         Surfacewater purchased          861

  NC       MAPLECREST S/D                     NC0136220   CWS         Groundwater                      93
  NC       MARION, CITY OF                    NC0156010   CWS         Surfacewater                  9,362
  NC       MARS HILL, TOWN OF                 NC0158010   CWS         Surfacewater                  3,150
  NC       MARSHALL, TOWN OF                  NC0158015   CWS         Groundwater                   1,402
  NC       MARTIN CO REGIONAL WASA            NC6059015   CWS         Surfacewater                      0
  NC       MARTIN CO WATER & SEWER DIST I     NC6059003   CWS         Groundwater                   2,245
  NC       MASONWOODS S/D                     NC0332125   CWS         Groundwater                      97
  NC       MAYODAN, TOWN OF                   NC0279025   CWS         Surfacewater                  2,418
  NC       MAYSVILLE, TOWN OF                 NC0452010   CWS         Groundwater purchased         1,100

  NC       MEADOW VIEW ESTATES S/D        NC0286155       CWS         Groundwater                      51
  NC       MEDFIELD ESTATES S/D           NC0392160       CWS         Groundwater                     779
  NC       MICRO, TOWN OF                 NC0351045       CWS         Groundwater                     444
  NC       MIDDLE CREEK ACRES S/D         NC0392370       CWS         Groundwater                      30
  NC       MIDDLE CREEK MASTER            NC0392355       CWS         Groundwater                     678
  NC       MILL RACE                      NC4392133       CWS         Groundwater                     122
  NC       MOCKSVILLE, TOWN OF            NC0230010       CWS         Surfacewater                  5,213
  NC       MONROE, CITY OF                NC0190010       CWS         Surfacewater                 31,438
  NC       MONTGOMERY COUNTY WATER SYSTEM NC0362010       CWS         Surfacewater                 14,599

  NC       MOORE CO PUBLIC UTIL-PINEHURST     NC0363108   CWS         Surfacewater purchased       29,509

  NC       MOORESVILLE TOWN OF                NC0149015   CWS         Surfacewater                 47,531
  NC       MORGANTON CITY OF                  NC0112015   CWS         Surfacewater                 26,576
  NC       MOUNT AIRY, CITY OF                NC0286010   CWS         Surfacewater                 10,314
  NC       MOUNT HOLLY, CITY OF               NC0136020   CWS         Surfacewater                 17,780
  NC       MOUNT PLEASANT, TOWN OF            NC0113020   CWS         Surfacewater                  1,967



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Primacy                 PWS Name                  PWSID      PWS Type      Primary Source        Population
Agency                                                                                             Served
 [State]
   NC      MOUNTAIN CREEK WATER SYSTEM          NC0239121   CWS         Groundwater                      55
   NC      MOUNTAIN RIDGE ESTATES               NC0195117   CWS         Groundwater                     168
   NC      MOUNTAINBROOK S/D                    NC0136165   CWS         Groundwater                     127
   NC      MURDOCK RD WATER SYSTEM              NC0149128   CWS         Groundwater                     373
   NC      NASHVILLE, TOWN OF                   NC0464020   CWS         Surfacewater purchased        5,600

  NC       NEUSE REGIONAL WTR & SWR AUTH        NC6054001   CWS         Surfacewater                      0
  NC       NEUSE RIVER VILLAGE MHP              NC0392225   CWS         Groundwater                     333
  NC       NEW BERN, CITY OF                    NC0425010   CWS         Groundwater                  30,070
  NC       NEW LIGHT MASTER                     NC4392224   CWS         Groundwater                   2,236
  NC       NEWTON GROVE, TOWN OF                NC0382035   CWS         Groundwater                     913
  NC       NEWTON, CITY OF                      NC0118015   CWS         Surfacewater                 17,094
  NC       NORWOOD, TOWN OF                     NC0184015   CWS         Surfacewater                  4,318
  NC       OAK RIDGE VALLEY                     NC0392172   CWS         Groundwater                      71
  NC       OAKLYN S/D                           NC4392124   CWS         Groundwater                      96
  NC       OLD FORT, TOWN OF                    NC0156025   CWS         Groundwater                   1,700
  NC       OLD NORTH UTILITIES SERVICES/FT      NC5026019   CWS         Surfacewater purchased       65,000
           BRAGG
  NC       ONSLOW WTR AND SEWER AUTHORITY       NC0467035   CWS         Groundwater                 144,155

  NC       ORANGE WATER & SEWER AUTHORITY       NC0368010   CWS         Surfacewater                 86,300
  NC       ORIENTAL WATER SYSTEM                NC0469020   CWS         Groundwater                   1,136
  NC       OXFORD PARK WATER SYSTEM             NC0118140   CWS         Groundwater                     163
  NC       PARADISE POINT S/D                   NC0136170   CWS         Groundwater                     244
  NC       PASQUOTANK CO RO WATER SYSTEM        NC6070000   CWS         Groundwater                  10,213
  NC       PASQUOTANK COUNTY WATER SYSTEM       NC0470015   CWS         Groundwater                  10,653

  NC       PEAR MEADOWS S/D                     NC0392093   CWS         Surfacewater purchased          178

  NC       PEBBLE BROOK ACRES S/D               NC0113126   CWS         Groundwater                      99
  NC       PENDER COUNTY UTILITIES              NC7071011   CWS         Surfacewater                 25,481
  NC       PERQUIMANS COUNTY WATER SYSTEM       NC0472025   CWS         Groundwater                  11,314
  NC       PHILLIPS LANDING S/D                 NC0392371   CWS         Groundwater                      81
  NC       PIEDMONT TRIAD REGIONAL              NC3076010   CWS         Surfacewater                      0
  NC       PILOT MOUNTAIN, TOWN OF              NC0286025   CWS         Surfacewater purchased        1,976

  NC       PINE LAKES S/D                       NC0286113   CWS         Groundwater                     145
  NC       PINE LEVEL, TOWN OF                  NC0351040   CWS         Groundwater                   2,413
  NC       PINK HILL, TOWN OF                   NC0454020   CWS         Surfacewater purchased          950

  NC       PITTSBORO, TOWN OF                   NC0319015   CWS         Surfacewater                  4,590
  NC       POLKS TRAIL S/D                      NC0319134   CWS         Groundwater                      43
  NC       PONDEROSA S/D                        NC0392182   CWS         Groundwater                     168
  NC       PONDEROSA S/D                        NC0118279   CWS         Groundwater                     129
  NC       PRESTIGE HEIGHTS                     NC0118142   CWS         Groundwater                     170




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Primacy                 PWS Name              PWSID      PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
   NC    RAIN TREE II FAYETTEVILLE PWC      NC0326375   CWS         Surfacewater purchased          292

  NC    RAINTREE S/D                        NC0136324   CWS         Groundwater                     482
  NC    RALEIGH, CITY OF                    NC0392010   CWS         Surfacewater                620,000
  NC    REIDSVILLE, CITY OF                 NC0279020   CWS         Surfacewater                 14,087
  NC    RICHMOND COUNTY WATER SYSTEM        NC0377109   CWS         Surfacewater                 22,021
  NC    RIDGECREST/BAKERSFIELD S/D          NC3041066   CWS         Groundwater                     343
  NC    RIDGEHAVEN S/D                      NC0392184   CWS         Groundwater                     455
  NC    RIDGEVIEW PARK S/D                  NC0136184   CWS         Groundwater                      43
  NC    RIVER MEADOWS S/D                   NC0155137   CWS         Groundwater                     119
  NC    RIVERVIEW ESTATES                   NC0392278   CWS         Groundwater                      94
  NC    RIVERVIEW NORTH                     NC0392163   CWS         Groundwater                     180
  NC    ROANOKE RAPIDS SANITARY DIST        NC0442010   CWS         Surfacewater                 16,615
  NC    ROBESON COUNTY WATER SYSTEM         NC0378055   CWS         Groundwater                  65,303
  NC    ROBIN`S WOOD                        NC0368145   CWS         Groundwater                     249
  NC    ROCKINGHAM, CITY OF                 NC0377015   CWS         Surfacewater                 12,204
  NC    ROCKY MOUNT, CITY OF                NC0464010   CWS         Surfacewater                 54,886
  NC    ROLLING RIDGE S/D                   NC0392386   CWS         Groundwater                      61
  NC    ROSE HILL, TOWN OF                  NC0431025   CWS         Groundwater                   1,867
  NC    ROSEBORO, TOWN OF                   NC0382015   CWS         Groundwater                   1,278
  NC    ROSELAND HEIGHTS S/D                NC0149134   CWS         Groundwater                      51
  NC    ROSMAN, TOWN OF                     NC0188115   CWS         Groundwater                     650
  NC    ROXBORO, CITY OF                    NC0273010   CWS         Surfacewater                 10,832
  NC    ROYAL ACRES S/D                     NC0392186   CWS         Groundwater                      61
  NC    SADDLE RUN S/D                      NC0392080   CWS         Groundwater                     582
  NC    SALISBURY-ROWAN                     NC0180010   CWS         Surfacewater                 47,674
  NC    SANFORD, CITY OF                    NC0353010   CWS         Surfacewater                 47,302
  NC    SELMA, TOWN OF                      NC0351015   CWS         Groundwater                   6,190
  NC    SEVEN DEVILS, TOWN OF               NC0195118   CWS         Groundwater                     400
  NC    SHADOW OAKS S/D                     NC0136358   CWS         Groundwater                     302
  NC    SHERWOOD FOREST S/D                 NC0118245   CWS         Groundwater                     160
  NC    SHILOH S/D                          NC0118186   CWS         Groundwater                      64
  NC    SILER CITY, TOWN OF                 NC0319010   CWS         Surfacewater                  8,474
  NC    SIMS, TOWN OF                       NC0498045   CWS         Groundwater                     440
  NC    SKYLAND DR WATER SYSTEM             NC0136189   CWS         Groundwater                      53
  NC    SMITHFIELD, TOWN OF                 NC0351010   CWS         Surfacewater                 12,900
  NC    SNOW CREEK HEIGHTS WATER SYST       NC0118179   CWS         Groundwater                     130
  NC    SOUTH GRANVILLE WTR&SEWER           NC0239107   CWS         Surfacewater                 19,216
        AUTHORITY
  NC    SOUTH MOUNTAIN S/D                  NC4392120   CWS         Groundwater                     234
  NC    SOUTH PLANTATION S/D                NC0351193   CWS         Surfacewater purchased          357

  NC    SOUTHERN OUTER BANKS WTR SYST       NC6027001   CWS         Groundwater                   8,209
  NC    SOUTHERN PINES, TOWN OF             NC0363010   CWS         Surfacewater                 23,690
  NC    SOUTHERN WAYNE SANITARY DIST        NC0496045   CWS         Groundwater                   7,793


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Primacy               PWS Name               PWSID      PWS Type      Primary Source        Population
Agency                                                                                        Served
 [State]
   NC    SOUTHFORK S/D                     NC0118289   CWS         Groundwater                      46
   NC    SOUTHFORT S/D                     NC0351184   CWS         Groundwater                     125
   NC    SOUTHGATE S/D                     NC0351185   CWS         Surfacewater purchased          160

 NC    SOUTHWICK S/D                       NC3001010   CWS         Groundwater                      72
 NC    SOUTHWOOD S/D                       NC0136193   CWS         Groundwater                      48
 NC    SPENCER FOREST                      NC0180114   CWS         Groundwater                     157
 NC    SPENCER RD PARK                     NC0118155   CWS         Groundwater                     142
 NC    SPRING SHORES                       NC0149138   CWS         Groundwater                     140
 NC    SPRINGDALE MH S/D                   NC0118282   CWS         Groundwater                     251
 NC    SPRINGDALE S/D                      NC3041011   CWS         Groundwater                     267
 NC    SPRINGDALE SD                       NC0113136   CWS         Surfacewater purchased          114

 NC    SPRINGFIELD WATER SUPPLY            NC0286117   CWS         Groundwater                      74
 NC    SQUIRE ESTATES S/D                  NC0392308   CWS         Groundwater                      84
 NC    STAGECOACH S/D                      NC0392087   CWS         Groundwater                     561
 NC    STARMOUNT VILLAGE S/D               NC0118139   CWS         Groundwater                      53
 NC    STATESVILLE, CITY OF                NC0149010   CWS         Surfacewater                 28,844
 NC    STONEHENGE S/D                      NC0392298   CWS         Groundwater                   1,840
 NC    STONEHOUSE ACRES                    NC4093011   CWS         Surfacewater purchased           55

 NC    STONERIDGE MASTER                   NC0368185   CWS         Groundwater                     662
 NC    STONEY CREEK S/D                    NC4392151   CWS         Groundwater                     173
 NC    STONEY POINT WS/FAYETTEVILLE PWC    NC0326341   CWS         Groundwater                     505
 NC    STONEYBROOK ESTATES S/D             NC0351110   CWS         Groundwater                      80
 NC    SUN RIDGE FARM S/D                  NC4392156   CWS         Surfacewater purchased          272

 NC    SUNSET PARK S/D                     NC0136198   CWS         Groundwater                     216
 NC    SURF CITY, TOWN OF                  NC0471015   CWS         Groundwater                   5,606
 NC    SWEET BRIAR S/D                     NC0235127   CWS         Groundwater                     143
 NC    SWIFT CREEK MASTER SYSTEM           NC0392361   CWS         Groundwater                     465
 NC    TARBORO, TOWN OF                    NC0433010   CWS         Surfacewater                 10,844
 NC    TAVERNIER SUBDIVISION               NC4092068   CWS         Groundwater                     185
 NC    TAYLORTOWN, TOWN OF                 NC0363035   CWS         Groundwater                     904
 NC    THE CAPE MASTER SYSTEM              NC0465199   CWS         Groundwater                  11,368
 NC    THE MEADOWS S/D                     NC0118293   CWS         Groundwater                      89
 NC    THE VILLAGE OF BALD HEAD ISLAND     NC0410130   CWS         Surfacewater purchased        3,291

 NC    THOMASVILLE, CITY OF                NC0229020   CWS         Surfacewater                 27,485
 NC    TRAPPER`S CREEK S/D                 NC0332132   CWS         Groundwater                     158
 NC    TUCKASEIGEE WATER & SEWER AUTH      NC0150035   CWS         Surfacewater                  7,503
 NC    TURKEY PEN MHP                      NC0188118   CWS         Groundwater                     229
 NC    TURNER FARMS III & IV               NC0392331   CWS         Groundwater                     757
 NC    TWO RIVERS UTILITIES                NC0136010   CWS         Surfacewater                 91,491
 NC    TYRRELL COUNTY WATER                NC0489015   CWS         Groundwater                   3,177



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Primacy                 PWS Name                 PWSID      PWS Type      Primary Source        Population
Agency                                                                                            Served
 [State]
   NC      VALDESE, TOWN OF                    NC0112010   CWS         Surfacewater                 13,571
   NC      VALLEY WOODS MHP                    NC0392301   CWS         Groundwater                     224
   NC      VALLEYDALE S/D                      NC0136199   CWS         Groundwater                     107
   NC      WADE, TOWN OF                       NC0326040   CWS         Groundwater                     835
   NC      WAGRAM, TOWN OF                     NC0383020   CWS         Groundwater                     965
   NC      WALLACE, TOWN OF                    NC0431010   CWS         Groundwater                   5,825
   NC      WALNUT TREE S/D                     NC0286150   CWS         Groundwater                     112
   NC      WASHINGTON, CITY OF                 NC0407010   CWS         Groundwater                  13,000
   NC      WAYNE WATER DISTRICTS               NC0496065   CWS         Groundwater                  32,425
   NC      WELDON WATER SYSTEM                 NC0442020   CWS         Surfacewater                  1,402
   NC      WEST JEFFERSON, TOWN OF             NC0105010   CWS         Groundwater under             1,305
                                                                       influence of
                                                                       surfacewater
  NC       WEST OAKS S/D                       NC0392357   CWS         Groundwater                     605
  NC       WESTOVER S/D                        NC0149155   CWS         Groundwater                     335
  NC       WESTSIDE HILLS S/D                  NC0118187   CWS         Groundwater                     127
  NC       WHISPERING PINES                    NC0368135   CWS         Groundwater                     183
  NC       WILDCAT CREEK S/D                   NC0368116   CWS         Groundwater                     115
  NC       WILLOW CREEK S/D                    NC0392230   CWS         Groundwater                      74
  NC       WILLOW HILL S/D                     NC0332119   CWS         Groundwater                     327
  NC       WILSON, CITY OF                     NC0498010   CWS         Surfacewater                 50,001
  NC       WINDHAVEN S/D                       NC0392335   CWS         Groundwater                     525
  NC       WINSTON-SALEM, CITY OF              NC0234010   CWS         Surfacewater                374,403
  NC       WOODBROOK S/D                       NC0392336   CWS         Groundwater                      49
  NC       WOODCREEK S/D                       NC0286151   CWS         Groundwater                     122
  NC       WOODLAKE WATER & SEWER INC          NC0363114   CWS         Surfacewater purchased        1,945

  NC       WOODLAND RUN MH S/D                 NC0326365   CWS         Surfacewater purchased          108

  NC       WOODLEIGH S/D                       NC0136336   CWS         Groundwater                     178
  NC       WOODRIDGE S/D                       NC0118248   CWS         Groundwater                     295
  NC       WOODS OF ASHBURY SD                 NC0392388   CWS         Groundwater                     144
  NC       WRIGHT & BEAVER RD MHP              NC0180191   CWS         Groundwater                      36
  NC       WRIGHTSVILLE BEACH WATER SYST       NC0465020   CWS         Surfacewater purchased        5,300

  NC       WYNSTONE S/D                        NC4392134   CWS         Groundwater                     104
  NC       WYNTREE S/D                         NC4092034   CWS         Groundwater                      46
  NC       YADKINVILLE, TOWN OF                NC0299015   CWS         Surfacewater                  4,196
  NC       YANCEYVILLE, TOWN OF                NC0217010   CWS         Surfacewater                  1,937
  ND       ALL SEASONS WD-SYSTEM I             ND0501057   CWS         Groundwater                     890
  ND       BEULAH CITY OF                      ND2900074   CWS         Groundwater                   3,058
  ND       BISMARCK CITY OF                    ND0800080   CWS         Groundwater under            72,417
                                                                       influence of
                                                                       surfacewater
  ND       CASS RURAL WATER DISTRICT-PHASE III ND0901131   CWS         Groundwater                   1,682




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Primacy                PWS Name                  PWSID      PWS Type      Primary Source       Population
Agency                                                                                           Served
 [State]
   ND      FARGO CITY OF                       ND0900336   CWS         Surfacewater               120,762
   ND      GRAFTON CITY OF                     ND5000408   CWS         Surfacewater                 4,284
   ND      GRAND FORKS REGIONAL WTP            ND1800410   CWS         Surfacewater                57,339
   ND      GRENORA CITY OF                     ND5300425   CWS         Groundwater                    244
   ND      JAMESTOWN CITY OF                   ND4700498   CWS         Groundwater                 15,427
   ND      KARLSRUHE CITY OF                   ND2500509   CWS         Groundwater                     82
   ND      LIGNITE CITY OF                     ND0700569   CWS         Groundwater                    155
   ND      MICHIGAN CITY OF                    ND3200653   CWS         Groundwater                    294
   ND      MINOT CITY OF                       ND5100660   CWS         Groundwater                 48,743
   ND      OAKES CITY OF                       ND1100758   CWS         Groundwater                  1,856
   ND      WASHBURN CITY OF                    ND2800989   CWS         Surfacewater                 1,246
   ND      WESTHOPE CITY OF                    ND0501001   CWS         Groundwater                    429
   ND      WILLOWBANK COLONY                   ND2301467   CWS         Groundwater                     95
   NH      20 JAFFREY RD                       NH0823010   CWS         Groundwater                     32
   NH      ABENAKI WATER/WHITE ROCK WATER      NH0262020   CWS         Groundwater                    238
   NH      ACKERMAN RETIREMENT PARK            NH2053020   CWS         Groundwater                    350
   NH      ALTON WATER WORKS                   NH0061010   CWS         Groundwater                  1,750
   NH      ANNIE OAKLEY MHP                    NH0613010   CWS         Groundwater                    127
   NH      AQUARION WATER/NH                   NH1051010   CWS         Groundwater                 18,950
   NH      ATKINSON WOODS                      NH0112100   CWS         Groundwater                    140
   NH      AUTUMN WOODS                        NH0612220   CWS         Groundwater                     73
   NH      AUTUMN WOODS                        NH2052070   CWS         Groundwater                    180
   NH      BADGER HILL                         NH1562030   CWS         Groundwater                    348
   NH      BALMORAL CONDOS                     NH2232060   CWS         Groundwater                    105
   NH      BARKLAND ACRES                      NH0612040   CWS         Groundwater                     80
   NH      BARRINGTON MOBILE HOME ESTATES      NH0153050   CWS         Groundwater                    198
   NH      BATH VILLAGE WATER WORKS            NH0171010   CWS         Groundwater                    136
   NH      BEECH TREE COOPERATIVE              NH0803040   CWS         Groundwater                     70
   NH      BELMONT WATER DEPT                  NH0201010   CWS         Groundwater                  1,612
   NH      BIRCHES OF WOLFEBORO COOP           NH2563010   CWS         Groundwater                    159
   NH      BITIM APARTMENTS                    NH1392320   CWS         Groundwater                     28
   NH      BOUMIL GROVE CONDOS                 NH1392050   CWS         Groundwater                     75
   NH      BOW MUNICIPAL WATER SYSTEM          NH0261010   CWS         Groundwater                     99
   NH      BRANCH RIVER APARTMENTS             NH1972040   CWS         Groundwater                    120
   NH      BRANDYWINE                          NH0702020   CWS         Groundwater                     72
   NH      BRIAR COURT ESTATES                 NH0912040   CWS         Groundwater                    113
   NH      BROOK VIEW VILLAGE                  NH0512190   CWS         Groundwater                     40
   NH      BROOKDALE SPRUCE WOOD               NH0694010   CWS         Groundwater                    225
   NH      BROOKWOOD PARK                      NH1463010   CWS         Groundwater                     50
   NH      BURNHAVEN                           NH2232160   CWS         Groundwater                    150
   NH      CABOT PRESERVE                      NH0192070   CWS         Groundwater purchased          955

  NH       CAMELOT III                         NH2542190   CWS         Groundwater                     33
  NH       CENTENNIAL ESTATES                  NH0613060   CWS         Groundwater                    132



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Primacy                PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                          Served
 [State]
   NH      CENTURY VILLAGE CONDOS            NH1392180   CWS         Groundwater                     875
   NH      CHANDLER PLACE APTS               NH1932250   CWS         Groundwater                      44
   NH      CHARLESTOWN WATER WORKS           NH0411010   CWS         Groundwater                   2,500
   NH      CHESTER BROOK                     NH0432030   CWS         Groundwater                     100
   NH      CHISHOLM FARM                     NH2232200   CWS         Groundwater                     168
   NH      COACH RUN CONDOS                  NH1032070   CWS         Groundwater                      60
   NH      COLBY BROOK ESTATES               NH0773020   CWS         Groundwater                      68
   NH      COLONIAL POPLIN NURSING HOME      NH0874020   CWS         Groundwater                      88
   NH      COMMONS OF ATKINSON               NH0112060   CWS         Groundwater                      95
   NH      CONCORD WATER DEPT                NH0501010   CWS         Surfacewater                 44,215
   NH      CONNOR COURT                      NH0072090   CWS         Groundwater                      51
   NH      COPPLE CROWN VILLAGE DISTRICT     NH1672020   CWS         Groundwater                      80
   NH      CORNERSTONE PLACE                 NH0594010   CWS         Groundwater                      27
   NH      COTTON FARMS MHP                  NH0583030   CWS         Groundwater                     390
   NH      COUNTRY LANE MANOR                NH0363010   CWS         Groundwater                      85
   NH      COUNTRY VILLAGE MHP               NH0353010   CWS         Groundwater                      66
   NH      COW HILL WELLHOUSE                NH0162160   CWS         Groundwater                     150
   NH      CROSS RIDGE ESTATES               NH1932120   CWS         Groundwater                      73
   NH      CROTCHED MOUNTAIN REHAB CENTER    NH0972010   CWS         Groundwater                     300
   NH      DARBY FIELD COMMONS               NH1332020   CWS         Groundwater                      70
   NH      DEERBROOK CONDOS                  NH0512150   CWS         Groundwater                      80
   NH      DOVER WATER DEPT                  NH0651010   CWS         Groundwater                  29,000
   NH      DREW WOODS                        NH0612150   CWS         Surfacewater purchased        1,650

  NH       EAGLE ROCK PELHAM                 NH1852040   CWS         Groundwater                     123
  NH       ELLISON FARM APTS                 NH0152010   CWS         Groundwater                      45
  NH       ENGLISH WOODS                     NH0192060   CWS         Groundwater                      50
  NH       EPSOM VILLAGE DIST                NH0771010   CWS         Groundwater                     800
  NH       EXETER HIGHLANDS                  NH0802020   CWS         Groundwater                      50
  NH       EXETER RIVER MOBILE HOME PARK     NH0803020   CWS         Groundwater                     980
  NH       EXETER WATER DEPT                 NH0801010   CWS         Surfacewater                 12,236
  NH       FAIRHAVEN MOBILE HOME PARK        NH1563020   CWS         Groundwater                      63
  NH       FAR ECHO HARBOR                   NH1612030   CWS         Groundwater                     213
  NH       FITZWILLIAM VILLAGE/PRIGGE        NH0821010   CWS         Groundwater                      43
  NH       FOREST GLEN CONDOS                NH1932040   CWS         Groundwater                      70
  NH       FRANCOEUR APT/HUDSON MOTOR INN    NH1202010   CWS         Groundwater                      58
  NH       FRANKLIN WATER WORKS              NH0851010   CWS         Groundwater                   7,000
  NH       FREEDOM POND                      NH1713010   CWS         Groundwater                     104
  NH       GLEN RIDGE DEV                    NH0612070   CWS         Groundwater                     253
  NH       GLENGARRY CONDOS                  NH2232010   CWS         Groundwater                     171
  NH       GOLDEN HILL                       NH1932020   CWS         Groundwater                     110
  NH       GOWING WOODS                      NH0072080   CWS         Groundwater                      53
  NH       GRANITE STATE CAMPGROUND          NH0203070   CWS         Groundwater                      77
  NH       GREAT BAY WATER SYSTEM            NH1732030   CWS         Groundwater                     220



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Primacy                PWS Name                 PWSID      PWS Type      Primary Source        Population
Agency                                                                                           Served
 [State]
   NH      GREENFIELD HILL ESTATES            NH1932090   CWS         Groundwater                      80
   NH      GUNSTOCK ACRES VILLAGE DIST        NH0881020   CWS         Groundwater                   1,440
   NH      HADLEIGH WOODS                     NH2542160   CWS         Groundwater                      93
   NH      HALCYON HILL                       NH0153020   CWS         Groundwater                      58
   NH      HALES LOCATION                     NH1021010   CWS         Groundwater                     385
   NH      HAMPSTEAD AREA WATER               NH1031010   CWS         Surfacewater purchased        6,953

  NH       HARBOURSIDE ON WINNIPESAUKEE       NH1612220   CWS         Groundwater                      40
  NH       HI AND LO ESTATES                  NH0612140   CWS         Surfacewater purchased          140

  NH       HIGHLAND ESTATES APARTMENTS        NH1852060   CWS         Groundwater                     120
  NH       HILL TOP                           NH1973050   CWS         Groundwater                     140
  NH       HOLLIS PINES COOP MHP WEST         NH1173020   CWS         Groundwater                     135
  NH       HOLLIS PINES COOP MHP/EAST         NH1173010   CWS         Groundwater                      90
  NH       HOLLIS VILLAGE MARKET PLACE        NH1176010   CWS         Groundwater                      36
  NH       HOPKINTON VILLAGE PCT              NH1191020   CWS         Groundwater                     215
  NH       HUDSON MOBILE HOME ESTS            NH1203010   CWS         Groundwater                     220
  NH       HUDSON WATER DEPT                  NH1201010   CWS         Groundwater                  16,700
  NH       INDIAN MOUND GOLF CLUB             NH1842030   CWS         Groundwater                     260
  NH       INN AT SECRETARIAT ESTATES         NH2004010   CWS         Groundwater                      54
  NH       IRON WHEEL MHP                     NH0583020   CWS         Groundwater                     124
  NH       JAFFREY WATER WORKS                NH1221010   CWS         Groundwater                   3,800
  NH       JEWETT HILL                        NH2232140   CWS         Groundwater                      55
  NH       KEENE WATER DEPT                   NH1241010   CWS         Surfacewater                 30,000
  NH       LACONIA WATER WORKS                NH1281010   CWS         Surfacewater                 17,000
  NH       LADD HILL MHP                      NH0203020   CWS         Groundwater                      70
  NH       LANCASTER FARMS                    NH2052030   CWS         Groundwater                     303
  NH       LANCASTER WATER DEPT               NH1291010   CWS         Surfacewater                  2,450
  NH       LEE OAK COOPERATIVE                NH0153040   CWS         Groundwater                     163
  NH       LITTLE RIVER VILLAGE               NH1932230   CWS         Groundwater                      63
  NH       LOCHMERE VILLAGE DIST              NH2351020   CWS         Groundwater                     405
  NH       LONGWOODS MHP                      NH0603010   CWS         Groundwater                     245
  NH       LOUISBURG CIRCLE                   NH0802030   CWS         Groundwater                      55
  NH       MANCHESTER WATER WORKS             NH1471010   CWS         Surfacewater                123,500
  NH       MAPLE HAVEN                        NH0612170   CWS         Groundwater                     247
  NH       MAPLEVALE AND CRICKET HILL         NH0702030   CWS         Groundwater                     248
  NH       MELLING GLEN                       NH0762040   CWS         Groundwater                      92
  NH       MERRIMACK VILLAGE DIST             NH1531010   CWS         Groundwater                  25,000
  NH       MIDRIDGE CONDOS                    NH1392070   CWS         Groundwater                     100
  NH       MILFORD WATER UTILITIES DEPT       NH1561010   CWS         Surfacewater purchased        9,500

  NH       MILLVILLE CIRCLE/SOUTH             NH2052010   CWS         Groundwater                      48
  NH       MONTROSE CONDOS                    NH2232070   CWS         Groundwater                     210
  NH       MOONGATE FARM                      NH1932060   CWS         Groundwater                     120
  NH       MORNINGSIDE DRIVE                  NH0612050   CWS         Groundwater                      80


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Primacy                PWS Name                PWSID      PWS Type      Primary Source   Population
Agency                                                                                     Served
 [State]
   NH      MOUNTAIN VALE VILLAGE MHP         NH0513100   CWS         Groundwater                  388
   NH      MOUNTAIN VIEW PARK ESTATES        NH0493020   CWS         Groundwater                   95
   NH      MOUNTAINSIDE AT CROTCHED MTN      NH0212020   CWS         Groundwater                  180
   NH      MT LAUREL ESTATES                 NH0912050   CWS         Groundwater                  115
   NH      NEWBURY ELDERLY HOUSING           NH1652050   CWS         Groundwater                   51
   NH      NEWFIELDS VLG WATER AND SEWER     NH1681010   CWS         Groundwater                  550
   NH      NORTHBROOK MHP                    NH0203030   CWS         Groundwater                   85
   NH      NORTHPOINTE WATER                 NH2342020   CWS         Groundwater                   53
   NH      NORTHWOOD MOUNTAIN VIEW MHP       NH1793030   CWS         Groundwater                  148
   NH      OAKRIDGE CONDOS                   NH1392010   CWS         Groundwater                  250
   NH      OLD COACH VILLAGE                 NH0612210   CWS         Groundwater                   50
   NH      OLD LAWRENCE ROAD                 NH1852080   CWS         Groundwater                   25
   NH      OLD STAGE COACH ARMS              NH0152020   CWS         Groundwater                   35
   NH      OLDE COUNTRY VILLAGE              NH1392030   CWS         Groundwater                  130
   NH      PAPERMILL VILLAGE                 NH0052010   CWS         Groundwater                   24
   NH      PARADISE ESTATES                  NH2003030   CWS         Groundwater                  405
   NH      PARADISE ESTATES CONDOMINIUM      NH1852110   CWS         Groundwater                   47
   NH      PEMBROKE WATER WORKS              NH1861010   CWS         Groundwater                5,200
   NH      PENACOOK BOSCAWEN WATER PCT       NH0251010   CWS         Groundwater                3,800
   NH      PENNICHUCK WATER WORKS            NH1621010   CWS         Surfacewater              87,932
   NH      PEU/BEAVER HOLLOW                 NH2082010   CWS         Groundwater                   30
   NH      PEU/CASTLE REACH                  NH2542140   CWS         Groundwater                  100
   NH      PEU/CLEARWATER ESTATES            NH1972070   CWS         Groundwater                   78
   NH      PEU/DANIELS LAKE                  NH2452010   CWS         Groundwater                   70
   NH      PEU/FARMSTEAD ACRES               NH0612110   CWS         Groundwater                   95
   NH      PEU/FOREST RIDGE                  NH0802040   CWS         Groundwater                  130
   NH      PEU/GAGE HILL                     NH1852020   CWS         Groundwater                   68
   NH      PEU/GOLDEN BROOK                  NH2542010   CWS         Groundwater                  320
   NH      PEU/HARDWOOD HTS BIRCH HILL       NH2542060   CWS         Groundwater                  100
   NH      PEU/HARVEST VILLAGE               NH1392290   CWS         Groundwater                  175
   NH      PEU/LAMPLIGHTER VILLAGE           NH2542170   CWS         Groundwater                  162
   NH      PEU/LIBERTY TREE ACRES            NH1972010   CWS         Groundwater                  183
   NH      PEU/MINISTERIAL/PARRISH HILLS     NH1392310   CWS         Groundwater                  175
   NH      PEU/PINEHAVEN WATER TRUST         NH1392040   CWS         Groundwater                   88
   NH      PEU/SHAKER HEIGHTS                NH0432040   CWS         Groundwater                   83
   NH      PEU/SPRUCE POND ESTS              NH2542180   CWS         Groundwater                  120
   NH      PEU/STONE SLED FARM               NH0262060   CWS         Groundwater                   82
   NH      PEU/THURSTON WOODS                NH1332050   CWS         Groundwater                   85
   NH      PEU/W AND E                       NH2542030   CWS         Groundwater                  523
   NH      PEU/WHITE ROCK SENIOR LIVING      NH0262050   CWS         Groundwater                  300
   NH      PEU/WILLIAMSBURG                  NH1851010   CWS         Groundwater                  910
   NH      PICKPOCKET WOODS                  NH0802010   CWS         Groundwater                   26
   NH      PINE ACRES CONDOS                 NH2082040   CWS         Groundwater                   90
   NH      PINE GROVE MOBILE HOME PARK       NH2303010   CWS         Groundwater                  305


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Primacy               PWS Name                PWSID      PWS Type      Primary Source   Population
Agency                                                                                    Served
 [State]
   NH      PINE KNOLL VILLAGE               NH1333020   CWS         Groundwater                  200
   NH      PINE LANDING CONDOS              NH0862020   CWS         Groundwater                   50
   NH      PITTSFIELD AQUEDUCT              NH1911010   CWS         Surfacewater               1,595
   NH      PONDEROSA MHP                    NH1393060   CWS         Groundwater                  110
   NH      PORTSMOUTH WATER WORKS           NH1951010   CWS         Surfacewater              33,000
   NH      PRESIDENTIAL PINES/LOWER         NH1403040   CWS         Groundwater                   51
   NH      RAINBOW RIDGE                    NH1932170   CWS         Groundwater                   38
   NH      RAND SHEPARD HILL                NH0612230   CWS         Groundwater                  158
   NH      RIVER RUN                        NH0803030   CWS         Groundwater                  380
   NH      RIVER RUN CONDOS                 NH0162170   CWS         Groundwater                  750
   NH      RIVERVIEW MANOR CONDOS           NH1972020   CWS         Groundwater                  110
   NH      ROCHESTER WATER DEPT             NH2001010   CWS         Surfacewater              25,000
   NH      ROCK RIMMON COOPERATIVE          NH0583050   CWS         Groundwater                  200
   NH      ROCKINGHAM COUNTY COMPLEX        NH0284010   CWS         Groundwater                1,387
   NH      ROCKWOOD TERRACE CONDOS          NH1472030   CWS         Groundwater                   25
   NH      ROLLING ACRES MHP                NH1603010   CWS         Groundwater                  100
   NH      ROLLING MEADOWS CONDOS I         NH1392200   CWS         Groundwater                   80
   NH      ROLLING MEADOWS CONDOS III       NH1392220   CWS         Groundwater                   50
   NH      ROLLING MEADOWS CONDOS IV        NH1392230   CWS         Groundwater                   42
   NH      ROLLINSFORD WATER SEWER DIST     NH2011010   CWS         Groundwater                1,688
   NH      ROWELL ESTATES                   NH1272040   CWS         Groundwater                   76
   NH      RUNNELLS LANDING                 NH1172020   CWS         Groundwater                   74
   NH      RUNNING BROOK                    NH0613030   CWS         Groundwater                   47
   NH      RUTLEDGE PLACE                   NH1932140   CWS         Groundwater                   30
   NH      RYE WATER DIST                   NH2041010   CWS         Groundwater                4,300
   NH      SACO RIVER FOREST                NH0512120   CWS         Groundwater                   65
   NH      SALEM WATER DEPT                 NH2051010   CWS         Surfacewater              20,000
   NH      SALT RIVER CONDOS                NH2232030   CWS         Groundwater                  195
   NH      SANBORNVILLE WATER DEPT          NH2391010   CWS         Groundwater                1,425
   NH      SANDS OF BROOKHURST              NH1522040   CWS         Groundwater                   80
   NH      SEABROOK WATER DEPT              NH2111010   CWS         Groundwater               14,000
   NH      SHADOW LAKE MOBILE HOME PARK     NH2053030   CWS         Groundwater                   58
   NH      SHADY LANE APARTMENTS            NH1932220   CWS         Groundwater                   35
   NH      SHELTERING PINES MHP             NH0773030   CWS         Groundwater                  125
   NH      SHERBURN WOODS                   NH0594030   CWS         Groundwater                   25
   NH      SOUHEGAN WOODS                   NH0072070   CWS         Groundwater                  290
   NH      SOUTH WEARE WATER                NH2452030   CWS         Groundwater                  200
   NH      SOUTHVIEW CONDOS                 NH1392300   CWS         Groundwater                   30
   NH      SPRUCE VALLEY MHP                NH0583010   CWS         Groundwater                   92
   NH      STONEFORD                        NH2082050   CWS         Groundwater                  188
   NH      STRATHAM GREEN CONDOS            NH2232050   CWS         Groundwater                  150
   NH      STRAWBERRY HILL                  NH1932100   CWS         Groundwater                   50
   NH      SUGARWOOD ON THE SACO            NH0162390   CWS         Groundwater                   30
   NH      TAMWORTH PINES                   NH2313020   CWS         Groundwater                  130


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Primacy                 PWS Name                 PWSID      PWS Type      Primary Source        Population
Agency                                                                                            Served
 [State]
   NH      TAYLOR RIVER ESTATES                NH1053030   CWS         Groundwater                      90
   NH      TENNEY BROOK CONDOS I               NH1942020   CWS         Groundwater                      90
   NH      THE RESERVE AT SNOWS BROOK          NH1932240   CWS         Groundwater                      85
   NH      TUXBURY MEADOWS                     NH1932180   CWS         Groundwater                      75
   NH      TWIN RIDGE CONDOS                   NH1932050   CWS         Groundwater                     285
   NH      VALLEY FIELD APTS NORTHLAND         NH1932070   CWS         Groundwater                     185
   NH      VILLAGE DISTRICT OF EIDELWEISS      NH1461010   CWS         Groundwater                   1,200
   NH      VILLAGES AT CHESTER CONDOS          NH0432010   CWS         Groundwater                     245
   NH      VILLAGES OF WINDHAM                 NH2542070   CWS         Groundwater                     145
   NH      VILLAGES ON THE LAMPREY             NH0762080   CWS         Groundwater                     113
   NH      WADE FARM CONDOS                    NH1732020   CWS         Groundwater                      40
   NH      WAGON WHEEL                         NH1393050   CWS         Groundwater                      88
   NH      WARDE REHABILITATION/NURSING        NH2544010   CWS         Groundwater                     155
   NH      WEDIKO SCHOOL                       NH2552010   CWS         Groundwater                     280
   NH      WENTWORTH ESTATES                   NH2562010   CWS         Groundwater                      50
   NH      WEST PINE CONDOS                    NH1932210   CWS         Groundwater                      60
   NH      WEST WYNDE VILLAGE                  NH1612080   CWS         Groundwater                      26
   NH      WINDEMERE RIDGE                     NH1282050   CWS         Groundwater                      55
   NH      WINDHAM TERRACE                     NH2544020   CWS         Groundwater                     110
   NH      WINNISQUAM VILLAGE CONDOS           NH2352040   CWS         Groundwater                      75
   NH      WOLFEBORO WATER AND SEWER           NH2561010   CWS         Surfacewater                  5,750
   NH      WRIGHT FARM CONDOS                  NH0112030   CWS         Groundwater                     160
   NH      WYNRIDGE CONDOS                     NH2542080   CWS         Groundwater                      87
   NJ      ALLAMUCHY TWP WATER & SEWER         NJ2101001   CWS         Groundwater                   4,573
   NJ      ALLENWOOD ESTATES, LLC              NJ0335001   CWS         Groundwater                     135
   NJ      ALPHA MUNICIPAL WATER WORKS         NJ2102001   CWS         Groundwater                   2,530
   NJ      ANDOVER BORO WATER DEPT             NJ1901001   CWS         Groundwater                     606
   NJ      ANDOVER NURSING HOME                NJ1902008   CWS         Groundwater                     250
   NJ      ANDOVER SUBACUTE AND                NJ1902009   CWS         Groundwater                     543
           REHABILITATION 1
  NJ       AQUA NJ - BEAR BROOK                NJ1907002   CWS         Groundwater                     226
  NJ       AQUA NJ - BLACKWOOD                 NJ0415002   CWS         Surfacewater purchased       44,396

  NJ       AQUA NJ - BRAINARDS                 NJ2110001   CWS         Groundwater                     135
  NJ       AQUA NJ - BUNNVALE                  NJ1019001   CWS         Groundwater                     252
  NJ       AQUA NJ - BYRAM                     NJ1904009   CWS         Groundwater                     400
  NJ       AQUA NJ - CALIFON                   NJ1004001   CWS         Groundwater                     936
  NJ       AQUA NJ - EASTERN DIVISION          NJ1505002   CWS         Groundwater                  12,000
  NJ       AQUA NJ - HAMILTON SQUARE           NJ1103001   CWS         Surfacewater purchased       39,128

  NJ       AQUA NJ - LAWRENCE                  NJ1107002   CWS         Groundwater                   8,655
  NJ       AQUA NJ - PHILLIPSBURG              NJ2119001   CWS         Groundwater under            26,686
                                                                       influence of
                                                                       surfacewater
  NJ       AQUA NJ - RIEGEL RIDGE              NJ1015003   CWS         Groundwater                     621



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Primacy                PWS Name               PWSID      PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
   NJ    AQUA NJ - SUMMIT LAKE              NJ1911004   CWS         Groundwater                     177
   NJ    AQUA NJ - TRANQUILITY SPRINGS      NJ1908001   CWS         Groundwater under               599
                                                                    influence of
                                                                    surfacewater
  NJ    AQUA NJ - VERNON                    NJ1922008   CWS         Groundwater                     515
  NJ    AQUA NJ - WALLKILL                  NJ1911001   CWS         Groundwater                   1,050
  NJ    AQUA NJ - WARREN GLEN               NJ2120002   CWS         Groundwater                     192
  NJ    AQUA NJ - WOOLWICH                  NJ0824001   CWS         Surfacewater purchased        6,271

  NJ    ASCOT PARK APTS                     NJ1902005   CWS         Groundwater                     125
  NJ    ATLANTIC CITY MUA                   NJ0102001   CWS         Surfacewater                152,415
  NJ    AWM FOUR SEASONS AT CHESTER         NJ1407001   CWS         Groundwater                     280
  NJ    BAY BREEZE VILLAGE                  NJ0108303   CWS         Groundwater                     105
  NJ    BAYSHORE MOBILE HOME PARK           NJ0612001   CWS         Groundwater                      81
  NJ    BEACHWOOD WATER DEPT                NJ1504001   CWS         Groundwater                  10,802
  NJ    BELLMAWR WATER DEPT                 NJ0404001   CWS         Groundwater                   9,522
  NJ    BELMAR WATER DEPT                   NJ1306001   CWS         Surfacewater purchased       20,000

  NJ    BERLIN WATER DEPARTMENT             NJ0405001   CWS         Surfacewater purchased       13,001

  NJ    BIG OAK REHAB                       NJ1710304   CWS         Groundwater                     259
  NJ    BOGERTS RANCH ESTATES IN            NJ0233005   CWS         Groundwater                     225
  NJ    BOONTON WATER DEPT                  NJ1401001   CWS         Surfacewater                  9,532
  NJ    BOROUGH OF SPRINGLAKE HEIGHTS       NJ1349001   CWS         Surfacewater purchased        5,000

  NJ    BOROUGH OF WOODBINE                 NJ0516001   CWS         Groundwater                   2,650
  NJ    BRANCHVILLE W DEPT                  NJ1903001   CWS         Groundwater                   1,500
  NJ    BRICK TOWNSHIP MUA                  NJ1506001   CWS         Surfacewater                 86,898
  NJ    BRIDGETON CITY WATER DEPT           NJ0601001   CWS         Groundwater                  22,770
  NJ    BRIELLE WATER DEPT                  NJ1308001   CWS         Surfacewater purchased        4,800

  NJ    BROOKLAWN WATER DEPARTME            NJ0407001   CWS         Groundwater                   2,300
  NJ    BROOKWOOD MUSCONETCONG RIVER        NJ1904001   CWS         Groundwater                   1,200
        POA
  NJ    BUENA FAMILY MANOR MOBILE H P       NJ0105001   CWS         Groundwater                      64
  NJ    BURLINGTON CITY WATER DE            NJ0305001   CWS         Surfacewater                  9,835
  NJ    BURLINGTON TWP W DEPT               NJ0306001   CWS         Surfacewater purchased       22,594

  NJ    BUTLER WATER DEPT                   NJ1403001   CWS         Surfacewater                  7,630
  NJ    CAMELOT AT SPRUCE RIDGE             NJ1019003   CWS         Groundwater                      85
  NJ    CAPE MAY MOBILE ESTATES             NJ0505003   CWS         Groundwater                     420
  NJ    CAROL LYNN RESORT, INC              NJ0516003   CWS         Groundwater                     550
  NJ    CEDAR GLEN HOMES INC                NJ1518001   CWS         Groundwater                     800
  NJ    CEDAR GLEN WEST WATER CO            NJ1518003   CWS         Groundwater                   1,300
  NJ    CEDAR SPRINGS MHP WELL #            NJ0506321   CWS         Groundwater                      90
  NJ    CHAPMAN MANUFACTURED HOUSING        NJ0614004   CWS         Groundwater                     375



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Primacy               PWS Name               PWSID      PWS Type      Primary Source        Population
Agency                                                                                        Served
 [State]
   NJ    CHATHAM WATER DEPT                NJ1404001   CWS         Groundwater                   8,962
   NJ    CITY OF CAMDEN                    NJ0408001   CWS         Surfacewater purchased       46,585

  NJ    CLAYTON WATER DEPARTMENT           NJ0801001   CWS         Groundwater                   8,179
  NJ    CLINTON W DEPT                     NJ1005001   CWS         Groundwater                  12,500
  NJ    COLBY WATER CO                     NJ1904007   CWS         Groundwater                      65
  NJ    COLLINGSWOOD WATER DEPAR           NJ0412001   CWS         Groundwater                  24,500
  NJ    COUNTRY ARCH CARE CENTER           NJ1025313   CWS         Groundwater                     190
  NJ    COUNTRY CLUB ESTATES               NJ1714001   CWS         Groundwater                     300
  NJ    COUNTRY VIEW VILLAGE, LLC          NJ2123003   CWS         Groundwater                     310
  NJ    DELAWARE TOWNSHIP MUA              NJ1007001   CWS         Groundwater                     500
  NJ    DELILAH TERRACE MHP                NJ0119001   CWS         Groundwater                     210
  NJ    DELSEA WOODS COMMUNITY LLC         NJ0506001   CWS         Groundwater                      95
  NJ    DENVILLE TWP WATER DEPT            NJ1408001   CWS         Groundwater                  15,881
  NJ    DEPTFORD TWP MUA                   NJ0802001   CWS         Surfacewater purchased       30,561

  NJ    DOVER WATER COMMISSION             NJ1409001   CWS         Groundwater                  27,806
  NJ    EAST BRUNSWICK WATER UTILITY       NJ1204001   CWS         Surfacewater purchased       48,474

  NJ    EAST GREENWICH TWP WATER DEPT      NJ0803001   CWS         Surfacewater purchased        9,900

  NJ    EAST HANOVER TWP WATER DEPT        NJ1410001   CWS         Surfacewater purchased       11,393

  NJ    EAST ORANGE WATER COMMISSION       NJ0705001   CWS         Surfacewater purchased       75,000

  NJ    EDISON WATER CO                    NJ1205001   CWS         Surfacewater purchased       35,000

  NJ    ESSEX FELLS WATER DEPT             NJ0706001   CWS         Surfacewater purchased        2,200

  NJ    FAIR LAWN WATER DEPT               NJ0217001   CWS         Surfacewater purchased       31,000

  NJ    FAIRTON OAKS M H COMMUNITY         NJ0605001   CWS         Groundwater                     207
  NJ    FAYSON LAKES WATER COMPANY INC     NJ1415001   CWS         Groundwater                   3,010
  NJ    FLEMINGTON WATER DEPARTMENT        NJ1009001   CWS         Groundwater                   4,581
  NJ    FLORENCE TWP W DEPT                NJ0315001   CWS         Groundwater                  11,214
  NJ    FLORHAM PARK WATER DEPT            NJ1411001   CWS         Groundwater                   8,846
  NJ    FOREST LAKES W CO                  NJ1904003   CWS         Groundwater                   1,410
  NJ    FRANKLIN BOARD OF PUBLIC           NJ1906002   CWS         Groundwater                   5,500
  NJ    GARFIELD WATER DEPARTMENT          NJ0221001   CWS         Surfacewater purchased       30,487

  NJ    GLASSBORO WATER DEPARTMENT         NJ0806001   CWS         Surfacewater purchased       24,244

  NJ    GLEN GARDNER W DEPT                NJ1012001   CWS         Groundwater                   1,705
  NJ    GLOUCESTER CITY W DEPT             NJ0414001   CWS         Groundwater                  12,460
  NJ    GORDON BYRAM ASSOC LLC             NJ1904357   NTNCWS      Groundwater                   4,075
  NJ    GORDONS CORNER WATER CO            NJ1326001   CWS         Surfacewater purchased       46,196

  NJ    GREEN ACRES NJ MHC LLC             NJ1319010   CWS         Groundwater                     260


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Primacy                PWS Name                  PWSID      PWS Type      Primary Source        Population
Agency                                                                                            Served
 [State]
   NJ      GREENWICH TWP W DEPT                NJ0807001   CWS         Groundwater                   4,921
   NJ      HACKETTSTOWN MUA                    NJ2108001   CWS         Groundwater                  22,000
   NJ      HAMBURG BOARD OF PUBLIC             NJ1909001   CWS         Groundwater                   3,382
   NJ      HAMILTON TOWNSHIP MUA               NJ0112001   CWS         Groundwater                  21,720
   NJ      HAMMONTON WATER DEPT                NJ0113001   CWS         Groundwater                  12,153
   NJ      HAMPTON BOROUGH WATER DEPART        NJ1013001   CWS         Groundwater                   1,401
   NJ      HARDING WOODS MHP                   NJ1710001   CWS         Groundwater                   1,276
   NJ      HARDYSTON TWP MUA                   NJ1911005   CWS         Groundwater                     769
   NJ      HARDYSTON TWP MUA                   NJ1911006   CWS         Groundwater                   1,963
   NJ      HAWTHORNE WATER DEPARTMENT          NJ1604001   CWS         Groundwater                  19,458
   NJ      HIDDEN VILLAGE CONDO ASSOCIATION    NJ1922027   CWS         Groundwater                     175
   NJ      HIGH BRIDGE W DEPT                  NJ1014001   CWS         Groundwater                   3,300
   NJ      HILLSIDE ESTATES AT FRANKLIN        NJ1906001   CWS         Groundwater                     300
   NJ      HO HO KUS WATER DEPT                NJ0228001   CWS         Groundwater                   4,060
   NJ      HOFFMAN HOMES                       NJ1435001   CWS         Groundwater                     120
   NJ      HOLLAND CHRISTIAN HOME              NJ1606301   CWS         Groundwater                     250
   NJ      HOLLY GREEN CAMPGROUND              NJ0805433   CWS         Groundwater                     140
   NJ      HOPATCONG WATER DEPT                NJ1912001   CWS         Groundwater                   7,224
   NJ      HOPEWELL BORO W DEPT                NJ1105001   CWS         Surfacewater purchased        2,035

  NJ       HOPEWELL TWP WATER&SEWER            NJ1106001   CWS         Groundwater                     356
  NJ       HUNTERDON CARE CENTER               NJ1021363   CWS         Groundwater                     284
  NJ       JACKSON ESTATES MOBILE HOME PK      NJ1511002   CWS         Groundwater                     440
  NJ       JEFFERSON TWP W U LK HOP            NJ1414011   CWS         Groundwater                   8,500
  NJ       JEFFERSON TWP W U MILTON SYS        NJ1414003   CWS         Groundwater                   4,500
  NJ       JERSEY CITY MUA                     NJ0906001   CWS         Surfacewater                262,000
  NJ       KEANSBURG WATER & SEWER DEPT.       NJ1321001   CWS         Surfacewater purchased       10,105

  NJ       KEYPORT WATER DEPT                  NJ1322001   CWS         Surfacewater purchased        7,500

  NJ       LAKE LENAPE WATER CO                NJ1902003   CWS         Groundwater                   1,250
  NJ       LAKE STOCKHOLM INC                  NJ1911002   CWS         Groundwater                     300
  NJ       LAKE TAMARACK W CO                  NJ1911003   CWS         Groundwater                   1,000
  NJ       LAKESHORE COMPANY                   NJ1413001   CWS         Groundwater                     270
  NJ       LAKEWOOD TWP MUA                    NJ1514002   CWS         Surfacewater purchased       21,750

  NJ       LAWRENCEVILLE SCHOOL                NJ1107001   CWS         Groundwater                   1,000
  NJ       LITTLE BROOK NURSING                NJ1019311   CWS         Groundwater                      36
           CONVALESCENT HOME
  NJ       LITTLE EGG HARBOR TWP MU            NJ1516001   CWS         Groundwater                  24,215
  NJ       LIVINGSTON TWP DIV OF WATER         NJ0710001   CWS         Surfacewater purchased       27,391

  NJ       LOCOR LAKEFRONT LODGING             NJ1912300   CWS         Groundwater                     105
  NJ       LOWER TWP MUA                       NJ0505002   CWS         Groundwater                  10,315
  NJ       LOZIERS TRAILER PARK                NJ1414006   CWS         Groundwater                      50
  NJ       MADISON WATER DEPT                  NJ1417001   CWS         Groundwater                  15,820


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Primacy              PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                        Served
 [State]
   NJ    MAHWAH WATER DEPARTMENT           NJ0233001   CWS         Surfacewater                 26,777
   NJ    MANCHESTER TWP WATER UTILITY -    NJ1518004   CWS         Groundwater                  15,613
         WESTERN
   NJ    MANCHESTER TWP WATER UTILITY -    NJ1518005   CWS         Groundwater                  21,200
         EASTERN
   NJ    MANTUA TOWNSHIP MUA               NJ0810004   CWS         Surfacewater purchased       12,600

  NJ    MAPLE SHADE WATER DEPARTMENT       NJ0319001   CWS         Surfacewater purchased       19,400

  NJ    MARLBORO TOWNSHIP WATER UTILITY    NJ1328002   CWS         Surfacewater purchased       29,480
        DIVISION
  NJ    MATAWAN BOROUGH WATER DE           NJ1329001   CWS         Surfacewater purchased        9,084

  NJ    MEADOWBROOK CO-OP INC              NJ1511016   CWS         Groundwater                     150
  NJ    MERCER COUNTY CORRECTIONAL         NJ1106002   CWS         Groundwater                     860
        CENTER
  NJ    MERCHANTVILLE PENNSAUKEN           NJ0424001   CWS         Surfacewater purchased       47,144

  NJ    MIDDLESEX WATER COMPANY            NJ1225001   CWS         Surfacewater                233,376
  NJ    MILFORD MANOR                      NJ1615340   CWS         Groundwater                     165
  NJ    MILFORD W DEPT                     NJ1020001   CWS         Groundwater                   1,453
  NJ    MILLVILLE WATER DEPARTMENT         NJ0610001   CWS         Groundwater                  27,500
  NJ    MONROE MUNICIPAL UTILITIES         NJ0811002   CWS         Surfacewater purchased       26,179
        AUTHORITY
  NJ    MONROE TWP UTILITY DEPARTMENT      NJ1213002   CWS         Groundwater                  33,402
  NJ    MONTCLAIR WATER BUREAU             NJ0713001   CWS         Surfacewater purchased       37,669

  NJ    MONTVILLE TWP MUA                  NJ1421003   CWS         Surfacewater purchased       22,000

  NJ    MOORESTOWN WATER DEPT              NJ0322001   CWS         Surfacewater purchased       20,700

  NJ    MORRIS CHASE/MORRIS HUNT PCWS      NJ1427018   CWS         Groundwater                   1,080
  NJ    MORRIS COUNTY MUA                  NJ1432001   CWS         Groundwater                       0
  NJ    MOUNT OLIVE TWP W D MAIN           NJ1427005   CWS         Groundwater                   7,887
  NJ    MOUNT OLIVE TWP W D SAND           NJ1427006   CWS         Groundwater                     744
  NJ    MOUNTAIN LAKES WATER DEP           NJ1425001   CWS         Groundwater                   4,012
  NJ    MT LAUREL TWP MUA                  NJ0324001   CWS         Surfacewater purchased       41,743

  NJ    MT OLIVE TWP TINC FARM             NJ1427015   CWS         Groundwater                     597
  NJ    MT OLIVE TWP W D CARLTON           NJ1427014   CWS         Groundwater                     267
  NJ    MT OLIVE TWP WD PINECREST          NJ1427008   CWS         Groundwater                     648
  NJ    MT OLIVE VILLAGES WATER            NJ1427001   CWS         Groundwater                   5,000
  NJ    MULLICA WOODS MOBILE HOME PARK     NJ0117001   CWS         Groundwater                     150
  NJ    N.J.D.W.S.C. - WANAQUE NORTH       NJ1613001   CWS         Surfacewater                    150
  NJ    NATIONAL PARK WATER DEPARTMENT     NJ0812001   CWS         Surfacewater purchased        3,144

  NJ    NETCONG WATER DEPT                 NJ1428001   CWS         Groundwater                   3,342
  NJ    NEW BRUNSWICK W DEPT               NJ1214001   CWS         Surfacewater                 55,000



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Primacy                PWS Name                 PWSID      PWS Type      Primary Source        Population
Agency                                                                                           Served
 [State]
   NJ      NEWARK WATER DEPARTMENT           NJ0714001    CWS         Surfacewater                294,274
   NJ      NEWFIELD WATER DEPARTMENT         NJ0813001    CWS         Groundwater                   1,616
   NJ      NEWTON WATER & SEWER UTILITY      NJ1915001    CWS         Surfacewater                  8,300
   NJ      NJ AMERICAN WATER - ATLANTIC      NJ0119002    CWS         Groundwater                 120,146
           COUNTY
  NJ       NJ AMERICAN WATER - BELVIDERE     NJ2103001    CWS         Groundwater                   2,854
  NJ       NJ AMERICAN WATER - COASTAL NORTH NJ1345001    CWS         Surfacewater                335,449

  NJ       NJ AMERICAN WATER - FRENCHTOWN     NJ1011001   CWS         Groundwater                   1,488
  NJ       NJ AMERICAN WATER - HARRISON       NJ0808001   CWS         Surfacewater purchased        9,193

  NJ       NJ AMERICAN WATER - ITC            NJ1427017   CWS         Groundwater                   6,463
  NJ       NJ AMERICAN WATER - LOGAN          NJ0809002   CWS         Surfacewater purchased        6,650

  NJ       NJ AMERICAN WATER - MOUNT HOLLY    NJ0323001   CWS         Surfacewater purchased       47,427

  NJ       NJ AMERICAN WATER - OCEAN CITY     NJ0508001   CWS         Groundwater                 127,000
  NJ       NJ AMERICAN WATER - OLDWICK        NJ1024001   CWS         Groundwater                     246
  NJ       NJ AMERICAN WATER - PENNS GROVE    NJ1707001   CWS         Surfacewater purchased       14,406

  NJ       NJ AMERICAN WATER - RARITAN        NJ2004002   CWS         Surfacewater                615,430
  NJ       NJ AMERICAN WATER - ROXBURY        NJ1436002   CWS         Groundwater                  11,793
  NJ       NJ AMERICAN WATER - SHORT HILLS    NJ0712001   CWS         Surfacewater                217,230
  NJ       NJ AMERICAN WATER - TWIN LAKES     NJ1803002   CWS         Groundwater                     250
  NJ       NJ AMERICAN WATER -                NJ2121001   CWS         Groundwater                  10,719
           WASHINGTON/OXFORD
  NJ       NJ AMERICAN WATER - WEST JERSEY    NJ1427009   CWS         Groundwater                     837
  NJ       NJ AMERICAN WATER - WESTERN        NJ0327001   CWS         Surfacewater                264,586
  NJ       NJ VASA HOME WATER SYS             NJ1427010   CWS         Groundwater                     125
  NJ       NJ WATER SUPPLY AUTHORITY          NJ1352005   CWS         Surfacewater                     30
           MANASQUAN
  NJ       NORMS DALE MOBILE HOME PARK        NJ0108004   CWS         Groundwater                     250
  NJ       NORTH BRUNSWICK W DEPT             NJ1215001   CWS         Surfacewater                 41,000
  NJ       NORTH SHORE WATER ASSOCIATION      NJ1904004   CWS         Groundwater                     105
  NJ       OAK FOREST MOBILE HOME PARK        NJ0108019   CWS         Groundwater                     300
  NJ       OAK RIDGE MOBILE HOME PARK         NJ1414008   CWS         Groundwater                     100
  NJ       OAKLAND WATER DEPT                 NJ0242001   CWS         Groundwater                  12,754
  NJ       OAKS MHP LLC                       NJ1508001   CWS         Groundwater                      80
  NJ       OAKVIEW LEISURE VILLAGE            NJ0332002   CWS         Groundwater                     250
  NJ       OCEAN TWP DEPT OF UTILITIES        NJ1520001   CWS         Groundwater                  15,419
  NJ       OCEANVIEW CTR FOR REHAB AND        NJ0504306   CWS         Groundwater                     120
           CONTINUING C
  NJ       OLD BRIDGE MUA                     NJ1209002   CWS         Surfacewater purchased       67,215

  NJ       ONYX BEHAVIORAL HEALTH CARE        NJ0435324   CWS         Groundwater                     215
  NJ       ORANGE WATER DEPT                  NJ0717001   CWS         Surfacewater purchased       30,134




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Primacy               PWS Name                 PWSID      PWS Type      Primary Source        Population
Agency                                                                                          Served
 [State]
   NJ    OXFORD HERITAGE MANOR               NJ2117003   CWS         Groundwater                      60
   NJ    PARK RIDGE WATER DEPT               NJ0247001   CWS         Groundwater                  16,466
   NJ    PARSIPPANY-TROY HILLS WATER         NJ1429001   CWS         Surfacewater purchased       50,400
         DEPARTMENT
   NJ    PASSAIC VALLEY WATER COMMISSION     NJ1605002   CWS         Surfacewater                310,483
   NJ    PAULSBORO WATER DEPARTMENT          NJ0814001   CWS         Groundwater                   6,097
   NJ    PEMBERTON TOWNSHIP WATER - LAKE     NJ0329003   CWS         Groundwater                   3,500
         VALLEY
   NJ    PENNINGTON SHOP-RITE                NJ1106319   NTNCWS      Groundwater                   3,663
   NJ    PENNINGTON W DEPT                   NJ1108001   CWS         Groundwater                   2,600
   NJ    PENNSVILLE TWSP. WATER DEPART.      NJ1708001   CWS         Groundwater                  13,500
   NJ    PEQUANNOCK TWP WATER                NJ1431001   CWS         Surfacewater purchased       14,010
         DEPARTMENT
   NJ    PERTH AMBOY WATER DEPARTMENT        NJ1216001   CWS         Groundwater under            52,328
                                                                     influence of
                                                                     surfacewater
  NJ    PICNIC GROVE MOBILE HOMES            NJ1710003   CWS         Groundwater                     250
  NJ    PITMAN WATER DEPARTMENT              NJ0815001   CWS         Surfacewater purchased        9,545

  NJ    POINT PLEASANT BEACH WATER           NJ1525001   CWS         Surfacewater purchased       12,000
        DEPARTMENT
  NJ    POINT PLEASANT WATER DEPARTMENT      NJ1524001   CWS         Surfacewater purchased       19,600

  NJ    POMPTON LAKES MUA                    NJ1609001   CWS         Groundwater                  11,435
  NJ    PVWC-POSTBROOK                       NJ1615008   CWS         Groundwater                     458
  NJ    RAMSEY WATER DEPT                    NJ0248001   CWS         Surfacewater purchased       15,207

  NJ    RED BANK WATER DEPT                  NJ1340001   CWS         Surfacewater purchased       12,520

  NJ    REFLECTION LAKES GARDEN              NJ1615009   CWS         Groundwater                      40
        APARTMENTS
  NJ    REGENCY APARTMENTS LLC               NJ1924003   CWS         Groundwater                     300
  NJ    RESORTS ATLANTIC CITY                NJ0102301   NTNCWS      Groundwater                   5,500
  NJ    RIDGEWOOD WATER                      NJ0251001   CWS         Surfacewater purchased       61,700

  NJ    RINGWOOD WATER DEPARTMENT            NJ1611002   CWS         Surfacewater purchased        9,327

  NJ    RIVERDALE BORO WATER DEP             NJ1433001   CWS         Surfacewater purchased        2,850

  NJ    ROCKAWAY BORO WATER DEPT             NJ1434001   CWS         Groundwater                   7,066
  NJ    ROCKAWAY TWP WATER DEPT              NJ1435002   CWS         Groundwater                  14,000
  NJ    ROCKY HILL W DEPT                    NJ1817001   CWS         Groundwater                     687
  NJ    ROLLING HILLS CARE CENTER            NJ1006302   CWS         Groundwater                      97
  NJ    ROLLING HILLS CONDMINIUM             NJ1902007   CWS         Groundwater                     240
        ASSOCIATION
  NJ    ROSEMONT WATER COMPANY               NJ1007002   CWS         Groundwater                     256
  NJ    ROXBURY TWP W DEPT-EVERGREEN         NJ1436006   CWS         Groundwater                      90
  NJ    ROXBURY TWP W DEPT-SHORE             NJ1436003   CWS         Groundwater                   5,153



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Primacy                 PWS Name                  PWSID      PWS Type      Primary Source        Population
Agency                                                                                             Served
 [State]
   NJ      ROXBURY TWP W DEPT-SKY V             NJ1436004   CWS         Groundwater                   4,478
   NJ      SAINT PAULS ABBEY                    NJ1902346   CWS         Groundwater                     530
   NJ      SALEM WATER DEPARTMENT               NJ1712001   CWS         Groundwater                   6,199
   NJ      SAYREVILLE W DEPT                    NJ1219001   CWS         Groundwater under            43,761
                                                                        influence of
                                                                        surfacewater
  NJ       SEA GIRT WATER DEPT                  NJ1344001   CWS         Surfacewater purchased        2,636

  NJ       SHERWOOD VILLAGE                     NJ1438006   CWS         Groundwater                      75
  NJ       SIGNATURE CARE HOME @ MONTVILLE      NJ1421305   CWS         Groundwater                      46
  NJ       SIMMONS W CO                         NJ1924002   CWS         Groundwater                     180
  NJ       SISTERS OF CHARITY OF SE             NJ1422001   CWS         Groundwater                   1,100
  NJ       SOUTH BRUNSWICK TWP W DI             NJ1221004   CWS         Surfacewater purchased       45,450

  NJ       SOUTH ORANGE WATER DEPARTMENT        NJ0719001   CWS         Surfacewater purchased       16,964

  NJ       SOUTHEAST MORRIS COUNTY MUA          NJ1424001   CWS         Surfacewater                 62,349
  NJ       SPARTA TWP WATER UTILITY --          NJ1918003   CWS         Groundwater                   1,618
           HIGHLANDS
  NJ       SPARTA TWP WATER UTILITY - LAKE      NJ1918004   CWS         Groundwater                  17,628
           MOHAWK
  NJ       SPARTA TWP WTR - SUNSET              NJ1918013   CWS         Groundwater                     342
  NJ       SPOTSWOOD W DEPT                     NJ1224001   CWS         Surfacewater purchased        8,300

  NJ       SPRING LAKE WATER DEPARTMENT         NJ1348001   CWS         Surfacewater purchased       11,270

  NJ       STAFFORD TWP MUA FAWN LA          NJ1530005      CWS         Groundwater                   1,740
  NJ       STANHOPE W DEPT                   NJ1919001      CWS         Groundwater                   3,730
  NJ       STILLWATER WATER DISTRICT 1       NJ1920001      CWS         Groundwater                   1,200
  NJ       STOCKTON WATER DEPARTMENT         NJ1023001      CWS         Groundwater                     650
  NJ       STONEY FIELD MOBILE HOME PARK     NJ0108009      CWS         Groundwater                     200
  NJ       STRAWBERRY POINT POA              NJ1904006      CWS         Groundwater                      95
  NJ       SUEZ WATER NEW JERSEY RAHWAY      NJ2013001      CWS         Surfacewater                 27,300
  NJ       SURF CITY WATER DEPT              NJ1531001      CWS         Groundwater                  10,000
  NJ       SUSSEX CNTY HLTH-THE HOMESTED     NJ1905004      CWS         Groundwater                     100
  NJ       THE MATHENY SCHOOL & HOSPITAL INC NJ1815300      CWS         Groundwater                     601

  NJ       THE OAKS OF WEYMOUTH WATER CO.       NJ0123002   CWS         Groundwater                     750
  NJ       TILTON TERRACE MHP                   NJ0108003   CWS         Groundwater                     456
  NJ       TIPS TRAILER PARK & SALE             NJ0605002   CWS         Groundwater                     450
  NJ       TOWN & COUNTRY MHP                   NJ0410001   CWS         Groundwater                     200
  NJ       TOWN CENTER AT WANTAGE               NJ1924006   CWS         Groundwater                     122
  NJ       TRANQUIL VALLEY RETREAT CENTER       NJ1908308   CWS         Groundwater                     232
  NJ       TRENTON WATER WORKS                  NJ1111001   CWS         Surfacewater                217,000
  NJ       UPPER DEERFIELD TWP WATER DEPT       NJ0613004   CWS         Groundwater                   2,463
  NJ       VALLEY VIEW ESTATES                  NJ2117002   CWS         Groundwater                     120




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Primacy              PWS Name                 PWSID      PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
   NJ    VEOLIA WATER NEW JERSEY -         NJ1615012    CWS         Groundwater                     633
         AWOSTING
   NJ    VEOLIA WATER NEW JERSEY - BIRCH   NJ1615001    CWS         Groundwater                     180
         HILL
   NJ    VEOLIA WATER NEW JERSEY - PARKWAY NJ1615006    CWS         Groundwater                      92

  NJ    VEOLIA WATER NEW JERSEY ANDOVER    NJ1902004    CWS         Groundwater                     115
  NJ    VEOLIA WATER NEW JERSEY            NJ1426004    CWS         Groundwater                   1,989
        ARLINGTON HILLS
  NJ    VEOLIA WATER NEW JERSEY BARRY      NJ1922001    CWS         Groundwater                     136
        LAKES
  NJ    VEOLIA WATER NEW JERSEY            NJ1922004    CWS         Groundwater                      72
        CLIFFWOOD LAKES
  NJ    VEOLIA WATER NEW JERSEY DAVID      NJ1922013    CWS         Groundwater                      53
        CURTIS
  NJ    VEOLIA WATER NEW JERSEY EAST       NJ1904002    CWS         Groundwater                     612
        BROOKWOOD
  NJ    VEOLIA WATER NEW JERSEY FRANKLIN   NJ0220001    CWS         Surfacewater purchased        5,038
        LAKES
  NJ    VEOLIA WATER NEW JERSEY            NJ0238001    CWS         Surfacewater                792,713
        HACKENSACK
  NJ    VEOLIA WATER NEW JERSEY HAMPTON    NJ1910003    CWS         Groundwater                     814

  NJ    VEOLIA WATER NEW JERSEY HIGHLAND NJ1922017      CWS         Groundwater                      88
        LAKES
  NJ    VEOLIA WATER NEW JERSEY LAKE     NJ1922012      CWS         Groundwater                      80
        CONWAY
  NJ    VEOLIA WATER NEW JERSEY LAKE     NJ1922010      CWS         Groundwater under               250
        GLENWOOD                                                    influence of
                                                                    surfacewater
  NJ    VEOLIA WATER NEW JERSEY            NJ1017001    CWS         Surfacewater                  3,960
        LAMBERTVILLE
  NJ    VEOLIA WATER NEW JERSEY            NJ1326004    CWS         Surfacewater                      0
        MATCHAPONIX
  NJ    VEOLIA WATER NEW JERSEY PREDMORE NJ1922021      CWS         Groundwater                      45
        ESTATES
  NJ    VEOLIA WATER NEW JERSEY SAMMIS     NJ1922022    CWS         Groundwater                      53
        ROAD
  NJ    VEOLIA WATER NEW JERSEY SUNSET     NJ1922011    CWS         Groundwater                     208
        RIDGE
  NJ    VEOLIA WATER NEW JERSEY SUSSEX     NJ1922006    CWS         Groundwater                     168
        HILLS
  NJ    VEOLIA WATER NEW JERSEY TOMS       NJ1507005    CWS         Groundwater                 123,184
        RIVER
  NJ    VEOLIA WATER NEW JERSEY VERNON     NJ1922026    CWS         Groundwater                   5,517
        VALLEY
  NJ    VEOLIA WATER NEW JERSEY WALNUT     NJ1922015    CWS         Groundwater                      53
        HILLS
  NJ    VEOLIA WATER NEW                   NJ1924004    CWS         Groundwater                      80
        JERSEYWOODRIDGE ESTATES
  NJ    VEOLIA WATER NJ - OLDE MILFORD EST NJ1615016    CWS         Groundwater                   1,577



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Primacy              PWS Name                 PWSID      PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
   NJ    VEOLIA WATER NJ ALLENDALE WATER NJ0201001      CWS         Surfacewater purchased        6,702
         SYSTEM
   NJ    VEOLIA WATER NJ BALD EAGLE        NJ1615020    CWS         Groundwater                   1,444
         COMMONS
   NJ    VEOLIA WATER NJ GRANDVIEW ESTATES NJ1922005    CWS         Groundwater                      59

  NJ    VEOLIA WATER NJ GREENBROOK         NJ1615002    CWS         Groundwater                     600
        ESTATES
  NJ    VEOLIA WATER NJ INDEPENDENCE       NJ2112002    CWS         Groundwater                     350
        HIGHLAND
  NJ    VEOLIA WATER NJ INDEPENDENCE       NJ2112001    CWS         Groundwater                     110
        VALLEY VIEW
  NJ    VEOLIA WATER NJ-BALD EAGLE         NJ1615018    CWS         Groundwater                   1,258
        VILLAGE
  NJ    VERONA WATER DEPARTMENT            NJ0720001    CWS         Surfacewater purchased       13,641

  NJ    VILLAGE I                          NJ1710006    CWS         Groundwater                      43
  NJ    VINELAND WATER & SEWER UTILITY     NJ0614003    CWS         Groundwater                  36,250
  NJ    WALDWICK WATER DEPT                NJ0264001    CWS         Groundwater                  10,208
  NJ    WALL TWP WATER DEPT                NJ1352003    CWS         Surfacewater purchased       26,000

  NJ    WALLINGTON WATER DEPT              NJ0265001    CWS         Surfacewater purchased       11,583

  NJ    WANAQUE W DEPT.                    NJ1613002    CWS         Surfacewater purchased       10,266

  NJ    WASHINGTON TOWNSHIP MUA            NJ0818004    CWS         Groundwater                  48,000
  NJ    WASHINGTON TWP MUA-HAGER           NJ1438003    CWS         Groundwater                   3,458
  NJ    WASHINGTON TWP MUA-SCHOO           NJ1438004    CWS         Groundwater                   4,866
  NJ    WEST DEPTFORD TWP WATER DEPT       NJ0820001    CWS         Surfacewater purchased       22,000

  NJ    WESTVILLE WATER DEPARTMENT         NJ0821001    CWS         Groundwater                   6,000
  NJ    WHARTON WATER DEPT                 NJ1439001    CWS         Groundwater                   6,342
  NJ    WILLINGBORO MUA                    NJ0338001    CWS         Groundwater                  35,000
  NJ    WINDING BROOK MHP SYSTEM 2         NJ1319009    CWS         Groundwater                     184
  NJ    WINDTRYST APTS                     NJ2123002    CWS         Groundwater                     216
  NJ    WINDY ACRES MOBILE HOME            NJ1406002    CWS         Groundwater                     100
  NJ    WINSLOW COURT HOMES INC            NJ0436010    CWS         Groundwater                      90
  NJ    WINSLOW TWP DMU                    NJ0436007    CWS         Surfacewater purchased       39,174

  NJ    WONDER LAKE PROPERTIES I           NJ1615017    CWS         Groundwater                     105
  NJ    WOODBURY CITY W DEPT               NJ0822001    CWS         Surfacewater purchased        9,963

  NJ    WOODBURY HEIGHTS W UTILI           NJ0823001    CWS         Surfacewater purchased        3,008

  NJ    WOODLAND HEIGHTS HOMEOWNERS        NJ1615022    CWS         Groundwater                      55
        ASSOCIATION
 NM     ALAMOGORDO DOMESTIC WATER          NM3513319    CWS         Surfacewater                 36,828
        SYSTEM
 NM     ALBUQUERQUE WATER SYSTEM           NM3510701    CWS         Surfacewater                659,736



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Primacy                 PWS Name                PWSID      PWS Type         Primary Source        Population
Agency                                                                                              Served
 [State]
  NM       CIDER MILL FARMS MDWCA             NM3574519   CWS            Groundwater                      74
  NM       CLOUDCROFT WATER SYSTEM            NM3513519   CWS            Groundwater                   2,865
  NM       DONA ANA MDWCA                     NM3554307   CWS            Groundwater                  16,217
  NM       FLORA VISTA MUTUAL DOMESTIC        NM3510024   CWS            Surfacewater purchased        3,788

  NM       GRADY WATER SYSTEM                NM3527405    CWS            Groundwater                     207
  NM       HOBBS MUNICIPAL WATER SUPPLY      NM3521613    CWS            Groundwater                  39,700
  NM       LA LUZ MDWCA                      NM3513719    CWS            Surfacewater                  2,500
  NM       LAS CRUCES MUNICIPAL WATER SYSTEM NM3511707    CWS            Groundwater                  87,389

  NM       MELROSE WATER SYSTEM               NM3527505   CWS            Groundwater                   1,332
  NM       MOUNTAIN ORCHARD MDWCA             NM3563619   CWS            Groundwater                     103
  NM       PORTALES WATER SYSTEM              NM3528522   CWS            Groundwater                  14,067
  NM       SANTA FE WATER SYSTEM (CITY OF)    NM3505126   CWS            Surfacewater                 90,810
  NM       TEXICO WATER SYSTEM                NM3527605   CWS            Groundwater                   1,331
  NM       TULAROSA WATER SYSTEM              NM3514019   CWS            Surfacewater                  3,458
  NM       TURQUOISE ESTATES WATER COOP       NM3550905   CWS            Groundwater                     168
  NV       ELKO CITY OF                       NV0000272   CWS            GROUNDWATER                  20,451
  NV       HILLCREST MANOR WATER USERS        NV0000145   CWS            Groundwater                     450
           ASSOCIATION
  NY       796 BEDFORD ROAD APARTMENTS        NY5930069   CWS             Groundwater                     40
  NY       888 ROUTE 6                        NY3917002   System not
                                                          found in
                                                          SDWIS,
                                                          additional
                                                          search could
                                                          not find system
                                                          name.
  NY       ADIRONDACK LODGES - ADIRONDACK     NY5621920   CWS             Groundwater                    150
  NY       AKRON VILLAGE                      NY1400397   CWS             Surfacewater                 3,100
  NY       ALBERTSON WD                       NY2902815   CWS             Groundwater                 13,500
  NY       ALBION VILLAGE                     NY3600596   CWS             Surfacewater                 6,000
  NY       ALEXANDRIA BAY VILLAGE             NY2202329   CWS             Surfacewater                 1,900
  NY       ALLEGANY VILLAGE                   NY0400330   CWS             Groundwater                  2,000
  NY       ALPINE ACRES WATER DISTRICT        NY3905706   CWS             Groundwater                    150
  NY       ALPINE ESTATES                     NY4519064   CWS             Groundwater                     40
  NY       ALPINE HEIGHTS TRAILER PARK        NY5501379   CWS             Groundwater                     60
  NY       AMENIA WATER DISTRICT NO 1         NY1302759   CWS             Groundwater                  1,001
  NY       AMSTERDAM (C)                      NY2800136   CWS             Surfacewater                20,700
  NY       ANTLERS AT DIAMOND POINT           NY5621608   CWS             Surfacewater                   125
  NY       ANTONE MOUNTAIN MOBILE HOME        NY4501806   CWS             Groundwater                    118
           PARK
  NY       ANTWERP VILLAGE                    NY2202330   CWS            Groundwater                     900
  NY       APPLE RIDGE APARTMENTS EAST        NY3321981   CWS            Groundwater                      44
  NY       AQUEDUCT COMMUNITY MHP             NY5501273   CWS            Groundwater                      60
  NY       ARBOR ARMS APARTMENTS              NY1303214   CWS            Groundwater                      70



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Primacy               PWS Name               PWSID      PWS Type         Primary Source       Population
Agency                                                                                          Served
 [State]
   NY    ARBOR HILLS WATER WORKS           NY5922910   CWS           Groundwater                     180
   NY    ARCADIA MOBILE HOME PARK          NY5800669   CWS           Groundwater under                75
                                                                     influence of
                                                                     surfacewater
 NY    ARCADIA-LYONS CSA                   NY5821130   CWS           Surfacewater purchased        5,754

 NY    ARCADY BAY ESTATES                  NY5618220   CWS           Surfacewater                    470
 NY    ARCHER ESTATES                      NY3905695   CWS           Groundwater                     120
 NY    ARGYLE VILLAGE                      NY5700116   CWS           Groundwater                     495
 NY    ARK PARK                            NY0310339   CWS           Groundwater                     170
 NY    ARLUCK WATER DISTRICT               NY3503588   CWS           Groundwater                     118
 NY    ARROW PARK INC. CWS                 NY3503536   CWS           Groundwater                      83
 NY    ASHFORD WEST VALLEY TOWN WATER      NY0430123   CWS           Groundwater                     410
       DISTRICT
 NY    ATTICA VILLAGE                      NY6000607   CWS           Surfacewater                  2,659
 NY    AUSABLE HEIGHTS WATER SYSTEM        NY0910809   CWS           Groundwater                      46
 NY    AVALON ASSISTED LIVING              NY1313000   CWS           Groundwater                     133
 NY    BAILEY PARK                         NY5405829   CWS           Groundwater                      37
 NY    BALDWINSVILLE VILLAGE               NY3304307   CWS           Groundwater                   9,200
 NY    BALLSTON SPA VILLAGE                NY4500162   CWS           Groundwater                   6,541
 NY    BARD COLLEGE                        NY1313839   CWS           Surfacewater                  1,400
 NY    BATH VILLAGE CONSOLIDATED           NY5001206   CWS           Groundwater                   6,298
       SAMPLING AREA
 NY    BATTISTI PUBLIC WATER SUPPLY        NY4100061   CWS           Groundwater                     163
 NY    BEACON CITY                         NY1302760   CWS           Surfacewater                 19,000
 NY    BEAVER DAM LAKE WATER CORP.         NY3503550   CWS           Groundwater under               465
                                                                     influence of
                                                                     surfacewater
 NY    BEDFORD CONSOLIDATED W.D.           NY5903419   CWS           Surfacewater purchased        9,056

 NY    BEEKMAN MOBILE HOME PARK 2          NY1302116   CWS             Groundwater                   100
 NY    BELLA TERRA APARTMENTS              NY5530246   CWS             Groundwater                    65
 NY    BELLS POND NEW SECTION              NY1030276   System not
                                                       found in
                                                       SDWIS,
                                                       additional
                                                       search could
                                                       not find system
                                                       name.
 NY    BELLVALE PARK W.D.                  NY3503602   CWS             Groundwater                   100
 NY    BELMONT VILLAGE PUBLIC WATER        NY0200314   CWS             Groundwater under           2,400
                                                                       influence of
                                                                       surfacewater
 NY    BENWOOD KNOLLS MOBILE HOME PARK NY1320264       CWS             Groundwater                    87

 NY    BERKSHIRE APARTMENTS                NY1321409   CWS           Groundwater                      80
 NY    BERLIN WATER DISTRICT # 2           NY4104503   CWS           Groundwater                     700
 NY    BETHLEHEM WD NO 1                   NY0100191   CWS           Surfacewater                 31,000


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Primacy                PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                          Served
 [State]
   NY      BETHPAGE WD                       NY2902817   CWS         Groundwater                  33,000
   NY      BIG FLATS WATER DISTRICT 5        NY0701011   CWS         Groundwater                   8,489
   NY      BIG SKY II, LLC                   NY3510816   CWS         Groundwater                      22
   NY      BINGHAMTON, CITY OF               NY0301651   CWS         Surfacewater                 47,600
   NY      BIRCH HILL ACRES                  NY3930047   CWS         Groundwater                      60
   NY      BIRCH HILL WATER                  NY1330021   CWS         Groundwater                     200
   NY      BIRCH PARK                        NY1610672   CWS         Groundwater                      90
   NY      BLACK CREEK APTS                  NY5520381   CWS         Groundwater                      80
   NY      BLACKBERRY HILL                   NY3905683   CWS         Groundwater                     650
   NY      BLOOMERSIDE WATER SUPPLY          NY5903448   CWS         Groundwater                     300
   NY      BLOOMING GROVE WD #2-OXFORD HE    NY3503620   CWS         Groundwater                     131
   NY      BLOOMING GROVE WD #4-TAPPAN HO    NY3503625   CWS         Groundwater                     550
   NY      BLOOMING GROVE WD #5-MT. VIEW     NY3503591   CWS         Groundwater                     300
   NY      BLOOMINGDALE WD                   NY1500275   CWS         Groundwater                     995
   NY      BLUE LAKE                         NY3512132   CWS         Surfacewater                  1,850
   NY      BLUE MT LAKE WD                   NY2000135   CWS         Surfacewater                    400
   NY      BLUE STONE ACRES MHP              NY5501275   CWS         Groundwater under               180
                                                                     influence of
                                                                     surfacewater
  NY       BOLTON WATER DISTRICT             NY5600101   CWS         Surfacewater                  1,800
  NY       BON ACRE MOBILE HOME PARK         NY4110694   CWS         Groundwater                     180
  NY       BONAVIEW MOBILE HOME PARK         NY0400870   CWS         Groundwater                      20
  NY       BOYD COMMUNITY                    NY3201447   CWS         Groundwater                     100
  NY       BRAESIDE AQUA CORPORATION         NY3505661   CWS         Groundwater                     323
  NY       BRANDYBROOK MOBILE HOME COURT     NY3212121   CWS         Groundwater                      42
  NY       BREEZY HILLS COMMUNITY            NY1010854   CWS         Groundwater                      51
  NY       BREWSTER HEIGHTS                  NY3905680   CWS         Surfacewater                    698
  NY       BREWSTER VILLAGE                  NY3903639   CWS         Groundwater                   2,000
  NY       BRIDLESIDE APARTMENTS             NY5930137   CWS         Groundwater                     230
  NY       BRINKERHOFF WATER DISTRICT        NY1302766   CWS         Groundwater under             3,788
                                                                     influence of
                                                                     surfacewater
  NY       BROOKSIDE MEADOWS APARTMENTS      NY1330601   CWS         Groundwater                     600
  NY       BROOKSIDE SENIOR HOUSING          NY4130001   CWS         Groundwater                      40
  NY       BROWNVILLE VILLAGE                NY2202332   CWS         Groundwater                   1,200
  NY       BUENA VISTA APARTMENTS            NY5230224   CWS         Groundwater                      52
  NY       BUFFALO WATER AUTHORITY           NY1400422   CWS         Surfacewater                276,000
  NY       BURNT HILLS-BALLSTON LK WD        NY4505658   CWS         Surfacewater purchased        9,288

  NY       BUSTI MOBILE HOME PARK            NY0600808   CWS         Groundwater                      97
  NY       CADYVILLE WATER DISTRICT          NY0920775   CWS         Groundwater                     843
  NY       CAIRO WATER DISTRICT              NY1900025   CWS         Groundwater under             1,408
                                                                     influence of
                                                                     surfacewater
  NY       CALE FARMS WATER WORKS            NY5922908   CWS         Groundwater                     212
  NY       CALLICOON WD                      NY5203321   CWS         Groundwater                     850


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Primacy                PWS Name                PWSID      PWS Type      Primary Source   Population
Agency                                                                                     Served
 [State]
   NY      CAMBRIDGE WATER WORKS             NY5700117   CWS         Groundwater               3,000
   NY      CAMPHILL VILLAGE USA INC          NY1009225   CWS         Groundwater                 235
   NY      CANDLESTICK PARK                  NY3501335   CWS         Groundwater                 250
   NY      CANDLEWOOD PARK WATER DISTRICT    NY5903449   CWS         Groundwater                 125
   NY      CANNON POINT CONDOMINIUMS         NY5605392   CWS         Surfacewater                275
   NY      CAPE VINCENT VILLAGE              NY2202333   CWS         Surfacewater              1,500
   NY      CAPRI ESTATES                     NY3905684   CWS         Groundwater                 140
   NY      CARLE PLACE WD                    NY2902818   CWS         Groundwater               9,005
   NY      CARMEL WD 12                      NY3921719   CWS         Groundwater                 100
   NY      CARMEL WD 14                      NY3905700   CWS         Groundwater                 400
   NY      CARMEL WD 2                       NY3903641   CWS         Surfacewater              5,000
   NY      CARMEL WD 3                       NY3903642   CWS         Groundwater               1,600
   NY      CARMEL WD 4                       NY3905675   CWS         Groundwater                 700
   NY      CARMEL WD 5                       NY3905698   CWS         Groundwater                 180
   NY      CARMEL WD 6-SHELL VALLEY          NY3905709   CWS         Groundwater                 324
   NY      CARMEL WD 6-TOMAHAWK CREEK        NY3909761   CWS         Groundwater                  80
   NY      CARMEL WD 7                       NY3905697   CWS         Groundwater                 300
   NY      CARMEL WD 8                       NY3903644   CWS         Surfacewater              1,600
   NY      CARMEL WD 9                       NY3903648   CWS         Groundwater                 440
   NY      CARROLL (T) WATER DISTRICT        NY0600365   CWS         Groundwater               2,600
   NY      CASTAGNA WELLNESS WATER           NY1330735   CWS         Groundwater                 100
           COMPANY
  NY       CASTLE GATE PARK                  NY1319115   CWS         Groundwater                  75
  NY       CASTLE HIGH TRAILER PARK          NY3501336   CWS         Groundwater                 325
  NY       CASTLETON VILLAGE PWS             NY4100035   CWS         Groundwater               2,413
  NY       CATSKILL VILLAGE                  NY1900026   CWS         Surfacewater              8,000
  NY       CEDAR ACRES MOBILE HOME PARK      NY4110695   CWS         Groundwater                 276
  NY       CEDAR DOWNS WATER DISTRICT        NY5903478   CWS         Groundwater                 195
  NY       CEDAR MEADOWS WATER CORP          NY1330337   CWS         Groundwater                 250
  NY       CEDAR VALLEY WATERWORKS           NY1322057   CWS         Groundwater                 300
  NY       CHAMPION PARK                     NY3300981   CWS         Groundwater                 400
  NY       CHARLOTTE GROVE MOBILE HOME CT    NY1302126   CWS         Groundwater                 100
  NY       CHATEAU RIDGE                     NY3905685   CWS         Groundwater                 300
  NY       CHELSEA COVE HOMES                NY1320803   CWS         Groundwater               1,450
  NY       CHENANGO CONSOLIDATED WD #1       NY0301653   CWS         Groundwater               9,200
  NY       CHESTER VILLAGE                   NY3503524   CWS         Surfacewater              3,448
  NY       CHESTERFIELD WD                   NY1500283   CWS         Surfacewater              2,300
  NY       CHESTERTOWN WATER DISTRICT        NY5600102   CWS         Groundwater                 750
  NY       CHURCH CREEK MOBILE HOME          NY4410170   CWS         Groundwater                 150
           COMMUNITY
  NY       CIRCLE COURT MOBILE PARK          NY1400841   CWS         Groundwater under           90
                                                                     influence of
                                                                     surfacewater
  NY       CLAYTON VILLAGE                   NY2202335   CWS         Surfacewater              2,100
  NY       CLEARING IN THE WOODS             NY3903709   CWS         Groundwater                 162


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Primacy               PWS Name              PWSID      PWS Type      Primary Source        Population
Agency                                                                                       Served
 [State]
   NY    CLIFTON PARK WATER AUTHORITY     NY4500175   CWS         Surfacewater purchased       35,000

 NY    CLOVE BRANCH APARTMENTS            NY1303217   CWS         Groundwater                      50
 NY    CLOVERLAND MHP                     NY5421825   CWS         Groundwater                      55
 NY    CLYMER WATER DISTRICT              NY0600359   CWS         Groundwater                     650
 NY    COBLESKILL VILLAGE                 NY4700094   CWS         Surfacewater                  4,678
 NY    COHOES CITY                        NY0100192   CWS         Surfacewater                 16,883
 NY    COLD SPRING TRAILER COURT          NY3901354   CWS         Groundwater                      29
 NY    COLD SPRING VILLAGE                NY3903652   CWS         Surfacewater                  2,666
 NY    COLEBROOK TRAILER COURT            NY4501788   CWS         Groundwater                      27
 NY    COLLINGWOOD LLC UMH NY             NY0700772   CWS         Groundwater under               212
                                                                  influence of
                                                                  surfacewater
 NY    COLONIAL VILLAGE MHP               NY4701525   CWS         Groundwater                     147
 NY    COOPERSTOWN VILLAGE                NY3800145   CWS         Surfacewater                  2,400
 NY    CORINTH VILLAGE                    NY4500164   CWS         Groundwater under             4,000
                                                                  influence of
                                                                  surfacewater
 NY    CORNING CITY                       NY5001209   CWS         Groundwater                  10,300
 NY    CORNWALL MEADOWS TOWNHOMES         NY3922190   CWS         Groundwater                     230
       W.S.
 NY    CORNWALL-ON-HUDSON                 NY3503526   CWS         Surfacewater                  9,700
 NY    COTSWOLD WATER SUPPLY              NY5920706   CWS         Groundwater                     150
 NY    COTTEKILL VILLAGE                  NY5520539   CWS         Groundwater                      55
 NY    COUNTRY ACRES ESTATES, LLC         NY4110691   CWS         Groundwater                     100
 NY    COUNTRY ACRES MOBILE HOME PARK     NY1302119   CWS         Groundwater                     100
 NY    COUNTRY CLUB HOMES                 NY0412272   CWS         Groundwater                     100
 NY    COUNTRY COMMON APARTMENTS          NY1321942   CWS         Groundwater                     200
 NY    COUNTRY ESTATES (IN CAIRO)         NY1919224   CWS         Groundwater                     201
 NY    COUNTRY HILL ESTATES               NY3905694   CWS         Groundwater                     236
 NY    COUNTRY VILLAGE                    NY0412074   CWS         Groundwater                      75
 NY    COUNTYLINE MOBILE HOME PARK, LLC   NY3600757   CWS         Groundwater                     450
 NY    COVE VIEW APARTMENTS               NY1303218   CWS         Groundwater                      60
 NY    COVERED BRIDGE WATER WORKS         NY1330108   CWS         Groundwater                     600
       CORPORATION
 NY    COVINGTON GREEN CONDOMINIUM        NY3921710   CWS         Groundwater                     120
 NY    CRANERIDGE WATER SUPPLY            NY1430017   CWS         Groundwater                     360
 NY    CREEKS EDGE MHP                    NY1012338   CWS         Groundwater                      55
 NY    CREEKSIDE PARK                     NY4110699   CWS         Groundwater                      94
 NY    CREEKSIDE (WINDSOR) MHP            NY0310345   CWS         Groundwater                     110
 NY    CRESTVIEW MANOR MOBILE HOME        NY1330164   CWS         Groundwater                      60
       PARK
 NY    CRESTWOOD ESTATES                  NY2110537   CWS         Groundwater                     100
 NY    CROSS RESIDENTIAL HOMES LLC        NY1010856   CWS         Groundwater                      40
 NY    CROSSROADS MFG. HOUSING CORP.      NY2500794   CWS         Groundwater                      60




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Primacy              PWS Name                PWSID      PWS Type      Primary Source   Population
Agency                                                                                   Served
 [State]
   NY    CROTON FALLS WATER DISTRICT       NY5903424   CWS         Groundwater under           216
                                                                   influence of
                                                                   surfacewater
 NY    CROTON-ON-HUDSON VILLAGE            NY5903425   CWS         Groundwater                8,000
 NY    CRUM ELBOW APARTMENTS               NY1321901   CWS         Groundwater                  200
 NY    CRYSTAL WATER SUPPLY COMPANY        NY5220222   CWS         Groundwater                  300
 NY    CUBA VILLAGE PUBLIC WATER           NY0200317   CWS         Groundwater                1,800
 NY    DALTON FARMS                        NY1330010   CWS         Groundwater                2,100
 NY    DAWN MOBILE HOME PARK               NY1310666   CWS         Groundwater                   36
 NY    DEFERIET VILLAGE                    NY2202336   CWS         Groundwater                  420
 NY    DELANCY STREET FOUNDATION           NY3930031   CWS         Groundwater                   48
       (CASTLE)
 NY    DELHI REHAB                         NY1205152   CWS         Groundwater                  144
 NY    DELHI VILLAGE                       NY1200257   CWS         Groundwater                3,833
 NY    DEPOSIT (V) WATER DEPARTMENT        NY0301663   CWS         Groundwater                2,080
 NY    DERUYTER VILLAGE                    NY2602373   CWS         Groundwater                  558
 NY    DEVEREUX CENTER AT RED HOOK         NY1321999   CWS         Groundwater                  321
 NY    DEVON FARMS                         NY1330141   CWS         Groundwater                  200
 NY    DIAMOND POINT WATER DISTRICT        NY5600103   CWS         Groundwater                  493
 NY    DIAMOND WOODS ESTATES MHP           NY4121420   CWS         Groundwater                  150
 NY    DIX HILLS WATER DISTRICT            NY5103276   CWS         Groundwater               34,522
 NY    DORSET HOLLOW                       NY3920091   CWS         Groundwater                   30
 NY    DRAPERS ACRES                       NY1511360   CWS         Groundwater                  240
 NY    DUDLEY WATER SUPPLY                 NY0501736   CWS         Groundwater                  200
 NY    DUTCHESS ESTATES INC                NY1302767   CWS         Groundwater under            400
                                                                   influence of
                                                                   surfacewater
 NY    DYKEER WATER CO.                    NY5920065   CWS         Groundwater under           480
                                                                   influence of
                                                                   surfacewater
 NY    EAST LOUISVILLE WATER DISTRICT      NY4430133   CWS         Surfacewater               3,235
 NY    ELEANOR NURSING CARE CENTER         NY1303212   CWS         Groundwater                  190
 NY    ELLIOTT MOBILE HOME PARK            NY5515079   CWS         Groundwater                   45
 NY    ELMIRA WATER BOARD                  NY0701008   CWS         Surfacewater              54,000
 NY    EMERALD GREEN LAKE LOUISE MARIE     NY5203346   CWS         Surfacewater               2,400
       WC
 NY    EMPIRE/RIPLEY HILL COMMUNITY        NY1100634   CWS         Groundwater                   64
 NY    ENDICOTT MUNICIPAL WATER WORKS      NY0301665   CWS         Groundwater               45,000
 NY    ENNIS PARC                          NY1302124   CWS         Groundwater                  200
 NY    ESSEX WD                            NY1500278   CWS         Surfacewater                 350
 NY    EURICH HEIGHTS                      NY3505664   CWS         Groundwater                  130
 NY    EVERGREEN HILLS MHP                 NY3218204   CWS         Groundwater                   78
 NY    EVERGREEN HOMEOWNERS ASSOC.         NY5630037   CWS         Groundwater                   56
 NY    FAIRLAWN MOBILE VILLAGE             NY3501329   CWS         Groundwater                   34
 NY    FAIRWAY RESIDENTIAL DEVELOPMENT     NY1330342   CWS         Groundwater                  168
 NY    FALL CREEK MHP                      NY1302136   CWS         Groundwater                  100


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Primacy                PWS Name                 PWSID      PWS Type      Primary Source        Population
Agency                                                                                           Served
 [State]
   NY      FALLSBURG WHO-LS-SF                NY5203324   CWS         Groundwater                   7,850
   NY      FARMINGDALE (V)                    NY2902821   CWS         Groundwater                   8,744
   NY      FARM-TO-MARKET ASSOCIATES          NY3903710   CWS         Groundwater                      48
   NY      FINGERLAKES MOBILE HOME PARK       NY4900686   CWS         Groundwater                      50
   NY      FISHERS ISLAND WW CORP             NY5103294   CWS         Surfacewater                  2,500
   NY      FISHKILL PLAINS                    NY1302805   CWS         Groundwater under               900
                                                                      influence of
                                                                      surfacewater
  NY       FISHKILL VILLAGE                   NY1302765   CWS         Groundwater                   4,101
  NY       FLEISCHMANNS VILLAGE               NY1200261   CWS         Groundwater                     352
  NY       FLEMINGS MOBILE HOME PARK          NY0101603   CWS         Groundwater                     200
  NY       FLORADAN LODGE                     NY3903657   CWS         Groundwater                     400
  NY       FLORIDA VILLAGE                    NY3503527   CWS         Surfacewater                  2,884
  NY       FOREST HILLS MHP                   NY4501817   CWS         Groundwater under               429
                                                                      influence of
                                                                      surfacewater
  NY       FOREST PARK HOMES                  NY3905686   CWS         Groundwater                     200
  NY       FOREST PARK MOBILE HOME PARK       NY5510549   CWS         Groundwater                     600
  NY       FOREST PARK TRAILER PARK #2        NY5510721   CWS         Groundwater                      96
  NY       FOREST PARK WATER CO PLANT #3      NY5903487   CWS         Groundwater                      67
  NY       FORT EDWARD VILLAGE                NY5700119   CWS         Surfacewater                  3,300
  NY       FORT PLAIN (V) WATER WORKS         NY2800139   CWS         Surfacewater                  2,250
  NY       FOUNTAINHEAD TRAILER PARK          NY4301309   CWS         Groundwater                      60
  NY       FOUR CORNERS WATER COMPANY         NY1330614   CWS         Groundwater under               750
                                                                      influence of
                                                                      surfacewater
  NY       FOUR SEASONS WATER COMPANY         NY1330311   CWS         Groundwater                     560
  NY       FOUR WINDS HOSPITAL                NY5930031   CWS         Groundwater                     400
  NY       FOX HILL ESTATES                   NY3905682   CWS         Groundwater                     128
  NY       FOX RUN CONDOMINIUMS               NY3903711   CWS         Groundwater                     550
  NY       FOX RUN ESTATES                    NY5501370   CWS         Groundwater                      78
  NY       FRANKFORT (V) WATER WORKS          NY2102301   CWS         Groundwater                   2,995
  NY       FRANKLIN SQUARE WD                 NY2902822   CWS         Groundwater                  20,000
  NY       FRANTONI VILLAS                    NY1303221   CWS         Groundwater                      18
  NY       FULTON CITY                        NY3704355   CWS         Surfacewater purchased       16,600

  NY       FURLONG MOBILE HOME PARK           NY3700994   CWS         Groundwater                      25
  NY       GARDEN CITY (V)                    NY2902824   CWS         Groundwater                  46,000
  NY       GARDEN CITY PARK WD                NY2902825   CWS         Groundwater                  18,000
  NY       GARDINER TOWN HOUSE APTS           NY5503746   CWS         Groundwater                     100
  NY       GARNET HEALTH MED CENTER           NY5208954   CWS         Groundwater                     450
           CATSKILLS
  NY       GARRISON LANDING WS                NY3903653   CWS         Groundwater                      84
  NY       GEORGETOWN BLUFFS                  NY5503745   CWS         Groundwater                      65




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Primacy               PWS Name               PWSID      PWS Type         Primary Source        Population
Agency                                                                                           Served
 [State]
   NY    GINOS GRAB N GO                   NY3917001   System not
                                                       found in
                                                       SDWIS,
                                                       additional
                                                       search could
                                                       not find system
                                                       name.
 NY    GIPSY TRAIL CLUB                   NY3905689    CWS             Groundwater                    300
 NY    GLASSBURY COURT AT COLD SPRING     NY3909004    CWS             Groundwater                     90
 NY    GLEN COVE CITY                     NY2902826    CWS             Groundwater                 28,000
 NY    GLENFIELD WATER DISTRICT           NY2402363    CWS             Groundwater                    300
 NY    GLENMAR GARDENS IMPROVMT DIST      NY3905713    CWS             Groundwater                    130
 NY    GLENS FALLS CITY                   NY5600104    CWS             Surfacewater                14,000
 NY    GLENVIEW APARTMENTS - LOWER        NY0311321    CWS             Groundwater                    164
 NY    GLENVILLE WD #11                   NY4600091    CWS             Groundwater                 15,000
 NY    GOLDENS BRIDGE COMMUNITY ASSOC     NY5903428    CWS             Groundwater                    250
 NY    GOOD LIFE MHP                      NY5201345    CWS             Groundwater                    200
 NY    GORE MOUNTAIN TERRACE              NY5601499    CWS             Groundwater                     45
 NY    GOSHEN VILLAGE                     NY3503528    CWS             Surfacewater                 5,600
 NY    GOSHEN W.D. #1 (HAMBLETONIAN PARK) NY3503529    CWS             Groundwater                    668

 NY    GOSHEN W.D. #2 (ARCADIA HILLS)      NY3503605   CWS            Groundwater                     822
 NY    GRAND ISLAND TOWN WATER DEPT.       NY1400451   CWS            Surfacewater                 19,500
 NY    GRANDVIEW ESTATES                   NY1302791   CWS            Groundwater                     160
 NY    GRANGE ROAD MOBILE ESTATES          NY4501794   CWS            Groundwater                      52
 NY    GRAYMOOR VILLAGE                    NY3905710   CWS            Groundwater                     350
 NY    GREAT OAK PROPERTIES                NY1322771   CWS            Groundwater                      90
 NY    GREATER PLATTSBURGH WATER           NY0900220   CWS            Groundwater                  10,000
       DISTRICT
 NY    GREEN ACRES MHP                     NY0101544   CWS            Groundwater                      55
 NY    GREEN CHIMNEYS: MAIN WELL           NY3921720   CWS            Groundwater                     150
 NY    GREEN HARBOUR DEVELOPMENT           NY5621911   CWS            Groundwater                     100
 NY    GREEN ISLAND VILLAGE                NY0100195   CWS            Surfacewater purchased        2,900

 NY    GREEN MEADOW PARK WATER CO          NY1302790   CWS            Groundwater                     350
 NY    GREENBRIAR SUBDIVISION              NY5918381   CWS            Groundwater                     956
 NY    GREENFIELD WATER DISTRICT           NY1302794   CWS            Groundwater                   1,050
 NY    GREENLAWN WD                        NY5103271   CWS            Groundwater                  42,000
 NY    GREENPORT WD NO1                    NY1000238   CWS            Groundwater                   4,050
 NY    GREENWOOD LAKE VILLAGE              NY3503530   CWS            Groundwater under             3,083
                                                                      influence of
                                                                      surfacewater
 NY    GROVE ESTATES MOBILE HOME PARK      NY3808444   CWS            Groundwater                      92
 NY    GUILDERLAND TOWN WD                 NY0100205   CWS            Surfacewater                 30,000
 NY    GUILFORD WATER DISTRICT             NY0801742   CWS            Surfacewater                    350
 NY    HADLEY SOUTH WD#1                   NY4500165   CWS            Groundwater                     800



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Primacy               PWS Name                 PWSID      PWS Type      Primary Source        Population
Agency                                                                                          Served
 [State]
   NY    HADLEY WD #2                        NY4511618   CWS         Groundwater                     997
   NY    HALCYON PARK WATER DISTRICT         NY5503391   CWS         Groundwater                     402
   NY    HALFMOON WATER DISTRICT (TROY)      NY4519111   CWS         Surfacewater purchased       15,000

 NY    HAMILTON VILLAGE                      NY2602377   CWS         Groundwater                   4,239
 NY    HAMLET APARTMENTS                     NY1030013   CWS         Groundwater                      25
 NY    HAMMOND MOBILE HOME PARK              NY4501826   CWS         Groundwater                      40
 NY    HAMPTON BAYS WD                       NY5103704   CWS         Groundwater                  12,500
 NY    HARMONY TRAILER COURT                 NY3901356   CWS         Groundwater                      30
 NY    HARRIMAN VILLAGE                      NY3503531   CWS         Groundwater                   5,000
 NY    HARTWICK WATER DISTRICT               NY3800150   CWS         Groundwater                     416
 NY    HARVEY SCHOOL                         NY5912829   CWS         Groundwater                     510
 NY    HASBROUCK ESTATES MHP                 NY5221877   CWS         Groundwater                      66
 NY    HAVILAND M.H.P. #2 - JENNIFER CT      NY1302122   CWS         Groundwater                      53
 NY    HAVILAND M.H.P. #1 - ANDREA & DEBRA   NY1302123   CWS         Groundwater                      78
       CT
 NY    HECTOR WATER DISTRICT                 NY4801191   CWS         Groundwater under             1,340
                                                                     influence of
                                                                     surfacewater
 NY    HEIMROTH MOBILE HOME PARK LLC         NY1006324   CWS         Groundwater                      38
 NY    HEMPSTEAD (V)                         NY2902827   CWS         Groundwater                  56,000
 NY    HENDERSON TOWN WD 1,2                 NY2230027   CWS         Surfacewater                    700
 NY    HERITAGE ESTATES WT CO                NY5518027   CWS         Groundwater                      80
 NY    HERITAGE GREEN HEALTH CARE CEN        NY0619239   CWS         Groundwater                     400
 NY    HERITAGE HILLS WATER SYSTEM           NY5917221   CWS         Groundwater                   4,700
 NY    HERITAGE VILLAGE RETIREMENT           NY0600820   CWS         Groundwater under               430
       CAMPUS                                                        influence of
                                                                     surfacewater
 NY    HERKIMER VILLAGE                      NY2102306   CWS         Surfacewater                  7,606
 NY    HEUVELTON VILLAGE                     NY4404387   CWS         Groundwater                     830
 NY    HICKORY HILL ESTATES                  NY1316138   CWS         Groundwater                     250
 NY    HICKORY RIDGE TRAILER PARK            NY0310337   CWS         Groundwater                      50
 NY    HICKSVILLE WD                         NY2902829   CWS         Groundwater                  48,000
 NY    HIGH FALLS WATER DISTRICT             NY5530250   CWS         Surfacewater purchased          426

 NY    HIGH MEADOWS PARK INC.                NY1302121   CWS         Groundwater                     700
 NY    HIGH RIDGE WATER COMPANY              NY5521677   CWS         Groundwater                      76
 NY    HIGHFIELDS CONDO                      NY3921739   CWS         Groundwater                      50
 NY    HIGHLAND FALLS VILLAGE                NY3503532   CWS         Surfacewater                  5,400
 NY    HIGHLAND INN, LLC                     NY5507077   CWS         Groundwater                      78
 NY    HIGHLAND WATER DISTRICT               NY5503368   CWS         Surfacewater                  4,000
 NY    HIGHLAND WOODS MHP                    NY5501270   CWS         Groundwater                     112
 NY    HILL SPARROW MASTER HOA               NY3921704   CWS         Groundwater                     938
 NY    HILLCREST WATER DISTRICT              NY3905705   CWS         Groundwater                     305
 NY    HILLSDALE GARDEN APTS.                NY1022335   CWS         Groundwater                      40
 NY    HILLSIDE APTS                         NY5417118   CWS         Groundwater                      37


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Primacy               PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
   NY    HILLSIDE ESTATES MHP               NY0600828   CWS         Groundwater                     200
   NY    HILLSIDE MOBILE HOME PARK - BROOME NY0310366   CWS         Groundwater                      55
         CO.
   NY    HILLTOP COURT AND SALES            NY1302130   CWS         Groundwater                     150
   NY    HILLTOP HOUSE                      NY4330011   CWS         Groundwater                      73
   NY    HILLTOP MEADOWS WATER SUPPLY       NY3920281   CWS         Groundwater                     196
   NY    HOEY-DE GRAW WATERWORKS            NY5203353   CWS         Groundwater                      50
   NY    HOLLY PARK M H P                   NY3721559   CWS         Groundwater                      50
   NY    HOLLY PARK TERRACE                 NY0700777   CWS         Groundwater                     300
   NY    HOLLY STREAM CONDOMINIUM APTS      NY3903712   CWS         Groundwater                     225
   NY    HOMEROOM LOFTS                     NY4117261   CWS         Groundwater                      62
   NY    HOOSAC MEADOWS APARTMENTS          NY4118153   CWS         Groundwater                     100
   NY    HOOSICK FALLS (V) PWS              NY4100041   CWS         Groundwater under             4,925
                                                                    influence of
                                                                    surfacewater
 NY    HOPEWELL GARDENS                     NY1302763   CWS         Groundwater                     300
 NY    HOPEWELL HAMLET WATER DISTRICT       NY1330288   CWS         Groundwater under               900
                                                                    influence of
                                                                    surfacewater
 NY    HOPEWELL SERVICES INC                NY1302764   CWS         Groundwater                     500
 NY    HORNELL CITY                         NY5001215   CWS         Surfacewater                  8,590
 NY    HUDSON CITY                          NY1000239   CWS         Surfacewater                  7,500
 NY    HUDSON MEADOWS                       NY5501366   CWS         Groundwater                      72
 NY    HUDSON VALLEY WATER CO #3            NY5503370   CWS         Groundwater                      56
 NY    HUDSON VALLEY WATER CO #4            NY5503371   CWS         Groundwater                     221
 NY    HUNT FARM WATER COMPANY              NY5920064   CWS         Groundwater                     156
 NY    HUNTERS GLEN CONDOMINIUM WS          NY3921697   CWS         Groundwater                     160
 NY    HURLEY WATER CO                      NY5503369   CWS         Groundwater                   2,200
 NY    HYDE PARK APARTMENTS                 NY0621249   CWS         Groundwater                      32
 NY    HYDE PARK MOBILE MANOR ESTATES       NY1310664   CWS         Groundwater                     185
 NY    HYDE PARK REGIONAL                   NY1302796   CWS         Surfacewater                  6,928
 NY    HYDE PARK TERRACE APARTMENTS         NY1303222   CWS         Groundwater                      70
 NY    IDLE WHEELS MANUFACTURED HOME        NY3700907   CWS         Groundwater                     150
       COMMUNITY
 NY    INDIAN HILL SUBDIVISION              NY5918382   CWS         Groundwater                     320
 NY    INDIAN HILLS MOBILE HOME PARK        NY5000660   CWS         Groundwater                      40
 NY    INDIAN KILL                          NY3503592   CWS         Surfacewater                  1,000
 NY    INDIAN LAKE WD                       NY2000126   CWS         Groundwater                     900
 NY    INDIAN RIVER ESTATES, LTD.           NY2222513   CWS         Groundwater                     303
 NY    INDIAN VILLAGE                       NY1701513   CWS         Groundwater                     145
 NY    INGERSOLL DRIVE SA                   NY5830093   CWS         Surfacewater purchased          114

 NY    IZZYS APARTMENTS                     NY2202083   CWS         Groundwater                      25
 NY    J&R MOBILE HOMES                     NY4320349   CWS         Groundwater                      75
 NY    JENNIE CLARKSON HOME                 NY5910508   CWS         Groundwater                      65
 NY    JERICHO WD                           NY2902831   CWS         Groundwater                  58,000


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Primacy                 PWS Name                 PWSID      PWS Type      Primary Source   Population
Agency                                                                                       Served
 [State]
   NY      JOCKEYVILLE ESTATES II              NY1721823   CWS         Groundwater                  126
   NY      JOHNSON CITY WATER WORKS            NY0301668   CWS         Groundwater               16,578
   NY      JOLEE MOBILE HOME PARK              NY0400875   CWS         Groundwater                   28
   NY      JUENGSTVILLE FARM ASSOCIATION       NY5916740   CWS         Groundwater                   45
   NY      KATTELVILLE PLACE                   NY0310344   CWS         Groundwater                   50
   NY      KAYADEROSS ACRES                    NY4510771   CWS         Groundwater under            450
                                                                       influence of
                                                                       surfacewater
  NY       KEELER FIELD                        NY5906656   CWS         Groundwater                 100
  NY       KENT APARTMENTS                     NY3903713   CWS         Groundwater                  56
  NY       KENT WD 1                           NY3905708   CWS         Groundwater                 360
  NY       KENT WD 2                           NY3905702   CWS         Groundwater                 276
  NY       KHAL ADAS KASHAU                    NY5903154   CWS         Groundwater                 650
  NY       KIAMESHA ARTESIAN SPRING WATER      NY5203344   CWS         Groundwater                 879
           COMPANY
  NY       KING TRACT                          NY3503598   CWS         Groundwater                  150
  NY       KINGS ESTATES                       NY3521334   CWS         Groundwater                1,144
  NY       KIRKWOOD CONSOLIDATED WD #1         NY0311206   CWS         Groundwater                2,600
  NY       KIRYAS JOEL                         NY3503627   CWS         Groundwater               36,575
  NY       KNOLLS WATER CO., INC.              NY3503563   CWS         Groundwater                  230
  NY       L & D MOBILE HOME PARK, LLC         NY5530040   CWS         Groundwater                   45
  NY       L.B.S.H. HOUSING                    NY4420611   CWS         Groundwater                  100
  NY       LAGOON MANOR HOMEOWNERS             NY5622708   CWS         Surfacewater                 180
           ASSOCIATION
  NY       LAGRANGE TOWN CENTER WATER          NY1330320   CWS         Groundwater                 980
           IMPROVMENT
  NY       LAKE HILL FARMS WATER DISTRICT      NY3505650   CWS         Groundwater                1,556
  NY       LAKE KATONAH CLUB INC               NY5903476   CWS         Groundwater                  356
  NY       LAKE LODGES APARTMENTS              NY1303224   CWS         Groundwater under             30
                                                                       influence of
                                                                       surfacewater
  NY       LAKE LUCILLE PROP OWNERS ASSOC      NY4303660   CWS         Groundwater                 92
  NY       LAKE MAHOPAC CONDO                  NY3920317   CWS         Groundwater                150
  NY       LAKE PROPERTIES                     NY3902003   CWS         Groundwater                 20
  NY       LATHAM WATER DISTRICT               NY0100198   CWS         Surfacewater            85,590
  NY       LEAVENWORTH TRAILER PARK            NY4110697   CWS         Groundwater                 60
  NY       LEEWOOD KNOLLS WATER CO             NY5503405   CWS         Groundwater                135
  NY       LEHIGH CROSSING APARTMENTS          NY5422534   CWS         Groundwater                 48
  NY       LEISURE VILLAGE                     NY1208176   CWS         Groundwater                 56
  NY       LERAY TOWN WD 2 & 4                 NY2221206   CWS         Groundwater              6,000
  NY       LIBERTY UTILITIES NEW YORK -        NY2902835   CWS         Groundwater            220,000
           LYNBROOK
  NY       LIBERTY UTILITIES NEW YORK -        NY2902840   CWS         Groundwater            135,000
           MERRICK
  NY       LIBERTY UTILITIES NEW YORK - SEA    NY2902853   CWS         Groundwater               13,400
           CLIFF
  NY       LIBERTY VILLAGE                     NY5203329   CWS         Surfacewater               3,900


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Primacy              PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                        Served
 [State]
   NY    LIMBERLOST ROAD APARTMENTS (GU)   NY3202240   CWS         Groundwater under                25
                                                                   influence of
                                                                   surfacewater
 NY    LINCOLN HALL SCHOOL                 NY5903156   CWS         Groundwater                     500
 NY    LITTLE SWITZERLAND                  NY1302803   CWS         Groundwater                     400
 NY    LOCUST VALLEY WD                    NY2902833   CWS         Groundwater                   7,500
 NY    LONDON BRIDGE WATER WORKS           NY3903647   CWS         Groundwater                     288
 NY    LONDON SQUARE APARTMENTS            NY4505645   CWS         Groundwater                     640
 NY    LONG LAKE ASSOCIATION               NY1030187   CWS         Groundwater                      49
 NY    LORDS HILL APARTMENTS               NY3316125   CWS         Groundwater                     100
 NY    LORELEI WATER SUPPLY                NY3503585   CWS         Groundwater                     184
 NY    LOUGHBERRY MOBILE HOME PARK         NY4501775   CWS         Groundwater                     220
 NY    LUCKY LAKE WD                       NY5203356   CWS         Groundwater                      60
 NY    LUDINGTONVILLE APTS                 NY3903714   CWS         Groundwater                      40
 NY    LYNDONVILLE VILLAGE                 NY3600599   CWS         Surfacewater                  1,418
 NY    MADISON VILLAGE                     NY2602378   CWS         Groundwater                     390
 NY    MADRID WATER DISTRICT               NY4404389   CWS         Groundwater                     800
 NY    MAGIC PINES MHP                     NY1521744   CWS         Groundwater                     220
 NY    MAHOPAC WATER CO                    NY3905707   CWS         Groundwater                     540
 NY    MAIDSTONE PARK COTTAGES             NY5114323   CWS         Groundwater                      34
 NY    MALONE V                            NY1600008   CWS         Groundwater                  13,232
 NY    MALTA GARDENS APTS & MHP            NY4501785   CWS         Groundwater                     950
 NY    MANCHESTER WATER DISTRICT           NY1330550   CWS         Groundwater                   1,180
 NY    MANHASSET LAKEVILLE WD              NY2902836   CWS         Groundwater                  43,000
 NY    MANSION RIDGE WATER COMPANY         NY3530065   CWS         Groundwater                     276
 NY    MAPLE GROVE WEST MHP                NY0810652   CWS         Groundwater                     416
 NY    MAPLE HILL CONDOMINIUM W.S.         NY3921640   CWS         Groundwater                     380
 NY    MAPLE LANE ASSOCIATES               NY1010862   CWS         Groundwater                     147
 NY    MAPLE LANE TRAILER COURT            NY5301416   CWS         Groundwater                     200
 NY    MAPLEBROOK SCHOOL                   NY1316152   CWS         Groundwater                     187
 NY    MAPLEHURST PARK                     NY0700780   CWS         Groundwater                      75
 NY    MARGARETVILLE VILLAGE               NY1200268   CWS         Groundwater                     600
 NY    MARIAPOLIS LUMINOSA                 NY1330060   CWS         Groundwater                      41
 NY    MARION-ARCADIA-SODUS CSA            NY5801231   CWS         Surfacewater purchased        5,400

 NY    MARYLAND WATER DISTRICT             NY3800157   CWS         Groundwater                     524
 NY    MASSAPEQUA WD                       NY2902837   CWS         Groundwater                  43,000
 NY    MASSENA VILLAGE                     NY4404390   CWS         Surfacewater                 16,729
 NY    MAVERICK KNOLLS HA                  NY5521422   CWS         Groundwater                      90
 NY    MAY LANE MOBILE PARK                NY1310659   CWS         Groundwater                     100
 NY    MAYBROOK VILLAGE                    NY3503533   CWS         Groundwater                   3,000
 NY    MAYFIELD (V) WATER WORKS            NY1704499   CWS         Groundwater                     817
 NY    MAYVILLE VILLAGE                    NY0600368   CWS         Groundwater                   2,000
 NY    MAZZA-LEONE MOBILE HOME COURT       NY4301305   CWS         Groundwater                      55
 NY    MCGRAW VILLAGE                      NY1101758   CWS         Groundwater                   1,306


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Primacy                 PWS Name                  PWSID      PWS Type      Primary Source        Population
Agency                                                                                             Served
 [State]
   NY      MCWA                                 NY2701047   CWS         Surfacewater                496,753
   NY      MEADOW CREST MOBILE HOME PARK        NY3822721   CWS         Groundwater                     200
   NY      MEADOWOOD MHP                        NY0310326   CWS         Groundwater                     232
   NY      MEADOWS AT CROSS RIVER               NY5920685   CWS         Groundwater under               630
                                                                        influence of
                                                                        surfacewater
  NY       MEADS POND MOBILE HOME PARK          NY0800626   CWS         Groundwater                      56
  NY       MECHANICVILLE CITY                   NY4500166   CWS         Surfacewater                  5,200
  NY       MERRITT PARK WD, FISHKILL TOWN       NY1330656   CWS         Groundwater                   1,000
  NY       MICHELLE ESTATES                     NY5930013   CWS         Groundwater                     340
  NY       MIDDLE GROVE MOBILE PARK             NY4501802   CWS         Groundwater under                90
                                                                        influence of
                                                                        surfacewater
  NY       MIDDLEBRANCH APTS                    NY3903715   CWS         Groundwater                      50
  NY       MILLBROOK SCHOOL                     NY1316170   CWS         Groundwater under               350
                                                                        influence of
                                                                        surfacewater
  NY       MILLERS TRAILER PARK                 NY0800627   CWS         Groundwater                      50
  NY       MILLERTON VILLAGE                    NY1302771   CWS         Groundwater                   2,000
  NY       MILLPORT VILLAGE WATER SUPPLY        NY0716016   CWS         Groundwater                     292
  NY       MINEOLA (V)                          NY2902839   CWS         Groundwater                  20,600
  NY       MONROE VILLAGE                       NY3503535   CWS         Surfacewater                  9,753
  NY       MONROE WD #02 (STRL MNR/HOR HTS)     NY3503633   CWS         Groundwater                     128
  NY       MONROE WD #12 (MONROE HILLS          NY3503539   CWS         Groundwater                     120
           ESTATES)
  NY       MONROE WD #14 (ORCHARD HILL EST.)    NY3503540   CWS         Groundwater                     196
  NY       MONTCLAIR CONDOMINIUMS               NY1303225   CWS         Groundwater                   1,100
  NY       MONTGOMERY NURSING HOME              NY3510480   CWS         Groundwater                     215
  NY       MONTGOMERY VILLAGE                   NY3503542   CWS         Groundwater                   3,814
  NY       MONTICELLO VILLAGE                   NY5203337   CWS         Surfacewater                  8,000
  NY       MONTOUR FALLS VILLAGE                NY4801184   CWS         Groundwater                   1,800
  NY       MOORGATE MOBILE HOME PARK            NY1310814   CWS         Groundwater                     100
  NY       MOREAU WD #2 (QUEENSBURY)            NY4500177   CWS         Surfacewater purchased        5,750

  NY       MORIAH WD                            NY1500287   CWS         Surfacewater                  3,100
  NY       MORLEYS MOBILE PARK                  NY4410166   CWS         Groundwater                     150
  NY       MORNING STAR VILLAGE                 NY4410167   CWS         Groundwater                      65
  NY       MORNINGSIDE HEIGHTS WD / ERWIN (T)   NY5001212   CWS         Groundwater                   4,570
  NY       MORRISTOWN WATER DISTRICT            NY4404391   CWS         Surfacewater                    395
  NY       MORRISVILLE VILLAGE                  NY2603521   CWS         Groundwater                   2,199
  NY       MOUNT EBO WS                         NY3920885   CWS         Groundwater                   1,500
  NY       MOUNT FUJI                           NY4320531   CWS         Groundwater                     282
  NY       MOUNT KISCO WATER DEPARTMENT         NY5903437   CWS         Surfacewater                  9,600
  NY       MOUNT MORRIS VILLAGE                 NY2501023   CWS         Surfacewater                  3,500
  NY       MOUNTAIN LODGE PARK DEVELOPMEN       NY3503596   CWS         Groundwater                     488
  NY       MOUNTAIN VIEW MEADOWS MHP            NY5201348   CWS         Groundwater                     140


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Agency                                                                                       Served
 [State]
   NY    MOUNTAIN VIEW MOBILE ESTATES     NY1302118   CWS         Groundwater                     190
   NY    MOUNTAIN VIEW MOBILE ESTATES -   NY5701546   CWS         Groundwater                     150
         KINGSBURY
   NY    MOUNTAIN VIEW MOBILE HOME PARK   NY4110701   CWS         Groundwater                     120
   NY    MOUNTAINVIEW MOBILE HOME PARK    NY1206338   CWS         Groundwater                     222
   NY    MOUNTAINVIEW MOBILE HOME PARK    NY4301306   CWS         Groundwater                     225
   NY    MT. IVY 2019 MHC, LLC            NY4301307   CWS         Groundwater                     170
   NY    MT. ORANGE TRAILER PARK          NY3501323   CWS         Groundwater                      30
   NY    NANTICOKE CREEK (NANTICOKE)      NY0310651   CWS         Groundwater                     225
   NY    NARROWSBURG WD                   NY5203338   CWS         Groundwater                     800
   NY    NASSAU (V) PWS                   NY4100042   CWS         Groundwater                   1,250
   NY    NEMAREST CLUB                    NY3919736   CWS         Groundwater                      70
   NY    NEW CASTLE/STANWOOD W.D.         NY5903442   CWS         Surfacewater purchased       16,800

 NY    NEW PALTZ (VILLAGE) WATER DIST    NY5503379    CWS         Surfacewater                   6,818
 NY    NEW TWIN LAKES VILLAGE            NY5201350    CWS         Groundwater                      900
 NY    NEW VERNON ESTATES                NY3503607    CWS         Groundwater                      300
 NY    NEW WINDSOR CONSOLIDATED WD       NY3503580    CWS         Groundwater                   30,000
 NY    NEW YORK CITY SYSTEM              NY7003493    CWS         Surfacewater               8,271,000
 NY    NEWARK VALLEY VILLAGE             NY5304407    CWS         Groundwater                    1,253
 NY    NEWBURGH CITY                     NY3503549    CWS         Surfacewater                  28,000
 NY    NEWBURGH CONSOLIDATED WD          NY3503578    CWS         Surfacewater                  30,975
 NY    NEWFIELD ESTATES                  NY5405808    CWS         Groundwater                      160
 NY    NEWFIELD WDS                      NY5404421    CWS         Groundwater                    2,300
 NY    NISKAYUNA CONSOLIDATED WD #11     NY4600073    CWS         Groundwater                   21,781
 NY    NORTH CASTLE WD #2                NY5903446    CWS         Groundwater                    1,200
 NY    NORTH CASTLE WD #4                NY5922909    CWS         Groundwater                    1,225
 NY    NORTH COLLINS VILLAGE             NY1400517    CWS         Groundwater                    1,496
 NY    NORTH CREEK MOBILE VILLAGE        NY4514027    CWS         Groundwater                       75
 NY    NORTH POINT CREEK APARTMENTS LTD. NY1930059    CWS         Groundwater                       35

 NY    NORTH TONAWANDA CITY               NY3100572   CWS         Surfacewater                 31,568
 NY    NORTHERN DUTCHESS MOBILE HOME      NY1302117   CWS         Groundwater                     100
       PARK
 NY    NORTHWAY MHP                       NY1701509   CWS         Groundwater                     250
 NY    NORTHWAY MOBILE HOME PARK -        NY0901535   CWS         Groundwater                      54
       PLATTSBURGH
 NY    NORTHWOOD WATER COMPANY            NY4521804   CWS         Groundwater                   1,300
 NY    NORTHWOODS ESTATES                 NY2220874   CWS         Groundwater                     315
 NY    NUNDA VILLAGE                      NY2501024   CWS         Surfacewater                  1,600
 NY    NYACK VILLAGE WATER SUPPLY         NY4303666   CWS         Surfacewater                 14,700
 NY    OAKRIDGE WATER DISTRICT            NY5918395   CWS         Groundwater                     892
 NY    OCWA                               NY3304336   CWS         Surfacewater                350,000
 NY    OGDENSBURG CITY                    NY4404394   CWS         Surfacewater                 10,064
 NY    OLD WESTBURY (V)                   NY2902843   CWS         Groundwater                   4,700



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Primacy                PWS Name                 PWSID      PWS Type            Primary Source        Population
Agency                                                                                                 Served
 [State]
   NY      OLEAN CITY                         NY0400345   CWS               Surfacewater                 14,500
   NY      OLIVET ACADEMY                     NY1316151   CWS               Groundwater                     204
   NY      OLIVET MANAGEMENT, LLC             NY1316987   CWS               Surfacewater                     79
   NY      ONTARIO TOWN BENEFIT AREA #1       NY5801233   CWS               Surfacewater                 10,136
   NY      ORANGE COUNTY ESTATES, INC         NY3519648   CWS               Groundwater                      25
   NY      ORANGE LAKE TRAILER PARK           NY3513621   CWS               Groundwater                      80
   NY      ORMSBY MOBILE HOME PARK            NY0901534   CWS               Groundwater                      76
   NY      OSSINING WATER DEPARTMENT          NY5903451   CWS               Surfacewater                 30,000
   NY      OSWEGO CITY                        NY3704361   CWS               Surfacewater                 29,400
   NY      OWEGO WD #2                        NY5305672   CWS               Groundwater                   2,754
   NY      OWEGO WD #3                        NY5305671   CWS               Groundwater                   2,150
   NY      OWEGO WD #4                        NY5305670   CWS               Groundwater                   3,196
   NY      OYSTER BAY WD                      NY2902844   CWS               Groundwater                   8,700
   NY      PABST WATER CO. INC.               NY5903470   CWS               Groundwater                     253
   NY      PAINTED APRON WATER CO, T.O.       NY3503621   CWS               Groundwater                     150
   NY      PAINTED POST VILLAGE               NY5001222   CWS               Groundwater                   1,842
   NY      PALATINE MANOR                     NY1030069   CWS               Groundwater                      54
   NY      PALMYRA SOUTH SA                   NY5830003   CWS               Surfacewater purchased          190

  NY       PALMYRA-MACEDON-WALWORTH CSA       NY5801257   CWS               Surfacewater purchased       23,457

  NY       PARK DANTOINE MHP                  NY4501823   CWS               Groundwater                      30
  NY       PARTRIDGE GARDEN APARTMENTS        NY1303228   CWS               Groundwater                     150
  NY       PATTERSON VILLAGE CONDOMINIUMS     NY3903716   CWS               Groundwater                     210
  NY       PAWLING VILLAGE                    NY1302772   CWS               Groundwater                   2,100
  NY       PAWLING WD #2                      NY1314504   CWS               Groundwater                     200
  NY       PEACEABLE HILL WATER DISTRICT      NY3919662   CWS               Groundwater purchased           440

  NY       PECONIC RIVER MOBILE HOME PARK     NY5101296   CWS               Groundwater                      75
  NY       PEEKSKILL CITY                     NY5903452   CWS               Surfacewater                 24,272
  NY       PETERSBURGH WATER DISTRICT         NY4100043   CWS               Groundwater                     240
  NY       PETOFF GARDEN APARTMENTS           NY1722439   CWS               Groundwater                      46
  NY       PHILADELPHIA VILLAGE               NY2202341   CWS               Groundwater under             1,800
                                                                            influence of
                                                                            surfacewater
  NY       PIETSCHS GARDENS                   NY5903467   CWS               Groundwater under               337
                                                                            influence of
                                                                            surfacewater
  NY       PINE BLUFF COURT                   NY0600901   CWS               Groundwater                     312
  NY       PINE GARDEN APARTMENTS             NY5530009   CWS               Groundwater                      32
  NY       PINE GROVE LITTLE NURSERY          NY3920066   System not
                                                          found in
                                                          SDWIS,
                                                          additional
                                                          search could
                                                          not find system
                                                          name.


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Primacy                PWS Name                 PWSID      PWS Type      Primary Source        Population
Agency                                                                                           Served
 [State]
   NY      PINE GROVE MOBILE HOME PARK        NY3501320   CWS         Groundwater                     340
   NY      PINE HAVEN MOBILE COURT            NY4110700   CWS         Groundwater                     300
   NY      PINE HILLS MOBILE HOME COMMUNITY   NY1710673   CWS         Groundwater                      20
   NY      PINE ISLAND WATER CO.              NY3503590   CWS         Groundwater                     100
   NY      PINE PLAINS WATER IMPROVEMENT      NY1302773   CWS         Groundwater                     880
           AREA
  NY       PINE TREE APARTMENTS NORTH         NY1916985   CWS         Groundwater                      38
  NY       PINE TREE MOBILE HOME PARK         NY1006320   CWS         Groundwater                      44
  NY       PINE VILLAGE ESTATES MHP           NY3201459   CWS         Groundwater                      72
  NY       PINEBROOK ESTATES                  NY1322156   CWS         Surfacewater purchased          400

  NY       PINEWOOD KNOLLS WATER DISTRICT     NY1302785   CWS         Groundwater                     150
  NY       PLAINVIEW WD                       NY2902845   CWS         Groundwater                  34,000
  NY       PLATTSBURGH CITY                   NY0900217   CWS         Surfacewater                 24,173
  NY       PLAZA AT CLOVER LAKE               NY3920080   CWS         Groundwater                     120
  NY       PLEASANT RIDGE APARTMENTS          NY1330652   CWS         Groundwater                      25
  NY       PLEASANT VALLEY GARDEN             NY1330334   CWS         Groundwater under                30
           APARTMENTS                                                 influence of
                                                                      surfacewater
  NY       PLEASANT VALLEY MEADOWS           NY1330461    CWS         Groundwater                      50
  NY       PLEASANT VALLEY MOBILE HOME PARK- NY0506418    CWS         Groundwater                      60
           MORAVIA
  NY       PLEASANT VILLA M.H.P.             NY5701552    CWS         Groundwater                      72
  NY       POCANTICO HILLS WATER DISTRICT    NY5903472    CWS         Surfacewater                    329
  NY       POLAND VILLAGE                    NY2102313    CWS         Groundwater                     508
  NY       POMONA COUNTRY CLUB               NY4330041    CWS         Groundwater                      30
  NY       POMONA GLEN                       NY4325001    CWS         Groundwater                      50
  NY       POND SHORE (HIGHLANDS AT PAWLING) NY1322895    CWS         Groundwater                     300

  NY       PORT EWEN WATER DISTRICT           NY5503382   CWS         Surfacewater                  4,500
  NY       PORT HENRY WD                      NY1500290   CWS         Surfacewater                  1,831
  NY       PORT JERVIS CITY                   NY3503554   CWS         Surfacewater                  9,000
  NY       PORT KENT WD                       NY1520370   CWS         Surfacewater                    158
  NY       PORT WASHINGTON WD                 NY2912267   CWS         Groundwater                  34,000
  NY       POTTERSVILLE WATER DISTRICT        NY5600110   CWS         Groundwater                     300
  NY       POUGHKEEPSIE TOWNWIDE WD           NY1302812   CWS         Surfacewater purchased       43,000

  NY       POWELL ROAD MOBILE PARK            NY1302115   CWS         Groundwater                     210
  NY       PRESERVE AT GORE MOUNTAIN          NY5630045   CWS         Groundwater                      36
  NY       PRESTON MANOR                      NY0807115   CWS         Groundwater                      40
  NY       PRINCETOWN WATER SUPPLY            NY4600093   CWS         Groundwater                     600
  NY       PYRAMID PINES ESTATES MHP          NY4501812   CWS         Groundwater                     950
  NY       QUAKER HILL ESTATES W D            NY1302797   CWS         Groundwater                     350
  NY       QUEEN OF APOSTLES                  NY3530201   CWS         Groundwater                      45
  NY       QUILTY HILL MOBILE HOME PARK       NY0310354   CWS         Groundwater                      45
  NY       RAMLEH WATER WORKS CORP. INC.      NY5922912   CWS         Groundwater                      80


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Primacy              PWS Name                PWSID      PWS Type      Primary Source       Population
Agency                                                                                       Served
 [State]
   NY    RANDOLPH TOWN WATER DISTRICT      NY0400348   CWS         Groundwater                  1,738
   NY    REAGANS MILL WATER COMPANY        NY1321478   CWS         Groundwater                  1,225
   NY    RED CREEK NORTH SA                NY5830010   CWS         Groundwater purchased           36

 NY    RED CREEK VILLAGE                   NY5801237   CWS         Groundwater                    499
 NY    RED HOOK VILLAGE                    NY1302775   CWS         Groundwater                  2,730
 NY    RED HOOK WATER DISTRICT #1 TOWN     NY1302788   CWS         Groundwater under            1,610
                                                                   influence of
                                                                   surfacewater
 NY    REED FARM CONDOMINIUMS W.S.         NY3920295   CWS         Groundwater                    600
 NY    REGENCY ESTATES                     NY4501798   CWS         Groundwater                     33
 NY    RENSSELAER CITY PWS                 NY4100044   CWS         SURFACE WATER                9,300
                                                                   PURCHASED
 NY    REVERE PARK (EAST FISHKILL W D#2)   NY1302798   CWS         Groundwater under              275
                                                                   influence of
                                                                   surfacewater
 NY    RHINEBECK MOBILE HOME COMMUNITY NY1302135       CWS         Groundwater                    100

 NY    RHINEBECK VILLAGE WATER             NY1302776   CWS         Surfacewater                 6,000
 NY    RIDGEBURY LAKE ACRES                NY3503626   CWS         Groundwater                    250
 NY    RIVERHEAD WD                        NY5103705   CWS         Groundwater                 35,000
 NY    ROCK TERRACE TRAILER PARK           NY3510766   CWS         Groundwater                    130
 NY    ROLLING ACRES MOBILE HOME PARK      NY0700789   CWS         Groundwater                    110
 NY    ROLLING ACRES MOBILE PARK           NY5501271   CWS         Groundwater                    120
 NY    ROLLING HILLS COMMUNITY, LLC        NY3300992   CWS         Groundwater                    200
 NY    ROSEMARIE MOBILE HOME PARK          NY5501272   CWS         Groundwater                     51
 NY    ROSENDALE WATER DISTRICT            NY5503383   CWS         Surfacewater                 2,200
 NY    ROSLYN WD                           NY2902851   CWS         Groundwater                 17,000
 NY    ROTTERDAM WD #3                     NY4600067   CWS         Groundwater                  1,900
 NY    ROTTERDAM WD #5                     NY4600069   CWS         Groundwater                 28,000
 NY    ROUSES POINT VILLAGE WD             NY0900223   CWS         Surfacewater                 2,550
 NY    RUBY ESTATES                        NY5501385   CWS         Groundwater                     25
 NY    RURAL ATLANTIC WATER CO.            NY3503565   CWS         Groundwater                     74
 NY    RURAL RIDGE WATER DIST.             NY3503574   CWS         Groundwater                    326
 NY    SACKETS HARBOR VILLAGE              NY2202343   CWS         Surfacewater                 2,200
 NY    SACKETT LAKE ESTATES                NY5230003   CWS         Groundwater                     80
 NY    SAGAMOR WATER CORPORATION           NY1330454   CWS         Groundwater                    400
 NY    SAINT BASILS ACADEMY                NY3916014   CWS         Groundwater                    130
 NY    SAINT NERSESS ARMENIAN SEMINARY     NY5930011   CWS         Groundwater                     32
 NY    SALEM ACRES ASSOC                   NY5903466   CWS         Groundwater                    138
 NY    SALEM CHASE                         NY5930027   CWS         Groundwater                    175
 NY    SAMARITAN VILLAGE                   NY5505567   CWS         Groundwater                    275
 NY    SANDRIDGE MOBILE HOME PARK          NY3715923   CWS         Groundwater                    450
 NY    SANDS POINT (V)                     NY2902852   CWS         Groundwater                  2,900
 NY    SARATOGA COUNTRY ESTATES            NY4519642   CWS         Groundwater                    115




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Primacy              PWS Name              PWSID       PWS Type         Primary Source       Population
Agency                                                                                         Served
 [State]
   NY    SARATOGA COUNTY WATER AUTHORITY NY4530222    CWS           Surfacewater                  1,525

 NY    SARATOGA GREENS MHP                NY4501793   CWS           Groundwater                     130
 NY    SARATOGA SPRINGS CITY              NY4500168   CWS           Surfacewater                 26,525
 NY    SARATOGA SPRINGS CITY (GEYSER      NY4500178   CWS           Groundwater                   4,000
       CREST)
 NY    SARATOGA VILLAS                    NY4501768   CWS           Groundwater                     130
 NY    SARATOGA WATER SERVICES            NY4511620   CWS           Groundwater                   8,850
 NY    SAUQUOIT CONSOLIDATED WD           NY3202407   CWS           Groundwater                   2,700
       (T/O/PARIS)
 NY    SCDA LTD                           NY3905002   System not
                                                      found in
                                                      SDWIS,
                                                      additional
                                                      search could
                                                      not find system
                                                      name.
 NY    SCHAGHTICOKE (V) PWS               NY4100045   CWS             Groundwater                   949
 NY    SCHENECTADY CITY WATER WORKS       NY4600070   CWS             Groundwater                61,821
 NY    SCHODACK CONSOLIDATED WATER        NY4130317   CWS             Groundwater                 1,068
       DISTRICT 101
 NY    SCHODACK WATER DISTRICT #          NY4100049   CWS           Groundwater                     575
       1/CLEARVIEW
 NY    SCHREIBER WATER WORKS              NY1315971   CWS           Groundwater                      80
 NY    SCHUYLERVILLE-VICTORY JWC          NY4500169   CWS           Groundwater                   2,200
 NY    SCOTCH PINE MANOR                  NY3725000   CWS           Groundwater                      84
 NY    SCOTCHTOWN PARK                    NY3503555   CWS           Groundwater                     180
 NY    SCOTIA VILLAGE WATER WORKS         NY4600071   CWS           Groundwater                  12,800
 NY    SENECA COUNTY WATER DISTRICT #1    NY4912215   CWS           Surfacewater purchased        1,820

 NY    SENECA FALLS                       NY4901198   CWS           Surfacewater                  9,400
 NY    SHADY PINES MOBILE HOME PARK       NY4517244   CWS           Groundwater                     140
 NY    SHELTER ISLAND HEIGHTS ASSOCIATION NY5103243   CWS           Groundwater                     463

 NY    SHERMAN VILLAGE                    NY0600373   CWS           Groundwater                     917
 NY    SHORE ESTATES OWNERS ASSOC INC     NY3903649   CWS           Groundwater                      60
 NY    SHOREHAVEN CIVIC ASSOCIATION       NY1302807   CWS           Groundwater                     300
 NY    SIDNEY VILLAGE                     NY1200270   CWS           Groundwater                   3,800
 NY    SILO RIDGE FIELD CLUB              NY1330729   CWS           Groundwater under               115
                                                                    influence of
                                                                    surfacewater
 NY    SILVER ROCK MOBILE HOME PARK       NY3700929   CWS           Groundwater                      40
 NY    SISTER SERVANTS OF MARY            NY4315999   CWS           Groundwater                      55
       IMMACULATE
 NY    SKI WINDHAM                        NY1911541   CWS           Groundwater                     856
 NY    SLEEPY HOLLOW MOBILE PARK          NY3510681   CWS           Groundwater                     400
 NY    SMYRNA VILLAGE                     NY0801748   CWS           Groundwater                     211
 NY    SNELL'S COMPLEX                    NY4430200   CWS           Groundwater                      25


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Primacy                PWS Name             PWSID      PWS Type      Primary Source        Population
Agency                                                                                       Served
 [State]
   NY    SOCIETY HILL CONDOMINIUMS W.S.   NY3921698   CWS         Groundwater                     400
   NY    SODUS VILLAGE                    NY5801241   CWS         Surfacewater                  1,819
   NY    SODUS-HURON-WOLCOTT-BUTLER CSA   NY5801247   CWS         Surfacewater purchased        6,315

 NY    SOMERS CHASE WATER WORKS CORP      NY5930049   CWS         Groundwater                     224
 NY    SOMERS MANOR NURSING HOME          NY5910496   CWS         Groundwater under               400
                                                                  influence of
                                                                  surfacewater
 NY    SOUTH BLOOMING GROVE VILLAGE WD    NY3510641   CWS         Groundwater                   3,000
       1
 NY    SOUTH CORNING VILLAGE              NY5001219   CWS         Groundwater                   1,400
 NY    SOUTH CROSSROAD WATER CO INC       NY1302802   CWS         Groundwater                     450
 NY    SOUTH FARMINGDALE WD               NY2902854   CWS         Groundwater                  44,700
 NY    SOUTH GLENS FALLS VILLAGE          NY4500170   CWS         Groundwater under             3,900
                                                                  influence of
                                                                  surfacewater
 NY    SOUTH MAPLE ESTATES                NY3501334   CWS         Groundwater                      42
 NY    SPRING GLEN LAKE                   NY5203335   CWS         Groundwater                      68
 NY    SPRING KNOLLS                      NY3916004   CWS         Groundwater                      60
 NY    SPRINGHILL MOBILE HOME PARK        NY1310661   CWS         Groundwater                     150
 NY    SPRINGHOUSE ESTATES W.W. CORP.     NY3920093   CWS         Groundwater under               212
                                                                  influence of
                                                                  surfacewater
 NY    STARR RIDGE MANOR                  NY3905681   CWS         Groundwater                     420
 NY    STILLWATER TOWN (SCWA)             NY4530267   CWS         Surfacewater purchased        2,000

 NY    STILLWATER VILLAGE (SCWA)          NY4500171   CWS         Surfacewater purchased        1,572

 NY    STONE HEDGE                        NY3503614   CWS         Groundwater                     134
 NY    STONEGATE MOBILE HOME PARK         NY1906318   CWS         Groundwater                     424
 NY    STONY ACRES TRAILER PARK           NY0901542   CWS         Groundwater                     225
 NY    STREAMSIDE ESTATES                 NY5521949   CWS         Groundwater under                67
                                                                  influence of
                                                                  surfacewater
 NY    SUFFERN VILLAGE                    NY4303675   CWS         Groundwater                   12,000
 NY    SUFFOLK COUNTY WATER AUTHORITY     NY5110526   CWS         Groundwater                1,100,000
 NY    SUGAR LOAF HILLS                   NY3503576   CWS         Groundwater                      591
 NY    SULLIVAN COUNTY HUMAN SERVICE      NY5210743   CWS         Groundwater                      350
       COMPLEX
 NY    SUNNYSIDE MANOR APARTMENTS         NY0619233   CWS         Groundwater                      25
 NY    SUNRISE BUNGALOWS                  NY4317075   CWS         Groundwater                      50
 NY    SUNSET FARMS MOBILE HOME PARK      NY1302112   CWS         Groundwater                     103
 NY    SUNSET RIDGE WATER DISTRICT        NY5905657   CWS         Groundwater                     625
 NY    SUNSET WOODS                       NY5501373   CWS         Groundwater                     138
 NY    SUNSHINE CHILDRENS HOME & REHAB    NY5910495   CWS         Groundwater under               130
       CENTER                                                     influence of
                                                                  surfacewater



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Primacy               PWS Name               PWSID      PWS Type      Primary Source   Population
Agency                                                                                   Served
 [State]
   NY    SUNSHINE VILLAGE MOBILE HOME PARK NY0630036   CWS         Groundwater                  36

 NY    TACONIC ESTATES WATER DISTRICT      NY1302810   CWS         Groundwater                115
 NY    TACONIC SHORES                      NY1000237   CWS         Groundwater                950
 NY    TALLY HO MOBILE ESTATES             NY1310662   CWS         Groundwater                370
 NY    TCFD - HARRIS                       NY5225004   CWS         Groundwater                600
 NY    TERREL HILLS SUBDIVISION            NY4511623   CWS         Groundwater                800
 NY    TF CAIRO APARTMENTS                 NY1922996   CWS         Groundwater                 25
 NY    THE FARMS WATER DISTRICT            NY5903418   CWS         Groundwater                300
 NY    THE NATURE PRESERVE                 NY1330679   CWS         Groundwater                 28
 NY    TICONDEROGA WD                      NY1500293   CWS         Surfacewater             3,700
 NY    TILLSON ESTATES COMM. ASSOC.        NY5503385   CWS         Groundwater                382
 NY    TILLY FOSTER APARTMENTS             NY3905872   CWS         Groundwater                 36
 NY    TIVOLI VILLAGE WATER                NY1302778   CWS         Groundwater              1,303
 NY    TONAWANDA, TOWN WATER DEPT.         NY1404556   CWS         Surfacewater            72,571
 NY    TORNE BROOK FARM                    NY4303907   CWS         Groundwater                 50
 NY    TOWN OF HEMPSTEAD WATER             NY2900000   CWS         Groundwater            110,000
       DEPARTMENT
 NY    TREELINE TRAILER PARK               NY5501279   CWS         Groundwater                   51
 NY    TRUESDALE CORPORATION               NY5903468   CWS         Groundwater                  400
 NY    TUXEDO PARK VILLAGE                 NY3503557   CWS         Surfacewater               1,100
 NY    TWIN BROOK MANOR CONDOMINIUM        NY3921641   CWS         Groundwater                  103
 NY    TWIN ELLS MOBILE HOME PARK          NY0907942   CWS         Groundwater                  108
 NY    TWIN LAKES WATER CO., INC.          NY5903475   CWS         Groundwater                  366
 NY    ULRICH MOBILE HOME PARK             NY0600905   CWS         Groundwater                   50
 NY    UNIFICATION THEOLOGICAL SEMINARY    NY1310450   CWS         Groundwater                  200

 NY    UNION VALLEY ESTATES                NY3905696   CWS         Groundwater                  290
 NY    UNIONVILLE VILLAGE                  NY3503558   CWS         Groundwater                  615
 NY    UNITED WAPPINGER WATER              NY1330660   CWS         Groundwater under         14,000
       IMPROVEMENT DIST.                                           influence of
                                                                   surfacewater
 NY    VAILS GROVE COOPERATIVE             NY3903654   CWS         Groundwater                  510
 NY    VALATIE VILLAGE                     NY1000244   CWS         Groundwater                2,000
 NY    VALKILL EAST MOBILE HOME PARK       NY1302110   CWS         Groundwater                  300
 NY    VALLEY DALE WATER CO                NY1302813   CWS         Groundwater under            500
                                                                   influence of
                                                                   surfacewater
 NY    VALLEY VIEW ESTATES                 NY0412237   CWS         Groundwater                404
 NY    VALLEY VIEW PARK                    NY3501315   CWS         Groundwater                215
 NY    VALLEY VIEW WEST                    NY3513627   CWS         Groundwater                 75
 NY    VEOLIA OF NICHOLS                   NY5304408   CWS         Groundwater                613
 NY    VEOLIA OF OWEGO                     NY5304409   CWS         Groundwater              4,850
 NY    VEOLIA WATER NEW YORK               NY4303673   CWS         Surfacewater           270,000
 NY    VERONA MOBILE HOME PARK             NY3201481   CWS         Groundwater                290
 NY    VESTAL CONSOLIDATED W.D. #1         NY0301674   CWS         Groundwater             20,950


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Primacy                PWS Name                PWSID       PWS Type      Primary Source        Population
Agency                                                                                           Served
 [State]
   NY      VILLAGE AT EAST WOODLAND          NY4114514    CWS         Groundwater                      56
   NY      VILLAGE CREST APARTMENTS          NY1303232    CWS         Groundwater                     600
   NY      VILLAGE PARK APARTMENTS           NY1321356    CWS         Groundwater                     500
   NY      VIRGINIA WOODS CONDO              NY3921740    CWS         Groundwater                      50
   NY      VISTA VILLAGE MHP                 NY0901541    CWS         Groundwater                      43
   NY      VOORHEESVILLE VILLAGE             NY0100203    CWS         Groundwater                   3,100
   NY      WA OF GREAT NECK NORTH            NY2902841    CWS         Groundwater                  31,400
   NY      WA OF WESTERN NASSAU              NY2902830    CWS         Groundwater                 120,000
   NY      WACCABUC FARMS INC.               NY5903769    CWS         Groundwater                      26
   NY      WADDINGTON ESTATES MHP (GU)       NY3201466    CWS         Groundwater under                60
                                                                      influence of
                                                                      surfacewater
  NY       WADHAMS WD                        NY1500295    CWS         Groundwater                      87
  NY       WALDEN VILLAGE                    NY3503559    CWS         Groundwater                   7,007
  NY       WALL STREET MEADOWS               NY2110538    CWS         Groundwater                     130
  NY       WALLKILL CONSOLIDATED WD          NY3503584    CWS         Groundwater under            18,450
                                                                      influence of
                                                                      surfacewater
  NY       WALLKILL HEIGHTS                  NY3503586    CWS         Groundwater                      54
  NY       WALLKILL WATER DISTRICT           NY5503393    CWS         Groundwater                   1,680
  NY       WALTER HOVING HOME                NY3902997    CWS         Groundwater                      70
  NY       WALTERS MOBILE HOME VILLAGE       NY3501317    CWS         Groundwater                     250
  NY       WALTON LAKE ESTATES W.D.          NY3503525    CWS         Groundwater                     768
  NY       WALTON VILLAGE                    NY1200274    CWS         Groundwater                   3,010
  NY       WAPPINGERS FALLS MOBILE HOME P    NY1302108    CWS         Groundwater                     115
  NY       WAPPINGERS FALLS VILLAGE          NY1302783    CWS         Surfacewater purchased        5,522

  NY       WARWICK VILLAGE                   NY3503561    CWS         Surfacewater                  6,800
  NY       WASHINGTON CENTER                 NY5710494    CWS         Groundwater                     225
  NY       WASHINGTONVILLE VILLAGE           NY3503567    CWS         Groundwater                   7,260
  NY       WATCHTOWER BIBLE TRACT SOCIETY    NY3921721    CWS         Groundwater                   1,501
  NY       WATCHTOWER FARMS I                NY5510805    CWS         Surfacewater                  1,800
  NY       WATER CLUB CONDOMINIUMS W.S.      NY3903718    CWS         Groundwater                      75
  NY       WATERLOO VILLAGE                  NY4901199    CWS         Surfacewater                  7,000
  NY       WATERVLIET CITY                   NY0110127    CWS         Surfacewater                  9,889
  NY       WATKINS GLEN VILLAGE              NY4801188    CWS         Surfacewater                  2,149
  NY       WAVERLY VILLAGE                   NY5304410    CWS         Groundwater                   4,830
  NY       WELLESLEY ISLAND WATER CORP.      NY2220914    CWS         Surfacewater                    548
  NY       WELLMAN ROAD MHP                  NY0615601    CWS         Groundwater                      75
  NY       WEST BRANCH ACRES                 NY3905692    CWS         Groundwater                     290
  NY       WEST HEMPSTEAD WD                 NY2902857    CWS         Groundwater                  32,031
  NY       WEST NECK WATER DISTRICT          NY5110623    CWS         Groundwater                     100
  NY       WEST WINFIELD VILLAGE             NY2102342    CWS         Groundwater                     978
  NY       WESTBURY WD                       NY2902856    CWS         Groundwater                  20,500
  NY       WESTCHESTER COUNTY WD #2          NY5903489    CWS         Surfacewater                      0



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Primacy               PWS Name              PWSID       PWS Type      Primary Source        Population
Agency                                                                                        Served
 [State]
   NY    WESTCREEK MHP                    NY0600829    CWS         Groundwater                     100
   NY    WESTFIELD VILLAGE AND TOWN       NY0615782    CWS         Surfacewater                  3,890
   NY    WESTMORELAND WD NO 1 (GU)        NY3202416    CWS         Groundwater under               770
                                                                   influence of
                                                                   surfacewater
 NY    WESTSIDE GREENWOOD LAKE W.D.       NY3503566    CWS         Groundwater                   1,700
 NY    WHISPERING PINES MOBILE ESTS.      NY4501825    CWS         Groundwater                      80
 NY    WHISTLE TREE DEVEL CORP            NY1905403    CWS         Groundwater                     140
 NY    WHITE BIRCH MOBILE HOME            NY4410705    CWS         Groundwater                      44
 NY    WHITE PINES CENTRAL                NY4510772    CWS         Groundwater                      69
 NY    WHITE SAIL CONDOMINIUM W.S.        NY3922189    CWS         Groundwater                     132
 NY    WHITE SULPHUR SPRINGS WD           NY5203347    CWS         Groundwater                     480
 NY    WHITEHALL VILLAGE                  NY5700124    CWS         Surfacewater                  2,800
 NY    WHITLOCK FARMS                     NY3503611    CWS         Groundwater                     100
 NY    WHITNEY POINT VILLAGE              NY0301683    CWS         Groundwater                   1,054
 NY    WICKHAM VILLAGE                    NY3505663    CWS         Groundwater under             1,147
                                                                   influence of
                                                                   surfacewater
 NY    WILD OAKS WATER COMPANY            NY5903479    CWS         Groundwater under               805
                                                                   influence of
                                                                   surfacewater
 NY    WILDFLOWER HILLS                  NY1322691     CWS         Groundwater                     300
 NY    WILLIAMSBURG RIDGE CONDO W.S.     NY3921718     CWS         Groundwater                     230
 NY    WILLIAMSON TOWN WD                NY5801258     CWS         Surfacewater                  6,600
 NY    WILLISTON PARK (V)                NY2902858     CWS         Groundwater                   7,287
 NY    WILLOW BROOK ESTATES              NY1906316     CWS         Groundwater                     251
 NY    WILLOW MANOR/1610 GLASCO TURNPIKE NY5521421     CWS         Groundwater                      25
       APTS
 NY    WILLSBORO WD                      NY1500299     CWS         Surfacewater                  1,571
 NY    WILTON WATER & SEWER AUTHORITY    NY4500186     CWS         Surfacewater purchased        8,893

 NY    WINDEMERE HIGHLANDS                NY1302808    CWS         Groundwater                     403
 NY    WINDHAM WATER DISTRICT             NY1900032    CWS         Groundwater                     230
 NY    WINDSOR, VILLAGE OF                NY0301684    CWS         Groundwater                   1,051
 NY    WINDY ACRES APARTMENTS             NY0930133    CWS         Groundwater                      22
 NY    WINEBROOK HILLS WD                 NY1500305    CWS         Groundwater                     250
 NY    WINGDALE VILLAGE PARK              NY1301337    CWS         Groundwater                     150
 NY    WOLCOTT VILLAGE                    NY5801245    CWS         Surfacewater                  2,200
 NY    WOLCOTT-BUTLER CSA                 NY5830007    CWS         Surfacewater purchased          168

 NY    WOOD CREST PINES                   NY1302127    CWS         Groundwater                     200
 NY    WOODBURY CONS. W.D.                NY3503573    CWS         Groundwater                  10,845
 NY    WOODCREST ACRES MOBILE HOME        NY4521831    CWS         Groundwater                     188
 NY    WOODED HILLS MOBILE HOME PARK      NY3901311    CWS         Groundwater                      80
 NY    WOODHILL ESTATES                   NY3905688    CWS         Groundwater                     128
 NY    WOODHILL GREEN                     NY1303230    CWS         Groundwater                     483



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Primacy                 PWS Name                PWSID       PWS Type      Primary Source        Population
Agency                                                                                            Served
 [State]
   NY      WOODLAND MANOR                     NY3700921    CWS         Groundwater                     250
   NY      WOODLAND MOBILE HOME HAVEN         NY3700941    CWS         Groundwater                     120
   NY      WOODLAND WATER DISTRICT            NY3810454    CWS         Groundwater                     276
   NY      WOODS AT KINGS POND CONDO W.S.     NY3920935    CWS         Groundwater                      96
   NY      WORCESTER WD #1 - EAST WORCESTER   NY3800146    CWS         Groundwater                     243
   NY      WORLD OLIVET ASSEMBLY -            NY1312479    CWS         Groundwater                     190
           CHURCH/TEMP. RES
  NY       WURTSBORO VILLAGE                  NY5203352    CWS         Groundwater                   1,265
  NY       YANDOS APARTMENTS                  NY0930139    CWS         Groundwater                      48
  NY       YESHIVA FARM SETTLEMENT            NY5903150    CWS         Groundwater under               300
                                                                       influence of
                                                                       surfacewater
  NY       YESHIVA KEHILETH YAKOV             NY5920450    CWS         Groundwater                     150
  NY       YORKTOWN CONSOLD. WATER DIST.#1    NY5903469    CWS         Surfacewater purchased       36,000

  NY       YORKVIEW ESTATES W S INC           NY3903651    CWS         Groundwater                     200
  NY       YOUNGS MANOR                       NY4501818    CWS         Groundwater                      25
  OH       A AND R RECK MOBILE HOME PARK      OH5500312    CWS         Groundwater                      50
  OH       AQUA OHIO - MANSFIELD SYSTEM #02   OH7005912    CWS         Groundwater                     588
  OH       AQUA OHIO - MANSFIELD SYSTEM #03   OH7005812    CWS         Groundwater                     359
  OH       AQUA OHIO - MANSFIELD SYSTEM #04   OH7001412    CWS         Groundwater                      54
  OH       AQUA OHIO - MANSFIELD SYSTEM #09   OH7002512    CWS         Groundwater                      88
  OH       AQUA OHIO - STRUTHERS              OH5001611    CWS         Surfacewater                 58,551
  OH       ARROWHEAD LAKE MHP                 OH4800112    CWS         Groundwater                     460
  OH       BARNESVILLE                        OH0700011    CWS         Surfacewater                  6,500
  OH       BEARS MOBILE HOME PARK             OH7700512    CWS         Groundwater                      19
  OH       BELLBROOK WATER WORKS              OH2901112    CWS         Groundwater                   9,400
  OH       BELMONT PUBLIC WATER SYSTEM        OH0700315    CWS         Groundwater                     400
  OH       BELPRE CITY PWS                    OH8400012    CWS         Groundwater                   6,441
  OH       BEREA CITY PWS                     OH1800111    CWS         Surfacewater                 19,000
  OH       BEVERLY VILLAGE PWS                OH8400112    CWS         Groundwater                   1,900
  OH       BOWLING GREEN CITY                 OH8700311    CWS         Surfacewater                 31,578
  OH       BRIDGEPORT PUBLIC WATER SYSTEM     OH0700612    CWS         Groundwater purchased         2,830

  OH       BROWN COUNTY RURAL WATER          OH0802012     CWS         Groundwater                  29,010
  OH       CAESARS VILLAGE MHP PWS           OH8300012     CWS         Groundwater                      90
  OH       CALDWELL VILLAGE PWS              OH6100011     CWS         Surfacewater                  7,550
  OH       CAMBRIDGE, CITY OF                OH3000111     CWS         Surfacewater                 10,635
  OH       CHESTERHILL VILLAGE PWS           OH5800112     CWS         Groundwater                     823
  OH       CLARINGTON VILLAGE PWS            OH5600012     CWS         Groundwater                     384
  OH       DAYTON PUBLIC WATER SYSTEM        OH5703512     CWS         Surfacewater                140,407
  OH       FAIRBORN PUBLIC WATER SYSTEM      OH2900612     CWS         Groundwater                  32,350
  OH       FRANKS MOBILE HOME PARK           OH7701212     CWS         Groundwater                     175
  OH       GALLIA CO RURAL WATER ASSOCIATION OH2700012     CWS         Groundwater                  20,995

  OH       GALLIPOLIS PWS                     OH2700112    CWS         Groundwater                   7,134


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Primacy                 PWS Name                 PWSID      PWS Type      Primary Source        Population
Agency                                                                                            Served
 [State]
   OH      HOLLY HILL HEALTH CARE RESIDENCE    OH2801312   CWS         Groundwater                     128
   OH      INDIAN HILL CITY PWS                OH3101112   CWS         Groundwater                  15,000
   OH      INDIAN LAKE REHABILATION CENTER     OH4602612   CWS         Groundwater                      53
   OH      IRONTON PWS                         OH4400711   CWS         Surfacewater                 11,129
   OH      KINGS ISLAND PWS                    OH8345615   NTNCWS      Groundwater                  31,753
   OH      LA RUE VILLAGE                      OH5100312   CWS         Groundwater                     800
   OH      LAUREL SPRINGS WATER CO.            OH2804112   CWS         Groundwater                     339
   OH      LIMA CITY                           OH0200811   CWS         Surfacewater                 65,619
   OH      LITTLE HOCKING WATER ASSOCIATION,   OH8400212   CWS         Groundwater                  12,660
           INC.
  OH       LOVELAND CITY PWS                   OH1300812   CWS         Groundwater                  12,800
  OH       LOWELL VILLAGE PWS                  OH8400312   CWS         Groundwater                     603
  OH       MARIETTA CITY PWS                   OH8400412   CWS         Groundwater                  18,707
  OH       MIDDLEPORT VILLAGE PWS              OH5300112   CWS         Groundwater                   2,446
  OH       MIDDLETOWN CITY PWS                 OH0901712   CWS         Groundwater                  48,795
  OH       MILFORD CITY PWS                    OH1301012   CWS         Groundwater                   6,700
  OH       MONTGOMERY COUNTY WATER             OH5701315   CWS         Surfacewater purchased      148,312
           SERVICES 1 PWS
  OH       MONTGOMERY COUNTY WATER             OH5701503   CWS         Surfacewater purchased       82,784
           SERVICES 2 PWS
  OH       MORROW VILLAGE PWS                  OH8300912   CWS         Groundwater                   3,375
  OH       MUSKINGUM COUNTY WATER - SE         OH6000412   CWS         Groundwater                  21,464
  OH       NAPOLEON CITY                       OH3500811   CWS         Surfacewater                  8,858
  OH       NEW CARLISLE CITY PWS               OH1203312   CWS         Groundwater                   5,800
  OH       NEW MADISON VILLAGE PWS             OH1900912   CWS         Groundwater                     892
  OH       NEW RICHMOND VILLAGE PWS            OH1301212   CWS         Groundwater                   2,698
  OH       NEWPORT WATER/SEWER DISTRICT PWS    OH8400612   CWS         Groundwater                   1,582

  OH       NEWTON FALLS CITY                OH7802311      CWS         Surfacewater                  6,300
  OH       OTTERBEIN-LEBANON RETREAT CENTER OH8301112      CWS         Groundwater                   1,541

  OH       OXFORD CITY PWS                     OH0902312   CWS         Groundwater                  24,000
  OH       PHILLIPSBURG VILLAGE PWS            OH5702112   CWS         Groundwater                     493
  OH       PORTSMOUTH PUBLIC WATER SYSTEM      OH7300111   CWS         Surfacewater                 40,475
  OH       POWHATAN POINT PUBLIC WATER         OH0701412   CWS         Groundwater                   1,592
           SYSTEM
  OH       PUTNAM COMMUNITY WATER              OH8400712   CWS         Groundwater                   2,744
           ASSOCIATION PWS
  OH       RACINE VILLAGE PWS                  OH5300312   CWS         Groundwater                     675
  OH       SHADYSIDE PUBLIC WATER SYSTEM       OH0701612   CWS         Groundwater                   3,689
  OH       SOUTH POINT VILLAGE                 OH4401212   CWS         Groundwater                   4,133
  OH       ST. CLAIRSVILLE, CITY OF PWS        OH0701516   CWS         Surfacewater                  5,184
  OH       STOCKPORT VILLAGE PWS               OH5800912   CWS         Groundwater                     503
  OH       STRASBURG VILLAGE PWS               OH7901212   CWS         Groundwater                   2,610
  OH       SYRACUSE VILLAGE PWS                OH5300512   CWS         Groundwater                     826
  OH       TRI-COUNTY RURAL W AND S DISTRICT   OH8403112   CWS         Groundwater                   3,000



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Primacy               PWS Name               PWSID       PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
   OH    TUPPERS PLAINS/CHESTER WATER      OH5300612    CWS         Groundwater                  16,087
         DISTRICT
   OH    URBANA CITY PWS                   OH1101212    CWS         Groundwater                  23,221
   OH    WARREN CO. RICHARD RENNEKER PWS   OH8301512    CWS         Groundwater                  39,009
   OH    WARREN COMM W AND S ASSN 2        OH8402703    CWS         Groundwater                   7,215
   OH    WATERFALL ESTATES                 OH7002112    CWS         Groundwater                      40
   OH    WAUSEON CITY                      OH2600111    CWS         Surfacewater                  7,425
   OH    WESTERN WATER COMPANY             OH8300512    CWS         Surfacewater purchased       40,000

 OH    WESTERVILLE CITY PWS                OH2503411    CWS         Surfacewater                 39,000
 OH    WILMINGTON CITY PWS                 OH1401211    CWS         Surfacewater                 12,401
 OH    WOODSFIELD VILLAGE PWS              OH5600711    CWS         Surfacewater                  2,598
 OH    YORKVILLE VILLAGE PWS               OH4103112    CWS         Groundwater purchased         1,019

 OK    BETHANY                             OK2005519    CWS         Groundwater under            20,307
                                                                    influence of
                                                                    surfacewater
 OR    ALBANY TRAILER AND RV PARK, LLC     OR4100004    CWS         Groundwater                     130
 OR    CAVEMAN MOBILE HOME PARK            OR4101260    CWS         Groundwater                      45
 OR    FAIRVIEW WATER DISTRICT             OR4100887    CWS         Groundwater                   1,540
 OR    GARIBALDI WATER SYSTEM              OR4100311    CWS         Groundwater                     802
 OR    LAKEWOOD UTILITIES                  OR4101097    CWS         Groundwater                     289
 OR    MILTON-FREEWATER, CITY OF           OR4100522    CWS         Groundwater                   7,145
 OR    PERIWINKLE MOBILE HOME PARK         OR4100029    CWS         Groundwater                      55
 OR    RIVERSTONE MOBILE HOME PARK         OR4100240    CWS         Groundwater                     168
 OR    SANTIAM VILLAGE                     OR4100476    CWS         Groundwater                      90
 OR    TIVOLI MOBILE HOME PARK             OR4101003    CWS         Groundwater                      94
 PA    ADAMS CNTY FAC CTR                  PA7010056    CWS         Groundwater                     456
 PA    AMBLER BORO WATER DEPT              PA1460020    CWS         Surfacewater                 20,000
 PA    AQUA PA BRISTOL                     PA1090001    CWS         Surfacewater                 28,727
 PA    AQUA PA CHALFONT                    PA1090005    CWS         Groundwater                   5,900
 PA    AQUA PA HATBORO                     PA1460028    CWS         Surfacewater purchased       12,901

 PA    AQUA PA MAIN SYSTEM                 PA1460073    CWS         Surfacewater                822,600
 PA    AQUA PA PERKIOMEN WOODS             PA1460068    CWS         Groundwater                   1,100
 PA    AQUA PA SHENANGO VALLEY WTP         PA6430054    CWS         Surfacewater                 48,000
 PA    AQUA PA SUPERIOR IVY RIDGE          PA1460007    CWS         Groundwater                     150
 PA    AQUA PA SUPERIOR MEADOWBROOK        PA3060137    CWS         Groundwater                     250
 PA    AQUA PA UWCHLAN                     PA1150035    CWS         Surfacewater purchased       35,518

 PA    AUDUBON WATER COMPANY               PA1460055    CWS         Surfacewater purchased        9,850

 PA    AVANTE APARTMENTS                   PA1460062    CWS         Groundwater                     315
 PA    BATH MUNICIPAL WATER WORKS          PA3480066    CWS         Groundwater                   2,680
 PA    BELLEFONTE BOROUGH WATER AUTH       PA4140075    CWS         Groundwater                   9,500
 PA    BLUE HERON VILLAGE                  PA3060141    CWS         Groundwater                      80



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Primacy                PWS Name                PWSID       PWS Type      Primary Source        Population
Agency                                                                                           Served
 [State]
   PA      BUCKS COUNTY COMMUNITY COLLEGE    PA1090962    NTNCWS      Groundwater                   8,000
   PA      BUCKS RUN APARTMENTS              PA1090017    CWS         Groundwater                     130
   PA      CITY OF LANCASTER                 PA7360058    CWS         Surfacewater                120,000
   PA      COLLEGEVILLE TRAPPE JOINT PWD     PA1460022    CWS         Groundwater                   8,470
   PA      CORAOPOLIS WATER & SEWER AUTH     PA5020010    CWS         Surfacewater purchased        5,804

  PA       COUNTRY VIEW MHP                  PA3060048    CWS         Groundwater                      98
  PA       COVENTRY TERRACE                  PA1150069    CWS         Groundwater                     250
  PA       DELAWARE WATER GAP BORO           PA2450022    CWS         Groundwater                     850
  PA       DERRY BORO MUNI AUTH              PA5650049    CWS         Surfacewater                  6,500
  PA       DILLSBURG AREA AUTHORITY          PA7670071    CWS         Groundwater                   8,506
  PA       DOVER TWP WATER SYS               PA7670073    CWS         Surfacewater purchased       21,097

  PA       DOWNINGTOWN WATER AUTHORITY       PA1150026    CWS         Surfacewater                  9,900
  PA       DOYLESTOWN BORO WATER DEPT        PA1090081    CWS         Groundwater                   8,700
  PA       DTMA MAIN SYSTEM                  PA1090128    CWS         Surfacewater purchased        8,655

  PA       DYMONDS MHP                       PA2660024    CWS         Groundwater                      76
  PA       E GREENVILLE BORO WATER DEPT      PA1460023    CWS         Surfacewater                  3,100
  PA       EAST COCALICO TOWNSHIP            PA7360113    CWS         Groundwater                   6,735
  PA       EATON SEWER & WATER CO            PA2660039    CWS         Groundwater                   3,100
  PA       EMMAUS BOROUGH PUBLIC WATER       PA3390032    CWS         Groundwater                  14,000
  PA       FRELIGHS WHISPERING PINES MHP     PA6250097    CWS         Groundwater                      42
  PA       GENERAL AUTHORITY OF FRANKLIN     PA6610020    CWS         Groundwater                   8,600
  PA       GETTYSBURG MUNI AUTH              PA7010019    CWS         Surfacewater                 12,425
  PA       HONEY BROOK BORO WATER            PA1150127    CWS         Groundwater                   2,892
  PA       HORSHAM WATER&SEWER AUTHORITY     PA1460033    CWS         Surfacewater purchased       25,000

  PA       HUGHESVILLE BOROUGH WATER AUTH    PA4410178    CWS         Groundwater                   2,800
  PA       HUMBOLDT INDUSTRIAL PARK          PA2400806    NTNCWS      Surfacewater purchased       11,243

  PA       KENNETT SQUARE MUN WATER WORKS    PA1150108    CWS         Surfacewater purchased        6,328

  PA       LCA ALLENTOWN DIVISION            PA3390024    CWS         Surfacewater                118,000
  PA       LITTLESTOWN BORO                  PA7010022    CWS         Groundwater                   7,300
  PA       MANWALAMINK WATER COMPANY         PA2450049    CWS         Groundwater                   3,200
  PA       MARS BOROUGH WATER WORKS          PA5100049    CWS         Groundwater                   1,956
  PA       MARTINSBURG MUNI AUTH             PA4070030    CWS         Groundwater                   3,160
  PA       MAWC YOUGH PLANT                  PA5260036    CWS         Surfacewater                133,000
  PA       MCCONNELLSBURG BORO MUNI AUTH     PA4290005    CWS         Groundwater under             2,000
                                                                      influence of
                                                                      surfacewater
  PA       MONTOURSVILLE WATER COMPANY       PA4410175    CWS         Groundwater                   4,983
  PA       MOON TWP MUNI AUTH                PA5020011    CWS         Surfacewater                 38,000
  PA       MUHLENBERG TWP MUNI AUTH          PA3060038    CWS         Groundwater                  21,000




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Primacy             PWS Name                PWSID       PWS Type      Primary Source        Population
Agency                                                                                        Served
 [State]
   PA    NESHAMINY MANOR CENTER           PA1090093    CWS         Groundwater purchased         2,100

 PA    NEW FREEDOM BORO WATER AUTH        PA7670082    CWS         Surfacewater purchased        4,464

 PA    NORTH PENN WATER AUTHORITY         PA1460034    CWS         Surfacewater purchased       91,941

 PA    NWWA WARRINGTON TOWNSHIP           PA1090070    CWS         Surfacewater purchased       21,588

 PA    OAK LYNN MANOR MOBILE HOME PK      PA4410153    CWS         Groundwater                     250
 PA    PA AM WATER CO-FRACKVILLE DIST     PA3540032    CWS         Groundwater                   5,583
 PA    PA AMER WATER CO ELLWOOD CTY       PA6370011    CWS         Surfacewater                 17,200
 PA    PA AMERICAN COATESVILLE            PA1150106    CWS         Surfacewater                 36,967
 PA    PA AMERICAN NORRISTOWN             PA1460046    CWS         Surfacewater                 88,896
 PA    PA AMERICAN ROYERSFORD             PA1150166    CWS         Surfacewater                 46,844
 PA    PA AMERICAN WATER BERWICK          PA4190013    CWS         Groundwater                  12,880
 PA    PA AMERICAN WATER CO WEST          PA7210029    CWS         Surfacewater                 93,368
 PA    PA AMERICAN WATER CO YARDLEY       PA1090074    CWS         Surfacewater                 32,976
 PA    PARAMOUNT SENIOR LIVING            PA7010007    CWS         Groundwater                     250
 PA    PAW GLEN ALSACE DIV                PA3060088    CWS         Surfacewater purchased       24,951

 PA    PAW HOMESITE                       PA2400072    CWS         Groundwater                       63
 PA    PAW PENN DISTRICT                  PA3060069    CWS         Groundwater                   28,508
 PA    PAWC POCONO DISTRICT               PA2450063    CWS         Groundwater                   17,860
 PA    PERRY PHILLIPS MOBILE HOMES        PA1150189    CWS         Groundwater                       60
 PA    PHILADELPHIA WATER DEPARTMENT      PA1510001    CWS         Surfacewater               1,600,000
 PA    PINE MANOR MHP                     PA7220029    CWS         Groundwater                      302
 PA    PLEASANT VIEW ESTATES              PA4190296    CWS         Groundwater                      390
 PA    PLUMSTEAD NORTHERN SYSTEM          PA1090144    CWS         Groundwater                    2,605
 PA    POCO APARTMENTS (UPPER)            PA2450107    CWS         Groundwater                       36
 PA    POCONO MOBILE HOME ESTATES         PA2450028    CWS         Groundwater                      129
 PA    QUAKERTOWN BORO                    PA1090082    CWS         Groundwater                   12,800
 PA    READING AREA WATER AUTHORITY       PA3060059    CWS         SURFACE WATER                 87,000
 PA    RED HILL WATER AUTHORITY           PA1460039    CWS         Groundwater                    2,500
 PA    RICHLAND TWP WATER AUTHORITY       PA1090131    CWS         Groundwater                    6,800
 PA    ROARING SPRING MUNI WATER AUTH     PA4070019    CWS         Groundwater                    3,182
 PA    ROCKY RIDGE MOBILE HOME PARK       PA2450129    CWS         Groundwater                      171
 PA    SAEGERTOWN BOROUGH                 PA6200043    CWS         Groundwater                    1,500
 PA    SAINT LUKE KNOLLS                  PA1460086    CWS         Groundwater                       50
 PA    SHREWSBURY BOROUGH                 PA7670088    CWS         Groundwater                    4,727
 PA    STATE COLLEGE BORO WATER AUTH.     PA4140096    CWS         Surfacewater                  72,000
 PA    SUEZ WATER KENSINGTON SYSTEM       PA7280064    CWS         Surfacewater purchased           204

 PA    SWT MAIN SYSTEM                    PA3390065    CWS         Surfacewater purchased       14,500

 PA    TALMUDIC PROPERTIES PENN INC       PA7500039    CWS         Groundwater                     250
 PA    TAYLORS MOBILE HOME PARK           PA1150015    CWS         Groundwater                      50



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Primacy              PWS Name                 PWSID       PWS Type      Primary Source        Population
Agency                                                                                          Served
 [State]
   PA    TELFORD BOROUGH AUTHORITY          PA1460050    CWS         Surfacewater purchased        7,700

 PA     UPPER HANOVER WATER AUTHORITY       PA1460036    CWS         Groundwater                   4,600
 PA     UPPER LEACOCK TOWNSHIP              PA7360140    CWS         Surfacewater purchased        7,734

 PA     VANPORT TWP MUNI AUTH               PA5040055    CWS         Groundwater                   1,450
 PA     VEOLIA MECHANICSBURG                PA7210028    CWS         Surfacewater                 45,013
 PA     VEOLIA MIDDLETOWN                   PA7220038    CWS         Groundwater                   9,300
 PA     VEOLIA NEWBERRY SYSTEM              PA7670061    CWS         Groundwater                   6,480
 PA     VEOLIA WATER                        PA7220015    CWS         Surfacewater                110,000
 PA     VEOLIA WATER PA INC CCIP            PA4190840    CWS         Groundwater                     341
 PA     WARMINSTER MUNICIPAL AUTHORITY      PA1090069    CWS         Surfacewater purchased       40,000

 PA     WEC INTERNATIONAL                   PA1460012    CWS         Groundwater                      25
 PA     WEST COCALICO TWP WATER AUTH        PA7360141    CWS         Groundwater                   2,430
 PA     WESTERN CUMBERLAND WATER SYS        PA7010038    CWS         Groundwater                     275
 PA     WILLIAMSPORT MUN WATER AUTH         PA4410173    CWS         Surfacewater                 51,000
 PA     WOODLAND MHP                        PA3060004    CWS         Groundwater                      61
 PR     AGUADILLA                           PR0003293    CWS         Surfacewater                132,515
 PR     MAGUAYO                             PR0005597    CWS         Groundwater                  31,880
 RI     CENTRAL BEACH FIRE DISTRICT         RI1647512    CWS         Groundwater                     470
 RI     CUMBERLAND, TOWN OF                 RI1647530    CWS         Surfacewater purchased       21,235

  RI    FOUR SEASONS MHP CO-OP ASSN.        RI2980001    CWS         Groundwater                      40
  RI    HARRISVILLE FIRE DISTRICT           RI1858411    CWS         Groundwater                   3,012
  RI    JEMP 1 LLC                          RI2980323    CWS         Groundwater                      28
  RI    KENT COUNTY WATER AUTHORITY         RI1559511    CWS         Surfacewater purchased       88,780

  RI    NEWPORT-CITY OF                     RI1592010    CWS         Surfacewater                 42,155
  RI    NORTH KINGSTOWN TOWN OF             RI1559517    CWS         Groundwater                  25,200
  RI    PAWTUCKET WATER SUPPLY BOARD        RI1592021    CWS         Surfacewater                 98,130
        VEOLIA-NA
  RI    QUONOCHONTAUG EAST BEACH WATER RI1647511         CWS         Groundwater                     300
        ASSOCIATI
  RI    THE VILLAGE ON CHOPMIST HILL        RI2943224    CWS         Groundwater                     250
  RI    WESTERLY WATER DEPARTMENT           RI1559512    CWS         Groundwater                  35,298
  RI    WOONSOCKET WATER DIVISION           RI1559518    CWS         Surfacewater                 43,806
  SC    ABBEVILLE CITY OF (0110001)         SC0110001    CWS         Surfacewater                  5,771
  SC    AIKEN CITY OF (0210001)             SC0210001    CWS         Surfacewater                 45,090
  SC    ANDERSON REGIONAL JOINT WS          SC0420011    CWS         Surfacewater                     25
        (SC0420011)
  SC    BATESBURG LEESVILLE DPW (SC3210002) SC3210002    CWS         Surfacewater                  6,202
  SC    BELTON-HONEA PATH WA (SC0410011)    SC0410011    CWS         Surfacewater                  2,277
  SC    BENNETTSVILLE CITY OF (SC3410001)   SC3410001    CWS         Surfacewater                  9,070
  SC    BISHOPVILLE TOWN OF (SC3110001)     SC3110001    CWS         Groundwater                   3,810
  SC    BJW&SA (0720003)                    SC0720003    CWS         Surfacewater                145,634



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Primacy                  PWS Name                 PWSID       PWS Type      Primary Source        Population
Agency                                                                                              Served
 [State]
   SC      BREEZY HILL W/D (SC0220006)          SC0220006    CWS         Surfacewater                 17,822
   SC      CAMDEN CITY OF (2810001)             SC2810001    CWS         Surfacewater                 13,993
   SC      CASSATT WTR KERSHAW-LEE CO RWA       SC2820005    CWS         Groundwater                  25,485
   SC      CATAWBA RIVER WSP (2920002)          SC2920002    CWS         Surfacewater                     25
   SC      CAYCE CITY OF (3210003)              SC3210003    CWS         Surfacewater                 19,269
   SC      CHARLESTON WATER SYSTEM              SC1010001    CWS         Surfacewater                242,397
           (SC1010001)
  SC       CHERAW TOWN OF (1310001)             SC1310001    CWS         Surfacewater                  6,021
  SC       CHESTER METROPOLITAN DISTRICT        SC1220002    CWS         Surfacewater                 14,739
           (1220002)
  SC       CLINTON CITY OF (3010002)            SC3010002    CWS         Surfacewater                 10,629
  SC       COLUMBIA CITY OF (SC4010001)         SC4010001    CWS         Surfacewater                319,500
  SC       DARLINGTON CITY OF (SC1610001)       SC1610001    CWS         Groundwater                   7,204
  SC       DARLINGTON COUNTY W&SA               SC1620001    CWS         Groundwater                  48,943
           (SC1620001)
  SC       DILLON CITY OF (SC1710001)           SC1710001    CWS         Groundwater                   6,809
  SC       EASLEY CENTRAL W/D #1 (SC3920001)    SC3920001    CWS         Surfacewater                  2,940
  SC       EASLEY COMBINED UTIL (SC3910002)     SC3910002    CWS         Surfacewater                 33,356
  SC       EDGEFIELD CO W&SA (1920001)          SC1920001    CWS         Surfacewater                 29,148
  SC       FLORENCE CITY OF (SC2110001)         SC2110001    CWS         Surfacewater                 74,204
  SC       FRIPP ISLAND PSD (SC0720002)         SC0720002    CWS         Surfacewater purchased        3,536

  SC       GAFFNEY BPW (1110001)               SC1110001     CWS         Surfacewater                 24,290
  SC       GCWSD WACCAMAW NECK (SC2220010) SC2220010         CWS         Surfacewater                 37,790
  SC       GEORGETOWN CITY OF (SC2210001)      SC2210001     CWS         Surfacewater                  9,304
  SC       GREENWOOD CPW (2410001)             SC2410001     CWS         Surfacewater                 49,632
  SC       GREER CPW (SC2310005)               SC2310005     CWS         Surfacewater                 52,476
  SC       GSW&SA (SC2620004)                  SC2620004     CWS         Surfacewater                222,030
  SC       GSW&SA-MYRTLE BEACH (SC2620009)     SC2620009     CWS         Surfacewater                     25
  SC       JENKINSVILLE WATER COMPANY          SC2020001     CWS         Groundwater                   2,550
           (SC2020001)
  SC       LAKE MARION REGIONAL WATER SYS      SC3820003     CWS         Surfacewater                     25
           (3820003)
  SC       LAKE MOULTRIE REGIONAL WS           SC0820008     CWS         Surfacewater                     25
           (SC0820008)
  SC       LAKEWOOD CAMPGROUND (SC2660049) SC2660049         CWS         Groundwater                   4,415
  SC       LAURENS CPW (SC3010001)             SC3010001     CWS         Surfacewater                 13,902
  SC       LUGOFF ELGIN WATER AUTH (SC2820001) SC2820001     CWS         Surfacewater                 22,873

  SC       MCCORMICK CPW (3510001)              SC3510001    CWS         Surfacewater                  1,818
  SC       NEWBERRY CITY OF (3610001)           SC3610001    CWS         Surfacewater                  9,573
  SC       NEWBERRY CO W&SA (3620002)           SC3620002    CWS         Surfacewater                  9,941
  SC       NORTH AUGUSTA CITY OF (SC0210003)    SC0210003    CWS         Surfacewater                 30,110
  SC       OCEAN LAKES LTD (SC2660048)          SC2660048    CWS         Surfacewater purchased       10,727

  SC       ORANGEBURG DPU (SC3810001)           SC3810001    CWS         Surfacewater                 46,896
  SC       ROCK HILL CITY OF (SC4610002)        SC4610002    CWS         Surfacewater                 82,846


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Primacy               PWS Name                 PWSID       PWS Type      Primary Source        Population
Agency                                                                                           Served
 [State]
   SC    SALUDA CO W&S AUTHORITY (4120001)   SC4120001    CWS         Surfacewater                  4,535
   SC    SJWD MIDDLE TYGER WTP (4220006)     SC4220006    CWS         Surfacewater                 66,327
   SC    STARR-IVA W/D                       SC0420005    CWS         SURFACE WATER                 8,688
                                                                      PURCHASED WATER

  SC    SUMMERVILLE CPW (SC1810003)          SC1810003    CWS         Surfacewater purchased       81,750

  SC    UNION CITY OF (SC4410001)         SC4410001       CWS         Surfacewater                 11,906
  SC    WALLACE WATER COMPANY (SC3420002) SC3420002       CWS         Groundwater                   3,542

  SC    WEST COLUMBIA CITY OF (3210004)  SC3210004        CWS         Surfacewater                 34,028
  SC    WHITMIRE TOWN OF (3610004)       SC3610004        CWS         Surfacewater                  2,256
  SC    WINNSBORO TOWN OF (2010001)      SC2010001        CWS         Surfacewater                  7,888
  SC    WOODRUFF ROEBUCK W/D (4220007)   SC4220007        CWS         Surfacewater                 28,897
  SD    PIERRE                           SD4600242        CWS         Groundwater                  13,938
  SD    RANDALL COMMUNITY WATER DISTRICT SD4600433        CWS         SURFACE WATER                 6,078

  SD    SIOUX FALLS                          SD4600294    CWS         Surfacewater                198,524
  SD    SPEARFISH                            SD4600311    CWS         GROUNDWATER                  10,697
  SD    WATERTOWN MUNICIPAL UTILITIES        SD4600356    CWS         Groundwater                  22,162
  TN    CONSOLIDATED U.D. OF RUTHERFORD      TN0000791    CWS         Surfacewater                175,144
  TN    ERWIN UTILITIES AUTHORITY            TN0000231    CWS         Groundwater under            12,323
                                                                      influence of
                                                                      surfacewater
  TN    FIRST U.D. OF CARTER CO              TN0000094    CWS         Groundwater under             9,560
                                                                      influence of
                                                                      surfacewater
  TN    HALLSDALE-POWELL U.D.                TN0000280    CWS         SURFACE WATER                71,376
  TN    LEWISBURG WATER SYSTEM               TN0000400    CWS         SURFACE WATER                22,273
  TN    METRO WATER SERVICES                 TN0000494    CWS         Surfacewater                692,094
  TN    NORTHEAST KNOX U.D.                  TN0000515    CWS         Surfacewater                 25,558
  TN    SAVANNAH VALLEY U.D.                 TN0000613    CWS         Groundwater under            25,821
                                                                      influence of
                                                                      surfacewater
  TN    Suck Creek                           TN0000909    CWS         Surfacewater                    650
  TN    TENNESSEE AMERICAN WATER             TN0000107    CWS         Surfacewater                190,067
  TX    BARROW SUBDIVISION                   TX1160066    CWS         Surfacewater purchased          267

  TX    CANYON SPRINGS WATER                 TX0460022    CWS         Groundwater                   1,182
  TX    CENTRAL TEXAS WSC                    TX0140161    CWS         Surface water                     0
  TX    CITY OF ABILENE                      TX2210001    CWS         Surfacewater                123,886
  TX    CITY OF PORT LAVACA                  TX0290002    CWS         Surfacewater purchased       11,854

  TX    COTTONWOOD HILLS ESTATES             TX2200045    CWS         Groundwater                     267
  TX    HOLIDAY ESTATES WATER                TX1160028    CWS         Surfacewater purchased          222

  TX    MOORE ESTATES                        TX1110102    CWS         Groundwater                     120



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Primacy             PWS Name                  PWSID       PWS Type      Primary Source        Population
Agency                                                                                          Served
 [State]
   TX    MOORELAND SUBDIVISION              TX2270114    CWS         Groundwater under               156
                                                                     influence of
                                                                     surfacewater
 TX    OAK RIDGE ESTATES                    TX1160079    CWS         Surfacewater purchased           57

 TX    PINE TRAILS UTILITY                  TX1010535    CWS         Surfacewater purchased        6,969

 TX    PYSSENS LIVE OAK ESTATES             TX2410010    CWS         Groundwater                     156
       SUBDIVISION
 TX    QUINLAN SOUTH SUBDIVISION            TX1160064    CWS         Surfacewater purchased           68

 TX    ROCKWALL EAST MINI RANCH             TX1160011    CWS         Surfacewater purchased          114

 TX    SILVER CREEK ESTATES                 TX2200277    CWS         Groundwater                     177
 TX    WOODCREEK UTILITY CO 2               TX1050039    CWS         Groundwater under             3,096
                                                                     influence of
                                                                     surfacewater
 UT    CENTRAL UTAH WCD - ASHLEY VALLEY     UTAH24038    CWS         Surfacewater                      0
 UT    CENTRAL UTAH WCD - DUCHESNE          UTAH07050    CWS         Surfacewater                      0
       VALLEY
 UT    GREEN RIVER CITY                     UTAH08005    CWS         Surfacewater                    973
 UT    HOLLIDAY WATER COMPANY               UTAH18010    CWS         Surfacewater purchased       15,000

 UT    JORDANELLE SSD                       UTAH26086    CWS         Surfacewater                  1,880
 UT    LINDON CITY                          UTAH25016    CWS         Groundwater                  11,072
 UT    LOGAN CITY WATER SYSTEM              UTAH03010    CWS         Groundwater                  48,174
 UT    METROPOLITAN WATER DISTRICT          UTAH18016    CWS         Surfacewater                      0
 UT    MURRAY CITY WATER SYSTEM             UTAH18024    CWS         Groundwater                  36,000
 UT    NORTH OGDEN CITY                     UTAH29010    CWS         Groundwater                  18,000
 UT    OGDEN CITY WATER SYSTEM              UTAH29011    CWS         Surfacewater                 82,522
 UT    ORANGEVILLE                          UTAH08008    CWS         Surfacewater                  1,400
 UT    OREM CITY WATER SYSTEM               UTAH25020    CWS         Surfacewater purchased       97,839

 UT    PRICE RIVER WID                      UTAH04020    CWS         Surfacewater                  7,030
 UT    PROVO CITY                           UTAH25006    CWS         Surfacewater purchased      116,288

 UT    TAYLORSVILLE-BENNION ID              UTAH18021    CWS         Surfacewater purchased       70,448

 UT    WEBER BASIN WCD - CENTRAL            UTAH29023    CWS         Surfacewater                      0
 UT    WENDOVER CITY WATER SYSTEM           UTAH23008    CWS         Surfacewater                  1,400
 UT    WEST JORDAN CITY WATER SYSTEM        UTAH18020    CWS         Surfacewater purchased      113,699

 UT    WHITE CITY WID                       UTAH18019    CWS         Groundwater                  15,800
 UT    WOODS CROSS CITY WATER SYSTEM        UTAH06021    CWS         Surfacewater purchased       11,500

 VA    ALEXANDRIA, CITY OF                  VA6510010    CWS         Surfacewater purchased      159,200

 VA    ALTAVISTA, TOWN OF                   VA5031050    CWS         Surfacewater                  3,850




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Primacy              PWS Name               PWSID       PWS Type      Primary Source        Population
Agency                                                                                        Served
 [State]
   VA    ARLINGTON COUNTY                 VA6013010    CWS         Surfacewater purchased      215,000

 VA    BRUNSWICK ESTATES                  VA5025500    CWS         Groundwater                       70
 VA    CHURCHFIELDS                       VA4103200    CWS         Groundwater                       45
 VA    CLOVER, COMMUNITY OF               VA5083480    CWS         Groundwater                      290
 VA    DRYSDALE SUBDIVISION               VA6061125    CWS         Groundwater                       63
 VA    EARLYSVILLE FOREST                 VA2003255    CWS         Groundwater                      488
 VA    FAIRFAX COUNTY WATER AUTHORITY     VA6059501    CWS         Surfacewater               1,121,613
 VA    GRANITE HALL SHORES                VA5117360    CWS         Surfacewater purchased            50

 VA    HAZEL RIVER                        VA6047260    CWS         Groundwater                      28
 VA    HCSA- LEIGH STREET PLANT           VA5780600    CWS         Surfacewater                  9,364
 VA    HERITAGE ESTATES                   VA6047300    CWS         Groundwater                      80
 VA    LAKE WILDERNESS                    VA6177251    CWS         Groundwater                   2,100
 VA    LOUDOUN WATER - CENTRAL SYSTEM     VA6107350    CWS         Surfacewater                325,440
 VA    MASSANUTTEN VIEW SUBDIVISION       VA2171475    CWS         Groundwater                     140
 VA    MILL QUARTER PLANTATION            VA4145600    CWS         Groundwater                     273
 VA    MOUNTAIN VIEW TRAILER PARK         VA6047340    CWS         Groundwater                      80
 VA    NEWPORT NEWS, CITY OF              VA3700500    CWS         Surfacewater                407,300
 VA    NORMAN ACRES SUBDIVISION           VA6047355    CWS         Groundwater                      50
 VA    NORTHTOWN VILLAGE                  VA6047360    CWS         Groundwater                      53
 VA    NOTTOWAY ACRES SUBDIVISION         VA5025550    CWS         Groundwater                      58
 VA    OAK PARK SUBDIVISION               VA6113170    CWS         Groundwater                      60
 VA    OVERLOOK HEIGHTS COMBINED          VA6047391    CWS         Groundwater                     160
 VA    OVERLOOK HEIGHTS II                VA6047392    CWS         Groundwater                      25
 VA    PWCSA - EAST                       VA6153600    CWS         Surfacewater purchased      153,000

 VA    SPRING MEADOWS-MEADOW GATE         VA4085770    CWS         Groundwater                   2,362
 VA    STAFFORD COUNTY UTILITIES          VA6179100    CWS         Surfacewater                112,285
 VA    STONY SPRINGS SUBDIVISION          VA3053915    CWS         Groundwater                     130
 VA    SUNNYBROOK SUBDIVISION             VA5025650    CWS         Groundwater                      30
 VA    TANGLEWOOD SECTION A               VA5117834    CWS         Groundwater                      35
 VA    VIENNA, TOWN OF                    VA6059800    CWS         Surfacewater purchased       30,000

 VA    WASHINGTON COUNTY SERVICE        VA1191883      CWS         Surfacewater                 47,574
       AUTHORITY
 VA    WESTERN VIRGINIA WATER AUTHORITY VA2770900      CWS         Surfacewater                182,700

 VA    WOODSTOCK, TOWN OF                 VA2171850    CWS         Surfacewater                  5,955
 VT    ALBURGH VILLAGE WATER SYSTEM       VT0005136    CWS         Surfacewater                    576
 VT    ARMSTRONGS MHP                     VT0005180    CWS         Groundwater                      45
 VT    BARNET FIRE DISTRICT #2            VT0005029    CWS         Groundwater                     205
 VT    BARRE TOWN WATER SYSTEM            VT0005566    CWS         Surfacewater purchased        1,638

 VT    BERLIN HEALTH REHABILITATION CTR   VT0005529    CWS         Groundwater                     378
 VT    BERLIN WATER CO INC                VT0005255    CWS         Groundwater                     139



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Agency                                                                                     Served
 [State]
   VT      BIRCH HILL WATER SYSTEM          VT0005650    CWS         Groundwater                  45
   VT      BIRCHWOOD PARK                   VT0005253    CWS         Groundwater                  30
   VT      BOLTON COMMUNITY WATER SYSTEM    VT0005051    CWS         Groundwater               1,030
   VT      BOULDER RIDGE AT MT SNOW         VT0021035    CWS         Groundwater                 131
   VT      BULL RUN                         VT0005609    CWS         Groundwater                 420
   VT      CABOT TOWN WATER SYSTEM          VT0005261    CWS         Groundwater                 250
   VT      CHELSEA WATER SYSTEM             VT0005638    CWS         Groundwater                 450
   VT      CRAFTSBURY FIRE DISTRICT 2       VT0005194    CWS         Groundwater                 420
   VT      DEER CREEK CONDOMINIUMS          VT0005653    CWS         Groundwater                  97
   VT      DORSET COMMUNITY HOUSING         VT0020990    CWS         Groundwater                  50
   VT      DORSET FIRE DISTRICT 1           VT0005020    CWS         Groundwater                 530
   VT      EAST WIND MHP                    VT0005287    CWS         Groundwater                 100
   VT      FAIR HAVEN WATER DEPT            VT0005218    CWS         Surfacewater              3,076
   VT      FIDDLEHEAD CONDOMINIUMS          VT0005504    CWS         Groundwater                  60
   VT      FORT WARREN MHP                  VT0005213    CWS         Groundwater                 129
   VT      GREENSPRINGS                     VT0005630    CWS         Groundwater                 485
   VT      HUCKLE HILL HOUSING              VT0020986    CWS         Groundwater                  49
   VT      JACKSON GORE OKEMO               VT0020917    CWS         Groundwater               1,695
   VT      JERICHO FIRE DISTRICT 1          VT0005476    CWS         Groundwater                 190
   VT      LAMPMAN WATER SYSTEM             VT0005026    CWS         Groundwater                 133
   VT      MOBILE ACRES MHP                 VT0005171    CWS         Groundwater                 252
   VT      MOUNT ASCUTNEY MHP               VT0005342    CWS         Groundwater                  42
   VT      MOUNTAIN GREEN CONDOMINIUM       VT0005539    CWS         Groundwater               1,300
   VT      MOUNTAINDALE                     VT0020003    CWS         Groundwater                  48
   VT      MOUNTAINSIDE RESORT              VT0005165    CWS         Groundwater                 240
   VT      NORTHSHORE MHP                   VT0005304    CWS         Groundwater                  63
   VT      NORTHSIDE CONDOMINIUM            VT0005604    CWS         Groundwater                  32
   VT      NORWICH MEADOWS                  VT0005475    CWS         Groundwater                  36
   VT      OKEMO TRAILSIDE CONDOMINIUM      VT0005325    CWS         Groundwater                 540
   VT      OKEMO VILLAGE CONDOMINIUMS       VT0005324    CWS         Groundwater                 180
   VT      OUTLOOK AT MOUNT SNOW            VT0021057    CWS         Groundwater                  96
   VT      PINNACLE CONDOMINIUM             VT0005540    CWS         Groundwater                 400
   VT      POWNAL ESTATES MHP, LLC.         VT0005628    CWS         Groundwater                 147
   VT      POWNAL FIRE DISTRICT 2           VT0020734    CWS         Groundwater                 400
   VT      PUTNEY SCHOOL                    VT0006624    CWS         Groundwater                 310
   VT      RICHMOND WATER DEPT              VT0005084    CWS         Groundwater               1,000
   VT      ROYALTON FIRE DISTRICT 1         VT0005330    CWS         Surfacewater              1,500
   VT      RUTLAND TOWN FIRE DISTRICT 5     VT0005429    CWS         Groundwater                 110
   VT      RUTLAND TOWN FIRE DISTRICT 6     VT0005378    CWS         Groundwater                 137
   VT      SMUGGLERS NOTCH WATER SYSTEM     VT0005151    CWS         Surfacewater              2,960
   VT      SNOWTREE CONDOMINIUM             VT0005542    CWS         Groundwater                 302
   VT      SPRINGFIELD WATER DEPT           VT0005333    CWS         Groundwater               9,800
   VT      STOWE WATER DEPT                 VT0005163    CWS         Groundwater               3,250
   VT      SUGAR RUN ASSOCIATION INC        VT0005268    CWS         Groundwater                 197


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Primacy                 PWS Name                PWSID       PWS Type      Primary Source        Population
Agency                                                                                            Served
 [State]
   VT      TARA TOWNHOUSES                    VT0005545    CWS         Groundwater                      48
   VT      TRAIL CREEK CONDOMINIUM            VT0005597    CWS         Groundwater                     212
   VT      VERNON HALL                        VT0020031    CWS         Groundwater                      50
   VT      WEST RUTLAND TOWN                  VT0005244    CWS         Groundwater                   2,400
   VT      WESTMINSTER AQUEDUCT SOCIETY       VT0005306    CWS         Groundwater                     150
   VT      WHIFFLETREE CONDOMINIUM            VT0005384    CWS         Groundwater                     189
   VT      WILLISTON FIRE DISTRICT 1          VT0005100    CWS         Groundwater                     212
   VT      WINDY HOLLOW                       VT0005594    CWS         Groundwater                     118
  WA       AIRWAY HEIGHTS CITY OF             WA5300650    CWS         Groundwater                   9,489
  WA       BELLWOOD A                         WA5305534    CWS         Groundwater                     163
  WA       BETHEL EAST                        WA5305965    CWS         Groundwater                     127
  WA       BETHEL RANCHETTES MUTUAL WATER     WA5306015    CWS         Groundwater                      65
           CO
  WA       BILL POINT WATER                   WA5306790    CWS         Groundwater                     203
  WA       BREMERTON CITY OF                  WA5308200    CWS         Surfacewater                 72,520
  WA       BURBANK IRRIGATION DISTRICT 4      WA5309300    CWS         Groundwater                     527
  WA       BURNSVILLE 676                     WA5305329    CWS         Groundwater                     183
  WA       CAMAS MUNICIPAL WATER SEWER        WA5310800    CWS         Groundwater                  30,291
           SYSTEM
  WA       CANDLEWOOD MOBILE MANOR            WA5311002    CWS         Groundwater                     211
  WA       CEDAR PARK                         WA5311975    CWS         Groundwater                      44
  WA       CHERRY PARK                        WA5312560    CWS         Groundwater                     111
  WA       CLEAR CREEK MOBILE HOME PARK       WA5313522    CWS         Groundwater                      63
  WA       CLEARWOOD                          WA5313615    CWS         Groundwater                   2,956
  WA       COOPERFIELD 678                    WA5304459    CWS         Groundwater                      38
  WA       COUNTRY CLUB 679                   WA5315503    CWS         Groundwater                     175
  WA       COUNTRY MEADOWS                    WA5300675    CWS         Groundwater                      90
  WA       CRESCENT PARK 355                  WA5316000    CWS         Groundwater                     550
  WA       CROSSWOODS WATER COMPANY           WA5316274    CWS         Groundwater                     420
  WA       DEER LAKE ESTATES                  WA5318440    CWS         Groundwater                      55
  WA       DEER PARK CITY OF                  WA5318500    CWS         Groundwater                   4,605
  WA       DEERFIELD PARK 681                 WA5300558    CWS         Groundwater                      97
  WA       DUPONT WATER SYSTEM CITY OF        WA5320500    CWS         Groundwater                  12,860
  WA       EAST OLYMPIA 684                   WA5304601    CWS         Groundwater                     230
  WA       EAST SPOKANE WATER DIST 1          WA5321650    CWS         Groundwater                   4,285
  WA       ENCHANTED FIRS MOBILE ESTATES      WA5323380    CWS         Groundwater                      70
  WA       FAIRWIND MOBILE HOME PARK          WA5344052    CWS         Groundwater                      78
  WA       FIRGROVE MUTUAL INC                WA5325200    CWS         Surfacewater purchased       30,018

  WA       FOUR LAKES WATER DISTRICT 10       WA5326200    CWS         Groundwater                     433
  WA       Fox Island Mutual Water Assoc      WA5326300    CWS         Groundwater                   3,255
  WA       GATEWOOD MOBILE MANOR              WA5327236    CWS         Groundwater                      46
  WA       GOLD BAR CITY OF                   WA5328300    CWS         Groundwater                   2,661
  WA       GREATER BAR WATER DISTRICT         WA5319910    CWS         Groundwater                     330
  WA       GREENWOOD MOBILE HOME PARK         WA5329816    CWS         Groundwater                     240


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Agency                                                                                        Served
 [State]
  WA     HANNAH HEIGHTS OWNERS             WA5330850   CWS         Groundwater                      66
         ASSOCIATION
  WA     HARBORLAND MOBILE PARK            WA5331075   CWS         Groundwater                      92
  WA     HIDDEN GARDENS HOMEOWNERS COOP    WA5315483   CWS         Groundwater                      66
  WA     HIGHLINE WATER DISTRICT           WA5340650   CWS         Surfacewater purchased       70,630

 WA    HILLCREST VILLAGE WATER CO INC      WA5333150   CWS         Groundwater                     770
 WA    HOOT RIDGE                          WA5323994   CWS         Groundwater                      54
 WA    HORSEHEAD BAY WATER ASSN            WA5330878   CWS         Groundwater                      58
 WA    HORSFALL 608                        WA5334505   CWS         Groundwater                     165
 WA    INDIAN VILLAGE ESTATES WATER ASSN   WA5312028   CWS         Groundwater                      90

 WA    ISLAND LAKE MANOR                   WA5336180   CWS         Groundwater                     233
 WA    ISSAQUAH WATER SYSTEM               WA5336350   CWS         Surfacewater purchased       39,578

 WA    KACKMAN CREEK                       WA5307619   CWS         Groundwater                     330
 WA    KENNEWICK CITY OF                   WA5338100   CWS         Surfacewater                 86,115
 WA    KENT WATER DEPARTMENT               WA5338150   CWS         Surfacewater purchased       78,948

 WA    KITSAP WEST MHC WATER CO            WA5342635   CWS         Groundwater                     190
 WA    LAKE HOLIDAY ASSOCIATION            WA5383600   CWS         Groundwater                     740
 WA    LAKE LAWRENCE MOBILE HOME PARK      WA5344130   CWS         Groundwater                      80
 WA    LAKEHAVEN WATER AND SEWER           WA5341997   CWS         Surfacewater purchased      116,906
       DISTRICT
 WA    LAKESIDE PARK                       WA5333489   CWS         Groundwater                     180
 WA    LAKEWOOD COMMUNITY                  WA5345480   CWS         Groundwater                      45
 WA    LAKEWOOD WATER DISTRICT             WA5345550   CWS         Groundwater                  62,089
 WA    LAZY ACRES 351                      WA5346441   CWS         Groundwater                     267
 WA    LYNCH COVE DIV 1 WATER ASSN         WA5307079   CWS         Groundwater                     102
 WA    LYON RD COMMUNITY ASSOCIATION       WA5314026   CWS         Groundwater                      50
 WA    MABANA SHORES ASSOCIATION           WA5349600   CWS         Groundwater                      68
 WA    MADRONA BEACH WATER CO INC          WA5349900   CWS         Groundwater                      67
 WA    MAPLE HILL PARK                     WA5309356   CWS         Groundwater                      35
 WA    MARTELL MOBILE MANOR                WA5351867   CWS         Groundwater                     143
 WA    MEADOW RIDGE                        WA5353213   CWS         Groundwater                     175
 WA    MECCA COMMUNITY ASSOCIATION         WA5322888   CWS         Groundwater                     619
 WA    MELODY PINES MHP LLC                WA5353475   CWS         Groundwater                     207
 WA    MERIDIAN HEIGHTS WATER DISTRICT     WA5353780   CWS         Groundwater                     126
 WA    MERIDIAN TERRACE MOBILE HOME        WA5351823   CWS         Groundwater                     229
       PARK
 WA    MODEL IRRIGATION DIST #18           WA5355550   CWS         Groundwater                   7,584
 WA    MOUNTAIN VIEW WATER DISTRICT INC    WA5356950   CWS         Groundwater                      91
 WA    MOUNTAIN VIEW-EDGEWOOD WATER        WA5356820   CWS         Groundwater                   9,646
       CO
 WA    NORTHGATE TERRACE COMMUNITY         WA5361750   CWS         Groundwater                     750
       CLUB



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Agency                                                                                        Served
 [State]
  WA     OLD ORCHARD ESTATES WATER SYSTEM WA5307748    CWS         Groundwater                      58

 WA    ORTING 15                          WA5304778    CWS         Groundwater                     117
 WA    PARADISE PARK WATER SYSTEM         WA5366116    CWS         Groundwater                     200
 WA    PARKWOOD APARTMENTS                WA5318160    CWS         Groundwater                      60
 WA    PATTISON 500                       WA5366578    CWS         Groundwater                   4,302
 WA    PEDERSON PLACE 604                 WA5366734    CWS         Groundwater                      90
 WA    PENN COVE WATER AND SEWER          WA5366950    CWS         Groundwater                     460
       DISTRICT
 WA    PINE TERRACE WATER ASSOCIATION     WA5367600    CWS         Groundwater                     181
 WA    PINEWOOD GLEN MUTUAL WATER ASSN    WA5367705    CWS         Groundwater                      70

 WA    PRIEST POINT BEACH WATER INC    WA5369450       CWS         Groundwater                     624
 WA    PUD #1 OF ASOTIN COUNTY         WA5393343       CWS         Groundwater                  22,583
 WA    PUDDINGSTONE                    WA5319246       CWS         Groundwater                      69
 WA    QUIMPER                         WA5305783       CWS         Groundwater                  10,242
 WA    RAINIER TERRACE                 WA5303901       CWS         Groundwater                     125
 WA    RAINIER VIEW PARK ADDITION      WA5370950       CWS         Groundwater                      53
 WA    RAINIER WATER DEPARTMENT        WA5370980       CWS         Groundwater                   2,758
 WA    RICHLAND CITY OF                WA5372250       CWS         Surfacewater                 59,439
 WA    ROLLING HILLS-GLENCAIRN         WA5374000       CWS         Groundwater                     871
 WA    ROSELAND COMMUNITY CLUB         WA5374372       CWS         Groundwater                     210
       ASSOCIATION
 WA    ROY CITY OF                     WA5345027       CWS         Groundwater                   1,214
 WA    RUSTEMEYER MOBILE HOME PARK     WA5375028       CWS         Groundwater                      44
 WA    RYANWOOD IMPROVEMENT ASSN       WA5375070       CWS         Groundwater                     108
 WA    SAMMAMISH PLATEAU WATER & SEWER WA5340900       CWS         Surfacewater purchased       65,856

 WA    SANDRA AVENUE 627                WA5354591      CWS         Groundwater                      30
 WA    SHADOW PINES MOBILE ESTATES      WA5343291      CWS         Groundwater                     120
 WA    SIERRA COUNTRY CLUB              WA5378975      CWS         Groundwater                     355
 WA    SILVER FOX 693                   WA5359953      CWS         Groundwater                      50
 WA    SKAMANIA LANDING OWNERS ASSN     WA5309251      CWS         Groundwater                     132
 WA    SOUTH SHADY ACRES WATER          WA5313253      CWS         Groundwater                      85
 WA    SPANAWAY 192ND 669               WA5315531      CWS         Groundwater                     183
 WA    SPOKANE CITY OF                  WA5383100      CWS         Groundwater                 244,817
 WA    SPOKANE HUTTERIAN BRETHREN       WA5318375      CWS         Groundwater                     120
 WA    SPRINGWOOD                       WA5383408      CWS         Groundwater                      90
 WA    SUMMIT WATER & SUPPLY CO         WA5385050      CWS         Groundwater                  16,000
 WA    SUNSET FARM                      WA5386115      CWS         Groundwater                      45
 WA    SUNSET WATER & MAINTENANCE ASSOC WA5306514      CWS         Groundwater                      35

 WA    TACOMA WATER DIVISION CITY OF      WA5386800    CWS         Surfacewater                319,028
 WA    Tahja II                           WA5303052    CWS         Groundwater                      51
 WA    TANGLEWILDETHOMPSON PLACE 600      WA5304397    CWS         Groundwater                   7,320
 WA    TOLMIE PARK 239                    WA5388667    CWS         Groundwater                     195


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Primacy                 PWS Name                 PWSID       PWS Type      Primary Source        Population
Agency                                                                                             Served
 [State]
  WA       TONASKET WATER SYSTEM               WA5388700    CWS         Groundwater                   2,392
  WA       TUMWATER CITY OF                    WA5389700    CWS         Groundwater                  61,165
  WA       VALLEY MEADOWS 240                  WA5390981    CWS         Groundwater                     148
  WA       VANCOUVER CITY OF                   WA5391200    CWS         Groundwater                 257,083
  WA       WANAPUM INDIAN VILLAGE              WA5329075    CWS         Groundwater                      60
  WA       Washington Land Yacht Harbor        WA5393085    CWS         Groundwater                     429
  WA       WESTBRIDGE ESTATES WATER ASSN       WA5394935    CWS         Groundwater                      98
  WA       WHISKEY HOLLOW 670                  WA5320692    CWS         Groundwater                      45
  WA       Whispering Pines Homeowners Coop    WA5388215    CWS         Groundwater                     116
  WA       WILDERWOOD HOA                      WA5347451    CWS         Groundwater                      98
  WA       WISHRAM WATER SYSTEM                WA5397950    CWS         Groundwater                     599
  WA       WOODLAND MANOR                      WA5398184    CWS         Groundwater                     192
   WI      ADAMS WATERWORKS                    WI7010107    CWS         Groundwater                   1,847
   WI      APPLETON WATERWORKS                 WI4450333    CWS         Surfacewater                 72,000
   WI      BALSAM LAKE WATERWORKS              WI6490330    CWS         Groundwater                   1,031
   WI      BELLEVUE WATERWORKS                 WI4050459    CWS         Surfacewater purchased       15,706

  WI       BELOIT CITY OF                      WI1540112    CWS         Groundwater                  37,110
  WI       BLACK RIVER FALLS WATERWORKS        WI6270244    CWS         Groundwater                   3,608
  WI       BROOKFIELD WATER UTILITY            WI2680253    CWS         Groundwater                  29,070
  WI       BROWN DEER WATERWORKS               WI2410556    CWS         Surfacewater purchased       12,741

  WI       CAMP DOUGLAS WATERWORKS             WI7290121    CWS         Groundwater                     640
  WI       CEDARBURG L & W COMMISSION          WI2460108    CWS         Groundwater                  11,800
  WI       CHIPPEWA FALLS WATERWORKS           WI6090456    CWS         GROUNDWATER                  13,375
  WI       COLBY WATERWORKS                    WI7370169    CWS         Groundwater                   1,829
  WI       CUDAHY WATERWORKS                   WI2410169    CWS         Surfacewater                 18,659
  WI       DE PERE WATERWORKS SA 1             WI4050453    CWS         Surfacewater purchased       24,595

  WI       DELAVAN WATERWORKS                  WI2650113    CWS         GROUNDWATER                   8,451
  WI       DRESSER WATERWORKS                  WI6490336    CWS         Groundwater                     897
  WI       EAST TROY WATERWORKS                WI2650123    CWS         Groundwater                   4,414
  WI       EAU CLAIRE WATERWORKS               WI6180230    CWS         Groundwater                  66,060
  WI       ELLSWORTH WATERWORKS                WI6480239    CWS         Groundwater                   3,304
  WI       FOX CROSSING UTILITIES EAST         WI4710453    CWS         Surfacewater purchased       10,927

  WI       FRANKLIN WATER UTILITY              WI2410563    CWS         Surfacewater purchased       22,500

  WI       GERMANTOWN WATER UTILITY            WI2670105    CWS         Groundwater                  20,027
  WI       GILMAN WATERWORKS                   WI8610124    CWS         Groundwater                     372
  WI       GRANTON WATERWORKS                  WI6100327    CWS         Groundwater                     349
  WI       GREEN BAY WATERWORKS                WI4050356    CWS         Surfacewater                104,057
  WI       HARTFORD WATERWORKS                 WI2670110    CWS         Groundwater                  16,076
  WI       HOLMEN WATERWORKS                   WI6320306    CWS         Groundwater                  10,147
  WI       HUDSON WATERWORKS                   WI6560087    CWS         Groundwater                  17,635



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Primacy               PWS Name                PWSID       PWS Type      Primary Source   Population
Agency                                                                                     Served
 [State]
   WI      IOLA WATERWORKS                  WI4690394    CWS         Groundwater              1,300
   WI      JANESVILLE WATER UTILITY         WI1540127    CWS         Groundwater             64,415
   WI      KENOSHA WATER UTILITY            WI2300046    CWS         Surfacewater            99,218
   WI      LA CROSSE WATERWORKS             WI6320309    CWS         Groundwater             53,000
   WI      LAKE GENEVA UTILITY COMMISSION   WI2650066    CWS         Groundwater              7,107
   WI      MADISON WATER UTILITY            WI1130224    CWS         Groundwater            235,000
   WI      MANAWA WATERWORKS                WI4690345    CWS         Groundwater              1,300
   WI      MANITOWOC WATERWORKS             WI4360364    CWS         Surfacewater            34,500
   WI      MARATHON CITY WATERWORKS         WI7370151    CWS         Groundwater              1,695
   WI      MARINETTE WATERWORKS             WI4380395    CWS         Surfacewater            10,968
   WI      MARSHFIELD UTILITIES             WI7720165    CWS         Groundwater             18,708
   WI      MAYVILLE WATERWORKS              WI1140057    CWS         Groundwater              5,112
   WI      MCFARLAND WATERWORKS             WI1130241    CWS         Groundwater              9,331
   WI      MENASHA ELEC & WATER UTIL        WI4710334    CWS         Surfacewater            14,792
   WI      MIDDLETON WATERWORKS             WI1130242    CWS         Groundwater             21,827
   WI      MILWAUKEE WATERWORKS             WI2410100    CWS         Surfacewater           590,547
   WI      MOSINEE EAST SYSTEM              WI7372480    CWS         Groundwater              1,046
   WI      NEENAH WATERWORKS                WI4710348    CWS         Surfacewater            25,892
   WI      NEW LONDON WATERWORKS            WI4690398    CWS         Groundwater              7,187
   WI      NEW RICHMOND WATERWORKS          WI6560126    CWS         GROUNDWATER              8,909
   WI      OAK CREEK WATERWORKS             WI2410172    CWS         Surfacewater            32,104
   WI      OCONOMOWOC WATERWORKS            WI2680227    CWS         GROUNDWATER             15,805
   WI      ONALASKA WATERWORKS              WI6320327    CWS         Groundwater             18,000
   WI      OSHKOSH WATERWORKS               WI4710457    CWS         Surfacewater            63,000
   WI      PLOVER WATERWORKS                WI7500726    CWS         Groundwater             13,486
   WI      PORT WASHINGTON WATERWORKS       WI2460054    CWS         Surfacewater            11,954
   WI      PORTAGE WATERWORKS               WI1110039    CWS         Groundwater             10,437
   WI      PRAIRIE DU CHIEN WATERWORKS      WI6120250    CWS         Groundwater              6,005
   WI      PRESCOTT WATERWORKS              WI6480243    CWS         Groundwater              4,258
   WI      RACINE WATERWORKS                WI2520062    CWS         Surfacewater           105,100
   WI      REEDSBURG WATERWORKS             WI1570102    CWS         Groundwater              9,984
   WI      RHINELANDER WATER & WASTEWATER   WI7440126    CWS         Groundwater              7,783

  WI       RIB MOUNTAIN SANITARY DIST       WI7370660    CWS         Groundwater                5,850
  WI       RIPON WATER UTILITY              WI4200476    CWS         Groundwater                7,800
  WI       SAUKVILLE WATERWORKS             WI2460134    CWS         Groundwater                4,424
  WI       SCHOFIELD WATERWORKS             WI7370162    CWS         Groundwater                2,117
  WI       SENECA SANITARY DIST NO 1        WI6120251    CWS         Groundwater                  250
  WI       SHEBOYGAN TN WATERWORKS          WI4600403    CWS         Groundwater                4,596
  WI       SLINGER WATER UTILITY            WI2670116    CWS         Groundwater                5,430
  WI       SOUTH MILWAUKEE WATERWORKS       WI2410144    CWS         Surfacewater              21,340
  WI       STANLEY WATERWORKS               WI6090462    CWS         Groundwater                3,500
  WI       STEVENS POINT WATERWORKS         WI7500141    CWS         Groundwater               26,717
  WI       STOUGHTON WATERWORKS             WI1130078    CWS         Groundwater               13,078



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Primacy                PWS Name                  PWSID       PWS Type      Primary Source   Population
Agency                                                                                        Served
 [State]
   WI      SUN PRAIRIE UTILITIES               WI1130258    CWS         Groundwater               33,966
   WI      VERONA WATERWORKS                   WI1130259    CWS         Groundwater               10,619
   WI      WAUKESHA WATER UTILITY              WI2680238    CWS         Groundwater               70,718
   WI      WAUNAKEE WATERWORKS                 WI1130265    CWS         Groundwater               13,755
   WI      WAUPACA WATERWORKS                  WI4690402    CWS         Groundwater                6,062
   WI      WAUSAU WATERWORKS                   WI7370102    CWS         Groundwater               39,106
   WI      WEST BEND WATERWORKS                WI2670120    CWS         Groundwater               31,861
   WI      WESTON MUNICIPAL UTILITIES          WI7370163    CWS         Groundwater               15,045
   WI      WIS RAPIDS WATER WORKS & LIGHTING   WI7720108    CWS         Groundwater               20,000
           COMM
  WI       WYOCENA WATERWORKS                  WI1110124    CWS         Groundwater                  768
  WV       ALDERSON WATER                      WV3301315    CWS         Surfacewater               2,458
  WV       ALPINE LAKE PUBLIC UTILITIES        WV3303921    CWS         Groundwater                1,325
  WV       ALYESKA INC                         WV9939113    CWS         Groundwater                   50
  WV       APPLE ORCHARD ACRES                 WV3303314    CWS         Groundwater                   91
  WV       ARMSTRONG PSD                       WV3301004    CWS         Surfacewater               2,208
  WV       ARTHURDALE WATER ASSOC.             WV3303902    CWS         Groundwater                  285
  WV       ATHENS TOWN OF                      WV3302801    CWS         Surfacewater               4,802
  WV       BECKLEY WATER COMPANY               WV3304104    CWS         Surfacewater              47,386
  WV       BEECH BOTTOM WATER DEPT             WV3300502    CWS         Groundwater                  610
  WV       BELINGTON TOWN OF                   WV3300101    CWS         Surfacewater               2,146
  WV       BELLWOOD COMMUNITY FACIL IMP        WV3301005    CWS         Groundwater                  113
  WV       BELMONT, CITY OF                    WV3303701    CWS         Groundwater                1,048
  WV       BENS RUN INDUSTRIAL PARK WATER      WV9948024    CWS         Groundwater                  673
           SYSTEM
  WV       BENWOOD WATER DEPARTMENT            WV3302618    CWS         Groundwater                1,510
  WV       BERKELEY CO P S W D-BUNKER HILL     WV3300202    CWS         Groundwater under         34,586
                                                                        influence of
                                                                        surfacewater
  WV       BERKELEY COUNTY PSWD-POTOMAC        WV3300218    CWS         Surfacewater              27,335
           RIVER
  WV       BERKELEY SPRINGS CITY OF            WV3303301    CWS         Surfacewater               3,526
  WV       BEVERLY TOWN OF                     WV3304202    CWS         Surfacewater               2,204
  WV       BIG SANDY MHP                       WV3303916    CWS         Groundwater                   43
  WV       BRENTON PSD                         WV3305504    CWS         Groundwater                  241
  WV       BUCKHANNON WATER BOARD              WV3304902    CWS         Surfacewater               8,098
  WV       BURNSVILLE PUBLIC UTILITY           WV3300408    CWS         Surfacewater               1,140
  WV       CAMERON WATER                       WV3302603    CWS         Surfacewater               1,052
  WV       CAVE QUARTER UTILITY                WV3301904    CWS         Groundwater                  126
  WV       CENTRAL HAMPSHIRE PSD GREEN         WV3301412    CWS         Groundwater under          1,046
           SPRING                                                       influence of
                                                                        surfacewater
  WV       CHARLES TOWN UTILITIES              WV3301905    CWS         Surfacewater              15,220
  WV       CHARLES TOWN UTL-CAVALAND           WV3301972    CWS         Groundwater                  107
           SUBDIVISION




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Primacy               PWS Name              PWSID       PWS Type      Primary Source       Population
Agency                                                                                       Served
 [State]
  WV     CHARLES TOWN UTL-GLEN HAVEN      WV3301909    CWS         Groundwater                    195
         UTILITIES
  WV     CHESTER WATER DEPT.              WV3301504    CWS         Surfacewater                 3,119
  WV     CHESTNUT RIDGE WATER SYSTEM      WV3300236    CWS         Groundwater                    105
  WV     CLARKSBURG WATER BOARD           WV3301705    CWS         Surfacewater                18,006
  WV     CLAY WATER DEPT                  WV3300801    CWS         Surfacewater                 1,084
  WV     CLAYWOOD PARK PSD                WV3305402    CWS         Surfacewater                 8,141
  WV     COALTON WATER SYSTEM             WV3304212    CWS         Groundwater                    262
  WV     CORPORATION OF HARPERS FERRY     WV3301912    CWS         Surfacewater                 2,122
  WV     CORPORATION OF SHEPHERDSTOWN     WV3301933    CWS         Surfacewater                 4,300
  WV     COTTAGEVILLE PSD                 WV3301804    CWS         Groundwater                  3,274
  WV     CRAIGSVILLE PSD                  WV3303402    CWS         Surfacewater                 4,711
  WV     DANESE PSD                       WV3301008    CWS         Groundwater                  2,210
  WV     DAVIS STUART INC                 WV3301303    CWS         Groundwater                    100
  WV     DAVIS WATER WORKS                WV3304701    CWS         Surfacewater                   884
  WV     DAVY MUNICIPAL WATER WORKS       WV3302425    CWS         Groundwater                    552
  WV     DEERFIELD VILLAGE SUBDIVISION    WV3301979    CWS         Groundwater under              132
                                                                   influence of
                                                                   surfacewater
 WV    ELKINS CITY OF                     WV3304203    CWS         Surfacewater                 8,544
 WV    FAIRMONT CITY OF                   WV3302502    CWS         Surfacewater                30,586
 WV    FAIRVIEW TOWN OF                   WV3302503    CWS         Groundwater under              979
                                                                   influence of
                                                                   surfacewater
 WV    FLATWOODS CANOE RUN PSD            WV3300402    CWS         Surfacewater                 4,344
 WV    FOLLANSBEE HOOVERSON HEIGHTS       WV3300512    CWS         Surfacewater                 4,970
 WV    FOLLANSBEE MUNICIPAL               WV3300506    CWS         Groundwater                  2,628
 WV    FORT GAY WATER WORKS               WV3305004    CWS         Surfacewater                 1,685
 WV    FOUNTAIN PSD                       WV3302942    CWS         Groundwater                  1,001
 WV    FOUNTAIN PSD BURLINGTON            WV3302949    CWS         Groundwater                    793
 WV    FRANKFORT PSD                      WV3302928    CWS         Surfacewater                 6,747
 WV    FRANKFORT PSD WILEY FORD           WV3302926    CWS         Groundwater                  1,062
 WV    G AND E MHP                        WV3300201    CWS         Groundwater                    235
 WV    GARY CITY OF                       WV3302420    CWS         Groundwater                  1,633
 WV    GLEN DALE WATER WORKS              WV3302605    CWS         Groundwater                  2,495
 WV    GRANDVIEW - DOOLIN PSD             WV3305206    CWS         Groundwater                  1,942
 WV    GRANTSVILLE MUNICIPAL              WV3300701    CWS         Surfacewater                   571
 WV    GREENBRIER COUNTY PSD 2            WV3301302    CWS         Groundwater                  1,164
 WV    GREENBRIER HOTEL CORPORATION       WV3301305    CWS         Groundwater                  3,280
 WV    HAMRICK PSD                        WV3304704    CWS         Surfacewater                 1,621
 WV    HARDY COUNTY PSD BAKER             WV3301613    CWS         Surfacewater                   150
 WV    HARMAN TOWN OF                     WV3304204    CWS         Groundwater under              528
                                                                   influence of
                                                                   surfacewater
 WV    HARTFORD TOWN OF                   WV3302704    CWS         Groundwater purchased          745



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Primacy                PWS Name                PWSID       PWS Type      Primary Source   Population
Agency                                                                                      Served
 [State]
  WV       HILLSBORO TOWN OF                 WV3303815    CWS         Groundwater                  262
  WV       HUGHES RIVER WATER                WV3304307    CWS         Surfacewater                   1
  WV       HUNDRED LITTLETON PSD             WV3305202    CWS         Groundwater                  638
  WV       HURRICANE CITY OF                 WV3304005    CWS         Surfacewater               9,075
  WV       HUTTONSVILLE PSD                  WV3304211    CWS         Surfacewater               4,758
  WV       JUDY LYNN MHP                     WV3300204    CWS         Groundwater                   53
  WV       KANAWHA FALLS PSD                 WV3301037    CWS         Surfacewater               2,273
  WV       KENOVA MUNICIPAL WATER            WV3305009    CWS         Surfacewater               9,991
  WV       KERMIT WATER WORKS                WV3303003    CWS         Surfacewater               1,441
  WV       KEYSER CITY OF                    WV3302915    CWS         Surfacewater               5,202
  WV       KINGWOOD WATER BOARD              WV3303908    CWS         Surfacewater               6,652
  WV       LEIGHTS MHP                       WV3301920    CWS         Groundwater                   78
  WV       LEWISBURG                         WV3301307    CWS         Surfacewater              10,057
  WV       LINCOLN PSD                       WV3302205    CWS         Surfacewater               3,814
  WV       LOGAN CO PSD-GREENVILLE SYSTEM    WV3302357    CWS         Surfacewater               4,652
  WV       LOGAN COUNTY PSD - NORTHERN       WV3302364    CWS         Surfacewater              16,949
           REGIONAL
  WV       LOGAN WATER BOARD CITY OF         WV3302331    CWS         Surfacewater               3,535
  WV       LUBECK PSD                        WV3305404    CWS         Groundwater               10,377
  WV       MARLINTON TOWN OF                 WV3303803    CWS         Surfacewater               1,362
  WV       MARSHALL COUNTY PSD 2             WV3302607    CWS         Groundwater                1,601
  WV       MARTINSBURG CITY OF               WV3300212    CWS         Groundwater under         16,250
                                                                      influence of
                                                                      surfacewater
  WV       MASON CO PSD-CRAB CREEK           WV3302714    CWS         Groundwater                2,183
  WV       MASON CO PSD-LETART               WV3302713    CWS         Groundwater                3,182
  WV       MASON WATER DEPT                  WV3302708    CWS         Groundwater                1,651
  WV       MATEWAN WATER WORKS               WV3303005    CWS         Surfacewater               2,069
  WV       MCDOWELL COUNTY PSD BARTLEY       WV3302434    CWS         Groundwater under          2,242
                                                                      influence of
                                                                      surfacewater
  WV       MCMECHEN MUNICIPAL WATER          WV3302610    CWS         Groundwater                2,212
  WV       MEADOW BRIDGE TOWN OF             WV3301022    CWS         Groundwater                  551
  WV       MIDDLEBOURNE WATER WORKS          WV3304802    CWS         Surfacewater               1,267
  WV       MILTON WATER                      WV3300609    CWS         Surfacewater               5,520
  WV       MINGO COUNTY PSD - NAUGATUCK      WV3303029    CWS         Surfacewater               6,348
  WV       MOOREFIELD MUNICIPAL WATER        WV3301601    CWS         Surfacewater               2,328
  WV       MORGANTOWN UTILITY BOARD          WV3303111    CWS         Surfacewater              64,644
  WV       MOUNDSVILLE                       WV3302611    CWS         Groundwater                9,911
  WV       MOUNTAIN VIEW WATER SYSTEM        WV3302946    CWS         Groundwater                  132
  WV       NEW CUMBERLAND, CITY OF           WV3301515    CWS         Groundwater                1,326
  WV       NEW HAVEN WATER DEPT              WV3302709    CWS         Groundwater                1,610
  WV       NEW MARTINSVILLE                  WV3305203    CWS         Groundwater                5,272
  WV       NEWELL COMPANY                    WV3301516    CWS         Groundwater                1,377
  WV       NORTON HARDING JIMTOWN PSD        WV3304213    CWS         Groundwater                1,632



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Agency                                                                                       Served
 [State]
  WV     OAK HILL MOBILE HOME COMMUNITY   WV3301949    CWS         Groundwater                    172
         LLC
  WV     OAKLAND PSD                      WV3301517    CWS         Groundwater                  1,846
  WV     OCEANA COMMUNITY OF              WV3305516    CWS         Surfacewater                 3,796
  WV     PADEN CITY, CITY OF              WV3305204    CWS         Groundwater                  2,985
  WV     PARKERSBURG UTILITY BOARD        WV3305407    CWS         Groundwater                 34,251
  WV     PAW PAW WATER WORKS              WV3303308    CWS         Surfacewater                   488
  WV     PENDLETON CO PSD(BRANDYWINE)     WV3303613    CWS         Surfacewater                   692
  WV     PENDLETON CO PSD-CIRCLEVILLE     WV3303609    CWS         Groundwater                     75
  WV     PENDLETON CO PSD-UPPER TRACT     WV3303611    CWS         Groundwater under              695
                                                                   influence of
                                                                   surfacewater
 WV    PENDLETON COUNTY PSD RIVERTON      WV3303614    CWS         Groundwater                    188
 WV    PETERSBURG TOWN OF                 WV3301204    CWS         Surfacewater                 2,841
 WV    PHILIPPI CITY OF                   WV3300104    CWS         Surfacewater                 3,500
 WV    PIEDMONT MUNICIPAL WTR WKS         WV3302921    CWS         Surfacewater                   847
 WV    PINE GROVE WATER                   WV3305205    CWS         Surfacewater                   593
 WV    POCAHONTAS CO PSD - CHEAT          WV3303808    CWS         Surfacewater                 1,867
       MOUNTAIN WATER
 WV    POINT PLEASANT WATER WORKS         WV3302710    CWS         Groundwater                  5,290
 WV    POTOMAC FARMS WATER CO             WV3301947    CWS         Groundwater                     65
 WV    PRESTON COUNTY PSD 1               WV3303912    CWS         Surfacewater                 3,457
 WV    PRESTON COUNTY PSD 4               WV3303923    CWS         Groundwater                  8,721
 WV    PUTNAM P S D                       WV3304011    CWS         Surfacewater                22,859
 WV    RAINELLE WATER DEPT                WV3301309    CWS         Groundwater                  1,381
 WV    RAINELLE WATER TREATMENT PLANT 2   WV3301312    CWS         Groundwater                    290

 WV    RAVENSWOOD MUNICIPAL WATER      WV3301810       CWS         Groundwater                  5,047
       WORKS
 WV    RIPLEY CITY OF                  WV3301811       CWS         Surfacewater                 5,414
 WV    ROCKY GLEN MANUFACTURED HOUSING WV3300231       CWS         Groundwater                    861
       COMMUNIT
 WV    RUSSELLS MHP                    WV3301929       CWS         Groundwater                     75
 WV    SAINT MARYS                     WV3303704       CWS         Groundwater                  2,711
 WV    SHINNSTON CITY OF               WV3301721       CWS         Surfacewater                 4,959
 WV    SISTERSVILLE MUNICIPAL WATER    WV3304803       CWS         Groundwater purchased        1,892

 WV    SKY LINE VILLAGE MHP               WV3303310    CWS         Groundwater                    120
 WV    SPENCER WATER DEPT                 WV3304405    CWS         Surfacewater                 4,393
 WV    SPRINGER RUN PARK LLC              WV3300243    CWS         Groundwater                    150
 WV    ST ALBANS WATER                    WV3302031    CWS         Surfacewater                13,696
 WV    STONERISE BERKELEY SPRINGS - UPPER WV3303313    CWS         Groundwater                    140
 WV    SUGAR CREEK PSD                    WV3300404    CWS         Surfacewater                 1,417
 WV    TAYLOR COUNTY PSD                  WV3304605    CWS         Surfacewater                 1,292
 WV    TERRA ALTA WATER WORKS             WV3303917    CWS         Groundwater under            1,856
                                                                   influence of
                                                                   surfacewater


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Agency                                                                                                        Served
 [State]
  WV     THE MOUNTAIN WATER SYSTEM                    WV3301963     CWS            Groundwater                     976
  WV     THOMAS CITY OF                               WV3304709     CWS            Surfacewater                    753
  WV     TIMBERLINE-CV PSD                            WV3304711     CWS            Groundwater under               577
                                                                                   influence of
                                                                                   surfacewater
 WV     TYLER COUNTY PSD                              WV3304801     CWS            Groundwater                   2,146
 WV     UNION WILLIAMS P S D                          WV3305410     CWS            Groundwater                   7,252
 WV     VALLEY WATER AND SEWER-                       WV3300230     CWS            Groundwater                     219
        DEERWOOD
 WV     VIENNA                                        WV3305411     CWS            Groundwater                  12,507
 WV     WALNUT GROVE UTILITIES                        WV3301942     CWS            Groundwater under             7,250
                                                                                   influence of
                                                                                   surfacewater
 WV     WALTON PSD                                    WV3304407     CWS            Surfacewater                  1,986
 WV     WAR WATER WORKS CITY REALTY                   WV3302472     CWS            Groundwater                     942
 WV     WAYNE WATER TOWN OF                           WV3305007     CWS            Surfacewater                  5,732
 WV     WEIRTON AREA WATER BOARD                      WV3300516     CWS            Surfacewater                 22,694
 WV     WELCH CITY OF                                 WV3302421     CWS            Groundwater                   2,907
 WV     WELLSBURG, CITY OF                            WV3300517     CWS            Groundwater                   3,468
 WV     WEST HAMLIN, CITY OF                          WV3302203     CWS            Surfacewater                  2,353
 WV     WHEELING WATER                                WV3303516     CWS            Surfacewater                 29,899
 WV     WILDERNESS PSD                                WV3303405     CWS            Surfacewater                  4,475
 WV     WILLIAMSON UTILITY BOARD                      WV3303009     CWS            Surfacewater                  3,100
 WV     WILLIAMSTOWN WATER DEPT                       WV3305412     CWS            Groundwater                   3,363
 WV     WOODS HOA, THE                                WV3300223     CWS            Groundwater                   1,550
 WV     WVAW - WESTON                                 WV3302104     CWS            Surfacewater                 12,105
 WV     WVAW - WEBSTER SPRINGS                        WV3305104     CWS            Surfacewater purchased        1,952

 WV     WVAW- GASSAWAY                                WV3300406     CWS            Surfacewater                  2,002
 WV     WVAWC - HUNTINGTON DIST                       WV3300608     CWS            Surfacewater                 84,004
 WV     WVAWC BLUEFIELD DISTRICT                      WV3302835     CWS            Surfacewater                 12,174
 WV     WVAWC-KANAWHA VALLEY DIST                     WV3302016     CWS            Surfacewater                200,679
 WY     EVANSVILLE, TOWN OF                           WY5600018     CWS            Surfacewater                  2,728
 WY     FAIRWAY ESTATES                               WY5600918     CWS            Groundwater                     135
 WY     GUERNSEY, TOWN OF                             WY5600023     CWS            Groundwater                   1,157
 WY     JACKSON, TOWN OF                              WY5600213     CWS            Groundwater                   9,800
 WY     LANDER, CITY OF                               WY5600176     CWS            Surfacewater                  7,500
 WY     TORRINGTON MUNICIPAL WATER DEPT,              WY5600164     CWS            Groundwater                   6,639
        CITY OF
 WY     WHEATLAND, TOWN OF                            WY5600187     CWS            Groundwater                   3,659
 WY     WORLAND UTILITIES COMMISSION                  WY5600197     CWS            Groundwater                   5,487
In accordance with the Settlement Agreement, the Parties agree that Exhibits E and F represent a good-faith effort to
list all Phase One and Phase Two Eligible Claimants, respectively, and to state the number of people served by each
Eligible Claimant. These Exhibits include Eligible Claimants that are affiliated or associated with, or acting in
conjunction with or on behalf of, Public Water Systems within the Settlement Class and have asserted Claims
relating to Drinking Water, and therefore would be Releasing Parties under the Settlement.


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                                                                           Amended by Agreement (07/02/2023)
                                              AMENDED EXHIBIT F
                                            Phase Two Eligible Claimants
Primacy                  PWS Name                        PWSID     PWS Type       Primary Source        Population
Agency                                                                                                    Served
 [State]
    1    Mashantucket Pequot Water System             10106001    CWS          Groundwater under            37,807
                                                                               influence of
                                                                               surfacewater
   1     Mohegan Tribal Utility Authority             10109005    CWS          Surfacewater purchased       37,860

   2     CATTARAUGUS CWS                              20000008    CWS          Surfacewater                  4,999
   2     SAINT REGIS MOHAWK TRIBE                     20000005    CWS          Surfacewater                  5,500
   4     CHEROKEE WATER SYSTEM                        43740039    CWS          Surfacewater                 18,415
   4     CHOCTAW - PEARL RIVER                        42800003    CWS          Groundwater                  13,055
   4     POARCH CREEK UTILITIES - WEST                40000002    CWS          Groundwater                   5,900
   4     SEMINOLE - BRIGHTON RESERVATION              41200001    CWS          Groundwater under             6,538
                                                                               influence of
                                                                               surfacewater
   4     SEMINOLE UTILITIES IMMOKALEE                 41200004    CWS          Groundwater                   5,221
   5     EAST BAY WATER WORKS                         55293603    CWS          Groundwater                   7,284
   5     HANNAHVILLE COMMUNITY                        55293611    CWS          Groundwater                   4,382
   5     KESHENA                                      55295508    CWS          Groundwater                   3,960
   5     LITTLE RIVER TRIBAL WATER SYSTEM             55293702    CWS          Groundwater                   3,921
   5     LOWER SIOUX                                  55294503    CWS          Groundwater                   3,885
   5     MT. PLEASANT                                 55293201    CWS          Groundwater                  10,198
   5     ONEIDA #1 OR SITE #1                         55295703    CWS          Groundwater                   3,715
   5     PRAIRIE ISLAND                               55294502    CWS          Groundwater                   5,728
   5     SAGANING                                     50593203    NTNCWS       Surfacewater purchased        4,653

   5     SOUTH WATER TREATMENT PLANT                  55294506    CWS          Groundwater                  24,959
         (SWTP)
   5     VINELAND                                     55294301    CWS          Groundwater                   4,220
   6     CHICKASAW WINSTAR                            62004336    CWS          Groundwater                   7,642
   6     ISLETA EASTSIDE                              63501109    CWS          Groundwater                   4,724
   6     ISLETA SHEA-WHIFF                            63503109    CWS          Groundwater                   3,689
   6     KICKAPOO TRADITIONAL TRIBE                   61620001    CWS          Surfacewater purchased        9,002

   6     LAGUNA VALLEY                                63503111    CWS          Surfacewater purchased        4,500

   6     LDC LAGUNA RT 66 CASINO                      63506111    NTNCWS       Groundwater                   8,658
   6     MESCALERO COMMUNITY                          63501233    CWS          Groundwater                   4,056
   6     MESCALERO INN OF THE MT. GODS                63506008    CWS          Groundwater                  14,542
   6     POJOAQUE SOUTH                               63501100    CWS          Groundwater                   3,644
   6     POTTAWATOMIE CO. RWD #3 (DALE                61020808    CWS          Groundwater                   4,770
         PLANT)




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Primacy             PWS Name                      PWSID      PWS Type      Primary Source        Population
Agency                                                                                             Served
 [State]
    6    QUAPAW DOWNSTREAM CASINO &             62005840    NTNCWS      Purchased groundwater         6,000
         RESORT                                                         under influence of
                                                                        surfacewater source

  6    SAN FELIPE BLACK MESA CASINO             63503115    CWS         Groundwater                   3,789
  6    SAN FELIPE PUEBLO                        63501160    CWS         Groundwater                   3,625
  6    SANDIA RESORT & CASINO                   63506114    NTNCWS      Groundwater                  15,000
  6    SANTA ANA WESTSIDE                       63503118    NTNCWS      Groundwater                  10,691
  6    SANTO DOMINGO PUEBLO                     63500120    CWS         Groundwater                   5,455
  6    TUNICA-BILOXI TRIBE OF LA                61800001    CWS         Groundwater purchased         8,103

  6    ZUNI PUEBLO                              63501124    CWS         Groundwater                  10,307
  7    SAC & FOX (MESKWAKI) IN IOWA             70000003    CWS         Groundwater                   4,765
  8    BELCOURT-TURTLE MTN RURAL WATER          83890023    CWS         Groundwater                  13,500
       SYSTEM
  8    FORT WASHAKIE                            85690003    CWS         Surfacewater                  3,520
  8    KYLE WATER SYSTEM                        84690474    CWS         Surfacewater purchased        6,526

  8    OGLALA RWS PIPELINE              84690480            CWS         Groundwater                   3,562
  8    PINE RIDGE WATER SYSTEM          84690475            CWS         Groundwater                   7,482
  8    ROSEBUD RURAL WATER SYSTEM       84690528            CWS         Groundwater                   5,500
  8    SICANGU MNI WICONI RURAL WATER   84690516            CWS         Surfacewater purchased        5,610
       SYSTEM
  8    SPIRIT LAKE WATER MANAGEMENT RWS 83890025            CWS         Groundwater                   4,400

  8    STANDING ROCK RURAL WATER SYSTEM 84690510            CWS         Surfacewater                  6,839

  8    TOWN OF BROWNING                         83090091    CWS         Surfacewater purchased        4,671

  8    URIAH HEEPS SPRING WATER SYSTEM          84990002    CWS         Groundwater                   3,550
  9    Ak Chin Village                          90400090    CWS         Surfacewater                 11,907
  9    Barona                                   90600119    NTNCWS      Groundwater                  11,560
  9    Casino Arizona                           90400708    NTNCWS      Groundwater purchased        10,603

  9    Casino Arizona Talking Stick (CATS)      90400703    NTNCWS      Groundwater                  25,785
  9    Chukchansi Gold Resort                   90605163    NTNCWS      Groundwater                   5,000
  9    Cocopah Casino                           90400673    NTNCWS      Groundwater                   5,420
  9    Colorado River Regional Water System     90400051    CWS         Groundwater                   9,277
  9    Colusa Southern System                   90605047    CWS         Groundwater                   3,474
  9    Fort McDowell Community                  90400088    CWS         Groundwater                   7,260
  9    Graton Resort and Casino                 90605174    NTNCWS      Groundwater                  10,127
  9    GRIC DPW Sacaton                         90400047    CWS         Groundwater                   5,307
  9    GRIC DPW Wild Horse Pass                 90400692    CWS         Groundwater                  22,795
  9    Hard Rock Fire Mountain Water System     90605172    NTNCWS      Groundwater                   9,500
  9    Hoopa Valley-Wide System                 90605126    CWS         Surfacewater                  3,500
  9    HUC Regional Water System                90400315    CWS         Groundwater                   6,500




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Primacy                   PWS Name                   PWSID      PWS Type      Primary Source        Population
Agency                                                                                                Served
 [State]
    9    Jackson Rancheria Casino & Hotel          90605109    NTNCWS      Surfacewater purchased        6,120

   9     Lone Butte Industrial                     90400345    NTNCWS      Groundwater                   3,360
   9     Morongo                                   90600142    CWS         Groundwater                  16,000
   9     Pala North                                90605153    CWS         Groundwater                  14,200
   9     Pauma                                     90605012    CWS         Groundwater                   5,700
   9     Pechanga                                  90605013    CWS         Surfacewater purchased       29,100

   9     Polacca                                   90400106    CWS         Groundwater                   4,108
   9     Quechan Utility                           90400089    CWS         Groundwater                   7,130
   9     Red Hawk Casino - Shingle Springs         90600058    CWS         Surfacewater purchased       11,268

   9     Rincon Northern                           90600147    CWS         Groundwater                   7,003
   9     Rolling Hills Casino                      90600052    NTNCWS      Groundwater                   4,782
   9     Santa Rosa Tachi Palace                   90605136    NTNCWS      Groundwater                   9,000
   9     SCUA Upper Seven Mile                     90400114    CWS         Groundwater                   8,478
   9     Sells Intertie                            90400042    CWS         Groundwater                   4,000
   9     Sycuan                                    90605024    CWS         Surfacewater purchased       12,350

   9     Table Mountain Rancheria                  90600154    CWS         Surfacewater                  8,675
   9     Talking Stick Resort                      90400707    NTNCWS      Groundwater purchased        12,087

   9     Thunder Valley Casino                     90605161    NTNCWS      Surfacewater purchased       18,007

   9     Viejas Community System                   90600158    CWS         Groundwater                   9,500
   9     WMATUA Miner Flat                         90400693    CWS         Surfacewater                 15,570
   9     Yavapai Apache - Cliff Castle             90400117    NTNCWS      Groundwater                   4,224
   9     Yocha Dehe Potable Water System           90605107    CWS         Groundwater                  12,800
  10     LUMMI TRIBAL WATER DISTRICT               105300002   CWS         Surfacewater purchased        3,750

  10     QUIL CEDA VILLAGE                         105300116   NTNCWS      Surfacewater purchased       30,000

  10     SPIRIT MOUNTAIN CASINO                    104121115   NTNCWS      Surfacewater                  7,800
  10     TULALIP BAY WATER DIST #1                 105300003   CWS         Surfacewater purchased        5,968

  10     WARM SPRINGS WATER TREATMENT              104101247   CWS         Surfacewater                  3,800
         PLANT
  AK     CITY AND BOROUGH OF JUNEAU                AK2110342   CWS         Surfacewater                 38,526
  AK     COLLEGE UTILITIES CORPORATION             AK2310900   CWS         Groundwater purchased        27,000

  AK     DOYON UTILITIES JBER - RICHARDSON         AK2212039   CWS         Surfacewater                 20,284
  AK     HOMER WATER SYSTEM                        AK2240456   CWS         Surfacewater                  6,008
  AK     KENAI WATER SYSTEM                        AK2240448   CWS         Groundwater                   5,950
  AK     KETCHIKAN PUBLIC UTILITIES                AK2120232   CWS         Surfacewater                  8,937
  AK     KODIAK WATER SYSTEM                       AK2250011   CWS         Surfacewater                  9,547
  AK     MOA MUNICIPALITY OF ANCHORAGE             AK2210906   CWS         Surfacewater                221,351
  AK     NOME JOINT UTILITY SYSTEM                 AK2340010   CWS         Groundwater                   3,920



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Primacy                 PWS Name                 PWSID      PWS Type      Primary Source        Population
Agency                                                                                            Served
 [State]
   AK      PALMER WATER SYSTEM                 AK2226020   CWS         Groundwater                   8,111
   AK      SEWARD                              AK2240757   CWS         Groundwater                   3,324
   AK      SITKA                               AK2130075   CWS         Surfacewater                  9,448
   AK      SKAGWAY                             AK2110601   CWS         Groundwater                   9,411
   AK      UNALASKA WATER SYSTEM               AK2260309   CWS         Surfacewater                  9,400
   AK      VALDEZ WATER SYSTEM - MAIN          AK2298103   CWS         Groundwater                   4,500
   AK      WASILLA WATER SYSTEM                AK2224646   CWS         Groundwater                  18,492
   AL      ABBEVILLE WATER WORKS & SEWER       AL0000657   CWS         Groundwater                   3,828
           BOARD
  AL       ALEXANDER CITY WATER DEPARTMENT     AL0001265   CWS         Surfacewater                 29,565

  AL       ALICEVILLE WATER & SEWER BOARD      AL0001102   CWS         Groundwater                   5,655
  AL       ANDALUSIA (UTILITIES BOARD OF)      AL0000356   CWS         Groundwater                  15,114
  AL       ANNISTON WATER WORKS & SEWER        AL0000133   CWS         Surfacewater                 56,646
           BOARD
  AL       ASBURY WATER SYSTEM                 AL0000935   CWS         Surfacewater purchased        3,906

  AL       ASHFORD WATER WORKS                 AL0000671   CWS         Groundwater                   3,768
  AL       ASHVILLE WATER AND SEWER            AL0001176   CWS         Groundwater                   4,107
  AL       ATTALLA WATER WORKS BOARD           AL0000572   CWS         Groundwater under             8,415
                                                                       influence of
                                                                       surfacewater
  AL       AUTAUGA CO WATER AUTHORITY          AL0000001   CWS         Groundwater                   7,710
  AL       BAKERHILL WATER AUTHORITY           AL0000079   CWS         Groundwater                   7,128
  AL       BAYOU LA BATRE UTILITIES            AL0000957   CWS         Groundwater                   8,100
  AL       BEAUREGARD WATER AUTHORITY          AL0000805   CWS         Groundwater                  12,270
  AL       BERRY WATER DEPARTMENT, TOWN OF     AL0000596   CWS         Surfacewater                  4,773

  AL       BESSEMER WATER SERVICE              AL0000737   CWS         Surfacewater purchased       86,091

  AL       BETHEL WATER SYSTEM                 AL0001149   CWS         Groundwater purchased         4,254

  AL       BEULAH UTILITIES DISTRICT           AL0000180   CWS         Surfacewater purchased       10,389

  AL       BLOUNTSVILLE UTILITIES BOARD    AL0000100       CWS         Groundwater                   4,266
  AL       BOLDO WATER & FIRE PROT.        AL0001322       CWS         Surfacewater purchased        4,788
           AUTHORITY
  AL       BRENT UTILITIES BOARD           AL0000091       CWS         Groundwater                   6,750
  AL       BREWTON WATER WORKS             AL0000555       CWS         Groundwater                   9,756
  AL       BRUNDIDGE WATER DEPARTMENT      AL0001110       CWS         Groundwater                   3,672
  AL       BUHL, ELROD & HOLMAN WATER      AL0001290       CWS         Groundwater                   3,648
           AUTHORITY
  AL       BUTLER COUNTY WATER AUTHORITY   AL0001507       CWS         Groundwater                  14,052
  AL       BUTLER WATER SYSTEM             AL0000232       CWS         Groundwater                   4,590
  AL       CALHOUN COUNTY WATER & FIRE PR  AL0000131       CWS         Surfacewater purchased       31,650
           AUTHORITY
  AL       CAMDEN WATER & SEWER DEPARTMENT AL0001374       CWS         Groundwater                   4,170




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Primacy              PWS Name               PWSID      PWS Type      Primary Source        Population
Agency                                                                                       Served
 [State]
   AL    CARROLLS CREEK WATER AUTHORITY   AL0001540   CWS         Surfacewater purchased       15,690

 AL    CEDAR BLUFF UTILITIES BOARD        AL0000187   CWS         Surfacewater purchased        4,200

 AL    CENTRAL TALLADEGA COUNTY WATER AL0001739       CWS         Groundwater                   3,393
       AUTHORITY
 AL    CENTREVILLE WATER & SEWER       AL0000092      CWS         Groundwater                   5,985
 AL    CHEROKEE COUNTY WATER AUTHORITY AL0000189      CWS         Groundwater                  11,013

 AL    CHILTON WATER AUTHORITY            AL0000234   CWS         Groundwater                  27,681
 AL    CHISHOLM HEIGHTS WATER & F P       AL0000777   CWS         Surfacewater purchased        4,743
       AUTHORITY
 AL    CITIZENS WATER SERVICE, INC.       AL0001293   CWS         Surfacewater purchased       11,670

 AL    CLEBURNE COUNTY WATER AUTHORITY AL0001761      CWS         Surfacewater purchased        7,380

 AL    CLEVELAND WATER WORKS              AL0000101   CWS         Surfacewater purchased        3,516

 AL    COALING WATER AUTHORITY            AL0001298   CWS         Surfacewater purchased        3,810

 AL    COFFEE COUNTY WATER AUTHORITY      AL0001789   CWS         Groundwater                   5,718
 AL    COKER WATER AUTHORITY              AL0001299   CWS         Groundwater                   4,845
 AL    COLLINSVILLE WATER WORKS           AL0000506   CWS         Surfacewater purchased        3,732

 AL    COLUMBIANA WATER WORKS             AL0001151   CWS         Groundwater                  11,664
 AL    COOK SPRINGS WATER AUTHORITY       AL0001434   CWS         Surfacewater purchased        4,440

 AL    CORDOVA WATER WORKS & GAS BOARD AL0001326      CWS         Surfacewater purchased        3,900

 AL    COTTONWOOD WATER WORKS             AL0000677   CWS         Groundwater                   3,570
 AL    COVINGTON COUNTY WATER             AL0000361   CWS         Groundwater                  13,224
       AUTHORITY
 AL    CULLMAN COUNTY WATER               AL0000394   CWS         Surfacewater purchased       54,294
       DEPARTMENT
 AL    CULLMAN WATER WORKS, CITY OF       AL0001786   CWS         Surfacewater purchased       38,454

 AL    CUMBERLAND MOUNTAIN WATER          AL0000717   CWS         Surfacewater purchased        5,724

 AL    CURRY WATER AUTHORITY              AL0001432   CWS         Surfacewater                 17,784
 AL    DADEVILLE WATER WORKS & SEWAGE     AL0001273   CWS         Surfacewater purchased        4,020
       BOARD
 AL    DALE COUNTY WATER AUTHORITY        AL0000415   CWS         Groundwater                   7,779
 AL    DALEVILLE WATER & SEWER BOARD      AL0000420   CWS         Groundwater                  10,014
 AL    DALLAS COUNTY WATER & SEWER        AL0000463   CWS         Groundwater                   4,152
       AUTHORITY
 AL    DAUPHIN ISLAND WATER & SEWER       AL0000971   CWS         Groundwater                   5,802
 AL    DEKALB-JACKSON WATER SUPPLY        AL0001796   CWS         Surfacewater                 15,531
       DISTRICT
 AL    DEMOPOLIS WATER WORKS AND SEWER    AL0000908   CWS         Groundwater                  10,530
       BOARD


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Primacy               PWS Name                  PWSID      PWS Type      Primary Source        Population
Agency                                                                                           Served
 [State]
   AL    DORA UTILITIES                       AL0001721   CWS         Surfacewater purchased        4,101

  AL    DOUBLE SPRINGS (TOWN OF) W&S          AL0001410   CWS         Surfacewater purchased        5,967
        BOARD
  AL    DOUGLAS WATER AUTHORITY               AL0000940   CWS         Groundwater                  16,632
  AL    EAST ALABAMA WATER & FIRE PRO         AL0000174   CWS         Surfacewater purchased       17,532
        DISTRICT
  AL    EAST CENTRAL BALDWIN COUNTY           AL0001770   CWS         Groundwater                   5,496
        WATER & FPA
  AL    EAST CULLMAN WATER SYSTEM             AL0000402   CWS         Surfacewater purchased       12,795

  AL    EAST LAUDERDALE COUNTY WATER          AL0001424   CWS         Groundwater purchased        10,296
        AUTHORITY
  AL    ECLECTIC WATER WORKS & SEWER          AL0000533   CWS         Groundwater purchased         4,953
        BOARD
  AL    ELBA WATER WORKS                      AL0000295   CWS         Groundwater                   5,361
  AL    ELMORE WATER & SEWER AUTHORITY        AL0000535   CWS         Surfacewater purchased       13,680

  AL    ENGLEWOOD-HULLS WATER SYSTEM,         AL0001301   CWS         Surfacewater purchased        6,162
        INC.
  AL    ENTERPRISE WATER WORKS                AL0000296   CWS         Groundwater                  48,000
  AL    EUFAULA WATER WORKS                   AL0000085   CWS         Groundwater                  17,958
  AL    EUTAW WATER DEPARTMENT                AL0000636   CWS         Groundwater                   4,764
  AL    EVERGREEN WATER WORKS                 AL0000338   CWS         Groundwater                   4,950
  AL    EXCEL WATER SYSTEM                    AL0001046   CWS         Groundwater                   3,600
  AL    FAYETTE CO. WATER COORD. & F. P. A.   AL0000594   CWS         Surfacewater purchased        4,341

  AL    FAYETTE WATER WORKS BOARD             AL0000597   CWS         Surfacewater                  8,142
  AL    FAYETTEVILLE WATER AUTHORITY          AL0001236   CWS         Groundwater                   5,661
  AL    FORDS VALLEY & HWY 278 WATER          AL0000575   CWS         Groundwater purchased         5,616

  AL    FORT PAYNE WATER WORKS BOARD          AL0000509   CWS         Surfacewater                 25,107
  AL    FOSTERS-RALPH WATER AUTHORITY         AL0001302   CWS         Surfacewater purchased       11,799

  AL    FRANKLIN COUNTY WATER SERVICES        AL0001500   CWS         Surfacewater                  4,866
        AUTHORITY
  AL    FREEMANVILLE WATER SYSTEM             AL0000561   CWS         Groundwater                   3,414
  AL    FRIENDSHIP WATER WORKS                AL0000537   CWS         Surfacewater purchased        4,335

  AL    FT MITCHELL WATER SYSTEM              AL0001137   CWS         Groundwater                  13,509
  AL    GENEVA WATER WORKS                    AL0000622   CWS         Groundwater                   8,700
  AL    GILBERTOWN (UTILITIES BOARD OF        AL0000237   CWS         Groundwater                   8,157
        TOWN OF)
  AL    GORDO WTR GAS & SEWER BOARD           AL0001105   CWS         Groundwater                   3,630
  AL    GRAYSVILLE WATER & SEWER BOARD        AL0000748   CWS         Surfacewater purchased        9,144

  AL    GREEN POND WATER SYSTEM               AL0000093   CWS         Groundwater                   8,631
  AL    GREENE COUNTY WATER AUTHORITY         AL0000643   CWS         Groundwater                   4,062




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Primacy               PWS Name                 PWSID      PWS Type      Primary Source        Population
Agency                                                                                          Served
 [State]
   AL    GREENHILL WATER & FIRE PRO          AL0001423   CWS         Surfacewater purchased        8,214
         AUTHORITY
   AL    GREENSBORO (UTILITIES BD OF THE     AL0000645   CWS         Groundwater                   4,500
         CITY OF)
   AL    GREENVILLE WATER WORKS              AL0000125   CWS         Groundwater                   9,290
   AL    GULF SHORES (UTILITIES BOARD CITY   AL0000038   CWS         Groundwater                  36,798
         OF)
   AL    HALE COUNTY WATER AUTHORITY         AL0001509   CWS         Groundwater                   9,540
   AL    HALEYVILLE WATER WORKS & SEWER      AL0001411   CWS         Surfacewater purchased       11,817
         BOARD
   AL    HAMILTON WATER AND WASTEWATER       AL0000926   CWS         Surfacewater                 10,500
         DEPARTMENT
   AL    HANCEVILLE (THE WWSB OF THE CITY    AL0000406   CWS         Groundwater                   6,042
         OF)
   AL    HARTFORD WATER WORKS                AL0000624   CWS         Groundwater                   4,323
   AL    HARTSELLE UTILITY BOARD             AL0001086   CWS         Surfacewater purchased       22,146

  AL    HEADLAND WATER WORKS                 AL0000664   CWS         Groundwater                   5,700
  AL    HEFLIN WATER WORKS                   AL0000279   CWS         Surfacewater                  4,287
  AL    HENRY COUNTY WATER AUTHORITY         AL0000663   CWS         Groundwater                  10,902
  AL    HIGHLAND WATER AUTHORITY             AL0000580   CWS         Surfacewater purchased        3,906

  AL    HOKES BLUFF WATER BOARD              AL0000581   CWS         Groundwater                   5,310
  AL    HOLTVILLE WATER SYSTEM               AL0000540   CWS         Surfacewater purchased        8,697

  AL    HOUSTON COUNTY WATER AUTHORITY       AL0001755   CWS         Groundwater                   4,377

  AL    HUGULEY WATER AUTHORITY              AL0000177   CWS         Surfacewater purchased        6,795

  AL    JACKSON COUNTY WATER AUTHORITY       AL0001748   CWS         Surfacewater purchased        7,635

  AL    JACKSONS GAP WATER AUTHORITY         AL0001279   CWS         Surfacewater purchased        6,813

  AL    JASPER WATER WORKS AND SEWER         AL0001336   CWS         Surfacewater                 28,638
        BOARD
  AL    JEMISON WATER WORKS                  AL0000219   CWS         Groundwater purchased         4,110

  AL    JOHNSONS CROSSING WATER SYSTEM       AL0000408   CWS         Surfacewater purchased        3,444

  AL    JOPPA, HULACO & RYAN WATER           AL0000409   CWS         Surfacewater purchased        4,866
        AUTHORITY
  AL    KUSHLA WATER DISTRICT                AL0000993   CWS         Groundwater                   6,294
  AL    LAFAYETTE WATER WORKS                AL0000178   CWS         Surfacewater                  4,047
  AL    LANETT WATER WORKS                   AL0000179   CWS         Surfacewater purchased        7,152

  AL    LEMOYNE WATER SYSTEM, INC.           AL0000994   CWS         Groundwater                   3,825
  AL    LEVEL PLAINS WATER SYSTEM            AL0000436   CWS         Groundwater                   3,819
  AL    LINDEN UTILITIES BOARD               AL0000914   CWS         Groundwater                   5,103
  AL    LINEVILLE WATER WORKS BOARD          AL0000268   CWS         Surfacewater purchased        3,420



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Primacy               PWS Name              PWSID      PWS Type      Primary Source        Population
Agency                                                                                       Served
 [State]
   AL    LITTLEVILLE WATERWORKS           AL0000320   CWS         Surfacewater purchased        3,576

 AL    LIVINGSTON WATER WORKS             AL0001220   CWS         Groundwater                   4,680
 AL    LOWNDES COUNTY WATER SYSTEM        AL0001512   CWS         Groundwater                   3,675
 AL    LUVERNE WATER & SEWER              AL0000390   CWS         Groundwater                   3,900
       DEPARTMENT
 AL    MACON COUNTY WATER AUTHORITY       AL0000867   CWS         Surfacewater purchased        6,951

 AL    MADISON COUNTY WATER               AL0000888   CWS         Surfacewater purchased       97,800
       DEPARTMENT
 AL    MARBURY WATER SYSTEM, INC.         AL0000013   CWS         Surfacewater purchased        8,670

 AL    MARGARET WATER WORKS               AL0001199   CWS         Surfacewater purchased        5,688

 AL    MARION COUNTY PUBLIC WATER         AL0001716   CWS         Surfacewater purchased        3,609
       AUTHORITY
 AL    MARION WATER DEPARTMENT            AL0001097   CWS         Groundwater                   4,188
 AL    MCCALL WATER SYSTEM INC            AL0000566   CWS         Groundwater                   8,400
 AL    MILLBROOK UTILITIES                AL0000539   CWS         Surfacewater purchased        5,181

 AL    MITCHELL WATER SYSTEM INC          AL0001306   CWS         Surfacewater purchased        8,679

 AL    MOBILE COUNTY WATER & FIRE PRO     AL0001002   CWS         Groundwater                  39,573
       AUTHORITY
 AL    MONROEVILLE (WATER WORKS BD. OF    AL0001052   CWS         Groundwater                   9,885
       CITY OF)
 AL    MULGA WATER WORKS AND GAS          AL0000755   CWS         Surfacewater purchased        6,201
       DEPARTMENT
 AL    MYRTLEWOOD WATER SYSTEM            AL0001506   CWS         Groundwater                   4,095
 AL    NE MORGAN CO WATER AND SEWER       AL0001088   CWS         Surfacewater purchased       25,227
       AUTHORITY
 AL    NEW HOPE WATER SYSTEM              AL0000893   CWS         Surfacewater purchased        5,931

 AL    NEW LONDON WATER & FIRE PRO        AL0001437   CWS         Groundwater                   6,477
       AUTHORITY
 AL    NORTH CHOCTAW WATER & SEWER        AL0000243   CWS         Groundwater                   3,552
       AUTHORITY
 AL    NORTH DALLAS WATER AUTHORITY       AL0000482   CWS         Groundwater                   8,838
 AL    NORTH MARSHALL UTILITIES           AL0000945   CWS         Surfacewater                 11,850
 AL    NORTHEAST ETOWAH COUNTY WATER      AL0000587   CWS         Surfacewater purchased        4,239
       CO-OP
 AL    NORTHPORT WATER WORKS              AL0001307   CWS         Surfacewater                 40,551
 AL    OAKMAN WATER WORKS                 AL0001343   CWS         Surfacewater purchased        3,570

 AL    OLD LINE WATER SYSTEM              AL0000257   CWS         Groundwater                   5,145
 AL    ORANGE BEACH WATER, SEWER AND      AL0000053   CWS         Groundwater                  17,796
       F.P.A.
 AL    OZARK UTILITIES BOARD              AL0000441   CWS         Groundwater                  19,965
 AL    PARRISH WATER WORKS BOARD          AL0001344   CWS         Surfacewater purchased        5,868




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Primacy               PWS Name                 PWSID      PWS Type      Primary Source        Population
Agency                                                                                          Served
 [State]
   AL    PERDIDO BAY WATER, SEWER & FPA      AL0001490   CWS         Groundwater                  10,824
   AL    PHIL CAMPBELL WATER WORKS           AL0000606   CWS         Surfacewater purchased        7,260

  AL    PICKENS COUNTY WATER & F. P.         AL0001106   CWS         Groundwater                  14,364
        AUTHORITY
  AL    PIEDMONT UTILITIES BOARD             AL0000164   CWS         Surfacewater                  8,073
  AL    PIKE COUNTY WATER AUTHORITY          AL0001120   CWS         Groundwater                  12,021
  AL    PINE BLUFF WATER AUTHORITY           AL0000104   CWS         Surfacewater purchased        6,255

  AL    PINTLALA WATER SYSTEM, INC.          AL0001073   CWS         Surfacewater purchased        5,343

  AL    PRICHARD WATER WORKS BOARD           AL0001015   CWS         Surfacewater purchased       29,253

  AL    QUINT-MAR WATER AUTHORITY            AL0001508   CWS         Groundwater                   8,358
  AL    RANDOLPH COUNTY WATER & SEWER        AL0001537   CWS         Surfacewater purchased        9,948
        AUTHORITY
  AL    RED BAY WATER & GAS BOARD            AL0000607   CWS         Groundwater under             6,048
                                                                     influence of
                                                                     surfacewater
  AL    RIVERSIDE (TOWN OF)                  AL0001209   CWS         Groundwater                   3,750
  AL    ROANOKE (THE UTIL. BD. OF THE CITY   AL0001127   CWS         Surfacewater                  7,371
        OF)
  AL    ROBERTSDALE (CITY OF)                AL0000061   CWS         Groundwater                  10,905
  AL    ROCKFORD UTILITIES BOARD, INC        AL0000353   CWS         Surfacewater purchased        3,663

  AL    RUSSELL COUNTY WATER AUTHORITY       AL0001145   CWS         Surfacewater purchased       16,800

  AL    RUSSELLVILLE WATER WORKS             AL0000610   CWS         Surfacewater                 16,650
  AL    SAMSON WATER WORKS                   AL0000628   CWS         Groundwater                   4,125
  AL    SARDIS CITY WATER BOARD              AL0000947   CWS         Surfacewater purchased        5,088

  AL    SELMA WATER WORKS & SEWER BOARD AL0000490        CWS         Groundwater                  21,834

  AL    SLOCOMB WATER WORKS AND SEWER     AL0000629      CWS         Groundwater                   3,600
        BOARD
  AL    SNEAD WATER WORKS                 AL0000108      CWS         Groundwater                   5,958
  AL    SOUTH BULLOCK COUNTY WATER        AL0000117      CWS         Groundwater                   8,601
        AUTHORITY
  AL    SOUTH CRENSHAW COUNTY WATER       AL0000397      CWS         Groundwater                   5,490
        AUTHORITY
  AL    SOUTH DALLAS WATER AUTHORITY      AL0000500      CWS         Groundwater                   3,504
  AL    SOUTH MARENGO CO WATER & FIRE PRO AL0001439      CWS         Surfacewater purchased        5,262
        AUTH
  AL    SOUTHWEST ALABAMA WATER           AL0001426      CWS         Groundwater                   5,196
        AUTHORITY
  AL    SPANISH FORT WATER SYSTEM         AL0000068      CWS         Surfacewater purchased        9,264

  AL    SPRING VALLEY WATER AUTHORITY        AL0000329   CWS         Surfacewater purchased        5,328




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Primacy                PWS Name             PWSID      PWS Type      Primary Source        Population
Agency                                                                                       Served
 [State]
   AL    ST. ELMO-IRVINGTON WATER         AL0001031   CWS         Groundwater                  20,304
         AUTHORITY
   AL    STEWARTVILLE WATER AUTHORITY     AL0000354   CWS         Groundwater                   4,890
   AL    SUMITON WATER WORKS BOARD        AL0001351   CWS         Surfacewater purchased        5,994

 AL    SUMTER COUNTY WATER AUTHORITY      AL0001222   CWS         Groundwater                  10,983
 AL    TALLASSEE WATER WORKS              AL0000548   CWS         Surfacewater                  7,410
 AL    TAYLOR WATER SYSTEM                AL0000702   CWS         Groundwater                   9,339
 AL    THORSBY WATER WORKS BOARD          AL0000229   CWS         Groundwater                   3,465
 AL    TRIANA WATER WORKS                 AL0000905   CWS         Surfacewater purchased        5,634

 AL    TROY UTILITIES (CITY OF)           AL0001124   CWS         Groundwater                  21,864
 AL    TURNERVILLE WATER & FIRE PRO       AL0001510   CWS         Groundwater                   5,505
       DISTRICT
 AL    TUSCALOOSA WATER & SEWER           AL0001313   CWS         Surfacewater                142,383
 AL    UNION SPRINGS UTIL BOARD           AL0000118   CWS         Groundwater                   3,945
 AL    UNIONTOWN WATER WORKS & SEWER      AL0001100   CWS         Groundwater                   3,441
       BOARD
 AL    URIAH WATER SYSTEM INC.            AL0001056   CWS         Groundwater                   3,420
 AL    VERNON WATER AND SEWER BOARD       AL0000773   CWS         Surfacewater purchased        9,801

 AL    WALL STREET WATER AUTHORITY        AL0001288   CWS         Surfacewater purchased        5,868

 AL    WALNUT HILL WATER AUTHORITY        AL0001289   CWS         Surfacewater purchased       13,092

 AL    WATTSVILLE WATER AUTHORITY         AL0001216   CWS         Groundwater                   5,511
 AL    WEST AUTAUGA WATER AUTHORITY       AL0001750   CWS         Groundwater                   4,755
 AL    WEST BLOCTON WATER WORKS           AL0000097   CWS         Groundwater                   4,140
 AL    WEST DALLAS CO WATER AUTHORITY     AL0000491   CWS         Groundwater                   3,747
 AL    WEST ETOWAH WATER & FIRE PRO       AL0000582   CWS         Purchased groundwater         6,765
       AUTHORITY                                                  under influence of
                                                                  surfacewater source

 AL    WEST LAUDERDALE CO WATER & FPA     AL0000794   CWS         Surfacewater purchased       15,009

 AL    WETUMPKA WATER WORKS & SEWER       AL0000551   CWS         Surfacewater purchased        9,930
       BOARD
 AL    WHITE HOUSE WATER SYSTEM, INC.     AL0000076   CWS         Groundwater                   6,852
 AL    WILCOX COUNTY WATER AUTHORITY      AL0001371   CWS         Surfacewater purchased        6,144

 AL    WINFIELD WATER WORKS & SEWER       AL0000930   CWS         Surfacewater                  8,631
       BOARD
 AL    YORK WATER SYSTEM/CITY OF YORK     AL0001223   CWS         Groundwater                   3,435
 AR    ALMA WATERWORKS                    AR0000144   CWS         Surfacewater                  5,978
 AR    ARKADELPHIA WATERWORKS             AR0000085   CWS         Surfacewater                 11,495
 AR    ASHDOWN WATERWORKS                 AR0000320   CWS         Groundwater                   4,261
 AR    ATKINS WATER SYSTEM                AR0000441   CWS         Surfacewater                  4,439




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Primacy              PWS Name               PWSID      PWS Type      Primary Source        Population
Agency                                                                                       Served
 [State]
   AR    BARLING WATERWORKS               AR0000512   CWS         Surfacewater purchased        5,110

 AR    BARTON LEXA WATER ASSOCIATION      AR0000415   CWS         Groundwater                   3,900
 AR    BATESVILLE WATER UTILITIES         AR0000250   CWS         Surfacewater                 10,177
 AR    BEAVERFORK PWA                     AR0000844   CWS         Surfacewater purchased        3,458

 AR    BEE BRANCH WATER                   AR0000462   CWS         Surfacewater purchased        3,345

 AR    BEEBE WATERWORKS                   AR0000592   CWS         Surfacewater purchased        8,999

 AR    BELLA VISTA POA                    AR0000039   CWS         Surfacewater purchased       36,670

 AR    BENTON CO WATER                    AR0000037   CWS         Surfacewater purchased        5,743

 AR    BENTON WATERWORKS                  AR0000484   CWS         Surfacewater                 30,681
 AR    BENTONVILLE WATER UTILITIES        AR0000041   CWS         Surfacewater purchased       47,195

 AR    BERRYVILLE WATERWORKS              AR0000074   CWS         Surfacewater purchased        6,365

 AR    BLYTHEVILLE WATERWORKS             AR0000365   CWS         Groundwater                  16,293
 AR    BOONEVILLE WATERWORKS              AR0000326   CWS         Surfacewater                  3,818
 AR    BRINKLEY WATERWORKS                AR0000384   CWS         Groundwater                   3,700
 AR    BROOKLAND WATERWORKS               AR0000131   CWS         Groundwater                   3,770
 AR    BRYANT WATERWORKS                  AR0000486   CWS         Surfacewater purchased       19,607

 AR    BUFFALO ISLAND REG WATER DIST      AR0000671   CWS         Surfacewater purchased        3,748

 AR    CAMDEN WATERWORKS                  AR0000404   CWS         Surfacewater                 13,275
 AR    CAVE SPRINGS WATERWORKS            AR0000043   CWS         Surfacewater purchased        4,802

 AR    CEDARVILLE WATERWORKS              AR0000138   CWS         Surfacewater purchased        8,423

 AR    CENTER GROVE WATER ASSOCIATION     AR0000213   CWS         Groundwater                   4,377
 AR    CENTERTON WATERWORKS               AR0000044   CWS         Surfacewater purchased       22,227

 AR    CENTRAL ARKANSAS WATER             AR0000465   CWS         Surfacewater                330,667
 AR    CHEROKEE VILLAGE WATER ASSOC       AR0000521   CWS         Groundwater purchased         4,717

 AR    CITY CORPORATION                   AR0000446   CWS         Surfacewater                 29,260
 AR    CLARKSVILLE CONNECTED UTILITIES    AR0000289   CWS         Surfacewater                  9,410
 AR    CLAY CO REG WATER DISTRICT         AR0000722   CWS         Groundwater                   5,633
 AR    CLINTON WATERWORKS                 AR0000564   CWS         Surfacewater                  5,733
 AR    COMMUNITY WATER SYSTEM             AR0000101   CWS         Surfacewater                 17,412
 AR    CONWAY CO REGIONAL WATER DIST      AR0000119   CWS         Surfacewater                 18,973
 AR    CONWAY WATER SYSTEM                AR0000189   CWS         Surfacewater                 64,960
 AR    CORNING WATERWORKS                 AR0000096   CWS         Groundwater purchased         3,519

 AR    CROSS COUNTY RURAL WATER SYS       AR0000459   CWS         Groundwater                   9,176



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Primacy                 PWS Name                 PWSID      PWS Type      Primary Source        Population
Agency                                                                                            Served
 [State]
   AR      CROSSETT WATER COMMISSION           AR0000017   CWS         Groundwater                   7,900
   AR      CROWLEYS RIDGE WATER ASSOC          AR0000180   CWS         Groundwater                   3,695
   AR      DARDANELLE WATERWORKS               AR0000601   CWS         Groundwater                   4,228
   AR      DEQUEEN WATER WORK                  AR0000520   CWS         Surfacewater                  7,420
   AR      DES ARC WATERWORKS                  AR0000449   CWS         Groundwater                   3,478
   AR      DUMAS WATERWORKS                    AR0000171   CWS         Groundwater                   6,338
   AR      EAST END WATER                      AR0000646   CWS         Groundwater                   5,954
   AR      EAST JOHNSON CO WATER ASSN          AR0000772   CWS         Surfacewater purchased        4,828

  AR       EL DORADO WATERWORKS                AR0000550   CWS         Groundwater                  17,932
  AR       ELKINS WATERWORKS                   AR0000567   CWS         Surfacewater purchased        3,473

  AR       EUREKA SPRINGS WATERWORKS           AR0000075   CWS         Surfacewater purchased        4,053

  AR       FAYETTEVILLE WATERWORKS             AR0000569   CWS         Surfacewater purchased      210,306

  AR       FLIPPIN WATERWORKS                  AR0000351   CWS         Surfacewater purchased        3,627

  AR       FORDYCE WATER CO                    AR0000164   CWS         Groundwater                   4,500
  AR       FORREST CITY WATERWORKS             AR0000004   CWS         Groundwater                  15,425
  AR       FORT SMITH WATER UTILITIES          AR0000507   CWS         Surfacewater                 86,209
  AR       FOUR MILE HILL PUBLIC FACILITIES    AR0000586   CWS         Surfacewater purchased        4,625
           BOARD
  AR       GENTRY WATERWORKS                   AR0000048   CWS         Surfacewater purchased        6,702

  AR       GRAND PRAIRIE BAYOU 2 PWA           AR0000734   CWS         Surfacewater purchased       11,150

  AR       GRAND PRAIRIE REGIONAL WATER        AR0000738   CWS         Groundwater                  14,344
  AR       GRAVETTE WATERWORKS                 AR0000051   CWS         Surfacewater purchased        4,035

  AR       GREEN FOREST WATERWORKS             AR0000077   CWS         Surfacewater purchased        5,785

  AR       GREENBRIER WATERWORKS               AR0000191   CWS         Surfacewater purchased        8,166

  AR       GREENWOOD WATERWORKS                AR0000504   CWS         Surfacewater                  8,952
  AR       HAMBURG WATERWORKS                  AR0000015   CWS         Groundwater                   5,357
  AR       HARDIN WATER ASSOCIATION            AR0000273   CWS         Groundwater purchased         4,600

  AR       HARRISON WATERWORKS                 AR0000062   CWS         Surfacewater purchased       17,838

  AR       HASKELL WATER SYSTEM                AR0000488   CWS         Surfacewater purchased        3,990

  AR       HEBER SPRINGS WATER SYSTEM          AR0000104   CWS         Surfacewater                 13,465
  AR       HELENA WATER SEWER                  AR0000419   CWS         Groundwater                   5,500
  AR       HIGHFILL WATER DEPARTMENT           AR0000885   CWS         Surfacewater purchased        3,438

  AR       HOLIDAY ISLAND WATERWORKS           AR0000078   CWS         Groundwater                   3,936
  AR       HOPE WATER LIGHT COMM               AR0000230   CWS         Surfacewater                 11,500



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Primacy             PWS Name                 PWSID      PWS Type      Primary Source        Population
Agency                                                                                        Served
 [State]
   AR    HORSEHEAD WATER ASSOCIATION       AR0000617   CWS         Surfacewater purchased        5,059

 AR    HOT SPRING CO WATER ASSOC           AR0000236   CWS         Surfacewater purchased        3,528

 AR    HOT SPRINGS UTILITIES               AR0000209   CWS         Surfacewater                 88,909
 AR    HOT SPRINGS VILLAGE WATERWORKS      AR0000208   CWS         Surfacewater                 14,106
 AR    HWY 63 WATER ASSOCIATION            AR0000107   CWS         Groundwater                   7,187
 AR    HWY 71 WATER DISTRICT #1 PWA        AR0000145   CWS         Surfacewater purchased        6,250

 AR    JACKSONVILLE WATERWORKS             AR0000466   CWS         Surfacewater purchased       30,481

 AR    JAMES FORK REGIONAL WATER           AR0000513   CWS         Surfacewater                 11,380
       DISTRICT
 AR    JONESBORO WATER SYSTEM              AR0000124   CWS         Groundwater                  79,864
 AR    KIMZEY REGIONAL WATER DISTRICT      AR0000821   CWS         Surfacewater                 11,669
 AR    LAKEVIEW-MIDWAY PUBLIC WATER        AR0000027   CWS         Surfacewater purchased        7,302
       AUTHORITY
 AR    LAVACA WATERWORKS                   AR0000510   CWS         Surfacewater purchased        3,650

 AR    LAWRENCE CO REG WATER DIST          AR0000688   CWS         Surfacewater purchased        7,469

 AR    LEE COUNTY WATER ASSOCIATION        AR0000313   CWS         Groundwater purchased         4,813

 AR    LIBERTY UTILITIES                   AR0000272   CWS         Groundwater                  48,038
 AR    LINCOLN WATERWORKS                  AR0000572   CWS         Surfacewater purchased        6,503

 AR    LITTLE RIVER CO RDA                 AR0000787   CWS         Surfacewater                  4,279
 AR    LONOKE WATERWORKS                   AR0000343   CWS         Groundwater                   4,167
 AR    MADISON CO WATER FACILITIES BD      AR0000349   CWS         Surfacewater purchased       10,750

 AR    MAGNOLIA WATERWORKS                 AR0000109   CWS         Surfacewater                 11,355
 AR    MALVERN WATERWORKS                  AR0000237   CWS         Surfacewater                  9,690
 AR    MANILA WATERWORKS                   AR0000378   CWS         Groundwater                   3,348
 AR    MARION WATERWORKS                   AR0000152   CWS         Groundwater                  25,359
 AR    MAYFLOWER WATERWORKS                AR0000193   CWS         Surfacewater purchased        7,578

 AR    MC GEHEE WATERWORKS                 AR0000170   CWS         Groundwater                   4,219
 AR    MELBOURNE WATERWORKS                AR0000256   CWS         Groundwater                   3,600
 AR    MENA WATER DEPARTMENT               AR0000438   CWS         Surfacewater                  7,777
 AR    MID-ARKANSAS UTILITIES P.W.A        AR0000725   CWS         Surfacewater purchased       11,148

 AR    MILLTOWN-WASHBURN WATER USERS       AR0000773   CWS         Surfacewater purchased        3,837

 AR    MONTICELLO WATER DEPARTMENT         AR0000184   CWS         Groundwater                   9,467
 AR    MOUNT OLIVE WATER ASSOCIATION       AR0000668   CWS         Surfacewater purchased        6,195

 AR    MOUNTAIN HOME WATERWORKS            AR0000025   CWS         Surfacewater                 19,245
 AR    MOUNTAIN TOP WATER ASSOCIATION      AR0000454   CWS         Surfacewater purchased        8,838



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Primacy              PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                        Served
 [State]
   AR    MOUNTAIN VIEW WATERWORKS          AR0000542   CWS         Surfacewater                  6,349
   AR    N GARLAND CO REG WATER DIST       AR0000867   CWS         Surfacewater                  6,859
   AR    NASHVILLE RURAL WATER AUTHORITY   AR0000805   CWS         Surfacewater purchased        7,291

 AR    NASHVILLE WATERWORKS                AR0000244   CWS         Surfacewater                  5,094
 AR    NE YELL COUNTY WATER ASSOC          AR0000697   CWS         Surfacewater purchased        6,125

 AR    NEWPORT WATERWORKS                  AR0000264   CWS         Groundwater                   6,468
 AR    NORTH EAST PUBLIC WATER AUTH        AR0000033   CWS         Surfacewater purchased        4,011

 AR    NORTH WHITE CO RURAL WATER PFB      AR0000583   CWS         Surfacewater purchased        5,215

 AR    OSCEOLA WATERWORKS                  AR0000375   CWS         Groundwater                   6,053
 AR    OZARK WATERWORKS                    AR0000201   CWS         Surfacewater                  4,368
 AR    PARAGOULD LIGHT WATER & CABLE       AR0000222   CWS         Groundwater                  27,396
 AR    PARIS WATERWORKS                    AR0000328   CWS         Surfacewater                  4,935
 AR    PEA RIDGE WATERWORKS                AR0000053   CWS         Surfacewater purchased        7,273

 AR    PIGGOTT WATERWORKS                  AR0000090   CWS         Groundwater                   3,635
 AR    POCAHONTAS WATERWORKS               AR0000474   CWS         Surfacewater                  7,752
 AR    POTTSVILLE WATER ASSOCIATION        AR0000445   CWS         Surfacewater purchased        4,108

 AR    PRAIRIE GROVE WATERWORKS            AR0000573   CWS         Surfacewater                  8,398
 AR    PRESCOTT WATERWORKS                 AR0000394   CWS         Surfacewater                  4,525
 AR    RIVERSOUTH RURAL WATER DIST         AR0000674   CWS         Surfacewater purchased        4,275

 AR    ROCK MOORE WATER AUTHORITY          AR0000252   CWS         Groundwater                   3,442
 AR    ROGERS WATER UTILITIES              AR0000055   CWS         Surfacewater purchased       70,878

 AR    SALEM WATER USERS LLC               AR0000492   CWS         Surfacewater purchased       16,737

 AR    SARDIS WATER ASSOCIATION            AR0000493   CWS         Surfacewater purchased       13,752

 AR    SE WHITE COUNTY WATER ASSOC         AR0000594   CWS         Surfacewater purchased        4,992

 AR    SEARCY WATERWORKS                   AR0000590   CWS         Surfacewater                 25,918
 AR    SEVIER CO WATER ASSOCIATION         AR0000868   CWS         Surfacewater                  4,767
 AR    SHANNON HILLS WATER DEPT            AR0000800   CWS         Surfacewater purchased        3,832

 AR    SHERIDAN WATERWORKS                 AR0000215   CWS         Groundwater                   4,605
 AR    SILOAM SPRINGS WATERWORKS           AR0000056   CWS         Surfacewater                 17,148
 AR    SOUTH SHERIDAN WATER ASSOC          AR0000219   CWS         Groundwater                   3,887
 AR    SOUTHSIDE PUB WATER AUTHORITY       AR0000254   CWS         Surfacewater                  9,108
 AR    SOUTHWEST WATER USERS LLC           AR0000495   CWS         Surfacewater purchased        9,185

 AR    SPRINGDALE WATER UTILITIES          AR0000575   CWS         Surfacewater purchased       94,560

 AR    STUTTGART WATERWORKS                AR0000013   CWS         Groundwater                   9,085



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Primacy              PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                        Served
 [State]
   AR    SW BOONE COUNTY WATER ASSOC       AR0000628   CWS         Surfacewater purchased        4,183

 AR    SW WHITE COUNTY WATER ASSN          AR0000185   CWS         Surfacewater purchased       10,917

 AR    TEXARKANA WATER UTILITIES           AR0000360   CWS         Surfacewater                 67,267
 AR    TONTITOWN WATERWORKS                AR0000566   CWS         Surfacewater purchased        5,840

 AR    TRUMANN WATERWORKS                  AR0000435   CWS         Groundwater                   7,142
 AR    TUMBLING SHOALS WATER ASSOC         AR0000579   CWS         Surfacewater purchased        4,890

 AR    VAN BUREN WATERWORKS                AR0000142   CWS         Surfacewater purchased       22,725

 AR    VILONIA WATERWORKS                  AR0000195   CWS         Surfacewater purchased       22,730

 AR    WALNUT RIDGE WATERWORKS             AR0000309   CWS         Surfacewater purchased        5,234

 AR    WARD WATERWORKS                     AR0000345   CWS         Surfacewater purchased       11,025

 AR    WARREN WATERWORKS              AR0000066        CWS         Groundwater                   6,228
 AR    WASHINGTON WATER AUTHORITY WWA AR0000574        CWS         Surfacewater purchased       18,212

 AR    WATSON CHAPEL WATER ASSOC           AR0000284   CWS         Groundwater                   6,807
 AR    WEST HELENA WATER WORKS             AR0000416   CWS         Groundwater                   5,693
 AR    WEST MEMPHIS WATERWORKS             AR0000156   CWS         Groundwater                  20,138
 AR    WEST STONE COUNTY WATER ASSN        AR0000735   CWS         Surfacewater purchased        5,188

 AR    WESTERN GREENE COUNTY R W D         AR0000704   CWS         Groundwater                   7,342
 AR    WOOSTER WATERWORKS                  AR0000196   CWS         Surfacewater purchased        5,000

 AR    WYNNE WATERWORKS                    AR0000163   CWS         Groundwater                   7,652
 AR    YORKTOWN WATER ASSOCIATION          AR0000319   CWS         Groundwater                   7,364
 AZ    APACHE JUNCTION WATER DISTRICT      AZ0411039   CWS         Surfacewater                 15,610
 AZ    ARIZONA WATER CO - APACHE           AZ0411004   CWS         Groundwater                  62,055
       JUNCTION
 AZ    ARIZONA WATER CO - BISBEE           AZ0402001   CWS         Groundwater                   8,670
 AZ    ARIZONA WATER CO - LAKESIDE         AZ0409003   CWS         Groundwater                  12,191
 AZ    ARIZONA WATER CO - MIAMI CLAYPOOL   AZ0404002   CWS         Groundwater                   8,639

 AZ    ARIZONA WATER CO - ORACLE           AZ0411019   CWS         Groundwater                   9,934
 AZ    ARIZONA WATER CO - OVERGAARD        AZ0409004   CWS         Groundwater                  13,797
 AZ    ARIZONA WATER CO - PINAL VALLEY     AZ0411009   CWS         Groundwater                 113,334
 AZ    ARIZONA WATER CO - PINETOP LAKES    AZ0409018   CWS         Groundwater                   3,488
 AZ    ARIZONA WATER CO - PINEWOOD         AZ0403002   CWS         Groundwater                   8,047
 AZ    ARIZONA WATER CO - RIMROCK          AZ0413046   CWS         Groundwater                   3,380
 AZ    ARIZONA WATER CO - SAN MANUEL       AZ0411020   CWS         Groundwater purchased         4,731

 AZ    ARIZONA WATER CO - SEDONA           AZ0403003   CWS         Groundwater                  12,104
 AZ    ARIZONA WATER CO - SIERRA VISTA     AZ0402004   CWS         Groundwater                   9,094



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Primacy              PWS Name                 PWSID      PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
   AZ    ARIZONA WATER CO - SUPERIOR        AZ0411021   CWS         Groundwater                   4,357
   AZ    ARIZONA WATER CO - WHITE TANKS     AZ0407128   CWS         Surfacewater purchased       18,858

  AZ    AVONDALE CITY OF                    AZ0407088   CWS         Surfacewater purchased       83,001

  AZ    AVRA WATER COOP INC                 AZ0410006   CWS         Groundwater                   8,272
  AZ    BEARDSLEY WATER COMPANY 1           AZ0407007   CWS         Groundwater                   4,953
  AZ    BELLA VISTA CITY WATER SYSTEM       AZ0402010   CWS         Groundwater                  20,045
  AZ    BENSON, CITY OF WATER SYSTEM        AZ0402005   CWS         Groundwater                   6,073
  AZ    BERMUDA WATER COMPANY INC           AZ0408063   CWS         Groundwater                  18,000
  AZ    BIG PARK WATER COMPANY              AZ0413012   CWS         Groundwater                   7,378
  AZ    BUCKEYE CITY OF                     AZ0407089   CWS         Groundwater                   7,008
  AZ    CAMP VERDE WATER SYSTEM             AZ0413015   CWS         Groundwater                   4,430
  AZ    CAREFREE WATER COMPANY              AZ0407015   CWS         Surfacewater purchased        3,607

  AZ    CAVE CREEK WATER                    AZ0407016   CWS         Surfacewater                  6,815
  AZ    CCA - ELOY COMPLEX                  AZ0411115   CWS         Groundwater                   8,852
  AZ    CHANDLER CITY OF                    AZ0407090   CWS         Surfacewater                247,328
  AZ    CITY OF BUCKEYE - VALENCIA TOWN     AZ0407078   CWS         Groundwater                  15,309
        DIVISION
  AZ    CITY OF BUCKEYE SONORA - SUNDANCE   AZ0407154   CWS         Groundwater                  15,783

  AZ    CITY OF BUCKEYE TARTESSO WATER   AZ0407526      CWS         Groundwater                   8,246
        SYSTEM
  AZ    CITY OF SHOW LOW                 AZ0409026      CWS         Groundwater                  17,139
  AZ    CITY OF WILLCOX                  AZ0402035      CWS         Groundwater                   3,757
  AZ    CLARKDALE MUNICIPAL WATER SYSTEM AZ0413024      CWS         Groundwater                   4,599

  AZ    COMMUNITY WC OF GREEN VALLEY        AZ0410004   CWS         Groundwater                  22,085
  AZ    CORDES LAKES WATER COMPANY          AZ0413023   CWS         Groundwater                   4,250
  AZ    COTTONWOOD MUNICIPAL WATER VV6      AZ0413106   CWS         Groundwater                   4,463

  AZ    DESERT HILLS WATER                  AZ0407026   CWS         Surfacewater purchased        4,415

  AZ    DESERT OASIS                       AZ0407523    CWS         Groundwater                  11,081
  AZ    DONEY PARK WATER                   AZ0403005    CWS         Groundwater                   8,938
  AZ    DOUGLAS CITY OF                    AZ0402014    CWS         Groundwater                  16,656
  AZ    EAGAR TOWN OF                      AZ0401004    CWS         Groundwater                   5,000
  AZ    EL MIRAGE CITY OF                  AZ0407091    CWS         Groundwater                  39,884
  AZ    ELOY CITY OF                       AZ0411030    CWS         Groundwater                   8,859
  AZ    EPCOR - AGUA FRIA                  AZ0407695    CWS         Surfacewater                 80,959
  AZ    EPCOR - ANTHEM                     AZ0407504    CWS         Surfacewater                 25,302
  AZ    EPCOR - CHAPARRAL CITY             AZ0407017    CWS         Surfacewater                 26,026
  AZ    EPCOR - LAKE HAVASU                AZ0408015    CWS         Groundwater                   4,877
  AZ    EPCOR - NORTH EAST AGUA FRIA       AZ0407531    CWS         Groundwater                  14,723
  AZ    EPCOR - PARADISE VALLEY/SCOTTSDALE AZ0407056    CWS         Surfacewater purchased       14,107



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Primacy                PWS Name                  PWSID      PWS Type      Primary Source   Population
Agency                                                                                       Served
 [State]
   AZ      EPCOR - SUN CITY                    AZ0407099   CWS         Groundwater               38,016
   AZ      EPCOR - SUN CITY WEST               AZ0407150   CWS         Groundwater               25,362
   AZ      EPCOR - TIERRA DEL RIO              AZ0407532   CWS         Groundwater                5,000
   AZ      EPCOR - WILLOW VALLEY/KING STREET   AZ0408040   CWS         Groundwater                3,554
   AZ      FARMERS WATER CO CONTINENTAL        AZ0410049   CWS         Groundwater                4,483
   AZ      FARMERS WATER CO SANTA RITA         AZ0410213   CWS         Groundwater                3,318
           SPRINGS
  AZ       FESTIVAL RANCH                      AZ0407765   CWS         Groundwater             10,313
  AZ       FLAGSTAFF CITY OF                   AZ0403008   CWS         Surfacewater            76,960
  AZ       FLORENCE WATER COMPANY              AZ0411017   CWS         Groundwater             15,900
  AZ       FLOWING WELLS IRRIGATION DISTRICT   AZ0410051   CWS         Groundwater             16,000
  AZ       FOOTHILLS WATER AND SEWER LLC       AZ0414004   CWS         Surfacewater            32,425
  AZ       GILBERT, TOWN OF                    AZ0407092   CWS         Surfacewater           247,600
  AZ       GLOBE CITY OF                       AZ0404008   CWS         Groundwater              7,536
  AZ       GOLDEN SHORES WATER COMPANY         AZ0408024   CWS         Groundwater              3,790
  AZ       GOLDEN VALLEY IMPROVEMENT           AZ0408081   CWS         Groundwater              3,950
           DISTRICT
  AZ       GRAHAM COUNTY UTILITIES - PIMA      AZ0405002   CWS         Groundwater                3,590
  AZ       GREEN VALLEY DWID                   AZ0410157   CWS         Groundwater                8,687
  AZ       GWR - SANTA CRUZ WATER CO. INC.     AZ0411131   CWS         Groundwater               50,995
  AZ       HOLBROOK CITY OF                    AZ0409015   CWS         Groundwater                5,318
  AZ       KACHINA VILLAGE DWID                AZ0403013   CWS         Groundwater                3,500
  AZ       KINGMAN MUNICIPAL WATER             AZ0408020   CWS         Groundwater               45,000
  AZ       LAGO DEL ORO WATER COMPANY          AZ0411117   CWS         Groundwater               17,588
  AZ       LAKE HAVASU CITY OF                 AZ0408022   CWS         Groundwater under         54,610
                                                                       influence of
                                                                       surfacewater
  AZ       LIBERTY WATER RIO RICO            AZ0412011     CWS         Groundwater               17,960
  AZ       MARANA MUNICIPAL - HARTMAN VISTAS AZ0410329     CWS         Groundwater                3,923

  AZ       MARANA MUNICIPAL - PICTURE ROCKS    AZ0410092   CWS         Groundwater                5,110
  AZ       METROPOLITAN DWID - DIABLO          AZ0410357   CWS         Groundwater                5,510
           VILLAGE
  AZ       METROPOLITAN DWID - HUB             AZ0410060   CWS         Groundwater               4,210
  AZ       MOHAVE                              AZ0408032   CWS         Groundwater              36,330
  AZ       MORENCI WATER ELEC CO MAIN          AZ0406003   CWS         Surfacewater              4,185
  AZ       NOGALES CITY OF                     AZ0412004   CWS         Groundwater              22,000
  AZ       NORTH MOHAVE VALLEY                 AZ0408068   CWS         Groundwater               5,190
  AZ       ORO VALLEY WATER COUNTRYSIDE        AZ0410175   CWS         Groundwater               5,167
  AZ       ORO VALLEY WATER UTILITY            AZ0410164   CWS         Groundwater              40,744
  AZ       PAGE CITY OF                        AZ0403017   CWS         Surfacewater              7,812
  AZ       PEORIA CITY OF                      AZ0407096   CWS         Surfacewater            135,975
  AZ       PHOENIX CITY OF                     AZ0407025   CWS         Surfacewater          1,695,000
  AZ       PHOENIX INTERNATIONAL RACEWAY       AZ0407406   NTNCWS      Groundwater               4,500
  AZ       PIMA UTILITIES                      AZ0407120   CWS         Groundwater              20,000
  AZ       PONDEROSA DWID                      AZ0409023   CWS         Groundwater               5,375


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Primacy                 PWS Name                 PWSID      PWS Type      Primary Source        Population
Agency                                                                                            Served
 [State]
   AZ      PUEBLO DEL SOL WATER COMPANY        AZ0402044   CWS         Groundwater                  12,804
   AZ      QUAIL CREEK WATER COMPANY           AZ0410262   CWS         Groundwater                   5,514
   AZ      QUEEN CREEK TOWN OF                 AZ0407033   CWS         Groundwater                  95,502
   AZ      RAY WATER COMPANY INC               AZ0410095   CWS         Groundwater                   4,900
   AZ      ROSE VALLEY WATER COMPANY           AZ0407065   CWS         Groundwater                   6,202
   AZ      SAHUARITA WATER COMPANY             AZ0410312   CWS         Groundwater                  18,178
   AZ      SAN LUIS CITY OF                    AZ0414005   CWS         Groundwater                  67,505
   AZ      SOMERTON CITY OF                    AZ0414015   CWS         Groundwater                  17,698
   AZ      ST JOHNS CITY OF                    AZ0401012   CWS         Groundwater                   3,800
   AZ      SUNRISE WATER COMPANY               AZ0407070   CWS         Groundwater                   6,475
   AZ      SURPRISE CITY OF - MOUNTAIN VISTA   AZ0407500   CWS         Groundwater                  31,649
   AZ      TOLLESON CITY OF                    AZ0407101   CWS         Groundwater                   6,680
   AZ      TUCSON WATER CORONA DE TUCSON       AZ0410169   CWS         Groundwater                  10,000
   AZ      VAIL WATER COMPANY                  AZ0410041   CWS         Groundwater                  15,535
   AZ      VALLEY PIONEERS WATER COMPANY       AZ0408038   CWS         Groundwater                   5,420
           INC
  AZ       VOYAGER WATER COMPANY               AZ0410035   CWS         Groundwater                   6,314
  AZ       WICKENBURG TOWN OF                  AZ0407045   CWS         Groundwater                   6,179
  AZ       WINSLOW CITY OF                     AZ0409035   CWS         Groundwater                   9,789
  AZ       YUMA CITY OF                        AZ0414024   CWS         Surfacewater                103,264
  CA       ALCO WATER SERVICE                  CA2710001   CWS         Groundwater                  30,103
  CA       AMERICAN CANYON, CITY OF            CA2810005   CWS         Surfacewater                 20,990
  CA       AMERICAN VALLEY CSD                 CA3210004   CWS         Groundwater                   4,300
  CA       ANGELS, CITY OF                     CA0510003   CWS         Surfacewater                  3,836
  CA       ARCATA, CITY OF                     CA1210001   CWS         Groundwater purchased        19,558

  CA       ARMONA COMMUNITY SERVICES DIST  CA1610001       CWS         Groundwater                   4,143
  CA       ARROWHEAD REGIONAL MEDICAL      CA3601135       NTNCWS      Groundwater purchased        23,787
           CENTER
  CA       ARROYO GRANDE, WATER DEPARTMENT CA4010001       CWS         Surfacewater purchased       17,963

  CA       ARVIN COMMUNITY SERVICES DIST       CA1510001   CWS         Groundwater                  19,895
  CA       AVENAL, CITY OF                     CA1610002   CWS         Surfacewater                 13,696
  CA       AWA BUCKHORN PLANT                  CA0310012   CWS         Surfacewater                  8,791
  CA       AWA, IONE                           CA0310002   CWS         Surfacewater                  7,220
  CA       AWA, TANNER                         CA0310003   CWS         Surfacewater                  4,940
  CA       BANNING, CITY OF                    CA3310006   CWS         Groundwater                  31,179
  CA       BASS LAKE WATER COMPANY             CA2010003   CWS         Surfacewater                  4,527
  CA       BEAR VALLEY CSD                     CA1510038   CWS         Groundwater                   5,592
  CA       BEAUMONT CHERRY VALLEY WD           CA3310002   CWS         Groundwater                  49,241
  CA       BELLA VISTA WATER DISTRICT          CA4510014   CWS         Surfacewater                 19,098
  CA       BIG BEAR CITY CSD                   CA3610008   CWS         Groundwater under            12,738
                                                                       influence of
                                                                       surfacewater
  CA       BIG BEAR LAKE DWP - BIG BEAR SYSTEM CA3610044   CWS         Groundwater                  28,276



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Primacy                PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                          Served
 [State]
   CA    BIGHORN - DESERT VIEW WATER         CA3610009   CWS         Groundwater                   3,689
         AGENCY
   CA    BISHOP, CITY OF                     CA1410001   CWS         Groundwater                   3,879
   CA    BLUE LAKE SPRINGS MUT WTR           CA0510009   CWS         Surfacewater purchased        4,793

 CA    BLYTHE - CITY OF                      CA3310003   CWS         Groundwater                  11,431
 CA    BORREGO WD                            CA3710036   CWS         Groundwater                   3,429
 CA    BRAWLEY, CITY OF                      CA1310001   CWS         Surfacewater purchased       26,928

 CA    BRENTWOOD                             CA0710004   CWS         Surfacewater purchased       64,342

 CA    BROOKTRAILS TOWNSHIP CSD              CA2310009   CWS         Surfacewater                  3,800
 CA    BUELLTON WATER DEPARTMENT             CA4210018   CWS         Surfacewater purchased        5,464

 CA    CABRILLO COLLEGE                      CA4400753   NTNCWS      Groundwater                  12,000
 CA    CAL AM - WEST PLACER                  CA3110150   CWS         Surfacewater purchased        5,082

 CA    CAL AMERICAN WATER CO                 CA5610040   CWS         Surfacewater purchased       66,369

 CA    CAL/AM WATER COMPANY - BALDWIN        CA1910052   CWS         Surfacewater purchased       20,634
       HILLS
 CA    CAL/AM WATER COMPANY - SAN            CA1910139   CWS         Surfacewater purchased       47,695
       MARINO
 CA    CAL-AM WATER COMPANY - EAST           CA1910020   CWS         Groundwater                   9,903
       PASADENA
 CA    CAL-AM WATER CORONADO                 CA3710001   CWS         Surfacewater purchased      106,000

 CA    CALAVERAS PUD                         CA0510002   CWS         Surfacewater                  6,286
 CA    CALEXICO, CITY OF                     CA1310002   CWS         Surfacewater purchased       40,357

 CA    CALICO GHOST TOWN                     CA3600036   NTNCWS      Groundwater                 103,972
 CA    CALIFORNIA CITY, CITY OF              CA1510032   CWS         Surfacewater purchased       14,198

 CA    CALIFORNIA WATER SERVICE - BEAR       CA4110006   CWS         Surfacewater                 60,903
       GULCH
 CA    CALIFORNIA WATER SERVICE - SAN        CA4110007   CWS         Surfacewater purchased       35,360
       CARLOS
 CA    CALIFORNIA WATER SERVICE - SAN        CA4110008   CWS         Surfacewater purchased      102,393
       MATEO
 CA    CALIFORNIA WATER SERVICE CO -         CA5610016   CWS         Surfacewater purchased       19,494
       WESTLAKE
 CA    CALIFORNIA WATER SERVICE CO. -        CA4810002   CWS         Groundwater                  10,613
       DIXON
 CA    CALIFORNIA WATER SERVICE CO. -        CA1910033   CWS         Surfacewater purchased      143,471
       DOMINGUEZ
 CA    CALIFORNIA WATER SERVICE CO. -        CA1910134   CWS         Surfacewater purchased       96,557
       HERM/REDO
 CA    CALIFORNIA WATER SERVICE CO. -        CA1910104   CWS         Surfacewater purchased       70,478
       PALOS VER
 CA    CALIFORNIA WATER SERVICE-S SAN        CA4110009   CWS         Surfacewater purchased       63,439
       FRANCISCO


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Primacy                PWS Name                 PWSID      PWS Type      Primary Source        Population
Agency                                                                                           Served
 [State]
   CA    CALISTOGA, CITY OF                   CA2810002   CWS         Surfacewater                  5,610
   CA    CAMARILLO WATER DEPT                 CA5610019   CWS         Surfacewater purchased       40,481

  CA    CAMBRIA COMM SERVICES DIST            CA4010014   CWS         Groundwater under             6,032
                                                                      influence of
                                                                      surfacewater
  CA    CARLSBAD MWD                          CA3710005   CWS         Surfacewater purchased       92,245

  CA    CARMICHAEL WATER DISTRICT             CA3410004   CWS         Groundwater under            41,193
                                                                      influence of
                                                                      surfacewater
  CA    CARPINTERIA VALLEY WATER DISTRICT CA4210001       CWS         Surfacewater purchased       15,996

  CA    CASITAS MUNICIPAL WATER DIST          CA5610024   CWS         Surfacewater                 11,005
  CA    CASTROVILLE COMMUNITY SERVICES        CA2710005   CWS         Groundwater                   6,897
        DISTRICT
  CA    CCWD - COPPER COVE                    CA0510017   CWS         Surfacewater                  5,187
  CA    CCWD - EBBETTS PASS                   CA0510016   CWS         Surfacewater                 11,545
  CA    CCWD - JENNY LIND                     CA0510006   CWS         Surfacewater                  9,861
  CA    CENTERVILLE C.S.D.                    CA4510011   CWS         Surfacewater purchased        4,211

  CA    CHANNEL ISLANDS BEACH CSD             CA5610039   CWS         Surfacewater purchased        5,400

  CA    CHINO HILLS, CITY OF                  CA3610036   CWS         Surfacewater purchased       82,661

  CA    CHOWCHILLA CITY WATER DEPT            CA2010001   CWS         Groundwater                  13,375
  CA    CITRUS HEIGHTS WATER DISTRICT         CA3410006   CWS         Surfacewater purchased       66,712

  CA    CITY OF ALHAMBRA                      CA1910001   CWS         Surfacewater purchased       83,750

  CA    CITY OF ATWATER                       CA2410001   CWS         Groundwater                  29,479
  CA    CITY OF BENICIA                       CA4810001   CWS         Surfacewater                 28,000
  CA    CITY OF BREA                          CA3010002   CWS         Surfacewater purchased       45,629

  CA    CITY OF BRISBANE                      CA4110002   CWS         Surfacewater purchased        3,385

  CA    CITY OF BURLINGAME                    CA4110003   CWS         Surfacewater purchased       31,056

  CA    CITY OF COLUSA                        CA0610002   CWS         Groundwater                   6,208
  CA    CITY OF CORNING                       CA5210001   CWS         Groundwater                   8,244
  CA    CITY OF CRESCENT CITY                 CA0810001   CWS         Groundwater                  16,711
  CA    CITY OF DAVIS                         CA5710001   CWS         Surfacewater purchased       71,698

  CA    CITY OF DIXON                         CA4810009   CWS         Groundwater                  11,055
  CA    CITY OF DOS PALOS                     CA2410002   CWS         Surfacewater                  7,452
  CA    CITY OF EAST PALO ALTO                CA4110024   CWS         Surfacewater purchased       29,519

  CA    CITY OF FOWLER                        CA1010006   CWS         Groundwater                   6,700
  CA    CITY OF GRASS VALLEY                  CA2910001   CWS         Surfacewater                  4,947



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Primacy                PWS Name                 PWSID      PWS Type      Primary Source        Population
Agency                                                                                           Served
 [State]
   CA    CITY OF GRIDLEY                      CA0410004   CWS         Groundwater                   7,246
   CA    CITY OF GUSTINE                      CA2410003   CWS         Groundwater                   5,855
   CA    CITY OF HAYWARD                      CA0110006   CWS         Surfacewater purchased      159,293

  CA    CITY OF JACKSON                       CA0310001   CWS         Surfacewater purchased        4,786

  CA    CITY OF LA HABRA                      CA3010018   CWS         Surfacewater purchased       63,118

  CA    CITY OF LA PALMA                      CA3010100   CWS         Surfacewater purchased       15,948

  CA    CITY OF LINCOLN                       CA3110004   CWS         Surfacewater purchased       51,252

  CA    CITY OF LIVE OAK                      CA5110001   CWS         Groundwater                   9,106
  CA    CITY OF LIVERMORE                     CA0110011   CWS         Surfacewater purchased       35,672

  CA    CITY OF LIVINGSTON                    CA2410004   CWS         Groundwater                  14,894
  CA    CITY OF LOS BANOS                     CA2410005   CWS         Groundwater                  44,391
  CA    CITY OF MADERA                        CA2010002   CWS         Groundwater                  66,172
  CA    CITY OF MARTINEZ                      CA0710006   CWS         Surfacewater purchased       30,085

  CA    CITY OF MILLBRAE                      CA4110018   CWS         Surfacewater purchased       22,795

  CA    CITY OF MILPITAS                      CA4310005   CWS         Surfacewater purchased       77,961

  CA    CITY OF MODESTO - SALIDA              CA5010005   CWS         Groundwater                  14,527
  CA    CITY OF MORGAN HILL                   CA4310006   CWS         Groundwater                  47,374
  CA    CITY OF MOUNTAIN VIEW                 CA4310007   CWS         Surfacewater purchased       81,764

  CA    CITY OF NEWMAN-WATER DEPARTMENT CA5010013         CWS         Groundwater                  11,784

  CA    CITY OF ORANGE COVE                   CA1010023   CWS         Surfacewater                  9,780
  CA    CITY OF ORLAND                        CA1110001   CWS         Groundwater                   8,527
  CA    CITY OF PALO ALTO                     CA4310009   CWS         Surfacewater purchased       69,397

  CA    CITY OF PARLIER                       CA1010025   CWS         Groundwater                  14,494
  CA    CITY OF PITTSBURG                     CA0710008   CWS         Surfacewater purchased       62,500

  CA    CITY OF RED BLUFF                     CA5210004   CWS         Groundwater                  14,076
  CA    CITY OF REDWOOD CITY                  CA4110022   CWS         Surfacewater purchased       89,037

  CA    CITY OF RIO VISTA                     CA4810004   CWS         Groundwater                  10,472
  CA    CITY OF SAN BRUNO                     CA4110023   CWS         Surfacewater purchased       46,085

  CA    CITY OF SAN CLEMENTE                  CA3010036   CWS         Surfacewater purchased       51,545

  CA    CITY OF SAN JOSE - NSJ/ALVISO         CA4310019   CWS         Surfacewater purchased       37,991

  CA    CITY OF SANGER                        CA1010029   CWS         Groundwater                  25,664




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Primacy               PWS Name                 PWSID      PWS Type      Primary Source        Population
Agency                                                                                          Served
 [State]
   CA    CITY OF SANTA CLARA                 CA4310012   CWS         Surfacewater purchased      130,746

 CA    CITY OF SANTA PAULA                   CA5610011   CWS         Groundwater                  30,657
 CA    CITY OF SEAL BEACH                    CA3010041   CWS         Surfacewater purchased       24,204

 CA    CITY OF SHASTA LAKE                   CA4510006   CWS         Surfacewater                 10,657
 CA    CITY OF SOUTH PASADENA                CA1910154   CWS         Surfacewater purchased       25,329

 CA    CITY OF SUNNYVALE                     CA4310014   CWS         Surfacewater purchased      155,567

 CA    CITY OF SUSANVILLE                    CA1810001   CWS         Groundwater                   7,811
 CA    CITY OF VACAVILLE                     CA4810008   CWS         Surfacewater                 98,742
 CA    CITY OF VALLEJO                       CA4810007   CWS         Surfacewater                126,090
 CA    CITY OF WATERFORD                     CA5010006   CWS         Groundwater                   8,788
 CA    CITY OF WEST SACRAMENTO               CA5710003   CWS         Surfacewater                 53,355
 CA    CITY OF WHEATLAND                     CA5810004   CWS         Groundwater                   3,712
 CA    CITY OF WILLIAMS                      CA0610004   CWS         Groundwater                   5,255
 CA    CITY OF WINTERS                       CA5710005   CWS         Groundwater                   7,115
 CA    CITY OF WOODLAND                      CA5710006   CWS         Surfacewater purchased       60,978

 CA    CITY OF YUBA CITY                     CA5110002   CWS         Surfacewater                 71,922
 CA    CLEAR CREEK CSD-ANDERSON              CA4510016   CWS         Surfacewater                  8,900
 CA    CLOVERDALE, CITY OF                   CA4910002   CWS         Groundwater under            10,537
                                                                     influence of
                                                                     surfacewater
 CA    COACHELLA VWD: I.D. NO. 8             CA3310048   CWS         Groundwater                   4,600
 CA    COACHELLA WATER AUTHORITY             CA3310007   CWS         Groundwater                  45,727
 CA    COALINGA-CITY                         CA1010004   CWS         Surfacewater                 17,277
 CA    COASTSIDE COUNTY WATER DISTRICT       CA4110011   CWS         Surfacewater                 18,789
 CA    COBB AREA COUNTY WATER DISTRICT       CA1710012   CWS         Groundwater                   3,308
 CA    CONTRA COSTA WATER DISTRICT           CA0710003   CWS         Surfacewater                198,000
 CA    CORCORAN, CITY OF                     CA1610004   CWS         Groundwater                  21,835
 CA    CORDOVA GOLF COURSE                   CA3400286   NTNCWS      Groundwater                   6,040
 CA    COTATI, CITY OF                       CA4910016   CWS         Groundwater                   7,429
 CA    COTTONWOOD WATER DISTRICT             CA4510007   CWS         Groundwater                   3,316
 CA    COVINA-CITY, WATER DEPT.              CA1910127   CWS         Surfacewater purchased       33,300

 CA    CRESCENTA VALLEY CWD                  CA1910028   CWS         Surfacewater purchased       32,665

 CA    CRESTLINE VILLAGE CWD - DIVISION 10   CA3610015   CWS         Surfacewater purchased       10,030

 CA    CUTLER PUD                            CA5410001   CWS         Groundwater                   6,200
 CA    CWS - SELMA                           CA1010024   CWS         Groundwater                  26,248
 CA    CWSC KING CITY                        CA2710009   CWS         Groundwater                  15,904
 CA    CWSC LOS ALTOS SUBURBAN               CA4310001   CWS         Surfacewater purchased       70,175

 CA    CWSC SALINAS                          CA2710010   CWS         Groundwater                 112,953



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Agency                                                                                         Served
 [State]
   CA    CWSC SALINAS HILLS                 CA2710012   CWS         Groundwater                   5,285
   CA    DEL MAR, CITY OF                   CA3710004   CWS         Surfacewater purchased        4,258

  CA    DEL ORO WATER CO.-PARADISE PINES    CA0410011   CWS         Groundwater                  10,808
  CA    DEL PASO MANOR COUNTY WATER DI      CA3410007   CWS         Groundwater                   4,520
  CA    DELANO, CITY OF                     CA1510005   CWS         Groundwater                  51,428
  CA    DELHI CWD                           CA2410006   CWS         Groundwater                   7,784
  CA    DENAIR COMMUNITY SERVICES           CA5010021   CWS         Groundwater                   5,282
        DISTRICT
  CA    DIABLO WATER DISTRICT               CA0710007   CWS         Surfacewater purchased       43,357

  CA    DINUBA, CITY OF                    CA5410002    CWS         Groundwater                  26,731
  CA    DUBLIN SAN RAMON SERVICES DISTRICT CA0110009    CWS         Surfacewater purchased       94,053

  CA    EARLIMART PUD                       CA5410021   CWS         Groundwater                   8,800
  CA    EAST NILES CSD                      CA1510006   CWS         Surfacewater purchased       32,517

  CA    EL CENTRO, CITY OF                  CA1310004   CWS         Surfacewater purchased       44,322

  CA    EL DORADO ID - MAIN                 CA0910001   CWS         Surfacewater                130,687
  CA    EL SEGUNDO-CITY, WATER DEPT.        CA1910040   CWS         Surfacewater purchased       16,719

  CA    EL TORO WATER DISTRICT              CA3010079   CWS         Surfacewater purchased       58,821

  CA    ESCALON, CITY OF                    CA3910003   CWS         Groundwater                   7,501
  CA    ESCONDIDO, CITY OF                  CA3710006   CWS         Surfacewater                137,941
  CA    ESTERO MUNICIPAL IMPROVEMENT        CA4110021   CWS         Surfacewater purchased       37,687
        DISTRICT
  CA    EUREKA, CITY OF                     CA1210004   CWS         Groundwater purchased        27,078

  CA    EXETER, CITY OF                     CA5410003   CWS         Groundwater                  11,169
  CA    FAIR OAKS WATER DISTRICT            CA3410009   CWS         Surfacewater purchased       35,475

  CA    FARM MUTUAL W.C. (THE)              CA3310046   CWS         Surfacewater purchased        4,026

  CA    FARMERSVILLE, CITY OF               CA5410004   CWS         Groundwater                  10,397
  CA    FILLMORE WATER DEPT                 CA5610002   CWS         Groundwater                  16,419
  CA    FIREBAUGH CITY                      CA1010005   CWS         Groundwater                   7,619
  CA    FOLSOM, CITY OF - ASHLAND           CA3410030   CWS         Surfacewater purchased        3,538

  CA    FOLSOM, CITY OF - MAIN              CA3410014   CWS         Surfacewater                 68,122
  CA    FORESTHILL PUBLIC UTILITY DIST      CA3110003   CWS         Surfacewater                  6,700
  CA    FORT BRAGG, CITY OF                 CA2310001   CWS         Surfacewater                  7,302
  CA    FORTUNA, CITY OF                    CA1210006   CWS         Groundwater                  12,133
  CA    GALT, CITY OF                       CA3410011   CWS         Groundwater                  26,536
  CA    GEORGETOWN DIVIDE PUD               CA0910013   CWS         Surfacewater                  9,112
  CA    GLEN HELEN WATER SYSTEM             CA3600108   CWS         Groundwater                  83,574
  CA    GOLDEN HILLS CSD                    CA1510045   CWS         Groundwater                   9,735


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Primacy               PWS Name                 PWSID      PWS Type      Primary Source        Population
Agency                                                                                          Served
 [State]
   CA    GOLDEN STATE WATER CO - APPLE VLY   CA3610107   CWS         Groundwater                   6,180
         SOUTH
   CA    GOLDEN STATE WATER CO - BARSTOW     CA3610043   CWS         Groundwater                  32,869
   CA    GOLDEN STATE WATER CO -             CA3610047   CWS         Groundwater                   4,151
         WRIGHTWOOD
   CA    GOLDEN STATE WATER CO.-CLEARLAKE    CA1710002   CWS         Surfacewater                  4,713
         SYSTEM
   CA    GOLDEN STATE WATER COMPANY - LOS    CA4010017   CWS         Groundwater                   5,938
         OSOS
   CA    GOLDEN STATE WATER COMPANY -        CA4010018   CWS         Groundwater                   4,540
         NIPOMO
   CA    GOLDEN STATE WATER COMPANY -        CA4210016   CWS         Surfacewater purchased       33,733
         ORCUTT
   CA    GOLDEN STATE WATER COMPANY - SIMI   CA5610059   CWS         Surfacewater purchased       44,950
         VALLEY
   CA    GONZALES, CITY OF                   CA2710007   CWS         Groundwater                   8,549
   CA    GREAT OAKS WC INC                   CA4310022   CWS         Groundwater                 107,983
   CA    GREENFIELD COUNTY WD                CA1510024   CWS         Groundwater                  11,411
   CA    GREENFIELD, CITY OF                 CA2710008   CWS         Groundwater                  17,517
   CA    GROVELAND COMMUNITY SERV DIST       CA5510009   CWS         Surfacewater                  3,400
   CA    GROVER BEACH WATER DEPARTMENT       CA4010004   CWS         Surfacewater                 12,701
   CA    GSWC - CALIPATRIA                   CA1310003   CWS         Surfacewater purchased        7,412

 CA    GSWC - CULVER CITY                    CA1910030   CWS         Surfacewater purchased       37,894

 CA    GSWC - FLORENCE/GRAHAM                CA1910077   CWS         Surfacewater purchased       62,941

 CA    GSWC - SOUTHWEST                      CA1910155   CWS         Surfacewater purchased      275,051

 CA    GSWC-SAN DIMAS                        CA1910142   CWS         Surfacewater purchased       56,336

 CA    GUADALUPE WATER DEPARTMENT            CA4210003   CWS         Surfacewater purchased        8,293

 CA    HANFORD, CITY OF                      CA1610003   CWS         Groundwater                  62,127
 CA    HEALDSBURG, CITY OF                   CA4910005   CWS         Groundwater under            11,174
                                                                     influence of
                                                                     surfacewater
 CA    HEBER PUBLIC UTILITY DISTRICT         CA1310007   CWS         Surfacewater purchased        6,979

 CA    HELENDALE COMMUNITY SERVICE           CA3610112   CWS         Groundwater                   6,050
       DISTRICT
 CA    HELIX WATER DISTRICT                  CA3710010   CWS         Surfacewater                276,918
 CA    HEMET, CITY OF                        CA3310016   CWS         Groundwater                  32,600
 CA    HESPERIA WD                           CA3610024   CWS         Groundwater                  97,846
 CA    HI DESERT WD                          CA3610073   CWS         Groundwater                  25,842
 CA    HIDDEN VALLEY LAKE CSD                CA1710015   CWS         Groundwater                   6,235
 CA    HIGHLANDS MUTUAL WATER COMPANY        CA1710003   CWS         Surfacewater                  9,494

 CA    HILMAR COUNTY WATER DISTRICT          CA2410012   CWS         Groundwater                   5,416



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Primacy                PWS Name               PWSID      PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
   CA    HOLLISTER, CITY OF                 CA3510001   CWS         Surfacewater purchased       23,358

  CA    HOLTVILLE, CITY OF                  CA1310005   CWS         Surfacewater purchased        6,355

  CA    HUGHSON, CITY OF                  CA5010008     CWS         Groundwater                   7,000
  CA    HUMBOLDT C.S.D.                   CA1210009     CWS         Groundwater                  19,485
  CA    HUNTINGTON PARK-CITY, WATER DEPT. CA1910049     CWS         Surfacewater purchased       15,414

  CA    HURON, CITY OF                      CA1010044   CWS         Surfacewater                  9,306
  CA    IMPERIAL, CITY OF                   CA1310006   CWS         Surfacewater purchased       19,929

  CA    INDIAN WELLS VALLEY W.D.           CA1510017    CWS         Groundwater                  39,478
  CA    INDIO WATER AUTHORITY              CA3310020    CWS         Groundwater                  80,820
  CA    IVANHOE PUBLIC UTILITY DIST        CA5410019    CWS         Groundwater                   4,495
  CA    JACKSON VALLEY IRRIGATION DISTRICT CA0300037    CWS         Surfacewater                  3,553

  CA    JOE'S TRAVEL PLAZA (EH)             CA5000202   NTNCWS      Groundwater                   5,026
  CA    JOSHUA BASIN WATER DISTRICT         CA3610025   CWS         Groundwater                   8,367
  CA    KELSEYVILLE CO WATERWORKS           CA1710007   CWS         Groundwater                   4,194
        DISTRICT 3
  CA    KERMAN, CITY OF                     CA1010018   CWS         Groundwater                  15,282
  CA    KEYES COMMUNITY SERVICES DIST.      CA5010009   CWS         Groundwater                   5,697
  CA    KINGSBURG, CITY OF                  CA1010019   CWS         Groundwater                  12,002
  CA    KIRKWOOD MEADOWS PUBLIC UTILITY     CA0210002   CWS         Groundwater                   7,851
        DISTRICT
  CA    KONOCTI COUNTY WATER DISTRICT       CA1710006   CWS         Surfacewater                  5,928
  CA    LA CANADA IRRIGATION DIST.          CA1910054   CWS         Surfacewater purchased        9,300

  CA    LA CUMBRE MUTUAL WATER CO           CA4210024   CWS         Surfacewater purchased        4,861

  CA    LAGUNA BEACH COUNTY WD              CA3010017   CWS         Surfacewater purchased       18,401

  CA    LAGUNA SECA RECREATION WS           CA2702009   NTNCWS      Groundwater                  10,040
  CA    LAKE ALMANOR COUNTRY CLUB MWC       CA3210006   CWS         Groundwater                   6,000
  CA    LAKE ARROWHEAD CSD                  CA3610005   CWS         Surfacewater                  7,008
  CA    LAKE COUNTY CSA 21 - NORTH          CA1710021   CWS         Surfacewater                  4,260
        LAKEPORT
  CA    LAKE OF THE SPRINGS                 CA5800809   NTNCWS      Groundwater                   6,500
  CA    LAKEPORT, CITY OF                   CA1710004   CWS         Surfacewater                  4,762
  CA    LAKESIDE WD                         CA3710013   CWS         Surfacewater purchased       35,500

  CA    LAKEWOOD - CITY, WATER DEPT.        CA1910239   CWS         Groundwater                  63,050
  CA    LAMONT PUBLIC UTILITY DIST          CA1510012   CWS         Groundwater                  19,057
  CA    LAS FLORES WATER CO.                CA1910061   CWS         Surfacewater purchased        4,847

  CA    LAS VIRGENES MWD                    CA1910225   CWS         Surfacewater                 72,602
  CA    LEMOORE, CITY OF                    CA1610005   CWS         Groundwater                  26,093




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Primacy                PWS Name                 PWSID      PWS Type      Primary Source        Population
Agency                                                                                           Served
 [State]
   CA    LIBERTY UTILITIES - COMPTON          CA1910021   CWS         Surfacewater purchased       23,802

  CA    LIBERTY UTILITIES - LYNWOOD           CA1910161   CWS         Surfacewater purchased       24,171

  CA    LIBERTY UTILITIES (AV RANCHOS) CORP. CA3610003    CWS         Groundwater                  62,602

  CA    LINCOLN AVENUE WATER CO.              CA1910063   CWS         Surfacewater                 16,126
  CA    LINDA COUNTY WATER DISTRICT           CA5810002   CWS         Groundwater                  21,654
  CA    LINDSAY, CITY OF                      CA5410006   CWS         Surfacewater                 12,659
  CA    LODI, CITY OF                         CA3910004   CWS         Surfacewater                 68,272
  CA    LOMPOC-CITY WATER UTILITY DIV         CA4210006   CWS         Surfacewater                 40,415
  CA    LOS ANGELES CWWD 29 & 80-MALIBU       CA1910204   CWS         Surfacewater purchased       32,695

  CA    LOS ANGELES CWWD 36-VAL VERDE         CA1910185   CWS         Surfacewater purchased        5,701

  CA    LOS ANGELES CWWD 37-ACTON             CA1910248   CWS         Surfacewater purchased        4,895

  CA    LOS ANGELES CWWD 40, R 24,27,33-  CA1910203       CWS         Surfacewater purchased       11,179
        PEARBLSM
  CA    LOS ANGELES CWWD 40, REG. 38-LAKE CA1910005       CWS         Surfacewater purchased       12,617
        LA
  CA    LOS OSOS COMMUNITY SERVICES       CA4010016       CWS         Groundwater                   7,086
        DISTRICT
  CA    MADERA VALLEY WATER COMPANY       CA2010010       CWS         Groundwater                   6,428
  CA    MALAGA COUNTY WATER DISTRICT      CA1010042       CWS         Groundwater                   5,979
  CA    MAMMOTH CWD                       CA2610001       CWS         Surfacewater                  8,234
  CA    MAMMOTH MOUNTAIN SKI AREA -       CA2600624       NTNCWS      Groundwater                   7,736
        OUTPOST 14
  CA    MANHATTAN BEACH-CITY, WATER DEPT. CA1910083       CWS         Surfacewater purchased       35,506

  CA    MARIN MUNICIPAL WATER DISTRICT        CA2110002   CWS         Surfacewater                193,937
  CA    MAYWOOD MUTUAL WATER CO. #1           CA1910084   CWS         Surfacewater purchased        5,500

  CA    MAYWOOD MUTUAL WATER CO. #3           CA1910086   CWS         Surfacewater purchased        9,500

  CA    MCFARLAND, CITY OF                    CA1510013   CWS         Groundwater                  15,506
  CA    MCKINLEYVILLE C.S.D.                  CA1210016   CWS         Groundwater purchased        16,900

  CA    MEADOW VISTA CWD                      CA3110009   CWS         Surfacewater                  5,032
  CA    MEINERS OAKS CWD                      CA5610005   CWS         Surfacewater purchased        4,200

  CA    MENDOTA, CITY OF                      CA1010021   CWS         Groundwater                  11,404
  CA    MENLO PARK MUNICIPAL WATER            CA4110017   CWS         Surfacewater purchased       19,297

  CA    MESA WATER DISTRICT                   CA3010004   CWS         Surfacewater purchased      110,000

  CA    MID-PENINSULA WATER DISTRICT          CA4110001   CWS         Surfacewater purchased       28,050

  CA    MILLVIEW COUNTY WATER DISTRICT        CA2310006   CWS         Surfacewater                  5,500



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Primacy                PWS Name               PWSID      PWS Type         Primary Source         Population
Agency                                                                                             Served
 [State]
   CA    MISSION HILLS CSD                  CA4210019   CWS            Groundwater                    3,600
   CA    MISSION SPRINGS WD                 CA3310008   CWS            Groundwater                   43,223
   CA    MOJAVE PUD                         CA1510014   CWS            Surfacewater purchased         4,699

  CA    MONTARA WATER AND SANITARY          CA4110010   CWS            Surfacewater                   5,298
        DISTRICT
  CA    MONTE VISTA CWD                     CA3610029   CWS            Surfacewater purchased        56,839

  CA    MONTECITO WATER DIST                CA4210007   CWS             Surfacewater                 11,817
  CA    MONTEREY ONE WATER                  CA2790002   System not
                                                        found in
                                                        SDWIS,
                                                        additional
                                                        search could
                                                        not find system
                                                        name.
  CA    MORRO BAY PW DEPT - WATER DIVISION CA4010011    CWS             Surfacewater purchased       15,543

  CA    MOULTON NIGUEL WATER DISTRICT       CA3010073   CWS            Surfacewater purchased       170,236

  CA    MOUNTAIN HOUSE COMMUNITY            CA3910027   CWS            Surfacewater                  23,146
        SERVICES DIST.
  CA    MOUNTAIN VIEW TRAILER COURT         CA1400099   CWS            Groundwater                   51,099
  CA    MT. KONOCTI MUTUAL WATER            CA1710014   CWS            Surfacewater                   4,360
        COMPANY
  CA    MT. SHASTA, CITY OF                 CA4710008   CWS            Groundwater                    3,642
  CA    MUSCOY MWC NO. 1                    CA3610031   CWS            Groundwater                   13,000
  CA    MYOMA DUNES MUTUAL WATER            CA3310051   CWS            Groundwater                    8,948
        COMPANY
  CA    NAPA, CITY OF                       CA2810003   CWS            Surfacewater                  87,067
  CA    NEEDLES, CITY OF                    CA3610032   CWS            Groundwater                    8,766
  CA    NEVADA ID - E. GEORGE, BANNER       CA2910004   CWS            Surfacewater                  17,154
        MOUNTAIN
  CA    NEVADA ID - LAKE OF PINES           CA2910014   CWS            Surfacewater                   6,870
  CA    NEVADA ID - LAKE WILDWOOD           CA2910023   CWS            Surfacewater                   9,108
  CA    NEVADA ID - LOMA RICA               CA2910006   CWS            Surfacewater                  14,072
  CA    NEVADA ID - NORTH AUBURN            CA3110026   CWS            Surfacewater                   6,870
  CA    NIPOMO COMM SERVICES DIST           CA4010026   CWS            Surfacewater purchased        13,771

  CA    NORTH COAST COUNTY WATER DIST       CA4110025   CWS            Surfacewater purchased        38,546

  CA    NORTH MARIN WATER DISTRICT          CA2110003   CWS            Surfacewater                  61,693
  CA    NORTH PERRIS WATER SYSTEM           CA3310082   CWS            Groundwater                    4,500
  CA    NORTH TAHOE PUD - MAIN              CA3110001   CWS            Surfacewater                  10,000
  CA    NORTHSTAR C.S.D.                    CA3110028   CWS            Surfacewater                  15,402
  CA    NORTHSTAR CSD - MARTIS VALLEY       CA3110051   CWS            Groundwater                    3,987
  CA    NUEVO WATER COMPANY                 CA3310026   CWS            Surfacewater purchased         7,033

  CA    OAKDALE, CITY OF                    CA5010014   CWS            Groundwater                   22,936


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Primacy             PWS Name                   PWSID      PWS Type      Primary Source        Population
Agency                                                                                          Served
 [State]
   CA    OCEANO COMM SERVICES DIST.          CA4010005   CWS         Surfacewater purchased        7,487

 CA    OJAI WATER SYSTEM                     CA5610014   CWS         Surfacewater purchased        6,801

 CA    OLIVENHAIN MWD                        CA3710029   CWS         Surfacewater                 86,649
 CA    ORANGE VALE WATER COMPANY             CA3410016   CWS         Surfacewater purchased       16,861

 CA    OROSI PUBLIC UTILITY DISTRICT         CA5410008   CWS         Groundwater                   8,300
 CA    OTAY WATER DISTRICT                   CA3710034   CWS         Surfacewater purchased      226,413

 CA    OXNARD WATER DEPT                     CA5610007   CWS         Surfacewater purchased      200,232

 CA    PACIFIC UNION COLLEGE                 CA2810012   CWS         Groundwater                   4,720
 CA    PADRE DAM MWD                         CA3710037   CWS         Surfacewater purchased       90,683

 CA    PAJARO COMMUNITY SERVICES             CA2710020   CWS         Groundwater                   6,500
       DISTRICT
 CA    PALM RANCH IRRIGATION DIST.           CA1910103   CWS         Surfacewater purchased        5,474

 CA    PARADISE IRRIGATION DISTRICT          CA0410007   CWS         Surfacewater                  4,764
 CA    PARK MOABI                            CA3600193   NTNCWS      Groundwater                 149,796
 CA    PASADENA WATER AND POWER              CA1910124   CWS         Surfacewater purchased      145,306

 CA    PASO ROBLES WATER DEPARTMENT          CA4010007   CWS         Surfacewater                 31,221
 CA    PATTERSON, CITY OF                    CA5010017   CWS         Groundwater                  23,764
 CA    PERRIS, CITY OF                       CA3310029   CWS         Surfacewater purchased        7,854

 CA    PETALUMA, CITY OF                     CA4910006   CWS         Groundwater                  63,505
 CA    PHELAN PINON HILLS CSD                CA3610120   CWS         Groundwater                  23,585
 CA    PHELPS VINEYARDS                      CA2800609   NTNCWS      Groundwater                  19,412
 CA    PINEDALE COUNTY WATER DISTRICT        CA1010026   CWS         Groundwater                  16,735
 CA    PISMO BEACH WATER DEPARTMENT          CA4010008   CWS         Surfacewater purchased        8,180

 CA    PLACER CWA - AUBURN/BOWMAN            CA3110005   CWS         Surfacewater                 26,267
 CA    PLACER CWA - FOOTHILL                 CA3110025   CWS         Surfacewater                 89,008
 CA    PLACERVILLE, CITY OF - MAIN           CA0910003   CWS         Surfacewater purchased       10,747

 CA    PLANADA CSD                     CA2410007         CWS         Groundwater                   4,500
 CA    PLEASANT VALLEY MUTUAL WATER CO CA5610008         CWS         Surfacewater purchased        5,000

 CA    PLUMAS LAKE                           CA5805001   CWS         Groundwater                   9,695
 CA    POMONA - CITY, WATER DEPT.            CA1910126   CWS         Surfacewater                151,713
 CA    PORT HUENEME WATER DEPT               CA5610009   CWS         Surfacewater purchased       21,954

 CA    PORTERVILLE, CITY OF                  CA5410010   CWS         Groundwater                  65,702
 CA    POWAY, CITY OF                        CA3710015   CWS         Surfacewater                 49,062




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Primacy               PWS Name              PWSID      PWS Type         Primary Source         Population
Agency                                                                                           Served
 [State]
   CA    PRESERVE AT MILLERTON LAKE WATER CA2010018   System not
         SYSTEM                                       found in
                                                      SDWIS,
                                                      additional
                                                      search could
                                                      not find system
                                                      name.
 CA    PURISSIMA HILLS WATER DISTRICT     CA4310021   CWS             Surfacewater purchased        6,822

 CA    QUARTZ HILL WATER DIST.            CA1910130   CWS            Surfacewater purchased        19,100

 CA    RAINBOW MUNICIPAL WD               CA3710016   CWS            Surfacewater purchased        23,536

 CA    RAMONA MUNICIPAL WD                CA3710019   CWS            Surfacewater purchased        35,135

 CA    RANCHO CALIFORNIA WATER DISTRICT   CA3310038   CWS            Surfacewater purchased       144,088

 CA    RANCHO MURIETA COMMUNITY SERVI     CA3410005   CWS            Surfacewater                   5,744
 CA    REDWOOD VALLEY COUNTY WATER        CA2310008   CWS            Surfacewater                   5,200
       DISTRICT
 CA    REEDLEY, CITY OF                   CA1010027   CWS            Groundwater                   25,917
 CA    RINCON DEL DIABLO MWD (ID-1)       CA3710018   CWS            Surfacewater purchased        29,206

 CA    RINCON DEL DIABLO MWD (ID-A)       CA3710044   CWS            Surfacewater purchased         3,316

 CA    RIO ALTO WATER DISTRICT          CA5210005     CWS            Groundwater                    3,329
 CA    RIO LINDA/ELVERTA COMMUNITY      CA3410018     CWS            Groundwater                   14,381
       WATER DIST
 CA    RIPON, CITY OF                   CA3910007     CWS            Groundwater                   16,292
 CA    RIVERSIDE HIGHLAND WATER COMPANY CA3610057     CWS            Groundwater                   18,800

 CA    ROHNERT PARK, CITY OF              CA4910014   CWS            Groundwater                   42,484
 CA    ROSAMOND CSD                       CA1510018   CWS            Surfacewater purchased        17,374

 CA    ROWLAND WATER DISTRICT             CA1910194   CWS            Surfacewater purchased        59,283

 CA    RUBIO CANON LAND & WATER           CA1910140   CWS            Surfacewater                   9,600
       ASSOCIATION
 CA    RUNNING SPRINGS WATER DISTRICT     CA3610062   CWS            Surfacewater purchased         5,268

 CA    RUSSIAN RIVER COUNTY WATER       CA4910008     CWS            Groundwater                    4,150
       DISTRICT
 CA    SACRAMENTO INTERNATIONAL AIRPORT CA3400139     NTNCWS         Surfacewater purchased        41,717
       [SWS]
 CA    SAN BENITO HIGH SCHOOL           CA3500571     NTNCWS         Groundwater                    3,310
 CA    SAN BERNARDINO VALLEY WD         CA3610019     CWS            Groundwater                  109,608
 CA    SAN DIEGUITO WD                  CA3710021     CWS            Surfacewater purchased        39,823

 CA    SAN FERNANDO-CITY, WATER DEPT.     CA1910143   CWS            Groundwater                   23,946




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Primacy                PWS Name               PWSID      PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
   CA    SAN FRANCISCO INTERNATIONAL        CA3810010   NTNCWS      Surfacewater purchased      135,962
         AIRPORT
   CA    SAN GABRIEL COUNTY WD              CA1910144   CWS         Groundwater                  45,000
   CA    SAN JACINTO, CITY OF               CA3310032   CWS         Groundwater                  17,961
   CA    SAN JOAQUIN COUNTY - LINCOLN       CA3910010   CWS         Surfacewater purchased        5,990
         VILLAGE
   CA    SAN JOAQUIN COUNTY-MOKELUMNE       CA3910017   CWS         Groundwater                   3,802
         ACRES
   CA    SAN JOAQUIN, CITY OF               CA1010034   CWS         Groundwater                   4,060
   CA    SAN JUAN WATER DISTRICT            CA3410021   CWS         Surfacewater                 28,687
   CA    SAN LUIS OBISPO WATER DEPARTMENT   CA4010009   CWS         Surfacewater                 46,058

 CA    SANTA CLARITA VALLEY W.A.-TESORO CA1910255       CWS         Surfacewater purchased        6,597
       DIV.
 CA    SANTA FE I.D.                        CA3710023   CWS         Surfacewater                 21,549
 CA    SANTA FE SPRINGS - CITY, WATER DEPT. CA1910245   CWS         Surfacewater purchased       19,219

 CA    SANTA ROSA, CITY OF                  CA4910009   CWS         Groundwater                 173,648
 CA    SANTA YNEZ RIVER WATER CONS. DIST.   CA4210020   CWS         Surfacewater purchased        7,022
       ID#1
 CA    SBDNO COUNTY SERVICE AREA 64         CA3610121   CWS         Groundwater                  14,741
 CA    SBDNO COUNTY SERVICE AREA 70J        CA3610125   CWS         Groundwater                  12,580
 CA    SCOTTS VALLEY WATER DISTRICT         CA4410013   CWS         Groundwater                  10,709
 CA    SCWA MATHER-SUNRISE                  CA3410704   CWS         Surfacewater purchased       24,519

 CA    SEBASTOPOL, CITY OF                  CA4910011   CWS         Groundwater                   7,522
 CA    SFPUC CITY DISTRIBUTION DIVISION     CA3810011   CWS         Surfacewater purchased      884,363

 CA    SHAFTER, CITY OF                     CA1510019   CWS         Groundwater                  21,036
 CA    SHEEP CREEK WATER COMPANY            CA3610109   CWS         Groundwater                   3,626
 CA    SIERRA MADRE-CITY, WATER DEPT.       CA1910148   CWS         Surfacewater purchased       11,000

 CA    SIGNAL HILL - CITY, WATER DEPT.      CA1910149   CWS         Surfacewater purchased       11,795

 CA    SLVWD - FELTON WATER SYSTEM          CA4410002   CWS         Surfacewater                  4,340
 CA    SNOW SUMMIT                          CA3600707   NTNCWS      Groundwater                  75,500
 CA    SO. CAL. EDISON CO.-SANTA CATALINA   CA1910006   CWS         Surfacewater                  4,096

 CA    SOLEDAD, CITY OF                     CA2710011   CWS         Groundwater                  17,073
 CA    SONOMA, CITY OF                      CA4910012   CWS         Groundwater                  11,725
 CA    SOQUEL CREEK WATER DISTRICT          CA4410017   CWS         Groundwater                  40,644
 CA    SOUTH COAST WATER DISTRICT           CA3010042   CWS         Surfacewater purchased       34,232

 CA    SOUTH FEATHER W&P - MINERS RANCH     CA0410006   CWS         Surfacewater                 22,727

 CA    SOUTH MESA WC                        CA3310017   CWS         Groundwater                  10,011
 CA    SOUTH TAHOE PUD - MAIN               CA0910002   CWS         Groundwater                 109,330
 CA    ST. HELENA, CITY OF                  CA2810004   CWS         Surfacewater                  6,152



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Primacy               PWS Name               PWSID      PWS Type      Primary Source        Population
Agency                                                                                        Served
 [State]
   CA    STALLION SPRINGS CSD              CA1510025   CWS         Groundwater                   4,571
   CA    STANFORD UNIVERSITY               CA4310013   CWS         Surfacewater purchased       32,218

 CA    SUBURBAN WATER SYSTEMS-GLENDORA CA1910046       CWS         Surfacewater purchased        5,249

 CA    SUBURBAN WATER SYSTEMS-LA           CA1910059   CWS         Groundwater                  56,739
       MIRADA
 CA    SUBURBAN WATER SYSTEMS-SAN JOSE     CA1910205   CWS         Surfacewater purchased      168,843

 CA    SUISUN-SOLANO WATER AUTHORITY       CA4810005   CWS         Surfacewater                 29,516
 CA    SUNNY SLOPE WATER CO.               CA1910157   CWS         Groundwater                  30,700
 CA    SUNNYSLOPE COUNTY WATER DIST        CA3510003   CWS         Surfacewater purchased       22,902

 CA    SWEETWATER SPRINGS CWD -            CA4910004   CWS         Groundwater                   6,000
       GUERNEVILLE
 CA    TAHOE CITY PUD - MAIN               CA3110010   CWS         Groundwater                   5,661
 CA    TAHOE SWISS VILLAGE UTILITY         CA3110042   CWS         Groundwater                   3,411
 CA    TEHACHAPI, CITY OF                  CA1510020   CWS         Groundwater                   9,094
 CA    TEJON CASTAC WD - I5 & LAVAL RD     CA1503341   NTNCWS      Surfacewater                 30,250
 CA    TEMESCAL VALLEY WATER DISTRICT      CA3310074   CWS         Surfacewater purchased       19,856

 CA    TEMPLETON CSD                       CA4010019   CWS         Groundwater                   7,616
 CA    THERMALITO WATER & SEWER DIST       CA0410008   CWS         Surfacewater                 10,339
 CA    THOUSAND OAKS WATER DEPT            CA5610020   CWS         Surfacewater purchased       53,157

 CA    THOUSAND PINES CHRISTIAN            CA3600585   NTNCWS      Groundwater                  15,034
 CA    TOWN OF DISCOVERY BAY               CA0710009   CWS         Groundwater                  16,790
 CA    TOWN OF HILLSBOROUGH                CA4110016   CWS         Surfacewater purchased       11,407

 CA    TRABUCO CANYON WATER DISTRICT       CA3010094   CWS         Surfacewater purchased       13,659

 CA    TRACT 180 MUTUAL WATER CO.          CA1910159   CWS         Groundwater                  14,000
 CA    TRACT 349 MUTUAL WATER CO.          CA1910160   CWS         Groundwater                   7,500
 CA    TRIUNFO WATER & SANITATION          CA5610043   CWS         Surfacewater purchased       13,898
       DISTRICT
 CA    TUD - COLUMBIA WATER SYSTEM         CA5510013   CWS         Surfacewater                  4,917
 CA    TUD - SONORA/JAMESTOWN WATER        CA5510001   CWS         Surfacewater                 11,620
       SYSTEM
 CA    TUD - UPPER BASIN WATER SYSTEM      CA5510012   CWS         Surfacewater                 11,018
 CA    TULARE, CITY OF                     CA5410015   CWS         Groundwater                  69,200
 CA    TURLOCK, CITY OF                    CA5010019   CWS         Groundwater                  74,820
 CA    TWENTYNINE PALMS WATER DISTRICT     CA3610049   CWS         Groundwater                  18,795
 CA    UKIAH, CITY OF                      CA2310003   CWS         Surfacewater                 16,607
 CA    UNION PUBLIC UTILITY DISTRICT       CA0510001   CWS         Surfacewater                  4,668
 CA    UPLAND, CITY OF                     CA3610050   CWS         Surfacewater                 78,891
 CA    VALLECITOS WD                       CA3710002   CWS         Surfacewater purchased      108,392




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Primacy              PWS Name               PWSID      PWS Type      Primary Source        Population
Agency                                                                                       Served
 [State]
   CA    VALLEY CENTER MWD                CA3710026   CWS         Surfacewater purchased       29,708

 CA    VALLEY OF THE MOON WATER DISTRICT CA4910013    CWS         Groundwater                  23,077

 CA    VALLEY VIEW MUTUAL WATER CO.       CA1910165   CWS         Groundwater                   4,584
 CA    VANDENBERG VILLAGE COMM. SERV.     CA4210017   CWS         Groundwater                   7,308
       DIST.
 CA    VAUGHN WC INC                      CA1510029   CWS         Groundwater                  33,420
 CA    VENTURA CWWD NO. 1 - MOORPARK      CA5610018   CWS         Surfacewater purchased       36,625

 CA    VENTURA RIVER WATER DISTRICT       CA5610022   CWS         Surfacewater                  5,700
 CA    VENTURA WATER DEPARTMENT           CA5610017   CWS         Surfacewater                113,500
 CA    VENTURA WWD NO. 8 - SIMI VALLEY    CA5610023   CWS         Surfacewater purchased       94,738

 CA    VICTORVILLE WATER DISTRICT         CA3610052   CWS         Surfacewater purchased      124,653

 CA    VISTA IRRIGATION DISTRICT          CA3710027   CWS         Surfacewater                132,838
 CA    WALNUT PARK MUTUAL WATER CO.       CA1910169   CWS         Groundwater                  16,180
 CA    WALNUT VALLEY WATER DISTRICT       CA1910234   CWS         Surfacewater purchased      100,202

 CA    WASCO, CITY OF                     CA1510021   CWS         Groundwater                  24,046
 CA    WATSONVILLE, CITY OF               CA4410011   CWS         Surfacewater                 65,384
 CA    WEED, CITY OF                      CA4710009   CWS         Groundwater                   5,324
 CA    WEST END CONSOLIDATED WATER        CA3610086   CWS         Groundwater                  78,891
       COMPANY
 CA    WEST KERN WATER DISTRICT           CA1510022   CWS         Groundwater                  22,172
 CA    WESTBOROUGH WATER DISTRICT         CA4110027   CWS         Surfacewater purchased       13,486

 CA    WESTERN DIGITAL TECHNOLOGIES, INC. CA4300791   NTNCWS      Groundwater                   4,018
 CA    WESTERN HEIGHTS WATER COMPANY      CA3610053   CWS         Surfacewater purchased        7,464

 CA    WESTERN MWD                        CA3310049   CWS         Surfacewater purchased       80,766

 CA    WESTERN MWD - MURRIETA DIVISION    CA3310036   CWS         Surfacewater purchased       16,143

 CA    WILLITS, CITY OF                   CA2310004   CWS         Surfacewater                  6,175
 CA    WILLOW COUNTY WATER DISTRICT       CA2310005   CWS         Groundwater                   3,797
 CA    WINDSOR, TOWN OF                   CA4910017   CWS         Groundwater                  28,397
 CA    WOODLAKE, CITY OF                  CA5410020   CWS         Groundwater                   7,950
 CA    YOSEMITE SPRING PARK UTIL CO       CA2010005   CWS         Groundwater                   6,224
 CA    YREKA, CITY OF                     CA4710011   CWS         Surfacewater                  7,746
 CA    YUCAIPA VALLEY WATER DISTRICT      CA3610055   CWS         Surfacewater                 51,727
 CO    ADVENIR FRENCH QUARTER             CO0116104   CWS         Surfacewater purchased        3,447

 CO    ALAMOSA CITY OF                    CO0102100   CWS         Groundwater                  11,271
 CO    ASPEN CITY OF                      CO0149122   CWS         Surfacewater                 31,100
 CO    BANCROFT CLOVER WSD                CO0130133   CWS         Surfacewater purchased       44,000




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Primacy              PWS Name               PWSID      PWS Type      Primary Source        Population
Agency                                                                                       Served
 [State]
   CO    BEAR CREEK WSD                   CO0130138   CWS         Surfacewater purchased       30,000

 CO    BERTHOUD TOWN OF                   CO0135138   CWS         Surfacewater                  7,540
 CO    BLACK HAWK CITY OF                 CO0124147   CWS         Surfacewater                 15,167
 CO    BRECKENRIDGE TOWN OF               CO0159020   CWS         Surfacewater                 28,315
 CO    BROOMFIELD CITY AND COUNTY OF      CO0107155   CWS         Surfacewater                106,153
 CO    BURLINGTON CITY OF                 CO0132005   CWS         Groundwater                   3,720
 CO    CANON CITY CITY OF                 CO0122100   CWS         Surfacewater                 34,800
 CO    CASTLE PINES NORTH MD              CO0118006   CWS         Surfacewater purchased        9,800

 CO    CASTLE PINES VILLAGE MD            CO0118005   CWS         Groundwater                   5,074
 CO    CASTLE ROCK TOWN OF                CO0118010   CWS         Surfacewater                 99,757
 CO    CENTENNIAL WSD                     CO0118015   CWS         Surfacewater                103,444
 CO    CENTRAL CITY CITY OF               CO0124171   CWS         Surfacewater                  3,750
 CO    CENTRAL WELD CNTY WD               CO0162122   CWS         Surfacewater purchased        7,662

 CO    CHERRY CREEK VALLEY WSD            CO0116175   CWS         Surfacewater purchased       20,000

 CO    CHERRY CREEK VILLAGE WD            CO0103176   CWS         Surfacewater purchased        9,215

 CO    CHIPETA WD                         CO0143176   CWS         Surfacewater purchased        3,461

 CO    COLORADO SPRINGS UTILITIES         CO0121150   CWS         Surfacewater                464,111
 CO    CONSOLIDATED MUTUAL WATER          CO0130145   CWS         Surfacewater purchased       54,669
       COMPANY
 CO    CORTEZ CITY OF                     CO0142200   CWS         Surfacewater                  8,700
 CO    COTTONWOOD WSD                     CO0118020   CWS         Surfacewater purchased       10,867

 CO    CRAIG CITY OF                      CO0141188   CWS         Surfacewater                  9,901
 CO    CRESTVIEW WSD                      CO0101040   CWS         Surfacewater purchased       18,000

 CO    CSU FOOTHILLS CAMPUS               CO0235182   NTNCWS      Surfacewater purchased        4,483

 CO    CSU MAIN AND WEST HOUSING CAMPUS CO0235184     CWS         Surfacewater purchased       27,375

 CO    CSU SOUTH CAMPUS                   CO0235181   NTNCWS      Surfacewater purchased        5,164

 CO    DACONO CITY OF                     CO0162200   CWS         Surfacewater purchased        5,800

 CO    DELTA CITY OF                      CO0115205   CWS         Surfacewater purchased        8,700

 CO    DOMINION WSD                       CO0118021   CWS         Surfacewater purchased        6,175

 CO    DONALA WSD                         CO0121175   CWS         Surfacewater purchased        6,600

 CO    DURANGO CITY OF                    CO0134150   CWS         Surfacewater                 35,150
 CO    EAGLE TOWN OF                      CO0119233   CWS         Surfacewater                  6,961
 CO    EAST LARIMER COUNTY WD             CO0135233   CWS         Surfacewater purchased       24,288




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Primacy              PWS Name                   PWSID      PWS Type      Primary Source        Population
Agency                                                                                           Served
 [State]
   CO    EATON TOWN OF                        CO0162233   CWS         Surfacewater purchased        6,000

 CO    EDGEWATER CITY OF                      CO0130237   CWS         Surfacewater purchased        5,300

 CO    ESTES PARK TOWN OF                     CO0135257   CWS         Surfacewater                 16,722
 CO    EVANS CITY OF                          CO0162260   CWS         Surfacewater purchased       19,369

 CO    EVERGREEN MD                           CO0130030   CWS         Surfacewater                 15,750
 CO    FIRESTONE TOWN OF                      CO0162476   CWS         Surfacewater purchased       17,792

 CO    FREDERICK TOWN OF                      CO0162288   CWS         Surfacewater purchased       15,727

 CO    FT COLLINS LOVELAND WD                 CO0135292   CWS         Surfacewater purchased       63,532

 CO    FT LUPTON CITY OF                      CO0162291   CWS         Surfacewater                 15,465
 CO    FT MORGAN CITY OF                      CO0144005   CWS         Surfacewater                 12,000
 CO    GLENDALE CITY OF                       CO0103055   CWS         Surfacewater purchased        4,400

 CO    GLENWOOD SPRINGS CITY OF               CO0123314   CWS         Surfacewater                  9,428
 CO    GOLDEN CITY OF                         CO0130040   CWS         Surfacewater                 29,635
 CO    GRAND COUNTY WATER NO 1                CO0125323   CWS         Surfacewater                  5,400
 CO    GREEN MOUNTAIN WSD                     CO0130321   CWS         Surfacewater purchased       11,045

 CO    GYPSUM TOWN OF                         CO0119329   CWS         Surfacewater                  7,764
 CO    HAYDEN TOWN OF                         CO0154333   CWS         Surfacewater                  3,915
 CO    HIGH VIEW WD                           CO0130344   CWS         Surfacewater purchased        4,000

 CO    HUDSON TOWN OF                         CO0162359   CWS         Surfacewater purchased        3,350

 CO    IDAHO SPRINGS CITY OF                  CO0110020   CWS         Surfacewater                  9,390
 CO    JOHNSTOWN TOWN OF                      CO0162418   CWS         Surfacewater                 18,882
 CO    KEN CARYL WSD                          CO0103075   CWS         Surfacewater purchased       12,000

 CO    LAKEHURST WSD                          CO0130466   CWS         Surfacewater purchased       12,000

 CO    LAKEWOOD CITY OF                       CO0130467   CWS         Surfacewater purchased        6,000

 CO    LAMAR CITY OF                          CO0150700   CWS         Groundwater                   8,600
 CO    LEFT HAND WD                           CO0107471   CWS         Surfacewater                 21,452
 CO    LIMON TOWN OF                          CO0137015   CWS         Groundwater                   5,080
 CO    LITTLE THOMPSON WD                     CO0135477   CWS         Surfacewater purchased       21,779

 CO    LONGMONT CITY OF                       CO0107485   CWS         Surfacewater                 99,629
 CO    LOUISVILLE CITY OF                     CO0107487   CWS         Surfacewater                 20,975
 CO    LOVELAND CITY OF                       CO0135485   CWS         Surfacewater                 76,378
 CO    LYONS TOWN OF                          CO0107496   CWS         Surfacewater purchased        3,597

 CO    MANITOU SPRINGS CITY OF                CO0121450   CWS         Surfacewater                  6,938



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Primacy             PWS Name                  PWSID      PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
   CO    MENOKEN WD                         CO0143506   CWS         Surfacewater purchased        3,500

 CO    MERIDIAN SERVICE MD                  CO0121455   CWS         Groundwater                   8,814
 CO    MID VALLEY MD                        CO0119508   CWS         Groundwater                   4,500
 CO    MONTE VISTA CITY OF                  CO0153600   CWS         Groundwater                   4,600
 CO    MONTEZUMA WC                         CO0142900   CWS         Surfacewater                 13,797
 CO    MONTROSE CITY OF                     CO0143518   CWS         Surfacewater purchased       19,305

 CO    MORGAN COUNTY QUALITY WD             CO0144020   CWS         Surfacewater purchased        8,116

 CO    MORRISON TOWN OF                     CO0130085   CWS         Surfacewater                  9,887
 CO    MT WERNER WD                         CO0154524   CWS         Surfacewater                 16,980
 CO    NEW CASTLE TOWN OF                   CO0123538   CWS         Surfacewater                  5,024
 CO    NORTH TABLE MOUNTAIN WSD             CO0130105   CWS         Surfacewater                 10,000
 CO    NORTH WASHINGTON STREET WSD          CO0101105   CWS         Surfacewater purchased       14,500

 CO    NORTH WELD COUNTY WD                 CO0162553   CWS         Surfacewater purchased       13,000

 CO    NORTHERN COLORADO WA                 CO0135554   CWS         Surfacewater purchased        4,550

 CO    NORTHERN DOUGLAS COUNTY WSD          CO0118016   CWS         Surfacewater purchased        6,160

 CO    PAGOSA AREA WSD                      CO0104300   CWS         Surfacewater                 11,069
 CO    PAINT BRUSH HILLS                    CO0221690   CWS         Groundwater                   3,447
 CO    PARK CENTER WD                       CO0122600   CWS         Surfacewater                  4,000
 CO    PARKVILLE WD                         CO0133700   CWS         Surfacewater                  7,500
 CO    PINERY WWD                           CO0118025   CWS         Surfacewater purchased       12,901

 CO    PLATTE CANYON WSD                    CO0103614   CWS         Surfacewater purchased       19,485

 CO    ROXBOROUGH WSD                       CO0118055   CWS         Surfacewater                 10,622
 CO    SALIDA CITY OF                       CO0108700   CWS         Surfacewater                  6,000
 CO    SEVERANCE TOWN OF                    CO0162707   CWS         Surfacewater purchased        8,211

 CO    SNAKE RIVER WD                       CO0159105   CWS         Groundwater                   9,900
 CO    SNOWMASS VILLAGE WSD                 CO0149717   CWS         Surfacewater                  6,353
 CO    SOUTHGATE WSD                        CO0103721   CWS         Surfacewater purchased       55,000

 CO    SOUTHWEST METROPOLITAN WSD           CO0103723   CWS         Surfacewater purchased       48,648

 CO    STEAMBOAT SPRINGS CITY OF            CO0154725   CWS         Surfacewater purchased        9,950

 CO    SUPERIOR MD NO 1                     CO0107725   CWS         Surfacewater                 17,170
 CO    TRI COUNTY WCD                       CO0143755   CWS         Surfacewater purchased       18,200

 CO    TRINIDAD CITY OF                     CO0136800   CWS         Surfacewater                 11,400
 CO    TRIVIEW MD                           CO0121840   CWS         Groundwater                   5,649




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Primacy               PWS Name               PWSID      PWS Type      Primary Source        Population
Agency                                                                                        Served
 [State]
   CO    VAIL ASSOC MIDVAIL EAGLE          CO0219800   NTNCWS      Surfacewater purchased        7,600

 CO     VALLEY WD                          CO0130800   CWS         Surfacewater purchased       10,000

 CO     WELLINGTON TOWN OF                 CO0135838   CWS         Surfacewater                 11,500
 CO     WEST FORT COLLINS WD               CO0135290   CWS         Surfacewater purchased        4,000

 CO     WESTMINSTER CITY OF                CO0101170   CWS         Surfacewater                192,878
 CO     WHEAT RIDGE WATER DISTRICT         CO0130842   CWS         Surfacewater purchased       20,000

 CO     WILLOWBROOK WSD                    CO0130843   CWS         Surfacewater purchased        9,348

 CO     WILLOWS WD                         CO0103100   CWS         Surfacewater purchased       19,000

 CO     WINDSOR TOWN OF                    CO0162843   CWS         Surfacewater purchased       23,500

 CO     WINTER PARK WSD                  CO0125843     CWS         Surfacewater                  6,635
 CO     WOODLAND PARK CITY OF            CO0160900     CWS         Surfacewater                  8,500
 CO     WOODMEN HILLS MD                 CO0121930     CWS         Groundwater                   8,474
 CO     WOODMOOR WSD                     CO0121950     CWS         Surfacewater                 17,694
 CO     YUMA CITY OF                     CO0163020     CWS         Groundwater                   4,049
 CT     AQUARION WATER CO OF CT -        CT1100011     CWS         Groundwater                  18,231
        PLAINVILLE
  CT    AQUARION WATER CO OF CT-         CT0570011     CWS         Surfacewater                 53,297
        GREENWICH SYSTEM
  CT    AQUARION WATER CO OF CT-MAIN     CT0150011     CWS         Surfacewater                351,756
        SYSTEM
  CT    AQUARION WATER CO OF CT-MYSTIC   CT1370011     CWS         Surfacewater                 10,788
  CT    AQUARION WATER CO OF CT-NEW      CT0900011     CWS         Surfacewater purchased       10,097
        CANAAN SYS
  CT    AQUARION WATER CO OF CT-NEW      CT0960011     CWS         Groundwater                  11,829
        MILFORD
  CT    AQUARION WATER CO OF CT-NEWTOWN CT0970011      CWS         Groundwater                   6,054
        REGIONAL
  CT    AQUARION WATER CO OF CT-NOROTON CT0350011      CWS         Surfacewater purchased       18,737
        SYSTEM
  CT    AQUARION WATER CO OF CT-         CT1180011     CWS         Surfacewater purchased        7,415
        RIDGEFIELD SYS
  CT    AQUARION WATER CO OF CT-SIMSBURY CT1280021     CWS         Groundwater                  14,691
        SYSTEM
  CT    AQUARION WATER CO OF CT-STAMFORD CT1350011     CWS         Surfacewater                119,214

  CT    AQUARION WATER CO OF CT-VALLEY     CT1240011   CWS         Surfacewater purchased       13,080
        SYSTEM
  CT    BERLIN WATER CONTROL COMMISSION    CT0070021   CWS         Surfacewater purchased        5,128

  CT    BETHEL WATER DEPT                  CT0090011   CWS         Surfacewater                  9,507
  CT    COLCHESTER SEWER & WATER           CT0280011   CWS         Groundwater                   4,020
        COMMISSION




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Primacy               PWS Name               PWSID      PWS Type      Primary Source        Population
Agency                                                                                        Served
 [State]
   CT    CROMWELL FIRE DISTRICT WATER      CT0330011   CWS         Groundwater                  14,316
         DEPARTMENT
   CT    CTWC - NAUGATUCK REG-COLLINSVILLE CT0230011   CWS         Surfacewater                  6,324
         SYS
   CT    CTWC - NAUGATUCK REGION-CENTRAL CT0880011     CWS         Surfacewater                 22,615
         SYSTEM
   CT    CTWC - NAUGATUCK REG-TERRYVILLE CT1110011     CWS         Groundwater                   5,607
         SYSTEM
   CT    CTWC - NAUGATUCK REG-THOMASTON CT1400011      CWS         Groundwater                   3,789
         SYSTEM
   CT    CTWC - SHORELINE REGION-CHESTER   CT0261031   CWS         Surfacewater                  5,030
         SYSTEM
   CT    DANBURY WATER DEPARTMENT          CT0340011   CWS         Surfacewater                 62,055
   CT    EAST LYME WATER & SEWER           CT0450011   CWS         Surfacewater purchased       15,245
         COMMISSION
   CT    GROTON UTILITIES                  CT0590011   CWS         Surfacewater                 30,200
   CT    HAZARDVILLE WATER COMPANY         CT0490021   CWS         Groundwater                  18,544
   CT    HERITAGE WATER COMPANY            CT1300021   CWS         Surfacewater purchased        7,300

  CT    JEWETT CITY WATER COMPANY          CT0580011   CWS         Surfacewater                  6,840
  CT    KENSINGTON FIRE DISTRICT           CT0070011   CWS         Surfacewater purchased        7,553

  CT    MANCHESTER WATER DEPARTMENT      CT0770021     CWS         Surfacewater                 51,198
  CT    MERIDEN WATER DIVISION           CT0800011     CWS         Surfacewater                 58,441
  CT    METROPOLITAN DISTRICT COMMISSION CT0640011     CWS         Surfacewater                390,887

  CT    MIDDLETOWN WATER DEPARTMENT        CT0830011   CWS         Surfacewater                 41,019
  CT    NEW BRITAIN WATER DEPARTMENT       CT0890011   CWS         Surfacewater                 73,534
  CT    NEW LONDON DEPT. OF PUBLIC         CT0950011   CWS         Surfacewater                 27,620
        UTILITIES
  CT    NORWICH PUBLIC UTILITIES           CT1040011   CWS         Surfacewater                 36,067
  CT    PORTLAND WATER DEPARTMENT          CT1130011   CWS         Surfacewater purchased        5,010

  CT    PUTNAM WATER POLLUTION CONTROL     CT1160011   CWS         Surfacewater                  7,300
        AUTHORITY
  CT    REGIONAL WATER AUTHORITY           CT0930011   CWS         Surfacewater                418,900
  CT    SOUTHINGTON WATER DEPARTMENT       CT1310011   CWS         Surfacewater                 43,069
  CT    TORRINGTON WATER COMPANY           CT1430011   CWS         Surfacewater                 37,915
  CT    WALLINGFORD WATER DEPARTMENT       CT1480011   CWS         Surfacewater                 37,267
  CT    WATERBURY WATER DEPARTMENT         CT1510011   CWS         Surfacewater                107,271
  CT    WATERFORD WPCA                     CT1520071   CWS         Surfacewater purchased       16,578

  CT    WATERTOWN FIRE DISTRICT            CT1530011   CWS         Groundwater                   6,718
  CT    WATERTOWN WATER & SEWER            CT1530021   CWS         Surfacewater purchased        9,972
        AUTHORITY
 CT     WINDHAM WATER WORKS                CT1630011   CWS         Surfacewater                 21,214
 CT     WINSTED WATER WORKS                CT1620011   CWS         Surfacewater                  7,784
 DC     D.C. WATER AND SEWER AUTHORITY     DC0000002   CWS         Surfacewater purchased      632,323



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Agency                                                                                        Served
 [State]
   DE    ARTESIAN NORTHERN KENT REGIONAL DE00A0673     CWS         Groundwater                   7,014
   DE    ARTESIAN NORTHERN SUSSEX          DE0020003   CWS         Groundwater                   5,511
         REGIONAL
   DE    ARTESIAN SOUTHERN SUSSEX REGIONAL DE00A0323   CWS         Groundwater                  18,015

 DE     BAYSIDE PUMP DISTRICT          DE00A0837       CWS         Groundwater                   8,400
 DE     BETHANY BAY PUMP DISTRICT      DE0000221       CWS         Groundwater                  43,532
 DE     BETHANY BEACH WATER DEPARTMENT DE0000556       CWS         Groundwater                  12,000

 DE     CAMDEN PUMP DISTRICT           DE0000124       CWS         Groundwater                  17,208
 DE     CAMDEN WYOMING SEWER AND WATER DE0000563       CWS         Groundwater                   5,000
        AUTHORITY
 DE     CHURCH CREEK (AWC)             DE00A0428       CWS         Groundwater                   8,679
 DE     DELMAR UTILITY COMM (TN OF     DE0000567       CWS         Groundwater                   4,500
        DELMAR)
 DE     DEWEY BEACH WATER DEPARTMENT   DE0000825       CWS         Groundwater purchased        31,000

 DE     DOVER WATER DEPARTMENT             DE0000571   CWS         Groundwater                  39,491
 DE     EAST NCC DISTRICT                  DE00A0334   CWS         Groundwater                   5,340
 DE     GARRISON LAKE PUMP DISTRICT        DE0000004   CWS         Groundwater                  13,467
 DE     GEORGETOWN WATER DEPARTMENT        DE0000592   CWS         Groundwater                   7,259
 DE     HARRINGTON WATER DEPARTMENT        DE0000126   CWS         Groundwater                   3,562
 DE     LAUREL WATER DEPARTMENT            DE0000597   CWS         Groundwater                   3,984
 DE     LEWES BOARD OF PUBLIC WORKS        DE0000602   CWS         Groundwater                   9,400
 DE     LONG NECK WATER COMPANY            DE0000625   CWS         Groundwater                  11,000
 DE     MEADOWS PUMP DISTRICT              DE0000271   CWS         Groundwater                  14,538
 DE     MIDDLETOWN WATER DEPARTMENT        DE0000614   CWS         Surfacewater purchased       17,700

 DE     MILFORD WATER DEPARTMENT           DE0000616   CWS         Groundwater                   9,800
 DE     MILLSBORO WATER DEPARTMENT         DE0000622   CWS         Groundwater                  14,363
 DE     MUNICIPAL SERVICES COMMISSION      DE0000634   CWS         Groundwater                   5,364
 DE     NORTH WEST PUMP DISTRICT           DE00A0347   CWS         Groundwater                   4,149
 DE     REHOBOTH BEACH WATER               DE0000723   CWS         Groundwater                  26,400
        DEPARTMENT
 DE     REHOBOTH PUMP DISTRICT             DE0000991   CWS         Groundwater                  59,322
 DE     SEAFORD WATER DEPARTMENT           DE0000246   CWS         Groundwater                   6,699
 DE     SELBYVILLE WATER DEPARTMENT        DE0000654   CWS         Groundwater                   3,502
 DE     SMYRNA WATER DEPARTMENT            DE0000657   CWS         Groundwater                  11,813
 DE     SUSSEX SHORES WATER COMPANY        DE0000557   CWS         Groundwater                  12,450
 DE     WILMINGTON WATER DEPARTMENT        DE0000663   CWS         Surfacewater                107,976
 FL     ALACHUA WTP                        FL2010017   CWS         Groundwater                   8,220
 FL     ALOHA GARDENS UTILITIES            FL6510050   CWS         Surfacewater purchased        8,136

  FL    ALTAMONTE SPRINGS WATER DEPT (2    FL3590026   CWS         Groundwater                  55,576
        WPS)
  FL    APALACHICOLA, CITY OF              FL1190150   CWS         Groundwater                   4,500
  FL    APOPKA, CITY OF (5 WTPS)           FL3480200   CWS         Groundwater                  63,464


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Primacy              PWS Name                 PWSID      PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
   FL    ARCADIA WATER DEPT, CITY OF        FL6140314   CWS         Surfacewater purchased        8,942

  FL    ATLANTIC BEACH WATER SYSTEM         FL2160200   CWS         Groundwater                  23,503
  FL    AUBURN WATER SYSTEM                 FL1460035   CWS         Groundwater                  21,501
  FL    AUBURNDALE, CITY OF                 FL6530090   CWS         Groundwater                  35,239
  FL    AVE MARIA UTILITY COMPANY, LLLP     FL5114154   CWS         Groundwater                   5,840
  FL    AVON PARK, CITY OF                  FL6280049   CWS         Groundwater                  18,561
  FL    BAGDAD-GARCON POINT WATER           FL1570042   CWS         Groundwater                   9,867
        SYSTEM
  FL    BAREFOOT BAY                        FL3050057   CWS         Groundwater                   9,648
  FL    BARTOW, CITY OF                     FL6530315   CWS         Groundwater                  21,501
  FL    BAY COUNTY WATER SYSTEM             FL1030050   CWS         Surfacewater                 30,642
  FL    BCWWS 1A                            FL4060167   CWS         Groundwater                  75,305
  FL    BCWWS 2A                            FL4060163   CWS         Groundwater                  54,622
  FL    BCWWS 3A                            FL4060165   CWS         Groundwater                  16,046
  FL    BCWWS 3B/C                          FL4060162   CWS         Groundwater purchased        32,650

  FL    BELLEAIR WATER PLANT                FL6520135   CWS         Groundwater                   5,299
  FL    BELLEVIEW, CITY OF (2 WPS)          FL3420074   CWS         Groundwater                   8,433
  FL    BEVERLY HILLS / ROLLING OAKS        FL6090150   CWS         Groundwater                  11,572
        SUBDIVISION
  FL    BLOUNTSTOWN, CITY OF                FL1070685   CWS         Groundwater                   3,680
  FL    BOCA RATON WTP                      FL4500130   CWS         Groundwater                 130,000
  FL    BONITA SPRINGS UTILITIES            FL5360025   CWS         Groundwater                  74,270
  FL    BOYNTON BEACH PWS                   FL4500145   CWS         Groundwater                 112,000
  FL    BRADENTON CITY OF                   FL6410182   CWS         Surfacewater                 58,584
  FL    BRADFORDVILLE REGIONAL W/S          FL1370393   CWS         Groundwater                  12,272
  FL    BROOKSVILLE CITY OF                 FL6272180   CWS         Groundwater                  11,500
  FL    BUNNELL WATER PLANT                 FL2180134   CWS         Groundwater                   3,507
  FL    CALLAWAY, CITY OF WATER SYSTEM      FL1030141   CWS         Surfacewater purchased       15,269

  FL    CAPE CORAL, CITY OF                 FL5360325   CWS         Groundwater                 163,647
  FL    CASSELBERRY, CITY OF (3 WPS)        FL3590159   CWS         Groundwater                  54,747
  FL    CENTRAL                             FL6534609   CWS         Groundwater                  13,595
  FL    CENTRAL FLORIDA RESEARCH PARK       FL3484264   NTNCWS      Groundwater                   9,129
  FL    CENTURY, TOWN OF                    FL1170613   CWS         Groundwater                   3,490
  FL    CHARLOTTE COUNTY UTILITIES          FL5084100   CWS         Surfacewater purchased      156,367

  FL    CHARLOTTE COUNTY UTILITIES / BURNT FL6080318    CWS         Groundwater                   6,300
        STORE
  FL    CHARLOTTE HARBOR WATER ASSN.       FL6080044    CWS         Groundwater                   4,500
  FL    CHASE GROVES(CONSEC.)              FL3594214    CWS         Groundwater purchased         4,052

  FL    CHIPLEY, CITY OF                    FL1670135   CWS         Groundwater                   3,660
  FL    CHULUOTA WATER SYSTEM               FL3590186   CWS         Groundwater                   3,863
  FL    CHUMUCKLA WATER SYSTEM, INC.        FL1570140   CWS         Groundwater                   4,667



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Primacy                 PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                           Served
 [State]
   FL      CITRUS CO UTL/CHARLES A. BLACK     FL6094948   CWS         Groundwater                  20,698
   FL      CITRUS SPRINGS                     FL6090312   CWS         Groundwater                  18,339
   FL      CITY OF FORT MEADE                 FL6530320   CWS         Groundwater                   5,455
   FL      CITY OF FORT MYERS WATER           FL5360102   CWS         Groundwater                  89,672
           TREATMENT PLANT
  FL       CITY OF HOLLY HILL                 FL3640557   CWS         Groundwater                  12,417
  FL       CITY OF MARGATE                    FL4060845   CWS         Groundwater                  62,254
  FL       CITY OF NEW SMYRNA BEACH           FL3640876   CWS         Groundwater                  67,847
  FL       CITY OF PLANT CITY UTILITY         FL6290323   CWS         Groundwater                  40,000
  FL       CITY OF PUNTA GORDA                FL6080051   CWS         Surfacewater                 36,302
  FL       CITY OF TEMPLE TERRACE UTILITY     FL6291791   CWS         Groundwater                  31,250
  FL       CITY OF WESTON (INDIAN TRACE)      FL4061127   CWS         Groundwater purchased        52,300

  FL       CLEARWATER WATER SYSTEM            FL6520336   CWS         Surfacewater purchased      110,000

  FL       CLERMONT EAST WATER SYSTEM (2      FL3354779   CWS         Groundwater                  36,603
           WPS)
  FL       CLERMONT, CITY OF (2 WPS)          FL3350215   CWS         Groundwater                   9,840
  FL       CLEWISTON, CITY OF                 FL5260053   CWS         Surfacewater purchased        9,380

  FL       COCOA, CITY OF                     FL3050223   CWS         Surfacewater                294,039
  FL       COCONUT CREEK, CITY OF             FL4061584   CWS         Groundwater purchased        54,000

  FL       COLLIER COUNTY REGIONAL WTP        FL5114069   CWS         Groundwater                 171,370
  FL       COOPER CITY                        FL4060282   CWS         Groundwater                  33,752
  FL       CORAL SPRINGS IMPROVEMENT DIST     FL4060291   CWS         Groundwater                  40,000
  FL       CORAL SPRINGS, CITY OF             FL4060290   CWS         Groundwater                  65,000
  FL       COTTAGE HILL WATER WORKS           FL1170168   CWS         Groundwater                   3,572
  FL       CRESTVIEW, CITY OF WATER DEPT.     FL1460182   CWS         Groundwater                  32,309
  FL       CRYSTAL RIVER, CITY OF             FL6090317   CWS         Groundwater                   4,528
  FL       CSU WTP NO. 1                      FL6605038   CWS         Groundwater                  19,699
  FL       DADE CITY WATER DEPT               FL6510424   CWS         Groundwater                  15,561
  FL       DANIA BEACH, CITY OF               FL4060253   CWS         Groundwater                  17,132
  FL       DAVENPORT, CITY OF                 FL6530431   CWS         Groundwater                   9,043
  FL       DAVIE, TOWN OF, #3 ; #5            FL4060344   CWS         Groundwater                  26,000
  FL       DAYTONA BEACH, CITY OF             FL3640275   CWS         Groundwater                  76,700
  FL       DEERFIELD BEACH, CITY OF           FL4060254   CWS         Groundwater                  52,749
  FL       DELAND, CITY OF                    FL3640286   CWS         Groundwater                  50,910
  FL       DELTONA WATER                      FL3640287   CWS         Groundwater                  78,345
  FL       DESOTO COUNTY WATER SYSTEM         FL6144898   CWS         Surfacewater purchased        4,563

  FL       DESTIN WATER USERS, INC.           FL1460202   CWS         Groundwater                  31,049
  FL       DUNDEE, TOWN OF                    FL6530485   CWS         Groundwater                   3,824
  FL       DUNEDIN WATER SYSTEM               FL6520486   CWS         Groundwater                  46,161
  FL       DUNES COMMUNITY DEVELOPMENT        FL2184259   CWS         Groundwater                   4,880
           DISTRICT



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Primacy                 PWS Name                  PWSID      PWS Type      Primary Source        Population
Agency                                                                                             Served
 [State]
   FL      EAST MILTON WATER SYSTEM             FL1570232   CWS         Groundwater                  15,240
   FL      EAST SIDE CONSOLIDATED               FL3424897   CWS         Groundwater                  35,737
   FL      EAST WATER SYSTEM                    FL3531744   CWS         Groundwater                   5,052
   FL      EDGEWATER, CITY OF                   FL3640331   CWS         Groundwater                  25,707
   FL      ENGLEWOOD WATER DIST                 FL6580531   CWS         Groundwater                  38,005
   FL      ENTERPRISE CDD (CONSECUTIVE)         FL3494428   CWS         Groundwater purchased         8,166

  FL       EREC WATER SYSTEM                    FL1170718   CWS         Groundwater                   4,098
  FL       EUSTIS, CITY OF (4 WPS)              FL3350346   CWS         Groundwater                  38,966
  FL       FARM HILL UTILITIES, INC.            FL1170259   CWS         Groundwater                   8,596
  FL       FERNANDINA BEACH WTP                 FL2450364   CWS         Groundwater                  19,953
  FL       FGUA - PLANTATION BAY WTP            FL2184251   CWS         Groundwater                   3,500
  FL       FGUA / MACDILL                       FL6296193   CWS         Surfacewater purchased       11,965

  FL       FLAGLER BEACH WTP                    FL2180349   CWS         Groundwater                   4,830
  FL       FLAMINGO CROSSING (CONSEC.)          FL3484437   CWS         Groundwater purchased         9,704

  FL       FLORAL CITY WATER ASSN               FL6090588   CWS         Groundwater                   5,617
  FL       FLORIDA CITY                         FL4130255   CWS         Groundwater                  12,000
  FL       FLORIDA GOVERNMENTAL UTILITY         FL5360172   CWS         Groundwater                  29,656
           AUTHORITY
  FL       FORT LAUDERDALE, CITY OF             FL4060486   CWS         Groundwater                 182,245
  FL       FORT WALTON BEACH, CITY OF           FL1460144   CWS         Groundwater                  24,113
  FL       FREEPORT, CITY OF                    FL1660290   CWS         Groundwater                  12,020
  FL       FROSTPROOF, CITY OF                  FL6530627   CWS         Groundwater                   3,550
  FL       FRUITLAND PARK, CITY OF (3 WPS)      FL3350427   CWS         Groundwater                   5,127
  FL       FT. PIERCE UTILITIES AUTHORITY       FL4560490   CWS         Groundwater                  58,000
  FL       GADSDEN CO REGIONAL W/S              FL1200797   CWS         Groundwater                  12,371
  FL       GASPARILLA ISLAND WATER ASSOC        FL6080104   CWS         Groundwater                   6,254
  FL       GATEWAY SERVICES DISTRICT            FL5364143   CWS         Surfacewater purchased       12,717

  FL       GIBSON PLACE UTILITIES               FL3600015   CWS         Groundwater                  20,000
  FL       GONZALEZ UTILITIES ASSOCIATION, INC. FL1170302   CWS         Groundwater                   6,559

  FL       GRACEVILLE, CITY OF                  FL1320145   CWS         Groundwater                   4,000
  FL       GREATER PINE ISLAND WATER            FL5360322   CWS         Groundwater                  15,805
           ASSOCIATION
  FL       GREEN COVE SPRINGS WTP               FL2100437   CWS         Groundwater                   9,700
  FL       GROVELAND WATER DEPARTMENT (3        FL3350476   CWS         Groundwater                  15,232
           WPS)
  FL       GRU - MURPHREE WTP                   FL2010946   CWS         Groundwater                 193,525
  FL       GULF BREEZE REGIONAL WATER           FL1570316   CWS         Groundwater purchased        17,477
           SYSTEM
  FL       GULF COUNTY WATER DEPT.              FL1230848   CWS         Surfacewater purchased        5,257
           (LIGHTHOUSE)
  FL       GULF HARBORS                         FL6511077   CWS         Groundwater                   9,110




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Primacy              PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                        Served
 [State]
   FL    GULFPORT WATER SYSTEM             FL6520705   CWS         Surfacewater purchased       12,600

  FL    HAINES CITY, CITY OF               FL6532232   CWS         Groundwater                  30,545
  FL    HALLANDALE BEACH, CITY OF          FL4060573   CWS         Groundwater                  40,000
  FL    HAVANA, TOWN OF WATER SYSTEM       FL1200334   CWS         Groundwater                   3,977
  FL    HCPUD/NORTHWEST UTILITIES          FL6290388   CWS         Surfacewater purchased      206,485

  FL    HCPUD/PEBBLE CREEK SUBDIVISION     FL6291372   CWS         Surfacewater purchased        5,408

  FL    HCPUD/SEABOARD UTILITIES           FL6290333   CWS         Surfacewater purchased       13,986

  FL    HCPUD/SOUTH-CENTRAL                FL6290787   CWS         Surfacewater purchased      473,500

  FL    HCS/STRAWBERRY CREST HIGH/BAILEY   FL6296333   NTNCWS      Groundwater                   3,365
        ELEM
  FL    HERNANDO CO UTL-EAST               FL6277060   CWS         Groundwater                   8,630
  FL    HERNANDO CO UTL-WEST               FL6277059   CWS         Groundwater                 135,207
  FL    HIALEAH GARDENS                    FL4134365   CWS         Groundwater purchased        22,200

  FL    HIGH SPRINGS WTP                   FL2010201   CWS         Groundwater                   5,795
  FL    HIGHLAND BEACH WATER PLANT         FL4500609   CWS         Groundwater                   3,539
  FL    HOLLEY-NAVARRE WATER SYSTEM        FL1570349   CWS         Groundwater                  46,359
  FL    HOLLYWOOD, CITY OF                 FL4060642   CWS         Groundwater                 147,566
  FL    HOMESTEAD, CITY OF                 FL4130645   CWS         Groundwater                  68,438
  FL    HOMOSASSA SPECIAL WATER DISTRICT   FL6090828   CWS         Groundwater                   5,548

  FL    HUDSON WATER WORKS                 FL6512226   CWS         Groundwater                   7,169
  FL    INDIAN RIVER COUNTY UTILITIES (2   FL3314052   CWS         Groundwater                 126,893
        WTPS)
  FL    INVERNESS WATER DEPT               FL6090861   CWS         Groundwater                   7,194
  FL    ISLAND WATER ASSOCIATION           FL5360146   CWS         Groundwater                  14,784
  FL    JACKSONVILLE BEACH WTP             FL2160563   CWS         Groundwater                  23,352
  FL    JACKSONVILLE UNIVERSITY            FL2160568   CWS         Groundwater                   3,480
  FL    JASMINE LAKES UTL                  FL6512070   CWS         Groundwater                   3,311
  FL    JASPER WTP                         FL2240570   CWS         Groundwater                   6,250
  FL    JEA MAJOR GRID                     FL2161328   CWS         Groundwater                 826,664
  FL    JEA: PONTE VEDRA GRID              FL2550908   CWS         Groundwater                   5,395
  FL    JUPITER PUBLIC WATER SYSTEM,TOWN   FL4501491   CWS         Groundwater                  88,797
        OF
  FL    KEYSTONE POSTMASTER GRID           FL2100610   CWS         Groundwater                   5,020
  FL    LABELLE, CITY OF                   FL5260050   CWS         Groundwater                   5,950
  FL    LADY LAKE CENTRAL - WPS 1,2,3      FL3350977   CWS         Groundwater                   6,498
  FL    LAKE ALFRED, CITY OF               FL6530321   CWS         Groundwater                   5,584
  FL    LAKE ASBURY WTP                    FL2100626   CWS         Groundwater                  15,197
  FL    LAKE JACKSON AREA WATER SYSTEM     FL1370888   CWS         Groundwater                   9,804
  FL    LAKE MARY, CITY OF                 FL3590201   CWS         Groundwater                  17,633




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Primacy              PWS Name                PWSID        PWS Type      Primary Source        Population
Agency                                                                                          Served
 [State]
   FL    LAKE PANASOFFKEE WATER ASSN 2WPS FL6600990      CWS         Groundwater                   4,642

  FL    LAKE PLACID, TOWN OF                 FL6280286   CWS         Groundwater                   4,369
  FL    LAKE UTILITY SERVICES INC NORTH (8   FL3354883   CWS         Groundwater                  20,839
        WPS)
  FL    LAKE UTILITY SERVICES INC SOUTH      FL3354881   CWS         Groundwater                  13,198
  FL    LAKE WALES, CITY OF                  FL6532234   CWS         Groundwater                  18,722
  FL    LAKE WORTH BEACH UTILITIES           FL4500773   CWS         Surfacewater purchased       48,000

  FL    LAKELAND, CITY OF                    FL6531014   CWS         Groundwater                 185,394
  FL    LANTANA WATER TREATMENT PLANT        FL4500784   CWS         Groundwater                  11,558
  FL    LEE COUNTY UTILITIES                 FL5364048   CWS         Surfacewater                266,949
  FL    LEESBURG EAST (2WPS)                 FL3351566   CWS         Groundwater                   9,650
  FL    LEESBURG, CITY OF                    FL3350745   CWS         Groundwater                  43,904
  FL    LEESBURG/THE PLANTATION              FL3354650   CWS         Groundwater                   5,141
  FL    LITTLE SUMTER UTILITIES 3WPS         FL6604862   CWS         Groundwater                  25,382
  FL    LIVE OAK WTP                         FL2610203   CWS         Groundwater under             6,850
                                                                     influence of
                                                                     surfacewater
  FL    LOFTON OAKS GRID                     FL2454338   CWS         Groundwater                  24,318
  FL    LONGWOOD, CITY OF (2 WPS)            FL3590202   CWS         Groundwater                  23,237
  FL    LYNN HAVEN, CITY OF WATER SYS.       FL1030435   CWS         Surfacewater purchased       30,601

  FL    MACCLENNY WTP                        FL2020204   CWS         Groundwater                   6,391
  FL    MADISON WATER DEPARTMENT             FL2400205   CWS         Groundwater                   7,350
  FL    MAITLAND, CITY OF (3 WPS)            FL3480203   CWS         Groundwater                  13,370
  FL    MANATEE COUNTY UTILITIES DEPT        FL6411132   CWS         Surfacewater                347,800
  FL    MARCO ISLAND UTILITIES (CITY OF)     FL5110183   CWS         Surfacewater                 31,830
  FL    MARIANNA, CITY OF                    FL1320449   CWS         Groundwater                   8,227
  FL    MARTIN CO UTILITIES                  FL4431891   CWS         Groundwater                 101,362
  FL    MARY ESTHER, CITY OF                 FL1460455   CWS         Groundwater                   4,013
  FL    MASCOTTE WATER DEPARTMENT            FL3350812   CWS         Groundwater                   9,184
  FL    MDWASA/REX UTILITIES                 FL4131202   CWS         Groundwater                  45,200
  FL    MEADOWS-AT-WOODRUN                   FL1370669   CWS         Groundwater                   3,545
  FL    MELBOURNE, CITY OF                   FL3051447   CWS         Surfacewater                167,460
  FL    MEXICO BEACH, CITY OF                FL1030467   CWS         Surfacewater purchased        5,317

  FL    MIDWAY WATER SYSTEM, INC.            FL1570470   CWS         Groundwater                  19,535
  FL    MILTON, CITY OF WATER SYSTEM         FL1570146   CWS         Groundwater                  21,241
  FL    MIMS WATER TREATMENT / NORTH         FL3050834   CWS         Groundwater                   7,958
        BREVARD CO.
  FL    MINNEOLA WATER DEPARTMENT (2         FL3350836   CWS         Groundwater                  17,888
        WPS)
  FL    MOLINO UTILITIES, INC.               FL1170475   CWS         Groundwater                   8,487
  FL    MONTICELLO, CITY OF                  FL1330478   CWS         Groundwater                   4,502
  FL    MOORE CREEK MOUNT CARMEL             FL1570479   CWS         Groundwater                   4,508
        UTILITIES


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Primacy                 PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                           Served
 [State]
   FL      MOORE HAVEN WTP                    FL5220192   CWS         Groundwater                   3,735
   FL      MOSSY HEAD WATER WORKS, INC.       FL1660803   CWS         Groundwater                   4,054
   FL      MOUNT DORA, CITY OF (2WPS)         FL3350858   CWS         Groundwater                  37,426
   FL      MULBERRY, CITY OF                  FL6531237   CWS         Groundwater                   3,780
   FL      NAPLES WATER DEPT                  FL5110198   CWS         Groundwater                  72,000
   FL      NASSAU-AMELIA UTILITIES            FL2450022   CWS         Groundwater                   9,540
   FL      NAVARRE BEACH WATER SYSTEM         FL1570874   CWS         Groundwater                   6,094
   FL      NEPTUNE BEACH                      FL2160206   CWS         Groundwater                   7,270
   FL      NEW PORT RICHEY WATER DEPT         FL6511255   CWS         Surfacewater purchased       33,000

  FL       NEWBERRY WTP                       FL2010207   CWS         Groundwater                   3,885
  FL       NORTH BAY VILLAGE, CITY OF         FL4130970   CWS         Groundwater purchased         8,317

  FL       NORTH BEACH UTILITIES              FL2550812   CWS         Groundwater                   3,585
  FL       NORTH HUTCHINSON ISLAND            FL4560971   CWS         Groundwater purchased         3,954

  FL       NORTH LAUDERDALE, CITY OF          FL4060976   CWS         Groundwater                  35,709
  FL       NORTH MIAMI BEACH                  FL4131618   CWS         Groundwater                 180,000
  FL       NORTH PORT UTILITIES               FL6580651   CWS         Surfacewater                 53,577
  FL       NORTH SPRINGS IMPROVEMENT          FL4064390   CWS         Groundwater                  37,371
           DISTRICT
  FL       NORTH SUMTER UTILITY 3WPS          FL6605012   CWS         Groundwater                  44,517
  FL       NORTHEAST                          FL6530617   CWS         Groundwater                  60,557
  FL       NORTHWEST                          FL6532348   CWS         Groundwater                  28,082
  FL       OAKLAND PARK CITY OF               FL4060989   CWS         Groundwater purchased        27,984

  FL       OAKLAND TOWN OF                    FL3480913   CWS         Groundwater                   4,893
  FL       OCOEE, CITY OF (2 WPS)             FL3480204   CWS         Groundwater                  34,000
  FL       OCUD/EASTERN WATER SYSTEM (2 WP)   FL3484132   CWS         Groundwater                 293,374
  FL       OCUD/SOUTHERN WATER SYS (5 WPS)    FL3484119   CWS         Groundwater                  80,738
  FL       OCUD/WESTERN REGIONAL WTR SYS (5   FL3481546   CWS         Groundwater                 206,742
           WPS)
  FL       OKALOOSA CO.WTR.; SWR.SYSTEM       FL1460506   CWS         Groundwater                  85,169
  FL       OKALOOSA COUNTY MID SYSTEM         FL1464044   CWS         Groundwater                   7,300
           (CRESTVIEW)
  FL       OKALOOSA COUNTY BLUEWATER BAY-     FL1460775   CWS         Groundwater                  13,760
           RAINTREE
  FL       OKEECHOBEE UTILITY AUTHORITY       FL4470257   CWS         Surfacewater                 20,000
  FL       OLDSMAR WATER SYSTEM               FL6521417   CWS         Surfacewater purchased       14,731

  FL       ON TOP OF THE WORLD                FL6424619   CWS         Groundwater                  12,901
  FL       OPA LOCKA, CITY OF                 FL4131001   CWS         Groundwater                  16,479
  FL       ORANGE CITY UTILITIES              FL3640946   CWS         Groundwater                  12,335
  FL       ORANGE PARK GRID                   FL2100741   CWS         Groundwater                  93,183
  FL       ORANGEWOOD WATER SYSTEM            FL6511311   CWS         Groundwater                   6,464
  FL       ORLANDO UTILITIES COMMISSION (7    FL3480962   CWS         Groundwater                 456,036
           WPS)


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Primacy                PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                          Served
 [State]
   FL    ORMOND BEACH                        FL3640963   CWS         Groundwater                  50,632
   FL    OVIEDO, CITY OF                     FL3590970   CWS         Groundwater                  46,683
   FL    OZELLO WATER ASSOCIATION            FL6091322   CWS         Groundwater purchased         5,220

  FL    PACE WATER SYSTEM, INC.           FL1570671      CWS         Groundwater                  43,317
  FL    PACE/FLEMING GRID                 FL2104391      CWS         Groundwater                  30,045
  FL    PALM BAY, CITY OF                 FL3050442      CWS         Groundwater                 121,160
  FL    PALM BEACH COUNTY WATER UTILITIES FL4504393      CWS         Groundwater                 597,649

  FL    PALM COAST UTILITY                   FL2180863   CWS         Groundwater                  96,025
  FL    PALM SPRINGS, VILLAGE OF             FL4501058   CWS         Groundwater                  32,467
  FL    PALMETTO WATER DEPT                  FL6410322   CWS         Surfacewater purchased       13,446

  FL    PANAMA CITY BEACH CITY OF            FL1030515   CWS         Surfacewater purchased       65,063

  FL    PANAMA CITY WATER SYSTEM             FL1030517   CWS         Surfacewater purchased       36,909

  FL    PARKER, CITY OF WATER SYSTEM         FL1030520   CWS         Surfacewater purchased        3,817

  FL    PBCWUD - LAKE REGION WTP - SYSTEM    FL4505005   CWS         Groundwater                  24,065
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  FL    PCUD-PASCO COUNTY REGIONAL PWS       FL6511361   CWS         Surfacewater purchased      214,403

  FL    PEACE RIVER REG WATER PLANT          FL6142734   CWS         Surfacewater                  3,301
  FL    PEMBROKE PINES, CITY OF              FL4061083   CWS         Groundwater                 187,459
  FL    PERRY WATER SYSTEM                   FL2620208   CWS         Groundwater                   6,898
  FL    PINELLAS COUNTY UTILITIES            FL6521405   CWS         Surfacewater purchased      506,353

  FL    PINELLAS PARK WATER DEPT             FL6521406   CWS         Surfacewater purchased       48,939

  FL    PLACID LAKES UTILITY INC             FL6280223   CWS         Groundwater                   4,100
  FL    PLANTATION, EAST ; CENTRAL           FL4061121   CWS         Groundwater                  85,496
  FL    PLURIS-SOUTH GATE UTILITIES          FL6588003   CWS         Surfacewater purchased       15,897

  FL    PLURIS-WEDGEFIELD INC                FL3480149   CWS         Groundwater                   5,828
  FL    POINT BAKER WATER SYSTEM, INC.       FL1570540   CWS         Groundwater                  10,226
  FL    PORT LABELLE                         FL5260226   CWS         Groundwater                   8,679
  FL    PORT ORANGE, CITY OF                 FL3641044   CWS         Groundwater                  71,232
  FL    PORT RICHEY WATER DEPT-CITY OF       FL6510324   CWS         Groundwater                   7,732
  FL    PORT ST LUCIE UTILITIES              FL4560954   CWS         Groundwater                 220,232
  FL    PORT ST. JOE, CITY OF                FL1230545   CWS         Surfacewater                 13,682
  FL    PRICE CREEK WTP (LAKE CITY)          FL2120630   CWS         Groundwater                  17,775
  FL    QUINCY, CITY OF W/S                  FL1200551   CWS         Surfacewater                 10,112
  FL    R. C. WILLIS WTP (CITY OF PALATKA)   FL2544260   CWS         Groundwater                  11,900
  FL    RCID CENTRAL (4 WPS)                 FL3484093   CWS         Groundwater                 136,500
  FL    REGIONAL UTILITIES WATER SYSTEM      FL1660596   CWS         Groundwater                  62,225
  FL    RESERVE UTILITIES                    FL4565030   CWS         Groundwater                   4,808



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Primacy               PWS Name                   PWSID     PWS Type      Primary Source        Population
Agency                                                                                           Served
 [State]
   FL    RIVIERA BEACH UTILITY DISTRICT, CITY FL4501229   CWS         Groundwater                  31,500
         OF
   FL    ROYAL WATERWORKS, INC                FL4061517   CWS         Groundwater                   4,481
   FL    SAFETY HARBOR WATER DEPT             FL6521576   CWS         Surfacewater purchased       16,473

  FL    SANFORD, CITY OF (2 WPS)              FL3590205   CWS         Groundwater                  77,228
  FL    SANLANDO (3 WTPS)                     FL3591121   CWS         Groundwater                  36,953
  FL    SARASOTA CO SPECIAL UTIL DIST         FL6581591   CWS         Surfacewater purchased      209,793

  FL    SARASOTA-CITY OF                      FL6580326   CWS         Groundwater                  55,364
  FL    SEACOAST UTILITIES AUTHORITY          FL4501124   CWS         Groundwater                  95,926
  FL    SEBRING WATER ; SEWER SYSTEM          FL6280250   CWS         Groundwater                  42,640
  FL    SEMINOLE COUNTY NORTHEAST             FL3590473   CWS         Groundwater                  19,925
  FL    SEMINOLE COUNTY NORTHWEST             FL3594107   CWS         Groundwater                  31,986
  FL    SEMINOLE COUNTY SOUTHEAST             FL3590571   CWS         Groundwater                  70,040
  FL    SEMINOLE COUNTY SOUTHWEST             FL3590785   CWS         Groundwater                   9,622
  FL    SEMINOLE IMPROVEMENT DISTRICT         FL4504903   CWS         Groundwater                   4,996
  FL    SEVEN SPRINGS                         FL6512214   CWS         Groundwater                  32,834
  FL    SJCU-CR214 MAINLAND WTP               FL2554447   CWS         Groundwater                  61,310
  FL    SJCU-NORTHEAST UTILITIES WS           FL2554475   CWS         Groundwater purchased        11,962

  FL    SJCU-NORTHWEST UTILITIES WTP          FL2554471   CWS         Groundwater                  32,657
  FL    SJCU-PONTE VEDRA WS                   FL2554343   CWS         Groundwater                  13,340
  FL    SJCU-SAWGRASS GRID                    FL2551004   CWS         Groundwater                  12,940
  FL    SOPCHOPPY, CITY OF                    FL1650612   CWS         Groundwater                  11,305
  FL    SOUTH DAYTONA, CITY OF                FL3641216   CWS         Groundwater purchased        13,080

  FL    SOUTH MARTIN REGIONAL UTILITIES       FL4430624   CWS         Groundwater                  27,000
  FL    SOUTH SHORE WATER ASSN., INC.         FL5260262   CWS         Surfacewater purchased        4,750

  FL    SOUTH SUMTER UTILITIES                FL3600009   CWS         Groundwater                  21,006
  FL    SOUTH WALTON UTILITY COMPANY          FL1660615   CWS         Groundwater                  25,003
  FL    SOUTHLAKE UTILITIES                   FL3354916   CWS         Groundwater                   8,300
  FL    SOUTHWEST/POLK COUNTY UTILITY         FL6530852   CWS         Groundwater                  39,209
  FL    SPRING LAKE IMPROVEMENT DISTIRCT      FL5280266   CWS         Groundwater                   3,586
  FL    SPRINGFIELD, CITY OF                  FL1030148   CWS         Surfacewater purchased        8,118

  FL    SPRUCE CREEK NORTH                FL6424652       CWS         Groundwater                   6,988
  FL    ST LUCIE COUNTY UTIL NORTH COUNTY FL4561689       CWS         Groundwater                   3,975
        SYSTEM
  FL    ST PETERSBURG, CITY OF            FL6521715       CWS         Surfacewater purchased      347,050

  FL    ST. AUGUSTINE WS                      FL2550210   CWS         Groundwater                  41,874
  FL    ST. CLOUD, CITY OF (3 WPS)            FL3491373   CWS         Groundwater                  64,668
  FL    ST. JOSEPH'S HOSPITAL                 FL6296137   NTNCWS      Groundwater                   4,454
  FL    ST. LUCIE WEST SERVICES DISTRICT      FL4565031   CWS         Groundwater                  21,400
  FL    STARKE WTP                            FL2040211   CWS         Groundwater                   6,927


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Primacy                PWS Name                 PWSID      PWS Type      Primary Source        Population
Agency                                                                                           Served
 [State]
   FL      SUGARMILL WOODS S/D                FL6091735   CWS         Groundwater                  10,308
   FL      SUN N LAKES OF SEBRING WATER       FL6280274   CWS         Groundwater                   7,710
   FL      SUN OUTDOORS SARASOTA              FL6581741   CWS         Groundwater                   3,800
   FL      SUNRISE SAWGRASS                   FL4061408   CWS         Groundwater                  72,400
   FL      SUNRISE SOUTHWEST                  FL4064326   CWS         Groundwater                  10,750
   FL      SUNRISE SPRINGTREE                 FL4061410   CWS         Groundwater                  79,550
   FL      SUNSHINE PARKWAY SYSTEMS           FL3350691   CWS         Groundwater                   6,538
   FL      SURFSIDE, TOWN OF                  FL4131424   CWS         Groundwater purchased         6,000

  FL       SUWANNEE CORRECTIONAL INSTITUTE    FL2614268   CWS         Groundwater                   3,950
  FL       TAFT WATER ASSOCIATION             FL3481326   CWS         Groundwater                   4,232
  FL       TALLAHASSEE, CITY OF               FL1370655   CWS         Groundwater                 193,927
  FL       TAMARAC (WEST), CITY OF            FL4061429   CWS         Groundwater                  63,793
  FL       TARPON SPRINGS WATER SYSTEM        FL6521784   CWS         Groundwater                  28,875
  FL       TAVARES WATER DEPARTMENT (4 WPS)   FL3351333   CWS         Groundwater                  20,013

  FL       TEQUESTA PWS, VILLAGE OF           FL4501438   CWS         Groundwater                  15,500
  FL       TITUSVILLE, CITY OF                FL3051367   CWS         Surfacewater purchased       55,248

  FL       TOHO BUENAVENTURA LAKES            FL3490184   CWS         Groundwater                  16,569
  FL       TOHO WATER AUTHORITY EASTERN       FL3490751   CWS         Groundwater                 110,102
  FL       TOHO WATER AUTHORITY WESTERN       FL3491011   CWS         Groundwater                  40,330
  FL       TOHO WATER AUTHORITY-POINCIANA     FL3494429   CWS         Groundwater                  69,447
           SYSTEM
  FL       TOWN OF BAY HARBOR ISLANDS         FL4130089   CWS         Groundwater purchased         5,980

  FL       TOWN OF FORT MYERS BEACH (BEACH    FL5364145   CWS         Surfacewater purchased        6,900
           WATER)
  FL       TOWN OF LONGBOAT KEY               FL6411098   CWS         Surfacewater purchased        7,098

  FL       TOWN OF ORANGE PARK                FL2101182   CWS         Groundwater                   8,630
  FL       TOWN OF PONCE INLET                FL3641041   CWS         Groundwater purchased         3,717

  FL       TURTLE LAKES (MAD HATTER EAST)     FL6512064   CWS         Groundwater                   7,021
  FL       UIF - CYPRESS LAKES                FL6535055   CWS         Groundwater                   3,418
  FL       UMATILLA WATER WORKS (2 WPS)       FL3351402   CWS         Groundwater                   3,482
  FL       VALPARAISO, CITY OF                FL1460149   CWS         Groundwater                   5,539
  FL       VC/HALIFAX PLANTATION (WTP-8)      FL3644123   CWS         Groundwater                   4,929
  FL       VC/SOUTHEAST VOLUSIA               FL3644329   CWS         Groundwater purchased         3,939
           INTERCONNECTED-WS#7
  FL       VC/SOUTHWEST WATER SYSTEM          FL3641336   CWS         Groundwater                  17,563
  FL       VC/SOUTHWEST WTP-2                 FL3644155   CWS         Groundwater                   3,828
  FL       VC/SPRUCE CREEK WTP-15             FL3640412   CWS         Groundwater                   3,368
  FL       VENICE WATER DEPT CITY OF          FL6581901   CWS         Groundwater                  31,358
  FL       VERO BEACH, CITY OF                FL3310206   CWS         Groundwater                  37,308
  FL       VILLAGE OF GOLF                    FL4501528   CWS         Groundwater                   3,505
  FL       VILLAGE OF INDIANTOWN              FL4430667   CWS         Groundwater                   5,847


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Primacy                PWS Name                  PWSID      PWS Type      Primary Source        Population
Agency                                                                                            Served
 [State]
   FL    VILLAGE OF PINE RIDGE (CONSEC)       FL3600007    CWS         Groundwater purchased         3,914

  FL    VILLAGES OF LAKE-SUMTER - WTPS 1, 3, ; FL3350942   CWS         Groundwater                  18,673
        5
  FL    WAHNETA WATER SYSTEM                   FL6531917   CWS         Groundwater                   4,500
  FL    WAKULLA REGIONAL (AKA GULF COAST) FL1650785        CWS         Groundwater                   6,572

  FL    WATER MGMT SERVICES (ST. GEORGE       FL1190789    CWS         Groundwater                   4,593
        ISLAND)
  FL    WAUCHULA CITY WATER DEPARTMENT        FL6250329    CWS         Groundwater                   5,000

  FL    WEATHERSFIELD                         FL3591451    CWS         Groundwater                   4,221
  FL    WELLINGTON WTP                        FL4500014    CWS         Groundwater                  56,475
  FL    WEST MELBOURNE WTR SYS(CONSEC)        FL3051460    CWS         Surfacewater purchased       25,385

  FL    WEST MIAMI, CITY OF                   FL4131558    CWS         Groundwater purchased         8,120

  FL    WEST PALM BEACH WTP                   FL4501559    CWS         Surfacewater                102,000
  FL    WEST SIDE CONSOLIDATED                FL6421144    CWS         Groundwater                  33,667
  FL    WILDWOOD, CITY OF (7 WPS)             FL6600331    CWS         Groundwater                  17,214
  FL    WILTON MANORS, CITY OF                FL4061574    CWS         Groundwater purchased        11,700

  FL    WINCO UTILITIES W/S                   FL1650791    CWS         Groundwater                   3,545
  FL    WINTER GARDEN WATER DEPT (3 WPS)      FL3481481    CWS         Groundwater                  72,205
  FL    WINTER HAVEN WATER DEPARTMENT         FL6531992    CWS         Groundwater                  87,537
  FL    WINTER PARK, CITY OF (3 WPS)          FL3481482    CWS         Groundwater                  82,984
  FL    WINTER SPRINGS, CITY OF (3 WPS)       FL3590879    CWS         Groundwater                  34,657
  GA    ADAIRSVILLE                           GA0150000    CWS         Groundwater under             7,306
                                                                       influence of
                                                                       surfacewater
  GA    ADEL                                  GA0750000    CWS         Groundwater                    6,560
  GA    ALAMO                                 GA3090000    CWS         Groundwater                    3,730
  GA    ALBANY                                GA0950000    CWS         Groundwater                   92,208
  GA    ALMA                                  GA0050000    CWS         Groundwater                    4,064
  GA    AMERICUS                              GA2610000    CWS         Groundwater                   14,524
  GA    ASHBURN                               GA2870000    CWS         Groundwater                    4,982
  GA    ATHENS-CLARKE CO WATER SYSTEM         GA0590000    CWS         Surfacewater                 125,000
  GA    ATLANTA                               GA1210001    CWS         Surfacewater               1,089,893
  GA    AUBURN                                GA0130000    CWS         Surfacewater purchased         8,094

  GA    AUSTELL                               GA0670001    CWS         Surfacewater purchased        7,774

  GA    BAINBRIDGE                            GA0870001    CWS         Groundwater                  13,547
  GA    BALDWIN                               GA1370001    CWS         Surfacewater                  4,160
  GA    BALDWIN COUNTY                        GA0090000    CWS         Surfacewater purchased       23,067

  GA    BANKS CO - MOUNTAIN CREEK             GA0110026    CWS         Surfacewater                  6,453
  GA    BARNESVILLE                           GA1710000    CWS         Surfacewater                 10,725


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Primacy             PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                       Served
 [State]
   GA    BARROW COUNTY BOC TRANSMISSION   GA0130034   CWS         Surfacewater purchased       39,000
         MAINS
   GA    BARROW COUNTY WATER SYSTEM       GA0130031   CWS         Surfacewater purchased       14,043

 GA    BARTOW COUNTY                      GA0150001   CWS         Surfacewater purchased       60,873

 GA    BAXLEY                             GA0010000   CWS         Groundwater                   4,741
 GA    BIG CANOE SUBDIVISION              GA2270004   CWS         Surfacewater                  6,396
 GA    BLACKSHEAR                         GA2290000   CWS         Groundwater                   4,455
 GA    BLAKELY                            GA0990000   CWS         Groundwater                   5,716
 GA    BLUE RIDGE WATER SYSTEM            GA1110000   CWS         Surfacewater                  6,112
 GA    BOWDON                             GA0450000   CWS         Surfacewater                  6,180
 GA    BRASELTON                          GA1570000   CWS         Surfacewater purchased       12,371

 GA    BREMEN                           GA1430000     CWS         Surfacewater                  6,200
 GA    BRUNSWICK                        GA1270000     CWS         Groundwater                  40,127
 GA    BUFORD                           GA1350000     CWS         Surfacewater                  8,482
 GA    BUTLER                           GA2690000     CWS         Groundwater                   4,460
 GA    BUTTS COUNTY/JACKSON/JENKINSBURG GA0350051     CWS         Surfacewater                 31,171
       WS
 GA    BYRON                            GA2250000     CWS         Groundwater                   9,993
 GA    CAIRO                            GA1310000     CWS         Groundwater                   9,285
 GA    CAMILLA                          GA2050001     CWS         Groundwater                   6,537
 GA    CANTON                           GA0570001     CWS         Surfacewater                 16,375
 GA    CARROLL COUNTY                   GA0450001     CWS         Surfacewater                 48,941
 GA    CARROLLTON                       GA0450002     CWS         Surfacewater                 25,200
 GA    CARTERSVILLE                     GA0150002     CWS         Surfacewater                 24,830
 GA    CAVE SPRING                      GA1150000     CWS         Groundwater                   4,248
 GA    CEDARTOWN                        GA2330000     CWS         Surfacewater purchased        9,750

 GA    CHEROKEE COUNTY                    GA0570002   CWS         Surfacewater                189,542
 GA    CLARKESVILLE                       GA1370002   CWS         Surfacewater                  5,785
 GA    CLAXTON                            GA1090001   CWS         Groundwater                   3,840
 GA    CLAYTON                            GA2410000   CWS         Surfacewater purchased        7,225

 GA    CLEVELAND WATERWORKS               GA3110000   CWS         Surfacewater purchased        5,587

 GA    COBB COUNTY                        GA0670003   CWS         Surfacewater purchased      695,000

 GA    COCHRAN                            GA0230000   CWS         Groundwater                   8,114
 GA    COLLEGE PARK                       GA1210002   CWS         Surfacewater purchased       20,382

 GA    COLUMBIA COUNTY                    GA0730000   CWS         Surfacewater                124,763
 GA    COMMERCE                           GA1570001   CWS         Surfacewater                  7,387
 GA    COOSA WATER AUTHORITY              GA2910006   CWS         Groundwater                   4,407
 GA    CORDELE                            GA0810001   CWS         Groundwater                  11,196
 GA    CORNELIA                           GA1370003   CWS         Surfacewater                  6,130


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Primacy              PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                        Served
 [State]
   GA    COVINGTON                         GA2170001   CWS         Surfacewater purchased       17,272

 GA    COWETA WATER & SEWER AUTH.          GA0770042   CWS         Surfacewater                 92,907
 GA    CUMMING                             GA1170000   CWS         Surfacewater                 58,661
 GA    CUTHBERT                            GA2430000   CWS         Groundwater                   3,320
 GA    DADE COUNTY WATER AUTHORITY         GA0830000   CWS         Surfacewater                 16,285
 GA    DAHLONEGA                           GA1870000   CWS         Surfacewater                  7,500
 GA    DALLAS                              GA2230000   CWS         Surfacewater purchased       13,232

 GA    DAWSON                              GA2730001   CWS         Groundwater                   4,936
 GA    DEKALB COUNTY                       GA0890001   CWS         Surfacewater                743,000
 GA    DEMOREST                            GA1370004   CWS         Surfacewater purchased       18,049

 GA    DOUGLAS                         GA0690002       CWS         Groundwater                  11,255
 GA    DOUGLASVILLE-DOUGLAS COUNTY WSA GA0970000       CWS         Surfacewater                110,219

 GA    DUBLIN                              GA1750002   CWS         Surfacewater                 17,500
 GA    EAST DUBLIN                         GA1750004   CWS         Groundwater                   4,536
 GA    EAST POINT                          GA1210003   CWS         Surfacewater                 33,712
 GA    EASTMAN                             GA0910002   CWS         Groundwater                   8,098
 GA    EATONTON PUTNAM WATER & SEWER       GA2370000   CWS         Surfacewater purchased       11,479
       AUTH
 GA    EFFINGHAM COUNTY SURFACE WATER      GA1030131   CWS         Surfacewater purchased        9,869
       SYSTEM
 GA    ELBERTON                            GA1050001   CWS         Surfacewater                  7,800
 GA    ELLIJAY-GILMER CO. WATER AUTH.      GA1230000   CWS         Surfacewater                 13,010
 GA    ETOWAH                              GA0850007   CWS         Surfacewater                 16,357
 GA    FAIRBURN                            GA1210004   CWS         Surfacewater purchased       14,000

 GA    FAYETTE COUNTY                      GA1130001   CWS         Surfacewater                 77,051
 GA    FAYETTEVILLE                        GA1130003   CWS         Surfacewater purchased       15,281

 GA    FITZGERALD                          GA0170000   CWS         Groundwater                  15,394
 GA    FLOWERY BRANCH                      GA1390000   CWS         Groundwater                   4,594
 GA    FOLKSTON                            GA0490000   CWS         Groundwater                   4,641
 GA    FORSYTH                             GA2070001   CWS         Surfacewater                  8,585
 GA    FORSYTH CO. WATER & SEWER           GA1170050   CWS         Surfacewater                161,200
 GA    FORT OGLETHORPE                     GA0470001   CWS         Surfacewater purchased        7,909

 GA    FORT VALLEY UTILITY COMMISSION      GA2250001   CWS         Groundwater                  13,296
 GA    FRANKLIN COUNTY WATER SYSTEM        GA1190051   CWS         Surfacewater purchased        5,691

 GA    GAINESVILLE                         GA1390001   CWS         Surfacewater                140,000
 GA    GARDEN CITY                         GA0510000   CWS         Groundwater                   8,141
 GA    GLEN OF ROBIN HOOD                  GA0510109   CWS         Groundwater                   5,000
 GA    GLENNVILLE WATER SYSTEM             GA2670002   CWS         Groundwater                   5,173
 GA    GRAY                                GA1690000   CWS         Groundwater                   9,551


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Primacy              PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                        Served
 [State]
   GA    GROVETOWN                         GA0730001   CWS         Surfacewater purchased       16,000

 GA    GWINNETT CO. DEPT. OF WATER         GA1350004   CWS         Surfacewater                975,000
       RESOURCES
 GA    HAHIRA                              GA1850000   CWS         Groundwater                   3,440
 GA    HAMPTON                             GA1510000   CWS         Surfacewater purchased        7,305

 GA    HAPEVILLE                           GA1210006   CWS         Surfacewater purchased        5,790

 GA    HARALSON COUNTY WATER AUTHORITY GA1430007       CWS         Surfacewater                 12,220

 GA    HARRIS COUNTY WATER SYSTEM          GA1450011   CWS         Surfacewater                 22,922
 GA    HART CO. WATER & SEWER AUTH.        GA1470065   CWS         Surfacewater purchased        5,637

 GA    HARTWELL                            GA1470000   CWS         Surfacewater                  8,129
 GA    HAWKINSVILLE                        GA2350001   CWS         Groundwater                   6,590
 GA    HAZLEHURST WATER SYSTEM             GA1610001   CWS         Groundwater                   5,569
 GA    HEARD COUNTY WATER AUTHORITY        GA1490000   CWS         Surfacewater                  8,172
 GA    HENRY COUNTY WATER AUTHORITY        GA1510001   CWS         Surfacewater                176,038
 GA    HEPHZIBAH                           GA2450002   CWS         Groundwater                   6,257
 GA    HIAWASSEE                           GA2810000   CWS         Surfacewater                  5,496
 GA    HINESVILLE                          GA1790000   CWS         Groundwater                  24,666
 GA    HOGANSVILLE                         GA2850000   CWS         Surfacewater purchased        3,741

 GA    HOUSTON COUNTY-FEAGIN MILL          GA1530021   CWS         Groundwater                  92,971
 GA    JACKSON COUNTY WATER & SEWER        GA1570117   CWS         Surfacewater purchased       24,957
       AUTHORITY
 GA    JASPER                              GA2270000   CWS         Surfacewater                 11,700
 GA    JEFFERSON                           GA1570003   CWS         Surfacewater                 10,501
 GA    JESUP WATER SYSTEM                  GA3050000   CWS         Groundwater                  10,200
 GA    JONES COUNTY                        GA1690002   CWS         Surfacewater purchased       12,736

 GA    KINGSLAND                           GA0390000   CWS         Groundwater                  19,804
 GA    LAGRANGE                            GA2850001   CWS         Surfacewater                 41,852
 GA    LAKE ARROWHEAD SUBDIVISION          GA0570006   CWS         Groundwater                   4,844
 GA    LAKE BLACKSHEAR AREA                GA0810064   CWS         Groundwater                   3,505
 GA    LARCHMONT ESTATES SUBDIVISION       GA0510034   CWS         Groundwater                  11,799
 GA    LAVONIA                             GA1190003   CWS         Surfacewater                  8,190
 GA    LEE COUNTY UTILITIES AUTHORITY      GA1770068   CWS         Groundwater                  19,508
 GA    LEESBURG                            GA1770000   CWS         Groundwater                   3,372
 GA    LINCOLN COUNTY WATER SYSTEM         GA1810038   CWS         Surfacewater purchased        4,109

 GA    LOCUST GROVE                        GA1510002   CWS         Groundwater                   5,648
 GA    LOGANVILLE                          GA1350006   CWS         Surfacewater purchased       12,319

 GA    LOUISVILLE                       GA1630002      CWS         Groundwater                   4,965
 GA    LOWNDES CO.-NORTH LOWNDES CO. WS GA1850016      CWS         Groundwater                  12,473



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Primacy               PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
   GA      LOWNDES CO-SOUTH LOWNDES         GA1850019   CWS         Groundwater                   7,108
   GA      LYONS                            GA2790000   CWS         Groundwater                   4,476
   GA      MACON WATER AUTHORITY            GA0210001   CWS         Surfacewater                130,024
   GA      MADISON                          GA2110002   CWS         Surfacewater                  6,427
   GA      MANCHESTER                       GA1990003   CWS         Surfacewater                  5,343
   GA      MARIETTA                         GA0670005   CWS         Surfacewater purchased       60,100

  GA       MARION COUNTY WATER SYSTEM       GA1970003   CWS         Groundwater                   5,705
  GA       MCCAYSVILLE                      GA1110001   CWS         Surfacewater                  7,020
  GA       MCDONOUGH                        GA1510003   CWS         Surfacewater                 16,187
  GA       MCINTOSH COUNTY-CRESCENT         GA1910021   CWS         Groundwater                   3,406
           COMMUNITY WS
  GA       MCRAE WATER SYSTEM               GA2710003   CWS         Groundwater                   4,907
  GA       METTER                           GA0430000   CWS         Groundwater                   4,776
  GA       MILLEDGEVILLE                    GA0090001   CWS         Surfacewater                 20,540
  GA       MILLEN                           GA1650000   CWS         Groundwater                   5,259
  GA       MONROE                           GA2970001   CWS         Surfacewater                 23,997
  GA       MONTEZUMA                        GA1930002   CWS         Groundwater                   3,915
  GA       MONTICELLO                       GA1590000   CWS         Surfacewater                  3,505
  GA       MOULTRIE                         GA0710004   CWS         Groundwater                  15,735
  GA       MOUNT VERNON                     GA2090003   CWS         Groundwater                   3,973
  GA       NASHVILLE                        GA0190002   CWS         Groundwater                   4,717
  GA       NEWNAN UTILITIES                 GA0770002   CWS         Surfacewater                 49,987
  GA       NEWTON CO. WATER-SEWERAGE AUTH   GA2170004   CWS         Surfacewater purchased       63,340

  GA       NORTH FULTON COUNTY              GA1210005   CWS         Surfacewater purchased      437,032

  GA       OCONEE COUNTY                    GA2190000   CWS         Surfacewater purchased       30,162

  GA       OGLETHORPE                       GA1930003   CWS         Groundwater                   4,001
  GA       PALMETTO                         GA1210008   CWS         Surfacewater                  4,718
  GA       PAULDING COUNTY WATER SYSTEM     GA2230002   CWS         Surfacewater                117,468
  GA       PELHAM                           GA2050003   CWS         Groundwater                   4,053
  GA       PERRY                            GA1530006   CWS         Groundwater                  31,608
  GA       PICKENS COUNTY WATER AUTH.       GA2270002   CWS         Surfacewater purchased        7,153

  GA       POLK COUNTY WATER AUTHORITY      GA2330001   CWS         Surfacewater purchased       23,792

  GA       POOLER                           GA0510001   CWS         Surfacewater purchased       21,187

  GA       PORT WENTWORTH                   GA0510002   CWS         Surfacewater purchased       11,000

  GA       QUITMAN                          GA0270002   CWS         Groundwater                   4,860
  GA       RABUN COUNTY WATER & SEWER       GA2410118   CWS         Surfacewater                  4,587
           AUTHORITY
  GA       REYNOLDS PLANTATION              GA1330046   CWS         Surfacewater                 13,500
  GA       RICHMOND HILL                    GA0290000   CWS         Groundwater                  16,068


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Primacy              PWS Name               PWSID      PWS Type      Primary Source        Population
Agency                                                                                       Served
 [State]
   GA    RINCON WATER SYSTEM              GA1030001   CWS         Surfacewater purchased       15,654

 GA    ROCKDALE CO. WATER SYSTEM          GA2470000   CWS         Surfacewater                 91,678
 GA    ROCKMART                           GA2330002   CWS         Groundwater under             4,199
                                                                  influence of
                                                                  surfacewater
 GA    ROSWELL                            GA1210009   CWS         Surfacewater                 14,300
 GA    SANDERSVILLE                       GA3030005   CWS         Groundwater                   6,045
 GA    SATILLA REGIONAL WATER & SEWER     GA2990001   CWS         Groundwater                  10,657
       AUTH.
 GA    SATILLA REGIONAL WATER & SEWER     GA2990051   CWS         Groundwater                   3,654
       AUTH-EAST
 GA    SAVANNAH HEALTH SERVICES, LLC      GA0510083   NTNCWS      Groundwater                   4,800
       D/B/A MEMO
 GA    SAVANNAH-GEORGETOWN/GATEWAY        GA0510081   CWS         Groundwater                  14,589
 GA    SAVANNAH-I & D                     GA0510004   CWS         Surfacewater                 10,500
 GA    SAVANNAH-MAIN                      GA0510003   CWS         Groundwater                 168,958
 GA    SAVANNAH-WHITEMARSH ISLAND         GA0510250   CWS         Groundwater                   4,247
 GA    SAVANNAH-WILMINGTON ISLAND         GA0510229   CWS         Groundwater                  13,526
 GA    SENOIA                             GA0770003   CWS         Surfacewater                  4,213
 GA    SMYRNA                             GA0670007   CWS         Surfacewater purchased       40,508

 GA    SOCIAL CIRCLE                     GA2970002    CWS         Surfacewater                  5,470
 GA    SOUTH ATLANTIC UTILITIES-BRYAN    GA0290080    CWS         Groundwater                   3,422
       COUNTY(S)
 GA    SOUTH MONROE COUNTY WATER         GA2070074    CWS         Surfacewater purchased        7,320
       SYSTEM
 GA    SOUTHERN NUCLEAR-VOGTLE UNITS 3 & GA0330056    NTNCWS      Groundwater                   4,800
       4
 GA    SPALDING COUNTY WATER SYSTEM      GA2550036    CWS         Surfacewater purchased       40,430

 GA    SPARTA                             GA1410001   CWS         Surfacewater                  3,354
 GA    ST. MARYS                          GA0390001   CWS         Groundwater                  17,270
 GA    ST. SIMONS ISLAND                  GA1270001   CWS         Groundwater                  29,249
 GA    STATESBORO                         GA0310004   CWS         Groundwater                  36,846
 GA    STATHAM                            GA0130001   CWS         Groundwater                   3,986
 GA    STOCKBRIDGE                        GA1510004   CWS         Surfacewater purchased        7,195

 GA    SWAINSBORO                         GA1070005   CWS         Groundwater                   7,236
 GA    SYLVANIA                           GA2510003   CWS         Groundwater                   4,910
 GA    SYLVESTER                          GA3210003   CWS         Groundwater                   7,203
 GA    TALBOT COUNTY WATER WORKS          GA2630005   CWS         Surfacewater purchased        3,879

 GA    TALLAPOOSA                         GA1430002   CWS         Surfacewater purchased        4,680

 GA    TEMPLE                             GA0450005   CWS         Surfacewater purchased        4,500

 GA    THE LANDINGS SUBDIVISION           GA0510033   CWS         Groundwater                  11,058



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Primacy                   PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                             Served
 [State]
   GA      THOMASTON                            GA2930000   CWS         Surfacewater                 12,482
   GA      THOMASVILLE                          GA2750005   CWS         Groundwater                  25,191
   GA      THOMSON-MCDUFFIE CO W&S COMM         GA1890001   CWS         Surfacewater                 21,312
   GA      TIFTON-TIFT COUNTY WATER SYSTEM      GA2770001   CWS         Groundwater                  30,940
   GA      TOCCOA                               GA2570001   CWS         Surfacewater                 24,960
   GA      TOWNS COUNTY                         GA2810007   CWS         Surfacewater purchased       11,556

  GA       TYBEE ISLAND                         GA0510005   CWS         Groundwater                   8,047
  GA       UNADILLA                             GA0930003   CWS         Groundwater                   3,469
  GA       UNION CITY                           GA1210010   CWS         Surfacewater purchased       18,636

  GA       UPSON COUNTY                         GA2930010   CWS         Surfacewater purchased        5,049

  GA       VALDOSTA                             GA1850002   CWS         Groundwater                  51,823
  GA       VIDALIA                              GA2790002   CWS         Groundwater                  14,909
  GA       VIENNA                               GA0930004   CWS         Groundwater                   3,540
  GA       VILLA RICA                           GA0450006   CWS         Surfacewater                 15,667
  GA       WALESKA                              GA0570024   CWS         Surfacewater purchased        4,657

  GA       WALTHOURVILLE WATER SYSTEM           GA1790020   CWS         Groundwater                   3,858
  GA       WALTON CO. WATER & SEWER AUTH.       GA2970008   CWS         Surfacewater purchased       40,400

  GA       WARNER ROBINS                        GA1530007   CWS         Groundwater                  72,447
  GA       WASHINGTON                           GA3170002   CWS         Surfacewater                  6,490
  GA       WAYCROSS                             GA2990002   CWS         Groundwater                  19,900
  GA       WAYNESBORO                           GA0330004   CWS         Groundwater                   5,813
  GA       WEST POINT                           GA2850002   CWS         Surfacewater                  5,800
  GA       WHITE CO WATER & SEWERAGE AUTH       GA3110072   CWS         Surfacewater                  4,420
  GA       WINDER                               GA0130002   CWS         Surfacewater                 40,820
  GA       WRIGHTSVILLE                         GA1670002   CWS         Groundwater                   3,757
  HI       HAINA                                HI0000161   CWS         Groundwater                   4,563
  HI       HANAPEPE-ELEELE                      HI0000404   CWS         Groundwater                   5,592
  HI       HAWAIIAN BEACHES                     HI0000117   CWS         Groundwater                   3,546
  HI       HILO                                 HI0000101   CWS         Groundwater                  39,477
  HI       HNL-WINDWARD-PEARL HARBOR            HI0000331   CWS         Groundwater                 631,389
  HI       KAANAPALI                            HI0000205   CWS         Groundwater                   8,000
  HI       KALAHEO-KOLOA                        HI0000434   CWS         Groundwater                  12,660
  HI       KAMEHAMEHA SCHOOLS                   HI0000319   CWS         Groundwater                   4,000
  HI       KAPALUA                              HI0000204   CWS         Groundwater                   4,200
  HI       KAUNAKAKAI                           HI0000234   CWS         Groundwater                   3,702
  HI       KEKAHA-WAIMEA                        HI0000406   CWS         Groundwater                   5,998
  HI       KILAUEA                              HI0000407   CWS         Groundwater                   3,420
  HI       LAHAINA                              HI0000214   CWS         Surfacewater                 20,065
  HI       LAIE WATER COMPANY                   HI0000325   CWS         Groundwater                   5,577
  HI       LIHUE-KAPAA                          HI0000400   CWS         Surfacewater                 34,854



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Primacy                PWS Name                 PWSID      PWS Type      Primary Source        Population
Agency                                                                                           Served
 [State]
   HI      LOWER KULA                         HI0000247   CWS         Surfacewater                  3,522
   HI      MAKAWAO                            HI0000213   CWS         Surfacewater                 29,868
   HI      MILILANI                           HI0000367   CWS         Groundwater                  50,573
   HI      NORTH KOHALA                       HI0000129   CWS         Groundwater                   4,933
   HI      NORTH KONA                         HI0000131   CWS         Groundwater                  29,581
   HI      OLAA-MOUNTAIN VIEW                 HI0000112   CWS         Groundwater                   6,467
   HI      PRINCEVILLE                        HI0000428   CWS         Groundwater                   6,911
   HI      PUNAHOU SCHOOL                     HI0000324   NTNCWS      Groundwater                   4,000
   HI      SOUTH KOHALA                       HI0000130   CWS         Surfacewater                  9,612
   HI      SOUTH KONA                         HI0000132   CWS         Groundwater                   6,512
   HI      THE QUEEN'S MEDICAL CENTER         HI0000312   CWS         Groundwater                   3,440
   HI      UPPER KULA                         HI0000215   CWS         Surfacewater                  7,686
   HI      WAHIAWA                            HI0000333   CWS         Groundwater                  23,348
   HI      WAIALEE-SUNSET BEACH               HI0000366   CWS         Groundwater                   4,916
   HI      WAIALUA-HALEIWA                    HI0000332   CWS         Groundwater                   9,996
   HI      WAIKOLOA                           HI0000135   CWS         Groundwater                  12,100
   HI      WAILUKU                            HI0000212   CWS         Surfacewater                 74,511
   HI      WAIPAHU-EWA-WAIANAE                HI0000335   CWS         Groundwater                 217,479
   HI      WAIPIO HEIGHTS                     HI0000334   CWS         Groundwater                  11,516
   IA      ADEL MUNICIPAL WATER WORKS         IA2503003   CWS         Groundwater                   6,153
   IA      ALBIA MUNICIPAL WATER WORKS        IA6803010   CWS         Surfacewater purchased        3,721

  IA       ALGONA MUNICIPAL UTILITIES         IA5502015   CWS         Groundwater                   5,487
  IA       ALTOONA WATER SUPPLY               IA7707030   CWS         Groundwater                  19,565
  IA       ANAMOSA MUNICIPAL WATER SUPPLY     IA5307048   CWS         Groundwater                   4,457
  IA       ANKENY, CITY OF                    IA7709053   CWS         Surfacewater purchased       67,887

  IA       ASBURY MUNICIPAL WATER SYSTEM      IA3102001   CWS         Groundwater                   5,943
  IA       ATLANTIC MUNICIPAL UTILITIES       IA1509074   CWS         Groundwater                   6,902
  IA       BONDURANT MUNI WATER SUPPLY        IA7717032   CWS         Surfacewater purchased        7,690

  IA       BOONE WATER WORKS                  IA0819033   CWS         Groundwater under            12,460
                                                                      influence of
                                                                      surfacewater
  IA       CARROLL MUNICIPAL WATER SUPPLY     IA1415072   CWS         Groundwater                  10,321
  IA       CARTER LAKE WATER DISTRICT         IA7812079   CWS         Surfacewater purchased        3,791

  IA       CEDAR FALLS MUNICIPAL WATER        IA0709084   CWS         Groundwater                  40,713
           UTILITIES
  IA       CENTERVILLE MUNICIPAL              IA0407008   CWS         Surfacewater purchased        5,600
           WATERWORKS
  IA       CHARITON MUNICIPAL WATER WORKS     IA5903011   CWS         Surfacewater purchased        4,193

  IA       CHARLES CITY WATER SUPPLY          IA3405012   CWS         Groundwater                   7,396
  IA       CHEROKEE WATER SUPPLY - PLANT 1    IA1811020   CWS         Groundwater                   5,199
  IA       CLARINDA WATER PLANT               IA7329029   CWS         Surfacewater                  4,372



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Primacy               PWS Name               PWSID      PWS Type      Primary Source        Population
Agency                                                                                        Served
 [State]
   IA    CLEAR LAKE WATER DEPARTMENT       IA1716076   CWS         Groundwater                   7,777
   IA    CLIVE WATER DEPARTMENT            IA7720051   CWS         Surfacewater purchased       18,601

  IA    CORALVILLE MUNI WATER SYSTEM       IA5208071   CWS         Groundwater                  22,318
  IA    CRESCO WATERWORKS                  IA4515087   CWS         Groundwater                   3,913
  IA    DE WITT WATER SUPPLY               IA2330036   CWS         Groundwater                   5,514
  IA    DECORAH WATER DEPARTMENT           IA9630012   CWS         Groundwater                   7,615
  IA    DENISON WATER SUPPLY               IA2424027   CWS         Groundwater                   8,373
  IA    DYERSVILLE MUNICIPAL WATER CO      IA3130091   CWS         Groundwater                   4,477
  IA    EAGLE GROVE WATER SUPPLY           IA9926096   CWS         Groundwater                   3,601
  IA    ELDRIDGE WATER SUPPLY              IA8230008   CWS         Groundwater                   6,726
  IA    EMMETSBURG MUNICIPAL WATER         IA7428021   CWS         Groundwater                   3,706
        DEPARTMENT
  IA    ESTHERVILLE WATER TREATMENT        IA3218024   CWS         Groundwater                   5,904
        PLANT
  IA    EVANSDALE WATER WORKS              IA0723027   CWS         Groundwater                   4,561
  IA    FAIRFIELD WATER SUPPLY             IA5131033   CWS         Groundwater                   9,416
  IA    FOREST CITY WATER SUPPLY           IA9525047   CWS         Groundwater                   4,285
  IA    FORT DODGE WATER SUPPLY            IA9433050   CWS         Groundwater                  24,871
  IA    FT MADISON MUNI WATER WORKS        IA5625062   CWS         Groundwater                  11,087
  IA    GENESIS E CAMPUS HOSPITAL EMG      IA8222102   NTNCWS      Groundwater                   6,165
        WELL
  IA    GLENWOOD MUNICIPAL UTILITIES       IA6525090   CWS         Groundwater                   5,449
  IA    GRIMES WATER SUPPLY                IA7736011   CWS         Groundwater                  15,392
  IA    GRINNELL WATER DEPARTMENT          IA7930008   CWS         Groundwater                   9,564
  IA    HAMPTON MUNI WATER WORKS           IA3544024   CWS         Groundwater                   4,337
  IA    HUMBOLDT MUNICIPAL WATER DEPT      IA4641064   CWS         Groundwater under             4,792
                                                                   influence of
                                                                   surfacewater
  IA    HUXLEY WATERWORKS DEPT             IA8538066   CWS         Groundwater                   4,244
  IA    IA REGIONAL UTILITIES ASSOC        IA0990701   CWS         Groundwater                  37,820
        (WAVERLY)
  IA    INDEPENDENCE WATER DEPT            IA1037070   CWS         Groundwater                   6,064
  IA    INDIANOLA WATER SUPPLY             IA9133075   CWS         Groundwater                  15,833
  IA    IOWA FALLS WATER DEPARTMENT        IA4260097   CWS         Groundwater                   5,106
  IA    IOWA LAKES REGIONAL WATER          IA2100701   CWS         Groundwater                   6,225
  IA    IOWA LAKES REGIONAL WATER -        IA3060001   CWS         Surfacewater purchased        6,242
        OSGOOD
  IA    IOWA-AMERICAN WTR CO-CLINTON       IA2326048   CWS         Groundwater                  24,769
        DISTRICT
  IA    JEFFERSON WATER DEPARTMENT         IA3742004   CWS         Groundwater                   4,182
  IA    JOHNSTON MUNICIPAL WATER SUPPLY    IA7740011   CWS         Surfacewater purchased       24,064

  IA    KNOXVILLE WATER WORKS              IA6342036   CWS         Groundwater                   8,400
  IA    LEMARS WATER DEPARTMENT            IA7540174   CWS         Groundwater                  10,571
  IA    MAHASKA RURAL WATER SYSTEM, INC.   IA6273901   CWS         Groundwater                   8,142




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Primacy               PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
   IA    MAQUOKETA MUNICIPAL WATER          IA4950029   CWS         Groundwater                   6,128
   IA    MARION CO. RURAL WATER DISTRICT    IA6342711   CWS         Groundwater purchased         5,687

  IA    MARION MUNICIPAL WATER DEPT        IA5751035    CWS         Groundwater                  41,623
  IA    MARSHALLTOWN WATER WORKS           IA6469042    CWS         Groundwater                  27,591
  IA    MASON CITY WATER DEPARTMENT        IA1750048    CWS         Groundwater                  27,338
  IA    MONTICELLO WATER SUPPLY            IA5343098    CWS         Groundwater                   4,040
  IA    MOUNT PLEASANT MUNICIPAL UTILITIES IA4453016    CWS         Groundwater                   9,274

  IA    MOUNT VERNON WATER SUPPLY           IA5758021   CWS         Groundwater                   4,527
  IA    NEVADA WATER SUPPLY                 IA8562044   CWS         Groundwater                   6,925
  IA    NEW HAMPTON WATER SUPPLY            IA1970051   CWS         Groundwater                   3,494
  IA    NEWTON WATER SUPPLY                 IA5059064   CWS         Groundwater                  15,760
  IA    NORTH LIBERTY WATER SUPPLY          IA5252072   CWS         Groundwater                  20,491
  IA    NORWALK WATER SUPPLY                IA9164078   CWS         Surfacewater purchased       12,799

  IA    OELWEIN MUNICIPAL WATER WORKS       IA3353088   CWS         Groundwater                   5,920
  IA    ORANGE CITY MUNICIPAL WATER         IA8474097   CWS         Groundwater                   6,267
        DEPARTMENT
  IA    OSAGE MUNICIPAL WATER SUPPLY        IA6663001   CWS         Groundwater                   3,637
  IA    OSCEOLA RURAL WATER SYSTEM-         IA7227701   CWS         Groundwater                   6,242
        NORTH
  IA    OSKALOOSA MUNICIPAL WATER DEPT      IA6273005   CWS         Groundwater under            11,558
                                                                    influence of
                                                                    surfacewater
  IA    PELLA WATER WORKS DEPARTMENT        IA6368033   CWS         Groundwater                  10,464
  IA    PERRY MUNICIPAL WATER WORKS         IA2561036   CWS         Groundwater                   7,836
  IA    POLK CITY WATER SUPPLY              IA7770050   CWS         Surfacewater purchased        5,543

  IA    POWESHIEK WATER ASSOCIATION       IA8670701     CWS         Groundwater                  13,920
  IA    RATHBUN REG WATER ASSN (FT        IA0400901     CWS         Surfacewater purchased       10,440
        MADISON)
  IA    RATHBUN REG WTR ASSN (BURLINGTON) IA0400902     CWS         Surfacewater purchased        9,000

  IA    RED OAK WATER SUPPLY                IA6950075   CWS         Groundwater                   5,596
  IA    REGIONAL WATER                      IA8300184   CWS         Groundwater                   4,132
  IA    RURAL WATER SYSTEM #1               IA8400722   CWS         Groundwater under             3,400
                                                                    influence of
                                                                    surfacewater
  IA    SERGEANT BLUFF WATER SUPPLY         IA9774033   CWS         Groundwater                   5,015
  IA    SHELDON WATER DEPARTMENT            IA7170040   CWS         Groundwater                   5,512
  IA    SHENANDOAH WATER DEPT               IA7383045   CWS         Groundwater                   4,925
  IA    SIOUX CENTER MUNICIPAL WATER        IA8486053   CWS         Groundwater                   8,229
        DEPARTMENT
  IA    SIRWA #2 (CRESTON)                  IA8080701   CWS         Surfacewater purchased       19,488

  IA    SIRWA #3 (OSCEOLA)                  IA2038701   CWS         Surfacewater purchased        3,425




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Primacy              PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                        Served
 [State]
   IA    SOUTHEAST POLK RWD                IA7774701   CWS         Surfacewater purchased        6,210

  IA    SOUTHERN SIOUX COUNTY RURAL        IA8400733   CWS         Groundwater                   5,170
        WATER
  IA    STORM LAKE WATER TREATMENT         IA1178097   CWS         Groundwater                  11,431
        PLANT
  IA    STORY CITY WATER DEPT              IA8584000   CWS         Groundwater                   3,352
  IA    TIFFIN WATER SUPPLY                IA5288021   CWS         Groundwater                   4,512
  IA    URBANDALE WATER UTILITY            IA7780042   CWS         Surfacewater purchased       45,600

  IA    VINTON MUNICIPAL WATER DEPT        IA0688053   CWS         Groundwater                   4,938
  IA    WAPELLO RURAL WATER ASSOC.         IA9000742   CWS         Surfacewater purchased       16,075

  IA    WASHINGTON WATER DEPARTMENT        IA9271068   CWS         Groundwater                   7,352
  IA    WAUKEE WATER SUPPLY                IA2573080   CWS         Surfacewater purchased       23,940

  IA    WAUKON WATER DEPARTMENT            IA0398082   CWS         Groundwater                   3,827
  IA    WAVERLY WATER DEPARTMENT           IA0990085   CWS         Groundwater                  10,394
  IA    WEBSTER CITY WATER SUPPLY          IA4063094   CWS         Groundwater                   7,825
  IA    WEST LIBERTY WATER UTILITY         IA7073010   CWS         Groundwater                   3,858
  IA    WILLIAMSBURG PUBLIC WATER SUPPLY   IA4884023   CWS         Groundwater                   3,345

  IA    WORTH CO INTERCHANGE 214 WATER     IA9855202   NTNCWS      Groundwater                   3,850
        SUPPLY
  ID    AMERICAN FALLS CITY OF             ID6390001   CWS         Groundwater                   4,225
  ID    AMMON CITY OF                      ID7100004   CWS         Groundwater                  17,338
  ID    AVONDALE IRRIGATION DIST           ID1280008   CWS         Groundwater                   7,500
  ID    BLACKFOOT CITY OF                  ID6060007   CWS         Groundwater                  11,922
  ID    BONNERS FERRY CITY OF              ID1110003   CWS         Surfacewater                  3,367
  ID    BUHL CITY OF                       ID5420007   CWS         Groundwater                   4,100
  ID    BURLEY WATER DEPT                  ID5160008   CWS         Groundwater                  10,345
  ID    CALDWELL CITY OF                   ID3140013   CWS         Groundwater                  65,000
  ID    CENTRAL SHOSHONE COUNTY WATER      ID1400089   CWS         Groundwater under             6,098
        DIST                                                       influence of
                                                                   surfacewater
  ID    CHUBBUCK CITY OF                   ID6030008   CWS         Groundwater                  15,570
  ID    COEUR D ALENE CITY OF              ID1280053   CWS         Groundwater                  54,115
  ID    EAGLE, CITY OF (EASTERN ZONE)      ID4010201   CWS         Groundwater                   3,683
  ID    EAGLE, CITY OF (WESTERN ZONE)      ID4010222   CWS         Groundwater                   4,989
  ID    EAST GREENACRES IRRIGATION DIST    ID1280064   CWS         Groundwater                  10,600
  ID    EMMETT CITY OF                     ID3230012   CWS         Groundwater                   6,700
  ID    FALLS WATER COMPANY INC            ID7100030   CWS         Groundwater                  19,975
  ID    FRUITLAND CITY OF                  ID3380005   CWS         Surfacewater                  6,000
  ID    GOODING CITY OF                    ID5240009   CWS         Groundwater                   3,567
  ID    HAILEY WATER AND SEWER             ID5070022   CWS         Groundwater                   8,000
  ID    HAYDEN LAKE IRRIGATION DIST        ID1280087   CWS         Groundwater                   8,925
  ID    JEROME CITY OF                     ID5270011   CWS         Groundwater                  11,500


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Primacy                 PWS Name                  PWSID      PWS Type      Primary Source        Population
Agency                                                                                             Served
 [State]
   ID      KIMBERLY CITY OF                    ID5420033    CWS         Groundwater                   4,200
   ID      KUNA CITY OF                        ID4010085    CWS         Groundwater                  28,000
   ID      LEWISTON CITY OF                    ID2350014    CWS         Groundwater                  15,001
   ID      LEWISTON ORCHARDS IRRIGATION DIST   ID2350015    CWS         Groundwater                  20,000

  ID       MCCALL CITY OF                      ID4430033    CWS         Surfacewater                  3,871
  ID       MERIDIAN WATER DEPT                 ID4010097    CWS         Groundwater                 133,470
  ID       MIDDLETON CITY OF                   ID3140074    CWS         Groundwater                   8,645
  ID       MOUNTAIN HOME CITY OF               ID4200032    CWS         Groundwater                  14,000
  ID       NAMPA CITY OF                       ID3140080    CWS         Groundwater                 100,200
  ID       PAYETTE CITY OF                     ID3380009    CWS         Groundwater                   7,433
  ID       POCATELLO CITY OF                   ID6030043    CWS         Groundwater                  56,732
  ID       POST FALLS CITY OF                  ID1280147    CWS         Groundwater                  17,422
  ID       PRESTON CITY OF                     ID6210014    CWS         Groundwater                   5,591
  ID       RATHDRUM CITY OF                    ID1280152    CWS         Groundwater                   8,108
  ID       REXBURG CITY OF                     ID7330022    CWS         Groundwater                  39,409
  ID       RIGBY CITY OF                       ID7260032    CWS         Groundwater                   4,016
  ID       ROSS POINT WATER DIST               ID1280163    CWS         Groundwater                   8,965
  ID       RUPERT CITY OF                      ID5340017    CWS         Groundwater                   5,796
  ID       SANDPOINT PUBLIC WORKS DEPT         ID1090121    CWS         Surfacewater                 11,469
  ID       SCHWEITZER MOUNTAIN RESORT          ID1090123    NTNCWS      Groundwater                   3,301
  ID       SHELLEY CITY OF                     ID6060071    CWS         Groundwater                   4,409
  ID       SILVERWOOD                          ID1280091    NTNCWS      Groundwater                   3,930
  ID       ST ANTHONY                          ID7220067    CWS         Groundwater                   3,542
  ID       ST MARIES CITY OF                   ID1050024    CWS         Surfacewater                  4,038
  ID       STAR SEWER AND WATER DIST WATER     ID4010220    CWS         Groundwater                  14,000
           SYSTEM
  ID       SUN VALLEY WATER AND SEWER DIST     ID5070051    CWS         Groundwater                   3,400
  ID       VEOLIA EAGLE                        ID4010049    CWS         Groundwater                   9,800
  ID       WEISER CITY OF                      ID3440011    CWS         Surfacewater                  5,630
  IL       ABS WATER COOP                      IL0015350    CWS         Groundwater purchased         7,090

  IL       ADDISON                             IL0430050    CWS         Surfacewater purchased       36,742

  IL       ALEDO                               IL1310050    CWS         Groundwater                   3,470
  IL       ALSIP                               IL0310030    CWS         Surfacewater purchased       18,880

  IL       ANNA                                IL1810050    CWS         Groundwater purchased         5,027

  IL       AQUA ILLINOIS-CANDLEWICK DVN        IL0075050    CWS         Groundwater                   6,419
  IL       AQUA ILLINOIS-NORTH MAINE UTILITIES IL0315350    CWS         Surfacewater purchased       30,043

  IL       AQUA ILLINOIS-PEOTONE               IL1970750    CWS         Groundwater                   4,182
  IL       AQUA ILLINOIS-UNIVERSITY PARK       IL1975030    CWS         Surfacewater purchased        7,052

  IL       AQUA ILLINOIS-VERMILION COUNTY      IL1835120    CWS         Surfacewater                 38,000



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Primacy               PWS Name              PWSID      PWS Type      Primary Source        Population
Agency                                                                                       Served
 [State]
   IL    AQUA ILLINOIS-WILLOWBROOK        IL1977870   CWS         Groundwater                   3,338
   IL    ARLINGTON HEIGHTS                IL0314030   CWS         Surfacewater purchased       79,000

  IL    AUBURN                            IL1670050   CWS         Surfacewater purchased        4,895

  IL    AVOCATE CHRIST MEDICAL CENTER     IL3162461   NTNCWS      Surfacewater purchased       10,000

  IL    BARRINGTON                        IL0974080   CWS         Groundwater                  10,327
  IL    BARTLETT                          IL0314120   CWS         Surfacewater purchased       41,103

  IL    BATAVIA                           IL0894130   CWS         Groundwater                  26,345
  IL    BEACH PARK                        IL0970190   CWS         Surfacewater purchased        8,616

  IL    BEARDSTOWN                        IL0170150   CWS         Groundwater                   6,123
  IL    BEECHER                           IL1970050   CWS         Groundwater                   4,360
  IL    BELLWOOD                          IL0310150   CWS         Surfacewater purchased       19,156

  IL    BENSENVILLE                       IL0434140   CWS         Surfacewater purchased       18,044

  IL    BENTON                            IL0550050   CWS         Surfacewater purchased        8,398

  IL    BERKELEY                          IL0310180   CWS         Surfacewater purchased        5,073

  IL    BERWYN                            IL0310210   CWS         Surfacewater purchased       58,000

  IL    BLOOMINGDALE                      IL0430100   CWS         Surfacewater purchased       22,423

  IL    BLUE ISLAND                       IL0310240   CWS         Surfacewater purchased       23,463

  IL    BOND/MADISON WATER COMPANY        IL0050020   CWS         Surfacewater purchased        6,838

  IL    BRAIDWOOD                         IL1970150   CWS         Groundwater                   6,200
  IL    BREESE                            IL0270250   CWS         Surfacewater                  4,772
  IL    BRIDGEVIEW                        IL0310270   CWS         Surfacewater purchased       16,446

  IL    BRIGHTON                          IL1174160   CWS         Surfacewater purchased        7,182

  IL    BROADVIEW                         IL0310300   CWS         Surfacewater purchased        7,932

  IL    BROOKFIELD                        IL0310330   CWS         Surfacewater purchased       18,978

  IL    BUFFALO GROVE                     IL0314180   CWS         Surfacewater purchased       44,128

  IL    BURNHAM                           IL0310360   CWS         Surfacewater purchased        4,159

  IL    BURR RIDGE                        IL0434190   CWS         Surfacewater purchased       11,192

  IL    BYRON                             IL1410100   CWS         Groundwater                   4,743
  IL    CAHOKIA HEIGHTS                   IL1635000   CWS         Surfacewater purchased       13,888




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Primacy               PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
   IL    CALHOUN COUNTY RWD                 IL0130010   CWS         Groundwater                   4,515
   IL    CALUMET CITY                       IL0310390   CWS         Surfacewater purchased       37,000

  IL    CALUMET PARK                        IL0310420   CWS         Surfacewater purchased        7,900

  IL    CAPTAIN JAMES A LOVELL FHCC         IL3161232   NTNCWS      Surfacewater purchased       12,100

  IL    CARBONDALE                          IL0770150   CWS         Surfacewater                 26,138
  IL    CARLINVILLE                         IL1170150   CWS         Surfacewater                  6,112
  IL    CARLYLE                             IL0270300   CWS         Surfacewater                  3,486
  IL    CARMI                               IL1930100   CWS         Groundwater                   6,307
  IL    CAROL STREAM                        IL0430200   CWS         Surfacewater purchased       39,447

  IL    CARPENTERSVILLE                     IL0890200   CWS         Groundwater                  37,983
  IL    CARTERVILLE                         IL1990150   CWS         Surfacewater purchased        6,484

  IL    CASEYVILLE                          IL1630250   CWS         Surfacewater purchased       17,000

  IL    CATERPILLAR TRAIL PWD               IL2035030   CWS         Groundwater                   5,970
  IL    CENTRALIA                           IL1214220   CWS         Surfacewater                 12,182
  IL    CHARLESTON                          IL0290100   CWS         Surfacewater                 16,400
  IL    CHATHAM                             IL1670300   CWS         Groundwater purchased        16,544

  IL    CHERRY VALLEY                       IL2010050   CWS         Groundwater                    5,000
  IL    CHICAGO                             IL0316000   CWS         Surfacewater               2,700,000
  IL    CHICAGO HEIGHTS                     IL0310450   CWS         Surfacewater purchased        30,300

  IL    CHICAGO RIDGE                       IL0310480   CWS         Surfacewater purchased       14,305

  IL    CHILLICOTHE                         IL1430200   CWS         Groundwater                   5,996
  IL    CICERO                              IL0310510   CWS         Surfacewater purchased       83,000

  IL    CLARENDON HILLS                     IL0430250   CWS         Surfacewater purchased        8,653

  IL    CLARK-EDGAR RWD                     IL0230010   CWS         Groundwater                   5,801
  IL    CLEAR WATER SERVICE CORP            IL0295100   CWS         Groundwater                   5,955
  IL    CLINTON                             IL0390050   CWS         Groundwater                   7,128
  IL    COAL CITY                           IL0630200   CWS         Groundwater                   5,587
  IL    COAL VALLEY                         IL1614260   CWS         Groundwater                   3,600
  IL    COAL VALLEY PWD                     IL1995250   CWS         Surfacewater purchased        3,661

  IL    COLUMBIA                            IL1330050   CWS         Surfacewater purchased       11,638

  IL    CORINTH PWD                         IL1995120   CWS         Surfacewater purchased        3,927

  IL    CORTLAND                            IL0370051   CWS         Groundwater                   4,270
  IL    COUNTRY CLUB HILLS                  IL0310540   CWS         Surfacewater purchased       16,511




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Primacy              PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                        Served
 [State]
   IL    COUNTRYSIDE                       IL0310570   CWS         Surfacewater purchased        5,895

  IL    CRESTWOOD                          IL0310600   CWS         Surfacewater purchased       10,950

  IL    CRETE                              IL1970300   CWS         Groundwater                   8,200
  IL    CURRAN-GARDNER TOWNSHIP PWD        IL1675350   CWS         Groundwater                   6,518
  IL    DALLAS RURAL WATER DISTRICT        IL0710010   CWS         Groundwater                   6,125
  IL    DARIEN                             IL0430270   CWS         Surfacewater purchased       22,061

  IL    DE KALB                            IL0370100   CWS         Groundwater                  45,000
  IL    DEERFIELD                          IL0974340   CWS         Surfacewater purchased       19,196

  IL    DES PLAINES                        IL0310630   CWS         Surfacewater purchased       60,675

  IL    DIXON                              IL1030200   CWS         Groundwater                  15,433
  IL    DOLTON                             IL0310690   CWS         Surfacewater purchased       21,426

  IL    DOWNERS GROVE                      IL0430300   CWS         Surfacewater purchased       49,057

  IL    DUQUOIN                            IL1450100   CWS         Surfacewater purchased        7,449

  IL    DWIGHT                             IL1050250   CWS         Groundwater                   4,260
  IL    E J WATER COOP                     IL0790010   CWS         Surfacewater                 23,944
  IL    EFFINGHAM                          IL0490250   CWS         Surfacewater                 12,328
  IL    ELBURN                             IL0890300   CWS         Groundwater                   6,200
  IL    ELDORADO                           IL1655030   CWS         Groundwater purchased         5,024

  IL    ELK GROVE VILLAGE                  IL0314400   CWS         Surfacewater purchased       34,700

  IL    ELMHURST                           IL0430350   CWS         Surfacewater purchased       46,387

  IL    ELMWOOD PARK                       IL0310780   CWS         Surfacewater purchased       25,000

  IL    EMBARRAS AREA WATER DISTRICT       IL0290020   CWS         Groundwater purchased         3,500

  IL    EUREKA                             IL2030200   CWS         Groundwater                   5,372
  IL    EVERGREEN PARK                     IL0310840   CWS         Surfacewater purchased       19,943

  IL    FAIRBURY                           IL1050350   CWS         Groundwater                   3,964
  IL    FAIRFIELD                          IL1910100   CWS         Surfacewater                  6,202
  IL    FAYETTE WATER COMPANY              IL0510010   CWS         Surfacewater purchased        5,250

  IL    FLORA                              IL0250100   CWS         Surfacewater purchased        5,478

  IL    FLOSSMOOR                          IL0310870   CWS         Surfacewater purchased        9,704

  IL    FOREST PARK                        IL0310900   CWS         Surfacewater purchased       14,339

  IL    FORSYTH                            IL1150200   CWS         Groundwater                   3,490



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Primacy               PWS Name               PWSID      PWS Type      Primary Source        Population
Agency                                                                                        Served
 [State]
   IL    FORT MASSAC PWD                   IL1275050   CWS         Groundwater purchased         5,705

  IL    FOSTERBURG PWD                     IL1195220   CWS         Surfacewater purchased        7,230

  IL    FOUNTAIN WATER DISTRICT            IL1330020   CWS         Groundwater                   4,140
  IL    FRANKFORT                          IL1970400   CWS         Groundwater                  20,296
  IL    FRANKLIN PARK                      IL0310960   CWS         Surfacewater purchased       18,333

  IL    FREEBURG                           IL1630600   CWS         Surfacewater purchased        4,529

  IL    FULTON                             IL1950250   CWS         Groundwater                   3,346
  IL    GENESEO                            IL0730500   CWS         Groundwater                   6,480
  IL    GENEVA                             IL0890350   CWS         Groundwater                  21,495
  IL    GENOA                              IL0370150   CWS         Groundwater                   5,200
  IL    GEORGETOWN                         IL1830350   CWS         Groundwater                   3,678
  IL    GIBSON CITY                        IL0530100   CWS         Groundwater                   3,407
  IL    GILBERTS                           IL0890400   CWS         Groundwater                   7,200
  IL    GILLESPIE                          IL1170400   CWS         Surfacewater                  3,919
  IL    GLEN CARBON                        IL1190300   CWS         Surfacewater purchased       12,943

  IL    GLEN ELLYN                         IL0430450   CWS         Surfacewater purchased       27,928

  IL    GLENDALE HEIGHTS                   IL0430400   CWS         Surfacewater purchased       34,208

  IL    GLENVIEW                           IL0311020   CWS         Surfacewater purchased       42,271

  IL    GLENWOOD                           IL0311050   CWS         Surfacewater purchased        8,956

  IL    GRANDWOOD PARK SUBDIVISION - LAKE IL0975600    CWS         Surfacewater purchased        5,430
        CO PW
  IL    GRAYSLAKE                         IL0970250    CWS         Surfacewater purchased       21,248

  IL    GREENE COUNTY RWD                  IL0610020   CWS         Groundwater purchased         3,383

  IL    GREENVILLE                         IL0050050   CWS         Surfacewater                  8,310
  IL    GURNEE                             IL0970350   CWS         Surfacewater purchased       30,706

  IL    HAINESVILLE                        IL0970400   CWS         Groundwater                   3,645
  IL    HAMILTON COUNTY WATER DISTRICT     IL0651000   CWS         Surfacewater purchased        3,762

  IL    HAMPSHIRE                          IL0890450   CWS         Groundwater                   5,563
  IL    HANOVER PARK                       IL0314480   CWS         Surfacewater purchased       37,973

  IL    HARRISBURG                         IL1650200   CWS         Groundwater purchased         8,460

  IL    HARVARD                            IL1110250   CWS         Groundwater                   9,447
  IL    HARVEY                             IL0311110   CWS         Surfacewater purchased       25,000




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Primacy             PWS Name                   PWSID      PWS Type      Primary Source        Population
Agency                                                                                          Served
 [State]
   IL    HARWOOD HEIGHTS                     IL0311140   CWS         Surfacewater purchased        8,649

  IL    HAVANA                               IL1250200   CWS         Groundwater                   3,301
  IL    HAZEL CREST                          IL0311170   CWS         Surfacewater purchased       14,000

  IL    HERRIN                               IL1990400   CWS         Surfacewater purchased       12,872

  IL    HICKORY HILLS                        IL0311200   CWS         Surfacewater purchased       14,049

  IL    HIGHLAND                             IL1190550   CWS         Surfacewater                 10,919
  IL    HIGHLAND PARK                        IL0970500   CWS         Surfacewater                 29,763
  IL    HIGHWOOD                             IL0970550   CWS         Surfacewater                  5,331
  IL    HILLSBORO                            IL1350300   CWS         Surfacewater                  4,359
  IL    HILLSIDE                             IL0311230   CWS         Surfacewater purchased        8,200

  IL    HINSDALE                             IL0434520   CWS         Surfacewater purchased       17,940

  IL    HOFFMAN ESTATES                      IL0311290   CWS         Surfacewater purchased       52,271

  IL    HOMETOWN                             IL0311320   CWS         Surfacewater purchased        4,339

  IL    HOMEWOOD                             IL0311350   CWS         Surfacewater purchased       19,463

  IL    HOOPESTON                            IL1830450   CWS         Groundwater                   5,802
  IL    HUNTLEY                              IL1110350   CWS         Groundwater                  26,632
  IL    IL AMERICAN-CHAMPAIGN                IL0195300   CWS         Groundwater                 142,250
  IL    IL AMERICAN-CHICAGO SUBURBAN         IL0315150   CWS         Surfacewater purchased       11,713

  IL    IL AMERICAN-DUPAGE UTILITY           IL0430552   CWS         Surfacewater purchased        5,833

  IL    IL AMERICAN-FERNWAY                  IL0315030   CWS         Surfacewater purchased        5,642

  IL    IL AMERICAN-HOMER TOWNSHIP           IL1970100   CWS         Surfacewater purchased       20,237

  IL    IL AMERICAN-JERSEYVILLE              IL0830250   CWS         Groundwater                  11,825
  IL    IL AMERICAN-LIBERTY RIDGE WEST       IL0435650   CWS         Surfacewater purchased        3,573

  IL    IL AMERICAN-PONTIAC                  IL1055030   CWS         Surfacewater                 11,864
  IL    IL AMERICAN-SOUTH BELOIT             IL2010450   CWS         Groundwater purchased         7,564

  IL    IL AMERICAN-STERLING                 IL1955040   CWS         Groundwater                  15,000
  IL    IL AMERICAN-STREATOR                 IL0995030   CWS         Surfacewater                 19,000
  IL    IL AMERICAN-VALLEY VIEW              IL0437350   CWS         Surfacewater purchased        4,555

  IL    IL AMERICAN-WEST SUBURBAN            IL1974151   CWS         Surfacewater purchased       73,978

  IL    ISLAND LAKE                          IL0974540   CWS         Groundwater                   8,200
  IL    ITASCA                               IL0430500   CWS         Surfacewater purchased        9,867




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Primacy               PWS Name               PWSID      PWS Type      Primary Source        Population
Agency                                                                                        Served
 [State]
   IL    JOHNSTON CITY                     IL1990500   CWS         Surfacewater purchased        3,639

  IL    JOLIET                             IL1970450   CWS         Groundwater                 148,693
  IL    JUSTICE-WILLOW SPRINGS WATER       IL0315820   CWS         Surfacewater purchased       18,450
        COMMISSION
  IL    KEWANEE                            IL0730650   CWS         Groundwater                  12,547
  IL    LA GRANGE                          IL0311530   CWS         Surfacewater purchased       15,608

  IL    LA GRANGE HIGHLANDS SANITARY       IL0315860   CWS         Surfacewater purchased        6,500
        DISTRICT
  IL    LA GRANGE PARK                     IL0311560   CWS         Surfacewater purchased       13,579

  IL    LAKE BLUFF                         IL0970750   CWS         Surfacewater purchased        5,722

  IL    LAKE OF EGYPT PWD                  IL1995200   CWS         Surfacewater                 10,345
  IL    LAKE SARA AREA WATER CO-OP, INC.   IL0495150   CWS         Surfacewater purchased        3,352

  IL    LAKE VILLA                         IL0970840   CWS         Surfacewater purchased        8,829

  IL    LAKE ZURICH                        IL0970850   CWS         Groundwater                  20,022
  IL    LAKEWOOD                           IL1115760   CWS         Groundwater                   3,780
  IL    LANSING                            IL0311590   CWS         Surfacewater purchased       27,657

  IL    LAWRENCEVILLE                      IL1010150   CWS         Groundwater                   4,666
  IL    LCPW - PEKARA SUBDIVISION          IL0975900   CWS         Groundwater                   3,705
  IL    LE ROY                             IL1130750   CWS         Groundwater                   3,800
  IL    LEBANON                            IL1630650   CWS         Surfacewater purchased        4,418

  IL    LEMONT                             IL0311620   CWS         Groundwater                  17,000
  IL    LEYDEN TWSP WATER DISTRICT         IL0315880   CWS         Surfacewater purchased       16,000

  IL    LIBERTYVILLE                       IL0970900   CWS         Surfacewater purchased       20,315

  IL    LINCOLNSHIRE                       IL0970950   CWS         Surfacewater purchased        7,275

  IL    LINCOLNWOOD                        IL0311650   CWS         Surfacewater purchased       12,394

  IL    LINDENHURST                        IL0971000   CWS         Surfacewater purchased       14,467

  IL    LISLE                              IL0430551   CWS         Surfacewater purchased       22,930

  IL    LITCHFIELD                         IL1350400   CWS         Surfacewater                  6,573
  IL    LOMBARD                            IL0430600   CWS         Surfacewater purchased       44,476

  IL    LONG CREEK TOWNSHIP PWS            IL1155150   CWS         Groundwater                   7,850
  IL    LOVES PARK                         IL2010150   CWS         Groundwater                  23,744
  IL    LUTHERAN GENERAL HOSPITAL          IL3154633   NTNCWS      Surfacewater purchased        5,800

  IL    LYNWOOD                            IL0311680   CWS         Surfacewater purchased        9,680



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Primacy              PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                        Served
 [State]
   IL    LYONS                             IL0311710   CWS         Surfacewater purchased       10,775

  IL    MACKINAW                           IL1790350   CWS         Groundwater                   3,450
  IL    MACOMB                             IL1090350   CWS         Surfacewater                 15,052
  IL    MAHOMET                            IL0190450   CWS         Groundwater                   5,801
  IL    MANHATTAN                          IL1970550   CWS         Groundwater                   7,800
  IL    MARION                             IL1990550   CWS         Surfacewater purchased       17,428

  IL    MARKHAM                            IL0311770   CWS         Surfacewater purchased       12,500

  IL    MARSEILLES                         IL0990500   CWS         Groundwater                   5,061
  IL    MARSHALL                           IL0230100   CWS         Groundwater                   4,600
  IL    MARYVILLE                          IL1190750   CWS         Groundwater                  10,150
  IL    MASCOUTAH                          IL1630800   CWS         Surfacewater purchased        9,118

  IL    MATTESON                           IL0311800   CWS         Surfacewater purchased       21,000

  IL    MATTOON                            IL0290250   CWS         Surfacewater                 19,500
  IL    MAYWOOD                            IL0311830   CWS         Surfacewater purchased       24,090

  IL    MELROSE PARK                       IL0311860   CWS         Surfacewater purchased       25,514

  IL    MENDOTA                            IL0990550   CWS         Groundwater                   7,273
  IL    METAMORA                           IL2030350   CWS         Groundwater                   3,904
  IL    METROPOLIS                         IL1270150   CWS         Groundwater                   6,830
  IL    MIDLOTHIAN                         IL0311920   CWS         Surfacewater purchased       14,820

  IL    MID-MARK WATER COMMISSION          IL0310230   CWS         Surfacewater purchased       25,986

  IL    MILAN                              IL1610400   CWS         Groundwater                   5,097
  IL    MILL CREEK PWD                     IL0015300   CWS         Groundwater                   5,640
  IL    MILLSTADT                          IL1630850   CWS         Surfacewater purchased        4,474

  IL    MILLSTONE PWD                      IL1515050   CWS         Groundwater                   5,445
  IL    MITCHELL PWD                       IL1195210   CWS         Surfacewater purchased        4,787

  IL    MOKENA                             IL1970600   CWS         Surfacewater purchased       19,887

  IL    MONEE                              IL1970650   CWS         Groundwater                   5,148
  IL    MONMOUTH                           IL1870150   CWS         Groundwater                   9,841
  IL    MONTGOMERY                         IL0894690   CWS         Groundwater                  28,956
  IL    MONTICELLO                         IL1470350   CWS         Groundwater                   5,250
  IL    MORRIS                             IL0630600   CWS         Groundwater                  15,335
  IL    MORRISON                           IL1950350   CWS         Groundwater                   4,188
  IL    MORTON                             IL1790500   CWS         Groundwater                  17,000
  IL    MORTON GROVE                       IL0311950   CWS         Surfacewater purchased       23,519




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Primacy              PWS Name               PWSID      PWS Type      Primary Source        Population
Agency                                                                                       Served
 [State]
   IL    MOUNT PROSPECT                   IL0311980   CWS         Surfacewater purchased       41,492

  IL    MOUNT VERNON                      IL0810300   CWS         Surfacewater purchased       15,591

  IL    MOUNT ZION                        IL1150350   CWS         Surfacewater purchased        5,833

  IL    MUNDELEIN                         IL0971150   CWS         Surfacewater purchased       31,500

  IL    MURDALE PWD                       IL0775200   CWS         Surfacewater purchased        4,330

  IL    MURPHYSBORO                       IL0770500   CWS         Surfacewater purchased       10,740

  IL    NAPERVILLE                        IL0434670   CWS         Surfacewater purchased      155,156

  IL    NEW BADEN                         IL0274700   CWS         Surfacewater purchased        3,600

  IL    NEW LENOX                         IL1970700   CWS         Surfacewater purchased       27,690

  IL    NILES                             IL0312010   CWS         Surfacewater purchased       28,938

  IL    NORRIDGE                          IL0312040   CWS         Surfacewater purchased       14,281

  IL    NORTH AURORA                      IL0890600   CWS         Groundwater                  17,500
  IL    NORTH EAST CENTRAL PWD            IL1195280   CWS         Groundwater purchased         4,895

  IL    NORTH EAST MARION COUNTY WATER    IL1210030   CWS         Surfacewater purchased        3,525
        CMPNY
  IL    NORTH RIVERSIDE                   IL0312160   CWS         Surfacewater purchased        6,672

  IL    NORTH TAZEWELL PWD                IL1795780   CWS         Groundwater                   8,300
  IL    NORTHEAST MOUNT VERNON WATER      IL0810010   CWS         Surfacewater purchased        5,160
        COMPANY
  IL    NORTHFIELD                        IL0312100   CWS         Surfacewater purchased        5,470

  IL    NORTHLAKE                         IL0314710   CWS         Surfacewater purchased       12,323

  IL    NORTHSHORE UNIVERSITY EVANSTON    IL3158048   NTNCWS      Surfacewater purchased        6,300

  IL    O FALLON                          IL1631100   CWS         Surfacewater purchased       46,603

  IL    OAK BROOK                         IL0430700   CWS         Surfacewater purchased       15,735

  IL    OAK FOREST                        IL0312190   CWS         Surfacewater purchased       26,547

  IL    OAK LAWN                          IL0312220   CWS         Surfacewater purchased       55,022

  IL    OAK PARK                          IL0312250   CWS         Surfacewater purchased       51,878

  IL    OGLESBY                           IL0990700   CWS         Groundwater                   4,500
  IL    OLNEY                             IL1590200   CWS         Surfacewater                  8,877




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Primacy               PWS Name               PWSID      PWS Type      Primary Source        Population
Agency                                                                                        Served
 [State]
   IL    OLYMPIA FIELDS                    IL0312280   CWS         Surfacewater purchased        4,988

  IL    OREGON                             IL1410400   CWS         Groundwater                   3,545
  IL    ORLAND PARK                        IL0312310   CWS         Surfacewater purchased       58,862

  IL    OSWEGO                             IL0930150   CWS         Groundwater                  38,169
  IL    OTTAWA                             IL0990800   CWS         Groundwater                  19,000
  IL    PALATINE                           IL0312340   CWS         Surfacewater purchased       70,875

  IL    PALOS HEIGHTS                      IL0312370   CWS         Surfacewater purchased       15,500

  IL    PALOS HILLS                        IL0312400   CWS         Surfacewater purchased       17,484

  IL    PALOS PARK                         IL0311000   CWS         Surfacewater purchased        4,899

  IL    PANA                               IL0210500   CWS         Surfacewater                  5,847
  IL    PARIS                              IL0450300   CWS         Groundwater                   9,077
  IL    PARK CITY                          IL0971400   CWS         Surfacewater purchased        6,650

  IL    PARK FOREST                        IL0314740   CWS         Groundwater                  21,975
  IL    PARK RIDGE                         IL0312460   CWS         Surfacewater purchased       37,457

  IL    PAXTON                             IL0530250   CWS         Groundwater                   4,500
  IL    PEORIA HEIGHTS                     IL1434750   CWS         Groundwater                   5,908
  IL    PERU                               IL0990850   CWS         Groundwater                  10,300
  IL    PETERSBURG                         IL1290200   CWS         Groundwater                   4,800
  IL    PIKE COUNTY PWD 1                  IL1495000   CWS         Groundwater                   5,327
  IL    PINCKNEYVILLE                      IL1450150   CWS         Surfacewater                  6,350
  IL    PINGREE GROVE                      IL0890160   CWS         Groundwater                   8,165
  IL    PITTSFIELD                         IL1490750   CWS         Groundwater                   4,576
  IL    PLAINFIELD                         IL1970800   CWS         Surfacewater purchased       44,762

  IL    PLANO                              IL0930200   CWS         Groundwater                  12,191
  IL    POSEN                              IL0312520   CWS         Surfacewater purchased        5,987

  IL    PRAIRIE PATH WATER COMPANY-LAKE    IL0995200   CWS         Groundwater                   6,601
        HOLIDAY
  IL    PRINCETON                          IL0110850   CWS         Groundwater                   7,660
  IL    RACCOON WATER COMPANY              IL1215100   CWS         Surfacewater purchased        8,090

  IL    RANTOUL                            IL0190650   CWS         Groundwater                  13,000
  IL    RED BUD                            IL1570450   CWS         Groundwater                   3,804
  IL    RICHTON PARK                       IL0312550   CWS         Groundwater                  12,500
  IL    RIVER FOREST                       IL0312610   CWS         Surfacewater purchased       11,172

  IL    RIVER GROVE                        IL0312640   CWS         Surfacewater purchased       10,093




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Primacy               PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
   IL    RIVERDALE                          IL0312580   CWS         Surfacewater purchased       13,549

  IL    RIVERSIDE                           IL0312670   CWS         Surfacewater purchased        8,875

  IL    RIVERTON                            IL1670950   CWS         Groundwater                   4,333
  IL    RIVERWOODS                          IL0971450   CWS         Surfacewater purchased        3,595

  IL    ROBBINS                             IL0312700   CWS         Surfacewater purchased        5,415

  IL    ROBINSON-PALESTINE WATER            IL0335030   CWS         Groundwater                  11,331
        COMMISSION
  IL    ROCHELLE                            IL1410500   CWS         Groundwater                   9,574
  IL    ROCHESTER                           IL1671000   CWS         Surfacewater purchased        3,689

  IL    ROCK FALLS                          IL1950450   CWS         Groundwater                   9,300
  IL    ROLLING MEADOWS                     IL0312730   CWS         Surfacewater purchased       24,099

  IL    ROSELLE                             IL0434820   CWS         Surfacewater purchased       22,763

  IL    ROSEMONT                            IL0312760   CWS         Surfacewater purchased        4,200

  IL    ROUND LAKE                          IL0971500   CWS         Surfacewater purchased       18,278

  IL    ROUND LAKE BEACH                    IL0971550   CWS         Surfacewater purchased       28,845

  IL    ROUND LAKE PARK                     IL0971600   CWS         Surfacewater purchased        4,800

  IL    SALEM                               IL1210450   CWS         Surfacewater                  8,406
  IL    SALINE VALLEY CONSERVANCY           IL1655300   CWS         Groundwater                   3,921
        DISTRICT
  IL    SANGAMON VALLEY PWD                 IL0195150   CWS         Groundwater                   5,000
  IL    SAUK                                IL0312790   CWS         Groundwater                   9,921
  IL    SCHAUMBURG                          IL0314890   CWS         Surfacewater purchased       74,550

  IL    SCHILLER PARK                       IL0312850   CWS         Surfacewater purchased       11,515

  IL    SHELBYVILLE                         IL1730300   CWS         Groundwater                   6,500
  IL    SHOREWOOD                           IL1975080   CWS         Groundwater                  17,495
  IL    SILVIS                              IL1610700   CWS         Groundwater                   7,800
  IL    SKOKIE                              IL0312880   CWS         Surfacewater purchased       62,700

  IL    SMITHTON                            IL1631300   CWS         Surfacewater purchased        4,006

  IL    SOUTH CHICAGO HEIGHTS               IL0312940   CWS         Surfacewater purchased        4,164

  IL    SOUTH HIGHWAY PWD                   IL0775400   CWS         Surfacewater purchased        4,501

  IL    SOUTH HOLLAND                       IL0312970   CWS         Surfacewater purchased       22,500

  IL    SOUTH JACKSONVILLE                  IL1370400   CWS         Groundwater                   3,508



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Primacy              PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                        Served
 [State]
   IL    SOUTH STICKNY SD                  IL0317370   CWS         Surfacewater purchased       30,000

  IL    SOUTHEAST REGIONAL WATER FACILITY IL0430060    CWS         Surfacewater purchased        6,883

  IL    SPARTA                             IL1570600   CWS         Surfacewater                  4,600
  IL    SPRING VALLEY                      IL0111000   CWS         Groundwater                   5,582
  IL    SPRINGFIELD                        IL1671200   CWS         Surfacewater                117,428
  IL    STAUNTON                           IL1171050   CWS         Surfacewater                  6,029
  IL    STEGER                             IL0314860   CWS         Groundwater                   9,700
  IL    STICKNEY                           IL0313000   CWS         Surfacewater purchased        7,110

  IL    STONE PARK                         IL0313030   CWS         Surfacewater purchased        4,946

  IL    STREAMWOOD                         IL0313060   CWS         Surfacewater purchased       39,858

  IL    SULLIVAN                           IL1390300   CWS         Groundwater                   4,326
  IL    SUMMIT                             IL0310060   CWS         Surfacewater purchased       11,054

  IL    SYCAMORE                           IL0370550   CWS         Groundwater                  17,600
  IL    TAYLORVILLE                        IL0210600   CWS         Surfacewater                 16,396
  IL    THREE COUNTY PWD                   IL1195450   CWS         Surfacewater purchased        3,506

  IL    TINLEY PARK                        IL0314910   CWS         Surfacewater purchased       56,703

  IL    TRITOWNSHIP WATER DISTRICT         IL1190080   CWS         Surfacewater purchased        4,025

  IL    TROY                               IL1191000   CWS         Groundwater                  16,800
  IL    TUSCOLA                            IL0415030   CWS         Groundwater purchased         4,600

  IL    U OF I CHICAGO MEDICAL CENTER      IL3155606   NTNCWS      Surfacewater purchased        7,000

  IL    VANDALIA                           IL0510350   CWS         Surfacewater                  6,975
  IL    VERNON HILLS - LAKE CO PW          IL0971750   CWS         Surfacewater purchased       34,617

  IL    VILLA PARK                         IL0430800   CWS         Surfacewater purchased       22,263

  IL    VIRDEN                             IL1171100   CWS         Surfacewater purchased        3,425

  IL    VOLO                               IL0971770   CWS         Surfacewater purchased        4,000

  IL    WARRENVILLE                        IL0430833   CWS         Groundwater                  12,709
  IL    WASCO SD                           IL0890110   CWS         Groundwater                   4,000
  IL    WASHINGTON                         IL1790750   CWS         Groundwater                  14,793
  IL    WASHINGTON COUNTY WATER            IL1895600   CWS         Surfacewater purchased       11,374
        COMPANY
  IL    WATERLOO                           IL1330300   CWS         Surfacewater purchased       10,190

  IL    WATSEKA                            IL0750900   CWS         Groundwater                   5,500




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Primacy               PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
   IL    WAUCONDA                           IL0971850   CWS         Surfacewater purchased       14,084

  IL    WEST CHICAGO                        IL0430900   CWS         Groundwater                  27,086
  IL    WEST DUNDEE                         IL0890950   CWS         Groundwater                   7,339
  IL    WEST FRANKFORT                      IL0550700   CWS         Surfacewater purchased        9,475

  IL    WESTCHESTER                         IL0313150   CWS         Surfacewater purchased       16,700

  IL    WESTERN SPRINGS                     IL0313180   CWS         Groundwater                  13,125
  IL    WESTMONT                            IL0430950   CWS         Surfacewater purchased       25,000

  IL    WESTVILLE                           IL1830950   CWS         Surfacewater purchased        3,791

  IL    WHEATON                             IL0431050   CWS         Surfacewater purchased       52,894

  IL    WHEELING                            IL0314970   CWS         Surfacewater purchased       39,137

  IL    WILDWOOD SUBDIVISION - LAKE CO PW IL0977350     CWS         Surfacewater purchased       13,965

  IL    WILLIAMSVILLE                       IL1671300   CWS         Surfacewater purchased        6,091

  IL    WILLOWBROOK                         IL0431100   CWS         Surfacewater purchased        8,540

  IL    WINFIELD                            IL0431150   CWS         Surfacewater purchased        9,820

  IL    WINTHROP HARBOR                     IL0971950   CWS         Surfacewater purchased        6,700

  IL    WONDER LAKE                         IL1115750   CWS         Groundwater                   4,500
  IL    WOOD DALE                           IL0431200   CWS         Surfacewater purchased       14,012

  IL    WOODHAVEN                           IL1035100   CWS         Groundwater                   4,100
  IL    WOODLAWN                            IL0810450   CWS         Surfacewater purchased        3,425

  IL    WOODRIDGE                           IL0431250   CWS         Surfacewater purchased       35,278

  IL    WOODSTOCK                           IL1110950   CWS         Groundwater                  25,523
  IL    WORTH                               IL0313360   CWS         Surfacewater purchased       11,300

  IL    YORKVILLE                           IL0930250   CWS         Groundwater                  23,000
  IL    ZION                                IL0972000   CWS         Surfacewater purchased       24,413

  IN    ABERDEEN PATE WATER COMPANY, INC. IN5258001     CWS         Groundwater                   4,787

  IN    ALEXANDRIA WATER DEPARTMENT         IN5248001   CWS         Groundwater                   5,149
  IN    ANDERSON WATER DEPARTMENT           IN5248002   CWS         Groundwater under            58,942
                                                                    influence of
                                                                    surfacewater
  IN    AUBURN WATER DEPARTMENT             IN5217001   CWS         Groundwater                  12,800
  IN    BARGERSVILLE WATER DEPARTMENT       IN5241001   CWS         Groundwater                  31,425
  IN    BBP WATER COMPANY                   IN5260001   CWS         Groundwater                   9,903


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Primacy                 PWS Name                 PWSID      PWS Type      Primary Source        Population
Agency                                                                                            Served
 [State]
   IN      BEDFORD CITY UTILITIES              IN5247001   CWS         Surfacewater                 14,000
   IN      BERNE WATER DEPARTMENT              IN5201001   CWS         Groundwater                   4,388
   IN      BLUFFTON UTILITIES WATER DEPT       IN5290001   CWS         Groundwater                  10,298
   IN      BORDEN TRI-COUNTY REGION            IN5210002   CWS         Surfacewater                 10,220
   IN      BRAZIL CITY WATER WORKS             IN5211001   CWS         Groundwater                  12,000
   IN      BREMEN WATER DEPARTMENT             IN5250003   CWS         Groundwater                   4,516
   IN      BROWN COUNTY WATER UTILITY          IN5207001   CWS         Groundwater                  13,882
   IN      BROWNSBURG WATER WORKS              IN5232002   CWS         Surfacewater purchased       23,750

  IN       CARMEL WATER DEPARTMENT             IN5229004   CWS         Groundwater under            90,434
                                                                       influence of
                                                                       surfacewater
  IN       CEDAR LAKE WATER WORKS              IN5245047   CWS         Groundwater                   4,600
  IN       CHANDLER WATER WORKS                IN5287002   CWS         Groundwater                  20,120
           DEPARTMENT
  IN       CICERO WATER DEPARTMENT             IN5229005   CWS         Groundwater                   4,812
  IN       CITIZENS WATER - INDIANAPOLIS       IN5249004   CWS         Surfacewater                862,835
  IN       CITIZENS WATER - MORGAN             IN5255019   CWS         Groundwater purchased         5,573

  IN       CITIZENS WATER OF WESTFIELD, LLC    IN5229009   CWS         Groundwater                  48,978
  IN       CITY OF BLOOMINGTON UTILITIES       IN5253002   CWS         Surfacewater                 83,000
  IN       CITY OF GREENDALE UTILITIES         IN5215003   CWS         Groundwater                   4,520
  IN       CITY OF LAWRENCE UTILITIES          IN5249005   CWS         Groundwater                  49,000
  IN       COLUMBIA CITY WATER DEPARTMENT      IN5292004   CWS         Groundwater                   9,892
  IN       COLUMBUS MUNICIPAL UTILITIY         IN5203002   CWS         Groundwater                  48,438
  IN       CONNERSVILLE UTILITIES              IN5221001   CWS         Groundwater                  13,953
  IN       CORDRY SWEETWATER CONSERVANCY       IN5207004   CWS         Groundwater purchased         3,425
           DISTRICT
  IN       CORYDON WATER WORKS                 IN5231001   CWS         Groundwater                   5,716
  IN       CROWN POINT WATER WORKS             IN5245008   CWS         Surfacewater purchased       30,000

  IN       CUII - INDIANA WATER SERVICE        IN5245057   CWS         Surfacewater purchased        4,200

  IN       CUII - TWIN LAKES                   IN5245046   CWS         Groundwater                   8,000
  IN       DAVIESS COUNTY RURAL WATER          IN5214002   CWS         Groundwater purchased         7,969

  IN       DECATUR WATER DEPARTMENT            IN5201002   CWS         Groundwater                   9,900
  IN       DUPONT WATER COMPANY                IN5240004   CWS         Groundwater purchased         3,865

  IN       EAST CHICAGO WATER WORKS            IN5245012   CWS         Surfacewater                 29,500
  IN       EAST FORK WATER                     IN5251004   CWS         Groundwater                   3,656
  IN       EAST LAWRENCE WATER AUTHORITY       IN5247002   CWS         Surfacewater purchased        8,000

  IN       EAST MONROE WATER CORPORATION       IN5253003   CWS         Surfacewater purchased        4,618

  IN       EAST WASHINGTON RURAL WATER         IN5288002   CWS         Surfacewater purchased        8,458

  IN       EASTERN BARTHOLOMEW WATER           IN5203004   CWS         Groundwater                  13,547


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Primacy              PWS Name                  PWSID     PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
   IN    EASTERN HEIGHTS UTILITIES          IN5228003   CWS         Groundwater                  18,398
   IN    EDWARDSVILLE WATER CORPORATION IN5222001       CWS         Groundwater                  10,442
   IN    ELKHART PUBLIC WORKS AND UTILITIES IN5220008   CWS         Groundwater                  40,880

  IN    ELLETTSVILLE WATER WORKS            IN5253004   CWS         Surfacewater purchased       13,910

  IN    ELWOOD WATER & SEWAGE               IN5248007   CWS         Groundwater                   8,586
  IN    EVANSVILLE WATER UTILITY            IN5282002   CWS         Surfacewater                173,000
  IN    FLOYDS KNOBS WATER COMPANY, INC.    IN5222002   CWS         Groundwater purchased         5,848

  IN    FORT BRANCH WATER DEPARTMENT        IN5226001   CWS         Groundwater                   3,900
  IN    FORT WAYNE - 3 RIVERS FILTRATION    IN5202020   CWS         Surfacewater                266,000
        PLANT
  IN    FORTVILLE WATER WORKS               IN5230003   CWS         Groundwater                   7,638
  IN    FRANKFORT WATER WORKS               IN5212003   CWS         Groundwater                  16,422
  IN    FRANKLIN COUNTY WATER               IN5224002   CWS         Groundwater                   9,018
        ASSOCIATION
  IN    GARRETT WATER UTILITY               IN5217004   CWS         Groundwater                   6,390
  IN    GAS CITY WATER DEPARTMENT           IN5227006   CWS         Groundwater                   6,000
  IN    GERMAN TOWNSHIP WATER DISTRICT      IN5282003   CWS         Surfacewater purchased       12,505
        INC.
  IN    GIBSON WATER AUTHORITY              IN5226009   CWS         Surfacewater purchased        4,775

  IN    GOSHEN WATER UTILITY            IN5220009       CWS         Groundwater                  32,267
  IN    GREENCASTLE DEPARTMENT OF WATER IN5267004       CWS         Groundwater under            12,699
                                                                    influence of
                                                                    surfacewater
  IN    GREENFIELD WATER UTILITY            IN5230004   CWS         Groundwater                  23,000
  IN    GREENSBURG MUNICIPAL WATER          IN5216002   CWS         Surfacewater                 11,250
        WORKS
  IN    GREENVILLE WATER UTILITY            IN5222004   CWS         Groundwater purchased         4,920

  IN    GRIFFITH WATER DEPARTMENT           IN5245019   CWS         Surfacewater purchased       16,893

  IN    HAMMOND WATER WORKS                 IN5245020   CWS         Surfacewater                 78,384
        DEPARTMENT
  IN    HEBRON WATER DEPARTMENT             IN5264009   CWS         Groundwater                   3,724
  IN    HIGHLAND WATER WORKS                IN5245021   CWS         Surfacewater purchased       23,546

  IN    HILL WATER CORPORATION              IN5255021   CWS         Groundwater                   8,200
  IN    HOOSIER HILLS REGIONAL WATER        IN5269002   CWS         Groundwater                   8,642
        DISTRICT
  IN    HUNTERTOWN WATER WORKS              IN5202007   CWS         Groundwater                   7,400
  IN    HUNTINGBURG MUNICIPAL WATER         IN5219007   CWS         Surfacewater                  6,230
  IN    HUNTINGTON WATER DEPARTMENT         IN5235005   CWS         Groundwater                  17,300
  IN    INDIANA AMERICAN WATER -            IN5254005   CWS         Groundwater                  15,288
        CRAWFORDSVILLE
  IN    INDIANA AMERICAN WATER -            IN5222003   CWS         Groundwater purchased         3,370
        GEORGETOWN


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Primacy              PWS Name                  PWSID      PWS Type      Primary Source        Population
Agency                                                                                          Served
 [State]
   IN    INDIANA AMERICAN WATER - JOHNSON   IN5241005    CWS         Groundwater                  82,905
         COUNTY
   IN    INDIANA AMERICAN WATER - KOKOMO    IN5234007    CWS         Surfacewater                 54,718

  IN    INDIANA AMERICAN WATER - LOWELL     IN5245029    CWS         Groundwater under            10,653
                                                                     influence of
                                                                     surfacewater
  IN    INDIANA AMERICAN WATER -            IN5255006    CWS         Groundwater                   9,648
        MOORESVILLE
  IN    INDIANA AMERICAN WATER - MUNCIE     IN5218012    CWS         Surfacewater                 66,120
  IN    INDIANA AMERICAN WATER -            IN5287004    CWS         Groundwater                  20,973
        NEWBURGH
  IN    INDIANA AMERICAN WATER -            IN5229015    CWS         Groundwater                  42,823
        NOBLESVILLE
  IN    INDIANA AMERICAN WATER -            IN5245015    CWS         Surfacewater                188,380
        NORTHWEST
  IN    INDIANA AMERICAN WATER -            IN5289012    CWS         Surfacewater                 38,278
        RICHMOND
  IN    INDIANA AMERICAN WATER - S. INDIANA IN5210005    CWS         Groundwater                  79,958

  IN    INDIANA AMERICAN WATER - SEYMOUR IN5236005       CWS         Groundwater                  19,368

  IN    INDIANA AMERICAN WATER -          IN5273002      CWS         Groundwater                  17,335
        SHELBYVILLE
  IN    INDIANA AMERICAN WATER - SHERIDAN IN5229014      CWS         Groundwater                   3,553

  IN    INDIANA AMERICAN WATER - SULLIVAN IN5277009      CWS         Groundwater                   5,720

  IN    INDIANA AMERICAN WATER - TERRE      IN5284012    CWS         Groundwater                  61,378
        HAUTE
  IN    INDIANA AMERICAN WATER - WABASH     IN5285003    CWS         Groundwater                  11,223

  IN    INDIANA AMERICAN WATER - WARSAW     IN5243030    CWS         Groundwater                  12,825

  IN    INDIANA AMERICAN WATER - WEST       IN5279020    CWS         Groundwater                  33,000
        LAFAYETTE
  IN    INDIANA AMERICAN WATER -            IN5268003    CWS         Groundwater                   4,923
        WINCHESTER
  IN    INGALLS WATER COMPANY               IN5248012    CWS         Groundwater                   7,600
  IN    IRELAND UTILITIES, INC.             IN5219008    CWS         Surfacewater purchased        4,295

  IN    JACKSON COUNTY WATER UTILITY        IN5236003    CWS         Groundwater                  13,667
  IN    JASONVILLE WATER DEPARTMENT         IN5228004    CWS         Groundwater                   3,660
  IN    JASPER MUNICIPAL WATER UTILITY      IN5219009    CWS         Surfacewater                 17,077
  IN    JENNINGS WATER, INC.                IN5240006    CWS         Groundwater                   7,812
  IN    KENDALLVILLE WATER DEPARTMENT       IN5257008    CWS         Groundwater                   9,905
  IN    KENT WATER COMPANY                  IN5239004    CWS         Groundwater                   5,400
  IN    KNOX WATER WORKS                    IN5275002    CWS         Groundwater                   3,700
  IN    LAFAYETTE WATER WORKS               IN5279013    CWS         Groundwater                  67,140
  IN    LAPORTE WATER WORKS                 IN5246017    CWS         Groundwater                  22,000


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Primacy                PWS Name                 PWSID      PWS Type      Primary Source        Population
Agency                                                                                           Served
 [State]
   IN      LAWRENCEBURG MUNICIPAL UTILITIES IN5215006     CWS         Groundwater                   5,000
   IN      LEBANON UTILITIES                 IN5206003    CWS         Groundwater                  16,098
   IN      LIGONIER WATER WORKS              IN5257010    CWS         Groundwater                   4,405
   IN      LINTON MUNICIPAL WATER UTILITY    IN5228005    CWS         Groundwater                   6,815
   IN      L-M-S CONSERVANCY DISTRICT        IN5215007    CWS         Groundwater                   5,250
   IN      LOGANSPORT MUNICIPAL UTILITY-WELL IN5209012    CWS         Groundwater                  18,369
           FIELD
  IN       LOOGOOTEE WATER WORKS             IN5251005    CWS         Groundwater                   3,915
  IN       MADISON WATER DEPARTMENT          IN5239006    CWS         Groundwater                  11,967
  IN       MARION CITY WATER WORKS           IN5227014    CWS         Groundwater                  28,327
  IN       MARTINSVILLE WATER UTILITY        IN5255009    CWS         Groundwater                  15,000
  IN       MARYSVILLE OTISCO NABB WATER      IN5210006    CWS         Groundwater purchased         6,352
           CORP.
  IN       MICHIGAN CITY DEPARTMENT OF       IN5246020    CWS         Surfacewater                 33,621
           WATER WORKS
  IN       MIDDLEBURY WATER DEPARTMENT       IN5220014    CWS         Groundwater                   3,420
  IN       MISHAWAKA UTILITIES               IN5271009    CWS         Groundwater                  49,675
  IN       MITCHELL WATER DEPARTMENT         IN5247003    CWS         Groundwater                   5,000
  IN       MONTICELLO WATER WORKS            IN5291011    CWS         Groundwater                   5,300
  IN       MOUNT VERNON WATER WORKS          IN5265006    CWS         Surfacewater                  8,912
  IN       MUNSTER WATER COMPANY             IN5245031    CWS         Surfacewater purchased       23,894

  IN       NAPOLEON COMMUNITY RURAL WATER IN5269007       CWS         Surfacewater purchased        3,970
           CORP.
  IN       NAPPANEE WATER UTILITY         IN5220016       CWS         Groundwater                   6,800
  IN       NASHVILLE WATER DEPARTMENT     IN5207002       CWS         Surfacewater purchased        3,315

  IN       NEW CASTLE UTILITIES               IN5233011   CWS         Groundwater                  19,880
  IN       NEW CHICAGO WATER WORKS            IN5245032   CWS         Surfacewater purchased        5,500

  IN       NEW HAVEN WATER DEPARTMENT         IN5202009   CWS         Surfacewater purchased       15,700

  IN       NORTH DEARBORN WATER AUTHORITY     IN5215008   CWS         Groundwater                   5,595

  IN       NORTH LAWRENCE WATER AUTHORITY     IN5247004   CWS         Surfacewater purchased       11,625

  IN       NORTH VERNON WATER DEPARTMENT      IN5240008   CWS         Surfacewater                  6,500
  IN       NORTHWEST JASPER REGIONAL WATER    IN5237015   CWS         Groundwater                   4,054
           DISTRICT
  IN       PALMYRA WATER WORKS                IN5231004   CWS         Groundwater purchased         4,425

  IN       PAOLI WATER DEPARTMENT             IN5259004   CWS         Surfacewater purchased        3,677

  IN       PATOKA LAKE REGIONAL WATER         IN5219012   CWS         Surfacewater                 13,503
  IN       PATRIOT WATER DEPARTMENT           IN5278001   CWS         Groundwater                  11,937
  IN       PENDLETON WATER COMPANY            IN5248019   CWS         Groundwater                   4,219
  IN       PERU WATER DEPARTMENT              IN5252016   CWS         Groundwater                  11,417




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Primacy               PWS Name                 PWSID      PWS Type      Primary Source        Population
Agency                                                                                          Served
 [State]
   IN    PIKE-GIBSON WATER, INC.             IN5263003   CWS         Surfacewater purchased        8,700

  IN    PITTSBORO WATER COMPANY              IN5232019   CWS         Surfacewater purchased        4,113

  IN    PLAINFIELD WATER WORKS               IN5232020   CWS         Groundwater                  34,000
  IN    PLYMOUTH WATER DEPARTMENT            IN5250010   CWS         Groundwater                  10,033
  IN    PORTLAND MUNICIPAL WATER PLANT       IN5238007   CWS         Groundwater                   6,209
  IN    POSEY TOWNSHIP WATER CORP.           IN5288006   CWS         Surfacewater purchased        3,500

  IN    PRINCES LAKE WATER DEPARTMENT        IN5241007   CWS         Groundwater                   4,095
  IN    PRINCETON WATER DEPARTMENT           IN5226008   CWS         Groundwater                  10,875
  IN    RAMSEY WATER COMPANY, INC.           IN5231005   CWS         Groundwater                  15,150
  IN    REO WATER CORPORATION                IN5274009   CWS         Groundwater                   3,875
  IN    ROCHESTER WATER DEPARTMENT           IN5225006   CWS         Groundwater                   6,218
  IN    ROCKVILLE LIGHT & WATER              IN5261006   CWS         Groundwater                   4,195
  IN    RUSHVILLE CITY UTILITY               IN5270005   CWS         Groundwater                   6,800
  IN    SALEM WATER WORKS                    IN5288005   CWS         Surfacewater                  8,200
  IN    SANTA CLAUS WATER UTILITY            IN5274010   CWS         Surfacewater purchased        3,683

  IN    SCHERERVILLE WATER DEPARTMENT        IN5245041   CWS         Surfacewater purchased       30,000

  IN    SCOTTSBURG WATER DEPARTMENT          IN5272001   CWS         Surfacewater                  6,750
  IN    SEELYVILLE WATER WORKS               IN5284011   CWS         Groundwater                   7,500
  IN    SELLERSBURG WATER DEPARTMENT         IN5210010   CWS         Groundwater                  15,655
  IN    SILVER CREEK WATER CORPORATION       IN5210011   CWS         Groundwater purchased        20,028

  IN    SOUTH HARRISON WATER CORPORATION IN5231006       CWS         Groundwater                   8,673

  IN    SOUTH LAWRENCE UTILITIES             IN5247007   CWS         Groundwater                   6,313
  IN    SOUTH PARK BUSINESS CENTER           IN2410017   NTNCWS      Groundwater purchased         5,167

  IN    SOUTHERN MONROE WATER AUTHORITY IN5253007        CWS         Surfacewater purchased        8,730

  IN    SOUTHWESTERN BARTHOLOMEW             IN5203008   CWS         Groundwater purchased         8,652
        WATER CORP.
  IN    SPEEDWAY WATER WORKS                 IN5249008   CWS         Surfacewater                 12,473
  IN    ST. JOHN MUNICIPAL WATER UTILITY     IN5245043   CWS         Groundwater                  17,000
  IN    STUCKER FORK WATER UTILITY           IN5272002   CWS         Surfacewater                 19,120
  IN    TELL CITY WATER DEPARTMENT           IN5262004   CWS         Groundwater                   9,315
  IN    TIPTON UTILITY SERVICE B             IN5280004   CWS         Groundwater                   5,200
  IN    TOWN OF ELIZABETH                    IN5231007   CWS         Groundwater                   3,980
  IN    TRI-TOWNSHIP WATER CORPORATION       IN5215009   CWS         Groundwater                   9,925
  IN    UNION CITY WATER WORKS               IN5268010   CWS         Groundwater                   3,513
  IN    UNIVERSITY OF NOTRE DAME             IN5271020   CWS         Groundwater                   7,400
  IN    UPLAND WATER DEPARTMENT              IN5227022   CWS         Groundwater                   3,308
  IN    VALLEY RURAL UTILITY COMPANY         IN5215004   CWS         Groundwater purchased         5,000




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Primacy              PWS Name                    PWSID      PWS Type      Primary Source        Population
Agency                                                                                            Served
 [State]
   IN    VALPARAISO DEPARTMENT OF WATER        IN5264029   CWS         Groundwater                  36,000
         WORKS
   IN    VAN BUREN WATER, INC.                 IN5253008   CWS         Surfacewater purchased        6,670

  IN    VEOLIA WATER OF BOONVILLE              IN5287001   CWS         Groundwater                  10,260
  IN    VINCENNES WATER DEPARTMENT             IN5242014   CWS         Groundwater                  18,701
  IN    WASHINGTON TOWNSHIP WATER              IN5210015   CWS         Groundwater                   4,315
  IN    WASHINGTON TWP WATER AUTHORITY         IN5253009   CWS         Surfacewater purchased        3,750

  IN    WASHINGTON WATER WORKS                 IN5214007   CWS         Groundwater                  13,690
  IN    WATSON RURAL WATER COMPANY             IN5210016   CWS         Groundwater                  15,750
  IN    WHITELAND WATER WORKS                  IN5241009   CWS         Groundwater purchased         5,045

  IN    WHITESTOWN SOUTH                       IN5206014   CWS         Surfacewater purchased        5,880

  IN    WHITING WATER DEPARTMENT               IN5245048   CWS         Surfacewater purchased        4,900

 IN     YORKTOWN WATER DEPARTMENT              IN5218014   CWS         Groundwater                   6,200
 KS     ABILENE, CITY OF                       KS2004112   CWS         Groundwater under             6,468
                                                                       influence of
                                                                       surfacewater
 KS     ATCHISON CO RWD 5C                     KS2000511   CWS         Surfacewater purchased        3,645

 KS     BALDWIN CITY, CITY OF                  KS2004510   CWS         Surfacewater purchased        4,700

 KS     BAXTER SPRINGS, CITY OF                KS2002109   CWS         Surfacewater                  3,852
 KS     BEL AIRE, CITY OF                      KS2017304   CWS         Surfacewater purchased        8,448

 KS     BELOIT, CITY OF                        KS2012301   CWS         Surfacewater                  3,407
 KS     BONNER SPRINGS, CITY OF                KS2020904   CWS         Purchased groundwater         7,805
                                                                       under influence of
                                                                       surfacewater source

 KS     BOURBON CO RWD 2C                      KS2001103   CWS         Surfacewater purchased        7,050

 KS     CHANUTE, CITY OF                       KS2013307   CWS         Surfacewater                  9,042
 KS     CONCORDIA, CITY OF                     KS2002907   CWS         Groundwater                   5,032
 KS     DESOTO, CITY OF                        KS2009102   CWS         Groundwater                   4,645
 KS     DODGE CITY, CITY OF                    KS2005710   CWS         Groundwater                  27,104
 KS     EL DORADO, CITY OF                     KS2001511   CWS         Surfacewater                 12,810
 KS     EL PASO WATER COMPANY                  KS2017328   CWS         Surfacewater purchased       25,413

 KS     EMPORIA, CITY OF                KS2011105          CWS         Surfacewater                 24,009
 KS     EUDORA, CITY OF                 KS2004511          CWS         Groundwater                   6,449
 KS     FORT LEAVENWORTH AMERICAN WATER KS2010311          CWS         Surfacewater purchased       12,934
        ENT LLC
 KS     FORT SCOTT, CITY OF             KS2001104          CWS         Surfacewater                  7,513
 KS     FRONTENAC, CITY OF              KS2003720          CWS         Groundwater                   3,395
 KS     GARDNER, CITY OF                KS2009106          CWS         Surfacewater                 23,942


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Primacy                 PWS Name                  PWSID      PWS Type      Primary Source        Population
Agency                                                                                             Served
 [State]
   KS      GODDARD, CITY OF                     KS2017325   CWS         Groundwater                   5,372
   KS      GOODLAND, CITY OF                    KS2018102   CWS         Groundwater                   4,450
   KS      HAYSVILLE, CITY OF                   KS2017322   CWS         Groundwater                  11,315
   KS      HESSTON, CITY OF                     KS2007902   CWS         Groundwater                   3,495
   KS      HOLTON, CITY OF                      KS2008503   CWS         Surfacewater purchased        3,329

  KS       HUGOTON, CITY OF                     KS2018901   CWS         Groundwater                   3,764
  KS       HUTCHINSON, CITY OF                  KS2015509   CWS         Groundwater                  39,712
  KS       INDEPENDENCE, CITY OF                KS2012508   CWS         Surfacewater                  8,464
  KS       IOLA, CITY OF                        KS2000103   CWS         Surfacewater                 10,609
  KS       JACKSON CO RWD 3                     KS2008510   CWS         Surfacewater purchased        4,376

  KS       JEFFERSON CO RWD 12                  KS2008717   CWS         Surfacewater purchased        3,635

  KS       JOHNSON CO RWD 7                     KS2009104   CWS         Surfacewater purchased        6,457

  KS       JUNCTION CITY, CITY OF               KS2006108   CWS         Groundwater                  19,167
  KS       KANSAS CITY BOARD OF PUBLIC          KS2020906   CWS         Groundwater under           152,960
           UTILITIES                                                    influence of
                                                                        surfacewater
  KS       LAN DEL WATER DISTRICT               KS2010313   CWS         Surfacewater purchased        7,302

  KS       LARNED, CITY OF                      KS2014505   CWS         Groundwater                   3,621
  KS       LAWRENCE, CITY OF                    KS2004503   CWS         Surfacewater                 95,256
  KS       LIBERAL, CITY OF                     KS2017504   CWS         Groundwater                  19,640
  KS       LINDSBORG, CITY OF                   KS2011308   CWS         Groundwater                   3,496
  KS       LOUISBURG, CITY OF                   KS2012106   CWS         Surfacewater purchased        4,994

  KS       LYONS, CITY OF                       KS2015903   CWS         Groundwater                   3,556
  KS       MAIZE, CITY OF                       KS2017345   CWS         Groundwater                   6,060
  KS       MANHATTAN, CITY OF                   KS2016112   CWS         Groundwater                  54,763
  KS       MARYSVILLE, CITY OF                  KS2011706   CWS         Groundwater                   3,417
  KS       MCPHERSON, CITY OF                   KS2011309   CWS         Groundwater                  13,944
  KS       MIAMI CO RWD 2                       KS2012101   CWS         Surfacewater                  8,631
  KS       MULVANE, CITY OF                     KS2019113   CWS         Surfacewater purchased        6,587

  KS       OLATHE, CITY OF                      KS2009115   CWS         Surfacewater                143,014
  KS       OSAWATOMIE, CITY OF                  KS2012105   CWS         Surfacewater                  4,280
  KS       OTTAWA, CITY OF                      KS2005906   CWS         Surfacewater                 12,604
  KS       PAOLA, CITY OF                       KS2012103   CWS         Surfacewater purchased        5,786

  KS       PARK CITY, CITY OF                   KS2017303   CWS         Surfacewater purchased        8,503

  KS       PITTSBURG, CITY OF                   KS2003705   CWS         Groundwater                  20,738
  KS       POTTAWATOMIE CO RWD 1                KS2014912   CWS         Groundwater                   7,535
  KS       PRATT, CITY OF                       KS2015103   CWS         Groundwater                   6,573




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Primacy                PWS Name                 PWSID      PWS Type      Primary Source        Population
Agency                                                                                           Served
 [State]
   KS    ROSE HILL, CITY OF                   KS2001520   CWS         Surfacewater purchased        4,269

  KS    RUSSELL, CITY OF                      KS2016703   CWS         Surfacewater                  4,388
  KS    SCOTT CITY, CITY OF                   KS2017101   CWS         Groundwater                   3,748
  KS    SEDGWICK CO RWD 3                     KS2017306   CWS         Surfacewater purchased        6,045

  KS    SHAWNEE CO RWD 1C                     KS2017704   CWS         Surfacewater purchased        4,160

  KS    SHAWNEE CO RWD 4C                     KS2017718   CWS         Surfacewater purchased       12,000

  KS    SHAWNEE CO RWD 8                      KS2017708   CWS         Surfacewater purchased        6,073

  KS    SPRING HILL, CITY OF                  KS2009120   CWS         Surfacewater purchased        5,694

  KS    SUBURBAN WATER COMPANY                KS2010321   CWS         Purchased groundwater         4,700
                                                                      under influence of
                                                                      surfacewater source

  KS    TONGANOXIE, CITY OF                   KS2010306   CWS         Purchased groundwater         5,702
                                                                      under influence of
                                                                      surfacewater source

  KS    TOPEKA, CITY OF                       KS2017701   CWS         Surfacewater                125,963
  KS    ULYSSES, CITY OF                      KS2006704   CWS         Groundwater                   6,410
  KS    VALLEY CENTER, CITY OF                KS2017318   CWS         Surfacewater purchased        7,419

 KS     WAMEGO, CITY OF                       KS2014908   CWS         Groundwater                   4,860
 KS     WATER DISTRICT 1 OF JOHNSON CO        KS2009110   CWS         Surfacewater                469,000
 KS     WELLINGTON, CITY OF                   KS2019119   CWS         Surfacewater                  7,664
 KS     WICHITA, CITY OF                      KS2017308   CWS         Surfacewater                395,699
 KS     WINFIELD, CITY OF                     KS2003513   CWS         Surfacewater                 11,726
 KY     ALBANY WATER WORKS                    KY0270003   CWS         Surfacewater                 14,702
 KY     ALLEN COUNTY WATER DISTRICT           KY0020956   CWS         Surfacewater purchased       14,999

 KY     BARDSTOWN MUNICIPAL WATER DEPT        KY0900017   CWS         Surfacewater                 31,185
 KY     BARKLEY LAKE WATER DISTRICT           KY1110019   CWS         Surfacewater                 14,284
 KY     BATH COUNTY WATER DISTRICT            KY0060022   CWS         Surfacewater purchased        8,955

 KY     BEATTYVILLE WATER WORKS               KY0650024   CWS         Surfacewater                  8,428
 KY     BEAVER DAM MUNICIPAL WATER &          KY0920025   CWS         Groundwater                   3,901
        SEWER
 KY     BENTON WATER & SEWER                  KY0790029   CWS         Groundwater                   7,981
 KY     BEREA MUNICIPAL UTILITIES             KY0760030   CWS         Surfacewater                  9,972
 KY     BIG SANDY WATER DISTRICT              KY0100944   CWS         Surfacewater purchased       13,044

 KY     BLOOMFIELD WATER & SEWER DEPT         KY0900031   CWS         Surfacewater purchased        5,771

 KY     BOONE CO WATER & SEWER DISTRICT       KY0080034   CWS         Surfacewater purchased       66,300




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Primacy              PWS Name                  PWSID      PWS Type      Primary Source        Population
Agency                                                                                          Served
 [State]
   KY    BOONEVILLE WATER AND SEWER          KY0950036   CWS         Surfacewater                  5,346
   KY    BOWLING GREEN MUNICIPAL UTILITIES   KY1140038   CWS         Surfacewater                 44,912
   KY    BRACKEN COUNTY WATER DISTRICT       KY0120039   CWS         Groundwater purchased         6,456

 KY    BREATHITT CO WATER DISTRICT           KY0131012   CWS         Surfacewater purchased        5,068

 KY    BRONSTON WATER ASSOCIATON INC         KY1000043   CWS         Surfacewater purchased        5,114

 KY    BUFFALO TRAIL WATER ASSOC             KY0810046   CWS         Surfacewater purchased        4,514

 KY    BULLOCK PEN WATER DISTRICT            KY0410047   CWS         Surfacewater                 20,048
 KY    BUTLER COUNTY WATER SYSTEM INC        KY0160052   CWS         Surfacewater                 14,256
 KY    CADIZ MUNICIPAL WATER CO              KY1110054   CWS         Surfacewater                  6,165
 KY    CALDWELL COUNTY WATER DISTRICT        KY0170528   CWS         Surfacewater purchased        6,000

 KY    CALVERT CITY MUNICIPAL WATER          KY0790056   CWS         Groundwater                   4,381
       DEPARTMENT
 KY    CAMPBELLSVILLE MUNICIPAL WATER        KY1090060   CWS         Surfacewater                 24,874
 KY    CAMPTON WATER SYSTEM                  KY1190061   CWS         Surfacewater                  6,600
 KY    CANNONSBURG WATER DISTRICT            KY0100064   CWS         Surfacewater purchased        8,953

 KY    CARROLLTON UTILITIES                  KY0210067   CWS         Groundwater                   6,851
 KY    CAWOOD WATER DISTRICT                 KY0480565   CWS         Surfacewater                  4,428
 KY    CHRISTIAN CO WATER DISTRICT           KY0240521   CWS         Surfacewater purchased       15,841

 KY    COLUMBIA/ADAIR UTILITIES DISTRICT     KY0011016   CWS         Surfacewater                 22,113
 KY    CORBIN UTILITIES COMMISSION           KY1180085   CWS         Surfacewater                 16,065
 KY    CRITTENDEN-LIVINGSTON CO WATER        KY0700532   CWS         Surfacewater                  9,571
       DISTRICT
 KY    CUMBERLAND CO WATER DISTRICT          KY0290271   CWS         Surfacewater purchased        7,099

 KY    CUMBERLAND FALLS HIGHWAY WATER        KY1180093   CWS         Surfacewater purchased        9,498
       DISTRICT
 KY    CUMBERLAND MUNICIPAL WATER            KY0480092   CWS         Surfacewater                  3,505
       WORKS
 KY    DANVILLE CITY WATER WORKS             KY0110097   CWS         Surfacewater                 32,600
 KY    DAVIESS CO WATER DISTRICT             KY0300387   CWS         Groundwater purchased        33,655

 KY    E DAVIESS CO WATER ASSOC INC          KY0300109   CWS         Groundwater purchased        11,997

 KY    EAST CASEY CO WATER DISTRICT          KY0230556   CWS         Surfacewater purchased       12,460

 KY    EAST CLARK CO WATER DISTRICT          KY0250981   CWS         Surfacewater purchased        7,366

 KY    EAST LAUREL WATER DISTRICT            KY0630797   CWS         Surfacewater purchased       15,739

 KY    EAST LOGAN WATER DISTRICT             KY0710951   CWS         Surfacewater purchased        8,613

 KY    EAST PENDLETON WATER DISTRICT         KY0960112   CWS         Surfacewater purchased        5,515



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Primacy              PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                        Served
 [State]
   KY    EDMONSON CO WATER DISTRICT        KY0310114   CWS         Surfacewater                 29,872
   KY    EDMONTON WATER WORKS              KY0850115   CWS         Surfacewater purchased        8,515

 KY    ESTILL CO WATER DISTRICT            KY0330123   CWS         Surfacewater purchased        9,501

 KY    EUBANK WATER SYSTEM                 KY1000124   CWS         Surfacewater purchased       12,492

 KY    FARMDALE WATER DISTRICT             KY0370128   CWS         Surfacewater purchased        8,203

 KY    FLATWOODS WATER COMPANY             KY0450132   CWS         Surfacewater purchased        9,649

 KY    FLEMING CO WATER ASSOCIATION        KY0350133   CWS         Surfacewater purchased        9,693

 KY    FLEMINGSBURG UTILITY SYSTEM         KY0350134   CWS         Surfacewater                  4,583
 KY    FLORENCE WATER & SEWER              KY0080135   CWS         Surfacewater purchased       29,351

 KY    FRANKLIN WATER WORKS                KY1070144   CWS         Surfacewater                 15,107
 KY    FRENCHBURG WATER COMPANY            KY0830148   CWS         Surfacewater purchased        5,401

 KY    FULTON MUNICIPAL WATER SYSTEM       KY0380149   CWS         Groundwater                   4,662
 KY    GALLATIN COUNTY WATER DISTRICT      KY0390130   CWS         Groundwater                   5,860
 KY    GARRARD CO WATER ASSOC INC          KY0400151   CWS         Surfacewater purchased       14,806

 KY    GLASGOW WATER COMPANY               KY0050929   CWS         Surfacewater                 36,766
 KY    GRAND RIVERS WATER SYSTEM           KY0700162   CWS         Surfacewater purchased        3,980

 KY    GRAVES CO WATER DIST - CONSUMERS    KY0420084   CWS         Groundwater purchased         4,689

 KY    GRAVES CO WATER DIST - HICKORY      KY0420194   CWS         Groundwater                   4,069
 KY    GRAYSON UTILITY COMMISSION          KY0220164   CWS         Surfacewater                 10,950
 KY    GREEN RIVER VALLEY WATER DISTRICT   KY0500166   CWS         Surfacewater                 17,431
 KY    GREEN TAYLOR WATER DISTRICT         KY0440167   CWS         Surfacewater purchased       15,497

 KY    GREENVILLE UTILITIES COMMISSION     KY0890170   CWS         Surfacewater                  5,649
 KY    HARDIN COUNTY WATER DISTRICT #1     KY0470393   CWS         Surfacewater                 27,033
 KY    HARDINSBURG RO WTP                  KY0140966   CWS         Groundwater                  17,418
 KY    HARLAN MUNICIPAL WATER WORKS        KY0480178   CWS         Surfacewater                  4,574
 KY    HARRISON CO WATER ASSOC             KY0490179   CWS         Surfacewater purchased       16,736

 KY    HARRODSBURG MUNICIPAL WATER         KY0840180   CWS         Surfacewater                  8,310
       DEPARTMENT
 KY    HAZARD WATER DEPARTMENT             KY0970184   CWS         Surfacewater                 26,730
 KY    HENDERSON COUNTY WATER DISTRICT     KY0510189   CWS         Surfacewater purchased       19,008

 KY    HENRY COUNTY WATER DISTRICT #2      KY0520192   CWS         Groundwater                  17,716
 KY    HODGENVILLE WATER WORKS             KY0620200   CWS         Surfacewater                  4,629
 KY    HOPKINSVILLE WATER ENVIRONMENT      KY0240201   CWS         Surfacewater                 41,350
       AUTHORITY



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Agency                                                                                        Served
 [State]
   KY    HUSTONVILLE WATER WORKS           KY0690203   CWS         Surfacewater purchased        5,420

 KY    HYDEN LESLIE CO WATER DISTRICT  KY0660204       CWS         Surfacewater                  9,614
 KY    IRVINE MUNICIPAL UTILITIES      KY0330205       CWS         Surfacewater                  5,649
 KY    JACKSON CO WATER ASSOCIATION    KY0550209       CWS         Surfacewater                 13,629
 KY    JAMESTOWN MUNICIPAL WATER WORKS KY1040210       CWS         Surfacewater                  7,402

 KY    JEFFERSONVILLE WATER SYSTEM         KY0870212   CWS         Surfacewater purchased        5,335

 KY    JESSAMINE CO WATER DISTRICT #1      KY0570214   CWS         Surfacewater purchased        6,831

 KY    JESSAMINE S ELKHORN WATER DIST      KY0570249   CWS         Surfacewater purchased        8,461

 KY    JONATHAN CREEK WATER DISTRICT       KY0790216   CWS         Groundwater                   4,525
 KY    JUDY WATER ASSOCIATION              KY0870147   CWS         Surfacewater purchased        5,539

 KY    KIRKSVILLE WATER ASSOCIATION        KY0760672   CWS         Surfacewater purchased        5,940

 KY    KNOTT CO WATER & SEWER DISTRICT     KY0600062   CWS         Surfacewater                  7,056
 KY    KNOX COUNTY UTILITY COMMISSION      KY0610110   CWS         Surfacewater                  8,313
 KY    LAGRANGE UTILITIES COMMISSION       KY0930481   CWS         Groundwater purchased         9,801

 KY    LAKE VILLAGE WATER ASSOCIATION      KY0840587   CWS         Surfacewater purchased        6,855

 KY    LARUE COUNTY WATER DISTRICT #1      KY0620237   CWS         Surfacewater purchased        9,062

 KY    LAWRENCEBURG WATER & SEWER DEPT KY0030239       CWS         Surfacewater                 14,748

 KY    LEBANON WATER WORKS CO INC          KY0780241   CWS         Surfacewater                  7,642
 KY    LEITCHFIELD WATER WORKS             KY0430244   CWS         Surfacewater                  8,438
 KY    LONDON UTILITY COMMISSION           KY0630255   CWS         Surfacewater                  8,855
 KY    LOUISA WATER DEPARTMENT             KY0640257   CWS         Surfacewater                  8,236
 KY    MADISON CO UTILITIES DISTRICT       KY0760224   CWS         Surfacewater purchased       25,120

 KY    MAGOFFIN COUNTY WATER DISTRICT      KY0770525   CWS         Surfacewater purchased        8,925

 KY    MANCHESTER WATER WORKS              KY0260737   CWS         Surfacewater                 11,349
 KY    MARION COUNTY WATER DISTRICT        KY0780268   CWS         Surfacewater purchased       16,311

 KY    MARTIN CO WATER DISTRICT #1         KY0800273   CWS         Surfacewater                  9,186
 KY    MAYFIELD ELECTRIC & WATER           KY0420274   CWS         Groundwater                  10,024
 KY    MCCREARY COUNTY WATER DISTRICT      KY0740276   CWS         Surfacewater                 17,532
 KY    MCKINNEY WATER DISTRICT             KY0690278   CWS         Surfacewater purchased        5,423

 KY    MEADE COUNTY WATER DISTRICT         KY0820369   CWS         Surfacewater purchased       14,378

 KY    MILTON WATER & SEWER DEPARTMENT KY1120289       CWS         Groundwater                   3,861

 KY    MONROE COUNTY WATER DISTRICT        KY0860150   CWS         Surfacewater                  9,608



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Primacy              PWS Name                 PWSID      PWS Type         Primary Source         Population
Agency                                                                                             Served
 [State]
   KY    MONTICELLO WATER & SEWER           KY1160291   CWS            Surfacewater                  21,000
         COMMISSION
   KY    MOREHEAD UTILITY PLANT BOARD       KY1030292   CWS            Surfacewater                   9,052
   KY    MORGAN COUNTY WATER DISTRICT       KY0880594   CWS            Surfacewater purchased         7,502

 KY    MOUNTAIN WATER DIST                  KY0980575   CWS             Surfacewater                 48,286
 KY    Mt Carmel High                       KY1030949   System not
                                                        found in
                                                        SDWIS,
                                                        additional
                                                        search could
                                                        not find system
                                                        name.
 KY    MT STERLING WATER WORKS              KY0870298   CWS             Surfacewater                 16,391
 KY    MT VERNON WATER WORKS                KY1020299   CWS             Surfacewater                  4,951
 KY    MT WASHINGTON WATER COMPANY          KY0150300   CWS             Surfacewater purchased       23,760

 KY    MUHLENBERG CO WATER DISTRICT         KY0890302   CWS            Surfacewater purchased        16,845

 KY    MUHLENBERG CO WATER DISTRICT #3      KY0890304   CWS            Surfacewater purchased         6,181

 KY    MURRAY WATER SYSTEM                  KY0180306   CWS            Groundwater                   26,302
 KY    NEBO WATER DISTRICT                  KY0540977   CWS            Surfacewater purchased         4,702

 KY    NICHOLAS CO WATER DISTRICT           KY0910314   CWS            Surfacewater purchased         4,089

 KY    NICHOLASVILLE WATER DEPARTMENT       KY0570315   CWS            Surfacewater                  35,266
 KY    NORTH HOPKINS WATER DISTRICT         KY0540138   CWS            Surfacewater purchased         3,725

 KY    NORTH MANCHESTER WATER ASSOC         KY0260266   CWS            Surfacewater purchased         5,332

 KY    NORTH MARSHALL WATER DISTRICT #1     KY0790319   CWS            Groundwater                   16,276

 KY    NORTH MERCER WATER DISTRICT          KY0840321   CWS            Surfacewater purchased         9,775

 KY    NORTH NELSON WATER DISTRICT          KY0900323   CWS            Surfacewater purchased        13,365

 KY    NORTH SHELBY WATER DISTRICT          KY1060324   CWS            Surfacewater purchased        14,660

 KY    OAK GROVE UTILITIES OFFICE           KY0240329   CWS            Surfacewater purchased         8,762

 KY    OHIO COUNTY WATER DISTRICT        KY0920332      CWS            Surfacewater                  16,511
 KY    OLIVE HILL MUNICIPAL WATER WORKS KY0220335       CWS            Surfacewater                   6,192
 KY    PAINTSVILLE MUNICIPAL WATER WORKS KY0580340      CWS            Surfacewater                  24,354

 KY    PARIS WATER WORKS                    KY0090343   CWS            Surfacewater                  14,479
 KY    PARKSVILLE WATER DISTRICT            KY0110345   CWS            Surfacewater purchased         4,261

 KY    PINEVILLE WATER SYSTEM               KY0070353   CWS            Surfacewater                  16,573




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Primacy              PWS Name                  PWSID      PWS Type      Primary Source        Population
Agency                                                                                          Served
 [State]
   KY    POWELL VALLEY WATER DISTRICT        KY0990357   CWS         Surfacewater purchased        7,128

 KY    PRESTONSBURG CITY UTILITIES           KY0360358   CWS         Surfacewater                 20,368
 KY    PRINCETON WATER & SEWER               KY0170360   CWS         Surfacewater                  7,007
       COMMISSION
 KY    PROVIDENCE WATER WORKS                KY1170361   CWS         Surfacewater                  4,538
 KY    RATTLESNAKE RIDGE WATER DISTRICT      KY0220555   CWS         Surfacewater                 11,567
 KY    RICHMOND UTILITIES                    KY0760370   CWS         Surfacewater                 35,640
 KY    ROWAN WATER INC                       KY1030375   CWS         Surfacewater purchased       18,765

 KY    RUSSELL SPRINGS WATER & SEWER         KY1040377   CWS         Surfacewater purchased        9,409

 KY    RUSSELLVILLE MUN WATER WORKS          KY0710378   CWS         Surfacewater purchased        8,613

 KY    SANDY HOOK WATER DISTRICT             KY0320383   CWS         Groundwater                   3,528
 KY    SCIENCE HILL WATER WORKS              KY1000362   CWS         Surfacewater purchased        5,940

 KY    SCOTTSVILLE WATER DEPARTMENT          KY0020386   CWS         Surfacewater                  6,864
 KY    SHARPSBURG WATER DISTRICT             KY0060392   CWS         Surfacewater purchased        4,332

 KY    SHELBYVILLE WATER & SEWER             KY1060394   CWS         Surfacewater                 23,760
       COMMISSION
 KY    SIMPSON COUNTY WATER DISTRICT         KY1070398   CWS         Surfacewater purchased        8,946

 KY    SO ANDERSON WATER DISTRICT            KY0030660   CWS         Surfacewater purchased        8,417

 KY    SO WOODFORD CO WATER DISTRICT         KY1200411   CWS         Surfacewater purchased        4,218

 KY    SOMERSET WATER SERVICE                KY1000403   CWS         Surfacewater                 29,700
 KY    SOUTH HOPKINS WATER DISTRICT          KY0540406   CWS         Surfacewater purchased        8,440

 KY    SOUTH LOGAN WATER ASSOCIATION         KY0710707   CWS         Surfacewater purchased        5,198

 KY    SOUTHEASTERN WATER ASSOC/NELSON KY1000311         CWS         Surfacewater purchased       21,895
       VALLEY
 KY    SOUTHERN MADISON WATER DISTRICT KY0760407         CWS         Surfacewater purchased       14,707

 KY    SPRINGFIELD WATER WORKS               KY1150415   CWS         Surfacewater                 13,205
 KY    STANFORD WATER WORKS                  KY0690417   CWS         Surfacewater                  9,284
 KY    STANTON WATER WORKS                   KY0990418   CWS         Surfacewater purchased        6,611

 KY    TAYLORSVILLE WATER WORKS              KY1080425   CWS         Surfacewater purchased       18,973

 KY    TODD COUNTY WATER DISTRICT            KY1100944   CWS         Surfacewater purchased        9,801

 KY    TRIMBLE CO WATER DISTRICT #1          KY1120431   CWS         Groundwater                   4,146
 KY    UNION COUNTY WATER DISTRICT           KY1130433   CWS         Surfacewater purchased        6,117

 KY    US 60 WATER DISTRICT                  KY1060436   CWS         Surfacewater purchased        6,445




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Primacy              PWS Name               PWSID      PWS Type      Primary Source        Population
Agency                                                                                       Served
 [State]
   KY    VERSAILLES WATER SYSTEM          KY1200439   CWS         Surfacewater                 17,822
   KY    VINE GROVE WATER DEPARTMENT      KY0470440   CWS         Surfacewater purchased        6,703

 KY    WALTON WATERWORKS DEPARTMENT       KY0080442   CWS         Surfacewater purchased        4,173

 KY    WARREN COUNTY WATER DISTRICT       KY1140487   CWS         Surfacewater purchased       74,096

 KY    WATER SERVICE CORPORATION OF       KY0070282   CWS         Surfacewater                 12,022
       KENTUCKY
 KY    WEBSTER CO WATER DISTRICT          KY1170995   CWS         Surfacewater                  5,940
 KY    WEST LAUREL WATER ASSOC INC        KY0630451   CWS         Surfacewater purchased       15,739

 KY    WEST SHELBY WATER DISTRICT         KY1060457   CWS         Surfacewater purchased        5,777

 KY    WESTERN FLEMING WATER DISTRICT    KY0910675    CWS         Surfacewater                  4,262
 KY    WESTERN LEWIS RECTORVILLE WATER KY0810366      CWS         Surfacewater purchased        6,534
       DISTRICT
 KY    WESTERN PULASKI CO WATER DISTRICT KY1000363    CWS         Surfacewater purchased       23,264

 KY    WESTERN ROCKCASTLE WATER ASSOC     KY1020891   CWS         Surfacewater purchased       12,623

 KY    WHITESBURG WATER WORKS             KY0670466   CWS         Surfacewater                  3,861
 KY    WHITESVILLE WATER WORKS            KY0300467   CWS         Groundwater purchased         3,672

 KY    WHITLEY CO WATER DISTRICT          KY1180468   CWS         Surfacewater purchased        9,825

 KY    WILLIAMSBURG WATER DEPARTMENT      KY1180471   CWS         Surfacewater                  5,554
 KY    WILLIAMSTOWN MUNICIPAL WATER       KY0410472   CWS         Surfacewater                  5,495
       DEPT
 KY    WILMORE WATER WORKS                KY0570010   CWS         Surfacewater                  5,762
 KY    WOOD CREEK WATER DISTRICT          KY0630477   CWS         Surfacewater                 14,892
 LA    ABITA SPRINGS WATER SYSTEM         LA1103002   CWS         Groundwater                   3,693
 LA    ARCADIA WATER SYSTEM               LA1013003   CWS         Groundwater                   3,508
 LA    ARCHIBALD WATER SYSTEM             LA1083012   CWS         Groundwater                   4,200
 LA    AVOYELLES PARISH WATERWORKS        LA1009002   CWS         Groundwater                   3,900
       DISTRICT 1
 LA    AVOYELLES WARD ONE WATER SYSTEM LA1009016      CWS         Groundwater                   3,726
       INC
 LA    BASTROP WATER SYSTEM               LA1067003   CWS         Groundwater                  18,105
 LA    BATON ROUGE WATER COMPANY          LA1033005   CWS         Groundwater                 560,190
 LA    BAYOU DES CANNES WATER SYSTEM      LA1039016   CWS         Groundwater                   4,500
 LA    BAYOU LIBERTY WATER ASSOCIATION LA1103005      CWS         Groundwater                  10,791
 LA    BAYOU TECHE WATER WORKS            LA1099002   CWS         Groundwater                   9,933
 LA    BEAU CHENE WATER SYSTEM            LA1103006   CWS         Groundwater                   4,650
 LA    BEAUREGARD DISTRICT NO 2 WARD NO 5 LA1011012   CWS         Groundwater                   6,116

 LA    BEAUREGARD WATER WORKS DIST #3     LA1011008   CWS         Groundwater                  23,100
 LA    BELLE CHASSE WATER DISTRICT        LA1075001   CWS         Surfacewater                 17,391



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Primacy                 PWS Name                  PWSID      PWS Type      Primary Source       Population
Agency                                                                                            Served
 [State]
   LA      BLANCHARD WATER SYSTEM               LA1017006   CWS         Surfacewater                15,180
   LA      BOGUE-LUSA WATER WORKS DISTRICT      LA1117009   CWS         Groundwater                  4,200
   LA      BROUILLETTE WATER SYSTEM INC         LA1009003   CWS         Groundwater                  3,732
   LA      BROWNVILLE WATER SYSTEM              LA1073004   CWS         Groundwater                  9,696
   LA      BUCKEYE WATER DISTRICT 50            LA1079004   CWS         Groundwater                 11,955
   LA      CADEVILLE WATER DISTRICT             LA1073060   CWS         Groundwater                  4,980
   LA      CALCASIEU PARISH WW DIST 9 CARLYSS   LA1019116   CWS         Groundwater                 14,208

  LA       CALCASIEU PARISH WW DISTRICT 7       LA1019114   CWS         Groundwater                  4,791
  LA       CALCASIEU PARISH WW DISTRICT 8       LA1019118   CWS         Groundwater                  7,710
  LA       CALCASIEU PARISH WW DISTRICT NO 1    LA1019051   CWS         Groundwater                 20,837
  LA       CALCASIEU PARISH WW DISTRICT NO 4    LA1019053   CWS         Groundwater                  5,340
  LA       CALCASIEU PARISH WW DISTRICT NO 5    LA1019084   CWS         Groundwater                  5,055
  LA       CAMERON PARISH WW DISTRICT 11-       LA1023011   CWS         Groundwater                  3,759
           SWEET LAKE
  LA       CECILIA WATER CORPORATION            LA1099005   CWS         Groundwater                 11,949
  LA       CHENIERE DREW NORTH WATER            LA1073100   CWS         Groundwater                 11,280
           SYSTEM
  LA       CITY OF ABBEVILLE WATER SYSTEM       LA1113001   CWS         Groundwater                 14,784
  LA       CITY OF ALEXANDRIA WATER SYSTEM      LA1079001   CWS         Groundwater                 66,798
  LA       CITY OF BAKER WATER SYSTEM           LA1033003   CWS         Groundwater                 13,855
  LA       CITY OF BOGALUSA WATER SYSTEM        LA1117001   CWS         Groundwater                 14,000
  LA       CITY OF BOSSIER CITY WATER SYSTEM    LA1015004   CWS         Surfacewater                76,685
  LA       CITY OF BREAUX BRIDGE WATER          LA1099003   CWS         Groundwater                  8,547
           SYSTEM
  LA       CITY OF BROUSSARD HWY 90 WATER       LA1055194   CWS         Groundwater                  3,627
           SYSTEM
  LA       CITY OF BROUSSARD WATER SYSTEM       LA1055003   CWS         Groundwater purchased       14,370

  LA       CITY OF CARENCRO WATER SYSTEM     LA1055005      CWS         Groundwater                 10,485
  LA       CITY OF DENHAM SPRINGS WATER      LA1063004      CWS         Groundwater                 25,725
           SYSTEM
  LA       CITY OF DERIDDER WATER SYSTEM     LA1011001      CWS         Groundwater                 14,400
  LA       CITY OF GONZALES WATER SYSTEM     LA1005030      CWS         Groundwater                 16,806
  LA       CITY OF HAMMOND WATER SYSTEM      LA1105009      CWS         Groundwater                 21,135
  LA       CITY OF JEANERETTE WATER SYSTEM   LA1045004      CWS         Groundwater                  5,802
  LA       CITY OF JENNINGS WATER SYSTEM     LA1053003      CWS         Groundwater                  9,837
  LA       CITY OF KAPLAN WATER SYSTEM       LA1113009      CWS         Groundwater                  4,522
  LA       CITY OF LAKE CHARLES WATER SYSTEM LA1019029      CWS         Groundwater                 85,000

  LA       CITY OF LEESVILLE WATER SYSTEM       LA1115019   CWS         Groundwater                  7,923
  LA       CITY OF MARKSVILLE WATER SYSTEM      LA1009011   CWS         Groundwater purchased        7,593

  LA       CITY OF OAKDALE WATER SYSTEM         LA1003006   CWS         Groundwater                  6,297
  LA       CITY OF OPELOUSAS WATER SYSTEM       LA1097010   CWS         Groundwater                 20,397
  LA       CITY OF PINEVILLE WATER SYSTEM       LA1079016   CWS         Groundwater                 20,315
  LA       CITY OF PLAQUEMINE WATER SYSTEM      LA1047005   CWS         Groundwater                 14,043


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Primacy                PWS Name               PWSID      PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
   LA    CITY OF RAYNE WATER SYSTEM         LA1001007   CWS         Groundwater                   7,953
   LA    CITY OF SCOTT WATER SYSTEM         LA1055026   CWS         Groundwater purchased         9,216

  LA    CITY OF ST MARTINVILLE WATER        LA1099007   CWS         Groundwater                   7,575
        SYSTEM
  LA    CITY OF VIDALIA WATER SYSTEM        LA1029011   CWS         Groundwater                   6,354
  LA    CITY OF VILLE PLATTE WATER SYSTEM   LA1039010   CWS         Groundwater                   7,430
  LA    CITY OF WINNFIELD WATER SYSTEM      LA1127012   CWS         Groundwater                   7,059
  LA    CITY OF YOUNGSVILLE PURCHASE WS     LA1055195   CWS         Groundwater purchased        17,319

  LA    COLYELL COMMUNITY WATER          LA1063003      CWS         Groundwater                   4,544
  LA    CONCORDIA WATERWORKS DISTRICT 1 LA1029003       CWS         Groundwater                   6,921
  LA    CONSOLIDATED WATERWORKS          LA1067012      CWS         Groundwater                   3,498
        DISTRICT 2
  LA    COVINGTON WATER SUPPLY           LA1103011      CWS         Groundwater                  16,185
  LA    CROWLEY WATER SYSTEM (LAWCO)     LA1001002      CWS         Groundwater                  17,754
  LA    CYPRESS BLACK BAYOU WATER SYSTEM LA1015040      CWS         Surfacewater purchased        4,989

  LA    DELHI WATER SUPPLY               LA1083002      CWS         Groundwater                   4,071
  LA    DEQUINCY WATER SYSTEM (LAWCO)    LA1019008      CWS         Groundwater                   5,730
  LA    DOW USA, LA DIVISION             LA2047003      NTNCWS      Surfacewater                  3,960
  LA    EAST CENTRAL VERNON WATER SYSTEM LA1115117      CWS         Groundwater                   6,282

  LA    EAST FELICIANA RURAL GURLEY RD WS LA1037004     CWS         Groundwater                   3,462

  LA    EAST IBERVILLE WATER SYSTEM         LA1047007   CWS         Groundwater purchased         6,525

  LA    EAST SIDE WATER SYSTEM             LA1039003    CWS         Groundwater                   5,640
  LA    EBARB WWKS DIST # 1 - AIMWELL AREA LA1085059    CWS         Groundwater purchased         6,186

  LA    EGAN WATER CORPORATION              LA1001025   CWS         Groundwater                   5,310
  LA    EUNICE WATER SYSTEM (LAWCO)         LA1097022   CWS         Groundwater                  15,588
  LA    FALSE RIVER WATER COMPANY           LA1077041   CWS         Groundwater                   4,014
  LA    FARMERVILLE WATER SYSTEM            LA1111005   CWS         Groundwater                   4,977
  LA    FIFTH WARD WATER SYSTEM             LA1009007   CWS         Groundwater                   5,676
  LA    FOREST HILL UTILITIES               LA1079009   CWS         Groundwater                   3,399
  LA    FRANKLIN WATER SUPPLY               LA1101003   CWS         Surfacewater                  8,500
  LA    FSWC - HAMMOND HEIGHTS              LA1105010   CWS         Groundwater                   4,281
  LA    GARDNER COMMUNITY WATER SYSTEM      LA1079010   CWS         Groundwater                   4,566

  LA    GOWC EAST WATER SYSTEM              LA1073121   CWS         Groundwater                  11,742
  LA    GOWC NORTH WATER SYSTEM             LA1073120   CWS         Groundwater                  13,287
  LA    GRAMBLING WATER SYSTEM              LA1061006   CWS         Groundwater                   4,949
  LA    GREATER WARD 1 WATERWORKS           LA1061007   CWS         Groundwater                   3,333
        DISTRICT
  LA    GRETNA WATERWORKS                   LA1051003   CWS         Surfacewater                 17,802
  LA    HENDERSON NINA WATER SYSTEM INC     LA1099006   CWS         Groundwater                   4,545



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Primacy                PWS Name              PWSID       PWS Type      Primary Source       Population
Agency                                                                                        Served
 [State]
   LA    HOMER WATER SYSTEM                LA1027003    CWS         Groundwater                  3,427
   LA    HOUMA WATER TREATMENT SERVICE     LA1109001    CWS         Surfacewater                11,148
         AREA
   LA    HOUSTON RIVER WATERWORKS          LA1019119    CWS         Groundwater                  6,858
         DISTRICT 11
   LA    IBERIA WATER WORKS DISTRICT 3 -   LA1045002    CWS         Groundwater                  8,448
         COTEAU
   LA    INTRACOASTAL WATER SYSTEM WEST    LA1047002    CWS         Surfacewater                 6,465
   LA    JEFF DAVIS CENTRAL WATERWORKS     LA1053012    CWS         Groundwater                  5,343
         DISTRICT
   LA    JEFF DAVIS WATER AND SEWER        LA1053014    CWS         Groundwater                  9,702
         COMMISSION 1
   LA    JEFF DAVIS WATER DISTRICT 4       LA1053013    CWS         Groundwater                  3,990
   LA    JONESBORO WATER SYSTEM            LA1049010    CWS         Groundwater                  6,132
   LA    KEATCHIE WATER SYSTEM             LA1031007    CWS         Groundwater                  3,465
   LA    KIROLI DARBONNE WS                LA1073020    CWS         Groundwater                  9,210
   LA    KOLIN RUBY WISE WATERWORK         LA1079023    CWS         Groundwater                  4,992
         DISTRICT 11 A
   LA    LAFAYETTE UTILITIES WATER SYSTEM LA1055017     CWS         Groundwater                156,516
   LA    LAFOURCHE WATER DISTRICT 1        LA1057001    CWS         Surfacewater                81,609
   LA    LAKE PROVIDENCE WATER SYSTEM      LA1035002    CWS         Groundwater                  5,850
   LA    LAKESHORE ESTATES                 LA1103171    CWS         Groundwater                  4,146
   LA    LAWTELL WATER WORKS DISTRICT NO 1 LA1097004    CWS         Groundwater                  3,645

  LA    LEE ROAD WATER CORPORATION          LA1103020   CWS         Groundwater                  6,048
  LA    LENA WATER SYSTEM INC               LA1079019   CWS         Groundwater                  3,540
  LA    LEWISBURG BELLEVUE WATER SYSTEM     LA1097006   CWS         Groundwater                  7,902
  LA    LPWD NORTH PRODUCTION FACILITY      LA1055171   CWS         Groundwater                  3,987
  LA    LPWD SOUTH                          LA1055156   CWS         Groundwater purchased       13,587

  LA    LPWDN NORTH REGION                  LA1055191   CWS         Groundwater purchased       16,092

  LA    LPWDN SOUTH REGION                  LA1055192   CWS         Groundwater purchased        3,786

  LA    LUTCHER WATERWORKS                  LA1093003   CWS         Surfacewater                 4,781
  LA    MAGNOLIA PLANTATION WATER           LA1113032   CWS         Groundwater                  8,607
        SYSTEM INC
  LA    MAGNOLIA WATER UTIL -RESOLVE        LA1103046   CWS         Groundwater                  6,867
        WHISPERWOOD
  LA    MAGNOLIA WATER UTILITIES - EDEN     LA1103013   CWS         Groundwater                 10,155
        ISLES
  LA    MAGNOLIA WATER UTILITIES -          LA1103118   CWS         Groundwater                  8,031
        GREENLEAVES
  LA    MAGNOLIA WATER UTILITIES - THE      LA1103106   CWS         Groundwater                  4,701
        MEADOWS
  LA    MANDEVILLE WATER SUPPLY             LA1103023   CWS         Groundwater                 13,000
  LA    MILTON PURCHASE WATER SYSTEM        LA1055196   CWS         Groundwater purchased       10,830

  LA    MINDEN WATER SYSTEM                 LA1119021   CWS         Groundwater                 16,281


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Primacy              PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                        Served
 [State]
   LA    MIRE BRANCH WATER CORPORATION     LA1001024   CWS         Groundwater                   9,897
   LA    MONROE WATER SYSTEM               LA1073031   CWS         Surfacewater                 57,000
   LA    MONTEREY RURAL WATER SYSTEM INC   LA1029007   CWS         Groundwater                   5,250

 LA    NATCHITOCHES PARISH WWKS DISTRICT LA1069006     CWS         Groundwater                   8,400
       2
 LA    NEW CARROLL WATER SYSTEM          LA1123005     CWS         Groundwater                   3,618
 LA    NEW IBERIA WATER SYSTEM (LAWCO)   LA1045009     CWS         Groundwater                  60,123
 LA    NEW LLANO WATER DEPARTMENT        LA1115022     CWS         Groundwater                   3,840
 LA    NEW ORLEANS CARROLLTON WW         LA1071009     CWS         Surfacewater                291,044
 LA    NEW ORLEANS ALGIERS WATER WORKS LA1071001       CWS         Surfacewater                 52,785

 LA    NEW ROADS WATER SYSTEM              LA1077026   CWS         Groundwater                   9,024
 LA    NORTH DESOTO WATER SYSTEM           LA1031011   CWS         Groundwater                   7,500
 LA    NORTH FRANKLIN WATER WORKS          LA1041003   CWS         Groundwater                   7,989
 LA    NORTH OF CROWLEY WATER              LA1001023   CWS         Groundwater                   3,894
       CORPORATION
 LA    PARISH UTILITIES OF ASCENSION       LA1005035   CWS         Surfacewater                  9,732
 LA    PINEHILL WATERWORKS DISTRICT        LA1017027   CWS         Surfacewater purchased        4,692

 LA    PLAISANCE WATER SYSTEM              LA1097012   CWS         Groundwater                   6,375
 LA    POINTE COUPEE WATER WORKS           LA1077043   CWS         Groundwater                   4,251
       DISTRICT 1
 LA    POLLOCK AREA WATER SYSTEM INC       LA1043017   CWS         Groundwater                   3,474
 LA    PONTCHATOULA WATER SYSTEM           LA1105019   CWS         Groundwater                   6,657
 LA    PORT ALLEN WATER SYSTEM             LA1121014   CWS         Groundwater                   6,759
 LA    PRAIRIE RONDE WATER SYSTEM INC      LA1097014   CWS         Groundwater                   5,961
 LA    RAPIDES ISLAND WATER ASSOCIATION    LA1079020   CWS         Groundwater                   5,814
       INC
 LA    RAPIDES PARISH WATERWORKS           LA1079017   CWS         Surfacewater                 19,983
       DISTRICT 3
 LA    RAYVILLE WATER SYSTEM               LA1083006   CWS         Groundwater                   4,842
 LA    RIVER ROAD WATER SYSTEM             LA1083008   CWS         Groundwater                   3,510
 LA    RURAL FRANKLINTON WATER             LA1117003   CWS         Groundwater                   3,450
 LA    RUSTON WATER SYSTEM                 LA1061017   CWS         Groundwater                  22,468
 LA    SABINE PARISH WATER DISTRICT 1      LA1085036   CWS         Groundwater                   6,717
 LA    SAVOY SWORDS WATER SYSTEM INC       LA1097024   CWS         Groundwater                   7,284
 LA    SCHRIEVER WATER TREATMENT           LA1109002   CWS         Surfacewater                105,852
       SERVICE AREA
 LA    SHREVEPORT WATER SYSTEM             LA1017031   CWS         Surfacewater                201,000
 LA    SLIDELL WATER SUPPLY                LA1103041   CWS         Groundwater                  38,637
 LA    SOUTH CLAIBORNE WATER SYSTEM        LA1027006   CWS         Groundwater                   3,840
 LA    SOUTH GRANT WATER CORPORATION       LA1043008   CWS         Groundwater                   5,289
 LA    SOUTH MONROE WS GOWC                LA1073046   CWS         Groundwater                   7,164
 LA    SOUTH RAYNE WATER CORPORATION       LA1001022   CWS         Groundwater                   4,350
 LA    SOUTH VERNON PARISH WATERWORKS      LA1115118   CWS         Groundwater                   4,083
       DISTRICT


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Primacy              PWS Name                 PWSID      PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
   LA    SOUTHEAST WATERWORKS DISTRICT 2    LA1113031   CWS         Groundwater                   6,810
   LA    SOUTHWEST ALLEN WW DISTRICT NO 2   LA1003009   CWS         Groundwater                   8,106

  LA    SOUTHWEST OUACHITA WATERWORKS,      LA1073047   CWS         Groundwater                  10,725
        INC
  LA    SPRINGHILL WATER SYSTEM             LA1119028   CWS         Groundwater                   7,800
  LA    ST BERNARD PARISH WATERWORKS        LA1087001   CWS         Surfacewater                 44,000
  LA    ST JAMES WATER DISTRICT 2           LA1093005   CWS         Surfacewater                  9,392
  LA    ST JOHN WATER DISTRICT 2            LA1095002   CWS         Surfacewater                  3,702
  LA    ST JOHN WATER DISTRICT 3            LA1095007   CWS         Groundwater                  29,872
  LA    ST LANDRY WATER WORKS DISTRICT 2    LA1097033   CWS         Groundwater                   4,761
        RURAL
  LA    ST MARY PARISH W&S #2 BAYOU VISTA   LA1101015   CWS         Surfacewater purchased        5,379

  LA    ST MARY WATER & SEWER COMM #3     LA1101010     CWS         Surfacewater                  7,500
  LA    ST TAM PARISH - BRIARWOOD TERRACE LA1103079     CWS         Groundwater                  17,536

  LA    ST TAM PARISH - CROSS GATES SD      LA1103053   CWS         Groundwater                   9,600
  LA    ST TAM PARISH-FAUBOURG-COQUILLE     LA1103149   CWS         Groundwater                  12,849
  LA    ST TAMMANY WATER DIST 2             LA1103033   CWS         Groundwater                   5,200
  LA    SULPHUR CITY OF WATER SYSTEM        LA1019044   CWS         Groundwater                  20,632
  LA    TALLULAH WATER SYSTEM               LA1065003   CWS         Groundwater                   8,601
  LA    TANGIPAHOA (SECOND WARD) WATER      LA1105077   CWS         Groundwater                   4,112
        DISTRICT
  LA    TANGIPAHOA PARISH WATER DISTRICT    LA1105008   CWS         Groundwater                  59,529

  LA    TENSAS WATER DISTRICT ASSOCIATION LA1107009     CWS         Surfacewater                  3,843

  LA    THIBODAUX WATERWORKS                LA1057003   CWS         Surfacewater                 15,810
  LA    TOWN & COUNTRY SERVICE              LA1073054   CWS         Surfacewater purchased        5,715

  LA    TOWN OF ALBANY WATER SYSTEM         LA1063022   CWS         Groundwater                   6,198
  LA    TOWN OF AMITE WATER SYSTEM          LA1105001   CWS         Groundwater                   4,300
  LA    TOWN OF ARNAUDVILLE WATER           LA1099001   CWS         Groundwater                   3,801
        SYSTEM
  LA    TOWN OF BENTON WATER SYSTEM         LA1015002   CWS         Surfacewater purchased        6,825

  LA    TOWN OF BERWICK                     LA1101014   CWS         Surfacewater purchased        5,898

  LA    TOWN OF BUNKIE WATER SYSTEM         LA1009004   CWS         Groundwater                   4,393
  LA    TOWN OF CHURCH POINT WATER          LA1001001   CWS         Groundwater                   4,560
        SYSTEM
  LA    TOWN OF FERRIDAY WATER SYSTEM       LA1029005   CWS         Groundwater                   4,193
  LA    TOWN OF FRANKLINTON WATER           LA1117002   CWS         Groundwater                   4,150
        SYSTEM
  LA    TOWN OF GREENWOOD WATER SYSTEM      LA1017014   CWS         Surfacewater                  5,205

  LA    TOWN OF HAUGHTON WATER SYSTEM       LA1015011   CWS         Groundwater                   5,355



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Primacy                PWS Name                 PWSID      PWS Type      Primary Source   Population
Agency                                                                                      Served
 [State]
   LA      TOWN OF IOWA WATER SYSTEM        LA1019026     CWS         Groundwater                3,575
   LA      TOWN OF JENA WATER SYSTEM        LA1059003     CWS         Groundwater                3,614
   LA      TOWN OF LEONVILLE WATER SYSTEM   LA1097005     CWS         Groundwater                9,552
   LA      TOWN OF LIVINGSTON WATER SYSTEM LA1063013      CWS         Groundwater                8,658
   LA      TOWN OF MAMOU WATER SYSTEM       LA1039005     CWS         Groundwater                4,559
   LA      TOWN OF PEARL RIVER              LA1103157     CWS         Groundwater                3,333
   LA      TOWN OF PLAUCHEVILLE WATER SYSTM LA1009013     CWS         Groundwater                3,420

  LA       TOWN OF PORT BARRE WATER SYSTEM    LA1097013   CWS         Groundwater                3,867

  LA       TOWN OF SUNSET WATER SYSTEM    LA1097015       CWS         Groundwater                3,984
  LA       TOWN OF VINTON WATER SYSTEM    LA1019048       CWS         Groundwater                4,494
  LA       TOWN OF WELSH WATER SYSTEM     LA1053006       CWS         Groundwater                4,311
  LA       TOWN OF WOODWORTH WATER SYSTEM LA1079027       CWS         Groundwater                4,818

  LA       UNITED WATER SYSTEM                LA1099009   CWS         Groundwater                4,350
  LA       UTILITIES INC - KINGSPOINT         LA1103055   CWS         Groundwater                6,276
           SUBDIVISION
  LA       UTILITIES INC - NORTH PARK WATER   LA1103124   CWS         Groundwater               11,298
           SUPPLY
  LA       VARNADO WATER WORKS                LA1117006   CWS         Groundwater                4,230
  LA       VERMILION WATERWORKS DISTRICT 1    LA1113034   CWS         Groundwater               22,800
  LA       VERNON PARISH WATER AND SEWER      LA1115071   CWS         Groundwater                4,824
           COMMISSION
  LA       VILLAGE OF PARKS WATER SYSTEM      LA1099008   CWS         Groundwater               12,360
  LA       VILLAGE OF TURKEY CREEK WATER      LA1039013   CWS         Groundwater                5,217
           SYSTEM
  LA       VILLAGE WATER SYSTEM               LA1015018   CWS         Groundwater               10,644
  LA       VIVIAN WATER SYSTEM                LA1017037   CWS         Surfacewater               4,050
  LA       WALKER WATER SYSTEM                LA1063017   CWS         Groundwater               13,530
  LA       WALNUT BAYOU WATER ASSOCIATION     LA1065004   CWS         Groundwater                3,531

  LA       WARD II WATER DISTRICT             LA1063039   CWS         Groundwater               68,133
  LA       WATERWORKS DISTRICT 7              LA1017052   CWS         Groundwater                5,724
  LA       WBR DISTRICT 4 -SECTION ROAD       LA1121027   CWS         Groundwater                5,100
           WINTERVILLE
  LA       WBR PUBLIC UTILITIES               LA1121008   CWS         Groundwater                4,329
  LA       WESLEY CHAPEL WATER SYSTEM         LA1061020   CWS         Groundwater                3,480
  LA       WEST ALLEN PARISH WATER SYSTEM     LA1003010   CWS         Groundwater                3,393
  LA       WEST BATON ROUGE WATER WORKS       LA1121018   CWS         Groundwater               13,437
           DISTRICT 2
  LA       WEST FELICIANA CONSOL WWKS         LA1125010   CWS         Groundwater               10,956
           DISTRICT 13
  LA       WEST GRANT WATER ASSOCIATION       LA1043014   CWS         Groundwater                3,324
  LA       WEST HWY 80 ARK ROAD WS            LA1073055   CWS         Groundwater               13,386
  LA       WEST MONROE WATER SYSTEM           LA1073056   CWS         Groundwater               16,005
  LA       WEST VERNON PARISH WATERWORKS      LA1115121   CWS         Groundwater                4,182
           DISTRICT


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Primacy              PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                        Served
 [State]
   LA    WESTLAKE CITY OF WATER SYSTEM     LA1019054   CWS         Groundwater                   4,568
   LA    WESTWEGO WATERWORKS               LA1051005   CWS         Surfacewater purchased        8,534

 LA    WINNSBORO WATER SYSTEM              LA1041006   CWS         Groundwater                   7,518
 LA    WWKS DISTRICT 2 OF ST HELENA        LA1091007   CWS         Groundwater                   8,349
 LA    ZACHARY WATER SYSTEM                LA1033030   CWS         Groundwater                  23,469
 MA    ACUSHNET WATER DEPARTMENT           MA4003000   CWS         Surfacewater purchased        8,076

 MA    ADAMS FIRE DISTRICT                 MA1004000   CWS         Groundwater                   7,972
 MA    AGAWAM WATER DEPARTMENT             MA1005000   CWS         Surfacewater purchased       28,692

 MA    ARLINGTON WATER DEPT. (MWRA)        MA3010000   CWS         Surfacewater purchased       46,308

 MA    ASHBURNHAM WATER DEPARTMENT         MA2011000   CWS         Surfacewater                  3,680
 MA    BELMONT WATER DEPT. (MWRA)          MA3026000   CWS         Surfacewater purchased       25,211

 MA    BEVERLY WATER DEPT                  MA3030000   CWS         Surfacewater purchased       47,461

 MA    BOSTON WATER AND SEWER              MA3035000   CWS         Surfacewater purchased      675,647
       COMMISSION (MWRA)
 MA    BROOKLINE WATER AND SEWER           MA3046000   CWS         Surfacewater purchased       63,191
       DIVISION
 MA    CHELSEA WATER DEPT. (MWRA)          MA3057000   CWS         Surfacewater purchased       39,690

 MA    CHERRY VALLEY/ ROCHDALE WATER       MA2151001   CWS         Surfacewater purchased        3,685
       DISTRICT
 MA    CHICOPEE WATER DEPT (MWRA)          MA1061000   CWS         Surfacewater purchased       55,126

 MA    EAST LONGMEADOW DPW WATER DEPT      MA1085000   CWS         Surfacewater purchased       16,053

 MA    EVERETT WATER DEPT. (MWRA)          MA3093000   CWS         Surfacewater purchased       49,075

 MA    FAIRHAVEN WATER DEPT                MA4094000   CWS         Groundwater                  15,792
 MA    FRAMINGHAM WATER DEPT. (MWRA)       MA3100000   CWS         Surfacewater purchased       72,362

 MA    HADLEY DPW WATER DIVISION           MA1117002   CWS         Groundwater                   4,980
 MA    HOLBROOK PUBLIC WORKS DEPT          MA4133000   CWS         Surfacewater purchased       11,407

 MA    KENWOOD WATER DISTRICT              MA3079001   CWS         Surfacewater purchased        9,430

 MA    LENOX DPW WATER DIVISION            MA1152000   CWS         Surfacewater                  9,800
 MA    LEXINGTON WATER DEPT. (MWRA)        MA3155000   CWS         Surfacewater purchased       32,271

 MA    LONGMEADOW WATER DEPT               MA1159000   CWS         Surfacewater purchased       15,853

 MA    LYNNFIELD WATER DIST. (MWRA)        MA3164001   CWS         Surfacewater purchased        4,820

 MA    MALDEN WATER DIVISION (MWRA)        MA3165000   CWS         Surfacewater purchased       59,450




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Primacy             PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                       Served
 [State]
   MA    MARBLEHEAD WATER DEPT. (MWRA)    MA3168000   CWS         Surfacewater purchased       20,441

 MA    MARLBOROUGH DPW WATER DIV.         MA2170000   CWS         Surfacewater purchased       38,499
       (MWRA)
 MA    MATTAPOISETT WATER DEPARTMENT      MA4173000   CWS         Groundwater                   7,685
 MA    MEDFORD WATER DEPT. (MWRA)         MA3176000   CWS         Surfacewater purchased       57,945

 MA    MELROSE WATER DIVISION (MWRA)      MA3178000   CWS         Surfacewater purchased       29,817

 MA    MIDDLETON WATER DEPT.              MA3184000   CWS         Surfacewater purchased        7,123

 MA    MILTON WATER DEPT. (MWRA)          MA3189000   CWS         Surfacewater purchased       28,630

 MA    NAHANT WATER DEPT. (MWRA)          MA3196000   CWS         Surfacewater purchased        3,502

 MA    NEWTON WATER DEPT. (MWRA)          MA3207000   CWS         Surfacewater purchased       89,103

 MA    NORTH READING WATER DEPT.          MA3213000   CWS         Surfacewater purchased       15,554

 MA    NORTHBOROUGH WATER DEPARTMENT MA2215000        CWS         Surfacewater purchased       11,556
       (MWRA)
 MA    NORTHBRIDGE WATER DIVISION    MA2216006        CWS         Purchased groundwater         7,996
                                                                  under influence of
                                                                  surfacewater source

 MA    NORWOOD WATER DEPT. (MWRA)         MA4220000   CWS         Surfacewater purchased       28,284

 MA    PALMER WATER DISTRICT NO.1         MA1227000   CWS         Surfacewater                  4,789
 MA    PAXTON WATER DEPARTMENT            MA2228000   CWS         Surfacewater purchased        4,105

 MA    QUINCY WATER DEPT. (MWRA)          MA3243000   CWS         Surfacewater purchased      101,636

 MA    RANDOLPH WATER DEPARTMENT          MA4244000   CWS         Surfacewater purchased       34,362

 MA    READING WATER DEPARTMENT (MWRA) MA3246000      CWS         Surfacewater purchased       26,611

 MA    REVERE WATER DIVISION (MWRA)       MA3248000   CWS         Surfacewater purchased       59,075

 MA    SALEM WATER DEPARTMENT             MA3258000   CWS         Surfacewater purchased       44,480

 MA    SAUGUS WATER DEPT. (MWRA)          MA3262000   CWS         Surfacewater purchased       24,529

 MA    SOMERVILLE WATER DEPT. (MWRA)      MA3274000   CWS         Surfacewater purchased       81,045

 MA    SOUTH DEERFIELD WATER SUPPLY       MA1074001   CWS         Surfacewater                  3,800
       DISTRICT
 MA    SOUTH HADLEY FD #1 (MWRA)          MA1275000   CWS         Surfacewater purchased       14,800

 MA    SOUTH HADLEY FIRE DISTRICT #2   MA1275001      CWS         Groundwater                   6,200
       WATER DEPT
 MA    SOUTHBOROUGH DPW WATER DIVISION MA2277000      CWS         Surfacewater purchased       10,242
       (MWRA)


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Primacy             PWS Name                 PWSID      PWS Type      Primary Source        Population
Agency                                                                                        Served
 [State]
   MA    STONEHAM WATER DEPT (MWRA         MA3284000   CWS         Surfacewater purchased       23,244
         SUPPLY)
   MA    SWAMPSCOTT WATER DEPT. (MWRA)     MA3291000   CWS         Surfacewater purchased       15,111

 MA    TISBURY WATER WORKS                 MA4296000   CWS         Groundwater                   6,082
 MA    WALTHAM WATER DEPARTMENT            MA3308000   CWS         Surfacewater purchased       65,218

 MA    WESTMINSTER DEPARTMENT OF PUBLIC MA2332000      CWS         Surfacewater purchased        3,661
       WORKS
 MA    WESTON WATER DEPT.               MA3333000      CWS         Surfacewater purchased       11,320

 MA    WHITMAN WATER SYSTEM                MA4338000   CWS         Surfacewater purchased       14,269

 MA    WILBRAHAM WATER DEPT (MWRA)         MA1339000   CWS         Surfacewater purchased        8,533

 MA    WILLIAMSTOWN WATER DEPT             MA1341000   CWS         Groundwater                   7,326
 MA    WINCHENDON WATER DEPARTMENT         MA2343000   CWS         Surfacewater purchased        5,706

 MA    WINTHROP WATER DIVISION, (MWRA)     MA3346000   CWS         Surfacewater purchased       19,316

 MD    BROAD CREEK                         MD0020004   CWS         Groundwater                  23,179
 MD    BRYANS ROAD                         MD0080033   CWS         Groundwater                   6,077
 MD    CHAPEL HILL - ABERDEEN PROVING      MD0120002   CWS         Groundwater                  15,000
       GROUNDS
 MD    CHESAPEAKE COMPLEX                  MD1020003   NTNCWS      Groundwater                   4,785
 MD    CHESAPEAKE RANCH ESTATES            MD0040004   CWS         Groundwater                   9,500
 MD    CITY OF ANNAPOLIS                   MD0020001   CWS         Groundwater                  35,000
 MD    CITY OF BOWIE                       MD0160002   CWS         Groundwater                  25,000
 MD    CITY OF CAMBRIDGE                   MD0090002   CWS         Groundwater                  15,000
 MD    CITY OF CUMBERLAND                  MD0010008   CWS         Surfacewater                 27,039
 MD    CITY OF FROSTBURG                   MD0010011   CWS         Surfacewater                 11,000
 MD    CITY OF HAGERSTOWN                  MD0210010   CWS         Surfacewater                 92,200
 MD    CITY OF POCOMOKE CITY               MD0230006   CWS         Groundwater                   4,100
 MD    CROFTON-ODENTON                     MD0020008   CWS         Groundwater                  62,986
 MD    EASTERN REGION ALLEGANY DISTRIB.    MD0010005   CWS         Surfacewater purchased        5,703
       SYSTEM
 MD    EASTON UTILITIES                    MD0200003   CWS         Groundwater                  16,118
 MD    FREEDOM DISTRICT                    MD0060002   CWS         Surfacewater                 24,867
 MD    HOWARD COUNTY D.P.W. DISTRIBUTION   MD0130002   CWS         Surfacewater purchased      286,158

 MD    LAVALE SANITARY COMMISSION          MD0010016   CWS         Surfacewater purchased        5,500

 MD    LEXINGTON PARK                      MD0180007   CWS         Groundwater                  43,030
 MD    MGM NATIONAL HARBOR                 MD1160049   NTNCWS      Surfacewater purchased       24,000

 MD    MYSTIC HARBOUR                      MD0230011   CWS         Groundwater                   3,600
 MD    PRINCE FREDERICK                    MD0040011   CWS         Groundwater                   4,371
 MD    SEVERN WATER COMPANY                MD0020027   CWS         Groundwater                   5,447



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Primacy                PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                          Served
 [State]
  MD       SOLOMONS                          MD0040027   CWS         Groundwater                   3,811
  MD       STEVENSVILLE                      MD0170019   CWS         Groundwater                   9,155
  MD       THE PROVINCES                     MD0020029   CWS         Groundwater                   3,991
  MD       TOWN OF CENTREVILLE               MD0170001   CWS         Groundwater                   3,322
  MD       TOWN OF CHESAPEAKE BEACH          MD0040003   CWS         Groundwater                   5,000
  MD       TOWN OF DELMAR                    MD0220001   CWS         Groundwater                   4,500
  MD       TOWN OF DENTON                    MD0050001   CWS         Groundwater                   4,500
  MD       TOWN OF INDIAN HEAD               MD0080020   CWS         Groundwater                   4,100
  MD       TOWN OF LA PLATA                  MD0080025   CWS         Groundwater                   9,500
  MD       TOWN OF OCEAN CITY                MD0230003   CWS         Groundwater                  30,000
  MD       TOWN OF PERRYVILLE                MD0070018   CWS         Surfacewater                  4,413
  MD       TOWN OF WALKERSVILLE              MD0100025   CWS         Groundwater under             8,440
                                                                     influence of
                                                                     surfacewater
  MD       WALDORF - CHARLES COUNTY DPW      MD0080049   CWS         Surfacewater purchased       91,260

  MD       WESTERN REGION ALLEGANY DISTRIB. MD0010009    CWS         Surfacewater purchased        4,955
           SYSTEM
  ME       ANSON AND MADISON WATER DISTRICT ME0090930    CWS         Surfacewater                  5,475

  ME       AUBURN WATER DISTRICT             ME0090070   CWS         Surfacewater                 17,245
  ME       BANGOR WATER DISTRICT             ME0090110   CWS         Surfacewater                 27,098
  ME       BATH WATER DISTRICT               ME0090130   CWS         Surfacewater                  9,487
  ME       BELFAST WATER DISTRICT            ME0090140   CWS         Groundwater                   5,698
  ME       BREWER WATER DEPARTMENT           ME0090220   CWS         Surfacewater                  8,858
  ME       CARIBOU UTILITIES DISTRICT        ME0090320   CWS         Groundwater                   4,210
  ME       ELLSWORTH WATER DEPARTMENT        ME0090520   CWS         Surfacewater                  3,695
  ME       FARMINGTON VILLAGE CORP WATER     ME0090540   CWS         Groundwater                   4,050
           DEPT
  ME       HAMPDEN WATER DISTRICT            ME0090660   CWS         Surfacewater purchased        4,765

  ME       KITTERY WATER DISTRICT            ME0090790   CWS         Surfacewater                 14,250
  ME       LAKE ARROWHEAD COMMUNITY INC      ME0090811   CWS         Groundwater                   3,325
  ME       LEWISTON WATER & SEWER DIVISION   ME0090830   CWS         Surfacewater                 23,720
  ME       LINCOLN WATER DISTRICT            ME0090860   CWS         Groundwater                   3,550
  ME       MAINE WATER COMPANY BIDDEFORD     ME0090170   CWS         Surfacewater                 38,740
           SACO DIV
  ME       MAINE WATER COMPANY CAMDEN &      ME0090300   CWS         Surfacewater                 19,438
           ROCKLAND
  ME       MAINE WATER COMPANY MILLINOCKET   ME0090990   CWS         Surfacewater                  5,400
           DIVISION
  ME       OLD TOWN WATER DISTRICT           ME0091200   CWS         Groundwater                   7,498
  ME       ORONO-VEAZIE WATER DISTRICT       ME0091210   CWS         Groundwater                   5,590
  ME       PORTLAND WATER DISTRICT-GREATER   ME0091300   CWS         Surfacewater                142,000
  ME       PRESQUE ISLE UTILITIES DISTRICT   ME0091310   CWS         Groundwater under             6,128
                                                                     influence of
                                                                     surfacewater



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Primacy               PWS Name                PWSID      PWS Type         Primary Source         Population
Agency                                                                                             Served
 [State]
   ME    RUMFORD WATER DISTRICT             ME0091380   CWS            Groundwater                    4,250
   ME    SOUTH BERWICK WATER DISTRICT       ME0091470   CWS            Groundwater                    3,432
   ME    TOWN OF BAR HARBOR- WATER          ME0090120   CWS            Surfacewater                   4,443
         DIVISION
   ME    YORK WATER DISTRICT                ME0091680   CWS            Surfacewater                  13,400
   MI    ADA TOWNSHIP                       MI0000012   CWS            Surfacewater purchased         7,068

  MI    AEP Walton Road                     MI2072711   System not
                                                        found in
                                                        SDWIS,
                                                        additional
                                                        search could
                                                        not find system
                                                        name.
  MI    ALGONAC, CITY OF                    MI0000110   CWS             Surfacewater                  4,110
  MI    ALLEN PARK                          MI0000130   CWS             Surfacewater purchased       28,210

  MI    ALLENDALE TOWNSHIP                  MI0000127   CWS            Surfacewater purchased        19,725

  MI    ALMA, CITY OF                       MI0000140   CWS            Surfacewater purchased         9,182

  MI    ALPENA TOWNSHIP                     MI0000170   CWS            Surfacewater purchased         5,839

  MI    ALPENA, CITY OF                     MI0000160   CWS             Surfacewater                 10,128
  MI    AMBER PETERSON/LILY PAD             MI2021052   System not
                                                        found in
                                                        SDWIS,
                                                        additional
                                                        search could
                                                        not find system
                                                        name.
  MI    ASH TOWNSHIP                        MI0000245   CWS             Surfacewater purchased        5,959

  MI    AUBURN HILLS                        MI0005450   CWS            Surfacewater purchased        21,412

  MI    AUGUSTA TOWNSHIP                    MI0000321   CWS            Surfacewater purchased         3,907

  MI    BANGOR TOWNSHIP                     MI0000390   CWS            Surfacewater purchased        11,999

  MI    BATTLE CREEK - VERONA SYSTEM        MI0000450   CWS            Groundwater                   43,975
  MI    BAY CITY, CITY OF                   MI0000470   CWS            Surfacewater purchased        32,255

  MI    BAY CO. DEPT OF WATER & SEWER       MI0000485   CWS            Surfacewater purchased         8,465

  MI    BEECHER METROPOLITAN DISTRICT       MI0000540   CWS            Groundwater                    9,400
  MI    BELDING                             MI0000560   CWS            Groundwater                    5,769
  MI    BELLEVILLE                          MI0000580   CWS            Surfacewater purchased         3,964

  MI    BERKLEY                             MI0000630   CWS            Surfacewater purchased        14,970




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Primacy              PWS Name                     PWSID      PWS Type         Primary Source         Population
Agency                                                                                                 Served
 [State]
   MI    BERLIN TOWNSHIP                        MI0000635   CWS            Surfacewater purchased         9,300

  MI    BEVERLY HILLS                           MI0000690   CWS            Surfacewater purchased        10,451

  MI    BIG RAPIDS                              MI0000710   CWS             Groundwater                  10,601
  MI    BIRCH GROVE SCHOOLS                     MI2295563   System not
                                                            found in
                                                            SDWIS,
                                                            additional
                                                            search could
                                                            not find system
                                                            name.
  MI    BIRMINGHAM                              MI0000730   CWS             Surfacewater purchased       20,472

  MI    BLACKMAN TOWNSHIP                       MI0000740   CWS            Purchased groundwater         14,817
                                                                           under influence of
                                                                           surfacewater source

  MI    BLOOMFIELD HILLS                        MI0000775   CWS            Surfacewater purchased         3,499

  MI    BLOOMFIELD TOWNSHIP                     MI0000790   CWS            Surfacewater purchased        41,070

  MI    BOYNE CITY, CITY OF                     MI0000800   CWS            Groundwater                    3,735
  MI    BRIDGEPORT TOWNSHIP                     MI0000840   CWS            Surfacewater purchased        10,104

  MI    Brink Farms                             MI2070503   System not
                                                            found in
                                                            SDWIS,
                                                            additional
                                                            search could
                                                            not find system
                                                            name.
  MI    BROWNSTOWN TOWNSHIP                     MI0000940   CWS             Surfacewater purchased       33,194

  MI    BUCHANAN                                MI0000960   CWS            Groundwater                    4,871
  MI    BUENA VISTA TOWNSHIP                    MI0000980   CWS            Surfacewater purchased         8,676

  MI    Burt Elementary School                  MI6321063   System not
                                                            found in
                                                            SDWIS,
                                                            additional
                                                            search could
                                                            not find system
                                                            name.
  MI    BURTON, CITY OF                         MI0001010   CWS             Surfacewater purchased       21,000

  MI    BYRON-GAINES UTILITY AUTHORITY          MI0001023   CWS            Surfacewater purchased        37,464

  MI    CADILLAC, CITY OF                       MI0001030   CWS            Groundwater                   10,355
  MI    CALEDONIA TOWNSHIP                      MI0001039   CWS            Groundwater                    4,573




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Primacy                  PWS Name               PWSID      PWS Type         Primary Source         Population
Agency                                                                                               Served
 [State]
   MI    Camp Gan Israel                      MI2019940   System not
                                                          found in
                                                          SDWIS,
                                                          additional
                                                          search could
                                                          not find system
                                                          name.
  MI    Camp Gan Israel                       MI2021340   System not
                                                          found in
                                                          SDWIS,
                                                          additional
                                                          search could
                                                          not find system
                                                          name.
  MI    CAMP TUHSMEHETA - OAK REC CENTER MI2102941        System not
                                                          found in
                                                          SDWIS,
                                                          additional
                                                          search could
                                                          not find system
                                                          name.
  MI    CANTON TOWNSHIP                       MI0001100   CWS             Surfacewater purchased       90,173

  MI    CARO, CITY OF                         MI0001130   CWS            Groundwater                    4,229
  MI    CARROLLTON TOWNSHIP                   MI0001160   CWS            Surfacewater purchased         6,103

  MI    CARSON CITY                           MI0001170   CWS            Groundwater                    3,322
  MI    CEDAR SPRINGS                         MI0001260   CWS            Groundwater                    3,520
  MI    CENTER LINE, CITY OF                  MI0001290   CWS            Surfacewater purchased         8,257

  MI    CHARTER TOWNSHIP OF DELTA             MI0001790   CWS            Groundwater purchased         22,000

  MI    CHARTER TOWNSHIP OF GRAND BLANC       MI0002745   CWS            Surfacewater purchased        21,000

  MI    CHEBOYGAN, CITY OF                    MI0001360   CWS            Groundwater                    5,500
  MI    CHELSEA                               MI0001370   CWS            Groundwater                    4,944
  MI    CHESTERFIELD TOWNSHIP                 MI0001390   CWS            Surfacewater purchased        41,650

  MI    CLAWSON                               MI0001440   CWS            Surfacewater purchased        11,825

  MI    CLAY TOWNSHIP                         MI0001450   CWS            Surfacewater purchased         9,866

  MI    CLINTON TOWNSHIP                      MI0001480   CWS            Surfacewater purchased        97,513

  MI    COLDWATER                             MI0001500   CWS            Groundwater                   13,822
  MI    COMMERCE TOWNSHIP                     MI0001573   CWS            Surfacewater purchased        18,988




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Primacy                  PWS Name                    PWSID      PWS Type         Primary Source         Population
Agency                                                                                                    Served
 [State]
   MI    Consumers Energy-Gratiot Farms Wind O&M   MI2070629   System not
         Fac                                                   found in
                                                               SDWIS,
                                                               additional
                                                               search could
                                                               not find system
                                                               name.
  MI     COOPERSVILLE                              MI0001610   CWS             Surfacewater purchased        4,519

  MI     CRAWFORD 2016820WL001                     MI2023920   System not
                                                               found in
                                                               SDWIS,
                                                               additional
                                                               search could
                                                               not find system
                                                               name.
  MI     CULVERS OF HASTINGS                       MI2042808   System not
                                                               found in
                                                               SDWIS,
                                                               additional
                                                               search could
                                                               not find system
                                                               name.
  MI     DAVISON, CITY OF                          MI0001720   CWS             Groundwater                   5,000
  MI     DEARBORN                                  MI0001730   CWS             Surfacewater purchased      109,976

  MI     DEARBORN HEIGHTS                          MI0001740   CWS            Surfacewater purchased        57,774

  MI     DETROIT CITY OF                           MI0001800   CWS            Surfacewater purchased       713,777

  MI     DEXTER                                    MI0001810   CWS            Groundwater                    4,160
  MI     DOWAGIAC                                  MI0001860   CWS            Groundwater                    6,350
  MI     DUNDEE                                    MI0001880   CWS            Surfacewater purchased         4,250

  MI     DURAND, CITY OF                           MI0001900   CWS            Groundwater                    3,446
  MI     EAST GRAND RAPIDS                         MI0001960   CWS            Surfacewater purchased        11,637

  MI     EAST LANSING, CITY OF                     MI0001990   CWS            Groundwater purchased         33,000

  MI     EASTPOINTE, CITY OF                       MI0001950   CWS            Surfacewater purchased        32,442

  MI     EATON RAPIDS, CITY OF                     MI0002020   CWS            Groundwater                    5,340
  MI     ECORSE                                    MI0002050   CWS            Surfacewater purchased         9,512

  MI     ESSEXVILLE, CITY OF                       MI0002180   CWS            Surfacewater purchased         3,478

  MI     FARMINGTON HILLS, CITY OF                 MI0002240   CWS            Surfacewater purchased        56,240

  MI     FARMINGTON, CITY OF                       MI0002230   CWS            Surfacewater purchased        10,500




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Primacy                  PWS Name                 PWSID       PWS Type            Primary Source        Population
Agency                                                                                                    Served
 [State]
   MI    FERNDALE                               MI0002280    CWS               Surfacewater purchased       22,105

  MI    FIVECAP                                 MI2015961    System not
                                                             found in
                                                             SDWIS,
                                                             additional
                                                             search could
                                                             not find system
                                                             name.
  MI    FLAT ROCK                               MI0002300    CWS             Surfacewater purchased         10,541

  MI    FLINT, CITY OF                          MI0002310    CWS               Surfacewater purchased       98,310

  MI    FLUSHING, CITY OF                       MI0002340    CWS               Surfacewater purchased        8,389

  MI    FORT GRATIOT TOWNSHIP                   MI0002385    CWS               Surfacewater purchased       11,616

  MI    FRANKENLUST TOWNSHIP                    MI0002410    CWS               Surfacewater purchased        3,626

  MI    FRANKENMUTH, CITY OF                    MI0002420    CWS               Surfacewater purchased        4,944

  MI    FRASER, CITY OF                         MI0002460    CWS               Surfacewater purchased       16,500

  MI    FRUITPORT TOWNSHIP                      MI0002507    CWS               Surfacewater purchased        9,355

  MI    FWG ENTERPRISES LLC                     MI2035164    System not
                                                             found in
                                                             SDWIS,
                                                             additional
                                                             search could
                                                             not find system
                                                             name.
  MI    GARDEN CITY                             MI0002550    CWS             Surfacewater purchased         27,625

  MI    GARFIELD CHARTER TOWNSHIP               MI0002565    CWS               Surfacewater purchased       12,899

  MI    GENESEE TOWNSHIP                        MI0002617    CWS               Surfacewater purchased        8,473

  MI    GEORGETOWN TOWNSHIP                     MI0002620    CWS               Surfacewater purchased       41,086

  MI    GIBRALTAR                               MI0002630    CWS               Surfacewater purchased        4,997

  MI    Glen Oaks Community College             MI7520093    System not
                                                             found in
                                                             SDWIS,
                                                             additional
                                                             search could
                                                             not find system
                                                             name.




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Primacy                  PWS Name               PWSID       PWS Type            Primary Source        Population
Agency                                                                                                  Served
 [State]
   MI    Grand Blanc Montessori               MI2163625    System not
                                                           found in
                                                           SDWIS,
                                                           additional
                                                           search could
                                                           not find system
                                                           name.
  MI    GRAND BLANC, CITY OF                  MI0002740    CWS             Groundwater                     8,276
  MI    GRAND HAVEN                           MI0002750    CWS             Surfacewater purchased         10,412

  MI    GRAND HAVEN TOWNSHIP                  MI0002760    CWS               Surfacewater purchased       15,051

  MI    GRAND LEDGE, CITY OF                  MI0002770    CWS               Groundwater                   8,701
  MI    GRANDVILLE                            MI0002820    CWS               Surfacewater purchased       15,948

  MI    GREAT LAKES PACKING - MIGRANT         MI2019905    System not
        CAMP                                               found in
                                                           SDWIS,
                                                           additional
                                                           search could
                                                           not find system
                                                           name.
  MI    GROSSE ILE TOWNSHIP                   MI0002870    CWS             Surfacewater purchased         10,371

  MI    GROSSE POINTE PARK                    MI0002900    CWS               Surfacewater purchased       11,555

  MI    GROSSE POINTE WOODS                   MI0002920    CWS               Surfacewater purchased       16,135

  MI    GROSSE POINTE, CITY OF                MI0002880    CWS               Surfacewater purchased        5,421

  MI    HAMPTON TOWNSHIP                      MI0002960    CWS               Surfacewater purchased        9,652

  MI    HAMTRAMCK                             MI0002970    CWS               Surfacewater purchased       22,413

  MI    HANCOCK                               MI0002980    CWS               Groundwater purchased         4,500

  MI    HARPER WOODS                          MI0003020    CWS               Surfacewater purchased       14,236

  MI    HARRISON TOWNSHIP                     MI0003040    CWS               Surfacewater purchased       24,314

  MI    HASTINGS                              MI0003090    CWS               Groundwater                   7,350
  MI    HAZEL PARK                            MI0003100    CWS               Surfacewater purchased       16,400

  MI    HERBRUCK'S - RECTOR ROAD              MI2029834    System not
                                                           found in
                                                           SDWIS,
                                                           additional
                                                           search could
                                                           not find system
                                                           name.




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Primacy              PWS Name                  PWSID       PWS Type         Primary Source         Population
Agency                                                                                               Served
 [State]
   MI    HIGHLAND PARK                       MI0003140    CWS            Surfacewater purchased         8,977

  MI    HIGHLAND TOWNSHIP                    MI0003312    CWS            Groundwater                    3,702
  MI    HOLLAND TOWNSHIP CONSOLIDATED        MI0003195    CWS            Surfacewater purchased        34,344

  MI    HOLLY, VILLAGE OF                    MI0003200    CWS            Groundwater                    8,557
  MI    HOWELL, CITY OF                      MI0003250    CWS            Groundwater                   10,068
  MI    HUDSONVILLE                          MI0003290    CWS            Surfacewater purchased         7,116

  MI    HUNTEY`S CLUBHOUSE- BIG RAPIDS       MI2045254    System not
                                                          found in
                                                          SDWIS,
                                                          additional
                                                          search could
                                                          not find system
                                                          name.
  MI    HUNTINGTON WOODS                     MI0003310    CWS             Surfacewater purchased        6,200

  MI    HURON TWP                            MI0003320    CWS            Surfacewater purchased        15,879

  MI    IMLAY CITY, CITY OF                  MI0003340    CWS            Surfacewater purchased         3,579

  MI    INKSTER                              MI0003360    CWS            Surfacewater purchased        25,369

  MI    Inland Lakes School                  MI1620084    System not
                                                          found in
                                                          SDWIS,
                                                          additional
                                                          search could
                                                          not find system
                                                          name.
  MI    IONIA                                MI0003370    CWS             Groundwater                  12,997
  MI    IRA TOWNSHIP                         MI0003390    CWS             Surfacewater                  8,679
  MI    IRONWOOD                             MI0003420    CWS             Groundwater                   5,387
  MI    ISHPEMING                            MI0003440    CWS             Groundwater purchased         6,470

  MI    JACKSON                              MI0003470    CWS            Groundwater                   33,165
  MI    JAMESTOWN TOWNSHIP                   MI0003474    CWS            Surfacewater purchased         3,330

  MI    KENTWOOD                             MI0003620    CWS            Surfacewater purchased        36,072

  MI    KIMBALL TOWNSHIP                     MI0003628    CWS            Surfacewater purchased         3,463

  MI    KOCHVILLE TOWNSHIP                   MI0003667    CWS            Surfacewater purchased         4,695




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Primacy               PWS Name                       PWSID       PWS Type         Primary Source         Population
Agency                                                                                                     Served
 [State]
   MI    LAKE ORION COMMUNITY SCHOOLS              MI2271206    System not
                                                                found in
                                                                SDWIS,
                                                                additional
                                                                search could
                                                                not find system
                                                                name.
  MI    Lake Superior State University             MI2048872    System not
                                                                found in
                                                                SDWIS,
                                                                additional
                                                                search could
                                                                not find system
                                                                name.
  MI    LAKER SCHOOLS                              MI2035532    System not
                                                                found in
                                                                SDWIS,
                                                                additional
                                                                search could
                                                                not find system
                                                                name.
  MI    LANSING BOARD OF WATER & LIGHT             MI0003760    CWS             Groundwater                 166,000
  MI    LANSING TOWNSHIP                           MI0003770    CWS             Groundwater                   5,500
  MI    LANZEN EMMET                               MI2041324    System not
                                                                found in
                                                                SDWIS,
                                                                additional
                                                                search could
                                                                not find system
                                                                name.
  MI    LAPEER, CITY OF                            MI0003780    CWS             Surfacewater purchased        8,841

  MI    LATHRUP VILLAGE                            MI0003800    CWS            Surfacewater purchased         4,075

  MI    LINCOLN PARK                               MI0003870    CWS            Surfacewater purchased        38,144

  MI    LINDEN, CITY OF                            MI0003890    CWS            Groundwater                    4,004
  MI    LIVONIA                                    MI0003930    CWS            Surfacewater purchased        96,942

  MI    LOWELL                                     MI0003950    CWS             Groundwater                   4,150
  MI    LYON TOWNSHIP                              MI0003968    CWS             Groundwater                   9,390
  MI    M R PRODUCTS                               MI2025451    System not
                                                                found in
                                                                SDWIS,
                                                                additional
                                                                search could
                                                                not find system
                                                                name.
  MI    MACOMB TOWNSHIP                            MI0003990    CWS             Surfacewater purchased       90,000




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Primacy              PWS Name                       PWSID       PWS Type         Primary Source         Population
Agency                                                                                                    Served
 [State]
   MI    MADISON HEIGHTS                          MI0004000    CWS            Surfacewater purchased        29,694

  MI    MADISON TOWNSHIP                          MI0004006    CWS            Groundwater                    3,480
  MI    MANCELONA AREA WATER AND SEWER            MI0004010    CWS            Groundwater                    3,900
        AUTHORITY
  MI    MANISTEE, CITY OF                         MI0004030    CWS             Groundwater                   6,200
  MI    Maple River Menonite School               MI2030034    System not
                                                               found in
                                                               SDWIS,
                                                               additional
                                                               search could
                                                               not find system
                                                               name.
  MI    MARINE CITY                               MI0004090    CWS             Surfacewater                  4,652
  MI    MARQUETTE                                 MI0004120    CWS             Surfacewater                 21,000
  MI    MARSHALL                                  MI0004150    CWS             Groundwater                   7,088
  MI    MARYSVILLE, CITY OF                       MI0004160    CWS             Surfacewater                  9,959
  MI    MASON, CITY OF                            MI0004170    CWS             Groundwater                   8,252
  MI    MELVINDALE                                MI0004220    CWS             Surfacewater purchased       12,851

  MI    Mercury Displacement Ind                  MI2036014    System not
                                                               found in
                                                               SDWIS,
                                                               additional
                                                               search could
                                                               not find system
                                                               name.
  MI    MERIDIAN TOWNSHIP                         MI0004260    CWS             Surfacewater purchased       25,600

  MI    MHOG SEWER & WATER AUTHORITY              MI0004098    CWS            Groundwater                   12,860
  MI    MICHIGAN STATE UNIVERSITY                 MI0004340    CWS            Groundwater                   12,793
  MI    MIDLAND CO., WATER DIST. NO. 1 OF         MI0004375    CWS            Surfacewater purchased        11,000

  MI    MILAN                                     MI0004380    CWS             Groundwater                   7,363
  MI    MILFORD, VILLAGE OF                       MI0004390    CWS             Groundwater                   6,366
  MI    MMC OEC                                   MI2031618    System not
                                                               found in
                                                               SDWIS,
                                                               additional
                                                               search could
                                                               not find system
                                                               name.
  MI    MONITOR TOWNSHIP                          MI0004440    CWS             Surfacewater purchased        5,217

  MI    MUSK CO NORTHSIDE WATER SYSTEM            MI0004577    CWS            Surfacewater purchased         5,133

  MI    MUSKEGON CO EASTSIDE WATER                MI0004590    CWS            Surfacewater purchased         7,135
        SYSTEM
  MI    NEGAUNEE                                  MI0004650    CWS            Groundwater purchased          4,568



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Primacy               PWS Name                 PWSID       PWS Type         Primary Source         Population
Agency                                                                                               Served
 [State]
   MI    NEW BALTIMORE, CITY OF              MI0004670    CWS            Surfacewater                  12,720
   MI    NEW HAVEN, VILLAGE OF               MI0004690    CWS            Surfacewater purchased         5,600

  MI    NILES                                MI0004740    CWS            Groundwater                   14,215
  MI    NORTH MUSKEGON                       MI0004780    CWS            Surfacewater purchased         3,786

  MI    NORTHSHORE DOCK LLC                  MI2018705    System not
                                                          found in
                                                          SDWIS,
                                                          additional
                                                          search could
                                                          not find system
                                                          name.
  MI    NORTHVILLE                           MI0004830    CWS             Surfacewater purchased        6,119

  MI    NORTHVILLE TOWNSHIP                  MI0004845    CWS            Surfacewater purchased        32,103

  MI    NORTON SHORES                        MI0004850    CWS            Surfacewater purchased        23,994

  MI    NORWAY                               MI0004860    CWS            Groundwater                    3,314
  MI    NOVI, CITY OF                        MI0004870    CWS            Surfacewater purchased        48,000

  MI    OAK PARK                             MI0004880    CWS            Surfacewater purchased        29,654

  MI    OCEANA CO EARLY LEARNING CENTER      MI2035064    System not
                                                          found in
                                                          SDWIS,
                                                          additional
                                                          search could
                                                          not find system
                                                          name.
  MI    ONE DROP BREWING CO                  MI2294663    System not
                                                          found in
                                                          SDWIS,
                                                          additional
                                                          search could
                                                          not find system
                                                          name.
  MI    ORION TOWNSHIP                       MI0005035    CWS             Surfacewater purchased       33,000

  MI    OSCODA TOWNSHIP                      MI0005040    CWS            Surfacewater purchased         6,997

  MI    OWOSSO, CITY OF                      MI0005120    CWS            Surfacewater                  16,353
  MI    OXFORD TOWNSHIP                      MI0005138    CWS            Groundwater                    9,646
  MI    OXFORD, VILLAGE OF                   MI0005130    CWS            Groundwater                    3,540
  MI    PARK TOWNSHIP (HBPW SERVICE AREA)    MI0005203    CWS            Surfacewater purchased        13,572

  MI    PAW PAW                              MI0005210    CWS            Groundwater                    3,534
  MI    PENNFIELD TOWNSHIP                   MI0004760    CWS            Groundwater                    3,916
  MI    PETOSKEY, CITY OF                    MI0005300    CWS            Groundwater                    8,979



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Primacy               PWS Name                 PWSID       PWS Type         Primary Source         Population
Agency                                                                                               Served
 [State]
   MI    PITTSFIELD TOWNSHIP                 MI0005360    CWS            Surfacewater purchased        24,500

  MI    PLYMOUTH                             MI0005400    CWS            Surfacewater purchased         9,132

  MI    PLYMOUTH TOWNSHIP                    MI0005420    CWS            Surfacewater purchased        27,524

  MI    PONTIAC                              MI0005440    CWS            Surfacewater purchased        63,398

  MI    PORT HURON TOWNSHIP                  MI0005490    CWS            Surfacewater purchased        10,654

  MI    PORT HURON, CITY OF                  MI0005480    CWS            Surfacewater                  33,800
  MI    REDFORD TOWNSHIP                     MI0005640    CWS            Surfacewater purchased        49,504

  MI    REVOLUTION FARMS                     MI2102841    System not
                                                          found in
                                                          SDWIS,
                                                          additional
                                                          search could
                                                          not find system
                                                          name.
  MI    RICHMOND, CITY OF                    MI0005670    CWS             Groundwater                   5,733
  MI    RIVER ROUGE                          MI0005690    CWS             Surfacewater purchased        7,224

  MI    RIVERVIEW                            MI0005710    CWS            Surfacewater purchased        12,486

  MI    ROCHESTER                            MI0005720    CWS            Groundwater                    7,130
  MI    ROCHESTER EAST                       MI0005723    CWS            Surfacewater purchased         5,500

  MI    ROCHESTER HILLS                      MI0000325    CWS            Surfacewater purchased        74,000

  MI    ROCKFORD                             MI0005730    CWS            Groundwater                    7,160
  MI    ROMEO, VILLAGE OF                    MI0005780    CWS            Surfacewater purchased         3,750

  MI    ROMULUS                              MI0005785    CWS            Surfacewater purchased        23,989

  MI    ROOSEVELT PARK                       MI0005800    CWS            Surfacewater purchased         3,831

  MI    ROSEVILLE, CITY OF                   MI0005820    CWS            Surfacewater purchased        47,299

  MI    ROYAL OAK, CITY OF                   MI0005830    CWS            Surfacewater purchased        57,236

  MI    SAGINAW CHARTER TOWNSHIP             MI0005860    CWS            Surfacewater purchased        40,840

  MI    SALINE                               MI0005900    CWS            Groundwater                    9,158
  MI    SAULT STE MARIE                      MI0005950    CWS            Surfacewater                  14,689
  MI    SCIO TOWNSHIP                        MI0005977    CWS            Surfacewater purchased         8,500

  MI    SHELBY TOWNSHIP                      MI0006010    CWS            Surfacewater purchased        72,000




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Primacy                PWS Name                PWSID       PWS Type            Primary Source        Population
Agency                                                                                                 Served
 [State]
   MI    SJ AND T PROPERTIES                 MI2072547    System not
                                                          found in
                                                          SDWIS,
                                                          additional
                                                          search could
                                                          not find system
                                                          name.
  MI    SKANDIS                              MI2057980    System not
                                                          found in
                                                          SDWIS,
                                                          additional
                                                          search could
                                                          not find system
                                                          name.
  MI    SOUTH HAVEN AREA WATER & SEWER       MI0006101    CWS             Surfacewater                    9,133
        AUTHORITY
  MI    SOUTH LYON, CITY OF                  MI0006110    CWS               Groundwater                  11,055
  MI    SOUTHFIELD                           MI0006160    CWS               Surfacewater purchased       71,739

  MI    SOUTHGATE                            MI0006170    CWS               Surfacewater purchased       30,047

  MI    SOUTHWEST MICHIGAN REGIONAL          MI0003726    CWS               Surfacewater purchased       26,780
        SANITARY SEW
  MI    SOUTHWEST OAKLAND TOWNSHIP           MI0004878    CWS               Groundwater                   4,690
  MI    SPRING LAKE TOWNSHIP                 MI0006235    CWS               Surfacewater purchased        9,393

  MI    SPRINGFIELD                          MI0006240    CWS               Groundwater purchased         3,833

  MI    ST. CLAIR SHORES, CITY OF            MI0006280    CWS               Surfacewater purchased       59,715

  MI    ST. CLAIR WATER AND SEWER            MI0006284    CWS               Surfacewater                  5,847
        AUTHORITY
  MI    ST. JOHNS, CITY OF                   MI0006300    CWS               Groundwater                   7,896
  MI    STERLING HEIGHTS, CITY OF            MI0006385    CWS               Surfacewater purchased      127,000

  MI    STURGIS                              MI0006440    CWS               Groundwater                  11,920
  MI    SUMMIT TOWNSHIP                      MI0006450    CWS               Groundwater                  22,522
  MI    SUMPTER TOWNSHIP                     MI0006460    CWS               Surfacewater purchased        9,576

  MI    SUPERIOR TOWNSHIP                    MI0006490    CWS               Surfacewater purchased        6,765

  MI    SWARTZ CREEK, CITY OF                MI0006505    CWS               Surfacewater purchased        5,557

  MI    SWISSLANE DAIRY FARM                 MI2102641    System not
                                                          found in
                                                          SDWIS,
                                                          additional
                                                          search could
                                                          not find system
                                                          name.



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Primacy                 PWS Name                      PWSID       PWS Type            Primary Source        Population
Agency                                                                                                        Served
 [State]
   MI    TAYLOR                                     MI0006545    CWS               Surfacewater purchased       63,409

  MI    Teaching Family Homes School                MI5220200    System not
                                                                 found in
                                                                 SDWIS,
                                                                 additional
                                                                 search could
                                                                 not find system
                                                                 name.
  MI    TECUMSEH                                    MI0006560    CWS             Groundwater                     8,521
  MI    THOMAS TOWNSHIP                             MI0006580    CWS             Surfacewater purchased         12,085

  MI    THREE RIVERS                                MI0006610    CWS               Groundwater                   7,811
  MI    TITTABAWASSEE TOWNSHIP                      MI0002470    CWS               Surfacewater purchased        9,227

  MI    TRENTON                                     MI0006650    CWS               Surfacewater purchased       18,544

  MI    TROY                                        MI0006690    CWS               Surfacewater purchased       80,980

  MI    UPPER MICHIGAN WATER COMPANY                MI0004800    CWS               Groundwater                   5,535
  MI    UTICA, CITY OF                              MI0006760    CWS               Surfacewater purchased        5,059

  MI    VAN BUREN TOWNSHIP                          MI0006770    CWS               Surfacewater purchased       27,359

  MI    WALLED LAKE, CITY OF                        MI0006875    CWS               Surfacewater purchased        5,296

  MI    WARREN, CITY OF                             MI0006900    CWS               Surfacewater purchased      134,056

  MI    WASHINGTON TOWNSHIP                         MI0006905    CWS               Surfacewater purchased       15,828

  MI    WAYLAND                                     MI0006940    CWS               Groundwater                   4,435
  MI    WAYNE                                       MI0006950    CWS               Surfacewater purchased       17,593

  MI    WEST BLOOMFIELD TOWNSHIP                    MI0006975    CWS               Surfacewater purchased       49,479

  MI    WESTLAND                                    MI0007040    CWS               Surfacewater purchased       84,094

  MI    WHITE LAKE TOWNSHIP                         MI0007065    CWS               Groundwater                   5,799
  MI    WILLIAMS TOWNSHIP                           MI0007125    CWS               Surfacewater purchased        5,444

  MI    WILLIAMSTON, CITY OF                        MI0007120    CWS               Groundwater                   3,975
  MI    WIXOM, CITY OF                              MI0007135    CWS               Surfacewater purchased       13,928

  MI    Wolverine Mutual Insurance                  MI2036514    System not
                                                                 found in
                                                                 SDWIS,
                                                                 additional
                                                                 search could
                                                                 not find system
                                                                 name.



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Primacy            PWS Name                          PWSID       PWS Type      Primary Source        Population
Agency                                                                                                 Served
 [State]
   MI    WOODHAVEN                                 MI0007180    CWS         Surfacewater purchased       12,875

 MI    WORTH TOWNSHIP                              MI0003856    CWS         Surfacewater purchased        3,854

 MI    YPSILANTI COMMUNITY UTILITY                 MI0007260    CWS         Surfacewater purchased       53,988
       AUTHORITY
 MI    ZEELAND BOARD OF PUBLIC WORKS               MI0007270    CWS         Surfacewater purchased        8,328

 MN    Albert Lea                                  MN1240001    CWS         Groundwater                  18,492
 MN    Arden Hills                                 MN1620001    CWS         Surfacewater purchased        9,939

 MN    Breckenridge                                MN1840002    CWS         Groundwater                   3,340
 MN    Buffalo                                     MN1860005    CWS         Groundwater                  16,103
 MN    Byron                                       MN1550001    CWS         Groundwater                   6,312
 MN    Cambridge                                   MN1300002    CWS         Groundwater                   9,249
 MN    Carver                                      MN1100017    CWS         Groundwater                   4,997
 MN    Champlin                                    MN1270006    CWS         Groundwater                  24,085
 MN    Chaska                                      MN1100002    CWS         Groundwater                  26,016
 MN    Chisholm                                    MN1690007    CWS         Surfacewater                  4,940
 MN    Columbia Heights                            MN1020016    CWS         Surfacewater purchased       20,000

 MN    Crystal                                     MN1270008    CWS         Surfacewater purchased       22,937

 MN    Dayton                                      MN1270073    CWS         Groundwater                   4,467
 MN    Delano Municipal Utilities                  MN1860007    CWS         Groundwater                   6,282
 MN    Detroit Lakes                               MN1030005    CWS         Groundwater                   9,869
 MN    Dilworth                                    MN1140003    CWS         Surfacewater purchased        4,612

 MN    Duluth                                      MN1690011    CWS         Surfacewater                 86,859
 MN    Eden Prairie                                MN1270010    CWS         Groundwater                  63,726
 MN    Elko New Market                             MN1700029    CWS         Groundwater                   4,285
 MN    Ely                                         MN1690014    CWS         Surfacewater                  3,616
 MN    Eveleth                                     MN1690018    CWS         Surfacewater                  3,770
 MN    Fairmont                                    MN1460003    CWS         Surfacewater                 10,328
 MN    Fergus Falls                                MN1560014    CWS         Surfacewater                 14,194
 MN    Forest Lake                                 MN1820005    CWS         Groundwater                  11,276
 MN    Glencoe                                     MN1430003    CWS         Groundwater                   5,607
 MN    Golden Valley                               MN1270014    CWS         Surfacewater purchased       23,000

 MN    Goodview                                    MN1850012    CWS         Groundwater                   4,158
 MN    Hermantown                                  MN1690043    CWS         Surfacewater purchased        5,055

 MN    Hutchinson                                  MN1430004    CWS         Groundwater                  14,590
 MN    International Falls                         MN1360002    CWS         Surfacewater                  5,737
 MN    Joint Powers Water Board                    MN1860024    CWS         Groundwater                  22,820
 MN    Jordan                                      MN1700003    CWS         Groundwater                   6,148
 MN    Kasson                                      MN1200005    CWS         Groundwater                   6,664


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Primacy                    PWS Name                  PWSID       PWS Type         Primary Source         Population
Agency                                                                                                     Served
 [State]
  MN     LaCrescent                                MN1280007    CWS            Groundwater                    5,029
  MN     LeSueur                                   MN1400010    CWS            Groundwater                    4,050
  MN     Lincoln-Pipestone Rural Water System      MN1410007    CWS            Surfacewater purchased        13,644

  MN     Lindstrom                                 MN1130007    CWS            Groundwater                    4,888
  MN     Little Canada                             MN1620005    CWS            Surfacewater purchased         9,750

  MN     Lonsdale                                  MN1660006    CWS            Groundwater                    3,913
  MN     Mankato                                   MN1070009    CWS            Groundwater under             42,803
                                                                               influence of
                                                                               surfacewater
  MN     Medina                                    MN1270023    CWS            Groundwater                    4,430
  MN     Minnetrista                               MN1270036    CWS            Groundwater                    5,071
  MN     Montevideo                                MN1120004    CWS            Groundwater                    5,337
  MN     Montrose                                  MN1860016    CWS            Groundwater                    3,320
  MN     Morris                                    MN1750005    CWS            Groundwater                    5,351
  MN     Mound                                     MN1270038    CWS            Groundwater                    9,447
  MN     New Hope                                  MN1270040    CWS            Surfacewater purchased        20,963

  MN     New Prague                                MN1400013    CWS             Groundwater                   7,585
  MN     New Ulm                                   MN1080003    CWS             Groundwater                  13,342
  MN     No Town                                   MN5990002    System not
                                                                found in
                                                                SDWIS,
                                                                additional
                                                                search could
                                                                not find system
                                                                name.
  MN     North Branch                              MN1130011    CWS             Groundwater                   5,263
  MN     North Mankato                             MN1520005    CWS             Groundwater                  13,462
  MN     Norwood-Young America                     MN1100019    CWS             Groundwater                   3,583
  MN     Owatonna                                  MN1740007    CWS             Groundwater                  25,766
  MN     Park Rapids                               MN1290003    CWS             Groundwater                   4,247
  MN     Pine Island                               MN1250012    CWS             Groundwater                   3,324
  MN     Prior Lake                                MN1700007    CWS             Groundwater                  25,282
  MN     Red Rock Rural Water System               MN1170009    CWS             Groundwater                   5,840
  MN     Red Wing                                  MN1250013    CWS             Groundwater                  16,459
  MN     Redwood Falls                             MN1640008    CWS             Groundwater                   5,254
  MN     Roseville                                 MN1620013    CWS             Surfacewater purchased       36,457

  MN     Saint Charles                             MN1850009    CWS            Groundwater                    3,825
  MN     Saint Cloud                               MN1730027    CWS            Surfacewater                  67,344
  MN     Saint Francis                             MN1020028    CWS            Groundwater                    5,951
  MN     Saint James                               MN1830006    CWS            Groundwater                    4,611
  MN     Saint Joseph                              MN1730033    CWS            Groundwater                    7,100
  MN     Saint Peter                               MN1520006    CWS            Groundwater                   11,784
  MN     Sleepy Eye                                MN1080005    CWS            Groundwater                    3,599


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Primacy                PWS Name                   PWSID       PWS Type      Primary Source        Population
Agency                                                                                              Served
 [State]
  MN       Spring Lake Park                     MN1020029    CWS         Groundwater                   7,188
  MN       Stewartville                         MN1550026    CWS         Groundwater                   6,850
  MN       Thief River Falls                    MN1570003    CWS         Surfacewater                  8,749
  MN       Two Harbors                          MN1380005    CWS         Surfacewater                  3,613
  MN       Victoria                             MN1100009    CWS         Groundwater                  10,546
  MN       Virginia                             MN1690046    CWS         Surfacewater                  8,523
  MN       Waconia                              MN1100010    CWS         Groundwater                  13,277
  MN       Waseca                               MN1810004    CWS         Groundwater                   9,124
  MN       Windom                               MN1170006    CWS         Groundwater                   4,646
  MN       Winona                               MN1850013    CWS         Groundwater                  27,782
  MN       Wyoming                              MN1130018    CWS         Groundwater                   3,990
  MO       ADAIR COUNTY PWSD 1                  MO2024000    CWS         Surfacewater purchased        7,500

  MO       ANDREW COUNTY PWSD 1                 MO1024004    CWS         Groundwater purchased         5,868

  MO       ANDREW COUNTY PWSD 2                 MO1024005    CWS         Groundwater purchased         3,580

  MO       ASHLAND PWS                          MO3010033    CWS         Groundwater                   3,700
  MO       AURORA VERONA                        MO5010038    CWS         Groundwater                   8,529
  MO       BARTON DADE CEDAR JASP               MO5024023    CWS         Groundwater                   9,523
           COUNTYCONS PWSD 1
  MO       BELTON PWS                           MO1010061    CWS         Surfacewater purchased       23,598

  MO       BLUE SPRINGS PWS                     MO1010080    CWS         Surfacewater purchased       54,395

  MO       BOLIVAR PWS                          MO5010085    CWS         Groundwater                  11,000
  MO       BONNE TERRE PWS                      MO4010087    CWS         Groundwater                   3,537
  MO       BOONE COUNTY CONS PWSD 1             MO3024055    CWS         Groundwater                  21,500
  MO       BOONE COUNTY PWSD 10                 MO3024059    CWS         Groundwater                   4,625
  MO       BOONE COUNTY PWSD 4                  MO3024052    CWS         Groundwater                   6,455
  MO       BOONE COUNTY PWSD 9                  MO3024058    CWS         Groundwater                  12,200
  MO       BOONVILLE PWS                        MO3010089    CWS         Surfacewater                  7,964
  MO       BOWLING GREEN PWS                    MO2010093    CWS         Surfacewater                  5,334
  MO       BRANSON PWS                          MO5010096    CWS         Surfacewater                 11,416
  MO       BROOKFIELD PWS                       MO2010105    CWS         Surfacewater                  4,542
  MO       BUTLER COUNTY PWSD 1                 MO4024070    CWS         Groundwater                  11,500
  MO       BUTLER PWS                           MO1010118    CWS         Surfacewater                  4,219
  MO       CALIFORNIA PWS                       MO3010124    CWS         Groundwater                   4,423
  MO       CALLAWAY 2 WATER DISTRICT            MO3024085    CWS         Groundwater                  13,080
  MO       CALLAWAY COUNTY PWSD 1               MO3024084    CWS         Groundwater                   9,840
  MO       CAMDEN COUNTY PWSD 4 HORSESHOE       MO3021377    CWS         Groundwater                   5,613
           BEND
  MO       CAMDENTON PWS                        MO3010130    CWS         Groundwater                   3,960
  MO       CAMERON PWS                          MO1010131    CWS         Surfacewater                  9,933
  MO       CANNON PWSD 1                        MO2024500    CWS         Surfacewater purchased        6,482




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Primacy                 PWS Name                 PWSID       PWS Type      Primary Source        Population
Agency                                                                                             Served
 [State]
  MO       CAPE GIRARDEAU PWS                  MO4010136    CWS         Groundwater                  39,941
  MO       CAPE PERRY COUNTY PWSD 1 SOUTH      MO4024096    CWS         Groundwater                   9,500
  MO       CARL JUNCTION PWS                   MO5010138    CWS         Groundwater                   7,902
  MO       CARTHAGE PWS                        MO5010142    CWS         Groundwater                  14,600
  MO       CARUTHERSVILLE PWS                  MO4010143    CWS         Groundwater                   5,562
  MO       CASS COUNTY PWSD 2                  MO1024114    CWS         Surfacewater purchased        3,725

  MO       CASS COUNTY PWSD 7                  MO1024111    CWS         Surfacewater                  4,045
  MO       CASS COUNTY PWSD 9                  MO1024118    CWS         Groundwater purchased         5,675

  MO       CENTRALIA PWS                       MO3010152    CWS         Groundwater                   4,027
  MO       CHARITON LINN COUNTY PWSD 3         MO2024128    CWS         Surfacewater purchased        5,913

  MO       CHARLESTON PWS                      MO4010160    CWS         Groundwater                   5,318
  MO       CHILLICOTHE MUNICIPAL UTILITIES PWS MO2010162    CWS         Groundwater                   9,515

  MO       CITY OF COLUMBIA UTILITIES          MO3010181    CWS         Groundwater                 100,733
  MO       CLARK COUNTY CONS PWSD 1            MO2024138    CWS         Groundwater                   7,140
  MO       CLAY COUNTY PWSD 3                  MO1024143    CWS         Groundwater                   3,370
  MO       CLAY COUNTY PWSD 6                  MO1024146    CWS         Surfacewater purchased        4,912

  MO       CLINTON CO PWSD 4 SYS 1             MO1024156    CWS         Surfacewater purchased        4,518

  MO       CLINTON COUNTY PWSD 3               MO1024155    CWS         Surfacewater purchased        3,530

  MO       COLE COUNTY PWSD 1                  MO3024159    CWS         Groundwater                  12,493
  MO       COLE COUNTY PWSD 2                  MO3024160    CWS         Groundwater                  12,985
  MO       COLE COUNTY PWSD 4                  MO3024163    CWS         Groundwater                   7,568
  MO       CRYSTAL CITY PWS                    MO6010198    CWS         Groundwater                   4,733
  MO       DEKALB COUNTY PWSD 1                MO1024191    CWS         Groundwater purchased         7,283

  MO       DESLOGE PWS                         MO4011441    CWS         Groundwater                   5,034
  MO       DESOTO PWS                          MO6010213    CWS         Groundwater                   6,400
  MO       DEXTER PWS                          MO4010216    CWS         Groundwater                   8,000
  MO       DUNKLIN COUNTY PWSD 1               MO4024206    CWS         Groundwater                   4,365
  MO       EL DORADO SPRINGS PWS               MO5010241    CWS         Groundwater                   3,593
  MO       ELDON PWS                           MO3010240    CWS         Groundwater                   4,895
  MO       EXCELSIOR SPRINGS PWS               MO1010261    CWS         Groundwater                  11,084
  MO       FARMINGTON PWS                      MO4010270    CWS         Groundwater                  18,217
  MO       FESTUS PWS                          MO6010276    CWS         Purchased groundwater        12,054
                                                                        under influence of
                                                                        surfacewater source

  MO       FRANKLIN COUNTY PWSD 1              MO6024211    CWS         Groundwater                   3,500
  MO       FRANKLIN COUNTY PWSD 3              MO6024213    CWS         Groundwater                   8,250
  MO       FREDERICKTOWN PWS                   MO4010290    CWS         Surfacewater                  4,076
  MO       FULTON PWS                          MO3010296    CWS         Groundwater                  12,128


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Primacy              PWS Name               PWSID       PWS Type      Primary Source        Population
Agency                                                                                        Served
 [State]
  MO     GLADSTONE PWS                    MO1010307    CWS         Groundwater                  27,365
  MO     GRAIN VALLEY PWS                 MO1010320    CWS         Groundwater purchased        13,684

 MO    GREENE COUNTY PWSD 1               MO5024228    CWS         Groundwater                   9,168
 MO    GRUNDY COUNTY PWSD 1               MO2024237    CWS         Surfacewater purchased        3,710

 MO    HANNIBAL PWS                       MO2010344    CWS         Surfacewater                 17,108
 MO    HARRISONVILLE PWS                  MO1010349    CWS         Surfacewater                 10,000
 MO    HENRY COUNTY WATER COMPANY         MO1010177    CWS         Surfacewater                 11,373
 MO    HERCULANEUM PWS                    MO6010359    CWS         Purchased groundwater         4,227
                                                                   under influence of
                                                                   surfacewater source

 MO    HIGGINSVILLE PWS                   MO1010363    CWS         Surfacewater                  4,800
 MO    HOLLISTER PWS                      MO5010374    CWS         Groundwater                   4,426
 MO    INDEPENDENCE PWS                   MO1010399    CWS         Groundwater                 117,084
 MO    JACKSON COUNTY PWSD 1              MO1024275    CWS         Groundwater purchased        24,500

 MO    JACKSON COUNTY PWSD 12             MO1024278    CWS         Surfacewater purchased        5,705

 MO    JACKSON COUNTY PWSD 13             MO1024279    CWS         Groundwater purchased         9,002

 MO    JACKSON COUNTY PWSD 15             MO1024281    CWS         Groundwater purchased         8,840

 MO    JACKSON COUNTY PWSD 16             MO1020869    CWS         Groundwater purchased         3,915

 MO    JACKSON COUNTY PWSD 2              MO1024276    CWS         Surfacewater purchased       16,425

 MO    JACKSON PWS                        MO4010404    CWS         Groundwater                  15,481
 MO    JASPER COUNTY PWSD 1               MO5024286    CWS         Groundwater                   5,500
 MO    JASPER COUNTY PWSD 2               MO5024287    CWS         Groundwater                   3,383
 MO    JEFFERSON CO CONS PWSD C 1         MO6024295    CWS         Surfacewater purchased       36,000

 MO    JEFFERSON CO PWSD 8                MO6024300    CWS         Groundwater                   4,733
 MO    JEFFERSON COUNTY PWSD 5            MO6024296    CWS         Groundwater                   8,000
 MO    JEFFERSON COUNTY PWSD 6            MO6024298    CWS         Groundwater                   7,500
 MO    JEFFERSON COUNTY PWSD 7            MO6024299    CWS         Groundwater                   6,100
 MO    JEFFERSON COUNTY PWSD 1            MO6024292    CWS         Surfacewater purchased       20,000

 MO    JEFFERSON COUNTY PWSD 10           MO6024302    CWS         Surfacewater purchased       10,000

 MO    JEFFERSON COUNTY PWSD 2            MO6024293    CWS         Surfacewater                 16,548
 MO    JEFFERSON COUNTY PWSD 3            MO6024294    CWS         Surfacewater purchased       17,000

 MO    JOHNSON COUNTY PWSD 1              MO1024309    CWS         Groundwater                   3,730
 MO    JOHNSON COUNTY PWSD 2              MO1024310    CWS         Groundwater                  11,250
 MO    JOHNSON COUNTY PWSD 3              MO1024311    CWS         Groundwater                   4,700
 MO    KANSAS CITY PWS                    MO1010415    CWS         Surfacewater                513,800



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Primacy              PWS Name               PWSID       PWS Type      Primary Source        Population
Agency                                                                                        Served
 [State]
  MO     KEARNEY PWS                      MO1010416    CWS         Surfacewater purchased       10,000

 MO    KENNETT PWS                        MO4010417    CWS         Groundwater                  11,300
 MO    KIRKSVILLE PWS                     MO2010429    CWS         Surfacewater                 17,304
 MO    KIRKWOOD PWS                       MO6010430    CWS         Surfacewater purchased       28,000

 MO    KNOX COUNTY PUBLIC WATER & SEWER MO2024313      CWS         Surfacewater purchased        3,947
       DIST 1
 MO    LACLEDE COUNTY PWSD 1            MO5024317      CWS         Groundwater                   8,550
 MO    LACLEDE COUNTY PWSD 3            MO5024319      CWS         Groundwater                   6,075
 MO    LAF JO SALINE COUNTY CONS PWSD 2 MO1024326      CWS         Surfacewater purchased        7,007

 MO    LAFAYETTE COUNTY PWSD 1            MO1024324    CWS         Groundwater purchased         8,250

 MO    LAMAR PWS                          MO5010446    CWS         Surfacewater                  4,500
 MO    LEBANON PWS                        MO5010458    CWS         Groundwater                  14,709
 MO    LEES SUMMIT PWS                    MO1010459    CWS         Surfacewater purchased       99,400

 MO    LEXINGTON PWS                      MO1010464    CWS         Surfacewater                  4,300
 MO    LIBERTY PWS                        MO1010466    CWS         Groundwater                  31,167
 MO    LINCOLN COUNTY PWSD 1              MO6024340    CWS         Groundwater                  11,000
 MO    LOUISIANA PWS                      MO2010479    CWS         Surfacewater                  3,364
 MO    MACON CO PWSD 1                    MO2024363    CWS         Surfacewater purchased       11,606

 MO    MACON PWS                          MO2010487    CWS         Surfacewater                  5,489
 MO    MALDEN PWS                         MO4010490    CWS         Groundwater                   4,275
 MO    MARION COUNTY PWSD 1               MO2024377    CWS         Surfacewater purchased        4,900

 MO    MARSHALL PWS                       MO2010502    CWS         Groundwater                  13,065
 MO    MARSHFIELD PWS                     MO5010503    CWS         Groundwater                   6,791
 MO    MARYVILLE PWS                      MO1010508    CWS         Surfacewater                 10,775
 MO    MO AMERICAN EUREKA                 MO6010258    CWS         Groundwater                  11,000
 MO    MO AMERICAN JEFFERSON CITY         MO3010409    CWS         Surfacewater                 30,075
       DISTRICT
 MO    MO AMERICAN JOPLIN                 MO5010413    CWS         Surfacewater                  73,728
 MO    MO AMERICAN MEXICO                 MO2010519    CWS         Groundwater                   12,000
 MO    MO AMERICAN PLATTE COUNTY          MO1010625    CWS         Groundwater                   10,600
 MO    MO AMERICAN ST JOSEPH              MO1010714    CWS         Groundwater                   77,000
 MO    MO AMERICAN ST LOUIS ST CHARLES    MO6010716    CWS         Surfacewater               1,100,000
       COUNTIES
 MO    MO AMERICAN TRI STATE              MO5024601    CWS         Groundwater                   8,400
 MO    MO AMERICAN WARRENSBURG            MO1010833    CWS         Groundwater                  20,473
 MO    MOBERLY PWS                        MO2010533    CWS         Surfacewater                 12,101
 MO    MONETT PWS                         MO5010537    CWS         Groundwater                   9,027
 MO    MONROE COUNTY PWSD 2               MO2024402    CWS         Surfacewater purchased        6,677

 MO    MONTGOMERY CO PWSD 1               MO6024406    CWS         Groundwater                   5,000



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Primacy                  PWS Name                PWSID       PWS Type      Primary Source        Population
Agency                                                                                             Served
 [State]
  MO       MOSCOW MILLS PWS                    MO6010547    CWS         Groundwater                   4,844
  MO       MOUNT VERNON PWS                    MO5010553    CWS         Groundwater                   4,575
  MO       MOUNTAIN GROVE PWS                  MO5010550    CWS         Groundwater                   4,789
  MO       NIXA PWS                            MO5010576    CWS         Groundwater                  24,532
  MO       NODAWAY COUNTY PWSD 1               MO1024428    CWS         Surfacewater purchased        6,428

  MO       NORTH KANSAS CITY PWS               MO1010580    CWS         Groundwater                   4,500
  MO       OAK GROVE PWS                       MO1010589    CWS         Groundwater purchased         8,112

  MO       ODESSA PWS                          MO1010599    CWS         Groundwater                   5,202
  MO       OFALLON PWS                         MO6010588    CWS         Surfacewater purchased       32,515

  MO       OZARK PWS                           MO5010619    CWS         Groundwater                  22,000
  MO       PACIFIC PWS                         MO6010620    CWS         Groundwater                   6,000
  MO       PALMYRA PWS                         MO2010623    CWS         Groundwater                   3,595
  MO       PARK HILLS PWS                      MO4010279    CWS         Groundwater                   8,529
  MO       PECULIAR PWS                        MO1010633    CWS         Surfacewater purchased        5,000

  MO       PEMISCOT COUNTY CON PWSD 1          MO4024448    CWS         Groundwater                   6,771
  MO       PEVELY PWS                          MO6010638    CWS         Groundwater                   5,400
  MO       PIKE COUNTY PWSD 1                  MO2024471    CWS         Surfacewater purchased        6,655

  MO       PLATTE CITY PWS                     MO1010646    CWS         Surfacewater purchased        4,691

  MO       PLATTE CO PWSD 4                    MO1024478    CWS         Surfacewater purchased        7,086

  MO       PLATTE COUNTY CONS PWSD 1           MO1024479    CWS         Surfacewater purchased        6,900

  MO       PLEASANT HILL PWS                   MO1010649    CWS         Surfacewater purchased        8,500

  MO       POPLAR BLUFF PWS                    MO4010656    CWS         Surfacewater                 17,043
  MO       PULASKI COUNTY PWSD 1               MO3024490    CWS         Groundwater                   4,500
  MO       RALLS COUNTY PWSD 1                 MO2024499    CWS         Groundwater                   6,755
  MO       RAY COUNTY CONS PWSD 2              MO1024511    CWS         Groundwater                   9,275
  MO       RAYMORE PWS                         MO1010675    CWS         Surfacewater purchased       19,767

  MO       RAYTOWN WATER COMPANY               MO1010676    CWS         Surfacewater purchased       17,066

  MO       REPUBLIC PWS                        MO5010681    CWS         Groundwater                  16,100
  MO       RICHMOND PWS                        MO1010685    CWS         Groundwater                   5,797
  MO       ROLLA PWS                           MO3010700    CWS         Groundwater                  20,800
  MO       SALEM PWS                           MO4010721    CWS         Groundwater                   4,935
  MO       SAVANNAH PWS                        MO1010724    CWS         Groundwater                   5,170
  MO       SCHUYLER COUNTY CONSOLIDATED        MO2024559    CWS         Surfacewater purchased        3,482
           PWSD 1
  MO       SCOTLAND COUNTY CONS PWSD 1         MO2024565    CWS         Surfacewater purchased        3,360

  MO       SCOTT CITY PWS                      MO4010726    CWS         Groundwater                   4,565


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Primacy                 PWS Name                  PWSID       PWS Type      Primary Source        Population
Agency                                                                                              Served
 [State]
  MO       SIKESTON PWS                         MO4010743    CWS         Groundwater                  16,393
  MO       SILVER DOLLAR CITY MARVEL CAVE       MO5201957    NTNCWS      Groundwater                   8,501
  MO       SMITHVILLE PWS                       MO1010748    CWS         Surfacewater                 10,290
  MO       SPRINGFIELD PWS                      MO5010754    CWS         Surfacewater                172,025
  MO       ST CHARLES CO PWSD #2 WRIGHT CITY    MO6010874    CWS         Groundwater                   3,550
  MO       ST CHARLES COUNTY PWSD 2             MO6024530    CWS         Surfacewater purchased      100,587

  MO       ST CHARLES PWS                       MO6010707    CWS         Surfacewater purchased       73,040

  MO       ST CLAIR PWS                         MO6010708    CWS         Groundwater                   4,700
  MO       ST JAMES PWS                         MO3010712    CWS         Groundwater                   4,216
  MO       ST LOUIS CITY PWS                    MO6010715    CWS         Surfacewater                304,709
  MO       ST PETERS PWS                        MO6010719    CWS         Surfacewater purchased       52,575

  MO       STE GENEVIEVE COUNTY PWSD 1 SC       MO4024543    CWS         Groundwater                   3,665
  MO       STE GENEVIEVE PWS                    MO4010710    CWS         Groundwater                   4,485
  MO       SULLIVAN COUNTY PWSD 1               MO2024594    CWS         Surfacewater purchased        4,327

  MO       SULLIVAN PWS                         MO6010775    CWS         Groundwater                   7,081
  MO       TANEY COUNTY PWSD 2                  MO5024600    CWS         Groundwater                   4,500
  MO       TANEY COUNTY PWSD 3                  MO5024602    CWS         Groundwater                   6,000
  MO       THOMAS HILL PWSD 1                   MO2024504    CWS         Surfacewater purchased       10,315

  MO       TRENTON MUNICIPAL UTILITIES PWS      MO2010796    CWS         Surfacewater                  6,001
  MO       TROY PWS                             MO6010798    CWS         Groundwater                  12,500
  MO       UNION PWS                            MO6010801    CWS         Groundwater                  12,348
  MO       VERNON COUNTY CONS PWSD 1            MO5024618    CWS         Groundwater                   8,925
  MO       WARRENTON PWS                        MO6010834    CWS         Groundwater                   8,208
  MO       WASHINGTON PWS                       MO6010838    CWS         Groundwater                  14,068
  MO       WEBB CITY PWS                        MO5010844    CWS         Surfacewater purchased       12,488

  MO       WENTZVILLE PWS                       MO6010849    CWS         Groundwater                  41,784
  MO       WEST PLAINS PWS                      MO4010853    CWS         Groundwater under            12,000
                                                                         influence of
                                                                         surfacewater
  MO       WILLARD PWS                          MO5010860    CWS         Groundwater                   8,312
  MS       ADAMS CO W/A #2-SOUTH                MS0010009    CWS         Groundwater                   7,912
  MS       ADAMS CO W/A #4-KAISER LAKE          MS0010015    CWS         Groundwater                   8,266
  MS       ALCORN W/A #1-INDIAN SPRINGS         MS0020006    CWS         Groundwater                   5,296
  MS       ALGOMA WATER ASSOCIATION             MS0580001    CWS         Groundwater                   7,000
  MS       ARNOLD LINE WATER ASSOCIATION        MS0370001    CWS         Groundwater                   6,632
  MS       BARRONTOWN W/A                       MS0180001    CWS         Groundwater                   7,730
  MS       BEAR CREEK W/A -EAST                 MS0450002    CWS         Groundwater                  16,281
  MS       BEAR CREEK W/A-WEST                  MS0450021    CWS         Groundwater                  25,508
  MS       BEAT III W/A #1-SAND HILL            MS0210001    CWS         Groundwater                   3,854
  MS       BIG V WATER ASSOCIATION              MS0590002    CWS         Groundwater                   3,767



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Primacy                PWS Name                PWSID       PWS Type      Primary Source        Population
Agency                                                                                           Served
 [State]
   MS      BLACK BAYOU WATER ASSN.           MS0760076    CWS         Groundwater                   4,181
   MS      BOONEVILLE WATER DEPT.            MS0590004    CWS         Groundwater                   9,995
   MS      BUCKATUNNA WATER ASSOCIATION      MS0770001    CWS         Groundwater                   4,438
   MS      CALHOUN WATER ASSOCIATION         MS0340001    CWS         Groundwater                   3,730
   MS      CASON WATER ASSOCIATION           MS0480019    CWS         Surfacewater purchased        4,541

  MS       CENTER W/A-CAESAR SYSTEM          MS0550001    CWS         Groundwater                   5,830
  MS       CENTRAL W/A-EAST SIDE             MS0500004    CWS         Groundwater                   6,352
  MS       CENTRAL W/A-SOUTHWEST             MS0500009    CWS         Groundwater                   5,251
  MS       CITY OF AMORY                     MS0480002    CWS         Groundwater                   9,250
  MS       CITY OF BATESVILLE                MS0540002    CWS         Groundwater                   7,463
  MS       CITY OF BAY ST LOUIS              MS0230001    CWS         Groundwater                  10,842
  MS       CITY OF BELZONI                   MS0270001    CWS         Groundwater                   4,406
  MS       CITY OF BILOXI                    MS0240001    CWS         Groundwater                  24,243
  MS       CITY OF BILOXI-FRENCH             MS0240036    CWS         Groundwater                   4,380
  MS       CITY OF BILOXI-NORTH              MS0240084    CWS         Groundwater                   9,665
  MS       CITY OF BRANDON                   MS0610003    CWS         Groundwater                  30,400
  MS       CITY OF BROOKHAVEN                MS0430002    CWS         Groundwater                  12,513
  MS       CITY OF CANTON                    MS0450006    CWS         Groundwater                  17,073
  MS       CITY OF CARTHAGE                  MS0400001    CWS         Groundwater                   5,069
  MS       CITY OF CLEVELAND                 MS0060006    CWS         Groundwater                  16,392
  MS       CITY OF CLINTON                   MS0250003    CWS         Groundwater                  25,000
  MS       CITY OF COLUMBIA                  MS0460003    CWS         Groundwater                   5,900
  MS       CITY OF CORINTH                   MS0020002    CWS         Surfacewater                 14,900
  MS       CITY OF ELLISVILLE                MS0340003    CWS         Groundwater                   4,549
  MS       CITY OF EUPORA                    MS0780005    CWS         Groundwater                   5,526
  MS       CITY OF FLOWOOD                   MS0610075    CWS         Groundwater                  27,997
  MS       CITY OF FLOWOOD - NORANCO         MS0610044    CWS         Groundwater                   3,952
  MS       CITY OF FOREST                    MS0620002    CWS         Groundwater                   5,430
  MS       CITY OF FULTON                    MS0290003    CWS         Surfacewater purchased        9,929

  MS       CITY OF GAUTIER                   MS0300004    CWS         Groundwater                  19,776
  MS       CITY OF GREENVILLE                MS0760004    CWS         Groundwater                  29,602
  MS       CITY OF GREENWOOD                 MS0420001    CWS         Groundwater                  18,810
  MS       CITY OF GRENADA                   MS0220003    CWS         Groundwater                  12,762
  MS       CITY OF GULFPORT                  MS0240003    CWS         Groundwater                  83,856
  MS       CITY OF HATTIESBURG               MS0180008    CWS         Groundwater                  43,449
  MS       CITY OF HERNANDO                  MS0170009    CWS         Groundwater                  13,981
  MS       CITY OF HERNANDO-JAYBIRD          MS0170002    CWS         Groundwater                   5,145
  MS       CITY OF HOLLY SPRINGS             MS0470002    CWS         Groundwater                   9,760
  MS       CITY OF HORN LAKE                 MS0170022    CWS         Groundwater                  13,316
  MS       CITY OF HOUSTON                   MS0090005    CWS         Groundwater                   3,772
  MS       CITY OF INDIANOLA                 MS0670006    CWS         Groundwater                   9,855
  MS       CITY OF IUKA                      MS0710006    CWS         Groundwater                   7,223



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Primacy                PWS Name                PWSID       PWS Type      Primary Source        Population
Agency                                                                                           Served
 [State]
   MS      CITY OF JACKSON                   MS0250008    CWS         Surfacewater                188,723
   MS      CITY OF JACKSON-MADDOX RD.        MS0250012    CWS         Groundwater                  15,212
   MS      CITY OF KOSCIUSKO                 MS0040004    CWS         Groundwater                   9,646
   MS      CITY OF LAUREL                    MS0340021    CWS         Groundwater                  21,627
   MS      CITY OF LELAND                    MS0760006    CWS         Groundwater                   4,591
   MS      CITY OF LONG BEACH                MS0240005    CWS         Groundwater                  18,500
   MS      CITY OF LOUISVILLE                MS0800004    CWS         Groundwater                   7,515
   MS      CITY OF LUCEDALE                  MS0200004    CWS         Groundwater                   3,510
   MS      CITY OF MADISON                   MS0450010    CWS         Groundwater                  16,136
   MS      CITY OF MAGEE                     MS0640006    CWS         Groundwater                   4,219
   MS      CITY OF MCCOMB                    MS0570004    CWS         Groundwater                  12,413
   MS      CITY OF MERIDIAN                  MS0380005    CWS         Groundwater                  36,347
   MS      CITY OF MORTON                    MS0620009    CWS         Groundwater                   3,600
   MS      CITY OF MOSS POINT                MS0300008    CWS         Groundwater                  14,997
   MS      CITY OF NATCHEZ                   MS0010002    CWS         Groundwater                  14,520
   MS      CITY OF NEW ALBANY                MS0730006    CWS         Groundwater                   8,900
   MS      CITY OF NEWTON                    MS0510009    CWS         Groundwater                   3,477
   MS      CITY OF OCEAN SPRINGS             MS0300005    CWS         Groundwater                  26,168
   MS      CITY OF OLIVE BRANCH              MS0170015    CWS         Groundwater                  53,011
   MS      CITY OF OXFORD                    MS0360011    CWS         Groundwater                  25,000
   MS      CITY OF PASCAGOULA                MS0300006    CWS         Groundwater                  22,551
   MS      CITY OF PASS CHRISTIAN            MS0240009    CWS         Groundwater                   8,944
   MS      CITY OF PEARL                     MS0610017    CWS         Groundwater                  31,775
   MS      CITY OF PETAL                     MS0180011    CWS         Groundwater                   9,174
   MS      CITY OF PHILADELPHIA              MS0500008    CWS         Groundwater                   7,118
   MS      CITY OF PONTOTOC                  MS0580006    CWS         Groundwater                   9,398
   MS      CITY OF POPLARVILLE               MS0550006    CWS         Groundwater                   3,469
   MS      CITY OF RICHLAND                  MS0610023    CWS         Groundwater                   7,100
   MS      CITY OF RIDGELAND                 MS0450013    CWS         Groundwater                  24,340
   MS      CITY OF RIPLEY                    MS0700008    CWS         Groundwater                  10,528
   MS      CITY OF SENATOBIA                 MS0690005    CWS         Groundwater                   8,354
   MS      CITY OF SOUTHAVEN                 MS0170018    CWS         Groundwater                  55,782
   MS      CITY OF STARKVILLE                MS0530020    CWS         Groundwater                  31,787
   MS      CITY OF TUPELO                    MS0410015    CWS         Surfacewater purchased       38,000

  MS       CITY OF UNION                     MS0510011    CWS         Groundwater                   3,432
  MS       CITY OF VICKSBURG                 MS0750010    CWS         Groundwater                  29,238
  MS       CITY OF WATER VALLEY              MS0810011    CWS         Groundwater                   3,380
  MS       CITY OF WAVELAND                  MS0230002    CWS         Groundwater                   6,435
  MS       CITY OF WAYNESBORO                MS0770003    CWS         Groundwater                   4,850
  MS       CITY OF WEST POINT                MS0130008    CWS         Groundwater                  15,062
  MS       CITY OF WIGGINS                   MS0660005    CWS         Groundwater                   4,847
  MS       CITY OF WINONA                    MS0490010    CWS         Groundwater                   5,043
  MS       CITY OF YAZOO CITY                MS0820014    CWS         Groundwater                  10,163



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Primacy                 PWS Name                 PWSID       PWS Type      Primary Source       Population
Agency                                                                                            Served
 [State]
   MS      CLARKDALE WATER ASSN # 1            MS0380001    CWS         Groundwater                  4,739
   MS      CLARKSDALE PUBLIC UTILITIES         MS0140002    CWS         Groundwater                 18,216
   MS      CLAYTON VILLAGE W/A #1-EAST         MS0530006    CWS         Groundwater                  4,984
   MS      CMU - LAKE CAROLINE                 MS0450034    CWS         Groundwater                  7,830
   MS      COLLINSVILLE WATER ASSN             MS0380002    CWS         Groundwater                  3,324
   MS      COLUMBUS LIGHT & WATER              MS0440003    CWS         Groundwater                 23,573
   MS      COMBINED UTILITIES                  MS0200001    CWS         Groundwater                  6,626
   MS      COPIAH-NEW ZION WATER ASSN,INC      MS0150009    CWS         Groundwater                  3,738
   MS      CRYSTAL SPRINGS WATER SERVICE       MS0150003    CWS         Groundwater                  6,054
   MS      CULKIN WATER DIST                   MS0750002    CWS         Groundwater                 11,780
   MS      DENNIS WATER ASSOCIATION            MS0710003    CWS         Groundwater                  3,453
   MS      DIAMONDHEAD UTILITIES-NORTH         MS0230005    CWS         Groundwater                 11,627
   MS      DIBERVILLE W/S                      MS0240002    CWS         Groundwater                 12,721
   MS      DIXIE COMMUNITY UTILITY ASSN.       MS0180005    CWS         Groundwater                  5,742
   MS      EAST LEFLORE WATER & SEWER DST      MS0420010    CWS         Groundwater                  5,161
   MS      EAST LOWNDES #4-HERMAN-VAUGHN       MS0440100    CWS         Groundwater                  5,553
   MS      EAST LOWNDES W/A #2-HUCKLEBERRY     MS0440080    CWS         Groundwater                  6,706
   MS      EAST LOWNDES W/A A EAST-OLD         MS0440081    CWS         Groundwater                  4,688
           YORKVILLE
  MS       EAST LOWNDES W/A B WEST-OLD         MS0440103    CWS         Groundwater                  7,221
           YORKVILLE RD
  MS       EAST MADISON WATER ASSN-WEST        MS0450007    CWS         Groundwater                  7,339
  MS       EAST PONTOTOC WATER ASSN            MS0580002    CWS         Groundwater                  4,956
  MS       EAST QUITMAN W/A                    MS0120011    CWS         Groundwater                  3,527
  MS       EUDORA UTILITIES ASSOCIATION        MS0170006    CWS         Groundwater                  3,646
  MS       FANNIN WATER ASSN-NORTH             MS0610008    CWS         Groundwater                  7,099
  MS       FARMINGTON WATER ASSOCIATION        MS0020003    CWS         Groundwater                  6,695
  MS       FISHER FERRY WATER DISTRICT         MS0750004    CWS         Groundwater                  5,190
  MS       G T & Y WATER DISTRICT INC          MS0220002    CWS         Groundwater                  3,707
  MS       GLADE WATERWORKS ASSN               MS0340005    CWS         Groundwater                  3,340
  MS       GLENDALE UTILITY DISTRICT           MS0180007    CWS         Groundwater                  3,947
  MS       GREENFIELD WATER ASSOCIATION        MS0610011    CWS         Groundwater                  5,734
  MS       GULF PARK                           MS0300044    CWS         Groundwater                  4,675
  MS       HAMILTON WATER DISTRICT             MS0480007    CWS         Groundwater                  3,934
  MS       HILLDALE WATER DISTRICT             MS0750005    CWS         Groundwater                  5,602
  MS       HIWANNEE WATER ASSOCIATION #1       MS0770005    CWS         Groundwater                  3,810
  MS       HORN LAKE WATER ASSOCIATION         MS0170010    CWS         Groundwater                 12,735
  MS       INGALLS SHIPBUILDING                MS0300010    NTNCWS      Groundwater                 10,851
  MS       J P UTILITY DISTRICT                MS0340007    CWS         Groundwater                  3,812
  MS       JACKSON CO UTILITY AUTHORITY-WEST   MS0300164    CWS         Groundwater                  5,607

  MS       JAYESS-TOPEKA-TILTON W/A            MS0390001    CWS         Groundwater                  3,753
  MS       KILN UTILITY AND FIRE DISTRICT OF   MS0230050    CWS         Groundwater purchased        6,690
           HANCOC
  MS       KOSSUTH W/A #3-PINE MOUNTAIN        MS0020007    CWS         Groundwater                  5,790



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Primacy                PWS Name                PWSID       PWS Type      Primary Source   Population
Agency                                                                                      Served
 [State]
   MS      LAMAR PARK WATER & SEWAGE ASSN    MS0370004    CWS         Groundwater               7,714
   MS      LANGFORD WATER ASSOCIATION        MS0610012    CWS         Groundwater               3,960
   MS      LEESBURG WATER ASSOCIATION        MS0610013    CWS         Groundwater               3,836
   MS      LEWISBURG WATER ASSOCIATION       MS0170011    CWS         Groundwater               6,750
   MS      LEXIE WATER ASSOCIATION, INC.     MS0740004    CWS         Groundwater               4,224
   MS      LINCOLN RURAL W/A-HEUCKS RET      MS0430030    CWS         Groundwater               3,696
   MS      LONG CREEK WATER ASSN #2          MS0380106    CWS         Groundwater               3,987
   MS      MACON ELECTRIC & WATER DEPT.      MS0520004    CWS         Groundwater               5,166
   MS      MAGEES CREEK W/A-NORTH            MS0740076    CWS         Groundwater               7,410
   MS      MARSHALL CO WATER ASSN            MS0470105    CWS         Groundwater               3,905
   MS      MOOREVILLE RICHMOND #3            MS0410039    CWS         Groundwater               3,345
   MS      MOOREVILLE-RICHMOND W/A #1        MS0410007    CWS         Groundwater               3,775
   MS      NESBIT WATER ASSOCIATION          MS0170014    CWS         Groundwater               5,027
   MS      NORTH HINDS W/A #1-BROWNSVILLE    MS0250015    CWS         Groundwater               4,195
   MS      NORTH LAMAR WATER ASSOCIATION     MS0370006    CWS         Groundwater              12,403
   MS      NORTH LAUDERDALE W/A, INC         MS0380006    CWS         Groundwater              10,460
   MS      NORTH LUMBERTON UTILITY ASSN      MS0370007    CWS         Groundwater               3,873
   MS      NORTH PIKE WATER ASSOCIATION      MS0570008    CWS         Groundwater               5,379
   MS      NTS UTILITY ASSOCIATION           MS0380028    CWS         Groundwater               5,103
   MS      OAK HILL WATER ASSN               MS0580004    CWS         Groundwater               4,506
   MS      OKATOMA WATER ASSOCIATION #2      MS0640022    CWS         Groundwater               6,336
   MS      OLD UNION WATER SYSTEM            MS0410033    CWS         Groundwater               3,749
   MS      PEARL RIVER CENTRAL W/A           MS0550005    CWS         Groundwater              11,484
   MS      PEARL RIVER CENTRAL W/A-BI CO     MS0550058    CWS         Groundwater               4,264
   MS      PEARL RIVER CENTRAL W/A-HENLEY    MS0550060    CWS         Groundwater               4,422
           FIELD
  MS       PICAYUNE UTILITIES, CITY OF       MS0550004    CWS         Groundwater              12,654
  MS       PLEASANT RIDGE W/A                MS0340014    CWS         Groundwater               5,544
  MS       PROGRESS COMM WATER ASSN          MS0370008    CWS         Groundwater               6,748
  MS       QUINCY WATER ASSOCIATION #1       MS0480011    CWS         Groundwater               3,390
  MS       REEDTOWN WATER ASSN               MS0250021    CWS         Groundwater               3,590
  MS       RIVERBEND UTILITIES INC           MS0240194    CWS         Groundwater               4,367
  MS       SEBASTOPOL WATER ASSOCIATION      MS0620010    CWS         Groundwater               6,060
  MS       SMITHS CROSSING WATER ASSN        MS0640014    CWS         Groundwater               4,406
  MS       SOUTH CENTRAL WATER ASSN          MS0250022    CWS         Groundwater              12,123
  MS       SOUTHERN RANKIN W/A #2 PLAIN      MS0610024    CWS         Groundwater               3,786
  MS       SOUTHWEST COVINGTON W/A           MS0160009    CWS         Groundwater               3,464
  MS       SOUTHWEST JONES W/A-NORTH         MS0340019    CWS         Groundwater               4,664
  MS       STANDARD DEDEAUX WATER            MS0230063    CWS         Groundwater               4,984
           ASSOCIATION
  MS       STRINGER WATER WORKS              MS0310012    CWS         Groundwater               3,553
  MS       SUNNYHILL WATER ASSOCIATION       MS0570014    CWS         Groundwater               3,770
  MS       SUNRISE UTILITY ASSN INC          MS0180013    CWS         Groundwater               5,850
  MS       SW RANKIN WATER ASSOCIATION #1    MS0610026    CWS         Groundwater               3,466



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Agency                                                                                            Served
 [State]
   MS      TALLAHALA W/A-ANTIOCH               MS0310001   CWS         Groundwater                   3,474
   MS      TOOMSUBA WATER ASSOCIATION          MS0380009   CWS         Groundwater                   3,828
   MS      TOPISAW CREEK                       MS0430029   CWS         Groundwater                   5,056
   MS      TOWN OF ABERDEEN                    MS0480001   CWS         Groundwater                   7,783
   MS      TOWN OF BYHALIA                     MS0470001   CWS         Groundwater                   3,693
   MS      TOWN OF CALEDONIA                   MS0440002   CWS         Groundwater                   6,220
   MS      TOWN OF FLORENCE                    MS0610009   CWS         Groundwater                   5,684
   MS      TOWN OF GUNTOWN                     MS0410006   CWS         Groundwater                   3,567
   MS      TOWN OF HAZLEHURST                  MS0150007   CWS         Groundwater                   3,800
   MS      TOWN OF SALTILLO                    MS0410012   CWS         Surfacewater purchased        6,766

  MS       TOWN OF TUNICA                      MS0720004   CWS         Groundwater                   4,689
  MS       TUNICA COUNTY UTILITY DISTRICT      MS0720024   CWS         Groundwater                   6,690
  MS       WALLS WATER ASSN- LAKE FOREST       MS0170043   CWS         Groundwater                   8,493
  MS       WEST JACKSON CO UTILITY DIST        MS0300156   CWS         Groundwater                  27,496
  MS       WEST LAMAR WATER ASSN #1            MS0370011   CWS         Groundwater                  17,519
  MS       WHEELER-FRANKSTOWN WATER ASSN       MS0590014   CWS         Groundwater                   4,137
  MS       WHISTLER WATER ASSOCIATION          MS0770004   CWS         Groundwater                   4,100
  MT       ANACONDA WATER DEPARTMENT           MT0000016   CWS         Groundwater                   6,750
  MT       BELGRADE CITY OF                    MT0000136   CWS         Groundwater                  10,460
  MT       BIG SKY COUNTY WATER AND SEWER      MT0002385   CWS         Groundwater                   4,132
           DIST 363
  MT       BIGFORK COUNTY WATER AND SEWER      MT0000262   CWS         Groundwater                   6,100
  MT       BILLINGS CITY OF                    MT0000153   CWS         Surfacewater                114,000
  MT       BOZEMAN CITY OF                     MT0000161   CWS         Surfacewater                 56,000
  MT       BUTTE SILVERBOW WATER DEPT          MT0000170   CWS         Surfacewater                 33,000
  MT       CO WATER DIST OF BILLINGS HEIGHTS   MT0000155   CWS         Surfacewater purchased       12,000

  MT       COLUMBIA FALLS CITY OF          MT0000181       CWS         Groundwater                   4,450
  MT       DILLON CITY OF                  MT0000201       CWS         Groundwater                   4,300
  MT       FLATHEAD COUNTY WATER AND SEWER MT0001744       CWS         Groundwater                   7,775

  MT       GLENDIVE CITY OF                    MT0000229   CWS         Surfacewater                  5,500
  MT       GREAT FALLS CITY OF                 MT0000525   CWS         Surfacewater                 60,000
  MT       HAMILTON CITY OF                    MT0000234   CWS         Groundwater                   4,500
  MT       HARDIN CITY OF                      MT0000235   CWS         Surfacewater                  3,500
  MT       HAVRE CITY OF                       MT0000524   CWS         Surfacewater                  9,600
  MT       HELENA WATER SYSTEM                 MT0000241   CWS         Surfacewater                 31,005
  MT       LAUREL MUNICIPAL WATER SYSTEM       MT0000270   CWS         Surfacewater                  6,339
  MT       LEWISTOWN CITY OF                   MT0000271   CWS         Groundwater                   5,923
  MT       LIBBY CITY OF                       MT0000274   CWS         Surfacewater                  4,693
  MT       LIVINGSTON CITY OF                  MT0000573   CWS         Groundwater                   7,500
  MT       LOCKWOOD WATER AND SEWER            MT0000156   CWS         Surfacewater                  5,900
           DISTRICT
  MT       MILES CITY CITY OF                  MT0000291   CWS         Surfacewater                  9,565



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Primacy                 PWS Name                  PWSID       PWS Type      Primary Source        Population
Agency                                                                                              Served
 [State]
   MT      MISSOULA WATER                       MT0000294    CWS         Groundwater                  68,200
   MT      NORTH STAR ZOOT WATER                MT0004284    CWS         Groundwater                   4,323
   MT      POLSON CITY OF                       MT0000308    CWS         Groundwater                   5,300
   MT      RIVER ROCK COUNTY WATER AND          MT0004082    CWS         Groundwater                   4,200
           SEWER DIST
  MT       ROCKY MOUNTAIN COLLEGE               MT0004796    NTNCWS      Surfacewater purchased        5,700

  MT       SHELBY CITY OF                       MT0000328    CWS         Groundwater                   3,970
  MT       SIDNEY CITY OF                       MT0000330    CWS         Groundwater                   5,000
  MT       WEST YELLOWSTONE TOWN OF             MT0003136    CWS         Groundwater                   9,899
  MT       WHITEFISH CITY OF                    MT0000357    CWS         Surfacewater                 10,418
  NC       ABERDEEN, TOWN OF                    NC0363020    CWS         Groundwater                  12,241
  NC       ALEXANDER CO WTR DIST                NC0102020    CWS         Surfacewater purchased       12,741

  NC       ANGIER, TOWN OF                      NC0343015    CWS         Surfacewater purchased        8,468

  NC       APEX, TOWN OF                        NC0392045    CWS         Surfacewater purchased       70,272

  NC       ARCHDALE, CITY OF                    NC0276030    CWS         Surfacewater purchased       12,700

  NC       ATLANTIC BEACH, TOWN OF              NC0416035    CWS         Groundwater                   6,380
  NC       BATON WATER CORPORATION              NC0114025    CWS         Surfacewater purchased        7,112

  NC       BEAUFORT CO NORTHSIDE REGIONAL       NC0407035    CWS         Groundwater purchased        22,467
           WATER
  NC       BELVEDERE PLANTATION                 NC0471111    CWS         Groundwater                   3,414
  NC       BENSON, TOWN OF                      NC0351025    CWS         Surfacewater purchased        4,259

  NC       BERTIE COUNTY REGIONAL WATER         NC0408085    CWS         Groundwater                  12,893
  NC       BLUE RIDGE WATER ASSOCIATION         NC0197030    CWS         Surfacewater purchased        8,486

  NC       BOGUE BANKS WATER CORPORATION        NC0416028    CWS         Groundwater                   4,995
  NC       BOILING SPRINGS, TOWN OF             NC0123025    CWS         Surfacewater purchased        4,769

  NC       BOONE, TOWN OF                       NC0195010    CWS         Surfacewater                 19,667
  NC       BRAGG COMMUNITIES/NTA                NC5043001    CWS         Surfacewater purchased        3,733

  NC       BRENTWOOD WATER ASSOCIATION          NC0112103    CWS         Surfacewater purchased        5,127

  NC       BRENTWOOD-JAMESTOWN ROAD             NC0112104    CWS         Surfacewater purchased        5,362

  NC       BROAD RIVER WATER AUTHORITY          NC0181035    CWS         Surfacewater                 17,093
  NC       BROADWAY WATER ASSOCIATION           NC0197035    CWS         Surfacewater purchased        3,556

  NC       BRYSON CITY, TOWN OF                 NC0187010    CWS         Surfacewater                  4,222
  NC       BURGAW, TOWN OF                      NC0471010    CWS         Groundwater                   4,250
  NC       BURKE CO. WATER-SOUTH                NC0112075    CWS         Surfacewater purchased        5,207

  NC       BURNSVILLE, TOWN OF                  NC0100010    CWS         Surfacewater                  4,069


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Primacy              PWS Name                  PWSID       PWS Type      Primary Source        Population
Agency                                                                                           Served
 [State]
   NC    CALDWELL CO WATER SYSTEM-SE         NC0114047    CWS         Surfacewater purchased       15,007

 NC    CALDWELL COUNTY WATER--WEST           NC0114045    CWS         Surfacewater purchased        8,662

 NC    CANTON, TOWN OF                       NC0144015    CWS         Surfacewater                  7,799
 NC    CAROLINA BEACH WATER SYSTEM           NC0465015    CWS         Groundwater                  12,294
 NC    CAROLINA TRACE WATER SYSTEM           NC0353101    CWS         Surfacewater purchased        4,270

 NC    CENTRAL NASH WATER & SEWER            NC4064005    CWS         Surfacewater purchased        5,881

 NC    CFPUA/MONTEREY HEIGHTS                NC0465137    CWS         Groundwater                   9,619
 NC    CHINA GROVE, TOWN OF                  NC0180040    CWS         Surfacewater purchased        4,895

 NC    CHINQUAPIN WATER ASSOCIATION          NC0431050    CWS         Groundwater                   4,686
 NC    CLAYTON, TOWN OF                      NC0351020    CWS         Surfacewater purchased       25,444

 NC    CLINTON, CITY OF                      NC0382010    CWS         Groundwater                  12,459
 NC    COLUMBUS CO WATER DISTRICT II         NC7024007    CWS         Groundwater                   7,663
 NC    CONNESTEE FALLS                       NC0188104    CWS         Groundwater                   3,532
 NC    CONOVER, CITY OF                      NC0118020    CWS         Surfacewater purchased       15,540

 NC    CRAVEN COUNTY WATER SYSTEM            NC0425055    CWS         Groundwater                  36,830
 NC    CURRITUCK COUNTY WATER SYSTEM         NC0427010    CWS         Groundwater                  17,430
 NC    DAN RIVER WATER INC                   NC0279040    CWS         Surfacewater purchased       11,890

 NC    DARE COUNTY WATER SYSTEM              NC0428030    CWS         Groundwater                  22,766
 NC    DEEP RUN WATER CORPORATION            NC0454030    CWS         Surfacewater purchased       13,332

 NC    EAST MOORE WATER DISTRICT             NC5063011    CWS         Surfacewater purchased        7,990

 NC    EASTERN PINES WATER CORP              NC0474015    CWS         Surfacewater purchased       22,230

 NC    EASTOVER SANITARY DISTRICT            NC5026027    CWS         Surfacewater purchased        7,571

 NC    EDGECOMBE WATER & SEWER DISTRICT NC0433050         CWS         Surfacewater purchased       12,845

 NC    ELIZABETHTOWN, TOWN OF                NC0309010    CWS         Groundwater                   5,311
 NC    ELKIN, TOWN OF                        NC0286020    CWS         Surfacewater                  4,120
 NC    ELON, TOWN OF                         NC0201025    CWS         Surfacewater purchased       12,752

 NC    ENERGY UNITED WATER CORP              NC0102015    CWS         Surfacewater purchased       13,445

 NC    FAIRFIELD HARBOUR                     NC0425132    CWS         Groundwater                   4,610
 NC    FAIRFIELD SAPPHIRE                    NC0150113    CWS         Groundwater                   4,073
 NC    FARMVILLE, TOWN OF                    NC0474020    CWS         Surfacewater purchased        8,458

 NC    FLOWERS PLANTATION                    NC0351195    CWS         Surfacewater purchased       10,704

 NC    FOREST CITY, TOWN OF                  NC0181010    CWS         Surfacewater                 21,366



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Primacy              PWS Name                  PWSID       PWS Type      Primary Source        Population
Agency                                                                                           Served
 [State]
   NC    FORK TOWNSHIP SANITARY DISTRICT     NC0496060    CWS         Groundwater                   9,324
   NC    FRANKLIN COUNTY WATER & SEWER       NC0235030    CWS         Surfacewater purchased       17,689

 NC    FRANKLIN, TOWN OF                     NC0157010    CWS         Surfacewater                  9,650
 NC    GATES COUNTY WATER SYSTEM             NC0437020    CWS         Groundwater                  11,621
 NC    GIBSONVILLE, TOWN OF                  NC0241025    CWS         Surfacewater purchased        8,920

 NC    GRANITE FALLS, TOWN OF                NC0114030    CWS         Surfacewater                  7,318
 NC    GREENE CO REGIONAL WATER SYST         NC0440106    CWS         Surfacewater purchased       10,183

 NC    HALIFAX CO--HALIFAX                   NC0442040    CWS         Surfacewater purchased       20,250

 NC    HANDY SANITARY DISTRICT               NC0229035    CWS         Surfacewater purchased        7,899

 NC    HARBOUR POINT S/D                     NC0149185    CWS         Surfacewater purchased        3,909

 NC    HAVELOCK WATER SYSTEM                 NC0425015    CWS         Groundwater                  14,550
 NC    HENDERSONVILLE, CITY OF               NC0145010    CWS         Surfacewater                 78,298
 NC    HERTFORD COUNTY RURAL WATER           NC0446045    CWS         Groundwater                   7,970
 NC    HICKORY CITY OF                       NC0118010    CWS         Surfacewater                 65,075
 NC    HIGHLANDS, TOWN OF                    NC0157015    CWS         Surfacewater                  6,614
 NC    HOKE CO REGIONAL WATER SYSTEM         NC0347025    CWS         Groundwater                  24,899
 NC    HOKE CO REGIONAL--ROCKFISH            NC0347030    CWS         Surfacewater purchased        5,920

 NC    HOLDEN BEACH, TOWN OF                 NC0410060    CWS         Surfacewater purchased        6,358

 NC    ICARD TOWNSHIP WATER CORP             NC0112060    CWS         Surfacewater purchased        7,821

 NC    IREDELL WATER CORPORATION             NC0149025    CWS         Surfacewater purchased       24,733

 NC    JACKSONVILLE CITY OF                  NC0467010    CWS         Groundwater                  41,156
 NC    JAMESTOWN, TOWN OF                    NC0241030    CWS         Surfacewater purchased        6,543

 NC    JOHNSTON CO-EAST                      NC4051018    CWS         Surfacewater                 40,086
 NC    JONES COUNTY WATER SYSTEM             NC0452020    CWS         Groundwater                   8,999
 NC    JUNALUSKA SANITARY DISTRICT           NC0144035    CWS         Surfacewater purchased        4,613

 NC    KILL DEVIL HILLS, TOWN OF             NC0428015    CWS         Groundwater purchased         7,200

 NC    KINSTON, CITY OF                      NC0454010    CWS         Surfacewater purchased       27,475

 NC    KURE BEACH WATER SYSTEM               NC0465025    CWS         Groundwater                   5,110
 NC    LAKE ROYALE S/D                       NC0235108    CWS         Surfacewater purchased        4,849

 NC    LAMPLIGHTER SOUTH-DANBY               NC0160156    CWS         Surfacewater purchased        3,315

 NC    LAURINBURG, CITY OF                   NC0383010    CWS         Groundwater                  18,288
 NC    LENOIR, CITY OF                       NC0114010    CWS         Surfacewater                 23,192




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Primacy              PWS Name                PWSID       PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
   NC    LILLINGTON WATER SYSTEM           NC0343025    CWS         Surfacewater purchased        3,883

 NC    LONGVIEW, TOWN OF                   NC0118025    CWS         Surfacewater purchased        5,244

 NC    LOUISBURG, TOWN OF                  NC0235015    CWS         Surfacewater                  3,312
 NC    LOWELL, CITY OF                     NC0136060    CWS         Surfacewater purchased        3,725

 NC    MAGGIE VALLEY SANITARY DIST         NC0144040    CWS         Surfacewater                  9,527
 NC    MAIDEN, TOWN OF                     NC0118030    CWS         Surfacewater purchased        5,275

 NC    MEBANE, CITY OF                     NC0201018    CWS         Surfacewater purchased       18,579

 NC    MOREHEAD CITY, TOWN OF              NC0416015    CWS         Groundwater                   9,420
 NC    MOUNT OLIVE, TOWN OF                NC0496015    CWS         Groundwater                   4,190
 NC    MULBERRY-FAIRPLAINS WTR ASSOC       NC0197015    CWS         Surfacewater purchased        8,150

 NC    MURFREESBORO, TOWN OF               NC0446015    CWS         Groundwater                   3,645
 NC    MURPHY, TOWN OF                     NC0120010    CWS         Surfacewater                  4,498
 NC    NEWPORT WATER SYSTEM                NC0416020    CWS         Groundwater                   4,829
 NC    NORTH LENOIR WATER CORP             NC0454025    CWS         Surfacewater purchased       15,215

 NC    NORTH WILKESBORO, TOWN OF           NC0197010    CWS         Surfacewater                  4,245
 NC    NORTHAMPTON--LAKE GASTON            NC0466110    CWS         Surfacewater purchased        3,785

 NC    NORTHAMPTON--MILWAUKEE              NC0466108    CWS         Groundwater                   5,715
 NC    OAK ISLAND, TOWN OF                 NC0410020    CWS         Surfacewater purchased       23,896

 NC    OCEAN ISLE BEACH, TOWN OF           NC0410035    CWS         Surfacewater purchased        7,216

 NC    ORANGE-ALAMANCE WATER SYSTEM        NC0368020    CWS         Surfacewater                  8,892
 NC    OXFORD, CITY OF                     NC0239010    CWS         Surfacewater purchased        8,721

 NC    PAMLICO COUNTY WATER                NC0469025    CWS         Groundwater                  19,665
 NC    PFEIFFER-N STANLY WATER ASSOC       NC0184025    CWS         Surfacewater purchased        4,199

 NC    PINE KNOLL SHORES                   NC0416031    CWS         Groundwater                   4,656
 NC    RAEFORD, CITY OF                    NC0347010    CWS         Groundwater                   7,119
 NC    RANDLEMAN, CITY OF                  NC0276015    CWS         Surfacewater purchased        6,767

 NC    RANLO, TOWN OF                      NC0136034    CWS         Surfacewater purchased        4,511

 NC    RED SPRINGS, TOWN OF                NC0378015    CWS         Groundwater                   4,493
 NC    SAMPSON CO WTR DIST II              NC0382070    CWS         Groundwater                   8,670
 NC    SAWMILLS, TOWN OF                   NC0114040    CWS         Surfacewater purchased        5,524

 NC    SHALLOTTE, TOWN OF                  NC0410025    CWS         Surfacewater purchased        5,862

 NC    SHELBY, CITY OF                     NC0123010    CWS         Surfacewater                 21,824




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Primacy               PWS Name                  PWSID       PWS Type      Primary Source        Population
Agency                                                                                            Served
 [State]
   NC    SMITHFIELD FRESH MEATS CORP - TAR    NC0309527    NTNCWS      Surfacewater purchased        4,589
         HEEL
   NC    SOUTH CAMDEN WTR & SWR DISTRCT       NC0415015    CWS         Groundwater                   5,717
   NC    SOUTHPORT CITY OF                    NC0410010    CWS         Surfacewater purchased        6,447

  NC    SPRING LAKE, TOWN OF                  NC0326020    CWS         Surfacewater purchased       11,725

  NC    SPRUCE PINE, TOWN OF                  NC0161010    CWS         Surfacewater                  5,661
  NC    STANLEY, TOWN OF                      NC0136035    CWS         Surfacewater purchased        5,453

  NC    STANLY CO-WEST STANLY DIST            NC0184035    CWS         Surfacewater purchased        8,651

  NC    STOKES REGIONAL WATER CORP            NC0474060    CWS         Surfacewater purchased        3,327

  NC    TOWN OF CLAYTON - NORTH               NC4051019    CWS         Surfacewater purchased        4,523

  NC    TROUTMAN, TOWN OF                     NC0149030    CWS         Surfacewater purchased        7,223

  NC    TROY, TOWN OF                         NC0362020    CWS         Surfacewater purchased        3,591

  NC    TRYON, TOWN OF                        NC0175010    CWS         Surfacewater                  5,476
  NC    UNION COUNTY WATER SYSTEM             NC0190413    CWS         Surfacewater purchased      145,019

  NC    WADESBORO, TOWN OF                    NC0304020    CWS         Surfacewater purchased        5,608

  NC    WARREN COUNTY WATER SYSTEM            NC0293015    CWS         Surfacewater purchased        9,654

  NC    WASHINGTON COUNTY WATER SYSTEM NC0494025           CWS         Groundwater                   6,693

  NC    WAYNESVILLE, TOWN OF                  NC0144010    CWS         Surfacewater                 19,758
  NC    WEAVERVILLE, TOWN OF                  NC0111025    CWS         Surfacewater                  8,145
  NC    WEST CARTERET WATER CORP              NC0416040    CWS         Groundwater                  19,512
  NC    WEST IREDELL WATER CORPORATION        NC0149158    CWS         Surfacewater purchased        5,926

  NC    WEST WILKES WTR ASSOCIATION INC       NC0197020    CWS         Surfacewater purchased       12,202

  NC    WHISPERING PINES DEVELOPMENT          NC0363112    CWS         Surfacewater purchased        4,178

  NC    WHITE LAKE, TOWN OF                   NC0309030    CWS         Groundwater                   5,862
  NC    WHITEVILLE, CITY OF                   NC0424010    CWS         Groundwater                   5,426
  NC    WILKESBORO, TOWN OF                   NC0197025    CWS         Surfacewater                  3,705
  NC    WILLIAMSTON, TOWN OF                  NC0459010    CWS         Surfacewater purchased        7,650

  NC    WILSON CO SOUTHEAST WATER DIST        NC4098014    CWS         Groundwater purchased         4,086

  NC    WILSON CO SOUTHWEST WATER DIST        NC4098012    CWS         Groundwater purchased         4,850

  NC    WINGATE, TOWN OF                      NC0190030    CWS         Surfacewater purchased        3,950




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Primacy               PWS Name               PWSID       PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
   NC    WINTERVILLE, TOWN OF              NC0474040    CWS         Surfacewater purchased       10,462

 NC    WOODFIN SANITARY WATER AND          NC0111015    CWS         Surfacewater                 10,122
       SEWER
 ND    AGASSIZ WATER USERS DISTRICT        ND1801056    CWS         Groundwater                   3,438
 ND    BARNES RURAL WATER DISTRICT         ND0201058    CWS         Groundwater                   4,938
 ND    CASS RURAL WATER DISTRICT FARGO     ND0901483    CWS         Surfacewater purchased        4,242

 ND    CASS RURAL WATER DISTRICT-PHASE I   ND0901060    CWS         Groundwater                   3,658
 ND    CENTRAL PLAINS WATER DISTRICT       ND5201309    CWS         Groundwater                   3,504
 ND    DEVILS LAKE CITY OF                 ND3600231    CWS         Groundwater                   7,141
 ND    DICKINSON CITY OF                   ND4500242    CWS         Surfacewater purchased       25,679

 ND    EAST CENTRAL REGIONAL WD-GF         ND1801062    CWS         Groundwater                   5,995
 ND    GREATER RAMSEY WATER DISTRICT       ND3601424    CWS         Groundwater                   5,280
 ND    LINCOLN CITY OF                     ND0800570    CWS         Purchased groundwater         4,257
                                                                    under influence of
                                                                    surfacewater source

 ND    MANDAN CITY OF                      ND3000596    CWS         Surfacewater                 21,769
 ND    MCKENZIE COUNTY WRD                 ND2701477    CWS         Surfacewater purchased        3,895

 ND    MISSOURI WEST WATER SYSTEM          ND3001431    CWS         Surfacewater purchased        4,303

 ND    NORTH PRAIRIE RWD-SYSTEM 1&2        ND5101125    CWS         Groundwater purchased         7,748

 ND    NORTHEAST RWD- NORTH VALLEY         ND3401128    CWS         Groundwater                   3,422
       BRANCH
 ND    NORTHWEST RURAL WATER DISTRICT      ND5301079    CWS         Surfacewater purchased        5,102

 ND    OMND WATER TREATMENT PLANT          ND2901491    CWS         Surfacewater                  4,168
 ND    SOUTH CENTRAL REGIONAL WATER        ND0801154    CWS         Purchased groundwater         3,700
       DISTRICT                                                     under influence of
                                                                    surfacewater source

 ND    SOUTH CENTRAL RWD NORTH BURLEIGH ND0801502       CWS         Groundwater under            10,400
                                                                    influence of
                                                                    surfacewater
 ND    SOUTH CENTRAL RWD-EMMONS            ND1501653    CWS         Surfacewater                  3,650
 ND    SOUTHEAST WUD (EAST)                ND3901068    CWS         Groundwater                   4,225
 ND    STUTSMAN RURAL WATER DISTRICT       ND4701303    CWS         Groundwater                   5,550
 ND    VALLEY CITY CITY OF                 ND0200958    CWS         Surfacewater                  6,585
 ND    WAHPETON CITY OF                    ND3900973    CWS         Groundwater                   7,766
 ND    WATFORD CITY CITY OF                ND2700990    CWS         Surfacewater purchased        6,390

 ND    WEST FARGO CITY OF                  ND0900999    CWS         Surfacewater purchased       34,858

 ND    WILLISTON CITY OF                   ND5301012    CWS         Surfacewater                 26,426
 NE    ALLIANCE, CITY OF                   NE3101302    CWS         Groundwater                   8,500


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Primacy               PWS Name                PWSID       PWS Type      Primary Source   Population
Agency                                                                                     Served
 [State]
   NE    AUBURN, CITY OF                    NE3112703    CWS         Groundwater under         3,460
                                                                     influence of
                                                                     surfacewater
  NE    AURORA, CITY OF                     NE3108101    CWS         Groundwater               4,678
  NE    BEATRICE, CITY OF                   NE3106705    CWS         Groundwater              12,220
  NE    BLAIR, CITY OF                      NE3117905    CWS         Surfacewater              8,000
  NE    BROKEN BOW, CITY OF                 NE3104105    CWS         Groundwater               3,568
  NE    CHADRON, CITY OF                    NE3104507    CWS         Surfacewater              6,257
  NE    CITY OF GRETNA - SAPP BROS          NE3120173    NTNCWS      Groundwater               5,975
  NE    COLUMBUS, CITY OF                   NE3114110    CWS         Groundwater              22,630
  NE    COZAD, CITY OF                      NE3104701    CWS         Groundwater               3,977
  NE    CRETE, CITY OF                      NE3115104    CWS         Groundwater               7,000
  NE    FAIRBURY, CITY OF                   NE3109507    CWS         Groundwater under         3,707
                                                                     influence of
                                                                     surfacewater
  NE    FALLS CITY, CITY OF                 NE3114705    CWS         Groundwater               4,176
  NE    FREMONT, CITY OF                    NE3105312    CWS         Groundwater              28,000
  NE    GERING, CITY OF                     NE3115717    CWS         Groundwater               8,500
  NE    GOTHENBURG, CITY OF                 NE3104702    CWS         Groundwater               3,578
  NE    GRAND ISLAND, CITY OF               NE3107902    CWS         Groundwater              51,478
  NE    GRETNA, CITY OF                     NE3115303    CWS         Groundwater               8,661
  NE    HASTINGS, CITY OF                   NE3100101    CWS         Groundwater              25,152
  NE    HOLDREGE, CITY OF                   NE3113705    CWS         Groundwater               5,555
  NE    KEARNEY, CITY OF                    NE3101906    CWS         Groundwater under        30,919
                                                                     influence of
                                                                     surfacewater
  NE    LANCASTER CO RWD 1                  NE3110909    CWS         Groundwater              6,000
  NE    LEXINGTON, CITY OF                  NE3104708    CWS         Groundwater             10,230
  NE    LINCOLN, CITY OF                    NE3110926    CWS         Groundwater under      292,000
                                                                     influence of
                                                                     surfacewater
  NE    MCCOOK, CITY OF                     NE3114504    CWS         Groundwater              7,356
  NE    METROPOLITAN UTILITIES DISTRICT     NE3105507    CWS         Surfacewater           554,091
  NE    NEBRASKA CITY, CITY OF              NE3113106    CWS         Groundwater under        7,289
                                                                     influence of
                                                                     surfacewater
  NE    NORFOLK, CITY OF                    NE3111910    CWS         Groundwater              24,500
  NE    NORTH PLATTE, CITY OF               NE3111106    CWS         Groundwater              25,000
  NE    OGALLALA, CITY OF                   NE3110102    CWS         Groundwater               4,878
  NE    ONEILL, CITY OF                     NE3108904    CWS         Groundwater               3,705
  NE    PAPILLION, CITY OF                  NE3115313    CWS         Groundwater              35,000
  NE    PLATTSMOUTH, CITY OF                NE3102501    CWS         Groundwater               6,503
  NE    SCHUYLER, CITY OF                   NE3103701    CWS         Groundwater               6,211
  NE    SCOTTSBLUFF, CITY OF                NE3115716    CWS         Groundwater              14,282
  NE    SEWARD, CITY OF                     NE3115905    CWS         Groundwater               7,500
  NE    SIDNEY, CITY OF                     NE3103303    CWS         Groundwater               6,720



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Primacy               PWS Name                 PWSID       PWS Type         Primary Source         Population
Agency                                                                                               Served
 [State]
   NE    SOUTH SIOUX CITY, CITY OF           NE3104309    CWS            Purchased groundwater         14,043
                                                                         under influence of
                                                                         surfacewater source

  NE    TYSON FRESH MEATS, INC - DAKOTA      NE3120002    NTNCWS         Groundwater                    4,110
        CITY
  NE    WAHOO, CITY OF                       NE3115512    CWS             Groundwater                   4,500
  NE    WAVERLY, CITY OF                     NE3110905    CWS             Groundwater                   4,279
  NE    WAYNE, CITY OF                       NE3118104    CWS             Groundwater                   5,847
  NE    WEST POINT, CITY OF                  NE3103904    CWS             Groundwater                   3,500
  NE    YORK, CITY OF                        NE3118706    CWS             Groundwater                   7,841
  NH    BECKET HOUSE AT HALL FARM            NH1155020    System not
                                                          found in
                                                          SDWIS,
                                                          additional
                                                          search could
                                                          not find system
                                                          name.
  NH    BERLIN WATER WORKS                   NH0231010    CWS             Surfacewater                  9,575
  NH    BRISTOL WATER WORKS                  NH0301010    CWS             Groundwater                   3,400
  NH    CENTRAL HOOKSETT WATER PCT           NH1181010    CWS             Surfacewater purchased        4,300

  NH    CLAREMONT WATER DEPT                 NH0461010    CWS            Surfacewater                   9,000
  NH    DERRY WATER DEPT                     NH0611010    CWS            Surfacewater purchased        17,210

  NH    HANOVER WATER DEPT                   NH1071010    CWS             Surfacewater                  8,500
  NH    LEBANON WATER DEPT                   NH1321010    CWS             Surfacewater                 10,050
  NH    LITTLETON WATER AND LIGHT            NH1381010    CWS             Surfacewater                  6,500
  NH    LOWER BARTLETT WATER PCT             NH0161020    CWS             Groundwater                   3,800
  NH    MEREDITH WATER DEPT                  NH1521010    CWS             Surfacewater                  3,750
  NH    NEWMARKET WATER WORKS                NH1731010    CWS             Groundwater                   5,030
  NH    NEWPORT WATER WORKS                  NH1741010    CWS             Surfacewater                  5,000
  NH    NHDOT BURUAU TURNPIKE                NH1889030    System not
                                                          found in
                                                          SDWIS,
                                                          additional
                                                          search could
                                                          not find system
                                                          name.
  NH    NORTH CONWAY WATER PCT               NH0511030    CWS             Groundwater                   5,400
  NH    PETERBOROUGH WATER WORKS             NH1871010    CWS             Groundwater                   4,350
  NH    PEU/LITCHFIELD                       NH1371010    CWS             Surfacewater purchased        6,160

  NH    PEU/LONDONDERRY                      NH1391010    CWS            Surfacewater purchased         4,988

  NH    PLYMOUTH VLG WATER AND SEWER         NH1941010    CWS            Groundwater                    6,700




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Primacy              PWS Name               PWSID       PWS Type         Primary Source         Population
Agency                                                                                            Served
 [State]
   NH    ROBINSONS MHP/UPPER              NH0465302    System not
                                                       found in
                                                       SDWIS,
                                                       additional
                                                       search could
                                                       not find system
                                                       name.
 NH     SANDWICH FAIR                     NH2099010    System not
                                                       found in
                                                       SDWIS,
                                                       additional
                                                       search could
                                                       not find system
                                                       name.
 NH     SOMERSWORTH WATER WORKS           NH2151010    CWS             Surfacewater                 12,000
 NH     VILLAGE DIST OF EASTMAN           NH0951010    CWS             Groundwater                   3,400
 NH     WINMIR CONDOS                     NH2327205    System not
                                                       found in
                                                       SDWIS,
                                                       additional
                                                       search could
                                                       not find system
                                                       name.
  NJ    ABERDEEN - CLIFFWOOD/CLIFFWOOD    NJ1330002    CWS             Surfacewater purchased        6,775
        BEACH
  NJ    ACCC EARLY MAIN CAMPUS            NJ0112325    NTNCWS         Groundwater                    7,978
  NJ    ATLANTIC HIGHLANDS WATER          NJ1304001    CWS            Groundwater                    4,385
  NJ    AVALON WATER AND SEWERAGE         NJ0501001    CWS            Groundwater                   39,839
        UTILITIES
  NJ    AVON BY THE SEA WATER DE          NJ1305001    CWS            Surfacewater purchased         5,000

  NJ    BALLYS PARK PLACE CASINO          NJ0102302    NTNCWS         Groundwater                    6,500
  NJ    BARNEGAT LIGHT WATER DEP          NJ1501001    CWS            Groundwater                    4,148
  NJ    BARNEGAT TWP WATER SEWER          NJ1533001    CWS            Groundwater                   20,000
  NJ    BEACH HAVEN WATER DEPT            NJ1503001    CWS            Groundwater                   20,000
  NJ    BELLEVILLE WATER DEPT             NJ0701001    CWS            Surfacewater purchased        35,129

  NJ    BERKELEY TWP MUA                  NJ1505004    CWS            Groundwater                   11,235
  NJ    BLOOMFIELD WATER DEPARTMENT       NJ0702001    CWS            Surfacewater purchased        47,315

  NJ    BLOOMINGDALE WATER DEPT           NJ1601001    CWS            Surfacewater purchased         7,742

  NJ    BORDENTOWN WATER DEPARTM          NJ0303001    CWS            Groundwater                   15,821
  NJ    BRIGANTINE WATER DEPARTMENT       NJ0103001    CWS            Groundwater                   14,450
  NJ    BUENA BOROUGH MUA                 NJ0104003    CWS            Groundwater                    4,880
  NJ    CALDWELL WATER DEPT               NJ0703001    CWS            Surfacewater purchased         9,027

  NJ    CAPE MAY POINT BORO WATE          NJ0503001    CWS            Groundwater purchased          4,000




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Primacy              PWS Name                   PWSID       PWS Type      Primary Source        Population
Agency                                                                                            Served
 [State]
   NJ    CAPE MAY WATER & SEWER U             NJ0502001    CWS         Groundwater                  35,000
   NJ    CEDAR GROVE WATER DEPT               NJ0704001    CWS         Surfacewater purchased       12,900

  NJ    CITYOF BAYONNE                        NJ0901001    CWS         Surfacewater purchased       63,000

  NJ    CLEMENTON WATER DEPARTMENT            NJ0411001    CWS         Groundwater                   5,000
  NJ    EAST WINDSOR MUA                      NJ1101002    CWS         Groundwater                  25,000
  NJ    EGG HARBOR CITY WATER DEPT            NJ0107001    CWS         Groundwater                   4,900
  NJ    ELMWOOD PARK WATER DEPT               NJ0211001    CWS         Surfacewater purchased       20,374

  NJ    EVESHAM MUA                           NJ0313001    CWS         Surfacewater purchased       45,538

  NJ    FAIRFIELD WATER DEPT                  NJ0707001    CWS         Surfacewater purchased        7,400

  NJ    FRANKLIN TOWNSHIP DEPT OF PUBLIC      NJ1808001    CWS         Surfacewater purchased       56,300
        WORKS
  NJ    FREEHOLD BOROUGH WATER D              NJ1315001    CWS         Groundwater                  11,029
  NJ    FREEHOLD TWP WATER DEPT               NJ1316001    CWS         Surfacewater purchased       29,831

  NJ    GLEN RIDGE WATER DEPT                 NJ0708001    CWS         Surfacewater purchased        7,681

  NJ    HADDON TWP WATER DEPARTM              NJ0416001    CWS         Surfacewater purchased       11,938

  NJ    HARRISON W DEPT                       NJ0904001    CWS         Surfacewater purchased       14,425

  NJ    HARVEY CEDARS WATER DEPT              NJ1509001    CWS         Groundwater                   6,360
  NJ    HIGHLAND PARK W DEPT                  NJ1207001    CWS         Surfacewater purchased       14,000

  NJ    HIGHTSTOWN WATER DEPARTMENT           NJ1104001    CWS         Groundwater                   5,400
  NJ    HOBOKEN WATER UTILITY                 NJ0905001    CWS         Surfacewater purchased       52,000

  NJ    JACKSON PREMIUM OUTLETS               NJ1511415    NTNCWS      Groundwater                   9,263
  NJ    JACKSON TWP MUA                       NJ1511001    CWS         Groundwater                  35,424
  NJ    KEARNY WATER DEPARTMENT               NJ0907001    CWS         Surfacewater purchased       41,664

  NJ    LACEY TWP MUA                         NJ1512001    CWS         Groundwater                  29,000
  NJ    LAVALLETTE WATER DEPT                 NJ1515001    CWS         Groundwater                  25,000
  NJ    LINCOLN PARK WATER DEPT               NJ1416001    CWS         Surfacewater purchased       11,000

  NJ    LONG BEACH TWP BRANT BEA              NJ1517001    CWS         Groundwater                  25,295
  NJ    LONGPORT WATER DEPARTMENT             NJ0115001    CWS         Groundwater                  10,777
  NJ    LYNDHURST WATER DEPARTMENT            NJ0232001    CWS         Surfacewater purchased       20,500

  NJ    MANALAPAN TWP - KNOB HILL             NJ1326002    CWS         Surfacewater purchased        6,600

  NJ    MANASQUAN WATER DEPARTME              NJ1327001    CWS         Groundwater                  14,000
  NJ    MANCHESTER UTILITIES AUTHORITY        NJ1603001    CWS         Surfacewater purchased       12,000

  NJ    MARGATE CITY WATER DEPARTMENT         NJ0116001    CWS         Groundwater                  23,500



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Primacy              PWS Name                PWSID       PWS Type         Primary Source         Population
Agency                                                                                             Served
 [State]
   NJ    MEDFORD TWP DEPT OF MUNI          NJ0320001    CWS            Surfacewater purchased        17,272

  NJ    MILLTOWN W DEPT                    NJ1212001    CWS            Surfacewater purchased         7,000

  NJ    MINE HILL TWP WATER DEPT           NJ1420001    CWS            Groundwater purchased          4,300

  NJ    MOUNTAIN CREEK RESORT              NJ1922350    NTNCWS         Groundwater                    5,041
  NJ    MT OLIVE TWP W D VILLAGE           NJ1427007    CWS            Groundwater                    3,600
  NJ    NJ AMERICAN WATER - CAPE MAY       NJ0506010    CWS            Groundwater                    5,625
        COURT HOUSE
  NJ    NJ AMERICAN WATER - LIBERTY        NJ2004001    CWS            Surfacewater purchased       125,000

  NJ    NJ AMERICAN WATER - LITTLE FALLS   NJ1605001    CWS            Surfacewater purchased        11,247

  NJ    NJ AMERICAN WATER - SHORELANDS     NJ1339001    CWS            Surfacewater purchased        36,164

  NJ    NJ AMERICAN WATER - UNION BEACH    NJ1350001    CWS            Surfacewater purchased         6,000

  NJ    NORTH CALDWELL WATER DEP           NJ0715001    CWS            Surfacewater purchased         6,000

  NJ    NUTLEY WATER DEPT                  NJ0716001    CWS            Surfacewater purchased        29,500

  NJ    PASSAIC VALLEY WC LODI WD          NJ0231001    CWS            Surfacewater purchased        24,136

  NJ    PEMBERTON TWP DEPT MAIN            NJ0329004    CWS            Groundwater                   12,378
  NJ    PINE HILL BOROUGH MUA              NJ0428002    CWS            Surfacewater purchased        10,233

  NJ    PINELANDS WATER CO                 NJ0333001    CWS            Groundwater                    4,926
  NJ    PVWC-NORTH ARLINGTON               NJ0239001    CWS            Surfacewater purchased        15,392

  NJ    RANDOLPH TWP PUBLIC WORKS DEPT     NJ1432003    CWS            Groundwater purchased         14,820

  NJ    ROSELAND WATER DEPT                NJ0718001    CWS            Surfacewater purchased         5,300

  NJ    SADDLE BROOK WATER DEPT            NJ0257001    CWS            Surfacewater purchased        13,155

  NJ    SEA ISLE CITY WATER DEPARTMENT     NJ0509001    CWS             Groundwater                  15,800
  NJ    SEA THE FUTURE LEARNING CENTER     NJ0511901    System not
                                                        found in
                                                        SDWIS,
                                                        additional
                                                        search could
                                                        not find system
                                                        name.
  NJ    SEASIDE HEIGHTS WATER DE           NJ1526001    CWS             Groundwater                  20,000
  NJ    SEASIDE PARK WATER DEPT            NJ1527001    CWS             Groundwater                  15,000
  NJ    SHIP BOTTOM WATER DEPART           NJ1528001    CWS             Groundwater                  15,000
  NJ    SHORE WATER COMPANY                NJ1505003    CWS             Groundwater                   6,600
  NJ    SOUTH RIVER W DEPT                 NJ1223001    CWS             Surfacewater purchased       16,000




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Primacy              PWS Name                PWSID       PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
   NJ    STAFFORD TWP WATER - BEACH HAVEN NJ1530004     CWS         Groundwater                  28,863
         WEST
   NJ    STONE HARBOR WATER DEPT          NJ0510001     CWS         Groundwater                  30,850
   NJ    TOTOWA W DEPT                    NJ1612001     CWS         Surfacewater purchased       10,804

  NJ    TOWNSHIP OF WAYNE                  NJ1614001    CWS         Surfacewater purchased       55,000

  NJ    TUCKERTON WATER & SEWER DEPT       NJ1532002    CWS         Groundwater                   6,285
  NJ    VENTNOR CITY WATER & SEWER         NJ0122001    CWS         Groundwater                  22,150
        UTILITY
  NJ    WALMART                            NJ1910337    NTNCWS      Groundwater                   3,695
  NJ    WAWA #8308                         NJ0808319    NTNCWS      Groundwater                   3,552
  NJ    WAWA #974                          NJ0824314    NTNCWS      Groundwater                   3,646
  NJ    WEST CALDWELL WATER DEPARTMENT     NJ0721001    CWS         Surfacewater purchased       10,759

  NJ    WEST CAPE MAY WATER DEPT           NJ0512001    CWS         Groundwater purchased         4,600

  NJ    WILDWOOD CITY WATER DEPARTMENT     NJ0514001    CWS         Groundwater                 218,472

  NJ    WOODLAND PARK WATER DEPARTMENT NJ1616001        CWS         Surfacewater purchased        6,000

 NJ     WOODSTOWN WATER DEPARTMENT       NJ1715001      CWS         Groundwater                   4,455
 NM     ALTO LAKES WATER AND SANITATION  NM3558514      CWS         Groundwater                   3,406
        DISTRICT
 NM     ANTHONY W&SD                     NM3511207      CWS         Groundwater                   8,956
 NM     ARTESIA MUNICIPAL WATER SYSTEM   NM3520308      CWS         Groundwater                  12,843
 NM     AZTEC DOMESTIC WATER SYSTEM      NM3509824      CWS         Surfacewater                  5,960
 NM     BELEN WATER SYSTEM               NM3524932      CWS         Groundwater                   8,385
 NM     BERNALILLO WATER SYSTEM          NM3508923      CWS         Groundwater                   8,915
 NM     BERRENDO COOPERATIVE WUA         NM3552903      CWS         Groundwater                   5,126
 NM     BLOOMFIELD WATER SUPPLY SYSTEM   NM3510124      CWS         Surfacewater                  7,090
 NM     BOSQUE FARMS WATER SUPPLY SYSTEM NM3510732      CWS         Groundwater                   4,259

 NM     CAMINO REAL REGIONAL UTILITY       NM3502507    CWS         Groundwater                  17,826
        AUTHORITY
 NM     CARLSBAD MUNICIPAL WATER SYSTEM    NM3520608    CWS         Groundwater                  33,006

 NM     CITY OF RATON/RATON WATER WORKS    NM3526704    CWS         Surfacewater                  9,733

 NM     DEMING MUNICIPAL WATER SYSTEM     NM3528616     CWS         Groundwater                  16,236
 NM     ELDORADO AREA WATER AND           NM3537326     CWS         Groundwater                   7,082
        SANITATION DIST.
 NM     ENTRANOSA WATER AND WASTEWATER NM3524626        CWS         Groundwater                   8,500
        COOP
 NM     EPCOR WATER NEW MEXICO INC CLOVIS NM3527305     CWS         Groundwater                  42,976

 NM     EPCOR WATER NEW MEXICO INC.,       NM3500326    CWS         Groundwater                   4,700
        EDGEWOOD
 NM     ESPANOLA WATER SYSTEM              NM3501921    CWS         Groundwater                  12,012



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Primacy                    PWS Name                      PWSID       PWS Type      Primary Source        Population
Agency                                                                                                     Served
 [State]
  NM       EUNICE WATER SUPPLY SYSTEM                  NM3521513    CWS         Groundwater                   4,523
  NM       FARMINGTON WATER SYSTEM                     NM3510224    CWS         Surfacewater                 38,000
  NM       GALLUP WATER SYSTEM                         NM3508317    CWS         Groundwater                  21,253
  NM       GRANTS DOMESTIC WATER SYSTEM                NM3526133    CWS         Groundwater                   8,700
  NM       LAKE SECTION WATER COMPANY                  NM3529207    CWS         Groundwater                  13,083
  NM       LAS VEGAS (CITY OF)                         NM3518025    CWS         Surfacewater                 14,530
  NM       LEE HAMMOND WATER                           NM3500624    CWS         Surfacewater                  8,817
  NM       LOS ALAMOS MUNICIPAL WATER                  NM3500115    CWS         Groundwater                  25,000
           SYSTEM
  NM       LOS LUNAS WATER SYSTEM                      NM3525332    CWS         Groundwater                  19,400
  NM       LOVINGTON MUNICIPAL WATER SUPPLY            NM3521813    CWS         Groundwater                  13,539

  NM       LOWER RIO GRANDE PWWA SOUTH                 NM3502407    CWS         Groundwater                  11,178
           VALLEY
  NM       LOWER VALLEY WATER USERS                    NM3510324    CWS         Surfacewater                  7,615
           ASSOCIATION
  NM       MILAN COMMUNITY WATER SYSTEM                NM3525533    CWS         Groundwater                   3,669
  NM       MOONGATE WATER SYSTEM                       NM3572007    CWS         Groundwater                   8,554
  NM       MOONGATE WEST                               NM3501207    CWS         Groundwater                  10,708
  NM       MORNINGSTAR WATER SYSTEM                    NM3510524    CWS         Surfacewater purchased        6,423

  NM       NORTHSTAR MDWCA                             NM3520024    CWS         Surfacewater                  3,779
  NM       OTIS MDWCA                                  NM3521308    CWS         Groundwater                   4,592
  NM       RIO COMMUNITIES WATER SYSTEM                NM3524832    CWS         Groundwater                   5,374
  NM       RIO RANCHO WATER & WW SERVICES              NM3509623    CWS         Groundwater                  98,085
  NM       ROOSEVELT COUNTY WUA                        NM3562222    CWS         Groundwater purchased         4,680

  NM       ROSWELL MUNICIPAL WATER SYSTEM              NM3520203    CWS         Groundwater                  53,892
  NM       RUIDOSO WATER SYSTEM                        NM3513114    CWS         Surfacewater                 19,195
  NM       SANDIA PEAK UTILITY                         NM3562201    CWS         Groundwater                   6,079
  NM       SANTA FE COUNTY SOUTH SECTOR                NM3500826    CWS         Surfacewater purchased        7,000

  NM       SILVER CITY WATER SYSTEM                     NM3522609   CWS         Groundwater                  14,916
  NM       SOCORRO WATER SYSTEM                         NM3523728   CWS         Groundwater                  11,953
  NM       TAOS MUNICIPAL WATER SYSTEM                  NM3507529   CWS         Groundwater                   5,528
  NM       TRUTH OR CONSEQUENCES                        NM3514327   CWS         Groundwater                   7,640
  NM       TUCUMCARI WATER SYSTEM                       NM3528020   CWS         Groundwater                   7,124
  NM       UNIVERSITY ESTATES WATER SYSTEM              NM3512407   CWS         Groundwater                   4,815
           (LCU)
  NM       VILLAGE OF ANGEL FIRE                        NM3531904   CWS         Groundwater                   6,045
  NN       Chinle-Many Farms-Del Muerto NTUA            NN0400174   CWS         Groundwater                   9,539
  NN       Crownpoint-Littlewater-Three Mile Point NTUA NN3503039   CWS         Groundwater                   4,570

  NN       Dilkon-Indian Wells-Greasewood-White Cone   NN0400342    CWS         Groundwater                   5,372
           NTUA
  NN       Farmington Rural-Shiprock-Beclabito NTUA    NN3500245    CWS         Surfacewater purchased       17,910




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Primacy                   PWS Name                    PWSID      PWS Type      Primary Source        Population
Agency                                                                                                 Served
 [State]
   NN    Fort Defiance-Window Rock-St Michaels NTUA NN0403000   CWS         Groundwater                  14,700

  NN    Ganado-Burnside-Cornfield-Steamboat NTUA   NN0403001    CWS         Groundwater                   4,455

  NN    Kayenta NTUA                               NN0403003    CWS         Groundwater                   4,335
  NN    Mariano Lake-Pinedale-Church Rock NTUA     NN3500211    CWS         Groundwater                   5,265
  NN    Pinon-District 4 NTUA                      NN0403004    CWS         Groundwater                   6,029
  NN    Tuba City NTUA                             NN0400206    CWS         Groundwater                   7,142
  NV    BALLYS                                     NV0001162    NTNCWS      Surfacewater purchased        7,850

  NV    BELLAGIO RESORT AND CASINO                 NV0001117    NTNCWS      Surfacewater purchased       17,171

  NV    BIG BEND WATER DISTRICT                    NV0004092    CWS         Surfacewater                  9,000
  NV    BOULDER CITY                               NV0000011    CWS         Surfacewater purchased       15,000

  NV    CAESARS PALACE                             NV0001169    NTNCWS      Surfacewater purchased        6,372

  NV    CARSON CITY PUBLIC WORKS                   NV0000015    CWS         Surfacewater                 59,000
  NV    CARSON VALLEY WATER SYSTEM                 NV0002216    CWS         Groundwater                   6,152
  NV    CITY CENTER HOTELS                         NV0001106    NTNCWS      Surfacewater purchased       17,739

  NV    COSMOPOLITAN HOTEL                         NV0001137    NTNCWS      Surfacewater purchased        5,534

  NV    DAYTON VALLEY WATER SYSTEM                 NV0000032    CWS         Groundwater                  15,830
  NV    EDGEWOOD WATER COMPANY                     NV0000235    NTNCWS      Surfacewater                  3,800
  NV    ELY MUNICIPAL WATER DEPARTMENT             NV0000038    CWS         Groundwater                   5,000
  NV    EXCALIBUR RESORT AND CASINO                NV0001114    NTNCWS      Surfacewater purchased        8,977

  NV    FALLON CITY OF                             NV0000045    CWS         Groundwater                   9,184
  NV    FERNLEY PUBLIC WORKS                       NV0000062    CWS         Groundwater                  23,064
  NV    FLAMINGO LAS VEGAS HOTEL AND               NV0001175    NTNCWS      Surfacewater purchased        9,421
        CASINO
  NV    GARDNERVILLE RANCHOS GID                   NV0000066    CWS         Groundwater                  11,300
  NV    GARDNERVILLE WATER COMPANY                 NV0000065    CWS         Groundwater                   4,500
  NV    GRANDVIEW AT LAS VEGAS                     NV0001144    NTNCWS      Surfacewater purchased        5,750

  NV    GREAT BASIN WATER CO COLD SPRINGS NV0000207             CWS         Groundwater                   7,962

  NV    GREAT BASIN WATER CO SPRING CREEK NV0000036             CWS         Groundwater                   9,215

  NV    GREAT BASIN WATER CO SPRING CREEK NV0005027             CWS         Groundwater                   3,637
        MHP
  NV    GREAT BASIN WATER COMPANY         NV0000270             CWS         Groundwater                  11,077
  NV    HARRAHS LAS VEGAS                 NV0001171             NTNCWS      Surfacewater purchased        8,031

  NV    HARRAHS LAUGHLIN                           NV0001168    NTNCWS      Surfacewater purchased        3,351

  NV    HENDERSON CITY OF                          NV0000076    CWS         Surfacewater                321,781
  NV    INCLINE VILLAGE GID                        NV0000158    CWS         Surfacewater                  9,313


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Primacy                PWS Name               PWSID      PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
   NV    INDIAN HILLS GID                   NV0000355   CWS         Groundwater                   5,800
   NV    KINGSBURY GID                      NV0000004   CWS         Surfacewater                  3,839
   NV    LANDER CO SEWER AND WATER DIST 1   NV0000008   CWS         Groundwater                   3,635
         BM
   NV    LAS VEGAS VALLEY WATER DISTRICT    NV0000090   CWS         Surfacewater purchased     1,502,604

 NV    LINQ HOTEL AND CASINO                NV0001163   NTNCWS      Surfacewater purchased        5,172

 NV    LOVELOCK MEADOWS WATER DISTRICT NV0000161        CWS         Groundwater                   3,562

 NV    LUXOR RESORT AND CASINO              NV0001111   NTNCWS      Surfacewater purchased        9,796

 NV    M RESORT SPA AND CASINO              NV0001130   NTNCWS      Surfacewater purchased        3,550

 NV    MANDALAY BAY RESORT AND CASINO       NV0001119   NTNCWS      Surfacewater purchased       10,549

 NV    MGM GRAND HOTEL AND CASINO           NV0001121   NTNCWS      Surfacewater purchased       15,500

 NV    MIRAGE RESORT AND CASINO             NV0001120   NTNCWS      Surfacewater purchased        9,400

 NV    MOAPA VALLEY WATER DISTRICT          NV0000160   CWS         Groundwater                   8,500
 NV    MOUNTAIN FALLS WATER SYSTEM          NV0000920   CWS         Groundwater                   3,872
       GBWC
 NV    NEW YORK NEW YORK HOTEL AND          NV0001112   NTNCWS      Surfacewater purchased        7,000
       CASINO
 NV    NORTH LAS VEGAS UTILITIES            NV0000175   CWS         Surfacewater purchased      376,515

 NV    PARIS LAS VEGAS HOTEL AND CASINO     NV0001166   NTNCWS      Surfacewater purchased        8,178

 NV    PLANET HOLLYWOOD HOTEL AND           NV0001180   NTNCWS      Surfacewater purchased        6,509
       CASINO
 NV    PRIMM VALLEY CASINO RESORTS          NV0001073   CWS         Groundwater                   7,000
 NV    RESORTS WORLD LAS VEGAS              NV0001210   NTNCWS      Surfacewater purchased       11,250

 NV    RIO RESORT AND CASINO                NV0001167   NTNCWS      Surfacewater purchased        7,132

 NV    RIVERSIDE RESORT                     NV0001042   NTNCWS      Groundwater                   3,732
 NV    SUN VALLEY GID                       NV0000211   CWS         Surfacewater purchased       17,000

 NV    TOWN OF MINDEN                       NV0000168   CWS         Groundwater                   3,500
 NV    TRI GENERAL IMPROVEMENT DISTRICT     NV0000913   NTNCWS      Groundwater                  10,001
 NV    TROPICANA RESORT AND CASINO          NV0001059   NTNCWS      Surfacewater purchased        3,689

 NV    TRUCKEE MEADOWS WATER                NV0000190   CWS         Surfacewater                442,000
       AUTHORITY
 NV    VENETIAN PALAZZO                     NV0001165   NTNCWS      Surfacewater purchased       19,387

 NV    VIRGIN VALLEY WATER DISTRICT         NV0000167   CWS         Groundwater                  26,000
 NV    WEST WENDOVER WATER SYSTEM           NV0000246   CWS         Groundwater                   4,535
 NV    WINNEMUCCA CITY OF                   NV0000248   CWS         Groundwater                   8,066



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Primacy             PWS Name                PWSID       PWS Type         Primary Source         Population
Agency                                                                                            Served
 [State]
   NV    WYNN RESORTS                     NV0001141    NTNCWS         Surfacewater purchased         9,416

 NV    YERINGTON CITY OF                  NV0000255    CWS             Groundwater                   5,050
 NY    2727 ROUTE 94                      NY3530168    System not
                                                       found in
                                                       SDWIS,
                                                       additional
                                                       search could
                                                       not find system
                                                       name.
 NY    ALBANY CITY                        NY0100189    CWS             Surfacewater                 98,000
 NY    ANGOLA VILLAGE                     NY1400411    CWS             Surfacewater purchased        4,050

 NY    AUBURN                             NY0501710    CWS            Surfacewater                  27,179
 NY    BATAVIA CITY                       NY1800544    CWS            Surfacewater                  15,475
 NY    BATAVIA CONSOLIDATED W.D.          NY1800554    CWS            Surfacewater purchased         6,159

 NY    BAYVILLE (V)                       NY2902816    CWS            Groundwater                    6,700
 NY    BRIARCLIFF MANOR VILLAGE           NY5903420    CWS            Surfacewater purchased         9,190

 NY    BROCKPORT VILLAGE                  NY2701039    CWS            Surfacewater purchased        22,200

 NY    BRUNSWICK CONSOLIDATED WATER       NY4110144    CWS            Surfacewater purchased         7,050
       DISTRICT
 NY    CAMBRIA WATER DISTRICT             NY3100557    CWS            Surfacewater purchased         5,839

 NY    CANANDAIGUA CITY                   NY3401150    CWS            Surfacewater                  11,264
 NY    CANANDAIGUA TOWN CONS. WD          NY3430008    CWS            Surfacewater purchased         6,607

 NY    CANANDAIGUA-FARMINGTON             NY3401151    CWS            Surfacewater purchased        13,000
       CONSOLIDATED W.D.
 NY    CANTON VILLAGE                     NY4404381    CWS             Groundwater                   7,055
 NY    CARTHAGE VILLAGE                   NY2202334    CWS             Surfacewater                  3,600
 NY    CAZENOVIA VILLAGE                  NY2602371    CWS             Groundwater                   3,635
 NY    CHATWAL LODGE AT CHAPIN ESTATES    NY5230260    System not
                                                       found in
                                                       SDWIS,
                                                       additional
                                                       search could
                                                       not find system
                                                       name.
 NY    CHAUTAUQUA UTILITY DISTRICT        NY0600381    CWS             Surfacewater                  9,000
 NY    CLAY WDS                           NY3304344    CWS             Surfacewater purchased       16,000

 NY    COLONIE VILLAGE                    NY0100194    CWS            Surfacewater purchased         8,030

 NY    CORNELL UNIVERSITY                 NY5417686    CWS            Surfacewater                  31,581
 NY    CORTLAND (C)                       NY1101754    CWS            Groundwater                   20,095
 NY    CORTLANDT CONSOLIDATED WD          NY5903423    CWS            Surfacewater purchased        28,369



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Primacy                     PWS Name                   PWSID       PWS Type         Primary Source         Population
Agency                                                                                                       Served
 [State]
   NY      CORTLANDVILLE TOWN WATER                  NY1101755    CWS            Groundwater                    4,300
   NY      COXSACKIE VILLAGE                         NY1900027    CWS            Surfacewater                   4,010
   NY      DANSVILLE VILLAGE                         NY2501015    CWS            Surfacewater                   8,900
   NY      DEWITT WDS - NORTH                        NY3316112    CWS            Surfacewater purchased        13,600

  NY       DEWITT WDS - SOUTH                        NY3304343    CWS            Surfacewater purchased        16,200

  NY       DUNKIRK CITY                              NY0600360    CWS            Surfacewater                  11,848
  NY       EAST AURORA VILLAGE                       NY1400433    CWS            Surfacewater purchased         6,610

  NY       EAST GREENBUSH GENERAL W.D.               NY4100051    CWS            Surfacewater purchased        15,843

  NY       ECWA AMHERST                              NY1400399    CWS            Surfacewater purchased        80,228

  NY       ECWA BOSTON                               NY1421897    CWS            Surfacewater purchased         6,604

  NY       ECWA DIRECT                               NY1400443    CWS            Surfacewater                 335,000
  NY       ECWA HAMBURG (T)                          NY1400488    CWS            Surfacewater purchased        11,314

  NY       ECWA HAMBURG (V)                          NY1400515    CWS            Surfacewater purchased        41,538

  NY       ECWA LANCASTER                            NY1400421    CWS            Surfacewater purchased        21,428

  NY       ECWA NEWSTEAD                             NY1422651    CWS            Surfacewater purchased         5,319

  NY       ECWA ORCHARD PARK                         NY1421762    CWS            Surfacewater purchased        23,387

  NY       ECWA WEST SENECA                          NY1404543    CWS            Surfacewater purchased        23,181

  NY       ELLENVILLE (VILLAGE) WATER DIS            NY5503366    CWS            Groundwater                    4,300
  NY       ELMA WATER DISTRICT NO. 1                 NY1420549    CWS            Surfacewater purchased        10,287

  NY       ELMSFORD VILLAGE                          NY5903427    CWS            Surfacewater purchased         4,600

  NY       Experimental Aviation Assoc.              NY0730034    System not
                                                                  found in
                                                                  SDWIS,
                                                                  additional
                                                                  search could
                                                                  not find system
                                                                  name.
  NY       FREDONIA VILLAGE                          NY0600364    CWS             Surfacewater                 10,400
  NY       FREEPORT (V)                              NY2902823    CWS             Groundwater                  45,000
  NY       GENESEO VILLAGE                           NY2501017    CWS             Surfacewater                  8,000
  NY       GENEVA CITY                               NY3401156    CWS             Surfacewater                 13,334
  NY       GLASCO WATER DISTRICT                     NY5503367    CWS             Surfacewater purchased        4,071

  NY       GLOVERSVILLE (C) WATER WORKS              NY1700018    CWS            Surfacewater                  17,991
  NY       GORHAM TOWN WD                            NY3401170    CWS            Surfacewater                   3,420
  NY       GOUVERNEUR                                NY4404385    CWS            Surfacewater                   4,263


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Primacy              PWS Name                PWSID       PWS Type         Primary Source         Population
Agency                                                                                             Served
 [State]
   NY    GREENBURGH CONSOLIDATED WD #1     NY5903429    CWS            Surfacewater purchased        39,993

 NY    HARTLAND WD                         NY3100588    CWS            Surfacewater purchased         4,117

 NY    HILTON VILLAGE                      NY2701045    CWS            Surfacewater purchased         5,856

 NY    HOMER VILLAGE-NEWTON WATER          NY1101757    CWS            Groundwater                    4,368
       WORKS
 NY    HOPEWELL CONS WD 1                  NY3411948    CWS            Surfacewater purchased         3,781

 NY    HORSEHEADS VILLAGE                  NY0701009    CWS            Groundwater under             15,000
                                                                       influence of
                                                                       surfacewater
 NY    HUDSON FALLS VILLAGE (QUEENSBURY) NY5700123      CWS            Surfacewater purchased         7,000

 NY    ICE HOUSE APARTMENTS                NY3530316    System not
                                                        found in
                                                        SDWIS,
                                                        additional
                                                        search could
                                                        not find system
                                                        name.
 NY    ILION (V) WATER WORKS               NY2102307    CWS             Surfacewater                  8,053
 NY    IRVINGTON WATER SUPPLY              NY5903432    CWS             Surfacewater purchased        6,631

 NY    ITHACA CITY                         NY5404416    CWS            Surfacewater                  29,457
 NY    ITHACA TOWN WD                      NY5404419    CWS            Surfacewater purchased        13,000

 NY    JAMESTOWN BPU                       NY0600366    CWS            Groundwater                   46,712
 NY    JOHNSTOWN (C) WATER WORKS           NY1700019    CWS            Surfacewater                   8,154
 NY    KENMORE VILLAGE                     NY1410142    CWS            Surfacewater purchased        15,423

 NY    KENSICO WATER DISTRICT              NY5930082    CWS            Surfacewater purchased        17,917

 NY    KINGSBURY WD (QUEENSBURY)           NY5722361    CWS            Surfacewater purchased         4,500

 NY    KINGSTON (CITY) WATER DISTRICT      NY5503374    CWS            Surfacewater                  24,000
 NY    LAKE PLACID V                       NY1500284    CWS            Surfacewater                   5,000
 NY    LARCHMONT VILLAGE                   NY5903433    CWS            Surfacewater purchased         6,485

 NY    LCWSA CONSOLIDATED WATER            NY2501019    CWS            Surfacewater purchased         9,892
       DISTRICT
 NY    LEGOLAND NEW YORK                   NY3530326    NTNCWS         Surfacewater purchased        16,000

 NY    LEWISTON WATER IMPROVEMENTAREA NY3100561         CWS            Surfacewater purchased        16,257

 NY    LITTLE FALLS CITY                   NY2102308    CWS            Surfacewater                   4,946
 NY    LOCKPORT CITY WTP                   NY3100564    CWS            Surfacewater                  21,165
 NY    LOCKPORT WD#3                       NY3100563    CWS            Surfacewater purchased        20,529




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Primacy               PWS Name               PWSID       PWS Type         Primary Source         Population
Agency                                                                                             Served
 [State]
   NY    LONG BEACH CITY                   NY2902834    CWS            Groundwater                   35,000
   NY    LOWVILLE VILLAGE                  NY2402365    CWS            Surfacewater                   4,000
   NY    MCWA - VWB                        NY3404515    CWS            Surfacewater purchased         8,532

 NY    MCWA GENESEE                        NY1800547    CWS            Surfacewater purchased        13,600

 NY    MEDINA VILLAGE                      NY3600600    CWS            Surfacewater purchased         6,500

 NY    MENANDS VILLAGE                     NY0100200    CWS            Surfacewater purchased         4,500

 NY    MIDDLETOWN CITY                    NY3503534     CWS            Surfacewater                  30,000
 NY    MINISINK VALLEY SCHOOL DIST. WATER NY3522798     NTNCWS         Groundwater                    3,400
       LOOP
 NY    MOUNT VERNON WATER DEPARTMENT NY5903441          CWS            Surfacewater purchased        73,893

 NY    MVWA - MOHAWK VALLEY WATER          NY3202411    CWS            Surfacewater                 126,250
       AUTHORITY
 NY    NEW LEBANON SUMMER YOUTH            NY1030183    System not
       PROGRAM                                          found in
                                                        SDWIS,
                                                        additional
                                                        search could
                                                        not find system
                                                        name.
 NY    NEWARK VILLAGE                      NY5801232    CWS             Surfacewater                  9,142
 NY    NEWFANE WD NO1,2,3 CONSOL           NY3100573    CWS             Surfacewater purchased        9,666

 NY    NEWFANE WD#4                        NY3100595    CWS            Surfacewater purchased         6,180

 NY    NIAGARA FALLS WATER BOARD           NY3100568    CWS            Surfacewater                  50,193
 NY    NIAGARA WATER IMPROVEMENT AREA      NY3100571    CWS            Surfacewater purchased         8,100

 NY    NORTH CHAUTAUQUA COUNTY WATER       NY0630144    CWS            Unknown                        6,200
       DISTRICT
 NY    NORTH GREENBUSH CONSOLIDATED        NY4130243    CWS            Surfacewater purchased        10,226
       DISTRICT
 NY    NORWICH CITY                        NY0801745    CWS             Surfacewater                  8,000
 NY    OCEAN BEACH WATER DISTRICT          NY5103280    CWS             Groundwater                   4,500
 NY    OLD WEST VILLAGE                    NY4130316    System not
                                                        found in
                                                        SDWIS,
                                                        additional
                                                        search could
                                                        not find system
                                                        name.
 NY    ONEIDA CITY                         NY2602381    CWS             Surfacewater                 11,393
 NY    ONEONTA CITY                        NY3800154    CWS             Surfacewater                 15,779




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Primacy              PWS Name                PWSID       PWS Type         Primary Source         Population
Agency                                                                                             Served
 [State]
   NY    ORGANIC WORLD                     NY5230262    System not
                                                        found in
                                                        SDWIS,
                                                        additional
                                                        search could
                                                        not find system
                                                        name.
 NY    PALMYRA VILLAGE                     NY5801235    CWS             Surfacewater                  3,580
 NY    PENDLETON TOWN WD                   NY3100574    CWS             Surfacewater purchased        6,050

 NY    PENN YAN VILLAGE                    NY6101263    CWS             Surfacewater                  5,248
 NY    PERRY VILLAGE                       NY6000613    CWS             Surfacewater                  3,673
 NY    PETERSBURGH APARTMENTS              NY4130367    System not
                                                        found in
                                                        SDWIS,
                                                        additional
                                                        search could
                                                        not find system
                                                        name.
 NY    PINE BUSH WATER DISTRICT            NY3503553    CWS             Groundwater                   7,600
 NY    PLEASANTVILLE WATER DISTRICT        NY5903455    CWS             Surfacewater purchased        9,500

 NY    PORTER MASTER IMPROVEMENT AREA      NY3100577    CWS            Surfacewater purchased         6,920

 NY    POTSDAM VILLAGE                     NY4404397    CWS            Surfacewater                   8,312
 NY    POUGHKEEPSIE CITY                   NY1330291    CWS            Surfacewater purchased        30,639

 NY    QUEENSBURY WATER DISTRICT           NY5600114    CWS            Surfacewater                  21,200
 NY    RAVENA VILLAGE                      NY0100201    CWS            Surfacewater                   4,500
 NY    RICHLAND TOWN PWS                   NY3730165    CWS            Groundwater                    3,950
 NY    ROCHESTER CITY                      NY2704518    CWS            Surfacewater                 214,000
 NY    ROCKVILLE CENTRE (V)                NY2902848    CWS            Groundwater                   24,700
 NY    ROME CITY                           NY3202405    CWS            Surfacewater                  32,850
 NY    ROYALTON TOWNWIDE WATER DIST.       NY3100580    CWS            Surfacewater purchased         7,710

 NY    SALAMANCA CITY                      NY0400349    CWS            Groundwater                    5,815
 NY    SARANAC LAKE V                      NY1600011    CWS            Groundwater                    5,345
 NY    SAUGERTIES (VILLAGE) WATER DIS      NY5503386    CWS            Surfacewater                   4,200
 NY    SCARSDALE WATER DEPARTMENT          NY5903457    CWS            Surfacewater purchased        21,649

 NY    SCRIBA WD (OSWEGO)                  NY3730037    CWS            Surfacewater purchased         9,044

 NY    SEA BREEZE WD                       NY2701118    CWS            Surfacewater purchased         9,900




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Primacy                   PWS Name                PWSID       PWS Type         Primary Source         Population
Agency                                                                                                  Served
 [State]
   NY    Shady Acres Apartments                 NY3290079    System not
                                                             found in
                                                             SDWIS,
                                                             additional
                                                             search could
                                                             not find system
                                                             name.
  NY    SKANEATELES WDS                         NY3304347    CWS             Surfacewater purchased        3,500

  NY    SLEEPY HOLLOW (VILLAGE)                 NY5903450    CWS            Surfacewater purchased         9,870

  NY    SMITHTOWN WATER DISTRICT                NY5105656    CWS            Groundwater purchased         19,635

  NY    SOMERS CONSOLIDATED WATER               NY5903426    CWS            Surfacewater purchased         3,848
        DISTRICT #1
  NY    SOUTH HUNTINGTON WATER DISTRICT         NY5103263    CWS            Groundwater                   81,760
  NY    SPRINGVILLE VILLAGE                     NY1400539    CWS            Groundwater                    4,266
  NY    ST JAMES WATER DISTRICT                 NY5103266    CWS            Groundwater purchased         10,587

  NY    SYRACUSE CITY                           NY3304334    CWS            Surfacewater                 192,000
  NY    TARRYTOWN WATER SUPPLY                  NY5903461    CWS            Surfacewater purchased        11,000

  NY    The Little Farm Bakery                  NY4905953    System not
                                                             found in
                                                             SDWIS,
                                                             additional
                                                             search could
                                                             not find system
                                                             name.
  NY    TIOGA DOWNS                             NY5330037    NTNCWS          Groundwater                   5,750
  NY    TROY CITY PWS                           NY4100050    CWS             Surfacewater                 51,401
  NY    TUPPER LAKE V                           NY1600012    CWS             Surfacewater                  5,500
  NY    ULSTER WATER DISTRICT                   NY5503390    CWS             Surfacewater purchased        5,500

  NY    VEOLIA WATER NEW YORK, INC. RD-1        NY5903444    CWS            Surfacewater purchased       155,219

  NY    VEOLIA WATER NEW YORK, INC. RD-2        NY5903456    CWS            Surfacewater purchased        57,301

  NY    WARRENSBURG WATER DISTRICT      NY5600112            CWS            Groundwater                    4,100
  NY    WARSAW VILLAGE                  NY6000618            CWS            Surfacewater                   3,850
  NY    WATERFORD WATER WORKS (PURCHASE NY4500173            CWS            Surfacewater purchased         9,800
        TROY)
  NY    WATERTOWN CITY                  NY2202346            CWS            Surfacewater                  27,861
  NY    WELLSVILLE VILLAGE PUBLIC WATER NY0200327            CWS            Surfacewater                   5,700
  NY    WESTCHESTER COUNTY WD #3        NY5903482            CWS            Surfacewater purchased         6,000

  NY    WESTCHESTER JOINT WATER WORKS           NY5903435    CWS            Surfacewater                  59,629
  NY    WHEATFIELD WD                           NY3100585    CWS            Surfacewater purchased        18,117




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Primacy               PWS Name                 PWSID       PWS Type         Primary Source         Population
Agency                                                                                               Served
 [State]
   NY    WHITE PLAINS CITY                   NY5903464    CWS            Surfacewater purchased        59,559

 NY    WILSON TOWN WATER DISTRICT            NY3100587    CWS            Surfacewater purchased         5,993

 NY    World Mission Church                  NY3517324    System not
                                                          found in
                                                          SDWIS,
                                                          additional
                                                          search could
                                                          not find system
                                                          name.
 NY    YONKERS CITY                          NY5903465    CWS             Surfacewater purchased      196,086

 OH    ADA VILLAGE                           OH3300012    CWS            Groundwater                    5,952
 OH    ADAMS COUNTY REGIONAL WD PWS          OH0100012    CWS            Groundwater                   21,810
 OH    AKRON CITY PWS                        OH7700011    CWS            Surfacewater                 280,000
 OH    ALLIANCE CITY PWS                     OH7600011    CWS            Surfacewater                  22,232
 OH    AMHERST CITY PWS                      OH4700003    CWS            Surfacewater purchased        11,797

 OH    ANDOVER-CAMPLANDS WATER               OH0400212    CWS            Groundwater                    6,009
 OH    AQUA OHIO - ASHTABULA                 OH0400711    CWS            Surfacewater                  39,838
 OH    AQUA OHIO - BLACKLICK                 OH2502412    CWS            Groundwater                    7,100
 OH    AQUA OHIO - HUBER RIDGE PWS           OH2502512    CWS            Groundwater                    6,950
 OH    AQUA OHIO - LAKE DARBY                OH2502612    CWS            Groundwater                    7,341
 OH    AQUA OHIO - LAWRENCE COUNTY           OH4400803    CWS            Surfacewater purchased         8,130

 OH    AQUA OHIO - MARION                    OH5100414    CWS            Surfacewater                  46,317
 OH    AQUA OHIO - MASSILLON PWS             OH7604512    CWS            Groundwater                   95,636
 OH    AQUA OHIO - MASURY                    OH7802711    CWS            Surfacewater purchased         4,016

 OH    AQUA OHIO - MENTOR                    OH4301511    CWS            Surfacewater                  74,500
 OH    AQUA OHIO - TIFFIN                    OH7400614    CWS            Surfacewater                  20,035
 OH    ARCHBOLD VILLAGE                      OH2600011    CWS            Surfacewater                   5,586
 OH    ASHLAND CITY                          OH0300112    CWS            Groundwater                   20,648
 OH    ASHTABULA COUNTY WATER SYSTEM         OH0400803    CWS            Surfacewater purchased        13,972

 OH    ASHVILLE VILLAGE PWS                  OH6500012    CWS            Groundwater                    4,298
 OH    ATHENS PWS                            OH0500212    CWS            Groundwater                   32,725
 OH    AURORA CITY - CLEVELAND PWS           OH6789112    CWS            Surfacewater purchased        15,852

 OH    AVON CITY PWS                         OH4700203    CWS            Surfacewater purchased        23,800

 OH    AVON LAKE CITY PWS                    OH4700311    CWS            Surfacewater                  23,659
 OH    BARBERTON CITY                        OH7700411    CWS            Surfacewater                  28,500
 OH    BEDFORD CITY PWS                      OH1800003    CWS            Surfacewater purchased        13,074

 OH    BELLAIRE PUBLIC WATER SYSTEM          OH0700114    CWS            Surfacewater                   4,278
 OH    BELLEFONTAINE CITY PWS                OH4600112    CWS            Groundwater                   13,249


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Primacy               PWS Name                PWSID       PWS Type      Primary Source        Population
Agency                                                                                          Served
 [State]
   OH    BELLEVUE CITY                      OH3900011    CWS         Surfacewater                  8,249
   OH    BELMONT CO. SANITARY DISTRICT 3    OH0700412    CWS         Groundwater                  26,045
         PWS
   OH    BETHEL VILLAGE PWS                 OH1300116    CWS         Groundwater purchased         3,900

 OH    BEXLEY CITY PWS                      OH2500103    CWS         Surfacewater purchased       14,250

 OH    BLANCHESTER VILLAGE PWS              OH1400111    CWS         Surfacewater                  4,243
 OH    BLUFFTON VILLAGE                     OH0200112    CWS         Surfacewater purchased        4,125

 OH    BROOKVILLE MUNICIPALITY PWS          OH5700203    CWS         Surfacewater purchased        6,009

 OH    BRYAN CITY                           OH8600012    CWS         Groundwater                   8,729
 OH    BUCKEYE WATER DISTRICT - OHIO        OH1502911    CWS         Surfacewater                 10,300
       RIVER
 OH    BUCYRUS CITY                         OH1700011    CWS         Surfacewater                 12,570
 OH    BUTLER CO. WATER DISTRICT 2 PWS      OH0900303    CWS         Surfacewater purchased      113,495

 OH    BYESVILLE                            OH3001212    CWS         Groundwater under             5,104
                                                                     influence of
                                                                     surfacewater
 OH    CADIZ VILLAGE PWS                    OH3400214    CWS         Surfacewater                  3,353
 OH    CANAL FULTON CITY PWS                OH7600912    CWS         Groundwater                   5,323
 OH    CANAL WINCHESTER CITY PWS            OH2500312    CWS         Groundwater                   9,286
 OH    CANFIELD CITY PWS                    OH5000503    CWS         Surfacewater purchased        7,423

 OH    CANTON PUBLIC WATER SYSTEM           OH7608112    CWS         Groundwater                 107,500
 OH    CAREY VILLAGE                        OH8800012    CWS         Groundwater                   3,674
 OH    CEDARVILLE UNIVERSITY                OH2903612    CWS         Groundwater                   4,000
 OH    CELINA CITY                          OH5400011    CWS         Surfacewater                 11,682
 OH    CHAGRIN FALLS VILLAGE PWS            OH1800212    CWS         Surfacewater purchased        4,991

 OH    CHARDON CITY PWS                 OH2800412        CWS         Groundwater                   5,159
 OH    CHILLICOTHE CITY PWS             OH7100112        CWS         Groundwater                  21,725
 OH    CINCINNATI PUBLIC WATER SYSTEM   OH3102612        CWS         Surfacewater                750,200
 OH    CIRCLEVILLE CITY PWS             OH6500412        CWS         Groundwater                  13,965
 OH    CITY OF HEATH PWS                OH4500912        CWS         Groundwater                  10,310
 OH    CLARK COUNTY GREEN MEADOWS 2 PWS OH1200703        CWS         Groundwater purchased         3,927

 OH    CLARK COUNTY NORTHRIDGE PWS          OH1201003    CWS         Groundwater purchased         9,800

 OH    CLARK COUNTY PARK LAYNE PWS          OH1201112    CWS         Groundwater                    4,100
 OH    CLERMONT PUBLIC WATER SYSTEM         OH1302212    CWS         Surfacewater                 133,059
 OH    CLEVELAND PUBLIC WATER SYSTEM        OH1801212    CWS         Surfacewater               1,308,955
 OH    CLEVES VILLAGE PWS                   OH3100512    CWS         Groundwater                    6,000
 OH    CLYDE CITY                           OH7200211    CWS         Surfacewater                   6,325
 OH    COLDWATER VILLAGE                    OH5400112    CWS         Groundwater                    4,427
 OH    COLUMBIANA CITY PWS                  OH1500312    CWS         Groundwater                    6,750


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Primacy                 PWS Name                 PWSID       PWS Type      Primary Source        Population
Agency                                                                                             Served
 [State]
   OH      COLUMBUS PUBLIC WATER SYSTEM        OH2504412    CWS         Surfacewater               1,252,018
   OH      COMMERCIAL POINT VILLAGE            OH6503512    CWS         Groundwater                    3,497
   OH      CONNEAUT                            OH0400411    CWS         Surfacewater                  12,567
   OH      CORTLAND CITY PWS                   OH7800512    CWS         Groundwater                    7,104
   OH      COSHOCTON PWS                       OH1600012    CWS         Groundwater                   13,537
   OH      CRESTLINE VILLAGE                   OH1700112    CWS         Groundwater                    4,630
   OH      CUYAHOGA FALLS CITY PWS             OH7701012    CWS         Groundwater                   49,652
   OH      DEFIANCE CITY                       OH2000111    CWS         Surfacewater                  16,494
   OH      DELAWARE CITY PWS                   OH2100311    CWS         Surfacewater                  44,740
   OH      DEL-CO WATER COMPANY, INC.          OH2101412    CWS         Surfacewater                 150,000
   OH      DELPHOS CITY                        OH0200412    CWS         Surfacewater                   7,101
   OH      DELTA VILLAGE                       OH2600311    CWS         Surfacewater                   3,518
   OH      DOVER CITY PWS                      OH7900412    CWS         Groundwater                   13,253
   OH      EARNHART HILL WATER DISTRICT PWS    OH6500812    CWS         Groundwater                   10,057
   OH      EAST LIVERPOOL CITY                 OH1500811    CWS         Surfacewater                  12,586
   OH      EAST PALESTINE VILLAGE PWS          OH1500912    CWS         Groundwater                    4,721
   OH      EATON PUBLIC WATER SYSTEM           OH6801612    CWS         Groundwater                    8,400
   OH      ELIDA VILLAGE                       OH0200503    CWS         Surfacewater purchased         3,850

  OH       ELYRIA WATER DEPARTMENT             OH4700411    CWS         Surfacewater                 68,000
  OH       ENGLEWOOD CITY PWS                  OH5700812    CWS         Groundwater                  13,463
  OH       ERIE CO MARGARETTA DISTRICT         OH2200203    CWS         Surfacewater purchased        5,131

  OH       ERIE CO PERKINS DISTRICT            OH2200603    CWS         Surfacewater purchased       17,241

  OH       FAIRFIELD CITY PWS                  OH0900715    CWS         Groundwater                  44,907
  OH       FAIRFIELD COUNTY UTILITIES PWS      OH2301912    CWS         Groundwater                  15,486
  OH       FELICITY VILLAGE PWS                OH1300612    CWS         Groundwater                   3,700
  OH       FINDLAY CITY                        OH3200111    CWS         Surfacewater                 54,040
  OH       FOSTORIA CITY                       OH7400411    CWS         Surfacewater                 13,441
  OH       FRANKLIN PUBLIC WATER SYSTEM        OH8300412    CWS         Groundwater                  17,175
  OH       FREMONT CITY                        OH7200311    CWS         Surfacewater                 18,319
  OH       GAHANNA CITY PWS                    OH2501303    CWS         Surfacewater purchased       33,258

  OH       GALION CITY                         OH1700211    CWS         Surfacewater                 10,089
  OH       GENEVA CITY PWS                     OH0401712    CWS         Surfacewater purchased        5,924

  OH       GEORGETOWN VILLAGE PWS              OH0800503    CWS         Groundwater purchased         4,243

  OH       GERMANTOWN CITY PWS                 OH5701012    CWS         Groundwater                   5,796
  OH       GIRARD CITY PWS                     OH7801103    CWS         Surfacewater purchased       15,860

  OH       GRANVILLE, VILLAGE OF               OH4500612    CWS         Groundwater                   5,946
  OH       GREENE CO.-NORTHWEST REG WATER      OH2903512    CWS         Groundwater                  36,855
  OH       GREENE COUNTY EASTERN REGIONAL      OH2906103    CWS         Groundwater purchased         4,800
           PWS



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Primacy               PWS Name               PWSID       PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
   OH    GREENFIELD VILLAGE PWS            OH3600312    CWS         Groundwater                   4,600
   OH    GREENVILLE CITY PWS               OH1900714    CWS         Surfacewater                 13,227
   OH    GUERNSEY CO. WATER DEPT.          OH3000603    CWS         Surfacewater purchased        8,891

 OH    HAMILTON PUBLIC WATER SYSTEM        OH0904012    CWS         Groundwater                  62,447
 OH    HARRISON CITY PWS                   OH3100812    CWS         Groundwater                  11,400
 OH    HDMA - BENTON RD PWS                OH8035512    NTNCWS      Groundwater                   7,600
 OH    HECLA WATER ASSOCIATION-PLANT       OH4401612    CWS         Surfacewater purchased       34,942
       PWS
 OH    HICKSVILLE VILLAGE                  OH2000212    CWS         Groundwater                   3,600
 OH    HIGHLAND COUNTY WATER COMPANY,      OH3600514    CWS         Groundwater                  28,421
       INC.
 OH    HILLSBORO CITY                      OH3600614    CWS         Surfacewater                  6,650
 OH    HOLLYWOOD GAMING @ MVRC             OH5055013    NTNCWS      Groundwater                   7,625
 OH    HONDA DMA ANNA ENGINE PLANT         OH7537812    NTNCWS      Groundwater                   3,400
 OH    HONDA DMA EAST LIBERTY WTP          OH4643512    NTNCWS      Groundwater                   3,500
 OH    HUBBARD CITY PWS                    OH7801415    CWS         Surfacewater purchased        8,606

 OH    HUBER HEIGHTS PUBLIC WATER SYSTEM OH5703612      CWS         Groundwater                  43,439

 OH    HUDSON CITY PWS                     OH7701612    CWS         Groundwater                   8,385
 OH    HURON CITY                          OH2201011    CWS         Surfacewater                  6,893
 OH    I-71 AND SR-35 PWS                  OH2437412    CWS         Groundwater                   6,685
 OH    JACKSON CO. WATER COMPANY-WTP       OH4002012    CWS         Groundwater                  15,903
 OH    JACKSON, CITY OF                    OH4000111    CWS         Surfacewater                  9,691
 OH    JACKSON/MILTON METRO WATER          OH5054212    CWS         Surfacewater purchased        3,887
       DISTRICT PWS
 OH    JEFFERSON CO W AND S DISTRICT - M   OH4101103    CWS         Surfacewater purchased       13,983

 OH    JEFFERSON CO W AND S DISTRICT- A    OH4100803    CWS         Groundwater purchased         4,018

 OH    JEFFERSON REGIONAL WATER            OH5703012    CWS         Groundwater                   4,750
       AUTHORITY
 OH    JEFFERSON WATER AND SEWER           OH2504012    CWS         Groundwater                  11,294
       DISTRICT PWS
 OH    JOHNSTOWN VILLAGE PWS               OH4501512    CWS         Groundwater                   4,900
 OH    KENT CITY PWS                       OH6701812    CWS         Groundwater                  29,662
 OH    KENTON CITY                         OH3300612    CWS         Groundwater                   8,360
 OH    KNOX COUNTY WATER AND               OH4202012    CWS         Groundwater                   7,710
       WASTEWATER PWS
 OH    LAKE COUNTY EAST WATER              OH4302911    CWS         Surfacewater                 40,656
       SUBDISTRICT
 OH    LAKE COUNTY WEST WATER              OH4302411    CWS         Surfacewater                 78,379
       SUBDISTRICT
 OH    LAKEWOOD CITY PWS                   OH1801003    CWS         Surfacewater purchased       52,131

 OH    LANCASTER CITY PWS                  OH2301012    CWS         Groundwater                  40,400




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Primacy               PWS Name               PWSID        PWS Type      Primary Source        Population
Agency                                                                                          Served
 [State]
   OH    LEADING CREEK CONSERVANCY         OH5300012     CWS         Groundwater                   6,194
         DISTRICT
   OH    LE-AX REGIONAL WATER DISTRICT PWS OH0501111     CWS         Groundwater                  19,311

 OH    LEBANON CITY                         OH8304112    CWS         Surfacewater purchased       20,700

 OH    LEXINGTON VILLAGE                    OH7002212    CWS         Groundwater                   4,320
 OH    LOCKLAND VILLAGE PWS                 OH3101212    CWS         Groundwater                   3,407
 OH    LOGAN, CITY OF                       OH3700612    CWS         Groundwater                   6,704
 OH    LONDON CITY PWS                      OH4900712    CWS         Groundwater                   9,394
 OH    LORAIN CITY PWS                      OH4700711    CWS         Surfacewater                 64,152
 OH    LORDSTOWN VILLAGE PWS                OH7804403    CWS         Surfacewater purchased        3,600

 OH    LOUISVILLE CITY PWS               OH7603012       CWS         Groundwater                   9,186
 OH    MADISON COUNTY SSWD WATER         OH4901012       CWS         Groundwater                   5,176
       DISTRICT 1
 OH    MANSFIELD CITY                    OH7002914       CWS         Surfacewater                 51,000
 OH    MARTINS FERRY PUBLIC WATER SYSTEM OH0701212       CWS         Groundwater                   6,980

 OH    MARYSVILLE CITY PWS                  OH8000314    CWS         Surfacewater                 25,571
 OH    MAUMEE CITY                          OH4800603    CWS         Surfacewater purchased       14,286

 OH    MAYSVILLE REGIONAL WATER             OH6001411    CWS         Surfacewater                  6,540
 OH    MCDONALD VILLAGE PWS                 OH7802003    CWS         Surfacewater purchased        5,733

 OH    MEDINA CITY PWS                      OH5200514    CWS         Surfacewater purchased       25,956

 OH    MEDINA CO/NORTHWEST PWS              OH5201903    CWS         Surfacewater purchased       46,324

 OH    MEDINA CO/SOUTHERN WATER DIST        OH5260712    CWS         Groundwater                   4,516
       PWS
 OH    MIAMI CO-CAMP TROY PWS               OH5502503    CWS         Groundwater purchased         3,742

 OH    MIAMISBURG CITY PWS                  OH5701212    CWS         Groundwater                  19,790
 OH    MINERVA VILLAGE PWS                  OH7603812    CWS         Groundwater                   4,000
 OH    MONROE CITY PWS                      OH0902012    CWS         Surfacewater purchased       14,269

 OH    MONROE WATER SYSTEMS                 OH5600812    CWS         Groundwater                   5,012
 OH    MONTPELIER VILLAGE                   OH8600912    CWS         Groundwater                   4,240
 OH    MOUNT ORAB VILLAGE PWS               OH0801011    CWS         Surfacewater                  6,607
 OH    MOUNT VERNON CITY PWS                OH4200812    CWS         Groundwater                  18,071
 OH    MT GILEAD VILLAGE PWS                OH5900712    CWS         Groundwater                   3,660
 OH    MUNROE FALLS CITY PWS                OH7702703    CWS         Groundwater purchased         5,042

 OH    NAWA                                 OH5553612    CWS         Groundwater                  24,766
 OH    NELSONVILLE PWS                      OH0501214    CWS         Groundwater                   6,656
 OH    NEW BREMEN VILLAGE                   OH0600512    CWS         Groundwater                   3,318
 OH    NEW LEBANON VILLAGE PWS              OH5701812    CWS         Groundwater                   3,995



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Primacy                 PWS Name                 PWSID       PWS Type      Primary Source        Population
Agency                                                                                             Served
 [State]
   OH      NEW LEXINGTON                       OH6400411    CWS         Surfacewater                  5,161
   OH      NEW PHILADELPHIA CITY PWS           OH7900812    CWS         Groundwater                  17,410
   OH      NEWARK CITY PWS                     OH4502314    CWS         Surfacewater                 49,934
   OH      NEWCOMERSTOWN VILLAGE PWS           OH7900912    CWS         Groundwater                   3,882
   OH      NILES CITY PWS                      OH7802403    CWS         Surfacewater purchased       21,961

  OH       NORTH BALTIMORE VILLAGE             OH8701611    CWS         Surfacewater                  3,432
  OH       NORTH CANTON CITY PWS               OH7604312    CWS         Groundwater                  24,154
  OH       NORTH RIDGEVILLE CITY PWS           OH4700803    CWS         Surfacewater purchased       29,465

  OH       NORTHERN OHIO RURAL WATER           OH3902403    CWS         Surfacewater purchased       18,224

  OH       NORTHERN OHIO RURAL WATER - NW      OH2201803    CWS         Surfacewater purchased        6,409
           DISTRICT
  OH       NORTHERN OHIO RURAL WATER-SOUTH     OH3946712    CWS         Surfacewater purchased        5,226
           DISTRICT
  OH       NORTHWEST REGIONAL WATER            OH7300003    CWS         Groundwater purchased        11,059
           DISTRICT
  OH       NORTHWESTERN W AND SD - TOLEDO      OH8752812    CWS         Surfacewater purchased       19,758
           SVC
  OH       NORTHWESTERN W AND SD - WTLN 200    OH8704203    CWS         Surfacewater purchased        9,629
           OREGON
  OH       NORTHWESTERN W AND SD- PORTAGE      OH8704103    CWS         Surfacewater purchased        4,776

  OH       NORTHWESTERN W AND SD-MIDDLETON OH8752212        CWS         Surfacewater purchased        3,408
           TWP
  OH       NORWALK CITY                    OH3901111        CWS         Surfacewater                 17,068
  OH       NORWOOD CITY PWS                OH3101703        CWS         Surfacewater purchased       19,870

  OH       OAK HARBOR VILLAGE                  OH6202603    CWS         Surfacewater purchased        4,615

  OH       OAKWOOD CITY PWS                    OH5701915    CWS         Groundwater                   9,202
  OH       OBERLIN WATER DEPARTMENT            OH4700911    CWS         Surfacewater                  8,600
  OH       ONTARIO CITY                        OH7003512    CWS         Groundwater                   6,656
  OH       OREGON CITY                         OH4800911    CWS         Surfacewater                 19,950
  OH       ORRVILLE CITY PWS                   OH8502712    CWS         Groundwater                   8,380
  OH       OTTAWA COUNTY REGIONAL WATER        OH6205011    CWS         Surfacewater                 19,556
           DISTRICT
  OH       OTTAWA VILLAGE                      OH6900711    CWS         Surfacewater                  4,863
  OH       PAINESVILLE CITY PWS                OH4301611    CWS         Surfacewater                 31,728
  OH       PATASKALA CITY                      OH4502512    CWS         Groundwater                   9,900
  OH       PAULDING VILLAGE                    OH6300411    CWS         Surfacewater                  3,605
  OH       PERRYSBURG CITY                     OH8701803    CWS         Surfacewater purchased       25,700

  OH       PICKERINGTON CITY PWS               OH2301512    CWS         Groundwater                  22,443
  OH       PIKE WATER, INC.-PLANT PWS          OH6602412    CWS         Groundwater                  15,487
  OH       PIQUA CITY PWS                      OH5501211    CWS         Surfacewater                 20,900
  OH       PLAIN CITY VILLAGE PWS              OH4901112    CWS         Groundwater                   4,900



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Primacy               PWS Name                 PWSID       PWS Type      Primary Source        Population
Agency                                                                                           Served
 [State]
   OH    PORT CLINTON CITY                   OH6203211    CWS         Surfacewater purchased        6,056

 OH    PORTAGE COUNTY WATER RESOURCES        OH6702812    CWS         Groundwater                   8,423
 OH    RAVENNA CITY PWS                      OH6703211    CWS         Surfacewater                 16,000
 OH    READING CITY PWS                      OH3101812    CWS         Surfacewater purchased        9,506

 OH    REYNOLDSBURG CITY PWS                 OH2503203    CWS         Surfacewater purchased       37,847

 OH    RITTMAN CITY PWS                      OH8503012    CWS         Groundwater                   6,491
 OH    ROSS COUNTY WATER CO INC PWS          OH7101412    CWS         Groundwater                  35,345
 OH    RURAL LORAIN CO. WATER A              OH4701803    CWS         Surfacewater purchased       73,125

 OH    SALEM CITY                            OH1502011    CWS         Surfacewater                 16,850
 OH    SANDUSKY CITY                         OH2201411    CWS         Surfacewater                 25,793
 OH    SANITARY DISTRICT #4                  OH2501003    CWS         Surfacewater purchased        8,575

 OH    SCIOTO CO. REGIONAL WATER DISTRICT    OH7300212    CWS         Groundwater                  13,820
       #1
 OH    SCIOTO WATER, INC.-ROSE HILL          OH7300303    CWS         Groundwater                   9,920
 OH    SCIOTO WATER, INC.-SUGAR CAMP         OH7300903    CWS         Groundwater                   8,915
 OH    SEBRING VILLAGE PWS                   OH5001911    CWS         Surfacewater                  6,159
 OH    SHEFFIELD LAKE CITY PWS               OH4701103    CWS         Surfacewater purchased        9,108

 OH    SHEFFIELD VILLAGE PWS                 OH4701203    CWS         Surfacewater purchased        4,379

 OH    SHELBY CITY                           OH7004511    CWS         Surfacewater                  9,031
 OH    SIDNEY CITY PWS                       OH7501214    CWS         Surfacewater                 20,614
 OH    SOUTH LEBANON VILLAGE PWS             OH8301312    CWS         Surfacewater purchased        4,115

 OH    SOUTHERN PERRY CO-CONGO               OH6401603    CWS         Groundwater purchased         4,029

 OH    SOUTHWEST LICKING COMMUNITY           OH4505412    CWS         Groundwater                  16,300
       WATER
 OH    SOUTHWEST REGIONAL WATER              OH0903912    CWS         Groundwater                  43,108
       DISTRICT
 OH    SPRINGBORO PWS                        OH8301412    CWS         Groundwater                  19,500
 OH    SPRINGFIELD CITY PWS                  OH1204412    CWS         Groundwater                  60,680
 OH    ST MARYS CITY                         OH0600612    CWS         Groundwater                   9,356
 OH    STARK COUNTY WATER DISTRICT           OH7607303    CWS         Groundwater purchased         7,725

 OH    STEUBENVILLE, CITY OF                 OH4102411    CWS         Surfacewater                 17,000
 OH    STOW PUBLIC WATER SYSTEM              OH7704503    CWS         Surfacewater purchased       35,000

 OH    STREETSBORO CITY PWS                  OH6705003    CWS         Groundwater purchased        15,105

 OH    SUNDAY CREEK VALLEY WATER PWS         OH0501503    CWS         Groundwater purchased         5,451

 OH    SWANTON VILLAGE                       OH2601011    CWS         Surfacewater                  3,855




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Primacy               PWS Name               PWSID       PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
   OH    SYLVANIA CITY                     OH4801303    CWS         Surfacewater purchased       21,618

 OH    TALLMADGE CITY PWS                  OH7704703    CWS         Surfacewater purchased       18,000

 OH    TATE-MONROE WATER ASSOCIATION       OH1301312    CWS         Groundwater                  22,777
       PWS
 OH    TCMSD-WILKSHIRE HILLS PWS           OH7901612    CWS         Groundwater                   6,587
 OH    TOLEDO CITY OF                      OH4801411    CWS         Surfacewater                480,000
 OH    TORONTO PWS                         OH4102811    CWS         Surfacewater                  5,676
 OH    TRENTON CITY PWS                    OH0903012    CWS         Groundwater                  13,012
 OH    TRIHEALTH GOOD SAMARITAN            OH3139923    NTNCWS      Surfacewater purchased        4,000
       HOSPITAL
 OH    TROTWOOD CITY PWS                   OH5702403    CWS         Surfacewater purchased        9,000

 OH    TROY CITY PWS                       OH5501612    CWS         Groundwater                  26,305
 OH    TRUMBULL CO. - BAZETTA/CHAMPION     OH7804303    CWS         Surfacewater purchased        7,547

 OH    TRUMBULL CO.-HOWLAND TWP PWS        OH7806303    CWS         Surfacewater purchased        5,783

 OH    TRUMBULL CO.-SOUTHEAST PWS          OH7803203    CWS         Surfacewater purchased        8,872

 OH    TWIN CITY WATER AND SEWER           OH7901711    CWS         Groundwater                   9,224
       DISTRICT PWS
 OH    UH - CLEVELAND MEDICAL CENTER       OH1841113    NTNCWS      Surfacewater purchased       11,395

 OH    UNION CITY PWS                      OH5702512    CWS         Groundwater                   7,000
 OH    UPPER SANDUSKY CITY                 OH8800511    CWS         Surfacewater                  6,698
 OH    VAN WERT CITY                       OH8100611    CWS         Surfacewater                 10,846
 OH    VERMILION CITY                      OH2201511    CWS         Surfacewater                 10,569
 OH    WADSWORTH CITY PWS                  OH5201712    CWS         Groundwater                  24,356
 OH    WAPAKONETA CITY                     OH0600712    CWS         Groundwater                  11,000
 OH    WARREN CITY PWS                     OH7803811    CWS         Surfacewater                 54,900
 OH    WARREN CO. FRANKLIN AREA PWS        OH8301603    CWS         Groundwater                  36,725
 OH    WARREN CO. SOCIALVILLE PWS          OH8304203    CWS         Surfacewater purchased       12,587

 OH    WASHINGTON COURT HOUSE PWS          OH2400714    CWS         Surfacewater                 14,100
 OH    WATERVILLE CITY                     OH4801503    CWS         Surfacewater purchased        5,715

 OH    WAVERLY CITY PWS                    OH6600912    CWS         Groundwater                   4,433
 OH    WAYNESVILLE VILLAGE PWS             OH8302012    CWS         Groundwater                   3,800
 OH    WELLINGTON VILLAGE PWS              OH4701511    CWS         Surfacewater                  4,802
 OH    WELLSTON CITY PWS                   OH4001912    CWS         Surfacewater                  7,000
 OH    WEST CARROLLTON CITY PWS            OH5702812    CWS         Groundwater                  12,910
 OH    WEST JEFFERSON VILLAGE PWS          OH4902012    CWS         Groundwater                   4,222
 OH    WEST MILTON VILLAGE PWS             OH5501711    CWS         Groundwater purchased         4,800

 OH    WHITEHOUSE VILLAGE                  OH4801612    CWS         Surfacewater purchased        5,200




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Primacy               PWS Name               PWSID       PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
   OH    WILLARD CITY                      OH3901511    CWS         Surfacewater                  7,099
   OH    WINTERSVILLE VILLAGE PWS          OH4103003    CWS         Surfacewater purchased        3,924

 OH    WOOSTER CITY PWS                    OH8504512    CWS         Groundwater                  26,618
 OH    WRIGHT STATE UNIVERSITY             OH2902012    CWS         Groundwater                  16,469
 OH    WYOMING CITY PWS                    OH3102212    CWS         Groundwater                   9,700
 OH    XENIA CITY PWS                      OH2902812    CWS         Groundwater                  26,000
 OH    YELLOW SPRINGS VILLAGE PWS          OH2903012    CWS         Groundwater                   3,761
 OH    YOUNGSTOWN CITY PWS                 OH5002303    CWS         Surfacewater purchased      148,000

 OH    ZANESVILLE PWS                      OH6002712    CWS         Groundwater                  29,381
 OK    ADA                                 OK2006201    CWS         Groundwater                  22,600
 OK    ADAMSON RWD #8                      OK3006112    CWS         Surfacewater purchased        4,306

 OK    ALTUS                           OK1011501        CWS         Surfacewater                 18,717
 OK    ALVA                            OK2007603        CWS         Groundwater                   5,208
 OK    ANADARKO PUBLIC WORKS AUTHORITY OK1010806        CWS         Surfacewater                  6,804

 OK    ARDMORE                             OK1010814    CWS         Surfacewater                 24,283
 OK    BARTLESVILLE                        OK1021401    CWS         Surfacewater                 34,748
 OK    BIXBY PUBLIC WORKS AUTHORITY        OK3007243    CWS         Surfacewater purchased       18,750

 OK    BLACKWELL MUNICIPAL AUTHORITY       OK1021101    CWS         Surfacewater                  7,668
 OK    BRISTOW MUNICIPAL AUTHORITY         OK2001910    CWS         Groundwater                   3,700
 OK    BROKEN ARROW MUNICIPAL              OK1021508    CWS         Surfacewater                 97,808
       AUTHORITY
 OK    BROKEN BOW PWA                      OK1010214    CWS         Surfacewater                  4,320
 OK    BRYAN CO. RW&SD #5                  OK3000704    CWS         Surfacewater purchased        8,325

 OK    BRYAN CO. RWS & SWMD #2             OK1010604    CWS         Surfacewater                  6,270
 OK    CADDO CO RWD #3                     OK2000816    CWS         Groundwater                   3,900
 OK    CHECOTAH PWA                        OK1020515    CWS         Surfacewater                  3,481
 OK    CHEROKEE CO. RWD #11                OK1221637    CWS         Surfacewater                  3,395
 OK    CHICKASHA MUNICIPAL AUTHORITY       OK1010821    CWS         Surfacewater                 16,036
 OK    CHOCTAW                             OK2005510    CWS         Groundwater                   3,926
 OK    CLAREMORE                           OK1021512    CWS         Surfacewater                 15,873
 OK    CLINTON                             OK1010828    CWS         Surfacewater                  8,883
 OK    COLLINSVILLE                        OK1021505    CWS         Surfacewater                  5,400
 OK    CONSOLIDATED RWD #3 CREEK CO        OK3001916    CWS         Surfacewater purchased        3,500

 OK    COWETA                              OK1021509    CWS         Surfacewater                  9,450
 OK    CRAIG CO RWD #2                     OK3001802    CWS         Surfacewater purchased        4,250

 OK    CREEK CO RWD # 1                    OK1020419    CWS         Surfacewater                  5,675
 OK    CREEK CO RWD # 2                    OK3001902    CWS         Surfacewater purchased       12,788

 OK    CUSHING                             OK2006061    CWS         Groundwater                   8,371


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Primacy               PWS Name                PWSID       PWS Type      Primary Source        Population
Agency                                                                                          Served
 [State]
   OK    DEER CREEK RURAL WATER CORP        OK2005504    CWS         Groundwater                   5,500
   OK    DEL CITY                           OK1020805    CWS         Surfacewater                 22,128
   OK    DEWEY PUBLIC WORKS AUTHORITY       OK3007402    CWS         Surfacewater purchased        3,490

 OK    DUNCAN PUBLIC UTILITIES AUTHORITY    OK1010809    CWS         Surfacewater                 23,000
 OK    DURANT UTILITIES AUTHORITY           OK1010601    CWS         Surfacewater                 15,545
 OK    EDMOND PWA                           OK1020723    CWS         Surfacewater                 79,408
 OK    EL RENO                              OK2000902    CWS         Surfacewater purchased       16,212

 OK    ELK CITY                             OK2000501    CWS         Groundwater                  10,510
 OK    ENID                                 OK2002412    CWS         Groundwater                  49,347
 OK    EUFAULA PWA                          OK1020514    CWS         Surfacewater                  4,462
 OK    FALLS CREEK BAPTIST CONFERENCE       OK1010840    CWS         Surfacewater                  7,000
       CENTER
 OK    FORT GIBSON                          OK1021622    CWS         Surfacewater                  4,700
 OK    FREDERICK                            OK1011401    CWS         Surfacewater                  3,940
 OK    GLENPOOL WATER                       OK3007223    CWS         Surfacewater purchased       12,500

 OK    GRADY CO RWD #6                      OK3002603    CWS         Groundwater                   3,930
 OK    GROVE MUNICIPAL SERVICES AUTH.       OK1021614    CWS         Surfacewater                  7,311
 OK    GUTHRIE                              OK1020903    CWS         Surfacewater                  9,925
 OK    GUYMON                               OK2007003    CWS         Groundwater                  11,442
 OK    HARRAH                               OK2005506    CWS         Groundwater                   4,190
 OK    HENRYETTA                            OK1020709    CWS         Surfacewater                  6,096
 OK    HOBART                               OK1011502    CWS         Surfacewater purchased        3,746

 OK    HOLDENVILLE                          OK1020803    CWS         Surfacewater                  4,732
 OK    HUGO MUNICIPAL AUTHORITY             OK1010314    CWS         Surfacewater                  5,536
 OK    IDABEL PWA                           OK1010203    CWS         Surfacewater                  6,952
 OK    JEFFERSON CO CONS RWD #1             OK3003401    CWS         Surfacewater purchased        8,276

 OK    JENKS PWA                            OK3007201    CWS         Surfacewater purchased       16,924

 OK    KETCHUM PWA                          OK1021612    CWS         Surfacewater                  4,025
 OK    KINGFISHER                           OK2003702    CWS         Groundwater                   5,073
 OK    LAWTON                               OK1011303    CWS         Surfacewater                 92,757
 OK    LEFLORE CO. RWD #14                  OK3004001    CWS         Surfacewater purchased        9,077

 OK    LEFLORE CO. RWD #2                   OK3004007    CWS         Surfacewater purchased        4,700

 OK    LOGAN CO RWD #1                      OK2004207    CWS         Surfacewater purchased        8,907

 OK    LONE GROVE                        OK2001007       CWS         Groundwater                   4,863
 OK    LONGTOWN RW&SD #1 (PITTSBURG CO.) OK1020623       CWS         Surfacewater                  5,444

 OK    MADILL                               OK1010820    CWS         Surfacewater                  3,410
 OK    MANNFORD                             OK1020909    CWS         Surfacewater                  3,935



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Primacy              PWS Name                  PWSID       PWS Type      Primary Source        Population
Agency                                                                                           Served
 [State]
   OK    MARLOW PWA                          OK2006907    CWS         Groundwater                   4,600
   OK    MARSHALL COUNTY WATER CORP          OK1010848    CWS         Surfacewater                 14,717
   OK    MAYES CO RWD # 2                    OK3004608    CWS         Surfacewater purchased        6,280

 OK    MAYES CO RWD # 5                      OK3004616    CWS         Surfacewater purchased        3,360

 OK    MAYES CO RWD # 6                      OK1021666    CWS         Surfacewater                  3,750
 OK    MAYES CO RWD #4                       OK3004617    CWS         Surfacewater purchased        4,183

 OK    MCALESTER PWA                         OK1020609    CWS         Surfacewater                 18,206
 OK    MCCURTAIN CO. RWD #1                  OK3004806    CWS         Surfacewater purchased        3,842

 OK    MCCURTAIN CO. RWD #8 (MT. FORK        OK1010207    CWS         Surfacewater                  5,685
       WATER)
 OK    MCINTOSH CO. RWD #8 (TEXANNA)         OK1020529    CWS         Surfacewater                  3,574
 OK    MIAMI                                 OK2005813    CWS         Groundwater                  13,704
 OK    MIDWEST CITY                          OK1020806    CWS         Surfacewater                 55,935
 OK    MOORE PUBLIC WORKS AUTHORITY          OK2001412    CWS         Surfacewater purchased       55,083

 OK    MURRAY CO RWD # 1                     OK2005012    CWS         Groundwater                   4,800
 OK    MUSKOGEE                              OK1021607    CWS         Surfacewater                 38,310
 OK    MUSKOGEE CO. RWD #5                   OK3005107    CWS         Surfacewater purchased        4,135

 OK    MUSTANG                               OK2000922    CWS         Surfacewater purchased       18,576

 OK    NEWCASTLE                             OK2004704    CWS         Surfacewater purchased        7,900

 OK    NICHOLS HILLS                         OK2005501    CWS         Groundwater                   4,020
 OK    NOBLE UTILITIES AUTHORITY             OK2001411    CWS         Groundwater                   5,750
 OK    NORMAN                                OK1020801    CWS         Surfacewater                100,939
 OK    NOWATA MUNICIPAL AUTHORITY            OK1021503    CWS         Surfacewater                  3,971
 OK    OKLAHOMA CITY                         OK1020902    CWS         Surfacewater                644,000
 OK    OKMULGEE                              OK1020708    CWS         Surfacewater                 13,495
 OK    OKMULGEE CO. RWD #6 (HECTORVILLE)     OK3005611    CWS         Surfacewater purchased        8,370

 OK    OSAGE CO RWD #15                      OK3005736    CWS         Surfacewater purchased        6,647

 OK    OWASSO                                OK3007218    CWS         Surfacewater purchased       23,000

 OK    PAULS VALLEY                          OK1010808    CWS         Surfacewater                  6,256
 OK    PAWHUSKA                              OK1021301    CWS         Surfacewater                  3,800
 OK    PERRY WATER & LIGHT DEPT              OK1021206    CWS         Surfacewater                  5,230
 OK    PIEDMONT MUNICPAL AUTHORITY           OK2000909    CWS         Surfacewater purchased        7,542

 OK    PONCA CITY MUN WATER                  OK1021202    CWS         Surfacewater                 27,155
 OK    PONTOTOC CO RWD # 7                   OK3006215    CWS         Groundwater purchased         4,863

 OK    PONTOTOC CO RWD # 8                   OK2006215    CWS         Groundwater                   4,250



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Agency                                                                                          Served
 [State]
   OK    PORUM PWA                          OK1020302    CWS         Surfacewater                  5,000
   OK    POTEAU PWA                         OK3004015    CWS         Surfacewater purchased        7,939

 OK    PRYOR                                OK3004611    CWS         Surfacewater purchased        8,784

 OK    PURCELL                              OK2004701    CWS         Groundwater                   8,118
 OK    PUSHMATAHA CO. RWD #3                OK1010318    CWS         Surfacewater                  4,825
 OK    ROGERS CO RWD # 3 COT STA            OK3006650    CWS         Surfacewater purchased       10,750

 OK    ROGERS CO RWD # 3 LAKE PLANT         OK1021513    CWS         Surfacewater                 10,470
 OK    ROGERS CO RWD # 4                    OK1021506    CWS         Surfacewater                  7,725
 OK    ROGERS CO RWD # 5                    OK1021507    CWS         Surfacewater                 11,782
 OK    ROGERS CO RWD # 8                    OK3006606    CWS         Surfacewater purchased        3,375

 OK    SALLISAW                             OK1020206    CWS         Surfacewater                  8,510
 OK    SAND SPRINGS                         OK1020420    CWS         Surfacewater                 28,774
 OK    SAPULPA                              OK1020404    CWS         Surfacewater                 19,702
 OK    SAPULPA RURAL WATER COMPANY          OK3001904    CWS         Surfacewater purchased        5,810

 OK    SAYRE                                OK2000508    CWS         Groundwater                   4,375
 OK    SEMINOLE                             OK2006720    CWS         Groundwater                   6,899
 OK    SEQUOYAH CO. WATER ASSOCIATION       OK1020210    CWS         Surfacewater                 13,460
 OK    SHAWNEE MUNICIPAL AUTHORITY          OK1020504    CWS         Surfacewater                 29,990
 OK    SKIATOOK PWA                         OK1021313    CWS         Surfacewater                  7,080
 OK    SOUTHERN OKLA WATER CORP             OK1010830    CWS         Surfacewater                 11,250
 OK    SPENCER                              OK2005509    CWS         Groundwater                   3,746
 OK    STEPHENS CO RWD #5                   OK2006969    CWS         Surfacewater purchased        6,426

 OK    STILLWATER WATER PLANT               OK1021220    CWS         Surfacewater                 53,000
 OK    SULPHUR                              OK2005001    CWS         Groundwater                   4,929
 OK    TAHLEQUAH PWA                        OK1021701    CWS         Surfacewater                 14,458
 OK    TECUMSEH UTILITY AUTHORITY           OK1020506    CWS         Surfacewater                  6,098
 OK    TRI-COUNTY RWD #2                    OK2006362    CWS         Groundwater                   5,172
 OK    TULSA                                OK1020418    CWS         Surfacewater                471,000
 OK    TUTTLE                               OK2002608    CWS         Groundwater                   4,500
 OK    VINITA UTILITIES AUTHORITY           OK1021611    CWS         Surfacewater                  6,472
 OK    WAGONER                              OK1021649    CWS         Surfacewater                  7,982
 OK    WAGONER CO. RWD #4                   OK1021529    CWS         Surfacewater                 25,792
 OK    WAGONER CO. RWD #5                   OK1021528    CWS         Surfacewater                  4,251
 OK    WAGONER CO. RWD #9                   OK1021527    CWS         Surfacewater                  4,363
 OK    WASHINGTON CO RWD #3 (NEW,#1)        OK1021418    CWS         Surfacewater                 25,375
 OK    WATER DISTRIBUTORS, INC.             OK3004009    CWS         Surfacewater purchased        3,875

 OK    WATONGA                              OK2000602    CWS         Groundwater                   4,658
 OK    WEATHERFORD                          OK2002002    CWS         Groundwater                  10,833
 OK    WEWOKA PUBLIC WORKS AUTHORITY        OK1020510    CWS         Surfacewater                  3,450



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Primacy             PWS Name                PWSID       PWS Type      Primary Source        Population
Agency                                                                                        Served
 [State]
   OK    WOODWARD                         OK2007701    CWS         Groundwater                  15,000
   OK    YUKON                            OK2000910    CWS         Surfacewater purchased       22,498

 OR    ALBANY, CITY OF                    OR4100012    CWS         Surfacewater                 54,945
 OR    ASHLAND WATER DEPARTMENT           OR4100047    CWS         Surfacewater                 20,700
 OR    ASTORIA, CITY OF                   OR4100055    CWS         Surfacewater                 10,181
 OR    AUMSVILLE, CITY OF                 OR4100065    CWS         Groundwater                   4,125
 OR    AVION WC - GREATER AVION           OR4100091    CWS         Groundwater                  32,265
 OR    BAKER CITY                         OR4100073    CWS         Surfacewater                  9,965
 OR    BEAVERTON, CITY OF                 OR4100081    CWS         Surfacewater purchased       80,000

 OR    BEND WATER DEPARTMENT              OR4100100    CWS         Surfacewater                 68,538
 OR    BOARDMAN, CITY OF                  OR4100130    CWS         Groundwater                   4,490
 OR    BROOKINGS, CITY OF                 OR4100149    CWS         Groundwater                   7,120
 OR    CANBY UTILITY                      OR4100157    CWS         Surfacewater                 18,754
 OR    CENTRAL POINT, CITY OF             OR4100178    CWS         Surfacewater purchased       18,997

 OR    CHENOWITH PUD                      OR4100867    CWS         Groundwater                   4,500
 OR    CLACKAMAS RIVER WATER -            OR4100187    CWS         Surfacewater                 41,338
       CLACKAMAS
 OR    CLACKAMAS RIVER WATER -            OR4100594    CWS         Surfacewater purchased       14,458
       CLAIRMONT
 OR    COOS BAY NORTH BEND WTR BRD        OR4100205    CWS         Surfacewater                 34,500
 OR    COQUILLE, CITY OF                  OR4100213    CWS         Surfacewater                  3,953
 OR    CORNELIUS, CITY OF                 OR4100218    CWS         Surfacewater purchased       13,201

 OR    CORVALLIS, CITY OF                 OR4100225    CWS         Surfacewater                 56,000
 OR    COTTAGE GROVE, CITY OF             OR4100236    CWS         Surfacewater                 10,005
 OR    CRESWELL, CITY OF                  OR4100246    CWS         Surfacewater                  5,585
 OR    CROOKED RIVER RANCH WTR CO         OR4100862    CWS         Groundwater                   4,000
 OR    CRYSTAL SPRINGS WATER DISTRICT     OR4100386    CWS         Groundwater                   5,973
 OR    DALLAS, CITY OF                    OR4100248    CWS         Surfacewater                 16,854
 OR    DESCHUTES VALLEY WATER DIST        OR4100501    CWS         Groundwater                  11,500
 OR    DUNDEE, CITY OF                    OR4100262    CWS         Groundwater                   3,356
 OR    EAGLE POINT, CITY OF               OR4100267    CWS         Surfacewater purchased        9,554

 OR    ESTACADA, CITY OF                  OR4100279    CWS         Surfacewater                  3,725
 OR    EUGENE WATER & ELECTRIC BOARD      OR4100287    CWS         Surfacewater                176,000
 OR    FAIRVIEW, CITY OF                  OR4100296    CWS         Groundwater                   9,363
 OR    FLORENCE, CITY OF                  OR4100299    CWS         Groundwater                   9,561
 OR    FOREST GROVE, CITY OF              OR4100305    CWS         Surfacewater                 25,180
 OR    GLADSTONE, CITY OF                 OR4100321    CWS         Surfacewater purchased       12,121

 OR    GRANTS PASS, CITY OF               OR4100342    CWS         Surfacewater                 37,138
 OR    GREEN AREA WATER & SANITARY        OR4100717    CWS         Surfacewater                  7,000
       AUTHORITY



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Primacy               PWS Name               PWSID       PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
   OR    GRESHAM, CITY OF                  OR4100357    CWS         Surfacewater purchased       73,932

 OR    HARRISBURG, CITY OF                 OR4100366    CWS         Groundwater                   3,650
 OR    HECETA WATER PEOPLES UTILITY        OR4100301    CWS         Surfacewater                  4,921
       DISTRICT
 OR    HERMISTON, CITY OF                  OR4100372    CWS         Surfacewater                 19,696
 OR    HILLSBORO, CITY OF                  OR4101513    CWS         Surfacewater purchased       90,603

 OR    HOOD RIVER, CITY OF                 OR4100385    CWS         Groundwater                   7,995
 OR    HUBBARD, CITY OF                    OR4100389    CWS         Groundwater                   3,478
 OR    ICE FOUNTAIN WATER DISTRICT         OR4100387    CWS         Groundwater                   5,532
 OR    INDEPENDENCE WATER SYSTEM           OR4100399    CWS         Groundwater                  10,300
 OR    JEFFERSON, CITY OF                  OR4100408    CWS         Surfacewater                  3,348
 OR    KEIZER, CITY OF                     OR4100744    CWS         Groundwater                  38,585
 OR    KERNVILLE-GLENEDEN-LINC BCH WD      OR4100324    CWS         Surfacewater                  5,644
 OR    KLAMATH FALLS WATER DEPT            OR4100443    CWS         Groundwater                  40,475
 OR    LA GRANDE, CITY OF                  OR4100453    CWS         Groundwater                  13,460
 OR    LAFAYETTE, CITY OF                  OR4100452    CWS         Surfacewater purchased        4,423

 OR    LAKE OSWEGO MUNICIPAL WATER         OR4100457    CWS         Surfacewater purchased       40,000

 OR    LEBANON, CITY OF                    OR4100473    CWS         Surfacewater                 15,518
 OR    LINCOLN CITY WATER DISTRICT         OR4100483    CWS         Surfacewater                 20,830
 OR    MADRAS, CITY OF                     OR4100500    CWS         Groundwater                   3,940
 OR    MCMINNVILLE WATER & LIGHT           OR4100497    CWS         Surfacewater                 34,515
 OR    MEDFORD WATER COMMISSION            OR4100513    CWS         Surfacewater                 94,914
 OR    MILWAUKIE, CITY OF                  OR4100528    CWS         Groundwater                  21,014
 OR    MOLALLA, CITY OF                    OR4100534    CWS         Surfacewater                  9,139
 OR    MONMOUTH, CITY OF                   OR4100537    CWS         Groundwater under            11,146
                                                                    influence of
                                                                    surfacewater
 OR    MOUNT ANGEL, CITY OF                OR4100544    CWS         Groundwater                   3,650
 OR    MYRTLE CREEK, CITY OF               OR4100550    CWS         Surfacewater                  3,490
 OR    NEWBERG, CITY OF                    OR4100557    CWS         Groundwater                  25,138
 OR    NEWPORT, CITY OF                    OR4100566    CWS         Surfacewater                 10,160
 OR    OAK LODGE WATER SERVICES            OR4101512    CWS         Surfacewater purchased       30,000

 OR    ONTARIO, CITY OF                    OR4100587    CWS         Surfacewater                 14,465
 OR    OREGON CITY                         OR4101511    CWS         Surfacewater purchased       33,940

 OR    PENDLETON, CITY OF                  OR4100613    CWS         Surfacewater                 17,169
 OR    PHILOMATH PUBLIC WORKS              OR4100624    CWS         Surfacewater                  4,670
 OR    PHOENIX, CITY OF                    OR4100625    CWS         Surfacewater purchased        4,800

 OR    PORTLAND WATER BUREAU               OR4100657    CWS         Surfacewater                614,059
 OR    PRINEVILLE, CITY OF                 OR4100682    CWS         Groundwater                   9,859




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Primacy             PWS Name                  PWSID       PWS Type      Primary Source        Population
Agency                                                                                          Served
 [State]
   OR    RAINBOW WATER DISTRICT             OR4100839    CWS         Groundwater under             6,300
                                                                     influence of
                                                                     surfacewater
 OR    RALEIGH WATER DISTRICT               OR4100667    CWS         Surfacewater purchased        4,500

 OR    REDMOND WATER DEPARTMENT             OR4100693    CWS         Groundwater                  27,427
 OR    REEDSPORT, CITY OF                   OR4100699    CWS         Surfacewater                  4,784
 OR    RIVERGROVE WATER DISTRICT            OR4100461    CWS         Groundwater                   4,000
 OR    ROATS WATER SYSTEM                   OR4100113    CWS         Groundwater                   5,727
 OR    ROCKWOOD PUD                         OR4100668    CWS         Surfacewater purchased       65,443

 OR    ROSEBURG, CITY OF                    OR4100720    CWS         Surfacewater                 28,800
 OR    SALEM PUBLIC WORKS                   OR4100731    CWS         Surfacewater                199,820
 OR    SANDY, CITY OF                       OR4100789    CWS         Surfacewater                 11,180
 OR    SCAPPOOSE, CITY OF                   OR4100792    CWS         Surfacewater                  8,710
 OR    SEAL ROCK WATER DISTRICT             OR4100798    CWS         Surfacewater                  5,500
 OR    SEASIDE WATER DEPARTMENT             OR4100799    CWS         Surfacewater                  7,084
 OR    SHERIDAN, CITY OF                    OR4100811    CWS         Surfacewater                  6,200
 OR    SHERWOOD, CITY OF                    OR4100816    CWS         Surfacewater purchased       19,885

 OR    SILVERTON, CITY OF                   OR4100823    CWS         Surfacewater                 10,484
 OR    SPRINGFIELD UTILITY BOARD            OR4100837    CWS         Surfacewater                 62,100
 OR    ST HELENS, CITY OF                   OR4100724    CWS         Groundwater under            13,410
                                                                     influence of
                                                                     surfacewater
 OR    STAYTON WATER SUPPLY                 OR4100843    CWS         Surfacewater                  7,800
 OR    SUBURBAN EAST SALEM WD               OR4100768    CWS         Surfacewater purchased       13,900

 OR    SUNRISE WATER AUTHORITY              OR4100635    CWS         Surfacewater purchased       50,003

 OR    SUNRIVER WATER LLC/SUNRIVER          OR4100846    CWS         Groundwater                   4,323
       UTILITIES
 OR    SUTHERLIN, CITY OF                   OR4100847    CWS         Surfacewater                  8,060
 OR    SWEET HOME, CITY OF                  OR4100851    CWS         Surfacewater                  9,415
 OR    TALENT, CITY OF                      OR4100857    CWS         Surfacewater purchased        6,293

 OR    THE DALLES, CITY OF                  OR4100869    CWS         Surfacewater                 12,494
 OR    TIGARD, CITY OF                      OR4100878    CWS         Surfacewater purchased       65,000

 OR    TILLAMOOK WATER DEPT, CITY OF        OR4100893    CWS         Surfacewater                  5,311
 OR    TOLEDO WATER UTILITIES               OR4100899    CWS         Surfacewater                  3,645
 OR    TRI-CITY JW&SA                       OR4100549    CWS         Surfacewater                  3,500
 OR    TROUTDALE, CITY OF                   OR4100901    CWS         Groundwater                  16,185
 OR    TUALATIN VALLEY WATER DISTRICT       OR4100665    CWS         Surfacewater purchased      217,000

 OR    TUALATIN, CITY OF                    OR4100906    CWS         Surfacewater purchased       28,000

 OR    UMATILLA, CITY OF                    OR4100914    CWS         Groundwater                   7,605


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Agency                                                                                             Served
 [State]
   OR    UMPQUA BASIN WATER ASSOC          OR4100719    CWS            Surfacewater                   9,200
   OR    VENETA, CITY OF                   OR4100920    CWS            Surfacewater purchased         4,800

 OR    WARRENTON, CITY OF                  OR4100932    CWS            Surfacewater                   9,100
 OR    WEST LINN, CITY OF                  OR4100944    CWS            Surfacewater purchased        27,000

 OR    WEST SLOPE WATER DISTRICT           OR4100660    CWS            Surfacewater purchased        11,000

 OR    WILSONVILLE, CITY OF                OR4100954    CWS             Surfacewater                 25,915
 OR    WINSTON-DILLARD WATER DISTRICT      OR4100957    CWS             Surfacewater                  8,060
 OR    WOOD VILLAGE, CITY OF               OR4100904    CWS             Groundwater                   3,907
 OR    WOODBURN, CITY OF                   OR4100959    CWS             Groundwater                  26,013
 PA    AKRON BOROUGH                       PA7360128    CWS             Groundwater                   4,200
 PA    ALBERTSONS LUCERNE DAIRY            PA1466621    System not
                                                        found in
                                                        SDWIS,
                                                        additional
                                                        search could
                                                        not find system
                                                        name.
 PA    ALBION BOROUGH                      PA6250007    CWS             Groundwater                   5,731
 PA    ALTOONA WATER AUTHORITY             PA4070023    CWS             Surfacewater                 62,500
 PA    AMBRIDGE WATER AUTH                 PA5040008    CWS             Surfacewater                 19,500
 PA    AQUA PA BENSALEM                    PA1090078    CWS             Surfacewater purchased       59,001

 PA    AQUA PA FAWN LAKE FOREST            PA2520037    CWS            Groundwater                    6,533
 PA    AQUA PA FLYING HILLS WA SYS         PA3060018    CWS            Groundwater                    5,100
 PA    AQUA PA FRIENDSHIP                  PA1150137    CWS            Surfacewater purchased         8,800

 PA    AQUA PA INC TREASURE LAKE DIV       PA6170048    CWS            Groundwater                    4,155
 PA    AQUA PA JENKS TWP WTP               PA6270008    CWS            Groundwater                    4,320
 PA    AQUA PA PERKIOMEN TOWNSHIP          PA1460069    CWS            Groundwater                    3,600
 PA    AQUA PA ROARING CREEK DIVISION      PA4490024    CWS            Surfacewater                  43,000
 PA    AQUA PA SPRING RUN                  PA1150089    CWS            Surfacewater purchased         8,151

 PA    AQUA PA SUPERIOR MAIN SYSTEM        PA1460085    CWS            Surfacewater purchased        11,400

 PA    AQUA PA SUSQUEHANNA DIVISION        PA2080028    CWS            Groundwater                   15,569
 PA    AQUA PA WATER CO HONESDALE          PA2640018    CWS            Groundwater                    5,500
 PA    AQUA PA WEST CHESTER                PA1150098    CWS            Surfacewater                  48,600
 PA    ASHLAND AREA WATER AUTHORITY        PA3540030    CWS            Surfacewater                   4,200
 PA    AUTH OF BORO OF CHARLEROI           PA5630039    CWS            Surfacewater                  27,000
 PA    BADEN BORO WATER DEPT               PA5040080    CWS            Surfacewater purchased         3,948

 PA    BANGOR AREA SCHOOL COMPLEX          PA3480816    NTNCWS         Groundwater                    3,326
 PA    BCWSA MAIN LOWER SOUTH              PA1090079    CWS            Surfacewater purchased        52,621

 PA    BEAR CREEK MOUNTAIN RESORT          PA3060310    NTNCWS         Groundwater                    4,500


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Primacy                PWS Name                PWSID       PWS Type      Primary Source        Population
Agency                                                                                           Served
 [State]
   PA      BEAR VALLEY JOINT AUTH            PA7280043    CWS         Surfacewater                 12,589
   PA      BEAVER BORO MUNI AUTH             PA5040009    CWS         Groundwater                   5,799
   PA      BEAVER FALLS MUNI AUTH            PA5040012    CWS         Surfacewater                 49,500
   PA      BELLE VERNON BORO MUNI AUTH       PA5260004    CWS         Surfacewater purchased        6,000

  PA       BIRDSBORO MUNI WATER AUTH         PA3060010    CWS         Surfacewater                  5,353
  PA       BLAIRSVILLE MUNI AUTH             PA5320006    CWS         Surfacewater                  4,023
  PA       BLYTHE TWP MUNICIPAL AUTHORITY    PA3540017    CWS         Surfacewater                  7,100
  PA       BORO OF WAYNESBORO                PA7280032    CWS         Surfacewater                 13,200
  PA       BOROUGH OF CORNWALL               PA7380007    CWS         Surfacewater purchased        3,343

  PA       BOYERTOWN MUNI AUTH               PA3060081    CWS         Surfacewater                  8,000
  PA       BRACKENRIDGE BORO WATER DEPT      PA5020006    CWS         Surfacewater                  3,700
  PA       BRADFORD CITY WATER AUTHORITY     PA6420014    CWS         Surfacewater                 18,500
  PA       BRIGHTON TWP MUNI AUTH            PA5040017    CWS         Groundwater purchased         7,920

  PA       BROCKWAY BORO MUNICIPAL AUTH      PA6330002    CWS         Surfacewater                  4,384
  PA       BRODHEAD CREEK REG WATER AUTH     PA2450034    CWS         Surfacewater                 30,000
  PA       BROOKVILLE MUNICIPAL AUTH         PA6330004    CWS         Surfacewater                  6,220
  PA       BUCKINGHAM TWP COLD SPRING        PA1090137    CWS         Groundwater                   4,760
  PA       BUCKINGHAM TWP FURLONG            PA1090159    CWS         Groundwater                   4,150
  PA       BUFFALO TWP MUN AUTH FREEPORT     PA5030019    CWS         Surfacewater                  5,849
  PA       CAERNARVON TWP AUTH               PA3060052    CWS         Groundwater                   4,245
  PA       CAPITAL REGION WATER              PA7220049    CWS         Surfacewater                 66,540
  PA       CARLISLE WATER TRMT PLT           PA7210002    CWS         Surfacewater                 30,314
  PA       CATASAUQUA MUN WATER WORKS        PA3390044    CWS         Groundwater                   6,598
  PA       CENTER TWP WATER AUTH             PA5040007    CWS         Surfacewater                 19,000
  PA       CENTRAL INDIANA CO WATER AUTH     PA5320040    CWS         Surfacewater                  4,920
  PA       CHAMBERSBURG BORO WATER SYS       PA7280005    CWS         Surfacewater                 31,048
  PA       CHESTER WATER AUTHORITY           PA1230004    CWS         Surfacewater                140,437
  PA       CITY OF BETHLEHEM                 PA3480046    CWS         Surfacewater                117,259
  PA       CITY OF DUBOIS WATER DEPART       PA6170016    CWS         Surfacewater                  7,794
  PA       CITY OF LOCK HAVEN WATER DEPT     PA4180048    CWS         Surfacewater                  9,890
  PA       CLEARFIELD MUNICIPAL AUTH         PA6170008    CWS         Surfacewater                 14,000
  PA       COLLEGE TWP. WATER AUTHORITY      PA4140082    CWS         Groundwater                   6,000
  PA       COLUMBIA WATER CO                 PA7360123    CWS         Surfacewater                 25,200
  PA       CONEMAUGH TWP MUNI AUTH           PA4560048    CWS         Surfacewater                  7,800
  PA       COOPER TWP MUNICIPAL AUTH         PA6170041    CWS         Surfacewater                  3,700
  PA       CRANBERRY TWP WTP                 PA5100094    CWS         Surfacewater purchased       40,000

  PA       CRESWELL HEIGHTS JT AUTH          PA5040063    CWS         Groundwater                  15,000
  PA       DALLASTOWN YOE WATER AUTH         PA7670085    CWS         Surfacewater purchased       12,300

  PA       DANVILLE MUNICIPAL WATER AUTH     PA4470007    CWS         Surfacewater                  4,897
  PA       DENVER BORO                       PA7360017    CWS         Surfacewater                  3,861



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Primacy             PWS Name                PWSID       PWS Type      Primary Source        Population
Agency                                                                                        Served
 [State]
   PA    DUQUESNE WATER DEPT              PA5020012    CWS         Surfacewater purchased        5,565

 PA    E STROUDSBURG BORO WATER DEPT      PA2450023    CWS         Surfacewater                 13,000
 PA    EAGLE LAKE COMMUNITY ASSOC         PA2350833    NTNCWS      Groundwater                   3,500
 PA    EAST DONEGAL TWP MUNICIPAL AUT     PA7360083    CWS         Groundwater                   3,795
 PA    EAST DUNKARD WATER AUTHORITY       PA5300012    CWS         Surfacewater                  4,200
 PA    EAST HEMPFIELD WATER AUTH          PA7360063    CWS         Surfacewater purchased       20,988

 PA    EAST PENN MFG CO                   PA3060681    NTNCWS      Groundwater                   6,170
 PA    EAST PETERSBURG BOROUGH            PA7360135    CWS         Surfacewater purchased        6,215

 PA    EASTON AREA WATER SYSTEM           PA3480050    CWS         Surfacewater                 96,867
 PA    EBENSBURG BORO MUNI AUTH           PA4110009    CWS         Surfacewater                  8,500
 PA    EDGEWORTH BORO MUNI AUTH           PA5020015    CWS         Surfacewater purchased        7,781

 PA    EDINBORO WATER AUTHORITY           PA6250022    CWS         Groundwater                   7,800
 PA    ELIZABETHTOWN AREA WATER           PA7360124    CWS         Surfacewater                 19,000
 PA    EPHRATA AREA JOINT AUTHORITY       PA7360045    CWS         Surfacewater                 24,500
 PA    ERIE CITY WATER AUTHORITY          PA6250028    CWS         Surfacewater                220,001
 PA    FAIRVIEW TWP WATER AUTH DIST 3     PA6250040    CWS         Groundwater                   3,320
 PA    FAIRVIEW TWP WATER DISTRICT 1      PA6250087    CWS         Surfacewater purchased        4,100

 PA    FALLS TWP WATER & SEWER DEPT       PA1090022    CWS         Surfacewater purchased       24,400

 PA    FAWN FRAZER JT WATER AUTH          PA5020076    CWS         Surfacewater purchased        4,650

 PA    FINDLAY TWP MUNICIPAL AUTH         PA5020078    CWS         Surfacewater purchased       11,460

 PA    FLEETWOOD BORO WATER SYSTEM        PA3060029    CWS         Groundwater                   4,218
 PA    FOX CHAPEL AUTH                    PA5020040    CWS         Surfacewater purchased       18,500

 PA    FRANKLIN CO GEN AUTH               PA7280045    CWS         Surfacewater                  4,400
 PA    FREELAND BORO MUNI WATER AUTH      PA2400054    CWS         Groundwater                   4,610
 PA    GEISINGER MEDICAL CENTER           PA4470012    NTNCWS      Surfacewater purchased        6,442

 PA    GIRARD BORO WATER DEPT             PA6250049    CWS         Groundwater                   3,301
 PA    GREAT OAK SPRING WATER CO          PA3066215    NTNCWS      Groundwater purchased         5,000

 PA    GREATER JOHNSTOWN WA RIVERSIDE     PA4110034    CWS         Surfacewater                 49,500
 PA    GREENCASTLE AREA WATER AUTH        PA7280014    CWS         Surfacewater                  5,500
 PA    GREENVILLE MUNI WATER AUTH         PA6430037    CWS         Surfacewater                  8,600
 PA    GROVE CITY BORO WATER DEPT         PA6430040    CWS         Groundwater                   8,322
 PA    GUILFORD WATER AUTH                PA7280038    CWS         Groundwater                  28,135
 PA    HAMBURG MUNI WATER&SEWER AUTH      PA3060035    CWS         Surfacewater                  4,990

 PA    HAMPTON SHALER WATER AUTHORITY     PA5020019    CWS         Surfacewater purchased       61,949

 PA    HANOVER MUNI WATER WORKS           PA7670076    CWS         Surfacewater                 40,900


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Primacy                PWS Name                PWSID       PWS Type      Primary Source        Population
Agency                                                                                           Served
 [State]
   PA      HARMONY BORO WATER AUTH           PA5100042    CWS         Surfacewater                  6,669
   PA      HARRISON TWP WATER AUTH           PA5020108    CWS         Surfacewater                 13,411
   PA      HCA HAZLETON DIVISION             PA2408001    CWS         Surfacewater                 45,000
   PA      HEGINS HUBLEY AUTHORITY           PA3540047    CWS         Groundwater                   3,870
   PA      HELLERTOWN BOROUGH AUTHORITY      PA3480052    CWS         Groundwater                   5,800
   PA      HEMLOCK FARMS (MAIN)              PA2520033    CWS         Groundwater                   8,321
   PA      HIGH SPRING WATER                 PA7366299    NTNCWS      Groundwater                   3,600
   PA      HIGHLAND S & W AUTH BEAVERDAM     PA4110017    CWS         Surfacewater                 23,140
   PA      HIGHRIDGE WATER AUTH              PA5650069    CWS         Surfacewater                 16,000
   PA      HILLTOWN TWP WATER&SEWER AUTH     PA1090117    CWS         Surfacewater purchased        5,770

  PA       HOLLIDAYSBURG MUNI AUTH           PA4070017    CWS         Surfacewater purchased        8,523

  PA       HOUTZDALE MUNICIPAL AUTHORITY     PA6170023    CWS         Surfacewater                  8,410
  PA       HUNTINGDON BORO WATER DEPT        PA4310012    CWS         Surfacewater                 13,776
  PA       ICMSA CROOKED CREEK               PA5320109    CWS         Surfacewater                  9,638
  PA       INDIAN CREEK VALLEY WATER AUTH    PA5260011    CWS         Surfacewater                  7,000
  PA       INDIAN TRAIL SPRING               PA7226289    NTNCWS      Groundwater                   3,500
  PA       JERSEY SHORE AREA JNT WAT AUTH    PA4410156    CWS         Surfacewater                  6,600
  PA       KITTANNING SUBURB JT WATER AUT    PA5030043    CWS         Surfacewater                  8,000
  PA       KLINE TOWNSHIP MUN AUTHORITY      PA3540014    CWS         Groundwater                   6,700
  PA       KNOEBELS GROVE PARK               PA4190398    NTNCWS      Groundwater                   4,000
  PA       KUTZTOWN BOROUGH WATER            PA3060041    CWS         Groundwater under            14,200
                                                                      influence of
                                                                      surfacewater
  PA       LANSFORD COALDALE JT WATER AUT    PA3130004    CWS         Groundwater                   9,300
  PA       LATROBE MUNI AUTH                 PA5650060    CWS         Surfacewater                 30,000
  PA       LCA WLSA CENTRAL DIVISION         PA3390073    CWS         Surfacewater purchased       47,693

  PA       LEBANON WATER AUTH                PA7380010    CWS         Surfacewater                 57,000
  PA       LEHIGHTON WATER AUTHORITY         PA3130009    CWS         Surfacewater                  9,000
  PA       LITITZ BORO                       PA7360126    CWS         Groundwater under             9,397
                                                                      influence of
                                                                      surfacewater
  PA       LONDON GROVE TWP MUN AUTH         PA1150165    CWS         Surfacewater purchased        4,770

  PA       LOWER BUCKS CO JOINT MUN AUTH     PA1090026    CWS         Surfacewater                 63,007
  PA       LOWER SAUCON AUTHORITY            PA3480027    CWS         Surfacewater purchased        5,700

  PA       MAHANOY TWP AUTH                  PA3540011    CWS         Surfacewater                  5,584
  PA       MAIDENCREEK TWP WATER AUTH        PA3060012    CWS         Groundwater                   7,505
  PA       MANHEIM AREA WATER & SEWER AUT    PA7360078    CWS         Groundwater under             6,701
                                                                      influence of
                                                                      surfacewater
  PA       MANOR TWP JT MUNI AUTH            PA5030006    CWS         Groundwater                   6,744
  PA       MANSFIELD BOROUGH MUN AUTH        PA2590038    CWS         Surfacewater                  4,100
  PA       MASONIC HOMES                     PA7360025    CWS         Groundwater                   3,707


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Primacy             PWS Name                PWSID       PWS Type            Primary Source        Population
Agency                                                                                              Served
 [State]
   PA    MASONTOWN MUNI WATER WORKS       PA5260013    CWS               Surfacewater purchased        3,841

 PA    MAWC SWEENEY PLANT                 PA5650032    CWS               Surfacewater                143,000
 PA    MEADVILLE AREA WATER AUTHORITY     PA6200036    CWS               Groundwater                  17,339
 PA    MERCK AND CO INC                   PA1461065    NTNCWS            Surfacewater purchased        8,550

 PA    MIDDLESEX TWP MUNI AUTH            PA7210063    CWS               Groundwater                   3,527
 PA    MIFFLIN CNTY MUNI AUTH             PA4440010    CWS               Surfacewater                 26,765
 PA    MIFFLINBURG BORO WATER DEPT        PA4600012    CWS               Surfacewater                  3,690
 PA    MIFFLINTOWN MUNI AUTH              PA4340008    CWS               Surfacewater                  4,450
 PA    MILFORD TWP WATER AUTHORITY        PA1090125    CWS               Groundwater                   4,497
 PA    MILLERSBURG WATER AUTH             PA7220034    CWS               Surfacewater                  4,248
 PA    MILLERSVILLE UNIV                  PA7360127    CWS               Groundwater                   7,950
 PA    MINERSVILLE MUNICIPAL WATER AU     PA3540035    CWS               Surfacewater                  7,275
 PA    MONACA BORO WATER DEPT             PA5040039    CWS               Groundwater                   6,500
 PA    MONROEVILLE MUNICIPAL AUTH         PA5020027    CWS               Surfacewater purchased       48,500

 PA    MORRISVILLE MUNIC AUTHORITY        PA1090037    CWS               Surfacewater                 13,342
 PA    MOUNTAIN WATER ASSN                PA5260032    CWS               Surfacewater purchased        3,856

 PA    MT AIRY CASINO & RESORT            PA2450677    NTNCWS            Groundwater                   7,000
 PA    MT JOY BORO AUTH                   PA7360091    CWS               Groundwater under            15,100
                                                                         influence of
                                                                         surfacewater
 PA    MT PENN BORO MUNI AUTH             PA3060082    CWS               Groundwater                  10,400
 PA    MT UNION MUNICIPAL AUTH            PA4310016    CWS               Surfacewater                  5,801
 PA    MUN AUTH OF BORO OF BEDFORD        PA4050002    CWS               Surfacewater                  5,127
 PA    MUN WATER AUTH OF ALIQUIPPA        PA5040006    CWS               Groundwater                  15,685
 PA    MUNI AUTH OF WASHINGTON TWP        PA5260009    CWS               Surfacewater                  9,100
 PA    MUNICIPAL AUTHORITY OF CORRY       PA6250012    CWS               Groundwater                   7,800
 PA    MUNICIPAL AUTHORITY SUNBURY        PA4490007    CWS               Surfacewater                 11,043
 PA    MUNICIPAL WATER AUTH ADAMS TWP     PA5100141    CWS               Surfacewater purchased        8,700

 PA    MYERSTOWN WATER AUTH               PA7380025    CWS               Groundwater under             9,500
                                                                         influence of
                                                                         surfacewater
 PA    N MIDDLETON WATER AUTH             PA7210049    CWS               Surfacewater                  9,483
 PA    NANTY GLO WATER AUTH               PA4110023    CWS               Surfacewater                  4,076
 PA    NESTLE WATERS NORTH AMERICA        PA3396420    System not
                                                       found in
                                                       SDWIS,
                                                       additional
                                                       search could
                                                       not find system
                                                       name.




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Primacy              PWS Name               PWSID       PWS Type         Primary Source         Population
Agency                                                                                            Served
 [State]
   PA    NESTLE WATERS NORTH AMERICA      PA9996402    System not
                                                       found in
                                                       SDWIS,
                                                       additional
                                                       search could
                                                       not find system
                                                       name.
 PA    NESTLE WATERS NORTH AMERICA        PA9996457    System not
                                                       found in
                                                       SDWIS,
                                                       additional
                                                       search could
                                                       not find system
                                                       name.
 PA    NESTLE WATERS NORTH AMERICA        PA9996491    System not
                                                       found in
                                                       SDWIS,
                                                       additional
                                                       search could
                                                       not find system
                                                       name.
 PA    NESTLE WATERS NORTH AMERICA IN     PA9996558    System not
                                                       found in
                                                       SDWIS,
                                                       additional
                                                       search could
                                                       not find system
                                                       name.
 PA    NESTLE WATERS NORTH AMERICA IN     PA9996561    System not
                                                       found in
                                                       SDWIS,
                                                       additional
                                                       search could
                                                       not find system
                                                       name.
 PA    NESTLE WATERS NORTH AMERICA IN     PA9996570    System not
                                                       found in
                                                       SDWIS,
                                                       additional
                                                       search could
                                                       not find system
                                                       name.
 PA    NEVILLE TWP WATER DEPT             PA5020029    CWS             Surfacewater purchased        6,750

 PA    NEW HOLLAND BOROUGH                PA7360099    CWS            Groundwater                    5,500
 PA    NEW KENSINGTON MUNI AUTH           PA5650070    CWS            Surfacewater                  47,800
 PA    NEW OXFORD MUNCI AUTH              PA7010025    CWS            Surfacewater                   3,963
 PA    NEW SEWICKLEY TWP MUNI AUTH        PA5040085    CWS            Surfacewater purchased         4,276

 PA    NEW WILMINGTON BORO WATER DEPT     PA6370035    CWS            Surfacewater purchased         4,500




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Primacy             PWS Name               PWSID       PWS Type         Primary Source         Population
Agency                                                                                           Served
 [State]
   PA    NEWTOWN ARTESIAN WATER CO       PA1090043    CWS            Surfacewater purchased        38,500

 PA    NIAGARA BOTTLING                  PA3066584    System not
                                                      found in
                                                      SDWIS,
                                                      additional
                                                      search could
                                                      not find system
                                                      name.
 PA    NIAGARA BOTTLING                  PA9996602    System not
                                                      found in
                                                      SDWIS,
                                                      additional
                                                      search could
                                                      not find system
                                                      name.
 PA    NIAGARA BOTTLING                  PA9996620    System not
                                                      found in
                                                      SDWIS,
                                                      additional
                                                      search could
                                                      not find system
                                                      name.
 PA    NORTH EAST BOROUGH WATER DEPT     PA6250061    CWS             Surfacewater                  4,601
 PA    NORTH FAYETTE CNTY MUNI AUTH      PA5260019    CWS             Surfacewater                 35,409
 PA    NORTH SEWICKLEY MUN WATER AUTH    PA5040010    CWS             Surfacewater purchased        4,578

 PA    NORTH WALES WATER AUTHORITY       PA1460048    CWS            Surfacewater                  72,496
 PA    NORTHAMPTON BORO MUNI AUTH        PA3480057    CWS            Surfacewater                  40,000
 PA    NORTHAMPTON BUCKS CO MUN AUTH     PA1090089    CWS            Surfacewater purchased        36,750

 PA    NORTHERN CAMBRIA MUNI WATER       PA4110003    CWS            Groundwater under              4,500
                                                                     influence of
                                                                     surfacewater
 PA    OAKMONT WATER AUTHORITY           PA5020036    CWS            Surfacewater                  42,500
 PA    OIL CITY                          PA6610023    CWS            Groundwater                   10,564
 PA    OUTLET SHOPS AT GETTYSBURG        PA7010952    NTNCWS         Groundwater                    6,500
 PA    OXFORD BOROUGH                    PA1150066    CWS            Surfacewater purchased         5,280

 PA    PA AMER WATER CO                  PA7220017    CWS            Surfacewater                  46,000
 PA    PA AMER WATER CO BROWNELL         PA2359001    CWS            Surfacewater                  12,560
 PA    PA AMER WATER CO LAKE SCRANTON    PA2359008    CWS            Surfacewater                 134,570
 PA    PA AMER WATER CO NEW CASTLE       PA6370034    CWS            Surfacewater                  43,279
 PA    PA AMER WATER CO SUSQUEHANNA      PA2580024    CWS            Surfacewater                   4,230
 PA    PA AMER WATER CO-PITTSBURGH       PA5020039    CWS            Surfacewater                 686,000
 PA    PA AMERICAN WATER CO BUTLER       PA5100012    CWS            Surfacewater                  43,286
 PA    PA AMERICAN WATER CO CLARION      PA6160001    CWS            Surfacewater                  16,600
 PA    PA AMERICAN WATER CO KANE         PA6420019    CWS            Surfacewater                   5,725
 PA    PA AMERICAN WATER CO WARREN       PA6620020    CWS            Groundwater                   14,650


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Primacy                PWS Name                   PWSID       PWS Type      Primary Source        Population
Agency                                                                                              Served
 [State]
   PA      PA AMERICAN WATER CO-INDIANA D       PA5320025    CWS         Surfacewater                 22,360
   PA      PA AMERICAN WATER KITTANNING         PA5030008    CWS         Surfacewater                  5,000
   PA      PA AMERICAN WATER PUNXSY             PA6330010    CWS         Surfacewater                  8,800
   PA      PA AMERICAN WATER STEELTON           PA7220036    CWS         Surfacewater                  6,428
   PA      PA AMERICAN WHITE DEER               PA4490023    CWS         Surfacewater                 30,209
   PA      PA-AMERICAN WATER CO-CONNELLSV       PA5260022    CWS         Surfacewater purchased       11,425

  PA       PA-AMERICAN WATER- UNIONTOWN         PA5260020    CWS         Surfacewater purchased       23,125

  PA       PA-AMERICAN WATER-BROWNSVILLE        PA5260005    CWS         Surfacewater                 15,817
  PA       PALMERTON MUNICIPAL AUTHORITY        PA3130012    CWS         Groundwater                   7,000
  PA       PAW BANGOR DISTRICT                  PA3480038    CWS         Surfacewater                  9,008
  PA       PAW BLUE MOUNTAIN DIVISION           PA3480055    CWS         Surfacewater                 23,763
  PA       PAW CEASETOWN                        PA2409002    CWS         Surfacewater                 58,467
  PA       PAW CRYSTAL LAKE                     PA2409003    CWS         Surfacewater                  9,773
  PA       PAW HUNTSVILLE                       PA2409013    CWS         Surfacewater                 11,987
  PA       PAW NESBITT                          PA2409010    CWS         Surfacewater                 52,640
  PA       PAW PHILIPSBURG                      PA4140087    CWS         Surfacewater                 20,095
  PA       PAW WATRES                           PA2409011    CWS         Surfacewater                 52,002
  PA       PAWC SAW CREEK ESTATES               PA2520062    CWS         Groundwater                   7,016
  PA       PENN ESTATES UTILITIES INCORP        PA2450065    CWS         Groundwater                   4,300
  PA       PENN NATIONAL GAMING                 PA7220059    NTNCWS      Groundwater                   6,000
  PA       PERKASIE REGIONAL AUTHORITY          PA1090046    CWS         Groundwater                  15,000
  PA       PETROLEUM VALLEY RWA                 PA5100147    CWS         Groundwater purchased         3,800

  PA       PHOENIXVILLE WATER DEPT              PA1150077    CWS         Surfacewater                 16,599
  PA       PIKE TWP MUNICIPAL AUTHORITY         PA6170013    CWS         Surfacewater                  4,500
  PA       PITTSBURGH INTL AIRPORT              PA5020947    NTNCWS      Surfacewater purchased       26,915

  PA       PITTSBURGH WATER & SEWER AUTH        PA5020038    CWS         Surfacewater                520,000
  PA       PLEASANT VALLEY WATER AUTH           PA5260006    CWS         Surfacewater purchased        3,630

  PA       PLUM BORO MUNI AUTH                  PA5020041    CWS         Surfacewater purchased       27,500

  PA       PORTAGE BORO MUNI AUTH               PA4110027    CWS         Surfacewater                  7,600
  PA       POTTSTOWN BOROUGH WATER AUTH         PA1460037    CWS         Surfacewater                 36,000
  PA       RADISSON VALLEY FORGE HOTEL          PA1460492    NTNCWS      Groundwater                   3,500
  PA       RED LION MUNICIPAL AUTHORITY         PA7670086    CWS         Surfacewater                 15,882
  PA       RESERVE TWP WATER DEPT               PA5020047    CWS         Surfacewater purchased        3,333

  PA       RICHLAND TWP WATER AUTHORITY         PA5020018    CWS         Surfacewater purchased       10,190

  PA       RIDGWAY BOROUGH WATER SYSTEM         PA6240012    CWS         Surfacewater                  4,700
  PA       ROAMINGWOOD SEWER AND WATER          PA2640025    CWS         Groundwater                   7,105
  PA       ROBINSON TWP MUNI AUTH               PA5020045    CWS         Surfacewater                 16,354
  PA       SALISBURY TWP WATER SYSTEM           PA3390062    CWS         Surfacewater purchased        8,522



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Primacy              PWS Name               PWSID       PWS Type      Primary Source        Population
Agency                                                                                        Served
 [State]
   PA    SCHUYLKILL CO MUN AUTH           PA3540038    CWS         Surfacewater                 31,850
   PA    SCHUYLKILL HAVEN BORO WATER      PA3540041    CWS         Surfacewater                  6,000
   PA    SCHWENKSVILLE BOROUGH AUTH       PA1460042    CWS         Surfacewater purchased        5,200

 PA    SELINSGROVE MUN WATERWORKS         PA4550005    CWS         Groundwater                   5,584
 PA    SENECA & CRANBERRY MALL DIST       PA6610031    CWS         Groundwater                   4,400
 PA    SEWICKLEY BORO WATER AUTH          PA5020050    CWS         Groundwater                   6,800
 PA    SHARPSVILLE BORO WATER CO          PA6430055    CWS         Surfacewater purchased        5,310

 PA    SHENANDOAH MUN WATER AUTHORITY PA3540044        CWS         Surfacewater                  9,500

 PA    SHILLINGTON MUNI AUTH              PA3060067    CWS         Surfacewater purchased       11,709

 PA    SHIPPENSBURG BORO WATER AUTH       PA7210043    CWS         Surfacewater                 17,800
 PA    SHOHOLA FALLS TRAILS END SYS#2     PA2520941    NTNCWS      Groundwater                   3,933
 PA    SLATINGTON BOROUGH WATER SYS       PA3390039    CWS         Surfacewater                  4,450
 PA    SLIPPERY ROCK MUNI AUTH            PA5100079    CWS         Groundwater                  15,778
 PA    SOMERSET BORO MUNI WATER AUTH      PA4560042    CWS         Surfacewater purchased        6,309

 PA    SOMERSET TWP MUNI AUTH OAKRIDG     PA4560046    CWS         Surfacewater purchased        3,800

 PA    SOUTH MIDDLETON TWP WATER AUTH     PA7210050    CWS         Groundwater                  10,068

 PA    SOUTHWESTERN CAMBRIA CNTY AUTH     PA4110041    CWS         Surfacewater purchased        4,400

 PA    SOUTHWESTERN PA WATER AUTH         PA5300017    CWS         Surfacewater                 40,000
 PA    SPRINGDALE BORO WATER DEPT         PA5020053    CWS         Groundwater                   3,405
 PA    ST MARYS AREA WATER AUTH           PA6240016    CWS         Surfacewater                 19,588
 PA    STEWARTSTOWN BORO WATER AUTH       PA7670062    CWS         Surfacewater purchased        4,311

 PA    SUBURBAN LOCK HAVEN WATER AUTH     PA4180049    CWS         Surfacewater purchased        9,700

 PA    SUEZ WATER PA BETHEL               PA1230012    CWS         Surfacewater purchased        7,809

 PA    SUMMIT TOWNSHIP WATER AUTHORIT     PA6250090    CWS         Surfacewater purchased       12,500

 PA    TAMAQUA AREA WATER AUTHORITY       PA3540012    CWS         Surfacewater                  8,000
 PA    TARENTUM BORO WATER DEPT           PA5020055    CWS         Surfacewater                  4,927
 PA    TILDEN INDUSTRIAL PARK             PA3061067    NTNCWS      Groundwater                   4,000
 PA    TITUSVILLE MUNICIPAL WATER         PA6200051    CWS         Groundwater                   6,146
 PA    TOWANDA MUNICIPAL AUTHORITY        PA2080029    CWS         Groundwater under             5,000
                                                                   influence of
                                                                   surfacewater
 PA    TRI CNTY JT MUNI AUTH              PA5630045    CWS         Surfacewater                 10,100
 PA    TUNKHANNOCK BORO MUNIC AUTH        PA2660014    CWS         Groundwater                   5,349
 PA    TYRONE BORO WATER AUTH             PA4070021    CWS         Surfacewater                  6,500
 PA    UNION CITY MUNICIPAL AUTHORITY     PA6250064    CWS         Surfacewater                  3,320




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Primacy              PWS Name               PWSID       PWS Type      Primary Source        Population
Agency                                                                                        Served
 [State]
   PA    UPMC MAGEE WOMENS HOSPITAL       PA5020883    NTNCWS      Surfacewater purchased        4,900

 PA    UPMC MONTEFIORE                    PA5020806    NTNCWS      Surfacewater purchased        4,500

 PA    UPMC PRESBYTERIAN                  PA5020808    NTNCWS      Surfacewater purchased        8,200

 PA    UPMC SHADYSIDE HILLMAN CAMPUS      PA5020898    NTNCWS      Surfacewater purchased        4,750

 PA    UPPER SAUCON TWP WATER SUPPLY      PA3390077    CWS         Surfacewater purchased        7,300

 PA    UPPER SOUTHAMPTON MUN AUTH         PA1090063    CWS         Surfacewater purchased       16,000

 PA    VEOLIA WATER PA DALLAS             PA2400076    CWS         Groundwater                   5,113
 PA    VEOLIA WATER PA INC BLOOMSBURG     PA4190008    CWS         Surfacewater                 26,407
 PA    VEOLIA WATER PA SHAVERTOWN         PA2400091    CWS         Groundwater                   3,472
 PA    WARWICK TWP LITITZ SYS             PA7360116    CWS         Purchased groundwater         8,561
                                                                   under influence of
                                                                   surfacewater source

 PA    WARWICK TWP WATER & SEWER AUTH     PA1090127    CWS         Surfacewater purchased       14,699

 PA    WASHINGTON TWP MUNI AUTH           PA7280026    CWS         Groundwater                   5,705
 PA    WELLSBORO MUNICIPAL AUTHORITY      PA2590042    CWS         Surfacewater                  8,225
 PA    WERNERSVILLE MUNI WATER AUTH       PA3060076    CWS         Surfacewater purchased        7,654

 PA    WEST CNTY MUNI AUTH-MCKEESPORT     PA5020025    CWS         Surfacewater                 32,644
 PA    WEST EARL WATER AUTHORITY          PA7360143    CWS         Surfacewater purchased        4,327

 PA    WEST MANCHESTER TWP AUTH           PA7670101    CWS         Groundwater                   9,960
 PA    WEST READING BORO WATER            PA3060078    CWS         Surfacewater purchased        4,300

 PA    WEST VIEW WATER AUTHORITY          PA5020043    CWS         Surfacewater                200,000
 PA    WESTERN ALLEGHENY COUNTY MUN A     PA5020034    CWS         Surfacewater purchased       19,031

 PA    WHITEHALL TWP AUTHORITY            PA3390081    CWS         Groundwater                  13,063
 PA    WILKINSBURG-PENN JT WATER AUTH     PA5020056    CWS         Surfacewater                125,000
 PA    WINDBER AREA AUTH                  PA4560013    CWS         Groundwater                   9,454
 PA    WOMELSDORF ROBESONIA JT AUTH       PA3060080    CWS         Groundwater                   7,070
 PA    WOROBEY TRANSPORT                  PA2646542    NTNCWS      Groundwater purchased         3,400

 PA    WRIGHTSVILLE BORO MUNI AUTH        PA7670097    CWS         Surfacewater                  4,076
 PA    WYOMISSING BORO WATER SYSTEM       PA3060083    CWS         Surfacewater purchased        8,500

 PA    YORK WATER CO                      PA7670100    CWS         Surfacewater                197,177
 PA    ZELIENOPLE BORO                    PA5100093    CWS         Surfacewater purchased        4,123

 PR    ACEITUNAS                          PR0004654    CWS         Surfacewater                 12,466
 PR    ADJUNTAS URBANO                    PR0004204    CWS         Surfacewater                  5,923
 PR    AGUAS BUENAS URBANO                PR0005046    CWS         Surfacewater                 12,789


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Primacy               PWS Name                PWSID       PWS Type      Primary Source   Population
Agency                                                                                     Served
 [State]
   PR      AIBONITO LA PLATA                PR0004545    CWS         Surfacewater              17,782
   PR      AIBONITO URBANO                  PR0004955    CWS         Surfacewater               5,935
   PR      ALTURAS                          PR0003842    CWS         Surfacewater               7,095
   PR      ARECIBO URBANO                   PR0002652    CWS         Surfacewater              81,548
   PR      ARUZ                             PR0003834    CWS         Groundwater                5,556
   PR      BAJADERO                         PR0003222    CWS         Groundwater                3,556
   PR      BARCELONETA URBANO               PR0002722    CWS         Groundwater               23,153
   PR      BARRANCAS NUEVO                  PR0004625    CWS         Surfacewater               4,510
   PR      BARRANQUITAS URBANO              PR0004605    CWS         Surfacewater               6,384
   PR      BO NUEVO                         PR0005557    CWS         Surfacewater               5,407
   PR      CABO ROJO                        PR0003373    CWS         Surfacewater              21,301
   PR      CAGUAS NORTE                     PR0005086    CWS         Surfacewater              56,091
   PR      CAGUAS SUR                       PR0005066    CWS         Surfacewater              33,917
   PR      CAYEY URBANO                     PR0004635    CWS         Surfacewater              21,787
   PR      CEDRO ARRIBA                     PR0005517    CWS         Surfacewater               6,157
   PR      CERRILLOS                        PR0004634    CWS         Groundwater               10,449
   PR      CIALES URBANO                    PR0002752    CWS         Surfacewater               7,780
   PR      CIDRA URBANO                     PR0004695    CWS         Surfacewater              36,101
   PR      CIENEGA                          PR0003862    CWS         Groundwater                4,714
   PR      COAMO URBANO                     PR0003914    CWS         Surfacewater               5,353
   PR      COCOS                            PR0004895    CWS         Groundwater               10,482
   PR      COMERIO URBANO                   PR0004705    CWS         Surfacewater              16,121
   PR      COQUI                            PR0004915    CWS         Groundwater                6,509
   PR      COROZAL URBANO                   PR0005487    CWS         Surfacewater               8,619
   PR      COTTO LAUREL                     PR0004524    CWS         Surfacewater              13,558
   PR      DEPORTIVO                        PR0004444    CWS         Groundwater                3,981
   PR      DORADO URBANO                    PR0005607    CWS         Groundwater               39,733
   PR      DUEY                             PR0003553    CWS         Groundwater                5,708
   PR      EL YUNQUE                        PR0005296    CWS         Surfacewater              57,992
   PR      ENSENADA                         PR0004084    CWS         Groundwater                6,670
   PR      EXPERIMENTAL                     PR0004604    CWS         Groundwater                4,888
   PR      FAJARDO CEIBA                    PR0005306    CWS         Surfacewater              61,981
   PR      FARALLON                         PR0004925    CWS         Surfacewater              39,156
   PR      FLORIDA URBANO                   PR0002732    CWS         Groundwater               14,303
   PR      GARROCHALES                      PR0002782    CWS         Groundwater                5,175
   PR      GUANICA URBANO                   PR0004074    CWS         Groundwater                7,537
   PR      GUAYAMA URBANO                   PR0004745    CWS         Surfacewater              37,970
   PR      GUAYANILLA URBANO                PR0004054    CWS         Groundwater                9,029
   PR      GURABO URBANO                    PR0005096    CWS         Surfacewater              25,806
   PR      HATILLO-CAMUY                    PR0002662    CWS         Surfacewater              35,580
   PR      HORMIGUERO                       PR0003383    CWS         Groundwater               12,715
   PR      ISABELA                          PR0002672    CWS         Surfacewater              52,519
   PR      JACAGUAS                         PR0004534    CWS         Groundwater                4,438
   PR      JAGUAL                           PR0005416    CWS         Surfacewater               4,085


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Primacy                PWS Name                PWSID       PWS Type      Primary Source   Population
Agency                                                                                      Served
 [State]
   PR      JAGUAS POZAS                      PR0003802    CWS         Surfacewater              4,713
   PR      JAYUYA URBANO                     PR0002712    CWS         Surfacewater             10,685
   PR      JUNCOS - CEIBA SUR                PR0005166    CWS         Surfacewater             39,140
   PR      LAGO GUAJATACA                    PR0003772    CWS         Surfacewater             12,290
   PR      LAJAS                             PR0003343    CWS         Surfacewater             50,797
   PR      LARES ESPINO                      PR0003872    CWS         Surfacewater             16,676
   PR      LARES URBANO                      PR0002692    CWS         Surfacewater             12,634
   PR      LAS BOCAS                         PR0004945    CWS         Surfacewater              7,383
   PR      LAS MARIAS                        PR0003363    CWS         Surfacewater              7,620
   PR      LAS PIEDRAS HUMACAO               PR0005376    CWS         Surfacewater             36,600
   PR      LUQUILLO URBANO                   PR0005316    CWS         Surfacewater              9,155
   PR      MANATI EAST                       PR0003262    CWS         Groundwater              21,351
   PR      MARICAO                           PR0003353    CWS         Surfacewater              3,508
   PR      MAUNABO URBANO                    PR0004815    CWS         Groundwater               9,874
   PR      MAYAGUEZ                          PR0003283    CWS         Surfacewater            162,168
   PR      METROPOLITANO                     PR0002591    CWS         Surfacewater          1,163,581
   PR      MIRAFLORES                        PR0002812    CWS         Surfacewater              4,646
   PR      MOROVIS URBANO                    PR0002762    CWS         Surfacewater             24,230
   PR      NEGROS                            PR0005537    CWS         Surfacewater             14,781
   PR      OROCOVIS URBANO                   PR0004044    CWS         Surfacewater             17,256
   PR      PATILLAS URBANO                   PR0004835    CWS         Surfacewater             41,770
   PR      PENUELAS                          PR0004324    CWS         Surfacewater             18,538
   PR      PIEDRAS BLANCAS                   PR0004474    CWS         Groundwater               3,572
   PR      PLATA I Y II                      PR0003296    CWS         Groundwater               3,634
   PR      PONCE URBANO                      PR0003824    CWS         Surfacewater            121,867
   PR      PUGNADO                           PR0002972    CWS         Groundwater               3,733
   PR      QUEBRADA                          PR0002872    CWS         Surfacewater             13,226
   PR      QUEBRADA ARENAS                   PR0003882    CWS         Surfacewater              4,576
   PR      QUEBRADILLAS URBANO               PR0002682    CWS         Surfacewater             31,012
   PR      RAYO                              PR0003573    CWS         Groundwater               4,018
   PR      REGIONAL VILLALBA TOA VACA        PR0004664    CWS         Surfacewater             41,929
   PR      RIO BLANCO,VIEQUES,CULEDRA        PR0005386    CWS         Surfacewater             87,573
   PR      RONCADOR                          PR0003142    CWS         Surfacewater              4,972
   PR      SABANA GRANDE                     PR0003333    CWS         Surfacewater             27,127
   PR      SABANA HOYOS                      PR0002822    CWS         Surfacewater              7,851
   PR      SALINAS URBANO                    PR0004885    CWS         Groundwater               9,513
   PR      SAN LORENZO URBANO                PR0005106    CWS         Surfacewater             27,557
   PR      SAN SEBASTIAN                     PR0003303    CWS         Surfacewater             25,664
   PR      SANTA ISABEL                      PR0003712    CWS         Surfacewater              3,476
   PR      SANTA ISABEL URBANO               PR0003904    CWS         Groundwater              51,311
   PR      SANTANA                           PR0002832    CWS         Surfacewater             22,839
   PR      TIERRA NUEVA RABANOS              PR0003182    CWS         Groundwater              10,263
   PR      U.C.P.R                           PR0458104    NTNCWS      Groundwater               7,416
   PR      U.S. ARMY, FORT BUCHANAN          PR0132051    CWS         Surfacewater              6,411


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Primacy                 PWS Name                 PWSID       PWS Type      Primary Source        Population
Agency                                                                                             Served
 [State]
   PR      UTUADO URBANO                       PR0002702    CWS         Surfacewater                 17,847
   PR      VEGA BAJA URBANO                    PR0002772    CWS         Surfacewater                 40,620
   PR      YABUCOA URBANO                      PR0005196    CWS         Surfacewater                 15,681
   PR      YAUCO                               PR0004314    CWS         Surfacewater                 39,262
   RI      BLOCK ISLAND WATER COMPANY          RI1858430    CWS         Groundwater                   9,999
   RI      BRISTOL COUNTY WATER AUTHORITY      RI1647515    CWS         Surfacewater purchased       49,000

  RI       CNE - NEW LONDON TURNPIKE ENTRY     RI2980453    CWS         Groundwater purchased         9,999
           POINT
  RI       EAST PROVIDENCE-CITY OF             RI1615610    CWS         Surfacewater purchased       47,618

  RI       GREENVILLE WATER DISTRICT           RI1858410    CWS         Surfacewater purchased        9,500

  RI       KINGSTON WATER DISTRICT             RI1858421    CWS         Groundwater                   3,968
  RI       LINCOLN WATER COMMISSION            RI1858423    CWS         Surfacewater purchased       21,780

  RI       NARRAGANSETT WATER DEPT-NORTH   RI1858429        CWS         Groundwater purchased         4,432
           END
  RI       NARRAGANSETT WATER SYSTEM-POINT RI1858428        CWS         Groundwater purchased         8,210
           JUDITH
  RI       NORTH TIVERTON FIRE DISTRICT    RI1592018        CWS         Surfacewater purchased        8,969

  RI       PORTSMOUTH WATER & FIRE DISTRICT    RI1592022    CWS         Surfacewater purchased       17,090

  RI       PROVIDENCE-CITY OF                  RI1592024    CWS         Surfacewater                317,716
  RI       RHODE ISLAND HOSPITAL - LIFESPAN    RI2980469    NTNCWS      Surfacewater purchased        8,040

  RI       SLATERSVILLE PUBLIC SUPPLY          RI1615614    CWS         Surfacewater purchased        3,403

  RI       SMITHFIELD WATER SUPPLY BOARD       RI1615616    CWS         Surfacewater purchased        9,460

  RI       SOUTH KINGSTOWN-SOUTH SHORE         RI1615623    CWS         Groundwater                   6,170
  RI       VEOLIA WATER WAKEFIELD RHODE        RI1615624    CWS         Groundwater                  21,900
           ISLAND INC
  RI       WARWICK-CITY OF                     RI1615627    CWS         Surfacewater purchased       75,000

  SC       ALLENDALE TOWN OF (SC0310001)       SC0310001    CWS         Groundwater                   3,882
  SC       ALLIGATOR RURAL WATER (SC1320004) SC1320004      CWS         Groundwater                   4,410
  SC       AMICKS FERRY WTR SYSTEM (SC3250077) SC3250077    CWS         Surfacewater purchased        3,671

  SC       ANDREWS TOWN OF (SC2210003)         SC2210003    CWS         Groundwater                   3,334
  SC       BAMBERG PUBLIC WORKS (SC0510001)    SC0510001    CWS         Groundwater                   3,735
  SC       BARNWELL TOWN OF (SC0610001)        SC0610001    CWS         Groundwater                   4,563
  SC       BCWSA EAST COOPER (SC0820009)       SC0820009    CWS         Surfacewater purchased       10,362

  SC       BCWSA SANGAREE W/D (0820002)        SC0820002    CWS         Surfacewater purchased       67,351

  SC       BEECH ISLAND W/D (SC0220004)        SC0220004    CWS         Groundwater                   8,276




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Primacy               PWS Name                   PWSID       PWS Type      Primary Source        Population
Agency                                                                                             Served
 [State]
   SC    BELTON CITY OF (SC0410004)            SC0410004    CWS         Surfacewater purchased        6,584

  SC    BETHLEHEM-ROANOKE W/D (SC3920003)      SC3920003    CWS         Surfacewater purchased        6,334

  SC    BGWC I-20 (SC3250012)                  SC3250012    CWS         Surfacewater purchased        6,637

  SC    BGWC LAKE WYLIE AREA (SC4650006)       SC4650006    CWS         Surfacewater purchased       11,848

  SC    BIG CREEK W/S DISTRICT (0420009)       SC0420009    CWS         Surfacewater purchased       13,647

  SC    BLACKSBURG TOWN OF (SC1110002)         SC1110002    CWS         Surfacewater purchased        4,225

  SC    BLUE RIDGE WATER CO INC (SC2320003)    SC2320003    CWS         Surfacewater purchased       40,006

  SC    BROAD CREEK PSD (0720009)              SC0720009    CWS         Surfacewater purchased        3,481

  SC    BROADWAY W&S DISTRICT (SC0420008)      SC0420008    CWS         Surfacewater purchased        9,586

  SC    BUCKSPORT WATER COMPANY                SC2620003    CWS         Groundwater                  17,123
        (SC2620003)
  SC    CENTRAL TOWN OF (SC3910005)            SC3910005    CWS         Surfacewater purchased        3,495

  SC    CHESTERFIELD CO RURAL WATER            SC1320003    CWS         Groundwater purchased        22,629
        (SC1320003)
  SC    CLARENDON CO W&S HWY 260               SC1450013    CWS         Groundwater                   3,521
        (SC1450013)
  SC    CLEMSON CITY OF (SC3910004)            SC3910004    CWS         Surfacewater purchased       17,896

  SC    CLOVER TOWN OF (SC4610006)             SC4610006    CWS         Surfacewater purchased        7,847

  SC    CONWAY CITY OF (SC2610008)             SC2610008    CWS         Surfacewater purchased       27,005

  SC    CONWAY RURAL (SC2620001)               SC2620001    CWS         Surfacewater purchased       12,740

  SC    DACUSVILLE-CEDAR ROCK WT CO            SC3920008    CWS         Surfacewater purchased        8,700
        (SC3920008)
  SC    DALZELL WATER DISTRICT (SC4320001)     SC4320001    CWS         Groundwater                   3,912
  SC    DANIEL MORGAN WATER DISTRICT           SC1120001    CWS         Surfacewater purchased        5,314
        (1120001)
  SC    DCWA KNIGHTSVILLE (1820001)            SC1820001    CWS         Surfacewater purchased       31,747

  SC    DCWS ASHLEY PHOSPHATE (SC1820008)      SC1820008    CWS         Surfacewater purchased       25,668

  SC    DENMARK TOWN OF (SC0510002)            SC0510002    CWS         Groundwater                   3,500
  SC    DONALDS-DUE WEST W&SA (SC0120001)      SC0120001    CWS         Surfacewater purchased        5,200

  SC    DRAYTONVILLE WATER DIST (SC1120003) SC1120003       CWS         Surfacewater purchased        5,323

  SC    EDISTO BEACH TOWN OF (SC1510006)       SC1510006    CWS         Groundwater                   5,568
  SC    ELECTRIC CITY UTILITIES (SC0410012)    SC0410012    CWS         Surfacewater purchased       38,204




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Primacy               PWS Name                  PWSID       PWS Type      Primary Source        Population
Agency                                                                                            Served
 [State]
   SC    FOLLY BEACH CITY OF (1010005)        SC1010005    CWS         Surfacewater purchased        4,260

  SC    FORT MILL TOWN OF (SC4610003)         SC4610003    CWS         Surfacewater purchased       20,783

  SC    GASTON RURAL WATER DIST (SC3220002) SC3220002      CWS         Groundwater                   7,550

  SC    GCWSD KILSOCK WATER SYS (SC2220002) SC2220002      CWS         Groundwater                   4,417

  SC    GEORGETOWN RURAL COMM WA              SC2220001    CWS         Groundwater                   4,854
        (2220001)
  SC    GILBERT-SUMMIT WD (3220001)           SC3220001    CWS         Groundwater                   7,795
  SC    GOOSE CREEK CITY OF (SC0810004)       SC0810004    CWS         Surfacewater purchased       38,225

  SC    GOUCHER WD (1120004)                  SC1120004    CWS         Surfacewater purchased        4,904

  SC    GRASSY POND WATER CO INC              SC1120002    CWS         Surfacewater purchased        8,645
        (SC1120002)
  SC    GREENVILLE WATER (2310001)            SC2310001    CWS         Surfacewater                369,090
  SC    GSW&SA-MARION CITY OF (3310001)       SC3310001    CWS         Groundwater                   9,022
  SC    HAMMOND W/D (SC0420007)               SC0420007    CWS         Surfacewater purchased       21,193

  SC    HARTSVILLE CITY OF (SC1610003)        SC1610003    CWS         Groundwater                   8,655
  SC    HIGH HILLS RURAL WATER CO INC         SC4320003    CWS         Groundwater                  12,545
        (4320003)
  SC    HIGHWAY 88 W/D (SC0420004)            SC0420004    CWS         Surfacewater purchased        3,796

  SC    HILTON HEAD PSD 1 (0720006)           SC0720006    CWS         Surfacewater purchased       25,558

  SC    HOMELAND PARK W/D (0420001)           SC0420001    CWS         Surfacewater purchased        7,153

  SC    HONEA PATH TOWN OF (SC0410003)        SC0410003    CWS         Surfacewater purchased        4,275

  SC    INMAN CAMPOBELLO W/D (4220002)        SC4220002    CWS         Surfacewater purchased       34,503

  SC    ISLE OF PALMS W/S COMM (SC1010004)    SC1010004    CWS         Surfacewater purchased        9,530

  SC    JACKSON TOWN OF (0210002)             SC0210002    CWS         Groundwater                   3,660
  SC    JOHNSONVILLE CITY OF (SC2110011)      SC2110011    CWS         Groundwater                   5,333
  SC    JOINT MUNICIPAL WSC (SC3220003)       SC3220003    CWS         Surfacewater purchased       47,838

  SC    KEOWEE KEY UTILITY SYSTEM INC         SC3750023    CWS         Surfacewater purchased        4,108
        (3750023)
  SC    KIAWAH ISLAND UTILITY (SC1010008)     SC1010008    CWS         Surfacewater purchased        9,288

  SC    KINGSTREE TOWN OF (SC4510002)         SC4510002    CWS         Groundwater                   6,009
  SC    LAKE CITY CITY OF (SC2110007)         SC2110007    CWS         Groundwater                   9,191
  SC    LANCASTER CITY OF (SC2910001)         SC2910001    CWS         Surfacewater purchased       14,074

  SC    LANCASTER COUNTY W&SD (SC2920001) SC2920001        CWS         Surfacewater purchased       79,107




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Agency                                                                                            Served
 [State]
   SC    LAURENS COUNTY W&S COMM              SC3020001    CWS         Surfacewater                 36,314
         (SC3020001)
   SC    LCF WATER DISTRICT (SC4220010)       SC4220010    CWS         Surfacewater purchased       16,970

  SC    LEXINGTON TOWN OF (3210001)           SC3210001    CWS         Surfacewater purchased       24,284

  SC    LIBERTY CITY OF (SC3910003)           SC3910003    CWS         Surfacewater purchased        3,349

  SC    LITTLE RIVER W&SA (SC2620002)         SC2620002    CWS         Surfacewater purchased       25,370

  SC    LORIS CITY OF (SC2610010)             SC2610010    CWS         Surfacewater purchased        3,872

  SC    MANNING CITY OF (SC1410002)           SC1410002    CWS         Groundwater                   5,908
  SC    MARCO RURAL WATER CO (SC3320001)      SC3320001    CWS         Groundwater                  16,656
  SC    MARLBORO WATER CO (SC3420001)         SC3420001    CWS         Groundwater                   5,060
  SC    MCCORMICK CO W&SA (SC3520002)         SC3520002    CWS         Surfacewater purchased        8,500

  SC    MEANSVILLE RILEY W/D (SC4420001)      SC4420001    CWS         Surfacewater purchased        7,368

  SC    MIDCOUNTY WATER DIST 2 (SC2020004)    SC2020004    CWS         Surfacewater purchased        3,500

  SC    MONCKS CORNER CITY OF (SC0810001)     SC0810001    CWS         Surfacewater purchased        7,440

  SC    MONTMORENCI W/D (SC0220008)           SC0220008    CWS         Groundwater                   3,834
  SC    MT PLEASANT WATER WORKS (1010002)     SC1010002    CWS         Surfacewater purchased       91,500

  SC    MULLINS CITY OF (3310002)             SC3310002    CWS         Groundwater                   7,317
  SC    MYRTLE BEACH CITY OF (SC2610001)      SC2610001    CWS         Surfacewater purchased       50,930

  SC    N MYRTLE BEACH CITY OF (SC2610011)    SC2610011    CWS         Surfacewater purchased       40,625

  SC    NEW ELLENTON CPW (SC0210007)          SC0210007    CWS         Groundwater                   6,588
  SC    PAGELAND CITY OF (SC1310003)          SC1310003    CWS         Groundwater purchased         3,334

  SC    PENDLETON TOWN OF (SC0410006)         SC0410006    CWS         Surfacewater purchased        5,403

  SC    PICKENS WTP (SC3910001)              SC3910001     CWS         Surfacewater                 10,263
  SC    PIONEER RURAL WATER DIST (SC3720001) SC3720001     CWS         Surfacewater                 16,927

  SC    POWDERSVILLE WATER DISTRICT           SC0420002    CWS         Surfacewater purchased       35,251
        (SC0420002)
  SC    SALEM TOWN OF (SC3710001)             SC3710001    CWS         Surfacewater purchased        6,120

  SC    SALUDA CPW (4110001)                  SC4110001    CWS         Surfacewater purchased        3,377

  SC    SANDY SPRINGS WATER CO INC            SC0420003    CWS         Surfacewater purchased       13,968
        (SC0420003)
  SC    SEABROOK ISLAND TOWN OF (1010009)     SC1010009    CWS         Surfacewater purchased        5,328

  SC    SENECA CITY OF (3710002)              SC3710002    CWS         Surfacewater                 36,945



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Primacy                 PWS Name                  PWSID       PWS Type      Primary Source        Population
Agency                                                                                              Served
 [State]
   SC    SIX MILE W/D (SC3920002)               SC3920002    CWS         Surfacewater purchased       13,680

  SC    SOUTH ISLAND PSD (SC0720001)            SC0720001    CWS         Groundwater                  18,299
  SC    SOUTHSIDE W/D (3920010)                 SC3920010    CWS         Surfacewater purchased        9,568

  SC    SPARTANBURG WATER SYSTEM (4210001) SC4210001         CWS         Surfacewater                140,024

  SC    ST JOHN'S WATER (SC1020002)             SC1020002    CWS         Surfacewater purchased       22,592

  SC    SUMTER CITY OF (SC4310001)              SC4310001    CWS         Groundwater                  53,070
  SC    SWS-LANDRUM WTP (SC4210003)             SC4210003    CWS         Surfacewater                  4,419
  SC    TEGA CAY CITY OF (SC4610008)            SC4610008    CWS         Surfacewater purchased       10,500

  SC    TRICO WATER COMPANY (SC1720001)         SC1720001    CWS         Groundwater                  17,815
  SC    VALLEY PSA (SC0220012)                  SC0220012    CWS         Groundwater                   7,649
  SC    WALHALLA CITY OF (SC3710004)            SC3710004    CWS         Surfacewater                 16,185
  SC    WALTERBORO CITY OF (1510004)            SC1510004    CWS         Groundwater                  11,689
  SC    WCWSA (SC4510007)                       SC4510007    CWS         Groundwater                   7,099
  SC    WEST ANDERSON W/D (0420006)             SC0420006    CWS         Surfacewater purchased       17,430

  SC    WESTMINSTER CITY OF (3710003)           SC3710003    CWS         Surfacewater                  7,997
  SC    WILLIAMSTON TOWN OF (0410010)           SC0410010    CWS         Surfacewater purchased        6,693

  SC    YORK CITY OF (4610001)                  SC4610001    CWS         Surfacewater purchased        9,220

  SC    YORK COUNTY EAST WD (SC4620002)         SC4620002    CWS         Surfacewater purchased       30,225

  SC    YORK COUNTY WEST WD (SC4620003)         SC4620003    CWS         Surfacewater purchased        6,063

  SD    ABERDEEN                         SD4600020           CWS         Surfacewater                 26,091
  SD    BELLE FOURCHE                    SD4600037           CWS         Groundwater                   5,874
  SD    BIG SIOUX COMMUNITY WATER SYSTEM SD4600429           CWS         Groundwater                   5,337

  SD    BLACK HAWK WATER USER DISTRICT          SD4600043    CWS         Groundwater                   3,750
  SD    BON HOMME-YANKTON RWS                   SD4600865    CWS         Surfacewater                 12,840
  SD    BOX ELDER                               SD4600046    CWS         Groundwater                  10,551
  SD    BRANDON                                 SD4600048    CWS         Groundwater                  10,226
  SD    BROOKINGS MUNICIPAL UTILITIES           SD4600071    CWS         Groundwater                  22,298
  SD    BROOKINGS-DEUEL RURAL WATER             SD4600430    CWS         Groundwater                   6,200
        SYSTEM
  SD    BROWN-DAY-MARSHALL RWS                  SD4600882    CWS         Groundwater                   5,673
  SD    CANTON                                  SD4600082    CWS         Groundwater                   3,714
  SD    CLAY RURAL WATER SYSTEM                 SD4600626    CWS         Groundwater                   4,550
  SD    DAKOTA DUNES CID                        SD4602093    CWS         Purchased groundwater         3,350
                                                                         under influence of
                                                                         surfacewater source




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Primacy                PWS Name                PWSID       PWS Type      Primary Source        Population
Agency                                                                                           Served
 [State]
   SD    DELL RAPIDS                         SD4600105    CWS         Groundwater purchased         3,633

  SD    EAGLE BUTTE                          SD4600010    CWS         Surfacewater purchased        4,000

  SD    GRANT-ROBERTS RURAL WATER            SD4600864    CWS         Groundwater                   4,857
        SYSTEM
  SD    HARRISBURG                           SD4600148    CWS         Groundwater purchased         7,800

  SD    HARTFORD                             SD4600150    CWS         Groundwater purchased         3,396

  SD    HOT SPRINGS                          SD4600163    CWS         Groundwater                   3,395
  SD    HURON                                SD4600169    CWS         Surfacewater purchased       13,380

  SD    KINGBROOK I RURAL WATER SYSTEM       SD4600431    CWS         Groundwater purchased         6,077

  SD    LINCOLN COUNTY RURAL WATER           SD4600304    CWS         Groundwater purchased         6,043
        SYSTEM
  SD    MADISON                              SD4600199    CWS         Groundwater                   6,936
  SD    MID-DAKOTA RURAL WATER               SD4602175    CWS         Surfacewater                 11,712
  SD    MINNEHAHA COMMUNITY WATER CORP       SD4600432    CWS         Groundwater                  13,435

  SD    MITCHELL                             SD4600214    CWS         Surfacewater purchased       15,651

  SD    MOBRIDGE                         SD4600215        CWS         Surfacewater                  3,388
  SD    RAPID CITY                       SD4600406        CWS         Surfacewater                 72,009
  SD    RAPID VALLEY SANITARY DISTRICT   SD4600274        CWS         Surfacewater                 10,000
  SD    SIOUX RURAL WATER SYSTEM         SD4600866        CWS         Groundwater                   4,012
  SD    SOUTH LINCOLN RURAL WATER SYSTEM SD4600870        CWS         Groundwater                   4,404

  SD    STURGIS                              SD4600321    CWS         Groundwater                   6,943
  SD    TEA                                  SD4600409    CWS         Groundwater purchased         6,847

  SD    TM RURAL WATER DISTRICT              SD4600999    CWS         Groundwater                   4,059
  SD    TRIPP COUNTY WATER USER DISTRICT     SD4600520    CWS         Groundwater                   4,860
  SD    VERMILLION                           SD4600342    CWS         Groundwater                  11,254
  SD    WEB WATER DEVELOPMENT                SD4601089    CWS         Surfacewater                 16,752
        ASSOCIATION
  SD    WR/LJ - MNI WICONI                   SD4602223    CWS         Surfacewater purchased        4,720

  SD    YANKTON                              SD4600423    CWS         Groundwater                  14,500
  TN    ADAMSVILLE WATER SYSTEM              TN0000002    CWS         Groundwater                   9,451
  TN    ALCOA WATER SYSTEM                   TN0000007    CWS         Surfacewater                 30,944
  TN    ALGOOD WATER SYSTEM                  TN0000009    CWS         Surfacewater purchased        9,203

  TN    ALLARDT WATER WORKS                  TN0000010    CWS         Surfacewater purchased        3,762

  TN    ALPHA-TALBOTT UTILITY DISTRICT       TN0000014    CWS         Surfacewater purchased       18,368

  TN    ANDERSON COUNTY WATER AUTH           TN0000514    CWS         Surfacewater                 24,929



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Primacy                 PWS Name                 PWSID       PWS Type      Primary Source        Population
Agency                                                                                             Served
 [State]
   TN      ARTHUR-SHAWANEE U.D.                TN0000022    CWS         Surfacewater                  9,776
   TN      ASHLAND CITY WATER DEPARTMENT       TN0000023    CWS         Surfacewater                  8,494
   TN      ATHENS UTILITIES BOARD              TN0000024    CWS         Surfacewater                 25,093
   TN      ATOKA WATER SYSTEM                  TN0000033    CWS         Groundwater purchased         9,270

  TN       BANGHAM UTILITY DISTRICT            TN0000038    CWS         Surfacewater purchased        7,705

  TN       BARTLETT WATER SYSTEM               TN0000765    CWS         Groundwater                  52,503
  TN       BAXTER WATER DEPARTMENT             TN0000040    CWS         Surfacewater purchased        6,691

  TN       BEAN STATION UTILITY DISTRICT       TN0000041    CWS         Surfacewater purchased        9,161

  TN       BEDFORD COUNTY U.D.                 TN0000517    CWS         Surfacewater                 20,578
  TN       BIG CREEK UTILITY DISTRICT          TN0000122    CWS         Surfacewater                  9,013
  TN       BLOOMINGDALE UTILITY DISTRICT       TN0000056    CWS         Surfacewater                 13,092
  TN       BLOUNTVILLE UTILITY DISTRICT        TN0000058    CWS         Surfacewater purchased       15,234

  TN       BOLIVAR WATER SYSTEM                TN0000063    CWS         Groundwater                   6,118
  TN       BON AQUA-LYLES U.D.                 TN0000066    CWS         Surfacewater                 12,338
  TN       BON DE CROFT UTILITY DISTRICT       TN0000653    CWS         Surfacewater                  4,181
  TN       BRENTWOOD WATER DEPTARTMENT         TN0000069    CWS         Surfacewater purchased       31,168

  TN       BRIGHTON WATER SYSTEM               TN0000070    CWS         Groundwater purchased         3,962

  TN       BRISTOL DEPTARTMENT OF UTILITIES    TN0000073    CWS         Surfacewater                 37,522
  TN       BRISTOL-BLUFF CITY U.D.             TN0000079    CWS         Surfacewater                  5,893
  TN       BROWNSVILLE WATER DEPT              TN0000080    CWS         Groundwater                  12,962
  TN       BYRDSTOWN WATER DEPT                TN0000088    CWS         Surfacewater                  7,693
  TN       CAMDEN WATER DEPT                   TN0000090    CWS         Surfacewater                  9,877
  TN       CARYVILLE-JACKSBORO UTILITIES       TN0000322    CWS         Surfacewater                 10,946
           COMMISSION
  TN       CASTALIAN SPRINGS-BETHPAGE U.D.     TN0000097    CWS         Surfacewater purchased       13,883

  TN       CELINA WATER SYSTEM                 TN0000099    CWS         Surfacewater                  6,029
  TN       CENTER GROVE-WINCHESTER SPGS        TN0000101    CWS         Groundwater under             6,173
                                                                        influence of
                                                                        surfacewater
  TN       CENTERVILLE WATER SYSTEM            TN0000103    CWS         Surfacewater                 11,024
  TN       CHUCKEY UTILITY DISTRICT            TN0000108    CWS         Surfacewater purchased       13,226

  TN       CITY OF MARYVILLE W&S DEPT          TN0000438    CWS         Surfacewater                 50,807
  TN       CLAIBORNE UTILITIES DISTRICT        TN0000113    CWS         Surfacewater                 15,415
  TN       CLARKSVILLE WATER DEPARTMENT        TN0000116    CWS         Surfacewater                224,729
  TN       CLEVELAND UTILITIES                 TN0000117    CWS         Surfacewater                 87,960
  TN       CLINTON UTILITIES BOARD             TN0000120    CWS         Surfacewater                 18,288
  TN       COLLIERVILLE WATER DEPT             TN0000126    CWS         Groundwater                  48,109
  TN       COLUMBIA POWER & WATER SYSTEMS      TN0000128    CWS         Surfacewater                 77,446



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Primacy              PWS Name                    PWSID       PWS Type      Primary Source        Population
Agency                                                                                             Served
 [State]
   TN    COOKEVILLE BOAT DOCK RD U.D.          TN0000134    CWS         Surfacewater purchased        7,852

  TN    COOKEVILLE WATER DEPT                  TN0000133    CWS         Surfacewater                 47,862
  TN    COUNTY WIDE UTILITY DISTRICT           TN0000006    CWS         Groundwater                   8,254
  TN    COVINGTON WATER DEPT                   TN0000144    CWS         Groundwater                  14,334
  TN    CRAB ORCHARD UTILITY DISTRICT          TN0000147    CWS         Surfacewater                 21,620
  TN    CROSS ANCHOR UTILITY DISTRICT          TN0000149    CWS         Surfacewater purchased        7,863

  TN    CROSSVILLE WATER DEPT                  TN0000150    CWS         Surfacewater                 31,973
  TN    CUMBERLAND HEIGHTS U.D.                TN0000166    CWS         Surfacewater purchased        3,375

  TN    CUMBERLAND UTILITY DISTRICT            TN0000531    CWS         Surfacewater                 13,302
  TN    CUNNINGHAM UTILITY DISTRICT            TN0000167    CWS         Surfacewater purchased       15,053

  TN    DANDRIDGE WATER MANAGEMENT             TN0000170    CWS         Surfacewater purchased        8,832
        FACILITY
  TN    DAYTON WATER DEPT                      TN0000174    CWS         Surfacewater                 23,660
  TN    DECATUR WATER DEPT                     TN0000183    CWS         Groundwater under             6,164
                                                                        influence of
                                                                        surfacewater
  TN    DECHERD WATER DEPT                     TN0000187    CWS         Groundwater under             4,460
                                                                        influence of
                                                                        surfacewater
  TN    DEKALB UTILITY DISTRICT #1             TN0000188    CWS         Surfacewater                 16,652
  TN    DEWHITE UTILITY DISTRICT               TN0000190    CWS         Surfacewater purchased        7,337

  TN    DOUBLE SPRINGS U.D.                    TN0000192    CWS         Surfacewater purchased        6,816

  TN    DOVER WATER DEPT                       TN0000193    CWS         Surfacewater                  4,787
  TN    DRESDEN WATER DEPT                     TN0000196    CWS         Groundwater                   3,500
  TN    DUNLAP WATER SYSTEM                    TN0000205    CWS         Surfacewater                  8,225
  TN    DYERSBURG SUBURBAN C.U.D.              TN0000212    CWS         Groundwater                   3,562
  TN    DYERSBURG WATER DEPT                   TN0000211    CWS         Groundwater                  19,759
  TN    EAST MONTGOMERY U.D.                   TN0000218    CWS         Surfacewater purchased       17,537

  TN    EASTSIDE UTILITY DISTRICT              TN0000219    CWS         Surfacewater                 56,294
  TN    ELIZABETHTON WATER DEPT                TN0000221    CWS         Surfacewater purchased       31,956

  TN    ENGLEWOOD WATER DEPT                   TN0000224    CWS         Surfacewater                  3,742
  TN    ERIN WATER DEPARTMENT                  TN0000230    CWS         Surfacewater                  7,988
  TN    ESTILL SPRINGS WATER DEPT              TN0000232    CWS         Groundwater under             4,375
                                                                        influence of
                                                                        surfacewater
  TN    ETOWAH UTILITIES                       TN0000233    CWS         Surfacewater                 12,308
  TN    FAIRVIEW UTILITY DISTRICT              TN0000563    CWS         Surfacewater purchased        6,223

  TN    FALL CREEK FALLS U.D.                  TN0000552    CWS         Surfacewater                  5,088




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Primacy                PWS Name                PWSID       PWS Type      Primary Source        Population
Agency                                                                                           Served
 [State]
   TN    FALL RIVER RD UTILITY DISTRICT      TN0000239    CWS         Groundwater under             3,688
                                                                      influence of
                                                                      surfacewater
  TN    FAYETTEVILLE PUBLIC UTILITIES        TN0000242    CWS         Surfacewater                 13,683
  TN    FENTRESS COUNTY U.D.                 TN0000244    CWS         Surfacewater purchased       15,909

  TN    FIRST U.D. OF HARDIN COUNTY          TN0000546    CWS         Surfacewater                  7,181
  TN    FIRST U.D. OF TIPTON COUNTY          TN0000703    CWS         Groundwater                   9,017
  TN    FIRST UD OF HAWKINS COUNTY           TN0000109    CWS         Surfacewater                 20,703
  TN    FIRST UTIL DIST OF KNOX COUNTY       TN0000369    CWS         Surfacewater                 95,628
  TN    FRANKLIN WATER DEPT                  TN0000246    CWS         Surfacewater                 64,024
  TN    FRIENDSVILLE WATER WORKS             TN0000249    CWS         Surfacewater purchased        5,437

  TN    GALLATIN WATER DEPARTMENT            TN0000253    CWS         Surfacewater                 51,688
  TN    GATLINBURG WATER DEPT                TN0000256    CWS         Surfacewater                  8,313
  TN    GERMANTOWN WATER DEPT                TN0000262    CWS         Groundwater                  37,993
  TN    GIBSON CO MUN WATER DIST #4          TN0000813    CWS         Groundwater                   3,393
  TN    GLADEVILLE UTILITY DISTRICT          TN0000264    CWS         Groundwater under            19,813
                                                                      influence of
                                                                      surfacewater
  TN    GLEN HILLS UTILITY DISTRICT          TN0000266    CWS         Surfacewater purchased       15,812

  TN    GREENBRIER WATER & SEWER DEPT        TN0000271    CWS         Surfacewater purchased        8,555

  TN    GREENEVILLE WATER & LIGHT COMM       TN0000273    CWS         Surfacewater                 25,425
  TN    H.B.& T.S. UTILITY DISTRICT          TN0000699    CWS         Surfacewater purchased       29,524

  TN    HALLS WATER SYSTEM                   TN0000279    CWS         Groundwater                   5,263
  TN    HAMPTON UTILITY DISTRICT             TN0000282    CWS         Groundwater                   3,869
  TN    HARPETH VALLEY U.D.                  TN0000286    CWS         Surfacewater                 60,778
  TN    HARRIMAN UTILITY BOARD               TN0000287    CWS         Surfacewater                 14,915
  TN    HARTSVILLE-TROUSDALE W&S U.D.        TN0000291    CWS         Surfacewater                  9,454
  TN    HENDERSON WATER DEPT                 TN0000293    CWS         Groundwater                   8,810
  TN    HENDERSONVILLE U.D.                  TN0000294    CWS         Surfacewater                 56,826
  TN    HILLSVILLE UTILITY DISTRICT          TN0000430    CWS         Surfacewater purchased       11,021

  TN    HIXSON UTILITY DISTRICT              TN0000303    CWS         Groundwater                  71,476
  TN    HOHENWALD WATER SYSTEM               TN0000304    CWS         Groundwater                  11,275
  TN    HUMBOLDT UTILITIES-WATER DEPT        TN0000314    CWS         Groundwater                   9,847
  TN    HUNTINGDON WATER DEPT                TN0000316    CWS         Groundwater                   6,154
  TN    HUNTSVILLE UTILITY DISTRICT          TN0000318    CWS         Surfacewater                 11,987
  TN    JACKSON WATER SYSTEM                 TN0000299    CWS         Groundwater                  91,111
  TN    JAMESTOWN WATER DEPT                 TN0000324    CWS         Surfacewater                  3,707
  TN    JASPER WATER DEPT                    TN0000325    CWS         Surfacewater                  9,429
  TN    JEFFERSON CITY W&S COMM              TN0000328    CWS         Surfacewater                  9,584
  TN    JELLICO UTILITIES AUTHORITY          TN0000330    CWS         Surfacewater                  5,129
  TN    JOHNSON CITY WATER DEPT              TN0000331    CWS         Surfacewater                106,070


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Primacy                 PWS Name                    PWSID       PWS Type      Primary Source        Population
Agency                                                                                                Served
 [State]
   TN      JONESBOROUGH WATER DEPT                TN0000338    CWS         Surfacewater                 32,983
   TN      KINGSPORT WATER DEPT                   TN0000349    CWS         Surfacewater                106,765
   TN      KINGSTON WATER SYSTEM                  TN0000360    CWS         Surfacewater                 11,348
   TN      KNOX-CHAPMAN UTILITY DISTRICT          TN0000367    CWS         Surfacewater                 39,780
   TN      KNOXVILLE UTILITIES BOARD-KUB          TN0000366    CWS         Surfacewater                242,383
   TN      LA VERGNE WATER SYSTEM                 TN0000386    CWS         Surfacewater                 35,750
   TN      LAFAYETTE WATER SYSTEM                 TN0000373    CWS         Surfacewater                 20,010
   TN      LAFOLLETTE UTILITIES BOARD             TN0000374    CWS         Surfacewater                 26,094
   TN      LAGUARDO UTILITY DISTRICT              TN0000394    CWS         Groundwater under            14,801
                                                                           influence of
                                                                           surfacewater
  TN       LAUDERDALE CO WATER SYSTEM             TN0000581    CWS         Groundwater                   9,077
  TN       LAWRENCEBURG UTILITY SYSTEMS           TN0000392    CWS         Surfacewater                 23,158
  TN       LEBANON WATER SYSTEM                   TN0000393    CWS         Surfacewater                 40,805
  TN       LENOIR CITY UTILITY BOARD              TN0000396    CWS         Surfacewater                 33,675
  TN       LEOMA UTILITY DISTRICT                 TN0000399    CWS         Groundwater                   5,829
  TN       LEXINGTON WATER SYSTEMS                TN0000402    CWS         Surfacewater                 25,616
  TN       LINCOLN CO B.P.U. #1                   TN0000764    CWS         Surfacewater purchased       23,123

  TN       LINDEN WATER DEPT                      TN0000404    CWS         Surfacewater                  7,185
  TN       LIVINGSTON WATER DEPT                  TN0000405    CWS         Surfacewater                 14,491
  TN       LOBELVILLE WATER DEPT                  TN0000406    CWS         Surfacewater                  4,489
  TN       LORETTO WATER DEPARTMENT               TN0000408    CWS         Groundwater under             4,639
                                                                           influence of
                                                                           surfacewater
  TN       LOUDON UTILITIES BOARD                 TN0000409    CWS         Surfacewater                 15,102
  TN       LUTTRELL-BLAINE-CORRYTON U.D.          TN0000415    CWS         Surfacewater                  9,887
  TN       MADISON SUBURBAN U.D.                  TN0000424    CWS         Surfacewater                 78,133
  TN       MADISONVILLE WATER DEPT                TN0000425    CWS         Surfacewater purchased       14,537

  TN       MALLORY VALLEY U.D.                    TN0000428    CWS         Surfacewater purchased       27,656

  TN       MANCHESTER WATER DEPARTMENT            TN0000429    CWS         Surfacewater purchased       22,241

  TN       MARSHALL CO B.P.U. #1                  TN0000105    CWS         Surfacewater purchased       12,627

  TN       MARTIN WATER DEPT                      TN0000435    CWS         Groundwater                  10,018
  TN       MASON WATER DEPT                       TN0000440    CWS         Groundwater                   3,642
  TN       MAURY CO WATER SYSTEM                  TN0000770    CWS         Surfacewater purchased       23,118

  TN       MAYNARDVILLE WATER DEPT                TN0000442    CWS         Surfacewater purchased        7,149

  TN       MCKENZIE WATER DEPT                    TN0000421    CWS         Groundwater                   5,481
  TN       MCMINNVILLE WATER DEPT                 TN0000423    CWS         Surfacewater                 18,477
  TN       MEMPHIS LIGHT, GAS, & WATER            TN0000450    CWS         Groundwater                 683,352
  TN       METRO LYNCHBURG/MOORE CO U.D. #1       TN0000416    CWS         Surfacewater                  6,405
  TN       MILAN WATER DEPT                       TN0000458    CWS         Groundwater                  10,332


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Primacy              PWS Name                 PWSID       PWS Type      Primary Source        Population
Agency                                                                                          Served
 [State]
   TN    MILCROFTON UTILITY DISTRICT        TN0000247    CWS         Surfacewater purchased       29,547

  TN    MILLINGTON WATER DEPT               TN0000463    CWS         Groundwater                   8,013
  TN    MINOR HILL WATER U.D.               TN0000469    CWS         Surfacewater purchased        7,274

  TN    MONTEAGLE PUBLIC UTILITY BOARD      TN0000470    CWS         Surfacewater                  3,645
  TN    MONTEREY WATER DEPT                 TN0000471    CWS         Surfacewater                  4,550
  TN    MORRISTOWN WATER SYSTEM             TN0000474    CWS         Surfacewater                 38,257
  TN    MOUNT PLEASANT WAT SYS #1           TN0000488    CWS         Groundwater under             9,831
                                                                     influence of
                                                                     surfacewater
  TN    MOUNTAIN CITY WATER DEPT            TN0000479    CWS         Surfacewater                  8,507
  TN    MUNFORD WATER DEPT                  TN0000490    CWS         Groundwater                   9,661
  TN    MURFREESBORO WATER DEPARTMENT       TN0000491    CWS         Surfacewater                107,304
  TN    NEW MARKET UTILITY DISTRICT         TN0000499    CWS         Surfacewater purchased        5,679

  TN    NEWBERN WATER DEPT                  TN0000496    CWS         Groundwater                   8,518
  TN    NEWPORT UTILITIES BOARD             TN0000500    CWS         Surfacewater                 32,995
  TN    NIOTA WATER SYSTEM                  TN0000510    CWS         Surfacewater purchased        3,580

  TN    NOLENSVILLE-COLLEGE GROVE U.D.      TN0000511    CWS         Surfacewater purchased       32,335

  TN    NORTH GREENE UTILITIES, INC         TN0000274    CWS         Surfacewater                  5,912
  TN    NORTH OVERTON UTILITY DISTRICT      TN0000013    CWS         Surfacewater purchased        4,528

  TN    NORTH STEWART UTILITY DISTRICT      TN0000195    CWS         Surfacewater                  5,775
  TN    NORTH U.D. OF DECATUR/BENTON CO.    TN0000883    CWS         Surfacewater                  3,451
  TN    NORTH WEST UTILITY DISTRICT         TN0000169    CWS         Surfacewater                 19,792
  TN    NORTHEAST HENRY COUNTY U.D.         TN0000540    CWS         Groundwater                   5,155
  TN    NORTHEAST LAWRENCE U.D.             TN0000389    CWS         Groundwater                   4,095
  TN    NORTHWEST CLAY COUNTY UTILITY       TN0000573    CWS         Surfacewater                  4,165
  TN    NORTHWEST DYERSBURG U.D.            TN0000518    CWS         Groundwater                   3,996
  TN    OAK RIDGE DEPT OF PUBLIC WORKS      TN0000522    CWS         Surfacewater                 36,392
  TN    OAKLAND WATER DEPT                  TN0000521    CWS         Groundwater                  14,352
  TN    OCOEE UTILITY DISTRICT              TN0000525    CWS         Surfacewater purchased       19,939

  TN    O'CONNOR UTILITY DISTRICT           TN0000526    CWS         Surfacewater purchased        9,172

  TN    OLD GAINESBORO ROAD U.D.            TN0000135    CWS         Surfacewater purchased        5,906

  TN    OLD KNOXVILLE HWY U.D.              TN0000530    CWS         Surfacewater purchased        9,280

  TN    OLIVER SPRINGS WATER BOARD          TN0000523    CWS         Surfacewater purchased        5,215

  TN    ONEIDA W&S COMM                     TN0000532    CWS         Surfacewater                 10,688
  TN    PARIS BD OF PUBLIC UTILITIES        TN0000536    CWS         Groundwater                  12,600
  TN    PARSONS WATER DEPARTMENT            TN0000541    CWS         Surfacewater                  4,261




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Primacy               PWS Name                PWSID       PWS Type      Primary Source        Population
Agency                                                                                          Served
 [State]
   TN    PERRYVILLE UTILITY DISTRICT        TN0000543    CWS         Surfacewater purchased        3,399

  TN    PERSIA UTILITY DISTRICT             TN0000594    CWS         Surfacewater                  5,312
  TN    PIGEON FORGE WATER DEPARTMENT       TN0000548    CWS         Surfacewater                 14,499
  TN    PIKEVILLE WATER SYSTEM              TN0000551    CWS         Groundwater under             5,148
                                                                     influence of
                                                                     surfacewater
  TN    PLATEAU UTILITY DISTRICT            TN0000729    CWS         Surfacewater                 11,646
  TN    PLEASANT VIEW UTILITY DISTRICT      TN0000558    CWS         Surfacewater                 18,123
  TN    POPLAR GROVE UTILITY DISTRICT       TN0000201    CWS         Groundwater                  18,664
  TN    PORTLAND WATER SYSTEM               TN0000559    CWS         Surfacewater                 22,458
  TN    PULASKI WATER SYSTEM                TN0000562    CWS         Surfacewater                 11,253
  TN    QUEBECK WALLING U.D.                TN0000569    CWS         Surfacewater purchased        5,257

  TN    RED BOILING SPRINGS W.S.            TN0000572    CWS         Surfacewater purchased        5,853

  TN    RICEVILLE UTILITY DISTRICT          TN0000576    CWS         Surfacewater purchased        3,732

  TN    RIPLEY WATER SYSTEM                 TN0000580    CWS         Groundwater                   7,877
  TN    RIVER ROAD UTILITY DISTRICT         TN0000582    CWS         Surfacewater purchased        3,613

  TN    ROANE CENTRAL UTILITY DISTRICT      TN0000457    CWS         Surfacewater purchased        5,203

  TN    ROCKWOOD WATER SYSTEM               TN0000590    CWS         Surfacewater                 10,721
  TN    ROGERSVILLE WATER DEPT              TN0000593    CWS         Surfacewater                 12,915
  TN    RUSSELLVILLE WHITESBURG U.D.        TN0000598    CWS         Surfacewater purchased       20,039

  TN    SAVANNAH UTILITY DEPT               TN0000611    CWS         Groundwater                  19,495
  TN    SCOTTS HILL WATER SYSTEM            TN0000614    CWS         Groundwater                   4,446
  TN    SECOND SOUTH CHEATHAM U.D.          TN0000645    CWS         Surfacewater                  9,049
  TN    SELMER WATER SYSTEM                 TN0000615    CWS         Groundwater                  20,139
  TN    SEVIER COUNTY WATER DEPARTMENT      TN0008279    CWS         Surfacewater purchased        5,559

  TN    SEVIERVILLE WATER SYSTEM            TN0000617    CWS         Surfacewater                 36,542
  TN    SEWANEE UTILITY DISTRICT            TN0000623    CWS         Surfacewater                  4,073
  TN    SHADY GROVE UTILITY DISTRICT        TN0000626    CWS         Surfacewater purchased       23,607

  TN    SHELBYVILLE WATER SYSTEM            TN0000628    CWS         Surfacewater                 33,062
  TN    SIGNAL MOUNTAIN WATER SYSTEM        TN0000634    CWS         Surfacewater purchased        7,823

  TN    SMITH UTILITY DISTRICT              TN0000636    CWS         Surfacewater                  8,113
  TN    SMITHVILLE WATER SYSTEM             TN0000637    CWS         Surfacewater                  6,520
  TN    SMYRNA WATER SYSTEM                 TN0000639    CWS         Surfacewater                 57,466
  TN    SOMERVILLE WATER SYSTEM             TN0000641    CWS         Groundwater                   5,020
  TN    SOUTH BLOUNT UTILITY DISTRICT       TN0000643    CWS         Surfacewater                 50,648
  TN    SOUTH CUMBERLAND U.D.               TN0000159    CWS         Surfacewater purchased       11,027




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Primacy               PWS Name                PWSID       PWS Type      Primary Source        Population
Agency                                                                                          Served
 [State]
   TN    SOUTH ELIZABETHTON U.D.            TN0000646    CWS         Surfacewater purchased        6,065

  TN    SOUTH FORK UTILITY DISTRICT         TN0000644    CWS         Surfacewater purchased        8,050

  TN    SOUTH FULTON WATER SYSTEM           TN0000648    CWS         Groundwater                   3,847
  TN    SOUTH GILES UTILITY DISTRICT        TN0000649    CWS         Surfacewater purchased        3,589

  TN    SOUTH PITTSBURG WATER SYSTEM        TN0000651    CWS         Surfacewater                  7,142
  TN    SOUTH SIDE U.D. #1                  TN0000904    CWS         Surfacewater purchased        4,091

  TN    SPARTA WATER SYSTEM                 TN0000652    CWS         Surfacewater                 10,732
  TN    SPENCER WATER SYSTEM                TN0000655    CWS         Surfacewater                  5,644
  TN    SPRING HILL WATER DEPT              TN0000667    CWS         Surfacewater                 54,886
  TN    SPRINGFIELD WATER SYSTEM            TN0000666    CWS         Surfacewater                 39,629
  TN    SUMMERTOWN WATER SYSTEM             TN0000676    CWS         Groundwater                   5,036
  TN    SWEETWATER UTILITY BOARD            TN0000687    CWS         Surfacewater                 13,825
  TN    SYLVIA-TENN CITY-POND U.D.          TN0000691    CWS         Surfacewater purchased        6,295

  TN    TELLICO AREA SERVICES SYSTEM        TN0000726    CWS         Surfacewater                 13,476
  TN    TELLICO PLAINS WATER DEPT           TN0000693    CWS         Groundwater                   6,010
  TN    TELLICO VILLAGE P.O.A.              TN0000871    CWS         Surfacewater purchased       13,870

  TN    TENNESSEE RIDGE WATER SYSTEM        TN0000698    CWS         Groundwater                   3,844
  TN    TN AMERICAN-SEQUATCHIE VALLEY       TN0000749    CWS         Surfacewater                  7,125
  TN    TRACY CITY WATER SYSTEM             TN0000706    CWS         Surfacewater                  5,137
  TN    TRENTON WATER SYSTEM                TN0000707    CWS         Groundwater                   4,961
  TN    TUCKALEECHEE UTILITY DISTRICT       TN0000714    CWS         Surfacewater purchased       12,028

  TN    TULLAHOMA UTILITIES AUTHORITY       TN0000715    CWS         Surfacewater purchased       29,952

  TN    UNICOI UTILITY DISTRICT             TN0000719    CWS         Purchased groundwater         4,316
                                                                     under influence of
                                                                     surfacewater source

  TN    UNION CITY WATER DEPT               TN0000720    CWS         Groundwater                  16,180
  TN    UNION FORK-BAKEWELL U.D.            TN0000037    CWS         Groundwater                   5,847
  TN    VANLEER WATER DEPARTMENT            TN0000724    CWS         Surfacewater                  3,543
  TN    WALDEN'S RIDGE U.D.                 TN0000635    CWS         Surfacewater purchased        8,625

  TN    WARREN COUNTY UTILITY DISTRICT      TN0000818    CWS         Surfacewater                 27,524
  TN    WARTRACE WATER SYSTEM               TN0000730    CWS         Surfacewater purchased        3,667

  TN    WATER AUTH OF DICKSON COUNTY        TN0000191    CWS         Surfacewater                 63,382
  TN    WATTS BAR EAST U.D.                 TN0000969    CWS         Surfacewater purchased        4,053

  TN    WATTS BAR UTILITY DISTRICT          TN0000872    CWS         Surfacewater purchased       14,942

  TN    WAVERLY WATER DEPARTMENT            TN0000733    CWS         Surfacewater                  8,829



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Primacy             PWS Name                 PWSID       PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
   TN    WAYNESBORO WATER SYSTEM           TN0000736    CWS         Surfacewater                  4,468
   TN    WEST CUMBERLAND U.D.              TN0000557    CWS         Surfacewater purchased        4,924

 TN    WEST KNOX UTILITY DISTRICT          TN0000371    CWS         Surfacewater                 70,666
 TN    WEST OVERTON UTILITY DISTRICT       TN0000578    CWS         Surfacewater purchased        8,628

 TN    WEST ROBERTSON WATER AUTHORITY      TN0000001    CWS         Surfacewater                  5,304
 TN    WEST WARREN-VIOLA U.D.              TN0000742    CWS         Surfacewater                 18,054
 TN    WEST WILSON UTILITY DISTRICT        TN0000743    CWS         Surfacewater                 78,821
 TN    WESTMORELAND WATER SYSTEM           TN0000738    CWS         Surfacewater purchased        5,202

 TN    WHITE HOUSE UTILITY DISTRICT        TN0000745    CWS         Surfacewater                104,872
 TN    WHITE PINE WATER SYSTEM             TN0000746    CWS         Groundwater under             3,980
                                                                    influence of
                                                                    surfacewater
 TN    WILSON CO WATER & WASTEWATER        TN0000790    CWS         Surfacewater purchased       21,514

 TN    WINCHESTER WATER SYSTEM             TN0000754    CWS         Surfacewater                 22,666
 TN    WITT UTILITY DISTRICT               TN0000650    CWS         Surfacewater                  5,411
 TN    WOODBURY WATER SYSTEM               TN0000756    CWS         Surfacewater                 11,154
 TN    WOODLAWN UTILITY DISTRICT           TN0000758    CWS         Surfacewater                 12,093
 TX    439 WSC                             TX0140076    CWS         Surfacewater purchased        7,503

 TX    ABLES SPRINGS SUD                   TX1290010    CWS         Surfacewater purchased        4,650

 TX    ACTON MUD                           TX1110007    CWS         Surfacewater purchased       21,078

 TX    ADDICKS UTILITY DISTRICT            TX1011019    CWS         Surfacewater purchased        7,017

 TX    AGUA SUD                            TX1080022    CWS         Surfacewater                 46,872
 TX    ALDINE ISD GRACE RAYMOND            TX1010837    NTNCWS      Groundwater                   4,000
       ELEMENTARY SCHO
 TX    AMARILLO MUNICIPAL WATER SYSTEM     TX1880001    CWS         Surfacewater                196,429

 TX    ANGELINA WSC                        TX0030016    CWS         Groundwater                   3,593
 TX    APPLEBY WSC                         TX1740005    CWS         Groundwater                   4,514
 TX    AQUA WSC                            TX0110013    CWS         Groundwater                  74,856
 TX    ARGYLE WSC                          TX0610019    CWS         Surfacewater purchased        8,322

 TX    ATASCOSA RURAL WSC                  TX0150040    CWS         Surfacewater purchased       13,905

 TX    AUSTINS COLONY                      TX2270255    CWS         Groundwater purchased         9,987

 TX    B H P WSC                           TX1160015    CWS         Surfacewater purchased        5,966

 TX    BACLIFF MUD                         TX0840011    CWS         Surfacewater purchased        9,939

 TX    BARKER CYPRESS MUD                  TX1011613    CWS         Surfacewater purchased        7,977




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Primacy               PWS Name               PWSID       PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
   TX    BASTROP COUNTY WCID 2             TX0110020    CWS         Groundwater                   5,220
   TX    BEAR CREEK SUD                    TX0430037    CWS         Surfacewater purchased       10,518

 TX    BECKER JIBA WSC                     TX1290011    CWS         Surfacewater purchased        3,477

 TX    BELL COUNTY WCID 3                  TX0140031    CWS         Surfacewater purchased        6,738

 TX    BELL MILAM FALLS WSC                TX0140007    CWS         Surfacewater purchased        6,450

 TX    BENBROOK WATER AUTHORITY            TX2200029    CWS         Surfacewater                 21,530
 TX    BENDERS LANDING WATER PLANT 1 & 2   TX1700678    CWS         Groundwater                   4,605

 TX    BENTON CITY WSC                     TX1630034    CWS         Groundwater                  20,940
 TX    BETHANY SUD                         TX1260016    CWS         Surfacewater purchased        4,518

 TX    BETHESDA WSC                        TX1260017    CWS         Surfacewater purchased       31,971

 TX    BEXAR COUNTY WCID 10 WINDCREST      TX0150106    CWS         Groundwater                   8,154
 TX    BI COUNTY WSC 1                     TX0320002    CWS         Groundwater                  11,342
 TX    BIG OAKS MUD                        TX0790332    CWS         Surfacewater purchased        6,300

 TX    BILMA PUD                           TX1011872    CWS         Surfacewater purchased        5,379

 TX    BISSONNET MUD                       TX1010883    CWS         Groundwater                   8,175
 TX    BLACKLAND WSC                       TX1990004    CWS         Surfacewater purchased        5,217

 TX    BLOCK HOUSE MUD                     TX2460110    CWS         Surfacewater purchased        6,618

 TX    BLUE RIDGE WEST MUD                 TX0790051    CWS         Groundwater                   7,428
 TX    BOIS D ARC MUD                      TX0740044    CWS         Groundwater                   3,441
 TX    BOLIVAR PENINSULA SUD               TX0840044    CWS         Surfacewater purchased       19,476

 TX    BOLIVAR WSC                         TX0610049    CWS         Groundwater                   9,474
 TX    BORGER MUNICIPAL WATER SYSTEM       TX1170001    CWS         Surfacewater                 12,865
 TX    BRAZORIA COUNTY MUD 2               TX0200386    CWS         Groundwater                   3,567
 TX    BRAZORIA COUNTY MUD 21              TX0200610    CWS         Groundwater                   4,788
 TX    BRAZORIA COUNTY MUD 22              TX0200706    CWS         Groundwater purchased         3,738

 TX    BRAZORIA COUNTY MUD 25              TX0200615    CWS         Groundwater                   5,250
 TX    BRAZORIA COUNTY MUD 29              TX0200612    CWS         Groundwater                   5,898
 TX    BRAZORIA COUNTY MUD 3               TX0200560    CWS         Groundwater purchased         4,320

 TX    BRAZORIA COUNTY MUD 31              TX0200645    CWS         Groundwater                   4,350
 TX    BRAZORIA COUNTY MUD 6               TX0200578    CWS         Groundwater purchased         6,919

 TX    BRIDGESTONE MUD                     TX1011550    CWS         Surfacewater purchased       18,922

 TX    BRIGHT STAR-SALEM SUD               TX2500015    CWS         Surfacewater                  6,738
 TX    BRITTMOORE UTILITY                  TX1011014    CWS         Groundwater                   3,732


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Primacy              PWS Name                 PWSID       PWS Type      Primary Source        Population
Agency                                                                                          Served
 [State]
   TX    BROOKESMITH SPECIAL UTILITY        TX0250004    CWS         Surfacewater purchased       11,985
         DISTRICT
   TX    BROOKSHIRE MWD                     TX2370004    CWS         Groundwater                   5,496
   TX    BROWNSVILLE PUBLIC UTILITIES BOARD TX0310001    CWS         Surfacewater                176,362

  TX    BRUSHY CREEK MUD                    TX2460061    CWS         Surfacewater                 20,040
  TX    BRUSHY CREEK WSC                    TX0010036    CWS         Groundwater                   4,629
  TX    BUENA VISTA BETHEL SUD              TX0700037    CWS         Surfacewater purchased        5,193

  TX    CADDO BASIN SUD                     TX1160029    CWS         Surfacewater purchased       13,335

  TX    CALLAHAN COUNTY WSC                 TX0300015    CWS         Surfacewater purchased        3,747

  TX    CAMINO REAL                         TX1460196    CWS         Groundwater purchased         3,615

  TX    CANYON MUNICIPAL WATER SYSTEM       TX1910001    CWS         Surfacewater purchased       15,305

  TX    CAROLYNN ESTATES                    TX1070106    CWS         Surfacewater                  3,357
  TX    CASH SUD                            TX1160018    CWS         Surfacewater                 21,891
  TX    CEDAR CREEK WATER SYSTEM            TX1090012    CWS         Groundwater                   3,720
  TX    CENTRAL BOWIE COUNTY WSC            TX0190024    CWS         Surfacewater purchased        8,748

  TX    CENTRAL WCID OF ANGELINA COUNTY     TX0030019    CWS         Groundwater                   7,014
  TX    CHALK BLUFF WSC                     TX1550020    CWS         Groundwater                   3,822
  TX    CHALK HILL SUD                      TX2010050    CWS         Groundwater                   4,332
  TX    CHAMPIONS MUD                       TX1010233    CWS         Groundwater                   4,098
  TX    CHARTERWOOD MUD                     TX1010632    CWS         Groundwater                   5,832
  TX    CHATFIELD WSC                       TX1750012    CWS         Surfacewater purchased        4,398

  TX    CHELFORD CITY MUD                   TX1010782    CWS         Groundwater                   8,490
  TX    CHELFORD ONE MUD                    TX1010767    CWS         Groundwater                   4,710
  TX    CHIMNEY HILL MUD                    TX1010910    CWS         Surfacewater purchased        5,403

  TX    CIMARRON MUD                        TX1011410    CWS         Groundwater                  16,140
  TX    CINCO MUD 14                        TX0790422    CWS         Groundwater purchased         6,192

  TX    CINCO MUD 2                         TX0790306    CWS         Groundwater purchased         5,163

  TX    CINCO MUD 7                         TX0790343    CWS         Groundwater purchased         4,521

  TX    CINCO MUD 8                         TX0790324    CWS         Groundwater purchased         4,632

  TX    CINCO MUD 9                         TX0790307    CWS         Groundwater purchased         4,029

  TX    CINCO SOUTHWEST MUD 2               TX0790481    CWS         Surfacewater purchased        5,496

  TX    CINCO SOUTHWEST MUD 3 DAYCARE       TX0790521    CWS         Surfacewater purchased        5,187




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Primacy              PWS Name                  PWSID       PWS Type      Primary Source        Population
Agency                                                                                           Served
 [State]
   TX    CINCO SOUTHWEST MUD 4               TX0790522    CWS         Surfacewater purchased        6,093

 TX    CITY OF ALAMO                         TX1080001    CWS         Surfacewater                 18,363
 TX    CITY OF ALAMO HEIGHTS                 TX0150039    CWS         Groundwater                   7,031
 TX    CITY OF ALEDO                         TX1840001    CWS         Surfacewater purchased        5,010

 TX    CITY OF ALICE                         TX1250001    CWS         Surfacewater                 17,891
 TX    CITY OF ALLEN                         TX0430025    CWS         Surfacewater purchased      104,870

 TX    CITY OF ALPINE                        TX0220001    CWS         Groundwater                   6,000
 TX    CITY OF ALVARADO                      TX1260001    CWS         Surfacewater purchased        4,739

 TX    CITY OF ALVIN                         TX0200001    CWS         Groundwater                  26,780
 TX    CITY OF ANDREWS                       TX0020001    CWS         Groundwater                  14,109
 TX    CITY OF ANGLETON                      TX0200002    CWS         Surfacewater purchased       24,651

 TX    CITY OF ANNA                          TX0430027    CWS         Surfacewater purchased       18,297

 TX    CITY OF ARANSAS PASS                  TX2050015    CWS         Surfacewater purchased        8,088

 TX    CITY OF ARLINGTON                     TX2200001    CWS         Surfacewater                383,950
 TX    CITY OF ATHENS                        TX1070005    CWS         Surfacewater purchased       20,334

 TX    CITY OF ATLANTA                       TX0340001    CWS         Surfacewater purchased        5,495

 TX    CITY OF AUBREY                        TX0610001    CWS         Groundwater                    3,600
 TX    CITY OF AUSTIN WATER &                TX2270001    CWS         Surfacewater               1,044,405
       WASTEWATER
 TX    CITY OF AZLE                          TX2200002    CWS         Surfacewater                 11,800
 TX    CITY OF BALCH SPRINGS                 TX0570032    CWS         Surfacewater purchased       27,431

 TX    CITY OF BALLINGER                     TX2000001    CWS         Surfacewater                  3,862
 TX    CITY OF BASTROP                       TX0110001    CWS         Groundwater under             9,557
                                                                      influence of
                                                                      surfacewater
 TX    CITY OF BAY CITY                      TX1610001    CWS         Groundwater                  17,535
 TX    CITY OF BAYTOWN                       TX1010003    CWS         Surfacewater purchased       83,701

 TX    CITY OF BEAUMONT WATER UTILITY        TX1230001    CWS         Surfacewater                118,129
       DEPT
 TX    CITY OF BEDFORD                       TX2200003    CWS         Surfacewater purchased       49,526

 TX    CITY OF BEEVILLE                      TX0130001    CWS         Surfacewater                 12,793
 TX    CITY OF BELLAIRE                      TX1010004    CWS         Surfacewater purchased       19,401

 TX    CITY OF BELLMEAD                      TX1550001    CWS         Groundwater                  10,556
 TX    CITY OF BELLVILLE                     TX0080001    CWS         Groundwater                   6,222
 TX    CITY OF BELTON                        TX0140002    CWS         Surfacewater purchased       25,466




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Primacy                 PWS Name                  PWSID       PWS Type      Primary Source        Population
Agency                                                                                              Served
 [State]
   TX      CITY OF BERTRAM                      TX0270012    CWS         Groundwater                   3,330
   TX      CITY OF BIG SPRING                   TX1140001    CWS         Surfacewater                 27,282
   TX      CITY OF BOERNE                       TX1300001    CWS         Surfacewater                 22,287
   TX      CITY OF BONHAM                       TX0740001    CWS         Surfacewater purchased       10,386

  TX       CITY OF BOWIE                        TX1690001    CWS         Surfacewater                  5,219
  TX       CITY OF BRADY WATER SYSTEM           TX1540001    CWS         Groundwater                   5,371
  TX       CITY OF BRAZORIA                     TX0200003    CWS         Surfacewater purchased        4,395

  TX       CITY OF BRECKENRIDGE                 TX2150001    CWS         Surfacewater                  5,807
  TX       CITY OF BRENHAM                      TX2390001    CWS         Surfacewater                 19,048
  TX       CITY OF BRIDGE CITY                  TX1810001    CWS         Groundwater                   9,000
  TX       CITY OF BRIDGEPORT                   TX2490003    CWS         Surfacewater                  6,045
  TX       CITY OF BROWNFIELD                   TX2230001    CWS         Surfacewater purchased        9,800

  TX       CITY OF BROWNWOOD                    TX0250002    CWS         Surfacewater purchased       18,862

  TX       CITY OF BRUCEVILLE EDDY              TX1550024    CWS         Surfacewater purchased        5,769

  TX       CITY OF BRYAN                        TX0210001    CWS         Groundwater                  88,434
  TX       CITY OF BUDA                         TX1050012    CWS         Surfacewater purchased       13,508

  TX       CITY OF BULLARD                      TX2120006    CWS         Groundwater                   3,891
  TX       CITY OF BUNKER HILL VILLAGE          TX1010106    CWS         Surfacewater purchased        3,999

  TX       CITY OF BURKBURNETT                  TX2430005    CWS         Surfacewater purchased       11,150

  TX       CITY OF BURLESON                     TX1260002    CWS         Surfacewater purchased       49,089

  TX       CITY OF BURNET                       TX0270001    CWS         Surfacewater                  7,011
  TX       CITY OF CALDWELL                     TX0260001    CWS         Groundwater                   4,358
  TX       CITY OF CAMERON                      TX1660001    CWS         Surfacewater                  6,438
  TX       CITY OF CANTON                       TX2340001    CWS         Surfacewater                  3,581
  TX       CITY OF CARRIZO SPRINGS              TX0640002    CWS         Groundwater                   5,830
  TX       CITY OF CARROLLTON                   TX0570034    CWS         Surfacewater purchased      136,170

  TX       CITY OF CARTHAGE                     TX1830001    CWS         Surfacewater                  6,779
  TX       CITY OF CEDAR HILL                   TX0570036    CWS         Surfacewater purchased       48,870

  TX       CITY OF CEDAR PARK                   TX2460009    CWS         Surfacewater                 81,257
  TX       CITY OF CELINA                       TX0430003    CWS         Surfacewater purchased       25,241

  TX       CITY OF CENTER                       TX2100001    CWS         Surfacewater                  6,410
  TX       CITY OF CHANDLER                     TX1070006    CWS         Groundwater                   5,040
  TX       CITY OF CHILDRESS                    TX0380001    CWS         Surfacewater purchased        6,105

  TX       CITY OF CIBOLO                       TX0940018    CWS         Surfacewater purchased       19,782




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Primacy                 PWS Name                   PWSID       PWS Type      Primary Source        Population
Agency                                                                                               Served
 [State]
   TX      CITY OF CISCO                         TX0670001    CWS         Surfacewater                  3,786
   TX      CITY OF CLEBURNE                      TX1260003    CWS         Surfacewater                 30,573
   TX      CITY OF CLEVELAND                     TX1460001    CWS         Groundwater                   8,230
   TX      CITY OF CLIFTON                       TX0180001    CWS         Surfacewater                  3,442
   TX      CITY OF CLUTE                         TX0200004    CWS         Surfacewater purchased       11,682

  TX       CITY OF CLYDE                         TX0300002    CWS         Surfacewater                  3,811
  TX       CITY OF COAHOMA                       TX1140002    CWS         Surfacewater purchased        3,552

  TX       CITY OF COCKRELL HILL                 TX0570038    CWS         Surfacewater purchased        3,820

  TX       CITY OF COLEMAN                       TX0420001    CWS         Surfacewater                  4,136
  TX       CITY OF COLLEGE STATION               TX0210002    CWS         Groundwater                 104,103
  TX       CITY OF COLLEYVILLE                   TX2200043    CWS         Surfacewater purchased       26,057

  TX       CITY OF COLLINSVILLE                  TX0910005    CWS         Groundwater                   3,306
  TX       CITY OF COLORADO CITY                 TX1680001    CWS         Groundwater                   4,146
  TX       CITY OF COLUMBUS                      TX0450001    CWS         Groundwater                   3,739
  TX       CITY OF COMANCHE                      TX0470001    CWS         Surfacewater purchased        4,190

  TX       CITY OF COMMERCE                      TX1160003    CWS         Surfacewater                  8,240
  TX       CITY OF CONROE                        TX1700001    CWS         Surfacewater purchased       74,070

  TX       CITY OF CONVERSE                      TX0150047    CWS         Surfacewater purchased       23,904

  TX       CITY OF COPPELL                       TX0570040    CWS         Surfacewater purchased       41,540

  TX       CITY OF COPPERAS COVE                 TX0500001    CWS         Surfacewater purchased       37,225

  TX       CITY OF CORINTH                       TX0610065    CWS         Surfacewater purchased       21,260

  TX       CITY OF CORPUS CHRISTI                TX1780003    CWS         Surfacewater                325,733
  TX       CITY OF CORSICANA                     TX1750002    CWS         Surfacewater                 24,190
  TX       CITY OF COTULLA                       TX1420001    CWS         Groundwater                   5,640
  TX       CITY OF CRANDALL                      TX1290007    CWS         Surfacewater purchased        4,080

  TX       CITY OF CROCKETT                      TX1130001    CWS         Surfacewater purchased        7,755

  TX       CITY OF CROWLEY                       TX2200034    CWS         Surfacewater purchased       17,330

  TX       CITY OF CRYSTAL CITY                  TX2540001    CWS         Groundwater                   7,128
  TX       CITY OF CUERO                         TX0620001    CWS         Groundwater                   9,807
  TX       CITY OF DAINGERFIELD                  TX1720001    CWS         Surfacewater purchased        4,047

  TX       CITY OF DAYTON                        TX1460002    CWS         Groundwater                  13,080
  TX       CITY OF DECATUR                       TX2490005    CWS         Surfacewater                  7,690
  TX       CITY OF DEER PARK                     TX1010007    CWS         Surfacewater purchased       35,469




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Primacy                   PWS Name                 PWSID       PWS Type      Primary Source        Population
Agency                                                                                               Served
 [State]
   TX      CITY OF DENISON                       TX0910003    CWS         Surfacewater                 22,682
   TX      CITY OF DENTON                        TX0610002    CWS         Surfacewater                131,712
   TX      CITY OF DENVER CITY                   TX2510001    CWS         Groundwater                   5,500
   TX      CITY OF DESOTO                        TX0570006    CWS         Surfacewater purchased       54,060

  TX       CITY OF DEVINE                        TX1630006    CWS         Groundwater                   4,318
  TX       CITY OF DIBOLL                        TX0030001    CWS         Groundwater                   5,343
  TX       CITY OF DILLEY                        TX0820001    CWS         Groundwater                   8,376
  TX       CITY OF DONNA                         TX1080002    CWS         Surfacewater                 16,176
  TX       CITY OF DUBLIN                        TX0720001    CWS         Surfacewater purchased        3,586

  TX       CITY OF DUMAS                         TX1710001    CWS         Groundwater                  14,985
  TX       CITY OF DUNCANVILLE                   TX0570007    CWS         Surfacewater purchased       39,500

  TX       CITY OF EAGLE LAKE                    TX0450002    CWS         Groundwater                   3,629
  TX       CITY OF EAGLE PASS                    TX1620001    CWS         Surfacewater                 54,900
  TX       CITY OF EASTLAND                      TX0670002    CWS         Surfacewater purchased        3,900

  TX       CITY OF EDINBURG                      TX1080004    CWS         Surfacewater                 85,224
  TX       CITY OF EDNA                          TX1200001    CWS         Groundwater                   5,999
  TX       CITY OF EL CAMPO                      TX2410002    CWS         Groundwater                  12,290
  TX       CITY OF ELGIN                         TX0110002    CWS         Groundwater                  10,598
  TX       CITY OF ELMENDORF                     TX0150048    CWS         Groundwater                   4,221
  TX       CITY OF ELSA                          TX1080005    CWS         Surfacewater                  5,800
  TX       CITY OF EMORY                         TX1900001    CWS         Surfacewater                  3,657
  TX       CITY OF ENNIS                         TX0700001    CWS         Surfacewater                 21,203
  TX       CITY OF EULESS                        TX2200031    CWS         Surfacewater purchased       56,160

  TX       CITY OF EVERMAN                       TX2200010    CWS         Groundwater                   6,090
  TX       CITY OF FAIRFIELD                     TX0810001    CWS         Groundwater                   4,785
  TX       CITY OF FARMERS BRANCH                TX0570047    CWS         Surfacewater purchased       35,991

  TX       CITY OF FARMERSVILLE                  TX0430004    CWS         Surfacewater purchased        5,171

  TX       CITY OF FATE                          TX1990006    CWS         Surfacewater purchased       22,429

  TX       CITY OF FLORESVILLE                   TX2470001    CWS         Groundwater                   8,747
  TX       CITY OF FOREST HILL                   TX2200011    CWS         Surfacewater purchased       13,020

  TX       CITY OF FORNEY                        TX1290002    CWS         Surfacewater purchased       27,040

  TX       CITY OF FORT STOCKTON                 TX1860001    CWS         Groundwater                  12,502
  TX       CITY OF FORT WORTH                    TX2200012    CWS         Surfacewater                853,762
  TX       CITY OF FREDERICKSBURG                TX0860001    CWS         Groundwater                  14,500
  TX       CITY OF FREEPORT                      TX0200005    CWS         Surfacewater purchased       12,098

  TX       CITY OF FRIENDSWOOD                   TX0840002    CWS         Surfacewater purchased       41,705



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Primacy                PWS Name                 PWSID       PWS Type      Primary Source        Population
Agency                                                                                            Served
 [State]
   TX    CITY OF FRISCO                       TX0430005    CWS         Surfacewater purchased      192,261

  TX    CITY OF FULSHEAR                      TX0790133    CWS         Groundwater                  21,315
  TX    CITY OF GAINESVILLE                   TX0490001    CWS         Surfacewater                 17,452
  TX    CITY OF GALENA PARK                   TX1010009    CWS         Surfacewater purchased       10,293

  TX    CITY OF GALVESTON                     TX0840003    CWS         Surfacewater purchased       50,180

  TX    CITY OF GARDEN RIDGE                  TX0460027    CWS         Groundwater                   4,944
  TX    CITY OF GARLAND                       TX0570010    CWS         Surfacewater purchased      239,730

  TX    CITY OF GATESVILLE                    TX0500002    CWS         Surfacewater                 15,951
  TX    CITY OF GEORGETOWN                    TX2460001    CWS         Surfacewater                133,743
  TX    CITY OF GIDDINGS                      TX1440001    CWS         Groundwater                   7,428
  TX    CITY OF GILMER                        TX2300002    CWS         Groundwater                   7,812
  TX    CITY OF GLADEWATER                    TX0920001    CWS         Surfacewater                  6,441
  TX    CITY OF GLENN HEIGHTS                 TX0570085    CWS         Surfacewater purchased       14,530

  TX    CITY OF GONZALES                      TX0890001    CWS         Surfacewater                  9,172
  TX    CITY OF GRAHAM                        TX2520001    CWS         Surfacewater                  8,903
  TX    CITY OF GRANBURY                      TX1110001    CWS         Surfacewater                 10,080
  TX    CITY OF GRAND PRAIRIE                 TX0570048    CWS         Surfacewater purchased      187,050

  TX    CITY OF GRANITE SHOALS                TX0270049    CWS         Surfacewater                  6,795
  TX    CITY OF GRAPEVINE                     TX2200013    CWS         Surfacewater                 47,851
  TX    CITY OF GREENVILLE                    TX1160004    CWS         Surfacewater                 28,940
  TX    CITY OF GROESBECK                     TX1470002    CWS         Surfacewater                  4,470
  TX    CITY OF GROVES                        TX1230012    CWS         Surfacewater                 15,656
  TX    CITY OF HACKBERRY                     TX0610091    CWS         Surfacewater purchased        6,695

  TX    CITY OF HALLSVILLE                    TX1020004    CWS         Surfacewater purchased        4,328

  TX    CITY OF HALTOM CITY                   TX2200014    CWS         Surfacewater purchased       44,134

  TX    CITY OF HARKER HEIGHTS                TX0140023    CWS         Surfacewater purchased       34,422

  TX    CITY OF HEARNE                        TX1980004    CWS         Groundwater                   4,523
  TX    CITY OF HEATH                         TX1990014    CWS         Surfacewater purchased        9,162

  TX    CITY OF HEMPSTEAD                     TX2370001    CWS         Groundwater                   6,687
  TX    CITY OF HENDERSON                     TX2010001    CWS         Surfacewater                 14,666
  TX    CITY OF HEWITT                        TX1550031    CWS         Surfacewater purchased       16,978

  TX    CITY OF HIDALGO                       TX1080021    CWS         Groundwater                  12,200
  TX    CITY OF HIGHLAND VILLAGE              TX0610080    CWS         Surfacewater purchased       15,650

  TX    CITY OF HILLSBORO                     TX1090001    CWS         Surfacewater purchased        8,456




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Primacy               PWS Name                  PWSID       PWS Type      Primary Source        Population
Agency                                                                                            Served
 [State]
   TX    CITY OF HITCHCOCK                    TX0840004    CWS         Surfacewater purchased        7,200

  TX    CITY OF HONDO                         TX1630002    CWS         Groundwater                  10,542
  TX    CITY OF HOOKS                         TX0190002    CWS         Surfacewater purchased        5,043

  TX    CITY OF HORSESHOE BAY                 TX1500015    CWS         Surfacewater                  12,395
  TX    CITY OF HOUSTON                       TX1010013    CWS         Surfacewater               2,202,531
  TX    CITY OF HOUSTON DISTRICT 73           TX1011585    CWS         Groundwater                    6,036
  TX    CITY OF HOUSTON UD 5 - KINGWOOD       TX1010348    CWS         Groundwater                   79,794
  TX    CITY OF HOUSTON WILLOW CHASE          TX1011902    CWS         Surfacewater purchased        13,254

  TX    CITY OF HOWE                          TX0910013    CWS         Groundwater                   3,751
  TX    CITY OF HUMBLE                        TX1010014    CWS         Surfacewater purchased       15,616

  TX    CITY OF HUNTSVILLE                    TX2360001    CWS         Surfacewater purchased       55,019

  TX    CITY OF HURST                         TX2200054    CWS         Surfacewater purchased       38,510

  TX    CITY OF HUTCHINS                      TX0570012    CWS         Surfacewater purchased        5,950

  TX    CITY OF HUTTO                         TX2460007    CWS         Surfacewater purchased       16,638

  TX    CITY OF INGLESIDE                     TX2050002    CWS         Surfacewater purchased       10,192

  TX    CITY OF IOWA PARK                     TX2430003    CWS         Surfacewater purchased        7,048

  TX    CITY OF IRVING                        TX0570050    CWS         Surfacewater purchased      240,420

  TX    CITY OF JACINTO CITY                  TX1010015    CWS         Surfacewater purchased       10,625

  TX    CITY OF JACKSBORO                     TX1190002    CWS         Surfacewater                  4,397
  TX    CITY OF JACKSONVILLE                  TX0370002    CWS         Surfacewater                 14,544
  TX    CITY OF JASPER                        TX1210001    CWS         Groundwater                  10,891
  TX    CITY OF JERSEY VILLAGE                TX1010016    CWS         Surfacewater purchased        7,792

  TX    CITY OF JOSEPHINE                     TX0430036    CWS         Surfacewater purchased        6,960

  TX    CITY OF JOURDANTON                    TX0070002    CWS         Groundwater                   6,925
  TX    CITY OF JUSTIN                        TX0610003    CWS         Surfacewater purchased        4,409

  TX    CITY OF KARNES CITY                   TX1280001    CWS         Groundwater                   4,269
  TX    CITY OF KATY                          TX1010017    CWS         Groundwater                  21,894
  TX    CITY OF KAUFMAN                       TX1290003    CWS         Surfacewater purchased        7,322

  TX    CITY OF KEENE                         TX1260008    CWS         Surfacewater purchased        6,310

  TX    CITY OF KELLER                        TX2200096    CWS         Surfacewater purchased       45,400

  TX    CITY OF KENEDY                        TX1280002    CWS         Groundwater                   6,454



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Primacy               PWS Name                  PWSID       PWS Type      Primary Source        Population
Agency                                                                                            Served
 [State]
   TX    CITY OF KENNEDALE                    TX2200017    CWS         Surfacewater purchased        7,670

  TX    CITY OF KERMIT                        TX2480001    CWS         Groundwater                   5,708
  TX    CITY OF KERRVILLE                     TX1330001    CWS         Surfacewater                 22,217
  TX    CITY OF KILGORE                       TX0920003    CWS         Surfacewater                 14,948
  TX    CITY OF KILLEEN                       TX0140006    CWS         Surfacewater purchased      147,630

  TX    CITY OF KINGSVILLE                    TX1370001    CWS         Surfacewater purchased       26,213

  TX    CITY OF KIRBY                         TX0150010    CWS         Groundwater                   8,800
  TX    CITY OF KRUM                          TX0610007    CWS         Surfacewater purchased        5,120

  TX    CITY OF KYLE                          TX1050002    CWS         Surfacewater purchased       41,940

  TX    CITY OF LA FERIA                      TX0310003    CWS         Surfacewater                  8,247
  TX    CITY OF LA GRANGE                     TX0750003    CWS         Groundwater                   4,973
  TX    CITY OF LA GRULLA                     TX2140006    CWS         Surfacewater                  8,982
  TX    CITY OF LA MARQUE                     TX0840006    CWS         Surfacewater purchased       15,154

  TX    CITY OF LA PORTE                      TX1010018    CWS         Surfacewater purchased       47,820

  TX    CITY OF LACY LAKEVIEW                 TX1550033    CWS         Surfacewater purchased        6,611

  TX    CITY OF LAGO VISTA                    TX2270092    CWS         Surfacewater                  8,575
  TX    CITY OF LAKE JACKSON                  TX0200006    CWS         Surfacewater purchased       28,750

  TX    CITY OF LAKE WORTH                    TX2200060    CWS         Surfacewater purchased        4,700

  TX    CITY OF LAMESA                        TX0580001    CWS         Surfacewater purchased        9,442

  TX    CITY OF LAMPASAS                      TX1410001    CWS         Surfacewater purchased        7,982

  TX    CITY OF LANCASTER                     TX0570013    CWS         Surfacewater purchased       39,040

  TX    CITY OF LAREDO                        TX2400001    CWS         Surfacewater                260,046
  TX    CITY OF LEAGUE CITY                   TX0840007    CWS         Surfacewater purchased      128,412

  TX    CITY OF LEANDER                       TX2460012    CWS         Surfacewater                 52,737
  TX    CITY OF LEON VALLEY                   TX0150178    CWS         Groundwater                   7,794
  TX    CITY OF LEVELLAND                     TX1100002    CWS         Surfacewater purchased       13,542

  TX    CITY OF LEWISVILLE                    TX0610004    CWS         Surfacewater                132,620
  TX    CITY OF LIBERTY                       TX1460003    CWS         Groundwater                   8,922
  TX    CITY OF LINDALE                       TX2120002    CWS         Groundwater                   6,313
  TX    CITY OF LITTLEFIELD                   TX1400003    CWS         Groundwater                   6,372
  TX    CITY OF LIVE OAK                      TX0150068    CWS         Groundwater                   8,376
  TX    CITY OF LIVINGSTON                    TX1870002    CWS         Surfacewater purchased       11,692

  TX    CITY OF LLANO                         TX1500001    CWS         Surfacewater                  3,352


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Primacy               PWS Name                  PWSID       PWS Type      Primary Source        Population
Agency                                                                                            Served
 [State]
   TX    CITY OF LOCKHART                     TX0280001    CWS         Surfacewater purchased       14,742

  TX    CITY OF LONGVIEW                      TX0920004    CWS         Surfacewater                 80,455
  TX    CITY OF LOS FRESNOS                   TX0310004    CWS         Surfacewater                  5,542
  TX    CITY OF LUCAS                         TX0430054    CWS         Surfacewater purchased        7,855

  TX    CITY OF LUFKIN                        TX0030004    CWS         Groundwater                  50,461
  TX    CITY OF LULING                        TX0280002    CWS         Surfacewater purchased        7,364

  TX    CITY OF LYTLE                         TX0070004    CWS         Groundwater                   4,194
  TX    CITY OF MABANK                        TX1290005    CWS         Surfacewater                 11,349
  TX    CITY OF MADISONVILLE                  TX1570001    CWS         Groundwater                   4,607
  TX    CITY OF MANOR                         TX2270002    CWS         Groundwater                  19,620
  TX    CITY OF MANSFIELD                     TX2200018    CWS         Surfacewater                 68,612
  TX    CITY OF MANVEL                        TX0200407    CWS         Groundwater                   4,929
  TX    CITY OF MARBLE FALLS                  TX0270026    CWS         Surfacewater                  6,958
  TX    CITY OF MARLIN                        TX0730002    CWS         Surfacewater                  5,967
  TX    CITY OF MARSHALL                      TX1020002    CWS         Surfacewater                 23,091
  TX    CITY OF MATHIS                        TX2050003    CWS         Surfacewater                  5,037
  TX    CITY OF MCGREGOR                      TX1550004    CWS         Surfacewater purchased        5,600

  TX    CITY OF MCKINNEY                      TX0430039    CWS         Surfacewater purchased      195,342

  TX    CITY OF MEADOWS PLACE                 TX0790025    CWS         Groundwater                   4,000
  TX    CITY OF MELISSA                       TX0430040    CWS         Surfacewater purchased       11,883

  TX    CITY OF MERCEDES                      TX1080007    CWS         Surfacewater                 15,700
  TX    CITY OF MERKEL                        TX2210002    CWS         Surfacewater purchased        3,609

  TX    CITY OF MESQUITE                      TX0570014    CWS         Surfacewater purchased      152,020

  TX    CITY OF MEXIA                         TX1470004    CWS         Groundwater purchased         7,459

  TX    CITY OF MIDLAND WATER PURIFICATION TX1650001       CWS         Surfacewater                142,344
        PLANT
  TX    CITY OF MIDLOTHIAN                 TX0700005       CWS         Surfacewater                 21,450
  TX    CITY OF MINEOLA                    TX2500002       CWS         Groundwater                   4,515
  TX    CITY OF MINERAL WELLS              TX1820001       CWS         Surfacewater                 15,090
  TX    CITY OF MISSION                    TX1080008       CWS         Surfacewater                 86,223
  TX    CITY OF MISSOURI CITY MUSTANG      TX0790207       CWS         Surfacewater                  4,167
        BAYOU WATE
  TX    CITY OF MONAHANS                   TX2380001       CWS         Groundwater                   6,953
  TX    CITY OF MONT BELVIEU               TX0360017       CWS         Groundwater                   9,201
  TX    CITY OF MORGANS POINT RESORT       TX0140116       CWS         Surfacewater purchased        4,995

  TX    CITY OF MOUNT PLEASANT                TX2250001    CWS         Surfacewater                 16,113
  TX    CITY OF MURPHY                        TX0430042    CWS         Surfacewater purchased       20,361



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Primacy               PWS Name                  PWSID       PWS Type      Primary Source        Population
Agency                                                                                            Served
 [State]
   TX    CITY OF NACOGDOCHES                  TX1740003    CWS         Surfacewater                 52,250
   TX    CITY OF NASH                         TX0190006    CWS         Surfacewater purchased        3,464

  TX    CITY OF NASSAU BAY                    TX1010152    CWS         Surfacewater purchased        4,170

  TX    CITY OF NAVASOTA                      TX0930001    CWS         Groundwater                   7,998
  TX    CITY OF NEDERLAND                     TX1230006    CWS         Surfacewater                 17,545
  TX    CITY OF NEEDVILLE                     TX0790001    CWS         Groundwater                   4,560
  TX    CITY OF NEW BOSTON                    TX0190003    CWS         Surfacewater purchased        7,059

  TX    CITY OF NORTH RICHLAND HILLS          TX2200063    CWS         Surfacewater purchased       71,600

  TX    CITY OF OAK RIDGE NORTH               TX1700025    CWS         Surfacewater purchased        3,600

  TX    CITY OF ODESSA                        TX0680002    CWS         Surfacewater                123,334
  TX    CITY OF ORANGE                        TX1810004    CWS         Groundwater                  18,762
  TX    CITY OF OVERTON                       TX2010002    CWS         Groundwater                   3,710
  TX    CITY OF OVILLA                        TX0700067    CWS         Surfacewater purchased        4,190

  TX    CITY OF PALACIOS                      TX1610004    CWS         Groundwater                   4,700
  TX    CITY OF PALESTINE                     TX0010001    CWS         Surfacewater                 27,477
  TX    CITY OF PAMPA                         TX0900003    CWS         Surfacewater                 18,000
  TX    CITY OF PARIS                         TX1390002    CWS         Surfacewater                 25,171
  TX    CITY OF PARKER                        TX0430045    CWS         Surfacewater purchased        5,280

  TX    CITY OF PASADENA                      TX1010293    CWS         Surfacewater purchased      153,000

  TX    CITY OF PEARLAND                      TX0200008    CWS         Surfacewater purchased      127,500

  TX    CITY OF PEARLAND MUD 1                TX0200411    CWS         Groundwater purchased         4,484

  TX    CITY OF PEARSALL                      TX0820002    CWS         Groundwater                   9,346
  TX    CITY OF PECOS                         TX1950001    CWS         Groundwater                  12,480
  TX    CITY OF PFLUGERVILLE                  TX2270014    CWS         Surfacewater                 45,785
  TX    CITY OF PHARR                         TX1080009    CWS         Surfacewater                 77,320
  TX    CITY OF PILOT POINT                   TX0610005    CWS         Groundwater                   5,047
  TX    CITY OF PITTSBURG                     TX0320001    CWS         Surfacewater purchased        4,754

  TX    CITY OF PLANO                         TX0430007    CWS         Surfacewater purchased      288,800

  TX    CITY OF PLEASANTON                    TX0070003    CWS         Groundwater                  11,142
  TX    CITY OF POINT                         TX1900004    CWS         Surfacewater                  3,600
  TX    CITY OF PORT ARTHUR                   TX1230009    CWS         Surfacewater                 53,818
  TX    CITY OF PORT NECHES                   TX1230010    CWS         Surfacewater                 14,994
  TX    CITY OF PORTLAND                      TX2050005    CWS         Surfacewater purchased       20,536

  TX    CITY OF POST                          TX0850001    CWS         Surfacewater purchased        5,471




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Primacy                PWS Name               PWSID       PWS Type      Primary Source        Population
Agency                                                                                          Served
 [State]
   TX    CITY OF POTEET                     TX0070005    CWS         Groundwater                   4,185
   TX    CITY OF PRESIDIO                   TX1890002    CWS         Groundwater                   5,106
   TX    CITY OF PRIMERA                    TX0310094    CWS         Surfacewater purchased        4,600

  TX    CITY OF PRINCETON                   TX0430008    CWS         Surfacewater purchased       21,760

  TX    CITY OF RAYMONDVILLE                TX2450001    CWS         Surfacewater                 11,288
  TX    CITY OF RED OAK                     TX0700031    CWS         Surfacewater purchased       10,934

  TX    CITY OF REDWATER                    TX0190008    CWS         Surfacewater purchased        4,356

  TX    CITY OF RENO                        TX1390013    CWS         Surfacewater purchased        3,460

  TX    CITY OF RICHARDSON                  TX0570015    CWS         Surfacewater purchased      115,630

  TX    CITY OF RICHLAND HILLS              TX2200022    CWS         Surfacewater purchased        7,801

  TX    CITY OF RICHMOND                    TX0790023    CWS         Surfacewater                 15,105
  TX    CITY OF RICHWOOD                    TX0200035    CWS         Surfacewater purchased        7,431

  TX    CITY OF RIO GRANDE CITY             TX2140018    CWS         Surfacewater                 18,297
  TX    CITY OF RIVER OAKS                  TX2200069    CWS         Surfacewater purchased        8,320

  TX    CITY OF ROANOKE                     TX0610008    CWS         Surfacewater purchased        9,878

  TX    CITY OF ROBINSON                    TX1550010    CWS         Surfacewater                 12,650
  TX    CITY OF ROCKDALE                    TX1660002    CWS         Groundwater                   5,595
  TX    CITY OF ROCKPORT                    TX0040002    CWS         Surfacewater purchased       28,539

  TX    CITY OF ROCKWALL                    TX1990001    CWS         Surfacewater purchased       43,750

  TX    CITY OF ROMA                        TX2140007    CWS         Surfacewater                 19,123
  TX    CITY OF ROSENBERG                   TX0790003    CWS         Surfacewater purchased       42,158

  TX    CITY OF ROUND ROCK                  TX2460003    CWS         Surfacewater                116,385
  TX    CITY OF ROWLETT                     TX0570056    CWS         Surfacewater purchased       59,300

  TX    CITY OF ROYSE CITY                  TX1990002    CWS         Surfacewater purchased       14,212

  TX    CITY OF RUSK                        TX0370003    CWS         Groundwater                   5,668
  TX    CITY OF SACHSE                      TX0570057    CWS         Surfacewater purchased       29,042

  TX    CITY OF SAGINAW                     TX2200023    CWS         Surfacewater purchased       24,450

  TX    CITY OF SAN ANGELO                  TX2260001    CWS         Surfacewater                101,004
  TX    CITY OF SAN BENITO                  TX0310007    CWS         Surfacewater                 24,250
  TX    CITY OF SAN JUAN                    TX1080010    CWS         Surfacewater                 30,027
  TX    CITY OF SAN MARCOS                  TX1050001    CWS         Surfacewater                 67,468




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Primacy               PWS Name                 PWSID       PWS Type      Primary Source        Population
Agency                                                                                           Served
 [State]
   TX    CITY OF SANGER                      TX0610006    CWS         Surfacewater purchased        7,595

  TX    CITY OF SANSOM PARK                  TX2200071    CWS         Groundwater                   5,704
  TX    CITY OF SCHERTZ                      TX0940003    CWS         Groundwater                  39,453
  TX    CITY OF SEABROOK                     TX1010062    CWS         Surfacewater purchased       12,792

  TX    CITY OF SEAGOVILLE                   TX0570016    CWS         Surfacewater purchased       17,800

  TX    CITY OF SEALY                        TX0080002    CWS         Groundwater                   6,839
  TX    CITY OF SEGUIN                       TX0940002    CWS         Surfacewater                 28,053
  TX    CITY OF SELMA                        TX0150492    CWS         Groundwater                  11,418
  TX    CITY OF SEMINOLE                     TX0830012    CWS         Groundwater                   8,917
  TX    CITY OF SHERMAN                      TX0910006    CWS         Surfacewater                 42,762
  TX    CITY OF SILSBEE                      TX1000002    CWS         Groundwater                  10,074
  TX    CITY OF SINTON                       TX2050006    CWS         Groundwater                   5,665
  TX    CITY OF SLATON                       TX1520004    CWS         Surfacewater purchased        6,052

  TX    CITY OF SMITHVILLE                   TX0110003    CWS         Groundwater                   4,901
  TX    CITY OF SNYDER                       TX2080001    CWS         Surfacewater                 10,753
  TX    CITY OF SOUTH HOUSTON                TX1010294    CWS         Surfacewater purchased       17,397

  TX    CITY OF SOUTHLAKE                    TX2200075    CWS         Surfacewater purchased       32,000

  TX    CITY OF SPLENDORA                    TX1700087    CWS         Groundwater                   9,231
  TX    CITY OF SPRING VALLEY VILLAGE        TX1010214    CWS         Groundwater                   4,499
  TX    CITY OF SPRINGTOWN                   TX1840003    CWS         Surfacewater                  3,323
  TX    CITY OF STEPHENVILLE                 TX0720002    CWS         Surfacewater purchased       23,110

  TX    CITY OF SUGAR LAND                 TX0790005      CWS         Surfacewater                 83,886
  TX    CITY OF SUGAR LAND - GREATWOOD     TX0790296      CWS         Groundwater                  13,902
  TX    CITY OF SUGAR LAND - NEW TERRITORY TX0790253      CWS         Groundwater                  15,966

  TX    CITY OF SUGAR LAND RIVER PARK        TX0790354    CWS         Groundwater                   3,647
  TX    CITY OF SULPHUR SPRINGS              TX1120002    CWS         Surfacewater                 15,449
  TX    CITY OF SWEENY                       TX0200009    CWS         Groundwater                   3,978
  TX    CITY OF SWEETWATER                   TX1770002    CWS         Surfacewater                 11,198
  TX    CITY OF TAFT                         TX2050007    CWS         Surfacewater purchased        4,941

  TX    CITY OF TAYLOR                       TX2460004    CWS         Surfacewater purchased       20,622

  TX    CITY OF TEAGUE                       TX0810002    CWS         Groundwater                   5,517
  TX    CITY OF TEMPLE                       TX0140005    CWS         Surfacewater                 85,261
  TX    CITY OF TERRELL                      TX1290006    CWS         Surfacewater purchased       18,897

  TX    CITY OF TEXAS CITY                   TX0840008    CWS         Surfacewater purchased       54,357

  TX    CITY OF THE COLONY                   TX0610081    CWS         Surfacewater purchased       44,927



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Primacy                    PWS Name                 PWSID       PWS Type      Primary Source        Population
Agency                                                                                                Served
 [State]
   TX      CITY OF THREE RIVERS                   TX1490002    CWS         Surfacewater                  4,389
   TX      CITY OF TOMBALL                        TX1010026    CWS         Groundwater                  12,924
   TX      CITY OF TRINITY                        TX2280002    CWS         Groundwater                   4,484
   TX      CITY OF TYLER                          TX2120004    CWS         Surfacewater                104,798
   TX      CITY OF UNIVERSAL CITY                 TX0150009    CWS         Groundwater                  21,153
   TX      CITY OF UNIVERSITY PARK                TX0570061    CWS         Surfacewater purchased       25,278

  TX       CITY OF UVALDE                         TX2320002    CWS         Groundwater                  17,450
  TX       CITY OF VAN ALSTYNE                    TX0910009    CWS         Surfacewater purchased        4,250

  TX       CITY OF VENUS                          TX1260006    CWS         Surfacewater purchased        3,716

  TX       CITY OF VERNON                         TX2440001    CWS         Groundwater                  10,078
  TX       CITY OF VICTORIA                       TX2350002    CWS         Surfacewater                 66,932
  TX       CITY OF WACO                           TX1550008    CWS         Surfacewater                143,355
  TX       CITY OF WAKE VILLAGE                   TX0190005    CWS         Surfacewater purchased        5,945

  TX       CITY OF WALLER                         TX2370003    CWS         Groundwater                   3,359
  TX       CITY OF WATAUGA                        TX2200328    CWS         Surfacewater purchased       23,660

  TX       CITY OF WAXAHACHIE                     TX0700008    CWS         Surfacewater                 41,085
  TX       CITY OF WEATHERFORD                    TX1840005    CWS         Surfacewater                 27,900
  TX       CITY OF WEBSTER                        TX1010226    CWS         Surfacewater purchased       13,710

  TX       CITY OF WESLACO                        TX1080011    CWS         Surfacewater                 32,092
  TX       CITY OF WEST COLUMBIA                  TX0200010    CWS         Groundwater                   3,878
  TX       CITY OF WEST UNIVERSITY PLACE          TX1010027    CWS         Surfacewater purchased       18,600

  TX       CITY OF WHARTON                        TX2410005    CWS         Groundwater                   8,756
  TX       CITY OF WHITE OAK                      TX0920006    CWS         Surfacewater                  6,469
  TX       CITY OF WHITE SETTLEMENT               TX2200081    CWS         Surfacewater purchased       18,269

  TX       CITY OF WHITEHOUSE                     TX2120025    CWS         Surfacewater purchased        8,282

  TX       CITY OF WHITESBORO                     TX0910010    CWS         Groundwater                   4,192
  TX       CITY OF WICHITA FALLS                  TX2430001    CWS         Surfacewater                104,553
  TX       CITY OF WILLIS                         TX1700003    CWS         Groundwater                   6,378
  TX       CITY OF WILLOW PARK                    TX1840027    CWS         Groundwater                   4,936
  TX       CITY OF WILLS POINT                    TX2340005    CWS         Surfacewater                  6,648
  TX       CITY OF WILMER                         TX0570018    CWS         Surfacewater purchased        6,690

  TX       CITY OF WINNSBORO                      TX2500004    CWS         Surfacewater                  3,884
  TX       CITY OF WOLFFORTH                      TX1520005    CWS         Groundwater                   6,008
  TX       CITY OF WOODVILLE                      TX2290001    CWS         Groundwater                   5,867
  TX       CITY OF WOODWAY                        TX1550048    CWS         Surfacewater purchased        8,500

  TX       CITY OF WYLIE                          TX0430011    CWS         Surfacewater purchased       44,418



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Primacy               PWS Name                PWSID       PWS Type      Primary Source        Population
Agency                                                                                          Served
 [State]
   TX    CITY OF YOAKUM                     TX0620003    CWS         Groundwater                   5,815
   TX    CLAY ROAD MUD                      TX1011681    CWS         Surfacewater purchased        4,218

  TX    CLEAR BROOK CITY MUD                TX1010418    CWS         Surfacewater purchased       17,937

  TX    CLEAR LAKE CITY WATER AUTHORITY     TX1010056    CWS         Surfacewater purchased       85,392

  TX    CLWSC CANYON LAKE SHORES            TX0460019    CWS         Surfacewater                 24,579
  TX    CNP UTILITY DISTRICT                TX1010429    CWS         Surfacewater purchased       14,694

  TX    COLEMAN COUNTY SUD                  TX0420034    CWS         Surfacewater purchased        5,000

  TX    COLLEGE MOUND SUD                   TX1290012    CWS         Surfacewater purchased        9,678

  TX    COMBINE WSC                         TX0570039    CWS         Surfacewater purchased        3,550

  TX    COMBINED CONSUMERS SUD              TX1160052    CWS         Surfacewater                  7,238
  TX    COMMUNITY WSC                       TX2200044    CWS         Surfacewater                  4,092
  TX    CONCHO RURAL WATER GRAPE CREEK      TX2260008    CWS         Surfacewater purchased        5,049

  TX    CONCORD-ROBBINS WSC                 TX1450018    CWS         Groundwater                   4,668
  TX    CONROE ISD MOOREHEAD JR HIGH        TX1700583    NTNCWS      Groundwater                   4,945
        SCHOOL
  TX    COPEVILLE SUD                       TX0430029    CWS         Surfacewater purchased        4,375

  TX    CORNERSTONES MUD                   TX1011692     CWS         Groundwater                   5,331
  TX    CORYELL CITY WATER SUPPLY DISTRICT TX0500013     CWS         Surfacewater purchased        5,628

  TX    COTTONWOOD CREEK MUD 1              TX2270355    CWS         Groundwater purchased         4,488

  TX    COUNTY LINE SUD                     TX1050038    CWS         Surfacewater purchased       16,608

  TX    CRAFT TURNEY WSC MAIN               TX0370016    CWS         Surfacewater purchased        5,304

  TX    CREEDMOOR MAHA WSC                  TX2270008    CWS         Surfacewater purchased        7,401

  TX    CROCKETT COUNTY WCID 1 OZONA        TX0530012    CWS         Groundwater                   3,800
  TX    CROSBY MUD                          TX1010118    CWS         Surfacewater                  4,449
  TX    CROSS COUNTRY WSC                   TX1550059    CWS         Groundwater                   3,789
  TX    CROSS TIMBERS WSC                   TX0610020    CWS         Surfacewater purchased        7,845

  TX    CRYSTAL CLEAR SUD                   TX0940015    CWS         Surfacewater purchased       15,924

  TX    CRYSTAL SYSTEMS                     TX2120015    CWS         Groundwater                   3,879
  TX    CULLEOKA WSC                        TX0430030    CWS         Surfacewater purchased        6,993

  TX    CY CHAMP PUD                        TX1011522    CWS         Groundwater                   6,726
  TX    CYPRESS FOREST PUD                  TX1010919    CWS         Groundwater                   6,387
  TX    CYPRESS HILL MUD 1                  TX1012378    CWS         Groundwater                  10,654



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Primacy               PWS Name                  PWSID       PWS Type      Primary Source        Population
Agency                                                                                            Served
 [State]
   TX    CYPRESS KLEIN UTILITY DISTRICT       TX1010431    CWS         Groundwater                   4,197
         WIMBLETON
   TX    CYPRESS SPRINGS SUD N PLANT 1 AND    TX0800003    CWS         Surfacewater                 11,763
         NE PLA
   TX    CYPRESSWOOD UTILITY DISTRICT         TX1010432    CWS         Surfacewater purchased        4,305

  TX    D & M WSC                             TX1740010    CWS         Surfacewater purchased        6,570

  TX    DALHART MUNICIPAL WATER SYSTEM        TX0560001    CWS         Groundwater                   8,256
  TX    DALLAS FORT WORTH INTERNATIONAL       TX0570136    NTNCWS      Surfacewater purchased      177,673
        AIRPORT
  TX    DALLAS WATER UTILITY                  TX0570004    CWS         Surfacewater               1,321,740
  TX    DEAN DALE SUD                         TX0390019    CWS         Surfacewater purchased         3,747

  TX    DEAN WSC                              TX2120009    CWS         Groundwater                   5,907
  TX    DECKER HILLS                          TX1700386    CWS         Groundwater                   3,582
  TX    DEL RIO UTILITIES COMMISSION          TX2330001    CWS         Groundwater under            36,506
                                                                       influence of
                                                                       surfacewater
  TX    DENTON COUNTY FWSD 11-A PALOMA        TX0610259    CWS         Surfacewater purchased        4,947

  TX    DENTON COUNTY FWSD 7 LANTANA          TX0610228    CWS         Surfacewater purchased       11,169

  TX    DIANA SUD                             TX2300006    CWS         Surfacewater purchased        7,170

  TX    DIMMITT MUNICIPAL WATER SYSTEM        TX0350001    CWS         Groundwater                   4,393
  TX    DOBBIN PLANTERSVILLE WSC 1            TX1700178    CWS         Groundwater                   4,248
  TX    DOG RIDGE WSC                         TX0140044    CWS         Surfacewater purchased        4,953

  TX    DOWDELL PUD                           TX1010592    CWS         Groundwater                   5,022
  TX    DRIPPING SPRINGS WSC                  TX1050013    CWS         Surfacewater purchased        8,037

  TX    EAST BELL WSC                         TX0140118    CWS         Surfacewater purchased        4,125

  TX    EAST CEDAR CREEK FWSD B A MCKAY  TX1070019         CWS         Surfacewater                  6,753
  TX    EAST CEDAR CREEK FWSD BROOKSHIRE TX1070167         CWS         Surfacewater                 13,701

  TX    EAST CENTRAL SUD                      TX0150138    CWS         Surfacewater purchased       16,038

  TX    EAST FORK SUD                         TX0430033    CWS         Surfacewater purchased       16,194

  TX    EAST MEDINA COUNTY SUD UNIT 1         TX1630010    CWS         Groundwater                   5,478
  TX    EAST MONTANA WATER SYSTEM             TX0710178    CWS         Surfacewater purchased        6,513

  TX    EAST RIO HONDO WSC                    TX0310096    CWS         Surfacewater                 21,726
  TX    ECTOR COUNTY UTILITY DISTRICT         TX0680235    CWS         Surfacewater purchased       15,300

  TX    EL DORADO UTILITY DISTRICT            TX1010471    CWS         Groundwater                   4,083
  TX    EL JARDIN WSC                         TX0310022    CWS         Surfacewater purchased        9,174



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Primacy                 PWS Name                 PWSID       PWS Type      Primary Source        Population
Agency                                                                                             Served
 [State]
   TX      EL OSO WSC                          TX1280007    CWS         Groundwater                   8,343
   TX      EL PASO COUNTY TORNILLO WID         TX0710019    CWS         Groundwater                   3,600
   TX      EL PASO COUNTY WCID 4 FABENS        TX0710018    CWS         Groundwater                   8,257
   TX      EL PASO WATER UTILITIES PUBLIC      TX0710002    CWS         Surfacewater                747,168
           SERVICE B
  TX       ELDERVILLE WSC                      TX0920019    CWS         Surfacewater purchased        9,114

  TX       ELM CREEK WSC                       TX1550026    CWS         Surfacewater purchased        4,620

  TX       ELM RIDGE WCID                      TX0610261    CWS         Surfacewater purchased        5,061

  TX       EMERALD FOREST UTILITY DISTRICT     TX1010541    CWS         Groundwater                   7,326
  TX       ENCANTO REAL UTILITY DISTRICT       TX1010687    CWS         Groundwater                   3,717
  TX       EULA WSC                            TX0300005    CWS         Surfacewater purchased        3,786

  TX       EXXON MOBIL BAYTOWN REFINERY        TX1011562    NTNCWS      Surfacewater purchased        7,000

  TX       FAIR OAKS RANCH UTILITIES           TX0150216    CWS         Surfacewater purchased        9,090

  TX       FALCON RURAL WSC                    TX2140003    CWS         Surfacewater                  3,600
  TX       FALFURRIAS UTILITY BOARD            TX0240001    CWS         Groundwater                   7,500
  TX       FALLBROOK UTILITY DISTRICT          TX1010340    CWS         Groundwater                   6,720
  TX       FAULKEY GULLY MUD                   TX1011602    CWS         Groundwater                   7,971
  TX       FAYETTE WSC WEST                    TX0750022    CWS         Groundwater                   5,802
  TX       FERN BLUFF MUD                      TX2460128    CWS         Surfacewater purchased        5,682

  TX       FILES VALLEY WSC                    TX1090035    CWS         Surfacewater purchased        3,600

  TX       FIRST COLONY MUD 9                  TX0790230    CWS         Groundwater                   7,818
  TX       FLO COMMUNITY WSC                   TX1450015    CWS         Groundwater                   4,275
  TX       FORNEY LAKE WSC                     TX1290014    CWS         Surfacewater purchased       16,188

  TX       FORT BELKNAP WSC                    TX2520007    CWS         Surfacewater purchased        7,179

  TX       FORT BEND COUNTY MUD 116 CANYON     TX0790367    CWS         Groundwater                   4,782
           GATE
  TX       FORT BEND COUNTY MUD 118            TX0790366    CWS         Surfacewater purchased        5,403

  TX       FORT BEND COUNTY MUD 119            TX0790382    CWS         Surfacewater purchased        5,082

  TX       FORT BEND COUNTY MUD 121            TX0790393    CWS         Groundwater purchased         4,917

  TX       FORT BEND COUNTY MUD 122            TX0790416    CWS         Surfacewater purchased        3,363

  TX       FORT BEND COUNTY MUD 123            TX0790446    CWS         Surfacewater purchased        4,143

  TX       FORT BEND COUNTY MUD 129            TX0790437    CWS         Groundwater purchased         3,492

  TX       FORT BEND COUNTY MUD 133            TX0790444    CWS         Surfacewater purchased        7,266



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Primacy              PWS Name                PWSID       PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
   TX    FORT BEND COUNTY MUD 134B         TX0790532    CWS         Groundwater purchased         3,375

 TX    FORT BEND COUNTY MUD 134C           TX0790533    CWS         Groundwater purchased         6,183

 TX    FORT BEND COUNTY MUD 142            TX0790429    CWS         Surfacewater purchased        9,447

 TX    FORT BEND COUNTY MUD 143 WATER      TX0790472    CWS         Groundwater                   5,196
       VIEW ESTA
 TX    FORT BEND COUNTY MUD 146            TX0790435    CWS         Surfacewater purchased        5,118

 TX    FORT BEND COUNTY MUD 151            TX0790443    CWS         Groundwater                   8,886
 TX    FORT BEND COUNTY MUD 152            TX0790487    CWS         Surfacewater purchased        3,611

 TX    FORT BEND COUNTY MUD 155            TX0790488    CWS         Surfacewater purchased        5,001

 TX    FORT BEND COUNTY MUD 162            TX0790459    CWS         Groundwater                   3,774
 TX    FORT BEND COUNTY MUD 165            TX0790470    CWS         Surfacewater purchased        4,014

 TX    FORT BEND COUNTY MUD 190            TX0790501    CWS         Surfacewater purchased        4,299

 TX    FORT BEND COUNTY MUD 2              TX0790038    CWS         Surfacewater purchased        6,747

 TX    FORT BEND COUNTY MUD 23             TX0790237    CWS         Groundwater                  13,548
 TX    FORT BEND COUNTY MUD 25             TX0790130    CWS         Groundwater                  13,923
 TX    FORT BEND COUNTY MUD 26 QUAIL       TX0790137    CWS         Groundwater                   4,662
       GREEN WEST
 TX    FORT BEND COUNTY MUD 30             TX0790146    CWS         Surfacewater purchased       13,623

 TX    FORT BEND COUNTY MUD 34             TX0790200    CWS         Surfacewater purchased        5,418

 TX    FORT BEND COUNTY MUD 35             TX0790433    CWS         Groundwater purchased         6,297

 TX    FORT BEND COUNTY MUD 41             TX0790229    CWS         Surfacewater purchased        4,230

 TX    FORT BEND COUNTY MUD 42 WAT PLAT    TX0790254    CWS         Groundwater                   4,434

 TX    FORT BEND COUNTY MUD 48             TX0790267    CWS         Groundwater purchased         4,323

 TX    FORT BEND COUNTY MUD 5              TX0790482    CWS         Groundwater                   4,071
 TX    FORT BEND COUNTY MUD 50             TX0790277    CWS         Surfacewater purchased        6,054

 TX    FORT BEND COUNTY MUD 57             TX0790455    CWS         Surfacewater purchased        5,335

 TX    FORT BEND COUNTY MUD 58             TX0790458    CWS         Surfacewater purchased       10,533

 TX    FORT BEND COUNTY MUD 81 WESTON      TX0790268    CWS         Groundwater                   3,435
       LAKES
 TX    FORT BEND COUNTY WCID 2             TX0790004    CWS         Surfacewater                 47,061
 TX    FORT BLISS BIGGS ARMY AIRFIELD      TX0710078    CWS         Groundwater                   4,050
 TX    FORT BLISS MAIN POST AREA           TX0710020    CWS         Groundwater                  28,000



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Primacy             PWS Name                  PWSID       PWS Type      Primary Source        Population
Agency                                                                                          Served
 [State]
   TX    FOUKE WSC                          TX2500016    CWS         Groundwater                   7,548
   TX    FOUNTAINHEAD MUD                   TX1010435    CWS         Surfacewater purchased        6,204

 TX    FOUR PINES WSC                       TX0010020    CWS         Groundwater                   3,753
 TX    FOUR WAY SUD                         TX0030020    CWS         Groundwater                   6,786
 TX    FRIONA MUNICIPAL WATER SYSTEM        TX1850003    CWS         Groundwater                   4,653
 TX    FRISCO WEST WCID                     TX0610253    CWS         Surfacewater purchased        5,613

 TX    FRITCH MUNICIPAL WATER SUPPLY        TX1170004    CWS         Groundwater                   6,992
 TX    FRUITVALE WSC                        TX2340010    CWS         Groundwater                   3,549
 TX    FRY ROAD MUD                         TX1011679    CWS         Groundwater                   3,696
 TX    FULSHEAR MUD 3A                      TX0790560    CWS         Groundwater purchased         3,669

 TX    G & W WSC                            TX2370063    CWS         Groundwater                   3,343
 TX    G M WSC                              TX2020067    CWS         Surfacewater                 11,220
 TX    GALVESTON COUNTY WCID 1              TX0840001    CWS         Surfacewater purchased       32,214

 TX    GALVESTON COUNTY WCID 12             TX0840031    CWS         Surfacewater purchased        6,189

 TX    GALVESTON COUNTY WCID 8              TX0840009    CWS         Surfacewater purchased        6,732

 TX    GASTONIA SCURRY SUD                  TX1290015    CWS         Surfacewater purchased        9,417

 TX    GBRA CALHOUN COUNTY RURAL WATER TX0290007         CWS         Surfacewater purchased        4,482
       SYSTEM
 TX    GHOLSON WSC                     TX1550028         CWS         Groundwater                   3,657
 TX    GLENWOOD WSC                    TX2300005         CWS         Groundwater                   3,477
 TX    GOFORTH SUD                     TX1050019         CWS         Surfacewater purchased       34,893

 TX    GOLDEN WSC                           TX2500006    CWS         Groundwater                   4,431
 TX    GONZALES COUNTY WSC                  TX0890006    CWS         Surfacewater purchased        8,781

 TX    GRAND LAKES MUD 4                    TX0790356    CWS         Groundwater                   3,873
 TX    GRAND MISSION MUD 1                  TX0790430    CWS         Surfacewater purchased        6,639

 TX    GRAND SAN JACINTO WATER SYSTEM       TX1460179    CWS         Groundwater                   4,500
 TX    GRAY UTILITY SERVICE                 TX0360005    CWS         Groundwater                   4,471
 TX    GREATER GARDENDALE WSC               TX0680214    CWS         Groundwater                   3,513
 TX    GREEN VALLEY SUD                     TX0940020    CWS         Surfacewater purchased       39,258

 TX    GREENWOOD UTILITY DISTRICT           TX1010554    CWS         Surfacewater purchased       10,536

 TX    GUM SPRINGS WSC 2                    TX1020081    CWS         Surfacewater purchased        7,203

 TX    HARDIN WSC                           TX1460009    CWS         Groundwater                   5,439
 TX    HARLETON WSC                         TX1020074    CWS         Surfacewater purchased        5,040

 TX    HARLINGEN WATER WORKS SYSTEM         TX0310002    CWS         Surfacewater                 85,900



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Primacy              PWS Name                PWSID       PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
   TX    HARRIS COUNTY FWSD 47             TX1010260    CWS         Surfacewater purchased        4,500

  TX    HARRIS COUNTY FWSD 51              TX1010238    CWS         Surfacewater purchased       18,888

  TX    HARRIS COUNTY FWSD 6               TX1010768    CWS         Groundwater                   3,385
  TX    HARRIS COUNTY FWSD 61              TX1010237    CWS         Groundwater                  15,400
  TX    HARRIS COUNTY IMPROVEMENT          TX1013479    CWS         Groundwater                  12,775
        DISTRICT 18
  TX    HARRIS COUNTY MUD 1                TX1010539    CWS         Groundwater                  11,859
  TX    HARRIS COUNTY MUD 102              TX1010503    CWS         Surfacewater purchased       10,212

  TX    HARRIS COUNTY MUD 104              TX1011534    CWS         Surfacewater purchased        4,449

  TX    HARRIS COUNTY MUD 105              TX1011227    CWS         Groundwater                  14,151
  TX    HARRIS COUNTY MUD 106              TX1013160    CWS         Groundwater                   3,813
  TX    HARRIS COUNTY MUD 109              TX1010620    CWS         Groundwater                   9,387
  TX    HARRIS COUNTY MUD 11               TX1010426    CWS         Groundwater                   3,615
  TX    HARRIS COUNTY MUD 118              TX1010897    CWS         Groundwater                   6,678
  TX    HARRIS COUNTY MUD 119              TX1010626    CWS         Groundwater                   4,758
  TX    HARRIS COUNTY MUD 120              TX1010774    CWS         Groundwater                  12,771
  TX    HARRIS COUNTY MUD 127              TX1012229    CWS         Surfacewater purchased        5,147

  TX    HARRIS COUNTY MUD 130              TX1012097    CWS         Surfacewater purchased        4,572

  TX    HARRIS COUNTY MUD 132              TX1010616    CWS         Groundwater                   8,949
  TX    HARRIS COUNTY MUD 148 KINGSLAKE    TX1010938    CWS         Surfacewater purchased        4,347

  TX    HARRIS COUNTY MUD 149              TX1011296    CWS         Groundwater                   3,675
  TX    HARRIS COUNTY MUD 150              TX1011250    CWS         Surfacewater purchased        8,418

  TX    HARRIS COUNTY MUD 151              TX1010905    CWS         Groundwater                   6,603
  TX    HARRIS COUNTY MUD 152              TX1010902    CWS         Groundwater                   7,299
  TX    HARRIS COUNTY MUD 153              TX1012133    CWS         Groundwater                   8,013
  TX    HARRIS COUNTY MUD 154              TX1011642    CWS         Groundwater                   9,015
  TX    HARRIS COUNTY MUD 157              TX1011430    CWS         Groundwater                  11,928
  TX    HARRIS COUNTY MUD 158              TX1012297    CWS         Groundwater purchased         6,639

  TX    HARRIS COUNTY MUD 16               TX1011705    CWS         Surfacewater purchased        5,982

  TX    HARRIS COUNTY MUD 163              TX1012213    CWS         Surfacewater purchased        5,493

  TX    HARRIS COUNTY MUD 165              TX1012187    CWS         Groundwater                  23,310
  TX    HARRIS COUNTY MUD 167              TX1012842    CWS         Groundwater                  15,027
  TX    HARRIS COUNTY MUD 168              TX1011783    CWS         Groundwater                  13,029
  TX    HARRIS COUNTY MUD 172              TX1012970    CWS         Surfacewater purchased        4,395

  TX    HARRIS COUNTY MUD 173              TX1012971    CWS         Surfacewater purchased        3,876




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Primacy              PWS Name                PWSID       PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
   TX    HARRIS COUNTY MUD 179             TX1011848    CWS         Surfacewater purchased        5,178

  TX    HARRIS COUNTY MUD 18               TX1010512    CWS         Surfacewater purchased        4,053
        HEATHERWOOD HUNTERS
  TX    HARRIS COUNTY MUD 180              TX1011799    CWS         Groundwater                   4,494
  TX    HARRIS COUNTY MUD 183              TX1011824    CWS         Surfacewater purchased        3,978

  TX    HARRIS COUNTY MUD 185              TX1011914    CWS         Surfacewater purchased        4,548

  TX    HARRIS COUNTY MUD 186              TX1012214    CWS         Surfacewater purchased        3,981

  TX    HARRIS COUNTY MUD 188              TX1011982    CWS         Surfacewater purchased        9,279

  TX    HARRIS COUNTY MUD 189              TX1011809    CWS         Groundwater                   7,050
  TX    HARRIS COUNTY MUD 191              TX1012362    CWS         Surfacewater purchased        3,465

  TX    HARRIS COUNTY MUD 196              TX1013002    CWS         Surfacewater purchased        6,543

  TX    HARRIS COUNTY MUD 200 CRANBROOK    TX1012007    CWS         Surfacewater purchased       14,757

  TX    HARRIS COUNTY MUD 208              TX1012419    CWS         Surfacewater purchased        3,642

  TX    HARRIS COUNTY MUD 221              TX1012972    CWS         Groundwater                   4,839
  TX    HARRIS COUNTY MUD 222              TX1013054    CWS         Groundwater                   6,093
  TX    HARRIS COUNTY MUD 23               TX1010649    CWS         Surfacewater purchased        3,633

  TX    HARRIS COUNTY MUD 230              TX1012740    CWS         Groundwater                   7,656
  TX    HARRIS COUNTY MUD 238              TX1012361    CWS         Surfacewater purchased        7,773

  TX    HARRIS COUNTY MUD 239              TX1012392    CWS         Groundwater                   5,583
  TX    HARRIS COUNTY MUD 24               TX1010572    CWS         Surfacewater purchased       13,614

  TX    HARRIS COUNTY MUD 257              TX1012985    CWS         Surfacewater purchased        3,492

  TX    HARRIS COUNTY MUD 26               TX1010715    CWS         Groundwater                  16,245
  TX    HARRIS COUNTY MUD 264              TX1012330    CWS         Surfacewater purchased        3,765

  TX    HARRIS COUNTY MUD 276              TX1012942    CWS         Surfacewater purchased        4,926

  TX    HARRIS COUNTY MUD 278              TX1012835    CWS         Surfacewater purchased        8,658

  TX    HARRIS COUNTY MUD 281              TX1013178    CWS         Groundwater                   3,609
  TX    HARRIS COUNTY MUD 284              TX1013114    CWS         Groundwater                   4,233
  TX    HARRIS COUNTY MUD 285              TX1012677    CWS         Surfacewater purchased       10,365

  TX    HARRIS COUNTY MUD 287              TX1013385    CWS         Groundwater purchased         3,510

  TX    HARRIS COUNTY MUD 290              TX1013294    CWS         Groundwater purchased         8,259

  TX    HARRIS COUNTY MUD 304              TX1012941    CWS         Groundwater                   4,158



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Primacy              PWS Name                 PWSID       PWS Type      Primary Source        Population
Agency                                                                                          Served
 [State]
   TX    HARRIS COUNTY MUD 322 FAIRFIELD    TX1012542    CWS         Groundwater purchased         4,263
         VILLAGE
   TX    HARRIS COUNTY MUD 33               TX1011162    CWS         Groundwater                   4,875
   TX    HARRIS COUNTY MUD 342              TX1012973    CWS         Groundwater purchased         4,035

  TX    HARRIS COUNTY MUD 344               TX1012974    CWS         Surfacewater purchased        4,518

  TX    HARRIS COUNTY MUD 345               TX1012768    CWS         Groundwater                   3,843
  TX    HARRIS COUNTY MUD 354               TX1012965    CWS         Groundwater purchased         6,585

  TX    HARRIS COUNTY MUD 360               TX1012897    CWS         Groundwater                   4,614
  TX    HARRIS COUNTY MUD 361               TX1013123    CWS         Groundwater purchased         3,705

  TX    HARRIS COUNTY MUD 364               TX1013132    CWS         Groundwater purchased         6,264

  TX    HARRIS COUNTY MUD 365               TX1013009    CWS         Groundwater                   4,458
  TX    HARRIS COUNTY MUD 367               TX1013040    CWS         Surfacewater purchased        6,759

  TX    HARRIS COUNTY MUD 368               TX1011908    CWS         Surfacewater purchased       11,397

  TX    HARRIS COUNTY MUD 370               TX1013113    CWS         Surfacewater purchased        4,629

  TX    HARRIS COUNTY MUD 374 CYPRESS       TX1013450    CWS         Groundwater purchased         5,535
        CREEK LAKE
  TX    HARRIS COUNTY MUD 383               TX1013213    CWS         Groundwater                   7,650
  TX    HARRIS COUNTY MUD 391               TX1013253    CWS         Groundwater                   8,511
  TX    HARRIS COUNTY MUD 397               TX1013295    CWS         Groundwater purchased         4,413

  TX    HARRIS COUNTY MUD 400 - WEST        TX1013310    CWS         Groundwater                   5,172
  TX    HARRIS COUNTY MUD 401               TX1013289    CWS         Groundwater                   3,794
  TX    HARRIS COUNTY MUD 412               TX1013354    CWS         Surfacewater purchased        3,633

  TX    HARRIS COUNTY MUD 419               TX1013335    CWS         Groundwater purchased         7,389

  TX    HARRIS COUNTY MUD 43                TX1010565    CWS         Groundwater                   5,142
  TX    HARRIS COUNTY MUD 432               TX1013378    CWS         Groundwater                   4,749
  TX    HARRIS COUNTY MUD 433               TX1013350    CWS         Surfacewater purchased        5,091

  TX    HARRIS COUNTY MUD 46                TX1010903    CWS         Groundwater                   4,815
  TX    HARRIS COUNTY MUD 49                TX1011462    CWS         Surfacewater purchased       10,722

  TX    HARRIS COUNTY MUD 495               TX1013532    CWS         Groundwater                   5,007
  TX    HARRIS COUNTY MUD 5                 TX1010500    CWS         Surfacewater purchased        5,487

  TX    HARRIS COUNTY MUD 50                TX1010719    CWS         Groundwater                   4,743
  TX    HARRIS COUNTY MUD 53                TX1010720    CWS         Surfacewater purchased       17,856

  TX    HARRIS COUNTY MUD 55 HERITAGE       TX1010678    CWS         Surfacewater purchased       16,236
        PARK



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Primacy              PWS Name                PWSID         PWS Type      Primary Source        Population
Agency                                                                                           Served
 [State]
   TX    HARRIS COUNTY MUD 6 CARRIAGE LANE TX1010496      CWS         Surfacewater purchased        3,936

 TX    HARRIS COUNTY MUD 61                  TX1010721    CWS         Groundwater                   3,907
 TX    HARRIS COUNTY MUD 62                  TX1012285    CWS         Groundwater                   3,519
 TX    HARRIS COUNTY MUD 64                  TX1011513    CWS         Groundwater                   5,883
 TX    HARRIS COUNTY MUD 65                  TX1011678    CWS         Groundwater                   5,757
 TX    HARRIS COUNTY MUD 69                  TX1010600    CWS         Groundwater                   4,458
 TX    HARRIS COUNTY MUD 70                  TX1011690    CWS         Surfacewater purchased        5,763

 TX    HARRIS COUNTY MUD 71                  TX1011823    CWS         Groundwater                  16,386
 TX    HARRIS COUNTY MUD 8                   TX1010712    CWS         Surfacewater purchased        6,066

 TX    HARRIS COUNTY MUD 81                  TX1010581    CWS         Groundwater                  11,514
 TX    HARRIS COUNTY MUD 82                  TX1010630    CWS         Groundwater                   9,714
 TX    HARRIS COUNTY MUD 86                  TX1012953    CWS         Surfacewater purchased        5,397

 TX    HARRIS COUNTY MUD 96                  TX1013343    CWS         Surfacewater purchased        7,119

 TX    HARRIS COUNTY UD 14                   TX1011781    CWS         Groundwater                   3,519
 TX    HARRIS COUNTY UD 15                   TX1011778    CWS         Groundwater purchased         3,489

 TX    HARRIS COUNTY UD 16                   TX1013156    CWS         Groundwater                   6,063
 TX    HARRIS COUNTY UTILITY DISTRICT 6      TX1010501    CWS         Surfacewater purchased       11,262

 TX    HARRIS COUNTY WCID 1                  TX1010159    CWS         Surfacewater purchased        7,311

 TX    HARRIS COUNTY WCID 109                TX1010359    CWS         Surfacewater purchased        9,996

 TX    HARRIS COUNTY WCID 110                TX1010482    CWS         Groundwater                   8,988
 TX    HARRIS COUNTY WCID 114                TX1010317    CWS         Surfacewater purchased        5,169

 TX    HARRIS COUNTY WCID 116                TX1010507    CWS         Groundwater                   3,627
 TX    HARRIS COUNTY WCID 119                TX1010509    CWS         Surfacewater purchased        8,994

 TX    HARRIS COUNTY WCID 132                TX1010413    CWS         Surfacewater purchased        4,023

 TX    HARRIS COUNTY WCID 133                TX1010210    CWS         Groundwater                   5,925
 TX    HARRIS COUNTY WCID 21                 TX1010769    CWS         Surfacewater purchased       13,845

 TX    HARRIS COUNTY WCID 36                 TX1010239    CWS         Surfacewater purchased       11,073

 TX    HARRIS COUNTY WCID 74                 TX1010480    CWS         Groundwater                   5,886
 TX    HARRIS COUNTY WCID 84                 TX1010113    CWS         Surfacewater purchased        6,552

 TX    HARRIS COUNTY WCID 89                 TX1012370    CWS         Surfacewater purchased        9,009

 TX    HARRIS COUNTY WCID 92                 TX1010124    CWS         Groundwater                   4,737
 TX    HARRIS COUNTY WCID 96                 TX1013175    CWS         Groundwater                   9,498




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Primacy               PWS Name                PWSID      PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
   TX    HARRIS FORT BEND COUNTIES MUD 1    TX0790216   CWS         Groundwater purchased         3,759

  TX    HARRIS FORT BEND COUNTIES MUD 5     TX0790347   CWS         Groundwater                   4,644
  TX    HARRIS MONTGOMERY COUNTIES MUD      TX1013305   CWS         Groundwater purchased        15,165
        386
  TX    HARRIS-FORT BEND COUNTIES MUD 3     TX1013365   CWS         Groundwater                   7,971
  TX    HAWLEY WSC                          TX1270006   CWS         Surfacewater purchased        7,830

  TX    HAYS CONSOLIDATED ISD JACK C HAYS   TX1050051   NTNCWS      Groundwater                   4,048
        HIGH S
  TX    HEATHERLOCH MUD                     TX1010548   CWS         Surfacewater purchased        6,612

  TX    HEREFORD MUNICIPAL WATER SYSTEM     TX0590001   CWS         Groundwater                  16,339

  TX    HICKORY CREEK SUD                   TX1160062   CWS         Groundwater                   4,284
  TX    HIDALGO COUNTY MUD 1                TX1080088   CWS         Surfacewater                  8,400
  TX    HIGH POINT WATER SUPPLY             TX1290016   CWS         Surfacewater purchased       16,341
        CORPORATION
  TX    HILL COUNTY WSC                     TX1090041   CWS         Surfacewater purchased        4,212

  TX    HOLLY LAKE RANCH                    TX2500012   CWS         Groundwater                   5,397
  TX    HORIZON REGIONAL MUD                TX0710005   CWS         Groundwater                  31,542
  TX    HORSEPEN BAYOU MUD                  TX1011785   CWS         Surfacewater purchased        6,594

  TX    HUDSON WSC                          TX0030023   CWS         Groundwater                  10,890
  TX    HUNTERS GLEN MUD                    TX1010615   CWS         Groundwater                  10,242
  TX    INGRAM WATER SUPPLY                 TX1330011   CWS         Groundwater                   5,901
  TX    INTERSTATE MUD                      TX1012264   CWS         Groundwater                   5,778
  TX    JACKRABBIT ROAD PUD                 TX1010538   CWS         Surfacewater purchased        8,343

  TX    JACKSON WSC                         TX2120016   CWS         Groundwater                   5,532
  TX    JARRELL SCHWERTNER WSC              TX2460011   CWS         Surfacewater purchased        4,536

  TX    JASPER COUNTY WCID 1                TX1210003   CWS         Groundwater                   3,515
  TX    JEFFERSON COUNTY WCID 10            TX1230003   CWS         Surfacewater                  5,117
  TX    JIM HOGG COUNTY WCID 2              TX1240001   CWS         Groundwater                   5,003
  TX    JOHNSON COUNTY SUD                  TX1260018   CWS         Surfacewater purchased       50,054

  TX    JONAH WATER SUD                     TX2460022   CWS         Surfacewater purchased       29,378

  TX    JONES WSC                           TX2500007   CWS         Groundwater                   5,760
  TX    JONESTOWN WSC                       TX2270011   CWS         Surfacewater                  5,316
  TX    KATY ISD MAYDE CREEK SCHOOL         TX1011728   NTNCWS      Groundwater                   5,960
        COMPLEX
  TX    KAUFMAN COUNTY FWSD 1A              TX1290043   CWS         Surfacewater purchased        6,849

  TX    KAUFMAN COUNTY FWSD 4A              TX1290056   CWS         Surfacewater purchased        5,403




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Primacy             PWS Name                PWSID       PWS Type      Primary Source        Population
Agency                                                                                        Served
 [State]
   TX    KAUFMAN COUNTY MUD 10            TX1290054    CWS         Surfacewater purchased        4,362

 TX    KAUFMAN COUNTY MUD 11              TX1290046    CWS         Surfacewater purchased        3,774

 TX    KAUFMAN COUNTY MUD 14              TX1290053    CWS         Surfacewater purchased        6,432

 TX    KEMPNER WSC                        TX1410028    CWS         Surfacewater                 20,170
 TX    KENDALL WEST UTILITY               TX1300033    CWS         Surfacewater purchased        3,405

 TX    KINGS MANOR MUD                    TX1012865    CWS         Groundwater                   4,401
 TX    KINGSBRIDGE MUD                    TX0790158    CWS         Surfacewater purchased        8,814

 TX    KINGSLAND WSC                      TX1500012    CWS         Surfacewater                 10,833
 TX    KLEIN PUD                          TX1011143    CWS         Groundwater                   3,516
 TX    KLEINWOOD MUD                      TX1010440    CWS         Surfacewater purchased        3,340

 TX    LAGUNA MADRE WATER DISTRICT        TX0310005    CWS         Surfacewater                 19,908
 TX    LAKE CITIES MUNICIPAL UTILITY      TX0610029    CWS         Surfacewater purchased       16,533
       AUTHORITY
 TX    LAKE FOREST UTILITY DISTRICT       TX1010494    CWS         Groundwater                   7,106
 TX    LAKE FORK WSC                      TX2500039    CWS         Groundwater                   4,803
 TX    LAKE LIVINGSTON PINESHADOWS EAST   TX1870166    CWS         Surfacewater                  5,817

 TX    LAKE MUD                           TX1011741    CWS         Surfacewater purchased        6,069

 TX    LAKEWAY MUD                        TX2270012    CWS         Surfacewater                 10,512
 TX    LAMAR CISD FOSTER BRISCOE AND      TX0790388    NTNCWS      Groundwater                   3,950
       WERTHEIMER
 TX    LAMAR COUNTY WATER SUPPLY          TX1390015    CWS         Surfacewater purchased       23,895
       DISTRICT
 TX    LANGHAM CREEK UTILITY DISTRICT     TX1011249    CWS         Surfacewater purchased       10,482

 TX    LEE COUNTY WSC                     TX1440005    CWS         Groundwater                  12,954
 TX    LEIGH WSC-RURAL                    TX1020022    CWS         Groundwater                   5,400
 TX    LIBERTY CITY WSC                   TX0920016    CWS         Groundwater                   6,450
 TX    LINDALE RURAL WSC                  TX2120017    CWS         Groundwater                  12,003
 TX    LOMA VISTA WATER SYSTEM            TX1330041    CWS         Groundwater                   3,687
 TX    LOUETTA NORTH PUD                  TX1011870    CWS         Surfacewater purchased        4,788

 TX    LOWER VALLEY WATER DISTRICT        TX0710154    CWS         Surfacewater purchased       59,049

 TX    LUBBOCK PUBLIC WATER SYSTEM        TX1520002    CWS         Surfacewater                266,263
 TX    LUELLA SUD                         TX0910032    CWS         Groundwater                   3,732
 TX    LUMBERTON MUD                      TX1000035    CWS         Groundwater                  30,462
 TX    M E N WSC                          TX1750015    CWS         Surfacewater purchased        6,060

 TX    MACBEE SUD                         TX2340012    CWS         Surfacewater                  6,825
 TX    MACEDONIA EYLAU MUD 1              TX0190012    CWS         Surfacewater purchased       11,739



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Primacy             PWS Name                 PWSID       PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
   TX    MALCOMSON ROAD UTILITY DISTRICT   TX1010495    CWS         Surfacewater purchased        7,231

 TX    MANVILLE WSC                        TX2270033    CWS         Surfacewater purchased       39,648

 TX    MARILEE SUD                         TX0910081    CWS         Groundwater                   7,950
 TX    MARTIN SPRINGS WSC                  TX1120015    CWS         Groundwater                   4,095
 TX    MASON CREEK UTILITY DISTRICT        TX1010379    CWS         Groundwater                   8,900
 TX    MAURICEVILLE MUD                    TX1810144    CWS         Groundwater                  11,097
 TX    MAXWELL SUD                         TX0280003    CWS         Surfacewater purchased        5,799

 TX    MAYDE CREEK MUD                     TX1011689    CWS         Groundwater                   5,100
 TX    MCALLEN PUBLIC UTILITY              TX1080006    CWS         Surfacewater                183,534
 TX    MCCOY WSC                           TX0070023    CWS         Groundwater                   8,343
 TX    MD ANDERSON CANCER CENTER ALKEK     TX1013339    NTNCWS      Surfacewater purchased        5,500

 TX    MEADOWHILL REGIONAL MUD             TX1010387    CWS         Groundwater                   7,989
 TX    MEEKER MWD                          TX1230004    CWS         Groundwater                   3,553
 TX    MEMORIAL MUD                        TX1011242    CWS         Groundwater                   6,615
 TX    MEMORIAL VILLAGES WATER             TX1010148    CWS         Surfacewater purchased        9,882
       AUTHORITY
 TX    METROPLEX HOMESTEADS WATER          TX1260074    CWS         Groundwater                   3,537
       SUPPLY
 TX    MILANO WSC                          TX1660009    CWS         Groundwater                   3,816
 TX    MILITARY HWY WSC LAS RUSIAS         TX1080067    CWS         Surfacewater purchased       16,025

 TX    MILITARY HWY WSC PROGRESO           TX1080234    CWS         Groundwater                  13,125
 TX    MILLERSVIEW-DOOLE WSC               TX0480015    CWS         Surfacewater                  3,987
 TX    MILLS ROAD MUD                      TX1011107    CWS         Groundwater                   5,265
 TX    MISSION BEND MUD 1                  TX1011718    CWS         Groundwater                   6,521
 TX    MISSION BEND MUD 2                  TX1011826    CWS         Groundwater                  11,469
 TX    MITCHELL COUNTY UTILITY             TX1680004    CWS         Groundwater                   3,513
 TX    MOFFAT WSC                          TX0140028    CWS         Surfacewater purchased        4,182

 TX    MONTGOMERY COUNTY MUD 112           TX1700762    CWS         Groundwater                   5,331
 TX    MONTGOMERY COUNTY MUD 115           TX1700770    CWS         Groundwater purchased         4,269

 TX    MONTGOMERY COUNTY MUD 119           TX1700773    CWS         Groundwater                   6,621
       SPRING TRAILS
 TX    MONTGOMERY COUNTY MUD 15            TX1700118    CWS         Groundwater                   6,003
 TX    MONTGOMERY COUNTY MUD 18            TX1700546    CWS         Groundwater                   6,786
 TX    MONTGOMERY COUNTY MUD 19            TX1700319    CWS         Groundwater                   4,422
 TX    MONTGOMERY COUNTY MUD 36            TX1700139    CWS         Surfacewater purchased        4,422

 TX    MONTGOMERY COUNTY MUD 39            TX1700332    CWS         Surfacewater purchased        5,572

 TX    MONTGOMERY COUNTY MUD 46            TX1700348    CWS         Surfacewater purchased       18,321




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Primacy             PWS Name                 PWSID       PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
   TX    MONTGOMERY COUNTY MUD 47          TX1700458    CWS         Surfacewater purchased       26,193

 TX    MONTGOMERY COUNTY MUD 6             TX1700090    CWS         Surfacewater purchased        6,653

 TX    MONTGOMERY COUNTY MUD 60            TX1700470    CWS         Surfacewater purchased       11,870

 TX    MONTGOMERY COUNTY MUD 67            TX1700554    CWS         Surfacewater purchased        9,019

 TX    MONTGOMERY COUNTY MUD 7             TX1700169    CWS         Surfacewater purchased       12,291

 TX    MONTGOMERY COUNTY MUD 8             TX1700176    CWS         Groundwater                   6,648
 TX    MONTGOMERY COUNTY MUD 89            TX1700717    CWS         Groundwater                   4,860
 TX    MONTGOMERY COUNTY MUD 9             TX1700220    CWS         Groundwater                   7,200
 TX    MONTGOMERY COUNTY MUD 94            TX1700716    CWS         Groundwater                   5,184
 TX    MONTGOMERY COUNTY MUD 95            TX1700779    CWS         Surfacewater purchased        5,337

 TX    MONTGOMERY COUNTY UD 3              TX1700116    CWS         Groundwater                   3,966
 TX    MONTGOMERY COUNTY UD 4              TX1700286    CWS         Groundwater                   4,932
 TX    MONTGOMERY COUNTY WCID 1            TX1700119    CWS         Groundwater                   3,396
 TX    MONTGOMERY TRACE WATER SYSTEM       TX1700638    CWS         Surfacewater purchased       20,016

 TX    MOUNT HOUSTON ROAD MUD              TX1010728    CWS         Groundwater                   6,036
 TX    MOUNTAIN PEAK SUD                   TX0700042    CWS         Surfacewater purchased       16,008

 TX    MOUNTAIN SPRINGS WSC            TX0490027        CWS         Groundwater                   3,468
 TX    MULESHOE MUNICIPAL WATER SYSTEM TX0090001        CWS         Groundwater                   5,158

 TX    MULTI-COUNTY WSC                    TX0500044    CWS         Surfacewater purchased        4,302

 TX    MUSTANG SUD                         TX0610036    CWS         Surfacewater purchased       49,448

 TX    NAVARRO MILLS WSC                   TX1750024    CWS         Surfacewater purchased        3,539

 TX    NEVADA SUD                          TX0430053    CWS         Surfacewater purchased        3,600

 TX    NEW BRAUNFELS UTILITIES             TX0460001    CWS         Surfacewater                 70,759
 TX    NEW CANEY MUD                       TX1700101    CWS         Groundwater                  14,307
 TX    NEWPORT MUD                         TX1010362    CWS         Surfacewater                 10,374
 TX    NORTH ALAMO WSC                     TX1080029    CWS         Surfacewater                153,705
 TX    NORTH AUSTIN MUD 1                  TX2270226    CWS         Surfacewater purchased       11,133

 TX    NORTH CHEROKEE WSC                  TX0370018    CWS         Surfacewater purchased        5,286

 TX    NORTH COLLIN SUD                    TX0430055    CWS         Surfacewater purchased        8,900

 TX    NORTH GREEN MUD                     TX1010331    CWS         Groundwater                   4,941
 TX    NORTH HARDIN WSC                    TX1000015    CWS         Groundwater                   7,653
 TX    NORTH HOPKINS WSC                   TX1120017    CWS         Surfacewater purchased        8,253




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Primacy              PWS Name                 PWSID       PWS Type      Primary Source        Population
Agency                                                                                          Served
 [State]
   TX    NORTH HUNT SUD                     TX1160039    CWS         Surfacewater purchased        4,509

 TX    NORTH MISSION GLEN MUD               TX0790174    CWS         Surfacewater purchased        8,721

 TX    NORTH PARK PUD                       TX1010745    CWS         Groundwater                   7,740
 TX    NORTH RURAL WSC                      TX1820009    CWS         Surfacewater purchased        3,720

 TX    NORTHAMPTON MUD                      TX1010337    CWS         Groundwater                   7,413
 TX    NORTHEAST WASHINGTON COUNTY          TX2390043    CWS         Groundwater                   3,357
 TX    NORTHGATE CROSSING MUD 1             TX1013077    CWS         Groundwater                   3,903
 TX    NORTHGATE CROSSING MUD 2             TX1013078    CWS         Groundwater                   3,678
 TX    NORTHTOWN MUD                        TX2270264    CWS         Surfacewater purchased       11,520

 TX    NORTHWEST FREEWAY MUD                TX1011256    CWS         Groundwater                   3,558
 TX    NORTHWEST HARRIS COUNTY MUD 10       TX1011649    CWS         Groundwater                   7,671
 TX    NORTHWEST HARRIS COUNTY MUD 12       TX1011901    CWS         Groundwater                   7,839
 TX    NORTHWEST HARRIS COUNTY MUD 15       TX1011600    CWS         Groundwater                   6,132
 TX    NORTHWEST HARRIS COUNTY MUD 19       TX1011927    CWS         Groundwater                   5,529
 TX    NORTHWEST HARRIS COUNTY MUD 20       TX1011998    CWS         Groundwater                   3,429
 TX    NORTHWEST HARRIS COUNTY MUD 23       TX1011746    CWS         Groundwater                   4,176
 TX    NORTHWEST HARRIS COUNTY MUD 30       TX1012951    CWS         Surfacewater purchased        3,804

 TX    NORTHWEST HARRIS COUNTY MUD 32       TX1013034    CWS         Groundwater                   3,895
 TX    NORTHWEST HARRIS COUNTY MUD 5        TX1010884    CWS         Surfacewater purchased       16,368

 TX    NORTHWEST HARRIS COUNTY MUD 9        TX1011599    CWS         Groundwater                   7,848
 TX    NORTHWEST PARK MUD                   TX1010593    CWS         Groundwater                  18,141
 TX    NOTTINGHAM COUNTRY MUD               TX1012315    CWS         Groundwater                   7,089
 TX    NUECES COUNTY WCID 3                 TX1780005    CWS         Surfacewater                 13,200
 TX    NUECES COUNTY WCID 4                 TX1780006    CWS         Surfacewater purchased       14,880

 TX    OAK HILLS WSC                        TX2470009    CWS         Groundwater                   6,377
 TX    OAK TRAIL SHORES                     TX1110004    CWS         Surfacewater                  5,664
 TX    OAKMONT PUD                          TX1012981    CWS         Groundwater                   3,420
 TX    OLD EGYPT SUBDIVISION                TX1700666    CWS         Groundwater                   4,704
 TX    OLMITO WSC                           TX0310026    CWS         Surfacewater                  5,800
 TX    ONALASKA WSC                         TX1870009    CWS         Groundwater                   5,610
 TX    ORANGE COUNTY WCID 1                 TX1810005    CWS         Groundwater                  14,769
 TX    ORANGE COUNTY WCID 2                 TX1810006    CWS         Groundwater                   3,443
 TX    ORANGEFIELD WSC                      TX1810186    CWS         Groundwater                   6,774
 TX    PARKER COUNTY SUD SURFACE            TX1840079    CWS         Surfacewater                  4,113
 TX    PARKWAY UTILITY DISTRICT             TX1010750    CWS         Groundwater                   7,278
 TX    PASEO DEL ESTE MUD 1                 TX0710186    CWS         Surfacewater purchased        7,968

 TX    PECAN GROVE MUD                      TX0790132    CWS         Surfacewater                 14,913
 TX    PECOS COUNTY WCID 1                  TX1860026    CWS         Groundwater                   3,612



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Primacy             PWS Name                 PWSID      PWS Type      Primary Source        Population
Agency                                                                                        Served
 [State]
   TX    PERRYTON MUNICIPAL WATER SYSTEM   TX1790001   CWS         Groundwater                   8,492

 TX    PLAINVIEW MUNICIPAL WATER SYSTEM TX0950004      CWS         Surfacewater                 23,000

 TX    PLANTATION MUD                      TX0790112   CWS         Groundwater                   4,254
 TX    PLUM CREEK                          TX1050028   CWS         Surfacewater purchased        7,065

 TX    PONDEROSA FOREST UTILITY DISTRICT   TX1010384   CWS         Groundwater                  11,217
 TX    PORTER SUD                          TX1700068   CWS         Groundwater                  16,044
 TX    POSSUM KINGDOM WSC                  TX1820076   CWS         Surfacewater                  7,395
 TX    POSTWOOD MUD                        TX1010631   CWS         Groundwater                   3,747
 TX    POTOSI WSC                          TX2210008   CWS         Surfacewater purchased        7,509

 TX    PRESTONWOOD FOREST UTILITY          TX1010467   CWS         Surfacewater purchased        5,940
       DISTRICT
 TX    PRITCHETT WATER SUPPLY              TX2300012   CWS         Groundwater                   9,615
       CORPORATION
 TX    QUAIL VALLEY UTILITY DISTRICT       TX0790028   CWS         Groundwater                  13,770
 TX    R C H WSC                           TX1990012   CWS         Surfacewater purchased        5,682

 TX    RAMEY WSC                           TX2500018   CWS         Groundwater                   4,899
 TX    RAYFORD ROAD MUD                    TX1700334   CWS         Surfacewater purchased       11,061

 TX    RED RIVER COUNTY WSC                TX1940008   CWS         Groundwater                   6,738
 TX    REDLAND WSC                         TX0030028   CWS         Groundwater                   3,637
 TX    REID ROAD MUD 1                     TX1010872   CWS         Groundwater                   6,693
 TX    REID ROAD MUD 2                     TX1011928   CWS         Groundwater                   4,677
 TX    REMINGTON MUD 1                     TX1013074   CWS         Surfacewater purchased       13,773

 TX    RENN ROAD MUD                       TX1011834   CWS         Groundwater                   4,086
 TX    RICE UNIVERSITY                     TX1010908   CWS         Surfacewater purchased        9,032

 TX    RICE WSC                            TX1750019   CWS         Surfacewater purchased        8,343

 TX    RICEWOOD MUD                        TX1012227   CWS         Groundwater                   4,989
 TX    RICHLAND SUD                        TX2060012   CWS         Groundwater                   4,100
 TX    RINCON WSC                          TX2050078   CWS         Surfacewater purchased        4,734

 TX    RIO WSC                             TX2140016   CWS         Surfacewater                  6,639
 TX    RIVERBEND WATER RESOURCES           TX0190021   CWS         Surfacewater purchased        5,343
       DISTRICT
 TX    RIVERSIDE SUD                       TX2360010   CWS         Groundwater                   5,760
 TX    ROBERTSON COUNTY WSC                TX1980013   CWS         Groundwater                   3,611
 TX    ROCKETT SUD                         TX0700033   CWS         Surfacewater purchased       40,797

 TX    ROLLING CREEK UTILITY DISTRICT      TX1012877   CWS         Surfacewater purchased        4,293

 TX    ROSE HILL SUD                       TX1290023   CWS         Surfacewater purchased        4,701



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Primacy             PWS Name                  PWSID       PWS Type      Primary Source        Population
Agency                                                                                          Served
 [State]
   TX    S S WSC                            TX2470015    CWS         Groundwater                  20,364
   TX    SAGEMEADOW UTILITY DISTRICT        TX1010386    CWS         Surfacewater purchased        6,987

 TX    SALADO WSC                           TX0140035    CWS         Surfacewater purchased        8,388

 TX    SAN ANTONIO WATER SYSTEM             TX0150018    CWS         Surfacewater purchased     1,999,472

 TX    SAN DIEGO MUD 1                      TX0660003    CWS         Groundwater                   6,291
 TX    SAN JACINTO SUD                      TX2040033    CWS         Groundwater                   4,044
 TX    SAN LEON MUD                         TX0840063    CWS         Surfacewater purchased       11,622

 TX    SAND FLAT WSC                        TX2120020    CWS         Groundwater                   4,569
 TX    SARDIS LONE ELM WSC                  TX0700034    CWS         Surfacewater purchased       20,304

 TX    SAWS CASTLE HILLS                    TX0150045    CWS         Groundwater                  10,743
 TX    SAWS NORTHEAST                       TX0150084    CWS         Surfacewater purchased       59,850

 TX    SAWS TEXAS RESEARCH PARK             TX0150497    CWS         Groundwater                  24,147
 TX    SHADY HOLLOW MUD                     TX2270229    CWS         Surfacewater purchased        4,269

 TX    SHARON WSC                           TX2500020    CWS         Groundwater                   8,628
 TX    SHARYLAND WSC                        TX1080033    CWS         Surfacewater                 61,500
 TX    SIENNA MUD 10                        TX0790452    CWS         Groundwater purchased         7,539

 TX    SIENNA MUD 12                        TX0790494    CWS         Groundwater                   4,308
 TX    SIENNA MUD 2                         TX0790345    CWS         Groundwater purchased         4,821

 TX    SIENNA MUD 3                         TX0790376    CWS         Groundwater purchased         7,401

 TX    SIENNA MUD 4                         TX0790489    CWS         Groundwater purchased         6,003

 TX    SIENNA MUD 6                         TX0790491    CWS         Surfacewater purchased        5,423

 TX    SIENNA PLANTATION MANAGEMENT         TX0790493    CWS         Groundwater                   4,179
       DISTRICT
 TX    SJWTX TRIPLE PEAK PLANT              TX0460172    CWS         Surfacewater                 26,346
 TX    SONTERRA MUD                         TX2460157    CWS         Surfacewater purchased       13,650

 TX    SOUTH FREESTONE COUNTY WSC           TX0810005    CWS         Groundwater                   3,579
 TX    SOUTH GRAYSON SUD                    TX0910064    CWS         Groundwater                   5,415
 TX    SOUTH NEWTON WSC                     TX1760022    CWS         Groundwater                   3,958
 TX    SOUTH RAINS SUD                      TX1900009    CWS         Surfacewater purchased        3,315

 TX    SOUTH TAWAKONI WSC                   TX2340019    CWS         Surfacewater                  4,653
 TX    SOUTHERN MONTGOMERY COUNTY           TX1700073    CWS         Surfacewater purchased       13,272
       MUD
 TX    SOUTHERN UTILITIES                   TX2120063    CWS         Surfacewater purchased       61,662

 TX    SOUTHERN WATER                       TX1010012    CWS         Groundwater                   3,933



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Primacy                 PWS Name                 PWSID       PWS Type      Primary Source        Population
Agency                                                                                             Served
 [State]
   TX      SOUTHWEST FANNIN COUNTY SUD         TX0740031    CWS         Groundwater                   8,343
   TX      SOUTHWEST ISD MAIN                  TX0150190    NTNCWS      Groundwater                   5,364
   TX      SOUTHWEST MILAM WSC                 TX1660015    CWS         Groundwater                  11,316
   TX      SPENCER ROAD PUD                    TX1010654    CWS         Surfacewater purchased        4,482

  TX       SPRING CREEK UTILITY DISTRICT       TX1700133    CWS         Groundwater                  11,208
  TX       SPRING MEADOWS MUD                  TX1013261    CWS         Surfacewater purchased        3,771

  TX       SPRINGS HILL WSC                    TX0940022    CWS         Surfacewater                 29,193
  TX       STANLEY LAKE MUD                    TX1700097    CWS         Groundwater                   3,783
  TX       STEAMBOAT MOUNTAIN WSC              TX2210022    CWS         Surfacewater purchased        7,338

  TX       STEPHENS REGIONAL SUD               TX2150007    CWS         Surfacewater                  4,809
  TX       STURDIVANT PROGRESS WSC             TX1820011    CWS         Surfacewater purchased        3,771

  TX       SUN WSC                             TX2210015    CWS         Surfacewater purchased        3,888

  TX       SUNBELT FWSD HIGH MEADOWS         TX1010292      CWS         Surfacewater purchased        8,796
           SUBDIVISION
  TX       SUNBELT FWSD OAKWILDE SUBDIVISION TX1010022      CWS         Surfacewater purchased        7,197

  TX       SUNBELT FWSD WOODLAND OAKS          TX1010758    CWS         Surfacewater purchased        4,527
           SUBDIVISION
  TX       SUNKO WSC                           TX2470005    CWS         Groundwater                   4,503
  TX       TALTY SUD                           TX1290025    CWS         Surfacewater purchased       12,852

  TX       TANGLEWOOD ON TEXOMA                TX0910052    CWS         Surfacewater purchased        3,687

  TX       TARKINGTON SUD                      TX1460055    CWS         Groundwater                   4,769
  TX       TATTOR ROAD MUD                     TX1010625    CWS         Groundwater                   5,385
  TX       TBCD WEST TREATMENT PLANT           TX0360030    CWS         Surfacewater                  6,294
  TX       TBCD WINNIE STOWELL                 TX0360002    CWS         Surfacewater                  7,641
  TX       TEXARKANA WATER UTILITIES           TX0190004    CWS         Surfacewater                 38,682
  TX       THE CONSOLIDATED WSC CENTRAL        TX1130031    CWS         Surfacewater purchased        3,588
           SYSTEM
  TX       THE CONSOLIDATED WSC RURAL          TX1130033    CWS         Groundwater                   9,557
           SYSTEM
  TX       THE WOODLANDS MUD 1                 TX1700471    CWS         Surfacewater purchased        7,108

  TX       THUNDERBIRD UTILITY DISTRICT 1      TX0790033    CWS         Groundwater                   4,122
  TX       TIMBER LANE UTILITY DISTRICT        TX1010278    CWS         Groundwater                  24,507
  TX       TOWN OF ADDISON                     TX0570031    CWS         Surfacewater purchased       16,661

  TX       TOWN OF ANTHONY                     TX0710001    CWS         Groundwater                   5,423
  TX       TOWN OF CUT AND SHOOT               TX1700592    CWS         Groundwater                   5,289
  TX       TOWN OF EDGECLIFF VILLAGE           TX2200048    CWS         Surfacewater purchased        3,788

  TX       TOWN OF FAIRVIEW                    TX0430034    CWS         Surfacewater purchased       10,000



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Primacy              PWS Name                PWSID       PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
   TX    TOWN OF FLOWER MOUND              TX0610023    CWS         Surfacewater purchased       76,030

 TX    TOWN OF HIGHLAND PARK               TX0570049    CWS         Surfacewater purchased        8,959

 TX    TOWN OF LITTLE ELM                  TX0610035    CWS         Surfacewater purchased       41,796

 TX    TOWN OF NORTHLAKE                   TX0610235    CWS         Surfacewater purchased        4,140

 TX    TOWN OF PROSPER                     TX0430009    CWS         Surfacewater purchased       24,579

 TX    TOWN OF PROVIDENCE VILLAGE          TX0610244    CWS         Surfacewater purchased        7,194

 TX    TOWN OF SUNNYVALE                   TX0570059    CWS         Surfacewater purchased        8,540

 TX    TOWN OF TROPHY CLUB PUBLIC          TX0610273    CWS         Surfacewater purchased        3,589
       IMPROVEMENT D
 TX    TRAIL OF THE LAKES MUD              TX1010617    CWS         Groundwater                   9,402
 TX    TRAVIS COUNTY WCID 10               TX2270182    CWS         Surfacewater purchased        9,171

 TX    TRAVIS COUNTY WCID 17               TX2270027    CWS         Surfacewater                 45,165
 TX    TRAVIS COUNTY WCID 18               TX2270083    CWS         Surfacewater                  5,346
 TX    TRI COUNTY SUD                      TX0730004    CWS         Groundwater                   5,353
 TX    TRI SUD                             TX2250004    CWS         Surfacewater purchased       17,421

 TX    TROPHY CLUB MUD 1                   TX0610018    CWS         Surfacewater purchased        9,526

 TX    TRYON ROAD SUD                      TX0920021    CWS         Surfacewater purchased        9,534

 TX    TULIA MUNICIPAL WATER SYSTEM        TX2190003    CWS         Groundwater                   4,501
 TX    TWO WAY SUD                         TX0910022    CWS         Groundwater                   6,159
 TX    TYLER COUNTY SUD                    TX2290037    CWS         Groundwater                   5,655
 TX    UNION WSC                           TX2140004    CWS         Surfacewater                  5,793
 TX    VALLEY RANCH MUD 1                  TX1700752    CWS         Groundwater purchased         3,768

 TX    VILLAGE OF SURFSIDE BEACH           TX0200037    CWS         Groundwater                   3,477
 TX    VIRGINIA HILL WSC                   TX1070200    CWS         Groundwater                   3,867
 TX    WALNUT CREEK SUD                    TX1840008    CWS         Surfacewater                 23,118
 TX    WALNUT GROVE WSC                    TX2120024    CWS         Surfacewater purchased        8,841

 TX    WALSTON SPRINGS WSC                 TX0010030    CWS         Groundwater                   4,131
 TX    WEBB COUNTY WATER UTILITIES         TX2400022    CWS         Surfacewater                  8,358
 TX    WELLBORN SUD                        TX0210016    CWS         Surfacewater                 23,170
 TX    WELLS BRANCH MUD 1                  TX2270227    CWS         Surfacewater purchased       22,062

 TX    WEST BELL COUNTY WSC                TX0140105    CWS         Surfacewater purchased        4,710

 TX    WEST CEDAR CREEK MUD                TX1070190    CWS         Surfacewater                 20,379
 TX    WEST GREGG SUD                      TX0920022    CWS         Groundwater                   4,893
 TX    WEST HARDIN WSC                     TX1000055    CWS         Groundwater                   4,473


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Primacy                 PWS Name                 PWSID      PWS Type      Primary Source        Population
Agency                                                                                            Served
 [State]
   TX      WEST HARRIS COUNTY MUD 10           TX1012068   CWS         Groundwater                   6,697
   TX      WEST HARRIS COUNTY MUD 11           TX1012858   CWS         Groundwater                   8,274
   TX      WEST HARRIS COUNTY MUD 2 CHASE      TX1011029   CWS         Groundwater                   4,878
   TX      WEST HARRIS COUNTY MUD 6            TX1011258   CWS         Groundwater                   3,423
   TX      WEST HARRIS COUNTY MUD 7            TX1012228   CWS         Groundwater                   5,467
   TX      WEST HARRIS COUNTY MUD 9            TX1011798   CWS         Groundwater                   5,961
   TX      WEST JEFFERSON COUNTY MWD           TX1230021   CWS         Surfacewater                  9,298
   TX      WEST MEMORIAL MUD                   TX1010540   CWS         Groundwater                   4,200
   TX      WEST TRAVIS COUNTY PUBLIC UTILITY   TX2270235   CWS         Surfacewater                 21,600
           AGENCY
  TX       WEST WISE SUD                       TX2490016   CWS         Surfacewater                  3,354
  TX       WESTADOR MUD                        TX1010277   CWS         Surfacewater purchased        5,085

  TX       WESTERN CASS WSC                    TX0340066   CWS         Groundwater                   4,956
  TX       WESTLAKE MUD 1                      TX1010635   CWS         Groundwater                   3,909
  TX       WESTON MUD                          TX1010634   CWS         Groundwater                   6,699
  TX       WICHITA VALLEY WSC                  TX2430006   CWS         Surfacewater                  6,150
  TX       WICKSON CREEK SUD                   TX0210005   CWS         Groundwater                  15,000
  TX       WICKSON CREEK SUD GRIMES COUNTY     TX0930003   CWS         Groundwater                   4,270
  TX       WILBARGER CREEK MUD 1               TX2270380   CWS         Groundwater purchased         3,459

  TX       WILLIAMSON COUNTY MUD 10            TX2460145   CWS         Surfacewater purchased        3,513

  TX       WILLIAMSON COUNTY MUD 11            TX2460159   CWS         Surfacewater purchased        3,312

  TX       WILLIAMSON COUNTY WSID 3            TX2460152   CWS         Groundwater purchased         6,498

  TX       WILLIAMSON TRAVIS COUNTY MUD 1      TX2460120   CWS         Surfacewater purchased        5,793

  TX       WIMBERLEY WSC                       TX1050018   CWS         Groundwater                   5,334
  TX       WINDERMERE COMMUNITY                TX2270161   CWS         Surfacewater purchased       21,006

  TX       WINDFERN FOREST UTILITY DISTRICT    TX1010924   CWS         Surfacewater purchased        7,170

  TX       WOODBINE SPECIAL UTILITY DISTRICT   TX0490018   CWS         Groundwater                   6,870
  TX       WOODLAND OAKS SUBDIVISION           TX1700648   CWS         Groundwater                   3,666
  TX       WYLIE NORTHEAST SUD                 TX0430051   CWS         Surfacewater purchased        9,366

  TX       YANCEY WSC                          TX1630021   CWS         Groundwater                   8,103
  TX       ZAPATA COUNTY WATERWORKS SWTP       TX2530002   CWS         Surfacewater                 11,913

  TX       ZEPHYR WSC                          TX0250019   CWS         Surfacewater purchased        7,377

  UT       ALPINE CITY                         UTAH25007   CWS         Groundwater                   9,500
  UT       ALTA TOWN WATER SYSTEM              UTAH18049   CWS         Groundwater                   3,883
  UT       AMERICAN FORK CITY                  UTAH25008   CWS         Groundwater                  34,585
  UT       ASHLEY VALLEY WATER AND SEWER ID    UTAH24013   CWS         Surfacewater                 13,740



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Primacy               PWS Name                PWSID       PWS Type      Primary Source        Population
Agency                                                                                          Served
 [State]
   UT    BLANDING CITY                      UTAH19001    CWS         Surfacewater                  3,760
   UT    BLUFFDALE WATER SYSTEM             UTAH18004    CWS         Surfacewater purchased       17,014

 UT    BONA VISTA WATER DISTRICT            UTAH29004    CWS         Surfacewater purchased       28,000

 UT    BOUNTIFUL CITY WATER SYSTEM          UTAH06015    CWS         Surfacewater                 37,500
 UT    BRIGHAM CITY WATER SYSTEM            UTAH02004    CWS         Groundwater                  19,000
 UT    CEDAR CITY WATERWORKS                UTAH11002    CWS         Groundwater                  37,760
 UT    CEDAR HILLS TOWN WATER SYSTEM        UTAH25137    CWS         Groundwater                  10,015
 UT    CENTERVILLE CITY WATER SYSTEM        UTAH06001    CWS         Surfacewater purchased       16,000

 UT    CLEARFIELD CITY WATER SYSTEM         UTAH06002    CWS         Surfacewater purchased       27,200

 UT    CLINTON CITY WATER SYSTEM            UTAH06003    CWS         Surfacewater purchased       22,000

 UT    DELTA CITY                           UTAH14001    CWS         Groundwater                   3,436
 UT    DRAPER CITY WATER SYSTEM             UTAH18133    CWS         Surfacewater purchased       20,024

 UT    EAGLE MOUNTAIN CITY                  UTAH25142    CWS         Surfacewater purchased       47,200

 UT    ELK RIDGE TOWN                       UTAH25031    CWS         Groundwater                   4,100
 UT    ENOCH CITY WATER SYSTEM              UTAH11004    CWS         Groundwater                   6,500
 UT    EPHRAIM CITY                         UTAH20011    CWS         Groundwater                   7,000
 UT    FARMINGTON CITY WATER SYSTEM         UTAH06004    CWS         Surfacewater purchased       26,500

 UT    FRUIT HEIGHTS CITY WATER SYSTEM      UTAH06017    CWS         Surfacewater purchased        6,200

 UT    GORGOZA MUTUAL WATER CO              UTAH22030    CWS         Groundwater                   4,205
 UT    GRAND WATER AND SEWER AGENCY         UTAH10023    CWS         Groundwater                   4,018
 UT    GRANGER-HUNTER IMPROVEMENT           UTAH18007    CWS         Surfacewater purchased      121,083
       DISTRICT
 UT    GRANTSVILLE CITY                     UTAH23002    CWS         Groundwater                  13,400
 UT    GUNNISON CITY                        UTAH20004    CWS         Groundwater                   3,490
 UT    HEBER CITY WATER SYSTEM              UTAH26006    CWS         Groundwater                  14,969
 UT    HERRIMAN CITY MUNICIPAL WATER        UTAH18157    CWS         Surfacewater purchased       58,858
       DEPARTMENT
 UT    HIGHLAND CITY                        UTAH25014    CWS         Groundwater                  20,000
 UT    HILDALE - COLORADO CITY              UTAH27006    CWS         Groundwater                   6,000
 UT    HOOPER WATER IMPROVEMENT             UTAH29006    CWS         Groundwater                  19,524
       DISTRICT
 UT    HURRICANE CITY                       UTAH27007    CWS         Surfacewater purchased       14,268

 UT    HYDE PARK CITY WATER SYSTEM          UTAH03007    CWS         Groundwater                   4,000
 UT    HYRUM CITY                           UTAH03008    CWS         Groundwater                   7,609
 UT    IVINS                                UTAH27008    CWS         Surfacewater purchased        8,700

 UT    JORDAN VALLEY WCD                    UTAH18027    CWS         Surfacewater                 82,500
 UT    KANAB CITY                           UTAH13005    CWS         Groundwater                   4,770



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Primacy               PWS Name               PWSID       PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
   UT    KAYSVILLE CITY WATER SYSTEM       UTAH06006    CWS         Surfacewater purchased       27,300

 UT    KEARNS IMPROVEMENT DISTRICT         UTAH18011    CWS         Surfacewater purchased       55,119

 UT    LA VERKIN CITY WATER SYSTEM         UTAH27009    CWS         Groundwater                   4,500
 UT    LAGOON INVESTMENT COMPANY           UTAH06043    NTNCWS      Groundwater                  15,000
 UT    LAYTON CITY WATER SYSTEM            UTAH06018    CWS         Surfacewater purchased       74,660

 UT    LEHI CITY                           UTAH25015    CWS         Surfacewater purchased       79,978

 UT    MAESER IMPROVEMENT DISTRICT         UTAH24004    CWS         Surfacewater purchased        4,152

 UT    MAGNA WATER DISTRICT                UTAH18014    CWS         Surfacewater purchased       32,100

 UT    MANTI CITY                          UTAH20005    CWS         Groundwater                   3,429
 UT    MAPLETON CITY                       UTAH25018    CWS         Groundwater                  12,414
 UT    MIDVALE CITY WATER SYSTEM           UTAH18017    CWS         Surfacewater purchased       33,000

 UT    MIDWAY CITY WATER SYSTEM          UTAH26008      CWS         Groundwater                   5,200
 UT    MOAB CITY                         UTAH10003      CWS         Groundwater                   9,000
 UT    MORGAN CITY WATER SYSTEM          UTAH15008      CWS         Groundwater                   3,465
 UT    MOUNT PLEASANT CITY               UTAH20007      CWS         Groundwater                   3,660
 UT    MOUNTAIN REGIONAL WATER SSD       UTAH22137      CWS         Surfacewater                  9,500
 UT    NEPHI CITY                        UTAH12003      CWS         Groundwater                   6,443
 UT    NIBLEY CITY WATER                 UTAH03001      CWS         Groundwater                   7,570
 UT    NORTH LOGAN CITY                  UTAH03015      CWS         Surfacewater                  8,500
 UT    NORTH SALT LAKE CITY WATER SYSTEM UTAH06019      CWS         Surfacewater purchased       18,655

 UT    PARK CITY WATER SYSTEM              UTAH22011    CWS         Surfacewater                  8,500
 UT    PAYSON CITY WATER SYSTEM            UTAH25021    CWS         Groundwater                  19,000
 UT    PERRY CITY                          UTAH02019    CWS         Groundwater                   4,700
 UT    PLEASANT GROVE CITY                 UTAH25022    CWS         Groundwater                  40,000
 UT    PLEASANT VIEW CULINARY WATER        UTAH29014    CWS         Groundwater                   7,880
 UT    PRICE MUNICIPAL CORPORATION         UTAH04007    CWS         Surfacewater                  9,312
 UT    PROVIDENCE CITY WATER SYSTEM        UTAH03017    CWS         Groundwater                   7,300
 UT    RICHFIELD CITY                      UTAH21013    CWS         Groundwater                   8,360
 UT    RIVERDALE CITY WATER SYSTEM         UTAH29015    CWS         Surfacewater purchased        8,500

 UT    RIVERTON CITY WATER SYSTEM          UTAH18025    CWS         Surfacewater purchased       42,838

 UT    ROOSEVELT CITY WATER SYSTEM         UTAH07004    CWS         Surfacewater purchased        8,000

 UT    ROY CITY WATER SYSTEM               UTAH29016    CWS         Surfacewater purchased       38,000

 UT    SALEM CITY                          UTAH25001    CWS         Groundwater                   7,000
 UT    SALT LAKE CITY WATER SYSTEM         UTAH18026    CWS         Surfacewater                360,654
 UT    SANDY CITY WATER SYSTEM             UTAH18028    CWS         Surfacewater purchased       99,750



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Primacy              PWS Name                PWSID       PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
   UT    SANTA CLARA CITY                  UTAH27016    CWS         Surfacewater purchased        8,000

 UT    SANTAQUIN CITY                      UTAH25002    CWS         Groundwater                  16,500
 UT    SARATOGA SPRINGS CITY               UTAH25138    CWS         Surfacewater purchased       38,000

 UT    SL COUNTY SERVICE AREA NO 3 -       UTAH18031    CWS         Groundwater                   5,110
       SNOWBIRD
 UT    SMITHFIELD CITY                     UTAH03020    CWS         Groundwater                  10,223
 UT    SOUTH DAVIS WATER DISTRICT          UTAH06009    CWS         Surfacewater purchased        9,891

 UT    SOUTH JORDAN CITY                   UTAH18023    CWS         Surfacewater purchased       57,067

 UT    SOUTH OGDEN CITY WATER SYSTEM       UTAH29017    CWS         Surfacewater purchased       17,000

 UT    SOUTH SALT LAKE CITY WATER SYSTEM UTAH18032      CWS         Surfacewater purchased       23,600

 UT    SOUTH WEBER WATER SYSTEM            UTAH06010    CWS         Surfacewater purchased        7,000

 UT    SPANISH FORK CITY                   UTAH25003    CWS         Groundwater                  47,169
 UT    SPRINGVILLE CITY                    UTAH25005    CWS         Groundwater                  30,000
 UT    ST GEORGE CITY WATER SYSTEM         UTAH27015    CWS         Surfacewater purchased       85,200

 UT    STANSBURY PARK IMPROVEMENT          UTAH23003    CWS         Groundwater                   8,472
       DISTRICT
 UT    SUMMIT WATER DISTRIBUTION           UTAH22059    CWS         Surfacewater purchased        6,000
       COMPANY
 UT    SUNSET CITY WATER SYSTEM            UTAH06011    CWS         Surfacewater purchased        5,300

 UT    SYRACUSE CITY WATER SYSTEM          UTAH06012    CWS         Surfacewater purchased       28,500

 UT    TAYLOR-WEST WEBER WID               UTAH29019    CWS         Surfacewater purchased        8,516

 UT    TOOELE CITY WATER SYSTEM            UTAH23004    CWS         Groundwater                  34,000
 UT    TREMONTON CITY                      UTAH02011    CWS         Groundwater                  10,100
 UT    TWIN CREEKS SSD                     UTAH26080    CWS         Surfacewater                  4,106
 UT    VERNAL CITY WATER SYSTEM            UTAH24012    CWS         Surfacewater purchased       11,000

 UT    VINEYARD CITY                       UTAH25168    CWS         Surfacewater purchased       14,492

 UT    WASHINGTON CITY                     UTAH27021    CWS         Surfacewater                 38,015
 UT    WASHINGTON TERRACE CITY WATER       UTAH29022    CWS         Surfacewater purchased        9,260
       SYSTEM
 UT    WATERPRO INC                        UTAH18006    CWS         Surfacewater                 28,000
 UT    WELLSVILLE CITY WATER SYSTEM        UTAH03022    CWS         Groundwater                   4,190
 UT    WEST BOUNTIFUL CITY WATER SYSTEM    UTAH06014    CWS         Surfacewater purchased        5,600

 UT    WEST POINT CITY WATER SYSTEM        UTAH06020    CWS         Surfacewater purchased        8,288

 VA    ACSA CROZET                         VA2003050    CWS         Surfacewater purchased       11,173




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Primacy              PWS Name                PWSID       PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
   VA    ACSA URBAN AREA                   VA2003053    CWS         Surfacewater purchased       70,640

 VA    AMHERST CO SERVICE AUTHORITY        VA5009250    CWS         Surfacewater                 14,799
       (ACSA)
 VA    BAPTIST VALLEY                      VA1185763    CWS         Surfacewater purchased        3,857

 VA    BEALETON REGIONAL                   VA6061129    CWS         Groundwater under             4,250
                                                                    influence of
                                                                    surfacewater
 VA    BEDFORD REGIONAL WATER              VA5019052    CWS         Surfacewater                 30,133
       AUTHORITY (BRWA)
 VA    BERRYVILLE, TOWN OF                 VA2043125    CWS         Surfacewater                  4,185
 VA    BIG STONE GAP, TOWN OF              VA1195100    CWS         Surfacewater                  9,372
 VA    BLACKSBURG, TOWN OF                 VA1121052    CWS         Surfacewater purchased       34,578

 VA    BLACKSTONE, TOWN OF                 VA5135100    CWS         Surfacewater                  6,345
 VA    BLUEFIELD, TOWN OF                  VA1185061    CWS         Surfacewater                  5,811
 VA    BRIDGEWATER, TOWN OF                VA2165045    CWS         Surfacewater                  6,596
 VA    BROADWAY, TOWN OF                   VA2165060    CWS         Surfacewater                  4,015
 VA    BUCHANAN CO PSA                     VA1027061    CWS         Surfacewater purchased       19,326

 VA    BUCKINGHAM CO WATER SYSTEM          VA5029085    CWS         Surfacewater                  5,759
 VA    BUENA VISTA, CITY OF                VA2530125    CWS         Groundwater under             6,650
                                                                    influence of
                                                                    surfacewater
 VA    BVU AUTHORITY                       VA1520070    CWS         Surfacewater                 16,912
 VA    CAMPBELL COUNTY CENTRAL SYSTEM      VA5031150    CWS         Surfacewater                 21,761
 VA    CAROLINE UTILITY SYSTEM             VA6033085    CWS         Groundwater                   4,235
 VA    CARROLL REGIONAL WATER SYSTEM       VA1035088    CWS         Surfacewater purchased        7,500

 VA    CASTLEWOOD - RCPSA                  VA1167050    CWS         Groundwater under             5,565
                                                                    influence of
                                                                    surfacewater
 VA    CENTRAL WATER SYSTEM                VA4127190    CWS         Groundwater                   5,280
 VA    CHARLOTTESVILLE, CITY OF            VA2540500    CWS         Surfacewater purchased       48,019

 VA    CHESTERFIELD CO CENTRAL WATER       VA4041845    CWS         Surfacewater                338,006
       SYSTEM
 VA    CHILHOWIE, TOWN OF                  VA1173090    CWS         Purchased groundwater         4,625
                                                                    under influence of
                                                                    surfacewater source

 VA    CHINCOTEAGUE, TOWN OF             VA3001175      CWS         Groundwater                   4,325
 VA    CHRISTIANSBURG ELLISTON WATERLINE VA1121175      CWS         Surfacewater purchased        3,626

 VA    CHRISTIANSBURG TOWN OF              VA1121090    CWS         Surfacewater purchased       22,000

 VA    CITY OF CHESAPEAKE - NORTHWEST      VA3550051    CWS         Surfacewater                165,240
       RIVER SYS



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Primacy               PWS Name               PWSID       PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
   VA    CITY OF CHESAPEAKE - WESTERN      VA3550050    CWS         Surfacewater purchased       32,326
         BRANCH SYS
   VA    CLAYPOOL HILL TAZEWELL CO PSA     VA1185105    CWS         Surfacewater                  3,322
   VA    CLIFTON FORGE, TOWN OF            VA2560100    CWS         Surfacewater                  3,875
   VA    CLINTWOOD, TOWN OF                VA1051100    CWS         Surfacewater purchased        4,836

 VA    COEBURN, TOWN OF                    VA1195170    CWS         Surfacewater                  4,630
 VA    COLONIAL BEACH, TOWN OF             VA4193280    CWS         Groundwater                   3,875
 VA    COLONIAL HEIGHTS, CITY OF           VA3570150    CWS         Surfacewater purchased       17,286

 VA    COVINGTON, CITY OF                  VA2580100    CWS         Surfacewater                  5,961
 VA    CULPEPER, TOWN OF                   VA6047500    CWS         Surfacewater                 17,411
 VA    DALE CITY                           VA6153625    CWS         Surfacewater purchased       73,279

 VA    DANVILLE, CITY OF                   VA5590100    CWS         Surfacewater                 43,055
 VA    DCPSA - BIG CANEY                   VA1051737    CWS         Surfacewater purchased        3,660

 VA    DCWA CENTRAL                        VA3053280    CWS         Surfacewater purchased        7,590

 VA    DUBLIN TOWN OF                      VA1155150    CWS         Surfacewater purchased        6,538

 VA    DUFFIELD_SCOTT CO PSA               VA1169200    CWS         Surfacewater                  4,600
 VA    DULLES AIRPORT                      VA6059050    NTNCWS      Surfacewater purchased       71,963

 VA    EASTERN GOOCHLAND CENTRAL WATER VA4075283        CWS         Surfacewater purchased       19,500
       SYSTEM
 VA    EASTERN TAZEWELL COUNTY         VA1185755        CWS         Surfacewater purchased        4,470

 VA    EMPORIA, CITY OF                    VA3595250    CWS         Surfacewater                  5,600
 VA    FARMVILLE, TOWN OF                  VA5147170    CWS         Surfacewater                  8,212
 VA    FORT BELVOIR                        VA6059450    CWS         Surfacewater purchased       37,000

 VA    FORT LEE                            VA3149247    CWS         Surfacewater purchased       28,580

 VA    FRANKLIN, CITY OF                   VA3620350    CWS         Groundwater                   9,000
 VA    FREDERICK WATER                     VA2069250    CWS         Surfacewater                 46,206
 VA    FREDERICKSBURG, CITY OF             VA6630050    CWS         Surfacewater purchased       22,500

 VA    FRONT ROYAL, TOWN OF                VA2187406    CWS         Surfacewater                 15,000
 VA    GALAX, CITY OF                      VA1640243    CWS         Surfacewater                  6,837
 VA    GCWSA - JARRATT                     VA3081550    CWS         Surfacewater                  7,190
 VA    GLOUCESTER COUNTY WATER SYSTEM      VA4073311    CWS         Surfacewater                 10,647
 VA    HANOVER SUBURBAN WATER SYSTEM       VA4085398    CWS         Surfacewater                 71,000
 VA    HARRISONBURG, CITY OF               VA2660345    CWS         Surfacewater                 53,016
 VA    HENRICO COUNTY WATER SYSTEM         VA4087125    CWS         Surfacewater                292,000
 VA    HERNDON, TOWN OF                    VA6059550    CWS         Surfacewater purchased       24,601

 VA    JCSA - CENTRAL SYSTEM               VA3095490    CWS         Groundwater                  51,137



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Primacy                 PWS Name                PWSID       PWS Type      Primary Source        Population
Agency                                                                                            Served
 [State]
   VA      KING GEORGE CO. COURTHOUSE         VA6099050    CWS         Groundwater                   3,985
   VA      LAKE LAND`OR                       VA6033450    CWS         Groundwater                   4,818
   VA      LAKE MONTICELLO                    VA2065480    CWS         Surfacewater                 12,568
   VA      LAWRENCEVILLE, TOWN OF             VA5025450    CWS         Surfacewater                  4,806
   VA      LEBANON, TOWN OF                   VA1167455    CWS         Surfacewater                  3,458
   VA      LEESBURG, TOWN OF                  VA6107300    CWS         Surfacewater                 65,028
   VA      LEXINGTON, CITY OF                 VA2678375    CWS         Surfacewater purchased        7,500

  VA       LOUISA COUNTY WATER AUTHORITY      VA2109510    CWS         Surfacewater                  4,254
  VA       LURAY, TOWN OF                     VA2139330    CWS         Groundwater under             4,871
                                                                       influence of
                                                                       surfacewater
  VA       LYNCHBURG, CITY OF                 VA5680200    CWS         Surfacewater                 80,995
  VA       MANASSAS PARK, CITY OF             VA6687100    CWS         Surfacewater purchased       17,001

  VA       MANASSAS, CITY OF                  VA6685100    CWS         Surfacewater                 41,757
  VA       MARION, TOWN OF                    VA1173481    CWS         Surfacewater                  8,500
  VA       MARTINSVILLE, CITY OF              VA5690400    CWS         Surfacewater                 13,600
  VA       MASSANUTTEN VILLAGE                VA2165525    CWS         Groundwater                   5,472
  VA       MOCCASIN GAP_SCOTT CO PSA          VA1169650    CWS         Surfacewater                  5,412
  VA       MOUNT HERMON                       VA5143396    CWS         Surfacewater purchased        4,065

  VA       N. LEXINGTON-FAIRFIELD-RAPHINE     VA2163650    CWS         Surfacewater purchased        3,547
           [RCPSA]
  VA       NATIONAL AIRPORT                   VA6013080    NTNCWS      Surfacewater purchased       28,055

  VA       NCSA - WINTERGREEN                 VA2125910    CWS         Surfacewater                  6,861
  VA       NEW BALTIMORE REGIONAL             VA6061318    CWS         Groundwater                   8,818
  VA       NORFOLK, CITY OF                   VA3710100    CWS         Surfacewater                234,220
  VA       NORTHERN DEVELOPMENT SERVICE       VA3093120    CWS         Surfacewater purchased        7,050
           DIST.
  VA       NORTON, CITY OF                    VA1720076    CWS         Surfacewater                  3,958
  VA       ORANGE, TOWN OF                    VA6137500    CWS         Surfacewater                  4,880
  VA       PETERSBURG, CITY OF                VA3730750    CWS         Surfacewater purchased       32,000

  VA       PORTSMOUTH, CITY OF                VA3740600    CWS         Surfacewater                120,400
  VA       PRICES FORK/MERRIMAC               VA1121580    CWS         Surfacewater purchased        4,541

  VA       PUDDLEDOCK ROAD                    VA3149700    CWS         Surfacewater purchased        9,723

  VA       PULASKI COUNTY PSA                 VA1155641    CWS         Surfacewater                  9,452
  VA       PULASKI, TOWN OF                   VA1155635    CWS         Surfacewater                  9,473
  VA       PURCELLVILLE, TOWN OF              VA6107600    CWS         Surfacewater                  8,929
  VA       PWCSA - WEST                       VA6153251    CWS         Surfacewater purchased      130,001

  VA       RADFORD, CITY OF                   VA1750100    CWS         Surfacewater                 15,859
  VA       RAPIDAN SERVICE AUTHORITY          VA2079625    CWS         Surfacewater                  7,983



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Agency                                                                                              Served
 [State]
   VA      RICHLANDS, TOWN OF                   VA1185695    CWS         Surfacewater                  4,564
   VA      RICHMOND, CITY OF                    VA4760100    CWS         Surfacewater                197,000
   VA      ROCKY MOUNT, TOWN OF                 VA5067840    CWS         Surfacewater                  6,000
   VA      ROUND HILL, TOWN OF                  VA6107650    CWS         Groundwater                   4,555
   VA      SALEM, CITY OF                       VA2775300    CWS         Surfacewater                 25,643
   VA      SMITHFIELD, TOWN OF                  VA3093640    CWS         Groundwater                   8,089
   VA      SOUTH HILL, TOWN OF                  VA5117800    CWS         Surfacewater purchased        4,600

  VA       SOUTH RIVER SANITARY DISTRICT        VA2015575    CWS         Surfacewater                 24,473
  VA       SPOTSYLVANIA COUNTY UTILITIES        VA6177300    CWS         Surfacewater                 92,826
  VA       STANLEY, TOWN OF                     VA2139935    CWS         Groundwater                   4,185
  VA       STAUNTON, CITY OF                    VA2790600    CWS         Surfacewater                 24,400
  VA       STRASBURG, TOWN OF                   VA2171750    CWS         Surfacewater                  7,191
  VA       SUFFOLK, CITY OF                     VA3800805    CWS         Surfacewater                 66,631
  VA       TAZEWELL, TOWN OF                    VA1185761    CWS         Surfacewater purchased        5,007

  VA       THOMAS BRIDGE WATER CORP             VA1173770    CWS         Surfacewater                  3,500
  VA       THREE SPRINGS REGIONAL - RCPW        VA2165705    CWS         Groundwater under            12,310
                                                                         influence of
                                                                         surfacewater
  VA       UPPER SMITH RIVER WATER SUPPLY       VA5089852    CWS         Surfacewater                 29,721
  VA       VERONA - WEYERS CAVE                 VA2015725    CWS         Surfacewater purchased        7,808

  VA       VIRGINIA BEACH, CITY OF              VA3810900    CWS         Surfacewater purchased      446,067

  VA       VIRGINIA-AMERICAN WATER CO.          VA3670800    CWS         Surfacewater                 28,000
  VA       WARRENTON, TOWN OF                   VA6061600    CWS         Surfacewater                 11,801
  VA       WAYNESBORO, CITY OF                  VA2820775    CWS         Groundwater under            22,630
                                                                         influence of
                                                                         surfacewater
  VA       WESTLAKE AREA PUBLIC WATER           VA5067244    CWS         Surfacewater purchased        3,525
           SYSTEM
  VA       WILDERNESS WTP                       VA6137999    CWS         Surfacewater                 12,847
  VA       WILLIAMSBURG, CITY OF                VA3830850    CWS         Surfacewater                 16,300
  VA       WINCHESTER, CITY OF                  VA2840500    CWS         Surfacewater                 28,248
  VA       WISE COUNTY REGIONAL WATER           VA1195900    CWS         Surfacewater                 11,500
           SYSTEM
  VA       WISE, TOWN OF                        VA1195950    CWS         Surfacewater                  6,375
  VA       WOODWAY WATER AUTHORITY              VA1105900    CWS         Surfacewater purchased        3,800

  VA       WYTHE COUNTY EAST                    VA1197345    CWS         Surfacewater purchased        5,065

  VA       WYTHEVILLE, TOWN OF                  VA1197810    CWS         Surfacewater                  7,804




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Primacy              PWS Name                PWSID       PWS Type         Primary Source         Population
Agency                                                                                             Served
 [State]
   VT    17 BLACK WALNUT LLC               VT0021588    System not
                                                        found in
                                                        SDWIS,
                                                        additional
                                                        search could
                                                        not find system
                                                        name.
 VT    BARRE CITY WATER SYSTEM             VT0005254    CWS             Surfacewater                 14,000
 VT    BELLOWS FALLS WATER DEPT            VT0005298    CWS             Surfacewater                  4,000
 VT    BENNINGTON WATER DEPT               VT0005016    CWS             Surfacewater                 13,250
 VT    BRANDON FIRE DISTRICT 1             VT0005211    CWS             Groundwater                   3,865
 VT    BRATTLEBORO WATER DEPT              VT0005290    CWS             Surfacewater                 12,200
 VT    BROMLEY WATER COMPANY               VT0005024    CWS             Groundwater                   4,300
 VT    BURLINGTON DEPT PUBLIC WORKS        VT0005053    CWS             Surfacewater                 42,000
       WATER DIV
 VT    COLCHESTER FIRE DISTRICT 2          VT0005059    CWS            Surfacewater purchased         8,300

 VT    COLCHESTER FIRE DISTRICT 3          VT0005060    CWS            Surfacewater purchased         7,733

 VT    EDWARD FARRAR UTILITY DISTRICT      VT0005284    CWS            Surfacewater                   6,003
 VT    ESSEX JCT WATER DEPT                VT0005066    CWS            Surfacewater purchased         9,500

 VT    ESSEX TOWN WATER SYSTEM             VT0005065    CWS            Surfacewater purchased         9,734

 VT    GREEN MTN NATIONAL FOREST OFFICE    VT0021704    System not
                                                        found in
                                                        SDWIS,
                                                        additional
                                                        search could
                                                        not find system
                                                        name.
 VT    HARTFORD WATER DEPT                 VT0005319    CWS             Groundwater                   7,600
 VT    JAY PEAK WATER SYSTEM               VT0005565    CWS             Groundwater                   6,740
 VT    KINGDOM HALL - POWNAL               VT0021718    System not
                                                        found in
                                                        SDWIS,
                                                        additional
                                                        search could
                                                        not find system
                                                        name.
 VT    LYNDONVILLE WATER SYSTEM            VT0005040    CWS             Groundwater                   4,500
 VT    MANCHESTER WATER DEPT               VT0005022    CWS             Groundwater                   4,140
 VT    MIDDLEBURY WATER DEPT               VT0005004    CWS             Groundwater                   9,200
 VT    MILTON WATER DEPT                   VT0005079    CWS             Surfacewater purchased        8,000

 VT    MONTPELIER WATER SYSTEM             VT0005272    CWS            Surfacewater                   8,912
 VT    NEWPORT CITY WATER SYSTEM           VT0005202    CWS            Groundwater                    4,766
 VT    NORTHFIELD WATER DEPT               VT0005275    CWS            Groundwater                    5,145




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Primacy                PWS Name               PWSID       PWS Type         Primary Source         Population
Agency                                                                                              Served
 [State]
   VT    PRISTINE SPRINGS OF VERMONT        VT0020427    System not
                                                         found in
                                                         SDWIS,
                                                         additional
                                                         search could
                                                         not find system
                                                         name.
  VT    RUTLAND CITY WATER DEPT             VT0005229    CWS             Surfacewater                 18,500
  VT    SHELBURNE WATER DEPT                VT0005087    CWS             Surfacewater purchased        5,764

  VT    SOUTH BURLINGTON CITY WATER         VT0005091    CWS            Surfacewater purchased        19,500
        SYSTEM
  VT    ST ALBANS WATER DEPT                VT0005130    CWS             Surfacewater                 10,200
  VT    ST JOHNSBURY WATER SYSTEM           VT0005045    CWS             Surfacewater                  5,000
  VT    SWANTON VILLAGE WATER               VT0005132    CWS             Surfacewater                  4,000
  VT    TRI TOWN WATER DISTRICT             VT0005001    CWS             Surfacewater                  3,800
  VT    VALLEY WATER SYSTEM                 VT0021010    System not
                                                         found in
                                                         SDWIS,
                                                         additional
                                                         search could
                                                         not find system
                                                         name.
  VT    VERGENNES PANTON WATER DISTRICT     VT0005010    CWS             Surfacewater                  5,100
  VT    VERMONT HERITAGE                    VT0020110    System not
                                                         found in
                                                         SDWIS,
                                                         additional
                                                         search could
                                                         not find system
                                                         name.
  VT    WILLISTON WATER DEPT                VT0005098    CWS             Surfacewater purchased        7,259

  VT    WINHALL STRATTON F D 1              VT0005305    CWS            Groundwater                    6,200
  VT    WINOOSKI WATER DEPT                 VT0005102    CWS            Surfacewater purchased         8,500

 WA     ABERDEEN CITY OF                    WA5300050    CWS            Surfacewater                  17,958
 WA     ALDERWOOD WATER DISTRICT            WA5301300    CWS            Surfacewater purchased       197,993

 WA     ANACORTES CITY OF                   WA5302200    CWS            Surfacewater                  21,105
 WA     ARLINGTON CITY OF                   WA5302950    CWS            Surfacewater purchased        19,690

 WA     ARTONDALE                           WA5303160    CWS            Groundwater                    5,504
 WA     Auburn City of                      WA5303350    CWS            Groundwater                   61,455
 WA     BAINBRIDGE ISLAND CITY OF           WA5397650    CWS            Groundwater                   12,390
 WA     BATTLE GROUND WATER DEPT CITY OF    WA5304700    CWS            Groundwater                   28,864
 WA     BEACON HILL WATER & SEWER           WA5315650    CWS            Groundwater purchased         11,457
        DISTRICT




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Primacy               PWS Name                 PWSID      PWS Type      Primary Source        Population
Agency                                                                                          Served
 [State]
  WA     BELLEVUE CITY OF                    WA5305575   CWS         Surfacewater purchased      261,506

 WA    BELLINGHAM-WATER DIVISION CITY OF WA5305600       CWS         Surfacewater                 97,383

 WA    BENTON CITY WATER                     WA5305800   CWS         Groundwater                   5,305
 WA    BIRCH BAY WATER & SEWER DISTRICT      WA5395904   CWS         Groundwater purchased         8,969

 WA    BLAINE CITY OF                        WA5307300   CWS         Groundwater                   6,319
 WA    BONNEY LAKE WATER DEPARTMENT          WA5307650   CWS         Surfacewater purchased       38,307
       CITY
 WA    BOTHELL WATER CITY OF                 WA5307900   CWS         Surfacewater purchased       30,060

 WA    BUCKLEY WATER                         WA5309000   CWS         Surfacewater purchased        7,411

 WA    CASTLE ROCK MUNICIPAL WATER           WA5311800   CWS         Surfacewater                  4,367
 WA    CEDAR RIVER WATER & SEWER             WA5341800   CWS         Surfacewater purchased       28,671
       DISTRICT
 WA    CENTRALIA PUBLIC WORKS - WATER        WA5312200   CWS         Groundwater                  28,164
 WA    CHEHALIS WATER DEPARTMENT             WA5312250   CWS         Surfacewater                 11,426
 WA    CHELAN CO PUD 1                       WA5312284   CWS         Groundwater purchased        15,840

 WA    CHELAN WATER DEPT CITY OF             WA5312300   CWS         Surfacewater                  9,425
 WA    CHENEY CITY OF                        WA5312400   CWS         Groundwater                  14,621
 WA    CLARK PUBLIC UTILITIES                WA5313333   CWS         Groundwater                 110,665
 WA    COAL CREEK UTILITY DISTRICT           WA5341750   CWS         Surfacewater purchased       14,194

 WA    COLFAX WATER DEPARTMENT CITY OF       WA5314000   CWS         Groundwater                   3,624
 WA    COLLEGE PLACE WATER DEPT              WA5314050   CWS         Groundwater                   8,147
 WA    COLVILLE WATER DEPARTMENT             WA5314200   CWS         Groundwater                   4,878
 WA    CONNELL CITY OF                       WA5314600   CWS         Groundwater                   5,150
 WA    CONSOLIDATED IRRIG DIST 19 SYSTEM 1   WA5310220   CWS         Groundwater                   9,364

 WA    CONSOLIDATED IRRIG DIST 19 SYSTEM 2 WA5310221     CWS         Groundwater                  20,500

 WA    COUPEVILLE TOWN OF                    WA5315550   CWS         Groundwater                   4,077
 WA    COVINGTON WATER DISTRICT              WA5341650   CWS         Surfacewater purchased       49,993

 WA    CROSS VALLEY WATER DISTRICT           WA5316270   CWS         Surfacewater purchased       22,932

 WA    CRYSTAL MOUNTAIN INC                  WA5316400   CWS         Surfacewater                  4,535
 WA    DUVALL CITY OF                        WA5320750   CWS         Surfacewater purchased       10,017

 WA    EAST WENATCHEE WATER DISTRICT         WA5321800   CWS         Groundwater purchased        26,519

 WA    EASTSOUND WATER USERS                 WA5322170   CWS         Surfacewater                  3,681
       ASSOCIATION
 WA    EATONVILLE WATER DEPT                 WA5322300   CWS         Surfacewater                  3,645
 WA    EDMONDS CITY OF                       WA5322500   CWS         Surfacewater purchased       42,153




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Primacy                    PWS Name                PWSID       PWS Type      Primary Source        Population
Agency                                                                                               Served
 [State]
  WA       ELLENSBURG WATER DEPT                 WA5322950    CWS         Groundwater                  20,940
  WA       ELMA, CITY OF                         WA5323100    CWS         Groundwater                   6,638
  WA       ENUMCLAW WATER DEPARTMENT             WA5323600    CWS         Groundwater                  17,152
  WA       EPHRATA WATER DEPARTMENT              WA5323650    CWS         Groundwater                   8,620
  WA       EVERETT PUBLIC WORKS DEPT. CITY OF    WA5324050    CWS         Surfacewater                145,000
  WA       EVERSON CITY OF                       WA5324200    CWS         Groundwater                   3,657
  WA       FERNDALE                              WA5324850    CWS         Groundwater                  18,170
  WA       FIFE DEPT OF PUBLIC WORKS             WA5325050    CWS         Surfacewater purchased       32,380

  WA       FIRCREST CITY OF                      WA5325150    CWS         Groundwater                   8,095
  WA       FORKS MUNICIPAL WATER DEPT            WA5326000    CWS         Groundwater                   4,744
  WA       FRIDAY HARBOR TOWN OF                 WA5326595    CWS         Surfacewater                  3,531
  WA       FRUITLAND MUTUAL WATER COMPANY        WA5326800    CWS         Groundwater                  15,258

  WA       GIG HARBOR WATER DEPT                 WA5327600    CWS         Groundwater                  11,374
  WA       GOLDENDALE CITY OF                    WA5328450    CWS         Groundwater                   4,314
  WA       GRAND MOUND                           WA5307158    CWS         Groundwater                   3,730
  WA       GRANDVIEW CITY OF                     WA5328970    CWS         Groundwater                  11,010
  WA       GRANGER WATER DEPARTMENT              WA5329000    CWS         Groundwater                   3,993
  WA       GRANITE FALLS CITY OF                 WA5329050    CWS         Surfacewater purchased        6,926

  WA       GRAYS HARBOR CO WATER DIST 2          WA5329250    CWS         Groundwater                   5,087
  WA       HOQUIAM WATER DEPARTMENT              WA5334350    CWS         Surfacewater                 11,456
  WA       HORIZONS WEST                         WA5334375    CWS         Groundwater                   3,409
  WA       IRVIN WATER DISTRICT #6               WA5336050    CWS         Groundwater                   4,150
  WA       KALAMA CITY OF                        WA5337550    CWS         Groundwater under             8,020
                                                                          influence of
                                                                          surfacewater
  WA       KELSO CITY OF                         WA5338000    CWS         Groundwater under            15,097
                                                                          influence of
                                                                          surfacewater
  WA       KING COUNTY WATER DISTRICT #125       WA5341998    CWS         Surfacewater purchased       17,546

  WA       KING COUNTY WATER DISTRICT #20        WA5338950    CWS         Surfacewater purchased       38,974

  WA       KING COUNTY WATER DISTRICT #49        WA5339800    CWS         Surfacewater purchased       16,065

  WA       KING COUNTY WATER DISTRICT #54        WA5339950    CWS         Groundwater                   5,037
  WA       KING COUNTY WATER DISTRICT 119        WA5341985    CWS         Surfacewater purchased        3,796

  WA       KING COUNTY WATER DISTRICT NO 90      WA5341150    CWS         Surfacewater purchased       20,100

  WA       KIRKLAND CITY OF                      WA5342250    CWS         Surfacewater purchased       64,795

  WA       LACEY WATER DEPARTMENT                WA5343500    CWS         Groundwater                  85,727
  WA       LAKE CHELAN RECLAMATION DISTRICT      WA5343783    CWS         Surfacewater                  6,399

  WA       LAKE CUSHMAN SYSTEM 5                 WA5303529    CWS         Groundwater                   3,483


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Agency                                                                                              Served
 [State]
  WA     LAKE FOREST PARK WATER DISTRICT        WA5340950    CWS         Groundwater                   3,327
  WA     Lake Meridian Water District           WA5341900    CWS         Surfacewater purchased       22,387

 WA    LEAVENWORTH CITY OF              WA5346500            CWS         Surfacewater                  9,218
 WA    LIBERTY LAKE SEWER & WATER       WA5347150            CWS         Groundwater                  10,951
       DISTRICT
 WA    LONG BEACH WATER DEPARTMENT      WA5348000            CWS         Surfacewater                  4,052
 WA    LONGVIEW WATER DEPARTMENT        WA5348100            CWS         Groundwater                  49,111
 WA    LWWSD - SOUTH SHORE WATER SYSTEM WA5395910            CWS         Surfacewater                 10,028

 WA    LYNDEN WATER DEPARTMENT                  WA5349150    CWS         Surfacewater                 17,458
 WA    LYNNWOOD CITY OF                         WA5349270    CWS         Surfacewater purchased       63,204

 WA    MANCHESTER WATER DISTRICT                WA5350700    CWS         Groundwater                  10,530
 WA    MARYSVILLE UTILITIES                     WA5351900    CWS         Surfacewater purchased       72,380

 WA    Mattawa City of                          WA5352000    CWS         Groundwater                   5,015
 WA    MEDICAL LAKE CITY OF                     WA5353400    CWS         Groundwater                   4,982
 WA    MERCER ISLAND CITY OF                    WA5353640    CWS         Surfacewater purchased       25,748

 WA    MILTON CITY OF                           WA5354950    CWS         Groundwater                   8,078
 WA    MINTERBROOK                              WA5354740    CWS         Groundwater                   5,016
 WA    MODERN ELECTRIC WATER CO                 WA5355600    CWS         Groundwater                  18,487
 WA    MONROE WATER SYSTEM                      WA5355820    CWS         Surfacewater purchased       23,443

 WA    MONTESANO CITY OF                        WA5356000    CWS         Groundwater                   5,371
 WA    MOSES LAKE CITY OF                       WA5356300    CWS         Groundwater                  22,930
 WA    MOUNTLAKE TERRACE CITY OF                WA5357250    CWS         Surfacewater purchased       26,402

 WA    MOXEE WATER DEPARTMENT                   WA5357300    CWS         Groundwater                   5,568
 WA    Mukilteo Water & Wastewater Distr        WA5357550    CWS         Surfacewater purchased       24,428

 WA    NACHES TOWN OF                           WA5358100    CWS         Groundwater                   3,512
 WA    NE SAMMAMISH SEWER & WATER               WA5375265    CWS         Surfacewater purchased        8,854
       DISTRICT
 WA    NOB HILL WATER ASSOCIATION               WA5359700    CWS         Groundwater                  32,057
 WA    NORTH BAINBRIDGE WATER CO                WA5359994    CWS         Groundwater                   5,490
 WA    NORTH BEACH WATER                        WA5363000    CWS         Groundwater                   8,093
 WA    NORTH BEND CITY OF                       WA5360100    CWS         Groundwater                   5,510
 WA    North City Water District                WA5339600    CWS         Surfacewater purchased       31,323

 WA    NORTH PENINSULA                          WA5305122    CWS         Groundwater                  15,654
 WA    NORTH PERRY AVE WATER DISTRICT           WA5360950    CWS         Groundwater                  23,472
 WA    NORTHSHORE UTILITY DISTRICT              WA5340800    CWS         Surfacewater purchased      103,052

 WA    OAK HARBOR CITY OF                       WA5362650    CWS         Surfacewater purchased       23,587

 WA    OCEAN SHORES WATER DEPT                  WA5363008    CWS         Groundwater                   9,347


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Primacy                 PWS Name              PWSID      PWS Type      Primary Source        Population
Agency                                                                                         Served
 [State]
  WA     OLYMPIA CITY OF                    WA5363450   CWS         Groundwater                  74,818
  WA     OLYMPIC VIEW WATER & SEWER         WA5363600   CWS         Surfacewater                 15,186
         DISTRICT
  WA     OMAK CITY OF                       WA5363750   CWS         Groundwater                   4,940
  WA     ORCHARD AVENUE IRRIGATION DIST 6   WA5364000   CWS         Groundwater                   4,330
  WA     ORTING CITY OF                     WA5364500   CWS         Groundwater                  10,332
  WA     OTHELLO WATER DEPARTMENT           WA5364850   CWS         Groundwater                   8,725
  WA     PACIFIC, CITY OF                   WA5365300   CWS         Groundwater                   6,673
  WA     PARKLAND LIGHT & WATER COMPANY     WA5366200   CWS         Groundwater                  29,539
  WA     PARKVIEW TERRACE                   WA5366215   CWS         Groundwater                   3,702
  WA     PASADENA PARK IRR DIST 17          WA5366300   CWS         Groundwater                   6,269
  WA     PASCO WATER DEPARTMENT             WA5366400   CWS         Surfacewater                 80,180
  WA     PEACOCK HILL                       WA5366637   CWS         Groundwater                   7,860
  WA     POINT EVANS                        WA5368065   CWS         Groundwater                   5,193
  WA     PORT ANGELES CITY OF               WA5368550   CWS         Surfacewater                 28,946
  WA     PORT ANGELES COMPOSITE             WA5343296   CWS         Surfacewater                 11,248
  WA     PORT OF SEATTLE/SEATAC AIRPORT     WA5303182   NTNCWS      Surfacewater purchased       49,483

 WA    PORT ORCHARD WATER DEPT              WA5368900   CWS         Surfacewater purchased       14,238

 WA    PORT TOWNSEND CITY OF            WA5369000       CWS         Surfacewater                 16,766
 WA    POULSBO CITY OF                  WA5369150       CWS         Groundwater                  17,180
 WA    PROSSER CITY OF                  WA5369750       CWS         Groundwater                   6,132
 WA    PULLMAN WATER DEPARTMENT CITY OF WA5369880       CWS         Groundwater                  29,690

 WA    PUYALLUP CITY OF                     WA5370050   CWS         Surfacewater purchased       36,606

 WA    QUINCY WATER DEPARTMENT CITY OF      WA5370450   CWS         Groundwater                   9,850
 WA    Raymond Water Department             WA5371500   CWS         Surfacewater                  4,620
 WA    REDMOND WATER SYSTEM CITY OF         WA5371650   CWS         Surfacewater purchased      123,565

 WA    RENTON CITY OF                       WA5371850   CWS         Groundwater                  96,614
 WA    RIDGEFIELD PUBLIC WORKS              WA5372400   CWS         Groundwater                  18,293
 WA    ROOSEVELT WATER ASSOCIATION          WA5374150   CWS         Surfacewater purchased        3,493

 WA    ROYAL CITY WATER                     WA5374700   CWS         Groundwater                   3,389
 WA    SALLAL WATER ASSOCIATION INC         WA5375560   CWS         Groundwater                   6,500
 WA    SEATTLE PUBLIC UTILITIES             WA5377050   CWS         Surfacewater                955,506
 WA    SELAH CITY OF                        WA5377400   CWS         Groundwater                  12,515
 WA    SEQUIM CITY OF                       WA5377620   CWS         Groundwater                  14,293
 WA    SEVEN LAKES WATER ASSOCIATION        WA5377660   CWS         Groundwater                   5,823
 WA    SHELTON CITY OF                      WA5378170   CWS         Groundwater                  21,413
 WA    SILVERDALE WATER DIST 16             WA5379300   CWS         Groundwater                  25,998
 WA    SKAGIT COUNTY PUD 1 JUDY RES         WA5379500   CWS         Surfacewater                 79,816
 WA    SKYWAY WATER & SEWER                 WA5338800   CWS         Surfacewater purchased       11,710




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Primacy                PWS Name               PWSID       PWS Type      Primary Source        Population
Agency                                                                                          Served
 [State]
  WA     SNO PUD 1 - LAKE STEVENS           WA5380907    CWS         Surfacewater purchased       59,146

 WA     SNOHOMISH CITY OF                   WA5380915    CWS         Surfacewater purchased       11,258

 WA     SNOQUALMIE PASS UTILITY DISTRICT  WA5381048      CWS         Groundwater                   5,923
 WA     SNOQUALMIE WATER                  WA5381080      CWS         Groundwater                  15,848
 WA     SOOS CREEK WATER & SEWER DISTRICT WA5340100      CWS         Surfacewater purchased       64,534

 WA     SOUTH BAINBRIDGE                    WA5381451    CWS         Groundwater                   4,199
 WA     SOUTHWOOD                           WA5382844    CWS         Surfacewater purchased       63,370

 WA     SPANAWAY WATER COMPANY             WA5382850     CWS         Groundwater                  31,055
 WA     SPO CO WATER DIST 3 SYS 1          WA5393351     CWS         Groundwater                  18,383
 WA     SPO CO WATER DIST 3 SYS 3          WA5393353     CWS         Groundwater                   3,758
 WA     SPO CO WATER DIST 3 SYS 4          WA5393354     CWS         Groundwater                   5,373
 WA     SPOKANE BUSINESS & INDUSTRIAL PARK WA5383027     NTNCWS      Groundwater                   5,000

 WA     STANWOOD WATER DEPT CITY OF         WA5383650    CWS         Groundwater                  12,255
 WA     STEILACOOM TOWN OF                  WA5384000    CWS         Groundwater                   8,421
 WA     STEVENS CO PUD - SUNCREST           WA5385202    CWS         Groundwater                   7,484
 WA     STEVENS PASS WATER SYSTEM           WA5384245    NTNCWS      Surfacewater                  4,053
 WA     SULTAN WATER DEPARTMENT             WA5384770    CWS         Surfacewater                  6,200
 WA     SUMNER CITY OF                      WA5385120    CWS         Groundwater                  15,530
 WA     SUNNYSIDE CITY OF                   WA5385400    CWS         Groundwater                  16,280
 WA     SUQUAMISH                           WA5386400    CWS         Groundwater                   4,203
 WA     Tenino City of                      WA5387400    CWS         Groundwater                   3,336
 WA     TOPPENISH WATER DEPARTMENT          WA5388850    CWS         Groundwater                   8,950
 WA     TRENTWOOD IRRIGATION DISTRICT 3     WA5389250    CWS         Groundwater                   4,188
 WA     TUKWILA WATER DEPARTMENT            WA5389500    CWS         Surfacewater purchased       45,374

 WA     UNION GAP WATER                     WA5390250    CWS         Groundwater                   6,433
 WA     UNION HILL WATER ASSOCIATION INC    WA5390260    CWS         Groundwater                   8,670
 WA     VERA WATER & POWER                  WA5391450    CWS         Groundwater                  24,692
 WA     VINLAND                             WA5391923    CWS         Groundwater                   4,305
 WA     WALLA WALLA WATER DIVISION          WA5392500    CWS         Surfacewater                 36,375
 WA     WAPATO WATERWORKS                   WA5392800    CWS         Groundwater                   5,962
 WA     WARDEN CITY OF                      WA5392850    CWS         Groundwater                   4,674
 WA     WASHOUGAL CITY OF                   WA5393400    CWS         Groundwater                  21,580
 WA     WATER DISTRICT 19                   WA5338900    CWS         Surfacewater                  3,723
 WA     WENATCHEE CITY OF                   WA5394350    CWS         Groundwater                  30,800
 WA     WEST RICHLAND CITY OF               WA5394900    CWS         Surfacewater purchased       15,515

 WA     West Sound Utility District #1      WA5302600    CWS         Groundwater                  28,721
 WA     WESTPORT WATER DEPARTMENT           WA5395300    CWS         Groundwater                   5,346
 WA     WHITE SALMON CITY OF                WA5396350    CWS         Surfacewater                  3,930
 WA     WHITWORTH WATER DISTRICT 2          WA5396601    CWS         Groundwater                  26,883



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Primacy              PWS Name                 PWSID       PWS Type      Primary Source        Population
Agency                                                                                          Served
 [State]
  WA     WOODINVILLE WATER DISTRICT         WA5341600    CWS         Surfacewater purchased       59,873

 WA     WOODLAND CITY OF                    WA5398200    CWS         Groundwater under            10,640
                                                                     influence of
                                                                     surfacewater
 WA     YAK CO - TERRACE HEIGHTS            WA5306029    CWS         Groundwater                   8,030
 WA     YAKIMA WATER DIVISION CITY OF       WA5399150    CWS         Surfacewater                 72,806
 WA     YELM CITY OF                        WA5399350    CWS         Groundwater                  15,752
 WA     ZILLAH CITY OF                      WA5399800    CWS         Groundwater                   3,518
 WI     ALGOMA TN SANITARY DIST 1           WI4711611    CWS         Groundwater                   3,648
 WI     ALLOUEZ WATERWORKS                  WI4050455    CWS         Surfacewater purchased       14,156

  WI    ALTOONA WATERWORKS                  WI6180280    CWS         Groundwater                   7,682
  WI    ANTIGO WATERWORKS                   WI7340086    CWS         Groundwater                   8,234
  WI    ARCADIA WATERWORKS                  WI6620319    CWS         Groundwater                   3,737
  WI    ASHLAND WATER UTILITY               WI8020373    CWS         Surfacewater                  9,115
  WI    ASHWAUBENON WATERWORKS              WI4050456    CWS         Surfacewater purchased       17,730

  WI    BALDWIN WATERWORKS                  WI6560119    CWS         Groundwater                   3,956
  WI    BARABOO WATERWORKS                  WI1570085    CWS         Groundwater                  12,703
  WI    BARRON LIGHT & WATER DEPT           WI6030125    CWS         Groundwater                   3,423
  WI    BEAVER DAM WATER UTILITY            WI1140059    CWS         Groundwater                  16,200
  WI    BERLIN WATERWORKS                   WI4240216    CWS         Groundwater                   5,524
  WI    BLOOMER WATERWORKS                  WI6090448    CWS         Groundwater                   3,563
  WI    BLOOMFIELD, VILLAGE OF              WI2651469    CWS         Groundwater                   4,071
  WI    BURLINGTON WATERWORKS               WI2520177    CWS         Groundwater                   9,958
  WI    CABELAS - RICHFIELD                 WI2671753    NTNCWS      Groundwater                   3,931
  WI    CALEDONIA WATER UTILITY - VILLAGE   WI2520184    CWS         Surfacewater purchased       21,819
        OF
  WI    CHILTON WATERWORKS                  WI4080222    CWS         Groundwater                   4,084
  WI    CLINTONVILLE UTILITIES              WI4690391    CWS         Groundwater                   4,635
  WI    COLUMBUS UTILITIES                  WI1110038    CWS         Groundwater                   5,173
  WI    COMBINED LOCKS WATERWORKS           WI4450409    CWS         Groundwater purchased         3,592

  WI    COTTAGE GROVE WATERWORKS            WI1130218    CWS         Groundwater                   6,512
  WI    CROSS PLAINS WATERWORKS             WI1130219    CWS         Groundwater                   3,543
  WI    DARBOY SANITARY DIST 1              WI4450117    CWS         Groundwater                  12,000
  WI    DEFOREST WATERWORKS                 WI1130221    CWS         Groundwater                  10,500
  WI    DODGEVILLE WATERWORKS               WI1250079    CWS         Groundwater                   4,583
  WI    EDGERTON WATERWORKS                 WI1540119    CWS         Groundwater                   5,512
  WI    ELKHORN WATERWORKS                  WI2650062    CWS         Groundwater                  10,317
  WI    EVANSVILLE WATERWORKS               WI1540047    CWS         Groundwater                   5,070
  WI    FITCHBURG UTILITY DIST 1            WI1130231    CWS         Groundwater                  24,500
  WI    FOND DU LAC WATERWORKS              WI4200469    CWS         Groundwater                  44,303
  WI    FORT ATKINSON WATERWORKS            WI1280103    CWS         Groundwater                  12,390
  WI    FOX CROSSING UTILITIES WEST         WI4710358    CWS         Groundwater                  13,720


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Primacy               PWS Name                PWSID       PWS Type      Primary Source        Population
Agency                                                                                          Served
 [State]
   WI    FOX POINT WATERWORKS               WI2410584    CWS         Surfacewater purchased        6,808

  WI    GENEVA NATIONAL COMMUNITY           WI2650907    CWS         Groundwater                   3,500
        SERVICES
  WI    GLENDALE WATERWORKS                 WI2410168    CWS         Surfacewater purchased       12,883

  WI    GRAFTON WATERWORKS                  WI2460111    CWS         Groundwater                  11,989
  WI    GRAND CHUTE TN SAN DIST 1           WI4450429    CWS         Surfacewater purchased       21,583

  WI    GREENDALE WATERWORKS                WI2410571    CWS         Surfacewater purchased       14,393

  WI    GREENVILLE SANITARY DIST            WI4450278    CWS         Groundwater                   8,500
  WI    HARRISON UTILITIES - FKA WAVERLY SD WI4080076    CWS         Surfacewater purchased        5,500

  WI    HARTLAND WATERWORKS                 WI2680205    CWS         Groundwater                   9,212
  WI    HO CHUNK CASINO                     WI1570639    NTNCWS      Groundwater                   5,486
  WI    HORICON WATERWORKS                  WI1140146    CWS         Groundwater                   3,682
  WI    HOWARD WATERWORKS                   WI4050468    CWS         Surfacewater purchased       18,900

  WI    JACKSON WATERWORKS                  WI2670111    CWS         Groundwater                   8,215
  WI    JEFFERSON WATERWORKS                WI1280104    CWS         Groundwater                   7,926
  WI    JOHNSON CREEK WATERWORKS            WI1280107    CWS         Groundwater                   3,318
  WI    KAUKAUNA UTILITIES                  WI4450336    CWS         Groundwater                  17,089
  WI    KEWASKUM WATERWORKS                 WI2670112    CWS         Groundwater                   4,309
  WI    KIEL WATERWORKS                     WI4360427    CWS         Groundwater                   3,932
  WI    KIMBERLY WATERWORKS                 WI4450342    CWS         Groundwater                   6,451
  WI    KRONENWETTER WATER & SEWER          WI7371700    CWS         Groundwater                   6,931
        UTILITY
  WI    LAKE HALLIE WATERWORKS VILLAGE      WI6090849    CWS         Groundwater                   6,701
        OF
  WI    LAKE MILLS WATERWORKS               WI1280108    CWS         Groundwater                   5,780
  WI    LANCASTER WATERWORKS                WI1220107    CWS         Groundwater                   3,868
  WI    LAWRENCE WATERWORKS                 WI4051625    CWS         Surfacewater purchased        4,627

  WI    LEDGEVIEW TN SANITARY DIST 2        WI4051418    CWS         Surfacewater purchased        6,487

  WI    LITTLE CHUTE WATERWORKS             WI4450338    CWS         Groundwater                  11,040
  WI    MARSHALL WATERWORKS                 WI1130237    CWS         Groundwater                   3,862
  WI    MAUSTON WATERWORKS                  WI7290129    CWS         Groundwater                   4,456
  WI    MEDFORD WATERWORKS                  WI8610125    CWS         Groundwater                   4,318
  WI    MENOMONEE FALLS WW - SURFACE        WI2680082    CWS         Surfacewater purchased       23,867
        WATER
  WI    MENOMONIE WATERWORKS                WI6170268    CWS         Groundwater                  15,950
  WI    MEQUON WATER UTILITY                WI2460112    CWS         Surfacewater purchased       11,152

  WI    MERRILL WATERWORKS                  WI7350123    CWS         Groundwater                   9,661
  WI    MILTON WATERWORKS                   WI1540130    CWS         Groundwater                   5,588
  WI    MONONA WATERWORKS                   WI1130245    CWS         Groundwater                   7,801


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Primacy                PWS Name                 PWSID       PWS Type      Primary Source        Population
Agency                                                                                            Served
 [State]
   WI      MONROE WATERWORKS                  WI1230078    CWS         Groundwater                  10,780
   WI      MOSINEE WATERWORKS                 WI7370159    CWS         Groundwater                   3,406
   WI      MT HOREB WATERWORKS                WI1130247    CWS         Groundwater                   7,240
   WI      MUKWONAGO WATERWORKS               WI2680209    CWS         Groundwater                   8,190
   WI      MUSKEGO WATER UTILITY              WI2681741    CWS         Groundwater                   8,150
   WI      NEW BERLIN WATER UTILITY           WI2680217    CWS         Surfacewater purchased       27,899

  WI       NORTH FOND DU LAC WATERWORKS       WI4200405    CWS         Groundwater                   5,014
  WI       NORTH SHORE WATER COMMISSION       WI2413515    CWS         Surfacewater                 35,598
  WI       OCONTO WATERWORKS                  WI4430495    CWS         Groundwater                   4,610
  WI       OMRO WATERWORKS                    WI4710357    CWS         Groundwater                   3,558
  WI       OREGON WATERWORKS                  WI1130251    CWS         Groundwater                  10,078
  WI       PESHTIGO WATERWORKS                WI4380442    CWS         Groundwater                   3,449
  WI       PEWAUKEE CITY WATER AND SEWER      WI2680214    CWS         Groundwater                   8,671
           UTILITY
  WI       PEWAUKEE VILLAGE WATERWORKS        WI2680229    CWS         Groundwater                   8,166
  WI       PLATTEVILLE WATERWORKS             WI1220115    CWS         Groundwater                  12,268
  WI       PLEASANT PRAIRIE WATER UTILITY     WI2300167    CWS         Surfacewater purchased       10,754

  WI       PLYMOUTH UTILITIES                 WI4600446    CWS         Groundwater                   8,964
  WI       PRAIRIE DU SAC WATERWORKS          WI1570100    CWS         Groundwater                   4,006
  WI       PULASKI WATERWORKS                 WI4050355    CWS         Groundwater                   3,731
  WI       RICE LAKE WATERWORKS               WI6030138    CWS         Groundwater                   8,300
  WI       RICHLAND CENTER WATERWORKS         WI1530068    CWS         Groundwater                   5,100
  WI       RIVER FALLS WATERWORKS             WI6480246    CWS         Groundwater                  15,229
  WI       SAUK CITY WATERWORKS               WI1570105    CWS         Groundwater                   3,424
  WI       SEYMOUR WATERWORKS                 WI4450337    CWS         Groundwater                   3,478
  WI       SHAWANO LK SAN DIST 1              WI4590457    CWS         Groundwater                   4,950
  WI       SHAWANO WATERWORKS                 WI4590456    CWS         Groundwater                   9,200
  WI       SHEBOYGAN FALLS UTILITIES          WI4600455    CWS         Surfacewater purchased        8,165

  WI       SHEBOYGAN WATER UTILITIES          WI4600354    CWS         Surfacewater                 48,327
  WI       SHOREWOOD WATERWORKS               WI2410607    CWS         Surfacewater purchased       13,189

  WI       SPARTA WATERWORKS                  WI6420297    CWS         Groundwater                  10,025
  WI       STURGEON BAY WATERWORKS            WI4150526    CWS         Groundwater                   9,500
  WI       SUAMICO WATERWORKS                 WI4051031    CWS         Groundwater                   4,459
  WI       SUPERIOR WATER LIGHT & POWER       WI8160147    CWS         Surfacewater                 26,084
           COMPANY
  WI       SUSSEX VILLAGE HALL & WATER        WI2680233    CWS         Groundwater                  10,573
           UTILITY
  WI       TOMAH WATERWORKS                   WI6420254    CWS         Groundwater                   9,192
  WI       TOWN OF BROOKFIELD SAN DIST 4      WI2680239    CWS         Groundwater                   6,419
  WI       TWO RIVERS WATERWORKS              WI4360436    CWS         Surfacewater                 11,232
  WI       UNION GROVE WATERWORKS             WI2520200    CWS         Groundwater                   4,900
  WI       VIROQUA WATERWORKS                 WI6630263    CWS         Groundwater                   4,362



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Primacy                   PWS Name                PWSID       PWS Type      Primary Source        Population
Agency                                                                                              Served
 [State]
   WI      WATERFORD WATERWORKS                 WI2520202    CWS         Groundwater                   5,368
   WI      WATERLOO WATERWORKS                  WI1280115    CWS         Groundwater                   3,366
   WI      WATERTOWN WATERWORKS                 WI1280044    CWS         Groundwater                  23,945
   WI      WAUPUN UTILITIES                     WI1140131    CWS         Groundwater                   9,276
   WI      WAUWATOSA WATERWORKS                 WI2410596    CWS         Surfacewater purchased       49,064

  WI       WEST ALLIS WATERWORKS                WI2410595    CWS         Surfacewater purchased       63,240

  WI       WEST SALEM WATERWORKS                WI6320334    CWS         Groundwater                   5,045
  WI       WHITEFISH BAY WATERWORKS             WI2410597    CWS         Surfacewater purchased       14,272

  WI       WHITEWATER WATERWORKS                WI2650056    CWS         Groundwater                  14,000
  WI       YORKVILLE UTILITY DIST 1             WI2521735    NTNCWS      Groundwater                   3,900
  WV       ADRIAN P S D                         WV3304911    CWS         Surfacewater purchased        5,295

  WV       BLUEWELL PSD                         WV3302804    CWS         Surfacewater purchased        6,216

  WV       BRIDGEPORT CITY OF                   WV3301703    CWS         Surfacewater purchased       10,775

  WV       BUFFALO CREEK PSD                    WV3302347    CWS         Surfacewater                  3,464
  WV       CHEAT VIEW PSD                       WV3303106    CWS         Surfacewater purchased        9,201

  WV       CLAY BATTELLE PSD                    WV3303121    CWS         Surfacewater purchased        3,717

  WV       CLINTON WATER ASSOC - ROUTE 119      WV3303107    CWS         Surfacewater purchased        5,733

  WV       COOL RIDGE FLAT TOP PSD              WV3304139    CWS         Surfacewater purchased        4,190

  WV       CRUM PSD                             WV3305010    CWS         Surfacewater purchased        3,437

  WV       EASTERN WYOMING PSD STEPHENSON       WV3305521    CWS         Groundwater                   3,616
           WTP
  WV       GAULEY RIVER PSD                     WV3301042    CWS         Surfacewater purchased        3,944

  WV       GRAFTON CITY OF                      WV3304601    CWS         Surfacewater purchased        6,250

  WV       GRANT CO PSD-NORTHFORK-MAYSVILLE WV3301206        CWS         Surfacewater purchased        4,269

  WV       GREATER HARRISON PSD LOST CREEK      WV3301713    CWS         Surfacewater purchased        3,415
           MT CLARE
  WV       GREEN VALLEY GLENWOOD PSD            WV3302849    CWS         Surfacewater                  6,414
           GLENWOOD
  WV       LAVALETTE PSD                        WV3305006    CWS         Surfacewater purchased        7,293

  WV       MARSHALL COUNTY PSD 1                WV3302606    CWS         Groundwater purchased         3,463

  WV       MARSHALL COUNTY PSD 4                WV3302609    CWS         Groundwater purchased         4,063

  WV       MASON CO PSD - ASHTON                WV3302717    CWS         Groundwater                   3,768
  WV       MASON CO PSD-LAKIN DIST              WV3302712    CWS         Groundwater                   3,323



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Primacy              PWS Name                  PWSID       PWS Type      Primary Source        Population
Agency                                                                                           Served
 [State]
  WV     MIDLAND PSD                         WV3304208    CWS         Surfacewater purchased        3,700

 WV    MINERAL WELLS PSD                     WV3305405    CWS         Surfacewater purchased        5,674

 WV    MORTON PLAZA-WV PARKWAYS              WV9920075    NTNCWS      Groundwater                   3,364
 WV    MOUNTAINEER PARK INC                  WV3301520    NTNCWS      Groundwater                   5,760
 WV    NETTIE LEIVASY PSD                    WV3303403    CWS         Surfacewater                  3,343
 WV    OHIO COUNTY PSD                       WV3303508    CWS         Surfacewater purchased       10,220

 WV    RALEIGH COUNTY MEM AIRPORT            WV3304138    CWS         Surfacewater purchased        4,587

 WV    RALEIGH COUNTY PSD ARNETT             WV3304140    CWS         Surfacewater purchased        6,663

 WV    RED SULPHUR PSD                       WV3303206    CWS         Surfacewater                  5,352
 WV    SOUTHERN JACKSON COUNTY P S D         WV3301817    CWS         Surfacewater purchased        6,107

 WV    SOUTHWESTERN WATER DISTRICT           WV3304603    CWS         Surfacewater purchased        5,296

 WV    SUMMERSVILLE MUNICIPAL WATER          WV3303404    CWS         Surfacewater                  5,574
 WV    VALLEY FALLS PSD                      WV3302523    CWS         Surfacewater purchased        4,042

 WV    WASHINGTON PIKE PSD                   WV3300515    CWS         Groundwater purchased         3,571

 WV    WHITE SULPHUR SPRINGS WATER           WV3301314    CWS         Groundwater                   3,845
 WV    WVAWC BLUESTONE PLANT                 WV3304513    CWS         Surfacewater                 26,874
 WV    WVAWC NEW RIVER REGIONAL WTR          WV3301046    CWS         Surfacewater                 24,295
       TRTMT PLT
 WY    BUFFALO, CITY OF                      WY5600005    CWS         Surfacewater                  4,400
 WY    CASPER, CITY OF                       WY5601415    CWS         Surfacewater purchased       59,000

 WY    CHEYENNE BOARD OF PUBLIC UTILITIES WY5600011       CWS         Surfacewater                 64,165
 WY    CODY, CITY OF                      WY5600207       CWS         Surfacewater purchased        9,836

 WY    DOUGLAS, CITY OF                      WY5600137    CWS         Surfacewater                  6,400
 WY    EVANSTON, CITY OF                     WY5600150    CWS         Surfacewater                 12,000
 WY    GILLETTE, CITY OF                     WY5600019    CWS         Groundwater                  32,222
 WY    GREEN RIVER, CITY OF                  WY5601181    CWS         Surfacewater purchased       10,500

 WY    KEMMERER-DIAMONDVILLE JPB             WY5600028    CWS         Surfacewater                  3,348
 WY    LARAMIE, CITY OF                      WY5600029    CWS         Surfacewater                 30,899
 WY    MILLS, CITY OF                        WY5600036    CWS         Groundwater under             4,050
                                                                      influence of
                                                                      surfacewater
 WY    NEWCASTLE, CITY OF                    WY5600256    CWS         Groundwater                   3,521
 WY    NORTHWEST RURAL WATER DISTRICT        WY5601254    CWS         Surfacewater purchased        7,330

 WY    POWELL, CITY OF                       WY5600042    CWS         Surfacewater purchased        6,310

 WY    RAWLINS WATER SUPPLY, CITY OF         WY5600045    CWS         Surfacewater                  9,006


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Primacy               PWS Name                           PWSID         PWS Type        Primary Source       Population
Agency                                                                                                        Served
 [State]
  WY     RIVERTON, CITY OF                            WY5600047      CWS           Surfacewater                 10,330
  WY     ROCK SPRINGS, CITY OF                        WY5601182      CWS           Surfacewater purchased       24,000

 WY      SHERIDAN, CITY OF                            WY5600052      CWS           Surfacewater                 22,700
 WY      SOUTH CHEYENNE WATER & SEWER                 WY5600239      CWS           Surfacewater purchased       10,000
         DISTRICT
 WY      WARDWELL WATER & SEWER DISTRICT              WY5600067      CWS           Surfacewater purchased        4,000



In accordance with the Settlement Agreement, the Parties agree that Exhibits E and F represent a good-faith effort to
list all Phase One and Phase Two Eligible Claimants, respectively, and to state the number of people served by each
Eligible Claimant. These Exhibits include Eligible Claimants that are affiliated or associated with, or acting in
conjunction with or on behalf of, Public Water Systems within the Settlement Class and have asserted Claims
relating to Drinking Water, and therefore would be Releasing Parties under the Settlement.
 This Exhibit does not include any of the approximately 800 nationally representative water systems serving 3,300 or
 fewer people that will be required to test for certain PFAS under UCMR-5, as U.S. EPA has not publicly identified
 those water systems. A Community Water System fitting that description but not currently listed on this Exhibit will
 be an Eligible Claimant.




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                                         EXHIBIT G
                             Systems Near a Manufacturing Site
The list of Public Water Systems associated with a specific PFAS-manufacturing facility owned
                                            by 3M

                3M Facility                              Public Water System
                 Cordova                                Camanche Water Supply
               Cottage Grove                                    Afton
                                                            Cottage Grove
                                                          Denmark Township
                                                              Lake Elmo
                                                       Lakeland Municipal Water
                                                               Oakdale
                                                               Newport
                                                            Saint Paul Park
                                                            West Lakeland
                                                              Woodbury
                  Decatur                         West Morgan-East Lawrence Water and
                                                           Sewer Authority
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                                              EXHIBIT H
                               Systems Owned by a State Government
        Public Water Systems owned by a state government and listed in SDWIS as having as its sole
                                 “Owner Type” a “State government”


                                                     Note:
                Inclusion on this Exhibit does not necessarily indicate that the included entity
              lacks independent authority to sue and be sued. Whether an entity is an Eligible
               Claimant is determined by the relevant provisions of the Settlement Agreement,
                                  including Paragraphs 2.24 and Section 5.


Primacy           PWS Name               PWSID       PWS       PWS Type      Owner Type        Primary Source
Agency                                              Activity

  AR      ADC - CUMMINS UNIT           AR0000315     Active      CWS       State government        Ground water
          MAINT

  AS      CENTRAL ASG                  AS9711948     Active      CWS       State government        Surface water

  AZ      ADOC EYMAN UNIT              AZ0411705     Active      CWS       State government        Ground water

  AZ      ADOC TUCSON                  AZ0420557     Active      CWS       State government        Ground water

  AZ      ASPC LEWIS COMPLEX           AZ0407555     Active      CWS       State government        Ground water
          WATER SYSTEM

  AZ      ASPC YUMA                    AZ0414099     Active      CWS       State government        Ground water

  CA      CALIFORNIA INSTITUTION       CA3610850     Active      CWS       State government        Groundwater
          FOR MEN

  CA      CALIFORNIA MENS              CA4010830     Active      CWS       State government        Surface water
          COLONY

  CA      CALIFORNIA                   CA3310800     Active      CWS       State government        Ground water
          REHABILITATION CENTER                                                                     purchased
          - NORCO

  CA      CALIFORNIA STATE             CA4810800     Active      CWS       State government        Surface water
          PRISON - SOLANO

  CA      CALIPATRIA STATE             CA1310800     Active      CWS       State government        Surface water
          PRISON                                                                                    purchased

  CA      CCI - TEHACHAPI              CA1510800     Active      CWS       State government        Ground water

  CA      CDCR-HIGH DESERT             CA1805004     Active      CWS       State government        Groundwater
          STATE PRISON




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Primacy          PWS Name              PWSID      PWS       PWS Type    Owner Type        Primary Source
Agency                                           Activity

  CA      CENTINELA STATE            CA1310801   Active       CWS      State government    Surface water
          PRISON                                                                            purchased

  CA      CHUCKAWALLA VALLEY         CA3310802   Active       CWS      State government    Ground water
          STATE PRISON

  CA      CORRECTIONAL               CA2710850   Active       CWS      State government    Ground water
          TRAINING FACILITY -
          SOLEDAD

  CA      FOLSOM STATE PRISON        CA3410032   Active       CWS      State government    Surface water

  CA      KERN VALLEY STATE          CA1510802   Active       CWS      State government    Ground water
          PRISON

  CA      WASCO ST. PRISON           CA1510801   Active       CWS      State government    Ground water
          RECEPTION CTR

  CO      BUENA VISTA                CO0108350   Active       CWS      State government    Groundwater
          CORRECTIONAL FACILITY

  CT      UNIVERSITY OF              CT0780021   Active       CWS      State government    Surface water
          CONNECTICUT - MAIN                                                                purchased
          CAMPUS

  FL      FLORIDA STATE PRISON       FL2040372   Active       CWS      State government    Ground water

  GA      ABRAHAM BALDWIN            GA2770004   Active       CWS      State government    Ground water
          AGRI. COLLEGE

  GA      GEORGIA SOUTHERN           GA0310006   Active       CWS      State government    Ground water
          UNIVERSITY

  IA      ISU                        IA8503528   Active       CWS      State government    Groundwater
                                                                                            purchased

  IN      PURDUE UNIV. WATER         IN5279015   Active       CWS      State government    Groundwater
          WORKS

  KS      UNIVERSITY OF KANSAS       KS2004513   Active       CWS      State government    Surface water
                                                                                            purchased

  KY      MOREHEAD STATE             KY1030480   Active       CWS      State government    Surface water
          UNIVERSITY

  LA      GRAMBLING STATE            LA1061005   Active       CWS      State government    Ground water
          UNIVERSITY WS

  LA      LOUISIANA STATE            LA1125005   Active       CWS      State government    Ground water
          PENITENTIARY



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Primacy         PWS Name              PWSID      PWS       PWS Type     Owner Type       Primary Source
Agency                                          Activity

 MA       MCI NORFOLK/CEDAR         MA2208001   Active       CWS      State government    Groundwater
          JUNCTION/WALPOLE

 MA       MCI SHIRLEY               MA2270001   Active       CWS      State government    Groundwater

 MD       EASTERN CORRECTIONAL      MD0190013   Active       CWS      State government    Ground water
          INSTITUTE

 MD       MSA-M&T STADIUM           MD1300005   Active     NTNCWS     State government    Surface water
                                                                                           purchased

 MD       MSA-ORIOLE                MD1300004   Active     NTNCWS     State government    Surface water
          PARK/NORTH & SOUTH                                                               purchased
          WAREHOUSES

 MO       BONNE TERRE PRISON        MO4061410   Active       CWS      State government    Ground water

 MO       FARMINGTON                MO4069041   Active       CWS      State government    Ground water
          CORRECTIONAL CENTER

  MS      MS STATE HOSPITAL-        MS0610032   Active       CWS      State government    Ground water
          WHITFIELD

 MS       MS STATE UNIVERSITY       MS0530012   Active      CWS       State government    Groundwater

  MS      UNIVERSITY OF             MS0360015   Active       CWS      State government    Groundwater
          MISSISSIPPI

  MS      UNIVERSITY OF MS          MS0250034   Active     NTNCWS     State government    Ground water
          MEDICAL CNTR

  MT      MONTANA STATE             MT0004790   Active     NTNCWS     State government    Surface water
          UNIVERSITY BOZEMAN                                                               purchased

 MT       UNIVERSITY OF             MT0004204   Active     NTNCWS     State government    Groundwater
          MONTANA                                                                          purchased

  NH      HAMPSTEAD HOSPITAL        NH1034010   Active     NTNCWS     State government    Groundwater

  NH      UNH/DURHAM WATER          NH0691010   Active       CWS      State government    Surface water
          SYS

  NJ      DOVES RCH                 NJ1008300   Active     NTNCWS     State government    Groundwater

  NJ      EDNA MAHAN                NJ1025001   Active       CWS      State government    Groundwater
          CORRECTIONAL

  NJ      NEW JERSEY MOTOR          NJ1021435   Active     NTNCWS     State government    Groundwater
          VEHICLE COMMISSION




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Primacy         PWS Name              PWSID      PWS       PWS Type    Owner Type        Primary Source
Agency                                          Activity

  NJ      NEW JERSEY MOTOR          NJ0436499   Active     NTNCWS     State government    Groundwater
          VEHICLE INSPECTION
          STAT

  NJ      NEW LISBON                NJ0339001   Active       CWS      State government    Groundwater
          DEVELOPMENT CTR

  NJ      NJDOT @ ROXBURY CORP      NJ1436365   Active     NTNCWS     State government    Groundwater
          CENTER

  NV      SOUTHERN DESERT           NV0005062   Active       CWS      State government    Ground water
          CORRECTIONAL CTR
          NDOC

  NY      ALFRED STATE COLLEGE      NY0220581   Active       CWS      State government    Ground water
                                                                                           purchased

  NY      BARTON & WELLER TRAIL     NY0420358   Active     NTNCWS     State government    Groundwater
          - ASP

  NY      BEAR MOUNTAIN WATER       NY4317681   Active       CWS      State government    Surface water
          SUPPLY

  NY      CLINTON CORRECTIONAL      NY0904192   Active       CWS      State government    Ground water
          FACILITY

  NY      GREAT                     NY5704191   Active       CWS      State government    Surface water
          MEADOW/WASHINGTON
          CORR. FACILITIES

  NY      JONES BEACH STATE         NY2908333   Active     NTNCWS     State government    Ground water
          PARK

  NY      RED HOUSE WATER           NY0420357   Active     NTNCWS     State government    Ground water
          SUPPLY - ASP

  NY      ROBERT MOSES STATE        NY5117671   Active       CWS      State government    Ground water
          PARK

  OH      CHILLICOTHE               OH7101212   Active       CWS      State government    Groundwater
          CORRECTIONAL
          INSTITUTION

  OH      LEBANON                   OH8301012   Active       CWS      State government    Groundwater
          CORRECTIONAL
          INSTITUTION

  OH      ODRC-PICKAWAY             OH6501712   Active       CWS      State government    Groundwater
          CORRECTION PWS




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Primacy          PWS Name             PWSID      PWS       PWS Type    Owner Type        Primary Source
Agency                                          Activity

  OK      OKLA ORDNANCE WORKS       OK1021602   Active       CWS      State government    Surface water
          AUTHORITY

  OK      OKLAHOMA UNIVERSITY       OK3001414   Active       CWS      State government    Surface water
                                                                                           purchased

  OK      OSU WATER PLANT           OK1020910   Active       CWS      State government    Surface water

  PA      PENN STATE UNIV.          PA4140095   Active       CWS      State government    Groundwater

  PA      ROCKVIEW                  PA4140098   Active       CWS      State government    Surface water

  PA      STATE CORRECTIONAL        PA7210046   Active       CWS      State government    Surface water
          INST

  TX      PRAIRIE VIEW A&M          TX2370002   Active       CWS      State government    Ground water
          UNIVERSITY

  TX      TDCJ BETO UNIT            TX0010044   Active       CWS      State government    Ground water

  TX      TDCJ CHASE FIELD          TX0130002   Active       CWS      State government    Ground water

  TX      TDCJ COFFIELD MICHAEL     TX0010031   Active       CWS      State government    Ground water

  TX      TDCJ JESTER 1 UNIT        TX0790085   Active       CWS      State government    Ground water

  TX      TDCJ RAMSEY AREA          TX0200201   Active       CWS      State government    Ground water

  TX      TEXAS A&M UNIVERSITY      TX1160008   Active       CWS      State government    Surface water
          COMMERCE                                                                         purchased

  TX      TEXAS A&M UNIVERSITY      TX0210017   Active       CWS      State government    Groundwater
          MAIN CAMPUS

  TX      TEXAS STATE               TX1050003   Active       CWS      State government    Groundwater
          UNIVERSITY - SAN
          MARCOS

 WA       EASTERN WASHINGTON        WA5321900   Active       CWS      State government    Groundwater
          UNIVERSITY

 WA       WASHINGTON STATE          WA5393200   Active       CWS      State government    Groundwater
          UNIVERSITY

  WI      WAUPUN CORRECTIONAL       WI1140142   Active       CWS      State government    Ground water
          INST




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                                              EXHIBIT I
                             Systems Owned by the Federal Government
       Public Water Systems owned by the federal government and listed in SDWIS as having as sole
                              “Owner Type” the “Federal government.”


                                                    Note:
               Inclusion on this Exhibit does not necessarily indicate that the included entity
             lacks independent authority to sue and be sued. Whether an entity is an Eligible
              Claimant is determined by the relevant provisions of the Settlement Agreement,
                                 including Paragraphs 2.24 and Section 5.


Primacy            PWS Name              PWSID        PWS       PWS Type      Owner Type            Primary
Agency                                               Activity                                        Source

  AK       DENALI - MAIN / FRONT        AK2390594     Active    NTNCWS     Federal government     Surface water
           COUNTRY

  AK       EIELSON - AIR FORCE          AK2370625     Active      CWS      Federal government     Ground water
           BASE

  AK       JBER-ELMENDORF               AK2211423     Active      CWS      Federal government     Surface water
                                                                                                   purchased

  AL       US ARMY GARRISON-            AL0000899     Active      CWS      Federal government     Surface water
           REDSTONE ARSENAL

  AR       US AIR FORCE BASE            AR0000690     Active      CWS      Federal government     Surface water
           LITTLE ROCK                                                                             purchased

  AZ       GRAND CANYON                 AZ0403702     Active      CWS      Federal government     Groundwater
           NATIONAL PARK

  AZ       US ARMY FORT                 AZ0402078     Active      CWS      Federal government     Groundwater
           HUACHUCA

  AZ       USAF DAVIS MONTHAN           AZ0420549     Active      CWS      Federal government     Groundwater
           AFB

  AZ       USAF LUKE AIR FORCE          AZ0407305     Active      CWS      Federal government     Surface water
           BASE                                                                                    purchased

  AZ       USMC YUMA MAIN               AZ0414082     Active      CWS      Federal government     Surface water
           SYSTEM

  CA       BEALE AIR FORCE BASE         CA5810700     Active      CWS      Federal government     Groundwater

  CA       CAMP PENDLETON               CA3710700     Active      CWS      Federal government     Groundwater
           (NORTH)




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Primacy         PWS Name             PWSID       PWS        PWS Type     Owner Type           Primary
Agency                                          Activity                                       Source

  CA      CAMP PENDLETON           CA3710702    Active        CWS      Federal government   Groundwater
          (SOUTH)

  CA      CHINA LAKE NAVAL AIR     CA1510703    Active        CWS      Federal government   Groundwater
          WEAPONS STATION

  CA      EDWARDS AFB - MAIN       CA1510701    Active        CWS      Federal government   Surface water
          BASE                                                                               purchased

  CA      LEMOORE NAVAL AIR        CA1610700    Active        CWS      Federal government   Surface water
          STATION

  CA      NAS NORTH ISLAND &       CA3710750       Active     CWS      Federal government   Surface water
          NAB CORONADO                                                                       purchased

  CA      NASA AMES RESEARCH       CA4300997    Active        CWS      Federal government   Surface water
          CENTER                                                                             purchased

  CA      NAVAL BASE VENTURA       CA5610701       Active     CWS      Federal government   Surface water
          COUNTY, PORT HUENEME                                                               purchased

  CA      NPS GGNRA                CA2110350    Active        CWS      Federal government   Surface water
                                                                                             purchased

  CA      SIERRA ARMY DEPOT        CA1810700    Active      NTNCWS     Federal government   Groundwater

  CA      US ARMY FORT IRWIN       CA3610705    Active        CWS      Federal government   Groundwater

  CA      USMC - 29 PALMS          CA3610703    Active        CWS      Federal government   Groundwater

  CA      USMC YERMO ANNEX         CA3610702    Active      NTNCWS     Federal government   Groundwater

  CO      US AIR FORCE ACADEMY     CO0121845    Active        CWS      Federal government   Surface water
                                                                                             purchased

  CO      US DEPARTMENT OF THE     CO0221445       Active     CWS      Federal government   Surface water
          ARMY FORT CARSON                                                                   purchased

  DC      JOINT BASE ANACOSTIA -   DC0000004    Active        CWS      Federal government   Surface water
          BOLLING                                                                            purchased

  DC      NAVAL STATION            DC0000003    Active        CWS      Federal government   Surface water
          WASHINGTON - WNY                                                                   purchased

  FL      CAPE CANAVERAL AFS        FL3054140   Active      NTNCWS     Federal government   Surface water
          (CONSEC)                                                                           purchased

  FL      HURLBURT FIELD WATER      FL1460782   Active        CWS      Federal government   Ground water
          SYSTEM




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Primacy          PWS Name             PWSID       PWS        PWS Type      Owner Type          Primary
Agency                                           Activity                                       Source

  FL      JOHN F KENNEDY SPACE       FL3054024      Active   NTNCWS     Federal government   Surface water
          CENTER (CONSEC)                                                                     purchased

  FL      N.A.S. JACKSONVILLE        FL2161212   Active        CWS      Federal government   Groundwater

  FL      NAS PENSACOLA / CORRY      FL1170814   Active        CWS      Federal government   Groundwater
          STATION

  FL      PATRICK AIR FORCE          FL3054128      Active     CWS      Federal government   Surface water
          BASE(CONSEC)                                                                        purchased

  GA      USAF-MOODY AIR FORCE      GA1850125       Active     CWS      Federal government   Ground water
          BASE-MAIN

  GA      USA-FORT STEWART          GA1790024    Active        CWS      Federal government   Groundwater
          MAIN

  GA      USAF-ROBINS AB MAIN       GA1530042    Active        CWS      Federal government   Ground water

  GA      USA-HUNTER ARMY           GA0510107       Active     CWS      Federal government   Ground water
          AIRFIELD - MAIN

  GA      USMC-LOGISTICS            GA0950035    Active        CWS      Federal government   Ground water

  GA      USN-KINGS BAY             GA0390013       Active     CWS      Federal government   Ground water
          SUBMARINE BASE

  GU      ANDERSEN AIR FORCE        GU0000009       Active     CWS      Federal government   Ground water
          BASE WATER SYSTEM

  GU      U.S. NAVY WATER           GU0000010       Active     CWS      Federal government   Surface water
          SYSTEM

  HI      ALIAMANU                   HI0000337   Active        CWS      Federal government   Ground water
                                                                                              purchased

  HI      FORT SHAFTER               HI0000341   Active        CWS      Federal government   Ground water

  HI      HAWAII VOLCANOES           HI0000146      Active     CWS      Federal government   Ground water
          NAT.PARK

  HI      JOINT BASE PEARL           HI0000360   Active       CWS       Federal government   Groundwater
          HARBOR-HICKAM

  HI      MARINE CORPS BASE          HI0000356   Active       CWS       Federal government   Groundwater
          HAWAII                                                                              purchased

  HI      NCTAMS EASTPAC             HI0000357   Active        CWS      Federal government   Ground water

  HI      SCHOFIELD BARRACKS         HI0000345   Active        CWS      Federal government   Groundwater



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Primacy         PWS Name              PWSID       PWS        PWS Type     Owner Type           Primary
Agency                                           Activity                                       Source

  HI      TRIPLER ARMY MEDICAL       HI0000346      Active     CWS      Federal government   Ground water
          CNTR

  ID      MOUNTAIN HOME AIR          ID4200054      Active     CWS      Federal government   Ground water
          FORCE BASE

  IL      GREAT LAKES NAVAL          IL0975227      Active     CWS      Federal government   Surface water
          TRAINING STATION

  IL      ROCK ISLAND ARSENAL,       IL1615387      Active     CWS      Federal government   Surface water
          US ARMY

  IN      CAMP ATTERBURY             IN5241015   Active        CWS      Federal government   Groundwater
                                                                                              purchased

  IN      NAVAL SUPPORT              IN5251003   Active        CWS      Federal government   Surface water
          ACTIVITY, CRANE

  KS      MCCONNELL AFB              KS2017323   Active        CWS      Federal government   Surface water
                                                                                              purchased

  KY      MAMMOTH                   KY0310940       Active     CWS      Federal government   Surface water
          CAVE/CENTRAL SYSTEM                                                                 purchased

  LA      BARKSDALE AFB WATER        LA1015022   Active        CWS      Federal government   Surface water
          SYSTEM                                                                              purchased

 MA       HANSCOM AFB               MA3023002    Active        CWS      Federal government   Surface water
                                                                                              purchased

 MA       OTIS AIR NATIONAL         MA4096001    Active        CWS      Federal government   Groundwater
          GUARD BASE

 MD       A.P.G. - EDGEWOOD AREA    MD0120010       Active     CWS      Federal government   Surface water
                                                                                              purchased

 MD       FORT DETRICK              MD0100011       Active     CWS      Federal government   Surface water

 MD       NAVAL SUPPORT             MD0080058       Active     CWS      Federal government   Ground water
          FACILITY, INDIAN HEAD

 MD       PATUXENT NAVAL AIR        MD0180022    Active        CWS      Federal government   Groundwater
          STATION (NAVFAC-
          WASH)

 MD       U.S. NAVAL ACADEMY        MD0020042    Active        CWS      Federal government   Groundwater

 MO       WHITEMAN AIR BASE         MO1079501    Active        CWS      Federal government   Ground water




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Primacy         PWS Name              PWSID       PWS        PWS Type     Owner Type           Primary
Agency                                           Activity                                       Source

  MS      KEESLER AIR FORCE         MS0240049    Active        CWS      Federal government   Ground water
          BASE

  MS      NAVAL CONSTRUCTION        MS0240060    Active        CWS      Federal government   Ground water
          BATTAL CTR

  MS      STENNIS SPACE CENTER      MS0230015    Active        CWS      Federal government   Ground water

  MT      MALMSTROM AIR FORCE       MT0000515    Active        CWS      Federal government   Surface water
          BASE                                                                                purchased

  NC      MARINE CORPS AIR          NC0425035       Active     CWS      Federal government   Groundwater
          STATION CHERRY POINT

  NC      SEYMOUR JOHNSON AFB       NC0496055    Active        CWS      Federal government   Surface water
                                                                                              purchased

  NC      USMC LEJEUNE--HADNOT      NC0467041       Active     CWS      Federal government   Groundwater
          POINT

  NC      USMC LEJEUNE--            NC0467043       Active     CWS      Federal government   Groundwater
          HOLCOMB BLVD

  NC      USMC LEJEUNE--NEW         NC0467042       Active     CWS      Federal government   Groundwater
          RIVER AIR ST

  NH      ANDROSCOGGIN RANGER       NH0926010       Active   NTNCWS     Federal government   Groundwater
          STATION

  NH      USFS WMNF                 NH0346030       Active   NTNCWS     Federal government   Groundwater
          ADMINISTRATIVE CMPLX

  NH      USSF SPACE FORCE STN      NH1646020       Active   NTNCWS     Federal government   Groundwater
          SAT TRKNG

  NJ      DOT FAA ATL BLD 33 &       NJ0108352      Active   NTNCWS     Federal government   Groundwater
          BLD 208

  NJ      JBMDL - LAKEHURST          NJ1511010   Active        CWS      Federal government   Groundwater

  NJ      JBMDL - MCGUIRE AFB        NJ0326006   Active        CWS      Federal government   Groundwater

  NJ      JBMDL-DIX MAIN SYSTEM      NJ0325001      Active     CWS      Federal government   Surface water

  NJ      LAKEHURST NAVAL AIR        NJ1511303      Active   NTNCWS     Federal government   Groundwater
          ENGINEERING STATION

 NM       CANNON AIR FORCE BASE     NM3567905       Active     CWS      Federal government   Groundwater
          WATER SYSTEM




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Primacy          PWS Name            PWSID       PWS        PWS Type     Owner Type           Primary
Agency                                          Activity                                       Source

 NM       HOLLOMAN AIR FORCE       NM3562719       Active     CWS      Federal government   Ground water
          BASE

 NM       KIRTLAND AIR FORCE       NM3567701       Active     CWS      Federal government   Groundwater
          BASE

 NM       WHITE SANDS MISSILE      NM3568007       Active     CWS      Federal government   Ground water
          RANGE (MAIN POST)-FF

  NV      CREECH AIR FORCE BASE    NV0001081       Active   NTNCWS     Federal government   Ground water

  NV      NELLIS AIR FORCE BASE    NV0003028       Active     CWS      Federal government   Surface water
                                                                                             purchased

  NY      BROOKHAVEN NATIONAL      NY5111891       Active     CWS      Federal government   Ground water
          LABS

  NY      FORT DRUM                NY2212214    Active        CWS      Federal government   Surface water
                                                                                             purchased

  OK      ALTUS AFB                OK3003303    Active        CWS      Federal government   Surface water
                                                                                             purchased

  OK      TINKER AIR FORCE BASE    OK2005508    Active        CWS      Federal government   Groundwater

  PA      TOBYHANNA ARMY            PA2450053   Active        CWS      Federal government   Groundwater
          DEPOT

  PA      VA PITTSBURGH UD          PA5020955   Active      NTNCWS     Federal government   Surface water
                                                                                             purchased

  RI      NAVAL STATION,            RI1000016      Active     CWS      Federal government   Surface water
          NEWPORT                                                                            purchased

  SC      SHAW AFB (SC4310501)      SC4310501   Active        CWS      Federal government   Ground water

  SD      ELLSWORTH AFB             SD4680004      Active     CWS      Federal government   Surface water
                                                                                             purchased

  SD      NPS-MOUNT RUSHMORE        SD4680046   Active      NTNCWS     Federal government   Ground water
          NATIONAL MEMORIAL

  TN      FORT CAMPBELL WATER       TN0000820   Active        CWS      Federal government   Surface water
          SYSTEM

  TN      NSA - MIDSOUTH            TN0000468   Active        CWS      Federal government   Ground water

  TN      OAK RIDGE NATIONAL        TN0001060      Active   NTNCWS     Federal government   Surface water
          LAB X-10                                                                           purchased




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Primacy          PWS Name            PWSID       PWS        PWS Type     Owner Type           Primary
Agency                                          Activity                                       Source

  TX      DYESS AIR FORCE BASE      TX2210013      Active     CWS      Federal government   Surface water
                                                                                             purchased

  TX      FEDERAL CORRECTIONAL      TX1230092   Active        CWS      Federal government   Surface water
          COMPLEX-BEAUMONT                                                                   purchased

  TX      GOODFELLOW AIR FORCE      TX2260027   Active        CWS      Federal government   Surface water
          BASE                                                                               purchased

  TX      LAUGHLIN AIR FORCE        TX2330006   Active        CWS      Federal government   Surface water
          BASE                                                                               purchased

  TX      NASA JOHNSON SPACE        TX1010250      Active   NTNCWS     Federal government   Surface water
          CENTER                                                                             purchased

  TX      NAVAL AIR STN JOINT       TX2200332   Active        CWS      Federal government   Surface water
          RESERVE BASE                                                                       purchased

  TX      SHEPPARD AIR FORCE        TX2430007   Active        CWS      Federal government   Surface water
          BASE                                                                               purchased

  UT      ZION CANYON WATER        UTAH27051       Active     CWS      Federal government   Ground water
          SYSTEM

  VA      LITTLE CREEK             VA3810340       Active     CWS      Federal government   Surface water
          AMPHIBIOUS BASE - U.S.                                                             purchased
          NAVY

  VA      N A S OCEANA             VA3810430       Active     CWS      Federal government   Surface water
                                                                                             purchased

  VA      NAVAL STATION            VA3710050       Active     CWS      Federal government   Surface water
          NORFOLK                                                                            purchased

  VA      NAVAL SUPPORT            VA6099340       Active     CWS      Federal government   Ground water
          FACILITY, DAHLGREN

  VA      NORFOLK NAVAL            VA3740500       Active     CWS      Federal government   Surface water
          SHIPYARD                                                                           purchased

  VA      NSA HAMPTON ROADS,       VA3740650       Active     CWS      Federal government   Surface water
          PORTSMOUTH ANNEX                                                                   purchased

  VA      QUANTICO MARINE BASE-    VA6153675       Active     CWS      Federal government   Surface water
          MAINSIDE

  VA      QUANTICO MCB-CAMP        VA6153060       Active     CWS      Federal government   Surface water
          BARRETT                                                                            purchased

 WA       ENERGY DEPT OF/200W      WA5300100       Active   NTNCWS     Federal government   Surface water



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Primacy         PWS Name             PWSID       PWS        PWS Type     Owner Type           Primary
Agency                                          Activity                                       Source

 WA       FAIRCHILD AIR FORCE      WA5324350       Active     CWS      Federal government   Ground water
          BASE

 WA       LONGMIRE                 WA53NP580       Active   NTNCWS     Federal government   Surface water

 WA       NAVAL AIR                WA5303420       Active     CWS      Federal government   Surface water
          STATION/WHIDBEY                                                                    purchased
          ISLAND

 WA       NAVAL BASE KITSAP AT     WA5302714       Active     CWS      Federal government   Groundwater
          BANGOR

 WA       NAVAL BASE KITSAP AT     WA5303468       Active     CWS      Federal government   Surface water
          BREMERTON                                                                          purchased

  WI      FORT MCCOY NORTH          WI6420302      Active     CWS      Federal government   Groundwater
          POST

 WV       FBI CENTER               WV9917026       Active   NTNCWS     Federal government   Surface water
          CLARKSBURG                                                                         purchased

 WY       GTNP-COLTER BAY          WY5680095       Active     CWS      Federal government   Ground water
          VILLAGE

 WY       USAF F.E. WARREN AFB     WY5680122    Active        CWS      Federal government   Surface water
                                                                                             purchased

 WY       YNP-CANYON VILLAGE       WY5680074    Active      NTNCWS     Federal government   Surface water

 WY       YNP-OLD FAITHFUL         WY5680085       Active     CWS      Federal government   Surface water




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                                           EXHIBIT J
                     Systems that Settled PFAS-Related Claims Against 3M
     The list of Public Water Systems that have settled their PFAS-related Claims against 3M

1.   City of Bemidji (Minnesota)
2.   City of Guin Water and Sewer Board (Alabama)
3.   City of Lake Elmo (Minnesota)
4.   City of Rome (Georgia) (Final Agreement in Process)
5.   Cooper Township (Michigan)
6.   Gadsden Water Works & Sewer Board (Alabama)
7.   Plainfield Charter Township (Michigan)
8.   West Morgan-East Lawrence Water and Sewer Authority (Alabama)
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                                                          EXHIBIT K
                                                        Payment Schedule


This Payment Schedule should be read in conjunction with the Settlement Agreement, including its other Exhibits, which explains the
terms, conditions, and, where necessary, underlying calculations for payments described herein. All capitalized terms not otherwise
defined herein shall have the meanings set forth in the Settlement Agreement.
The following Table presents payment amounts for Phase One Qualifying Class Members and for the Phase Two Testing Fund, as
well as for other payments for the Phase Two Qualifying Class Members if either the Phase Two Floor or the Phase Two Cap is
applied. If neither the Phase Two Floor nor the Phase Two Cap is applied, each Phase Two payment reflecting infrastructure costs or
operations and maintenance (“O&M”) costs would fall between the figures in the same row in the two right-most columns of the
Table.




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                                                     Amount with Phase Two Floor        Amount with Phase Two Cap
Earliest Possible            Purpose                    (before adjusting for              (before adjusting for
 Payment Date                                            Stuart and Rome)                   Stuart and Rome)
July 1, 2024      50% of Phase Two Testing Fund                           52,500,000                       52,500,000
                  67% of Phase One infrastructure                      2,763,750,000                    2,763,750,000
April 15, 2025    50% of Phase Two Testing Fund                           52,500,000                       52,500,000
                  33% of Phase One infrastructure                      1,361,250,000                    1,361,250,000
                  14% of Phase One O&M                                   385,000,000                      385,000,000
April 15, 2026    16% of Phase One O&M                                   440,000,000                      440,000,000
April 15, 2027    12% of Phase One O&M                                   330,000,000                      330,000,000
                  70% of Phase Two infrastructure                      1,478,400,000                    2,318,400,000
April 15, 2028    14% of Phase One O&M                                   385,000,000                      385,000,000
                  30% of Phase Two infrastructure                        633,600,000                      993,600,000
                  12% of Phase Two O&M                                   168,960,000                      264,960,000
April 15, 2029    12.5% of Phase One O&M                                 343,750,000                      343,750,000
                  13% of Phase Two O&M                                   183,040,000                      287,040,000
April 15, 2030    8.5% of Phase One O&M                                  233,750,000                      233,750,000
                  15% of Phase Two O&M                                   211,200,000                      331,200,000
April 15, 2031    8.5% of Phase One O&M                                  233,750,000                      233,750,000
                  15% of Phase Two O&M                                   211,200,000                      331,200,000
April 15, 2032    7.5% of Phase One O&M                                  206,250,000                      206,250,000
                  13% of Phase Two O&M                                   183,040,000                      287,040,000
April 15, 2033    7% of Phase One O&M                                    192,500,000                      192,500,000
                  8% of Phase Two O&M                                    112,640,000                      176,640,000
April 15, 2034    8% of Phase Two O&M                                    112,640,000                      176,640,000
April 15, 2035    8% of Phase Two O&M                                    112,640,000                      176,640,000
April 15, 2036    8% of Phase Two O&M                                    112,640,000                      176,640,000
TOTAL             100% of Phases One and Two                        $ 10,500,000,000                 $ 12,500,000,000


Payment Dates


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   •   Each date in the Table reflects the earliest possible payment date for each payment from 3M, subject to the following
       constraints.
   •   No payment from 3M under the Settlement Agreement is due before sixty (60) calendar days after the Effective Date, except
       for a payment or payments of up to $5,000,000 to cover costs incurred by the Notice Administrator and costs of executing the
       Notice Plan, which shall be made within twenty-one (21) calendar days after Preliminary Approval, which amount is separate
       from and not included within the $10,500,000,000 floor or the $12,500,000,000 cap.
   •   3M may pay any payment that is due in 2025 or thereafter up to ninety (90) calendar days after its due date, so long as 3M
       adds interest to the payment, calculated at the Wall Street Journal Prime Rate plus eight percent (8%) for the period from the
       due date to the date the payment is made. However, it is agreed that only two (2) of these twelve (12) annual payments may be
       delayed. In the event that 3M intends to make a delayed payment, 3M shall give Class Counsel written notice of this intent by
       certified mail and email at least thirty (30) days before the payment is due. If 3M elects to delay a payment under this
       provision, it shall provide a solvency certificate to Class Counsel (which may be satisfied by a solvency opinion by a
       nationally recognized valuation firm) at the time of such notice. The solvency certificate shall include (or if need be, have
       appended to it) representations by 3M that the failure to timely make the payment will not negatively impact the solvency of
       3M, that 3M does not intend to declare bankruptcy prior to making the payment, and that 3M will remain solvent after making
       the payment. If 3M does not provide the thirty (30) days’ notice and the solvency certificate in conjunction with such notice, it
       shall pay a liquidated penalty of $10 million to the Qualified Settlement Fund at the time 3M makes the delayed payment.

Maximum Total Payment
  • Other than interest for any payment made up to ninety (90) days after its due date, and up to $5,000,000 to cover costs incurred
     by the Notice Administrator and costs of executing the Notice Plan, 3M shall not pay pursuant to this Settlement Agreement
     more than $12,500,000,000; or, if the Phase Two Floor is applied, more than $10,500,000,000; or if neither the Phase Two
     Floor nor the Phase Two Cap is applied, an amount between $10,500,000,000 and $12,500,000,000 calculated as described in
     Section 6 of the Settlement Agreement and this Payment Schedule.
  • Included within 3M’s total payment amount of $10,500,000,000 to $12,500,000,000 are all costs incurred by the Special
     Master, the Claims Administrator, the Escrow Agent, and their agents; the Common-Benefit Holdback Assessments, whether
     for attorneys’ fees, costs, or otherwise; all attorneys’ fees, costs, and expenses; the full amount of 3M’s settlement with the
     City of Stuart, Florida; and the full amount of 3M’s credit for the amount that the Public Water System for the City of Rome,
     Georgia, would have received as a Phase One Qualifying Class Member under the Allocation Procedures described in Exhibit
     Q.




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Calculation of Phase Two Payments
   • Phase Two payments will be subject to a Phase Two Floor of $3,625,000,000 and a Phase Two Cap of $5,625,000,000, as
      shown in the Table.
   • The Claims Administrator, subject to the Special Master’s review, will calculate the amount that each Phase Two Qualifying
      Class Member would have received if it had been a Phase One Qualifying Class Member. If, as a result of those calculations,
      total Phase Two-related payments (including for the Phase Two Testing Fund) would be—
          o $3,625,000,000 or less, the Phase Two Floor of $3,625,000,000 will apply;
          o $5,625,000,000 or more, the Phase Two Cap of $5,625,000,000 will apply; and
          o between $3,625,000,000 and $5,625,000,000, that exact amount, rather than the Phase Two Floor or the Phase Two
              Cap, will apply, and each Phase Two infrastructure and Phase Two O&M amount designated in the Table would be
              proportionately adjusted to reflect that exact amount.
   • If either the Phase Two Floor or the Phase Two Cap is applied, the Claims Administrator, with the Special Master’s approval,
      may shift from Phase One to Phase Two, or from Phase Two to Phase One, portions of the amounts designated in the Table as
      payments in 2029 or later, if necessary to promote equity between Phase One Qualifying Class Members and Phase Two
      Qualifying Class Members. Any such shift shall not alter the size or timing of any payment that 3M owes under this
      Settlement Agreement.

Use of Funds by Class Members
   • Funds designated in the Table for the Phase Two Testing Fund may be used before January 1, 2026, solely for monitoring
       and/or testing water for PFAS. Any funds remaining in the Phase Two Testing Fund on July 1, 2026, will be transferred to the
       Phase Two Action Fund and then can be used for purposes other than monitoring and testing water.
   • Sixty percent (60%) of the payments designated for Phase One and of the payments designated for Phase Two (other than for
       testing) are designated in the Table for infrastructure costs; the remaining forty percent (40%) are designated in the Table for
       “O&M,” or operations and maintenance costs.
   • Payments designated in the Table for infrastructure reflect expected infrastructure costs but are not restricted to infrastructure.
   • Payments designated in the Table for O&M reflect expected operations and maintenance costs but are not restricted to
       operations and maintenance.
   • Payments designated in the Table for “infrastructure” or “O&M” will be made to Qualifying Class Members from the Phase
       One and Phase Two Action, Supplemental, and/or Special Needs Funds, consistent with the Settlement Agreement and its
       Allocation Procedures.




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Attorneys’ Fees and Costs
   •   Class Counsel and 3M’s Counsel will cooperate to ensure that attorneys’ fees and costs related to Phase One shall be fully paid
       from the payments designated in the Table as “Phase One infrastructure” and that attorneys’ fees and costs related to Phase
       Two shall be fully paid from the payments designated in the Table as “Phase Two infrastructure.”
Trial-Related Payments
   •   The City of Stuart, Florida, and 3M will enter into a separate settlement agreement for a previously agreed-to sum (the “Stuart
       settlement amount”). However, the City of Stuart, being a putative Class Member, will remain in the Settlement Class and be
       allocated its share of the Settlement Funds.
   •   The following terms will be included in the City of Stuart’s settlement agreement:
           o 3M will pay the City of Stuart 52.632% of the Stuart settlement amount within 30 days after executing the settlement
               agreement with the City, which is contemplated to be executed no later than June 26, 2023; and
           o 3M will pay the City of Stuart 47.368% of the Stuart settlement amount by July 1, 2024.
   •   3M shall receive credits totaling the same amount as the Stuart settlement amount for the Stuart settlement against amounts
       due under the Settlement Agreement as follows:
           o The total amount designated in the Table for Phase One infrastructure costs and Phase One O&M costs shall be
               reduced by the amount that the Public Water System for the City of Stuart would have received as a Phase One
               Qualifying Class Member.
           o The total amount designated in the Table for Phase Two infrastructure costs and Phase Two O&M costs shall be
               reduced by an amount equal to the difference between the Stuart settlement amount and the amount described in the
               previous sentence.
   •   The precise timing of the credits described above shall be determined by Class Counsel, so long as they exercise their
       discretion to make that determination in good faith and consistent with the way payments are allocated to Phase One
       Qualifying Class Members.
   •   The City of Rome, Georgia, and 3M are entering into a separate settlement agreement. The City of Rome will not be a Class
       Member.
   •   3M shall receive a credit against amounts due under the Settlement Agreement for a portion of the Rome settlement amount.
       The total amount designated in the Table for Phase One infrastructure costs and Phase One O&M costs shall be reduced by the
       amount that the Public Water System for the City of Rome would have received as a Phase One Qualifying Class Member.


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o The precise timing of the credit shall be determined by 3M, so long as it exercises its discretion to make that
  determination in good faith and consistent with the way payments are allocated to Phase One Qualifying Class
  Members.
o 3M’s settlement with the City of Rome shall not affect the amounts designated in the Table for Phase Two costs.




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                                           EXHIBIT L
                                      Bellwether Plaintiffs
The list of Eligible Claimants that have served as one of the ten Public Water System Bellwether
                                   Plaintiffs in the MDL Cases

1.  Bakman Water Company
2.  City of Stuart
3.  Emerald Coast Utilities Authority
4.  Hampton Bays Water District
5.  Town of Ayer
6. Town of Maysville
7.  Warminster Township Municipal Authority
8.  Warrington Township
9.  City of Dayton
10. City of Sioux Falls
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                                     EXHIBIT M
                 SUMMARY NOTICE OF PROPOSED CLASS ACTION SETTLEMENT
                           AND COURT-APPROVAL HEARING

           In re: Aqueous Film-Forming Foams Products Liability Litigation, MDL No. 2:18-mn-02873
           This Document relates to: City of Camden, et al., v. 3M Company, No. 2:23-cv-XXXX-RMG

         UNITED STATES DISTRICT COURT, DISTRICT OF SOUTH CAROLINA, CHARLESTON DIVISION

TO THE SETTLEMENT CLASS: All Active Public Water Systems in the United States of America that have
one or more Impacted Water Sources as of DATE; and all Active Public Water Systems that do not have one or
more Impacted Water Sources as of DATE and
       (i) are required to test for certain PFAS under U.S. EPA’s UCMR-5, or
       (ii) serve more than 3,300 people, according to U.S. EPA’s SDWIS data system.

All capitalized terms not otherwise defined herein shall have the meanings set forth in the Settlement Agreement,
available for review at www.PFASWaterSettlement.com.

Active Public Water System means a Public Water System whose activity-status field in SDWIS states that the
system is “Active.”

Impacted Water Source means a Water Source that has a Qualifying Test Result showing a Measurable
Concentration of PFAS.

As used above, Public Water System means a system for the provision to the public of water for human
consumption through pipes or other constructed conveyances, if such system has at least fifteen (15) service
connections or regularly serves an average of at least twenty-five (25) individuals daily at least sixty (60) days
out of the year, consistent with the use of that term in the Safe Drinking Water Act, 42 U.S.C. § 300f(4)(A), and
40 C.F.R. Part 141.

Public Water System includes (i) any collection, treatment, storage, and distribution facilities under control of
the operator of such system and used primarily in connection with such system, and (ii) any collection or
pretreatment storage facilities not under such control which are used primarily in connection with such system.
Solely for purposes of the Settlement Agreement, the term “Public Water System” refers to a Community Water
System of any size or a Non-Transient Non-Community Water System that serves more than 3,300 people,
according to SDWIS; or any Person (but not any financing or lending institution) that has legal authority or
responsibility (by statute, regulation, other law, or contract) to fund or incur financial obligations for the design,
engineering, installation, operation, or maintenance of any facility or equipment that treats, filters, remediates, or
manages water that has entered or may enter Drinking Water or any Public Water System; but does not refer to a
Non-Transient Non-Community Water System that serves 3,300 or fewer people, according to SDWIS, or to a
Transient Non-Community Water System of any size. It is the intention of the Settlement Agreement that the
definition of “Public Water System” be as broad, expansive, and inclusive as possible.

What Is the Purpose of this Notice? The purpose of this Notice is (i) to advise you of a proposed settlement of
certain Claims against 3M Company (“3M” or “Defendant”) in the United States District Court for the District of
South Carolina (the “Court”); (ii) to summarize your rights in connection with the Settlement; and (iii) to inform
you of a Court hearing to consider whether to grant final approval of the Settlement (the “Final Fairness Hearing”),
to be held on DATE at TIME, before the Honorable Richard M. Gergel, United States District Judge of the United
States District Court for the District of South Carolina, located at 85 Broad Street, Charleston, South Carolina
29401.

What Are the Key Terms of the Proposed Settlement? 3M has agreed to pay an amount not less than

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$10,500,000,000 and not more than $12,500,000,000, inclusive (the “Settlement Amount”), subject to final
approval of the Settlement by the Court and certain other conditions specified in the Settlement Agreement.
3M shall additionally pay up to $5,000,000 to cover costs incurred by the Notice Administrator in the course of
executing the Notice Plan. Together, these payments constitute the “Settlement Funds.” In no event shall 3M be
required under the Settlement Agreement to pay any amounts above the Settlement Funds. Any fees, costs, or
expenses payable under the Settlement Agreement shall be paid out of, and shall not be in addition to, the
Settlement Funds. Each Settlement Class Member that has not excluded itself from the Class will be eligible to
receive a settlement check(s) from the Claims Administrator based on the Allocation Procedures developed by
Class Counsel, which are subject to final approval by the Court as fair and reasonable and whose administration
is under the oversight of the Special Master.

What Are My Options?

       YOU CAN PARTICIPATE IN THE SETTLEMENT. You must file a Claims Form to be eligible to
       receive a payment under the Settlement.         You can submit your Claims Form online at
       www.PFASWaterSettlement.com, or you can download, complete, and mail your Claims Form to the
       Claims Administrator at AFFF Public Water System Claims, P.O. Box 4466, Baton Rouge, Louisiana
       70821. The deadline to submit a Claims Form is DEADLINE DATE.

       Regardless of whether you file a Claims Form or receive any distribution under the Settlement, unless
       you timely opt out as described below, you will be bound by the Settlement and any judgment or other
       final disposition related to the Settlement, including the Release set forth in the Settlement Agreement,
       and will be precluded from pursuing claims against 3M separately if those Claims are within the scope
       of the Release.

       YOU CAN OPT OUT OF THE SETTLEMENT. If you do not wish to be a Settlement Class Member
       and do not want to participate in the Settlement and receive a settlement check, you may exclude yourself
       from the Class by completing and mailing a notice of intention to opt out. Any Person within the
       Settlement Class that wishes to opt out of the Settlement Class and Settlement must serve a written and
       signed statement entitled “Request for Exclusion” on the Notice Administrator, the Special Master, the
       Claims Administrator, 3M’s Counsel, and Class Counsel no later than DEADLINE DATE.

       YOU CAN OBJECT TO THE SETTLEMENT. Any Settlement Class Member that has not successfully
       excluded itself (“opted out”) may object to the Settlement. Any Settlement Class Member that wishes to
       object to the Settlement or to an award of fees or expenses to Class Counsel must file a written and signed
       statement designated “Objection” with the Clerk of the Court and provide service on 3M’s Counsel and
       Class Counsel no later than DEADLINE DATE.

           VISIT WWW.PFASWATERSETTLEMENT.COM FOR COMPLETE INFORMATION
                                ABOUT YOUR RIGHTS

The Court’s Final Fairness Hearing. The Court will hold the Final Fairness Hearing in Courtroom XX of
the United States District Court for the District of South Carolina, located at 85 Broad Street, Charleston,
South Carolina 29401, on DATE. At that time, the Court will determine, among other things, (i) whether
the Settlement should be granted final approval as fair, reasonable, and adequate, (ii) whether the Litigation
should be dismissed with prejudice pursuant to the terms of the Settlement Agreement, (iii) whether the
Settlement Class should be conclusively certified, (iv) whether Settlement Class Members should be bound
by the Release set forth in the Settlement Agreement, (v) the amount of attorneys’ fees and costs to be
awarded to Class Counsel, if any, and (vi) the amount of the award to be made to the Class Representatives
for their services, if any. The Final Fairness Hearing may be postponed, adjourned, or continued by Order
of the Court without further notice to the Class.

How Do I Get More Information? Please visit www.PFASWaterSettlement.com or call toll free 1-XXX-

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XXX-XXXX. You may also contact Class Counsel or the Notice Administrator for more information:

                             Class Counsel                              Class Counsel
                               Scott Summy                         Michael A. London
                          Baron & Budd, P.C.                       Douglas & London
                     3102 Oak Lawn Ave., Ste. 1100               59 Maiden Lane, 6th Fl.
                             Dallas, TX 75219                     New York, NY 10038
                     Email: ssummy@baronbudd.com         Email: mlondon@douglasandlondon.com
                              Paul J. Napoli                       Elizabeth A. Fegan
                             Napoli Shkolnik                        Fegan Scott LLC
                       1302 Avenida Ponce de Leon           150 S. Wacker Drive, 24th Floor
                           San Juan, PR 00907                      Chicago, IL 60606
                      Email: pnapoli@NSPRlaw.com                  beth@feganscott.com


                            Notice Administrator                     Claims Administrator
                         In re: Aqueous Film-Forming             AFFF Public Water System Claims
                       Foams Products Liability Litigation                PO Box 4466
                          c/o 3M Notice Administrator                Baton Rouge, LA 70821
                          1650 Arch Street, Suite 2210
                             Philadelphia, PA 19103
                                 Email: XXXXX




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                                                                            Amended by Agreement (07/02/2023)


                                                   AMENDED EXHIBIT N
                                              Potential Eligible Claimant Plaintiffs


                                                           Note:
                         Inclusion on this Exhibit does not necessarily make an entity an Eligible
                     Claimant. Whether an entity is an Eligible Claimant is determined by the relevant
                     provisions of the Settlement Agreement, including Paragraph 2.24 and Section 5.


                                                                                                                  Date of
                                                  Plaintiff
                 Plaintiff Name                               Case Number               Jurisdiction             First Case
                                                   State
                                                                                                                    Filed
Town of Barnstable                                  MA         18-cv-3432   AFFF MDL (D.S.C.)                    11/21/2016
Water Works and Sewer Board of the Town of          AL        13-cv-2017-   Circuit Court of Cherokee County,    5/15/2017
Centre                                                         900049.00    Alabama
Suffolk County Water Authority                      NY        18-cv-3337    AFFF MDL (D.S.C.)                    11/30/2017
City of Westfield                                   MA         18-cv-3435   AFFF MDL (D.S.C.)                    2/14/2018
Hampton Bays Water District                         NY         18-cv-3339   AFFF MDL (D.S.C.)                    2/21/2018
Emerald Coast Utilities Authority                   FL         18-cv-3488   AFFF MDL (D.S.C.)                    6/22/2018
City of Newburgh                                    NY         18-cv-3358   AFFF MDL (D.S.C.)                     8/6/2018
                                                               19-cv-2219
City of Dayton                                      OH         18-cv-3496   AFFF MDL (D.S.C.)                    10/3/2018
County of Dutchess, NY / Dutchess County            NY        18-cv-3525    AFFF MDL (D.S.C.)                    10/12/2018
Water and Wastewater Authority                                23-cv-01587
                                                              23-cv-01588
                                                              23-cv-01677
                                                              23-cv-01678
                                                              23-cv-01679
                                                              23-cv-01680
                                                              23-cv-01681
                                                              23-cv-01682
                                                              2023-51764    Dutchess County Supreme Court, New
                                                                            York
City of Stuart, FL                                  FL         18-cv-3487   AFFF MDL (D.S.C.)                    10/18/2018
City of Tucson                                      AZ         19-cv-0087   AFFF MDL (D.S.C.)                    11/8/2018
New Jersey-American Water Company                    NJ       18-cv-03489   AFFF MDL (D.S.C.)                    11/8/2018
Town of Marana                                      AZ         19-cv-0087   AFFF MDL (D.S.C.)                    11/8/2018
Village of Farmingdale                              NY         19-cv-0564   AFFF MDL (D.S.C.)                    12/19/2018
Ridgewood Water                                      NJ        19cv2198     AFFF MDL (D.S.C.)                    2/25/2019
Town of Vienna, MD                                  MD         19-cv-1179   AFFF MDL (D.S.C.)                    3/30/2019
Atlantic City Municipal Utilities Authority          NJ        19-cv-1223   AFFF MDL (D.S.C.)                    4/10/2019
New York American Water Company                     NY        19-cv-01326   AFFF MDL (D.S.C.)                    4/11/2019
California-American Water Company                   CA         19-cv-1784   AFFF MDL (D.S.C.)                    6/21/2019
City of Sioux Falls                                 SD        19-cv-01806   AFFF MDL (D.S.C.)                    6/26/2019
Carle Place Water District                          NY         19-cv-4611   USDC Eastern District of New York     8/9/2019




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                                                                                                                Date of
                                                Plaintiff
                Plaintiff Name                              Case Number               Jurisdiction            First Case
                                                 State
                                                                                                                 Filed
Incorporated Village of Garden City               NY         19-cv-4612   USDC Eastern District of New York    8/9/2019
Incorporated Village of Mineola                   NY        19-cv-04610   USDC Eastern District of New York    8/9/2019
Port Washington Water District                    NY        19-cv-04609   USDC Eastern District of New York    8/9/2019
Rosyln Water District                             NY        19-cv-04613   USDC Eastern District of New York    8/9/2019
Water Authority of Western Nassau County          NY        19-cv-04608   USDC Eastern District of New York    8/9/2019
Horsham Water and Sewer Authority                 PA        19-cv-02474   AFFF MDL (D.S.C.)                   8/30/2019
Warminster Township Municipal Authority           PA        19-cv-02472   AFFF MDL (D.S.C.)                   8/30/2019
Warrington Township                               PA        19-cv-02473   AFFF MDL (D.S.C.)                   8/30/2019
Bakman Water Company                              CA        19-cv-02784   AFFF MDL (D.S.C.)                   9/30/2019
California Water Service Company                  CA        19-cv-02906   AFFF MDL (D.S.C.)                   10/14/2019
Pikes Peak Community Foundation                   CO         19-cv-2187   AFFF MDL (D.S.C.)                   10/21/2019
Security Water District                           CO         19-cv-2187   AFFF MDL (D.S.C.)                   10/21/2019
Town of Ayer                                      MA         19-cv-3120   AFFF MDL (D.S.C.)                   11/4/2019
Garden City Park Fire and Water District          NY        19-cv-06615   USDC Eastern District of New York   11/22/2019
Water Authority of Great Neck North               NY        19-cv-06613   USDC Eastern District of New York   11/22/2019
Town of Grantsville                               MD        20-cv-00036   AFFF MDL (D.S.C.)                   11/26/2019
Town of Mountain Lake Park                        MD        20-cv-00037   AFFF MDL (D.S.C.)                   11/26/2019
Town of Maysville                                 NC        19-cv-03434   AFFF MDL (D.S.C.)                   12/10/2019
South Adams County Water and Sanitation           CO        19-cv-03559   AFFF MDL (D.S.C.)                   12/20/2019
District
City of Lauderhill                                FL        20-cv-00772   AFFF MDL (D.S.C.)                   2/19/2020
City of Millington                                TN        20-cv-01034   AFFF MDL (D.S.C.)                   2/25/2020
Weirton Area Water Board                          WV        21-cv-00793   AFFF MDL (D.S.C.)                   4/25/2020
City of Airway Heights                            WA        20-cv-01763   AFFF MDL (D.S.C.)                    5/5/2020
Coraopolis Water and Sewer Authority              PA        20-cv-02384   AFFF MDL (D.S.C.)                    5/8/2020
City of Morganfield, Kentucky                     KY        20-cv-01840   AFFF MDL (D.S.C.)                   5/12/2020
City of Sturgis, Kentucky                         KY        20-cv-01842   AFFF MDL (D.S.C.)                   5/12/2020
Illinois-American Water Company                    IL       20-cv-01837   AFFF MDL (D.S.C.)                   5/12/2020
Indiana-American Water Company                     IN       20-cv-01838   AFFF MDL (D.S.C.)                   5/12/2020
Tennessee-American Water Company                  TN        20-cv-01839   AFFF MDL (D.S.C.)                   5/12/2020
Tampa Bay Water                                   FL        20-cv-01867   AFFF MDL (D.S.C.)                   5/14/2020
City of Tampa, Florida                            FL        20-cv-01889   AFFF MDL (D.S.C.)                   5/15/2020
Lakewood Water District                           WA         20-cv-2899   AFFF MDL (D.S.C.)                   7/16/2020
City of Zephyrhills                               FL        20-cv-02933   AFFF MDL (D.S.C.)                   8/13/2020
Cortaro-Marana Irrigation District / The          AZ        20-cv-03117   AFFF MDL (D.S.C.)                   8/31/2020
Cortaro Water User’s Association
Hicksville Water District                         NY        21-cv-00232   AFFF MDL (D.S.C.)                   10/16/2020
City of Ocala                                     FL        21-cv-00130   AFFF MDL (D.S.C.)                   10/20/2020
Pennsylvania-American Water Company               PA         21-cv-0588   AFFF MDL (D.S.C.)                   10/21/2020
Santa Clarita Valley Water Agency                 CA        20-cv-03771   AFFF MDL (D.S.C.)                   10/27/2020



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Manhasset-Lakeville Water District                 NY        20-cv-05749   USDC Eastern District of New York     11/25/2020
Town of Hempstead                                  NY        20-cv-05785   USDC Eastern District of New York     11/30/2020
City of Anaheim                                    CA        22-cv-01798   AFFF MDL (D.S.C.)                     12/1/2020
City of Corona / Corona Utility Authority          CA        23-cv-00208   USDC Central District of California   12/1/2020
City of Fullerton                                  CA        22-cv-01798   AFFF MDL (D.S.C.)                     12/1/2020
City of Garden Grove                               CA        22-cv-01798   AFFF MDL (D.S.C.)                     12/1/2020
City of Orange                                     CA        22-cv-01798   AFFF MDL (D.S.C.)                     12/1/2020
City of Santa Ana                                  CA        22-cv-01798   AFFF MDL (D.S.C.)                     12/1/2020
City of Tustin                                     CA        22-cv-01798   AFFF MDL (D.S.C.)                     12/1/2020
East Orange County Water District                  CA        22-cv-01798   AFFF MDL (D.S.C.)                     12/1/2020
Irvine Ranch Water District                        CA        22-cv-01798   AFFF MDL (D.S.C.)                     12/1/2020
Orange County Water District                       CA        22-cv-01798   AFFF MDL (D.S.C.)                     12/1/2020
Serrano Water District                             CA        22-cv-01798   AFFF MDL (D.S.C.)                     12/1/2020
Yorba Linda Water District                         CA        22-cv-01798   AFFF MDL (D.S.C.)                     12/1/2020
Barnstable Fire District                           MA        20-cv-04190   AFFF MDL (D.S.C.)                     12/3/2020
Miami-Dade County, Florida                         FL        20-cv-04194   AFFF MDL (D.S.C.)                     12/3/2020
Town of Cairo                                      NY        20-cv-04237   AFFF MDL (D.S.C.)                     12/7/2020
Paducah Water of City of Paducah, Kentucky         KY        20-cv-04364   AFFF MDL (D.S.C.)                     12/16/2020
Incorporated Village of Sands Point                NY        20-cv-06142   USDC Eastern District of New York     12/18/2020
City of Downey                                     CA        21-cv-00848   AFFF MDL (D.S.C.)                     1/27/2021
Borough of Point Pleasant, NJ                       NJ       21-cv-00357   AFFF MDL (D.S.C.)                      2/4/2021
City of Tacoma                                     WA        21-cv-00351   AFFF MDL (D.S.C.)                      2/4/2021
City of Tempe                                      AZ        21-cv-00511   AFFF MDL (D.S.C.)                     2/18/2021
Golden State Water Company                         CA        21-cv-00534   AFFF MDL (D.S.C.)                     2/19/2021
Town of Riverhead                                  NY        21-cv-01034   USDC Eastern District of New York     2/25/2021
Town of Bellingham                                 MA         21-cv-0582   AFFF MDL (D.S.C.)                     2/26/2021
City of La Crosse                                  WI        21-cv-01361   AFFF MDL (D.S.C.)                      3/4/2021
Suburban Water Systems                             CA        21-cv-00733   AFFF MDL (D.S.C.)                     3/12/2021
Aqua Virginia, Inc.                                VA        21-cv-00745   AFFF MDL (D.S.C.)                     3/16/2021
Aqua Ohio, Inc.                                    OH        21-cv-01269   AFFF MDL (D.S.C.)                     3/17/2021
Aqua New Jersey, Inc.                               NJ       21-cv-01265   AFFF MDL (D.S.C.)                     3/18/2021
City of Wilmington                                 OH         21-cv-0792   AFFF MDL (D.S.C.)                     3/19/2021
Town of Danvers                                    MA        21-cv-00851   AFFF MDL (D.S.C.)                     3/24/2021
Aqua Pennsylvania, Inc.                            PA         21-cv-1667   AFFF MDL (D.S.C.)                     3/26/2021
Stratmoor Hills Water District                     CO        21-cv-01057   AFFF MDL (D.S.C.)                      4/9/2021
Aqua North Carolina, Inc.                          NC         21-cv-2142   AFFF MDL (D.S.C.)                     4/13/2021
City of Watertown                                  SD         21-cv-1104   AFFF MDL (D.S.C.)                     4/14/2021
City of Pleasanton                                 CA         21-cv-1119   AFFF MDL (D.S.C.)                     4/15/2021
City of Camden, NJ                                  NJ        21-cv-1317   AFFF MDL (D.S.C.)                      5/4/2021



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Town of New Windsor                                 NY        21-cv-01496   AFFF MDL (D.S.C.)                 5/4/2021
Bellflower-Somerset Mutual Water Company            CA         21-cv-1410   AFFF MDL (D.S.C.)                5/11/2021
Pico Water District                                 CA         21-cv-1409   AFFF MDL (D.S.C.)                5/11/2021
Montebello Land and Water Company                   CA        21-cv-01494   AFFF MDL (D.S.C.)                5/19/2021
California Domestic Water Company                   CA         21-cv-1610   AFFF MDL (D.S.C.)                5/28/2021
City of Moline, Illinois                             IL        21-cv-1608   AFFF MDL (D.S.C.)                5/28/2021
Town of Lewisboro, New York                         NY         21-cv-1604   AFFF MDL (D.S.C.)                5/28/2021
Town of Mansfield, Massachusetts                    MA         21-cv-1605   AFFF MDL (D.S.C.)                5/28/2021
Village of South Elgin, Illinois                     IL        21-cv-1609   AFFF MDL (D.S.C.)                5/28/2021
Village of Mayville                                 NY         21-cv-2474   AFFF MDL (D.S.C.)                 6/1/2021
City of Galesburg                                    IL        21-cv-1649   AFFF MDL (D.S.C.)                 6/3/2021
Florida Keys Aqueduct Authority                     FL         21-cv-1676   AFFF MDL (D.S.C.)                 6/4/2021
Illinois Municipal Corporation East Alton            IL        21-cv-1693   AFFF MDL (D.S.C.)                 6/7/2021
Village of Waterloo                                 NY         21-cv-2812   AFFF MDL (D.S.C.)                 7/1/2021
City of Monterey Park                               CA         21-cv-1990   AFFF MDL (D.S.C.)                 7/2/2021
Littleton Water Department                          MA        21-cv-03594   AFFF MDL (D.S.C.)                 7/2/2021
Sammamish Water Plateau Water and Sewer             WA         21-cv-2086   AFFF MDL (D.S.C.)                7/13/2021
District
Borough of Rocky Hill, New Jersey                    NJ        21-cv-2138   AFFF MDL (D.S.C.)                7/15/2021
North Wales Water Authority                         PA         21-cv-2274   AFFF MDL (D.S.C.)                7/23/2021
Sullivan County                                     NY         21-cv-2939   AFFF MDL (D.S.C.)                7/23/2021
Village of Johnson City                             NY         21-cv-2830   AFFF MDL (D.S.C.)                7/23/2021
City of Riverside                                   CA         21-cv-2296   AFFF MDL (D.S.C.)                7/26/2021
Town of Essex                                       NY         21-cv-2831   AFFF MDL (D.S.C.)                7/29/2021
Walloon Lake Water Systems, Inc.                    MI         21-cv-3211   AFFF MDL (D.S.C.)                 8/6/2021
City of Crest Hill, Illinois                         IL        21-cv-2644   AFFF MDL (D.S.C.)                8/18/2021
Town of Easton                                      MA         21-cv-2709   AFFF MDL (D.S.C.)                8/23/2021
Town of Weymouth, Massachusetts                     MA         21-cv-2820   AFFF MDL (D.S.C.)                 9/1/2021
Pleasant Valley Public Water District, Illinois      IL        21-cv-2946   AFFF MDL (D.S.C.)                9/13/2021
Town of Burlington, Massachusetts                   MA         21-cv-2945   AFFF MDL (D.S.C.)                9/13/2021
City of Dupont                                      WA         21-cv-3284   AFFF MDL (D.S.C.)                9/22/2021
Seaman Cottages LLC                                 MA         21-cv-3238   AFFF MDL (D.S.C.)                10/5/2021
Town of Nantucket                                   MA         21-cv-3239   AFFF MDL (D.S.C.)                10/6/2021
Village of Rockdale, Illinois                        IL        21-cv-3255   AFFF MDL (D.S.C.)                10/6/2021
Westminster                                         MD         21-cv-3241   AFFF MDL (D.S.C.)                10/6/2021
Seneca County                                       NY         21-cv-3748   AFFF MDL (D.S.C.)                10/7/2021
City of Brockton                                    MA         21-cv-3300   AFFF MDL (D.S.C.)                10/8/2021
Atascadero Mutual Water Company                     CA         22-cv-0604   AFFF MDL (D.S.C.)                10/15/2021
Connecticut Water Supply Company                    CT         21-cv-3949   AFFF MDL (D.S.C.)                10/20/2021




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San Jose Water Company                              CA         21-cv-3434   AFFF MDL (D.S.C.)                   10/20/2021
South Montebello Irrigation District                CA         21-cv-3432   AFFF MDL (D.S.C.)                   10/20/2021
City of Pico Rivera                                 CA        22-cv-00066   AFFF MDL (D.S.C.)                   10/26/2021
Town of Wallkill                                    NY         22-cv-0033   AFFF MDL (D.S.C.)                   10/27/2021
Dix Hills Water District                            NY         21-cv-6076   USDC Eastern District of New York   11/1/2021
Water Replenishment District of Southern            CA         21-cv-3669   AFFF MDL (D.S.C.)                   11/8/2021
California
City of Oconomowoc                                  WI        22-cv-00100   AFFF MDL (D.S.C.)                   11/9/2021
Elsinore Valley Municipal Water District            CA         21-cv-3699   AFFF MDL (D.S.C.)                   11/11/2021
Sudbury Water District                              MA         21-cv-3701   AFFF MDL (D.S.C.)                   11/11/2021
City of Bell Gardens                                CA        22-cv-00065   AFFF MDL (D.S.C.)                   11/15/2021
Village of Nyack                                    NY        22-cv-00204   AFFF MDL (D.S.C.)                   11/18/2021
Bossier Parish Police Jury                          LA         21-cv-3816   AFFF MDL (D.S.C.)                   11/22/2021
Centerville Osterville Marstons Mills Fire          MA         21-cv-3891   AFFF MDL (D.S.C.)                   11/30/2021
District/Water Department
City of Collinsville, Illinois                       IL        21-cv-3887   AFFF MDL (D.S.C.)                   11/30/2021
Meadows at Cross River Water-Works                  NY         21-cv-3890   AFFF MDL (D.S.C.)                   11/30/2021
Corporation
Town of Hudson, Massachusetts                       MA         21-cv-3888   AFFF MDL (D.S.C.)                   11/30/2021
Borough of Ambler                                   PA         22-cv-0379   AFFF MDL (D.S.C.)                   12/13/2021
East Baton Rouge Parish                             LA         21-cv-4170   AFFF MDL (D.S.C.)                   12/27/2021
Town of Falmouth                                    MA         21-cv-4206   AFFF MDL (D.S.C.)                   12/29/2021
Sacramento County Water Agency                      CA         22-cv-0919   AFFF MDL (D.S.C.)                   12/30/2021
Town of Fallsburg                                   NY         22-cv-0709   AFFF MDL (D.S.C.)                   1/12/2022
City of East Moline, Illinois                        IL       22-cv-00195   AFFF MDL (D.S.C.)                   1/20/2022
City of Garfield, New Jersey                         NJ       22-cv-00196   AFFF MDL (D.S.C.)                   1/20/2022
City of Rock Island, Illinois                        IL       22-cv-00198   AFFF MDL (D.S.C.)                   1/20/2022
Southeast Morris County Municipal Utilities          NJ       22-cv-00199   AFFF MDL (D.S.C.)                   1/20/2022
Authority
Town of Hopedale, Massachusetts                     MA        22-cv-00197   AFFF MDL (D.S.C.)                   1/20/2022
Township of Verona, New Jersey                       NJ       22-cv-00205   AFFF MDL (D.S.C.)                   1/20/2022
Village of Cary, Illinois                            IL       22-cv-00194   AFFF MDL (D.S.C.)                   1/20/2022
Town of East Fishkill                               NY         22-cv-0920   AFFF MDL (D.S.C.)                   1/21/2022
City of Chester                                      IL        22-cv-0251   AFFF MDL (D.S.C.)                   1/27/2022
Village of Lake in the Hills, Illinois               IL        22-cv-0252   AFFF MDL (D.S.C.)                   1/27/2022
Town of Hampstead                                   MD         22-cv-0407   AFFF MDL (D.S.C.)                   2/10/2022
Water Supply District of Acton                      MA         22-cv-0501   AFFF MDL (D.S.C.)                   2/18/2022
Zone 7 Water Agency                                 CA         22-cv-0580   AFFF MDL (D.S.C.)                   2/24/2022
Municipal Authority of Westmoreland County          PA        22-cv-01429   AFFF MDL (D.S.C.)                   3/10/2022
Town of Canton, Massachusetts                       MA         22-cv-0864   AFFF MDL (D.S.C.)                   3/16/2022
City of Whittier                                    CA        22-cv-01078   AFFF MDL (D.S.C.)                   3/21/2022



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City of Portsmouth                              OH        22-cv-01441   AFFF MDL (D.S.C.)                 3/22/2022
Borough of Emmaus                               PA        22-cv-01487   AFFF MDL (D.S.C.)                 3/30/2022
North Park Public Water District                 IL       22-cv-01123   AFFF MDL (D.S.C.)                 4/6/2022
Town of Dudley                                  MA        22-cv-01135   AFFF MDL (D.S.C.)                 4/7/2022
Orange Water and Sewer Authority                NC        22-cv-01793   AFFF MDL (D.S.C.)                 4/18/2022
La Habra Heights County Water District          CA        22-cv-01347   AFFF MDL (D.S.C.)                 4/25/2022
City of Elgin, Illinois                          IL       22-cv-01499   AFFF MDL (D.S.C.)                 5/11/2022
City of North Chicago, Illinois                  IL       22-cv-01500   AFFF MDL (D.S.C.)                 5/11/2022
City of San Diego                               CA        22-cv-02474   AFFF MDL (D.S.C.)                 5/11/2022
Town of Poughkeepsie, New York                  NY        22-cv-01507   AFFF MDL (D.S.C.)                 5/11/2022
Golden and Golden Building Company, Inc.        NY        22-cv-02232   AFFF MDL (D.S.C.)                 5/23/2022
Maple Grove Mobile Home Park                    NY        22-cv-02118   AFFF MDL (D.S.C.)                 5/23/2022
Miller's Mobile Home Park                       NY        22-cv-02117   AFFF MDL (D.S.C.)                 5/23/2022
Village of Channahon, Illinois                   IL       22-cv-01614   AFFF MDL (D.S.C.)                 5/23/2022
City of Lathrop                                 CA        22-cv-01647   AFFF MDL (D.S.C.)                 5/24/2022
Village of Bridgeport                           OH        22-cv-02357   AFFF MDL (D.S.C.)                 5/31/2022
Susquehanna Area Regional Airport Authority     PA        22-cv-01753   AFFF MDL (D.S.C.)                 6/3/2022
Village of Monroe                               NY        23-cv-01584   AFFF MDL (D.S.C.)                 6/6/2022
Town of Athol                                   MA        22-cv-01785   AFFF MDL (D.S.C.)                 6/7/2022
Townsend Massachusetts Water Department         MA        22-cv-01815   AFFF MDL (D.S.C.)                 6/8/2022
Sacramento Suburban Water District              CA        23-cv-00025   AFFF MDL (D.S.C.)                 6/10/2022
Rubidoux Community Services District            CA        22-cv-01937   AFFF MDL (D.S.C.)                 6/17/2022
Lunenburg Water District                        MA        22-cv-03053   AFFF MDL (D.S.C.)                 6/24/2022
Santa Margarita Water District                  CA        22-cv-02061   AFFF MDL (D.S.C.)                 6/29/2022
Town of Avon                                    MA        22-cv-03047   AFFF MDL (D.S.C.)                 6/30/2022
Monson Water and Sewer Department               MA        22-cv-02110   AFFF MDL (D.S.C.)                 7/1/2022
North Raynham Water District                    MA        22-cv-03050   AFFF MDL (D.S.C.)                 7/1/2022
Raynham Center Water District                   MA        22-cv-03051   AFFF MDL (D.S.C.)                 7/1/2022
Town of Princeton, Massachusetts                MA        22-cv-02036   AFFF MDL (D.S.C.)                 7/1/2022
City of Taneytown                               MD        22-cv-02222   AFFF MDL (D.S.C.)                 7/12/2022
Town of Poolesville                             MD        22-cv-02221   AFFF MDL (D.S.C.)                 7/12/2022
Town of West Bridgewater                        MA        22-cv-03871   AFFF MDL (D.S.C.)                 7/13/2022
Utilities Board of Tuskegee                     AL        22-cv-00420   USDC Middle District of Alabama   7/17/2022
Town of Chatham                                 MA        22-cv-03048   AFFF MDL (D.S.C.)                 7/19/2022
Town of Uxbridge                                MA        22-cv-03056   AFFF MDL (D.S.C.)                 7/19/2022
City of Fairborn                                OH        22-cv-03032   AFFF MDL (D.S.C.)                 7/22/2022
Town of Millis                                  MA        22-cv-03052   AFFF MDL (D.S.C.)                 7/28/2022
City of South Shore, Kentucky                   KY        22-cv-02526   AFFF MDL (D.S.C.)                 8/1/2022
Sandwich Water District                         MA        22-cv-03870   AFFF MDL (D.S.C.)                 8/1/2022



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Village of Cuba                                NY         23-cv-01685    AFFF MDL (D.S.C.)                    8/1/2022
Village of Harriman                            NY         22-cv-03473    AFFF MDL (D.S.C.)                    8/1/2022
Colbert County, Alabama / Colbert County       AL         20-cv-02022-   Circuit Court of Colbert County,     8/2/2022
Water Department                                           900151.00     Alabama
Caveland Sanitation Authority Inc., d/b/a      KY         22-cv-02565    AFFF MDL (D.S.C.)                    8/3/2022
Caveland Environmental Authority Inc.
West Des Moines Water Works                     IA        22-cv-02558    AFFF MDL (D.S.C.)                    8/3/2022
Camrosa Water District                         CA         22-cv-02601    AFFF MDL (D.S.C.)                    8/8/2022
Chino Basin Desalter Authority                 CA         22-cv-02602    AFFF MDL (D.S.C.)                    8/8/2022
Town of Webster                                MA         22-cv-03875    AFFF MDL (D.S.C.)                    8/9/2022
Olivet Academy                                 NY         23-cv-01585    AFFF MDL (D.S.C.)                   8/12/2022
Kennebunk                                      ME         22-cv-02761    AFFF MDL (D.S.C.)                   8/18/2022
Kennebunkport                                  ME         22-cv-02761    AFFF MDL (D.S.C.)                   8/18/2022
Wells Water District                           ME         22-cv-02761    AFFF MDL (D.S.C.)                   8/18/2022
City of Methuen                                MA         22-cv-02777    AFFF MDL (D.S.C.)                   8/19/2022
City of Burbank                                CA         22-cv-02823    AFFF MDL (D.S.C.)                   8/23/2022
Orchard Dale Water District                    CA         22-cv-02839    AFFF MDL (D.S.C.)                   8/25/2022
Chelmsford Water District                      MA         22-cv-02885    AFFF MDL (D.S.C.)                   8/30/2022
Jurupa Community Services District             CA         22-cv-02892    AFFF MDL (D.S.C.)                   8/30/2022
Town of Petersburgh                            NY        EF2022-272251   Rensselaer County Supreme Court,    8/30/2022
                                                                         New York
Northeast Knox Utility District                TN         22-cv-02953    AFFF MDL (D.S.C.)                    9/1/2022
Hillcrest Water District                       MA         22-cv-03094    AFFF MDL (D.S.C.)                    9/9/2022
Leicester Water Supply District                MA         22-cv-03093    AFFF MDL (D.S.C.)                    9/9/2022
Village of Fort Plain                          NY         22-cv-03221    AFFF MDL (D.S.C.)                    9/9/2022
City of Fountain                               CO         22-cv-03118    AFFF MDL (D.S.C.)                   9/14/2022
City of Salisbury                              MD         22-cv-03119    AFFF MDL (D.S.C.)                   9/14/2022
Village of Hempstead                           NY         22-cv-04285    AFFF MDL (D.S.C.)                   9/14/2022
City of East Peoria, Illinois                   IL        22-cv-03186    AFFF MDL (D.S.C.)                   9/19/2022
City of Clovis                                 CA         22-cv-03224    AFFF MDL (D.S.C.)                   9/21/2022
Saegertown Borough                             PA         23-cv-00530    AFFF MDL (D.S.C.)                   9/23/2022
City of Prescott                               AZ         22-cv-03260    AFFF MDL (D.S.C.)                   9/26/2022
City of South Gate                             CA         22-cv-03340    AFFF MDL (D.S.C.)                   9/28/2022
Town of Prescott Valley                        AZ         22-cv-03335    AFFF MDL (D.S.C.)                   9/28/2022
Town of Cumberland                              RI        22-cv-03454    AFFF MDL (D.S.C.)                   10/6/2022
Town of Sharon, Massachusetts                  MA         22-cv-03458    AFFF MDL (D.S.C.)                   10/6/2022
Town of Tewksbury                              MA         22-cv-04555    AFFF MDL (D.S.C.)                   10/6/2022
Birch Hill Water System                        NY         23-cv-01679    AFFF MDL (D.S.C.)                   10/14/2022
Dalton Farms Water System                      NY         23-cv-01588    AFFF MDL (D.S.C.)                   10/14/2022
Fairway's Water System                         NY         23-cv-01678    AFFF MDL (D.S.C.)                   10/14/2022




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Greenfields Water System                      NY        23-cv-01682   AFFF MDL (D.S.C.)                10/14/2022
Hyde Park Water System                        NY        23-cv-01680   AFFF MDL (D.S.C.)                10/14/2022
Pinebrook Estates Water System                NY        23-cv-01681   AFFF MDL (D.S.C.)                10/14/2022
Quaker Hill Estates Water System              NY        23-cv-01683   AFFF MDL (D.S.C.)                10/14/2022
Schreiber Water System                        NY        23-cv-01684   AFFF MDL (D.S.C.)                10/14/2022
Valley Dale Water System                      NY        23-cv-01677   AFFF MDL (D.S.C.)                10/14/2022
City of Adelanto                              CA        22-cv-03591   AFFF MDL (D.S.C.)                10/17/2022
Swansea Water District                        MA        22-cv-03717   AFFF MDL (D.S.C.)                10/27/2022
City of Bellbrook                             OH        22-cv-04429   AFFF MDL (D.S.C.)                10/28/2022
City of Sacramento                            CA        22-cv-03799   AFFF MDL (D.S.C.)                11/1/2022
Aqua Illinois, Inc.                            IL       22-cv-03860   AFFF MDL (D.S.C.)                11/3/2022
Water Works of City of Des Moines, Iowa        IA       22-cv-03837   AFFF MDL (D.S.C.)                11/3/2022
City of Baltimore                             MD        22-cv-04312   AFFF MDL (D.S.C.)                11/4/2022
City of Philadelphia                          PA        23-cv-01614   AFFF MDL (D.S.C.)                11/4/2022
Town of Ware                                  MA        23-cv-00309   AFFF MDL (D.S.C.)                11/7/2022
Village of Dupo, Illinois                      IL       22-cv-03919   AFFF MDL (D.S.C.)                11/7/2022
City of Wood River, Illinois                   IL       22-cv-03954   AFFF MDL (D.S.C.)                11/8/2022
Town of Erwin                                 NY        23-cv-00026   AFFF MDL (D.S.C.)                11/11/2022
Alameda County Water District                 CA        22-cv-04010   AFFF MDL (D.S.C.)                11/12/2022
Aqua Texas, Inc.                              TX        23-cv-00049   AFFF MDL (D.S.C.)                11/14/2022
City of Manteca                               CA        22-cv-04042   AFFF MDL (D.S.C.)                11/14/2022
Village of Tivoli Water System                NY        23-cv-01587   AFFF MDL (D.S.C.)                11/14/2022
Town of Rehoboth                              MA        23-cv-00325   AFFF MDL (D.S.C.)                11/16/2022
Village of Fox Lake, Illinois                  IL       22-cv-04086   AFFF MDL (D.S.C.)                11/16/2022
Peoples Water Service Company of Florida,     FL        22-cv-04113   AFFF MDL (D.S.C.)                11/17/2022
Inc.
Town of Walpole                               MA        23-cv-00324   AFFF MDL (D.S.C.)                11/18/2022
Kennebec Water District                       ME        22-cv-04164   AFFF MDL (D.S.C.)                11/21/2022
Town of Medway                                MA        22-cv-04216   AFFF MDL (D.S.C.)                11/22/2022
Town of Milford                               MA        23-cv-00308   AFFF MDL (D.S.C.)                11/23/2022
Cotuit Fire District                          MA        23-cv-00311   AFFF MDL (D.S.C.)                11/28/2022
City of Evanston, Illinois                     IL       22-cv-04304   AFFF MDL (D.S.C.)                11/29/2022
City of Montgomery, Alabama                   AL        22-cv-04296   AFFF MDL (D.S.C.)                11/29/2022
Town of Pepperell                             MA        22-cv-04295   AFFF MDL (D.S.C.)                11/29/2022
Livingston Township, New Jersey                NJ       22-cv-04321   AFFF MDL (D.S.C.)                11/30/2022
City of Mesa                                  AZ        22-cv-04377   AFFF MDL (D.S.C.)                12/2/2022
Town of Marshfield                            MA        23-cv-00725   AFFF MDL (D.S.C.)                12/5/2022
Town of Sigel                                  IL       22-cv-04387   AFFF MDL (D.S.C.)                12/5/2022
Town of Owego                                 NY        23-cv-01375   AFFF MDL (D.S.C.)                12/6/2022




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Town of Holliston                              MA        23-cv-00377   AFFF MDL (D.S.C.)                       12/7/2022
Town of Salisbury                              MA        23-cv-00312   AFFF MDL (D.S.C.)                       12/7/2022
City of Delray Beach                           FL        23-cv-01441   AFFF MDL (D.S.C.)                       12/8/2022
Belforest Water System                         AL        22-cv-04463   AFFF MDL (D.S.C.)                       12/9/2022
City of Loxley                                 AL        22-cv-04464   AFFF MDL (D.S.C.)                       12/9/2022
Hanson Water Department                        MA        23-cv-00726   AFFF MDL (D.S.C.)                       12/14/2022
Gallia County Rural Water Association          OH        23-cv-00777   AFFF MDL (D.S.C.)                       12/20/2022
City of Eden                                   NC        23-cv-00776   AFFF MDL (D.S.C.)                       12/21/2022
Putnam Valley Central School District          NY        23-cv-00775   AFFF MDL (D.S.C.)                       12/21/2022
Village of East Troy                           WI        23-cv-00785   AFFF MDL (D.S.C.)                       12/23/2022
Abington/Rockland Joint Water Works            MA        23-cv-01010   AFFF MDL (D.S.C.)                        1/4/2023
Dedham-Westwood Water District                 MA        23-cv-00030   AFFF MDL (D.S.C.)                        1/4/2023
Upper Cape Regional Water Supply               MA        23-cv-00790   AFFF MDL (D.S.C.)                        1/4/2023
Cooperative
Town of Scituate                               MA        23-cv-00789   AFFF MDL (D.S.C.)                        1/5/2023
City of Peabody                                MA        23-cv-01168   AFFF MDL (D.S.C.)                       1/13/2023
East Chelmsford Water District                 MA        23-cv-00204   AFFF MDL (D.S.C.)                       1/13/2023
Lakewood Township Municipal Utilities           NJ       23-cv-00233   AFFF MDL (D.S.C.)                       1/18/2023
Authority
City of Thornton, Colorado                     CO        23-cv-00277   AFFF MDL (D.S.C.)                       1/20/2023
Branchville Borough                             NJ       23-cv-01036   AFFF MDL (D.S.C.)                       1/23/2023
Town of Pittsboro                              NC        23-cv-01150   AFFF MDL (D.S.C.)                       1/26/2023
Hawthorn Estates                                IL       23-cv-00503   AFFF MDL (D.S.C.)                        2/6/2023
City of Muscle Shoals / Muscle Shoals          AL        20-cv-2023-   Colbert County Circuit Court, Alabama   2/10/2023
Utilities Board                                           900020.00
Ayer Road Properties, LLC                      MA        23-cv-00914   AFFF MDL (D.S.C.)                       2/13/2023
City of Lumberton                              NC        23-cv-00936   AFFF MDL (D.S.C.)                       2/15/2023
Burlington Township                             NJ       23-cv-01603   AFFF MDL (D.S.C.)                       2/16/2023
City of Prescott                               WI        23-cv-01676   AFFF MDL (D.S.C.)                       2/16/2023
Halifax County Service Authority               VA        23-cv-00653   AFFF MDL (D.S.C.)                       2/16/2023
Malad & Hilton Water Company, Inc.              ID       23-cv-00664   AFFF MDL (D.S.C.)                       2/16/2023
Village of Woodbury                            NY        23-cv-01675   AFFF MDL (D.S.C.)                       2/16/2023
City of El Monte                               CA        23-cv-00680   AFFF MDL (D.S.C.)                       2/17/2023
East Bay Municipal Utility District            CA        23-cv-01029   AFFF MDL (D.S.C.)                       2/17/2023
Passaic Valley Water Commission                 NJ       23-cv-00753   AFFF MDL (D.S.C.)                       2/24/2023
Robeson County, North Carolina                 NC        23-cv-01726   AFFF MDL (D.S.C.)                       2/24/2023
Franklin Square Water District                 NY        23-cv-01645   USDC Eastern District of New York        3/2/2023
Shirley Water District                         MA        23-cv-00928   AFFF MDL (D.S.C.)                        3/7/2023
Town of Payson                                 AZ        23-cv-00932   AFFF MDL (D.S.C.)                        3/7/2023
West Virginia-American Water Company           WV        23-cv-00935   AFFF MDL (D.S.C.)                        3/7/2023




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University of Rhode Island                        RI       23-cv-00951   AFFF MDL (D.S.C.)                        3/8/2023
Village of Sugar Grove, Illinois                  IL       23-cv-00954   AFFF MDL (D.S.C.)                       3/8/2023
City of Lake Forest, Illinois                     IL       23-cv-01015   AFFF MDL (D.S.C.)                       3/13/2023
Borough of Essex Fells                            NJ       23-cv-01031   AFFF MDL (D.S.C.)                       3/14/2023
Ridgely                                          MD        23-cv-01039   AFFF MDL (D.S.C.)                       3/14/2023
Town of Chestertown                              MD        23-cv-01030   AFFF MDL (D.S.C.)                       3/14/2023
City of Benwood                                  WV        23-cv-01060   AFFF MDL (D.S.C.)                       3/15/2023
San Gabriel Basin Water Quality Authority        CA        23-cv-01087   AFFF MDL (D.S.C.)                       3/17/2023
Charleston Water System                          SC        23-cv-01075   AFFF MDL (D.S.C.)                       3/19/2023
Mountain View-Edgewood Water Company             WA        23-cv-01108   AFFF MDL (D.S.C.)                       3/20/2023
Town of Westborough                              MA        23-cv-01117   AFFF MDL (D.S.C.)                       3/20/2023
Town of Weldon                                   NC        23-cv-00075   USDC Eastern District of North          3/22/2023
                                                                         Carolina
Rib Mountain Sanitary District                   WI        23-cv-02215   AFFF MDL (D.S.C.)                       3/23/2023
Harrisville Fire District                         RI       23-cv-01229   AFFF MDL (D.S.C.)                       3/28/2023
Alameda County Agricultural Fair Association     CA        23-cv-01287   AFFF MDL (D.S.C.)                       3/31/2023
Borough of Hawthorne                              NJ       23-cv-02577   USDC District of New Jersey             4/3/2023
Dracut Water Supply District                     MA        23-cv-01363   AFFF MDL (D.S.C.)                       4/5/2023
City of Sioux City                                IA       23-cv-01416   AFFF MDL (D.S.C.)                       4/7/2023
Shelby County, Alabama                           AL        23-cv-00609   USDC Northern District of Alabama       4/10/2023
Talladega County, Alabama                        AL        23-cv-00609   USDC Northern District of Alabama       4/10/2023
City of Aguadilla Puerto Rico                    PR        23-cv-01483   AFFF MDL (D.S.C.)                       4/11/2023
Three Rivers Fire District                       MA        23-cv-01479   AFFF MDL (D.S.C.)                       4/11/2023
City of Freeport                                  IL       23-cv-01501   AFFF MDL (D.S.C.)                       4/12/2023
City of Hialeah, Florida                         FL        23-cv-01484   AFFF MDL (D.S.C.)                       4/12/2023
Consolidated Utility District of Rutherford      TN        23-cv-01493   AFFF MDL (D.S.C.)                       4/12/2023
County
Town of Walden                                   CO        23-cv-01502   AFFF MDL (D.S.C.)                       4/12/2023
City of Athens                                    IL       23-cv-01514   AFFF MDL (D.S.C.)                       4/13/2023
Xenia Rural Water District                        IA       23-cv-01515   AFFF MDL (D.S.C.)                       4/13/2023
City of Allegan                                  MI         59540/2023   Westchester County Supreme Court,       4/14/2023
                                                                         New York
Cragmont Water Company                           CO        23-cv-01608   AFFF MDL (D.S.C.)                       4/18/2023
Eagles Watch Mutual Water Company                CO        23-cv-01607   AFFF MDL (D.S.C.)                       4/18/2023
Town of Plainville                               MA         23-cv-328    Norfolk County Superior Court,          4/19/2023
                                                                         Massachusetts
Rock Hill                                        SC        23-cv-01637   AFFF MDL (D.S.C.)                       4/20/2023
Town of Westford                                 MA        23-cv-01652   AFFF MDL (D.S.C.)                       4/20/2023
Immokalee Water / Sewer District                 FL         171655103    Collier County Circuit Court, Florida   4/24/2023
Town of North Kingstown, Rhode Island             RI       23-cv-01712   AFFF MDL (D.S.C.)                       4/25/2023
Town of Wilmington, Massachusetts                MA        23-cv-01814   AFFF MDL (D.S.C.)                       5/1/2023



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Roosevelt County Water Coop, Inc.                  NM         23-cv-00376     USDC District of New Mexico              5/2/2023
Garden Homes Management Corporation                NY         500672/2023     Putnam County Supreme Court, New        5/3/2023
                                                                              York
Town of Wayland, Massachusetts                     MA         23-cv-01897     AFFF MDL (D.S.C.)                       5/5/2023
Village of Wilmette, Illinois                       IL        23-cv-01946     AFFF MDL (D.S.C.)                       5/10/2023
Heartwood Ranch Homeowners Association             CO         23-cv-02035     AFFF MDL (D.S.C.)                       5/11/2023
Town of Mt. Airy                                   MD         23-cv-02021     AFFF MDL (D.S.C.)                       5/11/2023
City of Frankfort, KY                              KY         23-cv-02105     AFFF MDL (D.S.C.)                       5/17/2023
City of Orange Township, New Jersey                 NJ        23-cv-02103     AFFF MDL (D.S.C.)                       5/17/2023
City of Camas                                      WA         23-cv-02163     AFFF MDL (D.S.C.)                       5/19/2023
City of Cayce                                      SC         23-cv-02159     AFFF MDL (D.S.C.)                       5/19/2023
Del Rio Mutual Water Company                       CA         23-cv-02162     AFFF MDL (D.S.C.)                       5/19/2023
Fox Island Mutual Water Association                WA         23-cv-02160     AFFF MDL (D.S.C.)                       5/19/2023
North Chelmsford Water District                    MA         23-cv-02161     AFFF MDL (D.S.C.)                       5/19/2023
Town of Summerville                                SC         23-cv-02157     AFFF MDL (D.S.C.)                       5/19/2023
Tyngsborough Water District                        MA         2381cv01473     Middlesex County Superior Court,        5/19/2023
                                                                              Massachusetts
City of Scottsdale                                 AZ         23-cv-02164     AFFF MDL (D.S.C.)                       5/20/2023
Jacksonville, Alabama                              AL         23-cv-02181     AFFF MDL (D.S.C.)                       5/22/2023
Martinsburg Municipal Authority                    PA         2023GN1282      Blair County Court of Common Pleas,     5/22/2023
                                                                              Pennsylvania
Stafford County                                    VA         23-cv-02191     AFFF MDL (D.S.C.)                       5/22/2023
Strawberry Hill Acton Realty Trust                 MA         2381cv01486     Middlesex County Superior Court,        5/22/2023
                                                                              Massachusetts
Carroll County                                     MD         23-cv-02205     AFFF MDL (D.S.C.)                       5/23/2023
City of Newport News                               VA         23-cv-02199     AFFF MDL (D.S.C.)                       5/23/2023
Greenlawn Water District                           NY         23-cv-03844     USDC Eastern District of New York       5/23/2023
Town of Union Bridge                               MD         23-cv-02200     AFFF MDL (D.S.C.)                       5/23/2023
Village of New Paltz, New York                     NY         23-cv-02198     AFFF MDL (D.S.C.)                       5/23/2023
City of Plant City                                 FL            23TC-        Hillsborough Circuit Court, Florida     5/24/2023
                                                               173933824
City of Pompano Beach                              FL            23TC-        Broward County Circuit Court, Florida   5/24/2023
                                                               173891927
City of Raleigh                                    NC        23cv013214-910   Wake County Superior Court, North       5/24/2023
                                                                              Carolina
Village of Glencoe, Illinois                        IL        23-cv-02233     AFFF MDL (D.S.C.)                       5/24/2023
Washington County Service Authority                VA         23-cv-02234     AFFF MDL (D.S.C.)                       5/24/2023
City of Colton, California                         CA         23-cv-02253     AFFF MDL (D.S.C.)                       5/25/2023

City of Newburyport                                MA         23-cv-02255     AFFF MDL (D.S.C.)                       5/25/2023
First Taxing District of City of Norwalk,          CT         23-cv-02268     AFFF MDL (D.S.C.)                       5/25/2023
Connecticut a/ka/ First District Water
Department



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Homestead Water Company                           CO        23-cv-02238   AFFF MDL (D.S.C.)                     5/25/2023
Jericho Water District                            NY        23-cv-03906   USDC Eastern District of New York     5/25/2023
Owensboro Municipal Utilities                     KY        23-cv-02270   AFFF MDL (D.S.C.)                     5/25/2023

Plainview Water District                          NY        23-cv-03919   USDC Eastern District of New York     5/25/2023

Savannah Valley Utility District                  TN        23-cv-02264   AFFF MDL (D.S.C.)                     5/25/2023
Shore Haven Water System                          NY        2023-51764    Dutchess County Supreme Court, New    5/25/2023
                                                                          York
South Carolina Public Service Authority a/k/a     SC        23-cv-02272   AFFF MDL (D.S.C.)                     5/25/2023
Santee Cooper
Village of Antwerp                                NY          EF2023-     Jefferson County Supreme Court, New   5/25/2023
                                                             00002155     York
Village of Sodus                                  NY         Unassigned   Wayne County Supreme Court, New       5/25/2023
                                                                          York
City of Florence                                  AL         Unassigned   Westchester County Supreme Court,     5/26/2023
                                                                          New York
City of Hudson                                    WI         Unassigned   Westchester County Supreme Court,     5/26/2023
                                                                          New York
City of Leominster                                MA        23-cv-02287   AFFF MDL (D.S.C.)                     5/26/2023
Council Bluffs City Water Works                    IA       23-cv-02299   AFFF MDL (D.S.C.)                     5/26/2023
Albertson Water District                          NY        23-cv-03997   USDC Eastern District of New York     5/30/2023

Box Springs Mutual Water Company                  CA        23-cv-02340   AFFF MDL (D.S.C.)                     5/30/2023
City of Brighton                                  CO        23-cv-02339   AFFF MDL (D.S.C.)                     5/30/2023
City of Cincinnati, Ohio                          OH        23-cv-02334   AFFF MDL (D.S.C.)                     5/30/2023
City of Laurens                                   SC         61744/2023   Westchester County Supreme Court,     5/30/2023
                                                                          New York
Fairpoint Regional Utility System Inc., FL        FL        23-cv-02336   AFFF MDL (D.S.C.)                     5/30/2023
Lehigh County Authority                           PA        2023-C-1517   Lehigh County Court of Common         5/30/2023
                                                                          Pleas
Locust Valley Water District                      NY        23-cv-03980   USDC Eastern District of New York     5/30/2023

Midway Water System Inc., FL                      FL        23-cv-02337   AFFF MDL (D.S.C.)                     5/30/2023
Northern Kentucky Water District                  KY        23-cv-02333   AFFF MDL (D.S.C.)                     5/30/2023

Village of Williston Park                         NY        23-cv-04002   USDC Eastern District of New York     5/30/2023
Westbury Water & Fire District                    NY        23-cv-04001   USDC Eastern District of New York     5/30/2023
Anne Arundel County                               MD        23-cv-01457   USDC District of Maryland             5/31/2023

Dona Ana Mutual Domestic Water Consumers          NM        23-cv-02348   AFFF MDL (D.S.C.)                     5/31/2023
Association
Erwin Utilities                                   TN        23-cv-02349   AFFF MDL (D.S.C.)                     5/31/2023




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Louisville Water Company                      KY         23-cv-02367    AFFF MDL (D.S.C.)                    5/31/2023

Santa Clara Water District                    CA         Unassigned     California Superior Court for the    5/31/2023
                                                                        County of Santa Clara
Town of Abington                              MA         23-cv-02374    AFFF MDL (D.S.C.)                    5/31/2023

Town of Thurmont                              MD         23-cv-02346    AFFF MDL (D.S.C.)                    5/31/2023

Town of Yarmouth                              MA          23-cv-202     Commonwealth of Massachusetts -      5/31/2023
                                                                        Barnstable Superior Court
Brunswick Regional Water and Sewer H2G0       NC         61895/2023     Supreme Court of the State of NY -   6/1/2023
                                                                        Westchester County
City of Federal Heights                       CO         23-cv-02405    AFFF MDL (D.S.C.)                    6/1/2023

City of Lomita                                CA         23-cv-02393    AFFF MDL (D.S.C.)                    6/1/2023

City of Mackinac Island                       MI         61890/2023     Supreme Court of the State of NY -   6/1/2023
                                                                        Westchester County
City of Swanville                             MN         61903/2023     Supreme Court of the State of NY -   6/1/2023
                                                                        Westchester County
Merchantville-Pennsauken Water Commission      NJ        23-cv-02394    AFFF MDL (D.S.C.)                    6/1/2023

Middletown, Maryland                          MD         23-cv-02389    AFFF MDL (D.S.C.)                    6/1/2023

RAS Trust                                     MA           23-1602      Commonwealth of Massachusetts -      6/1/2023
                                                                        Middlesex Superior Court
Town of Davis                                 WV         23-cv-02388    AFFF MDL (D.S.C.)                    6/1/2023

Town of Natick                                MA         23-cv-02390    AFFF MDL (D.S.C.)                    6/1/2023

Village of Maybrook                           NY        EF003538-2023   Supreme Court of The State of New    6/1/2023
                                                                        York - Orange County
Anderson Regional Joint Water System          SC         61971/2023     Supreme Court of the State of NY -   6/2/2023
                                                                        Westchester County
Ashland Water Works                           KY         23-cv-02438    AFFF MDL (D.S.C.)                    6/2/2023

Bourne Water District                         MA        2372CV00212     Commonwealth of Massachusetts -      6/2/2023
                                                                        Barnstable Superior Court
City of Kannapolis                            NC         61984/2023     Supreme Court of the State of NY -   6/2/2023
                                                                        Westchester County
Dennis Water District                         MA        2372CV00211     Commonwealth of Massachusetts -      6/2/2023
                                                                        Barnstable Superior Court
Harlan Municipal Utilities                     IA        23-cv-02451    AFFF MDL (D.S.C.)                    6/2/2023

Sea Mist Resort Condominium Trust             MA         23-cv-02453    AFFF MDL (D.S.C.)                    6/2/2023




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Town of Groton                                     MA        2381 cv 01622   Commonwealth of Massachusetts -        6/2/2023
                                                                             Middlesex Superior Court
Town of Kingston                                   MA        2383-cv-00438   Commonwealth of Massachusetts -       6/2/2023
                                                                             Plymouth Superior Court
Town of Plattsburgh                                NY        2023-00023338   Supreme Court of the State of NY -    6/2/2023
                                                                             Clinton County
Town of Randolph                                   NY            92273       Supreme Court of the State of NY -    6/2/2023
                                                                             Cattaraugus County
Town of Sterling                                   MA         23-cv-02439    AFFF MDL (D.S.C.)                     6/2/2023

Town of Wrentham                                   MA          23-cv-499     Commonwealth of Massachusetts -       6/2/2023
                                                                             Norfolk Superior Court
Willingboro Municipal Utilities Authority           NJ        61983/2023     Supreme Court of the State of NY -    6/2/2023
                                                                             Westchester County
Black River Falls Water Utility                    WI         62006/2023     Supreme Court of the State of NY -    6/5/2023
                                                                             Westchester County
City of Aberdeen                                   MD         23-cv-02464    AFFF MDL (D.S.C.)                     6/5/2023

City of Bakersfield                                CA         23-cv-02487    AFFF MDL (D.S.C.)                     6/5/2023

City of Gunnison                                   CO         23-cv-02486    AFFF MDL (D.S.C.)                     6/5/2023

City of Hurricane, West Virginia                   WV         23-cv-02490    AFFF MDL (D.S.C.)                     6/5/2023

City of South Bend, Indiana                         IN        23-cv-02489    AFFF MDL (D.S.C.)                     6/5/2023

Creve Coeur Water and Sewer                         IL        23-cv-02488    AFFF MDL (D.S.C.)                     6/5/2023

Glencoe Water and Sewer Works                      AL         62025/2023     Supreme Court of the State of NY -    6/5/2023
                                                                             Westchester County
City of Moses Lake, WA                             WA         23-cv-02506    AFFF MDL (D.S.C.)                     6/6/2023

City of Gretna                                     LA         23-cv-02538    AFFF MDL (D.S.C.)                     6/7/2023

City of Niceville, Florida                         FL         23-cv-02514    AFFF MDL (D.S.C.)                     6/7/2023

Leavenworth Water Company                           IN        23-cv-02533    AFFF MDL (D.S.C.)                     6/7/2023

Monroe County Water Authority                      NY         E2023005918    Supreme Court of the State of NY -    6/7/2023
                                                                             Westchester County
Town of Clinton                                     NJ       HNT-L_000219-   State of New Jersey - Hunterdon       6/7/2023
                                                                   23        Superior Court
Town of Elkton                                     MD         23-cv-02532    AFFF MDL (D.S.C.)                     6/7/2023

Village of Bald Head Island                        NC         23-CVS-918     State of North Carolina - Brunswick   6/7/2023
                                                                             Superior Court




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                                                   State
                                                                                                                          Filed
Anson County                                        NC         23-CVS-269     State of North Carolina - Anson           6/8/2023
                                                                              County Superior Court
City of Loveland                                    OH          2023 CVB      State of Ohio - Clermont Court of        6/8/2023
                                                                  00550       Common Pleas
City of Milford                                     OH          2023 CVB      State of Ohio - Clermont Court of        6/8/2023
                                                                  00549       Common Pleas
Neuse Regional Water and Sewer Authority            NC         21-CVS-431     State of North Carolina - Lenoir         6/8/2023
                                                                              Superior Court
Village of Valatie                                  NY        E012023020566   Supreme Court of the State of NY -       6/8/2023
                                                                              Columbia County
Augusta, Georgia                                    GA         23-cv-02609    AFFF MDL (D.S.C.)                        6/9/2023

City of Dubuque                                      IA        23-cv-02606    AFFF MDL (D.S.C.)                        6/9/2023

Havre de Grace, Maryland                            MD         23-cv-02608    AFFF MDL (D.S.C.)                        6/9/2023

Jefferson Utilities, Inc.                           WV         23-cv-02591    AFFF MDL (D.S.C.)                        6/9/2023

Town of Mocksville                                  NC          23CVS246      State of North Carolina - Davie County   6/9/2023
                                                                              Superior Court
Washington County, Maryland                         MD         23-cv-02597    AFFF MDL (D.S.C.)                        6/9/2023

Craftsbury Fire District #2                         VT         23-cv-02613    AFFF MDL (D.S.C.)                        6/12/2023

Liberty Utilities (Bella Vista Water) Corp.         AZ         23-cv-02624    AFFF MDL (D.S.C.)                        6/12/2023

Liberty Utilities (Litchfield Park Water &          AZ         23-cv-02627    AFFF MDL (D.S.C.)                        6/12/2023
Sewer) Corp.
Liberty Utilities (Park Water) Corp.                CA         23-cv-02630    AFFF MDL (D.S.C.)                        6/12/2023

Liberty Utilities (Rio Rico Water & Sewer)          AZ         23-cv-02629    AFFF MDL (D.S.C.)                        6/12/2023
Corp.
Martin County Regional Water Authority              NC         23-CVS-124     State of North Carolina - Martin         6/12/2023
                                                                              County Superior Court
Sewerage and Water Board of New Orleans             LA         23-cv-02625    AFFF MDL (D.S.C.)                        6/12/2023

Town of Boonsboro, Maryland                         MD         23-cv-02615    AFFF MDL (D.S.C.)                        6/12/2023

Town of New Haven                                   WV         23-cv-02622    AFFF MDL (D.S.C.)                        6/12/2023

Chester Municipal Water Works                       WV         23-cv-02638    AFFF MDL (D.S.C.)                        6/13/2023

City of Mary Esther, Florida                        FL         23-cv-02640    AFFF MDL (D.S.C.)                        6/13/2023

City of Taunton                                     MA        2373CV00371     Commonwealth of Massachusetts -          6/13/2023
                                                                              Bristol Superior Court




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                                                                                                                      Filed
City of Valparaiso, Florida                          FL         23-cv-02639    AFFF MDL (D.S.C.)                    6/13/2023

Seekonk Water District                               MA        2373CV00372     Commonwealth of Massachusetts -      6/13/2023
                                                                               Bristol Superior Court
Barber County Rural Water District #2                KS         23-cv-02662    AFFF MDL (D.S.C.)                    6/14/2023

City of Glen Dale Water Department                   WV         23-cv-02641    AFFF MDL (D.S.C.)                    6/14/2023

City of Robbinsdale                                  MN         62456/2023     Supreme Court of the State of NY -   6/14/2023
                                                                               Westchester County
City of Sheffield d/b/a Sheffield Utilities          AL         62457/2023     Supreme Court of the State of NY -   6/14/2023
                                                                               Westchester County
City of St. Marys                                    WV         23-cv-02661    AFFF MDL (D.S.C.)                    6/14/2023

City of Woburn                                       MA        2381CV01754     Commonwealth of Massachusetts -      6/14/2023
                                                                               Middlesex Superior Court
Town of North Smithfield                              RI        23-cv-02670    AFFF MDL (D.S.C.)                    6/14/2023

City of Edwardsville, Illinois                        IL        23-cv-02690    AFFF MDL (D.S.C.)                    6/15/2023

City of Springfield                                  OR         23-cv-02722    AFFF MDL (D.S.C.)                    6/15/2023

Tennyson Water Utility                                IN        23-cv-02719    AFFF MDL (D.S.C.)                    6/15/2023

Town of Plymouth                                     MA        2383CV00461     Commonwealth of Massachusetts -      6/15/2023
                                                                               Plymouth Superior Court
City of Aurora                                        IN        23-cv-02781    AFFF MDL (D.S.C.)                    6/16/2023

City of Waite Park                                   MN         62586/2023     Supreme Court of the State of NY -   6/16/2023
                                                                               Westchester County
Everton Water Corporation                             IN        23-cv-02784    AFFF MDL (D.S.C.)                    6/16/2023

Madrona Beach Water System                           WA         [Unassigned]   Supreme Court of the State of NY -   6/16/2023
                                                                               Westchester County
Township of Florence                                  NJ       BUR-L-001180-   State of New Jersey - Burlington     6/16/2023
                                                                    23         Superior Court
Village of Beverly                                   OH         62589/2023     Supreme Court of the State of NY -   6/16/2023
                                                                               Westchester County
Adams Waterworks                                     WI         62632/2023     Supreme Court of the State of NY -   6/19/2023
                                                                               Westchester County
City of Hamlet                                       NC          23-CV-590     State of North Carolina – Richmond   6/19/2023
                                                                               County Superior Court
City of Canton                                       MO         23-cv-02792    AFFF MDL (D.S.C.)                    6/19/2023

City of Maysville Utility Department                 KY         62633/2023     Supreme Court of the State of NY -   6/19/2023
                                                                               Westchester County




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City of Plainview                               MN          Unassigned    Supreme Court of the State of NY -   6/19/2023
                                                                          Westchester County
Green River City                                UT         23-cv-02793    AFFF MDL (D.S.C.)                    6/19/2023

And-Tro Water Authority                          IN        62651/2023     Supreme Court of the State of NY -   6/20/2023
                                                                          Westchester County
Bearcreek Municipal Water System                MT         62659/2023     Supreme Court of the State of NY -   6/20/2023
                                                                          Westchester County
Central Texas Water Supply Corporation          TX         62678/2023     Supreme Court of the State of NY -   6/20/2023
                                                                          Westchester County
City of Eagan                                   MN         62669/2023     Supreme Court of the State of NY -   6/20/2023
                                                                          Westchester County
City of Fairhope                                AL         62675/2023     Supreme Court of the State of NY -   6/20/2023
                                                                          Westchester County
City of Mayville W.W.                           WI         62686/2023     Supreme Court of the State of NY -   6/20/2023
                                                                          Westchester County
Colfax Water Supply                              IA        62655/2023     Supreme Court of the State of NY -   6/20/2023
                                                                          Westchester County
Corning Municipal Utilities                      IA        62680/2023     Supreme Court of the State of NY -   6/20/2023
                                                                          Westchester County
Country Village Mobile                          NY          Unassigned    Supreme Court of the State of NY -   6/20/2023
                                                                          Erie County
Eastmoreland W.S.A. Inc.                         IL        62710/2023     Supreme Court of the State of NY -   6/20/2023
                                                                          Westchester County
Town of Dover                                   VT         62687/2023     Supreme Court of the State of NY -   6/20/2023
                                                                          Westchester County
Town of Hot Sulphur Springs                     CO         23-cv-02813    AFFF MDL (D.S.C.)                    6/20/2023

Town of Lakeville                                IN        62699/2023     Supreme Court of the State of NY -   6/20/2023
                                                                          Westchester County
Town of Palmyra                                 NY          Unassigned    Supreme Court of the State of NY -   6/20/2023
                                                                          Wayne County
Village of Westfield                            NY        EK12023000760   Supreme Court of the State of NY -   6/20/2023
                                                                          Chautauqua County
City of Chippewa Falls                          WI         23-cv-02906    AFFF MDL (D.S.C.)                    6/21/2023

City of Great Bend                              KS         62734/2023     Supreme Court of the State of NY -   6/21/2023
                                                                          Westchester County
City of Litchfield                              MN         62735/2023     Supreme Court of the State of NY -   6/21/2023
                                                                          Westchester County
City of Pawtucket                                RI        62762/2023     Supreme Court of the State of NY -   6/21/2023
                                                                          Westchester County
City of Spearfish                               SD         62719/2023     Supreme Court of the State of NY -   6/21/2023
                                                                          Westchester County
City of Torrington                              WY         62720/2023     Supreme Court of the State of NY -   6/21/2023
                                                                          Westchester County




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City of Verndale                                  MN         62736/2023     Supreme Court of the State of NY -   6/21/2023
                                                                            Westchester County
City of Vernon                                    CA         23-cv-02882    AFFF MDL (D.S.C.)                    6/21/2023

Eddyville Water and Wastewater Utilities          KY         62730/2023     Supreme Court of the State of NY -   6/21/2023
                                                                            Westchester County
Hillcrest Manor W.U.A.                            NV         62737/2023     Supreme Court of the State of NY -   6/21/2023
                                                                            Westchester County
Lewisburg Water                                   TN         62745/2023     Supreme Court of the State of NY -   6/21/2023
                                                                            Westchester County
McGregor Municipal Utilities                       IA        62765/2023     Supreme Court of the State of NY -   6/21/2023
                                                                            Westchester County
New Windsor                                       NY        EF004015-2023   Supreme Court of the State of NY -   6/21/2023
                                                                            Orange County
Northwood Water Company, Inc.                     NY         EF20231629     Supreme Court of the State of NY -   6/21/2023
                                                                            Saratoga County
Oldham County Water District                      KY         62780/2023     Supreme Court of the State of NY -   6/21/2023
                                                                            Westchester County
Pine Valley Plantation Co-Op                      MA         62729/2023     Supreme Court of the State of NY -   6/21/2023
                                                                            Westchester County
Playgarten Water, Inc.                            NY         032760/2023    Supreme Court of the State of NY -   6/21/2023
                                                                            Rockland County
Rutland Town Fire District #5                     VT         23-cv-02907    AFFF MDL (D.S.C.)                    6/21/2023

San Gabriel Valley Water Company                  CA         23-cv-02873    AFFF MDL (D.S.C.)                    6/21/2023

Town of Hanover                                   MA         23-cv-02892    AFFF MDL (D.S.C.)                    6/21/2023

Town of Lincoln, Massachusetts                    MA         23-cv-02871    AFFF MDL (D.S.C.)                    6/21/2023

Town of Southbridge                               MA         06728/2023     Supreme Court of the State of NY -   6/21/2023
                                                                            Westchester County
Town of Woodstock                                 VA         62731/2023     Supreme Court of the State of NY -   6/21/2023
                                                                            Westchester County
Tri County Regional Water Distribution            AR         62732/2023     Supreme Court of the State of NY -   6/21/2023
District                                                                    Westchester County
Village of Browville                              NY          EF2023-       Supreme Court of the State of NY -   6/21/2023
                                                              00002458      Jefferson County
Village of Dresser                                WI         62757/2023     Supreme Court of the State of NY -   6/21/2023
                                                                            Westchester County
Village of Gilman                                 WI         62777/2023     Supreme Court of the State of NY -   6/21/2023
                                                                            Westchester County
Village of London Mills                            IL        62744/2023     Supreme Court of the State of NY -   6/21/2023
                                                                            Westchester County
Wayne County Water and Sewer Authority            NY         Unassigned     Supreme Court of the State of NY -   6/21/2023
                                                                            Wayne County




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Willow Brooks Estates                             NY         151161/2023    Supreme Court of the State of NY -   6/21/2023
                                                                            Westchester County
Bens Run Industrial Park Water System             WV         23-cv-02934    AFFF MDL (D.S.C.)                    6/22/2023

Brookville Water Works                             IN        23-cv-02933    AFFF MDL (D.S.C.)                    6/22/2023

Chalet Killington                                 VT         62828/2023     Supreme Court of the State of NY -   6/22/2023
                                                                            Westchester County
City of Cloquet                                   MN         23-cv-02932    AFFF MDL (D.S.C.)                    6/22/2023

City of Florence                                  SC         62809/2023     Supreme Court of the State of NY -   6/22/2023
                                                                            Westchester County
City of Wausau                                    WI         23-cv-02923    AFFF MDL (D.S.C.)                    6/22/2023

Fife Lake Area Utility Authority                  MI         62862/2023     Supreme Court of the State of NY -   6/22/2023
                                                                            Westchester County
First Utility District of Carter County           TN         23-cv-02946    AFFF MDL (D.S.C.)                    6/22/2023

Fountainhead Trailer Park                         NY         EF2023-428     Supreme Court of the State of NY -   6/22/2023
                                                                            Greene County
Great Lakes Adventist Academy                     MI         62825/2023     Supreme Court of the State of NY -   6/22/2023
                                                                            Westchester County
Jersey County Rural Water Company, Inc.            IL        23-cv-02938    AFFF MDL (D.S.C.)                    6/22/2023

Killington Village Inn                            VT         62828/2023     Supreme Court of the State of NY -   6/22/2023
                                                                            Westchester County
Lanesborough Village Fire and Water District      MA         23-cv-02914    AFFF MDL (D.S.C.)                    6/22/2023

Laurel County Water District #2                   KY         23-cv-02937    AFFF MDL (D.S.C.)                    6/22/2023

Mountain Barn Restaurant Water                    MA         62829/2023     Supreme Court of the State of NY -   6/22/2023
                                                                            Westchester County
North Baldwin Utilities                           AL         62820/2023     Supreme Court of the State of NY -   6/22/2023
                                                                            Westchester County
NYSAR Inc. Columbia County Chapter Water          NY        E012023020630   Supreme Court of the State of NY -   6/22/2023
System                                                                      Columbia County
Onondaga County Water Authority                   NY         006367/2023    Supreme Court of the State of NY -   6/22/2023
                                                                            Onondaga County
Oswego County                                     NY        EFC-2023-0877   Supreme Court of the State of NY -   6/22/2023
                                                                            Oswego County
Pease Sewer and Water System                      MN         62808/2023     Supreme Court of the State of NY -   6/22/2023
                                                                            Westchester County
Perry Park Water and Sanitation District          CO         23-cv-02941    AFFF MDL (D.S.C.)                    6/22/2023

Powell Road Mobile Home Park                      NY         2023-52072     Supreme Court of the State of NY -   6/22/2023
                                                                            Dutchess County




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Rolling Meadows Water Company            NY         EF2023-1412    Supreme Court of the State of NY -   6/22/2023
                                                                   Ulster County
Town of Halifax, Massachusetts           MA         23-cv-02908    AFFF MDL (D.S.C.)                    6/22/2023

Town of Jackson, Wyoming                 WY         23-cv-02943    AFFF MDL (D.S.C.)                    6/22/2023

Town of Middleborough                    MA         23-cv-02910    AFFF MDL (D.S.C.)                    6/22/2023

Township of Roxbury                       NJ        62831/2023     Supreme Court of the State of NY -   6/22/2023
                                                                   Westchester County
Tyler County PSD, West Virginia          WV         23-cv-02944    AFFF MDL (D.S.C.)                    6/22/2023

Village of Camp Douglas                  WI         62842/2023     Supreme Court of the State of NY -   6/22/2023
                                                                   Westchester County
Village of Chester                       NY        EF004033-2023   Supreme Court of the State of NY -   6/22/2023
                                                                   Orange County
Village of Endicott                      NY         23-cv-02918    AFFF MDL (D.S.C.)                    6/22/2023

Village of Grady                         NM         23-cv-02909    AFFF MDL (D.S.C.)                    6/22/2023

Village of Nassau                        NY        EF2023-274304   Supreme Court of the State of NY -   6/22/2023
                                                                   Rennsselaer County
Village of Owego                         NY        2023-00063013   Supreme Court of the State of NY -   6/22/2023
                                                                   Tioga County
Water Utility City of Asheville          NC         62824/2023     Supreme Court of the State of NY -   6/22/2023
                                                                   Westchester County
Western Berks Water Authority            PA         62/12/2023     Supreme Court of the State of NY -   6/22/2023
                                                                   Westchester County
Westmoreland Water District              NY         EFCA2023-      Supreme Court of the State of NY -   6/22/2023
                                                      001585       Oneida County
Westport Water                            IN        23-cv-02925    AFFF MDL (D.S.C.)                    6/22/2023

Wigwam Mutual Water Company              CO         23-cv-02935    AFFF MDL (D.S.C.)                    6/22/2023

Windemere Highlands, Inc.                NY         EF2023-1410    Supreme Court of the State of NY -   6/22/2023
                                                                   Ulster County




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                                             EXHIBIT O
                   Proceedings to be Stayed as Against Released Parties Only
The list of actions for the Court to stay as to Released Parties only, identified as Tier One or Tier
 Two bellwether cases under Case Management Order Nos. 13, 19, and 19-A in the MDL Cases.

                                                                               MDL Case
                                        Case
                                                                                 Number
      Bakman Water Company v. 3M Company, et al.                               19-cv-02784
      City of Dayton v. 3M Company, et al.                                     18-cv-03496
      City of Sioux Falls v. 3M Company, et al.                                19-cv-01806
      City of Stuart, FL v. 3M Company, et al.                                 18-cv-03487
      Emerald Coast Utilities Authority v. 3M Company, et al.                  18-cv-03488
      Hampton Bays Water District v. The 3M Company, et al.                    18-cv-03339
      Town of Ayer v. 3M Company, et al.                                       19-cv-03120
      Town of Maysville v. 3M Company, et al.                                  19-cv-03434
      Warminster Township Municipal Authority v. 3M Company, et al.            19-cv-02472
      Warrington Township v. 3M Company, et al.                                19-cv-02473

*This list shall be amended to include any additional cases brought by Public Water Systems
against any Released Party that are selected to proceed as bellwethers prior to Final Approval
and Dismissal.
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                                           EXHIBIT P
                                   Letter from Releasing Party



Dear [Person or Entity]:

This letter regards [Name of Releasing Party / Water System] (“[System]”), the 3M Company
(“3M”) and entities affiliated with 3M, and certain provisions in the Settlement Agreement
Between Public Water Systems and 3M Company approved by a federal judge on [date of Final
Approval] (“the Settlement” or the “Settlement Agreement”). The Settlement involves Drinking
Water and the group of chemicals commonly known as “PFAS.” All capitalized terms not
otherwise defined herein shall have the meaning set forth in the Settlement Agreement.

The purpose of this letter is to provide information about the broad, inclusive, and expansive
release that [System] has provided to 3M and certain entities affiliated with 3M as part of a
Settlement between Public Water Systems across the country and 3M.

This letter does not provide or purport to provide you with legal advice. Nothing in this letter
modifies or purports to modify any part of the Settlement. Rather, this letter explains certain rights
and responsibilities of [System] and 3M in light of the Settlement. If you would like to review the
terms of the Settlement itself, it is available at [URL].

Claims Released by [System] Under the Settlement

Under the Settlement, [System] has released certain Claims against 3M and entities affiliated with
3M (collectively, the “Released Parties”) such that those Claims are fully, finally, and forever
resolved. Subject to certain exceptions, under the Settlement, [System] has released as broadly,
expansively, and inclusively as possible any Claim:

   1. Arising out of, relating to, or involving PFAS that has entered or may enter Drinking Water
      or the Public Water System of [System], as that term is defined in the Settlement, that:
           a) was or could have been asserted in the Litigation and that arises or may arise at any
              time in the future out of, relates to, or involves Drinking Water or [System]’s Public
              Water System;
           b) is for any type of relief with respect to the design, engineering, installation,
              maintenance, or operation of, or cost associated with, any kind of treatment,
              filtration, remediation, management, investigation, testing, or monitoring of PFAS
              in Drinking Water or in [System]’s Public Water System; or
           c) has arisen or may arise at any time in the future out of, relates to, or involves any
              increase in the rates for Drinking Water that [System] charges its customers;
   2. Arising out of, relating to, or involving the development, manufacture, formulation,
      distribution, sale, transportation, storage, loading, mixing, application, or use of PFAS or
      any product (including aqueous film-forming foam (“AFFF”)) manufactured with or
      containing PFAS (to the extent such Claim relates to, arises out of, or involves PFAS);


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   3. Arising out of, relating to, or involving [System]’s transport, disposal, or arrangement for
      disposal of PFAS-containing waste or PFAS-containing wastewater, or [System]’s use of
      PFAS-containing water for irrigation or manufacturing;
   4. Arising out of, relating to, or involving representations about PFAS or any product
      (including AFFF) manufactured with or containing PFAS (to the extent such Claim relates
      to, arises out of, or involves PFAS); and/or
   5. For punitive or exemplary damages that has arisen or may arise at any time in the future
      out of, relates to, or involves PFAS or any product (including AFFF) manufactured with or
      containing PFAS (to the extent such Claim relates to, arises out of, or involves PFAS).

3M and the Other Released Parties Have No Further Obligation to Pay

Through its payments under the Settlement, 3M has fully resolved any and all duties and
obligations that it or the other Released Parties might have to contribute funds toward or otherwise
address any alleged damages, treatment, filtration, or remediation that in any way arises out of,
relates to, or involves PFAS that has entered or may enter Drinking Water or the Public Water
System of [System] or any other Releasing Party.

[System] Has Ensured that PFAS Concentrations Are Kept Below Regulatory Limits

[System] has ensured that PFAS concentrations in its Drinking Water are below final federal and
final state regulatory limits for PFAS.

Sincerely,

[signature of authorized representative of Releasing Party / Water System]




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                                              EXHIBIT Q
                                         Allocation Procedures

Allocation Procedures Overview

This Document describes the Allocation Procedures referred to in Section 6 of the Settlement Agreement.

The Court will appoint a Special Master and Claims Administrator pursuant to Rule 53 of the Federal
Rules of Civil Procedure to oversee the allocation of the Settlement Funds. They will adhere to their
duties set forth herein and in the Settlement Agreement. The Special Master will generally oversee the
Claims Administrator and make any final decision(s) related to any appeals by Qualifying Class Members
or 3M and any ultimate decision(s) presented by the Claims Administrator. The Claims Administrator
will perform the actual modeling, allocation, and payment functions. The Claims Administrator will seek
assistance from the Special Master when needed. The Claims Administrator may seek the assistance of
Interim Class Counsel’s consultants who provided guidance in designing the Allocation Procedures.

Qualifying Class Members fall into one of two categories, Phase One Qualifying Class Members or Phase
Two Qualifying Class Members. The Settlement Amount will be allocated between and among Phase
One Qualifying Class Members and Phase Two Qualifying Class Members as set forth in the Settlement
Agreement and these Allocation Procedures.

The Claims Administrator shall not allow for duplicate recoveries for PFAS in or entering a Class
Member’s Public Water System.

A Class Member will not be allocated or receive its share of the Settlement Amount if it does not submit a
timely and complete Claims Form.

Claims Forms will be available online and can be submitted to the Claims Administrator electronically or
on paper. Putative Class Members can begin providing information required by the Claims Forms once an
Order Granting Preliminary Approval has been issued, then finalize submission following the Effective
Date. The Claims Forms will vary depending on the applicable class membership category (Phase One or
Phase Two) and on the specific fund(s) from which compensation is sought.

DEFINITIONS

As used in the Settlement Agreement and this Exhibit, the following terms have the defined meanings set
forth below. Unless the context requires otherwise, (a) words expressed in the plural form include the
singular, and vice versa; (b) words expressed in the masculine form include the feminine and gender
neutral, and vice versa; (c) the word “will” has the same meaning as the word “shall,” and vice versa; (d)
the word “or” is not exclusive; (e) the word “extent” in the phrase “to the extent” means the degree to
which a subject or other thing extends, and such phrase does not simply mean “if”; (f) references to any
law include all rules, regulations, and sub-regulatory guidance promulgated thereunder; (g) the terms
“include,” “includes,” and “including” are deemed to be followed by “without limitation”; and (h)
references to dollars or “$” are to United States dollars.

All capitalized terms herein shall have the same meanings set forth in the Settlement Agreement or in the
additional definitions set forth below.

“Adjusted Base Score” has the meaning set forth in Paragraph II(6)(f) of these Allocation Procedures.

"Adjusted Flow Rate” has the meaning set forth in Paragraph II(6)(d) of these Allocation Procedures.

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“Base Score” has the meaning set forth in Paragraph II(6)(e) of these Allocation Procedures.

"Baseline Testing” has the meaning set forth in Paragraph III(3) of these Allocation Procedures.

“Capital Costs Component” has the meaning set forth in Paragraph II(6)(e)(ii) of these Allocation
Procedures.

“Litigation Bump” has the meaning set forth in Paragraph II(6)(f)(iii) of these Allocation Procedures.

“Operation and Maintenance Costs Component” has the meaning set forth in Paragraph II(6)(e)(iii) of
these Allocation Procedures.

“PFAS Score” has the meaning set forth in Paragraph II(6)(c) of these Allocation Procedures.

“PFOA” means Chemical Abstracts Service registry number 45285–51–6 or 335–67–1, chemical formula
C8F15CO2, perfluorooctanoate, along with its conjugate acid and any salts, isomers, or combinations
thereof.

“PFOS” means Chemical Abstracts Service registry number 45298–90–6 or 1763–23–1, chemical
formula C8F17SO3, perfluorooctanesulfonate, along with its conjugate acid and any salts, isomers, or
combinations thereof.

“Proposed Federal PFAS MCLs” means the maximum level of a specific PFAS analyte (or a mixture
containing one or more PFAS analytes) in Drinking Water that can be delivered to any user of a Public
Water System without violating the rule proposed in 88 Fed. Reg. 18,638, 18,748 (Mar. 29, 2023)
(proposing 40 C.F.R. § 141.61(c)(34)–(36) & n.1). If the federal PFAS MCLs are finalized before the
Court issues Final Approval, the final federal PFAS MCLs will be utilized instead of the Proposed
Federal PFAS MCL; otherwise, the Proposed Federal PFAS MCLs will be used.

“Public Water Provider Bellwether Bump” has the meaning set forth in Paragraph II(6)(f)(iv) of these
Allocation Procedures.

“Regulatory Bump” has the meaning set forth in Paragraph II(6)(f)(ii) of these Allocation Procedures.

“Settlement Award” has the meaning set forth in Paragraph II(6)(g) of these Allocation Procedures.

“State MCL” means the Maximum Contaminant level of a specific PFAS analyte (or a mixture containing
one or more PFAS analytes) in Drinking Water that can be delivered to any user of a Public Water
System without violating the law of the state where that Public Water System is located as of the
Settlement Date.




I. Verification of Qualifying Class Members

    1. The Claims Administrator will verify that each entity that submitted a Claims Form is a
       Qualifying Class Member and the category into which the Class Member falls.


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         a. A Phase One Qualifying Class Member is an Active Public Water System in the United
            States that has one or more Impacted Water Sources as of the Settlement Date.

         b. A Phase Two Qualifying Class Member is an Active Public Water System that does not
            have one or more Impacted Water Sources as of the Settlement Date and

                   i.   Is required to test for certain PFAS under UCMR-5, or

                  ii.   Serves more than 3,300 people as defined under SDWIS.

  2. Exclusions from the Settlement Class:

         a. Non-Transient Non-Community Water Systems serving 3,300 or fewer people,

         b. Transient Non-Community Water Systems of any size,

         c. The Public Water Systems listed in Exhibit G, which are associated with a specific
            PFAS-manufacturing facility owned by 3M,

         d. Any Public Water System that is owned by a state government, is listed in SDWIS as
            having as its sole “Owner Type” a “State government” (as set forth in Exhibit H), and
            lacks independent authority to sue and be sued,

         e. Any Public Water System that is owned by the federal government, is listed in SDWIS as
            having as its sole “Owner Type” the “Federal government” (as set forth in Exhibit I) and
            lacks independent authority to sue and be sued,

         f.   The Public Water Systems that are listed in Exhibit J and have previously settled their
              PFAS-related Claims against 3M, and

         g. Any privately owned well that provides water only to its owner’s (or its owner’s tenant’s)
            individual household and any other system for the provision of water for human
            consumption that is not a Public Water System.

  3. Validation of Data

         a. The Claims Administrator will review the information provided on a Qualifying Class
            Member’s Claims Form(s) to ensure it is complete. Information about each Impacted
            Water Source listed by a Class Member shall be submitted with verified supporting
            documentation as specified in the Claims Form(s).

         b. The Claims Administrator will examine each Impacted Water Source’s test results to
            confirm that all sample results are Qualifying Test Results. This examination will verify
            membership in the Class and will also be used for scoring purposes as outlined below.

                   i. A Qualifying Test Result means the result of a test conducted by or at the
                      direction of a Class Member or a federal, state, or local regulatory authority, or
                      any test result reported or provided to the Class Member by a certified laboratory
                      or other Person, that used any state- or federal agency-approved or -validated
                      analytical method to analyze Drinking Water or water that is to be drawn or
                      collected into a Class Member’s Public Water System.

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                   ii. Qualifying Class Members may submit Qualifying Test Results from untreated
                       (raw) or treated (finished) water samples. However, all samples must be drawn
                       from a Water Source that is or was utilized by the Qualifying Class Member to
                       provide Drinking Water.

           c. The Claims Administrator will confirm each Class Member’s population served or
              number of service connections with information provided by the Class Member to the
              U.S. EPA or a state agency. Any conflicts in population served or service connections
              data will be resolved in favor of the data most-recently reported to the U.S. EPA or state
              agency, provided, however, that solely for purposes of determining whether a Public
              Water System is subject to UCMR-5 pursuant to Paragraph I.1.b.i of these Allocation
              Procedures, a Public Water System’s retail population served as indicated by the SDWIS
              inventory on February 1, 2021, shall control.

           d. For each Impacted Water Source, the Claims Administrator will verify the maximum
              flow rate of a groundwater well or the flow rate of the water that enters the treatment
              plant of a surface water system. The Claims Administrator will also verify the three (3)
              highest annual average flow rates of the groundwater well or surface water system over a
              ten-year period (2013-2022). Documentation related to the flow rates of each Impacted
              Water Source must be verified by each Qualifying Class Member as part of the Claims
              Form.

           e. The Claims Administrator will notify Qualifying Class Members with incomplete Claims
              Forms of the requirements to cure deficiencies.

II. Phase One Allocation Procedures

   1. Phase One Verification:

               The Claims Administrator will verify whether each Qualifying Class Member is a Phase
               One Qualifying Class Member by determining whether the Qualifying Class Member has
               one or more Impacted Water Sources as of the Settlement Date.

   2. Phase One Baseline Testing

           a. Each Phase One Qualifying Class Member must test each of its Water Sources for PFAS,
              request from the laboratory that performs the analyses all analytical results, including the
              actual numeric values, and submit detailed PFAS test results to the Claims Administrator
              on a Claims Form by dates specified below. This process is referred to as Baseline
              Testing.

           b. Any Public Water System that has an Impacted Water Source based on a test conducted
              on or before the Settlement Date does not need to test that Water Source again for
              purposes of Baseline Testing.

           c. If a Water Source was tested only prior to January 1, 2019, and its test results do not
              show a Measurable Concentration of PFAS, that Water Source must be retested to meet
              Baseline Testing requirements. If a Water Source was tested on January 1, 2019, or later,
              and its test results do not show a Measurable Concentration of PFAS, no further testing of
              that Water Source is required.

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        d. Baseline Testing requires the following:

                 i.   PFAS tests must be conducted at a minimum for the 29 PFAS analytes for
                      which UCMR-5 requires testing, and

                ii.   the PFAS test results must report any Measurable Concentration of PFAS,
                      regardless of whether the level of PFAS detected in the water is above or below
                      UCMR-5’s relevant minimum reporting level.

        e. Failure to test and submit Qualifying Test Results for Water Sources will disqualify
           Water Sources from consideration for present and future payments.

  3. Non-Detect Water Sources

        a. The Claims Administrator will maintain the reported Baseline Testing results that have
           no Measurable Concentration of PFAS submitted by Phase One Qualifying Class
           Members.

        b. Water Sources reporting no Qualifying Test Result showing a Measurable Concentration
           of PFAS may be eligible for funding from the Phase One Supplemental Fund.

  4. Phase One Supplemental Fund

        a. The Escrow Agent will transfer into the Phase One Supplemental Fund seven percent
           (7%) of each payment 3M has made into the Phase One Action Fund in accordance with
           the Payment Schedule.

        b. The Phase One Supplemental Fund will be used to compensate the following Phase One
           Qualifying Class Member’s Water Sources:

                 i. Water Sources that were reported in a Phase One Public Water System
                    Settlement Claims Form to have no Qualifying Test Result showing a
                    Measurable Concentration of PFAS and because of later PFAS testing obtain a
                    Qualifying Test Result showing a Measurable Concentration of PFAS, or

                ii. Impacted Water Sources that do not exceed an applicable State MCL or the
                    Proposed Federal PFAS MCLs at the time their Phase One Claims Forms are
                    submitted and because of later PFAS testing obtain a Qualifying Test Result
                    showing a Measurable Concentration of PFAS that exceeds the Proposed Federal
                    PFAS MCLs or an applicable State MCL.

        c. A Phase One Qualifying Class Member may submit a Phase One Supplemental Fund
           Claims Form to the Claims Administrator at any time up to and including December 31,
           2030.

        d. The Claims Administrator will individually calculate for each Impacted Water Source
           that has submitted a Phase One Supplemental Fund Claims Form to approximate, as
           closely as is reasonably possible, the amount that each Impacted Water Source would
           have been allocated had it been in the Phase One Action Fund (Allocated Amount).


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        e. The Claims Administrator shall issue funds from the Phase One Supplemental Fund in
           amounts that reflect the difference between the Impacted Water Source’s Allocated
           Amount and what the Qualifying Class Member has already received, if anything, for the
           Impacted Water Source.

        f.   In the event the Phase One Supplemental Fund requires additional funding, the Claims
             Administrator, with the approval of the Special Master, may exercise discretion to
             replenish the Phase One Supplemental Fund from future payment obligations to the Phase
             One Action Fund.

        g. The Claims Administrator shall pay any money remaining in the Phase One
           Supplemental Fund as of December 31, 2033, to the Phase One Qualifying Class
           Members, divided among the Phase One Qualifying Class Members in the proportions as
           prior total payments to each Phase One Qualifying Class Member from all funds
           established by the Settlement Agreement.

  5. Phase One Special Needs Fund

        a. The Escrow Agent will transfer into the Phase One Special Needs Fund five percent (5%)
           of each payment 3M has made into the Phase One Action Fund in accordance with the
           Payment Schedule.

        b. Over the last decade, Qualifying Class Members have been faced with how to deal with
           discovering PFAS in their Impacted Water Sources. Many have also faced state PFAS
           advisories and regulations. Some Qualifying Class Members or affiliated parties may
           have responded by taking action(s) to limit PFAS impacts to their customers and Water
           Sources. Without limiting the possible actions taken by Qualifying Class Members,
           examples include: taking wells offline, reducing flow rates, drilling new wells, pulling
           water from other sources, and/or purchasing supplemental water.

        c. The Phase One Special Needs Fund is intended to compensate those Phase One
           Qualifying Class Members that spent money to address PFAS detections in their
           Impacted Water Sources, including to reimburse or re-pay affiliated parties that took such
           actions. This is in addition to any other compensation provided by the Settlement.

        d. A Phase One Qualifying Class Member may submit to the Claims Administrator a Phase
           One Special Needs Fund Claims Form up to forty-five (45) calendar days after
           submitting its Public Water System Settlement Claims Form.

        e. After receiving all timely Phase One Special Needs Fund Claims Forms, the Claims
           Administrator will review such forms and determine which Phase One Qualifying Class
           Members shall receive additional compensation and the amount of compensation. The
           Claims Administrator will recommend the awards to the Special Master, who must
           review and ultimately approve or reject them.

        f.   The Claims Administrator shall pay any money remaining in the Phase One Special
             Needs Fund to the Phase One Qualifying Class Members, divided among the Phase One
             Qualifying Class Members in the proportions as prior total payments to each Phase One
             Qualifying Class Member from all funds established by the Settlement Agreement after
             all Special Needs Claims have been reviewed and paid.


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  6. Phase One Action Fund

        a. The deadline for Phase One Qualifying Class Members to submit a Public Water System
           Settlement Claims Form for all Impacted Water Sources is sixty (60) calendar days after
           the Effective Date. This deadline can be extended by the Claims Administrator only if a
           Phase One Qualifying Class Member demonstrates that it has, prior to such deadline,
           submitted water samples necessary to meet the requirements of Baseline Testing and is
           awaiting analytical results from a laboratory capable of issuing a Qualifying Test Result.

        b. The Claims Administrator will calculate payments from the Phase One Action Fund after
           the Escrow Agent has transferred the amounts described above for the Phase One
           Supplemental Fund and the Phase One Special Needs Fund. The Phase One Action Fund
           will be allocated to the Phase One Qualifying Class Members’ Impacted Water Sources
           using the following allocation methodology.

        c. PFAS Score

                 i.   For purposes of calculating each Impacted Water Source’s PFAS Score, the
                      Claims Administer will examine the Phase One Qualifying Class Member’s
                      Public Water System Settlement Claims Form to determine the highest
                      concentration, expressed in parts per trillion (“ppt,” or nanograms per liter),
                      that the Impacted Water Source has shown, according to one or more
                      Qualifying Test Results, for PFOA, for PFOS, and for any other single PFAS
                      analyte listed on the Claims Form.

                ii.   The Claims Administrator will determine each Impacted Water Source’s PFAS
                      Score by taking the GREATER of either:

                                a. the sum of the maximum levels for PFOA and for PFOS,

                                           PFAS Score = [PFOA (Max Level) + PFOS (Max Level)]

                                    or

                                b. the sum of the maximum levels of PFOA and PFOS averaged
                                   with the square root of the maximum level of any other single
                                   PFAS analyte listed on the Claims Form.




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           PFAS Score = {[PFOA (Max Level) + PFOS (Max Level)] + Other PFAS (Max level)0.5} / 2

                                   Examples of Determining PFAS Score:

 CWS 1 owns and operates 4 water sources: Surface Water (SW) System A, Well B, Well C, and Well D. The
 maximum levels of each PFAS analyte for each Water Source and the PFAS Scores are listed below.

                                     Avg. of
                        Sum of      (PFOA +
       Impacted                                       PFAS      Max  Max  Max  Max   Max
                        PFOS +      PFOS) &
      Water Source                                    Score    PFOA PFOS PFNA PFHxS PFHxA
                         PFOA       Max Other
                                      PFAS
       SW System A         62         35.15            62        15       47       8.3       5              0
         Well B           0.95         .475           0.95      0.95       0        0        0              0
         Well C            0             0              0         0        0        0        0              0
         Well D           15.2         27.6           27.6       12       3.2       0       1600           5.2


          d. Adjusted Flow Rate

                   i.   Impacted Water Sources’ flow rates can be reported in the Claims Forms in
                        either gallons per minute (gpm) or Million Gallons per Day (MGD). One
                        thousand (1,000) gpm equals 1.44 MGD because there are one thousand four
                        hundred forty (1,440) minutes in each day. The Claims Administrator must
                        convert the MGD reported flow rates into gpm for all calculations.

                  ii.   Groundwater water sources should report flow rates from the groundwater
                        well. Surface water sources should report the flow rate of the water that enters
                        the treatment plant.

                 iii.   The Claims Administrator will determine the Adjusted Flow Rate for each
                        Impacted Water Source by first averaging the three highest annual average
                        flow rates that the Qualifying Class Member drew from the groundwater
                        Impacted Water Source or that entered the surface-water treatment plant. The
                        three highest annual average flow rates can be selected from a ten-year period
                        from 2013-2022. This average will then be averaged with the verified
                        maximum flow rate of a groundwater Impacted Water Source or the maximum
                        flow rate entering a surface water Impacted Water Source.

                 iv.    If the Phase One Qualifying Class Member can demonstrate that an Impacted
                        Water Source was taken off-line or reduced its flow rate as a result of PFAS
                        contamination and additional years are needed to obtain accurate flow rates not
                        impacted by PFAS, the Claims Administrator can consider years beyond the
                        2013-2022 timeframe.

                  v.    For purposes of the Allocation Procedures, a purchased water connection from
                        a seller that is a Water Source is not a Water Source.




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              vi.    For purposes of the Allocation Procedures, a Public Water System’s multiple
                     intakes from one distinct surface water source are deemed to be a single Water
                     Source so long as the intakes supply the same water treatment plant.

              vii.   For purposes of the Allocation Procedures, a Public Water System’s intakes
                     from one distinct surface-water source that supply multiple water treatment
                     plants are deemed to each be a separate Water Source.

             viii.   For purposes of the Allocation Procedures, a Public Water System’s multiple
                     groundwater wells (whether from one distinct aquifer or from multiple distinct
                     aquifers) that supply multiple water treatment plants are deemed to each be a
                     separate Water Source.

              ix.    If a water treatment plant is blending both surface water and groundwater
                     before treatment, only one Adjusted Flow Rate is used.

               x.    In the event a Public Water System owns both groundwater wells and surface
                     water system(s) that have separate treatment plants, they shall be deemed to
                     each be a separate Water Source.

        e. Base Score Calculations

                i.   The Base Score will be calculated using two primary components: a proxy for
                     capital costs and a proxy for operation and maintenance (O&M) costs. Capital
                     costs are driven primarily by the size of the Impacted Water Source. O&M
                     costs are driven primarily by the size of the Impacted Water Source and the
                     concentration of PFAS.

            Base Score = Capital Costs Component + Operation and Maintenance Costs Component

               ii.   Capital Costs Component

                               a. U.S. EPA published a revision of its “Work Breakdown
                                  Structure-Based Cost Model for Granular Activated Carbon
                                  Drinking Water Treatment” in March 2023. This publication
                                  includes a Work Breakdown Structure (WBS) model that
                                  estimates the cost of treating PFAS contamination based on the
                                  flow rate of an Impacted Water System. A cost curve can be
                                  derived from the U.S. EPA WBS which expresses treatment
                                  costs in cost per thousand gallons produced. The below “Flow
                                  Rate Adjustment Factor” graph is the cost curve relating the
                                  treatment cost per thousand gallons as a function of overall size.
                                  This cost curve recognizes a decrease in unit cost as the flow rate
                                  for an Impacted Water Source increases. Each Impacted Water
                                  Source’s Capital Costs Component of the Base Score is
                                  calculated off this cost curve.

                     Capital Cost Component = (EPA unit cost * flow rate)

                     Treatment cost per thousand gallons = 7.7245 *(Flow Rate)-0.281


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                    Capital Cost Score = annual 1000 G units * treatment cost per thousand gallons




             iii.   Operation and Maintenance Costs Component

                              a. The factors that affect O&M can be complex and depend on a
                                 range of factors (including but not limited to influent source
                                 quality, pH, temperature, type and concentration of PFAS
                                 influent, media used, etc.). However, the volume capacity of
                                 treatment media to remove PFAS decreases as the concentration
                                 of PFAS increases. This necessitates more frequent replacements
                                 of the treatment media, which increases the quantity of spent
                                 media that must be discarded. This increases the O&M costs of
                                 PFAS treatment.

                              b. There is an observed increase in O&M costs as PFAS
                                 concentration increase. The available data suggest that as
                                 concentrations increase, O&M costs will increase in a non-linear,
                                 curved relationship as it is easier and less expensive to remove
                                 higher concentrations up to a certain level. The increase in O&M
                                 costs is thus a function of the PFAS levels and the size of the
                                 system (reflected in the Capital Cost Component). The following
                                 equation represents this relative relationship which considers that
                                 all Qualifying Class Members will require basic O&M tied to the
                                 Capital Cost Component as well as additional O&M driven by
                                 the level of PFAS concentrations.

          O&M Cost Component = ((PFAS Modifier*PFAS Score) * Capital Cost Component) +
          Capital Cost Component

          PFAS Modifier = 0.005

                              c. The result is an exponential reduction in the unit cost of PFAS
                                 removal as PFAS concentrations increase. This exponential
                                 effect is captured in part by the Allocation Procedures’ nonlinear


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                                        approach to flow rates and in part by the Allocation Procedures’
                                        use of a square-root factor for certain PFAS analytes.

                                    d. When the Base Score is calculated where the O&M Costs
                                       Component and Capital Costs Component are combined, a
                                       roughly three-fold difference is obtained over the regulatory
                                       threshold of 4 ppt to 1000 ppt. The results of this calculation are
                                       shown in the below example for the EPA WBS standard design
                                       system at 1494 GPM as a function of relative PFAS
                                       concentrations.

(EPA unit cost * flow rate) + ((PFAS Modifier*PFAS Score) * Capital Cost Component) + Capital Cost
Component




                                    Example of Determining Base Score

    CWS 1’s SW System A has a PFAS Score of 62 and an Adjusted Flow Rate of 1,494 gpm.

    Cost per 1,000 gallon production = 7.7245 * (1,494) -0.281 = .99

    Annual 1000 gallons units (1,494 * 60 * 24 *365) / 1,000 = 785,246

    Capital Costs Component = 785,246 * .99 = 777,828

    O&M Costs Component = ((62 * .005) * 777,828) + 777,828 = 1,018,955

    Base Score = 777,828 + 1,018,955 = 1,796,783


           f.   Adjusted Base Score

                    i.    After calculating the Base Score of each Impacted Water Source, the Claims
                          Administrator then will apply any Bumps based on certain factors defined
                          below. This will yield the Adjusted Base Score for each Impacted Water
                          Source.

                   ii.    Regulatory Bump:


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                         a. An Impacted Water Source’s Base Score will receive a Regulatory
                            Bump if the Impacted Water Source:

                                       i. exceeds the four (4) ppt Proposed Federal PFAS MCL
                                          for PFOS or the four (4) ppt Proposed Federal PFAS
                                          MCL for PFOA;

                                      ii. exceeds the Proposed Federal PFAS MCL Hazard Index
                                          (based on 9 ppt PFHxS, 10 ppt GenX chemicals, 10 ppt
                                          PFNA, 2000 ppt PFBS – applying the Hazard Index
                                          formula set forth in 88 Fed. Reg. 18,638, 18,748 (Mar.
                                          29, 2023) (proposing 40 C.F.R. § 141.61(c)(36) & n.1
                                          (2023)); or

                                      iii. exceeds an applicable State MCL that is below the
                                           Proposed Federal PFAS MCL for the same PFAS
                                           analyte, or exceeds an applicable State MCL for a PFAS
                                           analyte for which there is no Proposed Federal PFAS
                                           MCL.

                         b. The Claims Administrator will consider all Proposed Federal PFAS
                            MCLs and existing State MCLs for PFAS analytes existing on the
                            date the Court issues a Final Approval to determine if an Impacted
                            Water Source has ever exceeded any applicable standard.

                         c. The Claims Administrator will adjust the Base Score for those
                            Impacted Water Sources that are subject to the Regulatory Bump by
                            a positive adjustment factor of 4.00.

            iii.    Litigation Bump

                         a. The Litigation Bump applies to the Impacted Water Sources of any
                            Qualifying Class Member that, as of the Settlement Date, had
                            pending Litigation in the United States of America in which it asserts
                            against any Released Party any Claim related to alleged actual or
                            potential PFAS contamination of Drinking Water.

                         b. No more than one Litigation Bump may apply to an Impacted Water
                            Source.

                         c. For cases on file by December 31, 2020, the Claims Administrator
                            will adjust the Base Score for those Impacted Water Sources by a
                            positive adjustment factor of 0.25.

                         d. For cases filed in 2021, the Claims Administrator will adjust the
                            Base Score for those Impacted Water Sources by a positive
                            adjustment factor of 0.20.




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                            e. For cases filed in 2022, the Claims Administrator will adjust the
                               Base Score for those Impacted Water Sources by a positive
                               adjustment factor of 0.15.

                            f.   For cases filed between January 1, 2023, and the Settlement Date,
                                 the Claims Administrator will adjust the Base Score for those
                                 Impacted Water Sources by a positive adjustment factor of 0.10.

             iv. Public Water Provider Bellwether Bump

                       a.        The Public Water Provider Bellwether Bump applies to any
                                 Impacted Water Source that is owned or operated by a Qualifying
                                 Class Member that served as one of the ten Public Water Provider
                                 Bellwether Plaintiffs.

                       b.        More than one Public Water Provider Bellwether Bump can be
                                 applied to an Impacted Water Source (i.e., the Qualifying Class
                                 Member selected as the final Public Water Provider Bellwether
                                 Plaintiff will receive all three adjustments provided below).

                       c.        The Claims Administrator will adjust the Base Scores for Qualifying
                                 Class Members that were selected as one of the ten Tier One Public
                                 Water Provider Bellwether cases by a positive adjustment factor of
                                 0.15.

                       d.        The Claims Administrator will adjust the Base Scores for Qualifying
                                 Class Members that were selected as one of the three Tier Two
                                 Public Water Provider Bellwether cases by a positive adjustment
                                 factor of 0.20.

                       e.        The Claims Administrator will adjust the Base Scores for the
                                 Qualifying Class Member that was selected as the final Public Water
                                 Provider Bellwether case by a positive adjustment factor of 0.25.

             v. For each Impacted Water Source, the Claims Administrator will sum the
                applicable Bump adjustments and multiply the summed adjustments by the Base
                Score. Then, the Claims Administrator will take this total and add it to the Base
                Score to determine the Adjusted Base Score.




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                         Adjusted Base Score = (Sum of Adjustments * Base Score) + Base Score

                            Example of Determining Adjusted Base Score

 CWS 1’s SW System A’s PFAS levels exceed the Proposed Federal PFAS MCL. CWS 1 filed a
 lawsuit in the AFFF MDL on November 1, 2022, against 3M and it was not selected as a Public
 Water Provider Bellwether Plaintiff. System A will receive the following Bumps:
                                                Regulatory Bump:          4.00
                                                Litigation Bump:          0.15
                                                Total Adjustment:         4.15

 Adjusted Base Score = (Sum of Adjustments * Base Score) + Base Score

 (4.15 * 1,796,783) + 1,796,783 = 9,253,432.5

           g. Settlement Award

                         The Claims Administrator will first divide an Impacted Water Source’s Adjusted
                         Base Score by the sum of all Adjusted Base Scores. This number gives each
                         Impacted Water Source its percentage of the Phase One Action Fund. Then, that
                         percentage is multiplied by the Phase One Action Fund to provide the Settlement
                         Award for each Impacted Water Source.

                         Settlement Award = (Adjusted Base Score / Sum of All Adjusted Base Scores)
                         * (Phase One Action Fund)

           h. Claims Administrator Notification to Phase One Qualifying Class Members

                         The Claims Administrator will notify each Phase One Qualifying Class Member
                         of the Settlement Awards for all its Impacted Water Sources. Class Counsel and
                         3M shall simultaneously receive copies of all such notices, as well as a report on
                         the allocation of all amounts paid to Phase One Qualifying Class Members.

                         The Claims Administrator also will notify Class Counsel and 3M of the amounts
                         that the Public Water Systems for the City of Stuart, Florida, and for the City of
                         Rome, Georgia, would have received as Phase One Qualifying Class Members
                         under the Allocation Procedures described in this Exhibit. 3M shall receive
                         credits for those amounts against its Phase One payments under the Settlement
                         Agreement.

           i.   Requests for Reconsideration to the Claims Administrator

                    i.     After a Phase One Qualifying Class Member receives notification of its
                           Settlement Award from the Claims Administrator, it will have ten (10)
                           Business Days from the receipt of such notification to request that the Special
                           Master reconsider a part of the calculation based on a mistake/error alleged to
                           have occurred. The Phase One Qualifying Class Member has no other
                           appellate rights.




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                 ii.   After they receive notification from the Claims Administrator, 3M and Class
                       Counsel shall each have ten (10) Business Days to request that the Special
                       Master reconsider any of the calculations based on a mistake/error alleged to
                       have occurred.

                iii.   After the Special Master receives all timely requests for reconsideration, the
                       Special Master within ten (10) Business Days shall make a decision on the
                       request for reconsideration, and, if warranted will request that the Claims
                       Administrator correct any mistakes/errors and run the calculations again.
                       Except when Section 7 of the Settlement Agreement provides otherwise, any
                       decision by the Special Master is final, binding, and non-appealable.

        j.   Payments for the Phase One Action Fund

              3M shall make payments for the Phase One Action Fund in multiple installments over
              time, as set forth in the Payment Schedule in Exhibit K. The first installment will be
              paid within sixty (60) calendar days after the Effective Date, but in any event no earlier
              than July 1, 2024. As set forth in the Payment Schedule in Exhibit K, nine (9)
              subsequent payments will be made annually thereafter for nine (9) years, on April 15 of
              each calendar year (unless 3M invokes the Settlement Agreement’s late-payment
              provision). The total amount of all payments described in this Paragraph, excluding
              any interest paid for late payment, but including the amounts that the Public Water
              Systems for the City of Stuart, Florida, and for the City of Rome, Georgia, would have
              received as Phase One Qualifying Class Members under the Allocation Procedures, will
              be $6,875,000,000. Within five (5) Business Days after each payment described in this
              Paragraph, the Escrow Agent shall transfer seven percent (7%) of the payment amount
              into the Phase One Supplemental Fund and five percent (5%) of the payment amount
              into the Phase One Special Needs Fund.

        k. Payments from the Phase One Action Fund

             It is contemplated that within fourteen (14) calendar days, but no later than sixty (60)
             calendar days (or in the first year of Phase One Action Fund payments, one hundred
             twenty (120) calendar days), after each payment by 3M, each Phase One Qualifying
             Class Member shall receive a payment from the Phase One Action Fund, unless that
             Qualifying Class Member has already received its entire Allocated Amount.




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III. Phase Two Allocation Procedures

   1. Phase Two Verification:

       The Claims Administrator will verify whether each Qualifying Class Member is a Phase Two
       Qualifying Class Member by determining the following:

       Did the Qualifying Class Member’s first Qualifying Test Result for its first Impacted Water
       Source occur after the Settlement Date, and

           a. Is it required to test for certain PFAS under UCMR-5, or

           b. Does it serve more than 3,300 people, according to SDWIS?

   2. Phase Two Baseline Testing Payments

           a. A Phase Two Qualifying Class Member can use Phase Two Baseline Testing Payments
              to conduct PFAS testing that could help it establish eligibility for payments from the
              Phase Two Action Fund.

           b. A Phase Two Qualifying Class Member may submit a Phase Two Testing Compensation
              Claims Form to the Claims Administrator for payments to offset part or all the cost of
              conducting Phase Two Baseline Testing prior to January 1, 2026. A Phase Two
              Qualifying Class Member must list in its Phase Two Testing Compensation Claims Form
              each Water Source required to be tested under Baseline Testing requirements.

           c. A Phase Two Qualifying Class Member is not eligible for a Phase Two Baseline Testing
              Payment for any PFAS testing that is required by federal or state law. Phase Two
              Baseline Testing Payments must be limited to the actual costs of testing and, absent what
              the Claims Administrator deems in writing to be an extraordinary circumstance, shall not
              exceed $800 per sample.

   3. Phase Two Baseline Testing

           a. Each Phase Two Qualifying Class Member must test each of its Water Sources for PFAS,
              request from the laboratory that performs the analyses all analytical results, including the
              actual numeric values, and submit detailed PFAS test results to the Claims Administrator
              on a Claims Form within forty-five (45) calendar days after receiving the test results,
              absent what the Claims Administrator deems in writing to be an extraordinary
              circumstance, and no later than July 1, 2026.

           b. Each Phase Two Qualifying Class Member will verify that it has tested all its Water
              Sources for PFAS prior to its submission of the Claims Form.

           c. Baseline Testing requires the following:

                    i. PFAS tests must be conducted at a minimum for the 29 PFAS analytes for which
                       UCMR-5 requires testing, and




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                 ii. the PFAS test results must report any Measurable Concentration of PFAS,
                     regardless of whether the level of PFAS detected in the water is above or below
                     UCMR-5’s relevant minimum reporting level.

        d. Failure to test and submit Qualifying Test Results for Water Sources will disqualify
           Water Sources from consideration for present and future payments.

        e. A Phase Two Qualifying Class Member that does not fully and timely satisfy this Phase
           Two Baseline Testing requirement shall be presumed to lack any Impacted Water Source
           and thus may be declared by the Claims Administrator to be ineligible to receive any
           payment from Phase Two.

        f.   The Claims Administrator shall provide 3M and Class Counsel monthly updates on the
             detailed Baseline Testing PFAS results and a final report on those results by July 1, 2026.

  4. Non-Detect Water Sources

        a. The Claims Administrator will maintain the reported Baseline Testing results that have
           no Measurable Concentration of PFAS submitted by Phase Two Qualifying Class
           Members.

        b. Water Sources reporting no Qualifying Test Result showing a Measurable Concentration
           of PFAS may be eligible for funding from the Phase Two Supplemental Fund.

  5. Phase Two Supplemental Fund

        a. The Escrow Agent will transfer into the Phase Two Supplemental Fund seven percent
           (7%) of each payment 3M has made into the Phase Two Action Fund in accordance with
           the Payment Schedule.

        b. The Phase Two Supplemental Fund will be used to compensate the following Phase Two
           Qualifying Class Member’s Water Sources:

                 i. Water Sources that were reported in a Phase Two Claims Form to have no
                    Qualifying Test Result showing a Measurable Concentration of PFAS and
                    because of later PFAS testing obtain a Qualifying Test Result showing a
                    Measurable Concentration of PFAS, or

                 ii. Impacted Water Sources that do not exceed an applicable State MCL or the
                     Proposed Federal PFAS MCL at the time their Phase Two Claims Forms are
                     submitted and because of later PFAS testing obtain a Qualifying Test Result
                     showing a Measurable Concentration of PFAS that exceeds the Proposed Federal
                     PFAS MCLs or an applicable State MCL.

        c. A Phase Two Qualifying Class Member may submit a Phase Two Supplemental Fund
           Claims Form to the Claims Administrator at any time up to and including December 31,
           2030.

        d. The Claims Administrator will individually calculate for each Impacted Water Source
           that has submitted a Phase Two Supplemental Fund Claims Form to approximate, as


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             closely as is reasonably possible, the amount that each Impacted Water Source would
             have been allocated had it been in the Phase Two Action Fund (Allocated Amount).

        e. The Claims Administrator shall issue funds from the Phase Two Supplemental Fund in
           amounts that reflect the difference between the Impacted Water Source’s Allocated
           Amount and what the Qualifying Class Member has already received, if anything, for the
           Impacted Water Source.

        f.   In the event the Phase Two Supplemental Fund requires additional funding, the Claims
             Administrator, with the approval of the Special Master, may exercise discretion to
             replenish the Phase Two Supplemental Fund from future payment obligations to the
             Phase Two Action Fund.

        g. The Claims Administrator shall pay any money remaining in the Phase Two
           Supplemental Fund as of December 31, 2033, to the Phase Two Qualifying Class
           Members, divided among the Phase Two Qualifying Class Members in the proportions as
           prior total payments to each Phase Two Qualifying Class Member from all funds
           established by the Settlement Agreement.

  6. Phase Two Special Needs Fund

        a. The Escrow Agent will transfer into the Phase Two Special Needs Fund five percent
           (5%) of each payment 3M has made into the Phase Two Action Fund in accordance with
           the Payment Schedule.

        b. The Phase Two Special Needs Fund is intended to compensate those Phase Two
           Qualifying Class Members that, directly or through affiliated parties, spent money to
           address PFAS detections in their Impacted Water Sources. This is in addition to any other
           compensation provided by this Settlement.

        c. Without limiting the possible actions taken by Qualifying Class Members, examples
           include: taking wells offline, reducing flow rates, drilling new wells, pulling water from
           other sources, and/or purchasing supplemental water.

        d. A Phase Two Qualifying Class Member may submit to the Claims Administrator a Phase
           Two Special Needs Fund Claims Form on or before August 1, 2026.

        e. After receiving all timely Phase Two Special Needs Fund Claims Forms, the Claims
           Administrator will review such forms and determine which Phase Two Qualifying Class
           Members shall receive additional compensation and the amount of compensation. The
           Claims Administrator will recommend the awards to the Special Master, who must
           review and ultimately approve or reject them.

        f.   The Claims Administrator shall pay any money remaining in the Phase Two Special
             Needs Fund to the Phase Two Qualifying Class Members, divided among the Phase Two
             Qualifying Class Members in the proportions as prior total payments to each Phase Two
             Qualifying Class Member from all funds established by the Settlement Agreement after
             all Special Needs Claims have been reviewed and paid.

  7. Phase Two Action Fund


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     The deadline for Phase Two Qualifying Class Members to submit a Phase Two Action Fund
     Claims Form for all Impacted Water Sources is July 31, 2026. This deadline can be extended by
     the Claims Administrator only if a Phase Two Qualifying Class Member demonstrates that it has,
     prior to such deadline, submitted water samples necessary to meet the requirements of Baseline
     Testing and is awaiting analytical results from a laboratory capable of issuing a Qualifying Test
     Result.

         a. Claims Administrator Notification to Phase Two Qualifying Class Members

                     The Claims Administrator will notify each Phase Two Qualifying Class Member
                     of the Settlement Awards for all its Impacted Water Sources. Unless the Phase
                     Two Cap or Phase Two Floor applies, a Phase Two Qualifying Class Member
                     should receive the same approximate amount as a Phase One Qualifying Class
                     Member with the same Adjusted Base Score, except for the inflation adjustment
                     discussed below.

                     Class Counsel and 3M shall simultaneously receive copies of all such
                     notifications, as well as a report on the allocation of all Phase Two Settlement
                     Awards and information showing the comparison of Phase Two and Phase One
                     Settlement Awards for similarly situated systems.

         b. Requests for Reconsideration to the Claims Administrator

                       After the Phase Two Qualifying Class Member receives notification of its
                       Settlement Award from the Claims Administrator, it will have ten (10)
                       Business Days from the receipt of notification to request that the Special
                       Master reconsider a part of the calculation based on a mistake/error alleged to
                       have occurred. The Phase Two Qualifying Class Member has no other
                       appellate rights.

                       After they receive notification from the Claims Administrator, 3M and Class
                       Counsel shall each have ten (10) Business Days to request that the Special
                       Master reconsider any of the calculations based on a mistake/error alleged to
                       have occurred.

                       After the Special Master receives all timely requests for reconsideration, the
                       Special Master within ten (10) Business Days shall make a decision on the
                       request for reconsideration, and, if warranted will request that the Claims
                       Administrator correct any mistakes/errors and run the calculations again.

         c. Appeal of Phase Two Calculations

                     After the Claims Administrator has calculated the total amounts to be paid to
                     Phase Two Qualifying Class Members (and in no event later than September 30,
                     2026), the Claims Administrator will notify Class Counsel and 3M of each Class
                     Members’ share and the total amount to be paid under Phase Two, as well as
                     information to permit Class Counsel and 3M to evaluate whether Phase Two
                     systems are receiving the same amount they would have received had they been
                     in Phase One (subject to operation of the Phase Two Cap and the Phase Two
                     Floor). Class Counsel and 3M shall have ten (10) Business Days from the receipt
                     of such information to object to such calculations and appeal to the retired judge

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                    appointed by the Court as a Special Master to revise such calculations consistent
                    with the Settlement Agreement. In the event that Class Counsel or 3M desire to
                    appeal the decision of the Special Master, they may do so to the Court.

        d. Payments for the Phase Two Action Fund

                    3M shall make payments for the Phase Two Action Fund in multiple installments
                    over time, as set forth in the Payment Schedule in Exhibit K. The first
                    installment will be paid no earlier than April 15, 2027. As set forth in the
                    Payment Schedule in Exhibit K, nine (9) subsequent payments will be made
                    annually thereafter for nine (9) years, on April 15 of each calendar year (unless
                    3M invokes the Settlement Agreement’s late-payment provision). The total
                    amount of all payments described in this Paragraph, excluding any interest paid
                    for late payment, but including the difference between the full amount of 3M’s
                    settlement with the City of Stuart, Florida, and the amount that the Public Water
                    System for the City of Stuart, Florida, would have received as a Phase One
                    Qualifying Class Member under these Allocation Procedures, will be based on
                    the Phase Two Class Members’ PFAS test results, as summarized in the Claims
                    Administrator’s final report under Paragraph 6.8.5 of the Settlement Agreement;
                    but in any event that total amount shall be no less than a Phase Two Floor of
                    $3,625,000,000 and no more than a Phase Two Cap of $5,625,000,000. Within
                    five (5) Business Days after each payment described in this Paragraph, the
                    Escrow Agent shall transfer seven percent (7%) of the payment amount into the
                    Phase Two Supplemental Fund and five percent (5%) of the payment amount into
                    the Phase Two Special Needs Fund.

        e. Payments from the Phase Two Action Fund

                    It is contemplated that within fourteen (14) calendar days, but no later than sixty
                    (60) calendar days (or in the first year of Phase Two Action Fund payments, one
                    hundred twenty (120) calendar days), after each payment described in Paragraph
                    6.8.6 of the Settlement Agreement, each Phase Two Qualifying Class Member that
                    has one or more Impacted Water Sources shall receive a payment from the Phase
                    Two Action Fund, unless that Qualifying Class Member has already received its
                    entire Allocated Amount.

        f.   Calculation of Payments from the Phase Two Action Fund

                 i. The Claims Administrator will individually calculate the amount for each
                    Impacted Water Source owned or operated by a Phase Two Qualifying Class
                    Member to approximate, as closely as is reasonably possible, the amount that
                    each Impacted Water Source would have been allocated had it been a Phase One
                    Qualifying Class Member (Allocated Amount).

                ii. The Claims Administrator may increase the amount calculated in accordance
                    with the prior sentence for any Phase Two Qualifying Class Member by no more
                    than the percentage increase in the Consumer Price Index for All Urban
                    Consumers, or CPI-U, over the thirty-six (36) months preceding the Claims
                    Administrator’s calculation.



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               iii. Except for the operation of CPI-U or the operation of the Phase Two Cap and the
                    Phase Two Floor, a Phase Two Qualifying Class Member with a particular
                    Adjusted Base Score should receive the same amount as a Phase One Qualifying
                    Class Member with the same Adjusted Base Score.

        g. Effect of the Phase Two Floor

                   If, after the Claims Administrator applies Phase Two Allocation Procedures, total
                   payments from Phase Two would be less than the Phase Two Floor of
                   $3,625,000,000, the Claims Administrator shall increase each Phase Two
                   Qualifying Class Member’s Allocated Amount by the same percentage, so that
                   the total payment from the Phase Two Action Fund will meet the Phase Two
                   Floor.

        h. Effect of the Phase Two Cap

                   If, after the Claims Administrator applies the Phase Two Allocation Procedures,
                   total payments from the Phase Two would be more than the Phase Two Cap of
                   $5,625,000,000, the Claims Administrator shall reduce each Phase Two
                   Qualifying Class Member’s Allocated Amount by the same percentage, so that
                   the total payments from the Phase Two Action Fund will not exceed the Phase
                   Two Cap.

        i.   Promoting Equity for Phase One and Phase Two Qualifying Class Members

                   If either the Phase Two Floor or the Phase Two Cap is applied, the Claims
                   Administrator, with the Special Master’s approval, may shift from Phase One to
                   Phase Two, or from Phase Two to Phase One, portions of the amounts designated
                   in the Payment Schedule in Exhibit K as payments in 2029 or later, if necessary
                   to promote equity between Phase One Qualifying Class Members and Phase Two
                   Qualifying Class Members. Any such shift shall not alter the size or timing of
                   any payment that 3M owes under this Settlement Agreement.




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                                        EXHIBIT R
                                  Dismissal with Prejudice
                      Model Dismissals with prejudice per Paragraph 11.5


Pursuant to Paragraph 11.5 of the Settlement Agreement, each Releasing Party shall execute a
stipulation of dismissal with prejudice of all Released Claims (the “Dismissal”) in the form
provided by this Exhibit R within fourteen (14) calendar days after the Effective Date.

This Exhibit R provides two model Dismissals:

       Exhibit R.1 is a full Dismissal of all Claims brought in the Litigation by the Releasing
        Party against any Released Party.

       Exhibit R.2 is a limited Dismissal of Claims brought in the Litigation by the Releasing
        Party against any Released Party, which may be used only upon written agreement
        among the Releasing Party, Class Counsel, and 3M’s Counsel, or by leave of court,
        pursuant to Section 11.5.1 of the Agreement.

Exhibits R.1 and R.2 are styled as stipulated Dismissals. However, under either circumstance set
forth in this paragraph, a Dismissal may be differently styled and still satisfy the requirements set
forth in Paragraph 11.5. First, if a voluntary Dismissal by the Releasing Party will properly
effectuate the required Dismissal with prejudice, the Releasing Party and the Released Parties
may agree that the Releasing Party will file a voluntary Dismissal and, if so, shall agree to such
changes to the appropriate model Dismissal as are reasonably necessary for it to be so filed.
Second, if an applicable rule of procedure or other applicable law requires either that the
Dismissal be styled as something other than a stipulated Dismissal or that parties in addition to
the Releasing Party and the Released Parties would need to join the stipulation, for the
stipulation to become effective, the Releasing Party and the Released Parties shall make such
changes to the appropriate model Dismissal as are reasonably necessary to conform to the
applicable rule(s) or law(s) (e.g., by restyling the model Dismissal as an agreed motion to
dismiss). For the avoidance of doubt, any Dismissal must be a Dismissal with prejudice of all
Claims required to be dismissed by the Settlement Agreement, including by Paragraph 11.5, and
must be filed with the appropriate court(s) within the later of fourteen (14) calendar days after
the Effective Date or seven (7) calendar days after the Court’s ruling on any motion for leave to
file a limited dismissal.




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                                                 Confidential Fed. R. Evid. 408 Settlement Communication
                                                   For Discussion Purposes Only - June 26, 2023 DRAFT


                                              EXHIBIT R.1
                                      Full Dismissal with Prejudice


                                            [INSERT COURT]


    [Insert Case Caption]                                   [Insert Case Number]




    STIPULATION OF DISMISSAL PURSUANT TO [insert applicable rule(s) of procedure]

         Pursuant to [insert applicable rule(s) of procedure], Plaintiff in the above-captioned action

and Defendant 3M Company (“3M”) hereby stipulate and agree to a dismissal with prejudice of

all Plaintiff’s Claims against 3M and any other Released Parties1 in this action pursuant to

Plaintiff’s decision to participate in the Settlement Agreement Between Public Water Systems and

3M Company dated ______ ___, 2023 (the “Settlement Agreement”), which received final

approval on ________ __, 2023, from the Court overseeing In Re: Aqueous Film-Forming Foams

Products Liability Litigation, MDL No. 2:18-mn-2873 (D.S.C.). The Released Parties in this

action are 3M and the following defendants: [insert other Released Parties in above-captioned

action].

         Each party shall bear its own costs.


Dated: _______ __, 2023                                        Respectfully submitted,

/s/                                                     /s/
 [Plaintiff Counsel Signature Block]                     [3M Counsel Signature Block]
 Counsel for Plaintiff                                   Counsel for 3M




1
 Unless otherwise indicated, all capitalized terms in this motion have the meaning given to them in the Settlement
Agreement.


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                               CERTIFICATE OF SERVICE

    [Insert certificate of service, if appropriate.]




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                                              EXHIBIT R.2
                                     Limited Dismissal with Prejudice

                                              [INSERT COURT]


    [Insert Case Caption]                                     [Insert Case Number]




    STIPULATION OF DISMISSAL PURSUANT TO [insert applicable rule(s) of procedure]

         Pursuant to [insert applicable rule(s) of procedure], Plaintiff in the above-captioned action

and Defendant 3M Company (“3M”) hereby stipulate and agree to a dismissal with prejudice of

certain of Plaintiff’s Claims against 3M and any other Released Parties1 in this action pursuant to

Plaintiff’s decision to participate in the Settlement Agreement Between Public Water Systems and

3M Company dated ______ ___, 2023 (the “Settlement Agreement”), which received final

approval on ________ __, 2023, from the Court overseeing In Re: Aqueous Film-Forming Foams

Products Liability Litigation, MDL No. 2:18-mn-2873 (D.S.C.). The Released Parties in this

action are 3M and the following defendants: [insert other Released Parties in above-captioned

action].

         The certain Claims or portions thereof that are not dismissed pursuant to this stipulation

are the following:

                 [insert non-dismissed Claims or portions of Claims listed as to the Plaintiff (or its

                  affiliated entity) as agreed among the Releasing Party, Class Counsel, and 3M’s

                  Counsel, or as ordered by the court upon Releasing Party’s motion for leave,

                  consistent with Paragraph 11.5.1 of the Settlement Agreement]



1
 Unless otherwise indicated, all capitalized terms in this stipulation have the meaning given to them in the Settlement
Agreement.


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       The Claims or portions of Claims specified above are not dismissed in this action as to the

Released Parties. The parties stipulate and agree to a dismissal with prejudice of all other Claims

and portions of Claims that Plaintiff has brought against any and all Released Parties.

       Each party shall bear its own costs.


Dated: _______ __, 2023                                Respectfully submitted,

/s/                                              /s/
 [Plaintiff Counsel Signature Block]              [3M Counsel Signature Block]
 Counsel for Plaintiff                            Counsel for 3M




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                               CERTIFICATE OF SERVICE

    [Insert certificate of service, if appropriate.]




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                                       ANNEX
                    Supplemental Agreement to be Filed Under Seal


 Confidential Document Contemporaneously Submitted to the Court for In Camera Review in
                             Compliance with CMO No. 17
